Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 1 of 900




EXHIBIT 14
 PART 1
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 2 of 900




Neutral Citation Number: [2022] EWHC 1178 (Ch)

                                             Case No: HC-2015-001324
IN THE HIGH COURT OF JUSTICE BUSINESS AND PROPERTY COURTS OF
ENGLAND AND WALES BUSINESS LIST (ChD)



                    Rolls Building, 7 Rolls Buildings, Fetter Lane, London EC4A 1NL


                                                                 Date: 17 May 2022

                                    Before:

                THE HONOURABLE MR JUSTICE HILDYARD
                       ---------------------
                              Between:

                        (1) ACL NETHERLANDS B.V. (AS                     Claimants
                            SUCCESSOR TO AUTONOMY
                             CORPORATION LIMITED)

                    (2) HEWLETT-PACKARD THE HAGUE BV
                      (AS SUCCESSOR TO HEWLETTPACKARD
                                  VISION BV)

                      (3) AUTONOMY SYSTEMS LIMITED


           (4) HEWLETT-PACKARD ENTERPRISE NEW JERSEY, INC



                                    - and –


                         (1) MICHAEL RICHARD LYNCH                      Defendants
                       (2) SUSHOVAN TAREQUE HUSSAIN
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 3 of 900


                              ---------------------
                              ---------------------

  MR LAURENCE RABINOWITZ QC & MR PATRICK GOODALL QC, CONALL
  PATTON, EMMA JONES, MAX SCHAEFER, JAMES FOX & BEN ZELENKA
         MARTIN (instructed by Travers Smith LLP) for the Claimants

  MR ROBERT MILES QC, MR RICHARD HILL QC, SHARIF SHIVJI, TOM
GENTLEMAN, LARA HASSELL-HART, ZARA MCGLONE & KARL ANDERSON
        (instructed by Clifford Chance LLP) for the First Defendant

MR PAUL CASEY (instructed by Simmons & Simmons LLP) for the Second Defendant


            Hearing dates: 25 March 2019 - 15 January 2020, 25 February 2021

                              ---------------------


                        APPROVED JUDGMENT
     Covid-19 Protocol: This judgment was handed down by the judge remotely by
circulation to the parties’ representatives by email and release to the National Archives.
The date and time for hand-down is deemed to be 12 pm Tuesday 17 May 2022.
    Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 4 of 900
Approved Judgment                                                     HC-2015-001324
Mr Justice Hildyard


                                        PART A CONTENTS

 Headings                                                                        Paragraphs
 INTRODUCTION                                                                   1-7
       The Parties                                                              8-14
       High-level synopsis of the case and defences                             15-25
       Some preliminary points                                                  26-31
       Structure of this judgment                                               32-33
       Overview of the two principal entities                                   34
       Autonomy                                                                 35-39
       Autonomy’s signature product: IDOL                                       40-47
       Autonomy: structure and organisation                                     48
       Board of Directors                                                       49-50
       Audit Committee                                                          51-54
       Management team                                                          55-57
       Autonomy Inc management team                                             58-59
       Sales teams and sales process                                            60-66
       Autonomy’s finance department                                            67-71
       Autonomy’s Auditors: Deloitte                                            72-78
       Work undertaken by Deloitte and engagement with finance department       79-85
       External lawyers                                                         86
       Dr Lynch’s role                                                          87-105
       Autonomy’s Reporting                                                     106
       Annual and quarterly reports: Deloitte’s review work                     107
       Deloitte’s review of annual reports                                      108-113
       (i)Deloitte’s review of quarterly reports                                114-117
       (ii)Deloitte’s review of revenue                                         118-119
       (iii) Press releases and earnings calls                                  120-123
       (iv) The relevance of Deloitte’s review and approval                     124-125
       Revenue Reporting
       IFRS 8: Single operating segment                                         126-131
       Was Autonomy being prepared and offered for sale?                        132-137
       HP                                                                       138-152
       Identification of Autonomy as a target                                   153-157
                                             Page 3
Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 5 of 900



 Individuals principally involved                            158-178
 The development of interest culminating in a bid            179-183
 HP’s outlook and objectives                                 184-187
 Development of Deal Models and valuations                   188-191
 HP’s fear of a rival bidder and a takeover battle           192-194
    Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 6 of 900
Approved Judgment                                                           HC-2015-001324
Mr Justice Hildyard




       Progression of the deal towards an offer                                       195-203
       Consideration of potential offer by HP’s board and their financial advisers    204-221
       Negotiation of the price                                                       222
       July 2011 negotiation                                                          223-233
       HP’s Due Diligence and KPMG
       Summary                                                                        234-240
       Due diligence timetable                                                        241-244
       HP’s approach to due diligence                                                 245-249
       Due diligence calls                                                            250-252
       Technical due diligence                                                        253
       Top 40 customer contracts                                                      254-258
       Discussions between KPMG and Deloitte                                          259-264
       Due diligence findings                                                         265-278
       Price negotiations in August                                                   279-287
       Incorporation of Bidco                                                         288-291
       HP’s final approval: boardroom spats and second thoughts                       292-299
       18 August meeting                                                              300-303
       The announcement of the bid and HP’s loss of nerve                             304-311
       The Joe Bloggs emails                                                          312-313
       The ousting of Mr Apotheker                                                    314-321
       Immediate aftermath of the Acquisition                                         322-328
       The need for, but difficulties of, integration                                 329-337
       Autonomy misses its targets                                                    338-357
       The resignation of Mr Hussain and dismissal of Dr Lynch                        358-366
       Mr Joel Scott’s whistleblowing                                                 367-369
       The Rebasing Exercise                                                          370-379
       August 2012 – the decision at that time not to impair the carrying value of    380-383
       Autonomy
       November 2012: Announcement of Impairment                                      384-402
       The revaluation and its announcement                                           403-414
       After the announcement of impairment and the public assertion of fraud         415-422



                                            Page 5
    Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 7 of 900
Approved Judgment                                                          HC-2015-001324
Mr Justice Hildyard


       Backdrop to these proceedings and the effect of the US criminal               423-431
       proceedings
 LEGAL ISSUES AND TESTS OF LIABILITY UNDER FSMA
       (a) Overview and background to the provisions of FSMA                         432-445
       (b) Conditions for liability under s.90A and Sch 10A FSMA                     446-448
       (c) Published information                                                     449-459
       (d) Untrue or misleading statement or omission                                460-466
       (e) Guilty knowledge                                                          467-477


       (f) Reliance                                                                  478-480
       Reliance by whom?                                                             481-483
       The ‘Bidco Point’                                                             484-500
       Reliance on what?                                                             501-506
       What degree of reliance?                                                      507-516
       When is reliance reasonable?                                                  517-523
       (g) Loss in the context of FSMA claims                                        524-539
       Knowledge of the Defendants                                                   540-544
       Claims in deceit and under the Misrepresentation Act 1967                     545
       Claims in deceit                                                              546
       Representation made to a claimant by a defendant                              547-548
       Defendant’s state of mind                                                     549-552
       Reliance / inducement                                                         553-557
       Loss                                                                          558-569
       Misrepresentation Act claims                                                  570-575
       Direct claims for breach of duty                                              576-583
       Interpretation of accounting standards and statements of practice             584-591
       Key accounting issues                                                         592-606
       Issues of nomenclature                                                        607-610
       Structure of the judgment                                                     611-612
 HARDWARE CLAIMS
       The Claimants’ ‘Hardware Case’ in outline                                     613-628




                                          Page 6
    Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 8 of 900
Approved Judgment                                                            HC-2015-001324
Mr Justice Hildyard


       Defendants’ case in summary and matters primarily in dispute in the             629-637
       FSMA Claim
       The Principal Issues                                                            638-647
       Issues of terminology                                                           648-659
       Issue (1): what was the Defendants’ purpose in causing Autonomy to resell       660-661
       “pure hardware”?
       Three notable features                                                          662
       A pleading issue: Is it open to the Claimants to impugn the sales on the        663-675
       basis that 'revenue pumping' was the predominant, even if not the only
       purpose of them?
       An issue as to the evidence given by Mr Egan and Mr Sullivan in the US          676-684
       criminal trial
       The relationship between purpose and concealment                                685-688
       Structure of this chapter                                                       689-695
       (A) The first hardware sales and the origins of the hardware reselling          696-715
       strategy
       (B) The Defendants’ case as to the purpose of the hardware reselling            716
       strategy

       (1) Dr Lynch’s evidence as to the rationale of the hardware reselling           717-735
       strategy
       (2) Witness evidence which the Defendants contend supports their case           736-737
       Mr Sullivan                                                                     738-749
       Mr Egan                                                                         750-768
       Dr Lynch                                                                        769-772
       (3) Autonomy’s relationship with EMC and the dispute as to why it               773-774
       abruptly ended
       Contractual arrangements between Autonomy and EMC                               775-781
       Apparent success of the trading relationship with EMC                           782-783
       EMC decide not to proceed with the programme                                    784-788
       (5) Autonomy’s relationships with Dell and Hitachi                              789-796
       (5) The Defendants’ further evidence as to the use and success of the           797-822
       programme
       (6) The Defendants’ case that the strategy was not secret nor the revenue       823-824
       disguised
       Discussion within Autonomy itself                                               825-833
       Disclosure to and review by Deloitte and the Audit Committee                    834-848



                                           Page 7
    Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 9 of 900
Approved Judgment                                                               HC-2015-001324
Mr Justice Hildyard


       (7) Defendants’ support of and belief in the purpose asserted and its              849-887
       accounting treatment
       Summary of the Defendants’ Hardware case                                           888
       (C) Elaboration of Claimants’ case as to the real purpose of the hardware          889-893
       reselling strategy
       (1) No documentary evidence of threats to Autonomy’s software business             894-899
       (2) Expansion of and dependence on the programme with EMC in Q3 2009               900-905
       (3) Emails showing strategy’s purpose and use as flexible source of revenue 906-911

       (4) Use of hardware sales as a flexible source to ‘plug’ shortfalls in             912-916
       software sales
       Efforts to mitigate the effect and visibility of loss-making hardware sales        917-923
       Developing use of hardware revenues                                                924-927
       Importance of hardware sales revenues relative to total revenues in Q3             928-929
       2009
       (5) EMC’s withdrawal from the programme and its replacement by Dell in             930-938
       Q4 2009
       The terms of the Value Added Reseller Agreement between Dell and                   939-948
       Autonomy
       (6) What a chronological summary of the hardware reselling programme               949-950
       with Dell by reference to the documentary evidence reveals
       Chronology of Autonomy’s relationship with Dell from Q1 2010 to Q2
       2011
       Q1 2010                                                                            951-967
       Q1 2010 – alleged post-quarter end manipulation of the hardware revenues           968-989
       recognised

       Q1 2010 – the inventory                                                            990-994
       My assessment re Q1 2010                                                           995
       Q2 2010                                                                            996-1021
       Q2 2010 – alleged post-quarter end manipulation of the hardware revenues           1022-1029
       recognised
       Deloitte Report to the Audit Committee on the Q2 2010 Review                       1030-1032
       My assessment of Q2 2010                                                           1033
       Linkage Analysis                                                                   1034-1037
       Q3 2010                                                                            1038-1045
       Q4 2010                                                                            1046-1061



                                           Page 8
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 10 of 900
Approved Judgment                                                           HC-2015-001324
Mr Justice Hildyard


       Q1 2011                                                                        1062-1073
       Q1 2011 and alleged revenue deferral                                           1074-1095
       Defendants’ involvement/knowledge                                              1096-1100
       Q2 2011                                                                        1101-1111
       Q3 2011                                                                        1112-1117
       (7) Incentivisation of Mr Sullivan purely by reference to hardware sales       1118-1133
       revenue
       (8) No documentary evidence that discounted resales of hardware were           1134-1140
       used as a bargaining chip
       (9) Three illustrative transactions where marketing was no part of the         1141-1142
       purpose
       BofA                                                                           1143-1155
       Citibank                                                                       1156-1158
       Zones Inc                                                                      1159-1182
       (10) The consistent pattern of concealing the hardware sales                   1183-1186
       Annual Reports: overview                                                       1187-1198
       Q3 2009 Quarterly Report                                                       1199-1203
       Q4 2009 Quarterly Report                                                       1204
       Q1 2010 Quarterly Report                                                       1205-1211
       Q2 2010 Quarterly Report                                                       1212-1215
       Q3 2010 Quarterly Report, Earnings Call and Investor Bulletin                  1216-1227
       Q4 2010 Quarterly Report, Earnings Call and Investor Relations Bulletin        1228-1232
       Q4 2010 Earnings Call                                                          1233
       Q4 2010 Investor Relations Bulletin                                            1234-1248
       Q1 2011 Quarterly Report                                                       1249-1251
       Q2 2011 Quarterly/Half yearly Report and Earnings Call                         1252-1255
       Summary of the Claimants’ case as to the disclosure made in Quarterly          1256-1261
       Reports
       Is the Defendants’ avowed reliance on Deloitte a “trump card”?                 1262-1270
       The development of the narrative presented to Deloitte and the Audit           1271
       Committee

       Efforts to obtain “a helpful form of words” from EMC to “wave in front of      1272-1289
       Deloitte”



                                          Page 9
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 11 of 900
Approved Judgment                                                            HC-2015-001324
Mr Justice Hildyard


       Development of the Strategic Deals Memorandum                                   1290-1311
       Mr Knights’ own involvement in drafting the Strategic Deals                     1312-1325
       Memorandum
       Did the Strategic Deals Memorandum spin a false narrative?                      1326-1340
       Dr Lynch’s knowledge of falsity of the Strategic Deals Memorandum               1341-1348
       Assessment of the effect of Strategic Deals Memorandum                          1349-1359
       The issue of disclosure in Q3 2009                                              1360-1364
       Quarterly Notes prepared by Mr Hussain/Mr Chamberlain                           1365-1373
       How the hardware reselling strategy was presented in the Quarterly Notes        1374-1375
       Mr Hussain’s Q3 2009 Quarterly Note                                             1376-1385
       Deloitte’s Q3 2009 Review                                                       1386-1392
       How Dr Lynch dealt with the Audit Committee’s questions about                   1393-1403
       disclosure (Q3 2009)
       Mr Hussain’s Q4 2009 Quarterly Note                                             1404-1411
       Mr Hussain’s Q1 2010 Quarterly Note                                             1412-1419
       Mr Hussain’s Q2 2010 Note                                                       1420-1441
       Mr Hussain’s Q3 2010 Note                                                       1442-1454
       Mr Hussain’s Q4 2010 Note                                                       1455-1462
       Mr Hussain’s Q1 2011 Note                                                       1463-1467
       Mr Hussain’s Q2 2011 Note                                                       1468-1474
       Conclusions in respect of Mr Hussain’s Quarterly Notes                          1475-1476
       Linkage Analysis                                                                1477-1496
       Other examples showing the determination to avoid disclosure to the             1497
       market
       Q&A scripts                                                                     1498-1519
       Representations to disguise the hardware reselling strategy made in             1520-1521
       Earnings Calls
       Q3 2009 Earnings Call                                                           1522-1555
       Summary                                                                         1556-1572
       Q1 2010 Earnings Call                                                           1573-1588
       Q2 2010 Earnings Call                                                           1589-1592
       Conclusion on Hardware Sales Issue 1                                            1593-1597




                                         Page 10
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 12 of 900
Approved Judgment                                                          HC-2015-001324
Mr Justice Hildyard


       Issue 2: Was Autonomy’s published information untrue or misleading by         1598-1600
       reason of the hardware sales, and did the Defendants appreciate this?
       The Claimants’ alternative case                                               1601
       Statements made in Autonomy’s published information                           1602-1603
       The relevance of what the Defendants intended the representations to mean     1604-1608
       The representation that Autonomy was a ‘pure software company’                1609-1632


       That the disclosed revenue categories comprised all sources of Autonomy’s 1633-1640
       revenue
       The representation that transactions in 2009 were the same in nature as       1641-1643
       those in 2008
       Falsity of inclusion of hardware sales in “Organic Growth”                    1644-1659
       Overall conclusion on the claims in respect of statements made in the         1660-1663
       accounts
       Did the Annual Reports/ Autonomy’s published information omit                 1664-1669
       information about hardware sales which was required to be disclosed?
       Did Autonomy’s published information omit a material fact required to be      1670-1671
       disclosed?
       IAS 18.35                                                                     1672-1690
       IAS 1                                                                         1691
       IAS 1.1                                                                       1692
       IAS 1.15                                                                      1693-1694
       IAS 1.17                                                                      1695-1699
       IAS 1.29                                                                      1700-1710
       IFRS 8                                                                        1711-1714
       IFRS 8.1                                                                      1715-1716
       IFRS 8.32                                                                     1717-1728
       Materiality                                                                   1729
       My assessment                                                                 1730-1739
       Did the Defendants determine dishonestly to conceal matters they knew to      1740-1743
       be material?
       Conclusion                                                                    1744-1756
       Issue (3): Did Autonomy’s treatment of the costs of the hardware render       1757-1767
       Autonomy’s published information untrue or misleading and did the
       Defendants appreciate this?




                                         Page 11
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 13 of 900
Approved Judgment                                                            HC-2015-001324
Mr Justice Hildyard


       Issue (4): Should Autonomy, at the least, have made clear in its published      1768-1776
       information what its accounting policy was with respect to hardware costs?
        Issue (5): Did Autonomy wrongly recognise revenue in Q2 2009 on a              1777-1798
       specific ($6 million) hardware transaction with Morgan Stanley?
       Issue (6): Did HP know about the hardware sales pre-acquisition and             1799-1801
       continue them after it?
       Pre-acquisition knowledge and due diligence                                     1802-1813
       Post-acquisition knowledge and discussion of hardware                           1814-1844
       My assessment                                                                   1845-1852
       Conclusion as to when HP became aware of “pure hardware sales”                  1853-1854
 CLAIMANTS’ ‘VAR CASE’: THE 37 IMPUGNED VAR
 TRANSACTIONS
       Overview of the parties’ respective cases on Autonomy’s VAR sales
       The Claimants’ case                                                             1855-1867
       Overview of the Defendants’ case                                                1868-1879


       Number and value, and the two categories, of impugned VAR sales                 1880-1886
       Reciprocal VARs                                                                 1887-1889
       The Claimants’ legal causes of action in respect of the impugned VAR            1890-1891
       transactions
       The two hurdles for the Claimants in their FSMA claims in respect of            1892-1899
       impugned VAR sales
       Structure of more detailed analysis of the claims based on false accounting     1900
       (1) Usual provisions of VAR sales contracts                                     1901-1904
       (2) Terms and interpretation of IAS 18                                          1905
       Terms of IAS 18                                                                 1906-1910
       Dispute as to interpretation of the Accounting Standards                        1911-1925
       (3) Expert evidence as to accountancy practice in applying IAS 18               1926-1929
       Mr Holgates’ approach on VARs in his reports                                    1930-1942
       Mr MacGregor’s approach on VARs in his reports                                  1943-1955
       (4) Factual analysis                                                            1956-1960
       The Claimants’ case that in reality the VARs were never at risk and             1961-1962
       Autonomy retained managerial control
       The counterparties to the impugned VAR sales                                    1963-1964
       Summary of the Claimant’s overall approach in presenting the factual            1965-1966
       evidence


                                          Page 12
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 14 of 900
Approved Judgment                                                           HC-2015-001324
Mr Justice Hildyard


       “Direct evidence” of the alleged side agreements or understandings             1967
       “Direct evidence”: the relevant witnesses                                      1968-1972
       Overview of the witness evidence put forward by the Claimants                  1973-1975
       Overview of Mr Egan’s evidence as to what he told the VARs in every            1976-1998
       impugned VAR transaction
       Overview of Mr David Truitt’s evidence as to MicroLink’s role in               1999-2004
       impugned VAR deals
       Overview of Mr Baiocco’s evidence as to Capax Discovery’s role in              2005-2019
       impugned VAR deals
       The Goldberg Segalla letter                                                    2020-2029
       Evidence in relation to FileTek’s single impugned VAR transaction              2030-2035
       Overview of Mr Steve Truitt’s evidence on the impugned MicroTech VAR           2036-2048
       transactions
       Mr David Truitt’s evidence on the impugned DiscoverTech VAR                    2049-2055
       transactions
       Dispute as to the effect of any assurances given                               2056-2060
       Assessment of the effect of the direct/witness evidence                        2061-2066
       (5) The alleged “pattern” and the Defendants’ response it reveals “neutral     2067-2071
       features”
       Was there demonstrated to be a pattern showing that VARs did not, and          2072-2087
       were not intended to, negotiate or effect an end-user sale?
       The Defendants’ position as regards the alleged ‘pattern’                      2088-2091
       Quarter-end timing                                                             2092
       Recourse to a VAR simply to recognise revenue if the end-user deal was         2093-2094
       delayed
       No assessment of status or prospects of end-user deal by VAR                   2095-2096
       No price negotiation for VAR sale                                              2097-2098
       VAR sale but no added value                                                    2099-2104
       Autonomy’s involvement with the end-user after the VAR sale                    2105-2109
       Sales to VARs of hosted products                                               2110-2111
       Transactions going direct                                                      2112-2116
       VARs as ‘designated payees’ in respect of direct deal between Autonomy         2117-2125
       and end-user
       Write-offs                                                                     2126-2127
       Not suing debtors                                                              2128
       Reseller unwillingness to pay                                                  2129-2131


                                           Page 13
     Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 15 of 900
Approved Judgment                                                           HC-2015-001324
Mr Justice Hildyard


       MAFs                                                                           2132-2148
       Summary of Defendants’ position                                                2149-2153
       My conclusion as to whether a pattern emerges and what is revealed             2154-2164
       Relevance of Deloitte’s approval of revenue recognition                        2165-2167
       (6) The Defendants’ knowledge of improper accounting                           2168-2169
       Mr Hussain’s knowledge                                                         2170-2182
       Dr Lynch’s knowledge                                                           2183-2227
       Summary of my conclusions on the VAR case                                      2228-2231
       The ‘Hogenson episode’                                                         2232-2289
       The FSA and FRRP correspondence                                                2290-2292
       Mr Hogenson’s concerns about Autonomy’s accounting treatment of VAR            2293-2319
       sales
       Defendants’ knowledge but alleged reliance on Deloitte                         2320-2334
       Summary in respect of the letters to the FRRP                                  2335-2336




MR JUSTICE HILDYARD :

INTRODUCTION

1.       Fraud on a grand scale; or relentless witch-hunt? That is the question in this
         claim against two individuals for many billions arising out of a corporate
         acquisition more than a decade ago. The Claimants’ case is that they were
         fundamentally misled and are victims of fraud. The Defendants’ case is that the
         claim is “manufactured” to cover and justify a change of corporate mind, and to
         cast them as scapegoats for what in reality is buyer’s remorse coupled with
         management failings.

2.       The acquisition in question (“the Acquisition”) was the purchase for
         approximately $11.1 billion in cash of the entire issued share capital of
         Autonomy Corporation plc (“Autonomy”) by a special purpose vehicle
         (“Bidco”). Bidco was incorporated by Hewlett-Packard Company (“HP”) for
         the purpose of the Acquisition. HP was the ultimate holding company in the
         Hewlett-Packard Group. The Acquisition was declared wholly unconditional on
         3 October 2011. It was finally completed on 5 January 2012. The fall-out from
         it has spawned proceedings on both sides of the Atlantic, including at least two
         sets of criminal proceedings in the Northern District of California, USA.

3.       The principal claim is brought by the Claimants under Schedule 10A of the
         Financial Services and Markets Act 2000 (“FSMA”). There are further claims
         in misrepresentation, in the tort of deceit, and for breaches of fiduciary and


                                          Page 14
     Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 16 of 900
Approved Judgment                                                                      HC-2015-001324
Mr Justice Hildyard


         employment duties. The gist of the claims under the FSMA, and in
         misrepresentation and deceit, is that the Defendants dishonestly and deliberately
         misrepresented the financial performance of Autonomy in the period (“the
         Relevant Period”) from at least1 the first quarter of 2009 (“Q1 2009”)2 until the
         second quarter of 2011 (“Q2 2011”), so that it was in truth a very different and
         less attractive proposition than was presented.

4.       Put shortly: the Claimants’ main case is that Autonomy was mis-sold, and they
         were deceived into paying for it much more than it was worth. That is by far the
         largest claim. The Claimants have also asserted other claims seeking recovery
         of transaction-based losses in respect of transactions which were entered into in
         breach of duty.

5.       The First Defendant, Dr Michael Richard Lynch (“Dr Lynch”) has vigorously
         denied both the fact of and his involvement in any impropriety. His case is that
         Autonomy at all times complied with applicable laws, regulations and
         International Financial Reporting Standards (“IFRS”) and followed the advice
         of its auditors, Deloitte LLP (“Deloitte”); and that he never came to know of


         any breach of such laws, regulations or accounting standards. He has
         consistently maintained that HP’s case is the culmination of sustained effort on
         the part of HP to shift on to the Defendants the blame for its change of mind
         about the transformation of HP which the Acquisition was intended to promote,
         and its subsequent failure to facilitate the efficient integration of Autonomy on
         which the strategy had depended. He has brought a counterclaim against
         Autonomy alleging a breach of a duty of trust and confidence and/or duty of
         care, as well as a breach of the Data Protection Act 1998.

6.       The Second Defendant, Mr Sushovan Tareque Hussain (“Mr Hussain”), has
         sought to defend himself through solicitors and counsel; but he did not attend in
         person. He is presently serving a 5-year jail sentence in Pennsylvania, having
         been convicted by a jury in earlier criminal proceedings in the USA of 14 counts
         of “wire fraud” and for securities fraud in respect of the Acquisition. In the
         proceedings in this court, he filed a witness statement, but withdrew it when it
         became clear that he could not attend court. Having filed no evidence, he relied
         to a considerable extent on the defence to the first limb of the case (the
         allegations of impropriety) presented by Dr Lynch (who himself may now face
         criminal proceedings in Northern California, USA brought on broadly the same
         basis, for which the US prosecuting authorities are presently seeking his



1
  The Claimants’ pleading defined the “Relevant Period” as “the period from (at least) Q1 2009 to Q2
2011”. The Claimants also criticized five transactions that took place in 2008, relating to what were
referred to as “hosting transactions”. However, I have understood the Claimants’ claims for loss to
refer to published information in Q1 2009 to Q2 2011; and I did not understand the Claimants to
advance any claim in respect of any of Autonomy’s Accounts for 2008 or any of its published
information in 2008.
2
  Autonomy’s financial quarters corresponded to calendar quarters and are referred to as Q1, Q2, Q3
and Q4 as appropriate.


                                               Page 15
     Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 17 of 900
Approved Judgment                                                              HC-2015-001324
Mr Justice Hildyard


         extradition). On the issue as to his personal knowledge of impropriety, he
         offered no positive case, though the Claimants must still of course prove theirs.

7.       Those are the barest bones of claims tested in a 93-day trial which I believe may
         rank amongst the longest and most complex in English legal history. The First
         Defendant was cross-examined for 21 days; there were some 45 factual
         witnesses, many hundreds of pages of hearsay evidence largely comprised of
         transcripts from the US criminal proceedings, expert witnesses in three fields
         whose reports with appendices ranged over eight lever-arch files and who were
         cross-examined over (in total) 11 days, a trial bundle containing more than
         36,000 documents and a ‘corpus of many millions of electronical documents
         ranging over myriad transactions undertaken by Autonomy in various different
         fields between early 2009 and late 2011. The parties’ written closing
         submissions were together almost 5,000 pages long (excluding schedules and
         other annexed material), including in aggregate some 10,000 footnotes. There
         were bundles of 183 authorities and other references. The Claimants and the
         First Defendant were each represented by two Leading Counsel and five junior
         counsel (two of whom, happily, became QCs during the course of the trial); the
         Second Defendant was represented by junior counsel; all had instructing
         solicitors of the highest quality fielding large teams. Although I should record
         my thanks to the parties for providing me with a judicial assistant (Mr William
         Paris of Counsel) during the trial and its immediate aftermath, it was tried before
         me as a judge sitting alone.

The Parties

8.       Autonomy was incorporated under the laws of England and Wales in March
         1996. Autonomy acted as a holding company for a group of companies all in
         the business of infrastructure software. Pursuant to a cross-border merger
         completed on 26 September 2017, long after its acquisition and some time after

         the commencement of these proceedings, all of the assets and liabilities of
         Autonomy were transferred to the First Claimant, ACL Netherlands BV.

9.       Hewlett-Packard Vision BV (“Bidco”) was incorporated in the Netherlands on
         15 August 2011. It was an indirect wholly owned subsidiary of HP until on 2
         November 2015 it became an indirect and wholly owned subsidiary of
         HewlettPackard Enterprise Company. Pursuant to a merger which took effect
         on 27 October 2018, all of the assets and liabilities of Bidco were transferred to
         the Second Claimant, Hewlett-Packard The Hague BV.

10.      The Third Claimant, Autonomy Systems Limited (“ASL”), was incorporated in
         England in 1995 and was an indirect wholly owned subsidiary of Autonomy.
         ASL operated as a licensor of Autonomy software to other Autonomy entities.
         Additionally, pursuant to transfer pricing agreements between ASL and some
         other Autonomy group companies, including the Fourth Claimant, costs and
         revenues of those other Autonomy group companies were transferred to ASL.




                                           Page 16
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 18 of 900
Approved Judgment                                                                HC-2015-001324
Mr Justice Hildyard


11.      The Fourth Claimant, Hewlett-Packard Enterprise New Jersey Inc, was
         incorporated in New Jersey in 1996 and was formerly known as Autonomy Inc.
         I shall refer to it as Autonomy Inc in this judgment. At all relevant times
         Autonomy Inc was a wholly owned subsidiary of Autonomy and was
         Autonomy’s main operating company in the USA, based in Palo Alto,
         California.

12.      The First Defendant (hereafter, “Dr Lynch”) was a director and the Chief
         Executive Officer of Autonomy from the time of its incorporation in 1996 up
         until 30 November 2011.

13.      The Second Defendant (hereafter, “Mr Hussain”) was the Autonomy group’s
         Chief Financial Officer from June 2001 until 30 November 2011 and was a
         director of Autonomy from 01 June 2003 until 30 November 2011.

14.      It is not disputed that both Defendants were, for the purposes of the FSMA
         claim, “persons discharging managerial responsibilities within the issuer”
         (“PDMRs”) within the meaning of Schedule 10A of FSMA (and previously s.
         90A(4) before its amendment). The basis for the issuer’s liability is fraud on the
         part of at least one PDMR.

High-level synopsis of the case and defences

15.      The fraud alleged consisted of the publication of information to the market
         which was known by the Defendants to be false. The allegation was based on
         (a) the allegedly dishonest description of Autonomy as being a “pure software
         company” when in fact it undertook and had become accustomed to inflating its
         apparent revenues by undertaking substantial hardware sales and (b) the
         allegedly dishonest presentation of its financial performance, which did not
         disclose and instead disguised improper practices which Autonomy adopted to
         boost and accelerate revenue. The Claimants contended that all this resulted in
         Autonomy being in fact an enterprise of considerably less value than it appeared
         to be on the basis of its published information. These improper practices
         included:

           (1)        artificially inflating and accelerating Autonomy’s reported revenues;

           (2)        understating Autonomy’s costs of goods sold so as to inflate gross
                      margins;

           (3)        misrepresenting Autonomy’s rate of organic growth; and

           (4)        misrepresenting the nature and quality of Autonomy’s revenues, as well
                      as overstating its gross and net profits.

16.      In a little more detail, the claims relate to six areas of Autonomy’s business and
         accounting:

           (1)        The “hardware case” relates to the purchase and resale by Autonomy
                      (usually at a loss) of “pure” hardware (in broad terms, hardware


                                               Page 17
    Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 19 of 900
Approved Judgment                                                                        HC-2015-001324
Mr Justice Hildyard


                      unaccompanied by any Autonomy software) 3 in quantities (of
                      approximately $200 million over the Relevant Period) which the
                      Claimants allege were never disclosed to the market and which, by
                      boosting apparent revenue, gave a false impression of the performance
                      of Autonomy’s business and belied its presentation in its published
                      information as a “pure software company”. The hardware case also
                      raises issues as to (a) whether a proportion of the costs of the sales were
                      improperly accounted for as sales and marketing expenses so as
                      artificially to increase gross margins, and (b) whether Deloitte, who
                      approved Autonomy’s accounting treatment of the sales, were misled as
                      to the true purpose of the hardware sales.

           (2)        The “reseller” or “VAR” case relates to 37 transactions between
                      Autonomy (or in some cases, Autonomy Inc or another subsidiary,
                      Zantaz Inc, “Zantaz”) and a small group of Value Added Resellers,
                      which the Defendants treated as sales giving rise to revenue which could
                      be and was recognised immediately in Autonomy’s accounts, but which
                      the Claimants contended simply interposed a reseller between
                      Autonomy and the true customer and were not in substance sales at all.
                      The Claimants’ case is that in each VAR sale the VAR was only a
                      passive placeholder with no further participation expected or permitted
                      of it after the VAR sale. Thus, the VAR sales were, in effect, devices to
                      accelerate recognition of revenue in Autonomy’s accounts, with the
                      intended effect of misrepresenting its performance.

           (3)        The “reciprocal transactions” case relates to what the Claimants alleged
                      were back-to-back transactions with friendly counterparties, in which
                      Autonomy purchased from the counterparty software or other goods or
                      services that Autonomy did not need in order to fund the purchase by
                      that counterparty of high margin software from Autonomy. The
                      Claimants contended that these reciprocal or “round-trip” transactions
                      also were contrived with the dishonest purpose of artificially boosting

                      apparent high-margin software sales, with the effect of giving an
                      exaggerated depiction of the success of Autonomy’s core business.

           (4)        The “hosting case” relates to transactions between Autonomy (or one of
                      its subsidiaries, Zantaz Inc, Autonomy Inc and ASL) and new or
                      existing customers under which Autonomy agreed to forego future
                      recurring revenue from the provision of hosted archiving and
                      eDiscovery services (which was a substantial and lucrative part of
                      Autonomy’s business)4 for monthly (or other periodic) fees in return for


3
  The expression “Pure hardware sales” is not an accounting term or a term of art: it was newly
minted by the Claimants. In their RRAPoC the expression is defined as “substantial sales of third-party
computer hardware (with or without third party software) without modification by Autonomy and
unaccompanied by any Autonomy software.”
4
  This aspect of the group’s business was the provision by Autonomy or another group company
(principally a company called Zantaz) of data storage, archiving, e-Discovery and retrieval services


                                                Page 18
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 20 of 900
Approved Judgment                                                                         HC-2015-001324
Mr Justice Hildyard


                      the customer paying a one-off capital sum for a licence to use
                      Autonomy’s software outside the hosted environment and whether
                      inhouse or in another provider’s data centre. The licence was alleged to
                      be illusory, and its issue and sale was said to be for the dishonest purpose
                      of treating it as akin to a sale of goods so as to justify the immediate
                      (that is at the transaction date) recognition of the sale proceeds as
                      revenue. Again, it was alleged that the intended effect was artificially to
                      boost apparent revenue in the period in question.

           (5)        The “OEM case” relates to transactions presented in Autonomy’s
                      published information as generating “OEM” and “OEM derived
                      revenue”. The Claimants’ case is that revenue so presented would be
                      taken in the market to have been generated by a transaction with an
                      Original Equipment Manufacturer (“OEM”) for Autonomy software to
                      be embedded in the OEM’s software in return for royalty payments to
                      Autonomy on all the OEM’s sales of the combined product (and thus a
                      recurring revenue stream); but that in fact Autonomy included in what
                      was compendiously described as the “OEM Metric” revenues from
                      oneoff sales of software licences to customers which were not OEMs
                      and did not give rise to royalties or any other recurring revenue. The
                      Claimants did not impugn the transactions themselves but contended
                      that it was misleading and dishonest to include the latter revenues within
                      the OEM metric because it gave the false impression of a valuable
                      recurring category of revenues and thereby dishonestly misrepresented
                      the quality and reliability of Autonomy’s revenue and earnings.

           (6)        The “Other Transactions” case relates to four transactions entered into
                      in late 2010 and early 2011 by ASL, Autonomy Spain SL and Autonomy
                      Inc which the Claimants allege were also falsely accounted for in
                      Autonomy’s published information as being licence sales but which
                      were in truth the provision of a service.

17.      The FSMA claim has a dog-leg nature: the gist of the claim is fraud on the part
         of the issuer (Autonomy) for which the PDMRs are alleged to be liable. That
         claim thus depends on establishing first, that Autonomy was liable (as issuer) to
         Bidco and that secondly, the Defendants were liable to Autonomy.



18.      It is common ground that the Claimants need to make good their case at each
         stage. That is so even though in fact, both being under the control of HP,
         Autonomy has admitted liability to Bidco: the Claimants have accepted that this
         admission does not bind the court. They have accepted also that Dr Lynch and
         Mr Hussain will not be liable except in respect of misstatements or omissions
         about which they themselves knew. It is not sufficient for the Claimants to
         demonstrate that the transactions or the way they were accounted for was
         improper (the first limb); they need also to prove personal knowledge and

using its own hardware at one of its data centres. Hosting services were typically provided over a
period of years, resulting in a reliable revenue stream.


                                                 Page 19
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 21 of 900
Approved Judgment                                                             HC-2015-001324
Mr Justice Hildyard


         dishonesty in respect of the false accounting on the part of the Defendants as
         PDMRs (the second limb).

19.      Thus, for example, the “Other Transactions” case must fail against Dr Lynch,
         since he was not cross-examined on those transactions and his personal
         knowledge and involvement cannot be established: as the Claimants fairly and
         properly recognised in their closing submissions. By contrast, in the case of Mr
         Hussain, his decision not to give evidence means that it is difficult for him to
         resist a finding against him in all these claims at that second stage if the
         Claimants have succeeded at the first stage.

20.      The claims under FSMA are by far the largest: the pleaded quantum of loss is
         at least $4.55 billion (being the amount for which Autonomy has accepted it is
         liable and for which it is alleged the Defendants are liable as PDMRs).

21.      The claims for fraudulent misrepresentation and/or under s. 2(1) of the
         Misrepresentation Act 1967 are direct claims against the Defendants: they are
         based on personal liability, not on liability of the issuer. The quantum of the
         claims is much lower than the FSMA claims: the damages sought relate only to
         loss attributable to the shares and share options which the Defendants
         themselves each held and sold to Bidco. The pleaded quantum of loss is
         approximately $420 million.

22.      The claims for transactional losses based on breaches of fiduciary and employee
         duties stand on a different footing. They do not arise in consequence of the
         Acquisition (except in the sense that they would almost certainly not have been
         brought if the Defendants still directed Autonomy). They are claims for direct
         losses suffered by ASL, Autonomy Inc and another group subsidiary called
         Zantaz as a result of the Defendants’ breaches of duty in causing the relevant
         subsidiary to enter into the impugned transactions without regard to the interests
         of that subsidiary. In that context, the Claimants’ primary case is that ASL is
         the proper claimant for these losses as a result of transfer pricing arrangements
         between ASL and each of Autonomy Inc, Zantaz and Verity Inc. That is
         disputed by the Defendants on the basis that the effect of the transfer pricing
         arrangements was only to shift costs and that in any event, whatever the effect
         of those arrangements in contract, the fact remains that no duties were owed to
         ASL in respect of transactions undertaken by different entities, variously
         Autonomy Inc and Zantaz. The pleaded quantum of loss is in excess of $76.1
         million.

23.      The Claimants accept that in the ultimate quantification of loss they must give
         credit for a recovery of $45 million made in a settlement of a related claim
         (against Autonomy’s auditors), after deducting the costs of such claim and any
         tax payable in respect of the settlement sum.

24.      A ‘Dramatis Personae’ and a more detailed Schedule of Key Persons are
         attached as Appendix 1 and Appendix 2 respectively. A chart prepared by the
         Claimants setting out their various claims in diagrammatic form (at a very high
         level) is attached as Appendix 3. The Claimants also provided charts which they
         put forward as illustrating in graphic form (i) Autonomy’s reported revenue in


                                           Page 20
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 22 of 900
Approved Judgment                                                              HC-2015-001324
Mr Justice Hildyard


         each quarter of the Relevant Period; (ii) the alleged impact of undisclosed pure
         hardware revenue and other revenue alleged to have been recognised
         improperly; (iii) how (according to the Claimants) the recognition of revenue
         from impugned transactions helped Autonomy create the appearance of meeting
         market expectations and (iv) an overview of the position in each full year of the
         Relevant Period, and the half year to the end of June 2011. These are attached
         in Appendix 4, but I have slightly modified their headings. Chart 3, in particular,
         provided an arresting overview of the Claimants’ case that Autonomy used
         ‘pure’ hardware sales which were not disclosed and sales to VARs which had
         no real substance to give the appearance of meeting market expectations of
         revenue. Appendix 5 is a graphic depiction (again prepared by the Claimants)
         of the contribution of impugned VAR transactions to Autonomy’s revenue in
         each quarter of the Relevant Period. Appendix 6 comprises a Summary of
         Conclusions which I read and made available in court on 28 January 2022 (and
         see paragraph 4120 below). These Appendices are attached to this judgment at
         the end of Part B; but any reader may be assisted by reference to them at this
         juncture. I have also prepared a separate (and independently page and paragraph
         numbered) Schedule analysing in more detail each of the impugned VAR
         transactions: this too appears at the end of Part B.

25.      As already indicated, Mr Hussain adopted Dr Lynch’s submissions. References
         to the Defendants should be taken to be references to each of them unless
         otherwise stated.

Some preliminary points

26.      This is obviously an extremely long judgment. The factual detail provided to
         me in respect of each of the six main areas of the case is in my experience
         unprecedented. Whereas in many cases, only a few documents ever come to be
         relied on otherwise than in passing, here the relevant record and the number of
         documents cited was very considerable indeed. The process has involved a
         detailed examination, by reference to a myriad of transactions, of the way
         Autonomy’s business was carried on at a fairly granular level.

27.      I am very conscious that the length, detail and complexity of this judgment, and
         its focus in parts on individual transactions to determine whether some or all
         of the means used to generate and /or accelerate revenue were acceptable
         commercial strategies or dishonest devices to cover shortfall in software
         revenues, may obscure the ultimate question in both the FSMA and the deceit
         and/or misrepresentation claims which is whether the acquirer was dishonestly
         misled. In particular, it is necessary to bear in mind that, except as regards the
         claims for transactional losses, the question is not whether the impugned
         transactions were wrongful, but whether their purpose (and effect) was to

         enable Autonomy to cover shortfalls in its revenue from software sales, so as to
         appear to meet market revenue expectations and (especially when combined
         with giving an appearance of growth in its valuable OEM and Cloud business
         lines) present itself as a larger and more successful company than in reality it
         was.



                                           Page 21
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 23 of 900
Approved Judgment                                                                HC-2015-001324
Mr Justice Hildyard


28.      Nevertheless, careful and detailed analysis of the impugned transactions is
         necessary in providing the answers. It is worth remembering that Autonomy’s
         business appeared to most to be well run and growing fast because of the
         phenomenal capabilities and utility of its main product, called IDOL (its
         acronym for “Intelligent Data Operating Layer”). Autonomy became a FTSE
         100 company on that basis. A few analysts were doubtful whether all was as it
         seemed; but most were not. The process of peeling back what was happening
         beneath the presentation is a tortuous one.

29.      Furthermore, in respect of each of the six areas of business which the Claimants
         impugned, they asserted that there was a ‘pattern’ which revealed dishonesty. It
         might be tempting to assume that if a ‘pattern’ was revealed by, say five to 10
         of the 37 impugned VAR transactions, that should be taken to demonstrate a
         pattern across the board. But such an assumption would, in my view, be unsafe.
         In short, though the phrase may have become over-used, the devil is in the detail.

30.      I should acknowledge also that it has weighed heavily with me throughout that
         this judgment, whether logically or not, may affect Dr Lynch in other battles,
         on which his long-term freedom may depend. I have not wished to leave a stone
         unturned which might have yielded some different perspective or ‘pattern’.

31.      I feel I should also emphasise, in light of the decision of the Court of Appeal in
         Bank of St Petersburg PJSC and others v Vitaly Arkhangelsky and others [2020]
         EWCA Civ 408, that (a) although of necessity I have divided up separate
         sections of the judgment, I have sought at all stages to reflect on how the parts,
         and especially my views as to the state of mind of the Defendants, might impact
         on the whole or more generally; and (b) I have throughout borne in mind and
         applied the standard of proof applicable in all civil proceedings, that of the
         balance of probabilities, whilst taking into account in determining the
         probabilities that other things being equal, it is a fair starting point that people
         do not usually act dishonestly (and I would add with particular reference to this
         case) especially when any dishonesty is almost bound quickly to be revealed.
         Any “infelicities” in my expression should not be taken to connote that I have
         departed from adjudicating the case on the basis of the balance of probabilities:
         I have not.

Parts A and B of this judgment, the Schedule and Appendices

32.      The Claimants and the Defendants adopted very different approaches in terms
         of the structure and approach of their respective written closing submissions.
         But all parties dealt separately with the six areas of claim I have identified in
         paragraphs 16(1) to 16(6) above, and this judgment does also. This (and the
         extreme detail) has further increased the need for a considerable amount of
         cross-referencing. I regret that this makes the judgment more unwieldy.

33.      The judgment is divided into two main Parts (Part A and Part B), a division
         made necessary because of its length and website requirements. In addition to
         this Introduction and an analysis of relevant issues and the tests of liability under
         FSMA, this first Part (which ends at paragraph 2336) contains an Introduction
         describing the Claimants’ allegations in respect of Autonomy’s sales of


                                            Page 22
    Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 24 of 900
Approved Judgment                                                                        HC-2015-001324
Mr Justice Hildyard


         hardware and the impugned VAR sales. With reference to the latter, and as
         mentioned above, I have also attached as a separate document a detailed
         Schedule analysing each of the impugned VAR transactions, which is also of
         considerable length. In Part B, I address the four remaining areas of the
         Claimants’ FSMA case (“the reciprocals transactions”, “the hosting case”, “the
         OEM case” and “the Other transactions”) and also the Claimants’ claims in
         deceit and/or misrepresentation, the Claimants’ various claims for direct loss,
         and issues relating to reliance and loss. I address Dr Lynch’s Counterclaim in
         paragraphs 4106 to 4115 below of Part B. I summarise my conclusions in
         paragraphs 4116 to 4135. Lastly, I have included a postscript in paragraphs 4116
         to 4155. This judgment does not address issues of quantum. That will be dealt
         with in a separate judgment in due course.

Overview of the two principal entities

34.      An overview of the business of the two principal commercial entities, HP and
         Autonomy, and the way they were respectively structured and managed, is
         necessary in order to place in context the Claimants’ allegations (which in
         numerical terms relate to only a small part of Autonomy’s business but which
         impugn transactions of considerable value 5 ). It is also necessary for an
         understanding of (a) the Claimants’ overall case that the Defendants, and
         especially Dr Lynch, were in a position to and did conceive and direct all the
         impugned transactions with a view to presenting Autonomy as far more
         successful than it was, and thereby dishonestly misled HP into paying far more
         than its true value and (b) the Defendants’ overall case that the reality is that
         HP’s management had no stomach for the transformational change that was the
         objective of the Acquisition, and contrived this extraordinary series of
         proceedings to shift the blame away from themselves.

Autonomy

35.      Autonomy was founded in 1996. It was spun out from a company called
         Cambridge Neurodynamics, which was an early venture into using “machine
         learning” to develop software, techniques which Dr Lynch had explored in his
         PhD thesis at Cambridge University and his subsequent research fellowship in
         “adaptive pattern recognition”.

36.      By the beginning of the Relevant Period, Autonomy had grown from a small
         start-up into a market leader in enterprise technology, especially in the field of
         unstructured data analysis. It went public in 1998, with an initial listing on the




5
 The Claimants acknowledged that the impugned transactions “represent a small fraction of
Autonomy’s total transactions by number” but made the point that they were “very significant by
value”, the impugned transactions being amongst the largest in terms of revenue in a given quarter.


                                                Page 23
    Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 25 of 900
Approved Judgment                                                                          HC-2015-001324
Mr Justice Hildyard


         EASDAQ. It was admitted to the official list of the LSE in November 2000. It
         re-joined the FTSE 100 in 2008.

37.      The Autonomy group was highly profitable, generated reported annual revenue
         in 2010 of $870 million, and (as an illustration) held cash reserves of $1.1
         billion at the close of 2010 (though it is fair to qualify this by noting that this
         figure included proceeds of approximately $762 million raised by an issue of
         convertible loan notes in March 2010). Its customers included blue-chip
         companies in every sector.6 In 2011, it was the UK’s largest software company
         based on market capitalisation.

38.      Autonomy was headquartered in the UK but operated in global markets, with
         (by the time of the Acquisition) more than 2,500 employees, over 25,000
         customers and operations in more than 19 countries (including the USA, where
         it had set up Autonomy Inc with its own management, sales and legal teams in
         San Francisco).

39.      Its worldwide development and product spread was partly in consequence of
         successful acquisitions before the Relevant Period. Most significant were the
         following (all but the last of which were completed before the Relevant Period):

           (1) The acquisition of Verity Inc (its then nearest competitor in enterprise
                search technology) in December 2005. Verity also had US federal
                security clearance, which until a change of the rules in Autumn 2009
                enabled Autonomy to conduct business with the US Federal
                Government.



6
  including (a) financial institutions (such as CitiBank, Barclays, BoA, RBS, Lloyds TSB, Deutsche
Bank and Merrill Lynch, who used Autonomy’s software for archiving and regulatory compliance and
litigation data management); (b) government and public-sector agencies throughout the world
(including the FSA and SFO in the UK) who used such software to recognise unusual patterns in
money flow to identify laundering and for other security and surveillance; (c) manufacturers (including
Ford and General Motors) who used the technology to manage engineering know-how; (d)
Telecommunications providers (such as AT&T, Ericsson, Cable & Wireless, BT and Vodafone) who
used the software for call monitoring and analysis; (e) Pharmaceutical corporations (including
AstraZeneca, GlaxoSmithKline and Pfizer) who used the software to keep up with changing
regulations, demographic information, general R&D and litigation; (f) Media organisations (such as the
BBC, ITN, MTV, Bloomberg, CNN, Reuters and Forbes) who used Autonomy’s software to manage
their TV programmes, publish media, archive content, increase website traffic and advertising revenue;
(g) eCommerce providers (such as Play.com, FedEx, Forbes and T-Mobile, which used the software to
understand patterns in buyers’ behaviour and to monitor customer satisfaction and boost ‘upselling’);
(h) Food and Beverage suppliers (such as Nestle, Coca-Cola and Britvic) who used the software to
monitor product developments and market opportunities; (i) Intelligence and Defence organisations
across the world to monitor and protect against security threats; (j) legal organisations including 75 out
of the top 100 global law firms, who used the software for disclosure and litigation support; (k) IT
companies (such as IBM, Oracle, HP and Lucent Technologies) who selected Autonomy software to
support development; (l) Consulting and professional services customers (such as IBM Global, KPMG
and PricewaterhouseCoopers) who used the software for profiling and data; (m) Energy and utility
customers (such as BP and Shell); (n) Aerospace organisations (such as NASA, BAE Systems, Boeing
and the US Air Force) which used the software for engineering knowledge sharing; and (o) Healthcare




                                                  Page 24
    Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 26 of 900
Approved Judgment                                                                       HC-2015-001324
Mr Justice Hildyard


organisations (including the UK NHS, Eli Lilly and Blue Cross/Bleu Shield) which used Autonomy
software to promote best practices and help protect patient safety and manage litigation.
           (2)        The acquisition of Zantaz in July 2007, through which it acquired an
                      archiving software solution, commonly sold under the name Digital
                      Safe. Digital Safe enabled data to be processed and stored more
                      efficiently, thus cutting down on storage costs and search times; and
                      when integrated with Autonomy’s own technology (especially IDOL),
                      the combined solution enabled data to be processed once into a
                      consolidated archive and used with multiple software products, thus
                      eliminating the need to store and search for data across multiple
                      repositories. Especially at a time of increased competition and falling
                      data storage rates6, this efficiency gave Autonomy/Zantaz a commercial
                      advantage which was the springboard for the development of hosting as
                      a major part of Autonomy’s business. Also as part of the Zantaz
                      acquisition, Autonomy acquired an e-Discovery or “EDD” product
                      called Introspect, which it also offered as a hosted solution.

           (3)        The acquisition in early 2009 of Interwoven Inc which specialised in the
                      provision of enterprise content management software (including a
                      solution called iManage), in e-commerce7, and also had a large law firm
                      customer base.

           (4)        The acquisition of the Iron Mountain Digital business in May 2011, and
                      through this a large archive product called LiveVault which handled
                      large amounts of stored data and suited customers with especially large
                      structured data storage requirements, and which could be integrated with
                      a product called StorHouse which Autonomy acquired from a company
                      called FileTek for further efficiencies8.


Autonomy s signature product: IDOL

40.      Nevertheless, Autonomy’s success was principally based on its own
         marketleading core product called IDOL, an acronym for Intelligent Data
         Operating Layer. IDOL technology, focused on the analysis of unstructured
         data, was the core technology at the heart of Autonomy’s software.

41.      Some explanation of this technology is appropriate, not least because (a) its
         extraordinary and world-beating capabilities tended not to be acknowledged by
         HP in their complaints about the Acquisition, and (b) it is important for an
         understanding of a central issue in the context of the hardware case, which is as

6
  According to Dr Lynch’s evidence in his first witness statement, storage technology was rapidly
advancing and data storage prices falling quickly: thus, the cost of storing a GB of data fell from
around $1 million in the early 1980s, to around $10,000 in the 1990s, to around $10 in the early 2000s
and to around $0.10 in 2010. There was huge demand; but obviously technological efficiency was the
only means of securing competitive advantage.
7
  A specialisation emphasised by the Defendants because it was a key area where a product focused on
structured data, and in particular, Autonomy’s SPE (see later), would have an application.
8
  The acquisition of StorHouse from FileTek was impugned by the Claimants: see paragraphs 2030 to
2035 below.


                                                Page 25
    Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 27 of 900
Approved Judgment                                                                            HC-2015-001324
Mr Justice Hildyard


         to what the Defendants meant by the sale of an “appliance”. The following is
         based on Dr Lynch’s explanation in his first witness statement.



42.      There are two types of data: structured and unstructured. Structured data is
         found in spreadsheets or in prescribed fields in a database. When data is entered
         into a database it is easily searchable. For example, as Dr Lynch explained, a
         computer will know that the data in an “address” field of a database is an
         address. Unstructured data is data that is not contained in prescribed fields.
         Most data is unstructured. Books, newspaper articles, websites, pictures and
         indeed, most forms of communication, comprise unstructured data.

43.      Unstructured data is obviously much more difficult for computers to interpret
         and analyse. In 2009, the vast majority of computer software could only process
         structured information. It was Autonomy’s ability, using IDOL technology, to
         handle unstructured information that set it apart.

44.      Dr Lynch explained that IDOL is an engine that can form a conceptual and
         contextual understanding of unstructured data using probabilistic theory based
         on the occurrence of certain word patterns, enabling the computer to infer
         meaning.9

45.      Put shortly, using IDOL technology computers could make sense of
         unstructured data, and analyse and process raw information in the form of
         emails, voicemail, websites, telephone conversations and video recordings: a
         vast universe. It could analyse any digital document, speech or video,
         independent of its language, to identify and prioritise the main concepts within
         that document. IDOL users were enabled to automate a broad range of otherwise
         labour-intensive, iterative tasks, ranging from categorising information by
         subject matter, to inserting hypertext links to related material, to profiling users
         based on ideas in the text they read or wrote, to delivering information to those
         users most likely to be interested. Furthermore, IDOL was flexible and scalable:
         the fundamental capabilities of its core technology allowed it to be embedded
         in a wide range of applications.

46.      Between 1996 and 2012, IDOL technology was continuously developed and
         refined by Autonomy’s team of software engineers. Dr Lynch (whose fondness
         for analogies became very evident in his 22 days in the witness box) explained
         that:



9
  Dr Lynch illustrated the connection between probabilistic theories and computing, and the use of an
algorithm based on the rule that a large number of weak connections produce a better result than a
single strong connection, by positing a search for the word “penguin”. In a simple search engine, you
might get results for flightless birds in the Antarctic, the book publishers, a character in the Batman
comic series, a US ice hockey team or a brand of clothing. However, if unstructured data contains
contextual references to the Antarctic, ice, fish, feathers, eggs and black and white, there is a very high
likelihood that the text is about penguins (the birds), even if the word “penguin” does not appear in the
data.


                                                  Page 26
     Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 28 of 900
Approved Judgment                                                                       HC-2015-001324
Mr Justice Hildyard


                       You could think of IDOL technology as a box of Lego. It could be
                      made to do a lot of different things. It could be adapted by customers
                      to suit themselves. Sometimes functions were packaged up together and
                      sold as a product which could, depending on the circumstances, take
                      on a variety of names. For example, the video functions were packaged
                      together and often sold as Virage”. Other functions could be put
                      together to be sold as Digital Safe” or ACA” (a suite of

                      software that managed the entire process of archiving and indexing a
                      company s data) or Autonomy Legal Hold (a document retention tool
                      which ran on laptops, video archiving, ecommerce and website
                      software and intelligence related products). When Autonomy wanted to
                      do something new and radical like SPE10, it developed new IDOL
                      functions, which were like new Lego bricks. These bricks could work
                      together with an existing Lego set, or be sold as a separate package,
                      like a Lego helicopter.”


47.      In addition to functions, the IDOL platform included (a) connectors, which
         enabled the IDOL platform to connect with many different systems, such as a
         bank’s trading system or a law firm’s document management system, and (b)
         interfaces, where a set of functions and connectors were put together to solve a
         problem (such as the Introspect e-Discovery interface which was a
         marketleading document processing, review and production application, used
         widely in the legal sector).

Autonomy: structure and organisation

48.      Autonomy’s corporate governance structure comprised (in 2010-2011) an
         experienced board of directors chaired by Mr Robert Webb QC (as
         nonexecutive chairman) and a three-man Audit Committee, with its external
         auditors being Deloitte.

Board of Directors

49.      Appointed Queen’s Counsel in 1988 and a Recorder of the Crown Court in 1993,
         Mr Webb had previously served as General Counsel at British Airways, and as
         at 2010 continued to serve as non-executive director of the London Stock
         Exchange, the BBC and two other companies.

50.      In addition to Dr Lynch and Mr Hussain (the only executive members) the other
         board members were Mr Jonathan Bloomer (non-executive) who was also
         permanent chair of the Audit Committee, and who had been Group Chief

10
  An Autonomy product called the Structured Probabilistic Engine (“SPE”). SPE was the
subjectmatter of a dispute arising principally out of the fact that Autonomy attributed considerable
costs to its development and marketing whereas HP claimed that it was simply a hastily developed
“repositioning” of IDOL technology containing no new features, which in reality cost next to nothing
to develop and market but which was used as a cloak for some of the costs/losses of the hardware sales
in Q3 2009. The Claimants relied on this as a basis for undermining the credibility of the Defendants.


                                                Page 27
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 29 of 900
Approved Judgment                                                               HC-2015-001324
Mr Justice Hildyard


         Executive of Prudential Plc from March 2000 until May 2005, and before that
         senior partner in Arthur Andersen’s financial markets division; Mr Richard
         Gaunt (non-executive), who was the co-founder of Autonomy; Dr Frank Kelly
            FRS (non-executive), Professor of Mathematics of Systems in the Statistical
                  Laboratory, University of Cambridge and Master of Christ’s College,
         Cambridge; and Mr John McMonigall (non-executive) a partner of Apax
         Partners Worldwide LLP and previously a member of the Management Board
         of BT.



Audit Committee

51.      Until September 2010, the members of the Audit Committee had been Mr Barry
         Ariko (a former senior executive at Oracle Corporation and of other software
         and hardware companies), Mr Richard Perle (a former US Assistant Secretary
         of Defense and a former director of various pharmaceutical and aerospace
         companies) and Mr McMonigall. There had not been a permanent Chair of the
         Audit Committee (so that its members served as Chair on an ad hoc basis) and
         none of the members was an accountant or had any formal accountancy training.
         Mr Bloomer told me when cross-examined that it would be normal to expect
         that the Chair would be “financially literate” but not necessarily that he or she
         would have an accountancy qualification (though he thought probably most
         did).

52.      Mr Ariko and Mr Perle retired in September 2010 and from then until the
         Acquisition the Audit Committee comprised, in addition to its Chair (Mr
         Bloomer), Mr Kelly and Mr McMonigall. As noted later by Ernst & Young
         (“E&Y”) (HP’s auditor), both the Board and the Audit Committee had been
         expanded over the course of 2010 following analyst pressure, leading to what
         E&Y described as “the formalisation of the Audit Committee process and a
         more robust independent challenge to the board.”

53.      Before every meeting members of the Audit Committee would receive a pack
         including, amongst other things, a draft press release, a quarterly results analysis
         by the finance department, and Deloitte’s report to the Audit Committee.
         Deloitte’s report was a substantial document – between 20 and 40 pages –
         identifying the key risks identified by Deloitte in the quarter. Prior to each Audit
         Committee meeting, Mr Bloomer would read these documents, and would
         discuss Deloitte’s findings at his meeting with the audit partner. The meeting
         of the Audit Committee itself would generally last around 2 hours.

54.      Dr Lynch did not attend Audit Committee meetings. This accorded with good
         corporate governance. Deloitte did attend, and the Audit Committee could and
         did ask questions of them. A portion of every Audit Committee meeting took
         place without any executives present, to ensure that Deloitte had an opportunity
         to raise any concerns they may have had with management. This was an
         opportunity for completely frank discussion without any of the management
         team present. If there were any matters of importance, they would be escalated



                                            Page 28
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 30 of 900
Approved Judgment                                                              HC-2015-001324
Mr Justice Hildyard


           by Deloitte to the Audit Committee. Mr Lee Welham (“ Mr Welham”), the
           senior manager on the Deloitte audit team from 2008 to August 2011, who had
           since 2005 been a member of the audit team (and was the only Deloitte witness
           the Claimants chose to call), never had a sense that there were any areas where
           the Audit Committee could not or would not go. Deloitte never raised any
           concerns about management with the Audit Committee.

Management team

55.        Mr Hussain’s predicament should not obscure the fact he was highly regarded.
           He had been a winner of the London Stock Exchange CFO of the year award.
           The finance department beneath him was substantial and was also led by
           experienced individuals (see below).

56.        Apart from the Defendants at the apex, the members of the management team
           were:

             (1)      Mr Andrew Kanter (“Mr Kanter”), Autonomy’s Chief Operating Officer
                      (or “COO”) and General Counsel throughout the Relevant Period (who
                      provided a witness statement, which was withdrawn when Dr Lynch did
                      not call him, see paragraph 426(4) below). He was mainly based in
                      Cambridge. At the time of the trial and closing submissions Mr Kanter
                      remained subject to continuing investigation by the US Department of
                      Justice (“US DoJ”).

             (2)      Dr Peter Menell, Autonomy’s Chief Technology Officer (or “CTO”)
                      throughout the Relevant Period, who did not give evidence, see
                      paragraph 428 below. He was based in Cambridge.

             (3)      Ms Nicole Eagan (“Ms Eagan”), Autonomy’s Chief Marketing Officer
                      throughout the Relevant Period, who like Mr Kanter provided a witness
                      statement which was withdrawn when Dr Lynch did not call her (see
                      paragraphs 426(4) and 1139 below). She was US-based. Like Mr
                      Kanter, at the time of the trial and closing submissions she remained
                      subject to continuing investigation by the US DoJ.

57.        The above individuals were members of the “MRL Leadership” group, which
           was listed in an organisational chart dated August 2011. Another central figure
           was Mr Stephen Chamberlain (“Mr Chamberlain”). He was in the finance
           department, reporting to Mr Hussain: see paragraph 67 below. There were 26
           senior individuals listed on that chart, which also shows their location in the
           various different global locations. 11 Thus, Autonomy’s management would
           often be in different locations to each other.

Autonomy Inc management team

58.        Autonomy Inc had its own management team, which consisted of:


11
     12 Mr Lucini was not listed.


                                              Page 29
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 31 of 900
Approved Judgment                                                                 HC-2015-001324
Mr Justice Hildyard


           (1)        Mr Christopher ‘Stouffer’ Egan (“Mr Egan”), who was its CEO
                      throughout the Relevant Period, who was responsible for sales activities
                      in North and South America. He gave evidence in Mr Hussain’s criminal
                      trial in the US and provided a witness statement in these proceedings but
                      declined to attend in the UK and was cross-examined over video link.
                      He was based in San Francisco.

           (2)        Mr Joel Scott (“Mr Scott”), who was its COO and General Counsel
                      throughout the Relevant Period. He too was based in San Francisco. He
                      gave evidence in the criminal trial in the US also, but none in these
                      proceedings.

           (3)        Mr James Crumbacher (“Mr Crumbacher”), who worked with Mr Scott
                      in Autonomy Inc’s legal department.

           (4)        Mr Michael Sullivan (“Mr Sullivan”), who was CEO of the Protect
                      business, which was the archiving and litigation discovery division of
                      Autonomy from 2009, carrying on business which before 2009 was
                      carried on through Zantaz. Mr Sullivan had been Senior Vice president
                      of Operations and Services of Zantaz, responsible for delivery of all
                      products and services to customers, before its acquisition by Autonomy
                      in 2007. After that acquisition, he became the CEO of Zantaz from 2007
                      (when it was acquired by Autonomy). He was based in Boston,
                      Massachusetts. He gave oral evidence in the US criminal proceedings
                      and a witness statement (which was admitted by a hearsay notice) in
                      these, but declined to attend for cross-examination.

           (5)        Mr Eloy Avila (“Mr Avila”), who was Chief Corporate Architect from
                      September 2009 to May 2010, when he became CTO for the Americas.
                      He became worldwide CTO in November 2010 and was based in San
                      Francisco. He provided a witness statement for Dr Lynch and was
                      crossexamined in these proceedings.

           (6)        Mr Andrew Joiner (“Mr Joiner”), who was CEO of Autonomy’s
                      Promote/eTalk business and was based in the US. He did not give
                      evidence in these proceedings, and was not central to the matters in
                      issue.

           (7)        Mr Michael Mooney (“Mr Mooney”), who was a senior salesman based
                      in Pleasanton. He did not give evidence.

59.      Except for Mr Scott and Mr Crumbacher, all the individuals named in the
         preceding paragraph were members of the “MRL Leadership” group.

Sales teams and sales process

60.      There were different sales teams for Autonomy’s various business areas and
         locations. Mr Egan was effectively head of sales in the US. Mr Egan’s reporting
         line was to Dr Lynch and Mr Hussain; but in practice he reported to Mr Hussain,



                                                Page 30
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 32 of 900
Approved Judgment                                                              HC-2015-001324
Mr Justice Hildyard


         whom he described in his witness statement as “de facto Head of Sales for the
         entire company”. Mr Sullivan headed up the Zantaz business.

61.      Senior salesmen in the US included Mr Mooney (in California) and Mr Robert
         Sass (“Mr Sass”) (in New York). Autonomy’s federal business had its own
         sales team. There were different sales teams in the EMEA regions. The number
         of salesmen increased substantially in the period 2009-2011.

62.      Autonomy’s sales function was run using the Sales Management System or
         “SMS”. This was a database of pipeline prospects. Salesmen were required to
         input details into SMS, detailing the opportunity, quotes, notes, call logs and the
         like. They were supposed to do so every day (although Mr Egan thought that
         was the hope rather than reality). There were weekly SMS sales calls which
         were broken up into multiple calls over several hours. US sales were the
         majority of Autonomy’s sales. The US part of the call was generally led by one
         of US management, such as Mr Egan or Mr Mooney. Very occasionally Mr
         Hussain might lead the call if none of US management was available. While Dr

         Lynch joined these calls in the very early days of the company, his evidence
         was that he very rarely did so in the Relevant Period.

63.      Autonomy set quarterly revenue targets. Mr Egan accepted in crossexamination
         that these were an essential management tool. But they were also deployed in
         another way which is very central to this case. They were reported to the market
         quarterly and became the reference point for analysts and the market in
         assessing Autonomy’s performance.

64.      It is clear from their use, from documentary evidence of analyst and investor
         outlook, and from emails from Mr Marc Geall (“Mr Geall”) in Autonomy’s
         Investor Relations department that both Autonomy’s success and to some extent
         its problem was that by mid-2009 Autonomy was being perceived in the market
         as a “beat and raise” growth stock.

65.      A “beat and raise” stock was a well-known market expression connoting a
         company, often a technology company, with a track record or reputation of
         beating consensus estimates of revenue or earnings in one quarter and raising
         its own forward revenue or earnings forecasts for the next, and whose share
         price typically reacted according to its success or not in each quarter in that
         regard. In cross-examination, Dr Lynch sought to downplay this. He told me
         that although he did not think it “a point worth labouring”, and “if some people
         looked it that way, then fair enough”, he did not remember or consider
         Autonomy “being a paradigm of beating and raising through this period”. But
         the evidence was, and I find, that it was. Mr Hussain and Dr Lynch became
         obsessed with this performance marker, as will emerge.

66.      That perhaps explains why the Defendants, who might have been expected to
         trumpet their successes, were surprisingly keen during the trial to emphasise that
         Autonomy did in fact miss its consensus revenue targets from time to time (five
         times in the period between 2009-2011). During the Relevant Period, they also
         sought to depict the increase of its overall revenue targets as the result of an


                                           Page 31
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 33 of 900
Approved Judgment                                                           HC-2015-001324
Mr Justice Hildyard


         increasing sales force, and launching new products continually, increasing
         market share, and operating in markets that were expanding rapidly. There was
         no mention ever of substantial sales of hardware separately from the provision
         of Autonomy software, or what the Claimants called “pure hardware sales”.

Autonomy s finance department

67.      Autonomy had a substantial finance department, headed by Mr Hussain as CFO.
         His right-hand man was Mr Chamberlain, an ex-Deloitte Chartered Accountant.
         Mr Chamberlain, whom Mr Welham described as his “main point of contact
         throughout the audit and review processes” and the “first point of contact for
         many requests from the Deloitte audit team for information” did not give
         evidence in these proceedings. He has been indicted in US criminal proceedings,
         which I believe may now have commenced.

68.      Mr Matthew Paul Stephan (“Mr Stephan”) and Ms Poppy Gustafsson (nee
         Prentis, and whom I refer to as “Ms Gustafsson”) and (from 2011 onwards) Ms
         Antonia Anderson (“Ms Anderson”) also worked in the department, reporting
         to Mr Chamberlain. All three were based in Cambridge: they were all ex-

                Deloitte Chartered Accountants. Mr Stephan had been part of Deloitte’s
            Autonomy audit team until December 2008 and joined Autonomy in March
         2009, where he worked until early 2011. Ms Elizabeth “Lisa” Jane Harris (“Ms
         Harris”), another Chartered Accountant (ex-KPMG) also worked there. Mr
         Stephan and Ms Anderson gave evidence for the US Government in the US
         criminal proceedings, and Mr Stephan’s evidence was admitted into these
         proceedings by hearsay notice served by the Claimants.

69.      Ms Gustafsson (who is now Chief Executive Officer of Darktrace, a cyber
         security company of which Dr Lynch was a founder and remains a substantial
         shareholder) and Ms Harris (who is referred to as a “co-conspirator” in the most
         recent form of the Indictment in respect of Dr Lynch in US criminal proceedings
         for her role in the alleged theft of confidential information uploaded to a USB
         device/pen drive which seemed to her to evidence knowledge on the part of HP
         of the fact of Autonomy’s hardware sales) gave evidence and each was cross-
         examined in these proceedings.

70.      The finance team in Cambridge sat in an open plan office, with everyone within
         earshot of one another. Ms Harris explained that that team were able to share
         ideas and have discussions freely; and Mr Chamberlain would have discussions
         with Mr Hussain and with Deloitte at a table in this office, in earshot of
         everyone.

71.      The UK finance team was responsible for all the accounting for the
         nonAmerican countries and consolidation of all global accounts. There was also
         a team based in the Netherlands who did sales order processing for non-
         American sales. Accounting for Autonomy's American-based subsidiaries
         involved work by the US accounting teams, with consolidation taking place in
         the UK. There were several teams in the US from Autonomy Inc and legacy



                                          Page 32
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 34 of 900
Approved Judgment                                                                HC-2015-001324
Mr Justice Hildyard


         Autonomy acquisitions, including eTalk, Interwoven, Zantaz and Iron
         Mountain. All finance teams reported to Mr Chamberlain.

Autonomy s Auditors: Deloitte

72.      Autonomy’s auditors were Deloitte, a Big Four accounting firm. Deloitte’s
         work for Autonomy was handled through its Cambridge office. Deloitte spent
         approximately 12 weeks per year on-site in the Cambridge offices of Autonomy.
         Deloitte had unfettered access to Autonomy’s accounting records, as was clear
         in the evidence of Ms Gustafsson and Ms Harris referred to below.

73.      Deloitte had day-to-day contact with members of Autonomy’s finance team in
         Cambridge, including Mr Chamberlain, Ms Harris, Ms Gustafsson, Mr Stephan
         and (from 2011) Ms Anderson. Deloitte also had a reasonable amount of contact
         with Mr Hussain, although he was not based in Cambridge full time. Deloitte
         could and did also ask questions of Autonomy’s technical staff (including Dr
         Menell, Mr Lucini, Mr Goodfellow, Mr Gallagher and Dr Blanchflower, as to
         whom see below), as well as the sales staff, such as Mr Egan.

74.      Deloitte’s audit team numbered around 12 to 15 people. The audit team
         included:

           (1)        A lead audit partner/engagement partner. This was Mr Richard Knights
                      (“Mr Knights”) for 2009 and Mr Nigel Mercer (“Mr Mercer”) for 2010
                      and until August 2011. In the transition period between those two
                      individuals in Q1 2010 Mr Knights and Mr Robertson were the
                      engagement partners. The Defendants invited me to note that although
                      Mr Welham gave evidence as to judgements that Deloitte might have
                      reached in a counterfactual world, he was a senior manager at the time,
                      and these would ultimately not have been his judgements but those of
                      his superiors (as indeed Mr Welham accepted in cross-examination).

           (2)        There were numerous accountants below the partner level. In the
                      Deloitte hierarchy directors were below partners. Managers were below
                      that. The professionals in the audit team included Mr Rob Knight (a
                      director), Mr Welham (then a senior manager), Ms Anderson and Mr
                      Murray (also managers). (Ms Anderson moved from Deloitte to
                      Autonomy in early 2011.)

           (3)        Deloitte’s engagement quality assurance review (“EQAR”) partners.
                      These provided second partner review and consultation, and were able
                      to meet and ask questions of the client.

           (4)        Separate to the audit team there was an independent review partner
                      (“IRP”) who reviewed the work of the audit team and the EQAR
                      partners. The IRP carried out an objective evaluation of the significant
                      judgements made by the engagement team and the conclusions reached
                      in formulating the auditors’ report. The IRP could not meet or have any
                      interaction with the client, so as to preserve their independence.



                                               Page 33
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 35 of 900
Approved Judgment                                                                 HC-2015-001324
Mr Justice Hildyard


           (5)        There was also a professional standards reviewer (“PSR”), who together
                      with the IRP and EQAR also reviewed the audit partner’s work.

           (6)        Deloitte had an internal technical IT expert, Mr Johnstone, who was an
                      accountant but also an IT specialist.

           (7)        Assistance on request (by either the engagement or EQAR partners)
                      from Deloitte’s National Accounting and Auditing technical team
                      (“NAA”). Mr Philip Barden (“Mr Barden”) was a partner in that team.
                      He was a member of the Institute of Chartered Accountants’ financial
                      reporting committee, a senior person within Deloitte and one of the
                      senior authors of Deloitte’s 2009 guidance on IFRS.

           (8)        Around six people from the Deloitte team worked on site in Cambridge
                      during the audit process. The audit team would always sit in an office
                      close to the finance team, and had free rein to go about and talk to
                      anyone. Ms Harris’s unchallenged evidence was that they were entitled
                      to see anything and everything they wanted in any of the files, and the
                      “audit team would take away revenue and any other files of working
                      papers and review them at their leisure”. In preparation for the audit or
                      quarterly review, the finance team would put together bundles for every
                      revenue contract in excess of $100k, including the contract, invoice,
                      proof of delivery and payment history, together with the details of any
                      accounting adjustments. If Deloitte had any questions regarding the
                      wider context of a deal, its commercial rationale, or the features of the
                      relevant products or services, they had ready access to Autonomy’s sales
                      or technical teams. They appear to have become almost an adjunct of
                      the finance department.

75.      Ms Gustafsson had been at Deloitte, working on the Autonomy audit, before she
         joined Autonomy. She said in cross-examination that “the auditors were never
         isolated from the sort of general finance function and they were able to come
         and see all of the original documentation that I myself relied upon.”

76.      As the audit team worked from the Autonomy offices, most requests were made
         in person, as the auditors could simply walk over to the desk of someone in the
         finance function, who could in most instances immediately pull the information
         required from Autonomy’s electronic systems.

77.      Mr Welham agreed that the Deloitte team were of high calibre and properly
         trained and they acted independently, competently and with integrity.

78.      As Chairman of the Audit Committee (from September 2010), Mr Bloomer met
         Mr Mercer, the audit partner, on a regular basis. In unchallenged evidence, he
         said that he “found Deloitte to be thorough and diligent in their audits”; their
         reports to the Audit Committee were generally more detailed than he had come
         across in other audit committee roles, and struck him as “detailed, open and
         direct”.

Work undertaken by Deloitte and engagement with finance department


                                                Page 34
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 36 of 900
Approved Judgment                                                               HC-2015-001324
Mr Justice Hildyard


79.      Deloitte undertook detailed work not only in relation to Autonomy’s annual
         accounts, but also in relation to its quarterly reporting. They also tested all of
         Autonomy’s revenue transactions over $1m, and a sample of smaller revenue
         transactions. This covered the bulk of the transactions impugned in these
         proceedings.

80.      Deloitte’s audit work for the 2009 and 2010 annual audits was performed in
         accordance with the International Standards on Auditing. The general
         requirements of an audit were summarised at §5 of ISA 200:


               “As the basis for the auditor’s opinion, ISAs (UK and Ireland)
               require the auditor to obtain reasonable assurance about whether
               the financial statements as a whole are free from material
               misstatement, whether due to fraud or error. Reasonable assurance
               is a high level of assurance. It is obtained when the auditor has
               obtained sufficient appropriate audit evidence to reduce audit risk
               (that is, the risk that the auditor expresses an inappropriate opinion
               when the financial statements are materially misstated) to an
               acceptably low level. However, reasonable assurance is not an
               absolute level of assurance, because there are inherent limitations
               of an audit which result in most of the audit evidence on which the
               auditor draws conclusions and bases the auditor’s opinion being
               persuasive rather than conclusive.”


81.      The requirement that the auditor exercise professional judgement and maintain
         professional scepticism was explained at §7. Professional scepticism was
         defined as: “An attitude that includes a questioning mind, being alert to
         conditions which may indicate possible misstatement due to error or fraud, and
         a critical assessment of audit evidence.” The requirement to exercise
         professional scepticism was restated at §15 of the standards. The concept of
         professional scepticism was at the heart of the audit function, as Mr Welham
         agreed, and was drilled into the Deloitte team as part of their training.

82.      Ms Gustafsson, speaking about her time at Deloitte, also stressed the importance
         of professional scepticism. She said in practice that this meant that Deloitte
         could not simply rely on information provided to it by the finance department
         in isolation, but would need to undertake its own information gathering process,
         checking contractual documents, making checks directly with third parties
         (suppliers, customers and technical experts), validating commercial
         justifications with technical teams, and seeing product demonstrations.

83.      Mr Welham agreed that Deloitte did not simply rely on management
         representations. They looked for other audit evidence where possible. The
         auditors also had to be alive to anything that might suggest risk of misstatement
         or fraud, and to exercise a testing and enquiring frame of mind, not unthinkingly
         accepting what was put in front of them. Mr Welham considered that Deloitte’s
         audit team for Autonomy fully complied with these requirements. Deloitte’s
         audit team also approached the audits of Autonomy with the specific risks of


                                             Page 35
     Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 37 of 900
Approved Judgment                                                                       HC-2015-001324
Mr Justice Hildyard


         fraud in mind, including risks of management being under pressure to meet
         various outcomes including financial targets.

84.      None of the issues raised in this case was identified by Deloitte at the time as
         issues of fraud. Nor did Mr Welham consider at any stage that there had been
         any fraud. He saw nothing that caused him to be concerned that there was fraud
         at a senior management level as now alleged in this case. Mr Welham
         subsequently applied for the role as Autonomy CFO, after Mr Chamberlain’s
         departure in December 2011. This would have involved working with Mr
         Hussain. Mr Welham had no concerns when he applied for that job about the
         accuracy or integrity of Autonomy’s accounting functions. Nor did Mr Welham
         have any concerns about the ability or honesty of the technical people Deloitte
         were given access to, including Dr Menell, Mr Lucini and Dr Blanchflower.

85.      Deloitte also confirmed to HP during due diligence that Deloitte did not have
         any disagreements with management regarding accounting policies or
         conclusions.12




External lawyers

86.      Autonomy had Slaughter and May as its external lawyers. They were appointed
         as Autonomy's takeover defence counsel in November 2010 and provided
         advice on the acquisition process, including the NDA which set out Autonomy’s
         limited obligations to provide information to HP during the due diligence
         process.13

Dr Lynch s role

87.      Inevitably, given the dispute as to Dr Lynch’s involvement in and knowledge of
         the impugned transactions and their accounting treatment, there was a dispute
         as to his role within the Autonomy group.

88.      The role of a CEO may of course vary from company to company. But its
         principal focus usually is to direct the strategy of the company concerned,
         present and explain that strategy, and create and build the context in which that
         strategy may be achieved (including by using high level contacts), leaving it to
         line management to implement the strategy and report on its progress. It is not
         ordinarily the responsibility of a CEO in a larger enterprise to negotiate or
         execute transactions or account for them.



12
   Mr Welham also confirmed that there were no major disagreements to his knowledge.
13
  Mr Cooke, currently the senior partner of the firm, provided a witness statement which the Claimants
did not challenge.


                                                Page 36
     Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 38 of 900
Approved Judgment                                                                        HC-2015-001324
Mr Justice Hildyard


89.      Dr Lynch maintained that his role in fact conformed to this usual template. Thus,
         according to his evidence and submissions:

              (1) Perhaps the only more unusual aspect of his role was that as what he
                  called a “true technologist” he continued to play an active role in
                  product development strategy. This was probably atypical in an
                  enterprise software company (as perhaps illustrated by Mr Léo
                  Apotheker’s (“Mr Apotheker”) more standard role when CEO of HP).

              (2) By the mid-2000s he was not generally involved in sales transactions,
                  and had not been since Autonomy’s fledgling days. He did from time
                  to time meet at a high level with the most senior people in the large
                  customer institutions. But he did not deal with the procurement people
                  or with the negotiation of the transactions themselves (as the negotiation
                  and contractual documents confirm in the sense that his name is not on
                  them).

              (3) From time to time (and especially towards quarter ends) Dr Lynch was
                  sent lists by Mr Hussain of the large deals which were in the running,
                  although their prospects fluctuated over time.14 Mr Hussain provided
                  summary information to Dr Lynch showing expected revenue, and
                  progress towards revenue targets. Dr Lynch was keen to stress in his


                      closing submissions that his interest in having Autonomy meet its
                      revenue and earnings targets was unsurprising for the CEO of a listed
                      company. In general terms, I accept that.

              (4) He was not involved in documenting the sales (or purchase)
                  transactions. That was dealt with by the legal department, with some
                  involvement from sales or from the finance department. The emails
                  showed involvement from people such as Mr Scott, Mr Crumbacher and
                  Mr Guiao (legal, in the US). Some involvement from Mr Chamberlain
                  and Mr Stephan (finance, in Cambridge in the UK) is evident. The legal
                  department also interacted with sales personnel such as Mr Egan, Mr
                  Sass, Mr Mooney (all in the US) or more junior sales people. Dr Lynch
                  was nowhere near this process.

              (5) Likewise, the accounting for sales transactions was undertaken by the
                  finance department. Decisions on collectability, for example, were
                  taken by them. Their work was closely scrutinised by Deloitte.

              (6) With respect to the VAR transactions complained of, Mr Egan had no
                  communications with Dr Lynch about the details of the individual deals.


14
  That is not to say that Dr Lynch should be taken to have pored over and absorbed the detail of the
long spreadsheets that Mr Hussain sent to him regularly, which he plainly treated as more Mr
Hussain’s way of working than something he had to master: but he did often require, and usually
showed signs of having absorbed, a synopsis of such spreadsheets, as I shall come on to illustrate more
specifically.


                                                Page 37
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 39 of 900
Approved Judgment                                                                 HC-2015-001324
Mr Justice Hildyard


                      Dr Lynch’s evidence was that he had no dealings with any of the
                      resellers themselves.

              (7) Dr Lynch did have a role in purchases. For large purchases (which were
                  not repeat business or sell throughs) he was generally one of the people
                  approving. When he did give his approval, it was on the basis that he
                  considered the purchase was a good idea for Autonomy. The
                  Defendants made the point, which I accept, that if the purchase
                  opportunity had been brought by a salesman such as Mr Egan, Dr
                  Lynch’s views and motivations in respect of the transaction might not
                  necessarily have been the same as those of the salesman. Moreover, Dr
                  Lynch was not privy to the discussions between the negotiating
                  counterparties; Mr Egan could not give evidence of any discussion or
                  interaction with Dr Lynch in relation to impugned purchase deals that
                  he negotiated (EDD and StorHouse). In each case, Dr Lynch contended
                  that his approval reflected his understanding that the purchase was in
                  Autonomy’s legitimate commercial interests.

              (8) Dr Lynch did not negotiate the purchases, and was not usually involved
                  in the detail of them. He relied to a large extent on the judgement of
                  others, such as Dr Menell, when approving the transaction. In particular,
                  the technical evaluation of the products was led by Dr Menell, who had
                  a team working under him. Dr Lynch was entitled to rely on their
                  assessments as confirming that the purchase was a sound idea from a
                  technical perspective.

              (9) In the latter context, while he is highly able technologically, Dr Lynch
                  was not generally involved in the detail of the technical matters being
                  addressed by the Autonomy technical staff.

              (10)     Dr Lynch summarised the process for purchases, and his role in it,
                  in his first witness statement:

                           “380. In terms of the process, certain purchases would be
                           signed off by a small group of people and I would often not
                           be informed of these purchases. For example, if Autonomy
                           was purchasing a product for resale to a customer, making
                           a repeat purchase or purchasing something of low-value,
                           I would not typically sign off on the purchase or be
                           informed of it. Thus, contrary to HP's claim, I did not sign
                           off on each and every purchase over $30,000.

                           381. On the other hand, high-value purchases would
                           generally be considered by me, Mr Menell and Mr
                           Hussain, among others. The purchase would be approved
                           by numerous people and the final sign-off would come
                           from me. In deciding whether or not to approve a
                           purchase, I would ask myself whether the product was
                           aligned with the company's strategy and whether


                                               Page 38
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 40 of 900
Approved Judgment                                                             HC-2015-001324
Mr Justice Hildyard


                       Autonomy would be able to use or sell on the product. If
                       the rest of the team had signed off on a purchase and its
                       rationale had been explained to me, I was generally
                       confident that it was a good deal and that a valid need or
                       use had been established. If Autonomy purchased
                       software, Mr Menell or one of the engineers on his team
                       often created a technical analysis paper, either before the
                       purchase or shortly thereafter, to memorialise the decision
                       in a note to the file.

                       382. The purchasing process did not take very long.
                       Unlike many companies, Autonomy could make decisions
                       quickly and projects could be started, paused, stopped or
                       restarted at any time in response to market opportunities.
                       Autonomy was an agile company, operating with little
                       bureaucracy. Once Autonomy had purchased a product,
                       the time it took for Autonomy to use the product varied.
                       Sometimes it could take a few months to assemble
                       development resources and either remove the team from,
                       or let it finish, its work on other products. There were also
                       times where Autonomy made a purchase in anticipation of
                       an upcoming project, but due to changes in priority and
                       market shifts, the project was ultimately abandoned and
                       thus the product was not used in the manner anticipated.
                       This was a reality of being a company in a fast-moving
                       industry. Nonetheless, it is my understanding that the vast
                       majority of Autonomy's purchases were in fact used.”
              (11)     Dr Lynch stressed that he did not involve himself in accounting for
                  the purchase transactions which was, again, a matter for the finance
                  department, scrutinised by Deloitte.

              (12)      Dr Lynch did have a high-level understanding and approval of the
                  strategy behind the hybrid sales in the hosting business. He identified
                  and saw it as a good business move in Autonomy’s interest. He
                  maintained that he was not generally involved in the individual hybrid
                  transactions, whether new sales or restructurings, although from a
                  revenue perspective he was made aware at a high level of the progress
                  of some of the large deals that were being negotiated, and sometimes
                  sought to use his contacts in higher levels of management to facilitate
                  them. His evidence was that the detail and content of those deals was the
                  province of the sales personnel, largely operating in the US, and that he
                  was not involved in that nor in the accounting for them, which again was
                  dealt with by the finance department, closely scrutinised by Deloitte.

90.      Dr Lynch summarised his role, and his other commitments outside Autonomy,
         in his witness statement as follows (the detail of which was not challenged):




                                            Page 39
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 41 of 900
Approved Judgment                                                                  HC-2015-001324
Mr Justice Hildyard


                      “69. Often CEOs of large software companies are salespeople;
                      I am not. My role was to make sure the processes were in place
                      to enable the company to make the best decisions. I made sure
                      that we had the right people on Autonomy's board, Audit
                      Committee and in management positions. As a true technologist,
                      I had an active role in product development strategy and
                      positioning, which was unusual for an enterprise software
                      company. I worked on the strategy behind Autonomy's product
                      development, the marketing and positioning of the company and
                      telling Autonomy's story, as a statesman for the company.

                      70. My role revolved primarily around setting the strategic
                      direction for the company, making sure we had the right people
                      supporting the company internally and externally, maintaining
                      contact with key financiers and investors and making decisions
                      relating to a wide range of matters that came up in the company's
                      operations day to day. I was very involved whenever the
                      company was considering or making any large, strategically
                      important acquisition (i.e., buying any large company). I
                      generally participated in interviews of marketing staff, but not
                      finance, sales or technical staff. I spent a substantial amount of
                      time staying up to date with technical developments by reading
                      industry publications and attending conferences. I travelled a
                      great deal, attending conferences, meeting stakeholders and
                      visiting Autonomy's offices around the world. I visited the US for
                      three or four weeks a year. Most of my contact was with the
                      senior management team, but I interacted with many other
                      employees as well, as well as the company's advisers (legal,
                      accounting, PR, etc.). As I explain later, I maintained contact
                      with very senior people at many of Autonomy's major customers.

                      71. No two days were the same, but on an average day in the
                      period between 2009 and 2011, I might meet or speak with
                      Autonomy's management team to discuss any number of issues;
                      attend, and often present at, a tech conference hosted by one of
                      the banks; meet with an investment banker to discuss M&A and
                      financing; attend a results roadshow, a BBC Executive Board
                      meeting or a meeting for one of my other trusteeships. On an
                      average day I would spend much of my time in meetings or on
                      the telephone and travelling. I had a private office in Autonomy's
                      Cambridge headquarters and I also worked in Autonomy's open
                      plan office in London. Although it varied, I would estimate that
                      I worked in the Cambridge office 20% of the time, in the London
                      office 40% of the time and somewhere else the remainder of the
                      time, such as meetings outside the office or travelling abroad.”




                                                Page 40
     Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 42 of 900
Approved Judgment                                                                  HC-2015-001324
Mr Justice Hildyard


91.      According to Ms Emily Margaret Orton (“Ms Orton”) 15 , a Cambridge
         University graduate who worked as Dr Lynch’s assistant from early 2010 for
         around 18 months, Dr Lynch was primarily based in the London office (as was
         Ms Orton), and spent only about ten to twenty per cent of his time in the
         Cambridge office. When in London, Dr Lynch shared an office with Mr Hussain
         and Mr Kanter (though the latter was usually in Cambridge). In addition to
         meetings with external parties such as investors, bankers and journalists, and
         some non-executive responsibilities (including at the BBC), on which Ms Orton
         reckoned he spent some five to ten per cent of his time, Ms Orton estimated Dr
         Lynch spent 50% of his time on what she called “public facing matters”, rather
         than operational matters.

92.      Dr Lynch accepted that, as CEO, he bore responsibility for Autonomy’s
         financial reporting. But he was not an accountant and was not generally involved
         in the detail of the accounting or the presentation of the financial reports. His
         case was that he was entitled to rely on his large and experienced finance
         function to do that, and was also entitled to take comfort from the scrutiny of
         Deloitte. He submitted that in this respect the position was no different to any
         other CEO of a large enterprise: this was illustrated in the crossexamination of
         Mr Apotheker who described his very similar role as CEO of SAP, in which he
         also relied on others:

               “Q. So you have familiarity with IFRS?

                A. Well, I have some knowledge of how IFRS works, but I'm not an
                    accountant.

                Q.    Right, but you were the CEO –


               A.     I was.

               Q.     So you were ultimately responsible for the accounts, were you?

               A.     Yes.

               Q.     But you weren't involved in the process of producing them, is
                      that right?

               A. I wasn't involved in the process of producing them. I signed off
                     on them, on the annual report, like any other CEO, and I
                     made sure that we followed through our own control


15
  Ms Orton left Autonomy to go to Invoke Capital with Mr Hussain, Mr Kanter, Dr Menell, Ms Eagan
on around 23 May 2012.


                                             Page 41
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 43 of 900
Approved Judgment                                                            HC-2015-001324
Mr Justice Hildyard


                      mechanisms through dialogue with the auditors, that we
                      followed all of the right procedures.

               Q.     So you had no doubt a finance department at SAP, is that right?

               A.     Yes.

               Q.     So      they would be           internal     accountants,
                       trained accountants, is that right?

               A.     Yes.

               Q.     And then external auditors?

               A.     Yes.

               Q.     Who were the auditors?

               A.     I don't remember.

               Q. Did you have an audit committee? Do you have audit committees in
                    German companies?

               A.     Of course there's an audit committee.

               Q. And they would no doubt recommend the accounts to you as the
                    CEO for approval, is that right?

               A. They would recommend the accounts -- they would review the
                     accounts and recommend to the board to approve the
                     accounts.

               Q.     Right.

               A.     That's the proper procedure. And before that, of course as
                      the CEO I have to sign off on them, together with the CFO by
                      the way.

               Q. Right, but you wouldn't be involved in looking at the numbers
                     and deciding what or what should not go into the accounts;
                     that was a matter for the team, who then provided it to you,
                     is that right?


                                            Page 42
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 44 of 900
Approved Judgment                                                              HC-2015-001324
Mr Justice Hildyard




               A.         That is correct.”


93.      This picture of him operating much as any CEO would ordinarily operate does
         not, however, capture the full extent of his role. Dr Lynch does appear to have
         concerned himself in certain contexts at a more operational level than would be
         typical of a CEO. It seems to me to be clear, for example, that his careful eye
         on whether Autonomy was going to meet its revenue targets in the last days of
         every quarter in the Relevant Period did result in him becoming aware of and
         sometimes involved in the progress of individual transactions to a greater extent
         and degree than I sensed that, to take the same example as previously, Mr
         Apotheker would likely have done.

94.      In that connection, the Claimants placed considerable emphasis on a particular
         comment in a memo dated 23 January 2011 prepared by Deloitte which noted
         that:

                      “…Mike Lynch has the overall say in what happens to the group as a
                      whole. It is a very unusual level of control for a FTSE 100 CEO to
                      have…”

95.      Deloitte also noted in the same memo that Dr Lynch’s approval was required
         for all purchase orders over $30,000 within the group, denoting a granular
         approach untypical for a CEO in a large enterprise, and the Claimants pointed
         to email exchanges with Ms Orton suggesting that Dr Lynch was involved in
         approving other expenditure of amounts as low as £300.

96.      These approval requirements of themselves do not demonstrate involvement in
         granular detail. Dr Lynch’s insistence on strict controls of expenditure was,
         more likely, a matter of corporate discipline: the need for approval is likely, and
         was probably intended, to ensure control of spending: but the details of the
         transactions probably seldom registered with him.

97.      I would accept also that the context of the Deloitte memo has to be taken into
         account. Its accounting purpose was to establish that Autonomy, though it was
         a conglomeration of a number of acquisitions, could be treated as a company
         with a single Operating Segment subject to overall central control and direction
         by Dr Lynch as its Chief Operating Decision Maker (see IFRS 8), and was not
         stratified or compartmentalised in a way that precluded this. I agree with the
         Defendants that Deloitte were not saying that Dr Lynch was involved in all the
         details: indeed, they also noted that:

                      “Mike Lynch also only ever reviews and considers financial and
                      resource information at a group level, with no consideration
                      given to individual product lines or business units.”




                                              Page 43
     Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 45 of 900
Approved Judgment                                                                       HC-2015-001324
Mr Justice Hildyard


98.      Nevertheless, the impression I have gained from the evidence I have seen and
         heard is that Dr Lynch exercised very personal overall control. He was very
         definitely and insistently at the apex of an unusual management structure in
         which the non-executive members of the board of directors (from 2010 onwards,
         Mr Robert Webb QC and Mr Bloomer) were his appointees. He was a very
         dominant personality. He expected to get his way, and did so. He was
         resourceful and determined; and he did not expect or tolerate doubts from others
         as to his chosen strategy, and he expected his strategies to be implemented.

99.      IDOL was substantially Dr Lynch’s brainchild and Autonomy was, in his
         perception, his company. Having grown rapidly from being a start-up company,
         and made a number of acquisitions and launched many new products based on
         its innovative technology over a relatively short time, Autonomy seems to me
         to have been run with entrepreneurial disdain for bureaucracy, and with Dr
         Lynch in active and personal control of strategic direction.

100.     There appeared to be no formal committee structure, and the board of directors
         was not the engine of decision-making. Indeed, it appears to have largely been
         side-lined, as the dearth of board minutes and the lack of any substantial sign of
         management direction illustrates16. It would be consulted about major corporate
         acquisitions: but there is no record of it being substantially involved in anything
         else. None of the Autonomy group companies acted on the basis of resolutions
         passed by its board of directors. I stress in this connection that nothing in this
         judgment is intended to suggest that any of the non-executive directors were
         implicated in any dishonesty: the strategies developed and now alleged to have
         been dishonest were not theirs.

101.     Dr Lynch ran the Autonomy group informally and through small cliques of loyal
         lieutenants within the “MRL Leadership Group”, namely Mr Hussain, Mr
         Kanter and Mr Chamberlain, with lesser input from Dr Menell and Ms Eagan,
         implementing decisions at the sales level, and through Mr Egan, Mr Scott and
             Mr Sullivan in the US. I describe them later as a cabal, of which Dr Lynch,

         when not ostensibly involved, was nevertheless the éminence grise. The
         impression I have formed is that his lieutenants would not have done anything
         of which they thought he might disapprove: and in practice, there was no higher
         authority within the group to whom they could look to justify what they did. As
         will be seen in relation to an episode which acquired some importance, when
         Autonomy’s CFO in the USA, Mr Hogenson, questioned certain VAR
         transactions and sought to refer the matter to the Audit Committee, Dr Lynch
         was well able to control the process.

102.     One consequence of this personal control is that there are limited evidential
         records of the decision making with regard, say, to certain purchases made, or

16
  By way of illustration, I found only two references to Autonomy’s board of directors in the
Claimants’ written closing of 2558 pages and 5225 footnotes; and five references in Dr Lynch’s written
closing of 1692 pages and 4398 footnotes (two describing how it was comprised, and three dealing
with major corporate acquisitions described later of (a) a company called Interwoven Inc and (b) a
company called MicroLink).


                                               Page 44
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 46 of 900
Approved Judgment                                                                 HC-2015-001324
Mr Justice Hildyard


         strategies being contemplated. From time to time, the Claimants sought to rely
         on this as suggestive of wrongdoing, or as casting doubt on the explanations that
         Dr Lynch has given for various decisions. The Defendants contended that that
         is simply the way the group was run. In my view, the absence of a written record
         in a company run in this way (as I accept that, in general, it was) is not, of itself,
         indicative of impropriety or desire to leave no record. Something more has to
         be demonstrated in the particular context. Put another way, the vast bulk of its
         business is not impugned but was run no differently, and the suggestion that the
         way of running the business of itself suggests impropriety is untenable
         accordingly. I would add also that some aspects of the decision-making process
         were well, even if informally, documented. For example, the wealth of email
         exchanges illuminate both the hardware and the VAR transactions, and Mr
         Hussain’s end of quarter schedules reporting with increasing focus on any
         shortfalls in expected software revenue are also illuminating, even if Dr Lynch
         professed to finding them hard to follow.

103.     However, whereas in a more typically run large company, dishonest corporate
         strategy (as distinct from individual dishonesty) is unlikely because dishonesty
         is unusual and a board of directors unlikely to be unanimous in its pursuit, in a
         closely run company it is much more feasible, and much less unlikely. The fact
         of overall control is also, obviously, relevant to the issue of the Defendants’
         knowledge.

104.     The emails also show that to a large extent Dr Lynch was happy to allow those
         under him to get on with their roles. The emails also show that it was relatively
         rare for Dr Lynch to involve himself in the detail of the company’s day-to-day
         activities. When he did become involved this was usually because there was a
         strategic angle, such as a customer sensitivity.

105.     Mr Webb QC gave unchallenged evidence on his own impression of
         Autonomy’s culture. As Chairman, he visited the office from time to time and
         asked staff about their role and what it was like to work at the company. He
         said in his witness statement that:

                      “The consistent impression I had was that Autonomy was
                      fastpaced and had an entrepreneurial feel to it. It was hard-
                      driving, competitive and a demanding place to work,
                      particularly in Sales. However, I did not come across anything
                      that crossed the line beyond that. My impressions were that the
                      atmosphere was one of excitement, rather than apprehension
                      and fear. People seemed to enjoy the pace, the ambition of the
                      company, and the challenge and the rigour of working for
                      Autonomy. The Sales’ kick-off had positive atmosphere. … The
                      impression I had was that the sales’ force thought they were hard
                      driven but that they enjoyed the challenges and the rewards.
                      They, the scientists and the analysts seemed proud of their
                      products.”




                                                Page 45
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 47 of 900
Approved Judgment                                                            HC-2015-001324
Mr Justice Hildyard


Autonomy’s Reporting


106. This section provides an overview of Autonomy’s approach to its reporting, both
       quarterly and annual. Some of the matters discussed in this section will be
       considered in further detail when dealing with the impugned transactions later
       in this judgment.

Annual and quarterly reports: Deloitte’s review work

107.     In addition to its annual accounts Autonomy reported on a quarterly basis. All
         Autonomy’s reports, both annual and quarterly, were subject to detailed review
         by Deloitte.

Deloitte’s review of annual reports

108.     Deloitte reviewed and approved the financial statements in the annual accounts.

109.     Deloitte also reviewed the narrative portion (the front end) of the reports. When
         reviewing the front end, Deloitte was required to identify:

              (1) whether any of the information in the front half was materially
                  inconsistent with the financial information; and

              (2) whether there was any matter which came to their attention which
                  caused them to believe that the narrative portion appeared to include a
                  material misstatement of fact.

110.     Deloitte’s review of the front end followed the ISA issued by the Auditing
         Practices Board in April 2006 entitled “Other information in documents
         containing audited financial statements”. This required the auditor to read the
         front end of the report to identify material inconsistencies with the audited
         financial statements or material misstatements of fact. If any were identified,
         the auditor was required to resolve them, and if an amendment was necessary
         and the entity refused to make the amendment, the auditor was required to
         express a qualified or adverse opinion. See §§2, 11, 12 and 14 of the ISA. At
         no stage did Deloitte ever identify (other than internally) any material
         inconsistencies with the financial statements or any material misstatements of
         fact.

111.     Mr Welham confirmed in cross-examination that if Deloitte had seen something
         in the narrative portion of either a press release or an annual report that they
         considered was misleading in any way they would have said something.

112.     The consequence of this is that many of the Claimants’ criticisms in these
         proceedings relate to presentations which were considered and approved by
         Deloitte. By way of example, the Claimants criticised the disclosures made and
         explanations given in the 2010 accounts. However, that document was
         reviewed by Deloitte in detail prior to sign off:



                                           Page 46
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 48 of 900
Approved Judgment                                                                      HC-2015-001324
Mr Justice Hildyard


              (1) A copy of the 2010 report is marked by Mr Murray (manager from
                  Deloitte), on 22 February 2011: “Reviewed throughout prior to sign
                  off”.

              (2) That document is replete with tick marks showing Deloitte’s review and
                  approval of the statements made in the 2010 accounts.

              (3) This extended to the front end as well as the financial statements
                  themselves. For example, and as developed later, the working papers in
                  evidence show Deloitte’s review of the data given for various non-IFRS
                  metrics provided under categories now targeted by the Claimants as
                  misleading and another means whereby to conceal the hardware sales:
                  IDOL Product, IDOL Cloud, and IDOL OEM. Deloitte’s review
                  involved an analysis of spreadsheets provided by management. Their
                  review involved qualitative as well as quantitative analysis.17

113.     Mr Welham confirmed that this ticking exercise was part of the normal process.
         A similar exercise was undertaken for the quarterly reports, as discussed below.

(i)      Deloitte’s review of quarterly reports

114.     Formally Deloitte’s work on the quarterly reports constituted a voluntary
         review. However, as Mr Welham explained at §20 of his witness statement,
         Deloitte’s quarterly review work was substantially similar to an interim (i.e. H1)
         review. Deloitte undertook to conduct their reviews with an attitude of
         professional scepticism and:

               “Reports or, in the case of the voluntary Q1 and Q3 quarterly
               reports, the recognition and measurement criteria of IFRS“…with
               the objective of providing us with a basis for reporting anything that
               came to our attention that caused us to believe that the interim
               financial information had not been prepared, in all material
               respects, in accordance with International Accounting Standard
               ("IAS") 34 (in the case of the H1 Interim Reports) or, in the case of
               the voluntary Q1 and Q3 quarterly reports, the recognition and
               measurement criteria of IFRS.”


115.     Mr Welham also explained that in practice Deloitte’s work went beyond what
         was required for the purposes of a quarterly or half-year review, and Deloitte


         used the opportunity to undertake audit work in relation to Autonomy’s large
         transactions, and a sample of smaller ones:


17
  For example, the Defendants relied on the equivalent paper for H1 2011 as showing Deloitte
specifically considering whether particular revenue was correctly categorised as OEM revenue, though
the passive language is unclear whether Deloitte were noting what they were told or bringing judgment
to bear.


                                               Page 47
     Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 49 of 900
Approved Judgment                                                                 HC-2015-001324
Mr Justice Hildyard


                “However, in practice the nature of the work we undertook on
                revenue in relation to our quarterly reviews for Autonomy went
                beyond what was required for the purposes of a review. We used
                the opportunity to undertake audit work in respect of all sales made
                by Autonomy of more than $1m, as well as undertaking audit work
                in relation to a sample of smaller value sales transactions. This
                work included tracing the sale to supporting evidence and seeking
                and receiving third party confirmations. The rationale for our
                approach was that as part of our audit plan we wanted to undertake
                audit work in relation to such transactions, and it was more efficient
                to avail ourselves of the opportunity to progress this work in the
                course of the quarterly reviews, rather than deferring it all until the
                year-end. However, as part of our year-end audit procedures we
                would re-visit the work undertaken during the course of the year.”


116.      The process of a quarterly review took around six weeks from start to finish,
          including the planning stage.18

117.      Following the preparation of their review, Deloitte would prepare a report for
          the Audit Committee. That was the Audit Committee’s principal, and often in
          practice only, source of detailed information apart from public accounts.

(ii)      Deloitte’s review of revenue

118.      When conducting its review work, one of the audit risks that Deloitte had in
          mind was that revenue might be incorrectly recognised. According to their
          defence in regulatory proceedings brought against them, which Mr Welham
          stood by, Deloitte considered that they went beyond what was required of them
          by testing all licence transactions over $1m and a sample of smaller transactions
          below that level.

119.      Deloitte’s revenue testing process involved the audit team specifically
          considering each of the IAS 18.14 revenue recognition criteria for each
          transaction reviewed.

(iii)     Press releases and earnings calls

120.      Deloitte reviewed Autonomy’s press releases. If Deloitte saw something in the
          narrative portion of either a press release or any annual report which was
          inconsistent with the financial statements or misleading in any way, Deloitte
          would have said something.

121.      Following each quarter, the finance department would prepare a draft press
          release summarising and commenting on the quarterly results. Deloitte would
          check through the press release including the non-financial information and the



18
     The planning process started before the end of each quarter.


                                                   Page 48
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 50 of 900
Approved Judgment                                                             HC-2015-001324
Mr Justice Hildyard


         non-IFRS metrics, and would “tick them back”. The press release would then
         be provided to the Audit Committee which would consider and then approve
         the release.

122.     An example of this ticking back process is a draft of the Q3 2009 press release.
         Deloitte ticked off all the financial information given in the document, including
         (as Mr Welham confirmed) the non-IFRS supplemental metrics which
         Autonomy chose to provide.

123.     Deloitte also listened to Autonomy’s earnings calls, and Mr Welham accepted
         that he often listened in himself. The documents show that someone from
         Deloitte listened in to the earnings call for each of the calls in the Relevant
         Period; Mr Welham listened in to almost all of them. The calls that Mr Welham
         listened to included the Q3 2009 earnings call. If Mr Welham had heard
         anything that he thought was misleading he would have raised it with his audit
         partner in the first instance. He did not, and no one else within Deloitte raised
         any concern arising out of any of the earnings calls, to Mr Welham’s knowledge.

(iv)    The relevance of Deloitte’s review and approval

124.     The Defendants placed much emphasis on Deloitte’s review work in meeting
         allegations in this case. Dr Lynch’s case, in very broad terms, is first that
         Autonomy’s accounting was fair and reasonable, and the various accounting
         judgements and decisions inherently involved fell within the reasonable range
         that was available; secondly that he was unaware of and did not participate in
         any false accounting, and was entitled to believe, and did believe that the
         accounting was fair and reasonable; and thirdly, that although the narrative
         portion or ‘front end’ of the accounts was not audited, Deloitte were satisfied
         with both its factual accuracy and its consistency with the accounting
         information provided in the ‘back end’ of the accounts (which, of course, was
         audited). Mr Hussain’s case was to the same effect; and in relation to the ‘front
         end’ of the accounts, his written closing submissions also relied specifically on
         the evidence of Mr Welham in cross-examination that Deloitte were satisfied
         that the narrative portion of the various quarterly reports was not misleading.

125.     The Claimants’ answers to this were that the Defendants could not rely on
         Deloitte in circumstances where Deloitte had been misled; nor where they knew
         Deloitte to be wrong for whatever reason. If, as the Claimants contended was
         the case, the Defendants knew that the published information provided was
         deficient and/or inaccurate, they could not rely on Deloitte’s mistaken
         imprimatur. They acknowledged that if Deloitte were not misled it would be
         more difficult for the Claimants to prove that the Defendants nevertheless knew
         them to be mistaken: but on the facts, they contended, that was proved.

Revenue Reporting

IFRS 8: Single operating segment




                                           Page 49
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 51 of 900
Approved Judgment                                                             HC-2015-001324
Mr Justice Hildyard


126.     An important aspect of Autonomy’s accounting, and one which (especially in
         the context of the hardware claims) had, in my view, a marked effect on the
         approach of both Deloitte and the Audit Committee, was that all its business
         was treated as a single operating segment for the purposes of IFRS 8. The
         Claimants did not dispute this.

127.     IFRS 8 (Operating Segments) was a new provision in the “Relevant Period”. It
         was applicable for accounting periods beginning on or after 1 January 2009 and
         was therefore applicable to Autonomy’s 2009 (and subsequent) accounts.

128.     In January 2010, Deloitte’s audit team consulted with Mr Barden of Deloitte’s
         NAA in response to a (generic) call by the FRRP encouraging Boards of
         Directors to test their initial conclusions about their segmental reporting under
         the (then) new standard. The consultation involved a detailed review of the
         conclusions that Autonomy’s “chief operating decision-maker” was Dr Lynch
         and that Autonomy had a single operating segment for the purposes of IFRS 8.
         Deloitte and Mr Barden for the NAA confirmed those conclusions. The
         conclusions were re-confirmed on further review by Deloitte in November
         2011.

129.     I shall return to IFRS 8, and to the various further paragraphs within the
         Standard (and especially IFRS 8.32) when addressing the hardware case (to
         which it is most relevant).

130.     The following synopsis of Deloitte’s approach is intended to illustrate Deloitte’s
         perception of the way Autonomy was managed (and of Dr Lynch’s role in
         particular) as well as the rationale of the decision to confirm that Autonomy had
         a single Operating Segment:

              (1) In January 2010, Deloitte concluded that Dr Lynch was the “Chief
                  Operating Decision Maker” (which describes a function to allocate
                  resources to and assess the performance of the operating segments of an
                  entity). The basis for this conclusion was that they considered that he
                  had an “unusual level of control” and that it was:

                         “very clear that he is actively involved in all areas of the
                         business, making key strategic decisions on areas such as
                         procurement, recruitment, acquisitions and communications
                         with the market and financiers”.



              (2) Deloitte accepted Dr Lynch and management’s central assertion, which
                  was that IDOL technology was at the heart of all the Autonomy group’s
                  products, and that it was this technology’s ability “to extract meaning
                  from unstructured information which allows Autonomy to grow at such
                  a fast pace.” They accepted that IDOL was at the core of the entire
                  business, and that this feature of being a “one technology business”,
                  together with Dr Lynch’s highly centralised management of the entire
                  group which was not based on divisions or disaggregated data relating


                                           Page 50
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 52 of 900
Approved Judgment                                                                    HC-2015-001324
Mr Justice Hildyard


                      to the business activities of the group, distinguished Autonomy from all
                      other businesses in the FTSE 100.

              (3) Deloitte’s memo of 23 January 2011 (referred to previously at paragraph
                  94 above) revisited this conclusion in light of various changes including
                  acquisitions and (of particular note):

                               “strategic hardware sales…on the basis that it now represents a
                               relatively significant proportion of Autonomy’s business”.

                               In that context, strategic hardware sales were described as:

                               “predominantly related to Digital Safe (IDOL) sales and are a
                               means to generate much more lucrative future IDOL software
                               sales”.

              (4) The January 2011 memo also identified three new categories of software
                  offerings which might affect the previous analysis, being (a) “Power”
                  (described as being “an infrastructure platform for understanding
                  human-friendly data”; (b) “Protect” (described as being a “selection of
                  legal, regulatory and compliance solutions”); and (c) “Promote”
                  (described as being “a number of multichannel, customer interaction
                  and revenue optimisation solutions”).

              (5) The memo noted that whilst this might suggest to a reader of the
                  financial statements and the Autonomy website that there could be three
                  distinct segments of the business, nevertheless all:

                               “Autonomy products are based on the IDOL layer, and as this is
                               pervasive throughout all product categories, this split of
                               products into ‘brands’ is nothing more than what it appears, a
                               branding exercise”.

              (6) Deloitte noted as further support for the analysis and their conclusion
                  that Autonomy continued to have a single Operating Segment that:

                         i.     Revenue was not broken down between or into products,
                                divisions or brands;

                         ii.    Cash flow forecasts and revenue figures were all undertaken at
                                a group level, which:

                                       “further highlights the fact that the way in which
                                       Autonomy’s business is run is very different to that of any
                                       other FTSE 100 companies, with the main focus being on
                                       the group consolidated revenue figure”;

                         iii. Functions within the business such as sales and marketing and
                              R&D were managed centrally, each by a single member of the
                              senior executive;


                                                  Page 51
     Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 53 of 900
Approved Judgment                                                                         HC-2015-001324
Mr Justice Hildyard


                      iv. The overall organisational hierarchy was very flat, with few
                          middle managers;

                      v.    All purchases over $30,000 had to be approved by the CEO,
                            very few transactions were processed:

                                   “without direct authorisation from Mike Lynch being
                      required… This is a very unique and rare situation for a FTSE 100
                      company to be in, and serves to support the fact that this business is
                      unlike any other in the top 250 listed companies in the UK in the way
                      that it is operated. This top-down, single focused approach to the
                      running of the group is reflective of the fact that the whole business
                      revolves around one core element, being the IDOL layer and it is
                      Mike’s intention to continue to evidence strong organic growth in the
                      sales of that core technology”; and that; vi. Of particular interest to
                      the question of disclosure:

                                      “no separate information on strategic hardware sales is
                                      presented or discussed at analyst presentations; and no
                                      mention of these sales/this product offering is made on
                                      the company website.”

                               vii.    Deloitte’s review also covered §32 of IFRS 8 as it
                                       applied to Autonomy. IFRS 8.32 is part of the
                                       guidance dealing with “entity-wide disclosures” at
                                       §§31-34. The effect of these was to require separate
                                       reporting for certain revenues from products, services,
                                       geographical areas or customers, even where an entity
                                       had a single operating segment. As part of their review
                                       work Deloitte specifically considered whether
                                       notwithstanding that Autonomy had a single operating
                                       segment it was necessary to make separate disclosure
                                       of any products under IFRS 8.32. Deloitte considered
                                       the question in detail for the 2009 annual accounts (and
                                       revisited their conclusion for the 2010 accounts). Their
                                       conclusion, approved by Mr Barden, was that
                                       Autonomy’s approach of not making separate
                                       disclosure of different products, or groups of products,
                                       was reasonable.19



19
  This was also summarised in a note to Mr Knights, copied to Mr Welham, from Ms Antonia
Anderson on 26 January 2010, although some concern on behalf of Mr Barden about the issue of
disclosure is apparent: “Discussed this with Phil and he agreed that based on their argument that
IDOL is pervasive and that decisions are made based on info that is not split by brand it does not seem
unreasonable that the information is not available in order to provide subdivision of revenue into
product type, but he thought the current explanation should go further to explain why this is not
available. Something along the lines of: “Although branded differently, in effect all, customers buy the
same one product and for financial reporting the group does not disaggregate into different categories
by brand or any other method.”


                                                 Page 52
     Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 54 of 900
Approved Judgment                                                                    HC-2015-001324
Mr Justice Hildyard


                             viii. Deloitte revisited this conclusion in 2010. As part of
                                   this consideration Deloitte specifically considered the
                                   strategic hardware sales in that year. Deloitte knew
                                   that hardware sales were in the region of 12% of
                                   Autonomy’s group revenues for

                         2010. Deloitte concluded, again, that there was only one
                         operating segment, and did not require any separate disclosure
                         under §32 of IFRS 8.

131.     Thus, in summary, Deloitte’s analysis and the conclusions reached in respect of
         IFRS 8 confirm that Autonomy was run in a centralised and in some ways
         idiosyncratic way, with Dr Lynch very much at the apex of the management
         structure, and the Board of Directors and the Audit Committee being more
         spectators than active participants.

Was Autonomy being prepared and offered for sale?

132.     The last topic in this introduction to Autonomy and its business which I need to
         address before turning to describe HP in more detail is the Claimants’ contention
         that (a) by October 2010 Autonomy’s financial performance and share price had
         slipped so much that (i) it was likely to become a takeover target and (ii) Dr
         Lynch was put in mind to promote its sale by Mr Frank Quattrone and his
         company Qatalyst Partners (a boutique investment bank well known for its
         success in achieving high bid prices 20 ); and that thereafter, (b) following
         meetings between Dr Lynch and Mr Quattrone in late November/early
         December 2010, Mr Quattrone began approaching the “acquiror universe” he
         had identified (including Cisco, Oracle and HP) and (c) in January 2011
         approached HP via HP’s then Chairman, Mr Raymond Lane (“Mr Lane”), to
         encourage interest.

133.     The Claimants contended, in effect, that Autonomy was fattened up and
         marketed for sale. Dr Lynch, however, consistently insisted that he did not want
         a sale of Autonomy, and would resist a bid if made unless at a price which made
         resistance futile because it was at a premium that shareholders would find
         irresistible.

134.     The following summary shows how Dr Lynch moved or was persuaded towards
         a sale:

              (1) On 6 October 2010, Autonomy released its trading statement ahead of
                  its Q3 2010 results. Although the statement highlighted “record
                  thirdquarter 2010 revenues”, in fact, it slightly missed consensus. 21
                  Further, the statement included a forecast that Autonomy expected “to
                  review our internal model for the full year with a revenue reduction of

20
   According to the New York Times, Mr Quattrone had become known as “the go-to-guy for sellers
looking to command sky-high prices".
21
   On the Claimants’ case the “miss” was the more notable because it was "despite revenue being
inflated by 27% through the full array of fraudulent mechanisms".


                                              Page 53
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 55 of 900
Approved Judgment                                                                 HC-2015-001324
Mr Justice Hildyard


                      around 3%”, implying full year revenue growth of 17%. The market had
                      been expecting 21% growth: Autonomy shares promptly fell by 16%
                      and never fully recovered. The headline in the Financial Times on the
                      day of the trading statement read: “Autonomy slides on reduced revenue
                      forecast” and the headline the following day (7 October 2010) in the
                      Guardian read “Autonomy shares plunge on fears of weak US orders”.



              (2) Almost immediately after this Mr Quattrone sent an email to Dr Lynch
                  dated 6 October 2010 headed “Checking in” in which he wrote:


                              “saw the news and wanted to offer encouragement and
                              assistance. Many large technology players have been waiting
                              for a crack in the stock and I would be surprised if you didn’t
                              receive some overtures. We would be pleased to help you think
                              through and prepare for such an approach…”


              (3) When Dr Lynch asked who would “come knocking” Mr Quattrone
                  identified the most likely candidates as “Cisco, Oracle, IBM, HP (more
                  likely with Leo and Ray Lane)” together with some less likely “wild
                  cards”.

              (4) Dr Lynch said that it would all come down to whether someone could
                  offer “a level the shareholders can’t resist”. In that context, he asked
                  Mr Quattrone “what kind of prices do you think they can get to?”; to
                  which Mr Quattrone replied on 8 October 2010 that “top buyers could
                  pay at least 70pct premium with no dilution even before considering any
                  synergies”.

              (5) After receiving some further marketing material from Mr Quattrone, on
                  10 October 2010 Dr Lynch sent an email to Mr Quattrone, now with the
                  heading “CONFIDENTIAL”, as follows:

                             “If you are saying there are people out there today ready to offer
                             cash of over 26 pounds, we need to rethink the strategy. The
                             London market does not value growth or understand future tech
                             prospects (e.g. we get penalized for cloud revenues!) on that
                             basis given there are no poison pills in the UK it would be like
                             someone turning up and offering a native American chief 3 rifles
                             and some firewater in return for Dakota, in short the
                             shareholders would not allow the deal to be stopped. On that
                             basis I fear you have missed the point and the strategy should be
                             far more about coaxing the right buyer than any futile attempt at
                             bid defence.”




                                               Page 54
     Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 56 of 900
Approved Judgment                                                                     HC-2015-001324
Mr Justice Hildyard


                          [Emphasis as in the Claimants’ written closing submissions]


              (6) This was of course good news for Mr Quattrone, and Autonomy engaged
                  Qatalyst’s services to obtain such a price. Although terms were not
                  finally signed off until 16 August 2011 it seems clear from the available
                  documentation (including exchanges between Mr Kanter and Qatalyst)
                  that Qatalyst’s engagement had been informally agreed by late
                  2010/early 2011.

              (7) Mr Quattrone began approaching the “acquiror universe” he had
                  identified. He arranged, and attended, meetings between Dr Lynch and
                  key M&A contacts identified in his October analysis, including contacts
                  at Cisco, Oracle, and Mr Shane Robison (“Mr Robison”) and Mr
                  Johnson of HP. Meetings were also pursued with some less likely
                  potential acquirers identified by Qatalyst, such as Intel, Adobe and Dell.
                  Other than HP, there seems to be no evidence that any of these potential
                  buyers pursued Autonomy as a potential acquisition22.

              (8) Qatalyst approached HP on 25 January 2011 by Mr Quattrone sending
                  an email to Mr Lane asking to “discuss… confidentially” a “specific
                  [situation] where we have some unique insight that things may be
                  changing”. The next day, Mr Quattrone emailed Mr Lane slide decks
                  titled “Autonomy Overview” (“the January Slides”) and “Autonomy
                  Trading and Financial Statistics”.

              (9) Shortly after sending HP the January Slides, Mr Quattrone spoke to Mr
                  Robison and the two agreed to a “fact-finding discussion.” Thereafter,
                  Autonomy gave a presentation accompanied by further slides (“the
                  February Slides”) which updated the January Slides to take account of
                  the 2010 financial year end accounts which trumpeted “record full year
                  revenues of $870 million, up 18% from 2009”.

              (10)     On 4 March 2011, there was a further meeting between HP and
                  Autonomy at HP’s headquarters in Palo Alto. Dr Lynch attended by
                  video link whilst Mr Hussain and Mr Quattrone attended in person. A
                  further slide deck was presented (the “March Slides”). By then HP and
                  Autonomy had entered into a nondisclosure agreement. I discuss later
                  how HP’s focus gradually narrowed to Autonomy as its bid target: see
                  paragraphs 153 to 157 below.

135.     It seems to me that this short chronological summary demonstrates that Dr
         Lynch, sometime in October 2010, began actively to contemplate a sale, and
         through Mr Quattrone, to sound out the “acquiror universe” and the possibility

22
   After HP's acquisition of Autonomy was announced, Mr Larry Ellison of Oracle said on a conference
call that "Autonomy was shopped to us” but that the price had been "absurdly high". Dr Lynch
categorically denied this, even suggesting that any approach was unauthorised, which he must have
known was incorrect, since he knew that Mr Quattrone had put Oracle's name on a list of the most
likely buyers for Autonomy.


                                               Page 55
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 57 of 900
Approved Judgment                                                              HC-2015-001324
Mr Justice Hildyard


         of a cash bid at a premium price (of say £26) in light of Mr Quattrone’s advice
         that a very substantial premium might be payable despite the reverses in the
         previous quarter. In my view, Dr Lynch’s insistence in his evidence that he made
         it clear to Mr Quattrone that “Autonomy was not for sale” smacks of protesting
         too much. I agree with the Claimants that the suggestion that the aim of
         Qatalyst’s approaches was to line up “white knights” to ride to Autonomy’s
         rescue if an unwanted suitor bid first is implausible.

136.     I have taken into account the evidence of what the Defendants presented as a
         different perception held by Mr Robert Webb QC (“Mr Webb QC”),



         Autonomy’s non-executive Chairman at the time. Mr Webb QC’s evidence in
         his witness statement, on which he was not cross-examined, was that:

                      “When I became Chairman of Autonomy in May 2009, I was not
                      aware of any need or particular desire on the part of the
                      company’s management team to sell the company. That
                      remained the position for the duration of my Chairmanship of
                      the company. It was a public company so management desire
                      would not have been conclusive - shareholders have the final
                      say.

                      My perspective was that the company was doing extremely well
                      and there were no signs of distress to motivate the management
                      to sell the company. Autonomy was never short of cash. Its
                      product was highly regarded and in great demand.”


137.     I have no reason to doubt that that was Mr Webb’s perception. I should also
         make clear that I do not think sale was really on Dr Lynch’s mind before October
         2010. But neither that nor Mr Webb’s perception precludes the possibility that
         Dr Lynch, once he understood from Mr Quattrone the interest that might be
         generated, also understood that shareholders (of whom he was one, and a major
         one at that) would ultimately vote with their wallets, as indeed Mr Webb himself
         there identified. In my view the truth is, to quote Dr Lynch’s own words, that
         the strategy became that of “coaxing the right buyer”. I turn to describe the
         buyer that was found, HP, in more detail.


HP

138.     HP was an icon from the first days of the tech revolution in Silicon Valley,
         Northern California. It too had been a start-up, first housed in a garage which
         was the birthplace of ‘Silicon Valley’. HP had become a household name, some
         of its products having become almost synonymous with their function.




                                              Page 56
     Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 58 of 900
Approved Judgment                                                                      HC-2015-001324
Mr Justice Hildyard


139.     By the time of the Acquisition, however, HP was in the doldrums. Its heritage
         was in the hardware sector. This had become a highly competitive and low
         margin business. In the new computer world, software sales are the source of
         far greater profitability than hardware and the Cloud is King. HP had a Software
         division of considerable size; but it was lagging behind market leaders.

140.     Furthermore, HP (and by that I include the group) had developed into a
         bureaucratic inward-thinking institution, which had lost its way and its
         confidence. Business units were siloed and complex, with infighting and little
         cooperation between them and poor systems of overall management and
         strategic direction, as Ms Whitman acknowledged in cross-examination.

141.     Appreciating the need for change, HP had instigated ‘Project Cielo’ in October
         2010 to assess its overall strategy. This was led by HP’s Strategy and Corporate
         Development (“SCD”) group 23 and Bain & Company (“Bain & Co”), a
         wellknown strategy consulting firm.

142.     Bain & Co identified multiple concerns about HP as at November 2010. These
         included:

                      “Lack of a unifying pan-HP vision or mission… Long-term strategic
                      plan required.”
                      “Declining GM% and P/E multiple, despite significant revenue and
                      EPS expansion.”
                      “Portfolio skewed towards declining growth and/or low margin
                      segments. Lack of scale and growth in software.”
                      “Power of portfolio not being leveraged adequately.”
                      “Weak track record on innovation, incubation & commercialisation.”
                      “Short-term, cost optimisation focus… Limited willingness to take
                      risks … hardware-centric approach.”



143.     Mr Apotheker’s first task as HP’s CEO, which he embarked on even before his
         formal appointment, was to become engaged in Project Cielo. He quickly
         agreed with Bain & Co’s diagnosis, and its advice identifying what he also
         agreed were “real problems for HP at that time”.



23
   According to Mr Sarin’s witness statement, which was not challenged in this respect, the SCD group
included 30 to 40 people split between two sub-teams: one (“Strategy”) focused on corporate strategy,
the other (“Corporate Development”) on identifying and carrying out acquisitions to execute that
strategy. The head of the SCD Group was Mr Robison (who was HP’s Chief Strategy & Technology
Officer). Mr Johnson led the Corporate Development team (of which Mr Sarin was part, as a Senior
Director). Mr Girish Nair was head of the Strategy sub-team. Both Mr Johnson and Mr Nair reported
directly to Mr Robison.



                                               Page 57
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 59 of 900
Approved Judgment                                                                 HC-2015-001324
Mr Justice Hildyard


144.     The view Mr Apotheker formed, in line with that advice and as a principal
         conclusion of Project Cielo, was that HP needed to use its size, reputation and
         financial strength to evolve from being a producer of low-margin products and
         services to become (in his words):

                      “a full services and solutions partner for businesses, providing the
                      essential/strategic parts of the technology “stack” [which] comprises
                      the hardware, software, and network layers that stand between the basic
                      infrastructure of data creation, storage and distribution and the enduser
                      of information.”

145.     Further, within the software ‘space’, Mr Apotheker’s view was that HP’s focus
         should be on “analytics for big data – which is the combination of structured
         data…and the much faster growing unstructured data set”: as explained at
         paragraph 42 above “structured data” being data maintained in a traditional


         database, and “unstructured data” being all other data including emails,
         wordprocessing, spreadsheet documents, video and sound recordings. This was,
         Mr Apotheker agreed in cross-examination, a “potentially huge market”.

146.     As Mr Apotheker put it:

                          A. The dominant technology for data at this particular
                                moment in time was to store data in what is called
                                relational databases and for sake of simplicity,
                                consider those to be a Excel spreadsheet, sometimes
                                of monumental size. Unstructured data is everything
                                else, everything covering voice, pictures and
                                whathave-you, everything that you could not
                                normally store in an Excel spreadsheet so to speak.
                                Trying to combine the two would be a natural thing
                                to do because that's how we all live and work and
                                that's what is meant by the integration of these two
                                things.”


147.     Thus, Mr Apotheker envisaged HP becoming a one-stop shop for data.
         Operating across the entire IT stack would enable HP very considerably to
         increase its overall operating margins. Bain & Co’s figures suggested that
         operating margins should increase from 10 to 15% and achieve 10% CAGR
         (Compounded Annual Growth Rate) revenue growth. The then recent
         acquisition of Vertica Systems Inc (“Vertica”), a structured data company that
         HP had acquired in early 2011, gave further shape to Mr Apotheker’s plans for
         a “complete stack” with a combination of structured and unstructured data.

148.     Unstructured data (sometimes referred to as “Big data”) formed one of the core
         areas of Mr Apotheker’s plan. Bain & Co also identified “enhancing portfolio
         for Enterprise Information Management” as one of the primary “potential areas


                                                Page 58
     Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 60 of 900
Approved Judgment                                                                        HC-2015-001324
Mr Justice Hildyard


         of improvement”, in line with Mr Apotheker’s view regarding an integrated
         “stack” of layers of technology providing a complete service for enterprise
         customers.

149.     During 2011 Mr Apotheker and Mr Robison, the chief strategy and technology
         officer and head of HP’s SCD group, identified and analysed a number of
         possible software targets with a view to assembling the complete technology
         “stack”.

150.     Mr Apotheker and Mr Robison initially focused on the possibility of acquiring
         TIBCO, which was a specialist in “middleware” 24 . A presentation to HP’s
         finance and investment committee, and board, in relation to TIBCO (code
         named “Tacoma”) showed that TIBCO’s margins were regarded as being
         “strong”, based on it having 30% operating margins by full year 2015 (current
         margins being around 25%, as per p.5 of the document). TIBCO’s gross


         margins (actual and predicted) were around 76-77%. HP’s discounted cash flow
         (“DCF”) analysis gave a standalone enterprise value of $4.46bn, and a value
         with synergies of $8.5bn.25

151.     The board authorised Mr Apotheker to pay up to $36 per share for TIBCO. This
         would have valued the company at about $6.6bn. It would have involved HP
         ceding approximately 53% of its anticipated synergy value. In the event HP
         offered $31 per share, valuing the company at about $5.7bn, approximately
         $1.2bn over HP’s assessment of TIBCO’s standalone value, and 30% of the total
         synergy value. 26 HP subsequently raised its offer (as Mr Apotheker recalled it,
         to a price of $33 or $34 per share), but could not reach agreement.

152.     Having walked away from TIBCO in early April 2011, Mr Apotheker asked the
         SCD group to increase its focus on other potential targets, including Autonomy
         and another entity, Software AG. Mr Apotheker confirmed, however, that these
         were regarded then as alternatives. It was not at the time envisaged that HP
         could acquire both at the same time.

Identification of Autonomy as a target

153.     Autonomy had for some time been recognised by HP as one of the market
         leaders in unstructured data. In a part of a Project Cielo presentation dated 13
         November 2010, entitled “HP Play: Technology Feasibility” the highest end of
         an analysis of what were termed the “key technology pain points by criticality”
         identified the fact that there were “limited insights from unstructured data”.
         The document envisaged that the gaps would be closed by acquisitions in

24
   In cross-examination, Mr Apotheker described “middleware” as being, in simplified terms,
“software technology that sits between the application and the actual data layer and that enables the
system to actually work as one”. “Middleware” was another part or aspect of the technology “stack”.
25
    The terminal growth rate used was 4%, and the weighted average cost of capital 10.5%. The 4%
terminal growth rate was a rate selected by Mr Sarin’s team.
26
   At $34 HP would have ceded more than 40% of the synergies.


                                                Page 59
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 61 of 900
Approved Judgment                                                            HC-2015-001324
Mr Justice Hildyard


         “BI/Analytics (e.g. Autonomy, Endeca) and middleware (e.g. Tibco)”. This
         objective was put at high feasibility albeit “based on assumption that target
         companies indicated can be successfully acquired”.

154.     In May 2011 HP’s strategy group developed some preliminary analyses of
         Autonomy and Software AG. These were presented both to the finance and
         investment committee of HP’s board and to the technology committee. The
         presentation to the finance and investment committee was on 25 May 2011.
         That committee’s key job was to review acquisitions and asset allocation.

155.     According to their analysis of Autonomy (code named “Atlantis”):

              (1) Autonomy provided a “broad range of capabilities across all layers of
                  the Enterprise Performance System stack, focused on unstructured
                  content”. These capabilities supplemented HP’s own in all layers of the
                  enterprise “stack”. Autonomy was described in the executive summary
                  as “Anchor asset to secure leading position in the Enterprise
                  Information Management segment”. The executive summary stated,
                  under “strategic”:

                         “Anchor asset to secure leading position in the
                         Enterprise Information Management segment - provides

                         key IP for unstructured data analytics; Platform assets
                         for Enterprise Search & Discovery, Backup / Archiving
                         and Content Management.

                              Atlantis addresses a $7.3B market in 2010 growing at
                              a CAGR of 13%

                              Key asset for unstructured data analytics:
                              Intelligent Data Operating Layer (IDOL)
                              technology is the de-facto standard among OEMs
                              and supported by over 130 patents

                              - Ability to extract meaning from information
                                through an understanding of both the content
                                and context of data

                             -Over 400 connectors provide a competitive
                            differentiation

                              Capitalize on the opportunity to bring both
                              structured and unstructured information across
                              business processes




                                           Page 60
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 62 of 900
Approved Judgment                                                                      HC-2015-001324
Mr Justice Hildyard


                                  Optimize Atlantis’ IDOL technology to develop
                                  horizontal and vertical business process and
                                  analytical solutions.”


               (2) The penultimate point regarding bringing structured and unstructured
                   information across business processes chimed with a major part of Mr
                   Apotheker’s strategic thinking.

               (3) As the “Financial” section of the executive summary explained,
                   Autonomy was considered to have “strong growth and margins”. HP
                   came up with a stand-alone DCF valuation of $9.574bn based on 10.6%
                   revenue CAGR and 46% operating margin by full year 2016 (i.e. higher
                   operating margins than for the earlier TIBCO analysis).

               (4) The presentation set out the synergy assumptions arrived at by HP’s
                   SCD group. Mr Apotheker reviewed them and considered them
                   reasonable.

               (5) A DCF analysis was also provided. Adding the various categories of
                   synergy to the $9.5bn stand-alone valuation gave a stand-alone plus
                   synergies value at that stage of $15.223bn. The terminal growth rate
                   assumed in the stand-alone value was 4%.

               (6) The presentation gave information about the current and predicted scale
                   of Autonomy’s markets, as well as market share. This information came
                   from IDC and Gartner, respected independent industry sources.

               (7) The presentation also identified “other potential interested parties” at
                   p.28. These potential bidders included Oracle.

156.       There had been some contact between HP and Autonomy prior to April 2011.
           This included initial contact from Mr Quattrone of Qatalyst, a video-conference
           in February 2011 and a further meeting in early March. During this period HP
           were provided with slides (the “January Slides”, the “February Slides” and the
           “March Slides”), which (as part of their misrepresentation case) the Claimants
           asserted were misleading (and see paragraphs 3831 to 3872 below).

157.       From April 2011 onwards, Mr Apotheker and Mr Robison became focused on
           the acquisition of Autonomy 27 . Mr Apotheker confirmed that he did not
           personally really focus on Autonomy as an acquisition target until April 2011,
           and after the attempted acquisition of TIBCO had failed.

Individuals principally involved

158.       Before describing in more detail the development of HP’s interest in and
           eventual offer for Autonomy, a short description of each of the individuals who
           were principally involved in the identification of Autonomy as a target, the
           development of plans for the Acquisition, the negotiation of an offer and/or the

27
     Consideration was also given to a company called Software AG (see paragraph 181 below).


                                                 Page 61
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 63 of 900
Approved Judgment                                                             HC-2015-001324
Mr Justice Hildyard


         due diligence exercise undertaken by KPMG on the instructions of HP may
         assist an understanding of this section.

159.     Mr Apotheker became President and Chief Executive Officer of HP in
         November 2010. He had a strong background in the software sector. He was
         head-hunted from a company called SAP, one of the largest software companies
         in the world at the time, where he had (latterly) been CEO. He had a trackrecord
         of successful acquisitions for SAP, having led more than a dozen, including
         SAP’s successful $7 billion purchase of a company called Business Objects in
         2007.

160.     Before his appointment by HP he was asked by HP’s Search Committee to
         prepare a paper that would provide an outsider’s perspective of HP. When at
         SAP he had been the executive in charge of SAP’s relationship with HP and had
         been an admiring observer for many years. His overall view, as expressed in his
         paper, was that although HP was financially sound, rapid changes in the
         technology industry represented a significant danger to HP, unless the company
         could develop and articulate an overarching growth and profit strategy, and
         rediscover its culture of innovation which had inspired its founders.

161.     In Mr Apotheker’s assessment:

              (1) Personal computer sales (which were the main business of HP’s
                “Personal Systems Group” or “PSG”) had become a commoditized, low


                      margin business: PSG should focus on the provision of mobile devices
                      (such as smartphones, tablets and notebooks).

              (2) HP’s Imaging and Printing Group which was responsible for producing
                  printers and inks, needed to adapt to deal with the possibility that
                  printing of documents would become less common.

              (3) The most important issues facing HP, however, were in its Enterprise
                  Business, which provided solutions to businesses and enterprises. His
                  prescription was that HP should evolve this business from low-margin
                  products and services to become what he called in his witness statement
                  “a full services and solutions partner for businesses providing the
                  essential/strategic parts of the technology ‘stack’”. (The ‘stack’, he
                  explained, comprises “the hardware, software, and network layers that
                  stand between the basic infrastructure of data creation, storage and
                  distribution and the end-user of information.”) An important element
                  would be to expand HP’s software offering to make it a more prominent
                  part of HP’s technology ‘stack’.

162.     Mr Apotheker was appointed on this ‘ticket’. He was offered the role of
         Chairman also, but he refused this (preferring the European model of keeping
         the position separate) and recommended that Mr Lane be appointed to that




                                              Page 62
     Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 64 of 900
Approved Judgment                                                                      HC-2015-001324
Mr Justice Hildyard


         position, as he was28. Their appointments were announced on the same day,
         though in fact Mr Apotheker began work before then.

163.     Mr Apotheker gave evidence in these proceedings, and was cross-examined for
         two days. He came across to me as honest and professional, though his witness
         statement was over-lawyered. He was palpably hurt by his treatment by HP,
         which terminated his employment less than a year after his appointment in
         circumstances I elaborate later. His oral evidence was conspicuously moderate
         in tone, but he nevertheless communicated to me his experience of HP as an
         “intensely political organisation” with inter-departmental rivalries, set in its
         ways and difficult to change.

164.     Mr Shane Robison was Chief Strategy & Technology Officer of HP and head
         of HP’s SCD group from mid-2002 until November 2011. Before that he had
         been Chief Technology Officer at Compaq (which was acquired by HP in 2002).
         Mr Robison agreed with and supported the strategy to move further into
         enterprise software.

165.     As head of SCD, and consistently with Mr Apotheker’s prescription for HP, Mr
         Robison spent substantial time through 2011 analysing (with the assistance of
         Bain & Co) the software market in general and, in particular, the businesses and
         companies that had sufficient scale and profitability to be considered a potential
         strategic fit for HP. Mr Robison was Mr Apotheker’s principal assistant in
         identifying and analysing potential acquisition targets, and they worked closely
         together in all the preliminary work culminating in the Acquisition (which he
         strongly supported). He was also involved in direct discussions and negotiations


         with Dr Lynch. He was selected by Mr Apotheker to be one of the three persons
         (the others being Mr Apotheker and Dr Lynch) who were to be joint heads of
         an integration committee which was to be established to steer the Acquisition
         and realise its objectives and the synergies that were its primary rationale.

166.     Mr Robison provided a witness statement which was admitted as hearsay, but,
         on the basis of medical problems, he did not give evidence otherwise. His
         witness statement also bore hallmarks of being over-lawyered, especially when
         stating what his reaction would have been to various hypotheses put to him.

167.     Ms Catherine Anne Lesjak (“Ms Lesjak”) had been appointed as an interim or
         caretaker CEO of HP for three months during the search for a replacement for
         Mr Hurd who had been removed in connection with allegations about expenses.
         At the time of the Acquisition she was Executive Vice President and Chief
         Financial Officer (“CFO”) of HP. She was not on HP’s board. When HP
         separated into Hewlett-Packard Enterprise Company and HP Inc in November
         2015 she became CFO of HP Inc. She stepped down from that role in July 2018



28
  I was told nothing about the reasons for the choice of Mr Lane, nor about Mr Lane’s experience,
though I gathered it to be in software.


                                               Page 63
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 65 of 900
Approved Judgment                                                              HC-2015-001324
Mr Justice Hildyard


         to become Interim Chief Operating Officer. She has worked for HP companies
         for more than 30 years.

168.     Ms Lesjak’s evidence in her witness statement was that she agreed with HP’s
         strategy of expanding its software business. But she was never persuaded by Mr
         Apotheker’s approach. In particular, she had “reservations about the timing and
         price of the proposed acquisition, particularly with respect to how stockholders
         might react and other challenges facing the Company.” There was considerable
         antipathy between them. Mr Apotheker wanted to remove her, and her job
         ultimately depended on his failure as CEO.

169.     Ms Lesjak was too invested in and loyal to HP to be a reliable witness. She was
         over-defensive and had a variable recollection of events, especially when they
         appeared to reveal inconsistency on her part, or to suggest that she must have
         known about matters that HP claimed had never been disclosed such as
         Autonomy’s hardware sales. She tended to speculate on documents but almost
         invariably in favour of HP’s position.

170.     Mr Manish Sarin (“Mr Sarin”) was a Senior Director in HP’s SCD team from
         2010 to 2012 (when he left HP). Mr Sarin had a background in banking
         (beginning in 1999 when he worked for JP Morgan as an Associate, with
         employment thereafter by Wells Fargo from 2003 to 2005, and then Merill
         Lynch & Co where he was promoted to Director in its Technology Investment
         Banking group). He is no longer employed by HP and he sought to present
         himself as an independent witness.

171.     He was on the software side of the Corporate Development team. He worked
         with Mr Andy Johnson (whom Ms Lesjak routinely referred to as “Andy” and
         who was head of Corporate Development), Mr Bill Veghte (who was prior to
         the Acquisition Executive Vice President of HP’s own Software division) and
         Mr Brian Humphries (Mr Johnson’s predecessor as head of Corporate
         Development, until March 2011).

172.     In that role, Mr Sarin was heavily involved in the due diligence exercise prior
         to the Acquisition, and the evaluation of the potential benefits it could bring HP.
         He considered that Autonomy “appeared to be an attractive asset and a great
         fit for HP at all stages of the acquisition process”. That view was based, he said,
         on Autonomy’s published information, oral information provided by
         Autonomy’s management directly to HP, and the material disclosed to HP
         during the acquisition process. His evidence was that he was not aware of any
         of the matters now impugned in these proceedings.

173.     His evidence covered a number of areas of importance, including (a) the
         processes followed by HP for acquisitions in general and in respect of the
         Acquisition in particular, (b) how HP came to focus on Autonomy as a target,
         (c) HP’s earlier consideration of a number of other targets, (d) HP’s valuation
         methodology and use of a DCF model both generally and in the particular case
         of Autonomy, (e) how the DCF model was built up in the case of Autonomy, (f)
         how synergies were valued, (g) the planning for and the various meetings prior
         to and during the due diligence exercise, and (h) the process of deliberation


                                           Page 64
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 66 of 900
Approved Judgment                                                            HC-2015-001324
Mr Justice Hildyard


         about the proposed acquisition and its approval. His witness statement also
         included paragraphs setting out his view as to how knowledge of the matters
         alleged by the Claimants would have affected the valuation of Autonomy, and
         the decision to proceed with it.

174.     Mr Sarin attended trial and was cross-examined. He struck me as intelligent and
         confident, but over-defensive of his role in due diligence and the limitations of
         it he accepted at the time.

175.     Mr Andrew Keir Markham Gersh (“Mr Gersh”) is a partner in KPMG LLP in
         the USA. He joined that firm in 1999, and became a US Certified Public
         Accountant in 2002. He has retained his licence as a UK accountant but cannot
         perform audits or accounting services in the UK. He was familiar with software
         revenue recognition and US GAAP. In 2011-2012, he was also familiar with
         IFRS (including its revenue recognition principles) but his primary experience
         is with US GAAP. Between 2004 and 2011 he worked on at least 50 financial
         due diligence engagements for HP, working on all of them in conjunction with
         HP’s SCD team and Enterprise Financial Reporting (“EFR”) team.

176.     He was first contacted to perform financial due diligence on Autonomy on 22
         July 2011 by Mr John Blank in HP’s EFR team and was told the next day that
         they would likely have until 15 August to perform financial due diligence
         procedures. He did not regard that as unduly rushed or unusual. His evidence
         addressed (a) whether he, his team or HP had any knowledge before the
         Acquisition that Autonomy was making substantial sales of ‘pure’ hardware (as
         distinct from hardware pre-loaded with Autonomy software), which he insisted
         none did; (b) whether Autonomy’s published information disclosed such ‘pure’
         hardware sales; (c) how the due diligence exercise was undertaken, and
         particular points of focus in the course of it; (d) Autonomy’s other business
         lines, including sales through resellers (“VARs”), hosting arrangements and
         OEM transactions; (e) the constituents of Autonomy’s revenue and (f) why
         KPMG never provided a final report.

177.     He was engaged also in a post-acquisition closing balance sheet project for HP
         to assist it in understanding Autonomy’s closing balance sheet so that
         Autonomy’s financials could be incorporated into HP’s October 2011 financial
         reporting.

178.     Mr Gersh was in the difficult position of having to explain why, despite being
         aware that Autonomy sold some hardware (and having been shown three
         contracts referencing hardware), KPMG (for whom he was the lead partner in
         the due diligence exercise) never asked Autonomy how much hardware it was
         selling. After much prevarication, and what the Defendants described as close
         to “nit-picking” he eventually had to admit that they did know that Autonomy
         was selling hardware and had simply assumed that the hardware sold was “a
         component” of sales of software and were thus sales of appliances. (Yet, for
         example, none of the three contracts appeared to be such sales of appliances.)
         Both his witness evidence and his oral evidence when cross-examined seemed
         to me to reflect over-lawyering, and the fact that (so he acknowledged) he had



                                           Page 65
     Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 67 of 900
Approved Judgment                                                                          HC-2015-001324
Mr Justice Hildyard


         previously given evidence (on 6 and 13 April 2018) in the US criminal trial, had
         had 5 to 10 meetings with US government lawyers, and had met with HP’s
         lawyers at least 5 times also.

The development of interest culminating in a bid

179.     Mr Apotheker first met with Dr Lynch on 12 April 2011. This was the first of
         a very small number of direct meetings or conversations between Dr Lynch and
         Mr Apotheker before the acquisition was announced on 18 August 2011. These
         comprised:

              (1) This initial meeting between Dr Lynch and Mr Apotheker on 12 April
                  2011.

              (2) A meeting on 16 June 2011, which according to Mr Apotheker lasted
                  1½ - 2 hours.

              (3) A meeting lasting a few hours in France in late July 2011.

              (4) A call on 14 August 2011 when there was final discussion of the price.

180.     The meeting on 12 April 2011 lasted about an hour. Dr Lynch was in the US
         on other business. This was really a chance for two CEOs of technology
         companies to come together and exchange views. Mr Apotheker formed a
         favourable opinion of Dr Lynch, considering him very knowledgeable and
         enthusiastic about Autonomy and its products. He could not remember the
         meeting in any detail, but according to his evidence they discussed trends in the
         industry, including unstructured data, amongst other things.29 Mr Apotheker


         thought that nothing really concrete was discussed in relation to a possible
         partnership between HP and Autonomy.

181.     The SCD group also provided a presentation about Software AG (code named
         “Singapore”). The graphic showed that Software AG offered very different
         capabilities from those offered by Autonomy, with hardly any overlap.30 Mr
         Apotheker said that he would have regarded Software AG as a “pure software”
         or “pure play software” company, although it had a more significant services
         business. Its anticipated operating margins, at 28% by full year 2016, were far
         lower than Autonomy’s, but still regarded as “strong” in the executive summary



29
  Mr Apotheker also (initially hesitantly) suggested in this passage that he “believe[d]” Dr Lynch had
said, in explaining “how he was able to deliver these kinds of results”, that Autonomy was a “very
focused pure play software company”. At §38 of his witness statement Mr Apotheker said that Dr
Lynch had spoken of its ““pure software” model”. When cross-examined, he explained his
understanding of this to be that “it’s a company that tries to do as much software as it possibly can, to
the exclusion of everything else” and subsequently that Autonomy’s “business model is essentially

30
  As Mr Apotheker agreed, Software AG was strong in process management. It was not operating in
the unstructured data field, nor doing search or content analytics.


                                                 Page 66
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 68 of 900
Approved Judgment                                                                            HC-2015-001324
Mr Justice Hildyard


         at p.3. (In a similar presentation on TIBCO, it was estimated that operating
         margins would reach 30% by 2015 and that was also regarded as “strong”).

182.     Present at HP’s finance and investment committee were Mr Apotheker, Ms
         Lesjak, Mr Johnson and Mr Robison. They supported the continued assessment
         of the potential acquisitions. The minutes of the 25 May meeting record the
         following, under “M&A update”:

               “The Committee also discussed HP's focus on larger scale
               acquisitions like Atlantis and Singapore to enhance HP's software
               portfolio around enterprise information management (EIM),
               analytics and digitization.

               …

               The Committee noted its support of management's ongoing
               assessment of the strategic rationale surrounding executing the
               acquisitions discussed.”


183.     The view was, however, that HP should make the Autonomy acquisition first,
         and undertake the Software AG acquisition after the Autonomy acquisition. See
         Mr Johnson’s email of 28 May 2011 to Mr Veghte and others:

               “Board meetings went well. There is some desire to do Singapore
               after Atlantis so next step is Shane is going to meet Atlantis CEO in
               London next week to test his desire to engage and then also meet
               with Singapore's CEO the following week to keep him warm.”


HP’s outlook and objectives




driven by software and software only”. The Defendants submitted that this is likely to be something
suggested to Mr Apotheker, and his repeated statement that this was something he “believed” had been
said indicated that he did not in fact recall it, and it is unlikely that anything of this kind was said. I
return to this later.
184.     By the end of May 2011 HP’s thinking was accordingly as follows, as Mr
         Apotheker expressly accepted:

              (1) First, HP had reached the view that unstructured data was important and
                  a growing part of the software market, and that HP had a limited number
                  of capabilities in that field.

              (2) Secondly, HP considered that Autonomy had cutting edge and
                  widelyaccepted software which had become an industry standard for
                  analysing and managing structured and unstructured data.



                                                  Page 67
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 69 of 900
Approved Judgment                                                             HC-2015-001324
Mr Justice Hildyard


              (3) Thirdly, Autonomy was also attractive in view of the fact that HP owned
                  Vertica, and had SQL database technology, a data management system
                  used primarily by stock exchanges, telecommunications companies and
                  banks for online transaction processing.

              (4) Fourthly, HP thought acquiring Autonomy would enable HP to combine
                  the unstructured software expertise with its own products and offer an
                  attractive product to the market (the integrated or unified information
                  stack).

              (5) Fifthly, HP saw the acquisition as potentially transformative for HP.

185.     The deal sponsors at HP were particularly excited about the potential synergies
         that could be achieved. Mr Apotheker’s evidence in cross-examination
         confirmed this:

                      “Q. Of course, but what was driving it from your perspective
                           was the synergies that you could make out of this
                           acquisition, wasn't it?

                       A.     Yes.”


186.     HP produced various valuations of these synergies, ranging as high as $30bn.
         The Defendants submitted that emails in July through September 2011
         demonstrate that Mr Apotheker’s focus at all times was on the synergies that
         could be created, and the considerably increased revenues and margins which
         would result were what drove the deal, rather than the stand-alone value. (This
         is of considerable relevance to the quantum of loss if liability is established).

187.     The Defendants suggested that this may in part explain Mr Apotheker’s
         evidence (to which I must also return later) that although he read Autonomy’s
         2010 annual report, he did not read Autonomy’s 2011 quarterly or half-yearly
         releases at all. By July 2011, the 2010 annual report was already 7 months out
         of date. The Defendants posited that the fact that he did not read the 2011
         quarterly or half-yearly releases demonstrates that the detail of Autonomy’s
         trading results and metrics were not of great interest to him: what most mattered
         to him was Autonomy’s technology and its potential as a transformative
         business.

Development of Deal Models and valuations

188.     During the summer of 2011, HP’s SCD group worked on various DCF
         valuations of Autonomy. These (which the Claimants called “Deal Models”)
         were prepared by Mr Sarin and his team and their objective was to assess the
         standalone value of Autonomy. An initial version had been prepared as early
         as February 2011, and Mr Sarin explained that the valuation went through
         various editions until 18 August 2011. The elaboration of the valuations is
         addressed later.



                                              Page 68
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 70 of 900
Approved Judgment                                                                  HC-2015-001324
Mr Justice Hildyard


189.     By the end of June 2011, both Mr Apotheker and Mr Robison were plainly very
         enthusiastic about Autonomy as a business. Their focus was on the technology
         and how it could be combined with HP’s assets. Mr Robison wrote to Mr
         Apotheker on 29 June 2011 referring to a “REALLY good meeting today”. Mr
         Robison wrote:

                      “This is our deal if we want it. Mike needs to be in a clear leadership
                      role which I think is a GOOD thing. I would fold Vertica into this going
                      forward and have a REAL leadership position on a combination of
                      search and analytics.”

190.     Dr Lynch had also concluded by this time that Autonomy was a good fit for
         HP’s vision. The combination of HP, their sales force and the Vertica database
         with Autonomy and its IDOL technology was a sound strategy.

191.     Nonetheless, at this stage Dr Lynch still considered it was only possible, rather
         than probable, that HP would make an offer for Autonomy: he did not consider
         an acquisition as a real possibility until the meeting with Mr Apotheker in
         Deauville on 28 July. As he said in cross-examination,

               “Remember a price hasn't even been agreed at this point and so,
                   in my experience, you often have these kind of meetings and
                   then a lot of them will fall away when a price is discussed
                   and then a lot of them will fall away after an attempt to
                   renegotiate the price, after due diligence. So when you get
                   to this stage, you probably have a 10% chance of a deal.”

HP’s fear of a rival bidder and a takeover battle


192.     One of the threats perceived by HP and its advisers was the emergence of a rival
         bidder. Throughout the process of analysis, and until the announcement of the
         bid, HP was concerned that another bidder might emerge, which would turn any
         deal between HP and Autonomy into a public takeover battle. This risk was
         referenced in Mr Apotheker’s email to Mr Robison of 18 June 2011:

                      “Atlantis CEO wants to do the deal with HP and he believes that we are
                      the ideal partner. The concern is an interloper that will turn the deal
                      into a public take over battle with a chance that Atlantis would be in the
                      wrong hands. We should work with a true specialist in local take over
                      practices and we can count on Atlantis support to help structure this in
                      the best possible way.”


193.     On 24 June 2011, BarCap gave HP advice on how to avoid a contested takeover,
         in a presentation headed “Project Plato – Deal Protection Considerations". This
         was circulated by Andy Johnson, whose covering email stressed the importance
         of working closely with Dr Lynch:



                                                Page 69
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 71 of 900
Approved Judgment                                                                HC-2015-001324
Mr Justice Hildyard


               “Given Michael Lynch's ~ 8.5% ownership of Atlantis; board
               control and critical role as the founder / visionary / CEO-
               absolutely important to get his buy-in. HP enters into a hard
               irrevocable with him whereby he pledges his shares to HP (through
               a call option program). He also needs to have a very strong view
               about other buyers i.e. "not selling to anyone else".”


194.     The presentation itself noted the need for HP to move rapidly and offer a strong
         price. It recommended that “With full Target CEO backing and Target Board
         support Hercules should move rapidly to formalise an offer and try to avoid a
         leak”, and again stressed that the “Support of CEO is key to securing Atlantis”.

Progression of the deal towards an offer


195.     There was a further meeting between HP and Autonomy personnel on 29 June
         2011. Dr Lynch, together with Mr Hussain, Mr Kanter and Dr Menell met with
         representatives from HP’s corporate development, software and cloud services
         teams to discuss how HP and Autonomy might be able to work together. The
         29 June 2011 meeting was a high-level strategic discussion about how HP and
         Autonomy could work together; it was not the forum for the provision of
         nonpublic information and there was no specific discussion at the meeting about
         price.

196.     After the meeting, Dr Lynch had a private dinner with Mr Robison. The dinner
         was an opportunity for the two individuals to get to know each other and to
         discuss technology and the future of the technology industry. The meeting was
         around three hours long. It was attended also by (amongst others) Mr Sarin and
         Mr Jerome Levadoux (a Vice President in HP’s Products, Information
         Management and Analytics group, and a former employee of SAP), both of
         whom made a note. Nevertheless, there was a dispute as to what was said:

              (1) Mr Sarin accepted that this was a general introductory meeting, and that
                  Mr Robison had been very positive.

              (2) While Mr Sarin’s notes record some discussion about the level of
                  premium normally payable on a UK acquisition, he accepted that it was
                  possible that was an internal HP discussion after the meeting.

              (3) The point most disputed was Mr Sarin’s evidence in his witness
                  statement, that he thought Dr Lynch had described Autonomy as a “pure
                  software” company. This was not something reflected either in his or

                      Mr Levadoux’s notes, and Mr Sarin’s memory about what happened at
                      the meeting outside the notes was poor. He said in evidence that he took
                      the phrase “pure software company” to mean that Autonomy “was a
                      company that was predominantly software, sold a small number of
                      appliances and was one of the more scaled businesses in the software
                      industry”. The Claimants relied on this as support for their claim that
                      Autonomy was sold on that basis; the Defendants rejected this as


                                               Page 70
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 72 of 900
Approved Judgment                                                                   HC-2015-001324
Mr Justice Hildyard


                      contrived and pointed out that Mr Sarin gave no basis for this very
                      elaborate meaning. Although that elaboration does appear to me to be
                      lawyer-crafted, it will be seen later in this judgment (see paragraphs
                      3878ff) that I have concluded that it is more likely than not that Dr Lynch
                      did describe Autonomy (including to Mr Sarin) as a “pure software
                      company” or “pure play software company” with the intention and
                      effect of conveying a special selling point, the success and
                      selfsufficiency of Autonomy’s software business without the need for
                      other revenue streams.

197.       On 7 July 2011 Mr Apotheker asked the corporate development team to think
           “aggressively and creatively” about synergies. Mr Apotheker sought in
           evidence to underplay this, suggesting that this was “just one exercise”, that he
           wanted to “see how far we could stretch it” and there was also a very pessimistic
           scenario. However, the contemporaneous documentation does not support this:
           Mr Apotheker was asking for more synergies because he wanted the FY14
           revenue to be “much higher than $2.18” billion dollars. Dr Lynch cited an
           instant messaging conversation between Mr Sarin and Mr Levadoux, which ran
           as follows:

                      “[Sarin:] Leo has given some directional feedback

                      [Levadoux:] You want to call me now for 5 minutes? on my cell?

                      I actually called HPK so I have some feedback too ... [Sarin]:

                      we just need to come up with more synergies

                      i don't have too much more color

                      he wants the FY14 revenue number to be "much higher than $2.18",
                      which is where it is today”.


198.       Consistently with that, Mr Apotheker also asked Mr Risau (his Chief of Staff
           who had been COO at SAP, and CFO of a division but who was not part of the
           SCD group within HP) to look at synergies.

199.       Mr Apotheker was not the only one pushing for higher synergies. A little earlier,
           according to a message from Mr Levadoux sent on 2 June 2011, Mr Bill Veghte
           (then Executive Vice President, HP Software) had “challenged us to

           think how we can turn this into a $5B business (versus current assumption of
           $2B-$2.5B by 2015 with synergies)”.31

200.       The SCD group prepared a further valuation in July with new figures for
           synergies. A tab named “Waterfall” in this spreadsheet posited a standalone

31
     The references to numbers were to revenues.


                                                   Page 71
     Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 73 of 900
Approved Judgment                                                                       HC-2015-001324
Mr Justice Hildyard


         value of $10.324bn. The identified synergies brought the value with synergies
         to $27.835bn. Mr Sarin described this in his witness statement (reflecting the
         filename of the relevant valuation model) as “the “aggressive” synergy case”,
         and said that he thought it was not included in any of the decks subsequently
         provided to the board. In fact, certain revenue projections (of revenue, gross
         and operating profit, gross and operating margin, net income and net margin and
         EPS) which were modelled on “Divesting Poseidon [HP’s Personal Systems
         Group] and winning in the Big Data Analytics market” were included in the
         deck presented to the board at its meeting in July 2011, as Mr Sarin accepted in
         cross-examination, although he also maintained that he only subsequently
         became aware of this when it was pointed out to him when he was preparing for
         his cross-examination. This was known either as the “aggressive synergy case”
         or as the “Transformational case”

201.     Mr Apotheker’s presentation to the Board did not address valuation; but it did
         refer to the possibility, under what he referred to as the “transformational case”,
         of total revenues of $6 billion in 2014. That compared to a base case projection
         of revenues in 2014 of $2.2 billion. Mr Apotheker had asked the SCD to model
         what the total value of Autonomy inclusive of synergies would have been on
         the basis of that “transformational case” and revenues of $6 billion, which had
         led to a DCF valuation of $46.589 billion (including synergies of $30 billion).
         Mr Robison had commented that he thought that this figure, which was
         premised on HP “winning in the Big Data Analytics market”, “may be a bit
         much”, and that more work would be required “to make sure this is credible.”
         I accept that the $46 billion valuation was never shown to the Board.32

202.     HP’s growing enthusiasm for the acquisition exacerbated apprehension about
         the threat of a rival take-over bid from an “interloper”, in particular, Oracle. On
         15 July Mr Robison provided Mr Apotheker, Ms Lesjak and others with
         summary points drawn up by Mr Johnson from an “Interloper Analysis”
         prepared by BarCap. The analysis had addressed how Oracle might interfere
         with HP’s process. One of the points made related to due diligence. Mr Johnson
         wrote:



                      “O [i.e. Oracle] can say they are interested after we announce
                      and get access to all the diligence we have received so the



32
  Mr Apotheker told the Board of HP at the time that the business case for the Acquisition hinged on
synergies. In an email to Mr Lane dated 5 September 2011 (and thus after the Acquisition, abut before
his removal as CEO) Mr Apotheker reminded him that “Autonomy makes total sense if one believes
that HP can generate the synergies we build into our business plan. The quality of the synergies is
high: you will remember that they exclude any drag-on revenues related to additional hardware sales
and we only included a very small drag-on effect for services. All the other synergies are driven by
leveraging the IDOL platform, combining it with HP IP/R&D, deeper penetration of existing markets
and significant and identified upsell/cross sell opportunities…I for one, and so does my team, firmly
believe that we can achieve these synergies in the allotted time frame.” The email chain was forwarded
to Ms Whitman by Mr Lane on 25 September 2011 (after Mr Apotheker had been removed).


                                                Page 72
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 74 of 900
Approved Judgment                                                                HC-2015-001324
Mr Justice Hildyard


                      takeaway is to be careful about our diligence so we don't enable
                      O to get a deep dive on sensitive data.”


203.     Later, on 27 July, Mr Robison provided Mr Apotheker with a presentation from
         BarCap on Oracle’s usual M&A processes, again reflecting HP’s concern about
         a competitive bid from Oracle.

Consideration of potential offer by HP s board and their financial advisers

204.     HP’s board held a strategy meeting on 19 to 21 July 2011. This was a crucial
         meeting for HP because it was deciding on its future strategy. Mr Apotheker
         and Mr Robison were recommending not only the acquisition of Autonomy, but
         also the hiving off of the PC business (referred to as the “PSG” personal services
         group), amongst other things. The PC business had been part of HP’s DNA.

205.     As to Mr Apotheker’s presentation to the board:

              (1) In line with earlier documents, his proposal was that: “HP will be the
                  leading provider of information solutions on-premise and in the cloud.”
                  The value proposition included “Disruptive business intelligence and
                  big data analytics stack.”

              (2) He advised the board that decisions needed to be made urgently, or
                  immediately:

                                   “Current challenges and timing pressures force some

                                   immediate choices- Management recommendation


                               •   Shift portfolio mix towards higher growth, higher margin
                                   businesses (e.g., Software)


                               •   Decrease exposure to commoditizing, low-margin end-
                                   user devices


                               •   Decrease dependency on consumer markets; focus on
                                   commercial…”


              (3) The first bullet point related to the Acquisition; the second and third to
                  the hiving-off of the PSG business. The rationale for “acquiring
                  [Autonomy] now” was set out in the document. The aim was to build a
                  leading position for HP in enterprise software with the acquisition of
                  Autonomy. Mr Apotheker’s presentation explained about the creation

                      of a data stack involving structured and unstructured data, and
                      combining Autonomy’s business with Vertica and HP’s assets:


                                               Page 73
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 75 of 900
Approved Judgment                                                          HC-2015-001324
Mr Justice Hildyard


                        “Legacy business intelligence paradigm is shifting to "big
                        data" paradigm

                        - Explosion in volume and types of data sets (primarily
                          unstructured) not suitable for traditional relational
                          databases

                        - Increased focus on integrating structured and unstructured
                          data to enable richer, more actionable insights

                        - Shift from historical analysis (reporting dashboards) to
                          predictive analytics

                        - Growing demand for real-time analytics

                        The combination of Atlantis, Vertica, and HP’s Open Source
                        Database provides HP a disruptive data stack

                        - Atlantis is the equivalent of Google for unstructured data
                          (de-facto standard platform among Original Equipment
                          Manufacturers for unstructured data analytics)

                        - Vertica is an in-memory, compressed columnar database
                          that can run real-time analytics on big data

                        - HP is creating an open source database (based on our non-
                          stop architecture)

                        - The combination of these assets enables HP to integrate
                          structured and unstructured information and enable
                          enterprise search & discovery, content management, and
                          real-time analytics on big data

                        HP can build a leading position in Enterprise software via
                        Atlantis acquisition”


              (4) The analytics market that HP was targeting was estimated as being a
                  $31bn market.

              (5) The board were told that Autonomy was the best option, having been
                  tested against other potential candidates: Software AG and TIBCO were
                  specifically identified (by code name) as other candidates which had
                  been evaluated.


                                          Page 74
     Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 76 of 900
Approved Judgment                                                                         HC-2015-001324
Mr Justice Hildyard


              (6) The board were provided with Mr Apotheker’s financial projections for
                  the “transformational case” (including both the Autonomy acquisition
                  and the PSG divestiture). The 2014 projections were based on the
                  $6.1bn figure for Autonomy revenue (with synergies) that Mr
                  Apotheker had previously targeted and which the SCD group had
                  provided for him. When cross-examined, Mr Apotheker accepted that
                  he thought that this was realistic, and that a statement in his witness
                  statement (which he had repeated earlier in his testimony) that the “more
                  aggressive scenarios” formed no part of the business case presented to
                  the board were “obviously” inaccurate. However, he stressed that this
                  was “the theoretical potential highest number that we could achieve”
                  and assumed “winning in the Big Data Analytics market”: the “base
                  case” forecast $2.2 billion of revenues in 2014 (taking into account
                  expected synergies).33

              (7) Mr Apotheker’s proposal was to announce the intention to divest PSG
                  simultaneous with the announcement of the Autonomy acquisition in
                  mid-August. This was intended to coincide with the announcement of
                  HP’s Q3 results.

              (8) The proposal was that in the following 6-12 month period HP would
                  “evaluate additional software targets such as [Software AG] and
                  [TIBCO]”.

206.     Perella Weinberg Partners were one of the two banks advising HP at the time.
         Mr Apotheker considered them competent and good at their job. They also
         made a presentation to the board. Perella Weinberg endorsed the strategy, and
         agreed that the intention to acquire additional software capabilities was critical
         to fulfil HP’s vision and drive margin and growth. In their executive summary
         (dated 20 July 2011) their advice began as follows:

                         “We believe Hawk's strategic vision of leveraging Cloud,
                         Connectivity and Software to provide seamless, secure and
                         context-aware computing to enterprises and consumers as
                         articulated in March is credible and well-conceived


                      - Company's stated intention to acquire additional software
                        capabilities is critical to fulfill its vision and drive margin
                        and growth”.




207.     Mr Apotheker told me that he agreed “essentially” with this assessment.


33
  It was the lower figure of $2.2 billion forecast revenues in 2014 which was used as the input for the
DCF valuation, which attributed a stand-alone value to Autonomy of $10.3 billion and a value
inclusive of synergies of $17.6 billion.


                                                 Page 75
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 77 of 900
Approved Judgment                                                           HC-2015-001324
Mr Justice Hildyard


208.     Perella Weinberg also noted that HP’s management had reviewed other M&A
         targets but few were “truly transformational”, unlike the Autonomy acquisition.

209.     Perella Weinberg also noted HP’s current difficulties, which put it in a
         “precarious position”:

                      “ Hawk is currently in a precarious position

                      - Recent underinvestment has weakened Company's innovation
                        credentials

                      - Significant headwinds across multiple businesses; management
                        changes and departures

                      - Undermined investor confidence and credibility following two
                        revisions of earnings guidance; uncertainty regarding Q3/4 and
                        FY2012


                      - Business will require considerable time to turn around

                      - Current Hawk market valuation at bottom compared to peers,
                        significant discount to sum-of-the-parts valuation”


210.     According to Mr Apotheker, the reference to “uncertainty regarding Q3/4 and
         FY/2012” arose because “it appears that HP’s forecasting capabilities and
         abilities under the CFO were not very good”. He told me that he considered that
         “reality” had proven the CFO to be “very bad at forecasting revenues”. It
         appeared that there were tensions even at this stage between Mr Apotheker and
         Ms Lesjak (the CFO); and a little later, she and Mr Apotheker had a serious
         falling out with pivotal repercussions, and he considered her to be trying to
         undermine him and the transformational project from the beginning. Mr
         Apotheker also complained about the inaccuracy of Ms Lesjak’s “flashes”
         (which he explained are forecasts of an immediately expected result).

211.     Mr Apotheker agreed that the business would take a considerable time to turn
         around. The margins of the PC business were as high as they could ever get and
         could only deteriorate. The services business was also low margin and HP’s
         corrective measures would take a long time. More than 70% of HP’s revenues
         were accordingly either deteriorating or only very slowly improving.

212.     Perella Weinberg also explained why the release of the Q3 results was an
         important “catalyst”, and it was advisable to announce the acquisition at the
         same time as releasing the results, which were anticipated to be poor. Mr
         Apotheker also thought this was a good idea. The executive summary made the
         following points. Mr Apotheker agreed with all of them at the time (save that
         he did not confirm his agreement to the last point):


                                          Page 76
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 78 of 900
Approved Judgment                                                           HC-2015-001324
Mr Justice Hildyard


                      “Release of Q3 results potentially an important catalyst

                      - Results will be heavily scrutinized

                      - Financial business initiatives (e.g., share repurchases) are
                        unlikely to address business fundamentals

                      - Likely to prompt revision of FY2012 estimates and price targets

                      - Pressure on share price potentially significant

                      - Increased risk that vocal/activist shareholders come forward
                        with public challenge/criticism and/or specific suggested
                        strategic initiatives (e.g., break-up)

                      - Potential threat of contesting board seats and/or proxy
                        challenge”.


213.     Perella Weinberg considered that HP would find it hard to “execute out” of this
         predicament on a timely basis, a point that Mr Apotheker agreed with. They also
         considered that in the near-term HP could not organically or incrementally
         address its fundamental challenges in a meaningful way. Mr Apotheker thought
         that this might have been possible, if HP had been given enough time, although
         this was something that the markets would react negatively to. Thus it was never
         anything he suggested to the board and as he said in cross-examination he
         “shelved that idea” in his own mind.

214.     Perella Weinberg made further recommendations with which Mr Apotheker
         also agreed, including the divestiture of the PSG group, and the announcement
         of that with the Q3 release. They also recommended that HP pursue the
         Autonomy acquisition expeditiously as a “critical offensive move” and a
         “unique opportunity to reposition [HP] as the undisputed leader in
         contextaware computing”.

215.     Perella Weinberg also adverted to the interloper risk, stating:

                     “Given UK takeover framework and potential interloper
                      interest, the acquisition of Atlantis is not without risk;
                      however, strength of Hawk's strategic rationale and value
                      creation potential provide for very competitive positioning
                      and firepower”.
216.     The Defendants suggested that this was a reference to HP being in a position to
         knock out the competition with the size of its bid. Mr Apotheker thought that
         was one way of looking at it, but that another way was that another interloper




                                           Page 77
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 79 of 900
Approved Judgment                                                               HC-2015-001324
Mr Justice Hildyard


         (such as Oracle) with “overlapping interests” might have to divest or restructure
         and would thus not be able to make the same kind of offer.

217.     However, Perella Weinberg also warned of the impact on the investor
         community and the real possibility of a hostile reception.

              (1) First, they warned that the markets could react badly to the
                  announcement:

                          “Confluence of Q3 and FY 2012 prospects, portfolio
                          realignment and pro-forma impact potentially dislocating
                          share price temporarily”

                      Indeed, Mr Apotheker confirmed that this was actually his expectation.


              (2) Secondly, they advised that the changes could “catalyze fundamental
                  rerating” and shift HP’s shareholder base towards a more growth
                  oriented profile i.e. moving away from value investors to growth
                  investors, which as Mr Apotheker acknowledged would be good for HP.

218.     Perella Weinberg in addition stressed the importance of flawless execution and
         management devotion to the integration and transformation:

                      “Combination of persisting challenges in existing core
                      businesses, extraction of Poseidon and integration of Atlantis
                      would demand flawless execution and significant senior
                      management bandwidth while integration and transformation
                      progress remains under heightened public scrutiny”.


219.     As Mr Apotheker put it:

             A. A proper integration plan, a proper extraction plan of the PC
                   business, execute this to close to perfection and while at the
                   same time continuing to run the existing business.

             Q. So it would be important for management to make these changes a top
                  priority?

             A. Well, it would mean that management would be basically focused
                   on these two changes, making sure that the existing business
                   continue -- or the remainder of the business continues to run
                   as well as possible. There were other changes that were
                   required and all of this has to happen in [a] nicely
                   synchronised way and would have been a lot of work.




                                               Page 78
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 80 of 900
Approved Judgment                                                             HC-2015-001324
Mr Justice Hildyard


220.     Mr Apotheker thought that he was the man to carry out this dedicated integration
         work, along with Mr Robison and the team. As elaborated below, in the event,
         shortly after the bid, and before the Acquisition had completed, HP jettisoned
         Mr Apotheker and Mr Robison, and according to the Defendants, did not give
         the integration anything like the priority and focus that Mr Apotheker and
         Perella Weinberg had envisaged.

221.     After Mr Apotheker and Perella Weinberg had made their presentations on 20
         July 2011 there was a board discussion. The board authorised Mr Apotheker and
         other members of management to pursue the Autonomy acquisition (codenamed
         Project Tesla) with a maximum price of $11.7 billion. This was substantially in
         excess of HP’s stand-alone valuation of Autonomy of $10.324 billion. (The
         same valuation showed an aggregate value plus synergies of $17.596 billion.) It
         was also at a significant premium to Autonomy’s market capitalisation. The
         board also authorised Mr Apotheker and Mr Robison “and other members of
         HP management” to assess the potential divestiture of the PSG group (code-
         named Project Hermes), with a view to announcing this (if approved by the
         Board) at the Q3 earnings announcement.

Negotiation of the price

222.     There were two phases of the discussions about price. The first was in July 2011.
         The second was in August 2011. Certain parameters framed HP’s approach:

              (1) First, HP realised that they needed to pay a substantial premium over
                  market capitalisation in order to secure the asset. They also perceived
                  that they needed Dr Lynch’s support for the acquisition to go ahead: they
                  had no appetite for a contested bid, and they wanted him to stay on after
                  the acquisition.

              (2) Secondly, HP knew that (assuming Autonomy’s financial position,
                  performance and prospects to be as depicted in its published
                  information) Dr Lynch would not go below £25 per share. He had made
                  that clear, and seemed in no hurry to sell.

              (3) Thirdly, HP had determined that Autonomy “uniquely” offered the
                  transformational opportunity that HP needed, and that HP could not
                  delay. HP were prepared to pay a price above Dr Lynch’s floor even
                  after Autonomy’s share price had declined, such that the implied
                  premium increased from that implied by the range of values originally
                  agreed with Dr Lynch at the end of July.

              (4) Fourthly, HP were not wedded to obtaining any particular proportion of
                  the expected synergies on an acquisition, and had been prepared to cede
                  53% of their anticipated synergies in the proposed acquisition of
                  TIBCO.




                                            Page 79
     Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 81 of 900
Approved Judgment                                                                         HC-2015-001324
Mr Justice Hildyard


              (5) Fifthly, HP wanted to avoid competitive bids. They were worried that
                  there would be interlopers, including Oracle, and were prepared to pay
                  a “compelling price” to forestall a bidding war.

July 2011 negotiation

223.     Mr Apotheker recognised that he would have to pay a “control premium”,
         which would in the ordinary course be “at a bare minimum” 30%, and could be
         significantly higher “depending on the quality of the asset”.

224.     He emphasised that he looked at two things: (a) present value as a stand-alone
         business and (b) synergies to be expected in the future. The acquiring company
         would wish, of course, to retain as much of the synergy value (which equally
         obviously depended on its own assets and effort) as it could. The company
         proposed to be acquired would regard synergy value as justifying a higher price
         (i) because of its value to the acquiring company, for which it ought to be willing
         to pay and (ii) because the value that it can provide is a valuable attribute of the
         business which should also be reflected in the price.

225.     Mr Apotheker met with Dr Lynch in Deauville on 28 July 2011. It is common
         ground that they discussed the following:

              (1) The strategic rationale of the deal.

              (2) The integration of Autonomy, which would involve Autonomy being a
                  semi-autonomous company within the group. Mr Robison had made it
                  clear that if Autonomy was integrated into the greater HP group, the
                  “immune system” of HP would kill Autonomy off and the value would
                  be lost, as in other acquisitions.

              (3) Dr Lynch’s role, which would involve him being in charge of the
                  software assets of HP, including the Vertica business. This was
                  appealing to Dr Lynch, given his passion for Autonomy’s software and
                  the technological synergies that could be created in combination with
                  HP.

              (4) Mr Apotheker confirmed that at this meeting they agreed that Dr Lynch
                  would become head of HP’s software business in place of Mr Veghte.

226.     The position from Dr Lynch’s perspective, based on his first witness statement,
         can be summarised as follows:

              (1) He had not been looking for a sale34, but HP’s proposition was exciting.
                  As regards his personal position Dr Lynch was already a successful and



34
  As I explained earlier, HP did not accept this. Part of their case was that Dr Lynch had planned a sale
with the encouragement of Mr Frank Quattrone and his boutique investment bank called Qatalyst
Partners, which from late 2010 was “shopping” Autonomy to the “potential acquirer universe”
including HP.


                                                 Page 80
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 82 of 900
Approved Judgment                                                             HC-2015-001324
Mr Justice Hildyard


                      wealthy man. He had already sold a large part of his shareholding in
                      Autonomy over time.



              (2) However, he thought that Autonomy was a potential takeover target in
                  any event, and had been advised as such by Mr Quattrone towards the
                  end of 2010. If HP were to offer a premium of 60% or more, Dr Lynch
                  knew that resistance to an offer would be very difficult.

              (3) Having met with Mr Apotheker and Mr Robison, Dr Lynch saw HP as
                  an attractive bidder. He could see the merit in the potential combination
                  with HP and the integration of Vertica, and access to HP’s much larger
                  sales channels could take Autonomy to a higher level: HP could provide
                  the firepower for Autonomy to take on competitors such as Oracle.

              (4) After Mr Apotheker and Mr Robison explained to Dr Lynch that they
                  would want him to stay on, and to lead Autonomy as a semi-independent
                  company under HP’s aegis, Dr Lynch expected to be working with HP
                  during the years after the takeover, continuing to develop Autonomy’s
                  business as part of a larger group.

227.     Price was discussed at this meeting for the first time. Dr Lynch had been
         pressing for £27 per share. It was agreed that if HP was to acquire Autonomy,
         HP would need to offer a price in an agreed range. Dr Lynch’s recollection was
         that this range was between £25.50 and £26.50 per share. Dr Lynch considered
         that management would not have the ability to resist a deal within that range
         and Dr Lynch would recommend such an offer to shareholders.

228.     Dr Lynch’s unchallenged evidence is that:

              (1) First, he was not willing to recommend the sale to Autonomy’s
                  shareholders unless they were getting what he believed they deserved,
                  which needed to be an exceptional offer which accounted for the bright
                  future of the company.

              (2) Second, that as Mr Robison and Mr Apotheker knew, Dr Lynch would
                  not be willing to support a bid below £25 per share.

229.     Moreover, from HP’s perspective, it was a condition of any offer that Dr Lynch
         would recommend the bid: they were not willing to embark on a hostile takeover
         without him; it would have been impossible to put Dr Lynch in charge of the
         business if he had not recommended it; and the whole thing required his
         agreement. This is borne out by events in August, when HP were considering
         the renegotiation of the acquisition price in light of falls in Autonomy’s share
         price.

230.     As previously explained, HP were at all times conscious of the interloper risk.
         Part of their strategy for dealing with that risk was to make a compelling offer,




                                              Page 81
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 83 of 900
Approved Judgment                                                                  HC-2015-001324
Mr Justice Hildyard


         which was the “highest logical price that still made sense in order to discourage
         everybody else”.

231.     On behalf of HP, BarCap prepared a draft Letter of Intent dated 28 July 2011
         which set out the strategic rationale for the sale as follows:

                      “As the business intelligence paradigm shifts to "Big Data",
                      real-time and predictive analytics, we believe a unified analytics
                      solution can be built around HP's technology assets coupled
                      with Autonomy's structured and unstructured capabilities. In
                      addition, we believe there will be opportunities to leverage HP's
                      global channel relationships and technology assets with
                      Autonomy's solutions to deliver end to end information lifecycle
                      management and content analytics solutions tailored to various
                      industry verticals and lines of businesses.”


232.     The draft letter stated: “HP would be prepared to make an all cash offer to
         acquire the entire issued and to be issued share capital of Autonomy at a price
         of between £24.94 and £26.94 per share.”

233.     Dr Lynch commented that:

                      “At this range, I knew management would have no ability to resist HP’s
                      offer. This was precisely the scenario Mr Quattrone predicted toward
                      the end of 2010, when we discussed market changes and the need to take
                      defensive steps against a bid taking advantage of the US-UK valuation
                      differential. A premium of over sixty per cent (60%) to the London
                      market price would inevitably lead to the company being sold. Whether
                      we liked it or not, Autonomy was “in play” as an acquisition target.”

HP’s Due Diligence and KPMG


Summary

234.     HP’s agreement to the deal was subject to due diligence. HP’s due diligence
         took place from 1 to 18 August 2011. HP was assisted by KPMG and had advice
         from two investment banks. When asked about this process, Mr Sarin described
         it as “confirmatory due diligence”, that is to say, a process that took place after
         the agreement on price:

                      “You’re trying to confirm certain things that you’ve made assumptions
                      on, either in your model or your business case, your understanding of
                      the business. And you recall before the July 29 meeting there was a letter
                      of intent submitted to the Autonomy board of directors, so at some level
                      there is an agreement on price so you are now digging into the details
                      of what is this business all about? Does it sort of jive with our
                      understanding of the business, just looking at information in the public
                      domain.”


                                                Page 82
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 84 of 900
Approved Judgment                                                                         HC-2015-001324
Mr Justice Hildyard


235.       It was agreed to use oral discussions (by telephone) as much as possible to
           minimise the generation of hard-copy materials that might have to be provided
           to competing bidders under the Takeover Code. There was a dispute as to
           whether it was HP or Autonomy who asked for this. Mr Apotheker insisted in
           cross-examination that the request came from Dr Lynch and that HP agreed only
           “because we were respectful of Autonomy’s desire to keep sensitive data out of
           the hands of competition”. However, an internal HP email dated 15 July 2011
           from Mr Johnson to Mr Robison headed “Interloper Analysis” suggests that,
           amongst other concerns as to “how the O company might interfere with our
           process” HP was much concerned about the possibility that Oracle might get
           access to “all the diligence we have received so the takeaway is to be careful
           about our diligence so we don’t enable O to get a deep dive on sensitive data”.
           It seems to me likely, and I find, that it was a matter of joint concern and
           common interests, that HP raised the issue and Autonomy readily agreed.

236.       Dr Lynch played a very limited role in the process. The Claimants do not
           advance any claim against him in respect of the due diligence process, or
           anything said to HP during it: although various misrepresentations were
           allegedly made by Mr Hussain in the process, none is alleged against Dr Lynch.
           It is, however, alleged that he made a representation about HP’s ability to rely
           on Autonomy’s accounts at a meeting shortly before due diligence began, on 29
           July. Later in this judgment I address broader issues relating to inducement and
           reliance in the various contexts in which they require to be considered (and see,
           especially, paragraphs 478 to 522 on the tests of reliance applicable in FSMA
           claims; paragraphs 3236 to 3252 in respect of the misrepresentations concerning
           Autonomy’s OEM business; paragraphs 3979 to 3988 in respect of the direct
           deceit/misrepresentation claims; and paragraphs 3944 to 4055 in respect of the
           FSMA claims); but the following should be noted in relation to the due diligence
           process itself.

237.       First, the process was, in Dr Lynch’s view rushed; but the timetable was set by
           HP. Dr Lynch’s position was that at no stage did he attempt to inhibit the due
           diligence process. It was not disputed that Autonomy refused to make available
           Deloitte’s working papers to HP: but Mr Gersh of KPMG advised and Perella
           Weinberg confirmed to HP that it would have been unusual if working papers
           had been provided in a transaction of this type. Further, Dr Lynch was content
           for KPMG to speak directly to Deloitte.

238.       To the extent that HP did limit its exercise the Defendants suggested that this
           was their decision and it reflected two related facts:

                (1) First, that HP was (at least until it had second thoughts) committed to
                    the bid. The HP decision makers had relatively little interest in the
                    outcome of the due diligence (at least in relation to financial aspects:35
                    by contrast, technical due diligence, the solidity of the IP rights and the
                    like were closely scrutinised).



35
     Mr Apotheker did not read the KPMG draft due diligence report on the financial aspects.


                                                  Page 83
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 85 of 900
Approved Judgment                                                               HC-2015-001324
Mr Justice Hildyard


              (2) Secondly, HP was concerned about an interloper having access to
                  Autonomy’s information, which given HP’s commitment to the bid was
                  undesirable: that militated against a long process, especially since (as
                  Mr Cooke explained at §10 of his (unchallenged) statement), due
                  diligence in a public company takeover in the UK is relatively limited




                      (in contrast to the acquisition of a private business) because of the
                      Takeover Code requirement of equal access to all bidders.

239.     HP was able to ask for all the information it wanted to during the due diligence
         process:

              (1) HP was the buyer. It could ask any questions, or insist on any
                  information, that it felt was necessary if it wanted to proceed with the
                  bid.

              (2) HP and KPMG had access to Deloitte. They were able to ask Deloitte
                  about all aspects of Autonomy’s accounts.

              (3) From HP’s perspective it was satisfied that it and KPMG had carried out
                  all the due diligence they wanted to carry out.

              (4) HP was able to take advice from two investments banks, who were
                  satisfied that the deal was at fair value.

240.     Secondly, the Defendants made three forensic points as follows:

              (1) It was always obvious to Dr Lynch that any acquiror would want to do
                  due diligence, and would insist on all the due diligence that it considered
                  that it needed, and ask any questions that it liked (which is exactly what
                  HP did). They submitted that this makes it most improbable that Dr
                  Lynch could have been involved in, or aware of, any fraud.

              (2) Similarly, it was always obvious that as the acquiror HP would have
                  complete access to Autonomy’s books and records after the acquisition.
                  (Further, one would expect any competent acquiror to check its own
                  books to see what business it did with the target, as well as talk to joint
                  customers about what they bought from the target.) The Defendants
                  submitted that in these circumstances, it would have been futile
                  deliberately to conceal any of Autonomy's transactions.

              (3) In any event, it could never have been assumed in advance by Dr Lynch
                  that due diligence would necessarily be limited. If, as the Claimants
                  contend, he had been consciously involved in a misreporting of
                  Autonomy’s business, the correct position would have been expected to
                  be revealed.

Due diligence timetable


                                              Page 84
     Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 86 of 900
Approved Judgment                                                                      HC-2015-001324
Mr Justice Hildyard


241.     An internal HP preliminary due diligence timetable circulated on 30 July 2011
         envisaged due diligence being conducted between 29 July 2011 and 18 August
         2011, when there would be signing of the definitive agreement. Mr Apotheker’s
         evidence was that “the plan was to do proper due diligence, if possible, to finish
         it by the 18th”. 18 August 2011 was the day on which the Q3 results were to be
         announced. In the event, due diligence did not begin until 1 August.

242.     Dr Lynch regarded this as an extremely rushed timetable: as he said, he had
         “never seen a deal done at this speed”. But in cross-examination he explained

         that he thought the timetable was simply to motivate the team to get on with it:
         “I thought they absolutely knew it wasn’t going to happen…”.

243.     On 3 August 2011, Autonomy and HP entered into a letter agreement by which
         Autonomy agreed not to solicit, initiate or encourage an offer from anyone other
         than HP, until midnight on 17 August.

244.     The Claimants’ closing submissions depicted the period between 1 August
         2011, when formal due diligence began, and 18 August 2011, when the Boards
         of both HP and Autonomy approved the deal – that is, HP’s Board agreed that
         HP should make a cash offer for Autonomy’s shares, and Autonomy’s Board
         agreed to recommend the offer to its shareholders – as marked by intense
         activity by HP, Autonomy, and their respective advisers: for HP, BarCap,
         Perella, KPMG, Freshfields, and Gibson Dunn & Crutcher; for Autonomy,
         Qatalyst and Slaughter and May. Documents were uploaded to a virtual data
         room for HP’s review; there were scheduled due diligence calls on particular
         topics; legal documents were negotiated; and HP planned its communications
         strategy. HP held daily internal due diligence update calls from 4 August.

HP’s approach to due diligence

245.     HP’s approach was plainly influenced by its perception of and anxiety to reduce
         interloper risk. This was further informed by advice in a paper (dated 15 July
         2011) from BarCap on ‘Potential Interloper Spoiling Tactics’, which was
         attached to the internal HP email which I have referred to in paragraph 202
         above, and from which Mr Johnson took the message to be careful about
         diligence so as not to enable Oracle to do a deep dive.

246.     To that end, the exercise was largely undertaken in a series of calls, between 1
         August 2011 and 17 August 2011.

247.     Mr Apotheker explained36:

                      “Q.     The fact is that HP itself structured the due diligence
                              process so as to minimise interloper risk, didn't it?


36
   In this passage Mr Apotheker suggested that this was at Autonomy’s request, but as he accepted, HP
considered this a good idea. The documents show that HP itself was advised about limiting due
diligence because of the interloper risk. Mr Apotheker accepted (in the passages quoted in this
paragraph) that HP structured due diligence so as to minimise interloper risk.


                                               Page 85
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 87 of 900
Approved Judgment                                                               HC-2015-001324
Mr Justice Hildyard


                        A. Well, anybody who does an acquisition tries to minimise
                        the interloper risk because that creates a lot of trouble,
                        drives the price up and makes the acquisition much longer.
                        So from that point of view, that is standard process.
                        Everybody does that. Q. So is that a yes?
                        A.     Yes.”




248.     He added that while HP agreed to structure due diligence so as to address this
         risk, this did not mean that there was not proper due diligence:

                        “Q.   HP actually structured the way it went about doing
                              due diligence in order to minimise this risk, didn't
                              it? That's what happened?
                        A. Yes, in accordance to the UK takeover rules, in order
                              not to disclose the target's sensitive commercial
                              information or financial information, we agreed to
                              structure the way we structured it. And if I just may
                              add, that doesn't mean that we didn't do, or the team
                              didn't do a proper due diligence, but I'm sure we'll
                              talk about that.”

249.     In re-examination Mr Apotheker also explained that due diligence was
         structured so that meetings would take place where the team could review
         documents and discuss them, without them being stored in a traditional data
         room.

Due diligence calls

250.     On Autonomy’s side, the calls were largely with Mr Hussain and Mr Kanter.
         Dr Lynch’s evidence was that he did not participate in any of the financial or
         legal due diligence calls, though he did join a few technical calls to discuss
         Autonomy’s products. This was broadly confirmed by Mr Sarin in
         crossexamination:

             “Q. … if we just consider the due diligence process from 1 August
                   onwards, okay, and just define it as that for a moment, during
                   the period after 1 August, you can't recall Dr Lynch
                   providing any information to you, can you?

             A.       So just to make sure I understand the question, when
                      confirmatory diligence begins with the first call on August 1,
                      your question is do I recall Dr Lynch providing me
                      specifically any information?




                                             Page 86
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 88 of 900
Approved Judgment                                                              HC-2015-001324
Mr Justice Hildyard


             Q. Yes. During any call that you were involved with or any email that
                  you received?

             A. My calls were largely with Mr Hussain, Mr Kanter. I probably
                  did speak with Dr Lynch occasionally about some things, for
                  example the call with Deloitte that happened in -- later on
                  down the road. I don't believe he and I were spending time
                  going through diligence materials.

             Q. Right. Just on that call involving Deloitte, you're not suggesting that he
                   was actually part of the Deloitte call? Are
                   you talking about process again? A.
                Process again.

             Q.       Right, and he again says that he wasn't actually part of that
                        conversation and that's something you've just
                        misremembered?

             A. I think there is an email to that effect, which says, "This is what
                    Dr Lynch and I have agreed in a prior conversation and
                    therefore we will -- instead of getting the auditor work
                    papers, we will go ahead and have a call with Deloitte".
             Q.         We can look at that in due course –

             A.         Sure.

             Q. -- but he cannot recall any discussion with you during the period after
                    1 August?

             A. I don't recall any substantive diligence-related call. There might have
                   been process-related calls.”


251.     In a call on 4 August 2011, Mr Sarin (together with Mr Johnson and various
         others from HP) discussed some parts of HP’s valuation model with Mr Hussain
         and Mr Chamberlain. Only a small part of the model was shown to them, and
         nothing was provided in advance of the call. Revenue projections were shown
         by product line, but only up until 2016. To the extent these were commented
         on by Mr Hussain, those comments were not relied on by HP, as shown by the
         following exchange with Mr Sarin:

             “Q … Now, you, of course, understood that you were here looking
                  at your own projections, and that projections like this are
                  always a matter of opinion, aren't they?




                                              Page 87
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 89 of 900
Approved Judgment                                                                HC-2015-001324
Mr Justice Hildyard


             A.         Yes, there is an element of subjectivity involved.

             Q.       No buyer would ever rely on the target's own evaluation of these
                       things; these were your own projections, correct?

             A.         Correct.”


252.     The conversation was a short one (perhaps an hour); and Mr Sarin’s note is very
         brief. Certain changes were made to HP’s model following the call, but these
         appear not to have been made in reliance on any comment of Mr Hussain, but
         rather on HP’s own assumptions. In any event, substantial changes were made

         to the model at a later stage between 4 and 18 August 2011, as Mr Sarin
         accepted, though he did not accept that the changes would have had a
         “substantial impact” on valuation. (In fact, the changes made actually reduced
         the estimated enterprise value by half a billion dollars from $10.0117 billion to
         $9.5021 billion.)

Technical due diligence

253.     In addition to their financial due diligence, HP conducted a technical due
         diligence of Autonomy’s product portfolio. This was of primary importance to
         HP. When the due diligence findings were reported to HP’s board,
         “R&D/Products/Technology” was first on the list of the due diligence areas
         identified: HP was satisfied with what they had found, which aligned with their
         synergy assumptions.

Top 40 customer contracts

254.     The proposal to provide a selection of customer contracts arose at the meeting
         on 29 July 2011. According to Mr Sarin’s email summarising the meeting:

               “They will upload~80 of their largest customer contracts in the data
               room (the figure was suggested by Mike assuming a revenue cutoff
               of $5M / customer; they are open to providing more although Shane
               suggested this should suffice)”.


255.     The proposal evolved, and the number of contracts sought was reduced (to 40).
         Mr Sarin gave the following explanation of why HP and KPMG wanted the
         lists:

                      “These lists were important to HP. The list of Autonomy’s top 40
                      customers was important because we wanted to review Autonomy’s
                      customer concentration, so we could determine how reliant Autonomy
                      was on specific customers, and to ensure that it was not over-reliant on
                      any one customer. Autonomy’s top 40 contracts were important because




                                               Page 88
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 90 of 900
Approved Judgment                                                             HC-2015-001324
Mr Justice Hildyard


                      they would give KPMG and us insight into the revenue derived from
                      Autonomy’s largest contracts.”

256.     On 4 August 2011, Autonomy (through Slaughter and May) placed in the virtual
         data room lists (with names redacted) of what were presented as Autonomy’s
         top 40 customers, and top 40 contracts, by revenue. Mr Kanter informed HP that
         they were now in the data room. Redacted copies of the contracts followed. They
         were subsequently reviewed by KPMG. The top 40 contracts ranged in value
         from $3 million to $22.5 million.

257.     Dr Lynch did not dispute, when cross-examined about it, that a number of
         contracts for the resale by Autonomy of third-party hardware within that value
         range (and worth up to $7 million) were omitted from the list. The Claimants
         ascribed this to deception; the Defendants ascribed it to Autonomy’s
         understanding that this was not required, and that what HP was seeking was a

         list that would enable it to look at the concentration of Autonomy’s business
by industry, and a set of contracts so as to understand Autonomy’s contract terms.
258. Three points may be noted:

              (1) Both Mr Sarin and Mr Gersh muddled up the two lists when giving
                  evidence in the US criminal proceedings and neither could really
                  remember which they had seen. The importance they have attached to
                  the top 40 lists in these proceedings appears to be considerably greater
                  than they ascribed to them at the time.

              (2) The Claimants did not seriously challenge Dr Lynch’s evidence that he
                  was not involved in the collation of the contracts or the compilation of
                  the lists, and their cross-examination of him proceeded on the basis that
                  he was unable to give evidence in this regard.

              (3) Some of the top 40 contracts showed that Autonomy sold hardware, not
                  restricted to appliances, and some of KPMG’s draft questions were
                  about this; but Mr Sarin and HP never questioned how much hardware
                  Autonomy sold.


Discussions between KPMG and Deloitte

259.     As mentioned previously, although production of Deloitte’s working papers had
         been denied to them, KPMG were not prevented from discussing matters with
         Deloitte, and on 17 August 2011 there was a call between them when they
         discussed specific questions which KPMG had prepared.

260.     Mr Gersh of KPMG did most of the talking on HP’s side, but Mr Johnson, Mr
         Sarin and others from HP also attended. The Deloitte representatives were
         Messrs Mercer, Knights and Welham. Mr Kanter was present in the room with
         the Deloitte personnel but did not speak. Mr Hussain dialled in. Autonomy
         management had provided suggested responses to KPMG’s written questions


                                             Page 89
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 91 of 900
Approved Judgment                                                             HC-2015-001324
Mr Justice Hildyard


         ahead of the call. This apparently upset Mr Sarin when he learned about it
         subsequently (he did not know it at the time) since (he stated in his witness
         statement) the “whole purpose of the call was to obtain Deloitte’s independent
         view”, adding “Had I known then what I now know, this would have been a
         matter of concern to me.” (I think this was a comment plainly informed by
         hindsight. I doubt very much that he would have thought anything of the episode
         at the time.)

261.     Mr Sarin noted the responses given to the questions as follows:

               “[Q] Did you identify any instances of fraud, irrespective of the
               amount, during your audit? If so describe the cases. [A] Payroll
               fraud~$2mm; 2 employees in jail; small insurance fraud in ’08
               ~$500k

               [Q] Did you identify any control weaknesses or deficiencies during your
               audit? If so describe the specific instances. [A] No deficiencies; minor
               control weaknesses (internal audit be independent of finance …

               [Q] Did you review any of Target's accounting issues with your
               national office/professional practice team? If so what policies were
               they and what was the nature of the issue. [A] for FTSE 100 client,
               add’l scrutiny; nothing out of the ordinary.

               [Q] Did you have any disagreements with management regarding
               accounting policies/accounting conclusions? If so describe the
               specific issues. [A] No

               [Q] Are the size and capabilities of the Tesla accounting/finance
               team adequate for a company of this size? [A] not overstaffed;
               quality of finance team v. strong”.


262.     Mr Sarin confirmed, looking at the note in the margin, that Deloitte had
         explained that they had reviewed all revenue contracts over $1m and a sample
         of smaller ones as well. He accepted that on the call Deloitte had mentioned
         somebody who had made a whistleblowing query or complaint (see paragraphs
         2232 to 2289 below).

263.     Mr Welham also gave evidence about the call on 17 August 2011, which he
         remembered. He confirmed some of the answers noted by Mr Sarin. Asked
         whether there were any disagreements between management regarding
         accounting policies or conclusions, he said “No major disagreements to my
         knowledge, no”. He confirmed that the comment about the size and quality of
         Autonomy’s accounting/finance team was a fair reflection of how he saw things
         at the time.




                                            Page 90
     Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 92 of 900
Approved Judgment                                                                       HC-2015-001324
Mr Justice Hildyard


264.     The call with Deloitte was the last material stage in the due diligence exercise
         undertaken, though (see paragraphs 269 to 271 below) that exercise was
         incomplete.37


Due diligence findings

265.     On 9 August, some time before the call with Deloitte on 17 August 2011, KPMG
         provided HP with a draft due diligence report. Although the Claimants
         contended that Dr Lynch was actively engaged behind the scenes, in particular
         in discussing behind the scenes with Mr Hussain how best to respond to requests
         from HP, they had to accept that his name is on very few of the emails or other
         documents connected with the process. The draft due diligence report itself did




         not suggest that Dr Lynch had been involved in the due diligence process;
         rather:

               “Specific Target officers and management interviewed included: Andrew
               Kanter, Chief Operating Officer and General Counsel,
               Sushovan Hussain, Chief Financial Officer and Stephen
               Chamberlain, Vice President of Finance.”


266.     The executive summary indicated the limitations of the work that had been done,
         noting that:

                “Due diligence comprised telephone discussions with management
               and access to very limited proprietary financial and tax
               information. The majority of findings and observations are based
               on oral representations from management and reading published
               financial information.

               This acquisition is under the remit of the U.K. City Code on
               Takeovers and Mergers ("the Code'). The rules in the Code
               regarding treatment of bidders frequently results in very limited
               information being provided prior to a transaction closing. The data
               and access provided to us during due diligence was very limited but
               was comparable with other acquisitions involving large U.K.
               publicly traded companies.”




37
  Mr Sarin and Mr Gersh told me that it was not unusual that no final report was issued, nor was it
unusual for reporting accountants to flag tasks in their statement of work (“SoW”) that they had been
unable to complete. However, in this case, the list of outstanding or yet to be completed matters were
significant: and see paragraph 270 below. KPMG’s warning that they had not completed due diligence
needs to be seen in that context.


                                                Page 91
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 93 of 900
Approved Judgment                                                            HC-2015-001324
Mr Justice Hildyard


267.     Mr Sarin confirmed that this reflected his understanding.

268.     The report noted that Autonomy recognised revenue in accordance with IFRS,
         and stated that there were “some policy differences [with US GAAP] related to
         extended payment terms, sales to VARs, and potentially fair value analysis”. It
         highlighted the fact that Autonomy “recognizes revenue for license sales upon
         sell-in to its VARs rather than on a sell-through basis to end customers”. It
         identified the fact that under some of Autonomy’s hosting arrangements, there
         was a licence element under which customers had the right to take the software
         on premise – a point which Mr Sarin confirmed he understood.

269.     The report stated that the due diligence process was not complete, stating that:

             “We have not yet completed our engagement to assist
              HewlettPackard Company ("Client" or "you") in performing due
              diligence of Autonomy Corporation plc ("Target") in accordance
              with the terms of our statement of work dated August 3, 2011 and
              the related Master Service Agreement as amended on January 13,
              2011, including its Standard Terms and Conditions. This report
              reflects our findings to date based on the data provided in the data
              room and limited telephone meetings with management and it will
              be updated as further data and access is provided.”
270.     The items in KPMG’s statement of work not yet completed were significant.
         These included inquiries about Autonomy’s historical revenues and revenue
         composition; enquiries about trends in revenues; enquiries about expenses and
         trends in costs, gross margins and operating margins. KPMG never completed
         these tasks.

271.     Mr Sarin was unable to say who had decided that the deal should proceed despite
         the fact that the due diligence processes had not been completed, save to say
         that it was not his own decision. He accepted that the presentations that were
         put before the board never explained that KPMG had not carried out all of this
         work. It is to be noted, however, that the strategy decided at the July board
         meeting was that the acquisition (and the divestment) should be announced as
         part of the Q3 2011 report.

272.     Mr Apotheker did not read the KPMG draft report (of 9 August 2011) on the
         due diligence process. He was not aware that KPMG had never finalised the
         report. He had relied on the “very professional people…to make sure that things
         were in order…if somebody would have thought there was something for me to
         read, they would have told me.” Mr Apotheker referred to an overview of
         analysts, most of whom he said, “were on the buy side”, though he was aware
         that “there were a couple of analysts who held a contrary opinion”. He said he
         read “a couple” of analyst reports, but did not remember at which stage in the
         process. He did not involve himself in the top 40 customer list. His line overall
         was “You have to trust your people…”.

273.     A report to the HP board of the “key due diligence findings” was provided in
         advance of the board meeting of 12 August 2011. It gave the ‘green light’:



                                           Page 92
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 94 of 900
Approved Judgment                                                               HC-2015-001324
Mr Justice Hildyard


              (1) Technical due diligence: Technical due diligence was the first item on
                  the list. The findings recorded, amongst other things that Autonomy’s
                  product capabilities and features aligned with HP’s synergy
                  assumptions:

                             “Product portfolio with deep capabilities in analyzing
                             large structured and unstructured data sets

                             OEM: Large OEM customer base without significant
                             customer concentration issues (IBM — $10M; Oracle
                             $1M revenue contribution in FY10)

                             Product capabilities and features align with synergy
                             assumptions

                             High degree of proprietary automation drives
                             efficiency in cloud business”.

              (2) VSOE: The report noted that Autonomy’s approach to VSOE was
                  different from HP’s. It stated: “Post-closing need to align Tesla VSOE
                  with HP”.

              (3) Top 40 customers: All that was reported to the board was that the review
                  of the top 40 customers list was ongoing and no red flags had been
                  found.

274.     The report was updated for the 16 August 2011 board meeting:

              (1) There were ‘green lights’ for all the functional areas identified.

              (2) The technical due diligence was still first on the list. The updated
                  section was very positive, and read:

                              “Product portfolio with deep capabilities in
                              analyzing, processing, optimizing and protecting
                              large structured and unstructured data sets

                              Product capabilities and features align with synergy
                              assumptions; cloud-based archiving/backup a
                              strategic information asset

                              Strong development methodology (Agile); Unicode
                              and globalization throughout; IDOL platform fully
                              leveraged across products

                              Suited for LOB and industry-solution customization
                              -- marketing, legal and risk officer portfolio in
                              place”.



                                            Page 93
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 95 of 900
Approved Judgment                                                               HC-2015-001324
Mr Justice Hildyard


              (3) In respect of legal/IP, the report made it clear that the review of the Top
                  40 contracts was in connection with the analysis of contractual
                  documentation and terms (and not part of the financial due diligence,
                  below). The section read:

                            “Review      of     open source practices       and
                             documentation satisfactory; Black Duck open source
                                    code scan and audit completed and reveals no
                             significant issues

                              Review of inbound technology licenses reveals no material
                              issues

                              Review of customer contracts, including top 40
                              (representing ~$300M in committed contract value),
                              revealed no material issues. Certain deviations from
                              HP standards are noted for integration

                             On-going litigation represents no significant impact to
                             business”.
             (4) There was a new section dealing with the financial due diligence, which
                 had not been in the report for the 12 August 2011 meeting. It read:

                              “KPMG engaged to conduct accounting diligence; no
                              material issues found

                              Potential $30M tax liability due to existing Tesla
                              transfer pricing arrangement; HP Tax will pursue
                              risk mitigation post-closing

                              Post-closing need to align Tesla VSOE with HP”.


275.     In the meantime, and in parallel with the due diligence exercise, in the first half
         of August 2011 HP finalised their decision to go ahead with the acquisition,
         which they announced on 18 August 2011. The following account of the process
         is taken very largely from Dr Lynch’s written closing submissions, which unless
         otherwise recorded, I did not understand to be contradicted.

276.     HP held a board meeting (by telephone) on 5 August 2011.                The board
         presentation:

              (1) summarised the strategic context as being (a) “‘Big Data’ explosion”
                  bringing “huge growth in unstructured data not suitable for traditional
                  relational database analysis”, (b) “opportunity to integrate structured
                  + unstructured data” and (c) “shift from historical analysis to real-time,
                  predictive analytics”;


                                            Page 94
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 96 of 900
Approved Judgment                                                             HC-2015-001324
Mr Justice Hildyard


              (2) summarised the strategic rationale of the choice of Autonomy as being
                  its “platform for unstructured + structured data analytics” using IDOL
                  (described later in the document as “massively scalable”); its ability to
                  “process all content types (e.g. Structured, Text, Audio, Video)” and its
                  successful transition to “cloud product offerings and business model”;

              (3) summarised the strategic opportunity as being that “HP can build a
                  leading position in enterprise software via [Autonomy] acquisition,
                  leveraging [Autonomy’s] analytic capabilities with HP’s brand, market
                  reach and other technology assets”;

              (4) described the focus of due diligence as being “on validating synergies,
                  understanding key product capabilities and retaining key executives”;

              (5) gave a DCF stand-alone value for Autonomy of $10.012bn and implied
                  stock price of $38.61 per share, compared with a current EV (on the
                  basis of the shares’ market price) of $6.229bn and $25.19 (£15.44) per
                  share. The value with synergies was $17.376bn, yielding an implied
                  stock price of $64.74;

              (6) identified “Potential revenue synergies from (a) Information
                  Management (b) Unified Analytics (c) Document Processing Solution
                  (d) Data Security Solution and (e) Channel geo-expansion strategy”;
                  and

              (7) summarised the analysts’ recommendations. Most were buy
                  recommendations, although there were three holds and two sells. Mr
                  Apotheker accepted in cross-examination that he would have paid more
                  attention to the bigger houses such as Goldman Sachs and BNP Paribas
                  than houses such as Peel Hunt (a sell recommendation), of which he had
                  not heard.

277.     The 2011-2016 projections in the board presentation were in part based on
         “Wall Street Research”. HP used a combination of techniques in estimating
         future revenues, including analysts’ forecasts.

278.     The board presentation document highlighted the concern about the interloper
         risk. This impacted significantly on HP’s approach to the deal:

              (1) Potential interlopers were identified. Of those, Mr Apotheker confirmed
                  that “two companies were looked at in a little bit more detail, that was
                  Oracle and IBM.”

              (2) The document reiterated the requirement from Rule 20.2 of the
                  Takeover Code for Autonomy to share information with other bidders.
                  As Mr Apotheker accepted, that had influenced the structuring of the
                  due diligence process.

              (3) The document summarised the strategic considerations arising from the
                  interloper risk. It read:


                                            Page 95
     Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 97 of 900
Approved Judgment                                                                      HC-2015-001324
Mr Justice Hildyard


                               “The best way to discourage interlopers is to
                               announce a compelling offer with Tesla Board
                               recommendation, irrevocable commitments, a CEO
                               call option and a low acceptance threshold

                               Must take care not to request information in due
                               diligence which could be damaging if revealed to a
                               third party.”


              (4) As Mr Apotheker explained, a “compelling offer” meant “basically an
                  offer where you would pay the highest logical price that still made sense
                  in order to discourage everybody else”.

Price negotiations in August

279.     The final price was negotiated at a time of generally increased market volatility
         and against a steep decline in Autonomy’s share value38 (and that of the market
         generally). Whereas the price range discussed in Deauville (a range of £24.94


         to £26.94) represented a premium of roughly 44% to 56% at the time it was
         agreed, by the time of HP’s Board Meeting on 5 August 2011, the premium had
         grown to a range of 61.5% to 74.5%. Although 30-, 60-, 90- and 180-day
         calculations of implicit premium were lower, and it needs also to be
         remembered that the calculations reflect gross premiums that did not take into
         account Autonomy’s significant available cash, the decline in Autonomy’s
         share price inevitably triggered concern, and prompted consideration by Perella
         Weinberg and the board as to how best to approach the possibility of a reduction
         in price.

280.     On 7 August 2011, Perella Weinberg wrote to Mr Apotheker and Mr Robison
         to raise the possibility of seeking to reduce the acquisition price by £1 per share
         in light of the declining macroeconomic environment, the 10.1% decline in
         Autonomy’s share price since 28 July 2011, and the 11.2% decline in the
         infrastructure software comparable group and 9.9% decline in HP’s share price
         over the same period:

              (1) Perella Weinberg reiterated that they believed in HP’s strategy of
                  transforming HP through the separation of PSG and the Autonomy
                  acquisition and also believed that “Autonomy was a unique asset and is
                  also uniquely capable of transforming [HP’s] business” (as Mr
                  Apotheker agreed).




38
  During the period from 25 July to 27 July, Autonomy’s share price had risen from £16.62 to £17.20;
by 5 August it had fallen to £15.44.


                                               Page 96
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 98 of 900
Approved Judgment                                                              HC-2015-001324
Mr Justice Hildyard


              (2) Perella Weinberg also noted that the acquisition was likely to be
                  controversial regardless of the price paid, which also reflected what had
                  been said at the HP July board meeting.

281.     Mr Apotheker and Mr Robison expected an extreme reaction from Dr Lynch if
         they were to try to reduce the price significantly. In an unchallenged passage
         in his witness statement, Dr Lynch stated that he now understands “that HP
         contemplated offering a price decrease in August, but that Messrs Robison and
         Apotheker both knew I would be unwilling to support a bid below £25 per share,
         and thus did not amend their offer”.

282.     Perella Weinberg followed up with a further email to Mr Apotheker on the same
         day, 7 August 2011. The email noted the risks of the investor reaction. Mr
         Weinberg’s central paragraph essentially suggested that the status quo was not
         a practical option, and despite the difficulties, proceeding with both the PSG
         divestiture and the Autonomy acquisition was the way forward:

               “6. I know that you, your team and the board appreciate the
               imperfect set of choices that lie ahead. Unfortunately, Tesla is not
               available at a price that value investors would applaud; other
               targets do not exist which achieve the same magnitude of strategic
               repositioning; activist investors, or even the long only investor
               group, will not wait for tangible evidence that the services business
               will turn around. The company has the opportunity to change
               significantly, through both Tesla and Hermes; and we would go as
               far to say that the status quo is not a practical option, even if the
               market reaction is anticipated to be less positive upon
               announcement. While we respect and revere the responsibilities
               held by you, your team and the board, we believe that they point
               strongly toward proceeding with both Tesla and Hermes, the
               complexities and difficulties notwithstanding.”


283.     Mr Apotheker agreed with this analysis. He also wanted to announce the two
         transactions together “if feasible and possible”.

284.     Mr Robison was sent to London to have further discussions on price and seek
         to close the deal. Mr Robison agreed with the Perella Weinberg advice, like Mr
         Apotheker. Mr Robison also thought that Dr Lynch would not go below £25
         per share; and he also thought it was “very possibly now or never”:

               “Sitting on the plane and had a chance to read this again…the PE
               multiple is exactly why Mike will not come down below 25. As you
               know I agree with PW and feel it is very possibly now or never ....”.


285.     On 12 August 2011 there was a further HP board meeting. The revised DCF is
         at p.15 of that presentation. It gave a revised stand-alone value for Autonomy
         of $9.502bn (revised from $10.012bn from the 5 August 2011 presentation), and
         a value with synergies of $17.098bn (revised from $17.376bn).



                                            Page 97
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 99 of 900
Approved Judgment                                                                HC-2015-001324
Mr Justice Hildyard


286.     At that board meeting the board unanimously agreed that HP should continue to
         pursue Autonomy but in a price range of £25-£25.50, which was towards the
         bottom quarter of the £24.94 - £26.94 range agreed between Mr Apotheker and
         Dr Lynch before the start of due diligence. This was after a board discussion,
         and in the light of the falling share price. The Defendants stressed that:

              (1) First, this range (at least at the top end) was still within the range
                  previously agreed with Dr Lynch.

              (2) Secondly, the implied premium was now considerably higher than that
                  which was implied when the range was agreed with Dr Lynch.
                  Autonomy’s shares had declined in price. According to the updated
                  DCF valuation presented to the board on 12 August 2011, Autonomy’s
                  market price implied that its enterprise value was now $6.35bn.

287.     Mr Apotheker had a final negotiation with Dr Lynch on 14 August 2011. Dr
         Lynch wanted £26 per share. HP countered with £25. The parties settled on a
         price of £25.50. This was still within the range previously agreed with Dr Lynch,
         albeit at the bottom of it; and it was within the range given by HP’s board. Mr
         Apotheker confirmed with Mr Lane directly afterwards that he was content with
         this, though of course that was subject to board approval.

Incorporation of Bidco

288.     Bidco was incorporated on 15 August 2011. HP’s 18 August 2011 offer to
         Autonomy’s shareholders stated that:

                      “HP Vision [i.e. Bidco] is a newly incorporated company formed for the
                      purpose of the Offer and is an indirect whollyowned subsidiary of HP.
                      HP Vision is incorporated under the laws of the Netherlands and has
                      not traded since incorporation, nor has it entered into any obligations,
                      other than in connection with the Offer and the financing of the Offer.”


289.     By the time Bidco was incorporated, the due diligence process was almost
         complete, and the price for the acquisition had already been agreed between Dr
         Lynch and Mr Apotheker. Bidco had played no part in the process.

290.     Bidco’s directors at the time of the acquisition were Ms Lesjak, Mr Paul Porrini
         (HP’s Deputy General Counsel for Corporate Securities and M&A, who led the
         legal due diligence team) and Mr Sergio Letelier (an in-house HP lawyer).
         There was no evidence from any of these as to the matters that influenced the
         board of Bidco in deciding to proceed with the acquisition. Mr Porrini and Mr
         Letelier were not called by the Claimants. Ms Lesjak gave no evidence about
         what she did or thought in her capacity as a director of Bidco. As the CFO of
         HP, she was actually opposed to the transaction (see further below). She gave
         no evidence of having relied on any of the published information or any
         misrepresentations.




                                               Page 98
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 100 of 900
Approved Judgment                                                                      HC-2015-001324
Mr Justice Hildyard


291.     That has led to a dispute (“the Bidco point”) as to whether the FSMA claim must
         fail in any event: see paragraphs 484 to 500 below.

HP’s final approval: boardroom spats and second thoughts

292.     HP had a series of board meetings in the lead up to the final approval of the
         acquisition on 18 August 2011. There were meetings (by telephone) on 12
         August 2011 (referred to above), and further meetings on 16 August 2011 and
         18 August 2011 (both by telephone).

293.     The minutes of the meeting on 16 August record that both Mr Frank of Joele
         Frank, Wilkinson Brimmer Katcher (a PR consultancy in New York) and Mr
         Weinberg of Perella Weinberg warned that:

                      “sentiment could be decidedly negative at the outset on the total mix and
                      may include skepticism [sic] regarding HP’s credibility and ability to
                      execute on all of its initiatives in the context of the strategic, tactical and
                      operational issues faced by HP’s management with its current
                      portfolio.”

294.     The minutes record that after discussion the board’s consensus was to proceed
         with the divestiture and acquisition. Although this is unclear from the minutes,
         this consensus was reached despite Ms Lesjak speaking against the acquisition
         at the meeting, supported by Mr Holston, HP's General Counsel. Ms Lesjak’s
         unchallenged evidence in her witness statements was that she expressed
         reservations about the timing and price of the acquisition (but not, she
         emphasised, to the expansion of HP’s software business, nor the projected
         synergies). Mr Apotheker’s evidence was that Ms Lesjak said that “HP should
         be deploying its capital elsewhere and could not afford the proposed transaction
         at that time” but contrary to a suggestion made by Dr Lynch (who

         was not, of course, there) he had no recollection of her having expressed
         concerns about the synergies or the prospect of their realisation.

295.     The depiction which appears to be suggested by Mr Apotheker and Ms Lesjak
         of friendly and constructive debate is not supported by the documentation, nor,
         on closer analysis, by Mr Apotheker’s evidence. There were increasing tensions
         between Mr Apotheker (the CEO) and Ms Lesjak (CFO, though not a director
         of HP) suggestive of real personal animosity.

296.     In cross-examination, Ms Lesjak (who had worked for HP for nearly 30 years
         and plainly feared she was about to lose her job) confirmed her evidence in the
         US criminal proceedings that she had “pushed back” at Mr Apotheker’s
         suggestions of multiple acquisitions (TIBCO, Software AG and Autonomy) and
         told Mr Apotheker that HP “could not afford all three”. She said their
         relationship was “strained” from at least May/June 2011, and “a little war” had
         developed between them especially after a row between them about the
         inaccuracy of her “flash” forecasts. At the board meeting on 16 August 2011
         both Ms Lesjak and HP’s General Counsel spoke out against his plans without


                                                  Page 99
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 101 of 900
Approved Judgment                                                                   HC-2015-001324
Mr Justice Hildyard


         prior warning: when asked whether he was furious with her, he told me that that
         was a “fair way of putting it.” That was even before he was shown emails she
         sent to the Chairman during the meeting itself (so she told me), complaining in
         the first about his lack of interest in financial detail and the lack of any “real
         plan” or “financial discipline” and in the second sending a one-lined message:

                      “One pr person said…Leo is a dead man walking…he had never seen
                      worse press for a CEO”.


297.     Despite this sniping, and what Mr Apotheker described as “a poisonous internal
         environment between Cathie Lesjak and myself”, Mr Lane at that time continued
         to support the acquisition of Autonomy and so did the board.

298.     However, after the meeting on 16 August 2011 Mr Lane was concerned about
         the acquisition. He arranged for a call between the non-executive directors on
         17 August 2011 to reconsider matters. On 17 August 2011 Mr Lane also
         emailed the non-executives to report a conversation he had had with Mr
         Apotheker. The email was marked ‘For your eyes only’ and related that he had
         told Mr Apotheker that the Board “were shocked by Cathie’s statements (and
         Mike’s)”, were “very concerned about how poorly this announcement will be
         perceived and how it will reflect on Leo and BOD” and would be “relieved” if
         Mr Apotheker decided to defer the Autonomy announcement. It added that
         “many of us believe it will still be there in a month or two.”

299.     The same email described Mr Apotheker’s response, to the effect that the
         Autonomy acquisition was critical, he did not think he had an alternative to
         begin the change to higher value businesses, and he did not believe that the
         opportunity would still be there if HP did not take it now. After stating that Mr
         Apotheker was “furious with Cathie and believes she can’t be counted on…”
         he went on as follows:

                      “…he hears and understands the board on Tesla, but does not
                      believe we will be able to purchase after all the negotiations and
                      committed [sic.] that have already been made. And because he
                      believes this, he feels he doesn't have an alternative to begin
                      changing HP's business to higher value businesses. He thinks
                      this is critical. But he added if the board is saying "defer", he
                      will defer. I told him that was not the case. I said our confidence
                      is shaken in operational execution and in him, and we want him
                      to hear our sense, but if he wants to go ahead, we support him.”

18 August meeting

300.      There was a further board meeting on 18 August 2011.

301.      In the board presentation:




                                                Page 100
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 102 of 900
Approved Judgment                                                             HC-2015-001324
Mr Justice Hildyard


              (1) The situation update gave the new agreed offer price of £25.50 per share.
                  This implied a 64% one day and 58% 30 day average premium. At this
                  price, the diluted equity value was £7.1bn ($11.7bn). The implied
                  enterprise value was £6.7bn ($11.0bn).

              (2) The DCF page gave more details of these figures and the valuation:

                      i.   The latest valuation of Autonomy gave a stand-alone value of
                           $9.502bn, and $17.080bn with synergies.

                      ii. The current market price implied enterprise value was at
                          $6.365bn (at £15.58 per share). HP’s offer price of £25.50
                          accordingly represented a 64% premium (enterprise value of
                          $10.99bn).

              (3) The board were reminded that once a firm intention to make an offer had
                  been announced, HP would be obliged to make an offer on the terms
                  described in the announcement.

302.      The board were also told that there was a high potential that the rating agencies
          would put HP on negative outlook or downgrade HP, based on the expected
          leverage, strategic evaluation and near-term benefit to company performance.
          This followed from the advice at the previous meeting as to the prospects of an
          adverse shareholder reaction. Mr Apotheker confirmed that the board were
          aware of these risks, and that the board understood that it would have to hold
          its nerve in the face of these negative reactions.

303.      On the same day:

              (1) HP’s Technology Committee confirmed their recommendation with
                  respect to the technology aspects of the transaction.

              (2) BarCap provided a fairness opinion and a supporting presentation.
                 BarCap explained under the “strategic rationale” that Autonomy was the
                  best-in class asset to address the market opportunity in enterprise
                  information:

                             “Tesla is the best-in-class asset to address market
                             opportunity

                             ~ Leader in worldwide search and archiving with a proven
                             capability in unstructured data

                             ~ Proven business with consistent organic growth and
                             history of solid profitability

                             - Demonstrated double digit organic growth even during
                             past downturns



                                           Page 101
     Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 103 of 900
Approved Judgment                                                                       HC-2015-001324
Mr Justice Hildyard


                              - Delivered 40%+ operating margins over the last 3 years-
                              among the highest in the software industry”.


              (3) BarCap’s DCF was the same as HP’s. They also set out a trading
                  analysis of comparable software companies. All the companies featured
                  had considerably lower operating margins than Autonomy’s adjusted
                  operating margins (shown at 42.7%), Software AG was stated at 27%,
                  TIBCO was 26.3%, the mean operating margin was 23.7% and the
                  median was 26.3%. Mr Apotheker regarded anything upward of 30%
                  as high margin.39

              (4) Perella Weinberg also gave a presentation and a supporting fairness
                  opinion. Their DCF again replicated HP’s. Perella Weinberg set out the
                  anticipated growth of the stored information market, which represented
                  a “massive market opportunity”. Perella Weinberg noted Autonomy’s
                  unique capabilities and its centrality to HP’s strategy:

                                    “Tesla is unique in its ability to derive meaning from
                                    data

                                    Tesla represents the lynchpin to fulfilling Hawk's
                                    strategic vision of providing context-aware
                                    computing”.


              (5) The board unanimously approved the acquisition at £25.50 per share.



The announcement of the bid and HP’s loss of nerve

304.      HP announced the takeover for $11.1 billion on 18 August 2011. HP’s
          shareholders had to come to terms not only with the acquisition of Autonomy
          for $11.1bn, but also with the potential spinning off of HP’s personal computer
          business (in effect a legacy business), and HP’s disappointing Q3 results.

305.      The announcement was not well received. A large and vocal section of the
          shareholders disapproved and the visible reaction was overwhelmingly
          negative. Moody’s downgraded HP’s outlook from stable to negative. HP’s
          share price fell sharply (20% in a day). Shareholders lobbied the Chairman,
          directors and management to see whether it was possible to get out of the bid
          before it closed. Mr Lane’s nervousness turned to fright and HP’s board instead
          suffered a collective loss of nerve. Mr Apotheker broadly accepted this:


39
  BarCap’s overall message was plainly positive, highlighting that Autonomy had “demonstrated
double digit organic growth even during past downturns” and “[d]elivered 40% + operating margins
over the last 3 years – among the highest in the software industry”. BarCap’s expressed view was that
the combination of Autonomy and HP was “[h]ighly complementary with minimal overlap…” and
would “form the basis of the next generation information platform”.


                                               Page 102
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 104 of 900
Approved Judgment                                                                    HC-2015-001324
Mr Justice Hildyard


                         "Q.     We've agreed that the board needed to keep its nerve in
                                 the face of that kind of reaction?

                         A.      One would hope so, yes.

                         Q.      Do you think that the board in fact lost its nerve over the
                                 coming weeks?

                         A. Well, the board ultimately made a series of decisions that
                               could indicate that. That's probably a matter of
                               interpretation. The chairman certainly lost his
                               nerve.”

306.      Mr Apotheker was still optimistic that he could steer a course through the
          difficulties and wanted to get on with the integration. He remained “completely
          convinced about the validity of our approach.” He exchanged emails with Dr
          Lynch who encouraged him with nautical analogies to weather the storm. Mr
          Lane, however, had in effect abandoned ship.

307.      On Sunday 4 September 2011 Mr Lane emailed Mr Apotheker with obvious
          signs of a revisionist approach, claiming “still” to be “haunted by Autonomy
          itself” and adding:

                       I don t think it s the panacea we think it is. I read the analysis of their
                      organic growth and I still see them as a roll-up. I don t think the board
                      thought (at least I don t remember that discussion) this was largely a
                      roll-up when we contemplated the price.”

308.      He concluded by asking Mr Apotheker to “analyze for the board”:

         (1) First, “whether there is any way to get out of the Autonomy deal”.

         (2) Secondly, what size of buyback HP could launch to try to recreate lost
             value for shareholders.

309.      Mr Apotheker was sceptical about the buyback idea:

                      “A.       Well to be quite honest with you I didn't understand the logic
                               of this, because it's a bit of a circular reasoning.
                               If you want to placate the value investors by
                               repurchasing enough shares to fulfil Mr Lane's request
                               to fill the gap between what they believe one should have
                               paid and what one actually did pay, it becomes an
                               impossible equation to solve.”




                                                 Page 103
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 105 of 900
Approved Judgment                                                                 HC-2015-001324
Mr Justice Hildyard


310.      As for the idea of getting out of the deal, Mr Apotheker responded by email the
          same day to Mr Lane that he would ask HP’s advisers to look at the questions
          but also robustly defended the merits of the acquisition, which Mr Apotheker
          still believed in. Mr Apotheker reminded Mr Lane that the Autonomy
          acquisition was the only strategic solution that HP had:

                      “1. I disagree that Autonomy is a roll-up in the “classical”
                      sense. They did a few acquisitions, less than many other sw
                      companies of similar size, and integrated them all into their
                      platform IDOL. By doing so at 40% margin they have
                      demonstrated the power of the platform as well as the capability
                      of the management team.

                      2. I am 99% sure that the Autonomy deal is irreversible.

                      3. I'm also convinced that Autonomy, as well as the additional
                         organic steps that [w]e are undertaking, will allow HP to reshape
                         itself as a company generating 8% to 9% of its revenues from
                         software, with a better growth and margin profile. If financial
                         markets are rational, we should be rewarded by a better P/E
                         multiple as we move towards this objective.

                      4. in addition, if Autonomy and more software isn't the solution, what
                         is the alternative?”


311.      Mr Apotheker followed up the next day (5 September 2011), seeking to clarify
          some of the “noise around Autonomy” and reminding and stressing to Mr Lane
          that HP’s business case hinged more on the synergies that the combined
          companies could generate than on Autonomy’s stand-alone capabilities:

                      “…. During the Strategy Board meeting as well as at the subsequent
                      Board meetings, we always presented to the Board our full business
                      case; a case hinging more on the synergies that the combined companies
                      can generate than on Autonomy's stand alone capabilities. Indeed, by
                      layering in the synergies we achieve a CAGR of 26.6%, while
                      maintaining the operating margin at or above 40%.

                       Therefore, Autonomy makes total sense if one believes that HP
                      can generate the synergies we build into our business plan. The
                      quality of the synergies is high: you will remember that they
                      exclude any drag-on revenues related to additional hardware
                      sales and we only included a very small drag-on effect for
                      services. All the other synergies are driven by leveraging the
                      IDOL platform, combining it with HP IP/R&D, deeper
                      penetration of existing markets and significant and identified up
                      sell/cross sell opportunities. Please also note that the business



                                               Page 104
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 106 of 900
Approved Judgment                                                                  HC-2015-001324
Mr Justice Hildyard


                      case does not include any additional large acquisition. I for one,
                      and so does my team, firmly believe that we can achieve these
                      synergies in the allotted time frame.” [Underlining as supplied
                      in Dr Lynch’s written closing submissions]

The Joe Bloggs emails


312.      There was little in the evidence I was shown to illustrate and explain what I
          assume was a further deterioration of support for Mr Apotheker and the
          Acquisition in the period between 5 September and 21 September 2011, except
          that between 31 August 2011 and 15 September 2011, a series of three emails
          were posted to some 50 analysts and the press by Mr Harald Collet (“Mr
          Collet”, who had been Head of OEM Sales in North America from May 2008
          to June 2010) and his former Autonomy colleague, Mr Marshall, under the
          pseudonym “Joe Bloggs”. The analysts selected appear all to have been
          Autonomy sceptics already. Mr Collet and his colleague “suggested a number
          of key questions HP should be asking about Autonomy’s OEM revenues.”

313.      These emails (“the Joe Bloggs emails”, which were sent from a specially
          created “Joe Bloggs” email account) followed an earlier email dated 23 August
          2011 from Mr Collet personally to Ms Leslie Owens at Forrester, an analyst
          who had written a blog post critical of Autonomy on 19 August 2011, in which
          he set out a case that Autonomy’s OEM revenues were too good to be true,
          arguing that there was an “almost ‘Madoff-like’ consistency in their quarterly
          number of new OEM signings”. The Joe Bloggs emails were to similar effect.
          They appear to have encouraged further opposition to the Acquisition from
          analysts already sceptical of it, but their impact on sentiment and on HP is
          difficult to gauge. (I address a communication sent by Dr Lynch to HP
          following the Joe Bloggs emails later when dealing with the OEM case.)

The ousting of Mr Apotheker

314.      In any event, on 21 September 2011, a story circulated on Reuters wire service
          that HP was considering removing Mr Apotheker and replacing him as CEO

         with Ms Meg Whitman (who had run eBay). On 22 September 2011, well before
         the acquisition had completed, Mr Apotheker was removed summarily by HP’s
         board. His witness statement gave an anodyne version of events. The first that
         he heard of this was from a Bloomberg journalist; Mr Apotheker was shocked
         by the news. He was permitted to speak to the board for an hour, but that was
         pointless, as he was told at the end of the presentation that the decision was
         already made to appoint Ms Whitman as the new CEO. Soon after her
         appointment, Ms Whitman also asked Mr Robison to leave.

315.      Ms Whitman’s background was not in software, a business which in Mr
          Apotheker’s opinion took a few years to understand. She described herself to
          me as “more a consumer technology executive than an enterprise technology




                                                Page 105
     Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 107 of 900
Approved Judgment                                                                      HC-2015-001324
Mr Justice Hildyard


          executive”. Ms Lesjak, whose future had depended on Mr Apotheker’s failure
          as CEO, continued as CFO.

316.      Ms Whitman was cross-examined about the reasons for the sudden decision to
          remove Mr Apotheker. She suggested that it was not because, or certainly not
          only because, of the “adverse market reaction”. She said it was because Mr
          Lane had interviewed a number of HP executives “who were very concerned
          about his leadership style” and because he had spent the first two months of
          his appointment out of the USA. She told me “so what it seemed like was that
          we needed new leadership for HP. So he was asked to leave.”

317.      This seemed to me to be rather jejune. It was plain and obvious that Mr
          Apotheker and Mr Robison were sacked because the strategy of which they
          were the architects had proved unpopular amongst investors, and HP needed
          scapegoats and to demonstrate that the strategy had been abandoned. As she
          stated in an email a little later (on 14 December 2011), when Mr Apotheker had
          dared publicly to say that, at the time, the Acquisition had been supported by
          the Chairman and the whole board:

                      “Happy to throw Leo under the bus in tit for tat.”

318.      Although in cross-examination she described the changes as “largely
          tactical…a bit more of a stabilisation” following her appointment Mr
          Apotheker’s strategy was reversed. HP determined not to divest the consumer
          PC business and reaffirmed its primary commitment to hardware, which she
          described to analysts as the “DNA of this company”. Ms Whitman told the
          markets that HP were instead going to refocus on the existing core assets of the
          company, and she regarded her main and most immediate task as being to
          “stabilise the core assets”.

319.      Ms Whitman stuck to the line that she remained committed to the Autonomy
          acquisition. She denied saying to an executive committee meeting that
          Autonomy was an “unwanted stepchild” and suggested that it was a phrase in
          fact used by Dr Lynch.40 But for all her cavilling, the impression I formed was

         that she fell in with HP’s corporate antipathy to any culture other than its own,
         and that the reference to Autonomy as an “unwanted stepchild” is how she
         regarded it, even if it was forensically not something to be admitted to; and
         although the Claimants stressed that she had initially maintained the Integration
         Steering Committee established by Mr Apotheker and Mr Robison and
         appointed Mr Brossard (whom she regarded as one of her most capable
         lieutenants) to focus on the process of integration, the low priority she set for
         Autonomy’s welfare, and her predisposition to require Autonomy to conform
         to HP’s way of doing things, was vividly illustrated by the abandonment at her

40
   The suggestion that it was Dr Lynch who deployed the term is supported by an email from Dr Lynch
to Ms Whitman on 26 October 2011 (just a few weeks after the Acquisition) in which he twice used the
term “stepchild” in describing Autonomy’s status in HP, albeit in urging HP to welcome “this talented
stepchild” which would “need a little bit of help getting it accepted in the early days…” Much later,




                                               Page 106
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 108 of 900
Approved Judgment                                                                         HC-2015-001324
Mr Justice Hildyard


         direction of Mr Apotheker’s plans for HP Software to be headed by Dr Lynch
         who would under those have had key oversight of the integration process, with
         Autonomy at the centre.

320.      The change of strategy is addressed further below. Understandably, Mr
          Apotheker disagreed with the change of strategy:


               “A.       I think that it would have been preferably – I think it would
                        have been a smarter decision to let me try to execute the
                        strategy. But it wasn't my decision to make.
               …
               Q. You thought it would have made more sense to let you carry out the
                    integration together with Mr Robison and Dr Lynch?

               A. Oh yes, at that moment in time I was completely convinced about the
                    validity of our approach.”


321.      As regards the Autonomy acquisition, under the UK takeover rules HP were
          stuck with the bid they had announced, which became unconditional on 3
          October 2011.

Immediate aftermath of the Acquisition


322.      After the Acquisition, as would always have been anticipated, HP had
          unrestricted access to Autonomy’s full books and records. HP’s advisors also
          had access to Deloitte’s working papers. Ernst & Young (“EY”) reviewed
          them.

323.      In the event, HP and its advisors did in fact discern many of the matters now
          complained of. They did not cause any great concern at that time.

324.      Of note in relation to HP’s hardware case, it does seem that from early on in
          the aftermath of the Acquisition, they were aware of Autonomy’s hardware
          sales.



in September 2017, Dr Lynch appears to have used the phrase in an interview with the Evening
Standard, stating his view that “if Leo Apotheker, HP’s chief executive who was fired shortly after the
takeover, had stayed it could have been “an industry-changing deal”, but instead, “we were left there
as an unwanted stepchild.”

         This is a point explored in more detail later (see paragraphs 1814 to 1854
         below), but in brief summary:

         (1)          Following the acquisition, KPMG were engaged to produce a closing
                      balance sheet in respect of Autonomy for HP. This resulted in a draft


                                                Page 107
     Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 109 of 900
Approved Judgment                                                                         HC-2015-001324
Mr Justice Hildyard


                      report of 24 October 2011. At page 7, KPMG identified $41m payable
                      to Dell, and stated:
                             “We believe these payable are related to pass-through hardware
                             sales to customers which Autonomy records on a gross basis.”

         (2)          KPMG also conveyed the same point in its final draft of the report in
                      March 2012, noting:
                             “Accounts payable totalled $108 million at Close. Over 50% (or
                             $58 million) of the account payable balance relates to
                             transaction related costs…The remaining accounts payable
                             balance mainly relate to data center server costs, or hardware
                             Autonomy sells on a pass-through basis. Management stated
                             these hardware sales are recorded on a gross basis.”

         (3)          Separately, EY in their capacity as HP’s auditors conducted a review of
                      Autonomy’s 2010 audit, including Deloitte’s working papers. That
                      work was complete by 4 November 2011, and EY specifically noted that
                      Autonomy had about $100m in hardware revenue.

         (4)          EY also produced a slide presentation entitled “Q4 FY’11 CFO Update”
                      for discussion at a pre-meeting with Ms Lesjak on 11 November 2011
                      as part of the preparatory work in advance of an HP Audit Committee
                      meeting the following week.41 There were only two substantive pages
                      to the document. One of the four Q4 areas of focus identified in the
                      Executive summary (on page 2) was the Autonomy acquisition. That
                      item was covered on page 3 of the document. Four points were identified
                      in respect of the Autonomy acquisition. One of them was that “Revenue
                      includes $115M of hardware”.

         (5)          Ms Lesjak was defensive about this when cross-examined. I return to
                      consider her evidence as to what she made of the point in paragraphs
                      1835 to 1837A and 1848 to 1852 below.

325.     On 16 November 2011, EY presented their results to HP’s Audit Committee:
         Page 7 of that document gave a revenue breakdown (in the form of a bar chart)
         of the $1bn “Autonomy portfolio”. It broke revenue into Services, Support,
         Cloud, Licences and Hardware, attributing 11% to hardware. That information


         does not appear to have given rise to any question or surprise, nor created an
         issue for anyone at HP. Ms Lesjak accepted that it is likely that she did “flip

41
  Ms Lesjak explained in cross-examination that such a pre-meeting took place every quarter to talk
through points that had arisen in the quarter. Usually only Ms Lesjak, Mr Jim Murrin (who was the
controller of the EY team at that time) and the key audit partners of EY would attend, but others also
did sometimes. After first circulating an earlier draft of this judgment, the Claimants reminded me that,
contrary to the Defendants’ submission and my assumption, there was no evidence before the court that
Ms Lesjak received the presentation before the pre-meeting. However, even if not pre-circulated, it was
not disputed that the two-page document was discussed at the pre-meeting.


                                                Page 108
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 110 of 900
Approved Judgment                                                               HC-2015-001324
Mr Justice Hildyard


         through” the document but she insisted that she “didn’t spend any time in the
         audit committee deck on the Autonomy section”. She did not deny that EY went
         over the relevant page with the Audit Committee but she suggested that the
         Audit Committee’s focus was on the “purchase accounting” and that the
         committee “don’t go over every item on the page”. In light of its prominence, I
         cannot accept it went unnoticed: again, however, it caused neither surprise nor
         concern.

326.      Furthermore, hardware purchases from Dell for resale continued through to at
          least March 2012. There was no secret about the purchases or the sales. Upon
          the appointment of Mr Christopher Yelland (“Mr Yelland”) as CFO, but whilst
          he was still working in another division of HP, he was asked to approve a
          purchase of hardware. He was told explicitly in that email, which attached a
          spreadsheet of the relevant figures, that the hardware would be sold through to
          customers at a loss of 10%.

                      “Hi Chris,

                      I need your approval to pay Dell an amount of $942,072.33. This
                      is for the hardware orders that we source from them and sell
                      through to our customers at a loss of approximately 10%. It has
                      been our policy to pay weekly based on Steve’s approval in the
                      past. The numbers are in the tab – ready to pay. Dell’s aging,
                      our aging and the recon are in other tabs. The items in the tab
                      “ready to pay” have been verified with POs, invoices, and
                      payments have been received from our customers.”


327.      Mr Yelland had not yet taken up his post, but he acknowledged the email and
          asked to be copied in on requests going forward, as he was. He accepted in
          cross-examination that he had read them and told the Court that he was
          interested to see the sorts of emails for which his approval was required, even
          prior to his formal arrival in post. In April 2012, Mr Yelland approved another
          purchase. That email again stated in terms that Autonomy would “sell-
          through” the hardware to customers at a loss of approximately 10%. Mr
          Yelland did not raise any objection to the “sell-through” hardware sales, or
          suggest that there was any problem with the practice at the time.

328.      There was a similar situation with hybrid hosting deals. HP was aware of the
          hybrid hosting deals and its initial approach, far from putting a stop to them,
          was to seek to establish VSOE under US GAAP so that revenue from licences
          could be recognised up front (i.e. in the same way as Autonomy had always
          done). The VSOE workstream started in early 2012 and continued into at least
          May 2012. This too is addressed further below.

The need for, but difficulties of, integration

329.      The integration of Autonomy into HP’s business was bound to be difficult. I
          have already noted that HP’s business was fractured in ‘silos’ with intra-



                                              Page 109
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 111 of 900
Approved Judgment                                                              HC-2015-001324
Mr Justice Hildyard


         division jealousies, poor co-operation and overall direction, and short-term
         focus. The Defendants described it, with (as it seems to me from the available
         documentation) good reason, as “a huge, enervated, company, beset with
         systemic failings”. Autonomy was, as it seemed to me, almost the opposite in
         terms of the way it was managed: centralised, energetic and driven by
         entrepreneurial zeal, with little formality or adherence to strict process. HP had
         become an ailing institution. Ms Whitman’s own report to the HP Board dated
         22 March 2012 (entitled “The Road Ahead…”) spoke of a “crisis of confidence
         among all constituents”, “significant business challenges across every Business
         Group, HP Labs and Global Sales”, “Suboptimal business processes and lack
         of focused strategies…unsustainable cost structure” and acknowledged that
         “HP culture is in tough shape, must be revitalised/realigned to be successful”.
         Autonomy, on the other hand, retained the outlook of a start-up still under the
         direct control of its founder.

330.      HP’s earlier efforts to expand by acquisition had been problematic and
          unsuccessful:

              (1) HP bought Electronic Data Systems for $13.9bn. It was rebranded as
                  HP Enterprise Services in 2008. Its value was written down in Q3 2012
                  by some $8bn.

              (2) Other acquisitions are listed in HP’s M&A Scorecards, such as that for
                  Q2 2012. One well known one was the Palm hand-held computer
                  business which it had acquired for $1.2 billion in 2010. The acquired
                  businesses being tracked had under-performed against budgeted revenue
                  by $1.73bn or 26%.

331.      The difficulties of integrating Autonomy were exacerbated by (a) the
          abandonment of the predicate of its acquisition as envisaged by Mr Apotheker,
          being the strategic reorientation of HP towards software, (b) the removal of the
          architects of that strategy, Mr Apotheker and Mr Robison, who were invested
          in its success, (c) the outlook of their replacements, whose focus was on
          rebuilding the old HP and its core hardware business, and who had little time
          to devote to Autonomy, (d) the lack of any properly considered integration plan
          and the abandonment of Mr Apotheker’s plan for Dr Lynch to head HP
          Software and drive forward the constructive integration of Autonomy and (e) a
          culture clash between the two companies.

332.      Perella Weinberg had consistently stressed the importance of flawless
          execution and management devotion to the integration and transformation:

                      “Combination of persisting challenges in existing core
                      businesses, extraction of Poseidon and integration of Atlantis
                      would demand flawless execution and significant senior
                      management bandwidth while integration and transformation
                      progress remains under heightened public scrutiny.”


333.      As Mr Apotheker put it:


                                              Page 110
     Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 112 of 900
Approved Judgment                                                                   HC-2015-001324
Mr Justice Hildyard


                 “A.      A proper integration plan, a proper extraction plan of the
                         PC business, execute this to close to perfection and while at
                         the same time continuing to run the existing business.

                 Q. So it would be important for management to make these changes a top
                       priority?

                 A.    Well, it would mean that management would be basically
                        focused on these two changes, making sure that the existing
                        business continue -- or the remainder of the business
                        continues to run as well as possible. There were other
                        changes that were required and all of this has to happen in
                        nicely synchronised way and would have been a lot of work.”


334.        The Defendants emphasised the problems which arose without oversight and
            planning and in a context where (as they saw it) Autonomy was regarded as an
            unwanted distraction foisted on a group already in difficulty, including (again,
            as they perceived it):

           (1)        The failure to establish proper processes for other business groups to sell
                      Autonomy products and worse, infighting between business groups and
                      the continuation of incentives to other business groups to sell third party
                      software and not to sell Autonomy products;

           (2)        The difficulties which Autonomy experienced in acquiring hardware
                      from HP group’s ESSN unit42 to sell with Autonomy products because
                      the ESSN was remunerated according to sales quotas, and supply to
                      Autonomy did not count towards quota. Dr Lynch acknowledged in
                      cross-examination that Ms Whitman, in this instance and others, stepped
                      in to fix the supply: but the fact that her intervention repeatedly had to
                      be sought illustrated that Autonomy was not regarded or treated within
                      HP as part of the family;

           (3)        The removal from Autonomy of its control over long-term relationships
                      with established customers when HP Enterprise Services (“HPES”)
                      successfully lobbied HP management to take control, which in turn led
                      to HPES adding a 35% mark-up on Autonomy prices to boost the
                      reported revenues (and thus the bonuses) of the HPES team. (Ms
                      Whitman did eventually intervene to stop this, but in the meantime
                      Autonomy lost customers.)

           (4)        Autonomy’s ostracization from HP marketing initiatives such as
                      company gatherings and trade shows, whilst HP continued to insist that




42
     HP’s Enterprise Servers, Storage and Networking Division.


                                                 Page 111
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 113 of 900
Approved Judgment                                                                 HC-2015-001324
Mr Justice Hildyard


                      all marketing should be centralised and that Autonomy should not have
                      any marketing strategy of its own;


         (5)      Autonomy’s increasing problems with staff retention, and resulting loss
                  of institutional knowledge and industry experience in consequence of (a)
                  HP’s bureaucratic process-obsessed outlook and stifling corporate
                  culture; (b) HP’s failure to recognise the experience and talent of
                  Autonomy’s key legacy employees, and corresponding failure to put in
                  place promised staff incentive plans although it is obvious that the key
                  asset of any software business is the talent of its employees. The
                  Claimants countered this with evidence from Mr Youngjohns that
                  Autonomy’s attrition rate was in fact lower after the Acquisition than it
                  had been before it, and that various key Autonomy employees including
                  Mr David Jones (CEO and General Manager of Data Protection), Mr
                  Rafiq Mohammadi (CEO and General Manager of Promote), Mr Mike
                 Sullivan (CEO and General Manager of Protect, Enterprise Markets) and
                  Mr Neil Araujo (CEO and General Manager of Protect, Professional
                  Markets) all stayed on for a number of years after the Acquisition and
                  (according to Mr Youngjohns) “only left to take up CEO positions
                  elsewhere.” The fact remains, as I find, that the loss of senior staff in
                  May 2012 is well documented; and Ms Whitman’s approach was less
                  than constructive: and see also paragraph [360] below;

         (6)          What Dr Lynch described as “flip-flopping” by HP in first agreeing to
                      facilitate VSOE (see paragraphs 273(2) and 328 above), which is a
                      technical accounting exercise required under US GAAP for the purposes
                      of a profitable business product of Autonomy called “hybrid hosting” ,
                      but then changing its mind, causing customer confusion and
                      dissatisfaction, because it would have constrained hardware discounting;

         (7)          Other integration failures including (a) changes to the structure of
                      Autonomy without consultation, warning or explanation (b) bureaucratic
                      practices such as refusing to supply Autonomy with HP hardware for
                      sale to Autonomy customers using its Cloud offering until Autonomy
                      was an “approved vendor” and (c) denial to Autonomy of crucial sales
                      and services facilities and personnel. As to (c), the Claimants drew to
                      my attention evidence to the contrary, showing that HP did arrange the
                      transfer of more than the target number of 42 HP employees to work at
                      Autonomy: but I accept and find that the problem of retaining skilled
                      staff remained a difficulty which was exacerbated by HP’s treatment of
                      Autonomy leading to a sense that jobs were at risk, and its own stifling
                      corporate culture. Mr Youngjohns seemed to me largely to accept this
                      when cross-examined, though he maintained that he did his best to
                      reassure staff that HP was going to build a successful business;

         (8)          What Dr Lynch saw as a lack of co-operation from HP management
                      hindering the integration within Autonomy of the newly acquired
                      Vertica and the Information Management business unit, which had been


                                               Page 112
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 114 of 900
Approved Judgment                                                                 HC-2015-001324
Mr Justice Hildyard


                      an essential part of Mr Apotheker’s concept of a unified information
                      stack;

         (9)          The imposition of Ms Whitman’s appointee, Mr Bill Veghte, as head of
                      strategy and software (including cloud and e-security) with a view to the
                      eventual absorption of Autonomy within HP Software, in a reversal of

                      the understanding before the acquisition that Mr Veghte would be
                      leaving imminently and Dr Lynch would replace him and be put in
                      charge of HP Software (as well as Autonomy);

         (10)         What Dr Lynch in cross-examination called “a horrifically political
                      environment”.

335.      On 14 February 2012, Dr Lynch emailed Mr Hussain and Mr Kanter stating
          “Meeting meg 2 morrow, need all craziness examples”. Mr Kanter replied
          listing problems that Autonomy was facing in its relationship with HP,
          including incentives which encouraged HP employees to sell competitors’
          products; difficulties in procuring hardware internally; difficulties in accessing
          HP systems; and a sense of HP seeking to overwhelm Autonomy at internal
          meetings, with more than 25 employees of HP for every one from Autonomy;
          and the lack of any overall direction for integration.

336.      Ms Whitman sought in cross-examination to brush all this off as Dr Lynch
          presenting himself as a “victim” without trying to be “part of the solution” and
          questioned why he did not try to work with the person she had appointed to
          help on integration, Mr Gerard Brossard (“Mr Brossard”). She depicted it as Dr
          Lynch’s “failure to adapt to his new role at HP” and symptomatic of someone
          used only to “leading a small group of dedicated start-up employees.” But
          again, I regret to say that I found this formulaic and (given Autonomy’s past
          growth and success and HP’s own problems) condescending.

337.      The truth as I see it and find is that Ms Whitman had some time previously, and
          before Autonomy began to show worrying performance shortfalls, begun to
          look at a reversal of the model envisaged by Mr Apotheker, and instead of
          having Autonomy, led by Dr Lynch, at the apex, the absorption of Autonomy
          within HP Software under the direction of Mr Veghte (whom she had appointed
          head of strategy in January 2012 and had ultimately retained as head of
          Software): and see also paragraphs 364 to 366 below.

Autonomy misses its targets

338.      By February 2012 (4 months after the Acquisition went unconditional on 3
          October 2011) Autonomy had fallen materially behind forecast revenue: HP’s
          February “Flash” results suggested a revenue shortfall of 15% compared to
          budget, whilst noting that “Pipeline and underlying business remain strong”
          and also that there were “Very strong cloud signings leading to deferred
          recognition.”




                                               Page 113
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 115 of 900
Approved Judgment                                                                  HC-2015-001324
Mr Justice Hildyard


339.      A series of emails from Mr Hussain to Dr Lynch in April 2012 reveal a
          deteriorating position. By 27 April, Mr Hussain was reporting “Revenue has
          collapsed on us. I am very sorry Mike.” On the day before the quarter end,
          Sunday 29 April 2012, Mr Hussain sent an email to Dr Lynch, timed at
          12.07pm, with the subject “revenue”, stating as follows:

                      “At the moment we have almost all managers at less than q1 – most of
                      the VPs care, the cell leaders do not. I could try to give you reasons but
                      it boils down to poor sales rep productivity and sms process not picking
                      it up. In addition my big deals – Unicredit, Citi, Thompson Reuters, BofA
                      and Dreamworks hid the reality of the sales organisation
                      underperforming. For this level of revenue the organisation is too fat in
                      sales.”

340.      Thus, Mr Hussain identified the underlying cause of the revenue shortfall as
          being Autonomy issues: “poor sales rep productivity” and the “sms process not
          picking it up”. Dr Lynch took a different view of the causes. In
          crossexamination, Dr Lynch accepted that he instructed Mr Hussain to produce
          a further email which he (Dr Lynch) could share with HP’s senior management:

                      “Q. You asked him for this because you wanted to have an email that
                            you could forward on to HP’s senior management at the same
                            time as informing them that the revenue target may not be met,
                            correct?

                      A.                Yes, because most of the problems were coming from
                             interactions with other parts of HP.”


341.      Mr Hussain duly complied with that instruction. At 1.15pm, just over an hour
          after sending his first email on 29 April 2012 referred to above, Mr Hussain
          sent a second, freestanding email to Dr Lynch, with the subject “Updates – not
          good”, stating as follows:

                      “Now that we are at that really crucial part of the quarter I am working
                      hard to get as much revenue in as possible but i have to warn you that
                      the probability of a very sizeable miss on revenue is likely. We are faced
                      with an unprecedented set of blockages on top of the recession (which is
                      hitting us particularly in Europe – many customers reference Lloyds,
                      BBVA, Tesco are citing the market conditions for delaying:
                      As we have started to close out the HP leads we are finding a set of
                      previously unknown processes which prevent deals being signed in the
                      quarter (although the appointment of Howard Hughes as the main point
                      man has helped it has come too late for Q2) – the SOAR, CAN, TTAC
                      etc are processes that our salesforce have not known about and so have
                      not managed
                      There are still a number of unhappy HP customers which are stopping
                      our deals from progressing


                                                Page 114
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 116 of 900
Approved Judgment                                                                  HC-2015-001324
Mr Justice Hildyard


                      Our salesforce are getting a bit demoralised because other parts of HP
                      seem not to be interested in closing out deals (reference IDA)
                      We still have rev rec problems with vsoe on maintenance which has not
                      been agreed with EY
                      Finally the pressure for deep discount on software sales – reference
                      HCL/Astra Zeneca – is affecting sales in that it gives hope to customers
                      to delay signing
                      I am still working round the clock to bring as much as i can in but again
                      i have to warn you of a sizeable miss. I am very very sorry for this news.
                      I own all of the issues, i will not shirk from my responsibilities to you
                      and to HP.”

342.     The Claimants emphasised the difference between Mr Hussain’s first email
         (which did not seek to place any blame on HP) and his second email (which
         did); and they criticised Dr Lynch for having both “instructed” Mr Hussain to
         write it, and for (they implied) ensuring that it was drafted in such a way as to
         suggest that Dr Lynch was until then unaware of Autonomy’s second quarter
         revenue shortfall. They also criticised him for amending the first sentence in the
         version he sent on to Ms Whitman and Ms Lesjak by deleting the words “very
         sizeable” and for then dissembling as to the reason for the amendment.

343.     I note, but do not attach great weight to, these criticisms. I do not accept that
         either of the Defendants was thereby intentionally “papering the record”
         (which was what Mr Rabinowitz suggested in his cross-examination of Dr
         Lynch). I can understand why Dr Lynch wished Mr Hussain to reflect the
         difficulties which he considered were of HP’s making as well as those which
         Mr Hussain had earlier fixated on. Mr Hussain was self-critical to a fault, and
         apt to lose the broader picture. I can also understand the reason for the
         surreptitious amendment made by Dr Lynch to Mr Hussain’s email when
         forwarding it to Ms Whitman, even if he should not have done it (as I readily
         accept).

344.     More important was the effect on Ms Whitman and the repercussions of the
         large shortfall. In her evidence, Ms Whitman described herself as being
         “completely blindsided” by Dr Lynch’s email. She emailed Dr Lynch to seek
         details of the scale of the shortfall (“How big is the miss?”), which in response
         he estimated at anywhere between “7-15% depending on individual deals”. He
         suggested waiting a day, because some “could be holding out for last minute
         negs.”

345.     Ms Whitman expressed herself “shocked at Dr Lynch’s lack of urgency: it was
         Sunday, April 29, and the quarter was scheduled to close the next day.” She
         felt, ignorant perhaps of the last-minute nature of many such deals in the past,
         that it was “completely unacceptable conduct”. She arranged for a conference
         call to take place later that same day.




                                                Page 115
     Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 117 of 900
Approved Judgment                                                               HC-2015-001324
Mr Justice Hildyard


346.       The conference call took place at around 10.15pm UK time on the Sunday
           evening, which both Dr Lynch and Mr Hussain joined.43 On the call, Dr Lynch
           indicated that Autonomy was likely to miss its revenue target by around $30
           million to $50 million. He put this down to two reasons, both of which, perhaps
           predictably, he said were HP’s fault: first, he said that HP’s accounting rules
           prevented Autonomy from being able to recognise all of the revenue on the sales
           it was making as quickly as he had expected; and secondly, many of
           Autonomy’s customers were dissatisfied with HP and were refusing to engage.




347.       It appears that having given this explanation, Dr Lynch was then keen to ensure
           that others within Autonomy should provide a consistent explanation for the
           shortfall if asked. Before the call had even finished, Dr Lynch emailed Mr
           Hussain, with a high importance marking, with the subject “RING STOF ASAP
           AFTER CALL”, stating “Need tog et [sic] stories straight”. Mr Hussain
           immediately responded “ok”. In other words, Dr Lynch instructed Mr Hussain
           to call Mr Egan immediately following the call so as to ensure that, if he was
           asked about the revenue shortfall, Mr Egan would give the same explanations
           as Dr Lynch had provided during the conference call. Dr Lynch did not dispute
           that in cross-examination.

348.       The Claimants submitted that patently, if the explanations that Dr Lynch had
           given during the conference call accurately reflected the reasons why the
           revenue shortfall had occurred, there would have been no need for Dr Lynch to
           have been so concerned to ensure that Mr Egan, Mr Hussain and he got their
           “stories straight”. The Claimants added to this that it was notable that no copies
           of Dr Lynch’s “Need tog et [sic] stories straight” email (which was disclosed
           by Dr Lynch, seemingly from the server which he used for his own personal
           storage purposes) were retained on Autonomy’s systems – neither the copy sent
           by Dr Lynch from his Autonomy email address, nor the copy received by Mr
           Hussain at his Autonomy email address. Nor were any copies of Mr Hussain’s
           response to that email (which was again disclosed by Dr Lynch) retained on
           Autonomy’s systems – neither the copy sent by Mr Hussain from his Autonomy
           email address, nor the copy received by Dr Lynch at his Autonomy email
           address.

349.       The Claimants submitted that the only plausible explanation for this state of
           affairs is that Dr Lynch and Mr Hussain must both have deleted their respective
           copies of both emails from Autonomy’s system, and that cannot have been a
           coincidence, so they must have agreed to do so. In cross-examination, Dr Lynch
           suggested an explanation was that his emails were not kept on Autonomy’s
           system. The Claimants submitted that this fails to account for the fact that Mr
           Hussain’s copies of the emails were not retained on Autonomy’s systems either,
           nor for the fact that (a) Dr Lynch was the custodian for more than 15,000 emails
           or documents on Autonomy’s systems and (b) a number of other emails between


43
     Dr Lynch accepted that Mr Hussain probably joined the call.


                                                 Page 116
     Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 118 of 900
Approved Judgment                                                                        HC-2015-001324
Mr Justice Hildyard


         Dr Lynch and Mr Hussain from around this time were retrieved by the
         Claimants.

350.     The position is certainly suspicious; but I prefer to make no finding in respect
         of it, given that the question of where and how Dr Lynch’s internal emails were
         stored was not further pursued with him, and it seems inherently unlikely that
         either of the Defendants would have thought it important enough to remove
         traces of the particular exchange from the system, not least bearing in mind their
         equanimity in respect of other much more damaging records to which HP had
         full access.

351.     In any event, I am not persuaded by what I take to be the Claimants’ suggestion
         that their wish to present a consistent explanation of itself shows that the
         Defendants perceived it necessary to and did combine to concoct a reason for
         the shortfall which they knew belied the truth. The Defendants perceived
         themselves to be beleaguered in a highly political and antagonistic corporate
         environment, and the revenue shortfall was something for which they would
         need to have a consistent explanation; but that does not necessarily mean that
         the explanation was manufactured or untrue.

352.     Indeed, at the time, there was in reality little between HP and Autonomy as to
         the reasons for the shortfall, even though it transpired that Dr Lynch had
         seriously underestimated its size in his reports to Ms Whitman, and at $136
         million it amounted to nearly three times the top end of the range Dr Lynch had
         indicated to her on the Sunday conference call.

353.     Broadly they were agreed that the main problem was not lack of demand nor
         any overall market or sales funnel problem44, but failure to convert orders for
         Autonomy’s proprietary software into completed sales, and that the effect was
         magnified by the fact that Autonomy had pinned their hopes on a smaller than
         usual number of larger than usual deals, which they had expected to close, but
         did not.

354.     Where they disagreed was as to the reason for that failure to close licence deals,
         for which each blamed the other; and although Mr Kanter’s report dated 7 May
         2012 placed the blame heavily on (a) VSOE issues (b) HP paperwork demands
         (c) Autonomy having to cede control of deals to other parts of HP and (d) “wider
         HP customer issues”, even HP’s own reports acknowledged that revenues were
         adversely affected by the challenges with operating Autonomy in the HP
         environment (as Ms Whitman also admitted when cross-examined) and that


44
   Thus, for example, Ms Meeta Sunderwala (a senior director in HP’s EFR team), reported in an
internal HP email dated 28 June 2012 that Ms Lesjak had “told EY that the Autonomy issues were
related to short-term challenges with working in the HP environment and not an issue with the overall
market or sales funnel.” Ms Sunderwala noted also that “[t]ypically, it is very unusual to impair an
acquisition in the first year post close” and that “Based on the comments from Cathie, we were not
planning on doing an impairment analysis in Q3…”. Ms Lesjak told me that she did not remember
telling EY the above; but Ms Lesjak was, in my assessment, prone not to remember things which
tended to embarrass her now or cast doubt on her cultivated image as prudent, assiduous and a safe pair
of hands.


                                                Page 117
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 119 of 900
Approved Judgment                                                                     HC-2015-001324
Mr Justice Hildyard


         there was an urgent need to address these issues and improve integration of
         processes and sales function across all business units.

355.     Certainly, Ms Whitman emphasised that at the time there was no suggestion of
         demand for Autonomy software, or its competitiveness, having been
         exaggerated. When, at HP’s Earnings Conference Call on 23 May 2012 (at
         which Dr Lynch’s dismissal was announced, see below) she was asked whether
         Autonomy’s “weakness in revenue…changes your outlook on the business at
         all and how it integrates with HP” she answered:

                      “When Autonomy turned in disappointing results we actually did a fairly
                      deep dive to understand what had happened here. And in my view, this
                      is not the product. Autonomy is a terrific product. It’s not the market.
                      There is an enormous demand for Autonomy. It’s not the competition. I
                      was wondering, is there a competitor that we didn’t see, and the answer
                      to that is no. This is a classic entrepreneurial Company scaling
                      challenges.



                      And I have seen this move before. When you try to go from $40 million
                      to $400 million to $1 billion to $2 billion, boy, it takes, it’s a whole
                      different ballgame. And we need to put in some sales processes. We need
                      to put in better interface into HP in terms of how Autonomy interfaces
                      with our services business, as well as our server, storage and networking
                      businesses, and we need a new organisational structure to support a $1
                      billion plus company.

                      So we have the people to do this. We have the expertise to do this.
                      Something I’m extremely familiar with, having grown eBay from $4
                      million in revenues to $8 billion. I really have seen this movie before. So
                      I feel confident about the long haul. But it may take us a couple of
                      quarters to work through some of the growing pains of the organisation.

                      But I think this is a very smart acquisition, I feel great about the product,
                      and we have absolutely hit one of the themes that is changing most in
                      the technology business. The opportunity around big data and analytics
                      is fantastic, and it can flow right across all our businesses.”

356.     She elaborated in cross-examination:

                      “So, as I recall – so of the miss in Q2, I think it was a $134 million
                      revenue miss, 106 million was this deal slippage. As I recall, what we
                      thought at the time was that Autonomy had been pursuing a lot of leads
                      from HP for big deals and they had perhaps taken their eye off the
                      smaller deals that had been part of Autonomy’s revenue as an
                      independent company. So when I did the deep dive into the Autonomy
                      miss in London after Q2, we thought, okay, still scaling challenges, you
                      know, hard for an entrepreneur to go from a small company to a big



                                                 Page 118
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 120 of 900
Approved Judgment                                                                 HC-2015-001324
Mr Justice Hildyard


                      company, and we said, all right, deal slippage, not great execution; all
                      good, we will craft a plan that is exactly here to fix that problem.

                      Of course, what we later found out when the whistle-blower came
                      forward, that the fundamentals had been misrepresented. But as I
                      understood it at the end of Q2, I never suspected fraud at the end of Q2.
                      I was like: okay, yes, this makes sense to me, we’ve got things to work
                      on, deal slippage; we’re going to have to put this into a much tighter
                      process.”


357.     However, what Ms Whitman later described as the “gigantic financial miss in
         Q2”, and its late disclosure by Dr Lynch, had important repercussions. Dr
         Lynch was placed on garden leave on the same day that the Q2 2012 results
         were announced.

The resignation of Mr Hussain and dismissal of Dr Lynch

358.     Earlier, on 3 May 2012, Mr Hussain had sent a formal email of resignation to
         Dr Lynch. This stated:

                       Further to our conversations over the past few days, it is with great
                      regret that I am confirming my resignation as President of Autonomy.

                      It has been an extraordinary 11 years and I appreciate all the
                      opportunities Autonomy and HP have given me. I believe that the HP
                      structure may be better suited to other peoples skills than mine, and
                      look forward to whatever assistance I can provide during a transition.

                      Having watched you in action I know how persuasive you can be.
                      However, I have to inform you this is a final decision, and I hope you
                      will respect this.

                      I will discuss details with Andy.”

359.     The Claimants undertook a considerable exegesis in their closing submissions
         to demonstrate that this final version of Mr Hussain’s retirement email reflected
         input from Dr Lynch, as well as Mr Hussain’s wife. It seemed that the punchline
         was that Dr Lynch leant on Mr Hussain not to accept responsibility for the
         earnings miss, as in his first draft he had suggested he did. It was not clear to
         me where this point really took the Claimants. What is clear is that, after the
         earnings miss, there was no real prospect of HP countenancing Autonomy
         continuing under the pre-acquisition management, and that HP were intent on
         accumulating reasons why they should be removed entirely as soon as possible.

360.     For example, when Mr Hussain sent an email to “senior leaders” of HP on 24
         May 2012 drawing attention to the fact that some 157 staff had left or resigned
         from Autonomy in the previous weeks, which was then forwarded to Ms
         Whitman under the heading “Unacceptable email from Sushovan”, Ms


                                                Page 119
     Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 121 of 900
Approved Judgment                                                                       HC-2015-001324
Mr Justice Hildyard


         Whitman’s immediate response to this was to send an email to Mr Schultz
         stating “let’s garden leave this guy.” Mr Schultz actioned this immediately and
         branded what Mr Hussain had said as “highly unusual and… quite misleading.”
         In fact, as Mr Hussain demonstrated in his reply, the true total was 163. Mr
         Hussain also explained that his update reflected his practice previously of
         updating management on staff departures. The Defendants submitted, and I
         accept, that by this time, HP wanted rid of Autonomy’s old management, and
         dismissed as self-serving anything they had to say.

361.     Despite Ms Whitman’s acknowledgement that many, if not most, of the
         difficulties lay in the problems of integration45, late in the evening on 23 May
         2012 HP’s general counsel, Mr John Schultz, sent a formal notice of termination
         by email to Dr Lynch, confirming Dr Lynch’s discussion with Ms Whitman
         earlier that day, and placing Dr Lynch on immediate garden leave for the
         remainder of his notice period. The reasons given for his termination were as
         follows:

                      “… Your failure to adequately perform your duties and responsibilities
                      at Autonomy…, Including in particular a failure to meet the financial


                      performance goals associated with your position, a failure to
                      adequately manage, supervise and/or instruct the company s
                      management team and employees, a failure to adequately
                      communicate regarding the company s performance and operations, a
                      failure to cooperate, communicate and work with others in a
                      satisfactory manner and an inability to maintain the confidence of
                      senior leadership.”


362.     Ms Whitman told me that by this time she had “completely lost faith” in Dr
         Lynch. She stated in her witness statement:

                      “The fact that Autonomy had missed its revenue targets (by extremely
                      wide margins) was bad enough on its own. Exacerbating matters,
                      however, was Dr Lynch’s conduct at the end of the second quarter of
                      2012: only alerting me to the existence of a problem at the last minute,
                      understating the size of it, and taking a passive ‘wait and see’ attitude
                      rather than proactively trying to resolve the issue. Combined with his
                      authoritarian managing style … and his attempts to defect blame away
                      from himself, I came to the conclusion that I could not trust Dr Lynch
                      and that he would not be capable of executing a plan to turn Autonomy
                      around.”

363.     To this she added in her witness statement that what she had seen of Autonomy
         at the close of Q2 2012 was:


45
  Or, as the Claimants preferred to describe it, “challenges with operating Autonomy in the HP
environment”.


                                               Page 120
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 122 of 900
Approved Judgment                                                                   HC-2015-001324
Mr Justice Hildyard


                      “… a chaotic organisation chasing high-value targets rather than a
                      disciplined office focused on achieving consistent results.”

364.     As I shall elaborate later, the wider truth is that Dr Lynch did not fit in with Ms
         Whitman’s concept of Autonomy’s place in the group. In this concept, neither
         Autonomy nor Dr Lynch and his colleagues were seen as providing a new and
         invigorating direction for a transformative change; and for some time before Dr
         Lynch’s removal, Ms Whitman had had in mind to “adopt” (her word) or (in
         reality) absorb Autonomy under the umbrella of and to make Mr Veghte (then
         head of HP’s own software business) the CEO of that part of the HP group.
         Thus, whereas before the Acquisition, Mr Apotheker had told Dr Lynch that
         Mr Veghte would leave and that he, Dr Lynch, would be put in charge of HP
         Software, by January 2012 Mr Veghte had been appointed as head of strategy
         and by March 2012 Ms Whitman had determined and made it clear that Mr
         Veghte was in charge of driving both the cloud and security businesses also. In
         an email to him dated 26 March 2012 Ms Whitman spoke of there being no one
         better suited than he for the role of providing “Strategic vision for HP and CEO
         partnership” and with particular reference to the Software part of the business
         she wrote:

                      "Clearly, there is a lot of strategy work, product line rationalization and
                      other work that needs to be done in here. The business is in a bit of a
                      melt down. So it needs attention now. Also, in a bit, this Business unit
                      will need to adopt Autonomy and help it prosper. How could we reshape
                      the organization under you to give you real leverage to get this done? A
                      COO? Another SVP to operationalize the whole thing?"

365.     Ms Whitman claimed, when cross-examined on the contents of the email, that
         she had not yet made a decision to bring Autonomy under the software unit. She
         spoke at length of the need for HP Software “to adopt and put their arms around
         this division to help, to help it grow and prosper and I had not made a decision
         at all about whether this business should actually report to Bill.” But the longer
         her answers became (and they were often in the nature of prepared pitches) the
         clearer it was that the direction of travel was to be rid of Dr Lynch, absorb
         Autonomy into the software division, and (instead of Dr Lynch becoming head
         of HP’s software business in place of Mr Veghte) retain Mr Veghte in place
         and through him ensure central control; and that the only real hesitation in her
         mind, as she came close to accepting, was whether Mr Veghte (whom Ms
         Whitman had also appointed as Chief Strategy Officer) would agree to the role.

366.     The removal of Dr Lynch (who had himself begun to think, following the
         retirement of Mr Hussain, the resignation of Ms Eagan and the departure of a
         raft of Autonomy personnel, that “rapid assimilation back to the HP model”
         might be the only remaining option), was the concluding stage of the
         decapitation of the project of ‘transformation’ envisaged by Mr Apotheker,
         which had started with his own dismissal and that of Mr Robison. It was
         probably more symbolic than substantive in effect. It seems to me likely that
         Dr Lynch had already determined to resign before his termination, as
         demonstrated by emails on the same day (23 May 2012) discussing a new


                                                Page 121
     Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 123 of 900
Approved Judgment                                                                           HC-2015-001324
Mr Justice Hildyard


         venture (Invoke Capital) that he was to join, and which Mr Hussain, Mr Kanter,
         Dr Menell, Ms Eagan, Ms Colomar and Ms Orton had already joined or were
         about to join (each with a percentage of its equity).

Mr Joel Scott s whistleblowing

367.     On 25 May 2012, two days after Dr Lynch had been placed on garden leave, Mr
         Scott, Autonomy’s Chief Operating Officer and General Counsel for the US,
         asked to see Mr Schultz to discuss concerns he (Mr Scott) had about
         Autonomy’s hardware reselling strategy which (according to Mr Scott’s
         evidence in the US criminal proceedings) an earlier telephone conversation
         between them had suggested Mr Schultz knew nothing about.

368.     According to Mr Scott’s evidence in the US criminal proceedings, he had been
         “curious” and had felt uncomfortable about the sales; and, after Autonomy’s
         core management team had left in circumstances Mr Schultz told him suggested
         some impropriety, he felt he had to raise his concerns about them, and also about
         the structuring of hosting deals.46


369.     Be that as it may, after his conversations with Mr Schultz, HP commenced an
         investigation into the concerns Mr Scott had expressed, and retained for that
         purpose the law firm, Morgan Lewis & Bockius (“Morgan Lewis”). They have
         been continually involved since that time. PwC were also retained.

The Rebasing Exercise

370.     In parallel with the Morgan Lewis investigation, in June and July 2012, a
         “rebasing exercise” was conducted by Mr Yelland. Mr Yelland had become
         CFO of Autonomy in April 2012 after Mr Chamberlain (who had replaced Mr
         Hussain as CFO shortly after the Acquisition) handed in his notice.

371.     In his evidence in these proceedings, Mr Yelland suggested that the exercise
         required him to review the “economic substance” of Autonomy’s business,47
         and sought to use this as a platform from which in cross-examination to cast
         doubt on the “substance” of a wide slate of impugned transactions. However, it
         was clarified in the course of his cross-examination that the exercise was not
         intended to assess and determine whether past accounting was right or wrong
         under IFRS. The primary purpose was to establish what Autonomy’s business
         actually comprised and to strip out from the accounts revenues referable to

46
   Mr Scott gave his evidence in the US criminal proceedings, which was admitted in these proceedings
as hearsay, on terms which gave him substantial immunity. I shall have more to say about its reliability
later. In a nutshell, it was largely self-serving, and designed to insulate himself from threatened charges
of wire fraud in the US (which carry a penalty of up to 20 years’ imprisonment for every count) for his

47
  In cross-examination, he rowed back from this, caveating it as “the economic substance of the
Autonomy business as a software business” (signifying, as I understood this, that the exercise was to
examine what businesses were a complementary part of Autonomy’s software business, rather than to
examine their propriety or accounting treatment).


                                                 Page 122
     Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 124 of 900
Approved Judgment                                                                       HC-2015-001324
Mr Justice Hildyard


         business which HP would be unlikely or had decided not to continue, although
         Mr Yelland also maintained that he stripped out Autonomy’s hardware sales on
         the further basis that:

                      “I was looking for what the real economic substance of the …Autonomy
                      software business was. And the standalone hardware transactions were
                      not really part of that business.”

372.     Mr Yelland’s team was supported by PwC. PwC’s email of 3 July 2012 (headed
         “Autonomy review – privileged and confidential” (and redacted in part for
         privilege)) noted that it understood that the analysis would be used in an
         acquisition valuation model, but both the analysis and the model was the
         “responsibility of HP alone”.48

373.     Mr Yelland’s exercise took a broad-brush approach. It did not look at the detail
         of individual transactions, nor did it attempt to consider the information that had

own role and complicity. In his meetings with HP and with the US DoJ in relation to these matters, Mr
Scott was recommended to and represented by the law firm also representing HP.
         been available at the time the accounting judgements had been made. Ms Meeta
         Sunderwala (“Ms Sunderwala”), a senior director in HP’s EFR team49, noted on
         18 July 2012 that Mr Yelland’s rebasing exercise involved “a lot of estimation
         and judgement (not all built up from specific deals etc)”.

374.     Mr Yelland concluded the “rebasing” (sometimes “rebaselining”) exercise on
         17 July 2012 when he presented his results in a spreadsheet and PowerPoint.
         These were summarised (in an Exec Summary) as follows:

                      “Results: The study identified $193m of adjustments to 2010, $157m to
                      first 9mths of 2011 and $38m to FY12.

                             •   Resale of hardware accounted for $108m of the 2010
                                 adjustments, $85m of 2011 and all $38m of FY12

                             •   The review of deals >$1m, a review of the acquisition
                                 balance sheet and a review of ‘exceptional’ costs booked in




48
   Ms Lesjak suggested that PwC were also undertaking a “forensic investigation” at this time: but as
Mr Nigel Curl of PwC (in Forensic Services) confirmed in an email to Mr Yelland of 12 July 2012, the
input that PwC were assisting Mr Yelland with was limited to a review of the methodology. Mr
Yelland again confirmed this in cross-examination, though he added that PwC “were themselves doing
work on hardware at the time, which is work [he] used to help inform the rebasing exercise”. It is
clear that PwC were retained in about May 2012, and both the engagement of “Forensic Services” and
the rubric “privileged and confidential" on their exchanges with Mr Yelland as noted in paragraph 372
above suggest some anticipation of proceedings: but PwC did not produce a written report until March
2013 and there is a disputed question as to quite what their role was in any “deep dive review”: see
below.
49
   HP’s Enterprise Financial Reporting group focused on M&A technical accounting.
51
   Operating Profit.


                                               Page 123
     Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 125 of 900
Approved Judgment                                                                        HC-2015-001324
Mr Justice Hildyard


                                 Sept 2011 identified the other half of the 2010 and 2011
                                 impacts

                             •   Rebaselining required against the FY12 revenue is driven by
                                 hardware sales for which the accounting treatment is under
                                 review by GRRO. These are now stopped and other impacts
                                 are minimal
                      Impact: The FY11 rebased and annualised growth is 14%, FY12 growth
                      rebased is 1%

                             •   Licence rebased growth was a decline of 2% in FY11 and a
                                 decline of 16% for FY12 forecast

                             •   The OP51 rate rebaseline did not change the 2010 OP of
                                 36%, reduced the 2011 first 9mnths reported OP by 3pts to
                                 21%, and increased the FY12 OP by 1pt to 21%

                             •   Note: the FY11 reported OP for the first 6mths was 34% but
                                 dropped in Q3 2011 to 5%.
                      Limitations:

                             •   The study does not consider the IFRS appropriateness of the
                                 accounting. This is under review by PwC. High risk areas
                                 include the appropriateness and disclosure of hardware
                                 accounting, acceleration of deals using channel partners
                                 and balance sheet adequacy especially w.r.t. bad and doutful
                                 debt provisions




                             •   The study has to make certain assumptions related to deals
                                 and balance sheet impacts on prior period P&Ls, which have
                                 not been auIAdited”.



375.     No further work was done on the rebasing exercise after July 2012: that was the
         evidence Mr Yelland gave in the US criminal proceedings, and he confirmed it
         to me.50

376.     In mid-July 2012, Mr Yelland was also asked to give an initial view on whether
         the revenue that had been removed under his rebasing exercise had been

50
  The Claimants’ case, however, is that the rebasing exercise assisted the preparation of a new ten-year
forecast for Autonomy which was in turn used to generate a ten-year DCF model which then informed
the impairment analysis of HP’s business units (including Autonomy). The Defendants themselves
relied on the fact that “HP…had Mr Yelland’s rebasing conclusions when they considered whether an
impairment was necessary in August 2012”.


                                                Page 124
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 126 of 900
Approved Judgment                                                                 HC-2015-001324
Mr Justice Hildyard


         recognised in accordance with IFRS. The Claimants emphasised that this was
         a separate exercise. He delivered this on 22 July 2012. Mr Yelland confirmed
         that this view was not purporting to be definitive. His experience was primarily
         in US GAAP, not IFRS. He was not an IFRS expert, felt uncomfortable in doing
         the exercise and did not want any statements he made about IFRS “to be
         overinterpreted”. He told the Court:

                      “I did not want to do this exercise because I had made it quite clear, I
                      had thought, all the way through to my colleagues, and from the outset,
                      that we were not trying in this exercise, under the timescales we had, to
                      draw firm IFRS conclusions.”

377.     Ms Sunderwala’s view was that it was “truly an estimation exercise at this point
         because we have not verified whether these are truly incorrect under IFRS AND
         there is a significant amount of judgment (and even speculation) around what
         period these items really relate to”. This was a fair summary of the exercise, as
         Mr Yelland confirmed.

378.     That initial view did not raise any red flags. For 2010, reported operating profit
         and the “rebased” operating profit was the same, at 36%. For 2011, it remained
         comparable (24%, as compared with 21%). Of the $155.9m revenue adjustment
         Mr Yelland proposed for FY11, he concluded just $2m of this was “Not IFRS
         compliant confirmed” (though a further $114.3m, which included $84.6m
         “Hardware resale” and $11.6m relating to “Accelerated rev rec (channel and
         solution deals)”, was described as “Not IFRS compliant probable”). No
         revenue relating to licence hosting deals or purchases from customers was
         judged to be “Not IFRS compliant confirmed”. Licence revenue on hosting
         deals and 25% of revenue relating to ‘reciprocal’ deals was classed as
         “Management judgement/US GAAP difference”.

379.     In cross-examination, Mr Yelland sought to stress that (a) the need for further
         investigations was recognised and he had included reference to hardware
         revenues because although non-compliance had not been confirmed, his own


         view was that they were not IFRS-compliant and (b) revenue recognition was
         only one part of what it was necessary to consider, the other part being
         disclosure. He told me that he had reached the conclusion that hardware
         revenues should have been disclosed separately.

August 2012 – the decision at that time not to impair the carrying value of Autonomy

380.     In August 2012 HP carried out an impairment analysis of its business units,
         including Autonomy. Mr Yelland’s rebasing exercise had, of course, by then
         already been concluded. HP accordingly had Mr Yelland’s rebasing conclusions
         when they considered whether an impairment was necessary in August 2012.
         HP concluded that no impairment was required, and that the carrying value of
         Autonomy should be maintained at the $11bn that HP had paid in October 2011.
         That was so notwithstanding that Ms Lesjak, HP’s CFO and the person who


                                               Page 125
     Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 127 of 900
Approved Judgment                                                                      HC-2015-001324
Mr Justice Hildyard


         ultimately had to determine whether or not to recommend an impairment charge,
         stated (in her witness statement) that she had been informed that the exercise
         conducted by Mr Yelland had:

                      “identified very significant adverse potential accounting adjustments to
                      correct the accounting treatment for, in particular, certain hardware
                      and licence transactions. It indicated that Autonomy was a far less
                      successful and fast-growing company than it had projected itself to be,
                      both to HP and the market.”

381.     Why that was the view taken in August 2012, whereas some three months later
         an impairment charge of $8.8 billion was suddenly announced (see below), was
         a matter of considerable dispute but the justification advanced at the time seems
         reasonably clear on the available documentary evidence. The quarterly goodwill
         memo from Ms Lesjak’s department stated that the:

                      “decrease in operating margin is due to the miss on revenue targets and
                      other execution issues caused by challenges with operating Autonomy
                      in the HP environment and loss of the legacy Autonomy management
                      team” and that:
                      “HP Executive Management does not believe the short-term decline in
                      revenue and operating margin is an indicative of longer term revenue
                      and margin projections for this business. The market and competitive
                      position for Autonomy remains strong, particularly in Cloud
                      offerings.”51

382.     In an internal email dated 28 June 2012, Ms Lesjak herself was recorded as
         having told EY (though, as explained in footnote [51] above, she said she could
         not recall this) that the Autonomy issues were related to “short-term challenges

         with working in the HP environment and not an issue with the overall market
         or sales funnel.”

383.     By contrast with HP’s approach to Autonomy, an impairment was taken on the
         Enterprise Services division, which had been acquired in 2008 for $13.9bn; the
         write-down announced in August 2012 was $8bn, as Ms Lesjak confirmed. Ms
         Sunderwala also confirmed in June 2012 that, based on Ms Lesjak’s comments,
         no impairment analysis was planned for Q3 2012, though one would ordinarily
         be undertaken at year end.

November 2012: Announcement of Impairment

384.     Despite this, on 20 November 2012, HP publicly announced (as part of its Full
         Year 2012 Results announcement) that it was writing down the value of

51
  Ms Lesjak attempted to suggest that this was not accurate, but accepted that the memo was prepared
by senior people within her department and that they must have got this information from HP senior
management. But it is consistent with the document recording what Ms Lesjak told EY at the time. In
any event Ms Lesjak accepted that HP concluded that there were no impairment indicators at the time.


                                               Page 126
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 128 of 900
Approved Judgment                                                                  HC-2015-001324
Mr Justice Hildyard


         Autonomy by $8.8 billion and attributed $5 billion of that amount to fraud. The
         Claimants and the Defendants disputed the reasons for this change of tack, and
         the basis for this serious allegation.

385.     HP’s position was heralded in its press release on the same day, which stated
         that the majority of the impairment charge of more than $5 billion was:

                      “linked to serious accounting improprieties, misrepresentation and
                      disclosure failures discovered by an internal investigation by HP and
                      forensic review into Autonomy’s accounting practices prior to its
                      acquisition by HP. The balance of the impairment charge is linked to the
                      recent trading value of HP’s stock and headwinds against anticipated
                      synergies and marketplace performance.”

386.     The press release continued:

                       HP launched its internal investigation into these issues after a senior
                      member of Autonomy s leadership team came forward, following the
                      departure of Autonomy founder Mike Lynch, alleging that there had
                      been a series of questionable accounting and business practices at
                      Autonomy prior to the acquisition by HP. This individual provided
                      numerous details about which HP previously had no knowledge or
                      visibility.
                      HP initiated an intense internal investigation, including a forensic
                      review by PricewaterhouseCoopers of Autonomy s historical financial
                      results, under the oversight of John Schultz, executive vice president and
                      general counsel, HP.
                      As a result of that investigation, HP now believes that Autonomy was
                      substantially overvalued at the time of its acquisition due to the
                      misstatement of Autonomy s financial performance, including its
                      revenue, core growth rate and gross margins, and the misrepresentation
                      of its business mix.

                      Although HP s investigation is ongoing, examples of the accounting
                      improprieties and misrepresentations include:
                             • The mischaracterization of revenue from negative-margin,
                                 low-end hardware sales with little or no associated software
                                 content as “IDOL product”, and the improper inclusion of
                                 such revenue as “license revenue” for purposes of the
                                 organic and IDOL growth calculations.
                                 - This negative-margin, low-end hardware is estimated to
                                 have comprised 10-15% of Autonomy’s revenue.

                             •   The use of licensing transactions with value-added resellers
                                 to inappropriately accelerate revenue recognition, or worse,
                                 create revenue where no end-user customer existed at the
                                 time of sale.


                                                Page 127
     Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 129 of 900
Approved Judgment                                                                  HC-2015-001324
Mr Justice Hildyard


                      This appears to have been a willful effort on behalf certain former
                      Autonomy employees to inflate the underlying financial metrics of the
                      company in order to mislead investors and potential buyers. These
                      misrepresentations and lack of disclosure severely impacted HP
                      management s ability to fairly value Autonomy at the time of the deal.
                      HP has referred this matter to the US Securities and Exchange
                      Commission s Enforcement Division and the UK s Serious Fraud Office
                      for civil and criminal investigation. In addition, HP is preparing to seek
                      redress against various parties in the appropriate civil courts to recoup
                      what it can for its shareholders. The company intends to aggressively
                      pursue this matter in the months to come.”

387.      However, and as the Defendants repeatedly stressed, it was unclear quite what
          had changed since August 2012, after the conclusion of Mr Yelland’s report on
          17 July and his tentative expression of views on IFRS a little later.

388.      Ms Whitman gave the following explanation during the media call which
          followed the announcement:

                      “Ian Sherr [of the Wall Street Journal]: Thanks for taking my
                      question. Can you walk us through some of the details about who
                      when all of this unravelling happened customer and you said it
                      happened after Lynch left, but when exactly and how did you
                      confirm all of this happened?

                      Meg Whitman: Let me give you a little bit of chronology here.
                      We bought Autonomy as you know four [sic., for] $11.1 billion a
                      little over a year ago and Mike and his team ran Autonomy for
                      two quarters and you might recall that I let Mike go after he
                      missed his budget numbers in Q2 by a pretty wide margin.
                      Sometime after he left, a senior executive from the Autonomy
                      team54 came forward asserting as I mentioned a whole host of



54
     Mr Joel Scott, Chief Operating Officer and General Counsel of Autonomy Inc.
                      accounting improprieties when Autonomy was a public company before
                      HP bought the company.

                      So led by John Schultz, our General Counsel, we begin an
                      internal investigation, hired PWC to do a forensic examination,
                      and that took place over a number of months. This was very
                      difficult to unravel. It took a long time to actually come to the
                      conclusion that we are announcing today because we needed to
                      be sure what we were seeing in the financial statements. The
                      conclusion that we made news [sic., was?] as I said there
                      appears to have been a willful effort by some Autonomy


                                                Page 128
     Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 130 of 900
Approved Judgment                                                                  HC-2015-001324
Mr Justice Hildyard


                      employees to inflate the underlying financial metrics when
                      Autonomy was a public company.”


389.     No doubt conscious that the sudden announcement a year after completion of
         the Acquisition required some further explanation, Mr Schultz also suggested at
         the same press conference that Autonomy did not have a proper set of
         accounting records and that:

                      “critical documents were missing from the obvious places and it
                      required that we look in every nook and cranny to sew together, to stitch
                      together different pieces of information that allowed us to get to the
                      detail we have today and allowed us to do the re-baseline effort that we
                      have engaged in…”


390.     Thus, it appears that HP sought to justify the write-down and accompanying
         accusations of fraud in November 2012 by reference to the whistleblowing in
         May, the matters identified and considered in the “intense internal
         investigation” and “forensic review”, and the piecing together of disparate and
         partly incomplete information after that.

391.     The curiosity of this is not only that the earlier decision had been against
         impairment, but also the lack of any documentary evidence of any calculation
         of what amounts were to be attributed to the wrongdoing. Ms Lesjak52 herself
         seemed unable to explain this: see further as to this paragraph [396] below.

392.     Furthermore, the direct and contemporaneous documentary evidence might
         suggest a different and more benign explanation of the reasons for the
         writedown. Thus, according to the documents:

         (1)          $3.6bn of the $8.8bn impairment was referable to the effect of changing
                      the WACC from 10% to 16%. I discuss this change further below; but
                      for the present the point to note is that when asked whether this change
                      was anything to do with the allegations of fraud, Ms Lesjak, after some




                      equivocation, agreed that she did not believe that this was ever
                      quantified.

         (2)          After the impact of the market capitalisation requirements, the remaining
                      $5.2bn of the $8.8bn impairment was split into three categories, as set
                      out in an infographic created internally, which corresponded
                      substantially with the analysis set out in the presentation on the
                      impairment given to HP’s Board on 24 and 26 October 2012:


52
  As CFO, Ms Lesjak was the very person whose responsibility it was as CFO to recommend the
impairment.


                                               Page 129
     Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 131 of 900
Approved Judgment                                                                         HC-2015-001324
Mr Justice Hildyard


                         i.    $2.9bn said to be attributable to the effect of lower margins;

                         ii.   $1.8bn said to be attributable to the effect of lower growth rates;
                               and

                         iii. $1.3bn said to be attributable to the effect of re-baselining
                              revenue.

393.     The reasons for lower margins were articulated in an email to, amongst others,
         Ms Lesjak on 19 November 2012 (i.e. the day before the announcement). That
         email, which was sent to Mr Schultz, stated there were three “buckets” that
         explained the lower margins:

                      “There are really 3 buckets why the op margins in steady-state
                      (28%) are lower than the 40%'ish margins in Autonomy's prior
                      reported results.

                      1. SaaS business model and impact of Iron Mountain's
                      digital business — Iron Mountain's results were not in
                      Autonomy's reported results since the deal closed in Q3 '11. Iron
                      Mtn earns ~12% margins and represent ~19% of total revenue
                      so accounts for 4-5 pts of total Autonomy margin decline

                      2. Accounting treatment of certain costs — In the dark period
                      of Q3 '11, Autonomy incurred significant "1-time" costs
                      associated with bad debt, vacation accruals, commissions/bonus
                      accruals. Not all of these costs were spread back into the
                      restated financials because it is very difficult to determine the
                      appropriate period. However, if you spread these costs over a 12
                      month period, it accounts for 4-5 pts of margin

                      3. Under-investment — Autonomy under-invested in each of
                      its acquisitions, taking out R&D, IT, and other infrastructure
                      costs. On a go-forward, steady-state model, we're assuming a
                      benchmark level of investment, contributing 2-4 pts of margin”.


394.     None of those factors identifying an impact on margin were tied in or shown to
         relate to the alleged accounting improprieties announced by HP the following
         day. This was reluctantly accepted, after two deflecting answers, by Ms Lesjak

         in cross-examination.53 The same was true of the other factors identified in the
         board presentation and infographic. Ms Lesjak accepted that the points about
         “lower growth rates” were similar to the points about lower margins.



53
  Ms Lesjak did attempt to suggest that the second “bucket” was to do with “accounting
improprieties”, but could not explain how and was forced to accept that it was limited to factors such


                                                Page 130
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 132 of 900
Approved Judgment                                                                    HC-2015-001324
Mr Justice Hildyard


395.     Further:

              (1) Although it is not disputed that in May 2012, HP had retained Morgan
                  Lewis and PwC, no written “forensic review” by PwC is apparent from
                  the evidence until later (in 2013, long after this announcement), and
                  none was disclosed;

              (2) Indeed, there is no evidence of any review, investigative report or
                  analysis by PwC dating from before the announcement (or even a short
                  period thereafter), except a commentary on the methodology adopted by
                  Mr Yelland for which PwC disclaimed responsibility.54

              (3) The original purpose of the rebasing exercise had nothing to do with
                  possible mis-accounting under IFRS: it looked at the differences under
                  US GAAP and how HP would have run the business. When Mr Yelland
                  was asked to give a view on IFRS, he was uncomfortable doing so, his
                  conclusions in any event did not support a conclusion that there had been
                  wilful non-compliance with IFRS, and Ms Sunderwala thought that it
                  was “truly an estimation exercise”, involving “a lot of judgment (even
                  speculation)”.

              (4) Mr Yelland’s evidence was that his own rebasing exercise (produced in
                  late July) did not materially change thereafter.

              (5) Autonomy had a full and orderly set of books, accounts and ledgers
                  which amongst other things identified all Autonomy’s hardware
                  transactions.

396.     The Defendants supported their contention that there had been no such analysis
         as might be expected before making public claims of fraud by referring to events
         after the press release. Thus:

              (1) On 29 November 2012, 9 days after the announcement, there was an
                  email exchange involving Ms Lesjak, Mr Gomez (HP’s Chief
                  Communications Officer), and Mr Levine (HP’s Corporate Controller).
                  Ms Lesjak was told:

                         “We are getting a lot of push back from media that they
                         cannot understand how the accounting issues at AU
                         could result in a $5 billion writedown. Mike is using this

                         to create the illusion of an issue. We'd like to create a
                         simple graphic that demonstrates the impact of the
                         reduced revenue starting point, margin and growth rate

as bad debt and one-off costs; they were nothing to do with the allegations relating to hardware,
channel sales, hosting revenue or anything of that kind.
54
   The Claimants invited me to note that PwC were involved in interviewing Autonomy personnel, and
in particular, interviewed Ms Harris for some three hours on 13 November 2012. The “Memorandum
of Interview” recorded that this was “in connection with HP’s internal investigation of Autonomy’s
accounting practices before, during, and after HP’s acquisition.”


                                              Page 131
     Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 133 of 900
Approved Judgment                                                               HC-2015-001324
Mr Justice Hildyard


                           to the DCF model. Is there someone on your team that
                           we could work with to produce something?”


               (2) Ms Lesjak plainly had not seen any analysis of this kind. She asked Mr
                   Levine what he had. All Mr Levine had was some PowerPoint slides
                   substantially the same as the board presentation referred to at paragraph
                   392(2) above. Mr Levine stated in an email to Ms Lesjak dated 30
                   November 2012 that:

                           “All I have is the attached. We've never formally
                           prepared anything to attribute the irregularities to the
                           amount of the write down. Everything we did has been
                           focused on the FV calculation based off the forward
                           growth and profitability projections. I don't know
                           whether Steve or Andy prepared something that
                           translated the irregularities into their impact on the
                           forward projections.” [My emphasis]


397.       Unable otherwise to explain how, on that basis, the need for impact on margins
           was announced as relating to fraud, Ms Lesjak first suggested that HP had had
           input from PwC: but when shown that PwC did not report until 2013 and that in
           2012 the work that PwC did to support Mr Yelland consisted of commentary
           on Mr Yelland’s own work, for which, moreover, PwC disclaimed
           responsibility, she then told me in cross-examination that despite what appeared
           from that email, she had nevertheless been told by Mr Andy Johnson, who was
           then Head of HP’s Corporate Development sub-team within the SCD group55,
           that all the adjustments “were based on new information that came out of the
           forensic investigation.”

398.       Reliance on a conversation with “Andy” (whom she described, and said she
           relied on, as “keeper” of the original DCF model used by HP in its acquisition
           of Autonomy) became a refrain of her answers in this regard. The following
           answer was typical of a number of iterations:

                      Q. …on your evidence now that you re giving to this court, you re
                         saying that everything that changed in the DCF was entirely
                         explained by the irregularities?

                      A. That is what Andy told me. He told me that…looking at the
                         information that they learned in the forensic investigation, that
                         now the stand-alone value was 3.5, and he said that he believed
                         that all of that was as a result of either accounting improprieties,
                         disclosure failures or misrepresentations. That is what he said.”




55
     HP’s Strategy and Corporate Development group.


                                               Page 132
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 134 of 900
Approved Judgment                                                                 HC-2015-001324
Mr Justice Hildyard


399.     When it was directly put to Ms Lesjak that she had no idea under any of the
         heads identified of how much could fairly be attributed to any wrongdoing, and
         that the announcement (for which she was jointly responsible) of a write-down
         on the grounds of a major fraud was reckless because she had never
         commissioned a proper calculation to correlate the allegations with the changes
         in the DCF she answered:

                      “So I believe I did when I went to Andy and I said – and Andy said he
                      calculated the stand-alone value relative to the point in time we did the
                      acquisitions, as he knew the model in detail, and he said the only
                      changes he made were as a result of information coming out of the
                      forensic investigation and that he was confident that at least the $6
                      billion was attributable to not just accounting irregularities but
                      misrepresentations that we got during the due diligence process and
                      also disclosure failures where it was not clear in the disclosure as to
                      what was going on…”

400.     There were references in the record to some conversations between Ms Lesjak
         and Mr Johnson likely to have related to the impairment analysis: for example,
         in an email from Mr Sarin dated 28 September 2012, in an email from Ms
         Sunderwala dated 17 October 2012 (referring to a meeting with an electronic
         link that evening), in an email chain on 23 October (referring to a “deck” for
         discussion) and in a short email arranging a telephone call between them on 15
         November 2012. But there was no documentary evidence produced to show how
         it was that Ms Lesjak was satisfied that the factors resulting in the writeoff were
         attributable to accounting improprieties, disclosure failings and
         misrepresentation; and Ms Lesjak made no mention of having relied on Mr
         Johnson in her witness statement (in which she made no mention of him at all).

401.     The Claimants sought to explain this lack of documentary support on the basis
         that (a) at the time the impairment charge was announced to the market, HP was
         in the midst of an internal forensic investigation “communications in respect of
         which have been withheld for privilege” and (b) it is “unsurprising that there is
         a limit to the volume of documents that have been disclosed by the Claimants”.
         But neither was or amounted to a direct assertion that there was any such
         documentary evidence; and the email exchanges after the event already quoted
         suggest there was not.

402.     Further, as to the suggestion that such an investigation had uncovered
         impropriety of which HP was unaware, the Defendants’ position was that:

              (1) HP had been aware of hardware sales for some time. As explained at
                  paragraphs 324 to 327 above, some were apparent from (and at any rate
                  not hidden in) the due diligence.

              (2) HP and its advisors were made aware of hardware sales in some detail
                  following completion in the Autumn of 2011. Yet hardware purchases
                  by Autonomy from Dell for resale continued to at least April 2012: Mr
                  Yelland was asked on at least two documented occasions (one in March


                                               Page 133
     Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 135 of 900
Approved Judgment                                                                   HC-2015-001324
Mr Justice Hildyard


                       2012 in anticipation of his appointment as CFO, and another after it, in
                      April 2012) to approve such a purchase on the basis that the hardware
                      would be sold through to customers at a loss of approximately 10%. In
                      each case he gave the approval without objection. He sought to argue in
                      cross-examination that he drew a distinction between “sell-through” and
                      “pass through” which he told me “sometimes is used to describe sales
                      that are not connected to the rest of the business”; but he provided no
                      support for this, accepted that he had not focused on the difference at the
                      time, and I find that this was an afterthought. The hardware revenues
                      were included in spreadsheets provided by Autonomy to HP and were
                      subsequently openly incorporated into HP’s own financial reporting.

               (3) As to the second alleged impropriety, the Defendants contended that
                   there was no requirement at all under IFRS for an end-user to exist at
                   the time of sale (even if there was under US GAAP). Moreover, HP had
                   been made aware during the due diligence that Autonomy recognised
                   revenue from resellers on “sell-in” rather than “sell-through”.


The revaluation and its announcement

403.       On 20 November 2012, HP announced that it was writing down the value of
           Autonomy by US $8.8 billion. Simultaneously, HP attributed a substantial part
           of the write down to fraud on the part of Autonomy prior to the Acquisition
           stating that there appeared to be a wilful effort on the part of certain former
           Autonomy employees to inflate the underlying financial metrics of the company
           in order to mislead investors and potential buyers.

404.       In the circumstances described above, the Defendants’ case is that HP had no
           basis for suggesting that the value written down (or any part of that) was
           attributable to fraud by the Defendants: the real reason for the write-down was
           the need to reduce the carrying value of some of HP’s assets in order to take
           account of the diminution in HP’s market capitalisation following a sustained
           fall in HP’s share price. According to the Defendants, the excessive write-down
           of the value of Autonomy was the means of avoiding a write-down of HP’s own
           software business.

405.       HP’s share price first began to decline significantly in Q4 2011. It continued to
           fall in 2012. In June 2012, HP’s market capitalisation fell below its book value.
           By 1 August 2012, its share price was $17.66, around half of what it had been
           12 months previously.56 By 24 October 2012, it was $14.47.

406.       Although the Claimants were apt to blame this on the Acquisition, the
           Defendants pointed out that the decline had much longer origin, and reflected
           very disappointing performance. Year-on-year revenues were falling by about
           7%, year on year EPS had fallen by about 33%, and year on year cash flow from



56
     The share price on 1 August 2011 had been $35.20.


                                                Page 134
     Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 136 of 900
Approved Judgment                                                                HC-2015-001324
Mr Justice Hildyard


           operations was down something over 60%. Ms Whitman accepted that these
           were pretty dire numbers.




407.       The truth was that in 2012, HP was in crisis and performing poorly across its
           business. Ms Whitman agreed in cross-examination that when she looked more
           carefully after her appointment it was in a far worse state than she had initially
           thought and that there was a crisis of confidence around senior management,
           board and company strategy. I have already noted that the business was
           fractured in ‘silos’ with intra-division jealousies, poor co-operation and overall
           direction, and short-term focus. The Defendants described it, with (as it seems
           to me from the available documentation) good reason, as a huge, enervated,
           company, beset with systemic failings. It had (as Dean Acheson famously
           remarked of Great Britain now nearly 60 years ago) “lost an empire but not yet
           found a role”, having abandoned Mr Apotheker’s plan and fallen back onto
           retrenchment to its core business, which was low margin and an outmoded
           model.

408.       As previously noted, and quite apart from Autonomy, HP’s efforts to expand by
           acquisition had been astonishingly problematic and unsuccessful:

               (1) HP bought Electronic Data Systems for $13.9bn. It was rebranded as
                   HP Enterprise Services in 2008. Its value was written down in Q3 2012
                   by some $8bn.

               (2) Other acquisitions are listed in HP’s M&A Scorecards, such as that for
                   Q2 2012. One well known one was the Palm hand-held computer
                   business which it had acquired for $1.2 billion in 201057. The acquired
                   businesses being tracked had under-performed against budgeted revenue
                   by $1.73bn or 26%.

409.       The sustained fall in its share price had consequences for HP under US
           accounting rules. As Ms Lesjak explained in her witness statement, the fall in
           its share price meant that HP needed, in reconciling the value of its business
           units to market capitalisation, to (a) increase the discount rate (i.e. the premium
           to the weighted average cost of capital (“WACC”)), which further decreased the
           value of the business units and (b) revalue its goodwill and intangible assets
           across all its business units: the sum of the parts of the business plus a control
           premium of 30% could not exceed HP’s market capitalisation. Ms Lesjak
           considered this an arbitrary accounting construct. She accepted that it involved
           reverse engineering the value of segments of the business to get down to the
           required level.

410.       The process of reverse engineering involved ascribing discount rates to various
           segments of the business. Through this, the reduction was loaded
           disproportionately onto certain parts of business, notably Autonomy. HP’s

57
     The Palm business had been bought for $1.2bn in 2010.


                                                Page 135
     Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 137 of 900
Approved Judgment                                                                    HC-2015-001324
Mr Justice Hildyard


         Enterprise Services division was also ascribed a heavy discount rate, but had no
         goodwill left to impair following the $8bn impairment recorded in Q3 2012.

411.     It appears that HP was keen to avoid its own Software division (other than
         Autonomy) being impaired. Ms Sunderwala noted in mid-August 2012: “I feel
         that even at a $16 price, we could support no impairment in HP Software
             (without Autonomy) if we took a hit in Autonomy stand-alone.” By October

         2012, this was being fed into further models, with the discount being loaded
         onto Autonomy and HP Enterprise Services as compared with Software, TS and
         ESSN.58 It seems that this was motivated, at least in part, by tax reasons:

                      “during our Tax Department review we discussed if Tax had a
                      preference as to the location/designation of a potential goodwill
                      impairment for the HP Software business (including Autonomy).
                      Although we want to provide a final confirmation once numbers become
                      available, our expectation is that the best approach is to impair
                      Autonomy's goodwill. Autonomy's legal entities are currently isolated,
                      so the impact of an impairment thereon should carry less risk to existing
                      or future tax attributes/opportunities.”59

412.     A large write-down of Autonomy also mitigated the need to write down HP’s
         hardware business, which Ms Whitman had affirmed to the market as the core
         business. Ms Sunderwala drew another advantage to the attention of HP’s
         auditors, EY, quoting an article that mused:

                      “a write-down could have a cosmetic effect of making it easier for HP
                      to show a return on invested capital. Less invested capital, easier for
                      growth to look big”.

413.     It was observed internally that to get down to the 30% control premium (see
         paragraph 409 above), discount rates would have to be “crazy” and that the
         result would be “nonsensical”. The result was that, while a WACC of 9.5% had
         been deemed appropriate for valuing Autonomy in August 2012, by October
         2012, HP had increased it to 15%. This was increased further to 16% after Ms
             Whitman asked, very late in the process (overnight between 23-24 October
         2012, with the board meeting to discuss the impairment being scheduled for 24
         October 2012) that the final value include some synergies. 60 The effect of
         changing the WACC from 10% to 16% by itself caused an impairment of
         $3.6bn.


58
   Ms Sunderwala noted: “Add 1.25ppt discount rate to Autonomy and ES (most execution risk)…You
can add 0.25ppt to Software, TS and ESSN if looks like we need more downward pressure; otherwise
keep as is (not sure if Software can handle it…)” Further documents also showed a desire to avoid
increasing the discount rate for the Software division.
59
   Ms Lesjak was aware that this was the preference of the tax department.
60
   Email exchanges over 23 to 24 October 2012 show that this was done overnight. Ms Lesjak did not
argue with this. Ms Lesjak attempted to suggest that the $11bn book value of Autonomy was in fact
made up of $1.5bn of synergies and $9.5bn “stand-alone value”, but that was incorrect.


                                               Page 136
     Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 138 of 900
Approved Judgment                                                                     HC-2015-001324
Mr Justice Hildyard


414.     Although the Claimants sought to dismiss as “not credible” the suggestion that
         the erosion of Autonomy’s performance flowed from innocent causes, the fact
         is that remarkably little was provided by the Claimants to support their case that
         the impairment was the consequence of the revelation of fraud in the course of
         an in-depth forensic inquiry. Equally little was provided by the Claimants to
         substantiate the effect of the alleged fraud on the various “buckets” they had
         identified. On the other hand, the Defendants did provide a plausible account of
         the “reverse engineering” adopted to achieve a result which shifted blame away
         from under performance in HP’s other enterprises at Autonomy’s expense.
                  Ultimately, I am not required to determine the reason for this erosion in

         Autonomy’s performance. The fact it occurred is consistent with and provides
         some general support for the Claimants’ case but the failure to connect the
         alleged fraud with the impairment means the establishment of the fraud depends
         on a detailed consideration of each head of claim.


After the announcement of impairment and the public assertion of fraud

415.     By the time of the announcement HP had not given Dr Lynch an opportunity to
         address the allegations. HP went ahead with the announcement and
         accompanied it with a comprehensive press and public relations campaign,61
         even establishing a so-called “truth squad”.

416.     In December 2012, EY were asked to give their view as to whether the valuation
         of Autonomy in August 2011 was affected by the matters said to give rise to the
         impairment. EY prepared a memorandum dated December 2012, addressing:

                      “our considerations of the allegations on the original valuation of
                      Autonomy at Q4’11, specifically around the determination of fair value
                      at the time of the acquisition and the evaluation of the effect of known
                      errors.”

417.     EY recorded that they had reviewed HP’s presentations to the SEC and to the
         SFO, and Autonomy’s re-baselining review. They noted that, in determining
         Autonomy’s enterprise value in 2011, HP had adopted a Discounted Cash Flow
         (DCF) model, with input from Duff & Phelps (“D&P”).

418.     EY stated their conclusion in the round to be that:


                      “The impact of the valuation at Q4’11 of the known accounting errors
                      does not materially impact the valuation as contemplated at Q4 2011,
                      and further, it would not be appropriate to consider them in isolation.”



61
  Mr Youngjohns explained in a blog at the time that HP had prepared one of the most extensive
communication plans he had ever seen in 30 years. He explained in cross-examination that he had
never “seen anything quite like this in any other role”.


                                               Page 137
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 139 of 900
Approved Judgment                                                             HC-2015-001324
Mr Justice Hildyard


419.     On the various matters suggested by the Claimants to give rise to the question
         whether the 2011 accounts should be re-drawn, EY concluded as follows:

              (1) That they did not believe that the stand-alone loss-making
                  “passthrough” hardware sales would have had any material impact on
                  valuation using HP’s model to fair value Autonomy, which was a DCF
                  valuation model. Indeed, loss making hardware sales operated to reduce
                  cash flows.

              (2) That neither reseller deals (referred to in the memorandum as “channel
                  sales”) nor sales of upfront hosting licences had a significant impact on
                  the cash flows of the business. They involved moving revenue between
                  quarters, and because HP used a DCF model to fair value Autonomy EY

                      did not believe the timing differences would materially impact the
                      valuation.

              (3) As to concerns about reciprocal deals, if value received was legitimate,
                  the arrangements did not impact cash flows either. The proposed
                  adjustments identified by HP did not have a material impact on the
                  original valuation model.

420.     These conclusions were relied on by the Defendants as endorsing their case that
         (a) there was no fraud and (b) the Claimants’ case on loss was a confected one.

421.     The Claimants rejected the Defendants’ reliance on EY’s memorandum as
         misplaced because:

              (1) The question at which it was aimed was whether HP, having recognised
                  an impairment in November 2012, ought to restate its accounts in respect
                  of the purchase of Autonomy in 2011. Ms Lesjak had explained that that
                  question turned on whether the change in forecast underlying the
                  impairment calculation resulted from correcting an error, or a change in
                  estimate; and as HP told the SEC, it took the view that its revised
                  forecast did not amount to correcting an error, because the original
                  forecasts were not erroneous based on the facts that existed at the time.
                  Rather, it considered the revised forecast a change in estimate based on
                  new information;

              (2) The memorandum was not shared with HP at the time and its context is
                  unclear because EY have taken the position that the Claimants were not
                  entitled to disclosure of its working papers and the memorandum itself
                  was made available to the parties in these proceedings only because it
                  had been admitted into evidence in the US criminal proceedings. Its
                  context was unknown, and it should not be read out of context.

422.     The Defendants embraced EY’s view as “a far closer reflection of reality than
         the Claimants’ case.” Their overall position as to the financial effect of the
         allegations, leaving aside their defence to the allegations themselves, was
         summarised as follows:


                                             Page 138
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 140 of 900
Approved Judgment                                                                 HC-2015-001324
Mr Justice Hildyard


                       The Claimants allegations ignore the fact that Autonomy s business was
                      real business, and cash was received for the overwhelming majority of
                      the transactions complained about. The hardware sales were real sales
                      which generated revenue. In almost all cases the cash in respect of a
                      reseller deal came in (whether from the reseller itself, or from an end-
                      user). The alleged reciprocal deals involved cash payments from
                      customers. The sales of licences to hosted customers all brought in real
                      revenues. The OEM allegations are not suggested to have had any
                      revenue (or cash) impact at all. This simple truth obviously calls into
                      question the Claimants case on loss, which is a confected one. It is also
                      important to keep in mind when considering the Claimants wider case
                      as the existence of some over-arching fraudulent scheme to which Dr
                      Lynch was party.”


Backdrop to these proceedings and the effect of the US criminal proceedings

423.     The announcement of the impairment write-down, and the reasons for it, served
         as a catalyst for proceedings by HP’s shareholders against HP and its directors
         in the US, including derivative claims as well as securities claims for their
         failures in relation to the Acquisition. Those proceedings were ultimately settled
         against the backdrop that HP was itself going to bring proceedings against Dr
         Lynch and Mr Hussain.

424.     These proceedings, following criminal proceedings in Northern California
         against Mr Hussain which resulted in him being convicted of fraud, being
         sentenced to 5 years in prison, and having to pay circa $10 million in financial
         penalties, were issued on 30 March 2015, some two and a half years after HP
         had publicly accused the Defendants of fraud. They follow an astonishingly
         extensive trawl through Autonomy’s documents and transactions in an effort to
         make good those early accusations, for which they appear to have had precious
         little support at the time, and even to provide a basis for quantifying loss in
         exactly the same amount as HP had asserted (without any discernible basis) in
         its public announcement of those accusations.

425.     Dr Lynch has been indicted and further to extradition proceedings commenced
         in September 2019 before the conclusion of evidence in this trial, the Home
         Secretary ordered his extradition on 28 January 2022. (On 9 February 2022, Dr
         Lynch applied for permission to appeal that decision.) Mr Chamberlain has also
         been indicted (on the same indictment as Dr Lynch), which Dr Lynch relied on
         to explain his absence (see paragraph [426(3)] below). A superseding
         indictment of 21 March 2019 showed that investigations had been extended to
         events relating to the founding and growth of Invoke and its investments, which
         the Defendants offered as the explanation for Mr Kanter and Ms Eagan
         declining to give evidence in these proceedings, for fear (according to the
         Defendants) of repercussions in potential US criminal proceedings.

426.     The US criminal proceedings, actual and prospective, have cast long shadows
         over these proceedings. It is not for me to question the basis on which the US



                                               Page 139
     Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 141 of 900
Approved Judgment                                                                          HC-2015-001324
Mr Justice Hildyard


         courts have been satisfied as to their jurisdiction, though it is to be noted that
         the only person likely to have suffered direct loss62, wherever the claims are
         adjudicated, is HP; and HP agreed to this jurisdiction. But the fact is that the
         effect of the US proceedings in this, the natural forum for these claims, has been
         considerable:




              (1) Mr Hussain was in practice unable to attend proceedings brought against
                  him in their natural forum and in his place of habitual residence alleging
                  fraud and damages well in excess of all he probably has in financial
                  terms.

              (2) Throughout the hearing and all through his mammoth crossexamination,
                  Dr Lynch has had to bear the additional burden of indictments against
                  him and, since September 2019, the persistent threat of extradition.

              (3) The Claimants noted that even before he was indicted, Mr Chamberlain
                  did not provide any witness statement in these proceedings; but the fact
                  is that he has long been under threat and has now been indicted by the
                  US DoJ and charged by the FRC with acting dishonestly and/or
                  recklessly as well as failing to act with competence and due care.
                  Although the Claimants submitted that this had not been suggested to be
                  and was not a good explanation for Dr Lynch not having called Mr
                  Chamberlain, Dr Lynch did note in his written closing submissions that
                  “it is to be expected that he would wish to remain silent pending those
                  charges”: although I accept that and have not drawn inferences, without
                  more, from his absence, he was a central character and I have felt it
                  unavoidable and necessary to make findings in respect of his conduct
                  notwithstanding his absence (as, in my assessment, he must always have
                  appreciated was on the cards).

              (4) As mentioned above, Mr Kanter and Ms Eagan (who is based in the US)
                  declined to appear before me, though both had provided witness
                  statements. Dr Lynch was apparently informed by their lawyers on 19
                  and 21 August 2019 respectively of their decision not to give evidence.
                  No explanation appears to have been provided by those individuals’
                  lawyers, and certainly none was elaborated to me. The Defendants
                  submitted that neither of them (though both worked for DarkTrace) was
                  within Dr Lynch’s control; but even if technically true, and even if it is
                  a reasonable inference that the extension of the US criminal
                  investigation may have made them more reluctant to give evidence at
                  this trial, it seemed to me likely, in the light of the fact that they had

62
  I suppose it is possible that short sellers and/or derivative traders may claim to have been indirectly
prejudiced; but an irony is that all shareholders of Autonomy enjoyed a premium greater than on HP’s
case they should have received; and there is nothing to suggest that any customers or third parties
suffered any loss on any transactions with Autonomy on either side of the Atlantic. Shareholders in HP
would have their own recourse for loss allegedly resulting to HP, subject always to rules restricting
claims for derivative loss.


                                                 Page 140
     Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 142 of 900
Approved Judgment                                                                  HC-2015-001324
Mr Justice Hildyard


                      provided witness statements and until August 2019 they were in his
                      running order, that had Dr Lynch really wanted them to attend they
                      would have been persuaded to do so. The Claimants also noted that Dr
                      Lynch had caused the press to be informed that it was he who had
                      decided not to call them. It is difficult and I consider unnecessary to
                      decide why they were not called. I have not drawn general inferences
                      from their absence; but I have necessarily in particular instances drawn
                      conclusions without being able to weigh in the balance any contrary
                      evidence. That is inevitable: both were central actors; and Mr Kanter
                      especially could have provided useful evidence bearing on factual
                      matters where I have in consequence had to make determinations
                      without his assistance; and likewise, though less often, in the case of Ms
                      Eagan.

              (5) Certain key witnesses whose evidence in the US criminal trial was
                  admitted into these proceedings by hearsay notice had been given
                  immunity in return for their evidence (namely, Messrs Joel Scott and
                  David and Steven Truitt, and Ms Antonia Anderson as to whom see
                  later). Mr Egan had entered into a deferred prosecution agreement
                  (“DPA”) which bound him to give evidence admitting culpability in the
                  terms of a statement of fact negotiated and agreed with the DoJ, and not
                  to offer any contradictory evidence or arguments on pain of immediate
                  prosecution without defence for breach. Inevitably this invites caution
                  and at least prima facie wariness as to their reliability, especially if and
                  when their documented conduct appeared to reveal a different
                  explanation than they offered in their evidence.

              (6) The position of Mr Sullivan, and whether he was promised immunity,
                  was unclear in this regard; but although he provided a signed witness
                  statement and it appeared that he was to give oral evidence, the
                  Claimants informed the Defendants at a late stage that he was unwilling
                  to attend, and that the Claimants did not propose to invoke the procedure
                  for compelling his attendance that they did embark upon in the case of
                  Mr Egan. His evidence, and the transcripts of his evidence in the US
                  criminal proceedings which dealt with many of the matters in issue here,
                  but which he did not deal with in his witness statement, came in only as
                  hearsay.

              (7) Evidence from those witnesses in the US criminal proceedings who also
                  provided a witness statement was often over-lawyered and too rehearsed
                  to be authentic. Further, it became apparent that a number of the
                  Claimants’ witnesses had discussed their evidence with lawyers for the
                  Claimants or the US prosecutors, often many times63 , to the extent that
                  I often felt I was being treated to a received and then rehearsed version
                  of events, rather than the witnesses’ actual recollection.


63
  According to the Defendants’ analysis, prior to the US criminal proceedings, Mr Egan had had 5
meetings with HP lawyers and 17 meetings with US prosecution lawyers in addition to meetings with
his own lawyers. Mr Baiocco met with HP’s lawyers some 3 or 4 times, and with US prosecutors some


                                                Page 141
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 143 of 900
Approved Judgment                                                                         HC-2015-001324
Mr Justice Hildyard


              (8) But for the earlier criminal trial in the US the Claimants would almost
                  certainly have felt they had to call in these proceedings and to expose to
                  cross-examination witnesses whose evidence in the US they instead
                  relied on by its introduction under a hearsay notice. I have in mind (i)
                  Mr Scott (ii) Mr Stephan (iii) Mr Steven Truitt (iv) Mr David Truitt (v)
                  Mr Loomis (vi) Mr Channing (vii) Mr Johnson and (as indicated above)
                  (viii) Mr Sullivan. Dr Lynch thus had no opportunity to cross-examine
                  any of those witnesses. Throughout this trial I have had to be careful to
                  remind myself that much of the evidence on a transcript was only
                  hearsay evidence untested in these proceedings.

427.     There were notable absences. The only oral evidence from anyone at Deloitte,
         was that of Mr Welham (who also gave evidence in the US criminal

         proceedings). He was not a partner of Deloitte at the relevant times. The audit
         partners, Mr Richard Knights (for 2009 and Q1 2010) and then Mr Nigel Mercer
         (for the 2010 yearly audit), did not give any evidence. Their attendance would
         greatly have assisted me; and indeed the Defendants maintain that it is to be
         inferred from the fact that the Claimants did not call either, that (in a different
         way) it would ultimately have helped them. The Defendants pointed out in that
         regard that a Settlement Agreement entered into with Deloitte in April 2016
         gave the Claimants unusual control over Mr Knights as a potential witness:
         clause 6 gave them the right (inter alia) to require Mr Knights to prepare for
         and attend interviews, sign statements and attend voluntarily as a witness at this
         trial. It follows that the Claimants had the ability to procure his attendance. The
         only explanation offered for not calling him is that he was involved in
         disciplinary proceedings brought by the FRC. But the Defendants submitted that
         that was not a good explanation, and pointed out also that the defence served on
         his behalf (and that of Deloitte) in those proceedings supported aspects of Dr
         Lynch's (and Mr Hussain’s) position. I have had to bear that in mind also,
         though I do not consider any general inference such as the Defendants submitted
         should be made that their evidence would have supported their case is
         warranted. It depends obviously on the facts and circumstances out of which
         each issue arises.

428.     There were gaps on the Defendants’ side in addition to those already noted. Mr
         Zanchini, who also works for Darktrace, provided a witness statement, but this
         was withdrawn when the Defendants decided not to call him. Dr Menell, a
         central character who was copied into many of the critical emails, provided no
         evidence at all. With regard to Dr Menell, Dr Lynch said in cross-examination
         “I guess you would call it a medical issue”. I invited Mr Rabinowitz to explore
         this; but he declined on the basis that he did not wish to embarrass Dr Menell.
         I have drawn no inferences; but again, his evidence could have assisted me, and




6 times. By the time of this trial, he had also given evidence at length to the Grand Jury and in the US
criminal proceedings. Mr Baiocco had his own lawyers, paid for by HP. Other witnesses had fewer but
more than one meeting each with US prosecutors.


                                                Page 142
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 144 of 900
Approved Judgment                                                              HC-2015-001324
Mr Justice Hildyard


         again I have in consequence had to make determinations (including as to their
         conduct) without their assistance.

429.     Mr Zanchini’s role was more limited. However, as will be seen, he was one of
         the individuals said by the Defendants to have spent all his technical time in Q1,
         Q2 and Q3 2009 on the development of a product called “SPE”. The issue
         became one of some importance. As no documents had been identified to
         suggest that Mr Zanchini had spent any of his time in the first three quarters of
         2009 doing any such work on SPE, the Claimants invited the inference that at
         least one of Dr Lynch's reasons for declining to call him was that Mr Zanchini
         could not have given truthful evidence in support of Dr Lynch's case on the
         matter. I take that into account also when considering the issue later, as I do in
         respect of his direct involvement in one of the impugned VAR transactions (the
         “Vatican Library” transaction, “VT13”) where I have also had to make
         determinations (in the event, contrary to the Defendants) without the benefit of
         his evidence.

430.     Lastly in this resume of problems with the witness evidence, there is always
         significant danger in rehearsed evidence, especially when expanded over time.
         Memory is never complete, and often it is an amalgam of real memory and the
         received, with confirmation bias accentuating those parts of it which have
         become important support for a given point of view. Further, the events in
         question took place nearly a decade before this trial. I have had to be careful
         throughout in my approach to the witness evidence, and the documents, as usual,
         provided a clearer and less tainted guide. Even in that context, however, a
         number of documents were labelled by the Claimants as “pre-textual”. I have
         sought to indicate those in the course of this judgment.

431.     I turn next to various legal issues which arise in respect of the various claims.




                                           Page 143
     Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 145 of 900
Approved Judgment                                                                       HC-2015-001324
Mr Justice Hildyard




LEGAL ISSUES AND TESTS OF LIABILITY UNDER FSMA

(a) Overview and background to the provisions of FSMA

432.     Autonomy’s liability to Bidco is said to arise under s. 90A FSMA (“s. 90A”),
         and its successor Schedule 10A FSMA (“Sch 10A”). S. 90A, introduced into
         FSMA by the Companies Act 2006, was in force from 8 November 2006 to 30
         September 2010. Sch 10A came into force on 1 October 2010, but s. 90A
         continues to apply to information first published before that date.64

433.     S. 90A and Sch 10A share the same broad scheme. They impose liability on the
         issuers of securities for misleading statements or omissions in certain
         publications, but only in circumstances where a person discharging managerial
         responsibilities at the issuer (a “PDMR”) knew that or was reckless as to
         whether the statement was untrue or misleading, or knew the omission to be a
         dishonest concealment of a material fact. The issuer is liable to pay
         compensation to anyone who has acquired 65 securities in reliance on the
         information contained in the publication, for any losses suffered as a result of
         the untrue or misleading statement or omission, but only where the reliance was
         reasonable.

434.     In the present case, the alleged liability of Autonomy under s. 90A/Sch 10A is
         used as a stepping-stone to a claim against Dr Lynch and Mr Hussain: it is
         something of a ‘dog leg claim’ in which, having accepted full liability to Bidco,
         Autonomy now seeks to recover in turn from the Defendants. There is no
         conceptual impediment to this. However, it is right to bear in mind that in
         interpreting the provisions and conditions of liability, the relevant question is
         whether the issuer itself should be liable, bearing in mind that in the usual
         course, the issuer’s liability will fall on the general body of its shareholders,
         rather than on the director or other individual primarily responsible for any
         misstatement.

435.     FSMA was the first UK statute to provide a statutory scheme of liability to
         investors for misstatements made to the market by issuers, other than through
         prospectuses; and this case is believed to be the first s. 90A or Sch 10A case to
         come to trial in these Courts.

436.     This statutory scheme for issuer liability for misstatements or deliberate
         omissions in published information has been some time in the making. English
         law had historically not provided a remedy for investors acquiring shares on the
         basis of inaccuracies in a company’s financial statements. Until the introduction
         of s. 90A in 2006, there was no statutory regime imposing civil liability for




64
   Financial Services and Markets Act 2000 (Liability of Issuers) Regulations 2010/1192, regulation 3
(Transitional provision).
65
   Or, under Sch 10A, acquired, continued to hold or sold.


                                               Page 144
     Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 146 of 900
Approved Judgment                                                                           HC-2015-001324
Mr Justice Hildyard


         inaccurate statements in information disclosed by issuers to the market. This
         stands in contrast to the long-established statutory scheme of liability for




         misstatements contained in prospectuses, first set out in the Directors Liability
         Act 1890, and now contained in the widely drawn provisions of s. 90 FSMA.66

437.     The rationale for the different treatment of liability for misstatements in
         prospectuses and those in other disclosures – with a tougher regime for
         prospectuses – is easy to understand. “[T]he prospectus is a ‘selling document’,
         produced by the issuer to promote its securities to investors, whereas periodic
         and ad hoc reports are expressions of routine reporting requirements which do
         not typically coincide with a selling effort on the part of the company”.67 An
         untrue statement in a prospectus can lead to payments being made to the
         company on a false basis, but the same cannot be said of an untrue statement
         contained in, say, an annual report.

438.     Nor did the common law provide an easy route to recovery for an investor who
         had acquired shares in reliance on a misstatement in a company’s periodic or ad
         hoc disclosures:

              (1) Claims in deceit did not readily give rise to liability for such
                  misstatements, because of the requirement in Derry v Peek (1889) 14
                  App Cas 337 that the maker of the statement should have intended that
                  the recipient of the statement rely on it: as noted in the Davies Review68,
                  although that requirement might easily be satisfied in the case of a
                  prospectus, which is a selling document, it is difficult to satisfy in the
                  case of an annual or quarterly report, which is primarily a report to
                  shareholders on the directors’ stewardship and not obviously intended
                  to induce reliance by securities trading.

              (2) Claims in negligence were in general precluded by the House of Lords’
                  decision in Caparo v Dickman [1990] 2 AC 605 that liability for
                  economic loss due to negligent misstatement was confined to cases
                  where the statement or advice had been given to a known recipient for a
                  specific purpose of which the maker was aware. Since statutory
                  accounts are prepared for the purposes of assisting shareholders to
                  exercise their governance rights, rather than enabling them to take
                  investment decisions, an investor who acquired shares in reliance on a
                  company’s published accounts would not normally have a cause of
                  action.


66
   For an overview of the liability of issuers prior to the enactment of s. 90A, see Professor Paul Davies
QC, Davies Review of Issuer Liability: Discussion Paper (HMSO, March 2007) (“the Davies
Review”).
67
   Davies Review of Issuer Liability: Discussion Paper.
68
   See Davies Review of Issuer Liability - Discussion Paper para 44.


                                                 Page 145
     Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 147 of 900
Approved Judgment                                                                   HC-2015-001324
Mr Justice Hildyard


              (3) Furthermore, the ‘safe harbour’ provisions of s. 463 Companies Act
                  2006 entirely preclude liability to third parties in respect of ‘narrative’
                  reports, subject only to s.90A/Sch 10A FSMA.

439.     Accordingly, until the enactment of s. 90A, there was no scope for a claim of
         the present type. The explanatory note to the legislation by which s. 90A was
         introduced in 2006 stated that as at that time, no issuer had been found liable in


         damages under English law in respect of statements made in narrative reports
         or financial statements.69

440.     The ultimate catalyst for the introduction of a scheme of liability was the
         Transparency Directive (“TD”) 70 in 2004. This required Member States to
         apply their national liability regimes to the disclosures required by that Directive
         and to apply them to “at least…the issuer or its administrative…bodies.” The
         TD’s insistence on enhanced disclosure obligations and the requirement for a
         responsibility statement gave rise to concerns that the English law’s restrictive
         approach to issuer liability would be disturbed, and that issuers (and directors
         and auditors) might be made liable for merely negligent errors contained in
         narrative reports or financial statements.71

441.     In light of these concerns, and in recognition of the historical tendency against
         liability, the regime for issuer liability was introduced in this jurisdiction
         piecemeal, starting with a stop-gap solution introduced into FSMA by the
         Companies Act 2006 in the original form of s.90A. This approach allowed for
         further enquiry and consideration whether any more extensive regime was
         appropriate.

442.     Any such scheme inevitably involves a balance, especially between the
         desirability of encouraging proper disclosure and affording recourse to a
         defrauded investor in its absence, and the need to protect existing and longer
         term investors who, subject to any claim against relevant directors (who may
         not be good for the money), may indirectly bear the brunt of any award. The
         explanatory note referred to the uncertainty which the TD had created, and
         stated that the government was “anxious not to extend unnecessarily the scope
         of any duties which might be owed to investors or wider classes of third parties,
         in order to protect the interests of company members, employees and
         creditors”.72 In the debates on the introduction of this provision, a government
         minister referred to “the Government’s desire to avoid radical change to the
         law in this area, to respect the preferences of stakeholders and, especially, to
         ensure that company resources are not inappropriately diverted from


69
   Explanatory note to Companies Act 2006, s. 1270, paragraph 1637.
70
   Council Directive 2004/1209/EC.
71
   Davies Review of Issuer Liability: Discussion Paper (above).
72
   Explanatory note to the Companies Act 2006, paragraphs 1637 and 1643.
76
   Margaret Hodge MP, Hansard, HC, Standing Committee D, Col, 482 (6 July 2006):
https://publications.parliament.uk/pa/cm200506/cmstand/d/st060706/am/60706s02.htm


                                            Page 146
     Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 148 of 900
Approved Judgment                                                                       HC-2015-001324
Mr Justice Hildyard


         shareholders, employees and creditors to the benefit of a much wider group of
         actual and potential investors”.76

443.     Amongst the matters for particular consideration were (a) whether negligence
         or (as in the USA) gross negligence should suffice or whether liability should
         continue to depend on proof of fraud; (b) what should count as published
         information; and (c) who apart from the issuer should be prospectively liable.

444.     After the Davies Review, and a process of consultation and subsequent Final
         Report by Professor Davies (“the Final Report”), the original s. 90A provisions
         were extended (a) to issuers with securities admitted to trading on a greater
         variety of trading facilities (b) to relevant information disclosed by an issuer
         through a UK recognised information service (c) to permit sellers, as well as

         buyers, of securities to recover losses incurred through reliance on fraudulent
         misstatements or omissions and (d) to permit recovery for losses resulting from
         dishonest delay in disclosure. However, Professor Davies recommended that
         liability should continue to be based on fraud, and his recommendation was
         accepted. Further, no change was suggested or made to the limitation to PDMRs
         of the persons other than the issuer who could be made liable, and no specific
         provisions to determine the basis for the assessment of damages was introduced.

445.     As emphasised by the Defendants, this history is not merely of antiquarian
         interest. It is relevant when considering the scope of the section, and in particular
         the matters left open by the draftsman such as the nature of the reliance that
         must be shown, and the measure of damages. I accept the Defendants’ general
         admonition that the Court should not interpret and apply the section in a way
         which exposes public companies and their shareholders to unreasonably wide
         liability.


(b)      Conditions for liability under s.90A and Sch 10A FSMA

446.     S. 90A(3), in the form that applied until 30 September 2010, read as follows, so
         far as material:

                      “(3) The issuer of securities to which this section applies is liable
                      to pay compensation to a person who has– (a) acquired such
                      securities issued by it, and
                              (b) suffered loss in respect of them as a result of–
                                      (i) any untrue or misleading statement in a publication
                                      to which this section applies73, or



73
  That is, any reports and statements published in response to a requirement imposed by a provision
implementing Article 4, 5 or 6 of the Transparency Directive, and any preliminary announcement of
information to be included in such a report or statement: s. 90A(1).


                                                 Page 147
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 149 of 900
Approved Judgment                                                                   HC-2015-001324
Mr Justice Hildyard


                                     (ii) the omission from any such publication of any
                                     matter required to be included in it.
                      (4) The issuer is so liable only if a person discharging
                      managerial responsibilities within the issuer in relation to the
                      publication–
                             (a) knew the statement to be untrue or misleading or was
                                 reckless as to whether it was untrue or misleading, or
                             (b) knew the omission to be a dishonest concealment of a
                                 material fact.
                      (5) A loss is not regarded as suffered as a result of the
                      statement or omission in the publication unless the person
                      suffering it acquired the relevant securities–



                             (a) in reliance on the information in the publication, and

                             (b) at a time when, and in circumstances in which, it was
                                 reasonable for him to rely on that information. …”


447.     The equivalent provision of Sch 10A is paragraph 3:

                      “(1) An issuer of securities to which this Schedule applies is liable to
                      pay compensation to a person who—
                             (a) acquires, continues to hold or disposes of the securities
                                 in reliance on published information to which this
                                 Schedule applies, and
                             (b) suffers loss in respect of the securities as a result of—
                                  (i)     any untrue or misleading statement in that
                                  published information, or
                                  (ii)   the omission from that published information of
                                  any matter required to be included in it.
                      (2) The issuer is liable in respect of an untrue or misleading
                      statement only if a person discharging managerial
                      responsibilities within the issuer knew the statement to be untrue
                      or misleading or was reckless as to whether it was untrue or
                      misleading.
                      (3) The issuer is liable in respect of the omission of any matter
                      required to be included in published information only if a person
                      discharging managerial responsibilities within the issuer knew
                      the omission to be a dishonest concealment of a material fact.




                                                Page 148
     Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 150 of 900
Approved Judgment                                                                      HC-2015-001324
Mr Justice Hildyard


                      (4) A loss is not regarded as suffered as a result of the
                      statement or omission unless the person suffering it acquired,
                      continued to hold or disposed of the relevant securities—
                             (a) in reliance on the information in question, and

                             (b) at a time when, and in circumstances in which, it was
                                 reasonable for him to rely on it.”


448.     It is to be noted that the provisions make clear that there is both an objective test
         (the relevant information must be demonstrated to be “untrue or misleading” or
         the omissions a matter “required to be included”) and a subjective test (a PDMR
         must know that the statement was untrue or misleading, or know such omission
         to be a “dishonest concealment of a material fact”, which I refer to here as
         “guilty knowledge”). To establish guilty knowledge, it must be proven that (i)
         the relevant information was objectively false, (ii) the defendant knew that, in
         the sense it was likely to be understood, it was false and that (iii) the claimant
         himself understood it in its false sense and relied on that false sense in making
         his investment decision. Also, whether a claimant’s reliance was “reasonable”
         is to be tested at the time of the investment decision according to the
         circumstances applicable to him. I elaborate on these ingredients below.

(c) Published information

449.     Whether under s. 90A of FSMA or under its successor, Schedule 10A of FSMA,
         liability can only be established against an issuer by a claimant proving reliance
         on (a) “untrue or misleading statements” in a “publication” (the expression
         used in s. 90A) or “published information” (the expression used in Schedule
         10A) to which the provisions apply and which a PDMR within the issuer knew
         to be “untrue or misleading” (or was “reckless” in that regard), or (b) the
         omission of a matter required to be included in that publication or published
         information in circumstances where a PDMR knew the omission to be a
         “dishonest concealment of a material fact”.

450.     As regards the information to which the provisions apply, it is common ground
         that Autonomy’s Annual and Quarterly Reports for the Relevant Period (that is,
         the Quarterly Reports for Q1 2009 to Q2 2011 and the Annual Reports for FY
         2009 and FY 2010) were publications to which s. 90A applied or, in the case of
         those published after 1 October 2010, published information to which Sch 10A
         applied. It is also common ground that the earnings calls and transcripts of
         earnings calls from before 1 October 2010 were not covered by s. 90A.74

451.     There is a dispute over whether earnings calls or transcripts of earnings calls for
         quarters after that date (Q3 2010 onwards) constituted published information for



74
  The relevant paragraph in the RRAPoC is confined to earnings calls in respect of Quarterly Reports
published after 1 October 2010.


                                               Page 149
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 151 of 900
Approved Judgment                                                                 HC-2015-001324
Mr Justice Hildyard


         the purposes of Sch 10A. The Claimants said they did; the Defendants said they
         did not.

452.     It is important first to clarify that:

              (1) there was no evidence that anyone at HP ever listened to any of the
                  earnings calls; and

              (2) the transcripts were not themselves published by recognised means.

         So the only live question is whether the availability of the transcripts was
         announced by Autonomy by recognised means within the meaning of paragraph
         2(1)(b) of Sch 10A FSMA.

453.     Paragraph 2(1) of Sch 10A of FSMA states:

                       (1) This Schedule applies to information published by the issuer of
                      securities to which this Schedule applies:

                          (a) by recognised means, or




                          (b) by other means where the availability of the information has
                              been announced by the issuer by recognised means.”


454.     The Claimants submitted that the effect of paragraph 2(1)(b) was that the
         transcripts (and thus the information recorded as having been broadcast on those
         calls) after 1 October 2010 constituted published information because their
         availability was announced by Autonomy (the issuer) by recognised means.
         They relied on the following:

              (1) It is common ground that Autonomy’s Quarterly Reports were published
                  by recognised means (which include a “recognised information service”
                  such as the RNS service); and these provided details of the time, date
                  and website for the forthcoming earnings call;

              (2) This constituted an announcement by recognised means of the
                  information that would end up being broadcast on that call; and

              (3) Accordingly, that information is subject to Sch 10A regardless of the
                  fact that the transcripts of the earnings calls themselves were not
                  published by recognised means.

455.     The Defendants submitted that the Claimants are wrong:

              (1) Paragraph 2(1)(b) is intended to address the situation where, rather than
                  transmitting a document directly by recognised means, the document is
                  announced by recognised means but made available by other means, for


                                               Page 150
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 152 of 900
Approved Judgment                                                                 HC-2015-001324
Mr Justice Hildyard


                      instance where a company publishes its annual report on its website and
                      puts out an announcement through a regulatory news service that it is so
                      available.

              (2) That is to be distinguished from the case where (as in this case) the
                  document in question is never itself published: and simply because a
                  website address or telephone number is referenced by recognised means
                  does not render all information on that website or given in the call
                  “published information”.

              (3) Thus, the provision of details needed to join the earnings call did not
                  make the information communicated on the call itself published
                  information.

              (4) Further, even if the above is wrong, the transcripts themselves do not
                  amount to published information: it was not said that Autonomy
                  announced the availability of the transcripts by recognised means, and
                  it did not. If HP relied on a transcript of a call to which it did not dial in
                  at the time, it would not be relying on published information.

              (5) In any event, there is no evidence that anyone at HP ever read any of the
                  transcripts other than those for Q1 and Q2 2011: the Claimants cannot
                  have relied on documents they never read, nor on calls they never heard.
                  456. In my view, the question as to whether paragraph 2(1)(b) applied
                  depends upon whether the provision by recognised means of details
                  needed to join an earnings call should be taken to include the
                  announcement by recognised means of the availability of any transcript
                  made of the call even though the latter is not specifically announced.

457.     In my judgment, the answer is that it does not. The announcement by recognised
         means made no mention of any transcript. All that was announced by recognised
         means was the information necessary to enable participation in the call itself. A
         transcript might be introduced as evidence of what had been said at an earnings
         call, but only to support a participant’s primary evidence of what he or she had
         heard. Further, there may be various transcripts, sometimes in different form
         (as indeed there were in respect of at least one of the earnings calls in this case)
         sometimes produced by Bloomberg and/or Thomson Reuters and thus someone
         other than the issuer: it cannot have been intended that all versions should be
         treated as information published by the issuer, and there is no basis in the
         language for restricting the published information to a version approved by the
         issuer, nor in fact any evidence that Autonomy ever itself issued/published an
         approved version.

458.     I also accept the view expressed in Dr Lynch’s written closing submissions that,
         on the facts of this case, the point itself is largely academic since the Claimants
         cannot have relied on documents they never read or calls they never heard, and
         (as previously noted) there is no evidence that anyone from HP listened to any
         of the earnings calls, or read any of the transcripts other than the transcripts for
         Q1 and Q2 2011 which Mr Sarin said he had read. I develop this point at greater
         length later.


                                               Page 151
     Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 153 of 900
Approved Judgment                                                                         HC-2015-001324
Mr Justice Hildyard


459.       However, my conclusion that the transcripts do not constitute published
           information for the purposes of FSMA does not mean that they are inadmissible
           and/or irrelevant. For example, they may be relevant in the context of the OEM
           claim (see in this regard paragraphs 3162 and 3163 below); and also more to the
           question of what analysts and the investment community knew, or were told,
           though of course individual conversations should not be taken to import
           knowledge across a broader constituency.

(d) Untrue or misleading statement or omission

460.       Unless a statement in published information (or a “relevant publication”)
           contains a “false or misleading statement” or omits any “matter required to be
           included in it”, there can be no question of liability under s. 90A or Sch 10A of
           FSMA. At this first stage, the question is as to the objective meaning of the
           impugned statement, that is the meaning which would be ascribed to it by the
           intended readership, having regard to the circumstances at that time.

461.       As to the objective meaning of a statement, Christopher Clarke J (as he then
           was) provided the following further guidance as to what is required to be
           shown75 in Raiffeisen Zentralbank Osterreich AG v The Royal Bank of Scotland
           Plc [2010] EWHC 1392 (Comm) at [81] to [82] and [86] to [87]76:

                      81. Whether any and if so what representation was made has to be
                      judged objectively according to the impact that whatever is said may
                      be expected to have on a reasonable representee in the position and
                      with the known characteristics of the actual representee”. MCI
                      WorldCom International Inc v Primus Telecommunications plc [2004]
                      EWCA Civ 957, per Mance LJ, para 30. The reference to the
                      characteristics of the representee is important…

                      82. In the case of an express statement, the court has to consider what
                      a reasonable person would have understood from the words used in
                      the context in which they were used”: IFE Fund SA v Goldman Sachs
                      International [2007] 1 Lloyd's Rep 264, per Toulson J at [50] (upheld
                      by the Court of Appeal at [2007] 2 Lloyd's Rep 449). The answer to
                      that question may depend on the nature and content of the statement,
                      the context in which it was made, the characteristics of the maker and
                      of the person to whom it was made, and the relationship between
                      them.

75
     Albeit in the context of the Misrepresentation Act 1967, rather than FSMA.
76
  See also Barley v Muir [2018] EWHC 619 (QB) at [177] per Soole J, contrasted with implied
misrepresentation at [178]. See also Primus Telecommunications Plc v MCI WorldCom International
Inc [2004] EWCA Civ 957 per Mance LJ at [30] (a case of implied misrepresentation but not in terms
confined to that, Mance LJ also left the door open to a different approach in fraud). See also Kyle Bay
Ltd v Underwriters Subscribing under Policy No. 01957/08/01 [2007] 1 CLC 164, at [30]-[33], per
Neuberger LJ.




                                                  Page 152
     Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 154 of 900
Approved Judgment                                                                         HC-2015-001324
Mr Justice Hildyard


                      …
                      86. It is also necessary for the statement relied on to have the
                      character of a statement upon which the representee was intended, and
                      was entitled, to rely. In some cases the statement in question may have
                      been accompanied by other statements by way of qualification or
                      explanation which would indicate to a reasonable person that the
                      putative representor was not assuming a responsibility for the
                      accuracy or completeness of the statement or was saying that no
                      reliance can be placed upon it. Thus the representor may qualify what
                      might otherwise have been an outright statement of fact by saying that
                      it is only a statement of belief, that it may not be accurate, that he has
                      not verified its accuracy or completeness, or that it is not to be relied
                      on.

                      87. Lastly the claimant must show that he in fact understood the
                      statement in the sense (so far as material) which the court ascribed to
                      it: Arkwright v Newbold (1881) 17 Ch D 301; Smith v Chadwick
                      (1884) 9 App Cas 187; and that, having that understanding, he relied
                      on it. This may be of particular importance in the case of implied
                      statements.”




462.     Establishing, for these purposes, what was the context of the statement when
         made, and the characteristics of the representee, is not always straightforward,
         even in the context of a negotiation between parties in direct communication. In
         this case, at least as regards the FSMA claim, the difficulty is the greater because
         statements were addressed in publications issued generally over a period of time
         to diverse addressees, and in parallel and at various different times further
         information and/or explanations were given to various persons within the
         market (but not issued generally to the market), which might or might not have
         informed the view and understanding of the market as a whole.

463.     Further, the content of the published information covered by s. 90A and Sch
         10A will often 77 be governed by accounting standards, by the companies
         legislation and especially the Companies Act 2006, and by the Disclosure and
         Transparency Rules. Compliance with those standards, provisions and rules will
         frequently involve the exercise of accounting judgement on points where there
         may be a range of permissible views. A statement is not to be regarded as false
         or misleading where it can be justified by reference to that range of views.

464.     Where the meaning of a given statement is unambiguous, and the only question
         is whether the defendants nevertheless believed it conveyed a different meaning,
         the genuineness of the defendant’s belief in a different meaning may be usefully
         tested according to the obviousness or extravagance of its departure from the

77
  Invariably for a claim under s. 90A (which, broadly speaking, applies only to information in
quarterly, interim or annual reports); but not invariably for a claim under Sch. 10A, given the broader
range of “published information” that such a claim may cover.


                                                 Page 153
     Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 155 of 900
Approved Judgment                                                                    HC-2015-001324
Mr Justice Hildyard


         settled objective meaning, though even then mere implausibility is not capable
         of amounting to fraud and the test is always as to the genuineness of the
         defendant’s state of mind. As Males J (as he then was) noted in Leni Gas & Oil
         Investments v Malta Oil Pty Ltd [2014] EWHC 893 (Comm):

                      “In practice, however, the objective meaning of the statement is not
                      irrelevant. As the Privy Council went on to say [in Akerhielm]:

                      “This general proposition is no doubt subject to limitations. For
                      instance, the meaning placed by the defendant on the representation
                      may be so far removed from the sense in which it would be understood
                      by any reasonable person as to make it impossible to hold that the
                      defendant honestly understood the representation to bear the meaning
                      claimed by him and honestly believed it in that sense to be true.””


465.     Sometimes, two or more possible interpretations appear legitimate: that is a case
         of genuine ambiguity. In such a case, it is not the function of the court to
         determine which is the more likely meaning, as it would be in a case concerning
         contractual interpretation. Where the implicated statement is genuinely
         ambiguous an election between two (or more) reasonable available meanings
         may well be unnecessary and even unwise. The claim may fail at the first hurdle,
         unless it is shown that the ambiguity was artful or contrived by the defendant,




         in which case that will be evidence (it may well be determinative evidence) of
         dishonesty at the second subjective stage.

466.     Further, the claimant must prove also that he understood the statement in the
         sense ascribed to it by the court: as Cotton LJ explained in Arkwright v Newbold
         (1881) 17 Ch D 301:

                      “In my opinion it would not be right in an action of deceit to give a
                      plaintiff relief on the ground that a particular statement, according to
                      the construction put on it by the Court, is false, when the plaintiff does
                      not venture to swear that he understood the statement in the same
                      sense which the Court puts on it. If he did not, then, even if the
                      construction may have been falsified by the facts, he was not
                      deceived.”

(e) Guilty knowledge

467.     The basis for the issuer’s liability for a misstatement in published information
         being fraud on the part of at least one PDMR,78 the ascertainment of objective



 Sch 10A §3(2) and 3(3). S. 90A contained a similar concept: see s. 90A(4) (“person discharging
78

managerial responsibilities within the issuer in relation to a publication”).


                                                Page 154
     Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 156 of 900
Approved Judgment                                                                         HC-2015-001324
Mr Justice Hildyard


         meaning, even if the statement is unambiguous, is only the beginning of the
         enquiry. As the Privy Council held in Akerhielm v de Mare [1959] AC 789:

                      “The question is not whether the defendants in any given case honestly
                      believed the representation to be true in the sense assigned to it by the
                      court on an objective consideration of its truth or falsity, but whether
                      he honestly believed the representation to be true in the sense in which
                      he understood it albeit erroneously when it was made.”


468.     As in the common law of deceit, it must be proven that a PDMR (as it is accepted
         each Defendant was) “knew the statement to be untrue or misleading or was
         reckless as to whether it was untrue or misleading”; or alternatively, that he
         knew that the omission of matters required to be included was the dishonest
         concealment of a material fact. For both s. 90A and Sch 10A, the language used
         shows that there is a requirement for actual knowledge.

469.     Derry v Peek also sheds light on what it means to know a statement to be true
         or misleading. In the case of a statement, it is not sufficient that a person knows
         the facts which render a statement untrue: he will only be liable if those facts
         were present to his mind at the moment when the statement is made, such that
         he appreciates that the statement is untrue. 79 In the case of an omission, the
         PDMR must have applied his mind to the omission at the time the information
         was published, and appreciated that a material fact was being concealed (i.e.
         that it was required to be included, but was being deliberately left out).
         Otherwise, it could not be said that he “knew the omission to be a dishonest
         concealment of a material fact”. In the context of this case, the Defendants
         submitted that means that the Claimants would need to prove in respect of any

         alleged omission that Dr Lynch knew there was a requirement to include the
         relevant fact.80 Unless he knew there was such a requirement, there can be no
         liability for dishonest concealment.

470.     Liability also extends to recklessness: but it is common ground that recklessness
         bears the meaning laid down in Derry v Peek (1889) 14 App. Cas. 337, that is,
         not caring about the truth of the statement, such as to lack an honest belief in its
         truth. Honest belief in the truth of a statement defeats a claim of recklessness,
         no matter how unreasonable the belief (though of course the more unreasonable
         the belief asserted the less likely the finder of fact is to accept that it was
         genuinely held).81

471.     For the purposes of paragraph 3(3) and deliberate concealment by omission, but
         not, it would seem, paragraph 3(2) and overt misrepresentation, dishonesty has
         a special definition under Sch 10A, (though s. 90A contained no such special

79
   See the discussion of Derry v Peek and Armstrong v Strain at paragraphs 549 and 550 below, in the
context of the claim in deceit.
80
   On that basis it would not be enough that Deloitte considered further disclosure might be preferable
on a particular point.
81
   And see paragraph 472 below and the decision in Ivey.


                                                Page 155
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 157 of 900
Approved Judgment                                                                     HC-2015-001324
Mr Justice Hildyard


         definition). Paragraph 6 provides that for the purposes of paragraphs 3(3) and
         5(2) (re dishonest delay in publishing information) a person’s conduct is
         regarded as dishonest only if:

                      “(a) it is regarded as dishonest by persons who regularly trade on the
                      securities market in question, and
                      (b) the person was aware (or must be taken to have been aware) that
                      it was so regarded.”


472.     As is apparent from the Government’s July 2008 consultation paper on what
         would become Sch 10A, this was intended to be a statutory codification of the
         common law test for dishonesty laid down in R v Ghosh [1982] 1 QB 1053. As
         the Claimants noted, however, the Defendants have never relied on an argument
         based on the difference between that test and the revised and now applicable test
         in Ivey v Genting Casinos (UK) Ltd [2018] AC 391 which no longer requires
         that it be established that the defendant appreciated that his conduct was
         dishonest by the standards of ordinary decent people. As explained in Ivey (at
         [74]):

                      “When dishonesty is in question the fact-finding tribunal must first
                      ascertain (subjectively) the actual state of the individual’s knowledge or
                      belief as to the facts. The reasonableness or otherwise of his belief is a
                      matter of evidence (often in practice determinative) going to whether he
                      held the belief, but it is not an additional requirement that his belief must
                      be reasonable; the question is whether it is genuinely held. When once
                      his actual state of mind as to knowledge or belief as to facts is
                      established, the question whether his conduct was honest or dishonest is
                      to be determined by the fact-finder by applying the (objective) standards
                      of ordinary decent people. There is no requirement that the



                      defendant must appreciate that what he has done is, by those standards,
                      dishonest.”

473.     Cogent evidence is required to justify a finding of fraud or discreditable conduct,
         and the courts recognise that it is generally unlikely that people engage in such
         conduct. Where a claimant seeks to prove a case of dishonesty, its inherent
         improbability means that, even on the civil burden of proof, the evidence must
         be strong enough to overcome the general presumption that innocent
         incompetence is more frequent and more likely than dishonest design and fraud.
         The more serious the allegation the more cogent the evidence required to
         overcome the unlikelihood of what is alleged and thus to prove it. The more
         serious the consequences for the individual involved, the less likely he would
         be to run the risk of those consequences. See In re D [2008] UKHL 33, at §§23-
         28 (Lord Carswell) and §§40-42 (Lord Brown); and Fiona Trust & Holding
         Corp v Privalov [2010] EWHC 3199 (Comm) at §§1438-1439 (Andrew Smith


                                                 Page 156
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 158 of 900
Approved Judgment                                                                  HC-2015-001324
Mr Justice Hildyard


         J). See also Jafari-Fini v Skillglass Ltd [2007] EWCA Civ 261, where Carnwath
         LJ said this (at §40):

                      “Thus in civil proceedings, the “presumption of innocence” is
                      not so much a legal rule, as a common sense guide to the
                      assessment of evidence. It is relevant not only where the cause
                      of action requires proof of dishonesty, but, wherever the court is
                      faced with a choice between two rival explanations of any
                      particular incident, one innocent and the other not. Unless it is
                      dealing with known fraudsters, the court should start from a
                      strong presumption that the innocent explanation is more likely
                      to be correct.”


474.     For both allegedly misleading statements and omissions, it is relevant to
         consider any advice given to the company and its directors from professionals.
         The relevance of that advice to a determination of dishonesty is likely to depend
         on (a) whether the issue to which the statement or omission related was one
         which fell within the professional expertise and remit of the person providing
         the advice; (b) whether and to what extent the form or content of the relevant
         statement was necessarily based on the advice given; and (c) whether by
         contrast, the person providing the advice would not be in a position to assess
         how the readership would construe what was said and/or what its true likely
         import and impact would be.

475.     Thus, where a director understands, on the basis of guidance from the
         company’s auditors on an issue as to the intended scope of an accountancy
         statement, that such accountancy statement and practice do not require the
         disclosure of a particular fact in the company’s published information, the
         omission of that fact on the basis of that advice is unlikely to amount to a
         dishonest concealment of a material fact. Even if the Court takes the view that
         disclosure of the fact was required, the requirement for dishonesty is unlikely to
         be satisfied where the director was acting in accordance with the advice of
         reputable professionals in such a context. Similarly, if a PDMR has been
         advised by auditors that a particular statement included in the accounts was a

         fair description of some aspect of the company’s business required to be
         disclosed under the acts or accountancy standards or statements of practice, it
         may be unlikely that he knew the statement to be untrue or misleading, or that
         he was reckless as to its truth, unless the auditors did not have the full picture
         or were misled.

476.     Particular care is necessary in this context in the present case. In respect of every
         one of the allegations made against him, Dr Lynch (in particular) relied on the
         fact that Deloitte, who it was largely common ground had detailed knowledge
         of Autonomy’s business and the specific transactions giving rise to the claim,
         had approved not only the accounts but also the narrative ‘front-end’ reports and
         presentations of Autonomy’s business activities. He relied on their approval, or
         at least their lack of objection, as the demonstration of the integrity and honesty
         of those reports and presentations. However, there are good reasons, both


                                                Page 157
     Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 159 of 900
Approved Judgment                                                                  HC-2015-001324
Mr Justice Hildyard


           theoretical and practical, why auditors have an attenuated role in respect of such
           reports. As a theoretical matter, the purpose and objective of these ‘front-end’
           reports are to reflect the directors’ view of the business rather than the auditors’,
           and to require directors to provide an accurate account according to their own
           conscience and understanding, neither of which can properly be delegated. As a
           practical matter, directors are likely to be, and should be, in a better position
           than an auditor to assess the likely impact on their shareholders of what is
           reported, and (for example) to assess what shareholders will make of possibly
           ambiguous statements. In short, on matters within the directors’ proper
           province, the view of the company’s auditors cannot be regarded as a litmus test
           nor a ‘safe harbour’: auditors may prompt but they cannot keep the directors’
           conscience.

477.       Another issue which arose is as to the necessary nexus between an allegedly
           false statement, knowledge of its falsity, and the investment decision made by
           the claimant said to have given rise to loss. The Claimants referred in their
           written opening to “the relatively limited scope of the knowledge that must be
           proved in order for a Schedule 10A claim to arise,” arguing that “It is sufficient
           if the Defendants knew enough to appreciate that there was at least one
           statement in the published information that was false.” I do not accept that. I
           agree with the Defendants that it is clear from the language of the Schedule that
           a PDMR must have the relevant guilty knowledge in respect of each false
           statement or omission alleged to give rise to liability. Paragraph 3(2) states that
           “The issuer is liable in respect of an untrue or misleading statement only if a
           person discharging managerial responsibilities within the issuer knew the
           statement to be untrue or misleading or was reckless as to whether it was untrue
           or misleading.” Liability is only engaged in respect of statements known to be
           untrue.82 If a company’s annual report contains ten misstatements, each of them
           relied on by a person acquiring the company, but it can only be shown that a
           PDMR knew about one of those misstatements, the company will only be liable
           in respect of that one, not the other nine.




(f) Reliance

478.       It will already be apparent that reasonable reliance is another necessary
           precondition to liability under s. 90A and Sch 10A. It is expressly provided that
           the reliance must be reasonable at the time of the investment decision and in the
           circumstances as they were then; and that a loss is not to be regarded as suffered
           as a result of the statement or omission unless the person suffering loss acquired
           securities “in reliance on the information in question, and … at a time when,
           and in circumstances in which, it was reasonable for him to rely on it.”83


82
     The same argument applies in relation to omissions: Sch 10A §3(3).
83
     Sch 10A §3(4) and, in similar but not identical terms, S. 90A(5).


                                                 Page 158
     Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 160 of 900
Approved Judgment                                                                       HC-2015-001324
Mr Justice Hildyard


479.     As the Claimants noted in their written closing, Sch 10A does not define the
         requirement of reliance on published information. They submitted that the
         concept of reliance is therefore to be informed by the position at common law.
         The Defendants accepted this, but only insofar as the language of Sch 10A is
         unclear: and they submitted that the language of the section provides an answer
         on several of the points in issue.

480.     The Defendants identified four questions: (i) reliance by whom? (ii) reliance on
         what? (iii) what degree of reliance? and (iv) when is reliance reasonable? I
         address each in turn, and in doing so (within question (i)) I address a particular
         issue which arose as to the position of Bidco (“the Bidco point”) which is
         relevant not only in the context of the FSMA claim but also in the context of the
         Claimants’ other ‘direct’ claims for deceit and/or misrepresentation.

Reliance by whom?

481.     As to the question of “reliance by whom?”, s. 90A and Sch 10A both require
         reliance by the person who acquired the relevant securities, not some other
         person. This is clear from the way the provisions are drafted: see in particular
         s. 90A(5) and Sch 10A §3(1)(a).84 The latter provides a remedy to “a person
         who…acquires, continues to hold or disposes of the securities in reliance on
         published information”.

482.     The Defendants also submitted that this point is consistent with and made clear
         in the cases on misrepresentation and deceit. In order to succeed on a claim in
         misrepresentation or deceit, the claimant must have relied on the
         misrepresentation. This means that it must have been present to the claimant’s
         mind at the time when it took the action on which the claim is founded; or put
         another way, the claimant must give some contemporaneous, conscious thought
         to the representation. It is not enough that somebody else (not the claimant)
         applies his mind to the representation. As to this, the Defendants relied
         especially on:




                          (a) Cartwright, Misrepresentation, Mistake and Non-Disclosure
                              (4th Ed., 2017) at §3-50:

                                    The requirement of a causal link between statement and
                                   loss. Whichever remedy is sought for misrepresentation,
                                   it will be necessary to establish an adequate link between
                                   the statement and the consequence from which the
                                   representee claims to be relieved. If the claim is for

84
  S. 90A(5): “A loss is not regarded as suffered as a result of the statement or omission in the
publication unless the person suffering it acquired the relevant securities– (a) in reliance on the
information in the publication…”; Sch 10A §3(1): “An issuer of securities to which this Schedule
applies is liable to pay compensation to a person who—(a) acquires, continues to hold or disposes of
the securities in reliance on published information to which this Schedule applies…”.


                                               Page 159
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 161 of 900
Approved Judgment                                                            HC-2015-001324
Mr Justice Hildyard


                             damages, the question is whether the statement caused
                             the loss. If the claim is for rescission of a contract, the
                             inquiry is as to the causal link between the statement and
                             the claimant s entry into the contract. The language used
                             in the different remedies, and the legal tests employed for
                             them, will vary, but generally the issue is similar: it is an
                             issue of the claimant s reliance on the statement, and
                             whether the statement caused the harm in issue. A false
                             statement, even one made fraudulently, will not be
                             actionable as a misrepresentation by the person to whom
                             it was addressed if it had no impact on his actions, nor
                             otherwise caused him loss. This means that the statement
                             must have been present to the claimant s mind at the time
                             when he took the action on which he bases his claim, but
                             the claimant need not prove that he believed that the
                             statement was true: it is sufficient that, as a matter of
                             fact, he was influenced by the misrepresentation.”

                      (b) Chitty on Contracts (33rd Ed, 2018) at §7-036:

                              Inducement

                             It is essential if the misrepresentation is to have legal
                             effect that it should have operated on the mind of the
                             representee. It follows that if the misrepresentation did
                             not affect the representee s mind, because he was
                             unaware that it had been made or because he was not
                             influenced by it, he has no remedy.”


                      (c) Marme v Natwest Markets Plc [2019] EWHC 366, at
                          §§281288 (Picken J). This was a case dealing with an alleged
                          implied representation, to which the claimant had not
                          addressed its mind when entering into a contract. At §286,
                          the judge said:

                              In the circumstances, I agree with Mr Howe QC when
                             he submitted that these authorities support the
                             proposition that a claimant in the position of Marme in
                             the present case should have given some
                             contemporaneous conscious thought to the fact that some
                             representations were being impliedly made, even if the
                             precise formulation of those representations may not
                             correspond with what the Court subsequently decides
                             that those representations comprised. If the position
                             were otherwise, then, I agree with Mr Howe QC that the
                             consequence would be that there would be a substantial
                             watering down of the reliance requirement.”


                                        Page 160
     Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 162 of 900
Approved Judgment                                                                            HC-2015-001324
Mr Justice Hildyard


                           (d) Chagos Islanders v Attorney General [2003] EWHC 2222, at
                               §364. In that case, Ouseley J held that a person cannot sue
                               in deceit

                                      in respect of representations which were not made to
                                     them directly or to an agent and in reliance upon which
                                     they did not act, being unaware of them. I regard that as
                                     obvious.”85



483.     This gives rise to a point which only surfaced in its full form in the Defendants’
         written closing submissions: the ‘Bidco point’.

The Bidco Point

484.     The acquirer in the present case was Bidco, not HP. It was only Bidco that
         acquired an “interest in securities” within the meaning of Sch 10A §8(3).90
         Bidco is the only party that claims to be entitled to damages from Autonomy
         under FSMA.86 HP is not a party to these proceedings. Accordingly, in order to
         establish liability under s. 90A / Sch 10A, the Claimants must establish that
         Bidco relied on the published information in deciding whether to acquire the
         share capital of Autonomy. This is common ground: in their written closing the
         Claimants accepted that one of the components of the FSMA claim is that
         “Bidco must have relied on the information in question when deciding to buy
         Autonomy shares, at a time when, and in circumstances in which, it was
         reasonable for Bidco so to rely.”

485.     The Claimants relied on two arguments in respect of the ‘Bidco point’. The first
         was that this was plainly an “ambush”, and that the point (a) should have been
         properly pleaded to alert the Claimants to it, and since it was not, (b) should not


         now be available to the Defendants. The second was that in any event the point
         was a contrived and bad one, since the reality was that HP was the controlling
         mind of Bidco, and Bidco simply did as it was directed by HP. The Defendants,
         and in particular Dr Lynch, did not accept either of the Claimants’ points. I
         address each in turn below.



85
   See also the Court of Appeal’s comments on that conclusion: “The judge may very well be right in
his conclusion that, as a matter of law, no such cause of action exists as a matter of principle. But it is
conceivable that in certain exceptional circumstances, for instance where the defendant, by the very
making of the deceitful statement or for some other reason, had assumed liability to the claimant, a
cause of action could exist.” Chagos Islanders v Attorney General [2004] EWCA Civ 997, at §36.
90
   Sch 10A §8(3): “References in this Schedule to the acquisition or disposal of securities include— (a)
acquisition or disposal of any interest in securities, or (b) contracting to acquire or dispose of
securities or of any interest in securities, except where what is acquired or disposed of (or contracted
to be acquired or disposed of) is a depositary receipt, derivative instrument or other financial
instrument representing securities.”
86
   See RRAPoC §§97-201, under the heading “Liability of Autonomy to Bidco under Sch 10A FSMA”.


                                                  Page 161
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 163 of 900
Approved Judgment                                                                HC-2015-001324
Mr Justice Hildyard


486.     As to the pleading point and the “ambush”, the Claimants had asserted in their
         RRAPoC that:

                      “Bidco acquired the share capital of Autonomy, including the shares
                      held by Lynch and Hussain, in reliance on (i) the information contained
                      in the Annual Reports and the Quarterly Reports (and as repeated and
                      explained during earnings calls) and (ii) the misrepresentations made
                      by Lynch and Hussain directly to HP (and thus to Bidco) as set out
                      below.”

487.     The Defendants had (in each case) denied this. But they had not pleaded any
         positive case that only proof of Bidco’s reliance would suffice, that reliance by
         HP would not constitute reliance by Bidco and that since no separate reliance
         by Bidco was demonstrated the claim must fail. They had asked questions as to
         the identity of those alleged to have relied on the representations but made
         nothing ostensibly of it: they had not explained or relied on the point in their
         opening submissions, and had it now seemed, carefully tucked them away for
         later deployment after the conclusion of evidence, in their written closing
         submissions. The Claimants denounced this, and submitted that the Defendants
         should be precluded from pursuing the Bidco point as insufficiently pleaded.

488.     In answer, Mr Miles took me through the relevant parts of Dr Lynch’s defence
         to show that there was “a flat denial, clear denial of reliance by Bidco”, and
         that Dr Lynch had (a) made clear that the Defendants were unaware of Bidco’s
         existence, and (b) expressly put the Claimants to strict proof and required them
         to provide information as to which individuals had relied on Autonomy’s
         published information and the alleged misrepresentations, and (c) received the
         answer that they were Messrs Apotheker, Robison and Johnson, who had
         advised the HP Board whether to proceed. The Defendants denied having taken
         the Claimants by surprise. They contended that they had thus made clear and
         express their focus on the identity of the individuals who had allegedly relied
         on the information. Put shortly, the Defendants submitted that there was a clear
         issue on the pleadings and that in any event it was ultimately an issue of law.

489.     They added that any deficiency in the pleadings, if relevant, was on the
         Claimants’ side: the Claimants had simply failed to plead or prove how it was
         that a representation made to HP and its bid team could be regarded as one made
         to and relied on by the Claimants (and in particular, Bidco). The answer
         contained in the Claimants’ Reply did not identify anyone within the
         management of Bidco who was said to have relied on the published information.
         Bidco’s directors at the time of the acquisition were Ms Lesjak, Paul Porrini and
         Sergio Letelier. The persons whom the Claimants had identified in answer were
         the bid team within HP itself:

                      “201.1. Mr Apotheker, Mr Robison and Mr Johnson relied on
                      Autonomy’s published information (or on the review by their
                      subordinates or by HP’s advisers of Autonomy’s published
                      information, who also so relied) when making recommendations



                                               Page 162
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 164 of 900
Approved Judgment                                                                 HC-2015-001324
Mr Justice Hildyard


                      to the board of directors of HP as to whether to proceed with the
                      Autonomy Acquisition and at what price.

                      201.2. The board of HP relied on those recommendations (and
                      on the views of HP’s advisers derived from Autonomy’s
                      published information) when determining whether Bidco should
                      proceed with the Autonomy Acquisition and what price it should
                      pay for Autonomy. Further, the board was given certain
                      information taken directly from or derived from Autonomy’s
                      published information, and the board relied on the same.”


490.     There is, to my mind, some substance in the submissions of both sides. The
         Defendants did keep their point, as it were, “under wraps”, pleading at best the
         bare minimum. The Claimants did not plead out, as they should I think have
         pleaded out, their case that although Bidco had its own directors, none of whom
         was a director of HP, nevertheless its investment decision was made by HP’s
         bid team and directors in alleged reliance on the relevant information. But the
         question to be determined is whether these points are such as on grounds of
         pleading deficiencies either (a) to preclude the Defendants pursuing the Bidco
         point or, more drastically, (b) to result in the total failure of the Claimants’ case
         in all its aspects.

491.     Neither is an inviting result; and inevitably perhaps, I have felt a great reluctance
         to countenance that these entire proceedings should be determined by a pleading
         point. I have concluded that:

              (1) The Defendants’ pleadings were sparse but sufficient, and their tactic of
                  keeping the point and its powder dry was forensically unyielding but not
                  impermissible in the context of a hard-fought fraud case with the best of
                  legal representation and so much at stake.

              (2) The Claimants’ pleading was imperfect and technically incomplete, but
                  the reality is that there has been no material prejudice to the Defendants,
                  who were well aware of the point, had every opportunity to and did
                  cross-examine the individuals said in fact to have relied on the relevant
                  information (being the HP bid team and directors, rather than the de jure
                  directors of Bidco, namely, Mr Porrini and Mr Letelier).

              (3) Ultimately, as Mr Miles himself submitted, the issue is really one of law.

492.     As to the issue which substantively arises, the question is whether reliance can
         be demonstrated in the absence of (a) any evidence to show that Bidco itself,
         which was not incorporated until 15 August 2011, almost at the end of the due
         diligence process, six days after KPMG’s draft due diligence report, and a day




                                               Page 163
     Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 165 of 900
Approved Judgment                                                                      HC-2015-001324
Mr Justice Hildyard


         before the HP board meeting at which HP decided to carry out the acquisition87
         relied on, considered, or was even aware of the alleged misstatements contained
         in the published information; and (b) any evidence from any of the directors of
         Bidco, apart from Ms Lesjak, who gave no evidence about what she did or
         thought in her capacity as a director of Bidco, gave no evidence of having relied
         on any of the published information, and as the CFO of HP, was actually
         opposed to the transaction.

493.     The Defendants submitted that the answer was “No”. The Claimants had not
         adduced the required evidence: the statutory provision plainly required, and the
         Claimants had simply not sufficiently provided, proof that Bidco had itself
         considered and acted on the relevant information. Mr Miles also rejected the
         ancillary suggestion by the Claimants that the Defendants were applying an
         excessively restrictive interpretation of the statutory provision not required by
         the wording, and went on to submit:

                      “…they say it would be construing the issuer liability regime under
                      FSMA in an unduly restrictive way so as to exclude a remedy simply
                      because of the quite standard way in which HP decided to structure its
                      investment. And they say our interpretation isn t required by the
                      language of the statute. They seem to be suggesting that our
                      interpretation would thwart the statutory purpose.

                      Now we don t agree with that, about the language of the statute. They
                      have not put forward any real argument as to how the statute allows a
                      separation between the person who relies on the information and the
                      person who suffers the loss, or the separation between the acquirer
                      and the decision-maker, perhaps more precisely…

                      But we also don t agree with the idea that it s thwarting the purpose of
                      the statute. The purpose of the statute is to protect investors who rely
                      on financial statements and decide to purchase shares. This isn t, we
                      would suggest, an ordinary situation. Investors don t normally
                      incorporate SPVs for the purpose of acquiring shares…”


494.     The Defendants’ forthright conclusion was that HP chose to buy Autonomy
         through Bidco for its own commercial reasons: if the benefits of doing so came
         at the cost of depriving HP of a claim under FSMA, that is the consequence of
         HP’s choice, and that reliance by HP cannot be equated to reliance by Bidco.

495.     The answer the Claimants offered was that (quoting from Mr Rabinowitz’ s oral
         closing speech):




87
  As to Bidco’s incorporation, it is pleaded in the RRAPoC that: “Hewlett-Packard Vision BV
(“Bidco”) was incorporated in the Netherlands on 15 August 2011”. For the draft due diligence report,
and HP’s board meeting, see paragraphs 265 and 294 above.


                                               Page 164
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 166 of 900
Approved Judgment                                                                 HC-2015-001324
Mr Justice Hildyard


                      “…Bidco was an acquisition vehicle created to acquire Autonomy on
                      HP s behalf with HP s money. The decision that Bidco would make an
                      offer for Autonomy and on what terms was made by HP s board based


                      on recommendations by HP s management…The board members of
                      Bidco, on whom so much focus is now placed, merely implemented the
                      HP s board decision that Bidco should make the offer as the Board
                      directed them to.”

            Mr Rabinowitz added in his oral reply that:
                       We say that the people who took the decision that Bidco should
                      purchase Autonomy were HP s board on the advice of HP s
                      management and their reliance constitutes Bidco s reliance.”

496.     The Claimants sought to support their arguments:

              (1) By reference to an observation of my own in SL Claimants v Tesco plc
                  [2019] EWHC 2858 (Ch) at [117] that in the context of FSMA:

                             “Unless the wording was without any semantic doubt entirely
                             deficient to apply in such circumstances, ordinary principles of
                             statutory construction require the court to ensure that the
                             statutory purpose is not thwarted.”

              (2) By relying on the decision of the Court of Appeal in Abu Dhabi
                  Investment Co v H Clarkson and Co [2008] EWCA Civ 699 in which it
                  was held that the claimants (ADIC and two of its subsidiary companies,
                  ASH and ASMIC), each of whom had different claims, could
                  successfully claim against the defendants (the Norasia defendants) in
                  respect of dishonest misrepresentations made by the Norasia defendants
                  to ADIC. In paragraph 38 of the judgment, May LJ explained:

                              Certainly by the date of the Memorandum of Agreement…, the
                             Norasia defendants knew quite well that the role of the special
                             purpose vehicle was to be subscribed to the shares with money
                             largely derived from a Paribas bridging loan. The underlying
                             commercial thinking which led ADIC to adopt this structure is
                             unimportant. What mattered was that the Norasia defendants
                             knew that this was to be the structure, and that they plainly
                             intended, by their dishonest misrepresentations, to deceive the
                             controlling minds of the special purpose vehicle to induce them
                             to give effect to the proposed investment by means of the
                             proposed structure. It is not necessary, for ASH and ASMIC to
                             succeed, to conclude that the Norasia defendants intended their
                             representation to be passed on to any person whom ADIC
                             might wish to interest in the investment. It is only necessary to
                             conclude, as I do, that the Norasia defendants, knowing as they
                             did the structure by means of which ADIC intended to, and did


                                               Page 165
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 167 of 900
Approved Judgment                                                               HC-2015-001324
Mr Justice Hildyard


                         in fact, effect the investment, plainly intended that their
                         representations should be passed on to those parts of the
                         structure, that is ASH and ASMIC, which effected the
                         investment. In fact, of course, those who controlled the special
                         purpose vehicle were the same people who controlled ADIC, so
                         that in reality the passing on of the representations is a lawyers
                         construct.””

              Mr Rabinowitz submitted that this was effectively the same as their case
              on reliance, substituting (as it were) HP in place of ADIC and Bidco in
              place of ASH and ASMIC.

497.     I turn to the Claimants’ second point that it was sufficient for the purpose of the
         statute for them to demonstrate that Bidco was simply implementing the HP
         Board’s decision made on the basis of the information provided to them that
         Bidco should make the offer as the Board of HP directed them to do.

498.     Mr Miles sought to side-line the Abu Dhabi case as concerned only with whether
         the Norasia defendants had the necessary intention to deceive for a deceit claim,
         and whether the second and third claimants (ASH and ASMIC, the two special
         vehicles) were within the contemplation of the Norasia defendants as likely, and
         therefore to have been intended to be deceived by the defendants, which Mr
         Miles stated “wasn’t an issue of reliance”.

499.     Given the fundamental effect of the point raised by the Defendants it is
         convenient to explain now the basis on which I have determined that the Bidco
         point has not the conclusive effect which, late in the day, the Defendants
         contended it had. I accept the Claimants’ argument that the fact that it was HP
         which claims to have been influenced by Autonomy’s published information
         (and specific representations) and it was HP which undertook due diligence does
         not mean that Bidco cannot satisfy this part of the reliance test.

500.     In a little more detail:

              (1) The Abu Dhabi case, though relating to common law deceit and not a
                  statutory provision, does support the conclusion urged by the Claimants
                  that for the purpose of the acquisition, HP can be treated as the
                  controlling mind of Bidco, and that HP’s reliance is to be treated as
                  Bidco’s reliance.

              (2) There is no such separation on that basis between the person who relies
                  on the information and the person who suffers the loss, nor between the
                  acquirer and the decision-maker.

              (3) Such a conclusion is consistent with the intent of the statutory provisions
                  and avoids what to my mind would be the counter-intuitive conclusion,
                  that the use of an SPV which had no purpose or business nor any real
                  part in the process except as a pocket in HP’s trousers, should invalidate
                  the claim.



                                            Page 166
     Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 168 of 900
Approved Judgment                                                                HC-2015-001324
Mr Justice Hildyard




Reliance on what?

501.       Sch 10A paragraph (1)(a) refers to the payment of compensation to a person
           who acquires, continues to hold or disposes of securities “in reliance on
           published information to which this Schedule applies”. (Its predecessor, s. 90A,

           related only to acquisitions of shares and referred to compensation to a person
           who acquired shares “in reliance on the information in the publication”). The
           loss claimed must be caused by reliance on that statement or omission.

502.       The focus is on statements or omissions in published information on which
           reliance is demonstrated to have been placed. Paragraph 3(2) refers to the issuer
           being “ liable in respect of an untrue or misleading statement”. Further,
           paragraph 3(1) states that compensation is only to be paid where the acquirer
           “suffers loss in respect of the securities as a result of—(i) any untrue or
           misleading statement in that published information, or (ii) the omission from
           that published information of any matter required to be included in it.”

503.       As Dr Lynch submitted in his written closing, it would not be enough for Bidco
           to show that it relied in some generalised sense on a piece of published
           information (e.g. the annual report for a given year): I accept the Defendants’
           submission that it cannot have been intended to give an acquirer of shares a
           cause of action based on a misstatement that he never even looked at, merely
           because it is contained in (say) an annual report, some other part of which he
           relied on. The requirement that loss be suffered as a result of the untrue or
           misleading statement can only be satisfied where the person acquiring securities
           applied his mind to the statement in question, and where that statement induced
           the acquisition or (more relevantly for this case) induced the acquirer to transact
           on the terms he did.

504.       This view gains support from the Davies Review on Issuer Liability. Discussing
           s. 90A, Professor Davies QC said this:88

                      “Section 90A …, by requiring reliance, seems to require a
                      claimant to have been aware of the statement which
                      subsequently turned out to be misleading and for that knowledge
                      to have played a part in inducing the action which was later
                      taken.”

           The same reasoning would apply in relation to Sch 10A.

505.       Similarly, the requirement for reliance cannot be satisfied in respect of a piece
           of published information which the acquirer did not consider at all: again, see
           Marme v Natwest Markets Plc at §§281-288. The statement must “have been
           present to the claimant’s mind at the time when he took the action on which he


88
     Davies Review of Issuer Liability: Discussion Paper (above).


                                                  Page 167
     Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 169 of 900
Approved Judgment                                                                    HC-2015-001324
Mr Justice Hildyard


           bases his claim.” 89 Unless a document was reviewed, it cannot have been relied
                               93F




           on. In this case, the Claimants have referred to alleged misstatements or
           omissions in a number of documents (for instance transcripts of earnings calls,
           and Quarterly Reports from long before the acquisition) which were not
           reviewed by or on behalf of any of the Claimants. These cannot found a claim,
           though they may be relevant evidence of intention.




506.       That said, statements (or omissions) may in combination create an impression
           which no single one imparts. In my view, if the overall impression thus created
           is false it may found a claim, if the other conditions of liability are also met.

What degree of reliance?

507.       The Claimants argued, by analogy with the common law relevant to claims in
           deceit, that only a weak causal connection is required between the false
           statement and the acquisition: they contended that:

                       Although the claimant must have been induced to change his position
                      (here, by buying the Autonomy shares), the representation need not have
                      been the sole or dominant cause. If necessary, the Claimants will
                      contend that, but for the representation, the claimant might” have acted
                      otherwise”.

508.       They referred to Reynell v Sprye (1852) 42 EF 710 at 728 (where it was said that
           “Once make out that there has been anything like deception…no contract resting
           in any degree on that foundation can stand”); to Barton v Armstrong [1976] AC
           104 at 118[F-H] (in the Privy Council, where it was stated that “…in this field
           the court does not allow an examination into the relative importance of
           contributory causes”); and to Raiffeisen Zentralbank Osterreich AG v Royal
           Bank of Scotland Plc [2011] 1 Lloyd’s Rep 123 at [198]-[199] (where
           Christopher Clarke J stated “There are sound reasons of policy why…those who
           set out to deceive should bear a liability even if it might well have been the case
           that, but for such behaviour, the contract might still have been made…”). On
           this basis, inducement is made out if the representation had “an impact on the
           mind” or an “influence on the judgement” though the Claimants accepted that
           inducement is negated where the representation had “no effect on the decision”
           (per Lord Clarke in Zurich Insurance Co plc v Hayward [2017] AC 142 at
           [29]).

509.       The Claimants further contended, again citing Zurich Insurance Co plc v
           Hayward [supra], that if a representation was material, that is, of such a nature
           as to be likely to induce a person in the claimant’s position to enter into the
           contract, it is a fair inference of fact (though not an inference of law) that he was
           influenced by the statement; and the inference is particularly strong where the

89
     See J Cartwright, ‘Misrepresentation and Non-Disclosure’ (4th Ed.) at [3-50].


                                                  Page 168
     Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 170 of 900
Approved Judgment                                                                 HC-2015-001324
Mr Justice Hildyard


           misrepresentation was fraudulent. Lord Clarke cited at [35] Lord Mustill’s
           statement in the Pan Atlantic case [1995] 1 AC 501, 551 that the representor

                      “will have an uphill task in persuading the court that
                      the…misstatement…has made no difference…there is a presumption in
                      favour of a causative effect.”

510.       The Defendants, however, did not accept that these cases applied in the context
           of a s. 90A or Schedule 10A FSMA claim. They pointed out that FSMA does
           not require that the issuer should have intended the claimant to rely on the
           relevant published information, whereas that is a requirement of the tort of
           deceit, and it is that requirement and proof of its fulfilment which informs the
           presumption of causative effect. Accordingly, they did not accept that there was
           any such presumption in the context of a claim under s. 90A/ Sch 10A. In any

           event, they submitted, in its application to claims for misrepresentation/deceit
           such a presumption is one of fact, not law, and does not affect the burden of
           proof: see per Longmore LJ’s analysis in BV Nederlandse Industrie van
           Eiproducten v Rembrandt Enterprises Inc, and his conclusion at [25] that:

                       The tribunal of fact has to make up its mind on the question whether
                      the representee was induced by the representation on the basis of all
                      the evidence available to it.”

511.       Further, they contended that it was not sufficient for the Claimants to show that
           HP/Bidco might have been induced; they had to show that they were induced,
           and that although the misrepresentation in question need not be the sole
           inducement, it must play a real and substantial part in inducing the representee
           to act. They relied again on the analysis and conclusions in BV Nederlandse
           Industrie van Eiproducten v Rembrandt Enterprises Inc.

512.       Their analysis based on the wording of the statutory provisions was as follows:

                (1) A claimant under these provisions must, in the normal way, establish
                    that the ingredients of the statutory cause of action are made out.

                (2) The burden of proof lies on the claimant.

                (3) The claimant must therefore establish (i) that he has “acquire[d] … the
                    securities in reliance on published information …” and (ii) “suffer[ed]
                    loss in respect of the securities as a result of” the untrue or misleading
                    statement or omission. 90   94F




                (4) That requires proof that he would not have suffered loss but for the
                    misleading statement. For this purpose, he must therefore show that he
                    would have acted differently but for the statement (thereby suffering a
                    loss), not that he might have acted differently. If he can only prove that
                    he might have acted differently, all that can be said is that he might have

90
     Sch 10A §3(1); and see to similar effect s. 90A(3).


                                                      Page 169
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 171 of 900
Approved Judgment                                                                    HC-2015-001324
Mr Justice Hildyard


                      suffered loss as a result of the statement – in which case the burden of
                      proof has not been satisfied.

              (5) If the evidence shows that the acquirer would have acted in the same
                  way had the published information not contained the false statement or
                  omission, it cannot be said that any loss is suffered as a result of the false
                  statement or omission.

513.     The Defendants submitted that given that the language of the section is clear,
         there is no need to look to the cases on misrepresentation or deceit in the context
         of the FSMA claims; but they went on to submit that in any event, those cases
         do not assist the Claimants, as follows:

              (1) The burden is on the claimant in a deceit claim to prove reliance. See
                  Clerk & Lindsell on Torts (22nd Ed, 2017) at §18-34:



                             “To entitle a claimant to succeed in an action in deceit, he
                             must show that he acted (or in a suitable case refrained
                             from acting) in reliance on the defendant’s
                             misrepresentation. If he would have done the same thing
                             even in the absence of it, he will fail. What is relevant here
                             is what the claimant would have done had no
                             representation at all been made. In particular, if the making
                             of the representation in fact influenced the claimant, it is
                             not open to the defendant to argue that the claimant might
                             have acted in the same way had the representation been
                             true.”96


              (2) It is not sufficient for a claimant to show that he might have been
                  induced: he must show that he was induced: see BV Nederlandse
                  Industrie van Eiproducten v Rembrandt Enterprises Inc [2019] 1 Lloyds
                  Rep 491 (CA) at §34.

              (3) The test for inducement has been expressed in different ways in claims
                  for different types of misrepresentation. It is sufficient in a claim for
                  fraudulent misrepresentation to show that the representation “was
                  actively present to [the claimant’s] mind”, and whether “his mind was
                  disturbed by the misstatement of the Defendants, and such disturbance
                  was in part the cause of what he did”.97 While the misrepresentation
                  need not be the sole inducement, it must play a “real and substantial
                  part” in inducing the representee to act.98

514.     The Defendants also submitted that in asking whether a claimant under the
         statutory provisions has relied on a false or misleading statement or omission,
         in the sense of being induced by that statement or omission to change his
         position, it is legitimate to ask whether the claimant would have acted differently
         had he known the truth. If he would have acted in the same way, even if he had



                                                Page 170
     Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 172 of 900
Approved Judgment                                                                         HC-2015-001324
Mr Justice Hildyard


         known the truth, it cannot be said that he relied on or suffered loss as a result of
         the false or misleading statement or omission. The Defendants cited Raiffeisen
         Zentralbank v RBS [2010] EWHC 1392 (Comm) at §185 (Christopher Clarke
         J):

                      “… a claimant who says that even if he had been told the whole
                      truth it would have made no difference to his readiness to enter
                      into the contract will be likely to fail to establish that he was
                      induced to enter into the contract by the misrepresentation in
                      question. There is an inherent contradiction in someone saying
                      that a representation was an inducing cause and accepting that,

96
  The above passage shows that, once inducement has been established as a fact it is irrelevant to ask
whether the Claimants would have acted in the same way had the statements made in the published
information been true. However, as discussed below, it is relevant to ask the different question,
whether the Claimants would have acted differently if accurate information had been published
(assuming arguendo that the Claimants succeed in their case that there were inaccuracies in it).
97
  Edgington v Fitzmaurice (1885) 29 Ch. D. 459, at 483, followed in BV Nederlandse Industrie van
Eiproducten v Rembrandt Enterprises Inc [2019] 1 Lloyds Rep 491, at §§28, 32 and 43 (Longmore
LJ). 98
  Dadourian v Simms [2009] EWCA Civ 169 at §§99 and 101 (Arden LJ).
                      if the truth had been told, he would have contracted on the same terms
                      anyway.”

         The Defendants referred also, to similar effect, to Dadourian v Simms at §107,
         and JEB Fasteners [1983] 1 All ER 583 (CA), at 588.

515.     As to these competing submissions on the question of what degree of reliance
         is required and whether the presumption of inducement applies in the context of
         the FSMA claims, in my judgment:

              (1) It is enough that a fraudulent representation has had “an impact on the
                  mind” or an “influence on the judgement” of the claimant (see per Lord
                  Goff of Chieveley in Pan Atlantic Insurance Co Ltd v Pine Top
                  Insurance Co Ltd [1995] 1 AC 501, as quoted by Lord Clarke of
                  Stonecum-Ebony JSC in Zurich Insurance Co plc v Hayward). There is
                  no “but for standard” in that context; and the fact that other
                  considerations may have been predominant does not negate the
                  deception if it did have some impact or influence, for (as Lord Cross of
                  Chelsea said in Barton v Armstrong [1976] AC 104, 118-119) “in this
                  field the court does not allow an examination into the relative
                  importance of contributory causes.”

              (2) I was originally minded to agree with the Defendants that the so-called
                  ‘presumption of inducement’ should not be read into the FSMA test; and
                  that it would be difficult to integrate with the test of reasonable reliance
                  which is expressly introduced by FSMA. On reflection, I think this
                  would be to treat the “presumption of inducement” as, in effect, one of
                  law: and as Lord Clarke explained in the Zurich Insurance case, it is



                                                Page 171
     Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 173 of 900
Approved Judgment                                                                      HC-2015-001324
Mr Justice Hildyard


                      simply an inference of fact. I have ultimately concluded that the
                      presumption applies in the context of a FSMA claim no less than in other
                      cases of deceit. The reason is simple: it aphoristically expresses the
                      reality that once it has been established that a representor fraudulently
                      intended his words to be taken in a certain sense and that the representee
                      understood them in that sense and entered into the contract, it is natural
                      to suppose, unless the presumption is rebutted on the facts, that the
                      representee was induced to make his investment decision on the faith of
                      the representor’s statement.91

               (3) It remains a question of fact to be determined on the balance of
                   probabilities whether having regard to all the circumstances it did in fact
                   have “an impact on the mind” or an “influence on the judgment” (as
                   Lord Goff put it in the Pan Atlantic case) of the representee in making
                   that investment decision. But the presumption is difficult to shift.

               (4) In Hayward v Zurich Insurance Co plc, Lord Clarke noted (at [36]) that
                   the authorities are not entirely consistent as to what is required to rebut
                   the presumption of inducement: and in particular, “whether what must

                      be proved is that the misrepresentation played “no part at all” or that
                      it did not play a “determinative part”, or that it did not play a “real and
                      substantial part”. It was not necessary to decide how the test should be
                      worded in that case since it was found that the presumption was not
                      rebutted in that case on any of the formulations; but Lord Clarke did go
                      on to say that “the authorities…support the conclusion that it is very
                      difficult to rebut the presumption”, citing Baroness Hale of Richmond
                      DPSC’s observation in Sharland v Sharland [2015] UKSC 60; [2016]
                      AC 871 that a party who has practiced deception with a view to a
                      particular end, which has been attained by it, cannot be allowed to deny
                      its materiality or that it actually played a causative part in inducement.

               (5) It seems to me that, it would be in accordance with the approach in the
                   authorities cited above to avoid semantic debate and leave the issue to
                   be determined according to a value judgment whether in all the
                   circumstances the misrepresentation(s) should be taken as having
                   influenced the decision, without entering into an assessment of its
                   relevant importance amongst any other influences.

               (6) Further, the additional requirement of FSMA that the reliance, if
                   established, must also be shown by the claimant to have been reasonable
                   does not remove, but does, in my view, mitigate the effect of the
                   presumption. In my judgment, it introduces an additional test requiring
                   consideration of whether it was reasonable for the representation so to
                   have impacted on the mind and judgment of the representee; put another


91
     Lord Mustill put it this way in the Pan Atlantic case (at [551]): the representor
           “will have an uphill task in persuading the court that the…misstatement…has made no
           difference…there is a presumption in favour of causative effect.”


                                                Page 172
     Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 174 of 900
Approved Judgment                                                                  HC-2015-001324
Mr Justice Hildyard


                      way, it seems to me that the claimant must show that the representation
                      had a sufficient impact on its mind or influence on its judgment for it to
                      have been reasonable in all the circumstances for the claimant to have
                      relied on it: and see further paragraphs [517ff] below.

              (7) It is also important to keep in mind that the propensity of a statement to
                  influence the mind only gives rise to the presumption (if applicable) if
                  it is shown to have been read or heard and understood by the representee
                  in its deceptive sense and/or the claimant would have entered into the
                  contract even if the misrepresentation had not been made: see Leni Gas
                  & Oil Investments v Malta Oil Pty Ltd [2014] EWHC 893 (Comm)
                  (Males J, at §§18, 19 and 171-172): if it did not influence the mind, or
                  if the representee understood it in some different sense and it was by
                  reference to that different meaning that he acted, the presumption does
                  not arise: and see the discussion about ambivalent or ambiguous
                  statements in the recent decision of Cockerill J in Leeds City Council
                  and others v Barclays Bank plc and another [2021] 2 WLR 1180.

              (8) I agree, therefore, with Mr Miles that the Court should not assume
                  reliance by Bidco on every statement alleged by the Claimants to be
                  potentially false or misleading, drawn from hundreds of pages of
                  financial statements and transcripts going back months or years before
                  the acquisition of Autonomy, merely because the Claimants allege that
                  these statements were deliberately false or misleading.

516.     Once reliance/inducement has been established as a fact, it is (subject to the
         exception noted in Raiffeisen Zentralbank v RBS, where the representee accepts
         that he would have acted in the same way, even if he had known the truth) not
         legitimate or relevant for the defendant to enquire or suggest what the
         representee would have done had he been told the truth: for, as Hobhouse LJ
         said in Downs v Chappell [1997] 1 WLR 426 at 433, in fact the truth was never
         told. The question is whether the representee was induced by the false statement;
         not what the effect would have been if he had been told what he was not told.

When is reliance reasonable?

517.     As explained above, and in a departure from the common law, FSMA s. 90A /
         Sch 10A stipulate also that to establish liability the acquirer of securities must
         have acted reasonably in relying on the information at a time when, and in
         circumstances in which, it was reasonable for him to rely on it. See Sch 10A
         §3(4):92

                      “A loss is not regarded as suffered as a result of the statement
                      or omission unless the person suffering it acquired, continued to



92
  100 S.90A(5) is in materially the same
terms.


                                                Page 173
     Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 175 of 900
Approved Judgment                                                                   HC-2015-001324
Mr Justice Hildyard


                      hold or disposed of the relevant securities — (a) in reliance on
                      the information in question, and

                    (b) at a time when, and in circumstances in which, it was
                     reasonable for him to rely on it.”

                      [Emphasis added]


518.       The Claimants relied on Redgrave v Hurd (1881) 20 Ch D 1, 13 in which Sir
           George Jessel MR said:

                       If a man is induced to enter into a contract by a false representation it
                      is not a sufficient answer for him to say, If you had used due diligence
                      you would have found out that the statement was untrue. You had the
                      means afforded you of discovering its falsity, and did not choose to
                      avail yourself of them.”

519.       I did not understand this proposition, or its applicability in the context of FSMA
           as well as common law claims in deceit, to be contested: and although the
           Defendants pointed to various substantial deficiencies in due diligence they did
           not argue that on that account the Claimants could not complain they had been
           deceived. In any event, in my judgment, it is no defence to a FSMA or a fraud
           claim that the claimants had the means of discovering the truth; and no defence
           of contributory negligence or “caveat emptor” is available. The test of
           reasonableness relates to the form and timing of the misrepresentation and what

           it is reasonable for the representee to make of what he is told: it is not addressed
           to hypothetical matters such as what else the representee might have done to
           assess the reliability of the statement.

520.       As mentioned above, the statutory provision requiring the claimant to show that
           at the time when and in the circumstances in which the relevant fraudulent
           misrepresentation was made his reliance on it was reasonable was regarded by
           Prof. Davies as a substitute for the common law requirement to show that the
           representor “intended reliance”. 93 The test of reasonableness is not further
           defined, but it is plainly to be applied by reference to conditions at the time when
           the representee claimant relied on it. Circumstances, caveats or conditions
           which qualify the apparent reliability of the statement relied on by the claimant
           are all to be taken into account. The question of when reliance is reasonable is
           fact-sensitive.

521.       In the present case, the Defendants instanced the following considerations,
           amongst others:

                (1) The status and purpose of the particular statement being relied on: thus,
                    the Defendants contended that it is more likely to be reasonable to rely
93
     See Davies Review of Issuer Liability: Final Report para.30 p18.


                                                  Page 174
     Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 176 of 900
Approved Judgment                                                                       HC-2015-001324
Mr Justice Hildyard


                      on an IFRS figure stated in the accounts than to rely on a general
                      statement contained in the directors report (for instance, a statement
                      such as “we believe that our products are the best in the market”), or a
                      comment made in passing in the course of an earnings call;94

                (2) Whether the statement is qualified: the Defendants suggested that where
                    a piece of information is qualified by a statement that it is “provided for
                    background information and may include qualitative estimates” (as with
                    the supplementary non-IFRS metrics given by Autonomy), reliance will
                    be reasonable for narrower purposes than where there is no such
                    qualification.

                (3) The time at which the statement is relied on: the Defendants suggested
                    that it is more likely to be reasonable to rely on up-to-date information
                    than to rely on a quarterly report that is several years out of date.

                (4) The purpose for which the information is relied on: the Defendants
                    submitted that it will be unreasonable to rely on information for a
                    purpose for which it is not suited. Thus, they suggested, in the case of a
                    non-IFRS metric expressly stated to involve qualitative estimates, it is
                    unlikely to be reasonable to rely on it by plugging it into a valuation
                    model whose output is highly sensitive to small variations in input.

522.       I agree that the test is fact sensitive and that these factual matters do require
           consideration in assessing reasonableness. I address these matters at greater
           length after determining whether the Claimants have established the




           misrepresentations alleged: see chapter titled Reliance and Loss Revisited. But
           I would summarise my conclusions in this regard as follows:

                (1) Although HP/Bidco undoubtedly saw Autonomy as a “transformational
                    opportunity” and Mr Apotheker envisaged that a combination of HP and
                    Autonomy would realise synergy values in excess of Autonomy’s
                    stand-alone value, the basic building bricks which informed HP’s
                    approach, negotiation, bid and the eventual Acquisition were the historic
                    revenue figures and description of Autonomy’s five revenue streams as
                    represented in Autonomy’s published information.

                (2) It was entirely reasonable for HP/Bidco to rely, as it did, on the accuracy
                    and completeness of the figures and description thus given, unless and
                    to the extent that through persons acting on its behalf, and having
                    responsibility to pass on to HP/Bidco what they had found out,
                    HP/Bidco actually became aware (whether in the context of due



94
     Assuming (arguendo) that the call in question constitutes published information.


                                                  Page 175
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 177 of 900
Approved Judgment                                                               HC-2015-001324
Mr Justice Hildyard


                      diligence or otherwise) of some particular inaccuracy or material
                      qualification.

              (3) HP/Bidco did not, prior to the Acquisition, and whether in the course of
                  due diligence or otherwise, actually become aware of anything in the
                  course of due diligence to warn it of some inaccuracy or material
                  qualification such as to invalidate or cause it not reasonably to be
                  entitled to place reliance on Autonomy’s figures and representations in
                  its published information. None of the matters relied on by the
                  Defendants made HP/Bidco’s reliance unreasonable.

              (4) The reasonableness of HP’s reliance at least in material part on
                  Autonomy’s published information was reinforced, and such reliance
                  was further encouraged, by representations made by Mr Hussain and
                  others and by presentations made in the January, February and March
                  Slides described and assessed in the chapter on Deceit and
                  Misrpresentation later in this judgment below.

              (5) HP/Bidco have established reasonable reliance on what was stated in the
                  published information in respect of all the aspects of Autonomy’s
                  business now said to have been misrepresented; and more particularly,
                  HP/Bidco reasonably relied on that published information as having
                  conveyed expressly or by necessary implication that:

                            (a)    Autonomy was a “pure software company” and its
                                   revenue and revenue growth were generated almost
                                   exclusively from its software licence sales, demonstrating
                                   also the success and penetration of its signature product,
                                   IDOL;

                            (b)    Autonomy’s OEM business revenue was a particularly
                                   valuable source of recurring revenue derived at least
                                   predominantly from development licence sales and
                                   recurring revenue from royalties;
                            (c)    Autonomy’s hosting business, which was accounted for
                                   as part of its IDOL Cloud business, was growing as a
                                   result of increased hosting revenue streams which by their
                                   nature were recurrent;

                            (d)    Sales by Autonomy from which revenue was recognized
                                   were genuine transactions of commercial substance, and
                                   properly accounted for accordingly.

523.     I turn to issues of principle which arise in respect of the measure of damages in
         the context of the Claimants’ FSMA claims.


(g) Loss in the context of FSMA claims




                                             Page 176
     Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 178 of 900
Approved Judgment                                                                         HC-2015-001324
Mr Justice Hildyard


524.     Neither s. 90A nor Sch 10A specifies the measure of damages that applies to a
         claim brought under them. Sch 10A §3(1) simply provides that an issuer “is
         liable to pay compensation” to a person who has acquired securities in reliance
         on published information, and who has “suffer[ed] loss in respect of the
         securities as a result of” any untrue or misleading statement, or the omission of
         any matter required to be included. It was not in dispute that damage is a
         separate component of the cause of action under s. 90A / Sch 10A; and must be
         proved separately from questions of inducement and reliance. 95 The burden of
                                                                                  1 02F




         proving damage lies on the claimant, who must show on the balance of
         probabilities that he has suffered compensable loss.

525.     One of the questions raised by Professor Davies at the consultation stage was
         which measure of damages was appropriate, that for fraud (deceit) or that for
         negligence. He concluded that it would be difficult to formulate effective rules
         that would not tie the court’s hands in an unsatisfactory way, and he
         recommended that the issue should be left to the courts to decide. In doing so,
         however, he thought it likely that the courts would apply the same course as it
         followed in the case of common law claims for deceit “since the section is
         closely modelled on the common law tort”. He noted also that the damages
         would be likely to be assessed by reference to the loss caused by reliance on the
         statement, and not the loss caused by its falsity.

526.     It was common ground that the starting point for the assessment of damages is
         the statement of Lord Blackburn in Livingstone v The Rawyards Coal Company
         (1880) 5 App. Cas. 25:

                  “I do not think there is any difference of opinion as to its being a
                  general rule that, where any injury is to be compensated by
                  damages, in settling the sum of money to be given for reparation
                  of damages you should as nearly as possible get at that sum of
                  money which will put the party who has been injured, or who has
                  suffered, in the same position as he would have been in if he had
                  not sustained the wrong for which he is now getting his


                      compensation or reparation. That must be qualified by a great
                      many things which may arise—such, for instance, as by the
                      consideration whether the damage has been maliciously done,
                      or whether it has been done with full knowledge that the person
                      doing it was doing wrong. There could be no doubt that there
                      you would say that everything would be taken into view that
                      would go most against the wilful wrongdoer—many things which
                      you would properly allow in favour of an innocent mistaken
                      trespasser would be disallowed as against a wilful and




95
  As explained below, to the extent that analogies with the common law are relevant, loss and
causation of loss is a separate element from inducement, and requires ‘but for’ causation.


                                               Page 177
     Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 179 of 900
Approved Judgment                                                                          HC-2015-001324
Mr Justice Hildyard


                      intentional trespasser on the ground that he must not qualify his
                      own wrong, and various things of that sort.” [Emphasis added]


527.     This is, as for all tort damages, a “but for” test of causation. 96 In a claim under
                                                                                  103F




         these provisions of FSMA, the wrong for which the claimant is getting his
         compensation or reparation is the inclusion of a false or misleading statement
         in, or the omission of required information from, published information.

528.     In assessing the losses flowing from that wrong, it is necessary to ask what
         would have happened had the false statements or omissions not been made (i.e.
         to identify the right counterfactual). The answer which I also took to be common
         ground is that if the published information had not contained false statements or
         omitted matters required to be included, the published information would have
         contained true statements and included all matters required to be included.
         Autonomy was under an obligation to produce annual, half yearly and quarterly
         reports covering everything it was required by the Companies Act and
         Disclosure and Transparency Rules to cover, having regard also to all applicable
         accounting standards. But for the alleged wrong, it would have complied with
         its obligations properly. It is not therefore a case where, but for the false
         statement, there would have been nothing said on the topic covered by the
         statement.97

529.     It is indeed common ground that in assessing the FSMA Loss, the relevant
         counterfactual is that accurate information would have been published
         historically. Thus, I also take it not to be in dispute that in determining whether
         HP would have proceeded with the transaction, it is to be (and, for the purpose
         of calculating any loss, has been) assumed that accurate information would have
         informed the market and thus Autonomy’s share price and its shareholders’
         expectations. This is the basis on which Mr Bezant was instructed: see §1.67 of
         his First Report:



                      “In assessing the FSMA Loss, I am instructed to assume that, but for
                      the breaches of duty alleged by the Claimants:




96
   Again to the extent common law analogies are relevant, see the discussion of loss in relation to deceit
below.
97
   Contrast the hypothetical example given by Christopher Clarke J in RZB v RBS where “P buys a
house from V. He had been considering several houses. He is minded to buy the one which he
eventually buys because of its size, shape and character. Shortly before he makes his final decision V’s
agent tells him that a particular celebrity has the house next door, a circumstance which he regards as
advantageous. … In fact, as it turns out, there is no celebrity next door.” In that example, if the agent
had not chosen to tell a lie, nothing would have been said about whether there was a celebrity next
door. There was no obligation on V or his agent to volunteer information about whether the
neighbours were celebrities.


                                                 Page 178
     Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 180 of 900
Approved Judgment                                                                         HC-2015-001324
Mr Justice Hildyard


                      (1) Autonomy's published financial information would not have
                      been subject to the false accounting of which the Claimants
                      complain; but

                      (2) the impugned transactions would still have been entered into.”


530.     The next step in the counterfactual analysis is to ask what would have happened
         in those circumstances. At §196A.1 of the RRAPoC, the Claimants state that:98

                      “But for the matters complained of, Bidco would have acquired
                      Autonomy at a lower price. The Loss is therefore the difference
                      between the price that Bidco actually paid for Autonomy (i.e.
                      approximately US$11.1 billion) and the lower price that Bidco
                      would have offered for Autonomy, had it known the true position
                      (this being a price which the selling shareholders in Autonomy
                      would certainly have accepted or which they would have been
                      likely to accept had they, too, known the true position).”


531.     Despite this being their primary pleaded case, the Claimants took a different
         approach in their written opening. They argued that the prima facie measure of
         loss is that set out in Smith New Court Securities v Scrimgeour Vickers [1997]
         AC 254 – that is, the price paid by Bidco for Autonomy, less Autonomy’s true
         value at the time of the acquisition. As they note, this measure of loss “may be
         conceived of as applying an assumption that absent the fraud the transaction
         would not have taken place.”

532.     The Claimants also submitted that the primary pleaded measure discussed
         above, that is, the difference between the price paid and the lower price that
         would have been paid but for the wrong – should only apply to the extent that it
         gives them larger damages than the Smith New Court measure. Thus, they said
         that “while it is open to a victim of fraud to increase damages above the prima
         facie measure by claiming losses from not entering into an alternative
         transaction, it is not open to the fraudster to eliminate (or reduce) damages on
         that basis.”

533.     The Claimants sought to justify this on the basis of the Court of Appeal’s
         decision in Downs v Chappell [1997] 1 WLR 426. They contended that this
         precludes the Defendants from arguing that Bidco would have paid the same
         price even if it had known the truth. Further, they say that their position is
         consistent with the policy considerations that apply to fraud claims, referring to




98
  Thus, the Claimants averred as their primary case that the bid would have proceeded, albeit at a
lower price. By amendment the Claimants pleaded an alternative case that the bid would not have
proceeded (see further below), in which case their loss would be the difference between the price that
Bidco paid for Autonomy and Autonomy’s true market value on the date that Bidco’s offer became
unconditional.


                                                Page 179
     Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 181 of 900
Approved Judgment                                                                         HC-2015-001324
Mr Justice Hildyard


         the following dictum of May J in Slough Estates plc v Welwyn Hatfield DC
         [1996] 2 PLR 50, at 124:

                      “If, as I conceive, the policy of the law is to transfer the whole
                      foreseeable risk of a transaction induced by fraud to the
                      fraudulent defendant, and if, as I conceive, the court does not
                      speculate what, if any, different transaction the plaintiff might
                      have done if the fraudulent representation had not been made,
                      damages on this basis are not to be regarded as a windfall, but
                      the proper application of the policy of the law.”


534.     The Defendants rejected this on the basis that:

              (1) First, whatever the position in relation to the tort of deceit, the
                  Claimants’ argument has no application in a claim under s. 90A / Sch
                  10A FSMA. The language of the statute contains no suggestion that the
                  law on damages in deceit should be imported wholesale to claims under
                  these provisions. 99 Different policy considerations apply to claims
                  under FSMA. In a claim in fraud or deceit, “the policy of the law is to
                  transfer the whole foreseeable risk of a transaction induced by fraud to
                  the fraudulent defendant” (Slough Estates, above).100 But in a claim
                  under s. 90A / Sch 10A, there is no “fraudulent defendant” since the
                  fraudster (i.e. the PDMR) and the defendant (i.e. the issuer) are different
                  persons.101 Unlike a successful fraudster, an issuer does not in general
                  benefit from the PDMR’s wrong in putting out misleading annual or
                  quarterly reports because, as already discussed, these are not “selling”
                  documents. 102 Transferring risks to the issuer penalises the general
                                 109F




                  body of its shareholders, not the individual responsible for the
                  misleading statement. Far from seeking to transfer risk to the issuer, the
                  policy underlying s. 90A and Sch 10A was to avoid an inappropriate
                  transfer of risk to, and diversion of resources from, defendant companies
                  and their shareholders, employees and creditors.

              (2) Secondly, and in any case, even in a claim in deceit or misrepresentation,
                  the dice are not loaded in the way that the Claimants suggested. When
                  it comes to questions of damages it is for a claimant to prove his loss on
                  a “but for” basis (see further below) and this requires the Court to
                  examine what would have happened in the counterfactual world. As
                  explained above, the first element of the counterfactual is that accurate
                  accounts would have been prepared; the second step is to ask what
                  would have happened had that occurred? The Defendants submitted that

99
   Contrast the language used in s. 2(1) of the Misrepresentation Act 1967, discussed at paragraph 570 ff
below.
100
    See also Smith New Court at 279-280
101
    As argued at paragraphs 17 and 18 above, in the present claim, the FSMA claim against the issuer is
being used as a stepping stone to the claim against the PDMRs; but that should not affect the court’s
interpretation of s. 90A and Sch 10A.
102
    See paragraph 437 above – and contrast the position with a prospectus.


                                                Page 180
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 182 of 900
Approved Judgment                                                                           HC-2015-001324
Mr Justice Hildyard


                      the Court has to decide these questions and, as with all factual questions,
                      there can in principle only be one answer. The question is one of fact;

                      and it is not open to the claimant to elect or opt for an outcome which
                      would happen to give it the larger recovery.

              (3) Thirdly, the passage from Downs v Chappell which the Claimants cited
                  was not dealing with the assessment of damages. As already discussed,
                  it was dealing with an unnecessary (indeed illogical) intermediate
                  question posed by the judge at first instance, after inducement had been
                  established, but before turning to the question of damages. 103 Downs v
                  Chappell does not assist on this point.

535.      The Defendants went on to contend on the basis set out above that the “no
          transaction” method of assessing loss discussed in Smith New Court will
          therefore be appropriate only if it is accepted or the Court concludes on the
          evidence that, absent the alleged misleading statements and omissions in the
          published information, Bidco would not have purchased Autonomy at all.

536.      I agree with the Claimants that the basis of what was termed the Smith New
          Court measure is the “assumption that absent the fraud the transaction would
          not have taken place.” That assumption is likely to reflect the reality in many
          cases of a transaction induced by fraud. But not invariably so: and in particular,
          in other cases, although the transaction would not have gone ahead at the agreed
          price, it might have proceeded at a lower price. In Smith New Court itself, it had
          been found as a fact that the sale and purchase would not have taken place
          because the seller would not have agreed to sell at the best price which the
          purchaser would have considered paying: see [260F-H]. Likewise in Downs v
          Chappell the judge had decided on the facts that no transaction would have
          eventuated. However:

                      (1)    In this case, the Claimants averred that “But for the matters
                             complained of, Bidco would have acquired Autonomy at a lower
                             price” and pleaded the “no transaction” case only as an
                             alternative. Dr Lynch admitted that “as a matter of fact
                             irrespective of the matters complained of, Bidco would have
                             proceeded with its acquisition of Autonomy”. In such
                             circumstances it seems to me that the Smith New Court
                             “assumption” is displaced.


103
    There is another passage in the judgment of Hobhouse LJ, in the section dealing with damages,
which states that “In general, it is irrelevant to inquire what the representee would have done if some
different representation had been made to him or what other transactions he might have entered into if
he had not entered into the transaction in question”: p 441 at B-C . However, the words need to be
read in context: on the facts the judge had decided that it was a no transaction case; and in such cases it
is indeed irrelevant to go on to ask whether other hypothetical deals might have occurred. That has no
application in a case where the court concludes that in the counterfactual world the same transaction
would have occurred in any event; the question then is whether the claimant can show that it would
have occurred on the same or different terms. Furthermore, as Leggatt J noted at §217(1) of Yam
Seng, the dictum of Hobhouse LJ cannot have been intended to state a proposition of law.


                                                  Page 181
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 183 of 900
Approved Judgment                                                                    HC-2015-001324
Mr Justice Hildyard


                      (2)   It is to be noted that Mr Hussain denied the averment; but it still
                            seems to me to be a question of fact whether or not an agreement
                            at a lower price would have been agreed. In my judgment, this is
                            a question of fact to be determined by the tribunal of fact, not an


                            election to be made by the defrauded party; and see Vald Nielsen
                            Holdings A/S and anr v Baldorino and others [2019] EWHC
                            1926 (Comm).

                      (3)   I shall review and finally determine the issue in a subsequent
                            judgment on quantum of loss; but my provisional conclusion is
                            that HP would have purchased Autonomy notwithstanding the
                            diminished historical performance which would have on the
                            Claimants’ case been revealed had its transactions been fully and
                            properly described and accounted for, but at a lower price and
                            reduced premium reflecting what would have been its lower
                            share price in the market. The fact is, as I see it, that (a) the value
                            (both actual and prospective) of Autonomy’s main product and
                            business, IDOL, was substantially unimpaired (b) Autonomy
                            still offered HP the prospect of transformational change and the
                            creation of a data stack which had been the strategic purpose of
                            the acquisition and (c) the synergy values expected would have
                            been little affected. In my provisional view, this is not a ‘No
                            transaction’ case.

537.     As I see the matter, I am further fortified in that view by the conceptual
         difficulties which would arise in adopting a ‘No transaction’ approach at the
         election of the Claimants but in circumstances such as these which do not justify
         it. For all the reasons given above, Autonomy was of special value to HP even
         in its deemed diminished state; to ignore that special value is to ignore the fact.
         The Claimants insistence that in a ‘No transaction’ context, no credit would be
         allowed for that special value would result in a windfall to HP. Though in a
         fraud case, the court is tender to the defrauded party, the calculation of loss
         remains an exercise of assessing proper compensation, not meting out
         punishment or conferring windfalls. If there is a doubt whether credit should be
         given for that windfall in a ‘No transaction’ context, that is another reason for
         adopting the ‘transaction’ approach which I have found to be appropriate and
         for denying the Claimants an opportunistic right of election.

538.     However, and in case I am wrong, and contrary to my view the Claimants are
         entitled to elect, I should address the issue raised as to the approach to be
         adopted in a ‘No transaction’ case, especially in relation to synergy value. If
         damages did fall to be assessed on that basis, the Defendants submitted that:

              (1) As Lord Browne-Wilkinson said in Smith New Court, in assessing
                  damages in such a case “the plaintiff is entitled to recover by way of




                                               Page 182
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 184 of 900
Approved Judgment                                                                    HC-2015-001324
Mr Justice Hildyard


                      damages the full price paid by him, but he must give credit for any
                      benefits which he has received as a result of the transaction.” 104
                                                                                       1F




                (2) The aim in valuing the benefit received by Bidco must be to arrive at the
                    figure “ that truly reflects the value of what the plaintiff has obtained.” 113
                                                                                               12F




                (3) There is no dispute about the date of valuation: the Claimants accept that
                    it is appropriate in this case to value the property acquired as at the date
                    of acquisition.

                (4) It is ordinarily appropriate, in giving credit for the benefits received, to
                    assess the market value of the asset to the claimant, which usually is
                    determined by evidence of the price at which the stake could have been
                    bought and sold between willing parties.

                (5) The Claimants in this case submitted that this hypothetical purchase
                    should not include special purchasers and (in accordance with the IVS
                    Framework of the International Valuation Standards Committee) should
                    not take into account synergies or any element of value available only
                    to a specific buyer (and, in particular, any synergy value to HP).

                (6) The Defendants accepted that market value is the measure of the credit
                    to be given in a standard case, that is because that market value is a
                    satisfactory measure of the benefits received; but where there are
                    benefits to the purchaser of the thing acquired and then retained
                    voluntarily it would be punitive and not compensatory to permit the
                    purchaser to retain the value of what it has disavowed. That would not,
                    echoing Lord Browne-Wilkinson’s words, truly reflect the value of what
                    the plaintiff has obtained. In a case such as this, the value to be
                    ascertained for which credit is to be given is the value of the stake (the
                    shares in Autonomy and the benefits to which they provide access,
                    actual and potential) in the hands of the acquirer: and that must reflect
                    the synergy values to the acquirer as well as any standalone value. A
                    valuation ignoring synergies would not properly reflect the value of the
                    asset obtained, and would result in a windfall to the Claimants.

                (7) The Defendants also submitted that whereas in a deceit claim “the policy
                    of the law is to transfer the whole foreseeable risk of a transaction
                    induced by fraud to the fraudulent defendant”, in claims under FSMA
                    against the issuer there is no “fraudulent defendant” since the fraudster
                    (the PDMR) and the defendant (the issuer) are different persons. Unlike
                    a successful fraudster, an issuer does not in general benefit from the
                    PDMR’s wrong in putting out misleading annual or quarterly reports
                    because they are not “selling” documents. Transferring risks to the

104
       Smith New Court at 266 C-D.
113
      Smith New Court at 267.


                                               Page 183
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 185 of 900
Approved Judgment                                                                  HC-2015-001324
Mr Justice Hildyard


                      issuer penalises the general body of its shareholders, not the individuals
                      responsible for the misleading statement: and that is not consistent with
                      the policy underlying s.90A/Sch 10A which was to avoid an
                      inappropriate transfer of risk to, and diversion of resources from,
                      defendant companies, and their shareholders, employees and creditors:
                      and see paragraph 534(1) above. The fact that the issuer may then have
                      a stepping-stone for a claim against the PDMR should not affect the
                      interpretation of s.90A and Sch 10A of FSMA.

539.     These are novel and difficult issues, which so far as I am aware have not
         previously been tested. I shall return to them when addressing issues of
         quantum. For the present suffice it to say that my provisional view is that credit

         should be given for synergy value where that was the strategic purpose of the
         acquisition and the asset has been voluntarily retained.

Knowledge of the Defendants

540.     If the Court concludes that Autonomy is liable to Bidco under s. 90A and/or Sch
         10A, separate questions arise as to the Defendants’ liability. Are the Defendants
         liable for breach of duty owed to Autonomy for exposing Autonomy to the
         FSMA Loss? And if so, for what parts of the FSMA Loss are they liable to pay
         damages?

541.     In opening the case for the Claimants, Mr Rabinowitz appeared to accept that
         each of the Defendants would only be liable to pay damages to Autonomy to the
         extent that (i) he was legally responsible (i.e. in breach of duty to Autonomy)
         for any relevant wrongful statements in or omissions from the published
         information and (ii) those statements or omissions caused loss to Autonomy by
         becoming liable to Bidco. He expressly stated:

                      “I don't think there is anything between us because I certainly wasn't
                      suggesting, and certainly wasn't intending to suggest, that if, for
                      example, the accounts -- there were false and misleading statements and
                      -- I'm using this as an example -- Mr Hussain was involved and knew
                      and in breach of his duty but Dr Lynch didn't know, that because Mr
                      Hussain knows, Autonomy has a claim against Dr Lynch. It seems to
                      me plain that we wouldn't.”

         No correction or refinement was suggested in the Claimants’ written closing
         submissions.

542.     The Defendants took this to mean that it was common ground that it is necessary
         to consider the position of the two Defendants separately: Dr Lynch would not
         be liable save in respect of losses caused by his own breach of duty: he could
         only be liable for the consequences of the particular wrongful statements or
         omissions in respect of which he had the requisite guilty knowledge – not for
         the consequences of any other wrongful statements there may have been of
         which he was unaware, even if those statements give rise to a liability from
         Autonomy to Bidco (e.g. because another PDMR had the requisite guilty


                                                Page 184
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 186 of 900
Approved Judgment                                                                 HC-2015-001324
Mr Justice Hildyard


           knowledge in relation to those other statements). However, I have been
           reminded by the Claimants105 that in his oral closing, Mr Rabinowitz sought to
           revisit this, and he explained that all he had intended to convey by his
           submission in opening was that the Claimants accepted that they “could not rely
           against Lynch on Hussain’s knowledge that the financial statements were untrue
           or misleading if Dr Lynch did not know about this and vice-versa…[they] could
           not rely on the knowledge of defendant 1 to bring a claim against defendant 2 if
           defendant 2 understood the financial statement to be true and not misleading
           and vice-versa.” He submitted further that the way the Defendants had
           apparently interpreted what he had said would result in an inappropriate
           “narrowing of the basis of the claim”. He suggested that the point was simple:


                      “If Dr Lynch through his breach of duty caused Autonomy to be liable
                      to Bidco under FSMA, then he will be liable for the whole loss caused
                      to Autonomy…”

543.       Whilst maintaining that the Claimants were thereby departing from common
           ground, Mr Miles submitted that in any event the position as summarised in
           paragraph 542 was correct. He suggested the following example. Assume for
           the sake of argument that Autonomy’s published information contained two
           misstatements, misstatement A and misstatement B. Dr Lynch was only aware
           of misstatement A; Mr Hussain was aware of misstatement B. The price HP
           actually paid was P. If HP had known the truth in respect of misstatements A
           and B, it would have paid a lower price (X) than the price it would have paid (Y)
           if it knew the truth only in respect of misstatement A. As against Dr Lynch, the
           maximum claim would be the difference between P and Y – a lesser sum than
           the difference between P and X. He cannot be liable for the additional losses
           caused by misstatement B, since that misstatement was known only to Mr
           Hussain.

544.       In the event, as will become apparent, the point is academic, since in respect of
           all the claims I have found that both Dr Lynch and Mr Hussain had what by way
           of shorthand I shall refer to as “guilty knowledge”. However, in case it should
           become relevant, and because the point may have some general application, I
           should explain why (in addition to thinking that the Defendants were entitled to
           proceed on the basis of the matter being common ground) I consider Mr Miles’s
           submissions to be correct. It seems to me that the essential point is that the claim
           against the Defendants is for breach of duty. It is not, as against them, a claim
           under the statute. The Claimants have not articulated their claim for breach of
           duty in any detail. They stated that Dr Lynch owed duties under ss. 171, 172
           and 175 of the Companies Act 2006 (duties to exercise powers for proper
           purpose, to act in good faith to promote the success of the company and to avoid
           conflicts of interest), and they refer to the duties owed to Autonomy with regard
           to the proper preparation of its individual and consolidated group accounts (ss.
           393, 394, 399 and 415-418 CA 2006). They also rely on duties owed under Dr
           Lynch’s employment contract. They argue that further elaboration is

105
      After circulation of an earlier version of my judgment in draft.


                                                    Page 185
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 187 of 900
Approved Judgment                                                                  HC-2015-001324
Mr Justice Hildyard


         unnecessary, saying that if the Defendants caused Autonomy to put out
         information containing knowingly untrue statements or omissions, then they
         must have been in breach of those duties, and they say that “If Autonomy is
         liable to Bidco in damages by virtue of a misstatement or omission in
         Autonomy’s published information made with the knowledge of the
          Defendants’, then it is inevitable that the Defendants’ must in turn be liable to
         Autonomy for those damages, which were caused by their breach of duty.” But
         I agree with the Defendants that this is an oversimplification. A director may be
         liable for his own breach of duty and its consequences but (unless he has “guilty
         knowledge” of it) not for another director’s breach. The Claimants did not
         address that possibility, and I agree that their generalized plea would have been
         insufficient, had the point not been academic (on my view of the facts).


Claims in deceit and under the Misrepresentation Act 1967

545.     The claims against Dr Lynch and Mr Hussain in deceit and/or under the
         Misrepresentation Act 1967 do not assert any liability on the part of the issuer
         (Autonomy). They are claims directly against the Defendants based on
         misrepresentations allegedly made by them in the course of meetings with HP
         or in written presentations provided to HP in the run-up to the bid for Autonomy.
         The claims relate only to the loss allegedly suffered on the acquisition of the
         shares in Autonomy held by the Defendants.

Claims in deceit

546.     The elements of the tort of deceit can be summarised as follows (per Jackson LJ
         in Eco 3 Capital Limited v Ludsin Overseas Limited [2013] EWCA Civ 413 at
         §77):

                      “What the cases show is that the tort of deceit contains four ingredients,
                      namely:

                      i)   The defendant makes a false representation to the claimant.
                      ii) The defendant knows that the representation is false, alternatively
                      he is reckless as to whether it is true or false.
                      iii) The defendant intends that the claimant should act in reliance on
                      it.
                      iv) The claimant does act in reliance on the representation and in
                      consequence suffers loss.

                      Ingredient (i) describes what the defendant does. Ingredients (ii)
                      and (iii) describe the defendant's state of mind. Ingredient (iv)
                      describes what the claimant does.”

     A number of these elements are considered below.




                                                Page 186
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 188 of 900
Approved Judgment                                                                         HC-2015-001324
Mr Justice Hildyard




Representation made to a claimant by a defendant

547.       To succeed in the tort of deceit, a claimant must show that a misrepresentation
           was made to him or his agent: Chagos Islanders v Attorney General [2003]
           EWHC 222, at §364. Here, the Claimants allege that the misrepresentations
           were made to HP, not Bidco.

548.       The representation must be one made by or on behalf of the defendant:106

                (1) In this case, the Claimants rely on some representations allegedly made
                    by Dr Lynch and on others allegedly made by Mr Hussain. There is no
                    allegation that misrepresentations were made by Mr Hussain on Dr
                    Lynch’s behalf; and Dr Lynch can have no liability in respect of



                      statements made by Mr Hussain. The Defendants submitted, and I agree,
                      that each defendant must therefore be considered separately.

                (2) As I explain at greater length later, some of the representations allegedly
                    made by Dr Lynch were not made by him directly, but by means of slides
                    produced and sent by Qatalyst. Dr Lynch submitted, and again I agree,
                    that it is necessary for the Claimants to establish that Qatalyst was acting
                    as Dr Lynch’s agent (not Autonomy’s agent) in sending those slides.

Defendant’s state of mind

549.       A claimant in deceit must establish that the representor was fraudulent, in that
           he did not honestly believe that his representation was true. See Derry v Peek
           (1889) 14 App. Cas. 337, (Lord Herschell):

                      “I think the authorities establish the following propositions:
                      First, in order to sustain an action of deceit, there must be proof
                      of fraud, and nothing short of that will suffice. Secondly, fraud
                      is proved when it is shewn that a false representation has been
                      made (1) knowingly, or (2) without belief in its truth, or (3)
                      recklessly, careless whether it be true or false. Although I have
                      treated the second and third as distinct cases, I think the third is
                      but an instance of the second, for one who makes a statement
                      under such circumstances can have no real belief in the truth of
                      what he states. To prevent a false statement being fraudulent,
                      there must, I think, always be an honest belief in its truth. And
                      this probably covers the whole ground, for one who knowingly
                      alleges that which is false, has obviously no such honest belief.
                      Thirdly, if fraud be proved, the motive of the person guilty of it



106
      Cartwright, Misrepresentation, Mistake and Non-Disclosure (4th Ed., 2017), §5-07.


                                                  Page 187
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 189 of 900
Approved Judgment                                                                          HC-2015-001324
Mr Justice Hildyard


                      is immaterial. It matters not that there was no intention to cheat
                      or injure the person to whom the statement was made.”


550.      In the same case, Lord Bramwell explained that a defendant would not be found
          to be fraudulent unless the truth was present to his mind at the moment when
          the false statement was made.107 Put another way, he must have been conscious
          of the truth, and thus the falsity of what is being said. It is not sufficient to show

          that the defendant has some knowledge stored away in his mind that, if it had
          been recalled would have, shown him that what he was saying was false. See
          also Armstrong v Strain [1951] 1 TLR 856 (Devlin J, at p 253):108

                      “A man may be said to know a fact when once he has been told
                      it and pigeon-holed it somewhere in his brain where it is more
                      or less accessible in case of need. In another sense of the word
                      a man knows a fact only when he is fully conscious of it. For an
                      action of deceit there must be knowledge in the narrower sense;
                      and conscious knowledge of falsity must always amount to
                      wickedness and dishonesty. When Judges say, therefore, that
                      wickedness and dishonesty must be present, they are not
                      requiring a new ingredient for the tort of deceit so much as
                      describing the sort of knowledge which is necessary.”


551.      Fraud is inherently improbable, and brings serious consequences, so evidence
          sufficient to overcome the starting point of improbability will be required to
          justify a finding of fraud, even on the civil standard: and see paragraph 473
          above.

552.      In addition, a claimant in deceit must establish that the representor intended the
          representation to be acted upon by the claimant.109



107
    Derry v Peek: “Now, as to the evidence. The plaintiff's case is that the defendants made an untrue
statement, which they knew to be untrue, and likely to influence persons reading it; therefore they were
fraudulent. It is not necessary to consider whether a prima facie case was made out by the plaintiff. We
have all the evidence before us, and must judge on the whole. The alleged untrue statement is that,
“The company has the right to use steam or mechanical power instead of horses,” and that a saving
would be thereby effected. Now, this is certainly untrue, because it is stated as an absolute right, when
in truth it was conditional on the approval of the Board of Trade, and the sanction or consent of two
local boards; and a conditional right is not the same as an absolute right. It is also certain that the
defendants knew what the truth was, and therefore knew that what they said was untrue. But it does not
follow that the statement was fraudulently made. There are various kinds of untruth. There is an
absolute untruth, an untruth in itself, that no addition or qualification can make true; as, if a man says
a thing he saw was black, when it was white, as he remembers and knows. So, as to knowing the truth.
A man may know it, and yet it may not be present to his mind at the moment of speaking; or, if the fact
is present to his mind, it may not occur to him to be of any use to mention it. …”
108
    Cited with approval by Rix LJ in AIC Ltd v ITS Testing Services (UK) Ltd (The Kriti Palm) [2007] 1
Lloyds Rep 555.
109
    Clerk and Lindsell on Torts (22nd Ed, 2017), §18-30, and see §77 in Eco 3 Capital Limited v Ludsin
Overseas Limited [2013] EWCA Civ 413 (set out at paragraph 546 above).


                                                 Page 188
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 190 of 900
Approved Judgment                                                                       HC-2015-001324
Mr Justice Hildyard


Reliance / inducement

553.      In a claim for deceit, the claimant must establish that he relied on the statement,
          in the sense that the representation was an inducement to his action.

554.      As with the FSMA claim, it must be shown that the representation was relied on
          by the claimant, not by some other person: the representation must have been
          present to the claimant’s mind at the time when he took the action on which he
          bases his claim. As noted in respect of the FSMA claim, the claim is by Bidco
          alone and the Claimants pleaded simply that:

                      “Bidco acquired the share capital of Autonomy, including the shares
                      held by Lynch and Hussain, in reliance on (i) the information contained
                      in the Annual Reports and the Quarterly Reports (and as repeated and
                      explained during earnings calls) and (ii) the misrepresentations made
                      by Lynch and Hussain directly to HP (and thus to Bidco)”. [my
                      emphasis].



555.      The Claimants’ pleading is at best sparse in this regard; and the Claimants did
          not elaborate their pleading in the evidence. However, for the reasons I have
          stated in paragraphs 499 to 500 above, I have concluded that I should accept


          that HP was Bidco’s controlling mind, and that representations made to HP were
          thus made to Bidco.

556.      As to the degree of reliance that the Claimants must show, see paragraphs 507
          to 515 above. It is not sufficient for them to show that they might have been
          induced: they must demonstrate that they were induced as a matter of fact.

557.      The legal burden is on the claimant to establish that he has been induced to act
          by the defendant’s misrepresentation: BV Nederlandse v Rembrandt Enterprises
          at §25. However, and as explained in the context of the FSMA claims, once it
          has been established that a false statement has been made which is material, in
          the sense that it was likely to induce the contract, and which was intended to
          induce the representee’s investment decision, the claimant/representee has the
          benefit of a fair inference or presumption of fact (though not an inference of
          law) that he was influenced by the statement.110 This presumption is difficult to
          shift but can be so rebutted where it can be shown that the fraudulent statement
          or omission played no real or substantial part in the determination of the course
          of action adopted by the representee, whether because the representee did not
          hear or read it or because he chose entirely to ignore it, and/or the claimant

110
   Zurich v Hayward [2017] AC 142, at §34 (Lord Clarke); and Rembrandt Enterprises at §25. 120
Males J found in that case that MOG had discharged the burden of shifting the presumption, even
though, as he noted, amongst the problems for a defendants is that “…it is not attractive, and will
generally be unconvincing, for a fraudster…to assert that its fraud, which it may have gone to some
lengths to perpetrate, has actually made no difference…” 121Livingstone v Rawyards Coal Company
(1880) 5 App. Cas. 25.


                                               Page 189
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 191 of 900
Approved Judgment                                                                  HC-2015-001324
Mr Justice Hildyard


         would have entered into the contract even if the misrepresentation had not been
         made: see Leni Gas & Oil Investments v Malta Oil Pty Ltd [2014] EWHC 893
         (Comm) (Males J, at §§18, 19 and 171-172)120, and paragraph 515 above.

Loss

558.     The only loss claimed in the direct claims is that sustained by Bidco in respect
         of the shares it contracted with the Defendants to buy. This loss has been carved
         out from the FSMA claim so that there is no double recovery.

559.     As Picken J noted in Marme v Natwest Markets Plc [2019] EWHC 366, at §296,
         the distinction is sometimes overlooked: but the question whether loss has been
         caused to the claimant as a result of a representation is a separate issue from
         inducement/reliance. There is a distinction between the questions (i) whether a
         misrepresentation has induced a claimant to act in a certain way and (ii) whether
         a loss has been caused to the claimant as a result of the misrepresentation. See
         also Vald Nielsen v Baldorino [2019] EWHC 1926, at §430.

560.     On the question of loss, the starting point is again Lord Blackburne’s statement
         in Livingstone v Rawyards Coal Co, that damages should be assessed so as to
         “as nearly as possible get at that sum of money which will put the party who has
         been injured, or who has suffered, in the same position as he would have been
         in if he had not sustained the wrong for which he is now getting his
         compensation or reparation.”121



561.     Even in a case of fraud, the quantification of damages is compensatory, not
         punitive: Vald Nielsen v Baldorino at §549, and, like other claims in tort for
         damages, requires “but for” causation. However, English law adopts “a policy
         of imposing more extensive liability on intentional wrongdoers than on merely
         careless defendants”: per Lord Steyn in Smith New Court Securities Ltd v
         Citibank NA [1997] AC 254, 279-285. In particular, the limitations that only
         damage which was (a) foreseeable and (b) within the scope of the duty owed
         which have been adopted in the context of claims in negligence (see South
         Australia Asset Management Corporation v York Montage Ltd [1997] AC 191)
         do not apply in the case of fraud, where “the defendant is bound to make
         reparation for all the damage directly flowing from the transaction”: Doyle v
         Olby (ironmongers) Ltd [1969] 2 QB 158, 167 and Smith New Court [supra].
         Thus, per Lord Briggs of Westbourne and Hamblen LJ in UBS AG (London
         Branch) v Kommunale Wasserwerke Leipzig GmbH [2017] 2 Lloyd’s Rep 621
         at [183]:

                      “…[t]he deceiver is liable, on the tortious basis of analysis, for all the
                      loss directly caused to the representee by the fraudulent
                      misrepresentation, without limits derived from the law as to
                      foreseeability or scope of duty”.

562.     The analysis is similar, but not identical, to that discussed above in the context
         of the FSMA claim. Damages, for the claims in deceit, are to compensate Bidco


                                                Page 190
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 192 of 900
Approved Judgment                                                              HC-2015-001324
Mr Justice Hildyard


         for the wrong suffered, and thus for having relied on the misrepresentations. So
         it is necessary to ask what would have happened if that wrong had not occurred,
         that is, if the misrepresentations had not been made.

563.     The Claimants have instructed Mr Bezant to follow the counterfactual recorded
         as follows in his first report:

                      “In assessing the Misrepresentation Loss, I am instructed to
                      assume that, but for the breaches of duty alleged by the
                      Claimants, the misrepresentations alleged to have been made by
                      the Defendants directly to HP would not have been made; but
                      the impugned transactions would still have been entered into;
                      and Autonomy's published financial information would have
                      been the same as it was in fact.”

         That counterfactual refers to “the misrepresentations alleged to have been made
         by the Defendants”; but Dr Lynch submitted, in my view correctly, that in
         considering the claim against him, only those misrepresentations found to have
         been made by him, or on his behalf, can be taken into account.

564.     As already noted, the Claimants’ primary case is that but for the matters which
         the Claimants complain, including the alleged misrepresentations, Bidco would
         still have acquired Autonomy. The Claimants will only prove their loss on their
         primary case to the extent that they can establish that there would have been an
         agreed bid at a lower price than that which Bidco in fact paid.
565.     It is open to the Court, when considering the question of damages, to find that
         the fraud has caused no loss. Where the parties would have contracted on the
         same terms even in the absence of the fraud, no losses will be recoverable. See
         Vald Nielsen v Baldorino [2019] EWHC 1926 (Comm) (Jacobs J):

               “430. As far as the law is concerned, it was common ground that
               the question of causation was a separate legal question from the
               issue of inducement. Whilst there might be an overlap on the facts
               relevant to both questions, a favourable answer to the Claimants on
               inducement did not enable the Claimants to bypass the question of
               causation. The Defendants referred to a number of authorities in
               support of that proposition, including the following passage in
               Chitty on Contracts 33rd edition, paragraph 7-039:

                  "It seems to be the normal rule that, where a party has entered a
                  contract after a misrepresentation has been made to him, he will
                  not have a remedy unless he would not have entered the contract
                  (or at least not on the same terms) but for the misrepresentation.
                  Certainly this is the case when the misrepresentee claims
                  damages in tort for negligent misstatement; and it seems also to
                  be required if damages are claimed for fraud."




                                              Page 191
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 193 of 900
Approved Judgment                                                                  HC-2015-001324
Mr Justice Hildyard


                 431. The Defendants also cited the analysis of Doyle CJ in an
                 Australian case, Copping v ANZ McCaughan Ltd (1997) 67 SASR
                 525, 539:

                  "It is sufficient if the relevant loss can be said to be caused by the
                  representation, and it is not necessary to show that the loss is
                  attributable to that which made the representation wrongful. In
                  that sense the test is a relatively generous one, in that the
                  misrepresenting party may have thrown upon it risks unrelated
                  to the representation. But there is still the requirement that the
                  loss flows from the representation, and it seems to me impossible
                  to conclude that it does so flow if one concludes that quite apart
                  from the representation the appellant would have entered into a
                  transaction bringing with it the very risk which eventuated in the
                  relevant transaction and which can be seen as the cause of the
                  loss which the appellant seeks to recover. There may be an
                  element of impression in all this."


                 432. In the light of these authorities, it appeared to be common
                 ground that one relevant factual question on causation was
                 whether Updata Europe could prove that, but for the
                 misrepresentation, it would not have entered into the contract with
                 LMS on the same terms that it did. Where a question arose as to
                 what Updata Europe would or would not have done, it was also
                 common ground that the question was to be resolved on the
                 balance of probabilities.” [Underlining added]

566.     The same case (§493) shows that the burden is on a claimant to establish loss.

567.     The exercise is again a counterfactual one to be determined on the balance of
         probabilities. Dr Lynch’s case is that, but for the misrepresentations alleged
         against him, Bidco would still have acquired Autonomy on the same terms, so
         that no loss has been suffered. I address issues relating to this counterfactual
         question later.

568.     If it is established, despite the Claimants’ pleaded case, that but for the
         Defendants’ alleged misrepresentations, Bidco would not have acquired
         Autonomy, then damages fall to be assessed on the “No transaction” basis: see
         paragraph 531 above which is for the most part applicable in this context
         likewise.

569.     As explained in paragraph 534(2) above, the counterfactual issue (what would
         have happened but for the wrong) is like any question of fact (albeit an
         hypothetical one), to which there is a single answer; the Claimants cannot, as
         they contended in opening, plump for an outcome which would happen to give
         them a higher measure of loss at their election or option.




                                             Page 192
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 194 of 900
Approved Judgment                                                                       HC-2015-001324
Mr Justice Hildyard


Misrepresentation Act claims

570.      In the alternative to their claim in deceit, the Claimants claim damages under s.
          2(1) of the Misrepresentation Act 1967 (“s. 2(1)”). This provides:

                      “Where a person has entered into a contract after a misrepresentation
                      has been made to him by another party
                      thereto and
                      as a result thereof he has suffered loss, then, if the person
                      making the misrepresentation would be liable to damages in
                      respect thereof had the misrepresentation been made
                      fraudulently, that person shall be so liable notwithstanding that
                      the misrepresentation was not made fraudulently, unless he
                      proves that he had reasonable ground to believe and did believe
                      up to the time the contract was made the facts represented were
                      true.”


571.      It is a requirement of the section that the representation be made to the person
          who enters the contract, in this case, Bidco. Damages are only available where
          a person has entered into a contract “after a misrepresentation has been made
          to him by another party thereto”. This again raised the ‘Bidco point’ which I
          have addressed above.

572.      There is no requirement for a claimant under s. 2(1) to prove fraud. But he must
          prove all of the other elements of the tort of deceit in respect of the defendant’s
          statement except for the fraud. Thus, he must prove a false representation made

          to the claimant, by or on behalf of the defendant, that the defendant intended the
          claimant to act on it,111 and that the representation was an inducement to the
          claimant's action as a result of which he suffered the loss he claims. 112 The
          arguments above on these elements in the context of the claim in deceit
          accordingly apply equally in the context of the claim under s. 2(1).

573.      In that connection, the Claimants relied on the “fiction of fraud” as importing
          the “presumption of inducement” into this context also.

574.      Liability will not arise where the defendant “proves that he had reasonable
          ground to believe and did believe up to the time the contract was made the facts
          represented were true”. If the Defendants were each dishonest, this would not
          avail them. A more difficult question is if one or both were not dishonest
          because they were not aware of the falsity of the representation in question. The
          Defendants submitted that if it is found that the published information was
          inaccurate on any point, but that the relevant defendant was unaware of and had
          no responsibility for the inaccuracy, then if that Defendant repeated the

111
    As to this element, see Raiffeisen Zentralbank v RBS [2010] EWHC 1392 (Comm) at §221: “The
requirement that a representation must be made with the intention that it should be acted on by the
other party applies equally under section 2(1) of the Misrepresentation Act as in a fraud case”.
112
    Cartwright, Misrepresentation, Mistake and Non-Disclosure (4th Ed., 2017), §7-17.


                                               Page 193
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 195 of 900
Approved Judgment                                                                        HC-2015-001324
Mr Justice Hildyard


          statement made in the published information, it will (in practice) likely follow
          that he will have had reasonable grounds for believing, and did believe what he
          was saying to be true. Dr Lynch, in particular, submitted that he was entitled
          to, and did, rely on the accuracy of Autonomy’s published information, prepared
          by experienced accountants in the finance department and reviewed by Deloitte.
          I return later to this defence also.

575.      As regards the measure of damages under s. 2(1), the Claimants relied on
          Royscot Trust v Rogerson [1991] 2 QB 297 (CA) as establishing that the fraud
          measure of loss applies. The decision in Royscot Trust has been much criticised.
          In Smith New Court, Lord Browne-Wilkinson said that he expressed no view on
          the correctness of the decision, as did Lord Steyn,113 and it was also doubted by
          Leggatt J in Yam Seng.114 Dr Lynch accepts that Royscot Trust is binding on this
          Court, and has the consequence which the Claimants state. However, he
          reserved the right to contend on appeal that the case was wrongly decided.

Direct claims for breach of duty

576.      Independently of the claims relating to the acquisition, the second and third
           Claimants (Autonomy Inc and ASL) have brought direct claims to recover the


          direct loss that they and Zantaz suffered as a result of the Defendants’ breach of
          duty in causing such company to enter into loss-making transactions for
          allegedly improper purposes giving rise to loss.

577.      The breach of duty claims relate to four categories of transaction: (i) lossmaking
          “pure hardware” sales (and a claim in respect of a hardware-related bonus that
          was paid by Zantaz to Mr Sullivan); (ii) VAR transactions where a marketing
          assistance fee (MAF) (or similar payment) was paid to the VAR (or the relevant
          Autonomy entity forewent receipts); (iii) alleged reciprocal transactions and
          VAR transactions involving a reciprocal element; and (iv) Schedule 12D
          hosting transactions.

578.      Autonomy Inc was the contracting party for most of these transactions; Zantaz
          was the contracting party on the Schedule 12D hosting transactions (save for
          one transaction where Autonomy Inc was the contracting party). Nonetheless,
          the Claimants’ primary claim is that damages are recoverable by ASL rather
          than Autonomy Inc or Zantaz, because of transfer pricing arrangements between
          Autonomy Inc / Zantaz / Verity Inc, and ASL, under which revenues and costs

113
   Smith New Court at 267 and 283.
114
   Yam Seng at §206: “The decision in the Royscot Trust case has been much criticised. As has been
pointed out by academic writers, the policy considerations which justify a broad measure of damages
where fraud has been demonstrated do not apply, or in nothing like the same degree, in cases of mere
negligence. Nor does the language of s 2(1) seem to me to compel such a conclusion. It is possible to
construe the words ‘and as a result thereof … has suffered loss’ as requiring the claimant to show that
he has suffered loss as a reasonably foreseeable result of a misrepresentation having been made to
him, and to treat the following words as imposing an additional requirement (that the defendant would
be liable to damages had the misrepresentation been made fraudulently) which must also be satisfied.
Unless and until the Royscot Trust case is overruled, however, it represents the law; and I must
therefore apply it.”


                                                Page 194
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 196 of 900
Approved Judgment                                                                  HC-2015-001324
Mr Justice Hildyard


         of the former were transferred to the latter. There is an issue in this regard; one
         of the points raised by Dr Lynch being that he had no detailed knowledge of the
         transfer pricing arrangements and no awareness of ASL having any exposure,
         nor that losses would be transferred from Autonomy Inc to ASL. To the extent
         the claim is alleged to be a breach of duty to ASL in entering the transfer pricing
         arrangements he contends no such claim could succeed against him. I deal with
         that contention later, but in summary I find that for the breach of duty claims to
         succeed the breach must have occurred in entering the impugned transactions,
         and not in the context of the transfer pricing arrangements. Thus his knowledge
         of those is not determinative of the direct claims.

579.     In addition, according to the RRAPoC before becoming absorbed into HP with
         effect from 1 November 2014, Zantaz assigned to Autonomy Inc all its rights,
         title to and interest in, amongst other matters, any claims, rights and causes of
         action that Zantaz had against third parties, and notice of such assignment was
         given to the Defendants on 27 March 2015.

580.     Mr Hussain was a director of all three entities alleged to have suffered loss
         (Autonomy Inc, ASL and Zantaz). Dr Lynch’s case is that he was not a de jure
         director of any of them; the Claimants contended that he was President of
         Autonomy Inc (which he denied) and a de facto or shadow director of ASL
         (which also he denied), and that he owed fiduciary duties to each of those two
         entities accordingly.

581.     The issue whether Dr Lynch was a de facto or shadow director is one of fact,
         and the burden of proving it is on the Claimants. It was stated by Morgan J in
         Instant Properties Ltd v Rosser [2018] BCC 751 at [219], citing Lord Hope’s
         review of authority in Revenue and Customs Cmrs v Holland [2010] 1 WLR
         2793, that:

                      “if it is unclear whether the acts of the person in question are referable
                      to an assumed capacity or some other capacity such as shareholder or
                      consultant the person in question must be entitled to the benefit of the
                      doubt.”

582.     The Claimants originally alleged that Dr Lynch was also a de facto director of
         Zantaz but when the conditions that would need to be satisfied to establish that
         under Californian law (Zantaz being an entity incorporated and existing under
         the law of the State of California) were explained they withdrew the claim
         against him by Zantaz: in the result, no claim on behalf or in right of Zantaz was
         properly entered against him.

583.     As to the substantive merits of the claims, the Defendants contended that the
         transactions impugned were all ones that could properly be undertaken, acting
         in the best interests of the contracting party and the group. These points are
         developed below.




                                                Page 195
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 197 of 900
Approved Judgment                                                                 HC-2015-001324
Mr Justice Hildyard


Interpretation of accounting standards and statements of practice

584.     Except for its case relating to the representations made about IDOL OEM
         revenue, the Claimants’ claims revolved around issues of accounting. The
         following paragraphs provide an overview of the accounting framework to be
         interpreted and applied. I return to particular aspects of these accounting issues
         in the context of the specific claims in which they arise.

585.     The statutory underpinning is provided by the Companies Act 2006. Section 395
         of the Companies Act 2006 requires that a company’s accounts must present a
         “true and fair view” of its assets, liabilities, financial position and profit or loss.
         That standard is to be satisfied by preparing such accounts either under section
         396 of the Companies Act 2006 (“section 396”) and in accordance with
         Financial Reporting Standards issued by the Financial Reporting Council (“the
         FRC”), or under section 395 of the Companies Act 2006 (“section 395”) and in
         accordance with international accounting standards as defined.

586.     Accounts properly prepared either in accordance with section 396 or in
         accordance with IAS are said to be prepared in accordance with generally
         accepted accounting practice (“GAAP”). There are, however, different versions
         of GAAP. In the United States there are different practices together
         compendiously known as “US GAAP”: the US has not adopted IAS, and US
         GAAP departs from IAS in key areas. US GAAP principles were not applicable
         to Autonomy before its acquisition by HP, though (as I explain later) they were
         familiar to and may incorrectly have influenced the Claimants in bringing their
         claims.

587.     As a UK listed company, Autonomy was required to prepare its accounts in
         accordance with the international accounting standards customarily known in
         the accounting profession as “EU-adopted IFRS”. IFRS are accounting
         standards issued since 2001 by the International Accounting Standards Board
         (“IASB”), and EU-adopted IFRS are those IFRS that have been adopted by the
         European Commission in accordance with EC Regulation No. 1606/2002.
         Between 1975 and 2001 accounting standards issued by the IASB’s predecessor,
         the International Accounting Standards Committee (“IASC”) were known as
         IAS, and they have for the most part continued in operation alongside newer

         IFRS developed and introduced since 2001. In practice, the terms “IAS” and
         “IFRS” are used interchangeably.

588.     The aim of these standards is to harmonise regulations, accounting standards
         and procedures relating to the preparation and presentation of financial
         statements and to seek to ensure that financial statements achieve their purpose
         of providing the information about the financial position, performance and
         changes in the financial position of an entity which is likely to be necessary for
         the purposes of enabling their readership to make informed economic decisions.
         Application of the IAS/IFRS is presumed to achieve a fair presentation of the
         financial position, financial performance and cash flows of a company, though
         the EC Regulation and IAS 1 provide a saving where compliance would be so



                                             Page 196
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 198 of 900
Approved Judgment                                                              HC-2015-001324
Mr Justice Hildyard


         misleading as to conflict with the purpose of financial statements. The
         requirement that the accounts should “fairly present” the position and
         performance of the company is substantially the same as the requirement that
         they should present a “true and fair view” (which is the test long adopted in a
         sequence of English Companies Acts).

589.     After some debate and expression of concern amongst both accountants and the
         market as to whether in the case of entities adopting IAS accounting the
         presumption that compliance with IAS/IFRS accounting standards would, save
         in an exceptional case, result in a ‘fair presentation’, replaced the age-old
         requirement that accounts should present a true and fair view, the present
         version of section 393 of the 2006 Act gave renewed recognition to the older
         test: it re-confirms that the directors must not approve annual accounts which
         they are not satisfied give a “true and fair view”. Although the mechanism for
         that test to be paramount is now provided within IAS and not the 2006 Act, the
         result is in my judgment that the test is ultimately the standard to be achieved
         and the accounting standards are to be interpreted as the means of complying
         with the underlying duty of directors to present a “true and fair view” of their
         company’s financial position, performance and prospects. I would take it to be
         the test graven in the heart and mind of every director responsible for the
         accounting statements of a public listed company such as Autonomy.

590.     I stress that because it is worth emphasising that a company’s accounts are
         ultimately the product and responsibility of the directors. Auditors, even
         auditors with free access to detailed records, are at one remove, and in the end
         cannot know what the Directors had in mind except by reference to what
         directors choose to reveal.

591.     In that connection, the Defendants placed great reliance and emphasis on the
         fact that Deloitte had free and open access to all Autonomy’s books and records,
         considered in detail and reviewed with care the facts and accounting standards
         applicable to all the transactions which the Claimants have impugned, and
         approved Autonomy’s financial statements and reports in every quarter and half
         and full year in the Relevant Period. The question whether that provides the
         Defendants with an answer to these claims depends not only on the facts and the
         extent of Deloitte’s knowledge, and the interpretation of the variety of
         Accounting Standards and Statements of Practice which had to be satisfied in
         that context, but also on a determination of what in reality the directors regarded
         the economic effect as being or likely to be.

Key accounting issues

592.     The key accounting matters in issue in these proceedings relate to

              (1) The recognition of revenue (which is relevant to most of the Claimants’
                  allegations); and

              (2) The accounting for and/or disclosure of hardware sales transactions in
                  Autonomy’s various financial statements.



                                           Page 197
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 199 of 900
Approved Judgment                                                              HC-2015-001324
Mr Justice Hildyard


593.     The standards bring necessary detail to the overall guidance provided by the
         ‘Framework for the preparation and presentation of Financial Statements’
         published in 1989 and subsequently partially revised by ‘The Conceptual
         Framework for Financial Reporting’ issued in September 2010 (which
         contained new material on the objective of general-purpose financial reporting
         and on qualitative characteristics of useful financial information).

594.     Neither the ‘Framework’ nor the ‘Conceptual Framework’ has the status of an
         accounting standard; but they provide a framework for the development of more
         precise standards, a useful guide as to the meaning and intention of individual
         standards if unclear, and a reference point for the accounting treatment of
         transactions for which there are no specific rules. An example of the guidance
         given, and one which occasioned considerable debate in these proceedings,
         concerned the important concept of ‘economic substance’. Both Framework
         documents and the relevant standards require that transactions and events must
         be accounted for “in accordance with their substance and economic reality and
         not merely their legal form.”

595.     The experts agreed that the Accounting Standards (“IAS(s)”) issued by the
         IASC and newer International Financial Reporting Standard(s) (“IFRS”) issued
         by the IASB of particular relevance are:

              (1) IAS 1 (‘Presentation of financial statements’)

              (2) IAS 2 (‘Inventories’)

              (3) IAS 18 (‘Revenue’)

              (4) IAS 34 (‘Interim financial reporting’)

              (5) IFRS 8 (‘Operating segments’).

596.     As I elaborate later, especially in the context of the application of the rules for
         revenue recognition contained in IAS 18.14 (which as I shall return to later, has
         since been replaced by IFRS 15), there was a dispute between the parties, and
         to a lesser extent between the experts, as to the proper approach to the
         interpretation of IFRS/IAS.

597.     In summary, the dispute was as to the extent to which the legal attributes of a
         transaction should be taken to determine its true nature from the point of view
         of IAS/IFRS standards. The most obvious and usual case where it would be
         relevant is in seeking to determine how to apply IAS where the legal content of

         a transaction appears to differ from what circumstances reveal to be its intended
         or actual economic effect, and where if the legal effect is conclusive, revenue
         would fall to be recognised, but if a test of economic reality were to be applied,
         it would not be. (Thus, for example, Autonomy’s VAR transactions plainly
         provided for ownership, managerial control and the significant risks and
         rewards of ownership to pass to the VAR, those being preconditions of revenue
         recognition; but at least arguably, the economic reality was that Autonomy


                                           Page 198
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 200 of 900
Approved Judgment                                                                  HC-2015-001324
Mr Justice Hildyard


         retained the economic risk, effective managerial control and the real risks and
         rewards of ownership, raising acutely whether the preconditions were to be
         interpreted as imposing a legal test, or as imposing a test of their economic
         substance.)

598.     In Ball UK Holdings Ltd v HMRC [2018] UKUT 407 (TCC), the issue as to
         whether the interpretation of an accounting standard was a process of legal
         analysis or accountancy practice arose in acute form in relation to a dispute as
         to the meaning of “the functional currency” in FRS 23. FRS 23 is the standard
         prescriptive of the selection of a single currency in financial statements. The
         Upper Tribunal, whilst acknowledging (at [38]) that “accountancy clearly does
         meet up with legal principles…in the Companies Act, and in particular in the
         requirement now in s 393(1) Companies Act 2006 that accounts must give a
         “true and fair view…”, stated as follows (at [37] and [40] to [41]):

                      “37. Accounting standards are not legal documents. They are not
                      statutes or contracts. This is also not a case where public law concepts,
                      such as the doctrine of legitimate expectation, are engaged in a way that
                      means that the document in question may form the basis of a legal right.
                      So it is not necessary to construe them to determine any legal effect to
                      be given to them. They are documents written by accountants for
                      accountants, and are intended to identify proper accounting practice,
                      not law. No accountant would consider turning to a lawyer for
                      assistance in their interpretation, nor should they.
                       …
                      40. In our view, the question of what is generally accepted accounting
                      practice, as well as the question whether a particular set of accounts are
                      prepared in accordance with it, is a question of fact to be determined
                      with the assistance of expert evidence. Professional accountants are best
                      placed to understand accounting statements in their context, and in
                      particular their “spirit and reasoning”.
                      41. What is a matter for a court or tribunal, however, is the proper
                      assessment of expert evidence. Clearly a judge may prefer the evidence
                      of one expert to that of another, but this should be fully reasoned and
                      the judge should not simply “develop his own theory” (see for example
                      Devoran Joinery Co Ltd v Perkins (No 2) [2003] EWCA Civ 1241 at
                      [24]).”



599.     I must admit, with all respect, to some reservations about the generality of the
         last two sentences of [37] in its application to accounting standards for company
         accounts in general, and to IAS 18.14 in particular. I tend to think that it could
         be simplistic to regard such accounting standards as written by accountants for
         accountants, without recognising that such statements are issued after broad
         consultation and input, including from lawyers, and after regard has been had to
         the likely context of their application, which (at least in the case of IAS 18.14)



                                                Page 199
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 201 of 900
Approved Judgment                                                              HC-2015-001324
Mr Justice Hildyard


         will usually be a legal relationship. The law and the way lawyers apply and
         interpret the law, inform them and this is reflected in the drafting, even if the
         emphasis is on applying the standard in a way which reflects the economic
         reality of the entity’s economic position and performance. Hence, for example,
         my understanding is that a lawyer was usually part of a panel of enquiry because
         law and accountancy were so closely enmeshed in determining the approach to
         and proper application of accounting standards with a view to achieving the
         statutory standard of a “true and fair view”.

600.     In that latter context, it is also to be noted that when the issue arose in 1983 as
         to the interaction between the requirement that accounts must state a “true and
         fair view” and statements of accounting principles, the Accounting Standards
         Committee turned to two lawyers, Mr Leonard Hoffmann QC and Miss Mary
         Arden (as they then were), for the answer; and the FRC turned to Mr Martin
         Moore QC when the question was revisited in the light of the European
         Directive and changes in the law in 2008.

601.     However, with that caveat, I agree with the conclusion reached in Ball UK
         Holdings Ltd v HMRC, in which the Upper Tax Tribunal followed Arnold J’s
         decision in Smith v HMRC [2011] STC 1724, that accounting standards are not
         law, and their interpretation is therefore not a question of law. Further, in many,
         if not most cases, the question will not be as to what single approach is dictated:
         it will (in the event of dispute) be a question whether a given approach is within
         the range of possible proper applications of the standard according to the
         practice of accountants as revealed by expert evidence.

602.     The court or tribunal will ordinarily have to determine that question by reference
         to the expert evidence, although ultimately it is for the Court or tribunal to
         determine the correct principle of commercial accountancy to be applied, or the
         permissible range which would constitute compliance. Whilst Mr Peter Holgate
         (“Mr Holgate”) considered that the range would usually be “relatively narrow”
         he accepted that its scope and the application of IAS/IFRS to a specific company
         would be a matter of judgement having regard to all the particular facts and
         circumstances.

603.     I also agree that the standard must be applied to the economic substance and real
         intended effect of the transaction and not merely its legal form and content; and
         whilst the contractual provisions are likely (as Mr Miles submitted) to define
         the relationship between the parties and their shared intent, they are the starting
         point and not the end-point in assessing the real substantive effect of the
         arrangements constituting and relating to the transaction.

604.     The assessment involves an analysis of the entire commercial package of rights
         and an assessment of how the arrangements the parties have made are in
         substance intended to affect their relationship in respect of the subject-matter of
         the contract. The assessment must also take into account indicia which the court
         considers the evidence of accounting practice suggests should be taken into
         account as being relevant to that assessment.




                                           Page 200
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 202 of 900
Approved Judgment                                                               HC-2015-001324
Mr Justice Hildyard


605.     Further, and although the court must be wary, in determining the attributes of a
         transaction, about taking into account matters which the parties have expressly
         stipulated should not be taken into account, and equally wary of promoting an
         assurance as to likely future conduct of another person (here, Autonomy) into a
         defining element in the relationship between the parties, the court has to keep
         well in mind that though a legal prohibition may deprive legal effect to
         something done in breach of it, cannot erase it as a fact. If it has happened, it
         has happened, and the law can only regulate its consequences in law and not
         deny it and its operation between the parties in point of fact.

606.     Lastly on this issue, I agree with Mr Rabinowitz that the court must be careful
         in its approach to guard against viewing the matter though a legalistic prism. It
         must assess the substance in the round; and even where (as perhaps in the case
         of IAS 18.14), the examples given or rules expressed in explaining the standard
         appear to reflect legal principles) it must be guided in its reading and application
         of the standards by the approach of accountants as revealed by the expert
         evidence, and by the objective of IFRS accounting, being (in my view) to
         achieve a true and fair presentation and account of the substantive economic
         performance of the company, and to inform appraisals and investment decisions
         likely to be made in reliance on that account.

Issues of nomenclature

607.     Throughout this judgment, unless stated to the contrary, I use the terms “the
         Claimants” as a shorthand to denote the Claimant making the particular claim.
         The Claimants do not in reality make any claims jointly. A summary of the
         individual claimant(s) making the various claims is provided in the next section.

608.     I should also clarify that in terms of describing the acquirer, I use the
         descriptions HP and Bidco interchangeably in light of my conclusions on the
         ‘Bidco Point’.

609.     My references to ‘Autonomy’ in the context of the various impugned
         transactions are by way of shorthand convenience; but in the context of an
         impugned transaction the reference is intended to denote (unless otherwise
         stated) whichever of the Autonomy group companies was the contracting party.

610.     References to the ‘Defendants’ are to whichever of the two of them is alleged
         to have been implicated in wrongdoing. I have sought to identify them
         individually when issues arise as to that individual’s knowledge or involvement.
         Mr Hussain adopted all Dr Lynch’s submissions as regards matters other than
         knowledge.

Structure of the judgment

611.     As explained in paragraph 33 above, the length of this judgment has necessitated
         its division into two parts. I deal with the claims in separate chapters, in the
         following sequence, the first two chapters being in Part A and the remainder
         being in Part B:



                                           Page 201
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 203 of 900
Approved Judgment                                                                     HC-2015-001324
Mr Justice Hildyard


              (1)         Hardware Claims and related issues (paragraphs 613 to 1854);

              (2)         Reseller/VAR Claims, including claims in relation to the VAR
                          reciprocals, and related issues (paragraphs 1855 to 2336), in
                          respect of which there is also a Schedule in a separately page-
                          and paragraph- numbered document containing an analysis of
                          each of the 37 impugned VAR transaction;

              (3)         Reciprocal Transactions (paragraphs 2337 to 2972B);

              (4)         OEM Claim (paragraphs 2973 to 3253);

              (5)         Hosting Claim, including Schedule 12D Hosting Direct Loss
                          Claim (paragraphs 3254 to 3739);

              (6)         Other Transactions Claims (paragraphs 3740 to 3820);

              (7)         Deceit and Misrepresentation (paragraphs 3821 to 3993);

              (8)         Reliance and Loss Revisited (paragraphs 3994 to 4076);

              (9)         Direct Loss Claims (paragraphs 4077 to 4105);

              (10)        Dr Lynch’s Counterclaim (paragraphs 4106 to 4115);

              (11)        Conclusion (paragraphs 4116 to 4135).

612.      I have latterly also included a Postscript to address various matters raised in the
          process of providing comments and corrections on the embargoed drafts of this
          judgment (see paragraphs 4136 to 4155).


HARDWARE CLAIMS


The Claimants’ ‘Hardware Case’ in outline

613.      A flagship of the Claimants’ case is their claim that although Autonomy was
          presented to the market (and in due course to HP) as deriving substantially all
          its revenue from the sale of high margin proprietary software, in fact from Q3
          2009 onwards (and throughout the Relevant Period) a substantial (and certainly
          material) part of its revenue was derived from undisclosed sales of third-party
          hardware. In internal Autonomy emails, these hardware sales were often
          euphemistically referred to as “low margin” sales; but in fact they were almost
          invariably at a loss.115

614.      The Claimants divided Autonomy’s hardware sales into three categories: (i)
          ‘pure hardware’ sales, (ii) ‘Appliance sales’ and (iii) ‘other hardware sales’.

115
   because Autonomy had to purchase hardware from third party suppliers, and the purchase price paid
by Autonomy exceeded the amount received by Autonomy in respect of the onward re-sale.


                                              Page 202
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 204 of 900
Approved Judgment                                                            HC-2015-001324
Mr Justice Hildyard


         These categories, and the difficulties or obfuscation which they caused, are
         explained further, together with other issues of terminology in relation to the
         Claimants’ hardware claims, in paragraphs 648 to 659 below.

615.     Of the three categories of hardware sales, by far the largest was “pure hardware
         sales”. Put shortly, ‘pure hardware’ sales were sales of hardware where the
         hardware sold had no Autonomy software in it and the sale did not include any
         Autonomy software as part of the overall sale. The revenue generated by ‘pure
         hardware’ sales was substantial: some $200 million over the course of the
         Relevant Period (constituting some 11% of total reported revenues), including
         $105 million in 2010 alone.

616.     According to the Claimants, the sales of ‘pure hardware’ lacked any legitimate
         commercial rationale. Their only real purpose was to assist Autonomy to meet
         (and if possible, “beat and raise”) market expectations for overall revenue in
         the quarter or other longer period in question. The Claimants dismissed as a
         pretence the Defendants’ justification of the ‘pure hardware’ sales and all the
         hardware sales as being to assist software sales and promote the development
         of Autonomy’s core software business.

617.     The Claimants contended further that to achieve the real purpose of what
         became a routine activity or programme (“the hardware reselling strategy”), it
         was necessary that the extent of the sales and their contribution to Autonomy’s
         revenues should never be disclosed or visible to the market. The purpose being
         to present substantially all Autonomy’s revenues as derived from sales of its
         own software, it would undermine that purpose if the market was told, or was
         able to discover, how much of Autonomy’s revenues were in fact derived from
         loss-making hardware sales.

618.     The necessity to hide the hardware sales in turn necessitated the concoction of
         a narrative which would persuade what the Claimants described as a “very
         reluctant” Deloitte and the Audit Committee to accept that revenue from


         hardware sales should be aggregated with revenue from software sales without
         differentiation, and that no disclosure of the separate source of part of the
         revenue was required in Autonomy’s accounts or published information.

619.     In the result, although hardware sales were accounted for in that the revenue and
         costs of sales were brought into account, Autonomy’s published information
         mentioned neither the ‘pure hardware’ sales nor any other hardware sale, except
         the sale of a small quantity of ‘appliances’ at margins represented to be “not
         dissimilar” to software sales. The hardware reselling strategy was thus never
         mentioned to analysts and the market. The Claimants contended that the
         Defendants personally “went out of their way to prevent the market knowing
         that this was happening”.

620.     In the Claimants’ words in their written closing submissions, Autonomy’s
         “hardware reselling strategy” in which both Defendants were “centrally
         involved” and “actively concealed”:


                                          Page 203
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 205 of 900
Approved Judgment                                                                       HC-2015-001324
Mr Justice Hildyard


                      “…was little more than a scheme whereby Autonomy in effect ‘bought
                      and paid for’ recognisable revenue to inflate reported revenue in order
                      to mislead the market.”



621.      The Claimants further contended that to mitigate and disguise the inevitably
          adverse effect which low margin/loss making hardware sales would have on
          Autonomy’s gross margins116 and gross profits, two further refinements of the
          scheme came to be adopted. Both further demonstrated that hardware sales had
          nothing to do with driving software growth (which, put broadly, was the
          Defendants’ justification for it). The two refinements were:

              (1) if expected shortfalls in software sales did not eventuate, so that revenue
                  from high-margin software transactions unexpectedly transpired to be
                  sufficient to meet forecasts, revenue from hardware sales would be
                  deferred to a subsequent quarter for later use; and

              (2) instead of accounting for all costs as Costs of Goods Sold (“COGS”), as
                  much of such costs as ingenuity would allow and Deloitte could be
                  persuaded to approve would be allocated as Sales and Marketing
                  expenses, thereby diminishing the adverse effect of loss-making sales on
                  Autonomy’s gross profit margin and thus its apparent performance.

622.      The Claimants’ primary case is that the financial position and performance, and
          thus the long-term value, of Autonomy was thereby fundamentally distorted and
          overstated.

623.      The gist of the FSMA claim against the Defendants is that they instigated all
          this, or at least had full knowledge of it, knew that this was wrong and repeatedly
          misled Autonomy’s auditors, the Audit Committee, the market more generally,


         and during the pre-acquisition discussions and due diligence process, HP in
         particular. The Claimants contended that the contemporaneous documentary
         evidence makes all this plain.



624.      The Claimants’ case on ‘pure hardware’ was summarised in paragraph 54A of
          their RRAPoC as follows:

                      “There was no legitimate business reason for Autonomy Inc to enter
                      into any pure hardware transactions. In fact, the pure hardware
                      transactions were not entered into genuinely in furtherance of, or
                      pursuant to, Autonomy Inc’s business, but rather were entered into for
                      the improper purpose of allowing Autonomy falsely to portray itself as

116
   Gross margin is the margin on each incremental sale of a product; or, across a company, the average
gross margin across all sales.


                                               Page 204
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 206 of 900
Approved Judgment                                                                HC-2015-001324
Mr Justice Hildyard


                      a high-margin software company whose revenues were growing
                      rapidly and meeting market expectations, when in reality a substantial
                      portion of these revenues and the apparent rate of revenue growth
                      were the result of undisclosed (and indeed, as pleaded further below,
                      actively concealed) pure hardware sales.”


625.     The Claimants seek very large damages or compensation on the basis, in broad
         summary, that the fact that a material part of Autonomy’s revenues was derived
         from loss-making or (at best) low margin hardware sales which were not
         disclosed meant that Autonomy was a very different company, and very much
         less valuable, than it was presented to be.

626.     In addition to their FSMA claims, the Claimants also pursued direct claims
         against the Defendants on the basis that the Defendants breached their duties to
         Autonomy Inc and/or ASL by causing those companies to conduct hardware
         transactions at a loss.

627.     Thus, the Claimants’ causes of action in relation to their Hardware Case are:

              (1) Claims pursuant to FSMA, on the basis that in consequence of the failure
                  to disclose the hardware sales Autonomy’s published information was
                  untrue or misleading, rendering Autonomy liable to Bidco (which
                  liability Autonomy admitted and now seeks to recover against the
                  Defendants);

              (2) Claims in deceit and under the Misrepresentation Act 1967 directly
                  against both Defendants on the basis that they fraudulently made
                  material misrepresentations as to the financial position, performance and
                  prospects of Autonomy and thereby induced HP, and thus Bidco, to
                  proceed with the acquisition of their shares in Autonomy at the offer
                  price.



              (3) Claims for breach of duty against both Defendants on the basis that at
                  their instigation Autonomy Inc entered into what they termed “pure
                  hardware” transactions (as to which, see below) “not for any legitimate
                  business purpose, but for the improper purpose of generating the
                  revenues that would enable Autonomy to portray itself, falsely, as a high
                  margin software company”.

628.     Claims within category (3) above seek recovery of transactional losses.
         However, the losses from the hardware transactions themselves were relatively
         small (in the region of $20 million) and transactional losses are not the real focus
         of the Claimants’ complaint. It is important to keep those much smaller claims
         separate in order to preserve focus on the far larger claims based on
         misrepresentation and non-disclosure: and I consider the claims for
         transactional losses in another part of the judgment.



                                               Page 205
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 207 of 900
Approved Judgment                                                                HC-2015-001324
Mr Justice Hildyard


Defendants’ case in summary and matters primarily in dispute in the FSMA Claim

629.     The Defendants did not deny that Autonomy transacted substantial hardware
         sales in volume and value terms between Q2 2009 and Q2 2011. The
         Defendants’ case was that reselling hardware at a discount to its customers was
         a carefully weighed strategy, the principal purpose of which was to protect,
         support and facilitate software sales and Autonomy’s software business.

630.     As presented by the Defendants, the strategy had two primary prongs: one
         pointing towards Autonomy’s hardware suppliers and the other pointing
         towards its software customers:

              (1) As regards hardware suppliers, its objects were to enhance Autonomy’s
                  relationships with those suppliers and increase the prospect of them (a)
                  optimising their hardware products for use with IDOL software, (b)
                  cooperating with Autonomy to develop a joint “appliance” if the market
                  adopted what appeared to be a move towards appliances as the means of
                  delivery of software and (c) generally, encouraging their hardware
                  customers to buy Autonomy/IDOL software. Autonomy also hoped and
                  expected thereby to increase Autonomy’s market presence and the
                  market penetration of Autonomy’s software offerings.

              (2) As regards Autonomy’s customers, its objects were (a) to enhance its
                  ability to offer one-stop shopping and bulk purchasing and thereby (b)
                  to consolidate its position as a favoured IT supplier and achieve or retain
                  “key supplier status” at a time when some of its customers were limiting
                  the number of their IT customers in order to make procurement cheaper
                  and more efficient. Further, many of its customers had procurement
                  departments, whose performance was measured on the discounts they
                  could obtain. Although the discounts offered by Autonomy caused most
                  of its hardware reselling to be at a loss, the Defendants contended that
                  the losses were small, especially in comparison to the very high margins
                  on increased software sales encouraged by the strategy.

631.     Their principal answers to the question posed by Mr Rabinowitz, put summarily,
         were that:

              (1) The sales of hardware were never an end in themselves, and Autonomy
                  never undertook a separate business as a hardware seller or reseller: its
                  hardware reselling strategy was part of its single segment software
                  business and, in effect, a loss leader and/or a form of marketing to protect
                  and promote that business;

              (2) The hardware sales or re-sales were disclosed to and reviewed in great
                  detail by Deloitte, who approved their accounting treatment;

              (3) Every deferral of revenue was justified, and the allocation of costs of
                  hardware sales in part to Sales and Marketing was discussed and agreed
                  with Deloitte and approved by both Deloitte and the Audit Committee;



                                            Page 206
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 208 of 900
Approved Judgment                                                            HC-2015-001324
Mr Justice Hildyard


              (4) It was for Deloitte to advise, and they did advise, what disclosure was
                  required by accounting standards, and Autonomy never acted contrary
                  to that advice; and that



              (5) It was a management judgment whether further disclosure should be
                  made voluntarily, but on rational and substantial grounds, management
                  determined not to provide further disclosure, and their decision was
                  supported by both Deloitte and the Audit Committee who signed off on
                  Autonomy’s published information throughout the Relevant Period.

632.     The Defendants relied principally on the evidence of the Claimants’ own
         witnesses, and in particular, that of Mr Sullivan and Mr Egan, which (they
         submitted) confirmed that there was a valid commercial rationale for the
         hardware sales (including the “pure hardware” sales) as a means of driving
         software sales. The Defendants submitted that (since it is their own) the
         Claimants are bound by that evidence, which was also given support by another
         witness called by the Claimants, Mr Welham.

633.     The Defendants acknowledged that the sales of hardware did provide
         “flexibility” in terms of supplementing revenue and could be and were used to
         enable revenue to be supplemented where quarterly revenue slipped. However,
         that was a collateral advantage rather than the purpose, let alone the primary
         purpose, of such sales.

634.     In asserting that “None of these claims bears scrutiny” it was an important
         element of the Defendants’ case that Deloitte reviewed all the published
         information now contended by the Claimants to have been fraudulently
         presented, and (as Mr Welham accepted) would not have allowed any statement
         or presentation to be made that they considered misleading.

635.     According to the Defendants, Deloitte were aware of Autonomy’s hardware
         sales, right down to a granular deal by deal basis, their amounts, their
         lossmaking nature (to the extent that they were so) and the identities of the
         counterparties. They knew that some of the hardware was sold without adding
         any software to it. Deloitte considered and discussed with Autonomy’s finance
         department and the Audit Committee not only the inclusion of the revenues as
         revenue, but also the disclosure, categorisation and explanation of Autonomy’s
         various types of revenue.



636.     Dr Lynch also stressed that he was not an accountant; he was entitled to, and
         did, think that in preparing and scrutinising the accounts the finance department
         (made up of experienced accountants), Deloitte and the Audit Committee had
         properly done their job. Thus, if more disclosure was required, he expected them
         to say so; and if any of those people had thought the published information was
         misleading, he expected them to say so, explain why, and offer an alternative
         which would ensure its fairness and accuracy.


                                           Page 207
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 209 of 900
Approved Judgment                                                              HC-2015-001324
Mr Justice Hildyard


637.     In the round, Dr Lynch depicted the aggregate gross losses from the hardware
         reselling strategy as a small price to pay for what in effect was, as he saw it, a
         successful marketing strategy at a time of threatening market changes which
         was of considerable benefit to Autonomy.

The Principal Issues

638.     The Claimants identified and summarised the principal issues to be determined
         in relation to their case impugning the hardware transactions as follows:

              (1) What was the Defendants’ purpose in causing Autonomy to resell “pure
                  hardware”?

              (2) Was Autonomy’s published information untrue or misleading by reason
                  of the ‘pure hardware’ sales, and did the Defendants appreciate this?

              (3) Did Autonomy’s treatment of the costs of the ‘pure hardware’ sales
                  render Autonomy’s published information untrue or misleading, and did
                  the Defendants appreciate this?

              (4) Should Autonomy, at the least, have made clear in its published
                  information what its accounting policy was with respect to hardware?

              (5) Did Autonomy wrongly recognise revenue in Q2 2009 on a specific ($6
                  million) hardware transaction with Morgan Stanley?

639.     That summary of the issues, which as to (2) to (5) follows the structure of the
         first report of the Claimants’ expert witness, Mr Peter Holgate, provides a useful
         overall structure for the analysis and determination of the hardware case.
         However, these headline issues need to be broken down further to understand
         the various strands of the Claimants’ hardware case as it was ultimately put
         forward, and the Defendants’ answer to it (especially their contention that they
         relied on Deloitte’s approval).

640.     First, it is necessary to identify three different contexts in which the Claimants’
         case as to the purpose of the hardware reselling strategy (Issue (1) in paragraph
         638 above), which was the central area of disputed fact, is relevant:
             (1) Its principal context is the Claimants’ contention that the overall purpose
                  asserted by the Defendants was no more than a pretext falsely to justify
                  describing and accounting for revenue from the hardware sales as if it
                  were part of, or at least not to be distinguished from, revenue from
                  software sales. That is a self-sufficient part of the Claimants’ hardware
                  case, in that they contended that if they established it, Autonomy’s
                  published information was plainly false and misleading, and can be
                  determined to have been so without reference to the expert evidence. Mr
                  Shelley, co-head of one of Autonomy’s Corporate Brokers (UBS), had
                  to concede in cross-examination that if the market had found out that
                  Autonomy was selling hundreds of millions of dollars of hardware to
                  inflate its apparent software revenues then that would have been fraud
                  and the market would not have reacted well.


                                           Page 208
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 210 of 900
Approved Judgment                                                              HC-2015-001324
Mr Justice Hildyard


              (2) A second context in which the identification of the purpose of the
                  programme is relevant is the Defendants’ defence that Deloitte approved
                  all the published information relied on by the Claimants. The Claimants
                  contended in that context that the defence is invalidated if it is
                  established that the Defendants misrepresented to Deloitte the true
                  purpose of the hardware reselling strategy.

              (3) The third context in which a determination of the purpose of the
                  hardware reselling strategy is relevant is in assessing the credibility of
                  the Defendants, and in particular of their justification for their
                  determination that the programme should not be disclosed to the market.



641.     Secondly, it is necessary to distinguish between the two different limbs of the
         Claimants’ case that Autonomy’s published information was false and
         misleading:

              (1) One limb relates to positive statements or representations in Autonomy’s
                  published information: this aspect (“the positive misrepresentations
                  case”) focuses especially on the way Autonomy chose to present its
                  business and sources of revenue in the ‘front-end’ or ‘narrative’ part of
                  its accounts.

              (2) The other limb relates to alleged omissions from Autonomy’s published
                  information: this aspect (“the expert accountancy case”) focuses
                  especially on the Claimants’ expert evidence that under IFRS rules
                  hardware transactions should have been, but were not, separately
                  disclosed.

642.     The Claimants emphasised that their positive misrepresentations case is not
         dependent on expert evidence, since no expert evidence is needed for the
         proposition that a company’s published information must not contain false or
         misleading statements. The issue is one of interpretation (and more particularly
         what meaning would have been given in the market to what was positively stated
         in Autonomy’s published information about the nature of Autonomy’s business
         and its sources of revenue). By contrast, the Claimants’ expert accountancy case

         is reliant on the view of their expert, Mr Holgate , that the IFRS rules and
         statements required disclosure, and that this was too plain to be a matter of fine
         judgement.

643.     Thirdly, it is important to understand the relationship between the Claimants’
         “purpose case” (see (1) in paragraph 638 above) and the other aspects of their
         hardware case (see (2) to (5) in paragraph 638 above). I have already explained
         that if the Claimants succeed in demonstrating that the avowed purpose was a
         pretence that also concludes Issue (2). The question now addressed is as to the
         effect if the Claimants do not succeed in that regard. As to that, in oral closing
         argument, Mr Rabinowitz emphasised that neither the Claimants’ positive
         misrepresentations case nor their expert accountancy case is dependent on proof


                                            Page 209
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 211 of 900
Approved Judgment                                                                 HC-2015-001324
Mr Justice Hildyard


         of pretence or even simply some improper purpose. As to the positive
         misrepresentations case, which became by the time of closing arguments, the
         Claimants’ favoured route to success, Mr Rabinowitz submitted that:

                      “it really doesn’t matter why Autonomy was selling this hardware, and
                      whether, as we say, it was simply a revenue-pumping exercise or
                      whether, as the Defendants say, it was part of some marketing
                      strategy. Because either way this could not have justified
                      misrepresenting the totality of its sources of revenue, which is what it
                      did.”

644.     Fourthly, however, and the above submission seems to me to offer an example,
         the Claimants tended to glide over the need to establish in relation to Issues (2)
         and (3) (see paragraph 638 above) not only that Autonomy’s published
         information was untrue or misleading, but also that the Defendants appreciated
         this. As I have already signalled, the Defendants relied on Deloitte’s approval
         of their narrative description and accounting treatment of the hardware reselling
         strategy (and, in particular, its revenue) as both justification and a litmus test of
         the acceptability of describing and treating hardware sales all as part of the
         IDOL Product business. If, to borrow the way Mr Rabinowitz put it in his oral
         closing submissions, “the real question that arises”, is whether the Defendants
         had any legitimate basis for the way they presented their business and sources
         of revenue (which did not reveal the hardware reselling strategy), the
         Defendants’ answer was both the purpose they asserted and the acceptance of
         that presentation by Deloitte. That is why identification of the ‘purpose’ of the
         programme is relevant also to the Claimants’ positive misrepresentations case.

645.     I would add three further glosses to the Claimants’ adumbration of the issues as
         set out in paragraph 638 above. The first is that the Defendants raised two
         preliminary issues as to the permissible extent of the Claimants’ case in respect
         of the purpose of the hardware reselling transactions. In particular, the
         Defendants contested whether it was open to the Claimants (a) given the way
         they had pleaded and pursued the case prior to their closing submissions, to rely
         on an alternative claim that even if revenue pumping was not the only, it was
         the primary or preponderant, purpose of the hardware sales; and (b) given the
         evidence of their own witnesses, to contend that marketing and assisting
         software sales was not one of the substantive purposes of the hardware sales. I
         address those two issues as preliminary points in the course of my detailed
         discussion of the Claimant’s ‘purpose’ case in paragraph 660 et seq below.

646.     The second gloss is that the Defendants also raised a further issue, which is
         whether HP knew about Autonomy’s hardware sales pre-acquisition and
         continued them post-acquisition. I address that issue in paragraph 1802 et seq
         below.

647.     The third gloss is that there were also subsidiary, but important, disputes as to
         terminology, to which, to assist better understanding of the principal issues, I
         turn immediately.




                                               Page 210
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 212 of 900
Approved Judgment                                                              HC-2015-001324
Mr Justice Hildyard


Issues of terminology

648.     Before turning to the substantive issues in more detail, it is convenient to
         identify and explain certain phrases deployed by the Claimants to define and
         confine their hardware reselling claims.

649.     Although ultimately the Claimants’ FSMA claims extended to all hardware sold
         on the basis that (because the margin on hardware sales was so much lower)
         they all should have been disclosed, initially their challenge to the legitimacy
         of the transactions was confined to sales of “pure hardware” (though, on their
         definition over 99% of the hardware revenue was attributable to “pure
         hardware” and “other hardware” was a small residual category); and they
         reserved particular criticism of “pure hardware sales” on the basis that there
         was no good reason, as they saw it, why a software business should want to sell
         “pure hardware”.

650.     The expression “pure hardware sales” is not a term of art: it is a term of the
         Claimants’ own devising. It is distinguished in their pleading from “appliance
         sales” and “other hardware sales”. Their case as pleaded is that “pure
         hardware sales” were any “sales of third-party computer hardware (with or
         without third party software) without modification by Autonomy and
         unaccompanied by any Autonomy software”. That last phrase engendered a
         further point of dispute, as to whether the sale of hardware with a view to later
         provision or use of Autonomy software was or was not a “pure hardware sale”.

651.     The Claimants defined “other hardware sales”, which they described as
         “insignificant compared with pure hardware sales” as “sales of hardware (that
         were not appliance sales) that were in connection with sales of Autonomy
         software” (for example, because a sale of software appears on the same order).
         Thus “other hardware sales” were, in the Claimants lexicon, a residual
         category, being neither “pure hardware sales” nor “Appliance” sales.
         Obviously, it is not a term of art either and it is a rather loose categorisation.
         The Defendants contended that all of Autonomy’s hardware sales were in some
         sense “in connection with” sales of software: and for their own part, they
         characterised such sales as sales of an “Appliance” or an “Appliance-type sale”.

652.     The content to be given to the expression “appliance” is also of considerable
         importance and was a contested issue. Again, the phrase “appliance sales” is
         not a term of art with a fixed meaning. The Claimants used “appliance sales”
         to mean “[sales of] hardware on which Autonomy software had been
         preinstalled and which was offered where the customer had an urgent need to
         deploy IDOL”. But that was not how the Defendants understood the term, nor

         how (they say) it was generally used at Autonomy. Mr Miles described it as a
         self-coined term of some elasticity. Dr Lynch emphasised, for example, that:

                      “…the term “appliance” was used, in different contexts, to refer to a
                      variety of things, including hardware pre-packaged with software,
                      hardware generally and hardware to be used with software. There was
                      no singular definition of the term. If, for logistical or budgetary


                                              Page 211
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 213 of 900
Approved Judgment                                                                 HC-2015-001324
Mr Justice Hildyard


                      reasons, a customer bought hardware, such as servers, separately
                      from the archiving software that went with it, customers, Autonomy
                      staff and the auditors would still call these “appliances”. I should add
                      that the term “appliance” was an industry term and, like many
                      technical terms, its meaning has evolved over time.”


653.     Dr Lynch elaborated on this in the course of his cross-examination:

                      “…the fundamental essence of an appliance is that you have a
                      standard block, usually of hardware but not always, with a standard
                      block of software and the important point is that you put the two
                      together and they do one thing. So a normal computer like your laptop,
                      you can put lots of different programs on and it will do lots of things
                      and you have to install those programs. In the enterprise world, when
                      you sell a piece of software, someone then goes and gets some piece of
                      hardware from many different possibilities, they then configure that
                      hardware, they get the software, they then have to configure the
                      software to match the hardware and that whole process, if you’re a
                      company, can take three or four months. If you’re a government it
                      seems to take years, but it’s a big process.
                      What an appliance is is something that is designed to do one thing, so
                      you don’t need to worry about all the other possibilities and to do that
                      there’s a standard block of hardware and a standard block of software
                      and you put the two together and it does the standard task and it’s
                      much quicker and more reliable to get working. So “turnkey” is the
                      phrase that’s used in the industry for that. And that is the defining
                      characteristic of an appliance. So, for example – I just used the
                      example of a games appliance that people have in their homes, that’s
                      called an appliance because it’s a standard thing that’s designed to
                      run games, it doesn’t do anything else, you can put games in it and it
                      will run games and that is an appliance.
                      The term has been around for a while, it has changed its meaning over
                      time, but the fundamental point is it’s not a generic computing device,
                      it’s a standard block of hardware, standard block of software,
                      standard function.
                      …
                      I do not believe that it is deterministic of whether something is an
                      appliance as to whether the hardware and software are ordered
                      together…

                      Q. For it to be an appliance, would it have to be standard Autonomy
                      software?

                      A. Well, to be an Autonomy appliance, it would have to be one, yes.

                      Q. All right, so when Autonomy talks of Autonomy selling appliances,
                      what you are saying you sold or what you are saying you were talking



                                               Page 212
        Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 214 of 900
  Approved Judgment                                                                        HC-2015-001324
  Mr Justice Hildyard


                        about was the sale of hardware in order for Autonomy software to be
                        loaded on it?

                        A. Correct.”


654.      A further important point of disputed terminology is the meaning (both (a) as
          intended and (b) as received)117 of the phrase “pure software model/company” as
          used by Autonomy in its published information (and especially in its 2009 Annual
          Report and 2010 Annual Report) 129 . In the 2009 Annual Report, Autonomy’s
          financial model was stated to be “one of the very rare examples of a pure software
          model”. In the 2010 Annual Report it was described as “a rare ‘pure software’
          model” and the Business Overview section elaborated as follows:

                        “Autonomy is one of the very rare examples of a pure software model.
                        Many software companies have a large percentage of revenues that
                        stem from professional services, because they have to do a lot of
                        customisation work on the product of every single implementation. In
                        contrast, Autonomy ships a standard product that requires little
                        tailoring, with the necessary implementation work carried out by
                        approved partners such as IBM Global Services, Accenture and
                        others.”


655.      The Claimants also claimed that the same phrase had been used by the Defendants
          in pre-acquisition discussions, and that this was intended to deceive (see the
          Chapter in this judgment on “Deceit and Misrepresentation”).

656.      The Defendants contended that they intended the description to convey by the
          phrase that a distinguishing feature of Autonomy was that, unlike most software
          companies, it did not undertake or derive substantial revenues from any servicing
          work. They did not intend thereby to convey that Autonomy did not undertake or
          derive revenue from hardware sales, still less sales of hardware with no software
          content and/or entirely separately from any software sale. However, it is part of
          the Claimants’ case in relation to hardware that by representing itself to be a “pure
          software” company, Autonomy not only sought to distinguish itself from a
          company that derived a significant proportion of revenue from services. Its
          description also, when combined with express




  117
     The meaning which the Defendants insisted they intended was critically different from the meaning
  the Claimants insisted the phrase conveyed to the reasonable reader. This was the subject of extended
  dispute, both as to the facts and the law: this is summarised in paragraphs 1609 to 1632 below. 129 It
  was not clear to me when it was first introduced in Autonomy’s published information and other
  presentations. However, it is to my mind of some relevance to the dispute as to its intended meaning
  that it was in use by early 2008 and, for example, appeared in the ‘Strategy Review’ in Autonomy’s
  report for Q1 2008 [L/32/9] and thus before the hardware reselling programme commenced.


                                                  Page 213
       Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 215 of 900
  Approved Judgment                                                             HC-2015-001324
  Mr Justice Hildyard


           references to appliance sales and the provision of categories of revenue which
           made up the total revenue of Autonomy in the Relevant Period, would either
           individually or cumulatively, lead a reasonable reader to conclude that:

                (1) Autonomy was not engaging in any (or any material) sales of hardware
                    apart from appliance sales, or in the very least was not engaging in any
                    (or any material) pure hardware sales, and/or

                (2) any revenue from hardware sales and/or pure hardware sales (apart from
                    appliances) was lower than the revenue from appliance sales, and/or

                (3) any revenue from hardware sales (apart from appliance sales) was lower
                    than revenue from Services.

657.     I have concluded that, at least in the way the statement was deployed after the
         commencement of volume hardware sales, the purpose of the statement was to
         convey a special selling point, the success and self-sufficiency of Autonomy’s
         software business without the need for other revenue streams. A reader of the
         statement in its context would in such circumstances not have expected any
         substantial revenues from hardware sales to be as much as or more than its
         expressly disclosed activities, such as servicing. In the end, therefore, I have
         concluded in favour of the Claimants on the point.

658.     There was also a dispute as to the meaning to be ascribed to the phrase “organic
         growth”. The Claimants pleaded and submitted that the inclusion within the metric
         of hardware sales improperly inflated it and gave a different and false picture. The
         Defendants disagreed: as Dr Lynch said, to exclude hardware from the calculations
         would be to produce a different metric, “organic growth ex hardware”.

659.     These disputes are not merely semantic. They go to the root of the issue as to the
         interpretation to be given to certain statements in Autonomy’s published
         information, and whether HP was misled, whether by Autonomy’s published
         information or by what was said prior to the conclusion of the transaction. I shall
         return to each disputed phrase in context when dealing with the issues identified
         by the Claimants in paragraph 638 above. I turn now to the first of these.


  Issue (1): what was the Defendants purpose in causing Autonomy to resell “pure
  hardware”?

660.     The Defendants’ case as to the purpose of Autonomy’s hardware reselling strategy
         was very largely based on (a) the evidence of Dr Lynch as to its initial rationale,
         (b) the evidence of the key employees charged with its implementation (and in
         particular, Mr Sullivan, Mr Egan and Mr Scott), and (c) Deloitte’s acceptance of
         the rationale and the conclusion that hardware sales were incidental to the software
         business so as to require no separate disclosure.

661.     The Claimants’ case that the reselling of “pure hardware” was simply “a device
         deployed by the Defendants to assist in meeting Autonomy’s revenue targets,
         inflating both overall revenue growth and ‘organic growth’” was based largely on


                                             Page 214
       Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 216 of 900
  Approved Judgment                                                                 HC-2015-001324
  Mr Justice Hildyard


         the documentary evidence, and especially on what that evidence revealed as to the
         chronology and the way that hardware sales were in fact conducted. Their exegesis
         of the documents and chronology was very detailed, as indeed was the Defendants’
         response.


  Three notable features


662.     Before turning to that considerable detail, three general features of or issues
         relating to the Claimants’ contentions on the hardware purpose case may be noted:

                (1) First, as pleaded, the Claimants sought to impugn all ‘pure hardware’
                    sales on the same basis of being in every case for the improper purpose
                    of generating reportable revenue and presenting that revenue as if it were
                    referable to software sales: the Claimants asserted a “systematic policy”
                    in operation between Q2 2009 and Q2 2011, and did not make any
                    distinction according to the context of the particular sale or the business
                    of the purchaser. In his oral reply, Mr Rabinowitz accepted that there
                    really was not the material to enable an informed assessment on a
                    transaction-by-transaction basis. Thus, the Hardware Case concerned
                    the propriety of a strategy of which the hallmarks were (almost
                    invariably) loss-making sales of hardware, the revenue from which was
                    recognised and then, without differentiation or disclosure, included as
                    part of the overall revenues of Autonomy’s software business.

                (2) Secondly, the case (as pleaded) asserts the improper purpose identified
                    as the only purpose of the strategy. As Mr Miles put it in his oral closing
                    submissions, “It is not a case that involves, as it were, the weighing of
                    purposes”. However, over the course of the Trial the Claimants
                    increasingly sought to treat it as being sufficient for their case if revenue
                    generation to enhance the appearance of software sales growth was
                    shown to be a substantial purpose, even if not the exclusive purpose. In
                    their written closing submissions, the Claimants relied on “the primary
                    – if not the only – purpose” which seemed to allow for the possibility
                    of some subsidiary commercial rationale: but that was not pursued or
                    pleaded by amendment, whether in the alternative or at all. Mr Miles
                    submitted in his closing submissions that, having pleaded, and in their
                    opening presented, their hardware case on the basis that the binary
                    question was whether (their case) it was a device to pump revenue
                    without revealing its source or (the Defendants’ case) a rational strategy
                    based on a business judgment that it would protect and promote
                    Autonomy’s software business, it is not open to the Claimants in closing
                    to run a case based on primary or preponderant purpose. That gave rise
                    to a pleading issue which it is convenient and necessary to deal with as
                    one of two preliminary matters (see paragraphs 663 to 675 below).

                (3) Thirdly, and obviously related to (2) above, the witnesses called by the
                    Claimants on the issue as to the purpose of the policy or strategy (and,


                                               Page 215
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 217 of 900
Approved Judgment                                                                HC-2015-001324
Mr Justice Hildyard


                      in particular, Mr Egan and Mr Sullivan) had all accepted in earlier
                      evidence they had given in the US criminal proceedings, and they again
                      accepted in these proceedings, that part of the purpose was to drive
                      software sales and realise other benefits as explained below. It was
                      submitted for the Defendants that the Claimants were bound by that
                      evidence, and that this was fatal to their “binary” case. The Claimants
                      did not accept this, their main submission being that there had “been
                      some cherry-picking of Mr Sullivan’s evidence at Mr Hussain’s criminal
                      trial”, and more generally, the evidence as a whole was more nuanced
                      than the Defendants suggested, and in any event could not be read out of
                      the context of the documentary evidence. That dispute gives rise to the
                      second issue which it is also convenient and necessary to address as a
                      preliminary matter.


A pleading issue: Is it open to the Claimants to impugn the sales on the basis that
‘revenue pumping’ was the predominant , even if not the only purpose of them?


663.     The Claimants’ Particulars of Claim at paragraph 54A plead the Claimants’
         factual case for impugning the hardware sales as follows:


                      “54A. There was no legitimate business reason for Autonomy Inc to
                      enter into pure hardware transactions. In fact, the pure hardware
                      transactions were not entered into genuinely in furtherance of, or
                      pursuant to, Autonomy Inc’s business, but rather were entered into for
                      the improper purpose of allowing Autonomy falsely to portray itself as
                      a high-margin software company whose revenues were growing
                      rapidly and meeting market expectations, when in reality a substantial
                      portion of these revenues and the apparent rate of revenue growth
                      were the result of undisclosed (and, indeed, as pleaded further below,
                      actively concealed) pure hardware sales.”


664.     That pleading is, as to establish the FSMA claim it had to be, an allegation of
         dishonesty: the purpose pleaded is to achieve an objective (“to portray itself as
         a high margin software company” which undertook no substantial hardware
         sales) by deception. The Claimants’ case as pleaded made no express allowance
         for any other purpose than to generate revenue from one source (hardware) and
         present it as derived from, and an expense of, another source (software sales).
         The allegation is that what was presented to be a commercial purpose was in
         fact a dishonest pretext contrived in order to present a false description of the
         true nature of its business.

665.     Paragraph 57A then pleads a claim for the direct loss sustained on the pure
         hardware claims on the basis that:

                      “The Defendants each knew (since, as particularised at paragraphs


                                               Page 216
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 218 of 900
Approved Judgment                                                               HC-2015-001324
Mr Justice Hildyard


                      133 and 135 below, it was they who instigated the practice of
                      Autonomy Inc entering into pure hardware transactions) that the
                      practice of entering into pure hardware transactions was not
                      genuinely in furtherance of Autonomy Inc’s business but was for the
                      improper purpose pleaded at paragraph 54A above. The losses
                      suffered by Autonomy Inc on such transactions are therefore losses
                      occasioned by the Defendants’ breaches of duty”.


666.     The direct claim also is based on dishonesty, even though in a claim for breach
         of duty it would ordinarily be sufficient to plead and establish that an improper
         purpose was in fact the predominant purpose.

667.     Until closing submissions, the Claimants had never put their case on the basis
         that there might be legitimate business reasons for the hardware reselling, but
         they were secondary to some other improper purpose. Mr Miles, with a forensic
         side swipe that the change of tack was “doubtless because of the difficulties they
         have with their own evidence”, submitted that that would be a new, distinct and
         unpleaded case, and as such it was not open to the Claimants. His position was
         that having pleaded and opened the case on the basis that the entire purpose of
         the strategy was to generate revenue, even if at a loss, with a view to presenting
         that revenue as derived from Autonomy’s software business without disclosure
         of its true extent and source, it was too late now for the Claimants to base their
         case on the weighting of preponderant purpose in respect of individual
         transactions.

668.     Mr Miles stressed that this was not “an arid pleading point”: had the
         Defendants understood there to be a case based on the primacy amongst mixed
         motives the case would have taken a different course. He submitted that, for
         example:

              (1) He would have wished to cross-examine Mr Welham and explore what
                  difference it would have made to the accounting treatment;

              (2) The Defendants “might very well…have taken the view…that…steps
                  should be taken to ensure that [Mr Sullivan] gave evidence by video” as
                  a condition of his witness statement being admitted into evidence as
                  hearsay (Mr Miles made clear he could put it no higher);

              (3) They would certainly have wished to cross-examine Mr Holgate, and to
                  explore with him how accountants would deal with the idea of mixed
                  motives, and what if any guidance there is in accounting literature;

              (4) They would have wished to assess the mixed purposes of each
                  transaction, to weigh its preponderant purpose: and that was not
                  possible, as Mr Rabinowitz had accepted; and

              (5) Furthermore, even if such an enquiry had been possible, they would also
                  have wished to question the experts as to the feasibility of such an
                  enquiry in the course of an audit.


                                              Page 217
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 219 of 900
Approved Judgment                                                                  HC-2015-001324
Mr Justice Hildyard


669.     Mr Rabinowitz sought to answer all this with the submission that the possibility
         of mixed purposes, necessitating a determination of the primary purpose, had
         “always been in play”. He submitted that it was not a new case at all. He
         especially relied on (a) passages in Mr Hussain’s Defence relying on the
         primary, if not the sole, purpose being to drive high-margin software business,
         (b) passages in witness statements by the Claimants’ witnesses referring to
         “primary” or “principal” reasons, (c) passages in the cross-examination of the
         Claimants’ witnesses, and in particular Mr Egan, exploring whether driving
         software sales was or was not a principal or predominant reason, and (d)
         references in the experts’ respective reports identifying the key area of
         judgement as being (to quote Mr MacGregor):


                      “whether management considered that the sale of hardware was the
                      separate sale of a different product to the sale of Autonomy’s core
                      IDOL Product, or that it was incidental to sales of the core product,
                      with its principal purpose being to facilitate further software sales.”


670.     I must confess that during the hearing I tended to follow and accept the argument
         that the question was whether the Claimants’ pleading accommodated a
         weighing of purposes; and if that was the right question, I would agree with Mr
         Miles that it does not.

671.     On reflection, however, I think that is a mischaracterisation. The true gist of the
         Claimants’ pleading is that the transaction was dishonest. The real question is
         not whether the hardware sales could be said to have been intended to have had,
         and in fact had, some potentially beneficial effects such as to suggest that that
         was their purpose, or part of it; it is whether a dishonest purpose underlay the
         transaction. In other words, the real answer lies in the plea of dishonesty.

672.     In my judgment, if a substantial part of the reason for a transaction is found to
         have been dishonest, the fact (even if established) that it may have been
         perceived that it would also have beneficial effects cannot save it. The dishonest
         purpose need not be exclusive or even predominant (though it is unlikely not to
         be so).

673.     In this case, dishonesty, not predominance of improper purpose, has always
         been the Claimants’ case. According to their pleading, what caused Autonomy
         to enter into the hardware sales was not only improper (which might include a
         purpose beyond the powers of the directors) but dishonest: the false portrayal of
         Autonomy as a high-margin software company deriving all its revenues from
         software sales when in reality a substantial proportion of its revenues and its
         apparent revenue growth were the result of undisclosed, and indeed actively
         concealed, ‘pure hardware’ sales. If that is proved, that is sufficient. No
         weighing of purpose or other effect is required.

674.     It follows that the pleading point raised is based on a false premise, perhaps
         encouraged by some of the language used, the focus on whether avowed
         purposes were real, and the dispute that developed as to whether revenue


                                                Page 218
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 220 of 900
Approved Judgment                                                               HC-2015-001324
Mr Justice Hildyard


         recognition or relationship development to facilitate software sales most
         weighed with the witnesses and in particular, Mr Sullivan and Mr Egan. The
         Claimants’ hardware case has never been about competing purposes: it has
         always been that the objectives and purposes deployed by the Defendants to
         justify the hardware reselling strategy were pretexts: the real purpose of the
         programme was to generate revenue which could dishonestly be presented in
         the accounts and Autonomy’s published information as part of the revenue from
         Autonomy’s main software business. In my judgment, that case, which requires
         proof of pretext and dishonest concealment but not the weighing of purposes, is
         sufficiently pleaded.

675.     Two other matters connected to this need also to be borne in mind:

              (1) First, an important part of the defence (of both Defendants) was their
                  reliance on Deloitte’s approval of Autonomy’s accounts and published
                  information even though Deloitte were well aware that the hardware
                  sales generated revenue which was included in those accounts without
                  differentiation from Autonomy’s revenues from its software business.
                  However, any such reliance would be negated if what Deloitte were told
                  was the purpose of the hardware reselling (protecting and promoting
                  software sales) was an anticipated incidental benefit of what was in truth
                  a device to preserve the appearance of revenue growth by covering from
                  hardware revenue a shortfall in software revenue. If the Claimants
                  establish that those were incidental benefits to disguise the true purpose,
                  and that the true purpose was never disclosed, then Deloitte will have
                  been shown to have been misled. Put another way, although the
                  Claimants’ case did not allow for a weighing of competing commercial
                  purposes, it did extend to demonstrating that the purpose asserted,
                  though fulfilled, was (or became at some point in the implementation of
                  the programme) no more than an incidental or ancillary benefit and not
                  the real purpose.

              (2) Secondly, in the context of the expert accountancy case, Mr Holgate’s
                  evidence was that the purpose of the hardware sales did not ultimately
                  matter, it being his opinion that any proper application of the
                  accountancy rules required separate disclosure of the hardware reselling
                  strategy in any event. By contrast, on Mr MacGregor’s evidence as I
                  understood it, only showing that revenue pumping was the sole real
                  purpose would require such disclosure. On that basis, as to the expert
                  evidence, a case based on primary purpose would not have been
                  necessary for the one expert or sufficient for the other. (I shall address
                  further the expert evidence in this regard in the context of the Claimants’
                  alternative case.)

An issue as to the evidence given by Mr Egan and Mr Sullivan in the US criminal trial

676.     As to the proof of the Claimants’ case that the real purpose of the hardware
         reselling strategy (what they described as “this…bizarre and expensive
         programme”) was to generate revenue from covert hardware sales to make


                                            Page 219
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 221 of 900
Approved Judgment                                                               HC-2015-001324
Mr Justice Hildyard


         good shortfalls in sales of software, and thus continue the depiction of
         Autonomy as a high margin software company which was (usually) meeting or
         beating market expectation, the Claimants placed primary reliance on the
         contemporary documentation.

677.     The Claimants observed that the Defendants tended to shy away from this
         documentary evidence, and especially the correspondence between Mr Sullivan,

         Mr Hussain and Dr Lynch, almost all of which, the Claimants pointed out,
         appeared to be directed towards the issue of revenue generation and what
         hardware deals would be needed to plug gaps in revenue.

678.     There is force in this, as will be clear later; but similarly, there is something in
         the Defendants’ opposing contention that the Claimants have themselves sought
         to shy away from the evidence of their own witnesses on the issue as to the
         purpose of the hardware strategy, which is barely mentioned in the witness
         statements of Mr Egan and Mr Sullivan, but which is more substantially dealt
         with in their evidence in the US criminal proceedings. In those US criminal
         proceedings, evidence from many of the witnesses for the Claimants had already
         been examined on substantially the same issues.

679.     Both sides referred to and prayed in aid parts of the transcripts of that witness
         evidence (which in the case of Mr Sullivan, for example, was entered into
         evidence under a hearsay notice since he did not appear at the trial here). Before
         discussing its substance, the question I address now relates to the status of that
         evidence.

680.     At a pre-trial hearing, I directed the parties to side-line what parts of the
         transcripts of evidence given in the US criminal trial by witnesses who would
         not be called in this trial they respectively intended to refer me to or rely on.
         Evidence side-lined by one party was taken at trial to be the evidence of that
         party. During the trial, evidence was taken to be that of the party that had
         indicated that they wanted to refer to it, as if it was that party’s evidence.
         However, in every case, the witness concerned was called in the US criminal
         proceedings in support of the case against Mr Hussain; and in assessing their
         evidence I have always taken that into account, and that each was in reality the
         Claimants’ witness.

681.     However, and I did not understand any party to contend to the contrary, the
         sidelining did not preclude any party or the Court from referring to parts of the
         transcripts of evidence as necessary to obtain a proper understanding of the
         evidence as a whole. The whole of the relevant transcripts were before the court
         in agreed bundles (and see CPR PD32/27.2) and were admissible as to their
         contents, and although the Defendants in correspondence expressly stated that
         they did not thereby accept their treatment as evidence of the facts stated in
         them, it was nevertheless open to them, and in any event to the Court, to have
         regard to the whole in testing the true meaning, reliability and veracity of the
         side-lined parts.




                                           Page 220
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 222 of 900
Approved Judgment                                                                 HC-2015-001324
Mr Justice Hildyard


682.     In addition, as it seems to me, and as was submitted by the Defendants, the party
         which has sought to rely on the witness as a witness of truth, cannot invite the
         Court to believe the parts identified by that party as helpful to its case and yet
         disbelieve other parts which go the other way. The whole is the evidence of that
         party’s witness, for good and ill. As Brooke LJ said in McPhilemy v Times
         Newspapers Ltd (No 2) [2000] 1 W.L.R. 1732, at 1740:

                      “I know of no principle of the law of evidence by which a party
                      may put in evidence a written statement of a witness knowing
                      that his evidence conflicts to a substantial degree with the case
                      he is seeking to place before the jury, on the basis that he will
                      say straight away in the witness’s absence that the jury should
                      disbelieve as untrue a substantial part of that evidence.” 130


683.     In any event, and as the Defendants also pointed out, the passages in the
         evidence of Mr Sullivan in the US criminal proceedings on which the Claimants
         have chosen to rely include evidence as to the existence and legitimacy of the
         hardware sales strategy: and there can be no doubt that that evidence must be
         taken to be part of the Claimants’ own case. However, that does not, of course,
         preclude them from reliance on other evidence, such as that of Mr Camden on
         whose evidence in the US criminal proceedings, about three transactions with
         Zones Inc, the Claimants focused in considerable detail (and see paragraphs
         1159 to 1182 below).

684.     The position is less unusual in the case of Mr Egan. He did attend, albeit via
         video link. I did not take it to be disputed that the whole of his evidence,
         including that in the US criminal proceedings, needs to be weighed.


The relationship between purpose and concealment


685.     The Defendants’ depiction of the purpose of the hardware sales as being to
         protect and promote Autonomy’s software business is the basis on which they
         sought to justify both the loss-making sales themselves (Autonomy not having
         previously engaged in material sales of hardware) and their treatment as part
         and parcel of Autonomy’s software business in Autonomy’s accounts (both in
         the narrative ‘front end’ part and in the ‘back end’ accounts proper).

686.     For the purposes of analysis, two related questions need to be addressed. The
         first is what in truth was the real purpose of the hardware sales. The second is
         whether having regard to that purpose it was rational and permissible to treat
         and account for the hardware sales and the revenues from them as an integral
         part of Autonomy’s software business and all its revenues, requiring no separate
         identification or explanation.

687.     That, on the Claimants’ case, is the link to concealment. The Claimants’ case is
         that the true purpose of the hardware reselling strategy is revealed by the
         Defendants’ determination that the sales and the revenues they generated should


                                               Page 221
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 223 of 900
Approved Judgment                                                                           HC-2015-001324
Mr Justice Hildyard


         never separately be identified: even if the ‘purpose’ case and the ‘disclosure’
         case have for the purpose of analysis, to be separately examined, they are
         inseparable. Their true driving purpose was never, and could never, be
         disclosed: because that true purpose was to generate revenue in order covertly

130
    See also the following passage from the judgment of Holroyd J in Ewer v Ambrose (1825) 3 B. &
C. 746, at 750 (cited by Brooke LJ in McPhilemy v Times Newspapers Ltd (No 2) [2000] 1 W.L.R.
1732, at 1739F): “if a witness proves a case against the party calling him, the latter may show the truth
by other witnesses. But it is undoubtedly true, that if a party calls a witness to prove a fact, he cannot,
when he finds the witness proves the contrary, give general evidence to show that the witness was not
to be believed on his oath, but he may show by other evidence that he is mistaken as to the fact which
he is called to prove.”

         to make good shortfalls in software business revenues by including hardware
         revenue without differentiation or disclosure in Autonomy’s accounts and
         reports as if it had been generated by Autonomy’s ‘pure software’ business.

688.     Thus, in his oral closing, Mr Rabinowitz melded, and in a sense reversed, the
         two related questions in submitting that ultimately what has to be determined is
         whether the Defendants have been able to identify any legitimate basis for
         having withheld from the market information which would have had a
         “devastating impact on the picture that was painted of Autonomy in the
         published information”.


Structure of this chapter

689.     The Claimants’ hardware case, as one of their lead cases (with their case on
         VARs), engendered a great deal of paper and gave rise to a plethora of issues
         and a considerable volume of evidence. That has resulted in this part of the
         judgment being of considerable length and factual density. There was a marked
         contrast in the way the two sides approached the issues.

690.     The Defendants based their main defence to the claim on (a) Dr Lynch’s
         explanation of the rationality of the strategy (b) an analysis of the witness
         evidence, and especially the evidence in cross-examination of the Claimants’
         two principal witnesses on the Hardware Claims, Mr Sullivan and Mr Egan, and
         (c) Deloitte’s approval of the accounting treatment which the Claimants now
         criticised.

691.     They also sought to rely on evidence which they suggested revealed that HP
         knew about the hardware reselling before the acquisition; and certainly did so
         after it; but until, in the context of serious investor criticism of the acquisition,
         blaming the Defendants became a commercial imperative, neither HP nor its
         accountancy advisers (Ernst & Young for these purposes) were concerned.

692.     The Claimants did not accept the Defendants’ depiction of the evidence of Mr
         Sullivan and Mr Egan; but their main approach was to focus on the documentary
         evidence of the way the hardware reselling strategy was actually implemented,
         not only initially in Q3 2009, but over the course of the Relevant Period. In that


                                                  Page 222
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 224 of 900
Approved Judgment                                                             HC-2015-001324
Mr Justice Hildyard


         context, they relied, not only on the documents that revealed the structure and
         nature of the transactions and contemporaneous exchanges within Autonomy as
         to their objectives, but also the lack of documentation to support the Defendants’
         suggestion that the programme was in the nature of a marketing exercise and
         was succeeding in its objective of driving software sales.

693.     Contending that the programme was simply a device for “in effect, paying for,
         or buying, revenue that could be recognised” without disclosing its real source
         and nature, the Claimants rejected as dishonest the reasons given for the
         hardware sales and for the inclusion of the revenues they generated as if they
         were part of, or at least not to be distinguished from, revenue from software
         sales.

694.     In light of these differences in approach I have felt it necessary to deal in turn
         with each side’s case in the round. That has further increased the length of this
         part of this judgment. But it was a centre-piece of the claims and invites and (to
         my mind) requires, detailed treatment.

695.     In broad outline:

              (1) I discuss first the dispute between and competing cases of the parties as
                  to the origins of the hardware reselling strategy.

              (2) I address next (somewhat unusually) the Defendants’ case that its
                  purpose was to protect and promote Autonomy’s software business and
                  that it was both properly accounted for and sufficiently disclosed. The
                  Defendants’ case focused on the approval of Deloitte and the evidence
                  of certain key witnesses, especially Mr Sullivan and Mr Egan (both of
                  whom were, of course, the Claimants’ witnesses), as well as Dr Lynch
                  himself.

              (3) I then turn to the Claimants’ case that the purpose asserted by the
                  Defendants was or swiftly became a pretext for what in reality was a
                  relentless drive to generate sales from hardware to cover shortfalls in
                  sales in software licences, which had to be and was dishonestly disguised
                  to maintain the appearance of continuing to maintain or increase
                  revenues in line with market forecasts. The Claimants’ case focused on
                  the documentary evidence, a detailed assessment of the sequence of the
                  hardware sales, of the correlation with the need to make good shortfalls
                  in revenue from Autonomy’s software business, and of what Deloitte
                  were actually told from time to time.

              (4) Lastly, I summarise my conclusions, and their relevance to other aspects
                  of the overall case.


(A)      The first hardware sales and the origins of the hardware reselling strategy




                                           Page 223
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 225 of 900
Approved Judgment                                                            HC-2015-001324
Mr Justice Hildyard


696.     In seeking to demonstrate its true purpose, it was important to both the
         Defendants and the Claimants to explain and establish the origins of the
         hardware reselling strategy.

697.     The Defendants’ case centred in this respect on elaborating upon the risks to the
         software business which they perceived in mid-2009 and to which they
         contended the hardware reselling strategy was a strategic response, and upon
         the benefits to the software business which the programme was conceived and
         intended to secure, including closer associations with hardware suppliers and
         the ability to present itself as a one-stop shop to its customers.

698.     It was common ground that Autonomy’s first substantial sales of hardware
         commenced in the early summer of 2009. Until then, Autonomy had purchased
         substantial amounts of hardware for deployment in its datacentres (principally
         for hosting and archiving services), but its sales of hardware were minimal.

         Reflecting their dispute as to the purpose of the programme, the parties
         disagreed as to what prompted the initial hardware sales.

699.     The Claimants placed the origin of these sales, and what became a programme
         of hardware reselling, in the sudden and urgent need to find revenue in order to
         meet forecasts after (a) what Mr Hussain described in an email to Mr Egan and
         Mr Mooney (cc Dr Menell) dated 10 June 2009 as a “major disaster” in the
         form of the sudden collapse of two OEM deals (one with Adobe and the other
         with Microsoft) that he had confidently expected to complete by the end of Q2
         2009, and (b) more generally, Autonomy’s uncharacteristic failure in Q2 2009
         to achieve analysts’ consensus expectations of revenue in the quarter.

700.     On the day before the email from Mr Hussain referred to in paragraph 699
         above, which was subject-headed “OEM disaster”, Mr Hussain had notified Dr
         Lynch by email that the Adobe transaction was “not happening”, but he had
         cushioned that by stating that “MS frank cook actively considering hardware –
         so hope to replace”. In that email, Mr Hussain noted that “50 IDOL reps in the
         US…are delivering very little”; and he put forward “MS hardware to have a
         total $10m” as first amongst other things to be done to ensure recovery.

701.     On the terms of a one-off letter agreement reached on 30 June 2009 between
         Autonomy Inc and Morgan Stanley, Morgan Stanley agreed to purchase from
         Autonomy on or before 30 June 2010, $20m worth of Hitachi hardware (or other
         third-party hardware agreed between the parties) for a discounted price of
         $13.5m. At around the same time, Autonomy Inc entered into a “One-Time
         Reseller Authorization Agreement” with Hitachi, under which the latter
         authorised Autonomy Inc to resell Hitachi hardware to Morgan Stanley.

702.     The overall effect of these arrangements was that Morgan Stanley bought the
         hardware at a discount from Autonomy as reseller, and Autonomy funded the
         discount by buying from Hitachi at full price and selling on at the discounted
         price, thereby incurring a financial loss.




                                          Page 224
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 226 of 900
Approved Judgment                                                              HC-2015-001324
Mr Justice Hildyard


703.     The Claimants relied on these arrangements as demonstrating that Autonomy
         had resorted to the loss-making hardware sale to Morgan Stanley as an
         expedient to cover an unexpected shortfall in software revenue, and not to
         advance its software business. They also relied on an internal Autonomy email
         chain relating to the execution of the agreement with Hitachi which was copied
         to both Defendants to show that both were aware of these arrangements.

704.     They submitted that this loss-making agreement with Morgan Stanley became
         the start of and template for “an extended and more ambitious programme of
         reselling pure hardware at a loss” in which Autonomy’s only involvement was
         its interposition as a seller into an existing deal for the supply of hardware by a
         hardware supplier to its customer, which might or might not be a customer of
         Autonomy. The benefit to the hardware supplier was that Autonomy paid it the
         full price whilst the end customer would purchase from Autonomy at a
         discounted price with Autonomy subsidising the difference or ‘delta’: a ‘win’
         for the hardware supplier, and a ‘win’ for the end customer: the only ‘loss’ was
         to Autonomy.

705.     On the Claimants’ case, Autonomy’s only part in these sales to Morgan Stanley,
         and all that the hardware sales ever involved in terms of Autonomy’s role, was
         Autonomy’s interposition as a seller into an existing deal for the supply of
         hardware by a hardware manufacturer to its customer; and the quid pro quo was
         simply that Autonomy charged the customer substantially less for the hardware
         than the price that Autonomy paid to the hardware manufacturer (by itself taking
         the loss).

706.     According to the Claimants, once its potential had been established, the
         hardware reselling strategy developed quickly to become one of the principal
         “levers” (another was the VAR sales) deployed by Autonomy at the instance of
         the Defendants in the context of concerns about shortfalls in software sales.
         Hardware (like VAR) sales enabled Autonomy to supplement or accelerate and
         manage revenue in each quarter to enable Autonomy to meet, and if possible, to
         “beat and raise”, analysts’ consensus expectations notwithstanding, and to
         cover, software sales shortfalls.

707.     The Claimants contended that the context of the instigation of the hardware
         reselling strategy, and the reason why it quickly became and remained such an
         important and addictive strategy, was the constant pressure of the market
         perception of Autonomy and its stock as being, to quote Mr Marc Geall (“Mr
         Geall”), who was Autonomy’s head of Corporate Strategy and Investor
         Relations until May 2010, “an expensive growth stock that needs to ‘beat and
         raise’”. The problem with such a reputation is, of course, the difficulty of
         consistent fulfilment of ever-increasing expectations without regard to market
         conditions.

708.     The Claimants illustrated this (and the volatility of market perception and in
         consequence Autonomy’s share price) by reference to analysts’ reaction to two
         announcements relating to Autonomy’s revenue forecasts or forward guidance
         about revenue expectations:



                                           Page 225
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 227 of 900
Approved Judgment                                                                 HC-2015-001324
Mr Justice Hildyard


              (1) An announcement by Autonomy on 7 July 2009, ahead of reporting its
                  final figures, that it expected to report “revenues in line with current
                  consensus estimates” [my emphasis]: so accustomed was the market to
                  Autonomy exceeding analysts’ consensus expectations that merely
                  meeting those expectations was a disappointment, and Autonomy’s
                  share price immediately fell 8%.

              (2) Further forward guidance on 16 July 2009 (when the Q2 2009 figures
                  were announced) estimating for Q3 2009 $180 million for revenue and
                  EPS at 19 cents per share, compared to an earlier market consensus
                  forecast for the quarter of $198-199 million and EPS at around 26 to 27
                  cents per share. Autonomy’s share price fell again, so that by August
                  2009 its share price had fallen 18% since the pre-announcement of the
                  Q2 2009 results.

709.     The Claimants also referred me to the analysis and prescription put forward by
         Mr Geall in the light of (a) a continuing aggressive fall in Autonomy’s share
         price in mid-2009 and (b) a UBS note written by its house analyst, Mr Briest,
         dated 4 August 2009 suggesting that part of the reason for the decline was
         “disappointment at the level of Q3 guidance and the seeming loss of Autonomy’s
         ‘beat-and-raise’ status”. Mr Geall observed that:

                      “…lack of beat and raise in Q2 and the weaker Q3 outlook which
                      means that there is a lot to do in Q4 is going to continue to get some
                      legs. Obviously delivering $190 – 200m in Q3 will help off-set this
                      fear”.

710.     According to the Claimants, these circumstances show that the importance to
         Autonomy of shoring up its ‘beat and raise’ status, and the fact that in Q3 2009
         and following quarters this was not possible to achieve on the basis of software
         sales revenues, drove the Defendants to the hardware reselling strategy. What
         the Defendants advanced as the purpose of the expedient was a pretext
         contrived:

              (1) to justify sales of third party hardware by a software company which
                  touted itself as selling only its own proprietary software;

              (2) to justify the fact that such sales were not only so out of character but
                  also at a loss;

              (3) to justify the description and treatment of revenue from sales of
                  hardware as all being sufficiently part of Autonomy’s software business
                  to be included in software revenues without differentiation or
                  explanation, and thus to obviate disclosure and prevent discovery.


711.     The Defendants, however, submitted that it is the Claimants’ case which is
         contrived. Their case is that the hardware reselling strategy was not a response
         to the failure of any particular transaction, nor to concerns about diminishing or


                                               Page 226
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 228 of 900
Approved Judgment                                                              HC-2015-001324
Mr Justice Hildyard


         fluctuating results and the need to satisfy and exceed analysts’ expectations of
         revenue or other performance: it was a commercial response in the interests of
         the software business in changing, and possibly threatening, market conditions,
         and a successful and cost-effective marketing strategy.

712.     As to contrivance, the Defendants dismissed the Claimants’ notion that the
         programme was directed to the sale of “pure hardware” as misplaced and the
         Claimants concept of “pure hardware” sales, as if there were some category of
         sales which by nature were unconnected to Autonomy’s software business as
         self-coined. Dr Lynch insisted consistently that Autonomy never did sell “pure
         hardware”: it was never interested or engaged in the sale of hardware as a
         separate line of business. For the Defendants, a mischaracterisation of the
         programme as almost a separate enterprise, and a “bizarre and expensive
         programme” to boost reportable revenue to cover any shortfall in software
         sales, rather than an extension of the way it needed to conduct its software
         business, lay at the heart of the Claimants’ mistaken approach.

713.     An example, according to the Defendants, of the Claimants’ misunderstanding
         and mis-presentation of the nature of the hardware sales was the transaction with
         Morgan Stanley which the Claimants relied on as marking the beginning of and
         establishing the pattern for the hardware reselling strategy. The Defendants
         contended that the Morgan Stanley transaction should not be regarded as a sale
         of “pure hardware” even on the Claimants’ definition of the term. They pointed
         out that:

              (1) It was concluded on the same day as, and should be considered in the
                  context of, two software agreements with Morgan Stanley, which was a
                  longstanding software customer of Autonomy.

              (2) In the contractual documentation the link between the software and
                  hardware transactions was explicit; and it also made express provision
                  for Morgan Stanley to deploy the equipment purchased not only in any
                  of its own but also in Autonomy’s (or any third-party service provider’s)
                  facilities, connoting that Morgan Stanley wanted the flexibility to use
                  the hardware with Autonomy’s software in Autonomy data centres.

              (3) The hardware transaction should be regarded, in effect, as a “strategic
                  package” or “appliance” sale, in the broader sense which the
                  Defendants supported: a sale of hardware for use with Autonomy
                  software.

              (4) Mr Egan, who was involved in the transaction as the relationship
                  manager with Morgan Stanley, accepted in evidence that the document
                  made that link clear and obvious.

              (5) Furthermore, in an email chain in May 2010 involving Mr Scott, Mr
                  Hussain and Mr Egan, which is not said to be pretextual by the
                  Claimants, Mr Egan referred to the sales as part of “a large solution sold



                                            Page 227
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 229 of 900
Approved Judgment                                                               HC-2015-001324
Mr Justice Hildyard


                      to them which included HW, restructuring the safe, and the SW licences
                      to cover ILM” and Mr Scott responded on 10 May 2010, stating inter
                      alia:

                             “…I don’t know what TJs take is on this or whether he feels $2m
                             is suitable but we obviously had to make major concessions
                             across the board to get the Morgan business, including giving
                             Morgan a very aggressive discount on their hardware purchase
                             commitment in June 2009, the same time at which we set the $2m
                             option for Morgan to purchase the ILM license”.


714.     The Defendants contended that, contrary to the Claimants’ case that the Morgan
         Stanley hardware transactions had nothing to do with protecting and promoting
         software sales, the discount funded by Autonomy in respect of the hardware sale
         to Morgan Stanley was the price that Autonomy felt it had to pay to be sure of
         securing the high-margin software business and (as Dr Lynch put it) “snuggling
         up” to both hardware suppliers and the ultimate customer.

715.     Thus, the dispute as to the origins of the hardware reselling strategy reveals the
         main issue between the parties as to the purpose and objectives of the hardware
         reselling strategy.

(B)      The Defendants case as to the purpose of the hardware reselling strategy

716.     I elaborate the Defendants’ case under the following headings:

              (1) The Loudham Hall meeting in July 2009 and Dr Lynch’s evidence as to
                  the development and rationale of the hardware reselling strategy.

              (2) The Defendants’ depiction of the evidence of Mr Egan and Mr Sullivan
                  as to their understanding of the purpose of the programme as initially
                  conceived and thereafter implemented, and of Mr Welham’s evidence
                  (which is said by the Defendants to be corroborative).

              (3) Autonomy’s relationship with EMC: the development of their
                  relationship in Q3 2009 and the dispute as to the reasons for EMC
                  bringing an end to its participation in the hardware reselling programme
                  at the end of the same quarter.

              (4) The replacement of EMC and the continuation and expansion of the
                  hardware reselling strategy with Dell (after EMC withdrew) in every
                  quarter from Q4 2009 to Q2 2011 and (on a more limited basis) with
                  Hitachi.

              (5) The further evidence relied on by the Defendants as showing the use and
                  success of the hardware reselling strategy in protecting and promoting
                  Autonomy’s core software business.



                                              Page 228
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 230 of 900
Approved Judgment                                                                      HC-2015-001324
Mr Justice Hildyard




              (6) The Defendants’ case that the Claimants’ assertion of secrecy is
                  unsustainable: and that the hardware reselling strategy was openly
                  recorded in Autonomy’s ledgers and discussed within Autonomy, fully
                  explained to Deloitte and approved by them, and had become well
                  known in the market;

              (7) The Defendants’ honest belief in the rationale of the purpose and the
                  support given to that and the propriety of the way the programme was
                  presented and accounted for by the approval of Deloitte and the Audit
                  Committee with full knowledge of the facts.

 (1) Dr Lynch’s evidence as to the rationale of the hardware reselling strategy

717.      Just as the transaction with Morgan Stanley was not, in the Defendants’
          presentation, an expedient to pump up revenue, but a strategy to promote a
          software sale, so too the Defendants presented the hardware reselling strategy
          as a carefully weighed strategy to safeguard its software business, which was
          presented and launched, and thereafter openly discussed, within Autonomy.

718.     There were two main limbs of the Defendants’ justification of what they often
         referred to as “strategic hardware sales”, though the ultimate objective was the
         same: to drive software sales. One limb was essentially defensive: it was to meet
         the risk posed by two market changes which Dr Lynch considered
         threatened Autonomy’s software business. The other was more proactive: to use
         hardware sales as a marketing tool.

719.      At what the Defendants depicted as the formal presentation and official launch
          of the strategy in July 2009, at a management meeting which took place between
          8 to 10 July 2009 at Dr Lynch’s country house in Suffolk, Loudham Hall (“the
          Loudham Hall meeting”), the emphasis was on the marketing strategy.

720.      I was not shown any agenda for or contemporaneous record of the Loudham
          Hall meeting.118 Dr Lynch told me that it was unlikely that there was any: “We
          didn’t take notes at the meetings”. But he described it in his witness statement,
          as follows:

                      “In July 2009, at a management offsite meeting in Loudham,
                      Messrs Hussain, Egan, Scott, Mike Sullivan and I discussed
                      Autonomy’s hardware strategy. I believe that around 20 people
                      were present at the management offsite meeting, so there would
                      have been several other people present during this discussion.
                      Although I cannot recall precisely what we discussed, the gist
                      was that we should sell hardware to the company’s biggest
118
   Though the Defendant latterly relied on an email exchange between Dr Lynch and Mr Egan on 2
September 2009, which was subject headed “key customer strategy”, as evidence of the nature and
purpose of the hardware reselling strategy said to have been discussed and agreed at the Loudham Hall
meeting in July 2009. The Claimants contended that the email exchange was pretextual: see paragraphs
811 to 822 below.


                                               Page 229
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 231 of 900
Approved Judgment                                                                 HC-2015-001324
Mr Justice Hildyard


                      customers in an effort to drive software sales. The commercial
                      strategy was not to sell hardware at a loss in order to inflate
                      revenue, it was to sell hardware to strategic customers, even if
                      we made a loss on the hardware sales, for the dual purpose of
                      servicing our strategic customers at a time of industry
                      consolidation and to improve our position with hardware
                      manufacturers with which we could develop appliances. We
                      discussed the level of sales we would aim for in pursuit of these
                      objectives. I cannot remember if we decided on $10M as HP
                      claims, or some other figure. We agreed that Mr Sullivan would
                      take the lead in this. In that context, HP claims that Mr Hussain
                      or I joked that we would buy Mr Sullivan a Porsche if he
                      succeeded in executing the strategy. He was not given a Porsche;
                      his remuneration was based on a sales package, as I explain
                      below.”


721.     That description of the presentation at the Loudham Hall meeting focused on
         what the Defendants often referred to as “strategic hardware sales” as a
         marketing strategy and does not mention the other more defensive rationale for
         the programme which was asserted by the Defendants. In his witness statement
         Dr Lynch explained those threats he considered were posed by “a few key
         market changes”. In more detail:



              (1) Dr Lynch perceived that in the wake of the financial crisis in 2008-2009
                  customers had started consolidating their vendor lists and limiting what
                  suppliers they would use because they thought that it would make
                  procurement cheaper. Dr Lynch described this when cross-examined as
                  “an industry trend at the time”. He was concerned that some of
                  Autonomy’s key customers, in particular financial institutions, were
                  reducing the number of approved suppliers or would be likely to do so,
                  and that if Autonomy was removed from the list, Autonomy would likely
                  be forced to sell via a third-party provider still on the list. This would
                  make Autonomy reliant on another company (which could well also be
                  a software competitor) for the sale of software and lead to an erosion in
                  its margins because the third-party supplier would demand a margin on
                  sale (typically 30%). He added:

                             “We held internal discussions as to what we should sell to
                             increase overall volumes of sales to these customers. We
                             concluded that we did not want to sell third-party software
                             owned by our competitors and we did not want to sell services
                             because that was against the ethos of the company and carried
                             significant overhead. Hardware was a good option as all our




                                               Page 230
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 232 of 900
Approved Judgment                                                                    HC-2015-001324
Mr Justice Hildyard


                         customers were also hardware customers119, and it supported
                         our software business.”

              (2) Dr Lynch’s objective was “strategic package sales” or “one-stop
                  shopping” under which Autonomy would supply all customers’ IT needs
                  (hardware as well as software) as a means of tying such customers into
                  Autonomy and reducing the risk of customers looking to mainstream
                  hardware suppliers which might seek to introduce other software
                  companies. In cross-examination, Dr Lynch elaborated that:

                         “So we were very, very keen to avoid that happening and we
                         spoke to the banks and one of the things they said to us is: there’s
                         going to be an element in this of how much you are selling us.
                         And it was actually a suggestion that came from the banks that
                         hardware was something they would be happy to do this way.
                         That was the customer-facing part of the strategy and it turned
                         out to be very successful and unlike companies that were selling
                         more than us, we did not get pushed into being a supplier
                         through one of the majors and that saved us 30%. So the amount
                         of business we’re talking about here is about $150 million, so
                         that saved us $50 million profit immediately, so it was a very
                         good outcome.”

722.      As to the second threat Dr Lynch identified, which was the perception that the
          software industry appeared to be moving towards appliances as the means of
          packaging and selling its offering:


              (1) Dr Lynch’s assessment was that the way software was delivered was
                  changing. At that time, the Cloud (which in fact ultimately became, to
                  Autonomy’s advantage, the predominant delivery mode) was in its early
                  development: appliance sales appeared at the time to be the most likely
                  platform and mode of delivery of software offerings.

              (2) The threat was that companies focusing exclusively (or almost
                  exclusively 120 ) on software, and which could not offer any packaged
                  solution, would find it difficult to compete with large companies that had
                  the capability to provide both. Dr Lynch gave as an example, Google’s
                  development and production of an appliance that overlapped with some
                  of Autonomy’s products; he was concerned that some analysts, such as
                  Mr Whit Andrews of Gartner (an influential industry analyst), had
                  identified Google Search Appliances as one of the main competitive
                  threats to Autonomy.

119
    Dr Lynch estimated that only about one percent of overall sales of hardware were to prospective
rather than existing software customers.
120
    The Claimants accepted that Autonomy had always sold some hardware, and of course it had always
had to purchase large amounts of hardware for its data centres and hosted and archiving businesses.


                                              Page 231
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 233 of 900
Approved Judgment                                                              HC-2015-001324
Mr Justice Hildyard




              (3) Dr Lynch described the perceived likely industry move to appliance
                  sales as “an existential threat to our software business”, unless
                  Autonomy could establish a relationship with one or more hardware
                  suppliers to develop an appliance or packaged solution which it would
                  be to their joint benefit to market in a combined product or (as it was
                  often referred to) “solution”. For that purpose, he considered,
                  Autonomy needed to establish strong “strategic relationships” with
                  hardware suppliers (what he described as a “partnership that we could
                  leverage and rely on if the market did aggressively move (as feared) to
                  appliances”) so as to be able to procure appropriate basic hardware
                  (“without unnecessary bells and whistles”) at a competitive price. That
                  hardware could efficiently and economically be configured with
                  Autonomy software and then either sold and delivered as a package
                  either with Autonomy software embedded or already configured for
                  Autonomy software to be supplied later. (Either package was, as Dr
                  Lynch used the term, capable of being an “appliance”.)

              (4) Dr Lynch’s evidence was that his perception was that:

                      “Autonomy’s hardware sales helped us overcome that threat: they
                      enabled us to partner with hardware suppliers to purchase appropriate
                      hardware at a competitive price, develop an appliance and meet the
                      perceived market demand.”

723.     When the “existential threat” subsided, as in the event it did with the increasing
         dominance of the Cloud as the means of both the delivery and the archiving of
         software, the assistance of a hardware supplier to develop an appliance became
         much less of a concern. Dr Lynch accepted that the weight given to the various
         objectives of the hardware reselling strategy shifted from about Q2 2010
         onwards, and became more centred on what he called “strategic package sales”
         and the “customer-facing aspect”: or, in other words, positioning Autonomy to


         make software sales by becoming the customers’ preferred supplier across the
         spectrum of its IT needs.

724.     Dr Lynch always emphasised, however, that it was never intended that
         Autonomy should become, and he insisted that it never did become, a generic
         reseller of hardware. In his witness statement his evidence was that:
                      “…we did not seek to sell hardware into companies who were not in the
                      market for our software and we did not support the hardware we sold
                      with related services. We sold hardware to our actual or prospective
                      software customers, for a variety of reasons connected to our core
                      business, which I will explain…”




                                              Page 232
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 234 of 900
Approved Judgment                                                                     HC-2015-001324
Mr Justice Hildyard


725.      That is consistent with what he said close to the time, for instance, in an email
          dated 23 October 2009 to Mr Barry Ariko, a member of Autonomy’s Audit
          Committee:
                      “Personally despite the benefits you cite I feel we would not want to
                      become resellers of unrelated hardware which is not about furthering
                      our software sales.”121

726.      It is also consistent with Mr Sullivan’s evidence that Dr Lynch explained from
          the outset that the aim of the hardware sales was to get a bigger share of the
          financial market and in particular, big banks’ software business. (As Mr
          Sullivan told the US court, those banks and financial institutions were his largest
          customers: that marked him out as the logical person to drive forward the
          programme.)

727.      Dr Lynch also referred in his witness statement to a number of “additional
          benefits to the hardware strategy”, some anticipated, and some which emerged,
          including:

              (1) Autonomy could leverage its buying power to negotiate discounts on
                  hardware needed for its own data storage centres.

              (2) Many of Autonomy’s customers had procurement departments, the
                  performance of which tended to be measured on the discounts they
                  obtained. Autonomy found that, if it sold hardware at a loss, it could
                  more easily maintain its margins on its software. If Autonomy failed to
                  maintain its margins on its software with one customer, the company
                  faced erosion of its margins with all of its other customers.
                  Commercially, it was better for Autonomy to discount certain hardware
                  sales to large customers with strong negotiating positions in order to
                  maintain (typically very much more substantial) margins on its sales of
                  software.

728.      Dr Lynch did not dispute or seek to disguise the fact that a further material but
          collateral advantage was that the hardware strategy gave “a degree of
          flexibility” and “a little bit of a degree of freedom” which enabled Autonomy

         “on occasion” to “plug gaps in relation to other revenues”. Dr Lynch
         confirmed further that he was sure that the freedom and flexibility had been
         used. However, he was adamant that this was not, and never became, the driving
         force or reason for the strategy.

729.      He also contended that hardware sales would be a poor tool for inflating
          revenue, and that if that had been Autonomy’s goal, it would have been easier
          and more efficient to sell third party software. He explained in
          crossexamination:


121
   The benefits cited by Mr Ariko, in the email to which Dr Lynch was replying, were “incremental
revenue and margin contributions”.


                                              Page 233
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 235 of 900
Approved Judgment                                                                 HC-2015-001324
Mr Justice Hildyard


                             “…If the goal was to produce recognisable revenue, we
                             would have just resold third party software, which
                             would have been a far more efficient way of doing
                             things. It would have not had the delivery issues. So
                             one of the big problems with this as a strategy for
                             trying to get revenue of course is that hardware has to
                             be physically delivered. So you've got 30% of your
                             business in the quarter is done in the last week and
                             generally, although there can be other arrangements,
                             that's too late to turn on a hardware tap. So if the goal
                             of the exercise was to –- solely to get revenue, you
                             would resell third party software, which you could do
                             on exactly the same basis but obviously it wouldn't
                             meet our strategic goals.”

730.     On that point, Ms Harris also gave evidence about the relative complexity and
         timing problems inherent in hardware sales. Whereas with sales of software,
         delivery was effected by sending an email key, and revenue could be recognised
         straight away provided the other revenue recognition criteria were met (e.g.
         collectability), the process was much less simple for hardware, with no
         guarantee that the revenue would be recognisable in the quarter: again, it was
         suggested that this meant that hardware sales would not have been an effective
         tool to enable Autonomy to “plug gaps” in order to meet its targets.

731.     In the round, Dr Lynch portrayed the hardware reselling strategy as “the right
         decision and a good insurance policy for the company”. He was also adamant
         that at a net cost of no more than $20 million the hardware reselling strategy
         was good value for money in marketing terms. He submitted that when looking
         at the commercial sense of the strategy, it is not the size of the revenues that
         matters, but the cost to Autonomy. When cross-examined he expressed this as
         follows:
                      “So if we just look at this in context of what’s actually going on here.
                      Autonomy spends $500 million over this period on marketing. This
                      strategy costs us about $20 million and we get back through the fact
                      that the linked discounts come – meant that we don’t have to discount
                      software to get the procurement discount, so it costs us less than $20
                      million. We then get EMC, for example, bringing us into their extended
                      deals where they replace EMC with us and that goes into multiple
                      customers. Dell bring us into 40 customers. They all make appliances
                      for us. We displace our main competitor FAST out of Hitachi so we
                      actually become the software for Hitachi. And we protect losing the
                      profit margin on about $160 million of software business. So what’s
                      going on here is the execution of what actually is probably the best
                      $20 million I ever spent on marketing in terms of the return that we got
                      for it.”

732.     He summarised what he saw as its advantages and successes in his witness
         statement, as follows:


                                               Page 234
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 236 of 900
Approved Judgment                                                               HC-2015-001324
Mr Justice Hildyard


                      (a) “Autonomy maintained its strategic supplier status with its major
                          customers.

                      (b) Autonomy demonstrated that it was not threatened by the move to
                          appliances.

                      (c) Autonomy protected its software margins.

                      (d) Autonomy developed its appliances with Dell, and sold them to
                          customers.

                      (e) Autonomy and Hitachi were developing an appliance as well.

                      (f) Autonomy and EMC agreed to develop an appliance122.

                      (g) Autonomy and EMC entered into discussions for the purchase of
                          Documentum136 for $2.2bn (which did not ultimately proceed).

                      (h) EMC changed the code on its hardware to enable it to run Autonomy
                          software, leading to sales.

                      (i) Autonomy obtained discounts worth several million dollars on its
                          own hardware purchases.”

733.       Dr Lynch could not and did not shy away from the fact that the hardware sales
           were, on a stand-alone basis, almost invariably loss-making; but his case was
           that when the benefits (especially increased high-margin software sales, but also
           including discounts on hardware purchases for its own considerable needs in its
           archiving and hosting offerings) were weighed in the balance, the costs were
           outweighed by the advantages.

734.       In the round, the Defendants stressed especially the importance of putting the
           programme in proper perspective: when looking at the commercial sense of the
           strategy, it was not the size of the revenues that matters, but the cost to
           Autonomy; and even the gross cost was small in comparison to the very high
           margins that could be made on software sales, as Mr Welham agreed.




735.       There is no evidence of the hardware reselling strategy having been discussed
           by the board: the strategy was presented as having been discussed at the
           Loudham Hall meeting and developed thereafter.



122
      After a reconciliation, by August 2010, according to Dr Lynch.
136
      EMC’s content management and archiving division.


                                                  Page 235
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 237 of 900
Approved Judgment                                                                HC-2015-001324
Mr Justice Hildyard


(2) Witness evidence which the Defendants contend supports their case

736.     As indicated previously, the Defendants reinforced their case as explained by
         Dr Lynch principally by reference to the evidence of the Claimants’ own
         witnesses. They relied in particular on the evidence of Mr Sullivan and Mr Egan,
         which they contended supported their case as to the purpose of the hardware
         reselling strategy in all its aspects, and on the evidence of Mr Welham.

737.     Both Mr Egan and Mr Sullivan were directly involved in the hardware reselling
         strategy, which was almost exclusively centred in the US. Both had given
         evidence in the US criminal proceedings. Both appear from that evidence to
         have considered that there was a valid commercial rationale for the hardware
         sales, including sales of what the Claimants would characterise as “pure
         hardware”. The omission from their respective witness statements of any
         substantial recognition or explanation of the outlook they expressed at the time
         has tended rather to emphasise the Defendants point that the Claimants’ case
         now is not supported by their own witnesses.

Mr Sullivan

738.     In his witness statement, Mr Sullivan did not express any view as to the purpose
         of the strategy of hardware sales, which he considered began to be implemented
         in Q3 2009 after the meeting at Loudham Hall and his return to the US after
         that. He accepted that it was not unusual for software companies to sell
         hardware. However, the emphasis in his witness statement was on the fact that
         Autonomy’s hardware sales were at a loss; and that although he was familiar
         with the process of reselling hardware, had engaged in it when at SteelPoint,
         and had a well-established network of large institutional customers to which
         hardware could be sold, he stressed that in his experience there the sales had
         been for a profit and never at a loss.

739.     Mr Sullivan explained that he was in regular contact with Mr Hussain, who
         regularly set revenue targets for hardware resales and frequently requested
         updates on the status of hardware sales (which, he added, were often referred to
         as “low margin” business). He acknowledged that he was offered and received
         bonuses if he achieved the targets. He identified EMC as the initial usual
         hardware provider; they were replaced by Dell after Q3 2009.

740.     His evidence was that after the HP acquisition Dr Lynch and Mr Hussain agreed
         that reselling hardware should cease except for committed deals, though he was
         asked to do some new deals after that; and that the programme finally came to
         an end in April 2012. He seemed to imply that termination post-acquisition
         signified some suspicion about propriety.

741.     The Defendants depicted Mr Sullivan’s evidence in the US criminal proceedings
         as giving a fuller and fairer picture of his view of the hardware reselling strategy.

         They relied on his evidence in that context as demonstrating that in his
         perception:


                                            Page 236
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 238 of 900
Approved Judgment                                                                 HC-2015-001324
Mr Justice Hildyard


           (1)        There was nothing wrong or illegal in a software company selling
                      hardware at a loss as part of a marketing programme: he considered
                      that it was something that happened frequently in the software and
                      hardware industries.    He explained his own thought process as
                      follows:
                            “Absolutely. I mean companies sell printers at a loss to sell ink.
                            Companies sell razors to sell blades. You know, we were a
                            software company. We gave away professional services for free
                            to get software deals. We gave away training for free to get
                            software deals. I mean, in the end what matters is you make
                            more than you don’t make when you add it all up and group it
                            together. That’s the way I looked at it.”


           (2)        Autonomy and its then preferred hardware provider, EMC, had mutual
                      customers (in particular, large financial institutions) and it was with a
                      view to mutual benefit that “we specifically targeted, you know, our
                      mutual customer list to provide this benefit too, yeah.”

           (3)        Autonomy wanted the hardware manufacturers to drive sales of
                      Autonomy products, and there were opportunities for mutual benefits
                      if they did. For example, if a manufacturer’s introduction led to
                      Autonomy selling Digital Safe to a customer, that in turn would
                      increase Autonomy’s or the customer’s need for hardware, which
                      would result in further hardware purchases from the manufacturer.

           (4)        After mid-2009, when he started selling the low-margin hardware, he
                      only sold it to big software customers of Autonomy and such
                      customers included Citigroup, Bank of New York, and Bloomberg. He
                      explained that a lot of software was sold to a company called Insight
                      which was Citi’s purchasing agent for hardware so that when they were
                      selling to Insight they were selling to Citi. He also confirmed that a
                      company called SHI played the same function for Bank of America as
                      Insight for Citi and so if they were selling to SHI they were selling to
                      Bank of America. All of those financial institutions were software
                      customers of Autonomy before the hardware program started.

           (5)        He agreed that the programme or strategy was “a way to develop good
                      relationships and to induce further business…an investment in the
                      relationship…”

           (6)        It was never suggested to him that he should, and he never did, try to
                      conceal hardware sales, saying that he “never thought there was a
                      reason to. In fact, I tried to make it clear”. He expressly told both
                      EMC and Dell that the sales were part of a marketing programme, and
                      never thought there was anything at all wrong in it.




                                              Page 237
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 239 of 900
Approved Judgment                                                                  HC-2015-001324
Mr Justice Hildyard


           (7)         He saw nothing wrong in either the payment of bonuses, nor in the
                       setting of targets measured by sales under the programme: he said he
                       did not know “why you would do it any other way”.

           (8)         It was impressed on him by Mr Chamberlain and the legal department
                       that to that end, it was essential for Autonomy (a) to take title and own
                       the hardware before reselling it (as he put it “We had to hold the
                       receivables risk…”) and (b) to ship the product before the end of the
                       quarter for which revenue was to be recognised: if shipment was
                       delayed, then revenue recognition would have to be deferred (which
                       he said “happened regularly”).

742.     The Defendants relied also on Mr Sullivan’s evidence when asked in the US
         criminal proceedings in “direct” examination what in September 2010 he
         understood the purpose of the “Dell resells” to be:
                      “Well, clearly there was an element of wanting more revenue. That was
                      one. But there was also the overarching purpose…The overarching
                      purpose, again, as I asked multiple times, was to generate good will and
                      marketing benefit…”


743.     However, Mr Sullivan’s evidence in the US criminal proceedings also signalled
         that he was not himself verifying the rationale of the programme: he was
         explaining what he had been told by the Defendants and that that was the basis
         on which he had proceeded. Thus:

              (1) When asked whether the explanation of the strategy in focusing on big
                  financial institutions and selling them discounted hardware which he
                  was given by Mr Hussain and Dr Lynch, which was that this would help
                  to develop relationships with them with a view to getting a bigger share
                  of their software business was plausible, he side-stepped, and simply
                  answered that the big financial institutions were his “largest customers
                  for the portion of the business that I ran.”

              (2) When asked whether he knew that the marketing aspects of discounted
                  hardware sales were important to, for example, Mr Hussain and Dr
                  Lynch he said he did “because of their words and that’s what they told
                  me.”

              (3) He was aware that it was important for Autonomy that the sales of
                  hardware should be papered and structured to result in recognised
                  revenue: he accepted that revenue recognition was part of the rationale.

744.     It is clear from Mr Sullivan’s evidence in the US criminal trial that he was
         personally unsure what was the purpose of the sales of hardware at a discount
         on the price which Autonomy had paid the supplier and thus at a loss to it. The
         fact that he repeatedly asked Mr Hussain and Dr Lynch for an explanation
         suggests that he remained unsure and needed reassurance from them. His
         evidence was replete with the variety of answers he was given, though all


                                               Page 238
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 240 of 900
Approved Judgment                                                                HC-2015-001324
Mr Justice Hildyard


         revolved around the central theme of fostering goodwill with suppliers and
         software customers, and mining that to develop and extend relationships with
         them both.

745.     Of course it is dangerous to place too much reliance on nuance having not had
         the opportunity to watch and listen to him being cross-examined, but I also
         formed the impression from the transcripts of his evidence in the US criminal
         proceedings that he was ultimately unsure quite what the story was that he had
         been told and tended to grasp at different formulations according to whether he
         was being examined or cross-examined, being anxious to satisfy both and
         insulate himself.

746.     Further, although Mr Sullivan well understood and accepted the notion of a
         promotional deal and using discounting for marketing purposes (see, for
         example, paragraph 801(1) below), when confronted with particular
         transactions, he often had to accept that the reality was that the real driver was
         revenue generation albeit at a loss. Thus:

           (1)        As elaborated below (see paragraph 773 et seq) in considering the
                      nature of the relationship between Autonomy and its first major
                      hardware supplier, EMC, Mr Sullivan confirmed that though he
                      “certainly characterised the deal as, you know, a marketing deal” and
                      had told them that he “had marketing funds to use to spend on some of
                      our mutual customers” the reality was that:
                           “You know, really, the deal that I had with EMC was just to help
                           us sell some hardware. It really didn’t go much beyond that.”



           (2)        In relation to Autonomy’s dealings with a Dell customer called Zones
                      Inc, which Dell introduced to Autonomy (and which I address in more
                      detail later, see paragraph 1159 et seq) Autonomy was contractually
                      precluded from revealing its involvement. Mr Sullivan duly confirmed
                      that he never mentioned Autonomy’s involvement in any transactions
                      with Zones, or in other transactions with Dell customers such as Oracle
                      where like prohibitions had been imposed.

           (3)        Mr Sullivan had to accept, in relation to an email from Mr Hussain
                      dated 25 March 2011 in which Mr Hussain had written that making
                      further hardware sales was “the last part of the low margin jigsaw”,
                      that this was being done to try to hit a revenue number, rather than for
                      any marketing purposes.

747.     More generally, Mr Sullivan’s role, as the person chosen to develop business
         with hardware suppliers (first, with EMC and subsequently with Dell), was
         defined exclusively by reference to revenue generated from hardware sales. He
         reported regularly to Mr Hussain as to (a) what “low margin” sales could
         realistically be achieved and (b) the value, purely in revenue terms, of hardware
         sales secured from time to time. In other words, the accent was almost
         exclusively on revenue, without a thought to the pursuit or accomplishment of


                                              Page 239
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 241 of 900
Approved Judgment                                                                  HC-2015-001324
Mr Justice Hildyard


         any other benefit. In that connection, Mr Sullivan stated in his evidence in the
         US criminal proceedings that he did not know whether there was any effort at

         all at head office in England to try to track or relate “low-margin hardware deals
         with software sales”.

748.     My overall impression was that Mr Sullivan had been carefully assisted as to
         the line to be followed for his own protection if and when questioned about the
         purpose of the hardware sales. He tried to repeat his lines (with some glitches
         in his recital of them), that he had been assured and had then persuaded himself
         that there was nothing improper in what was being done. However, although I
         should stress that the Claimants did not accuse Mr Sullivan of dishonesty, he
         knew that it was all about revenue, with any other benefits being uncertain and
         peripheral, and unproductive in terms of his take-home pay.

749.     Indeed, in a passage from his evidence which was not quoted in the Defendants’
         respective closing submissions, even though it was part of the same passage
         quoted at the end of paragraph 742 above which was especially relied on by Dr
         Lynch, Mr Sullivan appears to have accepted that where the deals were arranged
         at the very end of the quarter, their real purpose was simply to generate revenue.
         Thus, when giving his answer that “the overarching purpose” was to generate
         “good will and marketing benefit” he expressly differentiated what he referred
         to as “the last second request”. He was asked to explain what he meant by this:
         Q. What do you mean by the last second request?

                          A. Well, in this case this is two days before the end of the quarter
                         Q. What significance do you attach to that?
                         A. To get more revenue for the quarter.”
Mr Egan

750.     As mentioned above, Mr Egan (like Mr Sullivan) said very little in his witness
         statement about the rationale of the hardware sales, and he tended to minimise
         his own involvement. However, Mr Egan (unlike Mr Sullivan) did attend to be
         cross-examined via video-link in these proceedings; and when cross-examined
         he confirmed that he did not think there was anything wrong with Autonomy’s
         strategy of selling hardware, even though it typically involved a loss on the
         resale.

751.     Mr Egan also confirmed that the evidence he had given in the US criminal
         proceedings was correct, and could be taken still to be his evidence. The gist of
         that evidence was captured in the following exchange:
             “Q. Did you believe that the sales to these banks of hardware had
                 the extended benefit of enhancing the relationship with the
                 banks?

                      A. I did believe that.




                                                Page 240
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 242 of 900
Approved Judgment                                                                 HC-2015-001324
Mr Justice Hildyard


                      Q. Who were big customers for software?

                      A. Some, yes; some targets.

                      Q. Did you consider it a relationship builder to sell the hardware to
                      these targets or customers for software?

                      A. I did.

                      Q. And did you see it as a benefit to future software purchases?

                      A. Absolutely.

                      Q. Did you believe that hardware and software were leveraged together
                      with these big customers?

                      A. Often, yes.

                      Q. And did you believe it increased Autonomy's standing with the
                      big financial institutions that bought their software?

                      A. The hardware sales?

                      Q. Yes.

                      A.   Absolutely.”


752.     Mr Egan’s evidence thus seemed directly to corroborate Dr Lynch’s explanation
         of the purpose of the hardware reselling strategy, and (perhaps more
         importantly) that the purpose was pursued and seemed to him to be realised in
         its implementation. Again, the absence of any acknowledgement of this in his
         witness statement tended to support the Defendants’ submission that the
         Claimants had provided no reason to suggest that the rationale was contrived or
         implausible.

753.     The Claimants pointed out, however, that Mr Egan was never once asked to
         identify the basis of his stated belief as to the purpose of the hardware sales.
         Apart from the so-called “Linkage Analysis” which I refer to later, no objective
         evidence such as to inform or validate the statements of belief was ever
         provided. They contended that it is clear from other parts of his evidence that
         his understanding was based on discussions with Dr Lynch and Mr Hussain, and
         cited in particular the following evidence in his witness statement:




                                               Page 241
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 243 of 900
Approved Judgment                                                                HC-2015-001324
Mr Justice Hildyard


                      “I understood from discussion with Mr Hussain and Dr Lynch that a
                      reason for making these sales was to engender goodwill with customers
                      that were also customers for Autonomy software; and that was always a
                      stated reason for these money-losing sales.”


754.     Further, Mr Egan, who (with Mr Sullivan) was present at the Loudham Hall
         meeting in July 2009, but did not address it in his witness statement, implied
         that the notion of hardware sales driving software sales might have informed the
         strategy initially, but soon faded when the revenue-generating potential of
         hardware sales was recognised. He stated in his witness statement that:
                      “…it was also clear to me over time that a principal reason for these
                      money-losing sales was to generate revenue that could be recognised
                      in the quarter in which the sale was made so that Autonomy could
                      achieve its revenue target and meet market expectations. This benefit
                      was discussed as a primary motivation for doing these deals amongst
                      myself and others, including Mr Hussain and Dr Lynch.”

755.     Mr Egan agreed with Mr Miles in cross-examination that this was carefully
         phrased, and that the use of “a” rather than “the” before “principal reason”
         was deliberate and what he was “comfortable with”. That was not least perhaps
         because in his evidence in the US criminal proceedings Mr Egan (when
         crossexamined in that context) had accepted that he had regarded hardware
         sales, and in particular sales to large banks who were big customers for software,
         to be “a relationship builder” so that “hardware and software were leveraged
         together with these big customers”. He was careful to maintain the position that
         even if, “later in the process”, such reasons “became secondary in a couple of
         cases to the absolute desire for revenue”, they always, in his view, subsisted.

756.     Most importantly, at least from the Defendants’ perspective, Mr Egan’s
         evidence was that he considered that it was genuinely always part of the purpose
         of hardware reselling to turn Autonomy into a favoured seller to large customers
         and particularly banks and other financial institutions, and that engendering
         goodwill with customers that were also customers for Autonomy software was
         not only a stated but “always a very big reason” for the money-losing hardware
         sales.

757.     Mr Egan made the point also that “…you could have an argument in any one
         transaction about whether something was secondary or primary to the other…”
         He accepted that the evidence he had given in his witness statement that revenue
         generation had “been discussed as a primary motivation for doing these deals
         amongst myself and others, including Mr Hussain and Dr Lynch” was not based
         on any actual or specific conversation. He accepted as correct Mr Miles’s
         suggestion to him that the notion of a primary motivation for a deal:


                      “…sounds rather like the kind of thing a lawyer would say rather than
                      what business people would say at the time…”



                                               Page 242
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 244 of 900
Approved Judgment                                                                      HC-2015-001324
Mr Justice Hildyard


758.      That is probably realistic. Different transactions may have differently weighted
          purposes and objectives, and business decisions are usually multi-faceted; the
          weighing of which is the primary or predominant purpose is beloved by lawyers,
          looking at the matter after the event; but commercial men tend to take a more
          holistic approach and weighting as between various commercially welcome
          effects is not the reality of commercial life. Mr Egan sought in this way to
          reconcile his evidence in the US criminal proceedings, his witness statement,
          his conscience and what increasingly also struck me as a desire so far as
          possible, not further to implicate Dr Lynch, or indeed himself123.

759.      This difficult line was easier to follow where Mr Egan was involved in, or did
          know of a prior or contemporaneous hardware sale; and it is clear that in those
          instances, Mr Egan did try to leverage the hardware and software sales together.

760.      The Defendants made much in this regard of an email exchange between Mr
          Egan and Mr Hussain on 23 December 2009 which had as its subject heading
          “A few additional points for your prep”. This exchange (which Mr Egan had
          not mentioned in his witness statement) appeared to suggest that when
          ‘prepping’ Mr Hussain how best to present to Mr Christian Lucas of Morgan
          Stanley a large proposed deal with Morgan Stanley which also involved a ‘loss
          leader’ sale to Morgan Stanley of Dell hardware at a discounted price, Mr Egan
          had presented what was described as the “Dell/reseller” deal as a loss leader
          which promoted good relations with Dell and led to faster adoption of
          Autonomy software and “grease[d] the process of lucrative OEM bundling of
          Autonomy software on Dell kit” especially when Dell could see “the level of
          usage of our software in a prestigious account like MS…”

761.      The Defendants also relied on a passage of evidence from Mr Egan’s
          reexamination in which Mr Rabinowitz had sought to elicit from him that the
          use of hardware sales to leverage software sales in the Morgan Stanley deal was
          a single exception, and that Mr Egan had not been involved in any other
          hardware sales which were linked to a sale of software. Mr Egan, contrary
          perhaps to the re-examiner’s expectation, replied that he was sure he was,
          causing Mr Rabinowitz quickly to break away from that line of questioning.

762.      However, the surprise of the initial answer may have somewhat obscured Mr
          Egan’s addition, which explained its limited scope:
                      “To be clear, I answered that question based on knowing that I’ve sold
                      what I believe I referred to the other day as more occasional hardware
                      in conjunction with software versus very large hardware deals.”

        Earlier, in the course of his cross-examination, Mr Egan had referred to having




123
    He also emphasised, for example, that though he was “involved in making this type of hardware
sale when Autonomy first began this practice in Q2 2009…[he] was involved only occasionally
thereafter.”


                                               Page 243
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 245 of 900
Approved Judgment                                                               HC-2015-001324
Mr Justice Hildyard


                      “sold some incidental hardware prior to the period that we’re talking
                      about and I don’t think anyone has questioned, or that’s not under
                      scrutiny.”


763.     What in the round I took from Mr Egan’s evidence was that:

              (1) Although he knew of money-losing hardware sales, and of their general
                  justification as “to engender goodwill with customers that were also

                      customers for Autonomy software”, he was “more tasked with selling
                      software” and it was Mr Sullivan who “was tasked by Dr Lynch and Mr
                      Hussain with managing most of the hardware reselling.” In other words,
                      the tasks were usually separately undertaken, and Mr Egan was only
                      occasionally involved in hardware sales.

              (2) “As a general matter, [he] did not know which companies had
                  purchased hardware from Autonomy or how much third-party hardware
                  was being sold”; and he was not, therefore, in a position to and did not
                  “use the fact of a prior or contemporaneous hardware sale to promote
                  the software sale [he] was trying to make”.

              (3) Even in some cases where there were long running negotiations for
                  software sales he was simply not told or aware of the fact of a prior or
                  contemporaneous hardware sale which might have assisted him in
                  concluding a software sale. The example given in his witness statement
                  of a software licensing and data hosting transaction eventually
                  concluded with BofA was especially instructive because not only did he
                  not know of a prior large hardware sale to BoA which might well have
                  assisted him in his negotiations but also he “never heard Dr Lynch or
                  Mr Hussain…refer to these hardware sales during our extensive
                  negotiations with Bank of America” either).

              (4) As to what he described in cross-examination as the “small universe” of
                  large value end of quarter hardware sales, his evidence to me was that in
                  his discussions with Dr Lynch about this “I feel as though we had an
                  understanding that they were needed from a revenue perspective…”.

              (5) It was, inferentially, for that reason that he was not told and usually did
                  not know any of the details of such sales, or (in particular) which
                  companies had purchased hardware from Autonomy or what the sales
                  involved.

764.     I accept that evidence. If Mr Egan, who was so often responsible for software
         sales, (a) in important instances where there were ongoing negotiations for
         software sales did not know and could not and did not use the fact of prior or
         contemporaneous hardware sales as a negotiating point , and (b) often did not
         know relevant details of end of quarter hardware sales and in any event
         understood them to be directed simply to revenue generation, that tends
         substantially to undermine the notion that the objective of such hardware sales


                                              Page 244
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 246 of 900
Approved Judgment                                                                        HC-2015-001324
Mr Justice Hildyard


          was to benefit software sales and that “hardware and software were leveraged
          together with these big customers”.

765.      This fed through into the main difficulty for the Defendants. This was that
          although Mr Egan sought to emphasise what he called (see paragraph 751
          above) the “extended benefit” (of enhancing relationships with the banks), the
          overall impression persisted in his evidence that the sine qua non and driving
          force of the hardware sales was revenue generation to meet what he knew was
          the Defendants’ desire and need to satisfy revenue forecasts.

766.      That impression was supported further by other parts of his witness statement
          which illuminated how little part any ancillary benefits for software sales
          actually played in the planning and practical implementation of Autonomy’s
          hardware sales. To exploit an advantage in terms of software sales that might be
          gained from a sale of hardware, the software salesman had to know of the
          hardware sale; but in his witness statement, he stated:
                      “As a general matter, I did not know which companies had purchased
                      hardware from Autonomy or how much third-party hardware was being
                      sold. When I was involved in selling software licences to end-users, I
                      usually did not know whether hardware had been sold to that end-user
                      and when I was not involved in, or aware of, a hardware sale I did not
                      use the fact of a prior or contemporaneous hardware sale to promote
                      the software sale I was trying to make.” 124


767.      It may also be noted that Mr Egan stated in re-examination that: (i) he was
          unaware that each quarter from Q3 2009 to Q2 2011 the Defendants set
          hardware revenue targets for Mr Sullivan; (ii) he was generally not aware of the
          dealings that took place between the Defendants and Mr Sullivan in relation to
          the generation of revenue through hardware sales; and (iii) he did not know that
          bonus payments were offered and paid to Mr Sullivan linked to the amount that
          he generated from hardware sales. All were factors tending further to undermine
          any belief that the hardware reselling strategy was intended to generate and
          increase software sales.

768.      My overall assessment is that Mr Egan’s evidence was more a recital of reasons
          he had been given as to the purpose of the hardware reselling strategy dressed
          in the language of belief, and that the real import of his evidence was that his
          own experience in practice was that the hardware reselling strategy had very
          little relevance to, and no measurable benefit for, the software business, and that
          it was the need to show revenue which was its true explanation.
Dr Lynch



124
   Mr Egan elaborated on this by reference to a large software licensing and data hosting transaction
with Bank of America in which he was involved in Q1 2011: and I have quoted further from the same
passage in his witness statement in examining that example at greater length in paragraph 1140 et seq
below.


                                                Page 245
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 247 of 900
Approved Judgment                                                                HC-2015-001324
Mr Justice Hildyard


769.     Dr Lynch’s evidence did not attempt to show any direct or causative link
         between hardware reselling and increased software sales. His justification was
         stated in general terms with little or no evidence-based examples:

           (1)         His overall justification was to depict the programme as similar in
                       intended effect to an advertising campaign, but (at a net cost of about
                       $20 million) cheaper.

           (2)         He offered the further justification that the discounts which Autonomy
                       offered its software customers on hardware sales could be used to
                       maintain prices for software products, because it meant “that
                       Autonomy did not have to discount software sales in the same
                       amount”.




770.     He contended also that what he called the customer-facing part of the strategy
         turned out to be very successful, and that the effect of promoting good
         relationships with hardware suppliers was that:
                      “unlike companies that were selling more than us, we did not get pushed
                      into being a supplier through one of the majors and that saved us 30%.
                      So the amount of business we’re talking about here is about $150
                      million, so that saved us [$]50 million profit immediately, so it was a
                      very good outcome.”

771.     As will be seen later, these issues were reflected both in a ‘Strategic Deals
         Memorandum’, which referred to the “continuing rationalization of IT suppliers
         to major financial institution customers”; and also in Autonomy’s Quarterly
         Results for Q3 2009, which noted that “During the quarter we saw some of our
         large customers promote Autonomy to strategic supplier status.”

772.     However, none of this could explain:

           (1)         The frantic use of hardware reselling when gaps emerged in expected
                       revenue from software sales;

           (2)         The determined efforts not to disclose the hardware reselling strategy,
                       to the point of accounting for the costs in such a way as to minimise
                       the risk of revelation as well as reducing the adverse effect of loss-
                       making sales on the ‘bottom line’;

           (3)         The repeated efforts to paint a misleading picture of Autonomy’s
                       efforts to establish a partnership with the first of its main hardware
                       suppliers, EMC (to which I now turn).

(3) Autonomy’s relationship with EMC and the dispute as to why it abruptly ended




                                               Page 246
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 248 of 900
Approved Judgment                                                               HC-2015-001324
Mr Justice Hildyard


773.     Mr Sullivan’s evidence on Autonomy and his own relationship with EMC was:

              (1) Whilst at Zantaz (which had purchased servers and storage from EMC
                  for use in its hosting business) and then after the acquisition of Zantaz
                  by Autonomy, Mr Sullivan had established a good working relationship
                  with EMC’s director of Global Sales and Marketing Operations, Mr Bill
                  Scannell (“Mr Scannell”).

              (2) The potential for some collaboration with EMC preceded the Loudham
                  Hall meeting. Autonomy was, even before the adoption of the hardware
                  reselling strategy, one of the largest buyers of data storage in the world.
                  EMC was “a very large hardware provider, really the leader in storage
                  systems…a top-notch company”. There was advantage to both in
                  securing and increasing each other’s business.

              (3) At the same time, Autonomy and EMC were in discussions about
                  building appliances. Also in June 2009, following a difficult negotiation,
                  Autonomy had convinced EMC to create a “custom configuration for us
                  that will be useful for the Digital Safe” during this period, and as also
                  Mr Goodfellow accepted in cross-examination.

              (4) On 18 June 2009, Mr Sullivan wrote to Mr Scannell of EMC to say that
                  Autonomy would like “a more strategic relationship with EMC,” in
                  view of the large investment Autonomy was making in purchases from
                  EMC, in particular in relation to Digital Safe and Introspect. In his
                  evidence, Mr Sullivan explained that what he meant was getting some
                  of EMC’s hardware customers to buy Autonomy software:
                      “Q. And what you wanted them to do in this more strategic
                            relationship, you were buying a lot of hardware from
                            them, you wanted them to drive some revenue to you;
                            right?
                           A. Absolutely.
                           Q. And what did that mean? Did that mean get some of their
                           hardware customers to buy Autonomy software?
                            A. Yes.”

              (5) To encourage EMC further, Mr Sullivan had mentioned to Mr Scannell
                  the possibility of an alternative tie-up of some kind between Autonomy
                  and HDS (Hitachi). This was intended to and did excite some rivalry and
                  interest from Mr Scannell. The exchange and its upshot seem to me to
                  have some bearing on the dispute as to the nature of the subsequent
                  arrangements between EMC and Autonomy:

                  (a) Mr Scannell’s email to Mr Sullivan stated in relevant part:

                          “This is what I took from our discussion last night. Please clarify
                          if I missed anything or misstated anything.




                                              Page 247
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 249 of 900
Approved Judgment                                                                        HC-2015-001324
Mr Justice Hildyard


                           HDS is looking to provide Autonomy a slick deal where they would
                           provide you:
                       -   a close configuration to what you have with EMC infrastructure
                           already
                       -   they will become a reseller of Autonomy hosting services
                       -   Autonomy are now moving Digital Safe to HDS drives and away
                           from the current vendor
                           You would like to see EMC try to take a stab at the same type of
                           deal where we would drive Autonomy Hosting Service deals and
                           that would allow us to perhaps do a larger overall deal with you
                           (grow from $2.9m to $5m)???”

                  (b) Mr Sullivan’s reply stated in relevant part:

                           “Correct. We would commit to the current deal (subject to some
                           details) plus make an additional commitment for more hardware
                           related to DS and/or Introspect (to be determined). Since we
                           would be making a very large investment in EMC125, we would
                           like a more strategic relationship with EMC so that you could
                           also drive revenue for us. We would also be looking for a
                           commitment this QTR.”

              (6) The upshot as reported by Mr Sullivan in an email dated 26 June 2009
                  to Mr Hussain and Dr Menell was a good deal on the purchase price for
                  EMC hardware which Autonomy was proposing to lease through Bank
                  of America for its own use126, and also a commitment by EMC to refine
                  its hardware for Digital Safe needs, as emails sent at the time
                  demonstrated.127

              (7) On 1 July 2009, Mr Sullivan emailed Dr Lynch and Ms Eagan, noting
                  that:
                      “EMC would like to setup a day where we could get our respective
                      product people together to discuss our respective offerings and see if
                      there are more opportunities for us to work together. For example, they

125
    According to Mr Sullivan’s evidence in the US criminal trial, this included what was known as the
HULK, “a big giant storage system that was supposed to store stuff…very, very cheap” which EMC
had just produced and Autonomy was thinking of trying out.
126
    Mr Hussain’s email to Mr Sullivan, 30 June 2009 stated: “I am very happy with the negotiations that
you guys have carried out. My understanding is that you have managed to strike a very aggressive
pricing on the existing hardware refresh ($3m) having taken formal pricing from Hitachi (the only
alternative) and also pre bought digital safe storage capacity at the same attractive rates for $6m (all
including 3 year maintenance). This hardware will save significant costs as our digital safe business is
increasing at a very rapid rate.”
127
    For example, in an email of 25 June 2009 to Dr Menell Mr Wang stated: “we had a breakthrough
with EMC today in having them agree to sell us essentially hard drives without their fancy software
which is irrelevant for Digital Safe... Given that we will be using EMC only for storage, we also
convinced them to removed [sic] the IU server that was bundled in the unit. so what we're essentially
left with a cabinet with 360 hard drives, the price of which should be substantially better than the
standard ATMOS unit”.


                                                Page 248
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 250 of 900
Approved Judgment                                                                       HC-2015-001324
Mr Justice Hildyard


                      do not have a supervision product or a legal hold product. Not sure what
                      is realistic given that we compete in other areas, but I think it is worth
                      having the conversations.”


774.      It was natural therefore that it was to EMC that, on his return to the US after the
          Loudham Hall meeting, Mr Sullivan immediately turned to take forward the
          hardware reselling strategy that had been agreed upon at Loudham Hall. Mr
          Sullivan elaborated on the relationship established between Autonomy and
          EMC, which was (as appears later) a point of dispute, as follows:

              (1) After the Loudham Hall meeting, Autonomy worked for a relationship
                  with EMC in the nature of a partnership: there was advantage for both
                  in that Autonomy was on its own behalf a large purchaser of hardware
                  from EMC for its data storage business (which Mr Sullivan explained
                  was one of the largest in the world) at the time (before the end of Q3
                  2009), and EMC was a large and successful provider of hardware, and
                  an OEM willing to embed IDOL into its hardware and thus increase
                  market penetration of IDOL. There was a strong incentive for Autonomy
                  to secure its supply chain for hardware and EMC’s partnership for

                      software by purchasing EMC hardware using its negotiating power to
                      secure material discounts128.

              (2) With the EMC hardware sales, Autonomy focused on mutual customers
                  for hardware sales. As Mr Sullivan said, “we specifically targeted … our
                  mutual customer list to provide this benefit.” The way he saw the
                  programme was set out in an email sent by Mr Sullivan to EMC on 15
                  September 2009:

                      “The purpose of the program is to strengthen our relationship
                      with enterprise customers in the NYC region by offering them
                      EMC information management products at attractive pricing.
                      We will focus primarily on existing Autonomy Enterprise
                      customers in the financial sector, but other companies may be
                      added as we mutually agree.”


              (3) Mr Sullivan said that the goal was to get some of EMC’s hardware
                  customers to buy Autonomy software and to encourage EMC to push
                  Autonomy products: “We would have loved to have them, for example,
                  push our Digital Safe project.”

              (4) Mr Sullivan also explained that he opened and pursued discussions with
                  EMC in the latter half of 2009 about “building an appliance, so


128
   On the basis that increasing Autonomy’s volumes of hardware further gave it serious negotiating
power which could lower the price of its purchases. Dr Lynch gave unchallenged evidence that this led
to a saving of $10m for Autonomy on hardware purchases – a saving equivalent to around half of the
$21m of losses incurred (on the Claimants ’ case) on hardware transactions during the Relevant Period.


                                                Page 249
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 251 of 900
Approved Judgment                                                                 HC-2015-001324
Mr Justice Hildyard


                      something like potentially shipping a Digital Safe or actually eDiscovery
                      on [sic] bundling it on their hardware and shipping it…”

              (5) Discussions about an appliance continued after that and on 5 October
                  2009 Mr Sullivan wrote to Mr Scannell to say: “Per our previous
                  conversations, I would like to get together to discuss the continuation of
                  the programme to include development of an appliance bundle, mutual
                  cross referrals, account introductions, reselling and other
                  opportunities.”

              (6) Mr Sullivan explained that this referred to discussions he had been
                  having with EMC about building an appliance to bundle Digital Safe or
                  e-Discovery on EMC software and discussions from November 2009
                  onwards between technical teams evaluating EMC hardware that might
                  be used in an appliance. These discussions continued through 2010.
Contractual arrangements between Autonomy and EMC

775.     The Claimants could not dispute the fact of those discussions; and indeed Mr
         Goodfellow had to accept in cross-examination (after at least three obviously
         evasive answers) that EMC hardware was being refined for use with Digital
         Safe towards the end of 2009. Instead, the Claimants contended that in the event,
               EMC never made any enforceable commitment beyond those set out in a


         “Purchase & Fulfillment Agreement” executed on 10 September 2009, which
         they submitted was definitive of the relationship between Autonomy and EMC,
         and involved nothing more than “a straightforward purchase by Autonomy of
         EMC hardware for resale (at a loss to Autonomy) to EMC’s customers.” The
         Claimants submitted further that this was illustrative of the hardware reselling
         arrangements as a whole.

776.     The Claimants highlighted the following substantive provisions of that
         agreement:

              (1) Under clause 2, EMC would discuss with the end Customer its (the end
                  customer’s) needs and EMC and the Customer would agree the
                  specification, which Autonomy could not change or amend. EMC
                  would then issue a price quote to Autonomy based on that specification.

              (2) Under clause 3, Autonomy would issue a purchase order to EMC based
                  on the quote, stating the name and address of the Customer, the specific
                  products and/or services to be purchased by the Agent for resale to
                  Customer and “total fees payable to EMC by Fulfillment Agent.” EMC
                  would then arrange for the hardware to be shipped directly by EMC to
                  the customer.


              (3) Clause 9 (headed “relationship of parties”) made clear that Autonomy
                  was “not a reseller (except as described herein), referral partner, joint
                  venturer or any other sales agent or representative of EMC”. Instead,


                                               Page 250
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 252 of 900
Approved Judgment                                                                            HC-2015-001324
Mr Justice Hildyard


                      the parties’ relationship was “that of non-exclusive independent
                      contractors”.


              (4) Clause 13 provided that the agreement constituted the entire agreement
                  between EMC and Autonomy in relation to the hardware resales.129


777.      However, that summary gave no content to the first clause which envisaged that
          “the Customer” would be someone with whom Autonomy had an existing
          relationship, and who might be interested in the enhancement of the hardware
          in question by the provision of Autonomy software and other “enhancements”.
          Its first clause, headed “Background”, recited as follows:
                      “A ‘Customer’ is a third party buyer located in the USA (excluding
                      any United States federal government entity, agency or department)
                      which desires to obtain one or more products or services offered by
                      EMC, and with whom Agent may: (i) hold one or more relationships;
                      and/or (ii) through its resources, other relationships, product
                      offerings, or otherwise, be capable of enhancing Customer’s purchase
                      of such EMC


                      products or services. The term ‘products’ may include both hardware
                      and software. This Agreement states the terms and conditions under
                      which EMC agrees to (a) accept purchase orders and collect payment
                      from Agent for purchases made hereunder, and (b) permit Agent to sell
                      EMC products or services to Customers.”


778.      That first clause seemed to me to support the Defendants’ case that Autonomy
          selected its own customers, or at least, supplied to companies which, even if
          customers of EMC, were also customers of its as well. On that basis, the
          arrangements did enable it to further the purpose it had identified by supplying
          its customers with a packaged solution, whilst strengthening its relationship
          with the hardware supplier. That case was further supported by the fact that
          although selected by EMC, most (perhaps all, see below) of the “Customers”
          (principally banks and other financial institutions, such as BofA, JPMC,
          Deutsche Bank and Societe Generale), were also large customers of Autonomy
          130
              , with large software and archiving needs and an existing relationship with
          Autonomy (such as the hosting of their archives in Digital Safe at an
          Autonomy/Zantaz datacentre).


129
    It is to be noted also that there was nothing in the agreement that obliged EMC to use the money it
received from Autonomy in any particular way. The potential significance of this is developed further
later in the context of how the Defendants sought to justify the allocation of a substantial portion of the
hardware costs as sales and marketing expenses.
130
    This was a point Dr Lynch was especially quick to emphasise when cross-examined on the EMC
arrangements.




                                                  Page 251
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 253 of 900
Approved Judgment                                                                     HC-2015-001324
Mr Justice Hildyard


779.      However, as often transpired, the contractual wording did not in fact confine the
          relationship as it developed. An example given by the Claimants to explain their
          perception of the operation in practice of the hardware reselling arrangements
          with EMC in Q3 2009 suggested that the chosen “Customer” was not always an
          existing customer of Autonomy with software needs. The example given was as
          follows:

              (1) On 22 September 2009, the specification having previously been agreed
                  between Bloomberg and EMC, Autonomy agreed to sell EMC hardware
                  to Bloomberg for $8.663 million.

              (2) On 24 September 2009, Autonomy issued a purchase order to EMC for
                  that hardware in the sum of $10.089 million. The shipping instruction
                  was for hardware to be shipped directly by EMC to Bloomberg’s offices
                  in New York and New Jersey.

              (3) The upshot was that Bloomberg received the hardware at a discount of
                  almost 15%, but otherwise its position was identical to that which would
                  have applied had it purchased the hardware directly from EMC.131

              (4) The Claimants emphasised that Dr Lynch accepted when
                  crossexamined, that Autonomy was effectively paying money to EMC
                  to allow Autonomy to sell EMC hardware at a fairly substantial loss.



780.      As the Claimants pointed out (albeit in a different context), the documentary
          evidence suggests that Bloomberg made no software licence purchases during
          the period Q1 2009 to Q4 2010. It did not purchase software from Autonomy
          until 2011. Although Dr Lynch suggested in cross-examination that it had made
          a large software purchase just before the hardware deal, it appears from the
          documentary evidence that it was not a purchaser of Autonomy software in 2009
          or in 2010, and (except obviously for the hardware purchase) it does not appear
          to have been an Autonomy customer at all in that period.

781.      The “devil in the detail” of the evidence thus suggests that Autonomy was
          content to take a loss to generate income without either any existing relationship
          with the customer chosen by EMC, or any reason to suppose that it would
          service a software need or generate a software sale in the immediate future.

Apparent success of the trading relationship with EMC


782.      The Claimants further supported their case by reference to the immediate
          availability of as many hardware transactions as Mr Sullivan could handle. At
131
   As Mr Chamberlain noted in an email dated 25 September 2009: “We are not taking on any
performance rights in respect of hardware, software, maintenance or services that remains with EMC.
Bloomberg owe us the full amount and the only thing we have to do is deliver the equipment”.



                                              Page 252
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 254 of 900
Approved Judgment                                                                 HC-2015-001324
Mr Justice Hildyard


         the Loudham Hall meeting, Mr Sullivan had said that it would not be difficult
         to resell $5 million to $10 million of hardware, and Dr Lynch had joked that if
         he could do that, he would buy him a Porsche. As it was, within the week (on
         15 July 2009) Mr Sullivan reported to Dr Lynch and Mr Hussain by email
         confirming that he was confident that he could:

                      “deliver all the revenue we need per our discussions at
                      Loudham. I have verbal commitments for up to $20MM and
                      could probably get twice that if you want it…My biggest concern
                      is that 4 or 5 Porsches are not practical for me. Perhaps we need
                      to discuss a small plane or yacht?”


783.     The Claimants relied on that jocular confidence and the exclusive reference to
         “the revenue we need” as confirming their contention that all that was involved
         was agreeing with an established supplier a means of purchasing from the
         hardware manufacturer and then reselling on hardware to end-users at a
         discounted price, the discount in effect being funded by Autonomy. Both
         manufacturer/supplier and end-user gained, and it cannot have been difficult to
         interest them, if all that was sought by Autonomy was revenue without any
         further tie or commitment. The Claimants relied on that, and also on the almost
         immediate expansion of the programme well beyond what was envisioned at the
         Loudham Hall meeting, apparently without any re-assessment, as further
         indications that the programme had nothing substantively to do with business
         building and everything to do with revenue generation.

EMC decide not to proceed with the programme

784.     Nevertheless, what appeared to be a developing relationship with EMC on
         hardware reselling rather abruptly came to an end, just after the end of Q3 2009
         in December 2009. The reasons for this too were disputed:


              (1) The Claimants contended that EMC’s sudden refusal to remain involved
                  with the programme (a) suggested some sense on its part that there was
                  something amiss and, in any event, (b) confirmed that there was nothing
                  beyond the reselling arrangements to bind them, and that Autonomy’s
                  suggestion that EMC had committed to a strategic partnership and the
                  development of a joint appliance was baseless. They cited an exchange
                  of emails between Mr Sullivan and Mr Scannell at the beginning of
                  December 2009, in which, in response to a request from Mr Sullivan
                  asking “can you help us out at all in Q4?”, Mr Scannell had emailed Mr
                  Sullivan on 9 December 2009 that

                             “At this point we unfortunately are uncomfortable with these
                             deals”.

              (2) The Defendants, on the other hand, dismissed any suggestion that EMC
                  had sensed anything untoward. They ascribed the change to EMC having


                                               Page 253
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 255 of 900
Approved Judgment                                                              HC-2015-001324
Mr Justice Hildyard


                      bought one of Autonomy’s competitors, a company called Kazeon.
                      Employees of EMC working in the division that had bought Kazeon
                      were lobbying against the Autonomy hardware reselling deals. Mr
                      Sullivan told the US court:
                             “I think that the dynamic that I understood within EMC is that
                             the software business within EMC would rather have EMC
                             bringing them into the deals rather than – rather than us.”

              (3) The Defendants suggested that this too was telling in that it appeared to
                  reflect a concern that the hardware sales strategy did assist in driving
                  software sales. (They suggested further that the fact that it was possible
                  for a hardware manufacturer suddenly to cease supplying hardware
                  without any prior notice confirmed the importance of having strong
                  relationships with them.)

              (4) The Defendants relied also on the fact that not long after, in March 2010,
                  EMC indicated they would be prepared to consider exploring a different
                  business relationship with Autonomy, suggesting that the reason for the
                  break was not based in any suspicion of impropriety.

785.     The evidence is incomplete, and of itself provides no certain explanation for the
         sudden decision of EMC to withdraw. However, Dr Lynch plainly regarded it
         as important to his case to demonstrate that there was nothing sinister in EMC’s
         withdrawal, and that it did not indicate that what Deloitte and the Audit
         Committee had been told in Q3 2009 – that Autonomy and EMC were in a
         strategic partnership and were developing an appliance – was baseless. He
         developed a complex explanation which the Claimants denounced as a
         demonstrable lie.

786.     The explanation Dr Lynch developed was that people within one of EMC’s
         divisions, called Documentum, were lobbying against the pure hardware deals.
         He continued:

            “But then unbeknown to Mr Scannell or Mr Sullivan at this point, a
            conversation broke out with the senior people at EMC which was about
            buying a division of EMC which was called Documentum for about $2.2
            billion and because of that everything got very sensitive about how it was
            handled from that point onwards”.

787.     The Claimants submitted that in fact, it is clear on the documents that the
         discussions with EMC about Autonomy potentially purchasing Documentum
         did not commence until much later, in April 2010. They relied on the following:

              (1) An internal Autonomy memorandum produced on 28 May 2010, which
                  set out the background to a possible deal (under the name “Project
                  Dynamo”) . The memorandum stated as follows: “Morgan Stanley have
                  made the senior level introductions between the two companies and
                  MRL met with Harry You (Executive Vice President, Office of the


                                              Page 254
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 256 of 900
Approved Judgment                                                                 HC-2015-001324
Mr Justice Hildyard


                      Chairman, reporting to Joe Tucci Chairman and CEO) in April 2010” .
                      Nowhere does the memorandum suggest, nor is it consistent with,
                      discussions having taken place any earlier, and certainly not as early as
                      August 2009 as Dr Lynch suggested in his evidence.

              (2) Other documents further demonstrate the inconsistency. On 5 March
                  2010, Dr Lynch sought an update from Mr Sullivan about relations with
                  EMC. Mr Sullivan responded:

                             “As for EMC, the tone on “working with us” is very positive in
                             general. They still are not willing to do reselling deals but have
                             said they are happy to explore other types of partnerships. Billy
                             [Scannell] is always willing to consider creative ideas. Billy
                             says the software group (Documentum / Kazeon etc.) is the only
                             group where we might see resistance…
                             …
                             They are very interested in keeping us as a customer and we
                             have discussed working on the appliances with them although it
                             does not seem a great fit vs alternatives.”

              (3) The Claimants submitted that the document indicated that (a)
                  Documentum’s anticipated “resistance” was to EMC exploring any type
                  of collaboration with Autonomy in March 2010; and (b) no appliance
                  was being developed with EMC by March 2010, nor was there any plan
                  to do so in the future, given that Autonomy did not view EMC as “a
                  great fit vs alternatives”. Even by August 2010, the possibility of EMC
                  creating an archiving appliance utilising Autonomy software had not
                  proceeded beyond tentative discussions between the parties: see the
                  “Discussion Paper re Strategic Relationship” prepared by Autonomy for
                  EMC in August 2010, which identified the creation of an appliance as
                  no more than a possibility under “Expansion of Existing Relationship”.
                  The “Existing Relationships” section of the paper made no reference to
                  appliances.

              (4) The discussions with EMC about Autonomy purchasing Documentum
                  did not, in the event, lead anywhere. Dr Lynch’s evidence in
                  crossexamination was that “the deal [with EMC regarding
                  Documentum] was all ready to go by the summer”. Again, that was not
                  supported by the contemporaneous documents; these suggested that the
                  discussions remained tentative by October and November 2010.
                  Ultimately, as Dr Lynch accepted, no deal took place.

788.     Even if (and I do not need to decide this) the analysis may not reveal a lie, I
         would accept that it supports the Claimants’ suggestions that:


              (1) The relationship with EMC never amounted to anything like a
                  partnership: the essence was that EMC was content to sell hardware at a
                  full price which it could offer at a discount subsidised by Autonomy until


                                               Page 255
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 257 of 900
Approved Judgment                                                                 HC-2015-001324
Mr Justice Hildyard


                      (as seems to me more likely than not) concerns were expressed higher
                      up the management chain to the effect that it seemed too good to be true;

              (2) Any suggestion that the EMC relationship demonstrated or offered the
                  potential of a strong nexus with software sales and development was
                  exaggerated;

              (3) The nature of the EMC relationship was not in consequence properly
                  represented to Deloitte.

(4) Autonomy’s relationships with Dell and Hitachi

789.     EMC’s withdrawal necessitated urgent action to find a replacement hardware
         provider. As I elaborate in paragraph 912 et seq below, there is no doubt that
         by now, Autonomy had become addicted to hardware reselling to cover any
         software revenue shortfall headaches. Mr Sullivan found Dell. Dell had already
         supplied “thousands of servers” for Autonomy’s data centres and hosted
         offerings which (Mr Sullivan elaborated) included “the world’s largest
         archiving and discovery offerings, which we were at the time”: The parties’ very
         different depictions of the relationship between Autonomy and Dell provides
         one of the clearest illustrations of the clash between, on the one hand, what the
         Defendants extracted from the evidence of Mr Sullivan and Mr Egan, and, on
         the other hand, what the Claimants submitted the actual sequence of events and
         the documentation revealed. In this part of my judgment, I focus on what the
         Defendants made of the witnesses’ evidence; but it must be borne in mind that
         a very different story emerges when I turn later to the Claimants’ analysis.

790.     The Defendants relied on Mr Sullivan’s evidence in the US criminal
         proceedings as providing substantial support for the Defendants’ case that as
         with EMC, there were sound reasons for extending Autonomy’s co-operation
         with Dell:

              (1) Dell was a natural choice: as well as being large in its own right, Dell
                  was the largest EMC reseller in the world as well.

              (2) Further, at the time, Dell was seeking to build its own intelligent storage
                  product, and was evaluating IDOL technology for that purpose, in a
                  project known as Project BlueJay.

              (3) Project Bluejay (which Mr Sullivan sometimes referred to as ‘Bluebird’)
                  was Dell’s response to an industry move to build ‘intelligent storage’,
                  which Mr Sullivan explained in his evidence in the US criminal
                  proceedings meant “systems that indexed everything and made it
                  searchable and provided analytics and things like that”. Dell was
                  evaluating technology with a view to developing its own product for the
                  market, including Autonomy’s IDOL.

              (4) Discussions on this had begun in February 2009, but moved into
                  “highgear” in November 2009 (about the time that Autonomy started


                                               Page 256
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 258 of 900
Approved Judgment                                                                HC-2015-001324
Mr Justice Hildyard


                      reselling Dell hardware). In this context, Mr Sullivan explained that
                      Autonomy was heavily engaged working with Dell’s R&D team.

              (5) In an email to Mr Hussain on 6 November 2009, Mr Sullivan outlined
                  “Potential components of Autonomy/Dell deal”. Among other things,
                  they included Autonomy launching archiving and e-Discovery
                  appliances with Dell, Dell acting as an OEM for Autonomy’s IDOL
                  search platform, Dell reselling Autonomy appliances and software, and
                  Autonomy using Dell equipment and storage for its archiving and
                  discovery offerings. As Mr Sullivan explained,
                             “…we really wanted to win that because that would mean every
                             time they sold this, we would get a little piece of it. It was an
                             OEM project…That would have been a very large software deal
                             if it closed…”.


791.     Although Project Bluejay did not ultimately result in an OEM deal, the
         Defendants relied on it as exemplifying the sort of collaboration which
         Autonomy’s reselling of Dell hardware was intended to support. They relied in
         this regard also on the following exchanges:


              (1) An email dated 19 November 2009 from Mr Craig Irons of Dell to his
                  colleague Mr Bob Barris, introducing him to Mr Sullivan. His email
                  explained that Mr Barris was “Dell’s Vice President of Sales responsible
                  for the Financial Services vertical in New York”, and it emphasised the
                  benefits both sides could obtain from collaboration:

                                “As you and I have discussed Dell Product Group is
                                currently engaged in strategic partnership
                                discussions with Autonomy (Zantaz’ parent
                                company). As those discussion continue I thought it
                                might make sense for you and Mike to know each
                                other as much of Autonomy/Zantaz’s enterprise
                                search, archiving, and ediscovery market leadership
                                resides within the financial services community. As
                                such there may be great synergies available to both
                                you and Mike if you were to begin collaborating
                                within the finserv vertical.”


              (2) In an email sent at the time, Mr Egan described some of the benefits of
                  the reselling arrangements with Dell as follows:

                                   “Regarding the Dell/reseller deal:

                                - This is a purely commercial deal done on a lost
                                [sic., loss] leader basis by Autonomy.



                                               Page 257
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 259 of 900
Approved Judgment                                                                 HC-2015-001324
Mr Justice Hildyard


                                 - We gain greatly by seeing faster adoption of our
                                 software and we view Morgan Stanley as one of the
                                 fastest innovators in the space.

                                 - Dell appreciates the relationship and it greases the
                                 process of lucrative OEM bundling of Autonomy
                                 software on Dell kit. This is strategic and we pride
                                 ourselves at getting our OEMs to move fast and adopt
                                 IDOL as a standard. When they have front row seats
                                 to the level of usage of our software in a prestigious
                                 account like MS they move faster on OEM decisions.”


              (3) Emails from March 2010 demonstrated that discussions continued
                  between Dell and Autonomy (run on Autonomy’s side by Mr Sullivan
                  and Mr Matt DeLuca, not Dr Lynch) regarding a strategic partnership
                  between the two companies. Mr Mollo of Dell stated that “The intent is
                  to get a strategic partnership arranged in several key areas short and
                  long term” and referred to the intended relationship with Dell as a
                  “strategic and important partnership.”

792.     Autonomy’s collaboration with Dell continued until HP acquired Autonomy.
         An email of 17 August 2011 summarising “Dell recent activities” dealt with
         discussions about Autonomy as a “GTM [go to market] partner” for Dell with
         respect to eDiscovery and Cloud, noting that the Dell Software Partner
         Management Team was “engaged at highest levels”, and that this was “key
         because insistence from Dell HQ we will be promoted by Dell sales will be very
         helpful in our relationship building in the field.”


793.     While the principal focus was on EMC and later Dell, Mr Sullivan explained in
         his evidence in the US criminal proceedings that Autonomy also worked on a
         strategic relationship with Hitachi/HDS:

                      “Q.    And you were working on a similar strategic relationship with
                             Hitachi at that time, weren’t you?
                      A.     Yes. A little different but, yes.”

794.     By way of example, in 2010, Autonomy partnered with HDS on a proof of
         concept for Morgan Stanley. The proof of concept involved running HDS’s
         software – Hitachi Content Archive Platform – using IDOL, rather than
         Microsoft’s FAST. The parties sought to showcase this product to Morgan
         Stanley, as a replacement for Morgan Stanley’s existing third-party product:

                      “The purpose is to show Morgan Stanley an archive platform
                      that has the strengths of Hitachi storage coupled to the advanced
                      features of the IDOL index as well as the ability to plug this
                      solution into Morgan’s existing IDOL implementation. The
                      instance of IDOL running on HCAP can be easily “connected”


                                                Page 258
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 260 of 900
Approved Judgment                                                                 HC-2015-001324
Mr Justice Hildyard


                      into other IDOL servers, providing an immediate link between
                      the HCAP data and the existing Autonomy solution-set. This is a
                      far cleaner solution than inserting an archive platform that runs
                      a different index application (i.e. MSFT FAST).”


795.     Throughout 2011, Autonomy continued to work with HDS, and its parent,
         Hitachi Data Systems, on promoting each other’s products to customers.
         Autonomy secured an OEM agreement with Hitachi Data Systems just prior to
         the HP acquisition. The deal envisaged Hitachi OEM-ing Autonomy technology
         into its own enterprise search and storage solutions and reselling the solutions
         to customers.

796.     In summary, the Defendants depicted Autonomy’s relationships with EMC,
         Dell and Hitachi as having been intended to enhance Autonomy’s relationships
         with key suppliers, enable it to provide its own customers with a one-stop and
         complete solution, and protect it against the threat posed to it, given its focus on
         software, if appliances did become the preferred means of providing software.
         They urged that the programme should be regarded as a commercially rational
         way of protecting and promoting Autonomy’s software business.

(5) The Defendants’ further evidence as to the use and success of the programme

797.     As to what the Defendants claimed was the networking effect of the hardware
         sales and the potential that offered of leveraging into far more valuable software
         deals, Mr Hussain’s closing submissions focused especially on Autonomy’s
         dealings with UBS.

798.     Mr Hussain provided the following chronology in support of this:

              (1) After unsuccessful attempts by Autonomy in December 2009 to sell a
                  Legal Hold software product to UBS, Mr Egan approached Mr Dominic
                  Lester (UBS’s head of EMEA Technology) the next quarter with a
                  proposal to resell to UBS $10 million of Dell hardware, fishing for an
                  introduction to UBS senior IT people (with whom Autonomy had no
                  existing relationship).


              (2) Although the initial proposal came too late (UBS had already contracted
                  directly with Dell) Mr Lester was sufficiently interested to arrange a
                  meeting between Mr Hussain and Mr Sullivan for Autonomy and senior
                  managers in UBS’s procurement team (Mr Jaffrey and Mr Dille) which
                  took place in February 2010.


              (3) In Q2 2010, Autonomy as reseller sold $6.3 million of Dell hardware to
                  UBS via another reseller, Metro (which is one of the ‘pure hardware’
                  transactions alleged to have been fraudulent). Until then Autonomy had
                  not sold UBS either any hardware or any significant software.



                                               Page 259
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 261 of 900
Approved Judgment                                                                HC-2015-001324
Mr Justice Hildyard




              (4) In May 2010, Dr Lynch met with Ms Michele Trogni (the UBS Group
                  CIO) “to discuss [Autonomy’s] vendor relationship with UBS”,
                  following which two telephone conferences were arranged: (a) the first
                  was “to introduce [Autonomy] to Senior Management within our
                  Compliance Group and for [Autonomy] to provide an overview of their
                  compliance solutions and views on industry best practices” and was to
                  be attended by the senior technology officers from UBS’s London and
                  Zurich offices, including the Global Head of Compliance and the Group
                  Chief CIO ; and (b) the second, which took place on 10 September 2010,
                  was for Autonomy to present its offerings for archiving and e-Discovery,
                  and was attended by even more senior UBS personnel, including the
                  Global Heads of IT (Contracting and Shared Services), of Legal and
                  Compliance IT and of Strategic Planning.


              (5) In Q1 2011, Autonomy and UBS began negotiations in which Mr Jaffrey
                  of UBS was closely involved for the software deal that Autonomy had
                  (until now unsuccessfully) been trying to interest UBS in since Q4 2009;
                  and on 20 July 2011, UBS entered into a master agreement with
                  Autonomy and made a supply order pursuant to that agreement for a
                  package of software including ACA, DS Mail Supervisor and Legal
                  Hold. The licence fees totalled $13,585,860.

799.     Mr Hussain submitted in his written closing submissions that:

                      “…the chronology shows that the hardware sales, and proposals for
                      hardware sales, in 2010 were the means by which Autonomy was
                      introduced to and built relationships with the bank’s key technical and
                      procurement officers. These were the individuals who would decide
                      what software UBS would buy, and it was the hardware sales that put
                      Autonomy on their radar. As a result of selling hardware at minimal
                      cost, Autonomy was able to close a high margin US$13 million sale of
                      its flagship software.”


800.     Other evidence put forward by Mr Hussain of hardware sales being used to
         facilitate software sales or oil the wheels of a desired or difficult relationship
         included:


              (1) An email from Mr Sullivan to Messrs Hussain, Menell and Egan dated
                  16 September 2009 sent after receiving a forwarded serious complaint
                  from Citi about deficiencies in Autonomy’s provision of support for
                  eDiscovery software supplied to Citi’s subsidiary, Primerica. The
                  complainant had stated in an email to Mr Hussain and others that the
                  deficiencies had caused him to question whether he was “going down
                  the correct path” in proposing to buy software from Autonomy and that
                  he could not recommend that course to “Tony DiSanto CTI Head North



                                               Page 260
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 262 of 900
Approved Judgment                                                                         HC-2015-001324
Mr Justice Hildyard


                      America and the guy I have to convince we should be buying Autonomy
                      products”. Mr Sullivan wrote that “Toni DiSanto is also at least in the
                      loop on our EMC deal with Citi. Pete – I will call to share some thoughts
                      and some history…” It was submitted on behalf of Mr Hussain that this
                      showed that (a) earlier hardware sales to Citi had the attention of the
                      bank’s key procurement officer and (b) Mr Sullivan considered, or at
                      least hoped, that this would influence the general relationship for the
                      better, and translate into software deals then under discussion132.

              (2) An internal Autonomy email dated 5 August 2009 (cc Mr Hussain) from
                  which it appears that Autonomy sold discounted hardware to SJ Berwin
                  Solicitors to facilitate the migration to Autonomy from Vivismo, a
                  competitor.


              (3) Three discounted hardware sales to Citi in March 2010, August 2010
                  and December 2010: (a) the first to encourage Citi to proceed with a
                  proposal in relation to email management; (b) the second, a discounted
                  sale of storage cells to persuade Citi to persist with Digital Safe after
                  “relationship problems”; and (c) the third, a discounted sale of storage
                  cells to facilitate negotiations for the data migration to Digital Safe from
                  Iron Mountain.


              (4) An email dated 29 June 2011 from Mr Egan to Mr Mooney outlined the
                  strategic advantages of Autonomy agreeing to act as a reseller for SGI
                  in return for SGI embedding Autonomy software133.


              (5) An email dated 20 December 2010 from Mr Egan to Mr Dan Manners
                  of Deutsche Bank from which it appears that Autonomy offered
                  Deutsche Bank discounted hardware to encourage the bank to sign off
                  on a deal for the IDOL-isation of its Digital Safe.




801.      Mr Hussain contended that these were merely documented examples of the type
          of dealings between Autonomy and its customers and suppliers. He suggested
          that “based on Mr Egan’s and Mr Sullivan’s evidence, [they] happened all the
          time in face-to-face meetings and by telephone…” He supported this with the
          following:


132
    It appears from an email dated 17 October 2009 from Mr Robert Mark to Mr Hussain that
Autonomy was pursuing two software deals with Citi in Q4 2009, one for the migration of Citi data
from Iron Mountain to Zantaz and the other an EAS deal. The same email also suggests that a 23%
hardware discount was to (in effect) be compensated by a higher maintenance fee.
133
    Which Mr Egan depicted as not only initiating a “strategic sale relationship into the Federal space
where we have decided to invest heavily” but also (and illustrating the dual purpose) “to sell with SGI
and work to add HW to our book of business and add SW to SGI in a lucrative quarter.”


                                                Page 261
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 263 of 900
Approved Judgment                                                              HC-2015-001324
Mr Justice Hildyard


              (1) Mr Sullivan informed HP after the Acquisition that his modus operandi
                  was to negotiate the initial discount with the hardware supplier and that,
                  on at least some occasions, this would be followed by direct negotiations
                  with the customer.

              (2) Mr Hussain offered two examples from the evidence to support this.
                  Thus, in March 2010, Mr Sullivan met representatives of Bank of New
                  York Mellon to discuss the possibility of Autonomy supplying it with
                  Dell hardware. On 10 June 2011, Mr Sullivan informed Mr Hussain that
                  he was engaging directly with JPMC’s procurement team to offer them
                  direct incentives in relation to hardware sales.

802.     Such or similar conversations were relied on also by Dr Lynch, whose evidence
         in his supplemental witness statement was that in seeking to encourage BofA
         to enter into a software sale before the end of Q4 2010 he had had “several
         private conversations” with a senior director of BofA, Mr Simon
         MackenzieSmith (then head of BofA in London) when he:


                      “sought Mr MacKenzie-Smith’s assistance in encouraging the bank’s
                      procurement team to prioritise the deal, [and] emphasised that
                      Autonomy was a big supplier of software and hardware to the bank.”

803.     However, this was not accepted by the Claimants. They urged me to reject this
         on the footing that it was unsupported by documentation or by any witness
         evidence from Mr Mackenzie-Smith, had not been referred to in any
         communication in the period and had not been mentioned by Dr Lynch in his
         first witness statement. For reasons I have set out later in this Chapter (see
         paragraphs 1143 to 1155) when dealing specifically with the BofA transaction
         in question, I have concluded that whatever discussions there were, and even if
         Dr Lynch did in passing mention the previous discounted hardware sales, the
         mention of them had no immediate or discernible effect. The evidence of Mr
         Reagan Smith, who was negotiating the deal for BofA, was to the effect that he
         had never heard of any such discounted sales, and accordingly they had no
         influence on the negotiations at all.

804.     Another point made in Dr Lynch’s written closing submissions in seeking to
         show that Autonomy was discriminating in its hardware sales was that
         Autonomy was not prepared to take hardware sales where they did not fit with
         the strategy explained above. There was some factual foundation for this. For
         example, the evidence appeared to show that Autonomy was not interested in
         the revenue that could have been obtained from providing services to EMC
         customers – even pass-through services where the obligation to provide services
         would be passed on by Autonomy. It refused to provide services despite some
         pressure from EMC: as Mr Hussain wrote at the time, “I don’t want us fronting
         any of the services on behalf of EMC. If it means the deals disappear then I think
         we have to accept that”; and he persisted in this position even after Mr Sullivan
         gave his view that a refusal to provide services “will be a disaster. All the deals
         will go away and we will ruin our relationship.”



                                             Page 262
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 264 of 900
Approved Judgment                                                              HC-2015-001324
Mr Justice Hildyard




805.     Dr Lynch submitted that had the aim of the strategy been to drive revenue,
         Autonomy would not have taken this position; and that if it had been pursuing
         revenue as an end in itself, it would not have confined its hardware sales to its
         actual or potential software customers: it would have sold to any company that
         was prepared to buy discounted hardware. The Defendants relied in this regard
         on an analysis prepared for Deloitte in January 2011 which had shown that 75%
         of the hardware sales in the period Q3 2009 to Q4 2010 were made to software
         customers of Autonomy who entered into large software deals in 2009 and 2010.

806.     Dr Lynch accepted that the sales gave Autonomy a small secondary source of
         revenue; but he was adamant that there is nothing improper in that. As
         mentioned previously (see paragraphs 633 and 728 above) he accepted that the
         hardware sales gave Mr Hussain a degree of flexibility that he would not
         otherwise have in meeting targets and plugging any gaps in revenue: but he
         presented that as a perfectly legitimate benefit. Autonomy’s 2010 Annual
         Report made clear that one of the risks which the company faced was
         “fluctuations in results due to quarterly reporting, and variability in results due
         [to] late-in-the-quarter purchasing cycles common in the software industry”
         and that to mitigate that risk it engaged in “Close management of sales pipelines
         on a quarterly basis to improve visibility in results expectations.”

807.     Dr Lynch added to this the consideration that not only were hardware sales
         logistically complex (as explained by Ms Harris, see paragraph 730 above), but
         also it would have been counterproductive for Autonomy to use loss making
         hardware sales as a tool in a scheme to inflate its revenues and to portray itself
         as a “a high-margin software company whose revenues were growing rapidly”,
         as the Claimants allege. The strategy depressed rather than inflated Autonomy’s
         margins, and other metrics that were important to investors and analysts. In
         short, whilst headline revenue was increased, profit margins were eroded, as
         also were critical valuation criteria such as earnings momentum, organic
         revenue growth and cash generation/flow. The point relied on by Dr Lynch was
         illustrated by calculations, which were put to Dr Lynch in re-examination. These
         showed that Autonomy’s organic revenue growth would have been significantly
         higher if the hardware transactions were stripped out, both for Q2 2011 and H1
         2011 (in each case, compared against the equivalent period the previous year).

808.     Thus, the Core Business Organic Growth Rate Calculation in Autonomy’s
         interim results up to 30 June 2011 gave growth rates of 15% (Q2 2011) and 17%
         (H1 2011). Adjusting these figures to remove the “pure hardware” sales listed
         by the Claimants in Schedule 1 of the RRAPoC, those figures are increased to
         28% (Q2 2011) and 21% (H1 2011). Of course, according to the periods
         compared, different results going the other way may be obtained: and the
         Claimants cross-examined Dr Lynch on such different comparisons. But the
         Defendants contended that the point endured that, in the key period before the
         acquisition, organic growth increased if hardware was stripped out; and that if
         hardware sales were a ruse, as the Claimants claimed, artificially to inflate the




                                           Page 263
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 265 of 900
Approved Judgment                                                                HC-2015-001324
Mr Justice Hildyard


         apparent value of Autonomy, then according to those valuation criteria, it
         backfired.

809.     All relevant witnesses had to accept (though some were reluctant) that stripping
         out hardware would have increased profit margin and cash generation/flow, as
         did HP’s investigating accountants Ernst & Young in 2012. Thus:

              (1) Even one of Autonomy’s then harshest critics, Mr Morland, accepted
                  (eventually) when cross-examined that higher growth rates would have
                  given a higher valuation (though he also stressed that the decrease in
                  sales would have exerted downward pressure which he considered to be
                  greater).

              (2) Mr Apotheker, somewhat obstinately and ultimately unsuccessfully,
                  cavilled against this conclusion in cross-examination; and in particular,
                  he initially sought to maintain and defend a point that he had made in his
                  witness statement that but for the hardware sales Autonomy would not
                  only have been a smaller company in revenue terms (which is obviously
                  true) but also that it would have had “significantly lower profit margins”
                  (which almost equally obviously is incorrect in circumstances where, as
                  was common ground, Autonomy’s accounts did include all losses and
                  costs of hardware sales, and the issue is whether the separate source
                  should have been disclosed).

              (3) Mr Giles made a similar point: “Without hardware sales – which were
                  loss-making – the Autonomy business may have lower revenues, but it
                  would have generated more profits and more cash.”

              (4) Mr Pearson explained that “because Autonomy’s hardware sales were
                  made at a loss, the sales actually depressed Autonomy’s cash flow, profit
                  and EPS. Given EPS was the key valuation driver, these sales would
                  more likely have the effect of reducing Autonomy’s value, not increasing
                  it.” In his view, a missed earnings target was more likely to have an
                  adverse impact than a missed revenue target, and loss-making hardware
                  sales would only make it more difficult for Autonomy to hit its earnings
                  target.

              (5) Ernst & Young reached a similar conclusion in December 2012, in its
                  paper addressing “our considerations of the allegations on the original
                  valuation of Autonomy at Q4’11”:

                      “Gross treatment of hardware pass-through

                      The Autonomy standalone hardware sold in FY 10 and FY11
                      (prior to acquisition (January – September)) was roughly $105
                      million and $85 million respectively. Having evaluated ASC
                      60545-15 – Principal Agent Considerations Management
                      concluded that the majority of indicators support net accounting
                      treatment.



                                               Page 264
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 266 of 900
Approved Judgment                                                                   HC-2015-001324
Mr Justice Hildyard


                      While this does impact the presentation of the income statement
                      we do not believe these items have an impact on the “run-rate”
                      cash flows of the business. Since Autonomy sold the hardware at
                      a loss, these transaction reduced cash flows. Alternatively, HP
                      may have considered different growth rate assumptions
                      Therefore, it is unclear as the impact on HP’s used DCF
                      valuation model that was used to estimate a fair value of the
                      Autonomy business.”


810.     Pausing there briefly, the mathematical logic that loss-making sales will reduce
         gross margin seems clear. However, I shall return later to discuss whether that
         correlation was a disincentive to using hardware sales as a means of enabling
         Autonomy to generate revenue or an incentive to the Defendants devising ways
         in which to account for hardware sales so as to attenuate the adverse effect (in
         particular, as will be seen, by inventively accounting for the costs).

811.     Returning to the Defendants’ presentation, and lastly under this heading, and in
         relation to the Claimants’ point that the Defendants’ presentation of the rationale
         of the hardware reselling strategy lacked any documentary support, I should deal
         with a dispute about a document which was uploaded onto the trial Magnum
         system only after the conclusion of the evidence. The document comprises an
         email exchange on 2 September 2009 between Dr Lynch and Messrs Egan,
         Hussain and Dr Menell, with the subject heading “key customer strategy”.

812.     The Defendants relied on this email exchange to underpin their case as to the
         challenges which Dr Lynch explained the hardware reselling strategy was meant
         to address, and to contradict the Claimants’ point that the explanation had no
         documentary support. But what Mr Miles described in his oral closing
         submissions as “an important document in the case” the Claimants sought to
         dismiss as “pretextual” and in any event, in its singularity or egregiousness,
         simply demonstrative of the dearth of documentary evidence supporting the
         Defendants’ case.

813.     The exchange is thus of some relevance (a) for what it says, (b) as to whether it
         was indeed contrived or pretextual, but also (c) as another litmus test of the
         honesty of the Defendants and the reliability of the record they have put forward.

814.     The first in the thread was an email from Dr Lynch to Mr Egan, Mr Hussain and
         Dr Menell which the Claimants depicted as pretextual:

                      “As we have achieved scale in a set of major accounts such as
                      Bloomberg, Citi, jpmc etc and are dealing at CIO level let me
                      make it clear I am happy to supply these firms with the full
                      turnkey package in order to maintain key supplier status....sw hw
                      services etc so we cement our vital key supplier status. This is so
                      strategic and valuable in the long term that even if a sub
                      component of this strategy is at a loss that is fine...overall




                                                Page 265
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 267 of 900
Approved Judgment                                                                HC-2015-001324
Mr Justice Hildyard


               keeping the strategic nature of the relationship will pay
               dividends.”
815.     Mr Egan responded as follow:

                      “Agreed, as evidenced by the continued orders from JPMC etc for
                      extended areas of software that in part come from our status as large
                      scale and strategic supplier.”

816.     The Defendants relied on this exchange as encapsulating and demonstrating the
         fundamental aspects of the rationale for the programme, that is (a) consolidating
         relationships with hardware suppliers and (b) consolidating and developing
         relationships with key customers such as Bloomberg, Citi, JPMC and the like,
         as the means of (c) protecting and promoting Autonomy’s software business.

817.     The Claimants sought to interpret the reference to a “full turnkey package” as
         a reference to appliances; but Mr Miles in his closing submissions rejected this
         and insisted that it was a reference to “the full series of suppliers: software,
         hardware, services, etc.”

818.     Of course, that interpretation was Mr Miles’ gloss; and in that regard and more
         generally, the Claimants invited me to discount the document in any event on
         the ground that it had been put forward too late for any examination of witnesses
         about it. But Mr Miles pointed out that the document was in the Claimants’ own
         disclosure, and although lately uploaded onto the Magnum trial bundle, it had
         always been part of the wider ‘corpus’ of disclosed and available documents.
         He submitted that, on that basis, if they considered the emails in question to be,
         or wished to explore whether they were, pretextual they should have identified
         them and then cross-examined the respective authors of each email to give him
         the opportunity to deal with any doubt as to its meaning, any contention as to its
         authenticity, and any insinuation or allegation that it had been contrived to
         ‘paper the record.’ They had not done so, and should not now be heard to make
         any such contention or allegation.

819.     Eventually, and as foreshadowed above, the Claimants’ substantive response
         was that:

              (1) The simple fact that this is an example of only one or two documents
                  that Dr Lynch has been able to find undermines rather than supports his
                  contention as to the purpose of the hardware program being a marketing
                  one;

              (2) Especially having not (as they put it) had the opportunity of cross-
                  examining Dr Lynch, it cannot, in the context of $200m worth of
                  hardware being sold in the Relevant Period, alter the conclusion to be
                  drawn from many contemporaneous documents passing between them
                  that the primary purpose of the programme was revenue generation
                  rather than anything else;




                                               Page 266
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 268 of 900
Approved Judgment                                                               HC-2015-001324
Mr Justice Hildyard


              (3) Furthermore, the email was “pretextual”, in that (so they alleged):

                      i.    it was sent “out of the blue” by Dr Lynch to his core management
                            team but notably not Mr Sullivan: there was no need for Dr
                            Lynch to convey his thoughts in this way, unless the email was
                            designed for some ulterior purpose;

                      ii.   it is wholly uncharacteristically formal in content and style and
                            it reads as if it is designed for the record;

                      iii. its factual basis is contrived: Autonomy was not dealing at CIO
                           level in relation to these hardware sales, which were instead
                           coordinated and brought to Autonomy by EMC. Nor is there any
                           documentary support for any dealings taking place between
                           Autonomy and the customers at CIO level in relation to these
                           pure hardware sales;

                      iv. Autonomy finance department needed something to persuade
                          Deloitte to allow Autonomy to account for these hardware sales
                          how they wished, and the strong inference is that this email was
                          part of that process and designed to put in place a paper trail.

820.     In response to those submissions of the Claimants that both emails of 2
         September 2009 were pretextual, Mr Miles submitted in his oral closing that:

              (1) In order to accept that it was a pre-textual email, it would be necessary
                  to “postulate someone you’re trying to fool”: whilst the Claimants had
                  contended that Deloitte was the intended audience, the email in question
                  was not the sort that would ever go to Deloitte, nor is there anything to
                  suggest that Deloitte would ever have asked or looked for emails of this
                  kind; and there was no evidence that it had been shown to Deloitte;

              (2) Contrary to the Claimants’ suggestion, there is evidence of dealings at
                  CIO level. Mr Miles cited an email chain from 17 July 2009 to 22 July
                  2009:

              (3) This began with an email from Mr Sullivan to Mr Hussain, Mr Egan and
                  Mr Mooney stating:
                            “We want to identify our mutual large customers where we can
                            become their EMC reseller. This will be the easiest path. DB,
                            Citi, & JPMC are very large customers. Who are our highest
                            level contacts there? What other companies do we have at CIO
                            level contacts with that we can leverage?”

              (4) Mr Egan’s response stated:
                            “Updated




                                             Page 267
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 269 of 900
Approved Judgment                                                                        HC-2015-001324
Mr Justice Hildyard


                             Morgan Stanley-Not so good as we alreayd [sic] have Hitachi
                             thing going and Morgan expressed their preference ot [sic] us
                             so I would not involve EMC

                             Eli Lilly-Perfect, My relationship is with Mike Heim, CIO
                             GSK-Perfect, Ingo Elfering, VP IT Strategy at GlaxoSmithKline
                             SOC Gen-
                             BofA- I’m going to get you a name of a guy I haven’t met yet but
                             who knows us and of me well.
                             Apple-Dounbt they buy EMC
                             AT&T-Not mine
                             Bloomberg-Tom Secunda, Co founder and chief of technology
                             Bayer-William (Bill) Dodero, GC US
                             MacAffee-Ron Wills, Associate General Council, and Dave
                             Dewault CEO (former EMC) May be very tight with Billy or
                             they may not get along??
                                     1. JPMC- We are close to Larry Feinsmith, Paul
                                         McEwen, Fernando Castenheira, and Guy Chiarello
                                     2. Deutsche Bank-Firstly, let Billy know we could team
                                         up on the Storage Buy Back RFP at DB coming from
                                         Rolf Riemenschnitter and Chares White. I know
                                         Charles White very well. Dan Manners is also a big
                                         champ and recently promoted…”

                      All this was consistent with the emails in question.

              (5) Although in other contexts, Mr Egan had accepted that he had concocted,
                  and had accused others of, concocting pretextual documents134, this was
                  not such a context, and he accepted when cross-examined in these
                  proceedings that he could not point to any evidence to support the
                  assertion as against Dr Lynch and, furthermore, had not suggested any
                  such thing to the US Grand Jury some time earlier than his witness
                  statement.


              (6) In fact, the emails are consistent more generally with the evidence of Mr
                  Egan in these proceedings, to the effect that the hardware sales had
                  benefitted the software selling by the company and that was their
                  purpose: there was no reason to think that he was being pretextual in
                  what he said.




134
   In his evidence in these proceedings, and in the US criminal proceedings, Mr Egan accepted that he
had, and he accused others of having, concocted pretextual documents in the context of (a) reciprocal
transactions to give apparent credence to Autonomy’s stated need for the product it was purchasing;
and (b) a transaction with Capax to provide EDD services (as to which see paragraph 1963(2) of this
judgment) to give the appearance that the services were actually being provided by Capax (though it is
the Claimants’ case that they were not).


                                                Page 268
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 270 of 900
Approved Judgment                                                               HC-2015-001324
Mr Justice Hildyard


              (7) Mr Miles also submitted that, despite only being uploaded to the
                  electronic repository of documents for this trial after Dr Lynch’s
                  evidence, the email was disclosed by the Claimants years ago and was
                  part of the Claimants’ disclosure so that they did have the opportunity to
                  cross-examine him on this document. If the Claimants had wished to
                  characterise the document as pretextual they should have said so and
                  cross-examined Dr Lynch about it. It was not open to them now, having
                  themselves disclosed the document and not tested Dr Lynch, to contend
                  that the document was false and dishonest.


821.     I accept that the email exchange was curiously and uncharacteristically formal.
         But I doubt that either Dr Lynch or Mr Egan would have thought to leave a
         confected exchange of emails in case of litigation, kept the exchange away from
         view and then contrived to pull it out of a hat in court late in the day. I have not
         been persuaded that the exchange was pretextual. As to its introduction into the
         trial bundle after cross-examination of Dr Lynch had concluded, both sides
         share the ‘blame’ (though the word is too strong for an oversight in respect of
         one document amongst 11 million or so). As a document in their own disclosure,
         the Claimants must be taken to have accepted its authenticity as a document;
         and though that does not, in my view, extend to accepting that its content was
         not pretextual, if they wished to allege that it was, they should have identified it
         and put it to Dr Lynch if they perceived he would rely on it. However, even
         though it was in the Claimants’ disclosure, if Dr Lynch wished to rely on it, it
         was for him and his advisers to see to it that it was included in the bundle in
         good time.


822.     In such circumstances, I will not exclude the exchange; but I will take into
         account in weighing its effect that it appears to me somewhat contrived; and
         having had no opportunity to see whether Dr Lynch would be able to dispel that
         prima facie impression I cannot attach to it such importance as Dr Lynch at a
         very late stage came to place on it.

(6) The Defendants’ case that the strategy was not secret nor the revenue disguised

823.     The Defendants also submitted that if there had been an illegitimate scheme to
         inflate revenue, it would have been carefully concealed: but they were adamant
         that it was not.

824.     The Defendants contended that, on the contrary, the sales were (a) widely
         discussed within the company and (b) fully disclosed to and reviewed by
         Deloitte and the Audit Committee.
Discussion within Autonomy itself

825.     The Defendants submitted that the strategy and the hardware sales were well
         known within the company, and that there is no evidence that Autonomy
         concealed or attempted to conceal either.



                                            Page 269
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 271 of 900
Approved Judgment                                                                      HC-2015-001324
Mr Justice Hildyard


826.      Mr Sullivan explained that when the hardware reselling strategy was discussed
          and formally launched at the Loudham Hall meeting in July 2009, there were at
          least 10 people present; and he said that the sales were well known within the
          company. Dr Lynch’s evidence in his first witness statement was that “a wide
          group of people knew about Autonomy’s hardware sales, including employees,
          customers and suppliers.”

827.      The hardware sales were recorded separately in Autonomy’s ledgers, were open
          to analysis (including being made available to HP after the acquisition), and
          would inevitably have been discovered by a future purchaser. In this regard, Ms
          Harris noted that:
                  “The ledger codings clearly separated hardware sales and costs from
                  software. For example, 47000 referred to hardware revenue, 57000
                  referred to the cost of hardware, and there was also a specific marketing
                  code for hardware costs attributable to sales and marketing.”

828.      Mr Sullivan said that he had “never concealed [the fact that Autonomy was
          selling hardware] and never thought there was a reason to. In fact, I tried to
          make it clear.” When asked whether he had been told to tell customers that
          Autonomy was reselling discounted hardware, he answered:
                      “Absolutely. In fact, it actually said that in the contracts and it said it in
                      all the POs.135 Or most of the POs I should say…”

          When asked whether as regards the EMC and Dell transactions he told the
          customers that the sales were part of a marketing programme, he unequivocally
          answered Yes”.

829.      Mr Egan (who also had attended the Loudham Hall meeting) was aware of the
          hardware reselling strategy, though not its detail. So was Ms Gustafsson/Prentis.
          As I shall come back to in explaining the Audit Committee’s understanding, Mr
          Bloomer did not regard the hardware sales as a secret: the topic was regularly
          and openly discussed during his tenure as Chairman of the Audit Committee, as
          also Mr Webb confirmed.

830.      Understanding of the extent and purpose of the hardware sales programme,
          however, was, leaving aside the Defendants, Mr Sullivan and what I have
          termed the clique or cabal of three (see paragraph 833 below), much more
          limited. The lack of any minute or other record of the Loudham Hall meeting
          has made it difficult to determine exactly what was stated there to be the
          purpose, save as it has years later been presented to have been by Dr Lynch.
          However, given that at that meeting hardware sales of $5 million to $10 million
          were envisaged to be something of a stretch, I suspect that when the far greater
          potential had soon become clearer136, the true purpose may have changed, and

135
   Purchase Orders.
136
   This became clear by mid-July 2009 when, after approaching EMC, Mr Sullivan reported to Dr
Lynch and Mr Hussain by email dated 15 July 2009 that he had already got verbal commitments for up
to $20 million of hardware and could “probably get twice that if you want” (see paragraph 782 above
also).


                                                 Page 270
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 272 of 900
Approved Judgment                                                                         HC-2015-001324
Mr Justice Hildyard


          become understood only by the few in control of the strategy, and, in particular,
          the clique or ‘cabal’.

831.      For example, as will be apparent from my later discussion of Mr Egan’s
          evidence in the context of the SHI/BofA transaction in Q1 2011 (see paragraphs
          1140 to 1155 below) that by then at least he had lost touch with the programme,
          which was being conducted by Mr Sullivan; and his evidence in his witness
          statement, which on this point was not challenged or unsettled in
          crossexamination, was that as a general matter he “did not know which
          companies had purchased hardware from Autonomy or how much third-party
          hardware was being sold…” and usually did not know of hardware sales to his
          software



         companies (so that he could not “use the fact of a prior or contemporaneous
         hardware sale to promote the software sale that I was trying to make.”)

832.      Ms Gustafsson similarly made clear in her witness statement that her
          understanding was that “Autonomy’s hardware sales were fairly limited and
          made available only to key customers” (though it may be noted that her
          understanding was that these sales were “with the genuine commercial purpose
          of maintaining a customer relationship and generating further software sales”).

833.      The overall impression I have formed was that though hardware reselling was
          not a secret, and nor were there any efforts to keep it so, the hardware reselling
          strategy had a very low profile within Autonomy. It was directed by the small
          group I have called the ‘cabal’ and Dr Lynch, and implemented almost entirely
          by Mr Sullivan, without any substantial discussion or coordination with Mr
          Egan or anyone else involved in software sales. The email exchanges
          concerning the details and targets of hardware sales appear to be almost entirely
          confined within that group. It does not appear from the evidence that, beyond
          that small group, it was a matter which aroused either interest or concern. That
          in itself may be indicative of the fact that the hardware reselling strategy had
          very little day to day nexus with the mainstream software business.
Disclosure to and review by Deloitte and the Audit Committee
834.      However, there is no dispute about the fact that the nature and extent of
          Autonomy’s hardware sales were fully disclosed to Deloitte and scrutinised in
          detail. Deloitte had detailed knowledge of the sales and their avowed purpose;
          and the fact and avowed purpose of the hardware sales programme was also
          explained to the Audit Committee.

835.      I am aware that the successive lead partners, Mr Knights and Mr Mercer, have
          been severely criticised in a FRC Report in disciplinary proceedings, where it
          was determined that their approach was insufficiently sceptical, and their
          ultimate judgments were flawed. 137 But that does not signify that the audit

  I should clarify that although tempted to do so, I have not read that report. At a virtual hearing in
137

February 2021, submissions were made to me on behalf of the Claimants that I should do so; that was


                                                 Page 271
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 273 of 900
Approved Judgment                                                                         HC-2015-001324
Mr Justice Hildyard


          process, as distinct from the judgements made by lead partners, was deficient.
          The evidence before me revealed a very careful and open audit process, with
          full cooperation in it by the finance department and all concerned within
          Autonomy.

836.      Mr Bloomer statement in his witness statement that he “found Deloitte to be
          thorough and diligent in their audits” was not challenged; and their reports
          struck him as “detailed, open and direct”.

837.      Ms Gustafsson stated in her witness statement that she considered that the
          process was thorough and robust. Subject to the caveat I mention below as to


         whether Mr Knights and Mr Mercer lost objectivity and the requisite degree of
         scepticism138, I would accept that.

838.      I also accept her unchallenged evidence that throughout the audit, Deloitte (who
          were often on-site at Autonomy) had unfettered access to all Autonomy’s files
          and to the finance department functions and its sales and technical teams. It is a
          fair inference that the Defendants would have expected any accounting records
          relating to the hardware reselling to be carefully scrutinised.139

839.      In cross-examination before me, Mr Welham confirmed the truth of the
          following evidence he had given in the US criminal trial against Mr Hussain:

                      “Q.   …From 2009, 2010, and 2011, Deloitte knew that
                            Autonomy was reselling EMC and Dell hardware;
                            correct?

                      A.    Correct.

                      Q. And Deloitte, the Deloitte audit team, knew how much hardware
                           Autonomy was reselling; correct?



opposed by the Defendants. I was not asked to state a decision and did not do so. However, I
determined privately that, notwithstanding the eminence of its authors and its status more generally, I
should not take account of what was and is opinion evidence, even if akin to expert evidence, which I
should not accept collaterally nor weigh with or against the expert evidence admitted and tested in these
proceedings.
138
    They may also have lost their way in their response to Mr Hogenson’s letter and its aftermath.
139
   However, a gloss on that is important, especially since I understood the Defendants occasionally to
take the inference as extending to an expectation that all Autonomy’s correspondence would also be
open for review. Such an extended inference would not be justified. There were various instances, of
which the clearest was extended correspondence between Mr Sullivan and EMC (see paragraph 773 et
seq below), in which it was clear that Deloitte had not seen or sought to see emails. The impression I
have gathered is that, in terms of documentation, Deloitte confined itself to accounting records and
neither they nor Autonomy expected Deloitte to be shown or seek out Autonomy’s internal or third
party emails unless Autonomy chose to copy them.


                                                 Page 272
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 274 of 900
Approved Judgment                                                                        HC-2015-001324
Mr Justice Hildyard


                      A.     Yes.

                      Q. Probably down to the penny? I mean did you know exactly how much
                             hardware was being sold?

                      A. We would test the majority of the hardware transactions.
                            They would have good – good level of understanding,
                            yes.

                      Q. And Deloitte knew that Autonomy was reselling the hardware at a
                            loss; correct?

                      A.     Yes, for the most part.

                      Q. And Deloitte also knew that some of the hardware that
                            Autonomy was reselling was sold without adding any
                            software to it?



                      A.     Correct.

                      Q. Deloitte knew that Autonomy was reselling hardware
                      through hardware resellers as well; correct? A. Correct.

                      Q. And all of this was known to and discussed, not only with
                           the Deloitte audit team, but also the audit committee and
                           the board as well?

                      A.     Correct.”

840.      Mr Welham summarised what Deloitte understood the purpose of the
          programme to be in cross-examination in the US criminal proceedings as
          follows140:

                      “Q. Deloitte, the Deloitte audit team, understood Autonomy's
                            strategic rationale for selling this hardware at a loss;
                            correct?

                      A.     Yes.




140
   This was in a sequence of questions and answers, the first part of which is quoted in paragraph 839
above. In cross-examination in these proceedings he confirmed the truth of what he had said.


                                                Page 273
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 275 of 900
Approved Judgment                                                                HC-2015-001324
Mr Justice Hildyard


                      Q.     And is it fair to say that in the third quarter of 2009,
                             management explained that Autonomy wanted to meet existing
                             and potential customers' demand for one-stop shopping?

                      A.     Yes.

                      Q.     In other words, to be able to supply hardware along with
                             software?

                      A.     Yes.

                      Q.     To big customers?

                      A.     Yes.

                      Q.     Like the banks?




                      A.     Yes.

                      Q. And Autonomy also wanted to develop a relationship in
                           Q3/2009 with a particular hardware supplier, EMC;
                           correct?

                      A.    Yes.
                      ...
                      Q. And in sum, you understood that big picture, Autonomy was
                            selling hardware at a loss to increase its software sales
                            down the road; correct?

                      A.     Correct.

                      Q. And the audit team, applying your professional scepticism,
                            you considered and you challenged Autonomy on that
                            rationale; right?

                      A.     Yes.

                      Q.   But in the end, you weren't aware of any evidence
                            contradicting management's explanation for the reason
                            for why they were doing these sales; right?



                                               Page 274
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 276 of 900
Approved Judgment                                                                  HC-2015-001324
Mr Justice Hildyard




                      A.     Correct.”

841.     Mr Welham agreed with the following comments made by Mr Mercer in an
         interview with the FRC about the use of hardware sales as a means of driving
         software sales and in cross-examination, he confirmed that they accorded with
         how he saw things at the time:

                      “Yes, I think the most important background or context to make
                      on hardware is that Autonomy had no desire just to sell
                      hardware. This was not a different business. This was not
                      something that they were doing as an end in itself. The only
                      reason they ever sold hardware was to sell more software.
                      That’s massively important to get that understanding for all the
                      questions that you – the two or three questions that we need to
                      concentrate on.

                      We were – Richard was and I was completely aware that
                      Autonomy did not want to sell hardware as an end in itself. They
                      were conscious that some of their competitors were offering
                      hardware and software and combinations thereof. They were
                      conscious that the marketplace was becoming ever more
                      competitive. They didn’t want to lose out on software sales
                      because their offering was short of this area.”

                      [My emphasis]


842.     Mr Welham also confirmed the statement in the Deloitte Defence in the FRC
         Proceedings that Deloitte considered that the motivation for the hardware sales
         as being to drive software sales appeared commercially plausible, and after
         consideration was accepted as such by the Deloitte audit team. He gave the
         following evidence:

                      “Q.    But the audit team's position was that there was no
                             problem as such with Autonomy selling hardware for
                             strategic reasons and that also what is called their plain
                             vanilla hardware sales are also okay?

                      A.     Yes.”

843.     In the absence of evidence from any other of those involved in Deloitte, I take
         and find that to be Deloitte’s understanding, as well as Mr Welham’s own, of
         the purpose of the hardware reselling strategy. That is reinforced by what
         Autonomy’s management told Deloitte in discussions on the connected issue of
         the allocation of the costs of hardware sales (see paragraph 1262 et seq. below).


                                               Page 275
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 277 of 900
Approved Judgment                                                              HC-2015-001324
Mr Justice Hildyard




844.     In summary, I consider and find that Deloitte understood from the material they
         had:

              (1) The full extent of the hardware sales, the terms on which they were
                  contractually undertaken and the identities of all suppliers and
                  endcustomers concerned;

              (2) That the strategy included, indeed largely comprised, the sale of
                  hardware without Autonomy software;

              (3) That the effectiveness of the strategy in marketing terms was largely a
                  matter of assertion without documented analysis (except the “Linkage
                  Analysis” as to which see below);

              (4) The typical structure of hardware sales, including the introduction of
                  Autonomy into existing transactions and the payment by Autonomy of
                  subsidies to end-users, resulting in a loss to Autonomy because the price
                  it paid to the hardware suppliers exceeded the net (of subsidy) price it
                  received from end customers;

              (5) That the finance department repeatedly demonstrated their
                  determination that no distinction be drawn between that revenue and
                  revenues from Autonomy’s IDOL Product core business, and that the
                  revenues were combined when described in Autonomy’s published
                  information.

845.     In my judgment, Deloitte did not understand (or perhaps, through Mr Knights,
         chose not to understand) that the “strategy” was not to drive software sales, but
         to use hardware reselling as a flexible resource from which to make up for
         shortfalls in software sales. Deloitte (who, as I understand it, did not see
         Autonomy’s internal emails) could not know or (for whatever reason) did not
         focus on what truly lay behind the hardware sales, nor the careful calculation of
         what hardware sales were necessary in light of the identification of any shortfall
         with growing precision as each quarter came to its end. If Deloitte were misled,
         or fed a line which they were prepared to swallow, it was not as to the basic
         facts: it was as to the real over-arching purpose of the hardware sales in the
         minds of the Defendants and the ‘cabal’. The key part (which I have underlined)
         of what Mr Mercer told the FRC in the passage quoted in paragraph 841 above,
         and the part which he himself said was “massively important”, was the
         perception that “The only reason they ever sold hardware was to sell more
         software”. Led by Mr Knights and subsequently Mr Mercer in the Cambridge
         office, they allowed themselves to use the lens that Mr Hussain and the ‘cabal’
         provided to them. If Deloitte were at fault, it was in accepting that justification
         and thereafter in continuing to accept it despite growing concern as to the lack
         of documentary support for it, and management’s severe allergic reaction
         against any revelation of the strategy in any published information or public




                                           Page 276
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 278 of 900
Approved Judgment                                                             HC-2015-001324
Mr Justice Hildyard


         calls. How they came to accept it, and how Mr Knights came to abandon any
         scepticism, is at the heart of the hardware case, for the strategy depended on it.

846.     Turning to the Audit Committee, Mr Bloomer (who became Chairman of the
         Audit Committee in August 2010) made clear that he did not regard the
         hardware sales as a secret. His evidence in his witness statement was that the
         existence and disclosure of hardware was regularly and thoroughly considered
         by Deloitte and discussed at every meeting of the Audit Committee whilst he
         was its Chairman: it was “always one of the key accounting issues we
         considered.”

847.     That the Audit Committee was fully kept informed is apparent from Deloitte’s
         reports to the Audit Committee quarterly, half yearly and yearly on their review
         of Autonomy’s accounts and notes prepared by Mr Hussain, with Mr
         Chamberlain, also quarterly (which were always circulated to Dr Lynch in
         advance). By way of example:

              (1) In their Q3 2009 Report, Deloitte, having set out that revenue from
                  hardware sales for the quarter ($36 million) amounted to 19% of the total
                  revenues for the period and that the sales (disclosed to be at a loss of
                  some $9 million) did not include any IDOL software component,
                  outlined the explanation they had themselves accepted: this was that the
                  sales reflected “early targeting of the merging market of appliance
                  solutions”. This was elaborated later in the Report as involving “the
                  provision of appliance related solutions to leading multi-national
                  financial institutions” and it was stated that to that end Autonomy had
                  entered into a “significant hardware and marketing purchase” with
                  EMC to provide (a) hardware for delivery to existing Autonomy
                  customers (b) ongoing “joint sales and marketing support to promote
                  further sales in this emerging market” and to (c) “begin to develop an
                  appliance based hardware and software configuration whereby
                  Autonomy software might be fully integrated into EMC hardware for
                  products aimed at the appliance sector and major institutions”.

              (2) In their Q1 2010 Report, again under the heading “Key Risks”, Deloitte
                  noted that included in revenues for the quarter was $12.2 million of
                  hardware sales (mostly sales of Dell hardware to Morgan Stanley, SHI
                  and Fanny Mae, but also sales to “other blue-chip companies in order
                  to become the preferred supplier for all archiving requirements,
                  including both software and hardware”) at an overall loss. In a further
                  explanation which is of more particular relevance to the related issue as
                  to the allocation of costs between COGS and Sales and Marketing
                  expenses (see paragraphs 1412 to 1419 below) Deloitte stated that
                  Autonomy had had to pay a price considerably higher than they would
                  normally have to pay in order “to gain a strategic partnership and
                  become the preferred hardware reseller with EMC, Dell, SHI and
                  HDS.”




                                           Page 277
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 279 of 900
Approved Judgment                                                                HC-2015-001324
Mr Justice Hildyard


              (3) In their Q2 2010 Interim Report, Deloitte (again under “Key Risks”)
                  reported hardware sales of $27.5 million at a loss of approximately $3.8
                  million. They explained management’s rationale in entering into these
                  loss-making contracts as being “that Autonomy is seeking to develop a
                  long term strategic relationship with the end-users in order to secure
                  future profitable software sales.” Deloitte referred for the first time to a
                  Linkage Analysis (see paragraphs 1477 to 1496 below) “demonstrating
                  strong linkage between the loss making hardware sales and highly
                  profitable software sales” and stated that having reviewed it they had
                  accepted that the loss of $3.8 million should be allocated to Sales and
                  Marketing.

              (4) In their Q3 2010 Report, under the heading as ever of “Key Risks”,
                  Deloitte signalled loss-making hardware sales of $26 million (10% of
                  total revenues). Deloitte again reported that they had reviewed and
                  accepted “management’s analysis of the linkage between the loss
                  making strategic sales and subsequent highly profitable software
                  sales…”;

              (5) In their FY 2010 Report, (as always under “Key [Audit] Risks”) Deloitte
                  noted (mostly loss-making) hardware sales of $29 million for Q4 2010,
                  representing some 11% of Group revenues. The rationale for this was
                  stated to be “in order to procure future, profitable software sales.”
                  Deloitte also notified a change in proposed accounting treatment of the
                  associated costs of the sales. They explained that given that Autonomy
                  had purchased and on-sold $110 million of hardware during 2010,
                  “management now considers that the level of sales being made is
                  equivalent to that of a hardware reseller” and proposed that as:

                             “an equivalent sized reseller would expect to make a modest
                             profit on such sales…it would better reflect the nature and
                             volume of the strategic hardware sales if Autonomy
                             recognised an equivalent margin on these sales, estimated
                             at 5%...[which] would then reflect the true sales and
                             marketing expense incurred in making these sales in order
                             to procure further, profitable software sales.”

              (6) Deloitte added to this that the total amount thus proposed by
                  management to be allocated to sales and marketing for the year would
                  be $16.4 million, which would be lower than for 2009 ($37.8 million)
                  because:
                            “those initial [2009] hardware purchases (mainly from
                            EMC) including an amount paid for additional marketing
                            services and future development costs as part of an effort to
                            build strategic relationships with those suppliers…No
                            equivalent marketing services or future development costs
                            were purchased with the 2010 hardware, which is




                                            Page 278
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 280 of 900
Approved Judgment                                                                 HC-2015-001324
Mr Justice Hildyard


                             evidenced by the much smaller net loss made on these
                             sales.”

              (7) Deloitte stated its response to these proposals which was that (a) they
                  would accept the allocation to sales and marketing expenses of a sum of
                  $4 million equal to the loss on hardware sales in Q4 2010 but (b) this
                  would be justified as a “judgmental adjustment” not as proposed by
                  Autonomy’s management because (c) management’s proposal did not,
                  in Deloitte’s judgement, “better reflect the nature of these transactions”
                  and was “inconsistent with management’s assessment that the group has
                  just one Operating Segment, being sales of IDOL software.”

              (8) In their Q1 2011 Report, Deloitte reported loss making hardware sales
                  of $20.4 million for the quarter, again using the description “strategic”
                  to connote that the sales were “only made at a loss in order to procure
                  further, profitable software sales”. They also noted that “Management
                  has further extended its analysis determining the strong linkage between
                  the loss making hardware sales and subsequent highly profitable
                  software sales” and responded to it only by stating that “given the scale
                  and consistency in allocation with the prior quarters, [we] accept the
                  decision taken by management to allocate the loss of $2.0 million to
                  sales and marketing expense in Q1.”

              (9) In their Q2 2011 Report, Deloitte noted loss making hardware sales in
                  the quarter of $20.9 million (some 8% of Group revenues, down from
                  the previous quarter) and recorded the same rationale for those
                  “strategic sales”.

848.     Like Deloitte, and in reality following their lead, Mr Bloomer and the Audit
         Committee accepted that hardware sales were purely to promote and protect the
         software business. Satisfied of that, and satisfied in consequence that no
         separate business requiring segmental accounting was required, the Audit
         Committee was content.

(7) Defendants’ support of and belief in the purpose asserted and its accounting
    treatment

849.     Two warning notes at the outset of this section are appropriate.

850.     First, not only did the Claimants reject the honesty of the Defendants in respect
         of the asserted purpose or rationale of the hardware reselling strategy, but they
         also relied, as a further manifestation of dishonesty, on what they regarded as
         the Defendants’ deceptive presentation of the programme to Deloitte, especially
         to obtain the accounting treatment of its costs which they needed to perpetuate
         its disguise. I return to deal with those matters in greater detail later. This section
         addresses the Defendants’ case that they honestly believed in the rationale of
         the hardware reselling strategy they avowed and were reassured in that by




                                             Page 279
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 281 of 900
Approved Judgment                                                                HC-2015-001324
Mr Justice Hildyard


         Deloitte’s acceptance of it, and of Autonomy’s accounting treatment of the sales
         revenue it generated (albeit at a stand-alone loss).


851.     Secondly, especially given the fact that the question of whether Deloitte
         properly understood the relevant requirements (which the Claimants submitted
         and Mr Holgate was definite they did not) was one of the matters in issue and
         determined against Mr Knights and Mr Mercer by the FRC’s Disciplinary
         Tribunal, I should at the outset clarify that, in my view, what is of relevance in
         the present context is what Deloitte and the Audit Committee understood at the
         time the Standards to require, and their approval of the accounts and advice to
         Autonomy on the basis of their understanding. Whether they were right or
         wrong is a matter relevant to issues numbered (2) to (4) in the Claimants’
         summary of the main issues in the hardware case (as set out in paragraph 638
         above), which I address in turn later; but it is not relevant in the present context.
         Even if Deloitte were wrong (and Mr Holgate is adamant that they were) the
         fact remains that they did give the approval and advice then; and if the
         Defendants really did rely on it then, they are entitled to rely on it now, unless
         of course they knew that Deloitte had given it no proper consideration, or that
         their conclusion was plainly and obviously wrong and/or based on a material
         misunderstanding of the underlying facts.

852.     The Defendants’ case is that they honestly believed, in reliance on the approval
         of both Deloitte and the Audit Committee throughout the Relevant Period, that:

              (1) having regard to the purpose of the programme, there was no
                  requirement to distinguish hardware revenue from software revenue
                  either in the narrative to the accounts (what the Claimants called the
                  ‘front-end’) or in the accounts themselves (what the Claimants called the
                  ‘back-end’);

              (2) the disclosure provided was in accordance with the requirements set out
                  in Accounting Standards devised to enable the presentation of a true and
                  fair view of a company’s financial position;

              (3) the further disclosure they provided, in particular in ‘Supplemental
                  Information’ in the ‘front-end’, was fair and approved by Deloitte; and

              (4) the decision whether or not to give further voluntary disclosure either in
                  accounting or narrative form was a commercial one taken for good
                  commercial reasons and in good faith, after careful iterative exchanges
                  with Deloitte.

853.     Deloitte considered the issue of disclosure from two angles:


              (1) they considered whether or not the Accounting Standards mandatorily
                  required disclosure of revenue from hardware sales separately from
                  other revenues; and


                                            Page 280
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 282 of 900
Approved Judgment                                                                       HC-2015-001324
Mr Justice Hildyard


              (2) in their Reports to the Audit Committee, they identified for discussion
                  anything they considered merited further disclosure and made
                  recommendations in that regard.

854.      As to (1) in the preceding paragraph (paragraph 853(1)), there is a variety of
          contemporaneous documents which show that Deloitte considered the relevant
          Accounting Standards relating to the separate identification and disclosure of
          sources of revenue at the time:

              (1) Their principal focus was on the issue of segmental accounting and the
                  application of IFRS 8. Mr Welham said that the audit team considered
                  IFRS 8 particularly carefully, because it was a new piece of guidance,
                  introduced in 2009. Deloitte approved management’s assessment that
                  Autonomy had just one operating segment. Their analysis specifically
                  considered the hardware sales, in order to assess whether they would
                  meet the criteria to be classed as a separate operating segment under
                  IFRS 8, and concluded that they would not. For the FY 2009 audit, this
                  conclusion was reviewed by Mr Barden, in the context of a
                  “Consultation on difficult or contentious matters.” The Financial
                  Reporting Review Panel was also happy with the analysis. The
                  Claimants accepted for the purpose of these proceedings that this
                  determination was correct.

              (2) As well as considering whether there was more than one operating
                  segment, Deloitte’s reports to the Audit Committee for FY 2009 and FY
                  2010 showed that Deloitte considered whether there was a need for
                  entity-wide disclosures (under IFRS 8 §§32-34). 141 Those provisions
                  apply even where a company has only one operating segment for the
                  purposes of IFRS 8. This point was also considered in consultation with
                  Mr Barden, who agreed with the audit team’s determination that no
                  analysis of revenues by product type was required for the purposes of
                  §32.



              (3) Deloitte considered the application of IAS 18 §35 and (as Mr Welham
                  confirmed when cross-examined) determined that Autonomy was
                  required to break out services, as that was mandatory (under IAS 18
                  §35), but that there was no mandatory requirement to disclose hardware
                  separately in the accounts.

855.      In considering these matters, Deloitte were well aware of the extent and nature
          of the hardware sales (see above). Deloitte specifically addressed their attention


141
   The FY 2010 Report to the Audit Committee stated “Under IFRS 8, additional entity-wide
disclosures are prescribed that are required even when an entity has only one reportable segment.
These include information about each product and service or groups of products and services ... As
part of our audit of the notes to the financial statements, we shall review the disclosure made in
relation to operating segments and we shall ensure that this meets the requirements of IFRS 8.”


                                               Page 281
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 283 of 900
Approved Judgment                                                                HC-2015-001324
Mr Justice Hildyard


         to the extent of the sales: the working paper on operating segments for the FY
         2010 audit stated that:


                      “The level of these sales has continued to increase on a quarterly basis
                      and now contribute approximately 12% of the group's revenue in FY
                      2010. On the basis that it now represents a relatively significant
                      proportion of Autonomy's business, we must consider whether it would
                      meet the criteria to be classed as a separate Operating Segment under
                      IFRS 8.”


856.     In assessing whether or not entity-wide disclosure was required under IFRS 8
         §§32-34, Deloitte were fully aware of all the various details identified by Mr
         Holgate as relevant to such an assessment as being liable to “influence decisions
         that users make on the basis of financial information”: absolute amounts of
         hardware sales, the amounts of hardware sales relative to total revenues, the
         significant effect that hardware sales had on growth percentages, the very
         different gross profit percentages on hardware and software, as well as the fact
         that Autonomy described itself as a “pure software company”. Deloitte also
         knew that Autonomy was rated in the market as a “beat and raise” stock with
         particular importance being attached to (and its share price being liable to fall
         in the event of any material decline in) its organic revenue growth and high
         gross margins.

857.     Mr Welham confirmed in cross-examination that his view (and Deloitte’s) at
         the time was correctly summarised in the following passage of Deloitte’s
         Defence in the FRC Proceedings:
                      “There was no need for Autonomy to disclose the hardware sales in the
                      financial statements because Autonomy was a single segment business”;
                      and further that:
                      “there are no mandatory disclosure requirements for the financial
                      statements prescribed by IFRS (or other legislation) to disclose the
                      ‘existence, nature and extent of pure hardware sales’.”


858.     In relation to FY 2009, the absence of disclosure in respect of hardware sales
         was a point specifically considered by Ms Lisa Bennett of Deloitte’s
         professional standards review team. Her note raised the question why there was
         no mention of the hardware sales in note 2(e) to the financial statements. The
         response given (by, so it appears, the audit team) was “Not material.” Mr
         Welham confirmed that this assessment, founded it would seem on a numerical
         consideration, rather than on any broader consideration of what it might tell
         about Autonomy’s quality of earnings, was a further reason for Deloitte’s advice
         that there was no need to disclose hardware in the back-end of the accounts.




                                               Page 282
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 284 of 900
Approved Judgment                                                                  HC-2015-001324
Mr Justice Hildyard


859.     Whether the Accounting Standards required separate disclosure of hardware
         revenue in the accounts was also a matter repeatedly considered with the Audit
         Committee (especially under Mr Bloomer’s chairmanship from mid-2010
         onwards):

              (1) According to Dr Lynch, careful consideration was given to advice from
                  Mr Knights in Q3 2009 that disclosure of the hardware sales should be
                  discussed since there was a prospect that it could be mandatory at
                  yearend “particularly if they became material to the numbers”. His
                  evidence in cross-examination was that although he had no specific
                  memory of it, he thought that there had been a decision not to disclose
                  at that time because “we didn’t expect the numbers to be material”.

              (2) In 2010, shortly after joining the Audit Committee in mid-2010, Mr
                  Bloomer had a long discussion with Mr Mercer, addressing the decision
                  not to separate out hardware as a separate operating segment. Certainly
                  during his tenure as Chairman of the Audit Committee, the Audit
                  Committee discussed the level of hardware sales regularly with Deloitte,
                  in considering whether further disclosure was required. Mr Bloomer
                  stated in his witness statement that the hardware sales and their
                  disclosure were regularly and thoroughly considered by Deloitte, and
                  discussed at every Audit Committee he chaired: indeed, “It was always
                  one of the key accounting issues we considered.”

860.     In cross-examination, Mr Bloomer explained that:

                      “A. … it was a regular topic at the audit committee, not least
                            because we were discussing, certainly at least two of the
                            audit committees, whether there was a need under what
                            was then a relatively recent accounting standard to split
                            out separate segments of the business, and there was
                            clearly a view for a range of reasons that are set out that
                            there was no need to do that for hardware. We also
                            considered it for a geographical split where there was
                            some information given but again that wasn't felt to be
                            an operating segment. It was quite clear in both
                            Deloitte's mind, management's mind, Deloitte's and
                            mine, that we had one operating segment.

                      Q. Did Deloitte give any indication that you can recall as to
                           the level of sales at which it would then become an
                           issue?

                      A.     No. No. And as I say, the levels of -- the proportion of
                             hardware sales started to fall anyway so it became less
                             relevant.”




                                                Page 283
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 285 of 900
Approved Judgment                                                                HC-2015-001324
Mr Justice Hildyard


861.     Mr Bloomer, whom the Claimants described as “a straightforward and reliable
         witness”, explained his view that, in circumstances where, as he emphasised his
         perception to be, “hardware sales were not a strategic goal of the company (as
         opposed to a tool to further software sales)” and the assessment had been made
         that hardware was not a separate operating segment, the decision not to disclose
         hardware sales separately naturally followed. Viewing the matter as an issue
         relating to segmental accounting and whether the hardware sales undermined
         the conclusion that Autonomy was a single segment (software) business, he was
         adamant that:
                      “The decision not to disclose hardware sales separately was not an
                      attempt to hide anything. It just did not make sense to separate out
                      hardware sales because we did not consider hardware sales a separate
                      part of Autonomy’s business. Had hardware been a higher portion of
                      sales, say 25% or more, we would have considered whether hardware
                      sales had become more important such that it was, in fact, a separate
                      operating segment or, in any event, significant enough to warrant
                      further disclosure.”


862.     What I take to be the Audit Committee’s overall view was summarised by Mr
         Bloomer in his witness statement, in two passages which were not challenged,
         as follows:

              (1) “I really did not see the disclosure of hardware sales as a major concern
                  at the time. I saw it as a tool Autonomy used to develop key relationships,
                  get big sales over the line and maintain the headline price of its software.
                  The purpose of hardware sales, as I understood it, was to drive
                  Autonomy’s software sales. This did not necessarily mean there was
                  always a direct link between any particular sale of hardware and a sale
                  of software. Sales of hardware and software were not necessarily
                  simultaneous but, as I understood it, the underlying strategy behind
                  hardware sales was always to further software sales.”

              (2) “Had hardware been a higher portion of sales, say 25% or more, we
                  would have considered whether hardware sales had become more
                  important such that it was, in fact, a separate operating segment or, in
                  any event, significant enough to warrant further disclosure.”

863.     In short, neither Deloitte nor the Audit Committee ever considered that further
         disclosure of the hardware reselling strategy was mandatorily required by the
         Accounting Standards; and both were content to approve Autonomy’s published
         information in respect of its financial position in the Relevant Period
         accordingly. Mr Webb QC, Autonomy’s Chairman, gave the following
         unchallenged evidence:
                 “I can remember occasionally discussing hardware sales and
                 accounting for hardware. I was not a member of the Audit
                 Committee, but I attended Audit Committee meetings once or
                 twice and met with Deloitte from time to time. I do not recall the


                                              Page 284
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 286 of 900
Approved Judgment                                                                 HC-2015-001324
Mr Justice Hildyard


                      context of the conversation, but I remember someone explaining
                      the sales of hardware using an analogy along the lines of “if you
                      sell long playing records, sometimes you have to sell a few
                      gramophones”, which I thought was a light-hearted dig at my
                      generation. I do not recall the discussions around the disclosure
                      of hardware being particularly heated. There was a discussion
                      and the conclusion was to account for hardware sales in
                      whatever way Deloitte said the company was required to
                      account for it.

                      If Deloitte had any concerns, they could have contacted me
                      easily. I feel confident they would have done so had any issues
                      arisen. They never did.”


864.     Dr Lynch was equally clear that if Deloitte or the Audit Committee had said that
         the hardware sales had to be disclosed, they would have been disclosed.

865.     However, as the Defendants recognised and accepted, there is a distinction
         between these decisions as to whether a separation between revenue streams in
         the accounts was needed (and in particular that there was no need to account for
         hardware revenues separately), and whether nevertheless some narrative or
         other non-IFRS disclosure of the nature and extent of hardware sales was
         required in the front-end of the accounts, or at least advisable.

866.     The Defendants countered the two limbs of the Claimants’ case in this regard,
         on the basis that:

              (1) Autonomy always carefully considered any recommendations or
                  suggestions made by Deloitte as to whether further ‘narrative’ or
                  ‘frontend’/non-IFRS disclosure should be provided; but Deloitte always
                  accepted that this was a matter of balance and commercial judgement,
                  and thus ultimately a commercial decision for Autonomy’s directors.
                  The Defendants rejected as “wrong” the Claimants’ argument that
                  Autonomy ignored repeatedly advice from Deloitte to provide further
                  narrative or other non-IFRS disclosure.

              (2) Autonomy provided Supplemental Metrics from Q3 2009 to Q2 2011 to
                  assist a better understanding of its business. Nothing was kept from
                  Deloitte. When Deloitte considered the form of disclosure to be
                  potentially misleading, there were discussions between Autonomy and
                  Deloitte which resulted in an amended presentation suggested originally
                  by Deloitte themselves, which Deloitte and the Audit Committee
                  approved.

867.     Further as to (1) above, the Defendants accepted that Deloitte did repeatedly
         press the Audit Committee and Autonomy’s management to consider whether
         further disclosure was required. The following examples illustrate this pressure:




                                               Page 285
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 287 of 900
Approved Judgment                                                                 HC-2015-001324
Mr Justice Hildyard


              (1) On 14 October 2009, following receipt of the Strategic Deals
                  Memorandum, Mr Knights wrote to the Defendants noting that there
                  would be an issue at year-end as to whether the hardware sales needed
                  to be disclosed and raised the possibility of disclosure in October 2009,
                  as something that Autonomy might like to consider voluntarily, in case
                  disclosure later became mandatory:

                             “One additional point to be considered at the year end
                             will be whether under IFRS you could be required to
                             disclose hardware sales- particularly if they became
                             material to the numbers. Whilst this is a year end matter,
                             if disclosure did become necessary and in the absence of
                             any previous indication through the year, it would be the
                             first time that this information would be made available
                             to your investor and analyst community. This might be
                             worthy of some consideration at Q3?”


              (2) Deloitte’s report to the Audit Committee for Q3 2009 dated 16 October
                  2009 noted that hardware sales represented 19% of the total revenues for
                  the quarter and that the Autonomy board:


                             “should consider how best to communicate this new
                             opportunity to the shareholders as these revenues are not
                             driven from the organic IDOL technology of the Group”.

              Deloitte added that, if hardware sales in the year were significant, there
              might be a requirement to disclose them in the year-end financial statements.

              (3) Deloitte’s report to the Audit Committee at Q2 2010 advised that:


                      “Given the increasing significance of hardware sales to the Group’s
                      revenues, and the resultant impact on the gross and operating margin
                      in the quarter and half year results we would expect appropriate
                      explanation to be given in the Q2 2010 press release”.


              (4) Deloitte’s report to the Audit Committee for Q3 2010 again advised that
                  given the:
                             “increasing significance of the hardware sales to the Group’s
                             revenues, and the resultant impact on the gross and operating
                             margin in the quarter and half year results we would expect
                             appropriate explanation to be given in the Q3 2010 press
                             release”.

              (5) Deloitte also suggested that it was likely that in light of questions raised
                  at the Q2 2010 press conference:


                                               Page 286
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 288 of 900
Approved Judgment                                                            HC-2015-001324
Mr Justice Hildyard


                         “it would be helpful to include narrative regarding the nature of
                         these revenues in the quarterly report.”

              (6) Deloitte’s report to the Audit Committee on the 2010 audit stated that
                  “Given that Autonomy has purchased and on-sold $110 million of
                  hardware during 2010, management now considers that the level of
                  sales being made is equivalent to that of a hardware reseller”. Deloitte
                  expressed the view that:
                         “Given the increasing significance of hardware sales to the
                         Group’s revenues, and the resultant impact on the gross and
                         operating margin in the quarter and full year results, we expect
                         appropriate explanation to be given in the 2010 Annual
                         Report”.

868.     However, there was always iterative discussion and according to Dr Lynch,
         management would always seek to find wording that addressed the concern in
         discussion with Deloitte. The Defendants provided illustrations of what they
         presented as a typical iterative approach as follows.

869.     The first illustration related to Deloitte’s Report to the Audit Committee in Q2
         2010 (see paragraph 867 above) and their statement that given the increasing
         significance of hardware sales to the group’s revenues, and the resultant impact
         on gross and operating margins “we would expect appropriate explanation to be
         given in the Q2 2010 press release.” As to this:

              (1) Following the Audit Committee meeting, at which management had
                  agreed to give disclosure in respect of the impact of strategic hardware
                  sales in the front end of the accounts (the narrative part), Mr
                  Chamberlain prepared some proposed wording for Deloitte. Mr
                  Chamberlain’s proposal was to say that “The fall in gross margins in Q2
                  2010 was in line with our expectations due to Arcpliance sales as
                  discussed last quarter.” Deloitte did not regard that first draft of the
                  wording as adequate.

              (2) Further wording, with what Mr Chamberlain described as “MRL’s
                  tweaks” was accordingly suggested. The revised wording was that “The
                  small variation in gross margins in Q2 2010 was in line with our
                  expectations due to the sales mix as discussed last quarter.”

              (3) Discussions took place between Deloitte and management in which the
                  wording was further revised, as shown in Mr Welham’s email dated 21
                  July 2010 to Mr Robertson and Mr Lumb (each of Deloitte):

                         “Please find attached the final draft of the Autonomy
                         press release. There have been a few tweaks but nothing
                         substantial since the previous version you saw. The one
                         significant point is the wording on the
                         appliance/hardware sales. We have spent some time



                                           Page 287
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 289 of 900
Approved Judgment                                                            HC-2015-001324
Mr Justice Hildyard


                         going through this with management and the proposed
                         wording is as follows:
                         The small variation in gross margins in Q2 2010 was in
                         line with our expectations due to the sales mix including
                         appliances as discussed last quarter.

                         As an engagement team, we are comfortable with the
                         wording because it makes reference to appliance sales
                         and the resultant impact on gross margin. Chris Brough
                         has also confirmed that he can accept this wording.

                         Can you confirm by return that you are happy from a PSR
                         perspective.”


              (4) Mr Welham confirmed that the discussions with management referred
                  to in this email were with Mr Hussain and Mr Chamberlain. The PSR
                  (Mr Robertson, then the professional standards reviewer) provided the
                  confirmation sought by Mr Welham and on 22 July, Deloitte signed off
                  its independent review of the results, with an unqualified opinion.

              (5) The results contained the phrase approved by Deloitte, which had added
                  the words underlined:


                         “The small variation in gross margins in Q2 2010 was in line
                         with our expectations due to the sales mix including appliances
                         as discussed last quarter.”

              (6) In cross-examination, Dr Lynch was criticised about the sentence quoted
                  above from the Q2 2010 results. His response was that Deloitte had a
                  detailed knowledge of the nature of the hardware sold by Autonomy;
                  they had pressed for further disclosure, which Autonomy agreed to give;
                  and Deloitte had discussed various forms of wording with management
                  (not with Dr Lynch), and arrived at a form of words with which they
                  were comfortable, as Mr Welham confirmed they were in his oral
                  evidence.

870.     Another illustration suggested by the Defendants related to Deloitte’s report to
         the Audit Committee for the Q3 2010 review, when they (Deloitte) again stated
         that given the increasing significance of the hardware sales to the Group’s
         revenues, “we would expect appropriate explanation to be given in the Q3 2010
         press release.” In this regard:

              (1) A sentence was added by management, as noted in Mr Welham’s email
                  to Mr Brough dated 18 October 2010:

                         “Hardware — they have added in an explanatory
                         sentence similar to that included in the Q2 release which
                         states that the gross margin has once again being [sic]


                                           Page 288
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 290 of 900
Approved Judgment                                                              HC-2015-001324
Mr Justice Hildyard


                          impacted by sales mix as highlighted in Q2. In Q2 they
                          talked about the strategic appliance sales, so this is a
                          direct reference to this.”
              (2) Mr Welham confirmed that, having had a discussion with management,
                  Deloitte was comfortable with the wording in the Q3 press release.
                  Again, Deloitte issued an unqualified review opinion.

871.     The third illustration the Defendants advanced concerned discussions on the
         wording of the Q4 2010 press release. As to this:

              (1) Mr Welham had informed Mr Chamberlain by email on 30 January 2011
                  (cc Mr Mercer) that it would be “necessary to have some comment on
                  hardware sales in the year and the impact of these on GP margin.”
                  Interestingly, I think, he added “At present, this section states that the
                  principal reason is IDOL cloud but surely this would result in fewer
                  hardware sales.”

              (2) There were then discussions between management and Deloitte.

              (3) In the final version of the press release, in a section discussing gross
                  profits and gross margins, the press release approved by Deloitte noted:
                         “During the year Autonomy has seen success in addressing the
                         urgent needs of a small number of customers with package
                         solutions, constructed of services, hardware and software, such
                         as Arcpliance. The gross margin in these cases is lower than the
                         normal business.”

              (4) Again, Dr Lynch was cross-examined about this, and it was put to him
                  that the statement was only “about Arcpliance” and as such was
                  misleading. Having pointed out that the words were actually “such as
                  Arcpliance” (connoting a subset of “hardware and software”) his
                  answers more broadly exemplified his defence:
                         “Well, that’s language that was worked out with Deloitte and I
                         don’t think Deloitte would have done anything that was
                         misleading…

                         …

                         …we have some disagreement about which hardware is which
                         type, which we haven’t really addressed, so there is a
                         difference between us. But, again, I just come back to the fact
                         that Deloitte were completely alive to this issue. They consider
                         it – it actually is not just the audit team, it’s something that
                         goes up to their technical experts and there’s a conversation
                         and we agree a form of words, and this is it, and you know, I’m
                         relying on my finance department and I’m relying on the audit
                         committee and



                                            Page 289
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 291 of 900
Approved Judgment                                                                 HC-2015-001324
Mr Justice Hildyard


                            most of all I’m relying on Deloitte and it looks like a
                            reasonable sentence to me.”


872.     The Defendants instanced the following evidence of ultimate consensus after
         constructive discussion:


              (1) Mr Welham confirmed in cross-examination that Deloitte had
                  discussions with Mr Hussain, Mr Chamberlain and the Audit Committee
                  from time to time about potentially including further narrative
                  concerning hardware sales, but that they never considered Autonomy’s
                  disclosure was false or misleading because it did not contain further
                  detail on this point:
                      “Q.… We've seen a couple of references so far to Deloitte from
                           time to time discussing with management potentially
                           putting further explanation into the published
                                 information.



                            A. That's correct, yes.

                      Q. If we can just turn to that for a moment. Is it fair to
                            summarise it this way, that Deloitte had discussions with
                            management and the audit committee from time to time
                            about potentially including further narrative concerning
                            hardware sales because Deloitte thought it would be
                            preferable to say more?


                            A. That's a valid statement, yes.

                      Q. But Deloitte never thought that the quarterly releases or the
                            annual reports misrepresented things or were false or
                            misleading because they didn't contain that further
                            narrative?


                            A. That's correct, yes.

                      Q. And when you had those discussions with management,
                           those were discussions with Mr Chamberlain and Mr
                           Hussain?


                            A. Yes, and with the audit committee as well.”



                                               Page 290
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 292 of 900
Approved Judgment                                                                  HC-2015-001324
Mr Justice Hildyard


              (2) As to the Audit Committee’s perception in 2010, Mr Bloomer
                  emphasised again, with I think his focus on the issue of segmental
                  accounting, that:
                            “…from a Deloitte point of view, and clearly from the previous
                            audit committee’s point of view, hardware was not seen as a big
                            topic actually to flag.”

              (3) In re-examination, Mr Bloomer added this:

                            “As I said at the time, Deloitte were not – although they
                            flagged that they’d like to see some mention of it, it wasn’t a
                            huge point for them. It was more of a point, the essence of it,
                            that looking forward, if these get much bigger, then we’re
                            going to have to talk more about them. In practice, the volume
                            of hardware sales certainly in the first two quarters of 2011,
                            dropped somewhat and were starting to become a smaller
                            percentage of total revenue and that was the way I interpreted
                            it at the time. It was certainly not a big issue that this must be.
                            If it had have been, Deloitte would have insisted more on it and
                            they didn’t and I didn’t.”

873.     Dr Lynch also stressed that further voluntary disclosure was kept under review:
         he accepted that where hardware sales represented a substantial percentage of
         total revenue (say, 20%) disclosure was “certainly something one needs to think
         about” but “it depends on the purpose”; and in circumstances where the
         Accounting Standards imposed no obligation to provide further disclosure, they
         contended that it was a matter of commercial judgement.

874.     What he presented as the “judgement call for management” was whether
         voluntarily to disclose (a) the amount and/or (b) a breakdown of the type of the
         hardware it sold and the nature of the sales. He regarded that, as any such
         judgement call, to require:
                      “balancing the market’s desire to know as much as they can find out
                      about the company’s business with Autonomy’s commercial interest in
                      keeping confidential information away from its competitors and
                      counterparties.”


875.     The Defendants supported the decision not to provide further narrative
         disclosure as commercially rational and justified in circumstances where (a)
         after careful investigation by Deloitte and its reviewers and by the Audit
         Committee it had been determined that hardware sales did not constitute a
         separate operating segment of Autonomy’s business and accordingly that it did
         not have to break out hardware revenue separately in its accounts whatever
         proportion of revenue hardware sales comprised in any financial year and (b)
         though both (and especially Deloitte) favoured further disclosure, neither
         Deloitte nor the Audit Committee had ever suggested that it was required under
         the Accountancy Standards nor that determining against it would be improper.


                                              Page 291
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 293 of 900
Approved Judgment                                                            HC-2015-001324
Mr Justice Hildyard


876.     In a sense, the most surprising aspect of the issue of disclosure is the
         Defendants’ consistent efforts to avoid or minimise it and Deloitte’s passive
         acceptance of anodyne wording (see paragraphs 869 to 871) which obviously
         did more to obfuscate than to clarify and reeked of reluctance to give any real
         insight into a strategy justified as being of such benefit to Autonomy’s overall
         business. Mr Knights and in his turn, Mr Mercer, seem to have been quite
         extraordinarily reluctant to stand back from the rules and the mantra of
         management judgement to ask themselves and press management really hard as
         to quite what was the reason for such reticence.

877.     After all (as the FRC put it to Mr Mercer when they interviewed him), if the
         purpose of the hardware reselling strategy was as avowed and successful, it
         would be more natural to expect the Defendants to “want to sort of shout this
         strategy explicitly from the rooftops.” Mr Mercer’s response was that
         Autonomy’s management would not necessarily “from a competitive point of
         view, want to shout from the rooftops the way we are being successful at driving
         our software sales by selling them hardware. So there’s a commercial sensitivity
         point, I suspect…”. This was worse than lame: the hardware sellers were, on
         the Defendants’ case, collaborating to that end. The fact remains, however, that
         both Deloitte and the Audit Committee were fully aware of what the analysts
         and the market were being told, or rather, not being told; and although they
         occasionally pressed for more disclosure, both clung to the belief that the
         hardware reselling was all part of the software business and in any event
         immaterial, and ultimately shrank from insisting on more than the opaque
         wording which Autonomy was persuaded upon from time to time to include.

878.     Dr Lynch, in his witness statement and subsequently when cross-examined:

              (1) Stressed what he regarded as the “defensive nature” of the strategy, and
                  his concern that if Autonomy were to break down its revenue into
                  hardware and software, “let alone into different types of hardware”,
                  competitors would perceive Autonomy’s concern about its weakness in
                  the appliances sector and about its vulnerability to the risk of being
                  removed from strategic supplier lists or to others copying its strategy
                  from a position of greater strength;

              (2) Explained that he was also concerned lest revelation of a special
                  relationship with one hardware supplier could preclude Autonomy from
                  working with another, and also lest if news of special deals were
                  broadcast, everyone would be demanding the same;

              (3) Stated his assessment that the “more details we disclosed about our
                  hardware sales, the more we would expose these commercial
                  sensitivities”;

              (4) In cross-examination, added to the above (a) concern about “most
                  favoured nation situations that we have to be very careful about” and
                  (b) his understanding that “EMC wanted to keep the arrangement
                  confidential, as did the customers.”



                                           Page 292
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 294 of 900
Approved Judgment                                                              HC-2015-001324
Mr Justice Hildyard


              (5) When it was suggested to him that the truth was that he did not want to
                  disclose the programme because he preferred that the market should be
                  misled about Autonomy’s real source of revenue rather than being told
                  the true position, he was adamant:
                         “No, there was no intention to mislead the market.”

879.     The Defendants maintained that this was also consistent with a comment made
         by Dr Lynch at the time: in his email to Mr Ariko dated 23 October 2009, after
         Mr Ariko voiced his concern and wish to review further hardware disclosure,
         Dr Lynch noted that it was “also very commercially sensitive to our partner us
         and our customer and concerning new product developments.”

880.     It is, of course, important to strip out the effect of hindsight. But even having
         done so, Dr Lynch’s attempted justification appears to me paper-thin.
         Furthermore, Dr Lynch’s reply to Mr Ariko dated 23 October 2009 (also
         wishing him well for an excellent retirement) sought to mollify him by assuring
         him that (a) “the market is already aware we sell hardware, something we have
         done for 5 years or so…” (b) Autonomy would be issuing “a new press release
         next week on these matters relating to hardware” and (c) that “if this approach
         were to develop into a larger part of our business on an ongoing basis we would
         review the current master press release template.”

881.     The falsity of each point is elaborated later: the exchange with Mr Ariko is an
         important part of the story and provides very considerable support to the
         Claimants’ case that the hardware reselling strategy was deliberately concealed:
         see paragraphs 1397 to 1403 below. A summary suffices for the present. Dr
         Lynch’s email to Mr Ariko was false in every respect. The market did not know
         of the hardware sales. The press release did no such thing: it talked in general
         terms of Arcpliance. The reassurance provided was never fulfilled.

882.     Nevertheless, to return to focus on the Defendants’ case, they rejected also the
         second part of the Claimants’ allegations, which was an attack on the non-IFRS
         Supplemental Metrics included in Autonomy’s Quarterly Reports from Q3 2009
         to Q2 2011, and in the 2010 Annual Report, which (for the first time) broke
         down Autonomy’s revenues into IDOL Product, IDOL OEM, Services and
         Deferred Revenue Release, and at a later point IDOL Cloud.

883.     Hardware revenue was included in these categories, but the Claimants argued
         that they were defined in a way that could not properly include hardware, and
         thereby both overstated software revenues and at least implicitly represented
         that there were no material revenues from hardware sales. In other words, the
         Claimants contended that the further disclosure the Defendants did decide to
         provide was in truth a further exercise in disguise: the non-IFRS Supplemental
         Metrics in what was called the “front-end of the Accounts” further disguised the
         fact of the hardware sales.

884.     The Defendants rejected these criticisms of the non-IFRS Supplemental Metrics
         and maintained that:




                                          Page 293
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 295 of 900
Approved Judgment                                                                       HC-2015-001324
Mr Justice Hildyard


              (1) As the Quarterly Reports and 2010 Annual Report made clear, these
                  were metrics “provided for background information and may include
                  qualitative estimates.” They were not precisely defined.

              (2) Deloitte scrutinised the calculation of the non-IFRS metrics each
                  quarter, and was well aware that Autonomy’s hardware sales were
                  included in the category “IDOL Product”. Each quarter, they prepared a
                  working paper, whose stated aim was “To agree the metrics used in the
                  quarterly press release to the supporting schedules and to test the
                  validity of these schedules.”142 Mr Welham confirmed that, as part of the
                  audit or review process, Deloitte would have reviewed the underlying
                  contracts for at least some of the transactions included in those schedules
                       – all that were over $1m in value, or that were part of the sampling

                      process. He said that Deloitte knew that certain deals included within
                      IDOL Product were hardware deals: indeed, that is clear from the face
                      of the working paper, and from Deloitte’s tickmarks.143

              (3) Deloitte were of course aware of how IDOL Product was described in
                  the Annual Reports, as demonstrated by the ticked off versions, where
                  the number is ticked next to the description in question.158 They knew
                  that some of the hardware sales did not include an IDOL software
                  component. 144 They did not consider that this rendered Autonomy’s
                  Quarterly or Annual Reports misleading, as Mr Welham confirmed:
                      “Q.    Then looking at what you did know, going back for
                             example to IDOL Product, you knew that as part of the
                             total amount that was being stated as IDOL Product,
                             that included the hardware deals that we've looked at?

                      A.     Yes.
                            …
                      Q. … So you knew those facts, you didn't think that the way that
                            then Autonomy presented itself to the financial markets
                            through its published information was misleading in any
                            way, did you?

                      A.     We did not, no.”


142
    Mr Welham confirmed that this process was carried out every quarter.
143
    Mr Welham confirmed that the tickmarks were prepared by Deloitte, and that the whole
spreadsheet, although based on a document provided by Autonomy, was a Deloitte working paper. 158
The description is as follows: “IDOL Product is normally delivered as licensed software paid for up-
front with an ongoing support and maintenance stream. This model is becoming less significant with
the rise of cloud computing. In 2010, IDOL Product revenue totalled $251 million”; Deloitte has ticked
off the number $251 million.
144
    See e.g. Deloitte’s Report to the Audit Committee on the 2009 Audit: “These hardware sales did not
include any IDOL software component.


                                                Page 294
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 296 of 900
Approved Judgment                                                                    HC-2015-001324
Mr Justice Hildyard


885.      Thus, the Defendants presented the non-IFRS Supplemental Metrics as intended
          to assist in the understanding of Autonomy’s core business by providing a
          breakdown of the main sources of IDOL revenue: they contended that they were
          not intended to mislead, and certainly did not suggest any such improper
          purpose and dishonesty as was alleged.

886.      In summary, the Defendants contended that they were entitled to rely on the fact
          that, knowing all the details of the hardware sales, and with the means and
          commercial acumen to test the commercial justification which the Defendants
          advanced in support of them, Deloitte and the Audit Committee:

              (1) were persuaded, as according to the Defendants was the fact, that
                  Autonomy’s directors and management (and thus the Defendants) had
                  conceived and were implementing the hardware reselling strategy for
                  genuine commercial purposes;




              (2) approved Autonomy’s financial statements (sometimes known as the
                  ‘back-end’ of the accounts, for which Deloitte had full auditing
                  responsibilities) as compliant with all applicable Accounting Standards
                  and as showing a true and fair view of its financial position;

              (3) did not object to the content of the ‘front-end’ of the accounts (which
                  Deloitte did not audit but had to review for fairness and consistency) and
                  approved the Supplemental Metrics provided by Autonomy;

              (4) accepted that what further disclosure to give was a commercial
                  judgment;

              (5) never required further disclosure in Autonomy’s published information
                  than was from time to time provided.

887.      The Defendants relied also on the fact that when KPMG spoke to Deloitte during
          the due diligence process on 17 August 2011, Deloitte confirmed that there were
          no disagreements with management regarding accounting policies and
          accounting conclusions.145 They could not have given that confirmation if they
          considered that further disclosure was required which Autonomy was refusing
          to make.

Summary of the Defendants’ Hardware case

888.     In conclusion on this section, therefore, the Defendants:

              (1) Insisted that the purpose of the hardware reselling strategy was clearly
                  elaborated, objectively plausible, intended in good faith to protect and

145
   In cross-examination, Mr Welham confirmed that he remembered this conversation, and that to his
knowledge, there never were any major disagreements with management regarding accounting policies
or conclusions.


                                              Page 295
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 297 of 900
Approved Judgment                                                                 HC-2015-001324
Mr Justice Hildyard


                      promote the software business, and accepted as such by the Claimants’
                      own principal witnesses on the hardware part of the case, Messrs
                      Sullivan and Egan.

                (2) Submitted that Autonomy would not have engaged in the programme
                    simply for the revenue benefit, since (to quote from Dr Lynch’s
                    supplemental witness statement), “hardware created a negative impact
                    on metrics that were of greater importance to me and the market” (and
                    especially profitability and earnings per share).

                (3) Maintained that the programme was successful in that regard, and that
                    its costs (which Mr Mercer estimated146 as in total less than 10% of the
                    sales and marketing budget) were minimal compared to the value of the
                    software business secured.

                (4) Relied on the approval of Deloitte who had full information and
                    knowledge of the nature, extent and costs of the hardware reselling
                    strategy, in relation to both the narrative description and the accounting



                      treatment of the hardware sales, including the costs associated with
                      them.


                (5) Made (as they claimed Deloitte had advised they were entitled to make)
                    a commercial judgement on the extent of any other disclosure, having
                    established that no more detailed disclosure was required, and
                    determined in that context that more disclosure could damage the
                    company.

                (6) Accepted that a collateral benefit of the programme was increased
                    revenue which could be recognised in Autonomy’s accounts, but pointed
                    out that Autonomy would not have chosen the programme had revenue
                    pumping been its purpose, given the availability of other means of
                    achieving that purpose (including sales of third-party software) which
                    would not have had the adverse effect of the programme in adversely
                    reducing gross margin and gross profits, and which would have been
                    considerably more flexible.

                (7) In all the circumstances rejected the Claimants’ case theory that the sales
                    were intended to bring in extra revenue without disclosing its source.


(C) Elaboration of Claimants’ case on the real purpose of the hardware reselling
   strategy




146
      In the course of his evidence to the FRC on 4 September 2013.


                                                  Page 296
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 298 of 900
Approved Judgment                                                             HC-2015-001324
Mr Justice Hildyard


889.     The Claimants’ overall response to the Defendants’ case was that even if the
         commercial rationale of the hardware reselling strategy, as articulated by Dr
         Lynch and echoed by Messrs Egan and Sullivan, was theoretically reasonable
         and sustainable, that rationale:

              (1) was not in reality what informed, or at least quickly came to inform, the
                  programme as in fact it came to be implemented; and

              (2) could not explain, and indeed raised the question, why the Defendants
                  actively sought to disguise and hide from the market what was presented
                  as a commercially beneficial programme to promote and protect
                  Autonomy’s core business.

890.     To recapitulate the principal elements or limbs of the Claimants’ case:


              (1) What the hardware reselling strategy was directed towards and entailed
                  was the sale of third-party hardware (at a loss) in order to generate
                  revenue which would be presented and accounted for as derived from
                  Autonomy’s software business: its purpose was to cover and disguise
                  shortfalls in software sales;

              (2) The intended benefits asserted by the Defendants were never more than
                  side-benefits used as a pretext to persuade Deloitte and the Audit
                  Committee to include revenue from hardware sales as part of the
                  revenues of a single segment software business without disclosing their
                  true source;

              (3) The Defendants were well aware that if the true source, nature and extent
                  of the hardware reselling strategy was disclosed or discovered, the
                  market (and in due course HP) would have considered it to be improper
                  and an erosion of the quality of Autonomy’s earnings: and that this
                  would have adversely impacted Autonomy’s share price and the value
                  placed on IDOL and Autonomy’s software business as a whole;

              (4) The extensive steps and representations taken and made by the
                  Defendants, and further steps and representations they were prepared to
                  take and make, to ensure that the hardware reselling strategy was neither
                  disclosed nor discovered, confirm its impropriety and their knowledge
                  that Autonomy’s published information was false in this regard.

891.     The Claimants supported that case by reference to:

              (1) The lack of any documentary support for Dr Lynch’s explanation that
                  the hardware reselling strategy was conceived as a response to changes
                  in the market which posed real threats to Autonomy’s core business;

              (2) The almost immediate increase in Autonomy’s appetite for hardware
                  reselling transactions between Autonomy and EMC well beyond
                  anything contemplated at the Loudham Hall meeting;



                                           Page 297
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 299 of 900
Approved Judgment                                                                    HC-2015-001324
Mr Justice Hildyard


              (3) The resort to hardware sales purely as a response (which became routine)
                  to shortfalls in software revenue which were identified at the end of a
                  quarter, and the use of, and accounting for, revenue from such sales as if
                  it were derived from software sales;

              (4) The development of ways of using that source as a discretionary fund
                  without any discernible appraisal whether such expansion and use would
                  proportionately benefit Autonomy’s core business, and if so, how;


              (5) The Defendants’ internal written communications between themselves
                  and others in their team147, which focused, not on how hardware sales
                  might generate additional software sales, but on how much revenue
                  would be needed and raised from that source to ‘plug the gap’ as regards
                  Autonomy’s aggregate revenue targets.

              (6) EMC’s sudden withdrawal as a supplier to Autonomy of hardware for
                  reselling, and Dr Lynch’s misrepresentation of the nature of Autonomy’s
                  relationship with EMC and the reasons for its severance;

              (7) EMC’s immediate replacement by Dell, and Dell’s participation in the
                  programme on the terms of a hardware reselling agreement between
                  Autonomy and Dell which in name and substance provided for no more
                  than Autonomy being interposed as a reseller of Dell products to Dell’s

                      own customers (albeit in the expectation that most if not all would also
                      be customers of Autonomy) at a discount funded by Autonomy.


              (8) A chronological summary, based on documentary evidence, of the
                  dealings between Autonomy, Dell and Hitachi and their customers
                  between Q1 2010 and Q2 2011, demonstrating in particular that:


                         i.    It became routine for Autonomy to rely on loss-making
                               hardware reselling transactions as the means of achieving
                               revenue forecasts calibrated to meet, and if possible “beat and
                               raise”, market expectations.

                         ii.   In almost every such transaction Autonomy was simply
                               interposed into a hardware sale originally intended to be
                               between Dell and the end-user, with the end-user seldom (if
                               ever) being made aware of the fact that Autonomy was funding
                               the discounted price.


                         iii. Recognition of revenue from hardware reselling was
                              manipulated so as to minimise the adverse effect on Autonomy’s

147
   (Largely comprised of email exchanges between the individuals at Autonomy principally involved
and especially, in addition to the Defendants, Mr Kanter, Mr Chamberlain and Mr Sullivan).


                                                Page 298
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 300 of 900
Approved Judgment                                                                HC-2015-001324
Mr Justice Hildyard


                            ‘bottom line’ and thus reduce the visibility and the chances of
                            the programme being revealed or discovered.


                      iv. Autonomy developed and soon came to depend upon the
                          practice of transacting sufficient loss-making hardware reselling
                          to cover any anticipated shortfall in high margin software sales,
                          but then deferring recognition of revenue arising from such
                          hardware reselling transactions if at the end of the relevant
                          quarter software sales (which, being high margin, maintained its
                          gross margins and EPS) in the event proved sufficient to meet
                          forecast.


              (9) The way Mr Sullivan was incentivised solely by reference to hardware
                  revenue generated and recognised, without any reference or regard to
                  software sales resulting from discounted hardware sales nor to any other
                  criteria relevant to the software business.

              (10)      The absence of contemporaneous documentary evidence to suggest
                  that:

                      i.    Autonomy’s marketing department was in any way cognisant or
                            involved in the hardware reselling strategy;

                      ii.  Autonomy’s software sales team was instructed to use the
                           lossmaking hardware sales (with discounts funded by
                           Autonomy) as a bargaining chip when negotiating sales of
                           software to Autonomy’s hardware customers or in any other
                           way as part of any software sales pitch to customers of
                           Autonomy (whether prospective or existing);
                      iii. apart from the Linkage Analysis (see further in paragraphs 1477
                           to 1496 below and paragraphs 1034 to 1307 below), there was
                           ever any internal discussion or assessment of any measurable
                           impact or effect of the hardware reselling strategy as a
                           marketing strategy.

              (11)     The evidence that the Defendants, in conjunction with Mr Kanter
                  and Mr Chamberlain, repeatedly sought to and often did mislead Deloitte
                  and the Audit Committee, or circumvent their concerns and
                  recommendations, and in particular, the steps they took:

                      i.    to persuade Deloitte and the Audit Committee (including by
                            pressing Mr Sullivan to extract a false depiction from EMC of
                            the nature of its relationship with Autonomy) to approve the
                            allocation of costs and losses referable to the hardware reselling
                            strategy as marketing expenses rather than COGS in order to
                            reduce the adverse effect on Autonomy’s apparent financial
                            results and prevent revelation of the strategy;




                                             Page 299
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 301 of 900
Approved Judgment                                                              HC-2015-001324
Mr Justice Hildyard


                      ii.   to present to Deloitte and the Audit Committee information
                            designed to show a “strong linkage” which did not exist
                            between hardware sales and software sales especially to answer
                            Deloitte’s concerns in 2010 that the hardware reselling strategy
                            had become “business as usual”;

                      iii. to convince Deloitte and the Audit Committee, when the
                           increase of marketing expenses itself began to invite scrutiny,
                           that R&D and increased sales and marketing expenses were
                           referable to the development and marketing of a new product,
                           SPE.

              (12)      Autonomy’s management’s determination not to make the full
                  disclosure which the Claimants submitted it is obvious they would have
                  actively wished to make had the purpose of the hardware reselling
                  strategy been as the Defendants asserted it to be.


892.     INTENTIONALLY LEFT BLANK.

893.     These points are elaborated and assessed below.

(1) No documentary evidence of threats to Autonomy’s software business


894.     The Claimants put to Dr Lynch that his oral evidence that Autonomy adopted
         its hardware strategy in response to two market shifts which seriously threatened
         Autonomy’s core software business, being (as he summarised them in his
         supplemental witness statement) (a) vendor consolidation and (b) a perceived
         shift towards consuming software as an appliance, was not supported by any
         documentary evidence prior to October 2009.

895.     When further pressed that there was “not a single document…and you know it,
         that supports your suggestion that the sale of hardware at a loss was in
         response to the two trends in the market you identify” Dr Lynch’s response was
         that he disagreed with that; and he told me that he thought there were (a)
         “multiple emails” (b) analysts reports (c) “commentary inside the company”
         and (d) information easily available on the internet (especially as to the
         perceived threat from Google’s Search appliance), all of which should be “very
         easy to find.” Mr Rabinowitz challenged the Defendants to identify them. None
         was, either during cross-examination or in re-examination.

896.     Nor was there any record of any meeting or discussions within Autonomy about
         these market shifts or how to address and respond to them. Dr Lynch’s
         explanation for this was that it was not the practice within Autonomy to record
         discussions in writing. For example, when it was put to him that there was no
         record of any discussion of any of this either before, at or after the Loudham




                                             Page 300
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 302 of 900
Approved Judgment                                                                      HC-2015-001324
Mr Justice Hildyard


          Hall meeting148, he accepted that this was “unlikely. We didn’t take notes at the
          meetings.”

897.      The question is whether this lack of any documentary support indicates, as the
          Claimants contended, that the alleged risks were simply manufactured by Dr
          Lynch as an overall justification for the hardware reselling strategy (additional
          to the promotion of software sales) and had no real basis. That possibility is to
          some extent supported by the fact that (as I elaborate later when addressing the
          development of the Strategic Deals Memorandum) Mr Hussain did not make
          any reference to those risks when first seeking to explain and justify the
          relationship with EMC.

898.      Nevertheless, I doubt that Dr Lynch would have cited repeatedly an entirely
          fanciful justification. A characteristic of the justifications for the various
          stratagems deployed by the Defendants was that they appeared outwardly or
          apparently reasonable and had enough substance to persuade Deloitte and the
          Audit Committee, and key employees such as Mr Sullivan and Mr Egan. It
          seems to me to be plausible and even likely that financial organisations would
          have wished to reduce the number of IT suppliers and, to the extent possible, to
          have all their IT requirements met from a single supplier; and likewise it seems
          plausible that, before development of the Cloud, appliances might have been
          seen as a necessary part of a software company’s offering as the means of
          making available its software products.

899.      To my mind, however, the real question is whether it was the alleged risks which
          really prompted the programme; or whether the risks were relied on as
          convenient context for what in reality was a response to concerns about
          shortfalls in software sales in Q2 2009, and the need to find other sources of
          revenue to maintain Autonomy’s record as a “beat and raise” stock149 and shore
          up its share price.

(2) Expansion of and dependence on the programme with EMC in Q3 2009




900.      Dr Lynch told me that no fixed amount of hardware transactions to be
          undertaken had been agreed at the Loudham Hall meeting150. But Mr Sullivan’s
          evidence (which I accept) was that the figure he had suggested as easily
          achievable in a quarter was $5 million to $10 million (which had elicited Dr

148
    Of which the only detailed description was in Dr Lynch’s own witness statement: see paragraph 720
above.
149
    See the explanation of this in paragraph 65 above.
150
    Dr Lynch told me in cross-examination that he did not think that a fixed amount had been fixed at
the Loudham meeting: “As I recall the conversation, it was more people offering how much they could
do and what might be possible”. That answer itself points to the focus being on revenue maximisation
rather than on promoting the software business, though of course the Defendants contended that what
was good for one would be good for the other.


                                               Page 301
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 303 of 900
Approved Judgment                                                                        HC-2015-001324
Mr Justice Hildyard


          Lynch’s joke that if he could do this, Dr Lynch would buy him a Porsche). It is
          reasonably clear, and I find, that this was the range contemplated at Loudham
          Hall; and it is to be inferred (and I find) that any assessment of the cost/benefit
          of the hardware reselling strategy when incepted was by reference to that range.

901.      It quickly became apparent from Mr Sullivan’s meetings with EMC after he
          returned from the Loudham Hall meeting, and as by email dated 15 July 2009
          Mr Sullivan reported to Dr Lynch and Mr Hussain, that there would be no
          difficulty in arranging sufficient hardware transactions with EMC to deliver “all
          the revenue we need per our discussions at Loudham.” He said he already had
          commitments for up to $20 million of hardware. He added that he “could
          probably get twice that if you want”.151

902.      This apparently considerable source of revenue seems to have opened the
          Defendants’ eyes to the potential of hardware reselling as a more significant
          resort; and the hardware reselling strategy with EMC soon increased very
          considerably beyond what had been contemplated when it was incepted. The
          Claimants cited an exchange of emails in early September 2009 between EMC’s
          Mr Joe Profeta and Mr Sullivan in this regard:

              (1) In an email on 2 September 2009 Mr Profeta set out the deals that EMC
                  was “chasing for the quarter” , listing the customers and the deal values
                  as being (a) Bloomberg ($7-10m) (b) Citi ($8-12m) (c) Sony
                  Corporation ($4-7m) (d) JPMC ($10-20m) (e) Deutsche Bank ($8-15m)
                  and (f) DTCC ($4-6m). The customers appear to have been selected by
                  EMC. Most, though probably not all, were existing customers of
                  Autonomy. There is no reference to any identification of their software
                  needs.

              (2) Mr Sullivan forwarded this email to Mr Hussain, noting that there was a
                  “Big range from total $46MM to $80MM”.

              (3) The following day, Mr Hussain forwarded Mr Sullivan’s email to Dr
                  Lynch152 stating that he had “listened in on a call with the head of sales
                  at EMC and Sullivan yesterday”, that they (EMC) were “committed
                  internally, their selling style is v aggressive”, and that they (EMC)
                  believed that “$60m will be the eventual number (equates to around
                  $73m cost)”.


              (4) That was of course some six times the value of hardware sales which Mr
                  Sullivan recollected had been canvassed at the Loudham Hall meeting.
                  Although Dr Lynch was at pains to emphasise that this was a maximum

151
    Hence his reference to 4 or 5 Porsches instead of the one Dr Lynch had jokingly offered him: see
paragraph 782 above.
152
    Dr Lynch accepted in cross-examination that Mr Hussain kept him abreast of the position in relation
to these hardware deals.


                                                Page 302
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 304 of 900
Approved Judgment                                                                    HC-2015-001324
Mr Justice Hildyard


                      potentially available, and not a target, the fact that such a considerably
                      increased figure was in contemplation as a recourse seems to me to
                      demonstrate how far the programme had extended from its originally
                      conceived size without any re-assessment of its value as a marketing
                      exercise (if that was what it was).

903.      The Claimants emphasised especially a number of aspects of this exchange:

              (1) First, the focus of Mr Hussain was on the amount of revenue that could
                  be obtained by Autonomy through this arrangement, coupled with the
                  cost to Autonomy of participating. Dr Lynch had to accept this when
                  cross-examined.

              (2) Second, Mr Hussain did not appear to mention or be concerned with the
                  marketing potential of these sales, nor does he suggest that they were
                  designed to achieve anything other than meeting Autonomy’s revenue
                  targets. Dr Lynch also accepted this, but sought to dismiss it on the basis
                  that (a) discussion about marketing effect would have taken place in a
                  different context and (b) this was just a discussion about “salespeople
                  getting the revenue” and simply showed “the sausage-making machine
                  making sausages”. However, there was no record provided of any
                  discussion about marketing effect in a different context; and the email
                  did not relate to a discussion between “salespeople”: it was a
                  communication between Dr Lynch and Mr Hussain solely focused on
                  revenue generation.

              (3) Third, it is plain that responsibility for securing the hardware deals was
                  to lie with EMC alone, utilising their “v aggressive” selling style.
                  Consistent with this, it was EMC, rather than Autonomy, that had
                  visibility as to the level of hardware deals that could be secured. The
                  hardware was almost invariably to be physically delivered directly by
                  EMC to the customer, as Dr Lynch accepted153.

              (4) Taken together, the Claimants described Autonomy’s role as therefore
                  being “limited to being slotted into the transaction to provide the
                  customer with the discounted pricing.” In that context, the Claimants
                  rejected a somewhat half-hearted suggestion made by Dr Lynch that
                  EMC and Autonomy co-ordinated in determining the selection of
                  customers. When tested against particular transactions it was clear that
                  the customers were simply selected by EMC and Autonomy was inserted
                  into the transaction thereafter. Dr Lynch had to admit that the selection
                  was not by reference to any marketing potential for Autonomy: it was,
                  he said, “the sausage machine making sausages”.




153
   Though Dr Lynch understood (as did Mr Sullivan) that for legal purposes Autonomy did have the
right to delivery.


                                                Page 303
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 305 of 900
Approved Judgment                                                                         HC-2015-001324
Mr Justice Hildyard


904.      The Claimants submitted that all this, and the apparent absence of any evidence
          of any attempt to identify or monitor whether this expansion of the programme
          with a single supplier to the same pool of customers offered any or any
          commensurate incremental marketing benefit to Autonomy, or occasioned any
          review of the programme such as might be expected when a marketing
          programme potentially expands by a factor of six or seven times its originally
          conceived size and cost 154 , strongly supported their case that “relationship
          building” and “marketing potential” and the benefits avowed by the Defendants
          were nothing more than a pretext, and that the real purpose was

                      “simply to, in effect, ‘buy’ (at a substantial cost) recognisable revenue
                      that would be included in the revenue figures reported to the market
                      without revealing the true source (or cost) of this additional revenue
                      stream.”

905.      The Claimants added that “It is inconceivable that Dr Lynch and Mr Hussain,
          intelligent individuals, could have considered that what they were doing was
          honest.” I return to the issue of “guilty knowledge” later.

  (3) Emails showing strategy’s purpose and use as flexible source of revenue


906.      There is no doubt, and it was not disputed, that the Defendants were heavily
          focused on revenue growth as a key performance metric. Autonomy’s share
          price was volatile, and as a “beat and raise” stock tended to experience sharp
          declines if in any quarter the Autonomy group failed to meet market
          expectations of revenue growth. The Claimants did not suggest that such
          promotion of revenue growth as an indicia or metric of performance was of itself
          improper; but they did contend that it became improper when it was not
          disclosed that in reality a material proportion of it was not generated by software
          sales, and overall revenue generation became an end in itself irrespective of its
          source.

907.      The Claimants relied especially on a sequence of emails on 10 August 2009
          between Dr Lynch and Mr Hussain under the subject heading “revenue
          updates” as revealing that hardware sales were simply part of a relentless drive
          for more revenue after disappointing Q2 2009 results, without so much as a
          whisper of any objective of consolidating and extending relationships with
          customers and suppliers with a view to enhanced software sales or co-operation
          towards a joint product and joint marketing. Thus:

              (1) In an email at 09:14 Dr Lynch urged Mr Hussain “are you doing sms
                  today…you need to grab it revenue revenue revenue”.



154
   Dr Lynch told me in cross-examination that this figure was “the forecastable revenue that can be
obtained, not the theoretical maximum” by which I took him to mean that not all the EMC deals would
proceed. Even if that is so, the excess over the figures in contemplation at the Loudham Hall meeting is
very considerable and in my view such as to invite reassessment of the alleged strategy.


                                                Page 304
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 306 of 900
Approved Judgment                                                               HC-2015-001324
Mr Justice Hildyard


              (2) Mr Hussain responded 30 minutes later that “EMC is key to quarter” and
                  that he was “tracking $190m with EMC”.



              (3) Dr Lynch’s reply was: “NOT ENOUGH” (though in cross-examination
                  Dr Lynch accepted that $190 million was the top end of the analysts’
                  revenue forecast for the quarter).

              (4) Later that day Mr Hussain sent Dr Lynch a further email (under the same
                  subject heading) setting out expected and projected revenues and
                  confirming that he was “still targeting” $20m to $25m of EMC and that
                  including the MS-Hitachi order of “$6m to $7m” he was now at “$196m
                  so far but Iwov155 is a bit week [sic]”.

908.      Much the same obsessive focus on revenue generation is apparent from an
          exchange between them only a fortnight later, on 31 August 2009. This
          commenced with a query from Mr Hussain whether to spend some time on
          planning for two acquisition prospects (in fact, Coremetrics and Informatica156),
          and also demonstrates how even Mr Hussain as CFO felt obliged to obtain
          permission as to how best to use his time. Dr Lynch responded:

                      “Your call, I guess a day on acq is OK but in general revenue revenue
                      revenue.”

909.      Dr Lynch sought in his witness statement to shrug this off as “a fairly typical
          push on my part for progress from the salesforce” and as not being “addressed
          to hardware in particular”. He likewise sought to shrug off his message on 31
          August 2009 as “One of my standard motivational emails…”. His explanation
          in cross-examination, when pressed to accept that he had pushed Mr Hussain
          especially hard for more revenue following the disappointing Q2 2009 results,
          was that:
                      “It was the case every month, so until we had the quarter in, it was
                      always revenue revenue revenue”.


910.      Dr Lynch emphasised that the focus evidenced by these emails was on revenue
          generally, and was not confined to hardware revenue. But the largest single
          component mentioned in the emails was the $20 million or more expected from
          sales of EMC hardware, and Dr Lynch accepted in cross-examination that he
          appreciated at the time that “EMC was the key to the quarter” in terms of
          achieving the overall revenue forecast.




155
   Interwoven.
156
   Informatica was a large NASDAQ quoted company, Coremetrics a small one; Autonomy was
considering acquiring both.


                                              Page 305
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 307 of 900
Approved Judgment                                                                      HC-2015-001324
Mr Justice Hildyard


911.      The Claimants contended that what was starkly confirmed by these emails was
          a consistent and obsessive focus, which had become an end in itself,
          unconnected to any marketing drive or perceived threat, and which was fuelled
          by the availability of far more revenue from the reselling of hardware than had
          been contemplated when the programme was incepted.

  (4) Use of hardware sales as a flexible source to ‘plug’ shortfalls in software sales




912.      The financially incentivised willingness of EMC to agree to the interposition of
          Autonomy into existing and prospective hardware sales transactions meant that
          hardware reselling offered a much more considerable source of revenue than
          had originally been contemplated at the Loudham Hall meeting.

913.      Total revenue forecasts for Q3 2009 were fixed before the potential of the
          resource was apparent, and hardware revenues were used ad hoc to make good
          software revenue shortfalls. In quarters subsequent to Q3 2009, once the
          resource had become clearer, the potential for hardware sales revenue was also
          taken into account in the forecasting process. Overall forecasted revenue would
          take into account and include a targeted sum in respect of revenue from
          hardware sales: and the target developed for hardware reselling revenue would
          typically be whatever sum was needed over and above forecast software sales
          revenue to meet market expectations of likely overall revenue targets.

914.      Thus, the practice within Autonomy became that, early in each quarter, Dr
          Lynch and Mr Hussain would agree goals for revenue to be achieved from what
          they called “low margin” or “strategic sales”, meaning hardware reselling. Mr
          Hussain would then inform Mr Sullivan of these goals, which would also set the
          framework for Mr Sullivan’s incentive payments (see further below). The
          hardware sales were a ‘stop-gap’ in the sense that the targeted revenue from
          them made good the gap between what Autonomy expected software revenues
          to be and the expectations in the market of total revenue for the quarter which
          Autonomy’s “beat and raise” status had engendered.

915.      However, ad hoc recourse continued to be made and in the course of every
          quarter, the target for hardware sales would often be adjusted in response to (a)
          indications from the hardware supplier (EMC or subsequently Dell, or less often
          Hitachi) as to their own expected sales and (b) Autonomy’s progress towards
          achieving (also) pre-determined software sales targets: whilst high margin
          software sales would be primarily targeted, any shortfall might need to be made
          good or plugged by recourse to hardware sales. In other words, the hardware
          reselling strategy came to be used as an available resource not only to pump up
          quarterly forecasting but also as and when required to “plug gaps” in software
          revenues.157

157
   Dr Lynch sought to dismiss the argument that hardware sales were used as a “stop-gap” on the basis
that such sales were themselves built into and part of the monthly overall targets, and had to be


                                               Page 306
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 308 of 900
Approved Judgment                                                                       HC-2015-001324
Mr Justice Hildyard




916.     This required careful balancing of the various sources of revenue. The need to
         strike this balance became a feature of Mr Hussain’s exchanges with Dr Lynch
         in Q3 2009. As the quarter progressed – and as in all subsequent quarters – Mr
         Hussain closely monitored the level of revenue that had been secured or was
         anticipated from hardware sales and updated Dr Lynch accordingly.



Efforts to mitigate the effect and visibility of loss-making hardware sales

917.     There was, however, a serious downside of the hardware reselling strategy: an
         inevitable consequence of its considerable expansion was a considerable
         increase in its costs (of purchases) and losses (since all, or almost all, the
         hardware resales were at a loss).

918.     These costs and losses would barely have been significant at the levels of
         hardware purchases and resales which seem initially to have been contemplated
         at the Loudham Hall meeting. But as they grew, their effect on Autonomy’s
         bottom line, and on the prime parameters of gross profit and gross margin
         (which Mr Morland explained was a calculation of sales minus costs of goods
         divided by sales, expressed as a percentage), was potentially very considerable.

919.     A material effect and deterioration of gross margin would inevitably cause
         analyst concern and give rise to questions. A hallmark of software companies is
         a typically very high gross margin on software sales (80 to 95%) compared to
         hardware sales by hardware suppliers. This is largely because the direct cost of
         reproducing software for licence is extremely low. The high gross margins
         which software companies characteristically enjoy, together with high operating
         margins which are a key determinant of how much cash a company ultimately
         generates, are important reasons why software companies tend to command
         high valuation multiples. Autonomy itself tended to boast very high gross
         margins of in the region of 90%, and high operating margins of in the region of
         40%.

920.     Expanding costs of the hardware reselling strategy might have put that at risk;
         and any deterioration in gross margin not only meant that the hardware reselling
         would jeopardise a key value parameter, but it would also increase the risk of
         scrutiny which would expose its nature and extent. Although, as Dr Lynch
         acknowledged, Autonomy took steps to confine the use of hardware reselling
         strategy, with its easy but high-cost revenue, to that which was necessary to
         fulfil consensus revenue projections, the deterioration in software sales in Q3
         2009 (and even more markedly in Q4 2009) made that straightforward solution
         insufficient. The balance between Autonomy’s need to plug the gap and the risk
         it exposed was a tricky one.

achieved accordingly. That would be an answer if hardware revenues did not exceed the target set for
them: but it soon was evident and known to Dr Lynch that it would be possible to obtain significantly
more revenue from sales of EMC hardware than had been contemplated at Loudham Hall or budgeted
for thereafter.


                                                Page 307
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 309 of 900
Approved Judgment                                                              HC-2015-001324
Mr Justice Hildyard




921.      In subsequent quarters (from Q1 2010 onwards) Mr Hussain and the finance
          department devised ways of treating revenue from such sales as a discretionary
          fund to which Autonomy could fine tune its recourse according to the figures
          for quarterly software revenue: see Q1 2010 (paragraphs 968 to 989), Q2 2010
          (paragraphs 1022 to 1029 and 1033(1)) and Q1 2011 (paragraphs 1074 to 1100)
          below. But in Q3 2009 and Q4 2009, their efforts were directed towards
          attenuating the adverse effect of hardware sales on its ‘bottom line.’

922.      As to attenuating the adverse effect of loss making sales, as I shall elaborate
          later, what was required was some way of justifying accounting for the
          costs/losses not as costs of sales but rather as Sales and Marketing Expenses
          which would not affect gross margin.

923.      These, together with (so the Claimants alleged) the depiction of the increase in
          Sales and Marketing expenses as referable to the development and marketing of
          SPE are matters of principal importance in the context of assessing whether and
          how Autonomy misled its auditors, Audit Committee and the market, and I shall
          return to them each in that context.

Developing use of hardware revenues

924.      The Claimants illustrated the emerging use of the hardware reselling strategy as
          a flexible source of revenue whereby to meet market expectations
          notwithstanding software sale shortfalls by reference to email exchanges
          between Mr Hussain and Dr Lynch as Q3 2009 was coming to an end:

              (1) On 26 September 2009, Mr Hussain emailed Dr Lynch (under subject
                  heading “update”) as follows:

                          Went thru deals with brent158 and mooney this evening.
                         Yesterday was v bad. Iwov174- $2m off and US idol $6m off.
                         Covered with part jpmc/ emc. But now worried more will fall
                         out. Am at $189m to $190m with $30.7m of EMC stuff. We have
                         $41m so $10.3m left to recognise…”

              (2) The Claimants made two points in relation to that email. First, the words
                  “Covered with part jpmc/emc” showed that hardware deals were being
                  used to plug gaps in software sales. In other words, they submitted, the
                  hardware deals were being treated as a source of income that assisted
                  Autonomy in meeting or exceeding its revenue targets where a shortfall
                  had arisen, or was likely, due to lost software sales. Dr Lynch himself
                  said in cross-examination that the EMC hardware sales provided “a
                  back-up plan” if needed. Secondly, and relatedly, it appears from the
                  words “Am at $189m to $190m with $30.7m of EMC stuff. We have $41m

158
   Mr Brent Hogenson (then Autonomy’s CFO for the Americas) and Mr Michael Mooney
(then Senior Vice President, Field Sales Operations at Autonomy). 174 Interwoven.


                                           Page 308
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 310 of 900
Approved Judgment                                                                HC-2015-001324
Mr Justice Hildyard


                      so $10.3m left to recognise” that Mr Hussain had yet to decide whether
                      to recognise the $10.3 million of hardware revenue within the quarter,
                      or to hold it over until the next quarter; and the approach apparently
                      taken was that recognition would be dictated by the Defendants’ wish to
                      meet the market’s revenue expectations: in other words, the amount of
                      hardware revenue to be recognised would be set in order to achieve that
                      end.

              (3) The next day, 27 September 2009, Mr Hussain emailed Dr Lynch with
                  a further update. He said:

                             “So from Thursday collapse is heavy. Excluding kraft and
                             including 30.7m from emc derived = $188.5m. Stouff says kraft
                             is possible so with that and $26m from emc we are looking at
                             190m at this stage”.


              (4) The Claimants submitted that again, this confirmed the approach
                  suggested above: if the Kraft deal concluded, it would only be necessary
                  to recognise $26 million of hardware revenue, rather than $30.7 million,
                  that quarter: the extent of resort to hardware revenue again appears to be
                  treated as (a) optional and (b) unrelated to protecting or driving
                  Autonomy’s software business, or any of Dr Lynch’s stated purposes.

              (5) On 28 September 2009, Mr Hussain provided Dr Lynch with a further
                  update, stating “With 41m from emc related I am at 200m plus but….” .
                  That tallied with the $41 million figure for EMC hardware revenue
                  which appeared in Mr Hussain’s email to Dr Lynch of a few days earlier
                  (on 26 September 2009).

925.     There is once again no sign that these fluctuations in the amount of hardware
         which Mr Hussain asked for were referable to any specific software objective.
         More generally, there is no record relating to this quarter of any projections or
         analysis or even discussion as to whether hardware sales could benefit software
         sales. The ad hoc use of hardware reselling revenue as a discretionary recourse
         to the extent necessary if and to the extent of a shortfall in software sales was a
         third feature relied on by the Claimants as demonstrating that the hardware
         reselling strategy had nothing to do with promoting or protecting software
         business and everything to do with covering emerging deficiencies.

926.     Dr Lynch did not address any of these emails in his witness statement, though
         the Claimants pointed out that they had been identified and relied on expressly
         in the Claimants’ responses to Requests for Information. When cross-examined,
         Dr Lynch sought to present the figures as estimates or projections, rather than
         actual sales; but he did have to accept that even if that were so, the fact remained
         that Mr Hussain was calibrating the amount required from hardware sales
         according to whether or not software sales eventuated within the quarter and
         thus according to revenue targets or software revenue shortfalls.


                                               Page 309
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 311 of 900
Approved Judgment                                                                 HC-2015-001324
Mr Justice Hildyard




927.     It was in this context that he accepted (as mentioned in paragraph 728 above)
         that Mr Hussain had “a degree of flexibility” and that “on occasion” hardware
         revenue would be used to “plug gaps in relation to other revenue which may
         not be achieved.” Further, when asked whether he told Mr Hussain not to seek
         to use the arrangement with EMC to raise further revenue at a loss once he was
         confident of hitting what Dr Lynch recollected as a target of $180 million, he
         said:

                      “If I knew we were about to do 196, then that would – if we were
                      making a loss on that hardware, it’s probably one of the first things
                      we’d stop doing.”


Importance of hardware sales revenues relative to total revenues in Q3 2009

928.     In the event, Autonomy’s total hardware purchases from EMC in Q3 2009
         amounted to about $47.3 million, and its reselling receipts on resales to JP
         Morgan, Citi and Bloomberg amounted to about $37.6 million. It thus
         apparently adventitiously resorted to some $7.6 million additional hardware
         sales revenue to cover the software sales shortfall. Total revenue reported in Q3
         2009 was $191.6 million, of which hardware sales revenue comprised over 19%.
         That met, indeed just exceeded, best expectations. It was within a range of
         $190m to $200m which Mr Geall had advised would “help set-off” the fear of
         bears in the market if Autonomy once more failed to “beat and raise” (see
         paragraph 65 above).

929.     Without that hardware revenue, Autonomy would not have achieved top-end
         forecast, nor even the lower end forecast. The Claimants’ case was that the use
         made of the hardware revenues to meet the need which emerged neatly
         demonstrated the true purpose.

(5) EMC’s withdrawal from the programme and its replacement by Dell in Q4 2009


930.     Mr Sullivan’s intention had been to continue reselling EMC hardware in Q4
         2009. However, as explained in paragraph 784 et seq above, at the beginning of
         December 2009 EMC suddenly withdrew from the programme. As
         foreshadowed in describing in those paragraphs the Defendants’ case as to what
         the witness evidence revealed, the Claimants contended that the sequence of
         events and documentation belied the Defendants’ presentation of the
         relationship as primarily or at least substantially driven by the objective of
         promoting software sales through an OEM relationship.

931.     It is clear that by the time of EMC’s departure, Autonomy had become
         dependent on hardware reselling to maintain its revenue and meet its forecasts,
         and needed to replace EMC as the hardware supplier to enable the programme.



                                               Page 310
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 312 of 900
Approved Judgment                                                              HC-2015-001324
Mr Justice Hildyard


         Mr Hussain’s emails in particular, show some considerable urgency to establish
         another reselling arrangement.

932.     On 17 November 2009, Mr Hussain sent an email to Mr Mooney and Mr
         Sullivan with the subject “Dell”. He stated that he wanted a call that day as “this
         is now critical”. He continued: “We need oem ($10m) plus appliance resell (v
         large). This is a priority”. The Claimants contended that Mr Hussain’s use of
         the expression “appliance”, given the sums involved (“v large”) and the
         reference to “resell”, was code to refer to “pure” hardware sales. I accept that.

933.     On 20 November 2009, Mr Hussain reported to Dr Lynch on a conversation that
         Mr Sullivan was due to have with Dell. That conversation took place with
         Bob Barris, a Dell Vice President of Sales, who told Mr Sullivan that Dell had:

                      “a few pending deals in the $10m range that could potentially go
                      through Autonomy … The catch might be that these deals are going to
                      happen rather quickly and if there are other contingencies we may
                      miss the window”.


934.     As the Claimants noted, that would suggest that all Dell had to offer at that stage
         were deals already in the pipeline with existing or immediately prospective Dell
         hardware customers, into which Autonomy would simply be injected as reseller:
         hence Mr Barris’ reference to Dell already having pending deals that could be
         made to “go through Autonomy”. The Claimants made the point that in such
         circumstances, if Dell’s customer happened also to be an existing Autonomy
         customer (as in fact Mr Sullivan said in direct examination in the US criminal
         trial they happened to be) that was just a coincidence. The Claimants relied on
         this as undermining the suggestion by Dr Lynch about the ‘marketing’ purpose
         of these sales.

935.     Later that day (20 November 2009), Mr Sullivan reported back to Mr Hussain
         that there had been “Great progress with Dell today on the reselling” and that
         $10-15 million of potential revenue had been identified, though Autonomy
         would “Need to move very fast on paperwork”.

936.     This development prompted Mr Hussain to start sketching out his thoughts on
         what Autonomy’s reselling agreement with Dell should say. It is plain that Mr
         Hussain’s objectives were to be able to point to provisions in the agreement
         which would reinforce Autonomy’s presentation of it as constituting something
         more than a resellers’ agreement, and as directed to enhancing software sales.

937.     On 23 November 2009, Mr Hussain set out these thoughts in an email to Mr
         Sullivan. In that email, he stated “our ideal” would be that the agreement should
         (a) provide for Autonomy to have the ability to set prices, (b) rehearse that
         Autonomy would take risk as principal in the transaction with the end customer,
         (c) provide for the purchase order from Autonomy to Dell to split the price
         between hardware and marketing, and (d) provide for the purchase order from


                                              Page 311
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 313 of 900
Approved Judgment                                                                         HC-2015-001324
Mr Justice Hildyard


          the customer to Autonomy to contain wording such as “includes software”. The
          Claimants submitted that, in other words, the idea was to use the form of the
          purchase orders to support the impression that these hardware resales were
          linked to sales of Autonomy software.

938.      The idea and its purpose were further reflected in internal email exchanges
          within Autonomy. Thus, for example, in an email from Mr Guiao to Mr
          Chamberlain and Mr Sullivan (cc Mr Scott) dated 2 December 2009 which
          attached a travelling draft of the proposed agreement with Dell, Mr Guiao
          referred to the draft as “based off of the Dell-required VAR agreement” but
          which would have additions to:

                      “contemplate both a “standard” VAR relationship, as well as one
                      where pricing is based on Dell marketing efforts…Also I had a
                      discussion with Mike, and mentioned that each PO we submit to Dell
                      will have a line item for Dell marketing…”

The terms of the Value Added Reseller Agreement between Dell and Autonomy

939.      On 22 December 2009, a “Value Added Reseller Agreement” was concluded
          between Dell and Autonomy. This authorised Autonomy Inc to re-sell Dell
          branded computer hardware and related products, including software, to
          Morgan Stanley and SHI International (“SHI”), a company that purchased
          computer hardware and resold it to BofA. Thereafter, Autonomy used Dell as
          its primary source of pure hardware for resale.159

940.      The provisions of the agreement between Autonomy and Dell included:

              (1) Clause 3.1: Dell appointed Autonomy to resell “Products” to “Approved
                  Accounts”. The “Products” were defined in clause 2 as “Dell-branded
                  computer hardware and related products, including Software”160. The
                  “Approved Accounts” were set out in “Attachment A”, which named
                  Morgan Stanley and SHI.

              (2) Clause 4.6 dealt with “Shipping and Handling Options” and made clear
                  that the products would be shipped by Dell to Dell’s customer.

              (3) Attachment B (which was referenced in clause 3.1) set out further terms
                  regarding the obligations of the parties in relation to the reselling
                  arrangements. Clause 2 made clear that Dell was to deal directly with its
                  customer, following which Dell would issue a quote to Autonomy,
                  which in turn would issue a corresponding quote to the customer “based
                  upon the agreed upon pricing between” the Dell customer and Dell.

159
    A chronological summary of Autonomy’s hardware reselling programme with Dell follows in
section (6) starting at page 383 below.
160
    The Claimants submitted that this must be a reference to software provided by Dell on the basis that
Autonomy would not need Dell’s permission to sell its own software: but it is clear from e.g. clause 8
that it included third-party software and I do not agree that it did not include Autonomy software.


                                                Page 312
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 314 of 900
Approved Judgment                                                                 HC-2015-001324
Mr Justice Hildyard




              (4) Clause 7 of Attachment B contained a provision headed “Joint
                  Marketing Efforts”. This wording was included at the behest of Mr
                  Hussain and Mr Chamberlain so as to facilitate the allocation of the
                  hardware costs to sales and marketing expenses. However, whether or
                  not Dell participated in any sales and marketing efforts was “in its sole
                  discretion”.

941.     The Claimants summarised these arrangements with Dell as in effect providing
         for Dell marketing its own hardware to its own customers, and then, when terms
         had been agreed, offering its customers the opportunity of a discount, funded by
         Autonomy, as a nominated reseller.

942.     On that basis, according to the Claimants, these arrangements were in substance
         broadly the same as the arrangements with EMC, with cosmetic changes to seek
         to improve Autonomy’s arguments in relation to the allocation of a proportion
         of the costs of the hardware reselling strategy as sales and marketing expenses
         rather than entirely as COGS.

943.     As with EMC, the Defendants contended that Autonomy’s relationship with
         Dell went far deeper and covered much more ground than was expressed in their
         agreement. They emphasised that:

              (1) The Claimants’ own witness, Mr Sullivan, had incepted the relationship:
                  and he was its instigator and the person chiefly responsible

                      for its development. Mr Sullivan had told the court in the US criminal
                      proceedings that Autonomy not only had used Dell for years, deployed
                      its servers in all its data centres and was buying “thousands of servers
                      at the time” , but also Dell were:

                      “actually a customer as well. They were an e-Discovery customer, and
                      we were just trying to get them to use more of our e-Discovery
                      products.”


              (2) Autonomy’s many projects with Dell included working on development
                  of an appliance with new Dell hardware running IDOL software, under
                  code-name “Project Blue Jay.” Discussions on this had begun in
                  February 2009 and certainly by November 2009 had moved into “high
                  gear”. Although Project Blue Jay eventually did not proceed, Mr
                  Sullivan said “That would have been a very large software deal if it
                  closed, which it didn’t”.

944.     However, the Claimants contended that these were no more than potential side
         benefits of association with Dell, and were not the purpose of the hardware
         reselling arrangements or the hardware sales.



                                               Page 313
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 315 of 900
Approved Judgment                                                             HC-2015-001324
Mr Justice Hildyard


945.     Just as Autonomy had swiftly become dependent on EMC to interpose it in
         hardware sales of EMC hardware to EMC customers (most of which were also
         Autonomy customers too) so too it became dependent on Dell (albeit with
         occasional resort to Hitachi) to do likewise in respect of Dell deals.

946.     The inter-company exchanges between Mr Sullivan and Mr Barris show
         Autonomy consistently seeking to boost revenue from hardware deals, and the
         disappointment and growing anxiety as quarter end approached on the part of
         Mr Hussain (in particular) when sales were delayed or failed. None of the
         exchanges mentioned or even hinted that the sales were intended to achieve a
         marketing objective for Autonomy. As in Q3 2009, so in this quarter, there is
         no record of any projections, analysis or even discussion as to whether hardware
         sales could benefit software. In his evidence in the US criminal proceedings, Mr
         Sullivan confirmed that none of the sales involved software, although he also
         confirmed that the end-users were existing customers of Autonomy.

947.     The continued importance of hardware sales in terms of Autonomy’s Q4 2009
         revenue is apparent from a number of the contemporaneous documents:

              (1) The market consensus for Autonomy’s Q4 2009 revenue was between
                  $223 million and $225 million;

              (2) Consistent with that, on 15 December 2009, Mr Hussain sent an email
                  to Dr Lynch, with the subject “as requested”, attaching a document
                  entitled “ROUTE TO 225”. The attachment identified that one of the
                  elements to achieving the $225 million upper end of market consensus
                  was obtaining a further $5m of hardware sales through Dell/Hitachi,
                  which “could be ok with the MS deal” (which was a reference to a
                  possible deal involving Autonomy buying hardware from Dell for $6.28
                  million and then selling it to Morgan Stanley for $5.712 million).

              (3) A few days later, on 19 December 2009, Mr Hussain provided Dr Lynch
                  with a further update. By this point, to achieve revenues of $224.5
                  million, further hardware sales of $6.8 million were being targeted. That
                  $6.8 million was comprised of two Dell hardware deals: one with
                  Morgan Stanley for $5.7 million (referred to in the previous
                  subparagraph) and a deal for $1.1 million with SHI for the end customer
                  BofA.

              (4) Dr Lynch emailed Mr Sullivan on 21 December 2009 (copied to Mr
                  Hussain) stating “So its [sic] all down to you and 10m from Dell”. In
                  cross-examination, Dr Lynch agreed that he was making it clear to Mr
                  Sullivan that whether market expectations as to Autonomy’s Q4 2009
                  revenue could be met depended on getting a hardware deal with Dell.

              (5) Mr Hussain emailed Dr Lynch with further “quick updates” on 22
                  December 2009, which highlighted the possibility of a $20 million Dell
                  hardware deal with Bank of New York, and also noted that EMC had


                                           Page 314
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 316 of 900
Approved Judgment                                                                HC-2015-001324
Mr Justice Hildyard


                      (through Mr Scannell) contacted Mr Sullivan to express interest in this
                      large deal.

              (6) Further revenue updates were provided to Dr Lynch by Mr Hussain on
                  23 December 2009 (“225m”), 24 December 2009 (“224”), 28 December
                  2009, 29 December 2009, and then again later that same day.

              (7) On the evening of 28 December 2009, Dr Lynch emailed Mr Hussain
                  enquiring whether he had had “any luck with mooney/sullivan?” Mr
                  Hussain’s response again illustrated the importance of the hardware
                  revenue: “Was on call with Sullivan – nothing, though I urged him to
                  keep trying”. Later on 28 December 2009, Mr Hussain emailed Dr
                  Lynch: “US – talked with mooney (dell oem said no), stouff and Sullivan.
                  They are doing what we agreed though Sullivan has nothing”. The
                  Claimants pointed out that this suggested close co-operation between Dr
                  Lynch and Mr Hussain.

              (8) In the event, Autonomy recognised $9.1 million of pure hardware
                  revenue in Q4 2009, according to the figures in Autonomy Inc’s general
                  ledger. Revenue from impugned VAR and reciprocal transactions was
                  $37.8 million.

              (9) The total revenue which the Claimants contended was from an improper
                  activity or source was $46.9 million.

              (10)     Without that total Autonomy’s revenue for the quarter would have
                  been $158.4 million, a miss of 29% as against the analysts’ consensus of
                  $226.1 million, and that figure included add-back of revenue from
                  previous quarters.

948.     From Q1 2010 onwards, Autonomy continued to purchase and resell Dell
         hardware and also Hitachi hardware, without there being any software included
         in the sale, nor any sale of software agreed at the same time.

(6) What a chronological summary of the hardware reselling strategy with Dell by
    reference to the documentary evidence reveals

949.     In a long section of their written closing submissions, the Claimants set out,
         separately in respect of Q1 2010 to Q2 2011 (and for good measure, Q3 2011),
         the facts on which they primarily relied to establish the first limb of their case,
         to the effect that the hardware reselling strategy was simply a means of pumping
         revenue, and that the purpose asserted by the Defendants was just a pretext to
         justify treating the hardware sales revenues as part of the software business
         without separate identification and disclosure.

950.     They also included within that factual resume the second limb of their case, to
         the effect that in every quarter both Deloitte and the Audit Committee were
         materially misled in this regard. In this chapter I focus on the chronology


                                               Page 315
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 317 of 900
Approved Judgment                                                                 HC-2015-001324
Mr Justice Hildyard


         revealed by the documentary evidence as to the first limb. I start with a
         chronological outline.

Chronology of Autonomy’s relationship with Dell from Q1 2010 to Q2 2011

Q1 2010

951.     Towards the end of Q4 2009 there were, as had become the norm, discussions
         within Autonomy as to what level of Dell hardware resales should be targeted
         for Q1 2010:

              (1) On 30 December 2009, Mr Mooney sent Dr Lynch an email with the
                  subject “Dell resale” . Mr Mooney asked, “Should we target $20M for
                  Q1?”, to which Dr Lynch replied, “yep” .

              (2) Mr Mooney passed this instruction on to Mr Sullivan within minutes of
                  receiving it from Dr Lynch: “We need to target $20M for next Q and get
                  as much in January as we can”.

              (3) Mr Sullivan then emailed Dell’s Mr Barris stating: “Autonomy’s goal is
                  to do $20m in reselling business in Q1 with Dell. We would like to do
                  as much as possible in January” .

              (4) On 4 January 2010, Mr Barris informed Mr Sullivan of the hardware
                  deals that Dell was “tracking”, which he said “should be able to get us
                  to our desired targets each quarter” .

952.     In none of these exchanges was there any discussion of which customers might
         be targeted, or of any marketing benefit that might flow from these deals.

953.     In cross-examination, in response to the suggestion that this was all directed
         towards generating revenue to fill any gap in software sales, Dr Lynch told me:
         “once we were selling the hardware, that had to go into the forecast and once it
         was in the forecast, it had to be hit”. He continued:

                      “So there will be a forecast -- from the point where we decided to do
                      this, we would have our quarterly forecasts and those would be what
                      analysts would try to coalesce around with consensus. Because we
                      know we’re going to be selling hardware, that hardware number has
                      to be built into the forecast because we can’t have it coming on top of
                      it and so the forecast is actually constructed to take account of the
                      expected amount of hardware business.”

954.     The Claimants submitted that Dr Lynch thus accepted, at least implicitly, that
         the purpose of the hardware sales was to generate the revenue necessary so as
         to meet Autonomy’s forecasts, which drove in large part market expectations.

955.     The chronology for Q1 2010 in this regard was as follows:


                                               Page 316
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 318 of 900
Approved Judgment                                                            HC-2015-001324
Mr Justice Hildyard


              (1) As referred to above, Dr Lynch’s confirmation that Autonomy should
                  target $20 million of hardware sales was given on 30 December 2009.

              (2) It was only subsequently, from 7 January 2010, that Mr Hussain and Dr
                  Lynch started discussing the revenue targets for each quarter in 2010.

              (3) On 7 January 2010, Mr Hussain provided Dr Lynch with details of the
                  Bloomberg consensus for the year and how that might be achieved.

              (4) On 11 January 2010, Dr Lynch responded as follows:

                          “go with 192 map out the year

                          work out the acceptable q1

                          eps map out the eps year

                          report back maintian [sic] y o

                          y margins”



              (5) On 15 January 2010, Mr Hussain provided Dr Lynch with a forecast
                  breakdown for the year. He suggested that for Q1 2010 they should
                  target $194 million of revenue, with 45% operating margin and 25 cents
                  earnings per share. He continued: “I have analysed how to get to $194m
                  and can get the 25 cennts [sic] EPS with around $15m or so of appliance
                  sales”. In other words, in order to generate $194 million of revenue in
                  Q1 2010, with earnings per share of 25 cents, Mr Hussain estimated that
                  they would need to include what he called “appliance” sales of $15
                  million or so. Dr Lynch confirmed in cross-examination that this was a
                  reference to building hardware sales into the forecast to achieve the
                  target.

              (6) Dr Lynch was content with Mr Hussain’s proposals.

956.     Pausing there, the Claimants submitted in their written closing submissions that
         this chronology demonstrated that it could not have been the 2010 targets that
         drove Dr Lynch’s instructions to target $20 million through Dell for Q1 2010,
         for the “Simple reason that that instruction was given before the setting of the
         2010 targets.” But that submission seems to me to be based on a
         misunderstanding: Dr Lynch’s point (as I understood it) was that because
         hardware sales were included in the forecast, they cannot have been there to
         plug shortfalls in software revenues if they emerged, and that point is
         substantiated by the chronology, rather than upset by it. How far that takes Dr
         Lynch is another matter: the Claimants’ contention remains that Autonomy
         needed to show growth and the forecast Autonomy felt able to give was on one




                                          Page 317
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 319 of 900
Approved Judgment                                                                HC-2015-001324
Mr Justice Hildyard


         view “padded” with hardware sales to enable it to do so. Whether plug or
         padding seems to me to make little difference in the context.

957.     To return to the factual résumé, throughout Q1 2010, as in previous quarters,
         Mr Hussain provided regular updates to Dr Lynch in relation to the achieved
         and projected hardware revenue. The Claimants submitted that every exchange
         supports their contention that the primary, if not sole, purpose of these sales was
         the production of recognisable revenue, rather than any ‘marketing ’objective:

              (1) On 8 February 2010, Mr Hussain provided Dr Lynch with an update on
                  projected revenue and earnings per share for Q1 2010. This forecasted
                  revenue at $197 million and earnings per share of 26 cents. Mr Hussain
                  made clear that in order to achieve $197 million, a number of hardware
                  sales would need to be secured, including “Hit[a]chi / MS + BofA $5m”
                  and “Dell (Ubs) $10m (in negotiations)”. Mr Hussain concluded that he
                  was “happy that we have sufficient backup to hit the numbers at this
                  stage”.

              (2) On 11 February 2010, Mr Sullivan sent an email to Mr Hussain
                  identifying “ the more probable deals for the qtr”. As can be seen from
                  the attachment to that email, by that time, Mr Sullivan was anticipating
                  the possibility of Dell hardware deals in Q1 2010 totalling $30.7 million.

              (3) In Mr Sullivan’s commentary on each of these deals there is no
                  suggestion that any of these transactions involved the sale of an
                  appliance or a package that included Autonomy software; nor that the
                  sale of Autonomy software was of the remotest interest to Mr Sullivan,
                  as Dr Lynch accepted in cross-examination.

              (4) Further, as the Claimants especially drew to my attention, the entry in
                  relation to a $10 million deal with Citibank indicated that Autonomy’s
                  involvement in the deal was unlikely to be known by Citibank. Dr Lynch
                  recognised that is hardly consistent with these deals forming part of an
                  Autonomy marketing strategy:

                       I wouldn t be happy with that, unless we could tell Citi. … I wouldn t
                      accept that order if I had known – if I knew that it was not possible to
                      tell Citi, but I don t know how they would stop us telling citi”.

              (5) On 23 February 2010, Dr Lynch sent an email to himself which included
                  details of secured and anticipated revenue. By that time, $100 million
                  of revenue had already been achieved in the quarter, of which $5.5
                  million was “low margin”, i.e., loss-making hardware sales. The email
                  appears to note that further hardware deals were projected for the quarter
                  (“3 dell/hiatachi [sic]”, “10 HW *****”), with total revenue forecast
                  totalling $200 million.




                                               Page 318
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 320 of 900
Approved Judgment                                                              HC-2015-001324
Mr Justice Hildyard


              (6) By 1 March 2010, Dell deals of only approximately $5 million had
                  actually closed. An email from Mr Sullivan to Autonomy’s Mr Matt de
                  Luca of that date, noted that by that point $50 million of deals had been
                  talked about with Dell but that “much of the $50m are bids that dell may
                  not win or won’t hit this qtr”. The concern appears to have been lest the
                  revenue targets were not hit: and the Claimants made the point that had
                  the purpose of these sales been ‘marketing’, then whether or not the deals
                  would conclude that quarter would have been a matter of little moment
                  for Mr Sullivan.

              (7) On 12 March 2010, Dr Lynch sent himself a further email containing an
                  update in relation to the revenue position as it stood at that time.
                  Revenue from deals “done” at that time totalled $108 million, which
                  included $9.3 million of “low margin” hardware sales. Further hardware
                  sales were forecast at $8 million (“8 HW ***** (Silicon G, rita„Dell 3,
                  emc?, Hit[achi]/ms 4.5, dell5 2, Target)”) in order to arrive at a total
                  revenue figure for the quarter of $195 million.

              (8) A few days later, on 15 March 2010, Mr Hussain told Mr Sullivan that
                  they would “definitely need” a further Hitachi deal and that he would
                  also “ like” a further Dell deal, which were two of the hardware deals
                  included in Dr Lynch’s 12 March update to himself. On the same day,
                  Mr Hussain provided an update to Dr Lynch stating that revenue was
                  “currently at 195.5m”, but “5-8 more” was needed.

              (9) The following day, 16 March 2010, Mr Hussain sought an update from
                  Mr Sullivan on the status of hardware deals with Dell and Hitachi. Mr
                  Sullivan responded as follows:

                           HDS will be about $2.1m – final orders coming in this week –
                          I need to calc the final number based on final margin agreement
                          with Morgan. Morgan is not willing to place the additional $4m
                          order this qtr.

                          - should have another $500k to $1m from Dell/SHI.
                          discussing some other orders as well – we could provide extra
                          incentive to accelerate this.
                          - also working on a deal to sell DB a dedicated safe. this
                          could be about $300k to $400k and could be delivered this qtr.
                          There is no rep involved as Dan Manners came directly to us
                          (Roger, Rob and I). I am in Pleasanton and we are trying to cut
                          a deal with him ASAP.

                          other longer shots for Q1

                          - Will get orders from UBS in March for up to $1m, but
                          unlikely to ship. Calls later today on this should provide more
                          info.



                                            Page 319
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 321 of 900
Approved Judgment                                                            HC-2015-001324
Mr Justice Hildyard


                          - I am meeting Bank of NY in NYC on Thursday re: potential
                          dell orders.

                          - We will probably get an order from Citi through a reseller
                          called insight in March. Around $1m. Shipping will likely make
                          this a q2 deal.”


              (10)     There is no mention of any sales of Autonomy software to those
                  customers. Mr Hussain’s response was that he “was counting on hds so
                  need ubs and citi orders to be shipped”. Mr Sullivan immediately
                  actioned that.

              (11)     Shortly after receiving Mr Sullivan’s email, Mr Hussain updated Dr
                  Lynch, informing him that it was “getting more difficult, low margin is
                  down for hds – confirmed for 2.1m out of 4.5m (but with 2m from ubs
                  and citi as possibles). have 1 m from bofa dell so need another c 1.5m
                  from somewhere”.

958.     In a pattern becoming familiar, as Q1 2010 came to an end, Mr Hussain became
         increasingly concerned about whether enough hardware reselling revenue
         would be raised, and the Defendants continued to monitor whether $20 million
         of hardware revenue would suffice to meet aggregate revenue expectations:

              (1) On 24 March 2010, Mr Hussain, in an email to Mr Sullivan, expressed
                  concern that two hardware orders that Mr Sullivan had mentioned might
                  not ship in time to enable revenue to be recognised in the quarter: “… I
                  need $1m to ship”.

              (2) The next day, Mr Hussain told Mr Sullivan and Mr Egan, in connection
                  with a contemplated hardware sale to Morgan Stanley, “I just want the
                  revenue gents”.
              (3) On 27 March 2010, Mr Hussain wrote to Dr Lynch, “Keeping you
                  informed that I have increased the appliance sales to $19.215m (with
                  another $1.7m possible)”.

              (4) Dr Lynch disagreed that this was simply a false description for what
                  were in truth pure hardware sales and suggested in cross-examination
                  that some of these sales would have been appliance sales.

              (5) However, in his evidence to the US court, Mr Sullivan stated that he did
                  not consider any of the Dell sales in 2010 to have been sales of
                  appliances; and there is no documentary evidence to suggest that any
                  part of the $19.215 million of potential revenue related to appliances.
                  Furthermore, the amount of appliance sales was stated to be very small.
                  I accept Mr Sullivan’s evidence.

959.     On 29 March 2010, Dr Lynch sent Mr Hussain an email attachment recording
         in short form the Q1 2010 aggregate revenue figure. This stated that $132


                                           Page 320
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 322 of 900
Approved Judgment                                                                HC-2015-001324
Mr Justice Hildyard


         million had already been achieved “ INCL 20 Low margin”. Dr Lynch’s email
         noted “- 5 replace low margin in closed with hi” which the Claimants
         maintained was a suggestion that $5 million of the loss-making hardware
         revenue should be replaced with “hi”, i.e. revenue from high margin software
         sales, if such sales could be achieved.

960.     This was put to Dr Lynch in cross-examination. After patient but rigorous
         crossexamination, he said he was “having trouble following this” and
         subsequently that this was ten years ago, that it was one of 100 million pages in
         the case, that he did not know the context, and that the suggested interpretation
         “might be on the right lines, or it may be something completely different, I don’t
         know”. This reluctance to speak to selected documents from 10 years ago is
         understandable; but it was uncharacteristic of Dr Lynch; and his equivocation
         was likewise uncharacteristic and unconvincing. There is nothing of substance
         to contradict the Claimants’ suggestion, which I thus accept: Dr Lynch’s
         equivocation does not suffice.

961.     The following day, 30 March 2010, Dr Lynch sent Mr Hussain, in a format
         which had become habitual for Dr Lynch of a column of numbers and opposite
         each number an abbreviated reference to a counterparty (such as “5: PMI
         Partner”) or description of type of business or activity (such as “- 5: replace
         low margin in closed with hi”), a revision of his suggested list of transactions
         to achieve forecast. The first entry was “138: Done (INCL 20 Low margin)”.
         The list following now included two alternatives, the second catering for the
         possibility that no Vatican Library VAR transaction (discussed in paragraphs
         280 to 397 of the Schedule of Impugned VAR Transactions) were to materialise;
         in that event, Dr Lynch envisaged “ 22 Low margin”, i.e. $22 million of pure
         hardware revenue. When cross-examined on this, Dr Lynch accepted, that this
         anticipated the possibility of Autonomy including anywhere from $15 million
         of pure hardware revenue ($20 million less $5 million) to $22 million.

962.     Later that same day, 30 March 2010, Dr Lynch sent Mr Hussain a further
         revision of his earlier notes on sales, again containing two alternatives, stating
         as follows:

                      Ok heres my list note

                      the without vat list

                      good to hear vat looking fine but even if vat were compromised, even if
                      you could get 5 from Valueteam it might just scrape it at 193.”


963.     On 31 March 2010, the last day of the quarter, Mr Hussain sent an email to Dr
         Lynch entitled “route”. The attachment, entitled “SH route to 25c”, identified
         that, if “Low margin cost” (i.e. if the cost to Autonomy of purchasing hardware
         sold in the quarter) were $20 million, total revenue of $200 million would be
         required in order to achieve earnings per share of 25 cents in Q1 2010. This
         reflected the fact that although the hardware sales boosted revenue, they were


                                               Page 321
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 323 of 900
Approved Judgment                                                               HC-2015-001324
Mr Justice Hildyard


         loss-making, and thus had a deleterious effect on earnings per share. As Ms
         Gustafsson had explained:

                       “Selling hardware …, particularly hardware at a loss, involved a cost
                      that hit Autonomy s earnings per share. … While higher hardware sales
                      may have led to a higher quarterly revenue figure, they led to a lower
                      EPS figure given they resulted in a negative margin”.


964.     Dr Lynch responded to Mr Hussain later that day, attaching a revised version of
         the “SH route to 25c” document. Based on Dr Lynch’s alternative calculations,
         earnings per share of 25 cents could be achieved with total revenue of $195
         million (“EPS 25c 195”). Dr Lynch’s apparent intention was to suggest that the
         target earnings per share could be achieved if less hardware revenue (and thus
         less cost) was recognised in the quarter. He appears to have reached this view
         having checked with Mr Goodman where market consensus was at for Q1 2010.
         Mr Goodman informed Dr Lynch that a “more accurate reflection of where Q1
         consensus really is, excluding the two clear outliers that are above $200m” was
         revenues of $193.12 million with earnings per share of 25 cents. Dr Lynch
         forwarded this on to Mr Hussain.

965.     Numerous further versions of the “SH route to 25c” schedule were exchanged
         between Dr Lynch and Mr Hussain on 31 March 2010, which the Claimants
         suggested was a demonstration of the importance that they attached to ensuring
         that an appropriate balance was struck between achieving revenue through
         (lossmaking) hardware sales and maintaining an adequate earnings per share.

966.     In the event, Autonomy reported revenues for Q1 2010 of $194.2 million and
         earnings per share of 25 cents in its Q1 2010 Quarterly Report. This was exactly
         the Reuters consensus figure. Reported revenues included $11.8 million of
         revenue (reduced from the original target of $20 million) from the hardware
         sales programme (as well as some $26.8 million which the Claimants alleged
         was improperly recognised in respect of five impugned VAR transactions, $8.5
         million from reciprocal transactions which they also impugned, and a further
         $12.7 million from hosting arrangements which they alleged ought not to have

         been recognised in Q1 2010). That left $149 million from sources not impugned
         by the Claimants.

967.     That $11.8 million of revenue for the hardware sales programme was less than
         the value of the hardware sales achieved and shipped in Q1 2010, which was
         just over $19.2 million.177In the days following the end of the quarter, Mr
         Chamberlain, at the instance of what he described as “powers greater than me”,
         directed “adjustments to revenue”. The Claimants alleged that this was
         improper and illustrated both the Autonomy management’s attitude to hardware
         revenues and their propensity to mislead the market, Deloitte and the Audit
         Committee. I turn now to the issue of revenue manipulation.




                                              Page 322
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 324 of 900
Approved Judgment                                                               HC-2015-001324
Mr Justice Hildyard


Q1 2010: alleged post-quarter end manipulation of the hardware revenues recognised

968.       I have mentioned previously the problems to which an expansion in
           Autonomy’s recourse to hardware sales to make good shortfalls in software
           sales gave rise in Q3 2009, and the ‘solution’ adopted at that time of persuading
           Deloitte to approve the allocation of a substantial proportion of the costs/losses
           as marketing costs (see paragraphs 917 to 922 above). The continued material
           recourse to such sales after EMC had withdrawn and Dell had replaced it as
           hardware supplier for the programme necessitated the development of other
           ways of minimising the adverse effect of the programme on Autonomy’s
           ‘bottom line’ figures.

969.       That was, however, easier said than done; and the problem was exacerbated by
           two factors:

               (1) The problem of identifying final figures for quarterly software sales
                   revenue. Delivery of software could be achieved instantaneously over
                   the internet. A considerable proportion of software sales tended to be
                   concluded at the very end (often on the last day) of the relevant quarter,
                   and so software revenues could not accurately be measured until the last
                   moment. Hardware sales, by contrast, required physical delivery and in
                   any event, EMC (or subsequently, Dell and/or Hitachi), would typically
                   wish to fulfil the sale contract in the ordinary course of the quarter.

               (2) In the case of both software and hardware, once delivery was effected
                   unconditionally, revenue from the sale was mandated under IAS rules.

970.       The only ‘solution’ available to this mismatch was to find some way of justifying
           deferring recognition of hardware revenue which had proved to be, as it were,
           excess to requirements. The expedient developed by Mr Hussain was to find
           some basis on which to assert that the hardware sales had not been completed,
           usually by reference to some alleged delay or imperfection in delivery.

971.       According to the Claimants, Q1 2010 was the first quarter in which Autonomy
           deferred revenue recognition from hardware sales. The Claimants’ case in

177
      And see further paragraph 980 below.
           closing was to the effect that Autonomy, at the instigation of the Defendants,
           treated hardware sales revenue as a discretionary fund, recognising or deferring
           recognition of such revenue as they pleased in order to achieve (or appear to be
           achieving) targeted revenue growth whilst at the same time protecting
           Autonomy’s bottom line and consequently key parameters including organic
           growth figure and EPS.


972.       The Claimants contended that this was not only improper in itself, but also was
           another powerful indication that the hardware programme had nothing to do


                                             Page 323
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 325 of 900
Approved Judgment                                                               HC-2015-001324
Mr Justice Hildyard


         with protecting and promoting Autonomy’s software business and was never
         calibrated or pursued for the purposes avowed by Dr Lynch: it was always about
         “revenue revenue revenue” and the need for and use of it was a function of
         revenue targets.

973.     There was a dispute, however, not only as to whether this reduction in
         recognised hardware revenue was dishonest manipulation (rather than an
         appropriate decision against recognition), but also as to whether any such claim
         was open to the Claimants on their pleading. Before turning to the dispute in
         more detail, it is convenient to determine whether or not the allegation against
         the Defendants was sufficiently pleaded.

974.     The Defendants had to acknowledge that there was a reference in a different part
         of the RRAPoC (under the heading “Involvement of Lynch and Hussain in the
         transactions themselves”) but Mr Miles submitted that in the allegations of false
         accounting for hardware in the RRAPoC there was no express allegation that
         the deferral of revenue was illegitimate. Nor was it alleged that the matters
         referred to resulted in an inaccuracy in Autonomy’s published information.

975.     The Claimants maintained that the plea was plain, that it was well understood
         by the Defendants to extend to an allegation of impropriety, and that the parties
         had as a matter of pleading and submission joined issue on it. The pleading on
         which they relied was expressed as follows:

                      “On occasion, Lynch and Hussain also discussed and (it is to be
                      inferred) agreed to defer recognising revenue from pure hardware
                      sales from one quarter to the next, and to reduce the level of pure
                      hardware sales that could otherwise have been achieved (and thus to
                      postpone or avoid recognising the associated costs of hardware)
                      where they anticipated that they could meet market expectations with a
                      lower level of hardware sales than had been, or could be, achieved.”

976.     The Claimants submitted that:

              (1) Dr Lynch and his lawyers plainly understood the allegation that he (Dr
                  Lynch) faced: when pleading to that paragraph, he stated that the email
                  communications which the Claimants went on to refer to in PoC §135
                  “did not relate to any improper deferral in recognising revenue from
                  existing sales …”. Indeed, Dr Lynch sought further particulars of the
                  allegation, which the Claimants provided;

              (2) The same is true in relation to Mr Hussain, stating that “[a]ll revenue
                  was appropriately recognised in accordance with the relevant
                  accounting standards”;
              (3) Contrary to Mr Miles’ assertion, this issue was in fact addressed by Mr
                  Welham in his witness statement, in passages on which he was not
                  crossexamined: It was also addressed by Dr Lynch’s own witnesses.



                                              Page 324
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 326 of 900
Approved Judgment                                                             HC-2015-001324
Mr Justice Hildyard


              (4) The point was also addressed in the Claimants’ written opening
                  submissions.


977.     To my mind, there is force in Mr Miles’s objection to the extent that such an
         allegation should have been pleaded so as expressly to state in the more relevant
         part of the pleading that impropriety was being asserted. However, I do not think
         the Defendants can realistically claim to have misunderstood what was being
         alleged, or to have been taken by surprise. The evidence engaged with the point.
         In my judgment, the allegation cannot be disposed of on the basis of a pleading
         point; and the allegation is relevant to probity in any event.

978.     As to the substance of the allegation, the Defendants argued that (a) the decision
         was taken because additional information became available such that the finance
         department considered that part of the hardware resales revenue could not
         properly be recognised in that quarter; (b) late changes such as these were
         subjected to intense scrutiny by Deloitte and approved by them; and (c)
         Autonomy was in any event entitled to manage its sales pipeline carefully to
         ensure predictability of its results, and was open about doing so in its Annual
         Reports.


979.     Dr Lynch contended further that there was no basis demonstrated for the
         Claimants’ contention that he was involved in the decision. However, when
         cross-examined, although he could not speak to the actual facts, he justified the
         principle and practice of such changes as entirely normal: enquiries post-quarter
         end would often reveal some impediment to recognition such as late delivery or
         failure to deliver “in good stead”. He insisted that “There’s nothing
         inappropriate about that happening past the quarter end”.

980.     To demonstrate the contrary, the Claimants relied on the following
         demonstration of manipulation, in addition to the matters I have referred to
         above:
              (1) On 31 March 2010, Mr Sullivan provided Mr Hussain with “a
                  preliminary estimate of how it will come down based on updates from
                  Dell”. He set out the status and details of the Hitachi and Dell hardware
                  sales that had been achieved in Q1 2010. He stated that he would not
                  have the final “shipping numbers” until the end of the day “so these
                  numbers could change a little”, but that the preliminary estimate was
                  that $18,583,976 of hardware had been shipped in Q1 2010 (with a
                  further $7,043,598 falling into Q2 2010).
              (2) Later that evening, Mr Sullivan provided updated numbers to Mr
                  Hussain and Ms Cynthia Watkins (Autonomy’s Corporate Controller).
                  These showed that $19,224,547.76 of hardware had been shipped in Q1
                  2010, with a further $7,595,180.74 falling into Q2 2010.
              (3) On that basis, just over $19.2 million of hardware sales had been
                  achieved, and shipped, in Q1 2010.



                                           Page 325
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 327 of 900
Approved Judgment                                                            HC-2015-001324
Mr Justice Hildyard


              (4) That, therefore, is the amount of hardware revenue that should have been
                  recognised in Q1 2010: but it was not.

981.     As to the thinking behind the sudden reduction in hardware sales in the Q1 2010
         Quarterly Report the Claimants contended that:

              (1) On 8 April 2010, over a week after quarter end, Mr Chamberlain sent an
                  email to Ms Watkins, copied to Mr Stephan and Ms Harris, subject
                  “Revenue adjustments”, stating as follows:

                         “Firstly, I apologise for the constant changing of your
                         numbers. Powers greater than me are making these decisions
                         and whilst I understand them I know they will be causing you a
                         lot of pain. I will make sure this is remembered when it comes
                         to sorting out Q1 bonuses.



                         We need to make adjustments to revenue which affects hardware
                         revenue and costs as well as normal licence.



                         1) Defer Capax (FSA) - $4,285k



                         2) Defer additional hardware deals as per attached – some ins
                            and outs from last nights schedule




                         Once processed can you resend TB, consol pack and revenue
                         sheets.



                         Thanks and apologies again”.


              (2) The attachment to Mr Chamberlain’s email was a schedule which
                  showed the percentage of resold hardware which had been shipped in
                  Q1 2010; and the totals after applying the percentages equate to those
                  which appeared in Mr Sullivan’s email of 31 March 2010 referred to in
                  paragraph 980(2) above.

              (3) The Claimants submitted that it was to be inferred that what was under
                  consideration was that revenue in relation to certain deals should be
                  deferred for some reason other than delay in shipment.



                                           Page 326
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 328 of 900
Approved Judgment                                                             HC-2015-001324
Mr Justice Hildyard




982.     As to who was responsible for or involved in this revenue manipulation, the
         Claimants contended:

              (1) It was plain from his covering email of 8 April 2010 that Mr
                  Chamberlain was not deciding off his own back what revenue should or
                  should not be recognised in Q1 2010. He was being directed by “powers
                  greater than me”.
              (2) At the very least must have included Mr Hussain. (Ms Harris thought it
                  likely that it was Mr Hussain, but did not know the extent to which he
                  would have discussed the matter with Dr Lynch). Indeed, that is
                  apparent from Mr Hussain’s email to Mr Chamberlain of earlier that day
                  (with the subject “costs”): “If we can defer $4m from HDS (Morgan
                  Stanley) then I believe we get there”.
              (3) Mr Hussain would have wanted to check with Dr Lynch, and given the
                  close interest that Dr Lynch clearly took in ensuring an appropriate
                  balance between revenue and earnings per share (see paragraph 965
                  above), as well as his previous (and subsequent) input into how much
                  hardware revenue to recognise, it is improbable that he would not have
                  been involved on this occasion too.

983.     The Claimants contended that given the familiarity that each of them had with
         the revenue recognition rules (and this would have involved the most basic
         application of those rules), absent any good reason for such deferral, it would
         have been obvious to Mr Chamberlain, and also to Mr Hussain and Dr Lynch,
         that what was under consideration was wholly improper, but that this was not
         thought by them to be an impediment.

984.     The Claimants sought further to support this contention by reference to various
         crosses against hardware shipments made on a succession of versions of the
         schedule prepared by Mr Sullivan (see paragraph 980 above), which appeared
         to show changing plans in succeeding versions as to what hardware sales
         (marked with a cross) should be stripped out. They suggested, for example, that:

              (1) As at 7 April 2010, the plan had been to defer the revenue (and
                  corresponding costs) in relation to eight hardware sales with a total
                  revenue of $4,472,575, meaning that $15,054,428.69 would be
                  recognised in Q1 2010 (column G, row 38); whereas

              (2) By 8 April 2010, only five crosses were included, but the ‘crossed’ deals
                  now included a $5.6 million deal with Morgan Stanley showing a loss to
                  Autonomy of 30% (much higher than the standard 10% and therefore a
                  considerable negative in respect of EPS): this meant that $7,748,041.69
                  (column H, row 36) of hardware revenue would be deferred, with
                  $11,779,144 being recognised in Q1 2010 (column H, row 38).




                                           Page 327
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 329 of 900
Approved Judgment                                                                HC-2015-001324
Mr Justice Hildyard


985.     A few days later the position had changed again. On 12 April 2010, Mr
         Chamberlain sent a further email to Ms Watkins, copied to Mr Stephan and Ms
         Harris, with the subject “Further changes”:

                              We have had to make further changes to your numbers.

                             Capax (FSA) – back in

                             Hardware – have had to recognize more HW

                            The revised hardware sheet is attached again with a column
                            identifying the changes. We have manually updated the consol
                            packs and TBs and processed the journals so you should tie in to
                            these revised numbers.”


986.     The Claimants submitted that by 12 April 2010, it would have been entirely
         clear what hardware had been sold and delivered in Q1 2010: and that these
         latter changes cannot sensibly be explained by reference to changes emerging
         from 8 April onwards. They also pointed out that the one person – indeed
         perhaps the only person – who would have known exactly what hardware had
         been delivered was Mr Sullivan, but he was not copied in on any of the above
         exchanges and does not appear to have been involved in the discussions or
         decisions as to what hardware revenue to recognise.

987.     Furthermore, they pointed to later documentary evidence that Mr Hussain, at
         least, was concerned to ensure that Mr Sullivan was not involved or made aware
         of the late changes. Thus, on 26 April 2010, in an email with the subject “Low
         margin business”, Mr Hussain instructed Mr Stephan that he (Mr Stephan) was
         responsible for “ keeping right on top of how much has been sold, how much is
         in deferred revenue, how much in the pipeline”, requesting that Mr Stephan
         provide him with “daily updates”. In response, Mr Stephan enquired whether
         he could “share with Sullivan the changes we made to what was
         recognised/deferred in Q1”. Mr Hussain’s reply was categorical:

                      “No – you do not give this info to mike S – why would he need it? just
                      get what he has sold on a daily basis – create a spreadsheet – I do not
                      want any inventory at the end of this q”.


988.     The Claimants concluded with the point that in any event, it is clear from the
         delivery notes for the deferred deals that (a) the hardware was indeed shipped
         in Q1 2010 and, save for one, was delivered in Q1 2010 too; and (b) in respect
         of many of the deferred deals, Autonomy had actually received payment in Q1
         2010, disproving (if it were otherwise contended) that these deferrals were
         anything to do with collectability or issues as to whether the customer had
         accepted the goods. Payment had been received by Autonomy in Q1 2010.




                                               Page 328
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 330 of 900
Approved Judgment                                                              HC-2015-001324
Mr Justice Hildyard


989.     In my judgment, the decision to defer recognition of this hardware revenue was
         taken because the revenue was (a) not needed for that quarter to make good any
         shortfall in software revenue (they had already been covered in other ways); (b)
         ‘expensive’ in that the costs of it exceeded its sale price and thus had an adverse
         impact on gross margin, so that (in pursuit of the objectives of the strategy) it
         was best kept back for use when more necessary; (c) likely to prove useful in
         future quarters if and when shortfalls arose which had not been covered. That
         was improper, and the Defendants knew it.

Q1 2010 – the inventory

990.     A consequence of the decision was that the hardware of which the sale had not
         yet been recognised for accounting purposes needed to be shown as an asset on
         Autonomy’s balance sheet as at 31 March 2010 until it was purportedly sold.
         This meant that there was a significant increase in Autonomy’s inventory for Q1
         2010:
              (1) The inventory appearing as a sub-heading “Inventory” under the
                  heading “Assets” in Autonomy’s balance sheet as at 31 March 2010 (and
                  included in the Q1 2010 Quarterly Report) was $10.250 million. That
                  represented an increase of over $9.75 million as compared to the
                  previous quarter.
              (2) In cross-examination, Ms Harris did not dispute that the increase in
                  inventory as at the end of Q1 2010 was referable to the revenue from
                  certain of the hardware sales not having been recognised in that quarter.


              (3) That can also be seen from the contemporaneous documentation.

                      i.    On 16 April 2010, Ms Harris sent an email to Ms Watkins with
                            the comment: “We want to classify the 3 invoices at the bottom
                            of the attached list (4,170,350; 4,666,928 & 1024,093) as
                            inventory rather than prepayments”). Those three entries –
                            $4,170,350, $4,666,927.90 and $1,024,093.37 – totalled
                            $9,861,371.27. In a further email to Ms Watkins later that same
                            day, Ms Harris stated that the “equipment was shipped directly
                            to the customer which is stated on the invoices”.

                      ii.   On 17 April 2010, Ms Watkins responded: “This is for the
                            balance of 8.3M as an additional 1.5M was recognized. Helen
                            will be sending to you. Its more like 15 invoices ☺” .

                      iii. Following accounting revisions on 12 April 2010,
                           $8,209,780.60 of costs relating to the four hardware deals was
                           deferred (column M, row 36); with $1,508,340 of additional
                           costs being recognised as a result of a further revision in the 8
                           April 2010 version of the spreadsheet. (column M, row 39).




                                             Page 329
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 331 of 900
Approved Judgment                                                             HC-2015-001324
Mr Justice Hildyard


                      iv. The fact that the inventory related to these hardware deals can
                          also be seen from an attachment to Mr Chamberlain’s email to
                          Mr Hussain of 16 April 2010.

991.     The Claimants contended, and I accept and find, that Deloitte were misled in
         relation to the inventory.

         (1)      On 20 April 2010, Mr Chamberlain sent an email to Mr Stephan, which
                  he copied to Mr Welham, referring to the hardware deals in respect of
                  which revenue was not being recognised in Q1 2010 and stated:

                          “to cut a long story short we were not able to prove delivery on
                          these deals, each of them having problems and so we have
                          deferred until Q2 2010. The future receipt of cash and
                          satisfactory delivery notes will provide me with the evidence I
                          need to recognize. They are currently deferred as goods in
                          transit/inventory.”

         (2)      In response, Mr Welham stated:

                          “The issue we have is ensuring that you have the asset at the
                          balance sheet date. Can you prove delivery now, i.e. post
                          period end to show that you had the hardware and delivered
                          just after period end?”

         (3)      Mr Chamberlain responded:

                          “We have many delivery notes that show delivery leaving in
                          March but not reaching customer until early April.”

         (4)      This was false: as set out in paragraph 988 above, all bar one of the
                  hardware deals had been delivered by quarter end (31 March 2010) and,
                  in many cases, Autonomy had actually received payment for it by that
                  date.

992.     However, the substantial increase in inventory therefore required some
         explanation to the market.

         (1)      On 16 April 2010, five days before the results were released, Autonomy
                  issued a trading statement, stating that it expected to:

                          “report record first quarter 2010 results in line with analyst
                          consensus estimates of revenues of approximately $193 million
                          and fully diluted EPS (adjusted) of approximately $0.25” .

         (2)      The trading statement continued:

                          “In Q1 the company took advantage of discounted offers to
                          purchase stock for the Arcpliance product in advance of Q2


                                            Page 330
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 332 of 900
Approved Judgment                                                                        HC-2015-001324
Mr Justice Hildyard


                          sales, which affected the cash position. These sales have now
                          been completed” (emphasis added).

         (3)      Dr Lynch and Mr Hussain were both involved in approving this wording
                  prior to its release.

         (4)      In a similar vein, the Q1 2010 Quarterly Report stated:


                          “Movements in cash flow during the first quarter of 2010 of
                          note included: … Purchasing of inventory of $10 million for Q2
                          2010 sales, most of which have now completed.”



993.      However, as both Defendants knew:
         (1)      The increased inventory in Q1 2010 was not due to stock having been
                  purchased in Q1 2010 for sale in Q2 2010: as explained above, it was
                  due to the decision not to recognise the revenue in Q1 2010.

         (2)      Further, it was not “stock for the Arcpliance product”. Arcpliance was
                  sometimes referred to as ‘Digital Safe in a Box’, as Mr Avila confirmed
                  in cross-examination. It involved Autonomy pre-loading Digital Safe on
                  to hardware and then pre-configuring it. 161 In contrast, the inventory
                  related to pure hardware which had already been sold and, as Ms Harris
                  confirmed in her email to Ms Watkins on 16 April 2010, had been
                  shipped directly by the manufacturer to the customer.


         (3)      Nor was it stock that was purchased by Autonomy to take “advantage of
                  discounted offers”, but was instead hardware that Autonomy was selling
                  (indeed, had sold) at a loss.


994.     The story was false: but once spun it had to be kept going. As I describe later,
         the false representation that the $10 million of inventory related to Arcpliance
         was subsequently reinforced by the Defendants on the Q1 2010 earnings call:
         see paragraphs 1573 to 1588 below.


         My assessment re Q1 2010

995.      In my judgment, these facts and those set out in paragraphs 951 to 994 above
          demonstrate that:

161
   See also Yan 1 §28, which was unchallenged in cross-examination: “Following Autonomy’s
acquisition of Zantaz, the Product Development team was encouraged, and at times, pressurized, into
trying to package Digital Safe into a self-contained appliance for sale to on-premise customers. This
led to the development of what was known amongst the software developers as “Safe in a Box”
(subsequently marketed as “Arcpliance”), which was essentially a computer box with the capacity to
archive a limited amount of data”.


                                                Page 331
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 333 of 900
Approved Judgment                                                                  HC-2015-001324
Mr Justice Hildyard




              (1) In Q1 2010 a pattern of manipulating recognition of revenues from the
                  hardware reselling strategy to achieve the best balance between revenue
                  growth and gross margin/EPS is clearly evident;

              (2) The deferral of hardware revenue recognition gave rise to the problem
                  that the amount of the deferral was (logically and properly) posted as an
                  asset to Inventory: but the truth as to its source could not be told without
                  revealing the hardware reselling strategy;

              (3) At the Earnings Call for the quarter both Defendants provided an
                  explanation for the Inventory which was patently false: see below.

Q2 2010


996.      The hardware reselling strategy continued in Q2 2010. A particular feature of
          this quarter, which served to increase Autonomy’s reliance on hardware, was
          the dramatic reduction in VAR transactions. 162 There were no allegedly
          ‘reciprocal’ transactions in Q2 2010 either. It was in this quarter that the
          Hogenson episode occurred, which placed the spotlight on the propriety of both.

997.      The Claimants contended that Q2 2010 provides a particularly striking
          illustration both of the Defendants’ reliance on hardware sales and of the way
          the Defendants tailored their sales, or at least recognition of revenue arising
          from them, in order to meet market revenue expectations.

998.      On 16 April 2010, Mr Sullivan sent the Defendants a summary of where things
          stood regarding hardware sales for the quarter. He referred to an “Additional
          Pipeline of approx. $67m” with caveats that (a) some was “low probability” (b)
          about $17m was “70% probability or greater” and (c) “Some will likely book
          or ship outside Q2 2010”. He provided a schedule of prospective deals
          assigning to each a probability percentage. He said he was:

                      “Looking for any guidance on where to draw the line on new pipeline or
                      target Q2 Low Margin Revenue range”.


999.      On 19 April 2010, Mr Hussain sent Dr Lynch an email referring to the
          “consensus” market expectation of aggregate revenue of $222 million and
          earnings per share of 30 cents for Q2 2010. Mr Hussain then set out a number
          of different models:




162
   Only one VAR transaction was concluded (VT15); and that did not involve any of Autonomy’s
usual VARs.


                                              Page 332
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 334 of 900
Approved Judgment                                                                    HC-2015-001324
Mr Justice Hildyard


              (1) Taking the cost base excluding hardware as $94.5 million, in order to hit
                  earnings per share of 30 cents (sometimes referred to in shorthand as
                  “30c”), software sales of $190.5 million would be required.




              (2) If it was assumed that there would be $15 million of hardware sales and
                  if various software deals could be concluded, revenue of $201.5 million
                  for the quarter would be achieved with earnings per share of 28 cents.

              (3) In order to hit aggregate revenue of $215 million with earnings per share
                  of 30.6 cents, Autonomy would need “$20m hardware” along with
                  various software sales; or, if aiming for aggregate revenue of $220
                  million with earnings per share of 30 cents, “[we] will need either 5m
                  more h/w and lower cost or more s/w”.

1000. He suggested two alternative targets, explaining that the question was “more of
      how much h/w to take…”

              (1) “So could go for $215 m and 30c (most likely outcome) but 10% organic
                  growth means share price likely off a lot”;

              (2) “Or could go for $220m and 30c (13% organic growth) – will need
                  either 5m more h/w and lower cost or more s/w”.

1001. Mr Rabinowitz asked Dr Lynch about this in cross-examination, and put to him
      that “the consideration of how much hardware deals to do was all about what
      revenue figures you want to get to, correct?” Dr Lynch answered this as
      follows:

                      “Yes, I think that’s reasonable. What’s happening here is we’re working
                      out what the forecast is going to be, so, as we were discussing the other
                      day, we lower and raise the forecast as we think prospects are. And,
                      yes, we are using, or at least in one of his options, the option in the
                      middle, he’s using the possibility of 5 million of hardware flex to fit that
                      forecast together.”


1002. Mr Rabinowitz followed this by asking him to accept that “it’s all about revenue
      figures…it was about producing revenue, albeit at a cost, that might be used to
      achieve particular revenue targets?” Dr Lynch’s calmly delivered answer
      encapsulates the essence of the defence:

                      “There’s no doubt that they come with revenue and there’s no doubt
                      that that does have the advantage of giving us a bit of flexibility. Not
                      much because of the delivery issue. But that’s not the primary reason



                                                Page 333
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 335 of 900
Approved Judgment                                                                 HC-2015-001324
Mr Justice Hildyard


                      why this was chosen as the strategy. If the primary reason was
                      revenue, there would be better things to do.”

1003. The next day, 20 April 2010, Mr Hussain emailed Dr Lynch some further
      thoughts as to how to achieve the target. He explained how earnings per share
      of 30 cents could be achieved by reference to different overall revenue levels
      with differing levels of hardware sales:163


                       FURTHER THOUGHTS on outlook – tax rate in Q2 is higher:
                      1.   Tax losses mean full year rate will be 24.4%, means Q2 rate will
                           be 21.8% (catch up on Q1)
                      2.   Costs exc. Hardware = $94.5m
                      3.   To hit 30c in Q2 without h/w need $194.8m revenue. My current
                           forecast (inc 15m from jpm and 13m from bav) is
                           $186.5m so $8.3m short
                      4.   To hit 30c with $215m of revs = $18.3m of hardware, means
                           $10m short
                      5.   To hit 30c with $220m of revs = $23.2m of hardware, means
                           $10.5m short

                      So overall we will need to find $10m or so if we forecast 195, 215 or 220

                      How can I find it?

                              -   CA deal should yield $6m to $7m

                              -   Grow Safenet, BlueArc etc

                      My suggestion is to go with 220m and 30c but we can discuss when you
                      waken.”


1004. Later that day, Mr Hussain sent an email to Dr Lynch with the subject
      “Interesting point on deals for hardware”, stating: “Would be $40m to have no
      effect on gross margins – i.e. big visibility on q2”. It is unclear quite what Mr
      Hussain meant, but the Claimants suggested (and I accept) that the effect of
      what he was saying was that if $40 million of hardware sales were made in the
      quarter that would have no effect on gross margin, but that sales at that sort of
      level would be very visible to the market.

1005. It appears that, shortly thereafter, Dr Lynch and Mr Hussain agreed the amount
      of revenue required from hardware sales in Q2 2010. Thus, following a
      discussion he had had with Mr Hussain on 21 April 2010, Mr Sullivan emailed
      Mr Chamberlain (with subject heading “Low Margin Revenue”) that the pure
      hardware sales revenue goal for Q2 2010 was now $30 million. When

163
      The reference in Mr Hussain’s email to “bav” was to the Vatican Library.


                                                  Page 334
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 336 of 900
Approved Judgment                                                         HC-2015-001324
Mr Justice Hildyard


         crossexamined, Dr Lynch said he assumed that the $30 million figure was one
         that they had agreed would be the objective.

1006. In an email to Dr Lynch dated 28 April 2010, Mr Hussain referred to the pure
      hardware sales revenue earned to date in Q2 2010 (“Deferred was $15m New so
      far is $15.5m Expect $10m more minimum”) and stated “ I am slowing it down
      ok?” Dr Lynch replied two minutes later, “ok”.

1007. The Claimants suggested that all this once more confirmed that hardware
      revenue, or at least its recognition by Autonomy, was a tap which the
      Defendants turned on or off more or less at will, without regard to any business
      consideration other than meeting market expectations for aggregate revenue and
      earnings per share. The Claimants also relied on exchanges between Mr Hussain

         and Mr Barris of Dell, which showed Mr Sullivan (a) seeking to control the
         hardware revenue and (b) suggesting deferral to the next quarter once the $10
         million which he had mentioned to Dr Lynch seemed likely to be considerably
         exceeded.

1008. On 5 May 2010, Mr Hussain sent Dr Lynch a document entitled “Getting to 220
      SH.doc”. This was an updated routemap to achieving $220 million of aggregate
      revenue in Q2 2010. The document referred to $16.4 million of “low margin”
      revenue being needed that quarter, and noted (as Dr Lynch accepted) that $13.2
      million of such revenue had not been recognised in, but had been deferred from,
      Q1 2010. This version of the routemap anticipated $13.5 million of revenue
      from “BAV”, i.e. the Vatican Library.

1009. Dr Lynch reviewed and amended the routemap. On 12 May 2010, he sent a
      revised version to Mr Hussain. The following day, 13 May 2010, Mr Hussain
      sent Dr Lynch a further version of the routemap. In this 13 May version, the
      amount of $13.5 million previously shown for BAV was reduced to zero,
      recognising that no revenue could be achieved that quarter from a VAR
      transaction with the Vatican Library (discussed in paragraphs 280 to 397 of the
      Schedule of Impugned VAR Transactions). Instead, a new line-item “Low
      margin (cover for BAV)” of $13.5 million was added. As Dr Lynch accepted in
      cross-examination, Mr Hussain was proposing that, if the sale of software to
      Vatican Library (through a VAR) was not concluded in this quarter, it could be
      covered by an equivalent dollar amount of low margin hardware sales: as Dr
      Lynch put it “that gives him his certainty of 220…”.

1010. On 25 May 2010, in a further version of the “Getting to 220 SH.doc” document
      sent by Mr Hussain to Dr Lynch, next to the line item “Low margin (cover for
      BAV)”, the comment “BP can cover this” had been added. This was a reference
      to a hosting contract which Autonomy hoped to conclude with BP that quarter.
      The comment appears to signify that if the hosting contract materialised, the
      pure hardware sales would no longer be needed to meet Autonomy’s revenue
      target for Q2 2010.

1011. On 2 June 2010, Mr Sullivan informed Mr Hussain that “We have hit $30m in
      reselling for the qtr”, with “Still more to come”.


                                         Page 335
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 337 of 900
Approved Judgment                                                         HC-2015-001324
Mr Justice Hildyard


1012. On 7 June 2010, Mr Hussain sent an email to Dr Lynch attaching a document
      entitled “Getting to 220 SH 7th june 2010 (snap shot)”. Mr Hussain said in his
      covering email, “Positive moves on Msft and deloitte allows lower low margin
      deals means 29c”. The Claimants suggested that this signified that if increased
      software sales were to be made, that would give room for lower hardware sales
      and thereby allow Autonomy to report higher earnings per share of 29 cents.

1013. In this context, Mr Hussain’s attachment reduced the amount shown for “Low
      margin (cover for BAV)” from $13.5 million to $5.8 million, and annotated the
      change with the comment, “Have closed 38m, recognising 23.1m”. That, as
      interpreted by the Claimants, suggests that, even though Autonomy had in fact
      closed ‘pure’ hardware transactions which would entitle it to recognise $38
      million of revenue in Q2 2010, Mr Hussain was proposing that Autonomy
      should recognise only $23.1 million of that revenue within the quarter, leaving

         an amount of further pure hardware revenue that Autonomy could recognise in
         a later quarter as and when required.

1014. Dr Lynch did not agree with this interpretation and suggested that all that Mr
      Hussain meant was that “he may have some discretion in terms of saying to the
      customer Can I deliver that to you in three weeks time….” That was not
      convincing: and Mr Hussain did not suggest that his proposal had anything to
      do with what hardware had been delivered in the quarter, because he was plainly
      assuming that it would all be delivered before quarter end, which was still over
      three weeks away.

1015. A few days later, on 11 June 2010, Mr Hussain sent Dr Lynch a further version
      of the routemap. As before, $38 million of low margin hardware deals had
      closed, with $23.1 million of the revenue to be recognised.

1016. On 16 June 2010, Mr Hussain provided Dr Lynch with another update: by this
      point, with revenue for the quarter at $217 million, Mr Hussain planned to
      include low margin hardware sales of $23 million, meaning that earnings per
      share would be at 28.3 cents. As at 18 June 2010, the plan remained to recognise
      $23 million of hardware sales in Q2 2010. The same was true as at 21 June 2010.

1017. On 29 June 2010, Mr Hussain sent Dr Lynch a further update tracking
      Autonomy’s success in concluding large deals prior to the end of Q2 2010. The
      update gave a snapshot of the status of each deal as at five dates between 16
      June 2010 and 29 June 2010 and also identified the amount of revenue proposed
      to be recognised in respect of “Low margin”, i.e. pure hardware sales. As stated
      above, at 16 June 2010, 18 June 2010 and 21 June 2010, the proposal was to
      recognise $23 million in respect of pure hardware sales. However, by 28 June
      2010 it had become apparent that “NO DEAL” could be secured on three
      hopedfor software transactions. As a result, the figure for “Low margin” was
      increased to $30 million to compensate for the corresponding shortfall.

1018. At the foot of the spreadsheet, Mr Hussain identified the effect on earnings per
      share of recognising more hardware revenue. He stated that if $30 million of
      hardware revenue was recognised, earnings per share would be 26 cents (row


                                        Page 336
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 338 of 900
Approved Judgment                                                                 HC-2015-001324
Mr Justice Hildyard


         38); whereas if only $23 million of hardware revenue was recognised, with a
         further $7 million of software sales instead (“EPS (with $7m s/w)”), earnings per
         share would be 28.7 cents (row 39). Dr Lynch accepted that this reflected the
         balancing act that he and Mr Hussain were having to perform:

                      Q. And that really reflects the balancing act that you and Mr Hussain
                            were having to perform with how much hardware sales should
                            be included or recognised because, although it could help you
                            get to a revenue figure, it had a knock-on deleterious effect
                            on your ability to hit the particular earnings per share figures,
                            correct?

                      A. Yes, that s accurate. We re having to balance not only the revenue,
                              the EPS, but cash positions, a whole series of metrics that we ll
                              be trying to optimise in the balancing.

                      Q. And that is why, if you could have a software deal which you could
                            recognise, you would not recognise the hardware?

                      A. If that was an option, if we had the ability to not recognise the
                              hardware, then in that situation where we had too much revenue
                              then we wouldn t do the loss-making hardware transaction, that
                              s correct.”

1019. Mr Hussain provided Dr Lynch with a yet further update on the afternoon of 30
      June 2010 (the last day of the quarter). As before, $30 million of hardware
      revenue was to be recognised in the quarter.

1020. In the event, Autonomy recognised $31.1 million of pure hardware revenue in
      Q2 2010. That was one of the highest quarterly amounts in the Relevant Period
      and constituted over 14% of total revenues reported for the quarter ($221.1
      million). It enabled Autonomy almost to hit the consensus projection of $223
      million notwithstanding the restrictions on VAR sales and the continuing
      depression of software sales revenues.

1021. I was not shown and am not aware of any document or exchange between Dr
      Lynch and Mr Hussain relating to these contemplated sales and Mr Hussain’s
      projections and modelling, that suggests that any of this had anything to do with
      marketing.

Q2 2010 – alleged post-quarter end manipulation of the hardware revenues recognised

1022. The revenue recognised for Q2 2010 was once again, however, not the full
      amount of revenue generated from the hardware reselling strategy. As in the
      previous quarter, management again determined not to recognise all the
      hardware revenues from hardware transactions that had taken place in Q2 2010.




                                               Page 337
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 339 of 900
Approved Judgment                                                                 HC-2015-001324
Mr Justice Hildyard


1023. On 7 July 2010, a week after the close of the quarter, Ms Cynthia Watkins sent
      an email to Mr Chamberlain with the subject “H/W Cost”. She stated that “H/W
      cost is coming in @ 45M”, providing a breakdown of “H/W Orders (Shipped)”.
      That included “Q1 related 9,914,858 not accrued in Q1” and “Q1 Deferred
      9,861,371” which reflected the fact that certain hardware revenues and costs had
      been deferred, rather than being recognised, in Q1 2010. Mr Chamberlain
      forwarded Ms Watkins’ email on to Mr Hussain with the comment: “disaster”.

1024. Mr Hussain’ s responded to Mr Chamberlain as follows:

                      You need to check this.

                      We deferred $15m or so last q (cost $20m or so – including the expensive
                      Morgan Stanley). We are recognizing $16m more ($17.5m or so) –
                      unfortunately that gives $37.5m.

                      If you can defer the more expensive ones then we hit the $34.2m I have.”


1025. The Claimants contended that, after the end of the quarter, Mr Hussain was
      thereby instructing Mr Chamberlain to defer the recognition of certain
      “expensive” hardware deals in Q2 2010. They submitted (and I accept) that it is
      plain that Mr Hussain’s focus was solely on the amount of revenue that needed
      to be deferred to meet the targets he had set. That was why he had selected “the
      more expensive ones”. The Claimants added that there is no suggestion of
      deferral being based on whether the revenue recognition criteria were met in
      respect of them, except what may conceivably be implicit in the words “If you
      can…” , though both Defendants knew that if the revenue recognition criteria
      were met, Autonomy had no discretion as to whether or not to recognise the
      revenue.

1026. It would appear that Mr Hussain’s instruction was actioned. Two days later, on
      9 July 2010, he emailed Ms Harris, Mr Chamberlain and Mr Stephan, with the
      subject “US costs for the low margin business”, stating as follows:

                       The US team has put in the complete costs but of course they don t know
                      that we are deferring some revenues.

                      I have the US pack giving us total costs (EXC. R&D, OPTIONS & BAD
                      DEBTS) from Lisa of $72.9m

                      If I take out the relevant costs from the latest forecast then we have
                      $27.5m – the difference being $45.4m. I would like you to confirm that
                      this relates to the low margin business and then we will put in the
                      relevant $35.6m number.

                      Please confirm and report back as the difference is quite large!!”



                                                Page 338
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 340 of 900
Approved Judgment                                                                 HC-2015-001324
Mr Justice Hildyard


1027. The Claimants emphasised especially, and described as “striking”, the comment
      that the “US team” (including, I assume, Mr Sullivan) did not know that some
      of the hardware was being deferred. The “US team” had operational control of
      the transactions. If there had been problems delivering some of the hardware
      sold in the quarter, then the “US team” would have known that the revenue in
      question would have to be deferred. This email was not copied to Mr Sullivan;
      nor to Dr Lynch, who maintained that he was not involved in or aware of this
      aspect of the Q2 2010 hardware programme.

1028. The Defendants contended that there was nothing odd in the fact that Mr
      Sullivan was not involved. They cited their witness Ms Harris’s explanation
      that revenue recognition was for the accountants to sort out, “not the salesmen
      who conducted the sales.” Ms Harris told me she “didn’t have contact with the
      salespeople.” But after some equivocation as to whom she would approach for
      the basic facts about delivery and the like, and after suggesting that Mr Hussain
      might be the more likely contact as he was more senior and “these are big
      strategic deals”, she conceded in cross-examination that in fact she did not
      know: she would not have been the “person having those conversations”
      because she was not in the revenue recognition/revenue accounting team. In any
      event, the disconnect between the accounting function and the sales operation
      seems to emphasise the point that the deferrals were driven without reference to
      the facts.

1029. In terms of the facts, I was not shown any evidence of any factual reason for
      deferral of revenue recognition from the Q2 2010 hardware resales in question.


Deloitte Report to the Audit Committee on the Q2 2010 Review

1030. In its report to the Audit Committee for Q2 2010, Deloitte concluded:

              “Given the increasing significance of hardware sales to the Group’s
              revenues, and the resultant impact on the gross and operating margin in
              the quarter and half year results we would expect appropriate explanation
              to be given in the Q2 2010 press release”.

1031. At the Audit Committee meeting on 20 July 2010, as reflected in Mr Welham’s
      email of later that day, it was agreed that disclosure of the impact of the
      hardware sales should be included in the front-end of the press release for Q2
      2010.

1032. I address the exchanges which followed, with Deloitte pressing for transparency
      and principally Dr Lynch pushing back hard, in paragraph 869 above. For the
      present I can summarise the result as being that Dr Lynch got his way. All that
      the market was told was:

                      “The small variation in gross margins in Q2 2010 was in line with our
                      expectations due to the sales mix including appliances as discussed last
                      quarter”.


                                               Page 339
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 341 of 900
Approved Judgment                                                                 HC-2015-001324
Mr Justice Hildyard




My assessment of Q2 2010

1033. In my judgment:

                (1) The facts relating to Q2 2010 as set out above repeat and reinforce the
                    pattern evident in Q1 2010 of covering shortfalls in software sales
                    revenue compared to forecast, and of also manipulating recognition of
                    revenues from the hardware reselling strategy to achieve the best
                    possible balance between revenue growth and gross margin/EPS;

                (2) Dr Lynch resorted to (at best) half-truths to (as the Claimants put it):


                           put the market off the scent as to the existence of the pure
                          hardware sales and their use as one of the means by which Autonomy
                          was able to meet market expectations.”

Linkage Analysis

1034. Before turning to the hardware transactions in the next quarter (Q3 2010), I
      should mention in passing164 the fact that it was from Q2 2010 that Autonomy
      started providing to Deloitte what were known as “Linkage Analyses”. This was
      its response to Deloitte’s expression of concern about the accounting for
      hardware sales, and in particular their perception that what (according to Mr
      Welham’s witness statement) they had perceived to be a one-off strategic
      initiative with EMC was becoming “business as usual”.

1035. It was Mr Welham’s evidence that Deloitte requested (it is not clear when) what
      he described as:

                       an analysis…setting out, on a customer-by-customer basis, what
                      management said was the evidence of the linkage between the
                      lossmaking hardware sales and software sales and hosted revenue to
                      the same customers”.

1036. A dispute developed as to what prompted this request, and whether what was
      provided by Autonomy properly addressed it. Again, I return to consider this in
      greater detail later. I mention it now primarily as a marker: (a) Deloitte’s request
      and the concern that gave rise to it further demonstrates how the hardware sales
      were being presented to Deloitte as ancillary to the software business; (b) since
      there was no real linkage, any response was, necessarily, an exercise in
      disguising that fact; (c) linkage analysis for every quarter became routine from
      this time on, and became an important part of the way Autonomy presented the
      hardware sales to Deloitte; and (d) the Defendants were required to devise
      explanations of the hardware selling for Deloitte which were increasingly
      detached from reality.

164
      I address this at greater length later: see paragraph 1477 et seq below.


                                                    Page 340
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 342 of 900
Approved Judgment                                                              HC-2015-001324
Mr Justice Hildyard




1037. This was matched (indeed exceeded in terms of detachment from reality) by
      what Dr Lynch chose to tell analysts in the Earnings Call for Q2 2010 which
      took place on 22 July 2010. I address this further when assessing the evidence
      that the Defendants consciously sought to conceal the hardware reselling
      strategy and the inclusion of hardware revenues without differentiation in the
      revenues attributed to Autonomy’s software businesses.

Q3 2010


1038. The hardware reselling strategy continued in Q3 2010. Mr Sullivan was set
      revenue goals which were calibrated, as before, simply by reference to the
      volume of recognised revenue and incentivised according to their achievement.

1039. By now, Mr Hogenson’s concerns had apparently been disposed of, and VAR
      transactions were accordingly restarted after the pause in Q2 2010 in light of his
      enquiries. This slightly reduced the requirement to make good shortfalls in
      software revenue out of revenues from hardware sales, since part of the shortfall
      could, once more, be covered by VAR sales. Thus, in Q3 2010, hardware
      revenues, though still considerable, reduced to $26.7 million from $31.1 million
      in Q2 2010, and VAR revenue increased from $2 million in Q2 2010 (having
      been $26.8 million in Q1 2010) to $23.3 million in Q3 2010. These correlations
      tell their own story.

1040. An exchange of emails when Mr Sullivan canvassed Mr Barris at Dell as to the
      value of deals it would be prepared to transact in Q3 2010 revealed an interesting
      thread of earlier emails:

              (1) On 1 July 2010 Mr Sullivan asked Mr Barris to “encourage your team to
                  show us more deals” to which Mr Barris replied the next day “How much
                  do you want?”

              (2) Mr Sullivan responded “ An additional $20 million.” Mr Barris said that
                  they would “ do what we can here…”

              (3) The thread is all subject-headed “BofA SW”. That reflects the fact that
                  the first email in the chain was dated 10 June 2010. It was from Mr
                  Thomas Carlisle, Global Account Manager at Dell, to Mr Sullivan. It
                  read:
                           I think we can pull off a large SW deal if you are interested. It
                          seems everyone I ve talked to agrees we can do this. Let me
                          know. It would be 10-20M.”


              (4) Mr Sullivan expressed immediate interest. But after Mr Carlisle had
                  emailed Mr Barris, the latter was less than enthusiastic in an email to Mr
                  Sullivan the next day:


                                            Page 341
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 343 of 900
Approved Judgment                                                             HC-2015-001324
Mr Justice Hildyard


                           Hello Mike

                          Thanks for your interest. However, I don t want a deal like this
                          to lessen your interest in hardware transactions. This would
                          be less strategic to me than hardware.”

              (5) Mr Sullivan did not respond: the next email in the print-out of the chain
                  is that referred to in (1) above.

1041. I should acknowledge that none of the parties made any point about those earlier
      emails in the chain. But, as it seems to me, they appear to indicate a clear focus
      on Mr Barris’ part on hardware sales which is difficult to square with the
      depiction of Dell assisting Autonomy to protect and promote its software sales
      and coordinating its choice of customers to that end; and Mr Barris was Mr
      Sullivan’s main point of contact in this context.

1042. In any event, the familiar pattern of Mr Hussain asking for more or less “low
      margin” according to what he from time to time forecasted or feared he would
      require to meet forecast overall revenue is evident from email exchanges in this
      quarter, as in the last.

1043. Thus:

              (1) On 30 August 2010, Mr Hussain sent an email to Mr Sullivan with the
                  subject heading “I’ll need more margin-thought there were $4m in the
                  pipe for q3?”. There was no suggestion of any link to software sales nor
                  of any advantage to Autonomy’s software business.

              (2) On 6 September 2010, Mr Hussain sent Dr Lynch an email entitled
                  “group revenue” attaching a spreadsheet “6th sept group revenue MRL
                  format”. Within the spreadsheet was a column stating:


                                  2nd sept        3rd sept   6th Sept      Commentary

                      Memo-low     15             15         17            $24m done
                      margin



              (3) It appears from that spreadsheet that at that time Mr Hussain was
                  envisaging the recognition of $17 million of revenue from hardware
                  sales in the quarter (column E, row 3), as compared to the $15 million
                  included in the spreadsheet as at 2 and 3 September 2010 (columns C
                  and D, row 3), though the spreadsheet also recorded $24m as “done”.

              (4) On 28 September 2010, Mr Hussain emailed Mr Sullivan with the
                  subject “deals” stating “DB is fine So need EMC please And probably
                  $2m more low margin.”



                                             Page 342
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 344 of 900
Approved Judgment                                                                 HC-2015-001324
Mr Justice Hildyard




1044. In the event, Autonomy recognised about $26.7 million in revenue from
      hardware sales in Q3 2010, which amounted to about 12.7% of total revenue
      reported in the quarter ($211 million). Autonomy’s Quarterly Report stated that
      this was “the highest Q3 revenues in the company’s history” and also that “IDOL
      business grew organically at 18% during the first nine months of 2010”.

1045. No mention was made of hardware sales: in cross-examination Dr Lynch
      accepted that they were not disclosed to the market.

Q4 2010

1046. Autonomy’s hardware sales increased again in Q4 2010. In a quarter where
      revenue had been forecast at about $236 million, which was a considerable
      increase, Mr Hussain’s apparent need for the additional revenue from them
      became especially marked, particularly in December (see paragraph 1054
      below).

1047. The pure hardware sales goal for the quarter was $30 million of revenue, as
      recorded in an email from Mr Hussain to Mr Sullivan dated 8 October 2010
      headed “low margin”. Mr Hussain wrote: “Need 30m this q as it’s a big q. Can
      you get EMC to do some?”.

1048. On 15 October 2010, Mr Hussain sent Dr Lynch an email on 15 October 2010
      entitled “getting to 236” which specified the targets that had been provided to
      each part of the business, including “Strategic sales $30m”. The subtext is plain:
      in order to achieve aggregate revenues of $236 million in Q4 2010, Autonomy
      needed pure hardware sales of $30 million. There is no record of an objection
      from Dr Lynch.

1049. At around the same time, Dr Lynch and Mr Hussain agreed that Mr Sullivan
      should be paid a bonus of $50,000 for Q3 2010 because of the “good job for us”
      he was doing. The “good job” was that “last q he got us the emc deal plus the
      low margin strategic sales”. There is no suggestion of his job extending to any
      results in terms of building relationships or driving software sales.

1050. Similarly, the group revenue updates sent by Mr Hussain to Dr Lynch (among
      others) on 31 October 2010, 7 November 2010, 18 November 2010 and 7
      December 2010 identified, in the worksheet entitled “ MRL sheet” intended for
      Dr Lynch, $30 million as the target set for “Strategic”, “ low margin” revenue.

1051. An email dated 13 October 2010 from Dell’s Mr Michael Faughnan to Mr
      Sullivan, subject headed “Dell/Autonomy Top Line” expressed Dell’s perception
      of the purpose as being to drive revenue. Mr Faughnan:

                      “….wanted to know if Autonomy is still looking to drive top line in Q4 –
                      and if so, what conditions you have for the incentives being offered – we
                      are putting end of year plays in front of JPMC & MS before month end



                                               Page 343
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 345 of 900
Approved Judgment                                                                  HC-2015-001324
Mr Justice Hildyard


                      and will bundle with your incentives if the appetite for top line on your
                      side is still there.”


1052. Mr Sullivan did not dissent from this perception, replying on 18 October 2010
      that Autonomy had a “large appetite for Q4 deals”. In a similar vein, on 5
      November 2010, Mr Sullivan told Dell’s Mr Barris that Autonomy “was very
      interest[ed] in doing more Q4 business with you. Are there more things we can
      work on together?”

1053. Dr Lynch accepted that “top line” in the email quoted in paragraph 1051 above
      was a reference to revenue; but with a characteristic illustration of his point by
      an analogy, he shrugged it off as a conversation between people in the engine
      room being told to get the engine running and it is “not the same as the reason
      as why the captain is taking the ship in a particular direction”. As to Mr
      Sullivan not having suggested any other reason in his response to Mr Faughnan,
      Dr Lynch said that this is “the sales people executing on selling”, and that a sale

         to JPMC and Morgan Stanley would be very much in line with a software
         business development strategy as asserted by the Defendants. Not unusually, Dr
         Lynch’s explanation appeared to me worldly and reasonable; but my education
         in the case has made me more sceptical, and in my view, there was little more
         to it than “appeared on the tin”: Autonomy needed to sell hardware to “drive
         top line” and Dell were keen to sell it hardware for that purpose.

1054. The acuteness of this need was demonstrated by a despairing email sent on 10
      December 2010 by Mr Hussain to Dr Lynch (under subject heading “US idol”):

                      “Really don’t know what to do mike. As I guessed revenue fell away
                      completely yet SMS report shows massive activity. But I speak with the
                      vp’s [sic] who are far more accurate. Also stouff, Joel and mike I think
                      keep separate sheets and unless I am v wrong don’t discuss the sheets
                      hence plane crashes and they don’t know. We’ve covered up with bofa
                      and hopefully db and doi but if latter two don’t happen it’s totally bad.
                      There are swathes of reps with nothing to do maybe chase imaginary
                      deals.

                      So radical action is required, really radical, we can’t wait any more.

                      Everywhere I look at us idol it s bad.”

1055. Dr Lynch accepted that he would have discussed this cri de coeur with Mr
      Hussain, but said that it had to be seen in the context of what he depicted as “a
      sales management issue in the US, which is about 25% of our revenue, where
      forecasted deals are turning out to have a much lower probability of closing…”
      and that Mr Hussain’s unhappiness was “about the forecasting”.

1056. When cross-examined as to what he had thought Mr Hussain had in mind in
      suggesting the need for “really radical” action, Dr Lynch initially suggested that


                                                Page 344
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 346 of 900
Approved Judgment                                                                      HC-2015-001324
Mr Justice Hildyard


          this was a call to “basically reorganise the US IDOL sales management”. That
          may also be so: but the underlying concern expressed is that software sales in
          the US have fallen away, and hardware sales have been and will be required to
          plug the difference.

1057. As it was, the action which in fact immediately followed was that Mr Hussain
      authorised Mr Sullivan to find more hardware deals even if this meant
      improving the incentives and so increasing the cost to Autonomy. When this
      was put to Dr Lynch, Dr Lynch said that he did not know whether that was the
      case “but it may well be”. On 13 December 2010, just three days after Mr
      Hussain’s “radical action” email, Mr Sullivan informed SHI165 that Autonomy
      would “extend an additional 5% discount to SHI provided that SHI orders an
      additional $3m in Dell product prior to 12/29/2010”.

1058. SHI’s initial reaction was that “3 million is an awful lot for us to bring in by the
      end of the year. Especially when it would sit in our warehouse for 3 months” .
            As a result, they enquired whether any of the existing orders could count

         towards the $3 million. Mr Sullivan responded that he was “trying to incent for
         net new revenue so anything that is already in does not help” . Following further
         discussion with SHI, Autonomy offered, with Mr Hussain’ s express approval,
         the additional 5% discount to SHI, provided that it placed hardware orders
         totalling $2.5 million before the end of the quarter. The goal of “new net
         revenue”, even if it would cost more to bring in, appears clear.

1059. The revenue goal remained the same as of early December. On 3 December
      2010, Mr Hussain sent Mr Sullivan an email headed “what i need”: “Low margin
      - $30m delivered”. Mr Sullivan then informed Dell of Autonomy’s appetite for
      hardware deals that quarter, indicating that it had “a goal to do $35m in Q4 deals
      with Dell”.

1060. The incentives appear to have worked. By 21 December 2010, Mr Sullivan was
      forecasting that he would secure “ low margin” sales “in the range of $28.5m”
      and said that “[o]rders from SHI will be coming in right until the last day of the
      year”. Within two days, Mr Sullivan’s forecast had increased to $29 million,
      with $27.86 million already having been secured. On 29 December 2010, Mr
      Sullivan informed Mr Hussain that, with further “SHI orders coming tomorrow”,
      hardware sales should be over $29 million.

1061. In the event, Autonomy recognised pure hardware revenue in Q4 2010 of $35.4
      million, which constituted almost 14.5% of total revenue reported for that
      quarter ($244.5 million). The Claimants noted that a further $25 million of
      revenue came from impugned VAR transactions, and some $6 million from
      impugned reciprocal transactions, and some $15.2 million from impugned



165
   It may be recalled (and see paragraph 939 above) that SHI International was a company that
purchased computer hardware (typically from Dell) and resold it to BofA.


                                               Page 345
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 347 of 900
Approved Judgment                                                                HC-2015-001324
Mr Justice Hildyard


         “Other” transactions, so that on their case, revenue from legitimate sources was
         $161.4 million, which would have been some 33% short of consensus estimates.

Q1 2011

1062. The pattern of hardware sales continued also in Q1 2011, for which the market
      consensus projected overall quarterly revenue of $215.9 million (a slight
      decrease from the previous quarter).

1063. On 10 January 2010, Mr Hussain emailed Dr Lynch with the subject “Targets
      for 2011” stating:

                      “Mike,
                      Below shows achievement for 2010:
                      EMEA (Perachio, Murray, Hutchinson) $102m
                      ASIA (Aurora) $13m
                      US IDOL (inc. OEM Latam) $114m
                      Protect (Neil) $37m
                      Promote (Rafiq) $44m
                      Strategic low margin $101m
                      Management sales (stouffer) $75.5m
                      Maintenance, hosted etc $381m
                      Totals $868.5m

                      The target for 2011 I propose to be $978m (up 12.6%). I believe that the
                      analyst consensus is $972m with UBS at $979m.

                      EMEA (Perachio, Murray, Hutchinson) $125m (up 22.5%)
                      ASIA (Aurora) $13m (up 92%)
                      US IDOL (inc. OEM Latam) $105m
                      US Latam $13m (up 50%)
                      Protect (Neil) $45m (up 22%)
                      Promote (Rafiq) $55m (up 22%)
                      Strategic low margin $110m (up 9%)
                      Management sales (stouffer, Mooney) $100m
                      Maintenance, hosted etc $400m (up 5%)
                      Totals $978m
                      …I have told Mike S that the target is $25m minimum for Q1

                      Please confirm you are ok with these targets for 2011.”

1064. That set a “Strategic low margin” target for the (whole) year of over 11% of
      the aggregate revenue target of $978 million. Dr Lynch responded on 12 January
      2011 stating, “your call but build in some headroom”.

1065. On 16 January 2011, Mr Hussain emailed both Dr Lynch and Mr Kanter
      suggesting a target of $977m but still with $110m of “Strategic low margin”.


                                               Page 346
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 348 of 900
Approved Judgment                                                             HC-2015-001324
Mr Justice Hildyard


         He followed this with a further email to Dr Lynch dated 26 January 2011 under
         subject heading “draft forecast” also attaching a “forecast for analysts”. The
         email set out the following, which included a comparison with 2010:

                      “$975m revenue (up 12%)
                      125c fully diluted (up 12.5%)

                      Gross margin 88% (vs 87% ’10)
                      Operating margin 46% (vs 43% ’10)

                      Strategic Sales $97m vs $100m ‘10

                      Q1 ’11 Revs $217m (up 12%), EPS 26 cents (vs 25 cents Q1 ’10 –
                      remember no dilutive effect in Q1 ’10 from the convertible)”

1066. The Claimants invited me to note especially, as being “difficult to square with
      the Defendants’ contention as to the primary purpose of this activity”, that these
      targets were set without any analysis, or even mention, as to how they would be
      achieved, the identities of the parties to whom the hardware would be sold, or
      how the hardware sales would be used to drive software sales. I am not
      persuaded that to prove its substance or intent it was necessary for the
      Defendants to rehearse its purpose, or that whenever a target was mentioned, it
      would be expected to be accompanied by a statement of “how and to whom” in
      a forecast for analysts. But I accept that the overall impression given is of the
      measurement, balancing and use of strategic sales by reference to an objective
      of growing revenue whilst at the same time preserving gross margin and EPS.

1067. Also clear, to my mind, is that the pressure for hardware sales continued to
      fluctuate inversely according to the success of software selling, and that the calls
      over the course of the period to increase or find another source for hardware
      selling were prompted not by success in encouraging software sales, but on the
      contrary by any diminution in Mr Hussain’s confidence in them eventuating, or
      simply and more immediately, if an anticipated hardware transaction fell away.

1068. As an example of the latter, on 25 March 2011, after Mr Sullivan had informed
      him that a sale to Morgan Stanley of Hitachi hardware which Mr Hussain had
      described to Mr Sullivan as “the last part of the low margin jigsaw” would not
      proceed, Mr Hussain emailed Mr Sullivan:

                      “Need a plan b
                      Anything you can do on hitachi is good
                      Aggressively pursue SHI, JPMC etc. Really need to hit $25m”

1069. Mr Hussain’s email the same day to Dr Lynch to report the position spoke only
      of missed revenue:




                                               Page 347
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 349 of 900
Approved Judgment                                                                 HC-2015-001324
Mr Justice Hildyard


                      “We have done deals many times and were confidently expecting $3m
                      this time round. Although I pressed we didn’t get it and MS have given
                      the orders ($4m) directly…

                      V v v v frustrating as its $4m of revenue missed.”

1070. The exchanges thereafter also speak loudly of Mr Hussain’s by now almost
      desperate focus on revenue, with blame and recrimination following any
      apparent failure to meet his expectations. Thus:

              (1) Mr Hussain provided Dr Lynch with a further update early on 28 March
                  2011. In relation to further hardware revenue, the position remained as
                  it was on 25 March 2011.

              (2) Shortly thereafter, Mr Hussain enquired of Mr Sullivan “how are you
                  getting on with replacing MS / Hitachi. Need as much as we can get
                  from SHI”. Mr Sullivan responded that “SHI can’t do anything”, but
                  that there was “[p]ossibly another $1m from BNY, but not looking good
                  to get to $25m”.

              (3) Mr Hussain was not impressed. On 29 March 2011, Mr Hussain sent an
                  email to Dr Lynch stating that “Sullivan’s psychology is interesting. MS
                  / Hitachi was a complete cock up yet he isn’t trying to get a replacement
                  for it as his life depended on it”.

              (4) Dr Lynch chose to send that email on to Mr Sullivan with the comment
                  “WOW Sushovan says you have interesting psychology................” .

              (5) Mr Sullivan replied to Dr Lynch saying:

                      “Sushovan is wrong. I have been burning up the phone lines trying to
                      find more revenue. Was I suppose [sic] to lie and give him a more rosy
                      outlook? He just doesn’t like my forecast. It is hard to drum up $3.5m
                      in revenue in just a few days. But In fact I have found more revenue
                      and am pushing on the reps, Dell managers and resellers I know.
                      Revenue is now up to $23m in to date. If you check with Chamberlain
                      he will tell you that I was working a deal just yesterday in Ireland (It
                      fell out of the qtr). I tried to pull in some JPMC business in Europe -
                      no go. I have offered incentive to resellers (no takers). We processed
                      about 300 orders this qtr so far. I am basically running a small side
                      business and it takes a lot of time, networking, paperwork etc. I am not
                      sitting on my ass.”

              (6) On 30 March 2011, Mr Hussain sent further updates to Dr Lynch. By
                  this stage, $152 million of revenue had closed, with Mr Hussain saying
                  that it was unlikely that there would be more than $250,000 of further
                  hardware revenue (row 18).



                                               Page 348
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 350 of 900
Approved Judgment                                                                          HC-2015-001324
Mr Justice Hildyard


              (7) Later that day, Mr Hussain’s only response to an email from Mr Sullivan
                  reporting on progress with a prospective $1.6 million software deal
                  which he thought would not come in before the (imminent) end of the
                  quarter was to ask Mr Sullivan whether he had found “some more
                  hardware revenue? I need it”.

              (8) Mr Sullivan responded (presumably sarcastically, as the Claimants said)
                  “I did not know that”, and indicated that he was expecting “another
                  approx $100k tomorrow”.

1071. The Claimants presented these exchanges as further demonstrating that (a) the
      hardware reselling was all about generating revenue, with no other objective
      discernible from any of the emails and being evident from Mr Hussain’s almost
      panicked reaction to any sign of impending shortfalls, and (b) Mr Sullivan’s
      perception of himself to be running a “small side business” was in substance
      accurate and revealed that there was no properly integrated sales approach, with
      the two sides of the business working together and utilising contacts and
      discounted hardware sales to sweeten and encourage software deals, such as
      surely would have been readily apparent if the strategy really had been to use
      hardware sales to drive software sales.

1072. In the event, and once again, Mr Hussain’s panic was unwarranted. Autonomy
      beat the market consensus for Q1 2011 of $215.9 million with reported revenue
      for the quarter of $220 million, gross margins of 88% and adjusted earnings per
      share of 26 cents166. Of this, reported revenue of some $20.1 million represented
      what the Claimants described as ‘pure’ hardware sales in Q1 2011, which
      constituted just over 9% of total revenues of $220 million reported for the
      quarter.



1073. There is, however, a story behind the figures as presented, and in particular, as
      to how the balance was so successfully struck between low margin hardware
      sales and the important metrics of gross margin and EPS.

Q1 2011 and alleged revenue deferral

1074. The story arose out of an incident at around this time which the Claimants
      contended was a further demonstration of dishonesty on the part of the
      Defendants in their approach to the question of revenue recognition and their
      use of hardware revenues as a discretionary fund.

1075. On 9 April 2011, over a week after the end of the quarter, Mr Hussain sent an
      email to Dr Lynch and Mr Kanter with the subject “management meeting
      analysis”. He attached a spreadsheet – entitled “revenue analysis SH MRL AK


166
   That is to say, adjusted for conversion of loan notes, as Mr Hussain had alluded to in his email of 16
January 2011 to Dr Lynch (see paragraph 1065 above) when comparing Q1 2011 and Q1 2010.


                                                 Page 349
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 351 of 900
Approved Judgment                                                                    HC-2015-001324
Mr Justice Hildyard


          only” – which he said could “be used as the basis for data analysis at the
          management meeting”. That spreadsheet showed, in the “Q1 actuals” tab, that,
          as compared to his hardware revenue target for Q1 2011 of $25 million, Mr
          Sullivan had achieved $22.1 million. However, as in previous quarters,
          discussions took place as to whether all that hardware revenue should be
          recognised in Q1 2011.

1076. On 11 April 2011, Mr Hussain sent an email to Dr Lynch, with the subject
      “Q/e”, stating:

                      “If we defer prisa167 then we are at 218.1m but 24c and 85% [gross
                      margin]. If we don’t defer prisa but defer equiv low margin we are at
                      same revs but now at 25c and 88%. To discuss when I land or you can
                      discuss with steve.”


1077. In short, the Claimants submitted that Mr Hussain was identifying various
      options that he considered might be adopted in relation to revenue recognition
      at this time: he was questioning whether to recognise revenue in Q1 2011 on the
      DiscoverTech transaction (which was, according to the Claimants, not entered
      into until early April 2011, but was backdated to 31 March 2011), or instead to
      recognise hardware revenue.

1078. The former course would have an advantageous effect on gross margin and
      earnings per share. If hardware sales were made and hardware delivered, the
      associated revenue had to be recognised. If a deal with or for Prisa had not been
      completed before the end of the quarter, there was no revenue to recognise.


1079. What, according to the Claimants, Mr Hussain was engaged on and seeking
      approval for was a ‘pick-and-choose’ approach to revenue recognition, reverse
      engineering their decision from the desired level of Q1 2011 aggregate revenue,
      gross margin and earnings per share, regardless of the underlying facts. Mr

         Welham had told the US criminal trial court that he was “troubled” by Mr
         Hussain’s suggestion that, two weeks after the end of the quarter, there was an
         open choice whether to defer recognition of revenue from the Prisa transaction
         or defer recognition of a hardware sale.

1080. In cross-examination, Dr Lynch stated that he did not accept that Mr Hussain
      was “saying that there’s necessarily a choice in all of this”. He suggested that
      there might be issues and a judgment to be made, for example, as to the reseller’s
      credit, or, in the case of the hardware, as to whether delivery had been accepted.
      However, this was not convincing: Mr Hussain certainly appeared to be offering
      a choice, making clear to Dr Lynch that they could do one thing (“defer prisa”)
167
   The Prisa deal was a VAR transaction entered into with DiscoverTech (as to which see paragraphs
591 to 707 of the Schedule of Impugned VAR Transactions) for which the licence fee payable was $3.6
million.


                                              Page 350
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 352 of 900
Approved Judgment                                                              HC-2015-001324
Mr Justice Hildyard


         or the other (“defer equiv low margin”). Dr Lynch said that he did not know
         whether he had a discussion with Mr Hussain following the email, but I accept
         that it is unlikely that, having raised the point with Dr Lynch, Mr Hussain would
         then have acted on his own.

1081. In any event, the Claimants submitted, the fact that Mr Hussain was presenting
      a choice for discussion is put beyond doubt by Mr Chamberlain’s email to Mr
      Hussain the following day, 12 April 2011, with the subject “Numbers”:


                      “Three options:


                      1)     recognize Prisa, defer $3.6m Hardware - $218.1m, 88%, 24.8c


                      2)     Defer Prisa, recognize $3.6m HW - $218.1m, 86%, 23.7c


                      3)     recognise BBC $1.6m, defer Prisa, recognize $2.0m HW -
                                $218.1m, 87%, 24.2c


                      Need to speak asap to lock this down. We announce in 9 days and if we
                      don’t stop moving I cannot deliver timetable.”


1082. The Claimants interpreted the “Three options” that Mr Hussain and Mr
      Chamberlain presented as being the following:

              (1) The first option was to recognise the Prisa VAR transaction and to defer
                  the equivalent amount of hardware revenue ($3.6 million), which would
                  result in total revenue for the quarter of $218.1 million, a gross margin
                  of 88%, with earnings per share of 24.8 cents.

              (2) The second option was to defer Prisa and instead recognise hardware
                  revenue of $3.6 million, which would result in the same overall revenue
                  ($216.1 million), but a lower gross margin (86%) and earnings per share
                  (24.8 cents) due to the hardware deals being loss-making.

              (3) The third option was to recognise a transaction with the BBC with
                  revenue of $1.6 million, again defer Prisa, but recognise hardware
                  revenue of $2 million, which would generate the same overall revenue,
                  but mean that gross margin and earnings per share were at 87% and 24.2
                  cents respectively.




                                              Page 351
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 353 of 900
Approved Judgment                                                                HC-2015-001324
Mr Justice Hildyard


         The need to decide between the options was emphasised by Mr Chamberlain’s
         concluding paragraph, in which he said that he needed to speak to Mr Hussain
         as soon as possible so as “to lock this down”.

1083. Shortly after sending his email to Mr Hussain, Mr Chamberlain forwarded it to
      Ms Gustafsson and Ms Harris, stating “These are the options and the impacts if
      he calls again” (emphasis added).

1084. Dr Lynch told me in cross-examination on Day 43 that this was not how he
      would interpret the “three options” email. As the BBC contract contained a
      services component where the customer had to inform Autonomy that
      milestones had been met, he thought it may well be that Mr Hussain and Mr
      Chamberlain were trying to get the milestone confirmation out of them. He
      added:

                      “What Mr Hussain I think is doing is saying: this is the minimum ways,
                      but obviously we could end up in a situation where we get
                      confirmation from the BBC, the VAR pay us some money and we can
                      take that, in which case we have the upside.

                      I don’t think there’s an idea that these things are completely moveable
                      parts. Some are judgement, but some aren’t.”


1085. Dr Lynch was further cross-examined on this aspect a few days later (Day 52).
      By then, he seems to have felt able to be more certain and more specific,
      although he was a little unclear whether he was aware at the time and could now
      remember these matters from that time, or whether they were reconstructions
      from documentation he had seen, or whether he had gathered the information
      from emails or other such sources. He clarified that he did not have “an explicit
      memory of it” but the best he could do to explain his source was to refer to an
      email he thought he had seen “where there was a discussion of the fact that
      there were multiple purchase orders and what they were going to do” and
      “some sort of email that was sent to me about which deal was going to be taken
      or not”.

1086. When further cross-examined on this issue, he asserted that “The BBC was an
      acceptance issue” and that Dr Menell was talking with someone called Chris
      Westmacott at the BBC “to get them to sign off on and acceptance within the
      quarter”; and as to the multiple purchase orders issue he now clarified that
      DiscoverTech had submitted three orders in the same quarter, and “there was a
      judgment to be made about whether DiscoverTech’s credit was worthy of having
      three or two or one, or which of the two, and that decision had to be made”.
      He added that at the same time there were issues about whether all the necessary

         proof to meet acceptance criteria had been met and stressed that “this is part of
         the normal process that happens past the quarter end where all the paperwork
         and the terms and the evidence is reviewed.”



                                               Page 352
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 354 of 900
Approved Judgment                                                            HC-2015-001324
Mr Justice Hildyard


1087. I do not consider that I should place any substantial weight on Dr Lynch’s
      evidence as to particular factors which might have justified deferral of revenue
      recognitions. My impression was that his second, more detailed, version was a
      reconstruction worked out by Dr Lynch by reference to other witness statements
      and documents. There are echoes of (and it may be that Dr Lynch may have
      borrowed or half-remembered) Ms Gustafsson’s witness statement, where she
      stated that the “Three options” “email does not strike me as problematic”, and
      suggested that there may have been accounting judgements under consideration
      bearing upon what revenue could be recognised in the quarter.

1088. I do not consider Dr Lynch was knowingly misstating the position; but I do
      consider that he was trying to varnish his previous evidence on the same issue,
      and that the truth is that he had no reliable evidence to give of the actual events.
      In a way it is surprising that he even attempted to suggest otherwise: for his
      ultimate defence was that he was not involved in the deferral process, except as
      a recipient of and probably brief consultee on Mr Hussain’s email of 11 April
      2011 (see paragraphs 1076 to 1080 above), which (as explained below) he
      submitted was a report updating him as to different possible outcomes of
      deferral, rather than an invitation to choose between options.

1089. In general terms I accept that the final resolution of matters such as whether
      goods shipped have been duly delivered and accepted without objection, and
      whether revenue may properly be recognised accordingly, will take place in the
      days after the end of the quarter, and in the event of real doubt may take some
      time, as for example, Mr Bloomer confirmed, (and Mr Welham had, after much
      equivocation, and contrary to the impression he sought to give before me, also
      agreed when cross-examined in the US criminal proceedings). In my judgment,
      therefore, the Claimants’ supposition that everything should have been
      determined by the end of the quarter is unrealistic, given the typical end of
      quarter flurry; and the Claimants’ criticism of that process is misplaced. I also
      consider it likely that the decisions may be influenced in fact by the animus with
      which the issue is addressed: if more revenue is not required there may be,
      without real impropriety, a tendency to resolve any small doubt as regards the
      fundamentals such as time of actual acceptance in favour of the preferred result.

1090. Nevertheless, the question is whether in the particular context the exercise and
      delay were in fact occasioned by the need to check matters relevant to proper
      revenue recognition (“the fundamentals”), or whether the exercise was simply
      one of how best to manipulate the timing of revenue recognition without regard
      to those fundamentals, with the objective of improving Autonomy’s figures, and
      especially EPS. It is not an issue as to the ordinary process; it is a question
      whether (a) there was any doubt as to the fundamentals and (b) whether the
      cabal ignored the fundamentals and simply chose the best solution from the
      point of view of EPS.

1091. There was no documentary evidence to suggest any real doubt as to the
      fundamentals. In addition to the “options” emails, the email exchanges suggest
      that the figures given for hardware revenue change according to the objective



                                         Page 353
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 355 of 900
Approved Judgment                                                                  HC-2015-001324
Mr Justice Hildyard


         of increasing EPS whilst maintaining revenue growth, rather than by reference
         to any new emerging evidence or concerns. Thus, for example, the Claimants
         made the point that on 14 April 2011, Mr Hussain sent an email to Mr
         Chamberlain, Ms Gustafsson and Ms Harris, with the subject “Q1”, in the
         following terms:

                      “Apologies upfront for this, i wouldn’t be pushing if it wasn’t important:
                      Please could you look at:


              -       Any more maintenance revs (maybe $250k)

              -       Defer similar amount of low margin

              -       R&d capitalisation / Depreciation / bad debt / accruals of $750k

              -       Taxes - i wonder if you can hit 26.75% ($500k save?)

                      Does this get 25.6c?”


1092. There is no sign that any of this was being driven by any new evidence about
      fundamentals or revised accounting judgements: the plain focus is on getting to
      EPS of 25.6c.

1093. Perhaps a different slant might have been put on the matter had any of the three
      persons definitely and directly involved (Mr Hussain, Mr Kanter and Mr
      Chamberlain) appeared before me as witnesses; but none did. There was no
      documentation to support the theory, as Dr Lynch acknowledged. Mr
      Chamberlain did not mention any matters of accounting judgement in his email.
      Mr Sullivan, who would be the person most likely to know the operational
      details, was not copied in on the emails and was very definitely not invited to
      the “management meeting” (see paragraph 1075 above).

1094. I have concluded and find that the management meeting and the exchanges
      described, which smacked of decision-making by a clique or cabal of three (with
      Dr Lynch as the éminence grise) determined to and did choose between the
      options, not according to the fundamentals, but according to the objective of
      minimising any adverse financial effect of the loss-making hardware sales and
      maximising earnings per share.

1095. Had the issue been about ‘fundamentals’ it seems to me likely that the advice of
      Deloitte and approval of the Audit Committee might have been sought. It was
      not. None of the ‘cabal’ (or Dr Lynch) consulted or shared the issue or their
      decision with either Deloitte or the Audit Committee. I accept the evidence of
      Mr Welham and Mr Bloomer that neither was informed or aware that this had
      occurred.

Defendants’ involvement/knowledge


                                                Page 354
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 356 of 900
Approved Judgment                                                         HC-2015-001324
Mr Justice Hildyard


1096. Mr Hussain did not dispute that he well understood that this was not a choice
      properly open: if delivery had been completed the revenue arising had to be
      recognised. He did not need Deloitte to tell him that; and he was in a better
      position than they were to determine the matter. In his written closing
      submissions, Mr Hussain appeared to rely on a defence that the revenue was
      properly deferred and that this was confirmed by Deloitte’s approval. It was
      submitted that Deloitte checked every major sale as part of its quarterly and
      annual audit testing and had never identified any revenue which was improperly
      deferred. However, Deloitte were obviously not party to the cabal, or aware of
      it; and it is not clear what they were told from time to time about what I have
      called the fundamentals. I do not think any such defence avails Mr Hussain.

1097. Except for Mr Hussain’s email of 11 April 2011 (see paragraph 1076 above)
      setting out the varying effects (Dr Lynch said “possible outcomes”) according
      to whether the Prisa transaction or the “equiv low margin” were to be deferred,
      none of the other emails was sent or copied to Dr Lynch, and he was not at the
      meeting of the cabal of three. He was adamant that he would have played no
      role in such decisions. He felt able to offer his understanding of the process in
      general terms, supplemented by his reading of the documents for the purpose of
      his evidence; but his evidence was that he was not involved in any of the details
      of such matters at the time.

1098. Ms Harris confirmed, when she was cross-examined, that Dr Lynch was not
      really involved in this level of detail; but this was a somewhat generalised
      statement, and, for example, she accepted that she had no way of knowing
      whether Dr Lynch and Mr Hussain had discussed the decision between options
      presented in Mr Hussain’s email. Dr Lynch himself was less than certain in this
      regard: he told me that he did not know “if [he] would have done or not”.

1099. I have described Dr Lynch earlier as the éminence grise of the clique or cabal.
      It seems to me most unlikely that he did not discuss the options carefully with
      Mr Hussain, especially since Mr Hussain had expressly asked for such a
      discussion. In any event, this was not the sort of decision Mr Hussain would
      have made without Dr Lynch’s approval. For reasons to which I turn and
      elaborate when discussing later all the instances of backdating and the issue of
      what Dr Lynch knew about them, I consider that Dr Lynch was aware that Mr
      Hussain would take steps necessary to ensure recognition of revenue or not
      according to the election made, and that this would depend on whether the
      revenue was needed in the previous quarter to make up a shortfall, or was better
      reserved for the subsequent quarter. It may be that Dr Lynch did not know how
      the election would be documented, and it is possible that Mr Hussain did not
      refer back to Dr Lynch before finalising that (the die having already been cast),
      but I cannot accept that Dr Lynch was not aware that the decision was going to
      be made on the basis not of chronological truth but revenue need, and that if the
      latter prevailed, any documentation of the decision would be false. I consider
      and find that Dr Lynch (a) discussed the matter with Mr Hussain (b) was party
      to and/or approved the decision ultimately made and (c) knew that the choice
      made involved dishonest backdating and the improper deferral of low margin



                                        Page 355
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 357 of 900
Approved Judgment                                                          HC-2015-001324
Mr Justice Hildyard


         revenue in Q1 2011, falsifying Autonomy’s accounts and published
         information.

1100. In my view, that is the more likely pattern of the events in question; but it is
      reinforced by my general view that no decision of real substance regarding
      revenue recognition was done without Dr Lynch’s approval.

Q2 2011

1101. The hardware sales goal for the whole of 2011 set in early January 2011 was
      $110 million (as part of an aggregate target revenue of $978 million). This had
      been revised later in January: on 26 January 2011 Mr Hussain had sent Dr Lynch
      a further spreadsheet with revised targets for overall revenue of $975 million (a
      reduction of $3 million) and for hardware (described as “strategic sales”) of
      $97 million (a reduction of $3 million also, so that the entire reduction was to
      come from reduced hardware sales). That same spreadsheet had targeted
      “strategic sales” of $30 million for Q2 2011.

1102. The hardware sales goal was then revised down to $27.5 million at the beginning
      of Q2, as recorded in an email from Mr Hussain to Dr Lynch on 9 April 2011.
      At some point in May or early June it was further revised down to $25 million:
      it was a difficult quarter for hardware sales. That target too proved to be
      unattainable, and in the end, Autonomy recognised revenue from hardware
      reselling totalling $20.8 million for Q2 2011 (compared to $20.1 million in the
      previous quarter).

1103. As before, most of the hardware business this quarter was done through Dell in
      the usual way, with Autonomy acting as reseller. The pattern was much the same
      as in previous quarters, but the following points were singled out by the
      Claimants as further demonstrating their case that the only true objective of
      these sales was revenue, and not the promotion of Autonomy's software business
      (which is not mentioned in the relevant correspondence).

1104. First, the Claimants submitted that a good illustration of the typical way in
      which these deals worked can be seen from an email chain relating to a
      transaction involving Dell (as hardware supplier), Autonomy (as reseller) and
      an insurance company called Progressive (as end customer):

              (1) On 2 March 2011, Autonomy quoted for the supply of certain Dell
                  hardware to Progressive.

              (2) Three months later, on 2 June 2011, Dell informed Autonomy that they
                  had “ended up losing this round”, but that:
                         “They have another potential purchase coming up later this
                         month. Will you be able to participate? They told me we are
                         close on your pricing. I would imagine that another $25 off
                         will win the business. This order may be for approximately
                         2000 systems.”



                                         Page 356
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 358 of 900
Approved Judgment                                                              HC-2015-001324
Mr Justice Hildyard




              (3) Thus, it was Dell rather than Autonomy that was dealing with
                  Progressive; indeed, Autonomy had no knowledge of the deal. It was
                  Dell that was seeking to make the sale. Dell invited Autonomy to
                  participate in the deal, for its benefit: Autonomy was to be interposed
                  into the deal and its involvement limited to funding the discount so as to
                  make Dell’s bid more attractive.

              (4) Mr Jorge Salazar, an Autonomy Contracts Manager, responded the same
                  day to say that he was sure that Autonomy could “make ourselves
                  available to participate on a new bid”, but that the decision lay with Mr
                  Sullivan who he copied to his email.

              (5) On 3 June 2011, Mr Sullivan enquired as to the total deal value and
                  timing of the orders. He made clear that Autonomy’s willingness to
                  increase the discount depended on it being able to count this hardware
                  sale as revenue in Q2 2011. Mr Sullivan concluded: “We can only get
                  more aggressive if the orders come by June 30”.

              (6) There is nothing to suggest that Mr Sullivan displayed any interest in
                  using the prospective hardware sale as a way of promoting a related
                  software sale to Progressive: it would appear that he was entirely focused
                  on what he had described as his “small side business”.

1105. Secondly, the push to secure revenue in Q2 2011, with undisguised emphasis
      on the need for revenue without reference to any other objective, was directed
      from the top. So, for example, on 1 May 2011, Dr Lynch informed Mr Egan and
      Ms Eagan that they both “must be focused on this Q revenue now and NOTHING
      else”.

1106. Thirdly, when Mr Sullivan, after being pressed by Mr Hussain by email dated
      10 June 2011 whether it was “still on for 25m?”, replied negatively, citing “Way
      more moving parts than normal at this time of the qtr”, complaining that “We
      were tied to a lot of deals, but Dell keeps losing them”, and stating that “I don’t
      see a way to get to $25 without absolutely everything coming in on time which
      is a longshot”, Mr Hussain the next day reported to Dr Lynch somewhat
      hysterically that Mr Sullivan was “backtracking on his commitment of $25m”
      and “being slippery”. This arguably illustrated that Dr Lynch was very much
      involved, and that Mr Hussain (who had on 28 May 2011 told Dr Lynch that
      “Low margin should hit $25m…”) was increasingly desperate both to please
      him and avoid blame.

1107. Fourthly, the Claimants cited also Mr Hussain’s reaction which was to increase
      the target for pure hardware revenue. He directed Mr Sullivan to generate $29
      million of pure hardware revenue: “As you know this is a key quarter. So what
      we need from you is as follows: … Low margin $20.5m net new ($8.5m done
      already, you need to close Morgan Stanley and JPMC)”. In order to provide an
      additional incentive, he offered Mr Sullivan a $50,000 “spiff” (i.e. bonus) if he


                                            Page 357
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 359 of 900
Approved Judgment                                                              HC-2015-001324
Mr Justice Hildyard


         achieved this goal as well as a goal of $12 million of new licence revenue. Dr
         Lynch accepted that he and Mr Hussain offered Mr Sullivan this bonus in the
         hope that he (Mr Sullivan) might be able to land further hardware deals so as to
         reach the increased revenue target.

1108. Fifthly, the email reports seem to indicate the compulsive focus, with ever
      changing forecasts, and collapses met with immediate offers of further
      incentives, despite the cost, and without any sign of any measurement against
      benefit in terms of anything other than revenue. Thus:

              (1) On 16 June 2011, Mr Hussain informed Dr Lynch that the “low margin”
                  deal with JP Morgan “was strong again yesterday so 20m total should
                  be achievable”.

              (2) On the same day, Mr Hussain sent a spreadsheet to Ms Gustafsson
                  asking that she “have a look at the low margin and the management sheet
                  and check closed deals”. The attached spreadsheet contained a tab
                  labelled “Sullivan”, which detailed hardware deals. Row 40 in that
                  spreadsheet noted that Autonomy should “consider throwing some
                  incentive at JPMC to place $10m in orders before June 30 – an extra
                  1%...?”.

              (3) Two days later, on 18 June 2011, Mr Hussain provided Dr Lynch with a
                  further update, stating that the JP Morgan hardware deal was “difficult
                  again – likely $16m to $17m”. By this time, Mr Hussain was projecting
                  $24 million of hardware revenue in the quarter of which $18 million was
                  “new”: see the fourth entry in the table.

              (4) On 25 June 2011, Mr Hussain sought an update from Mr Sullivan,
                  including in relation to “Low margin”. Mr Sullivan’s response set out
                  the “reselling” deals that had been secured and the status of the deals
                  that were still in the pipeline. He identified a likely deal with Morgan
                  Stanley/Hitachi for $2 million, stating that it had “[r]educed $ this week
                  but is coming in”. He reported that he was trying to secure a hardware
                  deal with BofA by “[g]iving some extra incentive to get [it]”.

              (5) On 29 June 2011, Mr Sullivan informed Mr Hussain that, “Out of left
                  field”, the Morgan Stanley deal had gone away. Mr Sullivan forwarded
                  an email chain from Hitachi, which recorded that “Morgan will not be
                  doing the deal through Autonomy or Direct. They now want to trade in
                  other equipment”. Mr Hussain’s response to this news was “Shit”.

              (6) On 30 June 2011, Mr Hussain provided Dr Lynch with an update on the
                  “state of play”, listing out deals which it was hoped would still close
                  before quarter end.




                                            Page 358
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 360 of 900
Approved Judgment                                                              HC-2015-001324
Mr Justice Hildyard


              (7) As it was, as previously explained, Autonomy recognised revenue from
                  pure hardware sales totalling $20.8 million, thus falling materially short
                  of its target.

1109. In the round, the Claimants submitted that this pattern demonstrated that the
      objective was plainly to produce reportable revenue, with no sign or evidence

         to support the Defendants’ case that the purpose was a marketing one designed
         to drive software sales.

1110. In the event, for Q2 2011, Autonomy recognised revenue from what the
      Claimants categorised as “pure” hardware sales totalling $20.8 million out of a
      total reported revenue of $256.3 million, beating the market consensus estimate
      of $250.5 million.

1111. The Claimants’ case was that if revenue from transactions impugned by them
      (i.e. from hardware sales, impugned VARs, improperly accelerated Hosting
      revenue and improper “Other” transactions) only some $190.5 million revenue
      was achieved (a miss of some 24% on consensus estimate).

Q3 2011

1112. Although their hardware claim relates to the period from Q3 2009 to Q2 2011,
      the Claimants referred also to the continued focus on hardware sales to achieve
      revenue forecasts and to evidence of exchanges in Q3 2011 and at the time of
      the HP acquisition as providing further support for their case.

1113. Thus:

              (1) On 27 July 2011, Mr Hussain sent Mr Sullivan an email headed “low
                  margin sales” asking “What is your expected number for this q. As usual
                  i will need $25m”. Mr Sullivan replied that he was “on it” and that there
                  was “Lots of good stuff in the works”.


              (2) On 18 August 2011, the day that HP’s acquisition of Autonomy was
                  announced, Mr Sullivan forwarded an email to the Defendants saying:

                         “Getting bombarded with calls from Dell and EMC. I have a lot
                         lined up with Dell. Given the competitive situation, I will need
                         guidance. I have committed to a lot of Q3 reselling revenue. I
                         assume I keep going… There are deals lined up in future qtrs
                         as well” (emphasis added by the Claimants).


1114. There is no hint in any of this of any marketing purpose; the focus is entirely on
      the production of recognisable revenue.




                                            Page 359
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 361 of 900
Approved Judgment                                                             HC-2015-001324
Mr Justice Hildyard


1115. Following the completion of the Autonomy acquisition (on 3 October 2011), Mr
      Sullivan emailed Dr Lynch and Mr Hussain (on 11 October 2011) stating, “I am
      still taking reselling orders from Dell. Do you have a reselling revenue goal for
      the quarter (through Jan)?”. On 7 February 2012, Mr Sullivan stated that the
      hardware deals were to continue for the time being as “MRL still wants the
      revenue for now”. Again, these emails simply confirm what is already apparent
      from the material set out above, namely that the purpose of the pure hardware
      sales was to generate revenue.


1116. In a rather different vein, the Claimants referred to representations made by Dr
      Lynch before and at the time of the acquisition which they contended
      demonstrated the extent to which the hardware reselling strategy was kept quiet,
      and Autonomy was presented as being differentiated by its exclusive focus on
      software sales.

1117. In particular, they cited (a) a copy of a Q&A script posing and answering
      questions which might be put by the press on announcement of the acquisition,
      which Autonomy prepared and shared with HP on 17 August 2011 (which was
      the day before the acquisition) and (b) a rebuttal prepared by Dr Lynch to a
      negative description of the HP acquisition in an article in the ‘eDiscovery
      Journal’ which was sent to him in draft. As to this:

              (1) In the Q&A script, Question 31 was “What is the product fit between the
                  businesses?”, to which the planned response was “Perfect fit, no overlap.
                  Barcelona [HP] is a hardware and IT Services business and Arsenal
                  [Autonomy] is a pure software company”. Dr Lynch reviewed earlier
                  drafts of the script that contained this planned answer. The Claimants
                  cited this as demonstrating a contrast of what was to be stated then and
                  the case now being advanced by the Defendants: then, the distinction
                  was being drawn between HP as “a hardware and IT Services business”
                  on the one hand and Autonomy as “a pure software company” on the
                  other. The assertion that there was “no overlap” between the two
                  companies was designed to reinforce the message that Autonomy was
                  not a company engaged in the sales of hardware.

              (2) E-Discovery Journal was planning to publish a negative description of
                  the HP acquisition, which it shared with Autonomy in draft prior to
                  publication. Dr Lynch took umbrage in relation to the draft, describing
                  it as “a real mess of rumor [sic] innuendo and incorrect technical
                  comments”. He produced what he called a “rebuttal”, which he shared
                  with others within HP and Autonomy. This contained a section headed
                  “Product rationalisation and overlap”, which stated as follows
                  (emphasis added):

                        The report poses the question:




                                           Page 360
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 362 of 900
Approved Judgment                                                               HC-2015-001324
Mr Justice Hildyard


                           What is the go-forward plan for product rationalization, both
                           within the Autonomy portfolio and between the Autonomy and HP
                           portfolios?

                            But none of this is analysed either in the report, which instead
                            makes vague references to product overlap. In fact there is very
                            little overlap which is why the acquisition makes so much sense.
                            The eDiscoveryJournal seems to deliberately shy away from
                            stating the obvious: that HP is primarily a hardware company and
                            Autonomy is a pure software business.”


(7) Incentivisation of Mr Sullivan purely by reference to hardware sales revenue

1118. The Claimants also relied, as being consistent with and demonstrative of the
      Defendants focus on pumping revenue from loss-making hardware reselling, on
      the fact that in Q3 2009 and various subsequent quarters the Defendants pressed
      and incentivised Mr Sullivan to achieve revenue targets by offering bonuses
      calibrated by reference to revenue, without any suggestion of any regard being
      had to the identity of the customer, its IT needs or the volume of any sales of
      Autonomy software that might flow from hardware sales.

1119. These bonus targets and promises started from the first quarter of the
      programme, and continued throughout the Relevant Period. Thus, in respect of
      Q3 2009, Autonomy agreed to pay Mr Sullivan what was described by Mr
      Hussain in an email to Mr Sullivan dated 15 September 2009 as “a special
      $200,000 bonus” for delivering $30 million of recognisable revenue by 30
      September 2009, with a promised supplement of another $100,000 “should you
      manage to get to $50m of recognisable revenue”.

1120. Similarly calibrated and very handsome bonus payments were promised and
      made to Mr Sullivan in subsequent quarters, with no stipulation or even mention
      on any occasion of any required correlation of hardware sales to software sales
      or contacts.

1121. The Claimants pointed out also that none of these bonus payments was revealed
      to Deloitte or the Audit Committee, nor was the fact that they were promising
      incentives calibrated by reference to hardware sales targets.

1122. In their written closing submissions, the Claimants contended that if the purpose
      of the hardware sales was as the Defendants contended:

                      “…it is incomprehensible that Mr Sullivan was promised bonuses –
                      which were also concealed from Deloitte and the Audit Committee –
                      by reference to one, and only one criterion: namely, the level of
                      hardware revenue he generated, regardless of the identity of the
                      hardware purchaser, the terms on which it transacted or the need for
                      any software purchase to eventuate, let alone even be contemplated.”



                                              Page 361
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 363 of 900
Approved Judgment                                                                         HC-2015-001324
Mr Justice Hildyard


1123. The Claimants suggested that it would have been perfectly straightforward and,
      on the Defendants’ case, more logical – to tie Mr Sullivan’s bonus payments to
      some other measurable standard, such as the volume of software purchases
      entered into by customers who also bought discounted hardware from
      Autonomy; and that the reason why it was tied to hardware sales only was
      because in reality that was the only target he or Autonomy ever had.

1124. Dr Lynch sought to counter this on the basis that the calibration by reference to
      revenue only was simply to ensure clarity. In cross-examination, Dr Lynch
      suggested that the bonus compensation168 had necessarily to be set by reference
      to “recognisable revenue” so as to ensure that it was measurable by reference

         to “a clear target”. In his written closing submissions, Dr Lynch submitted that
         any other criterion would have been unworkable, or likely to lead to dispute. 169
         Dr Lynch added that it was in his view “inherent” that the revenue achieved
         would be referable to the protection and/or promotion of the software business
         because otherwise Autonomy would not have agreed to participate in the
         revenue-raising hardware transaction in the first place.

1125. Dr Lynch’s explanation struck me initially as plausible; and Mr Sullivan’s
      evidence in the US criminal proceedings was also in line with it. However, the
      fact remains that if protection and promotion of the software business was truly
      the underlying objective, the omission of any mention, still less provision, for
      Mr Sullivan to prioritise customer and hardware sales according to their
      propensity to engender software sales is notable; as is the complete absence
      from the correspondence of so much as a whisper of encouragement of such a
      priority.

1126. Dr Lynch’s suggestion that it was “inherent” in Autonomy’s ability to decline
      any Dell transaction that sales would be confined to existing or strongly
      prospective customers was untested since he could offer no concrete example
      of a transaction proposed by Dell having been declined; in any event, it simply
      amounted on analysis to an assumption that Mr Sullivan would put aside the
      temptation of greater sales and a larger bonus by reference to the unstated
      objective. Furthermore, Dr Lynch’s suggestion of an “inherent” filter begged
      the question why it was not quite easily and clearly made express.

1127. Again in passing, since this too is more conveniently elaborated when I address
      later the question whether the Defendants misled Deloitte and the Audit
      Committee, it is to be noted that Mr Hussain’s email dated 15 September 2009
      promising Mr Sullivan bonuses for obtaining recognised revenue also promised
      a further:

168
   Or ‘spiff’. Dr Lynch also made the point that Mr Sullivan was also rewarded for software sales.
169
   Dr Lynch did not elaborate what disputes he had in mind; but it seems to me that they could have
included issues as to what time lag between one purchase and the other should be permitted, how
prepurchases of software in advance of hardware sales might be treated, or whether any account should
be taken of customer retention by virtue of the other advantages to existing customers of dealing with a
single supplier for all IT needs.


                                                Page 362
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 364 of 900
Approved Judgment                                                                 HC-2015-001324
Mr Justice Hildyard


                      “special bonus of $50,000 if you are able to extract an email that
                      allows us to allocate the associated costs appropriately in my
                      opinion”.

1128. This was, the Claimants suggested, an extraordinary provision, which tied Mr
      Sullivan into trying to get some form of email from EMC sufficient to present
      their arrangements in such a way as to justify part of the sums paid to EMC as
      referable to marketing and expenses (and see further paragraphs 1272 to 1284
      below). It is noteworthy also that the payments were to be made only after the
      auditors had signed off the Q3 results (then expected in the third week of
      October): demonstrating the concern that Deloitte had to be persuaded that the
      accounting allocation was correct.




1129. In the event, the conditions were satisfied (though Autonomy restricted the first
      part of the bonus to $200,000 and refused Mr Sullivan’s request to pay a further
      pro rata amount to reflect the higher recognisable revenue in fact achieved). By
      email of 11 November 2009, which had been approved in draft by Dr Lynch,
      Mr Hussain confirmed the arrangements (though no Porsche) and put forward
      further bonus arrangements for Q4 2009, as follows:

                      “Hi Mike
                      Apologies for the delay in my response. Whilst the email [earlier in the
                      thread] was clear in that there were 2 distinct triggers for the EMC
                      deals ($30m and $50m), given the out performance in Q3 here’s what I
                      would propose:

                      1.     You receive $200,000 for delivering $30m of recognizable
                             revenue in Q3
                      2.     You receive $50,000 for extracting the necessary written
                             confirmation for allocation of costs signed off by the auditors
                      3.     For Q4 for newly contracted and recognized appliance related
                             revenue from EMC, and HDS and Dell amounting to $15m
                             $10m (excludes any HDS / MS revenues) you will receive
                             $150,000 $100,000 plus an additional linearly calculated
                             commission from Q3 of $54,000 (see below for calculation).
                             This will require the necessary confirmations for the allocation
                             of costs and also inclusion of Autn software in the sale as we
                             have already discussed.
                      4.     For additional Q4 contracted and recognized revenue from
                             EMC, HDS and Dell (excluding OEM related revenue)
                             amounting to a further $15m $10m you will receive an
                             additional $150,000 $100,000.

                             The usual Autn ts and cs apply and good luck! I will get the
                             cheque cut tomorrow on this basis



                                               Page 363
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 365 of 900
Approved Judgment                                                                 HC-2015-001324
Mr Justice Hildyard




                             Regards Sushovan.”


1130. That also serves to illustrate that the bonuses were by no means insubstantial:
      for Q3 2009, gross $250,000 ($200,000 for delivering recognisable revenue in
      excess of $30 million plus the ‘special bonus’ of $50,000); and a further
      $100,000 in Q4 2009 if revenue from hardware exceeded $10 million (excluding
      OEM-related revenue). (I was not provided with the details of every promise or
      payment, but note, for example, that for his “good job” including in relation to
      hardware sales in Q3 2010 he was promised $50,000 , and for Q2 2011 a further
      $50,000).

1131. The following evidence in Mr Welham’s witness statement relating to the
      $50,000 ‘special bonus’ was not challenged:

                      “I was not aware of the existence of this bonus at the time of our audit
                      and review work. I have never known of a situation in which an
                      employee of one of our audit clients has been offered a financial
                      incentive to obtain documentation to support representations being
                      made by management to the auditor as to what should be the
                      appropriate accounting treatment. Had we been made aware of this
                      bonus arrangement at the time, we would have asked questions of
                      management in relation to the rationale for the bonus.”

1132. As a consequence, it would not have been raised by Deloitte with the Audit
      Committee and, accordingly, the Audit Committee would have been unaware
      too.

1133. In summary, the structure and calibration of Mr Sullivan’s incentive
      arrangements were, at the least, entirely consistent with the Claimants’ case,
      even if not in isolation probative of it. They add to the indications that the
      hardware reselling strategy was carried on without ostensible regard to any
      measured benefit to the software business. The fact (as I find it to be) that the
      incentive payments were never revealed to Deloitte or the Audit Committee
      reinforces that view.

(8) No documentary evidence that discounted resales of hardware were used as a
    bargaining chip

1134. It may be recalled that an important element of the Defendants’ justification for
      the hardware reselling strategy was the evidence of Mr Sullivan in the US
      criminal proceedings, and of Mr Egan in those proceedings and in this action,
      to the effect that they always understood that the principal purpose of the resale
      of discounted hardware was (as Mr Keker, Mr Hussain’s counsel in the US
      criminal proceedings, put it when cross-examining Mr Sullivan) to build “a
      bigger share of the financial market and use discounted hardware as a means
      to that end” (see paragraphs 726 and 743(1) above).


                                               Page 364
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 366 of 900
Approved Judgment                                                                        HC-2015-001324
Mr Justice Hildyard




1135. The Claimants relied on the documentary material in evidence to counter the
      Defendants’ case based on that evidence (whilst, of course, maintaining the
      argument, which I have in the event accepted, that the understanding of both Mr
      Sullivan and Mr Egan was really based on what they were told by the
      Defendants). They submitted that there was nothing in the documentary
      evidence to suggest that either the marketing department or even those in
      Autonomy’s sales team (apart from Mr Sullivan, and to some extent, Mr Egan)
      had any knowledge of the hardware sales; and that in any event, there is no
      contemporaneous documentary evidence to suggest that the discounted resales
      were ever used as leverage in promoting and negotiating the terms of software
      sales.

1136. Further, in at least some of the documented arrangements (see the Zones
      transactions below) the contractual arrangements were structured to seek to
      ensure that the end-user (a long-standing customer of Dell) did not and never
      could find out about Autonomy’s subsidy and involvement.

1137. The Claimants submitted that this made a mockery of the purported justification
      of the programme as a loss-leader for marketing purposes, as does the basic fact
      that (a) hardware reselling targets were fixed by reference to market
      expectations of overall quarterly revenues and (b) hardware reselling was,
      within the overall target, increased or decreased by reference to Autonomy’s
      success or failure in selling software offerings in that quarter.

1138. They elaborated on this in submitting that had sales of hardware really been
      designed to drive software sales, matters would have looked quite different, and
      there would have been (as Mr Rabinowitz put it in his oral closing) “if not
      mountains of documents, at least some pile of documents, at least an anthill’s
      worth of documents” to show (for example) continuing cost/benefit analysis,
      consultation with the salesforce as to the impact of offering discounts, selection
      of customers according to likely requirement for hardware and software, and
      some form of input from the marketing department; but there was “no such
      thing”.

1139. As the Claimants noted in their written closing submissions, there is not a single
      email or document in evidence passing either to or from Ms Nicole Eagan,
      Autonomy’s Chief Marketing Officer, to suggest that either she or anyone else
      reporting to her had any knowledge of, or involvement in, this supposedly
      important and cost effective marketing strategy. Ms Eagan was not called as a
      witness either and the witness statement she had made (giving a London
      address) was withdrawn. 170 In the recitation of the chronology, I noted Ms
      Eagan’s involvement only once in this context: this was that she was one of the


170
   Ms Eagan was one of those (with Mr Kanter and Dr Menell, and also Ms Orton) who joined Invoke
Capital in May 2012 after leaving Autonomy. She was co-CEO (with Ms Gustafsson) of Darktrace
prior to its IPO with particular responsibility for the marketing side of the business. She is now the
Chief Strategy and AI Officer at Darktrace. She has always been based in the United States.


                                                Page 365
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 367 of 900
Approved Judgment                                                               HC-2015-001324
Mr Justice Hildyard


         two recipients (Mr Egan being the other) of Dr Lynch’s email on 1 May 2011
         stating:

                      “Folks, you two must be focused on this Q revenue now and NOTHING
                      else” (see also paragraph 1105 above).

1140. Mr Egan’s evidence in this context was that although he was aware of the
      hardware reselling strategy, even he generally did not know which companies
      had purchased hardware from Autonomy or how much third-party hardware was
      being sold. In a passage of his witness statement from which I have previously
      quoted in part in paragraph 766 above, he illustrated this by reference to a
      particular transaction with Bank of America, as follows:

                      “I was involved in making this type of hardware sale when Autonomy
                      first began this practice in Q2 2009, but was involved only
                      occasionally thereafter. To my knowledge, Mike Sullivan, the CEO of
                      Autonomy Zantaz, was tasked by Dr Lynch and Mr Hussain with
                      managing most of the hardware reselling. I was more tasked with
                      selling software licences. As a general matter, I did not know which
                      companies had purchased hardware from Autonomy or how much


                      third-party hardware was being sold. When I was involved in selling
                      software licences to end-users, I usually did not know whether
                      hardware had been sold to that end-user and when I was not involved
                      in, or aware of, a hardware sale I did not use the fact of a prior or
                      contemporaneous hardware sale to promote the software sale that I
                      was trying to make. For example, I discuss below a very large software
                      licensing and data hosting transaction with Bank of America that I was
                      closely involved in and which we eventually executed in Q1 2011. I did
                      not know at the time, but have since been informed, that in 2010
                      Autonomy resold, at a loss, more than $30 million of Dell hardware to
                      a reseller called SHI whom in turn, on-sold the hardware to Bank of
                      America. Had I known about this at the time, it might well have been
                      useful information in our discussions with Bank of America. However,
                      I did not know about it, and I never heard Dr Lynch or Mr Hussain
                      refer to these hardware sales during our extensive negotiations with
                      Bank of America.”



(9) Three illustrative transactions where marketing was no part of the purpose


1141. The Claimants put forward three examples to illustrate and support their
      proposition that the hardware reselling strategy cannot really have been
      conceived of as a marketing programme because it is the essence of a loss leader
      marketing strategy that the purchaser should know who covered the loss, and



                                              Page 366
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 368 of 900
Approved Judgment                                                             HC-2015-001324
Mr Justice Hildyard


         Autonomy’s salesmen did not have that knowledge, and certainly did not deploy
         it as a ‘bargaining chip’.

1142. The examples were (1) a transaction with BofA (2) a transaction with Citibank
      and (3) various transactions via Zones Inc (to H&R Block, Target and Oracle).

BofA

1143. Mr Egan’s evidence in relation to the Bank of America (which was not directly
      challenged in cross-examination) was corroborated by the evidence of Mr
      Reagan Smith, who ran BofA’s procurement team for software purchases. Mr
      Reagan Smith did not give evidence before me, but his evidence in the US
      criminal proceedings was admitted into these proceedings by a hearsay notice
      issued by the Claimants. That evidence was to the effect that he was not aware
      of any hardware sales by Autonomy to BofA (or to SHI) and that, in the course
      of the negotiations with Autonomy, neither Mr Egan nor Mr Scott (who he said
      were the individuals principally involved for Autonomy) or Mr Hussain or Mr
      Krakoski (who had responsibility for sales to BofA) or anyone else raised the
      hardware sales as a selling point in any way.

1144. More generally, the Claimants submitted that:

         (1) The documentary record disclosed no evidence of a reference to a prior sale
             of hardware in any sales pitch made to any software company.

         (2) If a marketing strategy had existed, senior management within Autonomy
             would have ensured that, if nothing else, the hardware deals were widely
             publicised within the software sales team so that they could be used to secure
             software sales.

1145. Against this, Dr Lynch told me in cross-examination that Mr Egan did in fact
      know that Autonomy “had a history of selling hardware to Bank of America
      and that’s covered in some documents”, and referred in support to an email from
      Mr Egan to Mr Hussain dated 23 December 2009 in which Mr Egan expressly
      referred to the Morgan Stanley Dell reseller deal (for hardware) being done “on
      a lost [sic] leader basis by Autonomy”.

1146. Dr Lynch also relied on his own evidence (in his supplemental witness
      statement) to the effect that he had “several private conversations” with
      another more senior director of BofA, Mr Simon Mackenzie-Smith (“Mr
      Mackenzie-Smith”, then head of BofA in London) when he:

                      “sought Mr MacKenzie-Smith’s assistance in encouraging the bank’s
                      procurement team to prioritise the deal, [and] emphasised that
                      Autonomy was a big supplier of software and hardware to the bank.”




                                             Page 367
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 369 of 900
Approved Judgment                                                                        HC-2015-001324
Mr Justice Hildyard


1147. This issue developed some importance, both as a microcosm of the larger
      disparity in the context of the hardware sales between Dr Lynch’s oral evidence
      and the documentation, and in terms of credibility.

1148. The Claimants urged me to reject Dr Lynch’s evidence that he had sought to
      deploy the discounted hardware sales in support of the software sales: it was
      unsupported by documentation or by any witness evidence from Mr
      MackenzieSmith, had not been referred to in any communication in the period
      and had not been mentioned by Dr Lynch in his first witness statement. In his
      first witness statement, Dr Lynch had mentioned that he had spoken to Mr
      Mackenzie-Smith but had made no mention at all of any hardware deals, still
      less their use as leverage:

                      “In Q4 2010, I spoke with high-level contacts at Bank of America
                      (namely Simon MacKenzie-Smith, who I believe was the head of Bank
                      of America in London, and Mr Thomas Fakhouri) to seek their
                      assistance in encouraging the bank s procurement team to prioritise the
                      direct deal, in the hopes of closing the deal within the quarter”.


1149. In cross-examining Dr Lynch, Mr Rabinowitz deployed as his anvil the disparity
      between his first and second witness statements, and also (a) that Mr Egan had
      claimed that in late 2010, when he was negotiating the software deal with
      BofA’s Mr Reagan Smith, neither he nor (as far as he was aware) Mr Reagan
      Smith had any awareness that Autonomy had sold discounted hardware to Bank
      of America171, and so obviously he had never thought to use that as leverage,


         and (b) more specifically, that not only did Mr Egan say that he did not know of
         the hardware sales to Bank of America, but also that he had “never heard Dr
         Lynch or Mr Hussain…refer to these hardware sales during our extensive
         negotiations with Bank of America.”

1150. Mr Rabinowitz took Dr Lynch through a series of emails between Dr Lynch and
      Mr Mackenzie-Smith at this time which demonstrated that Dr Lynch was trying
      to enlist Mr Mackenzie-Smith to cut through some bureaucratic impediments
      which were delaying the software transaction (which involved a hosting
      restructuring) but in which there was no mention or reference to any parallel
      telephone conversations. Mr Rabinowitz repeatedly put to Dr Lynch that if there
      had been parallel telephone conversations between them in which Dr Lynch had
      sought to use the hardware sales as further leverage, there would surely have
      been some reference to them in that chain of email correspondence.

1151. Dr Lynch displayed uncharacteristic irritation in answering these questions, and
      sought to dismiss the suggestion that he had no such discussions as
      “unrealistic”, on the basis that in a one-to-one conversation between people as

171
   Autonomy had resold, at a loss, more than $30 million of Dell hardware to SHI (as reseller) who, in
turn, on-sold to Bank of America.


                                                Page 368
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 370 of 900
Approved Judgment                                                                HC-2015-001324
Mr Justice Hildyard


         senior as they were it was inherently likely that Dr Lynch would have sought to
         deploy such an argument, and correspondingly unlikely that either would have
         recorded the private discussion in any formal record or note.

1152. In the absence of any evidence (oral or written) from Mr Mackenzie-Smith, I
      have had to reach a view on the basis of (a) my appreciation of Dr Lynch’s oral
      evidence, (b) the points made by the Claimants about the lack of any reference
      to these conversations in the first round of evidence and (c) the content and tone
      of the email exchanges.

1153. I have concluded that in the general way of things it is more likely than not that
      Dr Lynch made some passing remarks about the previous relationship and
      discounted sales; but not in a way that caused Mr Mackenzie-Smith to treat it as
      a sufficient consideration to influence the decision or mention the matter to
      BofA’s negotiator Mr Reagan Smith.

1154. In a sense, Dr Lynch’s version of the discussions in his second witness statement
      tells against his case that the hardware sales were a potent and successful
      marketing tool. The fact is that whatever the conversations were, they do not
      appear to have accelerated the proposed software sales to BofA: no deal was
      concluded with BofA in Q4 2010 (which is what Dr Lynch had been pressing
      for) and Autonomy, desperate for the revenue, had instead to restructure the
      deal, split it into smaller parts, and parcel it out and effect a sale to two VARs
      (DiscoverTech and Capax Discovery) from which it purported to recognise
      revenue, as I explain in the Schedule to this judgment on the impugned VAR
      transactions. Dr Lynch’s explanation did not answer the real point that the sales
      were negotiated by and between Mr Egan and Mr Reagan Smith, and the latter’s
      evidence, which I accept, was that he did not even know of the hardware sales.

1155. In all these circumstances, I accept the Claimants’ submission and find that the
      hardware deals with BofA played no material part in relation to BofA’s
      agreement to enter into the software deal. The Claimants further submitted, and

         again I accept, that this seriously undermines any suggestion on the part of the
         Defendants that the purpose of those hardware sales was primarily marketing,
         to drive (in some way) separate sales of software.

Citibank

1156. In the case of the Insight/Citibank transaction, which was a $10 million
      transaction for the supply of Dell hardware, the Claimants drew particular
      attention to commentary in a spreadsheet, prepared by Mr Sullivan and attached
      to an email dated 11 February 2011 from him to Mr Hussain which notes:

                      “Dell in competitive bid for business to be awarded in Feb. Purchase
                      in March. Dell is incumbant [sic] and gives themselves 60-70%
                      chance to win. We would need to put this through an existing reseller
                      (Insight) who inventories so Citi may not know we are involved. Not
                      clear if this revenue would all hit in Q1.”


                                               Page 369
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 371 of 900
Approved Judgment                                                             HC-2015-001324
Mr Justice Hildyard




1157. The Claimants pointed out (and in cross-examination, Dr Lynch accepted) there
      is no indication anywhere in his comments or elsewhere that this was the sale
      of an appliance or a package that contained Autonomy software, or that Mr
      Sullivan had any interest in some related sale of software: his eyes appear firmly
      fixed on the revenue target and its timing.

1158. What the Claimants suggested was particularly telling was that it appears that
      Mr Sullivan anticipated that Citibank might not even know of Autonomy’s
      involvement. Dr Lynch recognised this when cross-examined; and although he
      told me that he “wouldn’t be happy with that, unless we could tell Citi…I
      wouldn’t accept the order if I had known…”, the Claimants understandably
      pressed the point that whatever Dr Lynch might now choose to say, the fact
      remained that, at the time no-one, including Mr Hussain, suggested that the deal
      should not be accepted or concluded unless Autonomy’s involvement was
      disclosed to Citibank. I accept that.

Zones Inc

1159. As to the various deals through Zones (a substantial Dell reseller and “IT
      solutions provider”), the Claimants’ principal point was that, as they read it,
      each of the letter agreements which governed Autonomy’s relationship with
      Zones provided that its terms should be confidential and that no party should
      “disclose the terms hereof without the consent of the other party”.

1160. Furthermore, the Claimants relied on each of the three deals with Zones as
      illustrating their case that Autonomy had no role apart from injecting or
      insinuating itself into arrangements between Zones and Dell so as to establish a
      contract from which it could derive recognised revenue. Thus, in each case and
      in the context of an existing relationship between Dell and Zones:

              (1) The arrangement was that Zones would procure Dell hardware which
                  Zones needed for supply to its own customers not (as would have been
                  normal) from Dell but from Autonomy;

              (2) The advantage offered to Zones for this process of what was described
                  in an email dated 20 May 2010 from Mr Dean Bordeaux (“Mr
                  Bordeaux”, an account executive with Dell) to Zones (including Mr
                  Camden, of whom see below) as “injecting a new reseller between Dell
                  and Zones” was a discount on the cost to it of the hardware: the discount
                  resulted from Autonomy purchasing Dell hardware from Dell at its
                  undiscounted price and then selling it on to Zones at a discounted price;

              (3) Autonomy would account for the purchase from Dell as a sale giving
                  rise to recognised revenue, but its involvement would be minimal in that
                  the hardware in question would not be delivered physically to Autonomy
                  and then by Autonomy to Zones or Zones’ customer, nor would it be


                                           Page 370
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 372 of 900
Approved Judgment                                                                HC-2015-001324
Mr Justice Hildyard


                      loaded with Autonomy software: instead, it would be delivered by Dell
                      to Zones or Zones’ customer;

              (4) The first of the three Zones deals was a large deal of over $7 million
                  with a tax preparation services company called H&R Block. As Dr
                  Lynch accepted, the hardware was not going to be loaded with any
                  Autonomy software: it was ‘pure hardware’ according to the Claimants’
                  definition. The evidence principally relied on by the Claimants was in
                  the form of a transcript of the evidence in the US criminal proceedings
                  given by the head of Zones’ sales organisation, Mr Dominic Camden
                  (“Mr Camden”). This was introduced into evidence by hearsay notice
                  served by the Claimants. The Claimants also relied on Mr Bordeaux’s
                  contemporaneous emails.

1161. Mr Camden, who did not provide evidence in these proceedings and whose
      hearsay evidence could not, therefore, be tested, stated in his evidence in the US
      criminal proceedings that whilst the discount was attractive, he had concerns
      about the introduction of Autonomy into this deal with a long-time customer (as
      was H&R Block), lest Zones should lose a client if the client found out that it
      could secure the solution it wanted for less money from Autonomy.

1162. He explained that it was for that reason that he insisted on there being both
      nonsolicitation and confidentiality clauses in the contract with Autonomy. He
      regarded that as very important. A clause was negotiated to address this and
      was included, as follows:


                      “The terms of this Letter shall be confidential. No party hereto shall
                      disclose the terms hereof without the consent of the other party. For a
                      period of one (1) year from the date Autonomy receives the most recent
                      Customer PO [i.e. Purchase Order] hereunder, Autonomy shall not
                      actively solicit H&R for purposes of reselling the Products directly to
                      H&R Block. For avoidance of doubt, nothing herein shall prelude
                      Autonomy from selling to H&R Block any Autonomy products, in any
                      manner whatsoever.”


1163. Mr Camden said in his evidence in the US criminal proceedings that he took
      from this that Autonomy would have no contact with H&R Block. This reflected
      and was reinforced by an assurance Mr Bordeaux had given in his email of 20
      May 2010 quoted from earlier that:

                      “Autonomy has and will have no direct contact with Block but does need
                      the attached simple agreement executed with Zones.”

1164. That “simple agreement” was substantively like the agreement eventually
      signed. In the event, it seems that the confidentiality of Autonomy’s
      involvement was preserved: Mr John Meiers (“Mr Meiers”), who was in charge



                                               Page 371
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 373 of 900
Approved Judgment                                                                   HC-2015-001324
Mr Justice Hildyard


         of H&R Block’s software procurement team in 2010, gave a witness statement
         in these proceedings (which was not challenged) in which he said that when in
         September 2010 he negotiated a $2 million software deal with Autonomy, he
         was unaware that, just three months earlier, Autonomy had been involved in the
         resale transaction. Mr Meiers added that to the best of his knowledge, no-one
         else at H&R Block involved in the software purchase was aware of Autonomy’s
         involvement either. The Defendants chose not to cross-examine Mr Meiers.

1165. The Claimants posed the question why in such circumstances Autonomy wanted
      to be involved at all. Understandably, the Zones management team was puzzled
      at being offered the opportunity to sell its own longstanding customer cheap
      hardware, subsidised by Autonomy, with the customer kept in the dark about
      Autonomy’s role.

1166. In this context, Mr Camden sent an internal email to the Zones team on 7 July
      2010 offering a theory as to why Autonomy should be prepared to act in that
      way. He speculated that “Dell must be an Autonomy client” which received
      preferential discounting and pricing for business driven through Autonomy. His
      Zones colleague replied the same day, observing that this “will go in the books
      of unresolved mysteries”. The Claimants contended that:

                      “These contemporaneous exchanges merely confirm what is obvious;
                      that it made no apparent commercial sense for Autonomy secretly to
                      subsidise Dell’s sale to a hardware reseller and the reseller’s sale to its
                      customer. These Zones’ employees could not have known that the
                      Defendants had a very good reason for having Autonomy engage in this
                      activity, namely facilitating the ability of Autonomy to report the
                      revenues thereby achieved, without disclosing their source; and in this
                      way, misleading the market.”


1167. The same modus operandi was adopted to subsidise Dell’s sales to Zones for
      other Zones customers. Thus, a quotation dated June 2010 issued by Zones for
      the sale of hardware to Oracle, the large software company, contained no
      reference at all to Autonomy. The deal between Autonomy and Zones, again,
      was that Oracle should not be notified of Autonomy’s involvement in the deal.

1168. The same was true of the third of the Zones deals, that in late 2010 for the sale
      of Dell hardware to Zones for resale to yet another Zones customer, Target
      Corporation (“Target”), a US chain of retail stores. The letter agreement
      between Autonomy and Zones dated 11 November 2010 contained, at clause
      10, a confidentiality provision preventing disclosure of its terms to anyone,
      which would include Target itself.

1169. The Claimants described and relied on the third Zones transaction as follows:

              (1) In an email exchange on 11 November 2010 (the same date as the letter
                  agreement) between representatives of Dell, Zones and Autonomy (Mr
                  Sullivan), Mr John Niemier of Zones sought clarification that the way


                                                Page 372
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 374 of 900
Approved Judgment                                                                HC-2015-001324
Mr Justice Hildyard


                      things would work was that Autonomy would provide a quote to Zones,
                      and Zones would in turn deliver the final quote to Target. On 12
                      November 2010, Dell’s Mr Randall Johnsen responded agreeing that
                      “Zones is the only entity that should provide Target a quote for this
                      transaction”: in other words, Autonomy was not to deal directly with
                      Target.

              (2) In parallel with this exchange of emails, there was an internal email
                  discussion at Zones between Mr Niemier and Mr Camden. In an email
                  dated 11 November 2010, Mr Niemier expressed confusion as to how
                  the process would work. Mr Camden’s response was clear: “Zones places
                  PO with Autonomy, yes. Autonomy places order with Dell. Autonomy
                  and Target don’t touch”.

              (3) When Mr Niemier asked who would issue the quote to Target, Mr
                  Camden’s response was “ Zones”, in the same way as for H&R Block.
                  He added, “HRB [i.e. H&R Block] never knew about Autonomy and
                  neither should Target”.

              (4) Mr Camden confirmed during his testimony in the US criminal
                  proceedings that this email reflected his understanding of how the deals
                  with Autonomy were set up.

              (5) On 22 November 2010, Dell’s Mr Johnsen contacted Mr Camden about
                  the Target deal. He reminded Mr Camden, “not to use Autonomy name
                  in messaging”, i.e. in the messaging Zones sent to Target about the
                  hardware sale.


              (6) Consistent with this, a Mr Tom Corley of Zones sent an email on 30
                  November 2010 to Mr Camden confirming that Autonomy had received
                  the Zones purchase order for Target. Mr Corley noted that the delivery
                  would be a

                             “blind drop-ship from Dell directly to Target. So there should be
                             nothing that says Autonomy on any packing slip”.

              (7) Mr Camden testified in the US criminal proceedings that a “blind
                  dropship” meant that the hardware would be shipped directly from Dell
                  to Target, rather than coming via Zones.

              (8) The Claimants submitted that the significance of the lack of any
                  reference to Autonomy, even on the packing slip received by Target, is
                  plain: Autonomy was to get revenue, but no customer relationship.

1170. The Claimants submitted that these Zones deals were an illustration of the true
      nature and purpose of the overall strategy: it was plain and obvious that there
      was no question of Autonomy using cheap hardware sales to H&R Block,
      Oracle or Target, as a means of driving software sales to those companies, in



                                               Page 373
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 375 of 900
Approved Judgment                                                                 HC-2015-001324
Mr Justice Hildyard


         circumstances where the companies in question had no idea, and were
         contractually forbidden from knowing, that Autonomy was responsible for
         subsidising their purchases of hardware.

1171. They submitted more generally that:

                        at no time during the Relevant Period was any attempt whatsoever
                      made to identify or monitor the extent to which these hardware sales
                      produced any marketing benefit to Autonomy. That, again, is consistent
                      with the real purpose of the hardware reselling strategy being simply to,
                      in effect, buy (at a substantial cost) recognisable revenue that would be
                      included in the revenue figures reported to the market without revealing
                      the true source (or cost) of this additional revenue stream. It is
                      inconceivable that Dr Lynch and Mr Hussain, intelligent individuals,
                      could have considered that what they were doing was honest.”

1172. The Defendants, however, submitted that:

              (1) Even in the three Zones deals the only restriction as a matter of
                  construction of the letter agreement was that Autonomy was required to
                  keep the terms of the letter agreement confidential and did not extend to
                  prohibiting Autonomy from saying that it was involved as the party
                  supplying hardware to Zones, or that this was part of a marketing
                  programme;

              (2) There was no evidence that either of the Defendants was made aware of
                  the contractual restriction;

              (3) Dr Lynch stressed that (a) he had no involvement in the Zones/H&R
                  Block transaction, and he was not aware at the time of any contractual
                  term preventing Autonomy from disclosing its role in the transaction
                  (and it was not suggested to him in cross-examination that he did) and
                  he “wouldn’t have been happy with the lawyers if I’d known about that”;
                  (b) the position was likewise as regards the sale via Zones to Target; and

                      (c) he was also unaware of any sales of hardware via Zones to Oracle,
                      and thus was not aware of any such restriction: but he added that he did
                      not see how a term could have been agreed with Zones precluding
                      Autonomy from soliciting business from Oracle given that Oracle were
                      an existing customer;

              (4) The Zones sales, even if they did not assist to reinforce a customer
                  relationship, achieved the other objective of the strategy as (according
                  to Dr Lynch) formulated at the Loudham Hall meeting of reinforcing
                  relationships with the hardware suppliers themselves, and in particular
                  with Dell (see above).




                                               Page 374
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 376 of 900
Approved Judgment                                                           HC-2015-001324
Mr Justice Hildyard


1173. The Defendants also drew my attention to other parts of Mr Camden’s testimony
      in the US criminal proceedings in which he accepted that (a) there was a
      customer demand for “complete solutions” (where a seller of software would
      act as a “one-stop shop” and also provide the hardware) and (b) if one of
      Autonomy’s customers wanted a package or complete solution, it would make
      good sense to provide the hardware that those customers needed as well as the
      software. Mr Camden accepted also that Zones itself often planned, and it was
      perfectly standard business practice, to use a relationship (such as Zones’ with
      Target) established initially by sales of hardware to sell them other products like
      software; and that it made sense likewise for Autonomy to sell hardware to a
      customer with a view to using that relationship to introduce their own software
      products.

1174. In any event, the Defendants submitted that the Claimants’ focus on the Zones
      deals flagged that they were the exception not the rule, and that for the large
      majority of hardware transactions the customer was aware of Autonomy’s
      involvement and sales were deployed to promote the customer relationship. Mr
      Sullivan acknowledged in his evidence in the US criminal proceedings that
      “absolutely” he was instructed to and did tell customers that the sales were
      “part of a marketing programme”, and he did not consider that to be wrong in
      any way.

1175. Further, even though I would accept the Claimants’ more general point that most
      Autonomy software salesmen probably did not know of the hardware reselling
      strategy and did not therefore consciously use it as leverage for software sales
      (and see above as to my impression that the fact of the programme was known
      only to a small circle within Autonomy), the fact is that most of the hardware
      deals in question were undertaken by Mr Sullivan, who plainly did know all
      about the programme. It seems to me likely, consistently with Mr Sullivan’s
      evidence, that he would have felt some need to explain, in deals where he had
      some contact with the purchaser, what the rationale for offering a discount was;
      but all he said was that it was “part of a marketing programme”. That seems to
      me to be little if anything more than a statement of the patently obvious. There
      was, however, no suggestion in his evidence or any other evidence (apart from
      Dr Lynch’s discussions with Mr Mackenzie-Smith) that he ever said anything
      more.

1176. In any event, the Defendants’ broader point was that there is evidence that both
      Mr Egan and Mr Sullivan did think that the hardware reselling strategy was a
      catalyst for software customer loyalty and software sales. Mr Egan’s evidence
      is of particular interest in the broader context of the utility of the hardware
      reselling strategy as a marketing strategy.

1177. I have previously quoted his witness statement in relation to this (see paragraph
      754 above). As usual in his case, Mr Egan’s evidence was carefully modulated,
      seeking to find interstices as best he could in the heavily lawyered agreed
      evidence he had given in the US criminal proceedings (from which he could not
      depart on pain of imprisonment) when it appeared or was presented as at odds
      with other evidence. But subject to the caveat that in his perception “a principal


                                         Page 375
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 377 of 900
Approved Judgment                                                             HC-2015-001324
Mr Justice Hildyard


         reason” for the hardware sales “was to generate income”, he accepted that there
         were other substantial reasons for it, and in particular, agreed with his
         crossexaminer’s recital of propositions dressed as questions and designed to
         elicit the answers that he gave that “often” hardware and software sales “were
         leveraged together” and the hardware reselling strategy “increased Autonomy’s
         standing with the big financial institutions that bought their software” (and see
         also paragraph 751 above).

1178. The problem for the Defendants, as it seems to me, has always been that it is not
      sufficient for them to demonstrate that at least in some, perhaps many, cases,
      the fact that Autonomy was providing or subsidising the discount on hardware
      sold to customers, including software customers, encouraged goodwill and
      warm feelings about Autonomy which might in due course translate into future
      sales, including software sales. The case they have always had to meet is that
      even if that was a benefit it was never the real reason or driving purpose, as
      demonstrated by the fact that Autonomy made at least some substantial sales for
      which even that benefit would not be obtained, because the purchaser had no
      idea of Autonomy’s involvement: the Zones deals being the clearest examples,
      it being obvious in those transactions that it was no part of their purpose to
      promote or protect the prospect of software sales to Zones.

1179. In Mr Hussain’s written closing submissions, it was stated that the above three
      deals “were the exception and not the rule.” The additional contention was
      advanced that “in any event, these sales achieved the objective of building
      relationships with the hardware suppliers themselves”.

1180. The latter argument was given greater prominence by both Defendants as the
      case developed. It was, to my mind, paper-thin, even taking into account the
      possibility that Autonomy may have got discounts on its purchases of hardware
      for its own use (for archive hosting and the like). There was little or no evidence
      of any special relationship being developed, nor that such a relationship
      promoted software sales. (It may have assisted OEM ventures, but that is a
      different matter and would not justify the accounting treatment of the costs.)
      Autonomy’s supposed ‘partnership’ with EMC was extinguished with minimal
      notice. Dell was in it because it is not often that a third-party agrees to subsidise
      a company’s sales. But I was not persuaded that opportunism metamorphosed
      into a relationship of such real benefit to the software business as to be a
      substantial purpose of Autonomy’s hardware sales.

1181. As to whether the three sets of transactions addressed above were exceptions or
      outliers, the express contractual prohibition on Autonomy being involved or
      asserting involvement at all was unusual. But it seems to me that the question
      in relation to the Zones transactions (and the others singled out by the Claimants
      described above) is ultimately whether or to what extent there can be discerned
      or established from them what the driving purpose and objective of the hardware
      sales really was, and what credence can be given to the Defendants’ assertions
      that the sales were driven by the interests of, and to enhance, Autonomy’s
      software business.


                                          Page 376
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 378 of 900
Approved Judgment                                                              HC-2015-001324
Mr Justice Hildyard




1182. In my judgment:

              (1) The Zones transactions, and those with BofA and Citibank (another
                  example being the transaction with Progressive), give substantial general
                  support to the Claimants’ case that the real purpose of the hardware
                  reselling strategy was revenue generation: they demonstrate clearly that
                  any marketing benefits in terms of Autonomy’s software customers
                  might be desirable by-products but were certainly dispensable, and were
                  not what was driving hardware reselling.

              (2) It may be that Mr Egan’s qualification in responding “often, yes” to the
                  proposition put to him in cross-examination in the US criminal
                  proceedings that “hardware and software were leveraged together with
                  these big customers” was intended to accommodate cases such as Zones
                  where no such leverage was possible at all. But neither Mr Egan nor
                  anyone else ever provided any evidence, apart from their say-so, of any
                  co-ordination, let alone leveraging, beyond some attempt to aim at
                  mutual customers (and the evidence for even that is scanty). I suspect
                  that Mr Egan satisfied himself, in his interstitial efforts, that he could
                  agree to the proposition, and seek thereby to put the strategy and his own
                  involvement in a kinder light, on the basis that in certain cases the
                  discount might generally be supposed to have oiled the wheels of the
                  relationship with software users. But Mr Egan had no reason to believe
                  that there was any greater nexus than that; and it seems to me likely (and
                  I find) that he knew that whilst any benefit which might loosely be
                  termed marketing was readily dispensable, recognisable revenue, being
                  the real objective, was not.

              (3) The real importance of the Zones and the other transactions, in which no
                  marketing benefit was possible, was that they provided proof of what
                  really mattered to Autonomy and the Defendants: revenue irrespective
                  of benefit.


(10)     The consistent pattern of concealing the hardware sales

1183. The second limb of the Claimants’ hardware case (as pleaded in paragraph 54A
      of the RRAPoC) was that in its published information Autonomy actively
      concealed its ‘pure’ hardware sales. They relied on that not only as a facet of

         the improper purpose but also as further proof of it: disclosure would have
         undermined the purpose as alleged by the Claimants (being to drive up revenue
         by hardware sales and to present it as all won as part of the business of a
         successful ‘pure software company’); whereas if the purpose had been in any
         material part as the Defendants contended it was, there would have been no
         reason not to disclose it to the market.




                                            Page 377
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 379 of 900
Approved Judgment                                                                  HC-2015-001324
Mr Justice Hildyard


1184. As one of the Deloitte Reviewers (Mr Robertson) queried rhetorically when the
      issue of disclosure arose in respect of the Q3 2009 Report:

                       What s the sensitivity about being more transparent on this score? If it
                      s a strong strategic move for them, why wouldn t they want to explain
                      this?”

1185. There is no doubt, and the Defendants did not deny, that they and Autonomy’s
      management consistently and insistently declined to disclose any more than they
      were advised by Deloitte was mandatory under the Accountancy Standards and
      thus a pre-condition of approval of the Defendants’ accounts and financial
      statements.

1186. I shall discuss later the Defendants’ reasons (based on “commercial
      sensitivities”) for restricting disclosure and their defence that whilst they did no
      more, they did no less, than Deloitte advised was required and cannot be said to
      have been dishonest in following their advice. In this section, I summarise what
      (if any) disclosure relevant to hardware revenues was made in Autonomy’s
      Yearly and Quarterly Results in the Relevant Period. (I also indicate the
      Defendants’ explanations, as appropriate.)

Annual Reports: overview

1187. As previously mentioned (see, for example, paragraph 654 above), Autonomy
      presented itself to the market generally, and to HP during the pre-acquisition
      discussions and due diligence, as a “pure software company”. The Defendants
      maintained that this was to distinguish itself from software companies deriving
      a significant part of their revenue from services and installation. The Claimants
      maintained that it was intended to and did connote a company whose revenues
      were almost exclusively derived from the sale of its IDOL software and related
      software (with some small amounts of ‘appliance sales’ as later described), and
      that is the basis on which they acquired it.

1188. The Business Overview section of its 2009 Annual Report provides an example
      of the use of the phrase to distinguish Autonomy from other software
      companies. The following was stated under the heading “Financial Model”:

                      “Autonomy is one of the very rare examples of a pure software model.
                      Many software companies have a large percentage of revenues that stem
                      from professional services, because they have to do a lot of
                      customisation work on the product for every single implementation. In
                      contrast, Autonomy ships a standard product that requires little
                      tailoring, with the necessary implementation work carried out by
                      approved partners such as IBM Global Services, Accenture and others.
                      This means that after the cost base has been covered, for every extra
                      dollar of revenue that comes in significant benefits can fall straight
                      through to the bottom line. What this offers is a business model with a
                      proven record of strong operating leverage and that is expected to



                                               Page 378
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 380 of 900
Approved Judgment                                                                   HC-2015-001324
Mr Justice Hildyard


                      continue to deliver industry leading operating margins and revenue to
                      cash conversion.”


1189. Materially identical wording appeared in the 2010 Annual Report.

1190. The Claimants accepted that it may be true that, in these passages, Autonomy
      was seeking to emphasise its distinctiveness from companies that made
      significant revenues from the provision of services. However, their case is that
      the reasonable reader – including HP – would also and more importantly have
      understood the phrase to distinguish Autonomy as being unusual in carrying on
      no other business, and thus in its financial position being based entirely on its
      software business and not on any significant revenues from sales of nonsoftware
      products, particularly products, such as hardware, that were burdened with
      substantial associated costs. They submitted that this is what the Defendants
      must have known and intended in emphasising that aspect of Autonomy’s
      business. The reason for such emphasis and its importance was the same as that
      which the Defendants expressly gave for emphasising how little of its revenue
      came from services: in the case of software, “after the cost base has been
      covered, for every extra dollar of revenue that comes in significant benefits can
      fall straight through to the bottom line”, while services commanded much lower
      margins. The Claimants contended that that is an equally fundamental
      difference between software and hardware sales.

1191. The 2009 and 2010 Annual Reports both referred to a hardware-based product
      described as an “appliance” in terms of hardware with Autonomy software
      preloaded on it. The explanation in the 2009 Annual Report was as follows:


                      “Appliance
                      Currently a small part of the business focused on quick time-to-value
                      and high return. Where customers have an urgent need to deploy IDOL,
                      either for regulatory or commercial imperatives, we are able to provide
                      a complete solution installable on a turnkey basis to be used in a discrete
                      part of the customer’s business. The value of these solutions is in the
                      high end functions they offer in a complete package, and thus the margin
                      profile is not dissimilar to our traditional license business.”


1192. The equivalent wording in the 2010 Annual Report was more explicit about the
       fact that an appliance involved hardware:

                      “Appliance
                      This is currently a small part of Autonomy’s business, focused on quick
                      time-to-value and high return. Where customers have an urgent need to
                      deploy IDOL, either for regulatory or commercial imperatives, we are
                      able to provide a pre-installed licence on appropriate hardware to start
                      generating an immediate return. The value of these solutions is


                                                Page 379
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 381 of 900
Approved Judgment                                                                 HC-2015-001324
Mr Justice Hildyard


                      attributable almost entirely to the functions offered by the licence, so
                      although there are some hardware costs involved, the margin profile is
                      not widely dissimilar to our traditional licence business.”


1193. Beyond this, there was no mention in the Annual Reports issued in the Relevant
      Period of Autonomy earning revenues on sales of hardware. Thus, the Financial
      Review section in the 2009 Annual Report stated that the increase in revenues
      in 2009 “is a combination of strong organic growth and the successful
      integration of Interwoven” (a company Autonomy had acquired in early 2009).
      Similarly, the Financial Review section in the 2010 Annual Report ascribed
      Autonomy’s reported revenue growth between 2009 and 2010 entirely to the
      deployment by customers of Autonomy software.

1194. Furthermore, the accumulated yearly costs of the hardware reselling strategy
      which might have revealed its extent, were not disclosed either, even though in
      2009 there was an increase in the amounts allocated to Sales and Marketing
      Expenses of $35.6 million as compared to 2008, and the hardware sales were a
      major, if not the sole, cause of the increase.

1195. Instead, this increase was addressed in Autonomy’s 2009 Annual Report as
      follows:

                      “Sales and marketing expenses totalled $170.8 million in 2009, up 26%
                      from $135.2 million in 2008. The increase in sales and marketing
                      expenses from 2008 to 2009 was primarily due to increased advertising,
                      additional headcount and an increase in sales commissions due to an
                      increase in sales and a change in the geographic and size-of-transaction
                      mix, all of which also increased with the expansion of the group in 2009.
                      As a percentage of revenues sales and marketing expense has fallen to
                      23% in 2009 from 27% in 2008.”


1196. When cross-examined about this, Dr Lynch nonetheless sought to defend the
      passage in the 2009 Annual Report as “a reasonable explanation”. He
      identified especially the effect of Autonomy’s acquisition of Interwoven which,
      he said, had been an increase not only in advertising spend, but also of the
      numbers employed in marketing from around 238 to around 510 people. This is
      difficult to square with the fact that in 2009, $35.8 million of the costs of
      purchasing pure hardware were treated as sales and marketing expenses,
      whereas the total reported increase in sales and marketing expenses was only
      $35.6 million, leaving no room for the suggested Interwoven factor. When
      pressed again, Dr Lynch added that:

              “Again, this is signed off by Deloitte, they consider it reasonable, and
              that’s good enough for me.”
1197. In the 2010 Annual Report, the explanation given for the increase of some 20%
      in sales and marketing expenses made no mention anywhere of any loss-making
      hardware sales or the hardware reselling strategy. The explanation then given
      was that:


                                               Page 380
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 382 of 900
Approved Judgment                                                                        HC-2015-001324
Mr Justice Hildyard


                      “The increase in sales and marketing expenses from 2009 to 2010 was
                      primarily due to increased advertising, additional headcount and an
                      increase in sales commissions due to an increase in sales and a change
                      in the geographic and size-of-transaction mix, all of which increased
                      with the expansion of the group in 2010…172”


1198. The Quarterly Reports followed suit and contained no disclosure of the
      hardware reselling strategy either. On the contrary, the Claimants contended,
      they revealed varying efforts to camouflage the source of revenue.

Q3 2009 Quarterly Report

1199. Thus, although of course the hardware revenues were included in the total, the
      way the results were presented in the Q3 2009 Quarterly Report did not
      distinguish their source. This was not apparent and could not be ascertained.

1200. Four categories of revenue were presented under the heading “Supplemental
      Metrics”190: “Product including hosted and OEM” ($125 million), “Service
      revenues” ($9 million) and “Deferred revenue release” ($58 million) which
      equated (after rounding) to the total revenue figure of $191.6 million as shown
      under “Financial Highlights” and under “Revenues”.

1201. Furthermore, the Q3 2009 Quarterly Report noted a reduction in adjusted gross
      margin (86% compared to 92% in the previous year) and attributed it to the
      “unexpected demand for our new product programs…We do not expect this to
      be a trend.”

1202. The hardware reselling strategy, which was in fact the principal drag on gross
      margins since hardware sales were at a discount funded by Autonomy, throwing
      up a loss, was not mentioned in this Quarterly Report, just as it was not in the
      Annual Reports (see above), except that in one cryptic sentence later relied on
      by the Defendants the following statement (agreed with Deloitte) was made:

                       During the quarter we saw some of our large customers promote
                      Autonomy to strategic supplier status. This has led them to adopt a
                      broader set of our solutions in a number of significant deals.”

1203. As Mr Knight of Deloitte pointed out at the time (and see further paragraphs
      1360 to 1364 below as to the discussions between Autonomy and Deloitte which
      led to this formulation), this could quite naturally be read as a reference to more



172
   A reference to the Interwoven acquisition (as also is the reference to “additional headcount”). 190
As will be seen, the way the sources of revenue were presented was changed in Q1 2010: broadly
speaking, from the start of 2010, “Product including hosted and OEM” was reported as three separate
categories: (i) IDOL Product, (ii) IDOL Cloud and (iii) IDOL OEM. The Claimants emphasised that
whatever the breakdown, it always added up to 100% of Autonomy’s total reported revenues.


                                                Page 381
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 383 of 900
Approved Judgment                                                                    HC-2015-001324
Mr Justice Hildyard


         IDOL sales: and it certainly did not constitute transparency about the hardware
         sales.

Q4 2009 Quarterly Report

1204. The Q4 2009 Quarterly Report did not mention hardware sales either. The
      following points may be noted:

              (1)            Autonomy boasted increased revenues in the quarter and for the
                             year, ascribing its performance to “a combination of strong
                             organic growth and the successful integration of Interwoven”.173

              (2)            Dr Lynch wrote: “We continue to see our strongest growth in the
                             new models of the software industry such as OEM and cloud
                             computing…”

              (3)            Gross margins were marginally down on Q4 2008 (89%
                             compared to 92% adjusted, 83% compared to 89% on IFRS) but
                             had improved since Q3 2009. The Report stated: “As previously
                             announced, the one-time additional costs in Q3 2009 from the
                             IDOL SPE Quick Start program were not repeated in Q4.”

              (4)            The Report also stated:

                      “Cost base returned to traditional model after Q3 2009 product launch
                      costs, with fixed cost base modulated by seasonal market spend and
                      revenue-tracking sales commission.”

              (5)            Amongst reported highlights were “Successful launch of IDOL
                             SPE, Arcpliance, ICE, IDOL Social Media and Interwoven
                             product range built on IDOL”.

              (6)            Increased R&D expenditure was ascribed to:

                             “new R&D efforts associated with the acquisition of
                             Interwoven and the one-off spend in relation to the development
                             of new products”.

              (7)            Autonomy again provided “supplemental metrics to assist in
                             understanding and analysis of Autonomy’s business”. As in the
                             Q3 2009 Quarterly Report, hardware revenue was incorporated
                             homogeneously into “Product including hosted and OEM” 174
                             and was effectively invisible as a separate source.

173
   Autonomy acquired Interwoven Inc earlier in 2009 for approximately $800 million.
174
   A different format for “Supplemental Metrics” was adopted for the Q1 2010 Quarterly Report and
thereafter, dividing Autonomy’s business into IDOL Product; IDOL Cloud; Service revenues; Deferred
revenue release (primarily maintenance); and OEM derived revenues.


                                              Page 382
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 384 of 900
Approved Judgment                                                         HC-2015-001324
Mr Justice Hildyard




Q1 2010 Quarterly Report



1205. Autonomy’s Q1 2010 Quarterly Report made no mention of hardware sales, and
      in the “Supplemental Metrics” revenues from such sales were now included
      amorphously within the category ‘IDOL Product’. The Claimants’ specific
      criticisms in addition referred to the explanation of the sudden emergence of a
      figure for “Inventory”.

1206. As I have explained in paragraph 990 above, the decision to defer recognition
      of part of the revenues from hardware sales in the quarter brought with it the
      need to post the amount deferred as Inventory. Autonomy had not historically
      held noticeable amounts in Inventory; and the increase by some $9.75 million
      (to a total of $10.250 million) had to be explained in the Q1 2010 Quarterly
      Report.193

1207. In summary:

              (1)     A trading statement issued by Autonomy on 16 April 2010 (five
                      days before the results were released) included an explanation of
                      Inventory as follows:
                       In Q1 the company took advantage of discounted offers to
                      purchase stock for the Arcpliance product in advance of Q2
                      sales, which affected the cash position. These sales have now
                      been completed.”

              (2)     The Q1 2010 Quarterly Report explained the position as follows:

                       Movements in cash flow during the first quarter of 2010 of note
                      included:…Purchasing of inventory of $10 million for Q2
                      2010 sales, most of which have now been completed.”

              (3)     The Inventory was thus presented as comprised of stock acquired
                      with a view to sale as part of Arcpliance products.

1208. The Claimants’ case was that this was all false: (a) the increased inventory was
      not due to stock purchases: it was the balance of goods sold and delivered but
      in respect of which revenue recognition had been deferred; (b) it was not “stock
      for the Arcpliance product”; and (c) it was not stock purchased to take
      “advantage of discounted offers”: it was as yet unrecognised revenue for
      hardware sold at a loss.

1209. The statement that the $10 million of inventory related to purchases of
      Arcpliance for sale to meet unexpected demand was tested by questioning in the
      Q1 2010 Earnings Call; as I explain below (see paragraphs 1573 to 1588 below,



                                        Page 383
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 385 of 900
Approved Judgment                                                                       HC-2015-001324
Mr Justice Hildyard


         the Claimants contended and I have broadly accepted) that to maintain the story
         Dr Lynch had to lie.

193
    The Claimants alleged that what they presented as subterfuge was apparent in the Q&A scripts for
the Earnings Call and in what was said at the Q1 2010 Earnings Call. Their case was that not only the
market was misled: so too were Deloitte and the Audit Committee. Even with that explanation it
triggered inquiry, as I elaborate on when dealing with the Earnings Call for that quarter.

1210. As previously, the figures for “ IDOL Product” ($47 million), “ IDOL Cloud”
      ($45 million), “Service revenues” ($11 million), “Deferred revenue release”
      ($62 million) and “OEM derived revenues” ($29 million) (presented in tabular
      form) amounted (after rounding) to the total revenues of $194.2 million
      appearing under “Financial Highlights” and under “First quarter 2010
      Highlights”.

1211. One further matter which I mention in passing to set it in its chronological
      context, but on which also I elaborate later, is that in their Report to the Audit
      Committee on the Q1 2010 Review, Deloitte did confront the issue of the
      presentation of costs associated with hardware sales, highlighting that:

              (1)         The revenues for the quarter included $12.2 million of hardware
                          sales, most of which they observed had been made at an overall
                          loss.

              (2)         Management’s rationale for the hardware sales was noted as
                          being that they were seeking “to develop a strategic relationship
                          with Dell. The intention is that both Autonomy and Dell will
                          market Dell hardware that incorporates Autonomy search
                          software.”

              (3)         Autonomy had sought to allocate $3.8 million of the costs to
                          Sales and Marketing expenses, as they had allocated the costs in
                          the previous quarter, but Deloitte had made clear that this would
                          not be acceptable. It was explained that they had sanctioned the
                          previous allocation on the understanding that the deals in that
                          earlier quarter had involved Autonomy “ purchasing hardware
                          at a price which was considerably higher than they would
                          normally have paid in order to become the preferred hardware
                          reseller with EMC, Dell, SHI and HDS” but they had “expected
                          these to be more one-off in nature” and had concluded that for
                          Q1 2010 “it would be more appropriate to reflect all the costs of
                          hardware sold in costs of goods sold”.

              (4)         Further, Deloitte noted that “we have included the $3.8 million
                          as a classification adjustment…and would not expect to see such
                          amounts in sales and marketing in subsequent quarters.”




                                                Page 384
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 386 of 900
Approved Judgment                                                               HC-2015-001324
Mr Justice Hildyard


              (5)            From Q2 2010 onwards, it was only the loss sustained on the
                             hardware sales (normally about 10% of the costs of the
                             hardware) which was allocated to Sales and Marketing expenses,
                             with the balance being allocated to COGS.


Q2 2010 Quarterly Report

1212. Once again, revenue from hardware sales was not mentioned in the Q2 2010
      Quarterly Report. All that was said to explain an erosion in gross margins was:

                       The small variation in gross margins in Q2 2010 was in line with our
                      expectations due to the sales mix including appliances as discussed
                      last quarter.”


1213. It is fair to point out, however, and the Defendants naturally emphasised, that
      that form of words was approved by Deloitte, after an extended negotiation
      with management, as described in greater detail in paragraph 869 above.

1214. The Supplemental Metrics as provided again presented all revenue as derived
      from IDOL (except, arguably, those described as “OEM derived revenues”),
      with no clue that any such revenues might be derived from sales other than
      software sales (save the reference to “appliances” in paragraph 1212 above).

1215. Contrary to a suggestion made by Dr Lynch when cross-examined (albeit in a
      different context of the Q&A scripts prepared for the quarter), there was no
      mention of “strategic sales” either: that shorthand (the Claimants would say
      euphemism) for hardware sales made its appearance in the Q4 2010 Quarterly
      Report, but not this one (or indeed any other Quarterly Report in the Relevant
      Period).

Q3 2010 Quarterly Report, Earnings Call and Investor Bulletin

1216. The Q3 2010 Quarterly Report did not mention hardware or “Arcpliance”,
      “Appliances” or “Strategic Packages”. As an echo of the explanation given in
      the Q2 2010 Quarterly Report for the erosion of gross margins (see above) the
      recovery in gross margins was very briefly referred to as being “due largely to
      changes in the sales mix.” There was no mention of Arcpliance, appliance sales,
      strategic sales, or hardware.

1217. Again, the Supplemental Metrics showed all revenue as IDOL-derived. The
      figures for “IDOL Product” ($59 million), “IDOL Cloud” ($47 million),
      “Service revenues” ($10 million), “Deferred revenue release” ($64 million) and
      “OEM derived revenues” ($31 million) (presented in a table) equated to the
      total revenues of $211 million appearing under “Financial Highlights” and the
      $210.6 million appearing under “Revenues”.




                                              Page 385
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 387 of 900
Approved Judgment                                                                         HC-2015-001324
Mr Justice Hildyard


1218. A new Autonomy publication in this quarter (Q3 2010) was an Investor
      Relations Bulletin (“the Q3 2010 Bulletin”).175 In the Q3 2010 Bulletin, there
      was no express mention of appliance sales, and the only mention of Arcpliance
      was in explaining that deferred revenue declined because of “the sell-through
      of the remaining hardware”. Dr Lynch accepted in cross-examination that this
      was a reference to the sale of hardware as part of an appliance (Arcpliance) and
      not a sale of ‘pure hardware’.


1219. The Q3 2010 Investor Relations Bulletin also represented that Autonomy’s
      adjusted gross margin had:

                      “snapped back to 87.6% from 86.3% in Q2 10, as the one off effects
                      experienced in Q2 subsided. So despite there being around $6m of
                      hardware revenue in the mix in Q3 10, the gross margin is now back in
                      the usual 88-90% range”.


1220. This, as written, gave the impression that Autonomy had recognised $6 million
      in hardware revenue in Q3 2010176. In truth, as already stated, Autonomy had
      recognised $26.7 million in pure hardware revenue that quarter Dr Lynch sought
      to explain this away as “an error. It’s referring to the inventory that’s gone
      through and it shouldn’t be saying – it should say hardware inventory revenue,
      not hardware revenue.” But on that basis the suggestion that the erosion in
      gross margins was simply due to inventory sales is incorrect, and the hardware
      sales of some $26.7 million in the quarter were not alluded to let alone disclosed.

1221. Dr Lynch sought to argue that he was not responsible for the inaccurate
      description because he had not reviewed the last draft of the Q3 2010 Bulletin
      because “By the time it was available I was already in the television studios, so
      it went out without my review.” The Claimants provided a detailed examination
      of the contemporaneous documentation showing that this was, at best, mistaken
      memory and that Dr Lynch cannot have been in the TV studios at the time; and
      in any event, he had seen previous drafts with the same error. It seems
      reasonably clear, and I find, that this was another example of the efforts made
      to conceal the fact of substantial “pure hardware” sales.

1222. The Q3 2010 Earnings Call took place on 19 October 2010, after the publication
      of the Q3 2010 Bulletin and the Q3 2010 Quarterly Report. No mention was
      made of either appliances or Arcpliance or “strategic sales”. Mr Khan asked a

175
    Mr Miles pointed out in his oral closing submissions that there is no evidence that any of the
Claimants relied on either of the Investor Bulletins referred to by the Claimants, and they are not the
basis of any claim (nor is any mention made of any such Bulletin in the RRAPoC). However, the
Claimants relied on them as part of the evidence demonstrating how any hardware sales were depicted
as “appliance” or “Arcpliance” sales, the fact of “pure hardware” was enveloped in that fog, and
revenue from “pure hardware” sales of which recognition had been deferred tucked away as
“Inventory” (and its source and nature was subsequently falsely described).
176
    The Claimants submitted that given the extensive inventory-related discussions on the Q1 and Q2
2010 earnings calls, a reader of the Bulletin would have understood this all to be appliance-related.


                                                Page 386
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 388 of 900
Approved Judgment                                                               HC-2015-001324
Mr Justice Hildyard


         question about the impact of “hardware sales” on deferred revenue, plainly
         referring to the appliance sales referred to in Q2 2010: but Mr Hussain (who
         dealt with the question) made no attempt to clarify what sales there had been or
         what their effect was: still less did he reveal anything about any hardware
         reselling.

1223. As in respect of previous relevant quarters, I was not shown any document or
      exchange between Dr Lynch and Mr Hussain relating to these contemplated
      sales and Mr Hussain’s projections and modelling, that suggests that any of this
      had anything to do with marketing.

1224. A further demonstration of not only the efforts made by the Defendants to
      conceal ‘pure hardware’ sales but also their apparent success is apparent from
      an email sent by Autonomy’s Mr Ganesh Vaidyanathan to Mr Yelland some
      time later in the story, on 22 March 2012, which referred to “hardware orders
      which we source from [Dell] and sell through to our customers” (emphasis


         added). It was suggested to Mr Yelland in cross-examination that he must have
         known from the email that Autonomy was selling pure hardware. Mr Yelland
         explained that, even at that stage, he did not understand ‘sell-through’ in that
         way.

1225. Support for Mr Yelland’ s position can be derived from the Q3 2010 Bulletin,
      which, as Dr Lynch accepted, used the expression “sell through” to refer to the
      sale of hardware as part of an appliance, not as a sale of ‘pure hardware’:
      (emphasis added):

                       There were two principle effects that led to a modest decline in the
                      deferred revenue balance in Q3 10, which fell to $167.7m (from
                      $175.5m in Q2 10). Firstly, the sell-through of the remaining hardware
                      related to Arcpliance, which if excluded would mean that deferred
                      revenue would actually have risen sequentially given the related
                      revenue that the hardware supports.”

1226. That explanation plainly assumes that analysts had no idea that Autonomy had
      sold substantial amounts of pure hardware in this (or any other) quarter. The
      explanation appears to have been accepted, strengthening that assumption. Had
      it been or been thought to be common knowledge it seems most unlikely that Dr
      Lynch should have remained so determined to conceal it from them.

1227. This is of relevance to a question which is bound to occur to observers of this
      long saga, and has troubled me: this is whether it was common knowledge in
      the sector, and amongst analysts and those paid to find out about this sort of
      thing, that Autonomy was buying and re-selling large amounts of hardware? I
      have concluded that although it was known to some (including, for example, Mr
      Morland and Mr Khan) that Autonomy was buying and selling hardware, the
      assumption, which it can be inferred was fuelled by the supposition that
      anything material would have been disclosed, was that these were immaterial.


                                              Page 387
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 389 of 900
Approved Judgment                                                                HC-2015-001324
Mr Justice Hildyard




Q4 2010 Quarterly Report, Earnings Call and Investor Relations Bulletin

1228. Once again, in the Q4 2010 Quarterly Report, the Supplemental Metrics made
      no mention of hardware revenues. They were amorphously included in the
      figures for “IDOL Product” ($84 million); and Autonomy’s other revenues were
      included as “IDOL Cloud” ($51 million), “IDOL OEM” ($34 million),
      “Deferred Revenue Release” ($66 million) and “Services revenue” ($10-11
      million) (now in narrative rather than tabular form). Total revenues thus
      comprised amounted (after rounding) to $244.5 million.

1229. The key point to emerge in the Q4 2010 Quarterly Report and that quarter’s
      edition of the Investor Relations Bulletin (“the Q4 2010 Bulletin”) was that
      hardware was mentioned, and so was “Arcpliance”; and the description
      “package solution” also figured for the first time. The Defendants’ position as
      to whether this did or did not amount to disclosure of hardware sales was
      somewhat variable.

1230. It may be remembered that in the presentations in the preceding quarter (Q3
      2010) no mention had been made of such sales, except for a fleeting reference
      to “the sell-through of the remaining hardware” purchased at a discount for
      future Arcpliance sales to explain a decline in deferred revenue. Dr Lynch was
      pressed in cross-examination to explain why no mention had been made of
      hardware sales which he had to accept amounted to some 14% of the total
      revenue in this quarter (Q4 2010). His response was that (a) it was not correct
      to say that no mention had been made, (b) on the contrary, language agreed with
      Deloitte had been added, at Deloitte’s request and in a form they approved, to
      disclose such sales.

1231. As to (a) in paragraph 1230 above, when asked to identify where in the Q4 2010
      Quarterly Report this was the case, Dr Lynch pointed to the following passage:

                      “During the year Autonomy has seen success in addressing the urgent
                      needs of a small number of customers with package solutions,
                      constructed of services, hardware and software, such as Arcpliance. The
                      gross margin in these cases is lower than the normal business.”


1232. As to (b) in paragraph 1230 above, and when the passage above was then
      criticised as inadequate and misleading, Dr Lynch remonstrated that it had been
      “worked out with Deloitte” who were “completely alive to this issue” and had
      thought it “suitable to put in and we followed Deloitte’s directions in these
      matters”. He also insisted, when told by Mr Rabinowitz to “Never mind that,
      let’s just look at what you said…”, that he did not himself think it misleading,
      though he did emphasise that Arcpliance was simply given as an example of a
      wider category.

Q4 2010 Earnings Call


                                               Page 388
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 390 of 900
Approved Judgment                                                                 HC-2015-001324
Mr Justice Hildyard




1233. The Q4 2010 Earnings Call took place on 1 February 2011. Yet again, the focus
      of the Claimants’ submissions was on the Q&A script. Indeed, they made no
      complaint about what in the event was said on the call about hardware.

Q4 2010 Investor Relations Bulletin

1234. A few days after the Earnings Call, Autonomy produced an Investor Relations
      Bulletin for Q4 2010, which was published on 7 February 2011 (“the Q4 2010
      Bulletin”). The Claimants focused much attention on the drafting stages of this
      also; but the essential point is that in each succeeding draft, as in the Q4 2010
      Bulletin as eventually published, the “Organic Growth calculation” was
      described as intended to be a measure of “growth in the core IDOL business”,
      but included revenue generated by hardware sales at a loss without any
      distinction or explanation.

1235. The Q4 2010 Bulletin contained references to “package solution sales…such as
      Arcpliance”, similar to those in the Q4 2010 Quarterly Report. If anything,
      greater emphasis was given to Arcpliance as the prime exemplar, though the
      elaboration sought also to explain that any hardware sales with a software
      solution in prospect (as well as with software installed) were included.

1236. The Q4 2010 Bulletin included the following explanation of the calculation of
      organic growth (the emphasis is as in the original):

                       This calculation arrives at growth in the core IDOL business, whether
                      through up front license sales, on an appliance, in our private Cloud
                      or through our IDOL OEM partners. We remain indifferent to the
                      means by which a customer chooses to purchase the technology,
                      because the share of the value in all of these models is so dramatically
                      skewed towards the software component.
                      The value is in the software: Arcpliance is a good example, whereby
                      Autonomy delivers its software pre-loaded onto a suitable piece of
                      hardware in order to dramatically cut the time to value for the
                      customer, who is often responding to crisis situations (early case
                      assessment in eDiscovery, for instance). Where Arcpliance is
                      concerned, the value of the IDOL software solution and the complex
                      processing it performs is many times higher than the cost of the
                      hardware on it is installed.
                      Therefore we do not think the approach of attempting to strip out the
                      various components of a sale – e.g. Arcpliance internal hardware costs
                      – makes sense. We would also point out that if one wanted to perform
                      such a calculation one would also need to strip out the hardware
                      element from the year ago period, in order to compare apples with
                      apples, which in this case would actually increase the organic
                      growth.”

1237. In fact, on the Claimants’ calculations, if hardware revenue had been excluded,
      organic “growth” would have been negative:


                                               Page 389
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 391 of 900
Approved Judgment                                                         HC-2015-001324
Mr Justice Hildyard




              (1)     The Q4 2010 Bulletin stated that Q4 2010 growth was 12%.
                      Without hardware revenues, there would have been negative
                      growth of 5%.

              (2)     Similarly, FY 2010 growth was stated to be 17% in the Q4 2010
                      Bulletin. Removing the hardware revenues would have reduced
                      annual growth to 7%.

              (3)     Accordingly, on those figures, the last sentence of the passage
                      quoted in paragraph 1236 above appeared to be untrue: in
                      relation to this, Mr Rabinowitz accused Dr Lynch in cross-
                      examination of a “bare-faced lie”.

1238. When cross-examined on these comparisons, Dr Lynch had to accept the
      calculations, but he made three points:

              (1)     For the purpose of their calculations the Claimants had stripped
                      out what they considered to be more “pure hardware sales”
                      whereas, as already well apparent, his position is that many such
                      sales were properly characterised as Arcpliance and/or
                      “appliance” or “appliance-type” sales;

              (2)     More important than the organic growth figure for understanding
                      the momentum of sales of IDOL was earnings growth which was
                      not affected by the calculation (because, of course, the hardware
                      sales were not profitable); and

              (3)     There had been “a little bit of picking of periods here” by the
                      Claimants: he suggested that a comparison with the more
                      relevant preacquisition period between H1 2010 and H1 2011
                      would yield a very different result.

1239. What Dr Lynch’s answers in cross-examination in the context of the Q4 2010
      Bulletin served to emphasise was the inextricable connection, on the
      Defendants’ case (at least as it was developed by Dr Lynch), between the
      purpose of the sale and its characterisation as an appliance: and as the purpose
      of all the hardware sales, on the Defendants’ case, was to drive software sales,
      substantially all, if not all, its hardware sales were “Appliance” or
      “Appliancetype” sales. Put another way, Dr Lynch’s ultimate answer to Mr
      Rabinowitz’s accusation that the last sentence of the passage quoted in
      paragraph 1236 above was a “bare-faced lie” depended on what was comprised
      in the phrase “the hardware element”.

1240. A problem for the Defendants in this way of developing their case is that at one
      and the same time they and management also represented that ‘appliance sales
      ’ comprised only a very small proportion of total sales, say 1%. The argument
      that the nature and extent of hardware sales were revealed by the disclosure of


                                        Page 390
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 392 of 900
Approved Judgment                                                             HC-2015-001324
Mr Justice Hildyard


         the fact of appliance sales was untenable; and the mere revelation of the fact of
         such sales took the Defendants next to nowhere.

1241. Mr Rabinowitz also suggested to Dr Lynch that the second of Dr Lynch’s points
      summarised in paragraph 1238 above was inconsistent with a passage earlier in
      the Investor Bulletin itself stating that “In analysing organic growth Autonomy
      considers organic IDOL growth to be the most meaningful performance metric
      for understanding the momentum in the business”. Dr Lynch’s answer to this
      was that the sentence was limited to stating that for the purpose of analysing
      organic growth the important factor was organic IDOL growth and did not affect
      the fact that, in his view, the most important metric in valuing Autonomy was
      not organic growth, but earnings growth (EPS) and/or free cash flow growth.

1242. I agree that the metrics are different. I also agree, of course, that it is a tenable
      view that the more important valuation metric is earnings growth, and EPS.
      Further, though Dr Lynch accepted that growth driven by the sale of ‘pure ’
      hardware was not a meaningful metric for understanding the momentum of
      IDOL sales, and it seems to me it would follow that its inclusion would thus
      have skewed the presentation of IDOL organic growth, he did not accept that
      any of the sales were ‘pure’ hardware sales. He argued that the Claimants’
      calculation, and its utility, depends on accepting their definitions. Again, at the
      heart of this was Dr Lynch’s elastic definition of “the hardware element”. What
      was said entirely altered in significance according to the content of that phrase.

         In my view, all this was an exercise in obfuscation on the part of Dr Lynch.
         What he needed to do, and what this part of the Investor Bulletin did, was to
         count all hardware revenue in for one purpose, but remove only part of it for
         another, in order to maintain the picture of growth without material past adverse
         effect, and the prospect of future improvement, in gross margin.

1243. Mr Miles took up in re-examination the last of Dr Lynch’s points as summarised
      in paragraph 1238 above. Mr Miles put to Dr Lynch two different comparisons.
      These, as Dr Lynch had suggested in cross-examination, were based on
      information extracted from the interim results for the six months ended 30 June
      2011.

1244. The comparisons Mr Miles put were (a) between Q2 2010 and Q2 2011 and (b)
      between H1 2010 and H1 2011. Those comparisons, as Dr Lynch happily
      agreed, showed that if what the Claimants termed “pure hardware” was stripped
      out from both, the effect was actually to increase the organic growth rate from
      one period to the other. But this did not take Dr Lynch very far: the exclusion
      of "pure hardware” in both periods might show comparative organic growth,
      but at the price of reducing the revenue growth and ruining the whole picture
      which hardware sales were intended to paint.

1245. In any event, even accepting (to test the argument) every part of Dr Lynch’s
      three-part rebuttal summarised in paragraph 1238 above, the fact remains that if
      what was termed in the passage quoted “the hardware element” had been
      stripped out, Autonomy’s revenue would have been materially reduced. That of


                                          Page 391
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 393 of 900
Approved Judgment                                                           HC-2015-001324
Mr Justice Hildyard


         itself would almost certainly have invited questions, which would have revealed
         the programme. Further, depending on exactly which sales were treated as the
         “hardware element” the comparison between the two periods selected by the
         Claimants would depend on the relative amounts of such sales in each period;
         but I suspect that, whatever the content given to the “hardware element” the
         claim that “organic growth” would have increased is a shaky one. And if, as at
         one moment in his cross-examination Dr Lynch suggested, all sales with a
         hardware content except Arcpliance sales were excluded, the statement made
         would have been false.

1246. More generally, I cannot avoid the conclusion that the part of the Investor
      Bulletin with reference to organic growth quoted in paragraph 1236 above
      omitted any reference to hardware sales, other than Arcpliance or appliance
      sales, not because of the difficulty of comparing apples with apples, but as part
      of the continuing determination of the Defendants not to disclose to the market
      that a material part of Autonomy’s revenue and IDOL “organic growth” was
      derived from such sales.

1247. The Claimants’ contentions in that respect are fortified by another passage in the
      same Bulletin which again presented the variability in gross margins as being
      due to appliance sales (“pre-packaged, turnkey solutions”), with no reference
      being made to the substantial ‘pure’ hardware sales that Autonomy had made
      both in this and previous quarters. Under the heading “Profitability analysis”,
      the following passage appeared (emphasis added):
               Other factors to consider: There are a number of other factors that
              affect the gross margin. During the year Autonomy has also succeeded
              in addressing the urgent needs of a small number of customers with
              pre-packaged, turnkey solutions, constructed of services, hardware
              and software, of which Arcpliance is an example. The gross margin for
              such solutions is lower than for pure software. As a result, over the last
              few years the gross margin has fluctuated anywhere between around
              85-92% without an easily discernible pattern. Autonomy has indicated
              that it expects the gross margin to remain within the range of 85-90%
              for the foreseeable future.”

1248. Lastly in respect of Q4 2010, and to repeat my refrain from previous quarters: I
      was not shown any document or exchange between Dr Lynch and Mr Hussain
      relating to these contemplated sales and Mr Hussain’s projections and modelling
      that suggests that any of this had anything to do with marketing.

Q1 2011 Quarterly Report


1249. I did not understand the Claimants to take any specific point or make any
      specific criticism of the Q1 2011 Quarterly Report (released on 21 April 2011)
      (nor, for that matter, of the Q1 2011 Q&A or the Earnings Call for that quarter),
      apart of course from the criticism that the hardware reselling strategy was once
      again not properly disclosed.


                                         Page 392
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 394 of 900
Approved Judgment                                                                       HC-2015-001324
Mr Justice Hildyard




1250. However, it is noticeable that the Q1 2011 Quarterly Report did not repeat the
      sentence which Dr Lynch stated Deloitte had insisted be included in the Q4 2010
      Quarterly Report and (according to him) had regarded as sufficient disclosure
      of the hardware reselling strategy (see paragraph 1232 above), and (as in the Q3
      2010 Quarterly Report) did not mention hardware or “Arcpliance, Appliances
      or Strategic Package/Solutions”. By now, gross margins had recovered, and
      indeed were shown as having increased to 88%, with improvements forecasted.
      That, at least in part, reflected a reduction in loss-making hardware sales.

1251. The figures for “ IDOL Product” ($54.4 million), “IDOL Cloud” ($52.7 million),
      “IDOL OEM” ($37.2 million) 177 and “Services revenue” ($9 million) in the
      narrative descriptions and “Deferred Revenue Release” ($66.5 million)
      amounted (after rounding) to the total revenues of $220 million as stated under
      “Revenue”: the categories left no room for other sources of revenue.


Q2 2011 Quarterly/Half yearly Report and Earnings Call

1252. There was no mention of hardware sales, or Arcpliance, or “strategic
      Package/solutions” in the Q2 2011 Quarterly Report either. The only reference
      was to ‘appliances’, and then only as follows:


                       Autonomy saw expected improvements in gross margins in Q2 2011
                      compared to 2010 due to the sales mix including more appliances in
                      prior years. Gross profits (IFRS) for H1 2011 were $388.3 million, up
                      16% from $334.0 million in H1 2010.”

1253. Software sales had recovered well in Q2 2011, and with the increase in gross
      profit and gross margin, there was no longer any need for words to explain “low
      margin” sales. As elaborated later, it is clear from the Q&A scripts that had
      questions been asked about the reference to appliance sales in prior years, the
      answers would not have disclosed the fact of hardware sales, otherwise than as
      Arcpliance or “strategic” packages or solutions. In the event, no such question
      was asked.

1254. Once more, the figures for “IDOL Product” ($68.5 million), “IDOL Cloud”
      ($64.3 million), “IDOL OEM” ($47.2 million), “Deferred revenue release”
      ($67.5 million) and “Services” ($8.8 million) (this time in a table) amounted to
      the total revenue figure of $256.3 million appearing at the foot of that table, as
      well as under “Highlights”.178



177
    The “Core IDOL reported revenues” ($144.3 million) appearing in the table at the top of page 3 of
the Report was – as stated in footnote 1 to the table – the sum of the IDOL Product ($54.4 million),
IDOL Cloud ($52.7 million) and IDOL OEM ($37.2 million) categories.
178
    I was not referred to any Investor Relations Bulletin for this period.


                                               Page 393
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 395 of 900
Approved Judgment                                                               HC-2015-001324
Mr Justice Hildyard


1255. No mention was made of hardware sales in either the Q2 2011 Quarterly Report
      or in the Q2 2011 Earnings Call, although Autonomy recognised some $20.8
      million in respect of ‘pure hardware’ in Q2 2011. Apart from that observation,
      no particular point needs to be noted in respect of either the report or the call:
      however, as I elaborate later, it is clear from the Q&A scripts prepared for the
      Q2 2011 Earnings Call that Dr Lynch and Mr Hussain remained determined that
      the market should not know about these ‘pure hardware’ sales.

Summary of the Claimants’ case as to the disclosure made in Quarterly Reports

1256. In my judgment, this review of the Annual and Quarterly Reports in the
      Relevant Period demonstrates that the hardware sales were almost entirely
      concealed. Concealment required considerable invention.

1257. When, as an inconvenient by-product of the deferment of revenue recognition,
      $10 million was required to be parked in ‘Inventory’, a story was invented that
      this was hardware inventory purchased in preparation for Arcpliance sales. The
      story was false. In subsequent quarters, any reference to ‘hardware’ was excused
      as being referable to appliance or Arcpliance sales: the fact and extent of what
      the Claimants have called ‘pure hardware’ sales were to that extent disguised
      and as to the rest concealed.

1258. As will be examined in more detail later, the costs of hardware were allocated,
      not to ‘Cost of Sales’ or ‘COGS’ but as to large part as ‘Sales and marketing
      expenses’, serving a dual function of (a) disguising the true costs of the hardware
      purchases and loss-making sales and (b) reducing the adverse impact on gross
      margin.



1259. It also appears that, in line with the Claimants’ case:

              (1)           When gross margins were not impacted, or not impacted
                            materially, by loss-making hardware sales, so that the gross
                            margin percentage remained stable or had improved, no
                            reference was included to anything except sales of software: that
                            was the case, for example, in Q4 2009, Q1 2011 and Q2 2011.

              (2)           When gross margins were adversely impacted, a variety of
                            explanations were put forward, none of which revealed the real
                            reason (loss making hardware sales). Thus:

                      i.    In Q3 2009 the reduction in gross margins was presented as
                            being referable to “unexpected demand for new [products]”
                            (SPE and Quick Start);

                      ii.   In Q1 2010, the sudden increase in Inventory in consequence of
                            the deferral of revenue from hardware sales was incorrectly
                            ascribed to the purchase of hardware for Arcpliance;


                                              Page 394
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 396 of 900
Approved Judgment                                                              HC-2015-001324
Mr Justice Hildyard




                      iii. In Q2 2010, the deterioration in gross margins was ascribed to
                           the quarter’s “sales mix including Appliances” (appliance sales
                           being at lower margins) without any reference to loss-making
                           hardware sales;

                      iv. In Q3 2010, when gross profits were once more stable, the past
                          was explained in terms of the “sales mix” in the previous quarter;

                      v.   In Q4 2010, at Deloitte’s insistence, words to capture low margin
                           and loss-making sales were included, but in very opaque terms
                           (“package solutions, constructed of services, hardware and
                           software, such as Arcpliance”);

                      vi. In Q1 2011 and Q2 2011, by which time gross margins first
                          stabilised and then increased in percentage terms, no reference
                          was made to hardware, or even to some broad description such
                          as “package solutions, constructed of services, hardware and
                          software, such as Arcpliance”.

1260. Overall, the impression given in every report was that all revenues were
      generated through IDOL software transactions, except those relating to services,
      which were separately accounted for. That further appeared to confirm the
      Claimants’ case (as summarised above) that Autonomy presented itself to the
      market generally, and to HP during the pre-acquisition discussions and due
      diligence, as a ‘pure software company’ whose revenues were almost
      exclusively derived from the sale of its IDOL software and related software (and
      a small amount of ‘appliance sales’).

1261. What was said, or not said, about the sales in the quarterly earnings calls was
      correspondingly disingenuous at best. I have determined that what Dr Lynch

         said at the Earnings Call for the quarter (Q1 2010) when both Defendants
         provided an explanation for the Inventory was patently false, and he elaborated
         on the falsity during the call which exacerbated the falsity. Allowing for his
         hearing problem, I was not persuaded that Dr Lynch was in some way at
         crosspurposes because volcanic ash had marooned him in California and he was
         on a mobile phone which he could not connect to his hearing aid: the transcript
         is clear and consistent and his responses did not seem to me to suggest that he
         misheard the relevant question.

Is the Defendants’ avowed reliance on Deloitte a “trump card”?

1262. The fact remains that Deloitte approved the Quarterly Reports and Autonomy’s
      quarterly, half-yearly and annual accounts throughout the Relevant Period, and
      so too did the Audit Committee. Furthermore, at least one representative of
      Deloitte (I think invariably Mr Welham) sat in on each of the Earnings Calls
      (see further paragraphs 123 above, 1437 and 1519(6) below) in the course of


                                            Page 395
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 397 of 900
Approved Judgment                                                              HC-2015-001324
Mr Justice Hildyard


         which it is clear, at least in retrospect, that (at best) incomplete and on various
         occasions fundamentally inaccurate information was provided about the
         hardware reselling revenue’s contribution to overall revenues.

1263. Neither Deloitte nor the Audit Committee expressed any material doubt as to
      the commercial propriety of the hardware reselling or the Defendants’
      explanation of its purpose: on the contrary, both accepted the purpose given as
      a valid basis for accounting for and treating hardware reselling revenue as part
      and parcel of Autonomy’s core software business.

1264. As was essential in order to achieve the true purpose of the hardware reselling
      strategy, both Deloitte and the Audit Committee were also persuaded, despite
      reservations they expressed, not to insist on separate disclosure of the hardware
      transactions, either in the ‘back-end’ of the accounts, or in any of Autonomy’s
      published information.

1265. The fact that Mr Welham and all those concerned at Deloitte, including the audit
      engagement partners in overall charge of the Autonomy audit in the Relevant
      Period, Mr Knights (from 2005 to 2010) and Mr Mercer (from May 2010),
      considered the hardware sales in great detail and were persuaded (a) that their
      purpose was to protect and promote software sales; (b) that some proportion of
      the costs were properly to be accounted for as marketing expenses; and (c) that
      the accounting treatment, the Supplemental Metrics and the cryptic and limited
      information given could properly be approved, is obviously much relied on by
      the Defendants.

1266. The Defendants accepted that the responsibility for the accounting treatment
      was ultimately that of the Directors. Directors put forward their account of the
      performance of the company of which they have management control: auditors
      audit that account. However, they insisted that unless materially misled,
      Deloitte’s acceptance of the accounting put forward by the directors, after
      careful audit, with full access to the accounting information, and with
      knowledge of the extent of the hardware reselling, demonstrates that, whatever
      else, they were not dishonest. Indeed, their case was that they believed the
      hardware reselling and the way it was accounted for to be entirely proper, and
      were confirmed in that belief by Deloitte.

1267. However, if the Defendants did mislead Deloitte, that would of itself be
      powerful evidence, not only of the impropriety inherent in any deliberate
      misrepresentation, but also that they considered that disclosure would fatally
      undermine the programme (which could only be the case if its purpose was as
      the Claimants alleged).

1268. The Claimants’ case is that the reason why Deloitte and the Audit Committee
      did not raise any red flags, accepted accounting treatment of the hardware
      reselling revenues and costs which undoubtedly obscured their nature and
      source, and never insisted on more transparency, was that both were
      fundamentally misled by an avowed purpose which was bogus and a false


                                           Page 396
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 398 of 900
Approved Judgment                                                                 HC-2015-001324
Mr Justice Hildyard


         narrative which was developed by the Defendants with the assistance of (in
         particular) Mr Kanter and Mr Chamberlain and adjusted over time as events
         progressively raised more questions as to its legitimacy.

1269. The Claimants’ case on the reasons for avoiding disclosure and the falsity of the
      Defendants’ presentation of the purpose of the hardware sales come together
      and are mutually supportive at this point. The presentation of the purpose of the
      hardware sales as being to drive software sales was necessary to persuade
      Deloitte that the hardware revenues did not have to be differentiated in the
      accounts nor did their source need to be disclosed. If the true nature and extent
      of the sales were to be disclosed, the programme would be revealed for what it
      was: a means of covering up disappointing software sales, and there would have
      been no point in it.

1270. It was on that basis that Mr Rabinowitz submitted in his oral closing that:

                      “Deloitte is not the trump card that Dr Lynch would like it to be.”

The development of the narrative presented to Deloitte and the Audit Committee

1271. It seems to me that the most convenient way of addressing and determining this
      key aspect of the hardware case is to track the development of the narrative by
      reference to the phases in the programme marked by:

              (1)            The background and development, and the presentation and
                             effect, of the Strategic Deals Memorandum, which was
                             principally focused on the arrangements between Autonomy and
                             EMC but was formative of Deloitte’s perception of the hardware
                             reselling strategy even after Dell replaced EMC as Autonomy’s
                             hardware supplier for the programme.

              (2)            The reinforcement and adjustment of the justification of the
                             hardware reselling strategy and its costs after the replacement of
                             EMC by Dell (and especially from early 2010 onwards),
                             principally in Quarterly Notes prepared by Mr Hussain and Mr
                             Chamberlain for the Audit Committee (“Mr Hussain’s Quarterly
                             Notes”). These Notes were always precirculated to Dr Lynch and
                             Deloitte, and when presented to the Audit Committee were
                             accompanied by Deloitte’s own quarterly reports on their
                             reviews in each quarter of the accounts for that quarter
                             (“Deloitte’s Quarterly Reports”), and its effect.

              (3)            The development of the “Linkage Analysis” in successive
                             editions from Q2 2010 to persuade Deloitte and the Audit
                             Committee that the hardware reselling strategy had discernible
                             effect on and was of benefit to software sales.

Efforts to obtain “a helpful form of words” from EMC to “wave in front of Deloitte”



                                               Page 397
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 399 of 900
Approved Judgment                                                            HC-2015-001324
Mr Justice Hildyard




1272. It will be recalled that in its original incarnation, when EMC was Autonomy’s
      hardware supplier, the Defendants presented the hardware reselling strategy as
      involving a ‘partnership’ with EMC for the development jointly of an
      ‘appliance’ and for marketing and related arrangements to be undertaken by
      EMC, funded in part out of the purchase price for the hardware purchased by
      Autonomy. This was bound to raise Deloitte’s expectation of confirmatory
      evidence from EMC.

1273. Autonomy’s management spent much of September 2009 pressing Mr Sullivan
      to use his contacts in EMC to get them to agree to wording which would provide
      confirmation of the arrangements, and especially of some commitment on the
      part of EMC to begin the joint development of an appliance and to treat part of
      its receipts from the sale of its hardware as a “marketing incentive” (there being
      none in the relevant contracts).

1274. The Claimants’ closing submissions contained a detailed chronological
      description, by reference to a number of email exchanges, of what they
      presented as the orchestration by Mr Hussain and Mr Chamberlain, in
      conjunction with Mr Sullivan, of efforts to extract from EMC “a helpful form
      of words...that could be waved in front of Deloitte.”

1275. They also described how on 15 September 2009, Dr Lynch and Mr Hussain had
      agreed to pay Mr Sullivan a special bonus of $50,000 if he succeeded in this
      regard (I have quoted the email in question and the incentive arrangements in
      greater detail in paragraphs 1119 and 1127 above).

1276. I do not think it is necessary for me to rehearse in as much detail as the Claimants
      provided the numerous exchanges between Mr Sullivan and Mr Hussain and/or
      Mr Chamberlain, which were characterised by the latter two formulating,
      reformulating and pressing for the wording to which they wanted EMC to agree,
      and Mr Sullivan consistently having to suggest modifications and to warn (in
      effect, even if not in so many words) that EMC would not agree wording which
      did not reasonably accurately reflect his actual discussions with them.

1277. It is, however, necessary to refer to the exchanges in summary to illustrate why
      it seems to me to be clear that what Dr Lynch in cross-examination sought to
      justify as the efforts of Mr Hussain and Mr Chamberlain to “get the right
      accounting…the accounting… reflecting the reality of the situation” (and see
      also paragraph 1342 below) ultimately exposed the fact that EMC did not regard
      itself as committed in any way, and was not willing to provide more than
      anodyne enthusiasm for the reselling programme which provided it (EMC) with
      undoubted benefit (a discount for its customers at Autonomy’s expense).

1278. In summary:

              (1)      Initially, what Mr Hussain and Mr Chamberlain wanted (as is
                       clear from the email of 15 September 2009) and urged Mr


                                         Page 398
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 400 of 900
Approved Judgment                                                                 HC-2015-001324
Mr Justice Hildyard


                             Sullivan to “extract” was EMC’s agreement (actual or tacit) to
                             the presentation of the price paid by Autonomy for their
                             hardware as comprised of three components, being “hardware
                             cost”, “commission for resale” and a “marketing fee”, each with
                             an allocated dollar amount. Mr Chamberlain gave as an
                             illustrative example a $31 million hardware order, and the
                             suggested description of $20 million as “hardware cost”, $6
                             million as a “commission for resale” and $5 million as a
                             “marketing fee”. Mr Chamberlain explained to Mr Sullivan that
                             this was “the sort of thing we need from EMC for internal cost
                             allocation”. Mr Sullivan did not feel able to propose this since
                             he did not think EMC would be “that specific on their cost”.

              (2)            Mr Sullivan’s proposal for blander wording sparked a counter-
                             proposal from Mr Chamberlain which he presented as a “minor
                             tweak”, but which the Claimants (justifiably, in my view)
                             presented as a substantive change designed “to allow us to show
                             $20m as COGS and $10m of marketing”.

              (3)            When Mr Sullivan balked at seeking the proposed wording from
                             EMC, there followed a further exchange culminating in
                             agreement on revised wording to be put to EMC providing
                             “details of Autonomy’s Q3 marketing program” under which
                             Autonomy would “purchase products from EMC at a price
                             consisting of” (i) “EMC’s discounted price to Autonomy, which
                             typically will represent a substantial discount off list price but
                             will be determined on a deal by deal basis” and (ii) “plus a
                             marketing incentive supplied to EMC to be determined on a deal
                             by deal basis”. Mr Sullivan put this version to EMC in an email
                             dated 18 September 2009 ending his email “I would appreciate
                             it if you could confirm your understanding of the program.”

              (4)            Even though Mr Sullivan’s email involved no suggestion that
                             EMC had assumed any obligation to provide marketing
                             assistance to Autonomy, still less any suggestion of the agreed
                             development of an appliance, EMC’s reply that afternoon was
                             studiously non-committal, simply stating:

                      “This looks like a great programme and we are excited to participate in
                      it.”

              (5)            All that appears to have been sent to Deloitte (addressed to Mr
                             Knight and Mr Welham) by Mr Chamberlain (and only at a later
                             date, in early October 2009) is the thread of (a) Mr Sullivan’s
                             email and (b) EMC’s response on 18 September 2009. Mr Knight
                             forwarded that thread to Mr Knights with the comment:




                                               Page 399
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 401 of 900
Approved Judgment                                                                   HC-2015-001324
Mr Justice Hildyard


                            “Helpful but not enough to substantiate a $25m marketing
                            element in my view. I have asked if EMC can quantify but I
                            suspect that this is all we will get.”

              (6)           On 2 October 2009, by email to Mr Sullivan, copying Mr
                            Hussain, Mr Chamberlain proposed new wording which invited
                            EMC to confirm that (a) EMC would spend a material proportion
                            of the difference between the Autonomy selling price and the
                            EMC selling price, which was labelled “the premium”, together
                            with a “distributor premium”, on “development of the EMC cells
                            and working on training the sales force and joint marketing with
                            Autonomy to further develop the EMCAutonomy partnership”;
                            and also (b) that “the standard reseller margin is approximately
                            55%”.

              (7)           Mr Sullivan could not support this tack either. His response (by
                            email to Mr Hussain and Mr Chamberlain dated 2 October 2009)
                            was that he was “Not optimistic about this…” 179

              (8)           Mr Hussain immediately replied to both Mr Sullivan and Mr
                            Chamberlain, “Give me an idea of what you could get”. The
                            Claimants suggested also that Mr Hussain’s reply showed that
                            “Mr Hussain simply wanted whatever form of words could be
                            extracted from EMC to show Deloitte, whether or not it bore any
                            relationship to the truth”.

              (9)           Mr Sullivan was not, however, to be pushed too far. As he put it
                            in his witness statement:

                      “On occasion, I was asked by Mr Hussain or Mr Chamberlain to
                      extract certain language from EMC and when the suggested language
                      was not accurate, I offered modified language that was accurate.”


              (10)          Mr Sullivan’s further email response of 2 October 2009 to Mr
                            Hussain and Mr Chamberlain (but not, it seems, Dr Lynch) was
                            unequivocal:

                            “…They will not OK anything that says that what we paid them
                            was for something other than for the product we purchased in
                            this period. Nor will they say the money will be spent on
                            marketing etc. They are extremely sensitive to these kinds of
                            letters.




179
   The notion of a “standard reseller margin” of 55% was contradicted by Autonomy’s references
only days before to an allocation based on a 25% and then a 35% margin.


                                             Page 400
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 402 of 900
Approved Judgment                                                                  HC-2015-001324
Mr Justice Hildyard




                                 If I can get them to agree to anything it will need to be more
                             general:

                             1. Maybe acknowledge that our marketing program is not
                                limited to Q2. This would imply that we would do more of
                                the same in Q4 and beyond.

                             2. They have already acknowledged that the fees paid were a
                                marketing incentive…”

              (11)           Mr Sullivan could scarcely have been plainer; but still Mr
                             Chamberlain persisted. On 5 October 2009 he emailed Mr
                             Sullivan, copying Mr Hussain, stating:

                             “We have to get EMC to state that they will spend $’s over next
                             few quarters on developing their cells…the key at this stage is
                             to get something that will state that their [sic] will be a future
                             investment by EMC”.

              (12)           Mr Chamberlain proposed new and briefer language including:

                             “EMC plan to continue to invest in the relationship through
                             continued development of our cells and similar joint marketing
                             with other customers”.

              (13)             Mr Sullivan could not accept this either. On 5 October 2009 he
                               proposed and sent, with the reluctant but resigned approval of Mr
                               Chamberlain and Mr Hussain, an email which thanked EMC for
                               “participating in our key customer marketing program” and
                               looked forward to the possibility of “the continuation of the
                               program to include: development of an appliance bundle, mutual
                               cross referrals, account introductions, reselling and other
                               opportunities” (as also quoted in paragraph 774(5) above). As
                               the Claimants pointed out, that wording contained no suggestion
                               that such matter had been agreed with EMC:
                      rather, these were to be discussed in the future.

              (14)           Having received no reply, Mr Sullivan chased Mr Scannell by
                             email dated 14 October 2009. The content of that email
                             demonstrated that Mr Sullivan (a) recognised there was no
                             prospect of the sort of confirmation that Mr Hussain and Mr
                             Chamberlain had sought and (b) well understood that there never
                             had been any commitment on the part of EMC either to spend
                             money on marketing for Autonomy or to collaborate on a joint
                             appliance. All that was left was to talk lamely of wanting:




                                                Page 401
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 403 of 900
Approved Judgment                                                          HC-2015-001324
Mr Justice Hildyard


                      “to follow up again to see if we could spend some time talking
                      about other ways we could help each other. Amongst other
                      things, we are going to launch some appliance products and
                      will need hardware to bundle into the product.”

              (15)    Mr Scannell again sent no reply.

1279. It seems to me that it was plain by then to Mr Hussain and Mr Chamberlain, as
      illustrated by their reluctant retreat from seeking to persuade Mr Sullivan to try
      yet again to extract wording from EMC showing some definite commitment to
      apply the ‘delta’ in pre-agreed ways, that some other justification for the
      allocation of a proportion of the hardware costs to sales and marketing had to
      be found and substantiated.

1280. From then on, as it seems to me, their focus was no longer on obtaining from
      EMC any acknowledgement of any commitment. Instead, management turned
      to seek through Mr Sullivan EMC’s acknowledgement of some generally
      applicable but quantified parameter, whether a quantified “hardware amount”
      or “the standard reseller margin”, with a view to persuading Deloitte that the
      difference between the amount to be regarded as the selling price and the amount
      actually paid to EMC by Autonomy (the ‘delta’) should be treated as referable
      to marketing incentives or development funding. This was what became known
      as the “residual approach.”

1281. In the meantime, as the Claimants presented it, Mr Hussain had gone ahead with
      efforts to maximise the amount of hardware costs that could be allocated to sales
      and marketing expenses in Autonomy’s accounts. This process too had gone
      through a number of stages:

              (1)     On 29 September 2009, Mr Chamberlain sent Mr Hussain by
                      email a summary of the Q3 hardware deals. He attached a
                      spreadsheet showing that by that point Autonomy had purchased
                      hardware from EMC for a total of $50.722 million and
                      Autonomy had re-sold that hardware for $40.873 million,
                      thereby incurring a loss of $9.859 million. Mr Chamberlain had
                      proposed (as shown in the spreadsheet) to allocate $30.654
                      million of the $50.722 million spent to COGS and the remaining
                      $20.068 million to sales and marketing.

              (2)     Mr Hussain was not satisfied. On 30 September 2009 he told Mr
                      Chamberlain in an email that he needed “to get cogs down by at
                      least $5 million so that it’s 50:50”. That necessitated decreasing
                      the amount allocated to COGS by $5 million, and increasing the
                      amount allocated to marketing by that amount, to achieve a
                      roughly 50:50 split. No basis for the change in allocation was
                      suggested. The Claimants therefore submitted that the allocation
                      was driven simply by a desire to attribute as much as possible to




                                        Page 402
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 404 of 900
Approved Judgment                                                                  HC-2015-001324
Mr Justice Hildyard


                             marketing and reduce to a minimum the amount allocated to
                             COGS.

              (3)             In response, Mr Chamberlain duly amended the spreadsheet,
                              though he had to adopt a slightly more complex method to
                              achieve the result. The $50.722 million was now allocated as
                              follows: $26.567 million to COGS and the remaining $24.155
                              million to sales and marketing. This was achieved by reducing
                              (artificially, according to the Claimants) the socalled “wholesale
                              price” of the hardware. Whereas in the original spreadsheet the
                              wholesale price ($30.654 million) was shown as 75% of
                      the retail price ($40.873 million) showing a “Normal margin to reseller”
                      of 25%, in the revised version, the wholesale price was reduced to
                      $26.567 million (i.e. 65% of the retail price), with the “Normal margin
                      to reseller” increasing to 35%.

              (4)            The Claimant labelled this as “entirely artificial”, in that
                             Autonomy was not at that stage aware of EMC’s real “wholesale
                             price”, and the reduction of that “wholesale price” enabling an
                             increase of the “Normal Margin to reseller” was arrived at
                             without any input from or discussion with EMC, and to achieve
                             only one end, being to maximise the amount of hardware costs
                             allocated to marketing so that the effect on the bottom line of the
                             hardware reselling costs would commensurately be reduced. It is
                             difficult to disagree with that label: and I accept it.

              (5)            The evidence did not disclose whether Deloitte knew of these
                             alterations or their basis.

1282. Quite what Deloitte came to know of these unsuccessful efforts to extract
      serviceable wording from EMC to persuade them of a commitment on EMC’s
      part to apply the ‘delta’ to marketing and/or development is not clear. It was not
      disputed that Deloitte always had access to all emails and other internal
      documents: Autonomy appears to have operated an ‘open book’ policy. There
      was, however, no documentary trail or evidence demonstrating that Deloitte
      were sent or saw the emails internal to Autonomy referred to above. Nor, apart
      from the email from EMC of 18 September 2009 which was sent to Deloitte on
      9 October 2009 (see paragraph 1278(5) above), was there evidence of Deloitte
      having been shown the emails to EMC or Mr Sullivan’s follow-up email dated
      14 October 2009 when Mr Scannell did not reply, in which the best that Mr
      Sullivan felt able to achieve was an acknowledgment of some possibility of such
      an agreement in the future:

                      “I wanted to follow up again to see if we could spend some time
                      talking about other ways we could help each other. Amongst other
                      things, we are going to launch some appliance products and will need
                      hardware to bundle into the product.”




                                                Page 403
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 405 of 900
Approved Judgment                                                              HC-2015-001324
Mr Justice Hildyard




1283. In such circumstances, I have concluded that it is unlikely that Deloitte were
      aware of the exchanges within Autonomy, or (except for the email of 18
      September 2009) those (which were few) between Autonomy and EMC.

1284. As a result, it seems to me more likely than not, and I find, that, prior to the final
      drafts of the Strategic Deals Memorandum, Deloitte were (a) unaware that the
      metric central to the “residual approach” (EMC’s real “wholesale price”) was
      a figure contrived by Autonomy and (b) still looking to Autonomy to supply the
      substantive evidential support of the collaboration and agreement with EMC
      which Autonomy’s management continued to cite as justification for the
      accounting treatment which they proposed.

1285. Mr Welham’s unchallenged evidence in his witness statement was that on 7
      October 2009 Mr Hussain met with members of the Deloitte team to explain the
      background to the EMC hardware transactions. A review working paper with
      the subject heading “EMC related revenue deals”, (which is actually dated at
      its top 5 October, but which refers to later events and was described by Ms
      Anderson of Deloitte, who prepared it, as an extract from a full memorandum),
      recorded what Deloitte had been told of the commercial rationale at that stage.
      This included the following:

              (1)      “Autonomy has decided to apply, in the case of large ongoing
                       projects, a package approach to the demand for strategic selling
                       at major institutions.”

              (2)      “This will replace the existing situation where a customer has
                       the choice of purchasing software from Autonomy or another
                       software provider and purchasing hardware in a separate
                       transaction from EMC or another hardware provider.”

              (3)      “Autonomy will encourage customers to purchase EMC
                       hardware and the customer will get a better deal by purchasing
                       through Autonomy than they would receive directly with EMC.”

              (4)      “The benefit will be seen in the long term with these and other
                       customers as they purchase additional cells to replace or expand
                       their existing storage cells. As Autonomy has aligned themselves
                       strategically with EMC, customers will purchase their cells from
                       EMC via Autonomy. EMC will have configured their cells to
                       make them completely compatible with Digital Safe. Customers
                       will be able to choose Autonomy as their strategic supplier for
                       hardware and software.”

              (5)      “Autonomy has considered the cost to them in respect of these
                       deals” [the reference being to the deals with Citi, JPMC and
                       Bloomberg] in three portions:



                                          Page 404
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 406 of 900
Approved Judgment                                                                HC-2015-001324
Mr Justice Hildyard


                      “Costs of goods sold: This is equal to the standard wholesale price…and
                      is equal to 55% of the selling price
                      Marketing: Autonomy has repaid the reseller margin back to EMC.
                      The standard reseller margin is 45% of the selling price. Autonomy
                      considers this is a marketing cost that they need to incur…
                      Development: Autonomy has then paid an additional sum on top of the
                      cost of goods and marketing cost which they consider to be a
                      development cost…This amount represents a contribution to EMC’s
                      development costs and is being expensed over the period during which
                      Autonomy is expected to benefit. EMC has confirmed that they expect
                      to spend these $’s over the next few quarters and Autonomy is
                      expecting to generate additional benefit through further sales in that
                      period.”

              (6)            A note from Mr Welham reads “But is this really a marketing
                             cost. Remember IAS 38 has been amended to clarify this point…”

1286. Behind the scenes at Deloitte, the attitude in September, and up to mid-October
      2009, was quite plainly one of considerable scepticism. Mr Welham had also
      put comments in the margin on Ms Anderson’s Memo. These included:

              (1)            A comment next to the statement in that Memo that the
                             “standard wholesale price of the goods” was 55% of the selling
                             price, the question “How can we evidence this?”;

              (2)            Three exclamation marks and the comment “That is a nice
                             incentive” next to Ms Anderson’s note that Autonomy had
                             “repaid the reseller margin back to EMC” and the standard
                             reseller margin was 45% of the selling price;

              (3)            A comment next to Ms Anderson’s note that Autonomy had
                             additionally paid what they were describing as a “development
                             cost”, which read “This makes no sense. Why would Autonomy
                             pay for EMC to develop their products, especially they are
                             making no margin on such deals”; and

              (4)            Next to Ms Anderson’s note that Autonomy accepted they could
                             not capitalise what they asserted were development costs
                             because they could not demonstrate probable future benefit, a
                             comment “…so we are expecting this to be taken as a cost”.

1287. On 7 October 2009 (and presumably after the meeting the same day referred to
      above), Mr Knight sent an email to Mr Hussain, Mr Chamberlain and Mr
      Knights and Mr Welham (and thus to the four finance persons principally
      involved). In addition to asking for further details of the three deals (with Citi,
      JPMC and Bloomberg), Deloitte requested documentation, and an explanatory
      memorandum, to be circulated to the Finance and “wider” audit team and also
      the Audit Committee, to justify what Autonomy proposed.


                                               Page 405
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 407 of 900
Approved Judgment                                                                   HC-2015-001324
Mr Justice Hildyard




1288. Deloitte asked that this explanatory memorandum should include:

              (1)            “a clear explanation of the commercial rationale for selling at a
                             loss. This needs to explain the exact nature of the benefit you are
                             getting from this deal at a loss and how it alters your relationship
                             with JPMC, Citi etc and also the relationship with EMC [which]
                             will need input from those who negotiated the deal”;

              (2)            an explanation of “your rationale for showing the costs
                             associated with the hardware purchase below the line rather
                             than as a cost of sale” given that the contracts themselves
                             “appear to suggest we are buying on and selling equipment as a
                             straight sell through.”


1289. Mr Knight also noted in the email that Mr Hussain had spoken “of an appliance
      being developed by EMC which will have Autonomy embedded into it” and he
      asked Autonomy to “please provide the documentation around this” and if to
      be accounted for as an intangible asset (as I assume must have been suggested
      at the meeting), an explanation of how its value could be identified, and how it
      could meet the IAS 38 definition (see below).

Development of the Strategic Deals Memorandum

1290. The Strategic Deals Memorandum was developed as a response to Deloitte’s
      request for further information as above described. It was itself a development
      of a document originally file-named “EMC transactions – Audit memo”.

1291. The first draft of the “EMC transactions – Audit memo” was prepared by Mr
      Hussain and the finance department on 1 October 2009. They amended it the
      same day, but not substantially. Its subject was presented as:

                      “a number of additional transactions with EMC whereby Autonomy
                      and EMC sell to existing Autonomy customers product which is
                      subsequently used with Autonomy software.

                      These transactions represent the commencement of a significant new
                      partnership between EMC and Autonomy to develop EMC data cells
                      such that they are readily compatible with Autonomy software and in
                      particular the Digital Safe. The initial transactions have revolved
                      around common customers of both entities but the long term goal is
                      that customers with EMC storage cells will be referred to Autonomy
                      for data storage software needs…

                      …




                                               Page 406
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 408 of 900
Approved Judgment                                                               HC-2015-001324
Mr Justice Hildyard


                      In recognition of the investment that EMC needs to make to ensure
                      marketing focus and further development of the cells, Autonomy has
                      paid a premium to EMC. This premium has two parts:

                                1. The normal reseller margin (35%) has been returned to
                                   EMC; and
                                2. An additional premium of 20-25% has been paid.

                      The purpose of the premium is to enable EMC to provide marketing
                      dollars, encourage the EMC salesforce to jointly sell, develop EMC
                      cells and provide joint marketing with Autonomy…

                      …

                      The cost to Autonomy is higher [than the price on the onward
                      sale]…and comprises three elements: the cost of the goods and the two
                      elements which make up the premium paid for marketing and
                      development costs to be incurred by EMC.

                      The standard reseller margin for EMC distribution channels – to which
                      Autonomy is entitled – is 35% so the cost of goods sold represents
                      $23,804,684 (65% of customer selling price)…As previously noted the
                      reseller profit margin of $12,817,907, normally retained by Autonomy,
                      has been passed to EMC and as an additional incentive to deepen and
                      widen the relationship a further $8,789,662 has been paid to EMC.”


1292. The Claimants highlighted numerous falsities in that draft, including:

              (1) In cross-examination, Dr Lynch accepted that the statement that the
                  hardware sold was for use with Autonomy software was not accurate, at
                  least in some circumstances, since the customer was under no obligation
                  to use the hardware with Autonomy software and although in some
                  instances the hardware would be used with Autonomy software, in
                  others it would not.

              (2) As and in the respects previously explained, Autonomy’s relationship
                  with EMC was not as described.

              (3) The arrangements in relation to the amounts paid by Autonomy to EMC
                  were falsely described.

              (4) So too were the statements as to the reasons for the “premium”.
                  Autonomy had not agreed to pay EMC a “premium” in order for it to
                  take any of the steps suggested in the draft memorandum, and EMC had
                  not agreed to make any “investment”, nor had there been any discussion
                  between Autonomy and EMC about Autonomy paying a “premium” for
                  product development or marketing efforts.


                                              Page 407
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 409 of 900
Approved Judgment                                                                 HC-2015-001324
Mr Justice Hildyard




              (5) EMC had not agreed with Autonomy to incur any marketing and
                  developments costs; nor had it provided any confirmation that it
                  expected to expend $8.8 million over the period up to 30 June 2010.

1293. On 2 October 2009, Mr Hussain circulated a draft to Dr Lynch’s PA for him to
      consider. Dr Lynch did not seek to correct any of the inaccuracies referred to
      above. Instead, he suggested a change of structure and a new introduction to
      extend it to cover and explain transactions with other hardware sellers (such as,
      at that time, Hitachi). The recast document (file-named “EMC accounting memo
      v3”) was renamed “Review of strategic transactions with very large
      organisations – Audit memo (Q2 and Q3 2009).” It is not clear who drafted
      the amendments. Mr Hussain sent a copy to Dr Lynch’s PA later the same day
      (2 October 2009).

1294. That recast document (v3) opened with the following (after which the same
      basic explanation as previously was given of the elements explaining the total
      costs):

                      “During the current downturn, to reduce costs, Autonomy has seen a
                      major shift taking place with companies seeking to reduce the number
                      of IT suppliers to 6 or 7 strategic ones. A significant part of these
                      customer’s IT base is related to storage and archiving and, as part of
                      this process, Autonomy has been asked to extend its role into becoming
                      strategic suppliers to these companies.

                      …
                      Autonomy decided to apply a package approach to this demand for
                      strategic selling at these major institutions which may mean that in
                      certain instances Autonomy takes terms which may appear loss making
                      initially but when considering the bigger picture are hugely profitable.
                      Autonomy expects this approach to pay off in the longer term as it
                      becomes a key part of the architecture for companies such as Citi,
                      JPMC and Morgan Stanley…
                      …

                  Autonomy approached EMC and Hitachi for a strategic partnership to
                  deliver the requirements in Q2… EMC have proven quicker…
                  …

                      In recognition of the investment that EMC needs to make to ensure
                      marketing focus and further development of the cells, for certain
                      transactions Autonomy has paid a premium to EMC. This premium has
                      two parts – the normal reseller margin (45%) has been returned to
                      EMC plus a premium of 20-25% has been agreed. The purpose of the
                      premium is to enable EMC to provide marketing dollars, encourage
                      the EMC salesforce to jointly sell, develop EMC cells and provide joint
                      marketing with Autonomy.” [My underlining for emphasis]


                                               Page 408
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 410 of 900
Approved Judgment                                                              HC-2015-001324
Mr Justice Hildyard




1295. The underlined phrases were new. The Claimants contended that each was
      inaccurate or false, for the following reasons:

              (1) The first underlined phrase was false: there was no evidence that the
                  hardware reselling strategy was a response to customer demand, and the
                  presentation had previously been that it was an initiative by Autonomy.

              (2) The second underlined phrase was inaccurate: (a) it was EMC, at
                  Autonomy’s request, that found and delivered up to Autonomy
                  customers wishing to buy hardware; (b) there was no “strategic
                  partnership” between Autonomy and EMC; and (c) there was no
                  “strategic partnership” between Autonomy and Hitachi either: only a
                  “One-Time Reseller Authorisation Agreement”.

              (3) As to the third underlined passage, the figure of 45% as the “normal
                  reseller margin” contrasted with the percentage given as “the standard
                  reseller margin” in the previous draft (of 35%). The Claimants
                  submitted that (a) neither percentage was substantiated and (b) the
                  change to the higher figure in the recast memorandum was designed
                  simply to justify an increase in the amount of costs to be allocated to
                  sales and marketing (Autonomy by now suggesting that only $20.1
                  million would be allocated to COGS, with $25.3 million to sales and
                  marketing.)

1296. A yet further (fourth) version was worked on and sent to Dr Lynch by Mr
      Hussain in the evening of 2 October 2009. This version (which Mr Hussain had
      envisaged to be the last) contained two additional passages which the Claimants
      considered to be worth flagging:

              (1) A revised opening sentence of the third paragraph was amended to read
                  “Autonomy has decided to apply, in the case of large ongoing projects,
                  a package approach to this demand for strategic selling to these major
                  institutions” (new words underlined). The Claimants submitted that this
                  was inaccurate because Autonomy was selling EMC hardware on a
                  freestanding basis and not as any part of an “ongoing project” or on a
                  “package” basis.

              (2) A further sentence was added stating: “EMC is banking on Autonomy’s
                  bid for strategic supplier in return for the promotion of their solution”.
                  According to the Claimants, this again was fictitious: EMC had not
                  agreed to promote any “solution” nor was EMC “banking” on anything.

1297. About half an hour later, Dr Lynch responded “Very clear”, having obviously
      read the re-revised draft.

1298. Another (supposedly) final version of that document marked v5 but still,
      contrary to Dr Lynch’s express direction, subject headed “EMC accounting



                                            Page 409
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 411 of 900
Approved Judgment                                                              HC-2015-001324
Mr Justice Hildyard


         memo”, was circulated by Mr Hussain to Dr Lynch, Mr Chamberlain and Mr
         Stephan on 4 October 2009. This version was re-circulated at Dr Lynch’s
         insistence under the revised subject-heading “strategic deals and partnerships
         memo final” with a covering email from Mr Hussain stating “this is the final
         document for the files”. However, further drafts followed and the latest draft
         was sent to Mr Knight and Ms Anderson on 7 October 2009.

1299. Prior to this, according to the Claimants, two things had happened:

              (1) Some preliminary discussion had already taken place between
                  Autonomy and Deloitte about the EMC relationship. This appears to be
                  supported by an email that Deloitte’s Mr Rob Knight (not to be confused
                  with Mr Richard Knights, also of Deloitte) sent to Mr Hussain and Mr
                  Chamberlain on 7 October 2009. It is plain from the third paragraph of
                  the email that, by this point, Mr Hussain had told Deloitte that an
                  appliance was “being developed by EMC which will have Autonomy
                  embedded in it”. But as already stated, this was exaggerated. EMC was
                  plainly not committed and had repeatedly brushed off Autonomy’s
                  efforts to obtain some sort of confirmation of intent (see paragraphs 1272
                  to 1284 above).

              (2) Relatedly, steps were being taken to produce further documentation that
                  the Claimants suggested was to be provided to Deloitte to support
                  Autonomy’s accounting for these transactions. On 7 October 2009, Mr
                  Hussain sent an email to Ms Julie Dolan (Autonomy Senior Corporate
                  Counsel), copied to Mr Kanter, with the subject “draft partnership
                  agreement”, in the following terms:


                         “Can you draft up a one pager with the following:

                         -   between emc and autn

                         -   partnership to work on developing an appliance that
                             combines Autonomy compliance software (digital safe,
                             introspect) with EMC hardware
                         -   timescale 6 months
                         -   both parties to respect confidentiality of information -
                               neither party has obligation to perform etc need it
                             immediately”

1300. The Claimants submitted that this was plainly an effort on the part of Mr
      Hussain (involving also Mr Kanter) to paper the record to support what he had
      told the auditors, who could be expected to wish to see some sort of written
      confirmation that EMC had committed to spend the significant profit that it was
      making from these deals – at Autonomy’s expense – on a variety of marketing
      and development initiatives.



                                            Page 410
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 412 of 900
Approved Judgment                                                                HC-2015-001324
Mr Justice Hildyard


1301. The Claimants further submitted that it was plainly a contrivance given that (a)
      EMC had not entered into a partnership with Autonomy, and had not agreed to
      develop an appliance with Autonomy, (b) no such partnership agreement was
      even under active discussion (as is apparent from Mr Sullivan’s email to Mr
      Scannell of 5 October 2009), (c) at most, this was all something that might be
      discussed in the future, and had no such urgency as was imported by the last
      sentence of the email, and (d) there is nothing to suggest that this draft
      partnership agreement was in fact ever shared with EMC: the Claimants
      suggested that this was because it was recognised that EMC would not sign even
      a non-binding statement of intent.

1302. However, there is no evidence either that any such draft Partnership Agreement
      was prepared; still less that such a draft was shown to Deloitte. Quite what its
      purpose was remains unclear, and though I accept that the Claimants’
      explanation of Mr Hussain’s sudden call for a draft is probably the most likely
      one in all the circumstances, he seems to have thought better of it.

1303. No mention was made of it in the recast document, renamed and referred to from
      now on as the Strategic Deals Memorandum or SDM, the objective of which
      continued to be to overcome Deloitte’s scepticism as to the justification for (a)
      reselling at a loss and (b) allocating a substantial proportion of the costs as Sales
      and Marketing expenses. The drafting process continued in tandem with the
      faltering and ultimately unsuccessful efforts by Autonomy’s finance department
      (described above) to extract some confirmation from EMC which would satisfy
      Deloitte on both points and Autonomy’s assertion as to the development of an
      EMC/Autonomy appliance. The document went through a number of drafts,
      usually being exchanged between Mr Hussain, Mr Chamberlain and Mr
      Sullivan, but not, until the final draft, with Dr Lynch.

1304. Exchanges evidencing the drafting process show, to my mind, (a) Deloitte’s
      focus turning increasingly (as might be expected, since it was an accounting not
      merely a narrative matter) to the issue of cost allocation and whether there was
      any justification for a proportion being allocated as a sales and marketing
      expense or R&D costs; and in consequence (b) Mr Hussain continuing to try (i)
      to get from EMC (via Mr Sullivan) some details, especially as to the “standard
      reseller margin” to substantiate the figure of 45% given to Deloitte, and (ii) to
      plump up the description of the “strategic supplier relationship” with EMC in
      such a way as to persuade Deloitte that in surrendering to EMC the difference
      or “non-reseller margin” Autonomy was paying sales and marketing expenses
      or R&D costs.

1305. An example of the latter was Mr Hussain’s email to Mr Chamberlain of 12
      October 2009, which was forwarded to Deloitte later that day, and which
      included the following:

                      “The customer relationships are very hard to achieve and Autonomy
                      has accepted that for its part paying for the marketing, sales and r&d
                      effort of the h/w vendors is of major long term benefit. EMC and


                                               Page 411
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 413 of 900
Approved Judgment                                                                     HC-2015-001324
Mr Justice Hildyard


                      Autonomy are developing an appliance for the future … In terms of the
                      accounting we have provided evidence of the reseller margin, so the
                      remainder of the cost is accounted as sales, marketing and r&d – we
                      have allocated to sales and marketing. The non reseller margin
                      monies are being used to incentivise the emc, hds, acs salesforce,
                      provide discounts to the customer, provide funds for the development
                      of the appliances, to hold marketing programs … We would strongly
                      argue that a large proportion of the monies are being used for the
                      development of the appliance which has a significant future value but
                      we have taken a very prudent view and have expensed the total
                      amounts.”

1306. The problem continued to be, however, that there was nothing emanating from
      EMC to substantiate any of this, which is really what Deloitte had asked for in
      order to justify the accounting treatment Autonomy’s finance department were
      pressing for. Later that day (12 October 2009), Mr Knight responded to Mr
      Hussain and Mr Chamberlain as follows:

                      “Can we get anything from EMC quantifying the hardware amount? Is
                      there a set marketing programme or any further information available
                      which can help us to quantify the marketing element – eg a joint
                      marketing plan or similar? Evidence which helps us understand the
                      marketing side in some more depth would be very helpful.

                      Again on the appliance development, is there anything to further
                      substantiate the amount of development you are funding as opposed to
                      relying on this being a balancing figure.”180




1307. Thus, as at 12 October 2009, it was plain that Deloitte’s attitude to the proposed
      accountancy treatment of the hardware sales costs/losses still remained
      sceptical. The email from Mr Scannell at EMC of 18 September 2009, which
      Mr Chamberlain had forwarded to Deloitte on 9 October 2009 (see paragraph
      1278(5) above) had not changed this substantively. In particular, and as Mr
      Chamberlain had anticipated, as already recorded above, it was not regarded by
      Deloitte as “enough to substantiate a $25m marketing element”.

1308. Mr Hussain was well aware that Deloitte were, at that stage, unpersuaded.
      Knowing by now (that is, by 12 October) that evidence of any bilateral
      agreement would not eventuate, he pressed Mr Sullivan instead to get the basic
      information necessary to substantiate the figure for the “standard reseller
      margin” which was the foundation of the “residual approach”:


  Shortly after receiving that email, Mr Chamberlain asked Mr Hussain whether he could forward on
180

Deloitte’s email to Mr Sullivan. The Claimants drew my attention to Mr Hussain’s response, in which




                                              Page 412
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 414 of 900
Approved Judgment                                                                        HC-2015-001324
Mr Justice Hildyard




              (1) On 12 October 2009, in an email chain between Mr Hussain and Mr
                  Sullivan, copying in Mr Chamberlain, Mr Hussain asked Mr Sullivan to
                  contact EMC:

                          “Having issues with the auditors.

                          Can you get someone to send us an email stating what their
                          standard reseller margin (can be for s/w or appliance sales) is
                          between 40% and 50%?”

              (2) Mr Sullivan responded on the same day with:

                          “I will try, but it is holiday today in Mass. So it will be tough.
                          Also, I have learned that EMC guards the details of their
                          reseller program closely. I believe the answer is that standard
                          margins are lower than what you indicate, but on a one-off
                          basis, EMC will approve deeper discounts for larger or more
                          strategic accounts similar to those that we did in Q3.”

              (3) Later, on 12 October 2009 at 9.38pm, Mr Hussain sent an email to Mr
                  Chamberlain with the subject “strategic appliance sales” stating:

                          “Steve,


he stated that Mr Sullivan could be emailed in relation to the first point only, namely obtaining
evidence from EMC quantifying the hardware amount. As for the “other points” (i.e. Deloitte’s
requests relating to the asserted marketing programme and appliance development initiative), Mr
Hussain refused Mr Chamberlain’s request, describing these requests as “more management stuff”.
The Claimants contended that Mr Hussain’s refusal must be seen against the backdrop of (a) Mr
Sullivan having already made clear to Mr Hussain and Mr Chamberlain that none of these matters had
been discussed with EMC and that EMC had not committed to anything, and (b) Deloitte having
expressly suggested that when providing the clearer explanation of the rationale for the strategy they
required, Autonomy would need to involve “those who negotiated the deal”, i.e. Mr Sullivan. They
submitted that the reality is that Mr Hussain did not want Mr Sullivan to see how he (Mr Hussain) had
described the arrangements with EMC to Deloitte, because Mr Sullivan would know that the
description was untrue. I accept this.

                          Auditors already have our draft memo which explains the
                          strategic supplier status we have established with the likes of
                          Citi, jpmc, Morgan Stanley etc by selling both software and
                          hardware for compliance application. In addition I have
                          explained the nature of the relationship with the suppliers emc,
                          hds and acs to the auditors. The driving force for the sales has
                          come from our joint customers. The customer relationships are
                          very hard to achieve and Autonomy has accepted that for its
                          part paying for the marketing, sales and r&d effort of the h/w
                          vendors is of major long term benefit. EMC and Autonomy are
                          developing an appliance for the future and we are engaged in



                                                Page 413
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 415 of 900
Approved Judgment                                                             HC-2015-001324
Mr Justice Hildyard


                         negotiations with HDS for installing our software on their
                         hardware for our data centres.

                         In terms of the accounting we have provided evidence of the
                         reseller margin, so the remainder of the cost is accounted as
                         sales, marketing and r&d-we have allocated to sales and
                         marketing. The non reseller margin monies are being used to
                         incentivise the emc, hds, acs salesforce, provide discounts to
                         the customer, provide funds for the development of the
                         appliances, to hold marketing programs (e.g. we attended a
                         major EMC marketing event for JPMC last week which we
                         would not have without the marketing dollars). We would
                         strongly argue that a large proportion of the monies are being
                         used for the development of the appliance which has significant
                         future value but we have taken a very prudent view and have
                         expensed the total amounts. The sales and marketing spend has
                         resulted in new accounts being developed- for example more
                         deals have been identified already.

                         Please let me know what additional information the auditors
                         need but we are being prudent in our accounting. Add what you
                         need that is relevant otherwise feel free to share this email with
                         Rob and Lee.”

              (4) Mr Chamberlain sent the above email on to Mr Knight and Mr Welham
                  of Deloitte within 5 minutes of receiving the email from Mr Hussain
                  under cover of an email stating:

                         “See below from Sushovan.

                         I     have provided an analysis of standard reseller rates as
                         well as evidence from EMC regarding the fact that we are
                         paying for hardware and marketing incentive. Below is further
                         explanation of what we are getting for our marketing $’s. There
                         is an argument that some of this is future development costs but
                         we did not feel we met the IAS38 definitions and so have
                         expensed those balances.”

              (5) Mr Knight responded shortly thereafter copying in Mr Hussain stating:

                         “Steve/Sushovan,

                         Can we get anything from EMC quantifying the hardware
                         amount?

                         Is there a set marketing programme or any further information
                         which can help us quantify the marketing element-eg a joint
                         marketing plan or similar? Evidence which helps us


                                            Page 414
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 416 of 900
Approved Judgment                                                            HC-2015-001324
Mr Justice Hildyard


                         understand the marketing side in some more depth would be
                         very helpful.

                         Again on the appliance development, is there anything further
                         to substantiate the amount of development you are funding as
                         opposed to relying on this being a balancing figure…”

              (6) On 13 October 2009, at 9.31am, Mr Hussain sent an email to Mr Sullivan
                  (which I have no reason to think was seen by Deloitte) in the following
                  terms:
                         “This is what I’d like from emc

                         Dear Mike

                         I    confirm that the standard reseller margin is around 35%
                         but for large strategic deals this can go as high as 45%”.

              (7) Mr Hussain then forwarded that email to Dr Lynch at the same time
                  stating:

                         “We have spoken a number of times-this is in essence what he is
                         trying to get.”

              (8) Later on 13 October 2009, Mr Hussain informed Dr Lynch that Deloitte
                  may wish to speak to him in relation to the matter. To prepare for this,
                  Mr Hussain sent Dr Lynch an email (cc’d to Mr Chamberlain) timed at
                  1.24pm, which largely recited the themes that Mr Hussain had developed
                  in his email of 12 October 2009 to Mr Chamberlain (see paragraph 1305
                  above). The Claimants contended that this email was not only “replete
                  with the same falsehoods” but also that it was designed to give the
                  impression that Dr Lynch had no knowledge of the strategy whilst
                  nevertheless reminding him of the storyline:

                         “The auditors would like some more colour on the strategic
                         relationships with EMC and HDS in order to understand the
                         accounting for the costs associated with the strategic deals
                         signed with Citi, MS, JPMC and Bloomberg this quarter. I have
                         spoken to the auditors several times and have submitted a
                         paper that described the background to the sales made.

                         The relationship with EMC and HDS are very important to
                         Autonomy. These are companies with multi billion dollar sales
                         and with significant relationships with global companies. The
                         trend with these global companies is to move towards limiting
                         the number of strategic suppliers and Autonomy is positioning
                         itself as the key vendor of choice for compliance and related
                         software and appliances.



                                           Page 415
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 417 of 900
Approved Judgment                                                            HC-2015-001324
Mr Justice Hildyard




                        Based on the success of the last six months, Autonomy is paying
                        EMC and HDS for marketing and also for r&d in developing
                        the next generation integrated appliance. The marketing is very
                        targeted because there are relatively few companies both of us
                        would want to market to. Already we have taken part in a large
                        marketing event organised by EMC for JPMC-all the senior IT
                        and business decision makers were at this event-and Autonomy
                        took part in it. These marketing events are focussed and
                        Autonomy’s payment to EMC allows participation.

                        Autonomy is also paying for EMC and Hitachi salesforce to be
                        incentivised and to introduce Autonomy to the key identified
                        accounts. Finally there is expenditure related to the
                        development of the appliance. Already Autonomy uses EMC
                        hardware with compliance software in its data centres and
                        EMC have OEMed Autonomy into a number of its strategic
                        products. The appliance is the next stage in the development of
                        the relationship.

                        So overall the payment to EMC and HDS consists of a refund of
                        the reseller margin (COGS) and the remainder is funding sales
                        and marketing (events, advertising, seminars, commissions and
                        r&d (development of the appliance).

                        The auditors may call you later today to discuss.”


              (9) Mr Hussain followed this up some 10 minutes later with the following
                  email (also cc’d to Mr Chamberlain) under subject heading “reseller
                  margins for h/w”:

                        “The auditors may ask you a question that reseller margins for
                        h/w are not 45%. Points I have made are:

                        1. Its not pure hardware but part of an appliance sale
                        2. The level of sales were large and strategic so reseller
                           margins would be higher.
                        3. The margins for pure h/w are actually much bigger.”


1309. I am not persuaded by the Claimants’ suggestion that the purpose of these emails
      was to give the impression that Dr Lynch had no knowledge of the strategy. In

         my view, their purpose was to ‘prep’ Dr Lynch, and update him as to the then
         position. However, given Dr Lynch’s previous involvement, the emails do seem
         to me to betray Mr Hussain’s recognition and concern that the presentation to
         Deloitte had become so embellished that its detailed recitation was necessary to



                                          Page 416
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 418 of 900
Approved Judgment                                                                      HC-2015-001324
Mr Justice Hildyard


         cover any changes from that previously agreed or understood. Even if its toes
         were in the truth, its exaggerations had become significant (to the point of
         falsity), and its full recitation was necessary lest Dr Lynch speak out of turn.

1310. So far as I am aware from the evidence, there was no record of the discussion
      between Deloitte and Dr Lynch for which it appears Mr Hussain was ‘prepping’
      Dr Lynch; but it seems likely that there was one181, and that it was the catalyst
      for a turn in events which to my mind substantially shaped Deloitte’s move from
      scepticism to acceptance.

1311. That turn of events was that, on the evening of 13 October 2009, Mr Knights
      himself became involved in the re-drafting of the “Strategic Deals
      Memorandum”, the document intended to answer questions raised by his own
      firm.

Mr Knights’ own involvement in drafting the Strategic Deals Memorandum

1312. Although he was careful to direct that the final version as sent to Deloitte should
      come from Autonomy, and when sending it to others in Deloitte on 14 October
      2009 described it as “the client produced memo which I have been through with
      the CEO and CFO…” , it was Mr Knights who was responsible for the
      penultimate (or possibly pre-penultimate) version of the Strategic Deals
      Memorandum, and for instigating the work which resulted in its finalised form
      the next day.

1313. It is apparent from an email dated 13 October 2009 (timed at 10.11pm) sent
      from the email address of Claire Knights to Mr Hussain (copied to Mr
      Chamberlain) with the subject “draft of your EMC paper-from RK” and
      attaching a file entitled “Autonomy EMC transactions”. The body of the email
      set out:

                      “S&S

                      “After a glass or two of red wine and a plate ful [sic] of Mrs K medieval
                      pasta I’ve had a stab at writing the Autonomy paper on
                      EMC-

                      This needs to come form [sic] you to us.

                      I need it to square the position on COGS allocation-i’ve still not seen
                      anything from EMC.




  Mr Knights’ annotations on the draft he prepared seem to confirm an earlier discussion with Dr
181

Lynch and Mr Hussain: see paragraph 1314 below.


                                               Page 417
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 419 of 900
Approved Judgment                                                                   HC-2015-001324
Mr Justice Hildyard


                      If it is useless please re-write but hopefully it points in the right
                      direction. As per our discussion on Mike L’s ideas the paper goes
                      through this analysis - you need to beef it up - the one key area is
                      setting out quite what “sales and marketing” type stuff or further
                      product development stuff EMC might provide you.

                      Please improve this and together with the EMC email I’m hoping this
                      will move to where it needs to be.

                      I do need to run through this with Mike as well tomorrow.

                      As mentioned above this was rattled out pretty quickly and fortified
                      with a few liveners so as a modest bookkeeper it would benefit from
                      the cutting edge of you software gurus….!!

                      R”.

1314. The basic structure of the arguments to get “where it needs to be” remained in
      the final version, but as the above email indicated, there were matters which,
      when drafting his late-night version, Mr Knights identified as needing further
      support or elaboration. In particular, there were five important parts relating to
      the allocation of the hardware costs (which Mr Knights in a later mail described
      as “the nub of this”) left uncompleted in Mr Knights’ 13 October evening draft,
      which needed (and on which Mr Knights expressly invited) explanation and
      further detail:

              (1) After a reference to the potential “value add opportunities” that could
                  arise from “this relationship with EMC”, a sentence followed which
                  read “It is possible that if successful it may be possible to move towards
                  an “Intel Inside” type of arrangement with EMC hardware”: Mr
                  Knights has in square brackets noted: [“Sush this is probably
                  simplistic…are there any other upsides??”].

              (2) After a sentence which read “The hardware component of this
                  transaction was used to supply our customers [Bloomberg/Citi ???]
                  with equipment for their existing data warehousing and storage
                  functions”, Mr Knights, has in addition to the words square bracketed
                  above, put in square brackets: “[Sush/Steve….please improve]”.

              (3) After a sentence which read “The allocation of $45m between hardware
                  and other marketing services is not established in the purchase order or
                  invoice from EMC”, Mr Knights has in square brackets asked: “[can you
                  comment here on how the $45 m was arrived at ???]”.

              (4) After a sentence which read “The Autonomy rationale for this
                  transaction was to combine the delivery of hardware to key customers
                  (thereby beginning to develop the recognition of being an application
                  player) together with making an investment in the growing relationship


                                                Page 418
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 420 of 900
Approved Judgment                                                                    HC-2015-001324
Mr Justice Hildyard


                      with EMC”, Mr Knights has noted in square brackets: “[I need help
                      explaining what EMC and you think you will be getting. Trade
                      sales/customer meetings ??? This is the part that Mike Lynch was
                      alluding to this morning – so can you put some ideas in here]”.

              (5) After a reference to “…the standard reseller margins that [EMC] would
                  expect to see in the sale of its hardware through a third party” Mr
                  Knights has in brackets noted: (see appendix XX. Insert confirmation);
                  and also he has interpolated the words in square brackets in the
                  following: “This demonstrates that in normal situations a range of
                  [37.5% - 50%...check I’ve not seen this yet] is the standard reseller
                  margin”.

1315. It appears that first thing the next morning (14 October 2009), Mr Knights met
      with Mr Hussain to go through his draft and the questions raised. At 9.30am,
      Mr Knights emailed Dr Lynch and Mr Hussain (under subject heading “EMC –
      can we have a brief chat today?” and commencing “Dear Mike”) recounting
      that he and Mr Hussain had been going over the Q3 position. Remarking that he
      had “a sense that the engine is running a little hot in certain areas of the Q3
      numbers”, he stated that he would appreciate Dr Lynch’s thoughts on the EMC
      transactions and “the strategic long term importance of the deal” so as to assist
      in determining “the nub of this” which he identified as being “how to
      appropriately reflect the costs of this transaction.”

1316. He identified three potential “landing areas”:

                      “-$45 million to be shown as a cost of sale (and therefore shown in the
                      gross margin)

                      -$36m to be shown as a cost of sale (on say assumed net margin of nil)
                      with $9m classified as sales and marketing expense, or

                      -A different split. If however this is arrived at it does need to be fully
                      supported. To date we’ve only seen a purchase order for the $45m
                      albeit I understand there has been some further correspondence with
                      EMC to determine what was actually included in this transaction.”

1317. The further correspondence that Mr Knights was referring to comprised:

              (1) An email dated 13 October 2009 from a Mr Mussulli at EMC (which
                  was in due course appended to the Strategic Deals Memorandum) stating
                  (and see also paragraph 1324 above):

                             “Mike, per your request, our typical pricing for entry level
                             partners in our Velocity programme is 36% off Clarion and




                                                 Page 419
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 421 of 900
Approved Judgment                                                                  HC-2015-001324
Mr Justice Hildyard


                             56% off on DMX. If you have any additional questions please
                             feel free to call me at the number below…”182



              (2) An email from Mr Sullivan with the subject “Re pricing info” with an
                  explanation (which I assume came from Mr Mussulli) explaining the
                  split between Clarion and DMX stating:

                             “Fortunately-this breaks out along customer lines:

                             JPMC =100% DMX
                             Bloomberg =100% Clarion
                             CS = 100% DMX
                             Citi = approx.: 35% Clarion; 65% DMX…”

1318. Dr Lynch forwarded that email to Mr Hussain, who replied immediately to Dr
      Lynch by email:

                      “…We have firm evidence of the product cost of the hardware so the
                      residual is clearly marketing which we have explained to Richard as
                      being for:

                             -   Seminars
                             -   Meetings
                             -   Customer events
                             -   Incentives to the emc salesforce to bring us deals
                             -   Development of the appliance”

                      [My emphasis]

1319. It appears from Mr Welham’s witness statement (which was in this respect not
      challenged) that at some point in the morning (I assume after the exchanges
      between Mr Hussain and Dr Lynch) Mr Welham and Mr Knights had a
      telephone call with Dr Lynch. The purpose of this (as described by Mr Welham)
      was to hear directly from Dr Lynch, as Autonomy’s CEO,

                      “as to the rationale for what was a material transaction for the quarter
                      involving a new strategy, that is reselling third party hardware at a
                      loss in order, we understood, to support a broader marketing
                      objective.”

        Mr Welham went on to say that during the call, Dr Lynch confirmed to them that
        this was the rationale.

182
   Clarion (a mid-range product) and DMX (a high-range product often called Symmetric) were
different EMC product lines. According to an earlier email from Mr Mussulli to Mr Sullivan, the
breakdown as regards the three end-purchasers in the Q3 2009 transactions was: JPMC = 100% DMX;
Bloomberg = 100% Clarion; Citi = 35% Clarion, 65% DMX.


                                               Page 420
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 422 of 900
Approved Judgment                                                                HC-2015-001324
Mr Justice Hildyard




1320. There is no suggestion in Mr Welham’s evidence that he or Mr Knights
      discussed with Dr Lynch the other questions that Mr Knights had raised, which
      went to the proper accounting treatment and allocation of the costs of the
      purchase from EMC (as distinct from the narrative of the rationale for the
      hardware reselling strategy). However, the Claimants put to Dr Lynch in cross
      examination that Mr Knights (in particular, in an email to colleagues in Deloitte
      enclosing the final draft of the “Strategic Deals Memorandum” further
      described in paragraph 1324 below) stated that he had been through the
      memorandum with the CEO and CFO in relation to hardware sales.

1321. Dr Lynch was asked repeatedly about this; and his invariable response was that
      he did not think he had done this. He sought to maintain throughout that his
      discussions with Deloitte were limited to dealing with questions as to “why we
      wanted to do this” and explaining “what we were trying to achieve” and that
      “his role and recollection in dealing with Mr Knights was to talk about
      commercial rationale”.

1322. For reasons which I elaborate in paragraphs 1341 to 1348 below (when
      assessing what Dr Lynch knew of the decision to account for part of COGS as
      marketing expenses) I have concluded that it is more likely than not that Dr
      Lynch had been through all aspects of the memorandum, including the part
      relating to the costs allocation between COGS and sales and marketing.

1323. After changes had been made in the draft memorandum to fill in the gaps left
      by Mr Knights in his draft the previous evening, and in particular to reflect the
      email exchanges with EMC (which were not forwarded to Mr Knights until after
      he had sent out his 13 October 2009 draft), the final version of the “Strategic
      Deals Memorandum” was sent to Deloitte on 14 October 2009 at 10.19am in an
      attachment “Strategic deals memo 14th Oct” (copied to Mr Hussain) stating
      “here is our paper updated for additional items received from EMC last night”.

1324. Showing my own underlining of passages especially emphasised by the
      Claimants, the final version of the Strategic Deals Memorandum, which also
      included in its Appendix 1 all the email correspondence from EMC quoted in
      paragraphs 1278 and 1317 above, stated in full:

                      “Background

                      As part of the Directors’ continual assessment of the strategic
                      opportunities for the business the Executive management recognized
                      an opportunity to develop an application based sales and marketing
                      initiative. The background to this position was the recognition that
                      there was likely to be a continuing rationalization of IT suppliers to
                      major financial institution customers resulting from both the impact of
                      the global credit crisis and the continuing evolution of
                      hardware/software applications to major multi-national organisations.




                                               Page 421
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 423 of 900
Approved Judgment                                                                HC-2015-001324
Mr Justice Hildyard


                      In terms of specifics, after a meeting between Guy Chiarello (global
                      CIO) of JPMC and Mike Lynch in Q2, Autonomy was asked to step
                      into a strategic supplier role for JPMC. This has resulted in 2 deals-
                      one in Q2 ($6m) and one in Q3 ($11m) following on from the $10m
                      deal in Q4’08. There have also been a number of senior level
                      conversations between Autonomy and Morgan Stanley again resulting
                      in two sales in Q2 ($7m) and two more in Q3 ($4m) which followed the
                      $18m deal in Q3’08. Similarly significant discussions have taken place
                      between Citi and Autonomy resulting in multiple sales ($22m) in Q2
                      and Q3 following on from the $20m plus deals in 2008. Discussions
                      have taken place between Sushovan Hussain and John Goaynes (CIO
                      of Deutsche Bank) but a deal has yet to be consummated although a
                      major $10m plus deal is expected in Q4. Finally major companies such
                      as Eli Lilly, Kellog Brown and Root (KBR) and Pfizer have chosen
                      Autonomy as strategic vendor for compliance.

                      Autonomy has decided to apply, in the case of large ongoing projects,
                      a package approach to this demand for strategic selling at these major
                      institutions. This may mean that, for certain individual components,
                      Autonomy takes terms which may appear less attractive initially but,
                      when considering the bigger picture, are significantly profitable.
                      Autonomy expects this approach to allow it to become a key part of the
                      architecture for companies such as Citi, JPMC, Deutsche Bank, Eli
                      Lilly and Morgan Stanley going forward.

                      It was noted that IBM, EMC, HP amongst others were increasingly
                      going to market with a combined hardware/software application
                      offerings in the compliance space. For example, EMC acquired a
                      company called Kazeon solely for the purpose of creating an appliance
                      for the compliance space. Another company Clearwell Systems has
                      partnered with EMC and IBM to offer an appliance for the ediscovery
                      space.

                      Autonomy recognized the importance of being able to demonstrate to
                      substantial multi-national organisations that they could deliver a
                      combined application solution. In order to put together such a solution
                      it was necessary to find an appropriate hardware supplier that could
                      provide:

                      -Global reach
                      -Highest quality product reputation
                      -Industry accepted product recognition
                      -A management team/culture that was similar to Autonomy and who
                      could recognize the value in a trade association
                      -Networking and major customer relationships that could be exploited
                      by Autonomy
                      -The need for reciprocal benefitting from Autonomy’s relationships with
                      existing major customer relationships.



                                               Page 422
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 424 of 900
Approved Judgment                                                                 HC-2015-001324
Mr Justice Hildyard




                      Our management team had previously attempted to establish through a
                      working relationship with Hitachi Data Systems on a basis set out
                      above but found that the Hitachi business culture and speed/flexibility
                      was not compatible with Autonomy. Through Mike Sullivan, worldwide
                      head of Zantaz, our executive management team had a strong
                      connection with EMC and we have begun to develop a relationship
                      with this business to enhance the Autonomy presence in the application
                      space. The strategic partnership with EMC has been led by Bill
                      Scannell (head of worldwide sales at EMC) showing the level of
                      importance afforded to the relationship. As part of the strategic
                      relationship EMC extended the Autonomy OEM agreements by 3 years
                      and extended to new products and Autonomy extended the use of EMC
                      products within its data centres. In addition EMC is spending monies
                      developing an appliance with Autonomy software pre loaded and
                      immediately operational on its hardware. Hitachi have been slower
                      but are actively considering replacing Fast with Autonomy as an OEM
                      as part of the strategic relationship and also creating an appliance
                      which Autonomy would host in its data centres for Hitachi and
                      Autonomy customers. EMC have proven quicker in being able to
                      deliver in the timescale required by the customers (Citi, JPMC,
                      Bloomberg) although Hitachi have started (albeit more slowly) with
                      Morgan Stanley.

                      Additionally, we consider that there will be further value add
                      opportunities that will arise from developing this relationship further
                      with EMC. We are working on the possibility to move toward an “Intel
                      Inside” type of arrangement with EMC hardware. i.e. the creation of
                      appliances whereby archiving, ediscovery and compliance solutions
                      are offered as a one stop solution to key strategic customers. The key
                      element of this strategy is that by investing significant dollars in the
                      relationship today, Autonomy will “own” the customer for many years
                      yielding multi-million dollars of revenue from each customer.

                      Q3 Transaction

                      During Q3 Autonomy entered into a $45m purchase of hardware and
                      additional sales and marketing support. The hardware element
                      represents the purchase of hardware that was sold on to the above
                      mentioned customers. The sales and marketing incentive reflects the
                      payment of $’s for the investment in the relationship and future
                      development of cells as well as joint marketing initiatives.

                      This transaction was appropriately approved and authorized by
                      Executive management in accordance with the standard business
                      procedures. The hardware component of this transaction was used to
                      supply Autonomy’s own customers (Citi, JPMC, Morgan Stanley and
                      Bloomberg) with equipment for their existing data warehousing and



                                               Page 423
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 425 of 900
Approved Judgment                                                                  HC-2015-001324
Mr Justice Hildyard


                      storage functions. In addition Autonomy has sold software for the
                      applications over the past few quarters to Citi, JPMC and Morgan
                      Stanley. Our intention is to use this opportunity to aggressively further
                      exploit software opportunities with these types of organisations.

                      The revenue recognized on these hardware sales in the Q is $36m. The
                      transactions with each of these customers was appropriately
                      structured so that Autonomy acted as principal to these transactions.
                      The key accounting consideration is the recognition of the $45m of
                      costs, negotiated at arms length by the executive management teams of
                      both companies. [sic] with particular reference to the allocation of
                      costs between COGS and Sales and Marketing. The allocation of $45m
                      between product and other marketing services is not established in the
                      purchase order or invoice from EMC and HDS but has been identified
                      from confirmatory documentation from EMC (refer to email 1 in
                      Appendix 1).

                      The Autonomy rationale for the transaction was to combine the
                      delivery of hardware to key customers (thereby beginning to develop
                      the recognition of being an application player) together with making
                      an investment in the growing relationship with EMC.

                      Having established the product cost at between 63% and 43% directly
                      from EMC (depending on product type), the residual cost is for sales,
                      marketing and development efforts. There are significant sales and
                      marketing activities and a series of plans including seminars, trade
                      show stands, customer specific events, sponsorships and incentive
                      payments to the EMC salesforce to market the Autonomy sales. The
                      number of customers and type of customer is very targeted and does
                      not require general advertising. In addition, EMC and Autonomy are
                      obtaining joint meetings with customers and the payment by Autonomy
                      to EMC incentivizes the EMC salesforce to obtain these meetings.

                      To determine the appropriate allocation of costs between COGS and
                      Sales and marketing the executive management have received
                      confirmation from EMC of the standard reseller margins that it would
                      expect to see in the sale of hardware through a third party. This
                      confirmation was received from Mike Mussulli-Regional Partner
                      Manager (refer to email 2 in appendix 1). The standard reseller
                      discount is 36% for Clarion and 57% for DMX. This has been applied
                      to the sales made by Autonomy this quarter and is computed in the
                      attached spreadsheet (EMC summary Q3 2009 Final.xls.)

                      The table below-extracted from the spreadsheet-shows the relevant cost
                      of sales based on the standard discounts:

                       Customer        Product         Discount                      COGS



                                                 Page 424
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 426 of 900
Approved Judgment                                                                   HC-2015-001324
Mr Justice Hildyard



                        Citi (65%)      DMX             57%         5,193,026.18

                        Citi            Clarion         36%         4,161,852.82

                        Bloomberg       DMX             57%         3,065,520.60

                        JPMC            DMX             57%         4,692,922.39

                                                                    17,113,321.98



                  On this basis Autonomy has allocated $17.1m cost to
                  COGSrepresenting the standard cost of hardware- with the remaining
                  costs being split between sales and marketing expense and research
                  and development. The sales and marketing amount represents the
                  return of the Autonomy profit of the transaction which it has been
                  agreed with
                  EMC will be reinvested in the relationship in the manner set out above.

                      The additional payment relates to payment to EMC for the
                      development of the appliance referred to above. Management did not
                      feel that this payment met the definitions of IAS 38 for capitalization
                      and hence has expensed this payment during the quarter.

                  Final cost allocation

                      COGS                                                  17,113,322
                      Sales and marketing incentive                         19,509,269
                      R&D costs                                             8,860,079
                                                                            45,482,670

                      Having reviewed this allocation the directors have concluded that this
                      represents the fair and appropriate split of the costs of this transaction
                      with EMC.”


1325. The alterations from the version sent by Mr Knights the previous evening (so
      far as not editorial or stylistic) have echoes of Mr Hussain’s earlier briefing note
      to Dr Lynch (see paragraph 1308 above), and earlier memos he had sent
      Deloitte, re-ordered and re-formulated to fit into Mr Knights’ revised structure.

Did the Strategic Deals Memorandum spin a false narrative?

1326. The Claimants denounced the final version of the “Strategic Deals
      Memorandum” as “replete with falsehoods” (see above). By reference in
      particular to the underlined passages in the full quotation at paragraph 1324
      above, the Claimants submitted that the main thrust of the memorandum was
      thus to frame Autonomy’s supposed relationship with EMC to be all about the


                                                  Page 425
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 427 of 900
Approved Judgment                                                                  HC-2015-001324
Mr Justice Hildyard


         delivery of an appliance (or application solution), and that this was false. They
         encapsulated their case as to this falsity in their written closing submissions as
         follows:

                      “Whatever semantics Dr Lynch may wish to employ, the basic
                      indisputable fact is that the EMC sales were of pure, standalone
                      hardware – not appliances, not applications, not solutions, and not
                      packages. The sales were of EMC hardware, sold unmodified to
                      customers selected by EMC. Autonomy’s sole contribution was to
                      interpose itself into an existing relationship and to buy the hardware at
                      one price and resell the same hardware to the EMC customer at a
                      lower price.”


1327. In addition, the Claimants submitted that the final version of the memorandum
      repeated falsities that appeared in the previous versions, giving as an example,
      the statement in it, for which Dr Lynch had not been able to identify any
      documentary material in support, that there were:

                      “significant sales and marketing activities and series of plans
                      including seminars, trade show stands, customer specific events,
                      sponsorships and incentive payments to the EMC salesforce to market
                      the Autonomy sales.”


1328. In his oral closing submissions, Mr Rabinowitz dismissed as “spin” the
      submission in Dr Lynch’s written closing submissions, that this:

                      “fairly reflected the twin drivers for the hardware sales, namely (i) the
                      need for strategic package sales to major financial institutions and (ii)
                      the need to find an appropriate hardware supplier with which
                      Autonomy could work on an appliance.”

1329. Mr Rabinowitz submitted that this was not what the “Strategic Deals
      Memorandum” actually said:

                      “…rather what it said in the memo is that EMC was in fact developing
                      an appliance with Autonomy software loaded on to it and that it was
                      spending money on this. That….was completely untrue, because EMC
                      had not agreed to develop such an appliance and nor was it spending
                      any money doing so.”

1330. As so often in this case, this presentation of falsity is too black and white: even
      the passages in the “Strategic Deals Memorandum” highlighted by the
      Claimants which predominantly related to the accounting treatment might be
      said to have had a toe in the truth, and to be more in the nature of exaggerations
      rather than falsities. Thus, for example:




                                                Page 426
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 428 of 900
Approved Judgment                                                                      HC-2015-001324
Mr Justice Hildyard


              (1) Both Mr Sullivan’s evidence in the US criminal proceedings and (after
                  much circumlocution) Mr Goodfellow’s evidence 183 in
                  crossexamination in these proceedings confirmed that EMC was (in the
                  summer of 2009) refining its hardware product at the request of
                  Autonomy in order to make it more suitable, efficient and cost effective
                  for use with Digital Safe and with a view to Digital Safe being embedded
                  in it. Dr Lynch told me in cross-examination that he too had understood
                  and seen emails confirming “that they were configuring hardware for
                  us.”

              (2) Mr Sullivan expressly confirmed in cross-examination in the US
                  criminal proceedings that he had further discussions later in 2009 about
                  (a) “building potentially an appliance, so something like potentially
                  shipping a Digital Safe or actually e-Discovery [and] bundling it on
                  their hardware and shipping it…”; (b) a Digital Safe appliance using
                  EMC hardware and “split cell technology”; and also about (c) getting
                  into packaged servers, as well as “bringing each other into each other’s
                  accounts, linking up our sales teams…”

              (3) More generally, Mr Sullivan agreed that Autonomy’s relationship with
                  EMC “was not just hardware reselling, it was more a strategic general
                  discussion of possibilities to work together…”


              (4) He also regarded the purpose of the hardware purchases and the
                  development of the relationship as being to “drive some revenue to
                  Autonomy”, which the Claimants seized on as showing that the driver
                  was revenue by selling on the hardware at a loss, but which Mr Sullivan
                  clarified in his evidence in the US criminal proceedings meant getting
                  some of EMC’s hardware customers to buy Autonomy software.

              (5) There were also email exchanges, in June 2009, albeit internally within
                  Autonomy, which referred to telephone calls between Autonomy and
                  EMC which culminated in EMC agreeing to configure and provide hard
                  drives which suited Digital Safe. For example, an email dated 26 June
                  2009 from Mr Wang to Dr Menell referred to Autonomy having:

                          “had a breakthrough with EMC today in having them agree to
                          sell us essentially hard drives without their fancy software
                          which is irrelevant for Digital Safe…”


              (6) This “custom configuration” was also referred to in emails from Mr
                  Sullivan. This inevitably required investment by EMC: as Dr Lynch said


183
   Mr Goodfellow was, in my view, a partisan witness and sometimes a rather too strident advocate of
the Claimants’ case.


                                               Page 427
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 429 of 900
Approved Judgment                                                                 HC-2015-001324
Mr Justice Hildyard


                      when it was suggested that EMC had not agreed to spend money, “…you
                      can’t do it without spending money”.

              (7) Mr Hussain’s written submissions also drew attention to the evidence
                  in an email chain dated 23 to 25 November 2009 (under the subject
                  heading “Re: Appliance”) of further technical discussions between
                  Autonomy and EMC with the view to the harmonisation of EMC
                  hardware with Autonomy products and the development of an
                  Appliance.

              (8) These later discussions involved the relevant departments of each
                  company and continued in subsequent emails that year and the next,
                  including an email chain in February 2010 in which Mr McLaughlin of
                  EMC spoke encouragingly of the integration of Autonomy software into
                  EMC products as a “win-win”.

              (9) In those circumstances, Mr Hussain made the further point that:

                             “the very worst that could be said of the Strategic Deals Memo
                             is that it suggested that steps were being taken in October
                             which were in fact taken the very next month…it is highly
                             improbable that [Autonomy] manufactured the story of EMC’s
                             commitment to an appliance programme to achieve a spurious
                             accounting treatment only for the lie to come true in the next
                             quarter.”


1331. It might also be said that the “Strategic Deals Memorandum” was also in terms
      aspirational, casting the relationship with EMC as offering future opportunities.
      For example,

              (1) It stated:

                      “Additionally, we consider that there will be further value add
                      opportunities that will arise from developing this relationship further
                      with EMC. We are working on the possibility to move towards an
                      “Intel Inside” type arrangement with EMC hardware, i.e. the creation
                      of appliances whereby archiving, ediscovery and compliance solutions
                      are offered as a one stop solution to key strategic customers. The key
                      element of this strategy is that by investing significant dollars in the
                      relationship today, Autonomy will “own” the customer for many years
                      yielding multi-million dollars of revenue from each customer.”


              (2) Similarly, with specific reference to the Q3 2009 transactions
                  themselves, the memorandum emphasised both the rationale of the
                  immediate deal and the future prospects:




                                               Page 428
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 430 of 900
Approved Judgment                                                               HC-2015-001324
Mr Justice Hildyard


                      “The Autonomy rationale for the transaction was to combine the
                      delivery of hardware to key customers (thereby beginning to develop
                      the recognition of being an application player) together with making
                      an investment in the growing relationship with EMC.”

1332. Further, and in contrast to earlier drafts, some of the limitations on the evidence
      available to substantiate the accounting treatment of part of the costs as
      marketing expenses, and capitalising a proportion, were expressly recognised
      (even if the positives may be said to have been accentuated). It was recorded:

              (1) As to allocating part of the costs to marketing, that:

                      “The allocation of $45m between product and other marketing
                      services is not established in the purchase order or invoice from EMC
                      and HDS but has been identified from confirmatory documentation
                      from EMC (refer to email 1 in Appendix 1)” and

              (2) As to capitalisation of what Mr Hussain had wanted to characterise as
                  development costs, that:

                      “Management did not feel that this payment met the definitions of IAS
                      38 for capitalization and hence has expensed this payment during the
                      quarter.”

1333. Nevertheless, all this said, and though (like the hardware reselling strategy
      itself) some of its constituent elements appeared rational and could be justified,
      and others were expressly aspirational and not ostensibly false in being so, I
      have concluded that the “Strategic Deals Memorandum” was, in the round,
      seriously misleading.

1334. The fundamental realities which the Strategic Deals Memorandum disguised
      were that:

              (1) As Mr Hussain acknowledged, Autonomy and EMC never did form a
                  “strategic partnership”.

              (2) There is no evidence that their discussions for the development of an
                  appliance moved beyond the discussion stage. The Strategic Deals
                  Memorandum papered over Autonomy’s repeatedly unsuccessful efforts
                  to obtain any actual agreement or commitment from EMC (beyond
                  agreeing to sell its hardware through Autonomy to customers (largely)
                  in common). Mr Sullivan’s vague description of the relationship (see
                  paragraph 1330(3) above) as comprising “more a strategic general
                  discussion of possibilities to work together…” was really the extent of
                  it, save of course for the purchase and reselling itself.

              (3) There was some evidence that EMC spent some money on reconfiguring
                  its hardware to enable easier and more effective use of IDOL software,


                                               Page 429
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 431 of 900
Approved Judgment                                                                     HC-2015-001324
Mr Justice Hildyard


                      but no evidence of any definite programme or commitment on the part
                      of EMC.

              (4) The extent of the sales, marketing and development activities in fact
                  taking place at the time was (as I find) overstated considerably 184; and
                  any plans for the future were general in nature and not supported by
                  documentary evidence or any confirmation of commitment by EMC.

              (5) The emails from EMC attached to the Strategic Deals Memorandum did
                  not confirm the allocation of $45 million between product and other
                  marketing services, nor even did they confirm that the sale price covered
                  both hardware costs and marketing and support: the most EMC was
                  prepared to do was speak in general terms which, especially in the
                  context of previous exchanges (not referred to in or attached to the
                  memorandum), demonstrated a refusal rather than agreement to give any
                  such confirmation.

1335. More particularly, the “Strategic Deals Memorandum” covered up the lack of
      any evidence such as Deloitte had originally asked for “to substantiate a $25m
      marketing element” (see paragraphs 1278(5) and 1307 above). It advanced and
      relied on a proxy (the “residual method”) to persuade Deloitte to approve an
      accounting treatment which perpetuated an impression of there being
      commitments on the part of EMC to spend the ‘delta’ on marketing for


         Autonomy and the joint development of an appliance for which management
         knew there was no substance, and when in fact EMC would have denied any, as
         Mr Sullivan had explicitly warned in his email of 2 October 2009 (also quoted
         in paragraph 1278(10) above):

                      “…They will not OK anything that says that what we paid them was
                      for something other than for the product we purchased in this period.
                      Nor will they say the money will be spent on marketing etc.”

1336. In my judgment, the picture presented in the Strategic Deals Memorandum of a
      “strategic partnership” with EMC involving joint marketing, joint
      development of an appliance and cost-sharing of both via a “premium” paid by
      Autonomy was false. EMC never committed to any of that. Had it done so, the
      document would almost certainly have been unnecessary.



184
   The only documentary evidence actually produced was an email dated 11 September 2009 from Mr
Egan to Dr Lynch, copied to Mr Hussain, with subject heading “JPMC NPower thing”, recommending
$35k level sponsorship of a JPMC evening, and stating that it would be “an evening honouring Joe
[T]ucci [CEO of EMC] and all the EMC deal people who are doing this quarter deal will be there. So
will all the JPMC upper management of IT…” Dr Lynch’s response was “ok”. In fact, the event was
not a joint marketing event with EMC, but an event organised by JPMC to which Autonomy agreed to
make a charitable ‘sponsorship’ donation in a relatively small sum which Mr Egan (in the same email)
said would be “deductible at some level”.


                                               Page 430
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 432 of 900
Approved Judgment                                                            HC-2015-001324
Mr Justice Hildyard


1337. The Defendants argued that these were matters which principally, and certainly
      most directly, affected the issue of cost allocation, and that it was essentially an
      accounting judgement as to what part, if any, of the costs could be allocated as
      marketing expenses. However, for so long as the principal means of achieving
      the overall purpose could plausibly be presented as being the pursuit and
      formation of a partnership, Autonomy did not need to show any more
      measurable result to justify treating the programme as calculated to protect and
      promote its core software business: a partnership to develop an appliance in
      which to embed Autonomy software could fairly easily be (and was) presented
      as both a legitimate objective and a legitimate part of the software business. If
      Autonomy could only rely on the alleged benefits of the hardware reselling in
      terms of generating new software business to justify the programme, it was
      bound sooner rather than later to provide some evidence of real linkage.

1338. Furthermore, whilst the issue of cost allocation would usually be a matter of
      judgment, I do not accept that it was so in the particular context in which the
      allocation of the costs of the hardware purchases and loss-making sales was
      determined in this case. That allocation was part of the means of concealing the
      hardware reselling and attenuating, and thereby disguising, its real effect.
      Unexplained costs would be likely to be queried by analysts; and any material
      erosion in gross margin would be a concern to the market and undermine the
      success of the strategy. In this case, what was involved was not a judgement; it
      was a necessary part of the scheme.

1339. The false presentation was, in my judgment, driven by three complementary
      imperatives:

              (1) One was that the programme should appear to be justified by the
                  prospect or actuality of a partnership for the sale of Autonomy software
                  without the need to show any other measurable benefit.

              (2) A second was that the effect on key metrics of losses incurred in the
                  hardware reselling strategy should be attenuated.

              (3) The third was to hide or disguise the programme so as not to expose it
                  to enquiry and/or undermine its utility as a surreptitious means of
                  maintaining the appearance of continuing organic growth by including
                  hardware revenues in forecasts and drawing on them as and when
                  required.

1340. In my judgment, this was not honest judgment but dishonest expedient.

Dr Lynch s knowledge of falsity of the Strategic Deals Memorandum


1341. As will already be apparent, Dr Lynch did not dispute that he was aware and
      indeed involved in the presentation of the purpose of the hardware reselling
      strategy and EMC’s participation in it. For the reasons given above, I have


                                           Page 431
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 433 of 900
Approved Judgment                                                                  HC-2015-001324
Mr Justice Hildyard


         concluded that that presentation was misleading. But even if I am wrong about
         that there can be no real doubt that the presentation of the nature of the
         arrangement with EMC was misleading in any event.

1342. Dr Lynch did dispute that he was involved in or aware of the efforts in
      exchanges with EMC to find some written acknowledgement to justify the
      allocation of a large proportion of the costs to marketing expenses; and he
      insisted that he was not aware of any impropriety in this context. As far as he
      was concerned, he told me, “what Autonomy was trying to do was get the right
      accounting…the accounting…reflecting the reality of the situation” (as quoted
      previously in paragraph 1277 above). He added, when further pressed in
      crossexamination (with particular reference to the emails sent to EMC):

                      “What is happening at this time – and I’m not involved but I’ve seen
                      the emails – is that a combination of Mr Chamberlain, Mr Sullivan,
                      EMC and ultimately Deloitte are trying to get the right answer. It is a
                      complex situation and lots of people are involved in that and they work
                      through it and they ultimately come up with an answer that they’re all
                      agreed on and that’s what I’m relying on when I go forward.”

1343. He emphasised also that, as CEO, he could not be involved in the details of this
      sort of matter. He relied on what he was told by his lieutenants (hence needing
      prepping by Mr Hussain before meeting Deloitte about the Strategic Deals
      Memorandum, for example). He said this in cross-examination:

                      “So just to keep some perspective here, I’m running a FTSE 100, I
                      spend most of my time not dealing with this sort of thing. I’m not on
                      top of it. I have a finance department which does all of this that has
                      very good people in it…”

1344. Some support for Dr Lynch’s oral evidence that though involved in the
      explanation of the genesis and rationale of the programme he was not involved
      in the issue as to the accounting allocation of its costs (“the COGS issue”), is
      provided by the emails from Mr Hussain prepping Dr Lynch as referred to in
      paragraph 1308 above. Thus, as recorded in paragraph 1318 above when Mr
      Knights emailed Dr Lynch asking to discuss the issue as to allocation of the

         costs of the EMC purchases and resales on 14 October 2009, Dr Lynch
         immediately forwarded the email to Mr Hussain, which prompted Mr Hussain’s
         second email of 14 October 2009 (referred to in paragraph 1318 above). That
         email was plainly intended feed Dr Lynch with what to say. As to its content,
         Dr Lynch was pressed in cross-examination to accept that he knew it was “pure
         fiction”; he rejected this and told me:

                      “A.    Well, at this time I am relying on emails and information from
                             other people, but, no, I understand seminars, meetings and
                             customer events were happening. The incentives to the sales
                             force is sort of self-evident. And EMC – I’d seen emails that



                                                Page 432
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 434 of 900
Approved Judgment                                                               HC-2015-001324
Mr Justice Hildyard


                            EMC confirmed that they were configuring hardware for us. So
                            I’m reasonably confident that that is accurate.

                      Q. Had you attended any of these seminars, meetings, customer
                      events?

                      A. No, they were in the US, because, if you remember, the
                         arrangement was for New York; I m based in Cambridge in the
                         UK.”

1345. Nevertheless, though Dr Lynch’s answers were persuasively delivered, I have
      concluded that I cannot accept that Dr Lynch was not involved in the discussions
      relating to the COGS issue. It seems to me that the issue as to the rationale of
      the programme and the issue of the accounting treatment of its costs were and
      are intertwined, despite Dr Lynch’s efforts to cordon off the one from the other.

1346. I have reached this conclusion principally on the following grounds:

              (1) Although undoubtedly Dr Lynch was busy, and he was not an
                  accountant, he had time and accounting awareness enough to know that
                  the loss-making hardware reselling strategy had a serious potential
                  disadvantage in terms of its adverse effect on Autonomy’s ‘bottom line’,
                  which if it could properly be attenuated should be so.

              (2) As, on his own evidence, the hardware reselling strategy was his
                  concept, I think it unlikely that he would not have been interested in its
                  accounting treatment, even if its rationale was as he depicted: and if the
                  rationale was a pretext, then all the more reason to be engaged to disguise
                  it as much as possible.

              (3) Furthermore, it is not disputed that, unless advised that it was a
                  requirement to disclose, Dr Lynch was very keen to ensure that the
                  hardware reselling strategy was not disclosed: and it was always obvious
                  that material increases in COGS would be likely to lead to inquiry which
                  would in turn reveal the nature and extent of the programme. This was a
                  concern which it seems to me would have been likely to have prompted
                  his interest and involvement.

              (4) Mr Knights seems to have thought that Dr Lynch was involved in
                  devising ways to deal with the COGS issue: it will be recalled that in
                  his email (using his wife’s email address) of 13 October 2009 to Mr
                  Hussain and Mr Chamberlain (see paragraph 1313 above) Mr Knights
                  had referred to “Mike L’s ideas” in relation to the “key area” of “quite
                  what ‘sales and marketing’ type of stuff or further development stuff
                  EMC might provide you.”

              (5) Albeit not quite contemporaneous, there is documentary evidence, in the
                  form of an email dated 18 July 2010 from Mr Hussain to the Deloitte


                                            Page 433
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 435 of 900
Approved Judgment                                                                  HC-2015-001324
Mr Justice Hildyard


                      audit team (copied to Mr Chamberlain), recording Dr Lynch’s “strong
                      views” on the issue of COGS in the context of hardware sales; and
                      although the evidence is from a later date, there is no reason to suppose
                      that these strong views only crystallised in 2010, rather than when first
                      relevant.

                (6) More generally, the conclusion seems to me to follow from my
                    conclusion that the allocation of costs to ‘Sales and Marketing expenses’
                    was all part of the strategy; and Dr Lynch was well aware of that.

1347. My conclusion has been reinforced by my other conclusion that Dr Lynch was
      a knowing party to the exaggeration of the amounts properly referable to the
      launch and marketing of SPE, which were treated and accounted for as sales and
      marketing expenses as another stratagem to cover up the substantial costs in Q3
      2009 of the hardware reselling strategy.

1348. In summary, therefore, I have concluded and find that both Defendants were
      involved, not only in elaborating the extent of the relationship with EMC, but
      also more particularly in the false presentation to Deloitte of the COGS issue in
      order to attenuate (by moving part of COGS to sales and marketing) the adverse
      effect on Autonomy’s gross profit and gross margin figures resulting from a
      very considerable expansion of the hardware reselling strategy.


Assessment of the effect of the “Strategic Deals Memorandum”

1349. The question then is how Mr Knights came not only to accept, but also to help
      present, the accounting treatment based on the “residual approach” (see
      paragraph 1280 above), and later to require no clear disclosure.

1350. This is not easy to fathom, given that it seems to me to be clear that Mr Knight,
      Mr Knights and Mr Welham all fairly quickly identified that Mr Hussain and
      the finance department had exaggerated the extent of Autonomy’s relationship
      with EMC. That is evident from Mr Knight’s email of 9 October 2009 to Mr
      Knights and Mr Welham after receipt of what, by then, was the best that
      Autonomy appeared to be able to offer by way of substantiation, which was
      EMC’s email of 18 September 2009 (and see paragraphs 1278 and 1282
      above)185. Further, of course, the fact that neither Mr Knights nor any other

            person who was in the Deloitte audit team apart from Mr Welham, gave
            evidence in these proceedings, has made the task of unravelling why Mr
            Knights, and subsequently Mr Mercer, accepted the unacceptable even more
            difficult.

1351. There may have been a combination of factors, including:

185
      “This looks like a great program and we are excited to participate in it”.


                                                    Page 434
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 436 of 900
Approved Judgment                                                                     HC-2015-001324
Mr Justice Hildyard




              (1) Until tested sceptically against email exchanges demonstrating a very
                  different objective, the overall rationale of the hardware reselling
                  strategy appeared broadly credible. Except that he saw and considered
                  the final emails between Autonomy and EMC as referred to above, there
                  is no evidence that Mr Knights saw the emails from Mr Hussain and Dr
                  Lynch focused entirely on “revenue revenue revenue” (see, for example,
                  paragraphs 906 to 911 above) or other internal Autonomy emails
                  conveying the same focus. He was thus not confronted with material to
                  excite further scepticism; and it seems plain that his mindset was always
                  to seek to assist his client to overcome apparent inconsistencies, rather
                  than sceptically to test the reasons for them. That mindset appears to
                  have distracted him from a more sceptical review of the true reasons for
                  the resort to the “residual approach” 205 and management’s
                  disproportionate determination (relative to the comparatively small
                  amount of costs to which the accounting treatment related) to mitigate
                  the adverse effect of the programme and reduce its visibility.

              (2) The process of collaborative engagement with Mr Hussain and Mr
                  Chamberlain in working up a document which they were to present as
                  their own caused him to become parti pris. Instead of testing Deloitte’s
                  objectives, Mr Knights had become too close to question them: in his
                  own word, “wordsmithing” replaced sceptical review. Caught up in
                  presenting on Autonomy’s behalf the narrative of the overall purpose of
                  the programme, he failed to assess objectively the significance of the
                  continuing lack of any of the evidence of commitment on the part of
                  EMC which his own audit team had required, and of Autonomy’s resort
                  to a proxy in the form of the residual approach. He convinced himself of
                  what he had helped to write, and his auditing team followed suit.

              (3) Last, but I suspect not least, it seems more than likely that Mr Knights
                  felt considerable pressure to retain for Deloitte’s office in Cambridge (of
                  which he was head and which seems to have committed most of its
                  resources to this one client) a valuable account in respect of a FTSE 100
                  company which was a leading light in a high-profile sector.

1352. Whatever the reason, ultimately the more important point for the purposes of
      this case is the fact of his involvement, and the effect of it. In my judgment,
      there can be no real doubt that Mr Knights ceased to be a sceptical auditor and
      became an inventive wordsmith, who was even prepared to disguise his own


205which also had the effect of minimising the importance of justifying the various
suggested categories of alleged allocation of the ‘premium’.
         contribution, which included using (a) his wife’s email to send his draft; (b)
         emphasising in his covering email attaching it the need for it “to come from you
         to us”; and (c) artfully describing the final version as “the client produced
         memo” when sending it to the Reviewers the next day.



                                               Page 435
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 437 of 900
Approved Judgment                                                                  HC-2015-001324
Mr Justice Hildyard


1353. Although (as will be seen) in future quarters Deloitte would only accept a lower
      proportion of the costs of the programme being accounted for as Sales and
      Marketing expenses, Mr Knights’ contribution to and support for the narrative
      in the “Strategic Deals Memorandum” had an important influence in
      overcoming Deloitte’s original scepticism, and in leading them to treat the issue
      of cost allocation as purely one of accounting judgment, rather than as one
      which invited questions as to the use and propriety of the programme in the
      manner in which it came to be implemented.

1354. More generally, the “Strategic Deals Memorandum”, reinforced by Mr
      Hussain’s Quarterly Notes (see below), in substance shaped Deloitte’s view of
      the hardware reselling strategy from then on until at least Q2 2010 when the
      arrival of Mr Mercer and the growing obviousness that the hardware sales had
      become “business as usual” prompted Autonomy to provide the further support
      of the Linkage Analysis.

1355. Mr Knights’ conversion and support seems to me likely also to have had some
      influence on the attitude of the reviewing agencies (“the Reviewers”) whose
      involvement was stipulated by Deloitte as part of its internal oversight and
      control of complex audits. The Reviewers were its Professional Standards
      Reviewer (“PSR”, at that time in Q3 2009, Ms Lisa Bennett)186, Engagement
      Quality Assurance Review (“EQAR”, at that time, in 2009, Mr Stuart
      Henderson187), and Independent Review Partner (“IRP”, in 2009 for Autonomy,
      Mr Robertson208). Deloitte’s final approval depended on their sign off.

1356. Again, the determination of what persuaded them is compounded by the fact
      that like Mr Knights, none of the Reviewers gave evidence, and there seem to
      me to be gaps in the documentary evidence provided (despite its immensity).
      However, what is apparent is that:

              (1) Mr Knights gave them very limited time for review and response: after
                  sending them the final version at 11:40 on 14 October 2009 he not only
                  chased for a response that day but then chased again at 13:54.

              (2) Although Mr Knights stated that he was happy to discuss with each of
                  them individually, or collectively and Mr Welham’s evidence was that
                  their practice was to perform a collective process together, there is no




186
    According to Mr Welham’s witness statement, the PSR for H1 2009 was Ms Joanna Hacking, but
Ms Bennett was the PSR for the remainder of 2009. The PSR in Q1 2010 was Ms Lisanne Fitzgerald;
during the period Q2 2010 to Q2 2011 it was Mr Garrie Lumb.
187
    According to Mr Welham’s witness statement, in Q1 2010, the EQAR was Mr Chris Brough, in H1
2010 and Q3 2010, Mr Chris Robertson, and thereafter until Q2 2011 Mr Jonathan Dodsworth. 208
According to Mr Welham’s witness statement, Mr Brough was the IRP for the Q1 to Q3 2010
reviews, followed by Mr Stuart Barnett until Q2 2011.


                                            Page 436
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 438 of 900
Approved Judgment                                                              HC-2015-001324
Mr Justice Hildyard


                      record of any such collective decision, perhaps because of time
                      constraints.

              (3) There was a one-line email (timed at 14:23 on 14 October 2009 and
                  apparently in response to Mr Knights’ chaser at 13:54) from the then
                  PSR, Ms Bennett, stating “I am OK with it” (which supports the
                  inference that there was no collective process).

              (4) There is no record (or at least I have no record of having been shown
                  one, and I have found none in the Trial Bundle), of any written response
                  from the EQAR or the IRP.

              (5) It seems that by 16:30 Mr Knights had received their response(s), since
                  he emailed Dr Lynch and Mr Hussain at that time on 14 October 2009
                  stating that Deloitte had considered the “cost analysis on the
                  transactions we have been discussing” and were “satisfied that your
                  paper appropriately sets out the accounting”, but subject to three
                  caveats (which, since Mr Knights had not previously mentioned them, I
                  assume reflected further consideration with the EQAR and/or the IRP).

1357. Again, the more important matter than trying to discern in their absence what
      persuaded them is that the Reviewers signed off on the basis of the three caveats
      and a further cautionary note that the board should consider what further
      disclosure might be appropriate.

1358. The caveats appear to me to signify that the approval was somewhat hesitant,
      and that the Reviewers and Deloitte would require more convincing detail about
      the allocation of costs in future transactions. Their central or common theme
      was to treat the Q3 transactions as something of a one-off and to leave open the
      prospect of more rigorous review in the event of further hardware deals. In detail
      they were that:

              (1) The split between COGS and marketing expenses had been considered
                  for this “initial transaction” and “would not necessarily recur in
                  subsequent deals”;

              (2) The allocation for further transactions “would need to be assessed on its
                  own merits”;

              (3) The expectation would be that any future deals “would not necessarily
                  include the same level of marketing costs” and

                          “importantly it will be necessary to have a more itemised
                          breakdown of component parts of any purchase between
                          Hardware and other items.”

1359. Mr Knights set out these caveats when reporting back to Dr Lynch and Mr
      Hussain by email timed at 16:31 the same day (14 October 2009). He ended the


                                             Page 437
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 439 of 900
Approved Judgment                                                                      HC-2015-001324
Mr Justice Hildyard


          email with the following, which I take also to have reflected part of the basis on
          which the Reviewers acquiesced:
                 “One additional point to be considered at the year end will be
                 whether under IFRS you could be required to disclose hardware
                 sales- particularly if they became material to the numbers.
                 Whilst this is a year end matter, if disclosure did become
                 necessary and in the absence of any previous indication through
                 the year, it would be the first time that this information would be
                 made available to your investor and analyst community. This
                 might be worthy of some consideration at Q3?”

The issue of disclosure in Q3 2009


1360. That leads on to the issue of disclosure, and the way that Mr Knights was
      persuaded, perhaps against his initial and better judgement, to agree to minimal
      disclosure and only tinkering changes in the Q3 2009 Accounts. This, like the
      “Strategic Deals Memorandum”, seems to me to have set a pattern, with
      Deloitte repeatedly raising the issue of further disclosure but then either
      deferring to management as being a matter of commercial judgement, or settling
      for bland or cryptic sentences which were only decipherable by those in the
      know already and fell a very long way short of the transparency about the
      “quantum and nature of these sales” which Deloitte’s Report has suggested
      should be “considered” for Q3 2009 and had warned could well be “necessary”
      in the full or half-year accounts.

1361. Although I have set out previously in chronological sequence what was said
      about hardware in the Yearly and Quarterly Reports throughout the Relevant
      Period (see paragraphs 1187 to 1261 above), an elaboration of the way
      Deloitte’s initial concerns were dealt with in Q3 2009 seems to me to illustrate
      how Deloitte was led to agree to so little disclosure then and thereafter. Thus:

              (1) When provided by Mr Kanter (on 15 October 2009) with his suggestion
                  for the way the new Supplemental Metrics might be presented188, Mr
                  Knights’ response expressed concerns including the absence of anything
                  to show the hardware sales: he put this in the form of a question “…I’m
                  not sure where hardware sales would sit in your table?”. But he softened
                  his other concerns with a final sentence:

                          “It might be that with some word smithing it can be achieved.”

              (2) He amplified his concerns in red type on a revised draft “Updated Press
                  Release” which he circulated within Deloitte (to Messrs Welham and

188
   Mr Kanter produced a mock-up of a table of revenue sources which did not in any way differentiate
software revenue from hardware sales as such. Instead, and in contrast to a proposed differentiation
from Interwoven-related revenues”, it seemed to envisage hardware revenues being lumped into “Core
Autonomy IDOL revenues” and included in the calculation a figure to be given for IDOL Organic
Growth”.


                                               Page 438
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 440 of 900
Approved Judgment                                                                            HC-2015-001324
Mr Justice Hildyard


                      Knight and Ms Anderson) on 15 October 2009 which included the
                      following:



                         i.    A comment next to a bullet point in the draft highlighting
                               “Strong organic IDOL growth of 15%” which read “check this
                               calculation excludes impact of hardware sales”;

                         ii.   Comments next to a description of revenues for the quarter
                               having “totalled $191.6 million, up 51% from $127.1 million for
                               the third quarter of 2008 due to strong organic growth” which
                               (a) queried whether “due to” should be amended to “including”
                               and (b) stated “but hardware sales are not organic”.

                (3) In a follow-up email to Mr Hussain on 16 October 2009, setting out
                    Deloitte’s role and responsibility as regards the “front-end of the
                    accounts”,189 Mr Knights noted at the end (the underlining is mine):

                               “Can we have a detailed breakdown on how the figures are
                               compiled. My biggest concern will be that hardware sales were
                               neither IDOL based or organic !!


                               Let’s see the analysis and work out how to sensibly disclose.”


                (4) Yet none of these concerns was reflected in an updated draft press
                    release sent to the Audit Committee prior to its meeting the next day (16
                    October 2009). That draft, which Mr Welham also sent to Mr Robertson
                    and Mr Henderson (cc Ms Anderson) to consider in time before
                    anticipated release on 19/20 October, set out under “Supplemental
                    Metrics (not reviewed)” the following, none of which gave any hint that
                    the source of a proportion of the revenue was hardware sales:

                               “Supplemental Metrics (not reviewed)
                               Autonomy is supplying supplemental metrics to assist in the
                               understanding and analysis of Autonomy’s business

                               Software sales including hosted and OEM……………$125m
                               Service and support revenues……………..……………$9m
                               Deferred revenue release (primarily maintenance).. .$58m

189
      Which he explained as follows:
            “In principle if these are to be included in the press release Deloitte have a responsibility to
            ensure that they are not inconsistent with our understanding of the numbers.

              We do however need to ensure that the information is consistent with the approach applied
              in putting together the financial statements and does not invalidate the segmental or revenue
              analysis arguments that have previously been put forward.”


                                                   Page 439
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 441 of 900
Approved Judgment                                                                HC-2015-001324
Mr Justice Hildyard


                            IDOL OEM derived revenues…………………………..$24m
                            IDOL Organic Growth………………………………….$15%”

              (5) In response, Mr Henderson (in an email to both Mr Welham and Mr
                  Knights and copied to Mr Robertson, sent some 20 minutes after Mr



                      Welham’s email) did not focus on the Supplemental Metrics but
                      expressed considerable and more general disquiet:

                            “As anticipated I am deeply concerned by the total lack of
                            reference to the fact that nearly 20% of their Q3 revenues
                            representing a major strategic change in the nature of their
                            business attracts no comment….They don’t even seem to
                            mention the customers to whom these highly material hardware
                            sales have been made. I will take a fair amount of convincing
                            this is appropriate.”

              (6) Given the first phrase, it seems likely that Mr Henderson had voiced this
                  concern earlier, or at any rate it would not have come as a surprise. Mr
                  Knights replied immediately to say that the matter would be discussed
                  at the Audit Committee Meeting later, and he would then revert. Mr
                  Knights followed up again some 30 minutes later in an email to Mr
                  Henderson, Mr Robertson and Mr Welham, it seems likely after a
                  discussion with Dr Lynch or perhaps Mr Hussain and/or Mr
                  Chamberlain, stating:

                             Wording being now put into Mike s quote….

                            during the quarter we saw some of our customers promote
                            Autonomy to strategic supplier status. This led them to adopt a
                            broader set of our solutions in a number of significant deals.

                            We should remember that the 36 is split into 3 deals of around
                            9-11m I think - Moving the battle ship [sic] slowly-this is bound
                            to go round and change a few times…”

              (7) As Mr Knight pointed out after Mr Knights had forwarded the same
                  email to him, a problem with the proposed wording was that it “talks
                  about the strategic supplier status but doesn’t talk about the nature of
                  the deals. It could be read as they have bought more IDOL”. Mr Knight
                  then suggested that:

                            “If they do not want to talk about hardware then the solution
                            could be to get them to remove comments about organic growth
                            and idol growth.”




                                              Page 440
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 442 of 900
Approved Judgment                                                              HC-2015-001324
Mr Justice Hildyard


              (8) Later that day (at 17:03), Mr Robertson also replied by email to Messrs
                  Welham, Henderson and Knights (cc Ms Anderson) making two points:

                      i.    With reference to the proposed statement in the gross margin
                            section that “The unexpected demand for our new product
                            programme had a small depressing effect on gross margins”, he
                            asked, “Do we think this explains things sufficiently?” and
                            suggested that the drop in margin was considerable and not done
                            justice by the description;


                      ii.   In the same connection, he also posed the question at the heart
                            of things:

                                  “What’s the sensitivity about being more transparent on
                                  this score? If it’s a strong strategic move for them, why
                                  wouldn’t they want to explain this? I’d have thought the
                                  analysts will be bound to ask a lot of questions about it
                                  given the results look quite different this Q (usual big
                                  increase in revenue but comparatively small increase in
                                  profit)”;


                      iii. With reference to the statement in the draft “We do not expect
                           this to be a trend”, he made the point that he had the impression
                           “from our various conversations over the last few days that they
                           were planning on doing more of this” and posed the question
                           also at the heart of things: “Can they really make this
                           statement?”

                      iv. He ended with the comment that he would be interested to hear
                          how the discussions at the Audit Committee “have moved on
                          the transparency around these transactions.”

1362. These comments went to the root of the issues which have arisen since. Yet
      apart from prompting further apparently inconclusive discussion at the Audit
      Committee about the description “IDOL organic growth” (which was not
      minuted) and the debate I have mentioned previously as to how that might be
      altered, there is nothing in the evidence before me to suggest that the full
      discussion about the need and rationale for greater transparency ever took place.

1363. It seems that the issue of transparency became subsumed, and indeed lost, in a
      discussion (without any evident further involvement of Deloitte’s review
      partners) about the Supplemental Metrics and the description of organic growth.

              (1) The nature of the discussion is illustrated by an email from Mr
                  Chamberlain to Mr Hussain and Mr Kanter on 16 October 2009 stating
                  that:


                                             Page 441
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 443 of 900
Approved Judgment                                                              HC-2015-001324
Mr Justice Hildyard




                         “The key issue with the auditors seems to be around the use of
                         the word IDOL.

                         Strong organic growth and strong organic IDOL growth - to
                         them the former includes hardware sales and the latter does
                         not Product including hosted and OEM and IDOL product
                         including hosted and OEM-same point
                         IDOL organic growth and organic growth

                         Whilst we may find a way to get there on organic growth
                         through allocations they are going to really struggle with
                         including hardware within the description of IDOL product or
                         IDOL organic growth.

                         Battle lines have been drawn.”

              (2) The “battle” was not fierce. Its upshot was that (a) Autonomy (with the
                  intervention of Dr Lynch) agreed to remove the prefix “IDOL” when
                  describing the various categories of revenue in the “Supplemental
                  Metrics” (so that, for example, “IDOL Organic growth” became
                  “Organic growth”) and (b) after further exchanges, Autonomy
                  overcame Deloitte’s concerns about including hardware revenues within
                  “Organic growth” with the argument that all revenue growth should be
                  treated as organic unless its source was an acquisition.

              (3) Mr Welham stated in his witness statement (without further elaboration)
                  that:

                         “Ultimately, we agreed that growth in hardware sales was
                         organic, in that it did not derive from the acquisition by
                         Autonomy of a pre-existing business.”

              (4) In the final tie-through version of the Q3 press release checked by
                  Deloitte on 19 October 2009 both the statement “Strong organic growth
                  of 15%” and the statement “Revenues for the third quarter of 2009
                  totalled $191.6 million, up 51% from $127.1 million for the third quarter
                  of 2008 including strong organic growth” which Mr Knights had
                  expressed concerns about in his email of 16 October 2009 (see paragraph
                  1361 above) were ticked off by Deloitte.

              (5) As previously noted in paragraph 1259(2)(i) above, and apparently
                  heedless of Mr Robertson’s query as quoted in paragraph 1361(8)(iii)
                  above, in the final version of the Q3 2009 Report an erosion in gross
                  margin was ascribed to unexpected demand for SPE and Quick Start,
                  which was not expected to be “a trend” and did not mention the
                  hardware reselling strategy, which was in fact the principal drag on gross
                  margins and was expected to be a “trend”; and the only reference which


                                            Page 442
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 444 of 900
Approved Judgment                                                                HC-2015-001324
Mr Justice Hildyard


                      the initiated might have recognised related to hardware was the cryptic
                      sentence also already quoted that:

                             “During the quarter we saw some of our large customers
                             promote Autonomy to strategic supplier status. This has led
                             them to adopt a broader set of our solutions in a number of
                             significant deals.”


              (6) There is no sign of the concerns expressed by Mr Henderson and Mr
                  Robertson having been addressed; as far as the evidence before me goes,
                  they appear to have sunk without trace.

              (7) Thus, Autonomy’s management had got its way with Deloitte,
                  overcoming Mr Knights’ earlier concerns and the Reviewers’ objections,
                  for the price of a false explanation, a cryptic sentence and the removal
                  of the prefix “IDOL” before the description of the categories of revenue.
                  (Even that retreat was soon made good: in subsequent quarters and half
                  and full year accounts, the prefix was restored.)

1364. As my earlier chronological review of the Annual and Quarterly Reports (see
      paragraphs 1187 to 1261 above) demonstrates, none contained any further
      disclosure of the hardware reselling strategy, except (and as only the initiated
      could have surmised) (a) an even more cryptic explanation for an erosion in
      gross margins in Q2 2010 as being “due largely to changes in the sales mix”
      and (b) a very opaque reference in Q4 2010 to “package solutions, constructed
      of services, hardware and software, such as Arcpliance”.

Quarterly Notes prepared by Mr Hussain/Mr Chamberlain

1365. Although Dr Lynch had been insistent that what became the Strategic Deals
      Memorandum should not be restricted to justifying the programme with EMC,
      its principal focus had been on the Autonomy/EMC relationship as at Q3 2009.
      As the hardware reselling strategy continued in subsequent quarters its results
      and justification required confirmation and refreshment. The Claimants
      contended that the false and misleading description of the hardware reselling
      strategy in the Strategic Deals Memorandum was perpetuated, reinforced and
      as necessary modified throughout the Relevant Period in Quarterly Notes
      (which were marked as having been “Prepared by: Sushovan Hussain, Steve
      Chamberlain”).

1366. These “Quarterly Notes” contained an analysis of the quarter’s results which
      were circulated to the Audit Committee (and also to Deloitte), usually a day
      before their quarterly meeting, as part of the pack of material which included
      (a) such a memorandum (b) Deloitte’s report on its review of the financial
      statements and (c) a draft press release for the quarter.




                                               Page 443
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 445 of 900
Approved Judgment                                                           HC-2015-001324
Mr Justice Hildyard


1367. The Claimants alleged that in these Quarterly Notes, Mr Hussain consistently
      misled Deloitte and the Audit Committee about the nature of Autonomy’s
      relationships with its hardware suppliers, and the purpose and extent of the
      hardware reselling strategy; and that Dr Lynch, who in every quarter was sent a
      draft in advance, knew that Deloitte and the Audit Committee were being misled
      in this way, but said nothing.

1368. The Claimants alleged further that the fact that Mr Hussain and Dr Lynch
      perceived that they needed to mislead the Audit Committee and Deloitte in this
      way gives rise to the inference that they knew that (a) the accounting description
      and treatment of the hardware sales they had adopted could not be justified
      except on the basis of a false description of their context, nature and extent and
      (b) if the Audit Committee and/or Deloitte had been told the truth, they would
      have objected to the hardware reselling strategy and/or the accounting treatment
      of its costs, and required its disclosure to the market.

1369. In other words, the burden of the Claimants’ case in this regard is that the
      Defendants’ resort to the misrepresentation to Deloitte and the Audit Committee
      of the extent of the hardware sales and the nature of Autonomy’s relationships
      with hardware suppliers and the hardware reselling strategy (a) betrays the real
      purpose and impropriety of the sales and the programme, (b) exposes as futile
      their claim to have relied on the approval of their published information by
      Deloitte and the Audit Committee, and (c) damns conclusively the Defendants’
      relentless efforts to ensure that the extent of the sales and the nature of the
      programme were never disclosed to the market.

1370. The Claimants’ written closing submissions analysed in some detail both Mr
      Hussain’s Quarterly Notes (referred to in the Claimants’ RRAPoC as
      “memoranda”), and Deloitte’s own quarterly reports which were likewise
      provided to the Audit Committee every quarter. They also cross-examined Dr
      Lynch on these documents, which he acknowledged he would usually review
      cursorily but not consider in detail. He made the point also that he did not attend
      meetings of the Audit Committee; and could not provide any evidence of any
      discussions.

1371. It will be necessary to consider various of Mr Hussain’s Quarterly Notes and
      Deloitte’s Quarterly Reviews in some detail. But as an overview, (a) the
      Quarterly Notes served to reinforce, elaborate and, as circumstances changed,
      refresh what had been said in the Strategic Deals Memorandum (b) Deloitte’s
      own Reviews appear to have borrowed in relevant part from the Quarterly Notes
      but tended to be more restrained in their description of the purpose and effect of
      the hardware sales and (c) the Audit Committee were largely unquestioning of
      what they were told, and content to rely on Deloitte.

1372. As to (c), the evidence showed that the Audit Committee, having satisfied
      themselves that the segmental analysis confirmed that Autonomy had only one
      operating segment, being its IDOL-based software business, would have been




                                         Page 444
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 446 of 900
Approved Judgment                                                                      HC-2015-001324
Mr Justice Hildyard


          troubled only if the hardware sales appeared to be of such nature, extent and
          materiality as to undermine that conclusion and amount to a separate business.

1373. As it was, that never became a real concern, and a flavour of their attitude
      emerges from the evidence of Mr Robert Webb, who was not a member of the
      Audit Committee but as Non-Executive Chairman of Autonomy from May 2009
      until its acquisition by HP in 2011, occasionally attended its meetings. Although
      he could not recall the context, and it may not have been at the Audit Committee
      meeting to consider the Q3 2009 Reports itself 190 , Mr Webb related in his
      witness statement, on which he was not cross-examined, that:


                      “I do not recall the discussions around the disclosure of hardware being
                      particularly heated. There was a discussion and the conclusion


                      was to account for hardware sales in whatever way Deloitte said the
                      company was to account for it.”



How the hardware reselling strategy was presented in the Quarterly Notes



1374. The focus of the Quarterly Notes and Quarterly Reviews in dealing with the
      hardware reselling strategy altered over time. In my view, the following themes
      and changes of emphasis emerge:

              (1) In Q3 2009, the embellishment of the depiction in the Strategic Deals
                  Memorandum of the relationship between Autonomy and EMC,
                  principally with a view to justifying the accounting treatment of the costs
                  of the hardware sales in Q3 2009.

              (2) From Q3 2010, and especially from Q1 2010 after EMC had withdrawn,
                  the recasting of the justification of the hardware reselling strategy
                  towards its “customer-facing” aspects, and “strategic package sales”
                  to meet all their IT needs, with a view to justifying the treatment of
                  hardware sales as an integral part of the software business and
                  continuing to justify accounting for part of the costs of the sales as sales
                  and marketing expenses.

              (3) The introduction in Q2 2010 of the notion that such “strategic package
                  sales” had already been “flagged” to the market, in response to


190
   His attendance is not recorded in the Minutes for the Audit Committee meeting to consider the Q3
results held on 16 October 2009. The three members of the Committee were present. Messrs Hussain,
Kanter (Secretary), and Chamberlain of Autonomy, and Messrs Knights, Knight, Welham and
Ferguson of Deloitte were recorded as having been in attendance.


                                               Page 445
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 447 of 900
Approved Judgment                                                                 HC-2015-001324
Mr Justice Hildyard


                      increasing concern from Deloitte about the absence of disclosure, with a
                      view to deflecting any requirement for further disclosure.

              (4) In tandem with the Linkage Analysis, increasing focus from Q2 2010
                  onwards on the line that hardware sales had generated significant new
                  software business for Autonomy, and that there was a “strong linkage”
                  between hardware sales and “highly profitable software sales”, with a
                  view to addressing increasing concern on the part of Deloitte that the
                  hardware reselling strategy had become “business as usual”.

              (5) The disguise of the various stratagems which Autonomy came to adopt
                  to reduce the effect of loss-making sales on accounting metrics, and
                  thereby to support efforts to prevent discovery and disclosure of the
                  extent and nature of the hardware reselling strategy.

1375. These themes are elaborated and illustrated below by reference to individual
      Quarterly Notes and Reviews.

Mr Hussain’s Q3 2009 Quarterly Note

1376. The final version of Mr Hussain’s Quarterly Note for Q3 2009 was sent by Mr
      Kanter to each of the members of the Audit Committee (namely, at that time,
    Mr Richard Perle, Mr John McMonigall and Mr Barry Ariko) late in the evening
      (9:54 pm) on 15 October 2009 before the meeting next day. Those to whom Mr
      Hussain’s Quarterly Note was circulated included Mr Hussain and Mr
      Chamberlain. (As I describe below an earlier draft, in a different form, was sent
      to Dr Lynch and Mr Hussain by Mr Chamberlain at 16:23 on the evening of 14
      October 2009.)

1377. As became characteristic, Mr Hussain’s Q3 2009 Quarterly Note embroidered
      on the “Strategic Deals Memorandum” in a rather expansive way. Four facets
      of this embroidery were particularly striking in this quarter.

1378. First, what had been described in the “Strategic Deals Memorandum” as
      “continuing rationalisation of IT suppliers to financial institutions” was
      embellished considerably into an assertion that:

                      “… These organisations are restricting their key suppliers to 6 or 7
                      companies comprising the usual suspects, Cisco, Microsoft etc.
                      Because of the strategic nature of Autonomy they have asked us to
                      assume the last of these slots. In doing so, however, this has pushed
                      EMC, a major supplier of storage, out. It should be noted EMC’s
                      business with these organisations is very large. In order to allow all
                      parties to accept this outcome the companies have asked Autonomy
                      and EMC to partner closely together. This close tie has given
                      Autonomy the scale the banks require and has given EMC the security
                      to acquiesce to the arrangement. Obtaining this strategic supplier



                                               Page 446
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 448 of 900
Approved Judgment                                                                HC-2015-001324
Mr Justice Hildyard


                      status we believe will be very valuable to Autonomy in the coming
                      years.”

1379. As to this:

              (1) The Claimants submitted that almost every part of this was false, and
                  none of it was supported by the contemporaneous documentation.

              (2) Thus, they said, it was not the case that EMC had been “pushed out” by
                  Autonomy; nor was Autonomy appointed as a panel supplier to any of
                  these organisations. On the contrary, the hardware sales, through EMC,
                  had come about by Autonomy approaching EMC: it was EMC that was
                  bringing the hardware deals to Autonomy, and it was EMC that was
                  selling the hardware into its customer base.

              (3) The passage was introduced after Dr Lynch had been provided with the
                  proposed last draft (which did not include it). When cross-examined, Dr
                  Lynch denied having had more than a “quick look” at the draft, but the
                  Claimants submitted and I accept that the most likely explanation of the
                  change is input from him, especially since the contribution reflects
                  previous amendments he had suggested to pre-final versions of the
                  Strategic Deals Memorandum.

              (4) Dr Lynch sought to support Mr Hussain’s description: but he had no
                  documentary evidence to substantiate any of it. Dr Lynch maintained
                  that the companies had indeed indicated that there was not room for both
                  EMC and Autonomy in their supplier lists, and encouraged them to
                  collaborate. He instanced especially a conversation with a Mr Chiarello,
                  whom he described as JPMC’s CIO, and another person whom he
                  described as Mr Chiarello’s right-hand man, a Mr Feinstein, who he said
                  “were dealing with Autonomy and EMC, sometimes even together.”
                  His evidence was that:

                                    “…there was a discussion at the time that the way that
                                    it was played by JPMC was that we were both vying for
                                    the final place and that if we could put together this
                                    kind of an arrangement then it would be workable for
                                    both of us. That was what was presented.”

              (5) There was no documentary record of this. Even though I would accept
                  Dr Lynch’s dismissal as “just not realistic” the suggestion that this sort
                  of conversation would have been minuted (and it is also fair to note that
                  the draft sent to him did not include this passage), he did indicate that he
                  thought there would definitely be emails between him and “people at
                  JPMC”; but none was ever produced.

1380. Second, what had been described in the “Strategic Deals Memorandum” as “a
      package approach to this demand for strategic selling” and “combined


                                              Page 447
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 449 of 900
Approved Judgment                                                                HC-2015-001324
Mr Justice Hildyard


         hardware/software application offerings in the compliance space” was
         elaborated into “large sales in Q3 (comprising software and hardware utilising
         the software in an appliance model)” and sales of “software and hardware as
         part of their compliance solution”. The Claimants submitted that this reference
         to an “appliance model” was false. No such “appliance model” had been
         developed, and the sales were of ‘pure hardware’.

1381. Third, what had been referred to in the “Strategic Deals Memorandum” as “the
      strategic partnership with EMC… led by Bill Scannell” was elaborated into:

                      “The partnership with EMC is allowing the development of joint
                      products and marketing of EMC/Autonomy solutions to the customer.
                      This has served to give EMC confidence despite no longer owning the
                      relationship. These arrangements have been brokered at the highest
                      level by the CTOs and we view these sales as part of a bigger strategic
                      picture.”

1382. As to this:

              (1) The Claimants dismissed the passage as also untrue in every material
                  particular, contending that (i) there was no partnership with EMC; (ii)
                  there was no development of joint products with EMC; (iii) there was no
                  joint marketing initiative between EMC and Autonomy; (iv) EMC still
                  “owned” its relationship with the customers to whom the hardware was
                  being sold; and (v) any arrangements between Autonomy and EMC had
                  been made between Mr Sullivan and Mr Scannell, and no part had been
                  played by Dr Menell.
              (2) When cross-examined on it, Dr Lynch disagreed that there was no
                  partnership with EMC and stuck to his line that the process of
                  developing a joint product with EMC had “already happened at one
                  level by this time and we then go on to work on other things with them”.
                  He also defended the description of “strategic package sales” as
                  extending to sales of hardware to established customers for Autonomy
                  software with a view to supporting software already acquired, or further
                  software to be supplied whether as part of the hardware sale or later. But
                  all this was a semantic exercise, with Dr Lynch‘s justification amounting
                  in reality to insistence on his own dictionary. The plain import of what
                  was said was against him.

1383. Fourth, the explanation in the “Strategic Deals Memorandum” of the increase
      in “Operating costs” including costs of sales was expanded in Mr Hussain’s Q3
      2009 Note as follows:

                       There were 2 large movements. Firstly, in sales and marketing we spent
                      around $20m on sharing marketing costs with EMC and extra marketing
                      on our new product launch (Structured Probabilistic Engine). EMC are
                      using the monies in highly targeted joint marketing programmes with
                      companies such as JPMC and Citi and in also jointly developing further


                                               Page 448
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 450 of 900
Approved Judgment                                                                HC-2015-001324
Mr Justice Hildyard


                      appliances for future sales. Secondly we capitalised $11m of R&D under
                      IAS 38 as a direct result of significant development effort on the new
                      product release (SPE)…”

1384. The Claimants alleged that both aspects of these explanations were false. More
      particularly:

              (1) The aspect relating to R&D and SPE has been dealt with separately.

              (2) The aspect relating to statements as to there being a “highly targeted
                  joint marketing programme” with EMC and as to joint development of
                  further appliances for future sales was exaggerated: as previously
                  explained, there was no such “targeted joint marketing programme”;
                  EMC had not committed, and was not required, to use the money it
                  received for the hardware in any particular way; and any development
                  plans for joint Autonomy/EMC appliances were at best inchoate.

1385. In my judgment, the intended effect of Mr Hussain’s Q3 2009 Quarterly Note
      was to confirm and amplify for the particular attention of the Audit Committee
      the message that the hardware sales did not indicate that Autonomy was engaged
      in a new and separate (and loss-making) business of hardware reselling: that
      they were part and parcel of the existing software business and could properly
      be accounted for as such.

Deloitte s Q3 2009 Review

1386. On 16 October 2009, Deloitte issued their Q3 2009 report to the Audit
      Committee. Prior to its finalisation, Deloitte had sent a copy in draft to Mr
      Hussain and Mr Chamberlain. Mr Hussain forwarded it on to Dr Lynch stating:
      “See the positioning re emc – any comments?”

1387. The wording of that report is a further refined version of the “Strategic Deals
      Memorandum” which may have borrowed also from Mr Hussain’s Q3 2009
      Quarterly Note. It displays the same misleading depiction of the extent of the
      relationship between Autonomy and EMC, with the same implicit suggestion of
      commitment on the part of EMC to invest the ‘delta’ in agreed ways (though
      Deloitte was more circumspect in avoiding any reference to a ‘partnership’ than
      Mr Hussain had been). Its references to the prospective development of an
      appliance described the cost/loss as “Autonomy’s upfront investment in working
      jointly with EMC to develop this proposition.”

1388. The opening paragraph stated as follows:

                      “During the quarter, the executive management identified a new and
                      significant longer term market opportunity for Autonomy to develop in
                      the provision of appliance related solutions to leading multi-national
                      financial institutions. In order to begin to establish the Group’s
                      presence in this space Autonomy management identified the need to


                                               Page 449
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 451 of 900
Approved Judgment                                                              HC-2015-001324
Mr Justice Hildyard


                      develop a close working relationship with a major hardware company.
                      EMC were approached by the executive management team and a
                      significant hardware, marketing and development purchase entered
                      into with this organisation. The purpose of this transaction with EMC
                      was:

                             -   to provide hardware to Autonomy for it to deliver to its
                                 existing customers,

                             -   to provide ongoing joint sales and marketing support to
                                 promote further sales to this emerging market and

                             -   to begin to develop an appliance based hardware and
                                 software configuration whereby Autonomy software might be
                                 fully integrated into EMC hardware for products aimed at
                                 the appliance sector and major financial institutions.”


1389. This was at best exaggerated: the arrangements made with EMC were not
      concerned with developing “appliance related solutions”; there was no
      “hardware, marketing and development purchase” entered into with EMC;
      EMC did not “provide hardware to Autonomy for it to deliver to its existing
      customers”; there was no “joint sales and marketing” arrangement with EMC;
      and there was no agreement, or even discussions, between EMC and Autonomy
      regarding the development of “an appliance based hardware and software
      configuration”.

1390. Deloitte’s draft report went on to state:
              “The procurement of goods, marketing services and future
              development costs have been allocated between cost of goods (within
              gross margin) and sales and marketing costs (which fall to be treated
              as operating costs). … The marketing cost is being used to incentivise
              the EMC salesforce; provide discounts to the customer; provide funds
              for the development of the appliances; and to attend marketing events.

                      Management’s rationale behind entering into these loss making
                      contracts is that Autonomy is seeking to develop a strategic
                      relationship with EMC whereby in future an appliance will be
                      marketed which combines Autonomy’s software with EMC’s hardware.
                      The $9 million cost over and above the $36 million recovered through
                      the sales reflects Autonomy’s upfront investment in working jointly
                      with EMC to develop this proposition. Management has considered
                      whether these costs should be capitalised but has concluded that they
                      do not meet the necessary asset criteria and accordingly has expensed
                      them as incurred.”

1391. Again, this was based on what Deloitte had been told by Dr Lynch and Mr
      Hussain. Although Deloitte steered away more carefully than had Mr Hussain


                                              Page 450
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 452 of 900
Approved Judgment                                                           HC-2015-001324
Mr Justice Hildyard


         from asserting a partnership or any commitment on the part of EMC, I accept
         the Claimants’ contentions that (a) the scope and extent of Autonomy’s then
         existing relationship with EMC was exaggerated, and (b) there was next to no
         substance in the assertion that part of the amounts paid by Autonomy went
         towards attendance at marketing events. Except for the emails attached to the
         Strategic Deals Memorandum, these calculations were arrived at unilaterally by
         Autonomy, without any input from or discussion with EMC. The only prices of
         which Autonomy in fact had knowledge were (i) the price they had agreed to
         pay EMC and (ii) the price at which it was on-selling to the customer.

1392. At that time, none of the members of the Audit Committee had any accountancy
      qualification; and it is unsurprising that they accepted Deloitte’s approval of the
      Q3 2009 Report (subject to the caveats referred to above) without (so far as the
      evidence goes) any question, except as to disclosure.

How Dr Lynch dealt with the Audit Committee s questions about disclosure (Q3 2009)

1393. Before resuming my description of how Mr Hussain’s Quarterly Notes and
      Deloitte’s Quarterly Reviews shaped the attitude of the Audit Committee over
      the course of the Relevant Period, it is convenient to interpose an episode which
      arose immediately after the Q3 2009 Audit Committee meeting relating to the
      issue of disclosure.

1394. An important detail in Deloitte’s Q3 2009 review was a passage as follows:

                  “These hardware sales did not include any IDOL software component
                  and reflect Autonomy’s early targeting of the emerging market of
                  appliance solutions. The Board should consider how best to
                  communicate this new opportunity to the shareholders as these
                  revenues are not driven from the IDOL technology of the Group.”

                      [Emphasis supplied by me]


1395. On 21 October 2009, and following up earlier emails from him and his
      colleagues about the lack of any mention in draft minutes (prepared by Mr
      Kanter) of discussions they all recollected having had at the Audit Committee
      meeting about (in Mr Ariko’s words) “how to best represent and incorporate
      the EMC servers we are reselling into our financial results”, Mr Ariko sent an
      email to Dr Lynch regarding “the revenue we’re putting on our books from the
      reselling of these storage servers”. He stated that he agreed that “our Strategic
      position with many of our large customers is a good thing” and noted also that
      “because of that reselling another companies products does present us with
      incremental revenue and margin contributions.”

1396. Mr Ariko’s only real concern was with disclosure. Perhaps prompted by a
      passage in Deloitte’s Q3 2009 Review, he wanted to ensure that the effect of
      this new revenue stream, and the performance of Autonomy’s software business


                                             Page 451
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 453 of 900
Approved Judgment                                                               HC-2015-001324
Mr Justice Hildyard


         (which he described as “our most strategic products”), were fairly presented
         both for internal purposes and also from the point of view of the market. He was
         explicit:

                      “…I think we have a potential problem with how we discuss the
                      revenue we’re putting on our books from the reselling of these storage
                      services. We need to agree how best to present those numbers to the
                      Street and how best to review the performance of the Company without
                      those revenue/profit numbers included to best understand the state of
                      our business regarding our most strategic products. I believe this
                      needs to be an extensive discussion at the next Board meeting and I
                      think we should review our [current] press release so that it
                      adequately reflects the effects of this new business line.”


1397. This concern was shared by all his colleagues on the Audit Committee, and
      expressed clearly after it transpired that the Press Release was issued
      notwithstanding these concerns. All three members wrote expressing concern
      about the lack of discussion about and disclosure of the hardware reselling
      strategy in the Q3 Press announcement:

              (1) On 19 October 2009 at 4.18pm, in response to having been sent for
                  approval the draft minutes of the Audit Committee meeting held on 16
                  October 2009, which did not record any discussion about hardware sales
                  and revenues, Mr McMonigall sent an email to his fellow Committee
                  members, and also to Mr Kanter, copying Mr Hussain and others at
                  Autonomy, which stated:

                        “Fine with me. But how did we deal with the hardware GM issue
                        in the announcement?”.
              (2) Mr Ariko sent an email less than an hour later stating:

                             “I think the minutes need to reflect that we had a discussion
                             about how to best represent and incorporate the EMC servers
                             we are reselling into our financial results”.

              (3) The third member, Mr Perle, later that evening sent an email agreeing
                  with Mr Ariko and stating that he:

                             “share[d] John’s interest in knowing what the press release
                             says”.

1398. As has already been seen, the Press Release had been issued earlier that day. It
      made no mention of the “new business line”. Although one of the functions of
      the Audit Committee was to approve the quarterly results and press release, it
      appears that they, and these concerns, were by-passed. The responsibility for
      this is not clear. There is no record of Mr Kanter having sent to Deloitte his draft
      minutes, which the members of the Audit Committee all thought missed out this


                                              Page 452
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 454 of 900
Approved Judgment                                                                HC-2015-001324
Mr Justice Hildyard


         vital discussion. I did not hear from any of those members; or from Mr Kanter;
         or from Mr Knights, who did attend the meeting. I have had no opportunity to
         assess properly what may be competing recollections.

1399. But, to my mind, who was responsible matters less than the undoubted
      confirmation that the episode provides of (a) the natural reaction at the time of
      informed but objective persons, asked to consider the rationale for the hardware
      sales, that in any event they should be disclosed; (b) the determination on the
      part of management that they should not be so; (c) the inevitable suspicion
      surrounding (i) the omission from the minutes of the discussion all three
      members of the Audit Committee recalled and (ii) the apparent failure
      (including by Mr Knights, if the discussion took place) to factor in the Audit
      Committee’s views on a matter which was part of their remit. Both (a) and (b)
      above were further demonstrated by two further emails.

1400. Mr Hussain’s reaction to Mr Ariko’s email was to send an email to Mr Kanter
      (only) which provides an insight into his outlook on the issue of disclosure:

                      “We made a statement about the strategic sales in MRL’s quote – we
                      cannot give too much detail in the press release as it’s commercially
                      sensitive. In the press release we said “during the quarter we saw
                      some of our large customers promote autonomy to strategic supplier
                      status. This has led them to adopt a broader set of solutions in a
                      number of significant sales.””


1401. Dr Lynch responded directly to Mr Ariko on 23 October 2009. The Claimants
      fastened on his response as showing clearly that he was “perfectly content to
      mislead Mr Ariko”. His response was prefaced by an assurance of complete
      agreement that the matter needed to be monitored closely, and a reference to Mr
      Knights having “explained his treatment of this to me and Andy and Sushovan
      advised that they felt the positioning was correct but also added that like you
      something we needed to keep under review”. The remainder and the Claimants’
      basis for criticising particular parts of it are summarised below:

              (1) Dr Lynch stated that:

                             “The market is already aware we sell hardware, something we
                             have done for 5 years or so and indeed we mentioned it as
                             being relevant to q3 on the conference call and in Q3
                             shareholder meetings and indeed that this had been more
                             pronounced this quarter. This has been mentioned by financial
                             analysts in their coverage of the quarter.”


              (2) The Claimants contended that the market had not been informed that
                  Autonomy was selling pure hardware, and that the transcript for the Q3
                  2009 earnings call does not contain a single reference to the hardware
                  sales. They paraphrased Dr Lynch’s references to the situation in Q3


                                               Page 453
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 455 of 900
Approved Judgment                                                                 HC-2015-001324
Mr Justice Hildyard


                      being “quite complex involving hardware, our software to customers
                      and a partnership development” and to “the move … towards an
                      appliance model rather than usual hardware re-sell” and a “new
                      strategic product offering” as intended to maintain a fiction of a
                      partnership with EMC for the development of an appliance which did
                      not accurately reflect the reality of the position with EMC.

              (3) Dr Lynch stated that Autonomy “would not want to become resellers of
                  unrelated hardware which is not about furthering our software sales”.

                      The Claimants contended that was the reverse of the truth because
                      according to the Claimants’ case that was precisely the strategy that had
                      been implemented and the hardware sales during Q3 2009 were a means
                      of producing recognisable revenue, rather than having anything to do
                      with “furthering … software sales”.

              (4) Dr Lynch assured Mr Ariko that Autonomy was “issuing a new press
                  release next week on these matters relating to hardware”.

              (5) According to the Claimants, this was incorrect. As Dr Lynch well knew,
                  the press release in question had nothing to do with pure hardware sales:
                  it concerned the launch of the Arcpliance appliance: and they cited a
                  press release issued on 28 October 2009 (“Autonomy Announces New
                  Archiving Appliance”).

              (6) Dr Lynch concluded:

                          “I think its a good subject to discuss at the board meeting
                          although perhaps we need to monitor the next couple of
                          quarters to see if this is a one off or a trend before reacting”.
              (7) The Claimants said that this was misleading because by that time, it was
                  already clear that these hardware sales were not intended to be a one-off
                  (as Dr Lynch acknowledged in his own witness statement by the words
                  “EMC was just one of the hardware providers we planned on working
                  with as the hardware strategy developed”). Rather, the Claimants
                  continued, the sales had become an important means of generating
                  revenue for Autonomy and indeed, as explained below, a matter of days
                  later, Dr Lynch and Mr Hussain were setting an ambitious hardware
                  revenue target for Q4 2009.

1402. I accept that Dr Lynch’s email was misleading. Tracking the sub-paragraphs
      above:

              (1) As to (1), Dr Lynch’s assertion that the market was already aware that
                  Autonomy sold hardware was true only in the most literal sense; it skated
                  over the fact that the very considerable increase in the volume of sales
                  had been kept from the market, and the sales were only ever mentioned
                  in the context of sales of appliances or Arcpliance. Further, and more
                  concretely, it is correct that there was no mention of hardware sales in


                                               Page 454
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 456 of 900
Approved Judgment                                                                 HC-2015-001324
Mr Justice Hildyard


                      the Q3 earnings call; and though Dr Lynch may have confused the call
                      with his own public statement on the Q3 results, which did contain the
                      Delphic reference to Autonomy having, in consequence of certain large
                      customers having promoted it to “strategic supplier status”, adopted “a
                      broader set of our solutions in a number of significant deals”, the
                      inaccuracy and evasiveness are very striking.

              (2) As to (2), Dr Lynch’s references to partnership coupled with references
                  to a “a new strategic product offering” had no real grounding in the
                  truth.

              (3) As to (3), I have determined that whatever its purpose when first
                  formulated, by the time of this exchange the hardware reselling
                  strategy’s purpose was the generation of revenue to make good shortfalls
                  in software sales without disclosure of their extent or true source.

              (4) As to (4) and (5), the Claimants were correct in their contention that Dr
                  Lynch must have been referring to a press release dated 27 October 2009
                  which announced Autonomy’s Arcpliance product, which had nothing
                  to do with the hardware sales to which Mr Ariko was referring.

              (5) As to (6) and Dr Lynch’s concluding statement to the effect that board
                  discussion of hardware sales might be better postponed because
                  “perhaps we need to monitor the next couple of quarters to see if this is
                  a one off or a trend before reacting” smacks of evasion and sits uneasily
                  with Dr Lynch’s presentation of the hardware reselling strategy as a
                  continuing strategy, involving not only EMC but also other hardware
                  sellers.

1403. Again, this is plainly at odds with the picture of open and constructive
      engagement painted by the Defendants as described above. The impression that

         Dr Lynch interpreted Deloitte’s advice that the Accounting Standards did not
         require separate disclosure of revenue from the hardware reselling strategy as
         justifying him taking active steps to disguise or distract attention from it is
         reinforced by what he said at the Earnings Call for Q3 2009 (which took place
         on 20 October 2009).

Mr Hussain s Q4 2009 Quarterly Note

1404. A draft of Mr Hussain’s Q4 2009 Quarterly Note was, as usual, pre-circulated
      to Dr Lynch for his comments. The final version was dated 29 January 2010 and
      circulated to the Audit Committee in advance of its meeting on 1 February 2010.
      The Note did not mention EMC or appliance sales, but contained a passage on
      “Strategic Sales”, as follows:

                      “Strategic sales – only one new strategic sale for $1m this quarter
                      (Bank of America) and 2 were delivered from deals concluded last



                                               Page 455
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 457 of 900
Approved Judgment                                                                 HC-2015-001324
Mr Justice Hildyard


                      quarter (Morgan Stanley for $6m and Credit Suisse for $4m). The total
                      is $11m or 4.9% of total sales. The Morgan Stanley sale is particularly
                      strategic as we made a further $12m of software sales to Morgan
                      Stanley in the quarter. The Bank of America sale is also strategic in
                      that we are in the midst of a large 7-figure sale of software in Q1’10.”

1405. The Claimants submitted that this was misleading because:

              (1) As Dr Lynch accepted, the “$12m of software sales to Morgan Stanley”
                  was in fact the restructuring of the hosting arrangement with Morgan
                  Stanley. That transaction was entirely unrelated to the hardware sales
                  that had been made to Morgan Stanley. There was no linkage between
                  the two. Thus, it was misleading to state that the hardware sale to
                  Morgan Stanley was “strategic” to the software sale.

              (2) The same was true in relation to the BofA hardware sale, which was
                  made to the reseller SHI. Again, the hardware deal was not “strategic”
                  to the software deal referenced, which was a hosting arrangement that
                  was negotiated entirely independently.

1406. In cross-examination, Dr Lynch sought to justify their description on the basis
      that both were nevertheless “part of our strategic solutions problem”. He
      explained this as follows:

              Q. How do you say there was a relationship between a restructuring of the
                 hosting deals and a sale of hardware to Morgan Stanley which was
                 going to go on site?

              A. Because they’re being done under the Morgan Stanley arrangement
                  from 30 June 2009 which is an arrangement that is to do with
                  hardware and also mentions Digital Safe, and then the other aspect of
                  this is that Morgan Stanley owns some of the hardware that we host,
                  and then the last aspect of this is that Morgan Stanley also has some
                  safes which we’re not hosting.
                  …

              Q. I suggest to you that the way in which this has been presented to the
                  audit committee, suggesting some kind of close link, or link between
                  these transactions, was just misleading, wasn’t it?

              A. No, that’s incorrect. And Deloitte were well aware of the level of
                  linkage in each deal and there are working papers that discuss their
                  understanding of that in detail…”

1407. In relation to the BofA deal, he explained the linkage as being:
                       “..that they are part of our strategic program…which by selling these
                      large banks the hardware, we are able to fulfil the strategic need.


                                               Page 456
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 458 of 900
Approved Judgment                                                                HC-2015-001324
Mr Justice Hildyard


                      Now, there are other sales if you’re correct about these ones, where
                      actually the software is running on the hardware and there are other
                      ones which are the appliance-type sales. So there’s a mixture going on
                      here but the basic principle is that we are doing one-stop shopping for
                      the banks.”


1408. The effect of this was to cover all situations. In his oral evidence before me Dr
      Lynch extended his asserted meaning of “strategic sales” to apply to any sale
      of hardware to a software customer of Autonomy, existing or prospective. As
      also appears from the passage quoted in paragraph 1406 above he also told me
      that Deloitte were “well aware” of the “level of linkage”. However, what
      Deloitte had been told appears from a passage in Deloitte’s own Report to the
      Audit Committee on the Q4 2009 Audit:

                      “These hardware sales did not include any IDOL software component
                      and reflect Autonomy’s continued targeting of the emerging market of
                      appliance solutions. However, we do note that during Q4 2009,
                      Autonomy sold and have also sold significant software to Bank of
                      America (who are the end-user in the SHI deal) in recent quarters. As
                      consistent with the hardware sales reported to the Audit Committee in
                      our Q3 report, these sales have been made at an overall loss with the
                      costs being allocated between costs of sales and marketing expenses.
                      Management’s rationale for entering into these loss-making contracts
                      is that Autonomy is seeking to develop a strategic relationship with
                      EMC whereby in future an appliance will be marketed which combines
                      Autonomy’s software with EMC’s hardware. It should be noted that
                      the sale to SHI international was not connected to this strategy with
                      EMC and involved a sale of 1,000 laptops to Bank of America via SHI
                      International which Autonomy had purchased from Dell. The intention
                      here is that both Autonomy and Dell will market Dell hardware that
                      incorporates Autonomy search software.”

1409. There are a number of problems with Dr Lynch’s evidence in this regard:

                (1) In respect of each transaction, Deloitte appear to have proceeded on a
                    much more specific basis than Dr Lynch’s very broad extension of the
                    concept of a strategic sale in cross-examination.

                (2) But in neither could the basis on which they proceeded be supported.

                (3) By the beginning of Q4 2009 EMC had withdrawn from the hardware
                    reselling strategy. There was no “strategic relationship” or agreement
                    for marketing of a joint appliance. Mr Welham’s unchallenged evidence
                    was that Deloitte had not been told this during the course of the 2009
                    year-end audit.191 Nor had the Audit Committee.

191
      Dr Lynch told me in cross-examination that he did not know this.


                                                  Page 457
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 459 of 900
Approved Judgment                                                                         HC-2015-001324
Mr Justice Hildyard




              (4) Any arrangements for the development of an appliance with Dell were
                  inchoate and uncertain.

1410. I am persuaded and find that Deloitte were misled and the Audit Committee
      likewise.

1411. Mr Hussain’s Q4 2009 Note was also misleading in stating as follows under
      “Operating costs”: “… the costs associated with the strategic sales (joint
      marketing and cost of sales) were down …”. However, no “joint marketing”
      had been agreed, let alone undertaken, with any of the hardware manufacturers.

Mr Hussain’s Q1 2010 Quarterly Note


1412. By Q1 2010, Deloitte knew that Dell had taken over from EMC as the primary
      hardware supplier. Some recasting of the justification for hardware sales was
      required. The Claimants’ allegations in respect of Mr Hussain’s Q1 2010
      Quarterly Note (the Claimants called it a ‘paper’) related particularly to the
      alleged depiction of a sale of hardware to BofA as part of a “package sale”
      resulting in a software purchase by BofA from Autonomy, both in Q1 2010.

1413. These allegations were particularly directed against Dr Lynch, as having been
      responsible for changing a draft of Mr Hussain’s Q1 2010 Note in the manner
      shown by the text and deletions below:

                      “Strategic Package ic sales – the total was $7m (3.5% of total sales) of
                      lower margin business including a strategic sale to the Bank of
                      America for $145m$9m of . This should be seen in the light of a
                      separate $9m major strategic sale of compliance software and 5m of
                      low margin business also in the quarter (we flagged this sale in the Q4
                      Audit Pack). We also sold $41m to Fannie Mae and at the same time
                      sold $3m of compliance software and $1m low margin to Freddie
                      Mac.”

1414. Thus, whereas the original draft had described the software and hardware sales
      as separate (indeed, that very word was used in the pre-circulation version in

         relation to the BofA software sale), the effect of what I accept were changes
         made by Dr Lynch 192 was to suggest that they constituted part of the same
         “package sale”. These changes, which recast the justification for the hardware
         reselling strategy in conjunction with Dell as a means of enabling Autonomy to

192
    Dr Lynch denied this, relying on the fact that he was in California (marooned there by the Icelandic
volcano eruption which restricted international flights), and suggesting that “I don’t think these would
be my changes. The words may be my changes but there’s certainly something else going on here as
well”. However, it is clear, in my view, that Dr Lynch did make the changes. The changes were
attached to an email from Dr Lynch to Mr Hussain in response to a request for comments, the message
in that email being some suggested edits you may want to check for accuracy”.


                                                 Page 458
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 460 of 900
Approved Judgment                                                                   HC-2015-001324
Mr Justice Hildyard


         deliver its software through “package” sales of both software and hardware,
         were all adopted by Mr Hussain in the final version.

1415. As amended, the wording conveyed an inaccurate impression of composite
      sales; but, read on its own, the justification was no longer based on the quest for
      a joint appliance solution. Yet it is clear that Deloitte understood the strategic
      rationale still to be to develop a strategic relationship with Dell, as can be seen
      from their own Report to the Audit Committee on the Q1 2010 Review dated
      20 April 2010 in which, in the section on “Hardware”, it was stated that:

                      “Management’s rationale for entering into these loss making contracts
                      is that Autonomy is seeking to develop a strategic relationship with
                      Dell. The intention is that both Autonomy and Dell will market Dell
                      hardware that incorporates Autonomy search software”.

1416. It is not clear to me from the evidence what the source or basis was for this gloss
      on what was stated in Mr Hussain’s Q1 2010 Note. The gloss was wrong: there
      was no strategic relationship between Autonomy and Dell, and any intention of
      marketing a joint appliance was vague and inchoate. Indeed, Mr Chamberlain
      expressly acknowledged this in an email to Mr Welham and Mr Knights (cc Ms
      Harris and Mr Hussain) dated 19 April 2010 seeking to justify the allocation of
      62.4% of the costs of sales of Hitachi hardware to Sales and Marketing on the
      basis that “HDS are developing appliances and providing similar levels of
      support to EMC”, but an allocation of the reduced figure of 37.6% in the case
      of sales of Dell hardware because “there is no development effort for Dell…”

1417. In such circumstances, it does not seem to me that Deloitte was misled in this
      regard by Mr Hussain’s Note; nor by Mr Chamberlain. That does not alter the
      fact, however, that Deloitte’s gloss on the justification was put forward to the
      Audit Committee without correction by Mr Hussain or Mr Chamberlain (or
      anyone else at Autonomy). It seems to me that Autonomy was content not to
      correct a confusion which was to its advantage in offering the best prospect of
      securing the result it wanted, and more especially, the allocation of part of its
      costs to Sales and Marketing.

1418. That said, and as Deloitte’s Report explained, even on the basis of part of the
      costs being referable to building a “strategic relationship” Deloitte was not




         prepared to agree to the allocation percentages presented by Autonomy193. This
         was reflected in their report:



  The discomfort within Deloitte was expressed by the PSR on the Autonomy account for Q1 2010,
193

Ms Lisanne Fitzgerald, whose comments on 18 April 2010 on the draft Q1 2010 report to the Audit
Committee were summarised to Mr Chamberlain by Mr Welham; she stated:


                                              Page 459
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 461 of 900
Approved Judgment                                                                        HC-2015-001324
Mr Justice Hildyard


                       Given the period that has elapsed since these initial deals were
                      transacted and the fact that we expected these to be more one-off in
                      nature, we conclude that it would be more appropriate to reflect all of
                      the costs of hardware sold in cost of goods sold.

                      We understand that management has allocated the $3.8 million to sales
                      and marketing based on the previous analysis prepared for the EMC
                      sales in Q3 2009 which demonstrated that Autonomy were purchasing
                      hardware at a price which was considerably higher than they would
                      normally pay in order to gain a strategic partnership and become the
                      preferred hardware reseller with EMC, Dell, SHI and HDS.

                      Based on the limited information available, we have included the $3.8
                      million as a classification adjustment in Appendix 1 and would not
                      expect to see such amounts in sales and marketing in subsequent
                      quarters.”


1419. In summary, Mr Hussain’s Q1 2010 Note:

              (1) paved the way for a shift in the justification of the hardware reselling
                  strategy away from the development of an appliance to the
                  customerfacing justification of a “one-stop shop”;

              (2) reinforced the presentation of the hardware reselling strategy as
                  nevertheless intended to promote Autonomy’s software core business;

              (3) was interpreted by Deloitte, when taken together with other
                  representations, to justify the accounting treatment of hardware revenues
                  as part of the overall revenues of the group without differentiation.

Mr Hussain’s Q2 2010 Note

1420. The shift in the justification for hardware reselling which had been commenced
      in Q1 2010 was confirmed in Q2 2010. Dr Lynch accepted in cross-examination
      that there was a shift:

                      “Q.    It’s right, isn’t it, from Q2 2010 onwards, rather than trying to
                             position the hardware sales as being part of some strategic


                             relationship with a hardware manufacturer, including the
                             production of appliances, what one finds going forward is a
                             somewhat different justification being advanced?

         “I feel pretty uncomfortable about this – it seems that the magnitude of these hardware sales
         will grow and have been occurring over a period of months – how long can they really be
         deemed to be marketing and not cost of sales. It strikes me that this is a way of them
         preserving gross margin which I am not sure is right…”.


                                                Page 460
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 462 of 900
Approved Judgment                                                                 HC-2015-001324
Mr Justice Hildyard




                      A.     Yes, it changes. What we’re doing changes. It starts to move
                             away from the appliance-type situation more to the strategic
                             package sales.

                      Q.    ….it’s not about appliance sales any more, it’s about how this
                            positions Autonomy well in order to make valuable software
                            sales not loaded on to the hardware but just separately to some
                            of the customers, correct?

                      A.    Yes, I think it s shifted.”

1421. That was consistent also with an earlier passage in his cross-examination:

                      “I would say at the beginning of the strategy it was more heavily
                      weighted towards the appliance than the hardware providers, but a
                      few months later, probably around Q2 2010, we were seeing more of
                      Cloud take-off rather than appliance and that became less important
                      and at that point we had more interest in the customer-facing aspect of
                      it…”

1422. In their submissions as to the alleged deception of Deloitte and the Audit
      Committee in Q2 2010 the Claimants focused on three points in Mr Hussain’s
      Q2 2010 Note dated 20 July 2010 (a draft of which was, as usual, pre-circulated
      to Dr Lynch):

              (1) The first was the statement under the heading “Strategic package sales”
                  that:
                      “…these types of sales were flagged in the Q1 results presentation so
                      the market is aware of them”.


              (2) The second was that:

                      “These lower margin sales have generated significant new software
                      business for us (over $80m of sales have been associated with these sales
                      over the past few quarters).”


              (3) The third was the statement under a heading “Gross margins” that:

                      “We have charged the cost of the lower margin sales to the cost of sales
                      line even though we had agreed with our suppliers that the 50% of the
                      cost could be used for marketing purposes.”

1423. On the first point, the Claimants submitted that the statement that “strategic
      package sales” had been “flagged” in the Q1 results presentation was not true.



                                                 Page 461
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 463 of 900
Approved Judgment                                                            HC-2015-001324
Mr Justice Hildyard


         There had been a reference in the Q1 2010 Earnings Call to having purchased
         hardware inventory to take “advantage of discounted stock offers to purchase
         stock in advance of Q2 sales” and the PowerPoint presentation used for that
         call referred to “Pre-investment in inventory for Q2’10 sales”. But in ensuing
         discussion when asked what “Arcpliance or appliance sales and hardware sales
         would have been in a normal quarter”, Dr Lynch had replied “…It would be a
         fraction of that number”.

1424. The Claimants placed the blame for the untrue statement on Dr Lynch because
      it did not appear in the draft that was sent to Dr Lynch and was inserted only
      after that. When asked about this, Dr Lynch told me that he did not know
      whether the addition had been made at his request; but he submitted that there
      was no basis for the Claimants’ suggestion that the text was inserted at his
      suggestion, or even that he saw it. But no other explanation was suggested as to
      how the amendment to the pre-circulated draft came to be made.

1425. Dr Lynch was obviously discomfited when confronted with this in
      crossexamination, both as regards the inclusion of the statement and as to what
      it stated. As to whether the false statement was his suggestion, I have been struck
      by how often Dr Lynch used the words “flag” or “flagged”: 11 times in his first
      witness statement, for example. Taking account also the fact that the amendment
      was introduced sequentially following the draft having been sent to him for his
      consideration, and the lack of any other explanation for it, on balance, I think it
      more likely than not, and I find, that he did cause the insertion of those words,
      even if he cannot now remember that he did.

1426. He admitted that the statement was “not as clear as I would like it to be”. When
      pressed on whether it was misleading, he first suggested that the intended
      reference was probably to the Q3 2009 Earnings Call, but then added that there
      had been more information given in Q1 2010 as well in respect of “the
      Arcpliance solutions” which he described as a “subset” of “strategic package
      sales”. But this was glib, and I formed the impression that Dr Lynch was
      grasping at straws. None of his efforts to explain really addressed the point: they
      did not justify the statement that volume sales of “strategic” hardware had been
      undertaken.

1427. Mr Bloomer, asked about the same statement appearing in the Q3 2010 Audit
      Committee presentation, indicated that the text would not necessarily have
      concerned him, because “at the time, hardware sales were not a particularly big
      issue in Deloitte's report”. He added when asked whether, if he had become
      aware that the strategic package sales which he was told had been flagged had
      not been so, that would have concerned him, that:

                      “It would have been interesting rather than concerning…hardware was
                      not seen as a big topic actually to flag.”

1428. This was, as I see it, because Mr Bloomer, and the other members of the Audit
      Committee took the view that unless the hardware sales were of such an amount



                                             Page 462
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 464 of 900
Approved Judgment                                                                HC-2015-001324
Mr Justice Hildyard


         as to (a) undermine, or potentially undermine, the judgement that Autonomy
         had a single operating segment (its core IDOL-based software business) and (b)

         be material, hardware reselling was not a problem unless of course Deloitte said
         it was: and they never did.

1429. The statement in the Note (see (2) in paragraph 1422 above) that “over $80m of
      sales have been associated with these sales over the past few quarters”, was
      based on Mr Stephan’s analysis (see below), which became known as “the
      Linkage Analysis”. This showed $78m of software sales to Autonomy’s
      hardware customers in the period from Q2 2009 onwards. As I develop in the
      context of my analysis of the dispute relating to the “linkage analysis”, ‘linkage’
      between events or transactions is an elastic expression which could denote
      anything from temporal coincidence to causation; but the Defendants submitted
      that the wording “associated with” did not suggest a direct, close, causal link.
      While the version sent to Dr Lynch contained the text, the number it contained
      was different ($40m rather than $80m). In any event, as Dr Lynch said, the
      document would have gone to Deloitte, who would have checked it and flagged
      to the Audit Committee if it contained anything misleading; and they never did
      so.

1430. Behind the statement in Mr Hussain’s Q2 2010 Note (see (3) in paragraph 1422
      above) that Autonomy had “charged the cost of the lower margin sales to the
      cost of sales line even though we had agreed with our suppliers that the 50% of
      the cost could be used for marketing purposes” lay a debate between
      Autonomy’s finance department (and, in particular, Mr Chamberlain) and
      Deloitte (with both Mr Knights and Mr Mercer involved) on the abiding issue
      of costs allocation.

1431. In the previous quarter (Q1 2010), Deloitte had pushed back and after much
      wrangling obtained an agreement to limit the allocation to Sales and Marketing
      to an immaterial $3.8 million, on the basis of “a classification adjustment in
      Appendix 1” (see paragraph 1418 above). It is clear, as also intimated
      previously, that Deloitte were very uncomfortable with any allocation at all; and
      the identification of the relatively small allocation permitted as a “disclosure
      deficiency” (which appears to have been Mr Welham’s idea) was intended (in
      Mr Welham’s words in his witness statement) “to flag to management that we
      would not expect such classification going forward.” Deloitte gave the same
      explanation and admonition to the Audit Committee.

1432. Even so, Mr Chamberlain pressed in Q2 2010 for a 50% split between COGS
      and Sales and Marketing. In a Memo to ‘The Files’ cc Mr Hussain dated 16
      July 2010 and headed “Product – cost allocation”, Mr Chamberlain sought to
      justify this as follows:

                      “During Q2 2010 Autonomy has continued its practice of procuring
                      hardware at a perceived loss on behalf of its most strategic customers.
                      As has been previously explained the purpose of these deals is to



                                               Page 463
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 465 of 900
Approved Judgment                                                                 HC-2015-001324
Mr Justice Hildyard


                      become the single source supplier for all of the major banks in relation
                      to its data management activities…

                      …

                      …the total cost represents a “loss” on the hardware sales. However,
                      these sales should not be considered in isolation. A proportion of the
                      payment represents an investment in the customer relationship and has
                      helped enormously in the procurement of significant software sales. In
                      the last 4 quarters alone we have signed licence deals that have
                      generated almost $80 million in revenues with a further $40-60 million
                      in backlog of estimated hosting fees that will be generated for the
                      initial term of the agreements.

                      The cost allocation of 50% to COGS and 50% to sales and marketing
                      is consistent with the quotations provided to the hardware vendors.
                      The sales and marketing payment is effectively a commission payment
                      to the hardware vendors for allowing us to secure the sole supplier
                      relationship with the banks and has been a very successful enabler in
                      closing the larger, much more valuable, software deals.

                      Every purchase quotation provided to the vendors contains the following
                      clause:

                      “The purchase order amount above includes payment for the
                      equipment/services listed in the attached quote, in addition to
                      payments for the joint marketing support referenced in the Agreement.
                      For Autonomy purposes, the value of these transactions has been
                      apportioned as follows: equipment/services 50% and marketing
                      support 50%”.

                      The allocation reflects two things. 1) normal cost allocation to COGS
                      such that hardware margin is consistent with margins earned by large
                      hardware vendors; 2) balance of payment being allocated to S&M.”


1433. I would make the following observations on this:

              (1) In the teeth of Deloitte’s obvious discomfort and express warning that
                  they did not consider allocation of the costs of hardware sales to Sales
                  and marketing rather than COGS to be justified as a proper expense, and
                  were only prepared to permit the allocation of a much smaller amount
                  ($3.8 million) than Autonomy had pressed for as an exceptional
                  “disclosure deficiency” which they would not expect to sanction in
                  future quarters, Mr Chamberlain’s tenacity is notable and indicative of
                  quite how important was the allocation of costs issue to the finance
                  department for the very reason which Deloitte’s PSR had identified in
                  Q1 2010 – preserving gross margin.



                                               Page 464
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 466 of 900
Approved Judgment                                                              HC-2015-001324
Mr Justice Hildyard




              (2) Mr Chamberlain presented the “commission payments” as if the
                  hardware suppliers had agreed that this is what they represented:
                  whereas the purchase orders themselves simply indicated how
                  Autonomy was intending internally to account for them (“For
                  Autonomy’s purposes”).


              (3) Mr Chamberlain’s assertion that Autonomy’s funding of discounts on
                  hardware had “helped enormously in the procurement of significant
                  software sales”, with a further suggestion of the generation thereby of
                  “almost $80 million in revenues with a further $40-60 million in backlog
                  of estimated hosting fees”, had no support beyond the Linkage Analysis
                  (which from now on became the principal basis of justifying the desired
                  allocation of Hardware sales costs), but which the Defendants have had
                  to accept amounted to little more than what its author Mr Stephan
                  referred to as a “matching up names” exercise to show a correlation
                  between buyers of hardware and buyers of software and sometimes a
                  broad temporal correlation, which, since all purchasers were existing
                  customers for Autonomy software, demonstrated little.

              (4) The basis on which Mr Chamberlain felt able to determine and represent
                  that the “normal cost allocation to COGS such that hardware margin is
                  consistent with margins earned by large hardware vendors” is unclear,
                  just as it had been in Q3 2009.

              (5) Although Mr Hussain’s Q2 2010 Note stated that Autonomy had agreed
                  to forego the benefit in terms of cost allocation of what was presented as
                  an agreement “with our suppliers that the 50% of the cost could be used
                  for marketing purposes” (see paragraphs 1422 and 1430 above), adding
                  that Deloitte concurred “with this prudent approach”, behind the scenes
                  Mr Chamberlain and the Defendants continued their efforts to persuade
                  Deloitte to agree to some allocation of costs to Sales and marketing. The
                  importance of this to them all was again evident from an email dated 18
                  July 2010 from Mr Hussain to Mr Mercer, Mr Knights and Mr Welham,
                  in which he made clear that “The main issue to get across the line on is
                  COGS. Steve will discuss with Lee” and noted “Also MRL has strong
                  views on this in terms of the business rationale”.

1434. In the event, Deloitte were not persuaded to accept the proportions proposed by
      Mr Chamberlain. However, rather extraordinarily in general terms, but by now
      characteristically in the context of the relationship that had developed between
      Autonomy and Deloitte, they were persuaded to permit the allocation of losses
      to sales and marketing on the basis of “a solution” devised by Mr Knights and
      recorded in an email from him to Mr Hussain, Mr Mercer, and Mr Welham (cc
      Mr Chamberlain) late in the evening on 18 July 2010.




                                            Page 465
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 467 of 900
Approved Judgment                                                              HC-2015-001324
Mr Justice Hildyard


1435. The email is quoted later as a further illustration of the extent to which Mr
      Knights had adopted the role as supportive and constructive adviser rather than
      questioning and sceptical auditor, and was quite prepared to “workaround” his
      own compliance people. It is sufficient to note for the present that the upshot
      was that once again Deloitte approved the allocation of some $4 million to Sales
      and Marketing, which enabled Autonomy to present its gross margin figure as
      88% for the six months ended 30 June 2010 compared to 89% for the first six
      months of 2009, and the small variation in the comparative Q2 2009 and Q2
      2010 quarterly gross margin (89% as compared with 86%) as (quoting from the
      Q2 2010 Quarterly Report released on 22 July 2010):



                      “…in line with our expectations due to the sales mix including
                      appliances as discussed last quarter.”

1436. In summary, Mr Hussain’s Q2 2010 Note, Deloitte’s own Report to the Audit
      Committee on the Q2 2010 Review, and the work done behind the scenes for
      both:

              (1) completed and reinforced the ‘shift’ in the justification for the hardware
                  reselling strategy;

              (2) reassured the Audit Committee that the hardware reselling strategy did
                  not destabilise the previous analysis that Autonomy was a single
                  segment business with revenue from sources which required no
                  differentiation; but to do that;

              (3) contained a demonstrably false assertion that “strategic” hardware sales
                  had previously been “flagged” to the market which I have concluded
                  was inserted at the suggestion of Dr Lynch;

              (4) confirmed yet again the Defendants’ determination to say as little as
                  possible about the hardware reselling strategy, and nothing as to its
                  nature and extent (apart from the falsity mentioned above);

              (5) demonstrated Mr Knights’ role as presenter of ‘solutions’ even in the
                  teeth of concern from his team and the Reviewers, and the warning from
                  one of the latter that it appeared likely that Autonomy’s objective in
                  posting as much as Deloitte would endorse of the costs to ‘Sales and
                  Marketing’ instead of COGS was to preserve gross margin.

1437. Whether Deloitte were actually deceived by the Q2 2010 Note, however, is a
      more problematic question. As previously noted, Deloitte had full and detailed
      information about the hardware sales, except perhaps what was revealed in
      email exchanges between Autonomy and hardware suppliers. It seems to me to
      be difficult to conclude that Mr Knights was misled by the representations
      adumbrated in paragraph 1422 above; and, for example, Mr Welham, who



                                            Page 466
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 468 of 900
Approved Judgment                                                           HC-2015-001324
Mr Justice Hildyard


         attended all the Earnings Calls, must surely have known that the hardware sales
         had not been “flagged” to the market.

1438. Obviously, it would have been helpful, in this context especially, to have had
      evidence which could be tested from one or more of Mr Knights, Mr Mercer,
      Mr Knight and the Reviewers. On what has been put before me, the
      uncomfortable truth appears to me to be that by this time, at least Mr Knights
      and thereafter, Mr Mercer, no longer had the sceptical approach required of an
      auditor: neither in his turn retained the detachment and independence of mind
      that was required to call out Autonomy. Instead, they were content to take at
      face value representations which sceptical reflection would have revealed to be
      inconsistent with what they or the market had been told in the recent past.
      Autonomy was an important client; and I should imagine (though I had no direct
      evidence about this) of very great importance to the Cambridge office which Mr
      Knights had managed.

1439. That raises further questions as to (a) whether this undermines the Claimants’
      submission that had Deloitte and/or the Audit Committee been told the truth,
      they would have objected to the programme and/or its accounting treatment and
      required its disclosure to the market (see paragraph 1368 above) and (b) whether
      this establishes, or at least strongly supports, the Defendants’ case that the
      propriety of what they were doing had been confirmed by Deloitte and the claim
      of dishonesty should fail accordingly.

1440. As to (a) above, in my view, even if Deloitte continued to rely on what they
      knew to be unreliable or false, it seems to me that it was the story spun by
      Autonomy which continued to be the basis on which Deloitte themselves
      reported to the Audit Committee and on which both Deloitte and the Audit
      Committee approved the accounts in Q2 2010, as before. Even if Deloitte had
      no proper basis for relying on what they were told in the respects identified
      above, these proceedings contain no claim against Deloitte, and in these
      proceedings, it is the fact that the misrepresentations were made, and not any
      issue as to Deloitte’s reliance, which is in issue. In other words, the fact that
      Deloitte acted does not excuse the way the matter was presented to them in the
      Q2 2010 Note (see paragraph 1422 above) or justify an accounting treatment on
      a false basis.

1441. Further as to (b) in paragraph 1439 above, and in any event, although the
      Claimants have presented the question as being whether reliance on Deloitte is
      a trump card for the Defendants, the real question is whether the fact that
      Deloitte and the Audit Committee approved both the accounts and the narrative
      demonstrates honesty on the part of the Defendants: and the truth as I find it is
      that what was stated in the Q2 2010 Note was false to their knowledge.

Mr Hussain’s Q3 2010 Note

1442. The Claimants’ allegations in respect of statements made in Mr Hussain’s Q3
      2010 Note that the strategic package sales had been “flagged” in the Q1 and Q2


                                         Page 467
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 469 of 900
Approved Judgment                                                               HC-2015-001324
Mr Justice Hildyard


         results presentations, mirrored those concerning his Q2 2010 Note and
         discussed above. The best Dr Lynch could offer to support the statement in Q3
         2010 that the hardware sales had been ‘flagged’ in Q2 2010 was to say that in
         the Q2 2010 Earnings Call “we’d talked about Arcpliance, which is a type of
         strategic package sale”.

1443. However, not only was there no record of any such reference to Arcpliance in
      the transcript of the Q2 2010 results presentation, but Dr Lynch had told one of
      the analysts, in response to a question as to the effect on gross margin of the sale
      of Arcpliance inventory, that what he described as “the appliance model” would
      “account for about 1%...” and was an “exceptional situation”. There was thus
      a fundamental inconsistency in Dr Lynch’s position: even if ‘appliance’ sales
      had been flagged, his minimisation of them destroyed any argument that thereby
      the very considerable hardware sales had been flagged also.

1444. The Claimants relied on this as a further demonstration that Dr Lynch was
      determined not to disclose the extent and nature of the hardware reselling, and
      would resort to very incomplete answers if that is what he felt was required. I
      agree and find accordingly.

1445. The Claimants alleged that Mr Hussain also misrepresented the position in his
      Q3 2010 Note in claiming that “lower margin sales have generated significant
      new software business for us”. They tied this in with statements in Deloitte’s
      report that management’s linkage analysis showed a “strong linkage between
      the loss making hardware sales and subsequent highly profitable software
      sales.” They made the further point, which was not contradicted by the
      Defendants, that the Audit Committee was not provided with the Linkage
      Analysis in that quarter or any subsequent quarter, and were reliant on the
      summary provided by Deloitte and Mr Hussain. The Claimants alleged that Mr
      Bloomer and the Audit Committee had been misled into a misunderstanding that
      “the linkage analysis showed that hardware sales to a particular customer had
      driven software sales to that customer”.

1446. The Claimants made two further allegations in respect of Mr Hussain’s Q3 2010
      Note. The first concerned the bonus payments to Mr Sullivan. Mr Bloomer told
      me in cross-examination that he was not aware either of the payments, or that
      they were calibrated according to the amount of revenue Mr Sullivan generated
      from hardware sales. But the Claimants did not suggest that this made any
      particular difference.

1447. The second further allegation relating to the Q3 2010 Note concerned the costs
      allocation issue. The Note went on to state, under “Gross margins”, that:

                      “We have charged the cost of the lower margin sales to the cost of
                      sales line even though we had agreed with our suppliers that the 50%
                      of the cost would be used for marketing purposes”.




                                              Page 468
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 470 of 900
Approved Judgment                                                            HC-2015-001324
Mr Justice Hildyard


1448. The Claimants alleged that this too was false: no such agreement had been
      reached with any hardware supplier; and not all of the cost of the pure hardware
      sales was included in “the cost of sales line”. Mr Bloomer stated that he thought
      that this passage may have “related to prior periods”, but the Claimants alleged
      that it was not true in relation to earlier periods either.

1449. I agree that the Q3 2010 Note misstated the position. As previously noted, Mr
      Hussain habitually and incorrectly presented the justification for allocating part
      of the costs of the hardware sales to Sales and Marketing expenses as lying in a
      bilateral agreement, rather than in the (obviously unilateral proxy) “residual
      method” which I have described previously as a proxy in the absence of any
      such agreement.

1450. Deloitte’s own report on their Q3 2010 review to the Audit Committee likewise
      re-hashed the false line that “these types of sales were flagged in the Q1 and Q2
      results presentation so the market is aware of them.” Deloitte also stated in
      their report that management’s analysis showed a “strong linkage between the
      loss making hardware sales and subsequent highly profitable software sales”.

1451. I took from Mr Bloomer’s evidence when cross-examined that, on what they
      were told, his mindset and that of his committee continued in this quarter to be
      that on the basis that (a) the hardware sales did not cause Autonomy to be a
      “hardware seller” in the sense of running a separate business not incidental to
      the IDOL software business so as to upset the segmental analysis, and had also
      been “flagged” and (b) the issue of costs allocation involved amounts that were
      “tiny”, “just immaterial”, there was no real issue or problem.

1452. More generally, in my view, both Deloitte and the Audit Committee settled into
      the view from Q2 2010 onwards that subject to (a) taking steps to restrict the
      allocation of costs to Sales and Marketing to amounts which were comparatively
      immaterial (b) requiring some paperwork to lend some general support to the
      notion of the hardware sales assisting the software business and (c) repeating in
      each quarter their advice to make disclosure, whilst accepting that ultimately
      this was a commercial decision for Autonomy’s board, the hardware reselling
      was not a matter of concern.

1453. What would have awakened Mr Bloomer and the Audit Committee’s concern
      was anything which suggested that the hardware reselling was in the nature of
      a separate business or otherwise than intended to drive software sales, or in any
      sense clandestine. Mr Bloomer made clear that:

              (1) He never thought that hardware reselling was a “secret”; he assumed
                  (including from what he described to me as “meetings with at least one
                  of the shareholders where the shareholder was aware of the hardware
                  sales”) and “that there were a variety of things which to me seemed that
                  the market knew about hardware”; but he acknowledged later in his
                  cross-examination that he was not suggesting that the market was aware




                                           Page 469
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 471 of 900
Approved Judgment                                                                       HC-2015-001324
Mr Justice Hildyard


                      that in 2010 Autonomy resold over $100 million of third party hardware
                      “without any Autonomy software”;

              (2) Had he appreciated that, contrary to what was stated in the Q3 2010 Note
                  and Deloitte’s Report, hardware sales had not been “flagged” to the
                  market, he would have wanted to know why they had stated they had;

              (3) He was not aware that every quarter management would set Mr Sullivan
                  revenue targets and that Mr Sullivan was regularly asked by
                  management to generate further revenue from hardware sales,
                  particularly towards the end of the quarter, nor that bonus payments were
                  offered and paid to Mr Sullivan linked to the amount of revenue that he
                  generated from hardware sales;

              (4) He was not made aware (and nor according to Mr Welham’s witness
                  statement was Mr Welham) that separate revenue targets were set for
                  hardware each quarter, nor that Dr Lynch received updates on the
                  revenue from hardware sales as each quarter progressed.194

1454. What the Q3 2010 Note and Deloitte’s report did in the round was confirm the
      Audit Committee’s mindset that the hardware sales were part and parcel of the
      software business, and that the issue as to costs allocation was an immaterial
      detail which could be left to Deloitte. Nothing was said to unsettle the Audit
      Committee’s preconceptions, or to suggest the need for discussion and review
      of the real issues raised by the continuation of the hardware reselling strategy,
      including (a) what more exactly the market had been told (b) what, if the market
      remained unaware of the nature and extent of the programme and its
      contribution to overall revenue the reaction of the market would be if it were to
      be revealed (c) why, if immaterial, the issue of cost allocation was of such
      apparent and abiding importance to management, (d) why a proper Linkage
      Analysis had not been provided, and whether any linkage demonstrated was
      sufficient to justify loss-making sales of non-IDOL goods195 and more generally
      (e) whether the programme, as it had developed, could properly be said to be
      wholly focused on driving software sales.

Mr Hussain’s Q4 2010 Note



194
    Mr Welham was not challenged on his witness statement in this regard. The point was of some
importance to the segmental analysis; and in Mr Chamberlain’s report sent to Deloitte on 18 January
2011 it was emphasised, entirely falsely, that “No information is provided to MRL on hardware
revenues”.
195
    Mr Bloomer confirmed that (a) he and his committee had relied on what they were told by Mr
Hussain and Deloitte (b) they understood the linkage to show that hardware sales for a particular
customer had driven subsequent software sales to that customer (though he subsequently said that
“…my understanding at the time was that there were a number of major customers who bought both
hardware and software and that selling the hardware was an aid to selling the software….But there
was no – in my mind at the time – there was no sort of chicken and egg debate about which came first.
There was a series of big customers who bought both hardware and software.”)


                                               Page 470
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 472 of 900
Approved Judgment                                                                      HC-2015-001324
Mr Justice Hildyard


1455. The Claimants’ allegations in respect of Mr Hussain’s Q4 2010 Note largely
      mirrored their allegations in respect of his previous Notes in the Relevant
      Period.

1456. As in previous quarters, in Q4 2010 the Audit Committee were led to believe
      that there was a strong linkage between hardware sales and software sales. Thus:

              (1) Mr Hussain’s Q4 2010 Note stated, under “Gross margins”, that the
                  “lower margin sales have generated significant new software business
                  for us” (emphasis added). Deloitte stated in their report to the Audit
                  Committee for Q4 2010 that management’s analysis demonstrated a
                  “strong linkage between the loss making hardware sales and subsequent
                  highly profitable software sales” (emphasis added).

              (2) Again, as in earlier quarters, the Note stated, in the “Strategic sales”
                  section, that “these types of sales were flagged in the previous quarters’
                  results presentation so the market is aware of them” .

              (3) Mr Hussain’s Q4 2010 Note went on to state:


                          “We sold to Bank of America following on from the software
                          sales made this quarter and several deals in q1. … Large deals
                          in Q4 included a large sale to Bank of America (we won the
                          Merrill Lynch legacy data migration to our hosted digital safe
                          environment). This is a major win for Autonomy as we are now
                          a major strategic supplier to the BofA worldwide”.

1457. Notably, Mr Bloomer and the Audit Committee were given to understand that
      the analysis showed a strong linkage between the hardware sales and subsequent
      software sales. He confirmed that the Audit Committee was not provided with
      the Q4 2010 linkage analysis prepared by Autonomy, which he understood had
      been reviewed by Deloitte.

1458. That might have led to a train of enquiry which would have revealed, as was in
      my judgment the fact, that none of the statements summarised in paragraph 1456
      above could be justified:

              (1) There was no linkage between the hardware sales and software sales in
                  any causative sense.196


196
    Shortly before written closing submissions were submitted, Dr Lynch uploaded an email that Mr
Egan appears to have sent to Mr Hussain on 3 November 2010 concerning a Morgan Stanley deal. In
response to Mr Hussain’s query (“Software and hardware together?”), Mr Egan responded: “Separate
but proposed in concert as it helps Morgan get arms around discounted hw as part of larger relations”
. In fact, Autonomy’s own linkage analysis does not suggest that Morgan Stanley entered into a
software deal in Q4 2010 that was ‘linked’ to any hardware deal (see column U, row 12). In any event,
as is plain from the way in which the hardware sales were generated and concluded, Morgan Stanley’s


                                               Page 471
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 473 of 900
Approved Judgment                                                                       HC-2015-001324
Mr Justice Hildyard




              (2) The market had no visibility in relation to the substantial pure hardware
                  sales that Autonomy had undertaken: they were not “flagged” in Q1 or
                  Q2 2010, nor does it appear from the transcript that they were disclosed
                  during the Q3 2010 earnings call. When faced with this in
                  crossexamination, Dr Lynch suggested that the hardware sales were
                  “mentioned in Q3 2009”:

                             “I think there was language added to the Q3 earnings call about
                             something along the line of strategic sales”.

                      No such language was identified. There was no reference to hardware
                      sales, whether “strategic” or otherwise, during the earnings call for Q3
                      2009 . There were the following cryptic sentences in the Q3 2009
                      Quarterly Report:

                             “During the quarter we saw some of our large customers
                             promote Autonomy to strategic supplier status. This has led
                             them to adopt a broader set of our solutions in a number of
                             significant deals”.



                      But without prior awareness it would be difficult to extract from those
                      sentences that Autonomy was making hardware sales.

              (3) As to (3) in paragraph 1456 above, no software deal was concluded with
                  BofA in Q4 2010. As already mentioned in paragraphs 1154 to 1155
                  above, Autonomy had been pushing hard to close a deal with BofA.
                  When a BofA deal could not be completed in the quarter, Autonomy
                  instead entered into deals with two VARs, DiscoverTech and Capax
                  Discovery, on the last day of the quarter, 31 December 2010. Dr Lynch
                  attempted an argument that in conversations between him and Mr
                  Mackenzie-Smith (head of BofA in London) he reminded Mr
                  Mackenzie-Smith of the discounted hardware sales Autonomy had
                  arranged for it: but I have determined that even if they took place, such
                  conversations had no material effect, and more generally that the
                  hardware sale to BofA in Q4 2010 played no part in the deals with
                  DiscoverTech or Capax Discovery, nor in the subsequent direct deal
                  between Autonomy and BofA.

1459. On the issue of cost allocation, and similarly to the previous quarter, Mr
      Hussain’s Q4 2010 Note stated, under “Gross margins”, that:




ability to get its “arms around discounted hw” was not in any way dependent upon or linked to its
software purchases from Autonomy.


                                                Page 472
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 474 of 900
Approved Judgment                                                                          HC-2015-001324
Mr Justice Hildyard


                      “We have charged the majority of the cost of the strategic sales to the
                      cost of sales line even though we had agreed with our suppliers that
                      the 50% of the cost would be used for marketing purposes.”

1460. However, no such agreement had been reached with any hardware supplier; nor
      were the sales “strategic sales”; they were sales of (adopting the Claimants’
      phrase) ‘pure hardware’.

1461. It follows that Mr Hussain’s Q4 Note was misleading, intentionally so in my
      judgment. As in the case of his previous Notes, Mr Hussain’s Q4 2010 Note and
      Deloitte’s own report were calculated to reinforce the Audit Committee’s
      preconceptions and the Defendants’ justification of the hardware sales: the Note
      does not establish the falsity of that justification, but the justification being false,
      it once more perpetuated it.

1462. Before turning to Mr Hussain’s Q1 2011 Note, a point of detail which arose at
      this time in relation to continuing review of the issue of segmental analysis (see
      paragraphs 854 to 863 above)197 illustrates the disregard for the truth that had
      developed within the cabal whenever it was necessary to depart from it to
      achieve a desired accounting treatment or approval. On 18 January 2011, Mr

         Chamberlain provided a paper to Deloitte which was intended to support the
         conclusion that Autonomy had only one operating segment. One of the points
         made in the paper was that “No information is provided to MRL on hardware
         revenues”. That was false. As set out in detail above, Dr Lynch discussed and
         agreed the hardware revenue targets in each quarter, and Mr Hussain provided
         Dr Lynch with regular updates on hardware revenue throughout each quarter. It
         is clear that Deloitte were misled in this regard: Mr Welham’s unchallenged
         evidence is that he was not aware that separate revenue targets were set for
         hardware each quarter or that Dr Lynch received updates from Mr Hussain on
         the revenue from hardware sales as each quarter progressed.

Mr Hussain’s Q1 2011 Note

1463. In addition to familiar complaints about references to “strong linkage…and
      subsequent highly profitable software sales”, to which the answer was the same
      as in earlier quarters, the Claimants focused especially on words added in the
      final version circulated to the Audit Committee to the draft Note sent to Dr
      Lynch (which I have underlined below for the purpose of identification):

197
    The issue of segmental analysis was an abiding and important one. It may be recalled that
Autonomy management’s view was that the group had just one operating segment, being the sale of
IDOL software. The importance of that is that if a company has more than one operating segment, each
segment must be differentiated in the accounts. The importance of this is clear: segmental accounting
would have destroyed the achievement of the purposes of the hardware reselling strategy. By the same
token, however, it has seemed to me that it was Deloitte’s approval of the view that Autonomy had a
single operating segment which caused Mr Bloomer and the Audit Committee not to query the
hardware sales further and to accept the allocation of costs from what was in reality a different business
to the software business, without any differentiation or warning note.


                                                 Page 473
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 475 of 900
Approved Judgment                                                                       HC-2015-001324
Mr Justice Hildyard




                      “strategic package sales that included approximately $20m (9% of
                      total sales) of lower margin business included JPMC and Bank of New
                      York. These sales are part of strategic sales to these companies — for
                      example JPMC is one of our largest customers of compliance
                      software.”


1464. The Claimants took issue with the underlined words. They suggested that those
      words had been put in at Dr Lynch’s request, and they alleged that the suggested
      strategic link was spurious, not least because no software deal had been entered
      into by Autonomy with JPMC in Q1 2011 (it had happened much earlier, in Q2
      2010).

1465. In addition to their submission (which I accept) that careful consideration of the
      sequence of drafts shows that Dr Lynch was unlikely to be the person who
      inserted the words,198 the Defendants submitted that in any event, the words are
      unobjectionable: contrary to the Claimants’ suggestion, they did not say that
      there was a software sale to JPMC in Q1 2011, and any linkage which might be
      taken to be suggested was not inaccurate.

1466. That submission did not, however, negate the fact that it was the overall message
      which was received which counts; and that message perpetuated and reinforced
      the Audit Committee’s mindset. Both message and mindset can be seen from
      Mr Bloomer’s evidence in his witness statement. Mr Bloomer explained that in
      Q1 2011 he understood that:



                      “As they had done in their previous reports, Deloitte reviewed
                      Autonomy’s strategic hardware sales and concluded that the linkage
                      between the loss making strategic hardware sales and subsequent
                      profit-making software sales justified the allocation of the loss to sales
                      and marketing expense”.

1467. As before, the Audit Committee was not provided with the linkage analysis for
      that quarter. Mr Bloomer said that both he and the other members of the Audit
      Committee would have relied on what Deloitte and Mr Hussain had said in their
      respective reports regarding linkage.

Mr Hussain’s Q2 2011 Note

1468. The position in relation to Q2 2011 was much the same. The pattern had been
      set, the message and the mindset established. In the usual way, Mr Hussain

198
   Mr Hussain sent Dr Lynch a draft for comment at 13:11 on 16 April 2011: that draft did not include
the underlined words. Mr Hussain sent Dr Lynch a further draft half an hour later, including the
underlined words; the covering email stated “Please use this draft for review – updated with frrp and
shareholder letters comments”. This suggests that Dr Lynch had not yet reviewed the earlier draft, and
also that the changes between the two drafts were not proposed by him.


                                                Page 474
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 476 of 900
Approved Judgment                                                              HC-2015-001324
Mr Justice Hildyard


         produced a Note for the Audit Committee meeting for Q2 2011, which he shared
         in draft in advance with Dr Lynch, seeking his comments. Both the draft (which
         Dr Lynch had reviewed) and the final version presented to the Audit Committee
         contained the following passage:

                       Strategic package sales – new strategic package sales in the quarter
                      included approximately $16m (6% of total sales) of lower margin
                      business (JPMC, Bank of America and Bank of New York). In addition,
                      we had deferred lower margin business of $5m from previous quarter
                      due to delivery. These sales are part of strategic sales to these
                      companies – for example at JPMC we sold ediscovery software,
                      continued archiving services and strategic package sales. And at Bank
                      of America we have sold web content management software, archiving
                      and is one of our largest customers of compliance software.”

1469. The Claimants advanced two specific allegations:

              (1) First, that the statement that $5 million of hardware sales had been
                  deferred from the previous quarter “due to delivery” was false. At least
                  some $2 million of hardware revenue was not recognised in Q1 2011
                  because the Defendants chose instead to recognise the
                  DiscoverTech/Prisa VAR transaction. The Claimants contended that this
                  had nothing to do with the delivery of hardware, and was instead driven
                  by the desire to achieve a particular level of revenue without unduly
                  affecting gross margin and earnings per share. The Claimants relied on
                  Mr Bloomer’s acceptance that he had understood that $5 million of
                  hardware sales revenue had not been recognised in Q1 2011 because the
                  hardware had not been delivered in that quarter and contended that,
                  therefore, the Audit Committee were misled in relation to this issue.

              (2) Secondly, that the Note was misleading in stating that the sales to JP
                  Morgan and BofA were strategic package sales and in giving the
                  impression that the hardware sales were linked to software sales in the
                  same quarter. The Claimants contended that in truth, Autonomy did not
                  enter into any software licences with BofA in Q2 2011: the only
                  transaction between Autonomy and those companies in that quarter was
                  a restructured hosting deal where JP Morgan were offered very
                  substantial savings, and there is no evidence whatever to suggest that
                  that restructuring of an existing hosting deal was in any way driven or
                  impacted by any hardware deal that may have been done with JP Morgan
                  during Q2 2011.

1470. I have concluded in a previous section of this judgment (see paragraphs 1074 to
      1100 above) that revenue was improperly deferred in Q1 2011, at the instigation
      of what I have called the clique or cabal of three, including Mr Hussain, and (so
      I have found) to the knowledge of Dr Lynch as its éminence grise (see
      paragraphs 1094 and 1099 above). I accept also, therefore, that in stating that



                                              Page 475
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 477 of 900
Approved Judgment                                                          HC-2015-001324
Mr Justice Hildyard


         the reason for the deferral was a problem with delivery Mr Hussain’s Note was
         misleading to the knowledge of both Defendants.

1471. In cross-examination, Mr Bloomer agreed that his understanding at the time was
      that deferral was in consequence of late delivery, and that if in fact it was not
      delivered late, obviously he would have wanted to understand what the reason
      was for the apparently unjustified deferral, and if an impermissible one it might
      have given rise to concern about the approach management was taking in
      relation to the recognition of revenue. He pointed out, however, that (a) he
      would have expected the issue as to the cut-off for the quarter (which he told
      me was always a point of debate which had to be sorted out) to have been
      carefully checked and verified by Deloitte and would have relied principally on
      that, and (b) an element which would have had to be considered was that of
      materiality: “I mean, 250-odd million of sales in these quarters, 5 million is not
      that material one way or the other”.

1472. As to the depiction of the sales to JPMC and BofA as strategic package sales, I
      would accept that little more was claimed by Mr Hussain than that the hardware
      sales provided the context for, and may have helped in getting, the software
      sales. No causal connection was expressly claimed: indeed, the nexus asserted
      was that which might be claimed for any advertising campaign or
      customeroriented effort to encourage sales or customer loyalty. I accept that the
      hosting restructurings offered sufficient incentive of themselves to make
      unnecessary any further incentive from discounted sales of hardware; but that
      does not necessarily mean that the context did not also include such hardware
      sales, nor that they did not provide a further incentive.

1473. But once more, as it seems to me, this parsing of the separate statements
      overlooks the fundamental message being conveyed in Q2 2011 as in previous
      quarters, to the effect that hardware resales were driving software sales, and the
      rest was anodyne and immaterial detail. Once more the message reinforced the
      Audit Committee’s bedded-in perception of the purpose of the sales, and ensured
      passive acceptance, rather than quizzical discussion.

1474. The message as the Audit Committee received it is again apparent from the
      evidence of Mr Bloomer:

              (1) Deloitte’s report to the Audit Committee for Q2 2011 stated the
                  following:

                       “Management has further extended its analysis determining the
                       strong linkage between the loss making hardware sales and
                       subsequent highly profitable software sales. This continues to
                       show a high degree of correlation between hardware sales and
                       much more profitable licence sales to the same companies”
                       (emphasis added).




                                        Page 476
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 478 of 900
Approved Judgment                                                              HC-2015-001324
Mr Justice Hildyard


              (2) Mr Bloomer understood that Deloitte had reviewed the linkage analysis
                  prepared by management for Q2 2011, and that linkage was established.
                  Again, management’s linkage analysis was not shared with the Audit
                  Committee.

              (3) Based on what the Audit Committee was told by Deloitte in their report,
                  Mr Bloomer understood that the analysis showed a strong linkage and
                  high degree of correlation between the hardware sales and subsequent
                  software sales.

Conclusions in respect of Mr Hussain s Quarterly Notes

1475. In the round, in my judgment:

              (1) Mr Hussain’s Quarterly Notes embellished and amplified the message
                  that both Deloitte and the Audit Committee had already accepted from
                  the time of Mr Knights’ “conversion” (when he became a “wordsmith”).

              (2) Deloitte were largely tied into their initial acceptance of the presented
                  purpose of the strategy (in Q3 2009), and the Audit Committee followed
                  their lead.

              (3) The Audit Committee were in a sense distracted by conceiving as the
                  principal issue whether or not the newly introduced segmental
                  accounting provisions in IFRS 8 were being properly applied. Mr
                  Bloomer’s witness statement, and to a great extent his oral evidence,
                  appear to me to take as the litmus test of the propriety of the accounting
                  and disclosure of the hardware sales whether by reason of their extent or
                  otherwise such sales had come to constitute a separate segment of
                  Autonomy’s business, necessitating separate identification, accounting
                  treatment and disclosure of its performance.

              (4) The Audit Committee had no idea, for example, that Mr Sullivan
                  considered himself to be, and in reality was, “basically running a small
                  side business”.

              (5) Mr Hussain’s Quarterly Notes do illustrate yet again that management
                  and one or more of the Defendants were content to dissemble if that was
                  necessary to ensure that there was no further disclosure of the hardware
                  sales programme which would have revealed, or would be likely to lead
                  to a train of enquiry that probably would reveal, their true extent and
                  contribution to Autonomy’s revenues.

1476. It seems clear and I find that the predominant reason for dissembling, and for
      the false presentation repeatedly reinforced by Mr Hussain’s Quarterly Notes,
      was that those involved were concerned that revelation of the programme would
      be perceived in the market to diminish the quality of Autonomy’s earning record



                                            Page 477
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 479 of 900
Approved Judgment                                                             HC-2015-001324
Mr Justice Hildyard


         and prospects and would materially adversely affect analysts’ and the market’s
         rating of Autonomy.

Linkage Analysis

1477. I have repeatedly referred in the preceding analysis to the Linkage Analysis and
      the way in which it was deployed by Autonomy’s management will by now
      already be apparent, as will be its purpose. In summary, it served as
      management’s response to:

              (1) The shift from placing primary emphasis on the avowed “joint
                  development programme” (in collaboration with EMC) as the principal
                  justification for the programme to placing emphasis in justifying the
                  hardware sales (in conjunction with Dell) on their success as an
                  investment in customer relationships and in enabling Autonomy to
                  become a one-stop supplier of both software and hardware to its
                  customers, and

              (2) Deloitte’s natural requirement for some demonstration of the nexus and
                  growing concern that the hardware reselling strategy, which had initially
                  been presented as a one-off initiative with EMC, was becoming
                  “business as usual” (as Mr Welham put it in his witness statement).

1478. In this part of my judgment, I address certain issues in relation to the Linkage
      Analysis raised by the Claimants, and in particular the issue as to (a) what it was
      designed to show and (b) whether it demonstrated the “strong linkage” and “high
      degree of correlation” between hardware and software sales which
      management asserted in its deployment.

1479. The first is as to what Deloitte expected from it and its format. Although it seems
      clear that this exercise was in response to a request from Deloitte for an analysis
      of hardware revenues paid to customers to whom Autonomy also sold software,
      there was not in evidence any email or other document setting out the terms of
      the request, and there was a dispute as to what Deloitte gave Autonomy to
      understand was required.

1480. It was Mr Welham’s evidence that Deloitte requested (it is not clear when) what
      he described as:

                       an analysis…setting out, on a customer-by-customer basis, what
                      management said was the evidence of the linkage between the
                      lossmaking hardware sales and software sales and hosted revenue to
                      the same customers”.

1481. Mr Welham was not cross-examined on this statement. However, in his oral
      closing argument, Mr Miles suggested that Mr Welham’s description was not of
      the request but of what Deloitte received in answer; and that it accordingly
      amounted to no more than Mr Welham’s own perception of the content and


                                              Page 478
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 480 of 900
Approved Judgment                                                             HC-2015-001324
Mr Justice Hildyard


         effect of the analysis: any request would have been in line with the simpler one
         already referred to (but made later in January 2011).

1482. That would tally with Mr Stephan’s evidence in chief (“direct” evidence as
      described in the US) in the US criminal trial as to what he conceived his task in
      preparing the analysis to be. That evidence (which was adduced by the
      Claimants under a hearsay notice) was that the spreadsheet did not contain any
      real analysis of whether the hardware deal actually related to a software deal: it
      was simply (in Mr Stephan’s words):
               a mathematical exercise of matching names of customers…So if we
              sold a hardware to Customer A, we d be looking for Customer A through
              the historic revenue to try and find software sales to them.”


1483. Ms Gustafsson’s evidence of her understanding of the analysis, in its original
      form but also as updated, was to the same effect.

1484. In conjunction with the dispute as to what Deloitte had asked for, there was also
      a dispute about what Deloitte really understood the analysis to show when they
      received it (and successive versions). The Claimants’ case is that Deloitte were
      misled by the linkage analysis (which was updated quarterly) into thinking that
      there was a direct causal link between individual hardware sales and individual
      sales of software, and that then they and Mr Hussain together (unwittingly in
      the one case and dishonestly in the other) misled the Audit Committee into
      thinking there was “strong linkage”. The Claimants described it as “yet another
      exercise designed to disguise the true nature of what Autonomy was doing.”

1485. Apart from what the spreadsheets themselves showed, the Claimants’ case was
      very largely based on the evidence of Mr Welham. Mr Welham’s evidence in
      his witness statement was that Deloitte understood that the linkage analysis
      prepared by management:

                      “provided directional evidence of a causal link between the hardware
                      sales and subsequent software or hosted revenues”.


1486. Mr Welham was not cross-examined on this either; but in his oral closing
      submissions, Mr Miles emphasised the words directional evidence” in Mr
      Welham’s statement and submitted that they made clear that Mr Welham cannot
      have been suggesting that the spreadsheets constituted an analysis of the causal
      link between particular sales of hardware and particular software sales.

1487. In the absence of cross-examination, it is not easy to determine quite what Mr
      Welham did mean. But I agree with Mr Miles that the two expressions Mr
      Welham used (“directional evidence” and “causal link”) cannot be taken
      together to denote “causal link”. I think that the nearest synthesis is probably

         that the analysis suggested a correlation which might indicate, but did not
         establish, a causal link.


                                              Page 479
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 481 of 900
Approved Judgment                                                                     HC-2015-001324
Mr Justice Hildyard


1488. In any event, if Mr Welham was seeking to suggest that Deloitte understood that
      the linkage analysis provided evidence of something like a causal link, that is
      not what it appears others in Deloitte thought. In his oral closing submissions,
      Mr Miles referred me to notes of an FRC interview with Mr Mercer on 4
      September 2013 in which Mr Mercer made clear that he and Deloitte
      appreciated the limitations of the spreadsheets. He plainly regarded the sales of
      hardware as being in large part a marketing exercise and emphasised more than
      once both the truism that marketing is an art, not a science” and the aphorism
      half of marketing works”: You just don t know which half. So, so this is what
      they re doing and overall, we can see it is working.” When asked by the FRC
      representative “…what was this analysis of the linkage that management did?”
      Mr Mercer replied:

                       It s analysis of sales that they made of hardware and losses
                      historically…So, it is, We have made these sales of hardware and
                      losses to these customers. We have made sales to these selfsame
                      customers of software of (blank). It s the same customers we are
                      selling…that we are making this marketing effort and incurring this
                      marketing cost by selling software at losses that we are selling highly
                      profitable software to…” So it s not...you are absolutely right. You can
                      t…show a hardware sale on 30 June 2010 and have an analysis that it
                      s…since they started doing this in a significant way, they ve tracked
                      who they ve sold this stuff to and them who they ve made – how much
                      of the software posted revenues they ve made to the same people.”

1489. In other words, Mr Mercer and Deloitte did not treat the spreadsheets as
      intended to show a causative link, or even a clear correlation between a
      particular hardware sale and a subsequent software sale: they treated them as
      showing that, even if a direct nexus was not capable of being demonstrated in
      particular individual cases, in overall terms the loss-making hardware sales
      appeared to lead to more high-margin sales to the same group of customers: as
      in all marketing. Mr Mercer agreed absolutely” that it was not more than sort
      of a reasonable correlation” across the cohort of customers, adding:
                       It s by no means perfect and you can t see one following the other but
                      you can see that the vast majority of these companies that they are
                      selling hardware to, they are now selling significant amounts of
                      software to…”

1490. That accords with Dr Lynch’s understanding199:

                      “A. … it was like when you do advertising, you don't know exactly which
                             sale comes from the advertising but you




199
   Dr Lynch was aware that a spreadsheet was prepared each quarter that showed the software bought
by customers who bought hardware. However, he did not see the spreadsheets at the time.


                                               Page 480
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 482 of 900
Approved Judgment                                                                 HC-2015-001324
Mr Justice Hildyard


                             can do something like – you can look at the amount of
                             advertising in a region and then see what sales you have
                             in that region. It doesn't mean that there's a causality
                             on a one-to-one deal basis.
                             …
                      I think they [i.e. Deloitte] considered there was a link but not
                             on an individual basis, in the same way as there would
                             be a link in advertising something in Northampton and
                             then looking at the number of shoe sales in
                             Northampton. That was my understanding.”

1491. More difficult to answer in those circumstances is the question why this broad
      correlation, as both Autonomy and Deloitte do seem to have perceived was what
      the linkage analysis was designed to show, came to be presented by Autonomy
      to Deloitte and by Deloitte to the Audit Committee as demonstrating a strong
      linkage” and their resort to it as a significant factor in justifying the allocation
      of costs to Sales and Marketing expenses.

1492. In that regard, it may be recalled that Mr Hussain’s Q2 2010 Note for the Audit
      Committee asserted that the “lower margin sales have generated significant new
      software business for us”; and Deloitte’s report to the Audit Committee for Q2
      2010 stated:

                       These are further examples of a number of strategic hardware
                      transactions [sic] completed by Autonomy to major international
                      banks or other large blue chip companies completed in order to open
                      up new market opportunities and to become the preferred supplier for
                      all such clients’ archiving requirements, including both software and
                      hardware.

                      … Management s rationale for entering into these loss making
                      contracts is that Autonomy is seeking to develop a long term strategic
                      relationship with the end-users in order to secure future profitable
                      software sales.

                      Management has prepared an analysis demonstrating the strong
                      linkage between the loss making hardware sales and subsequent highly
                      profitable software sales …”


1493. In my judgment, it is clear from the contemporaneous documentation, taken as
      a whole, that both Autonomy and Deloitte understood the limitations of the
      linkage analysis, but nevertheless deployed it to support the depiction of the
      nexus between hardware and software sales urged by Autonomy’s management.
      This was to the effect that there was a sufficient correlation between hardware
      sales and subsequent software sales to the same customers not only to justify
      taking a loss on the hardware sales, but also to justify an accounting treatment
      which would allocate a proportion of the costs to Sales and Marketing expenses.



                                               Page 481
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 483 of 900
Approved Judgment                                                                HC-2015-001324
Mr Justice Hildyard


1494. For example, in an internal Deloitte email dated 14 October 2010, Ms Antonia
      Anderson said of the linkage analysis that Mr Stephan had sent her earlier that
      day that “[t]he important thing on this tab is their analysis of the software and
      hosted sales they generate with customers that they sell this hardware to”.
      Similarly, in his email to Mr Stephan on 20 January 2011, Mr Leo He of Deloitte
      requested a copy of the linkage analysis in order to “justify the rationale that the
      purpose of Autonomy selling hardware at a loss is to generate significantly more
      software revenue from these customers, and therefore it is reasonable to classify
      the hardware loss to be S&M expenses” . Mr Welham went further in his witness
      statement and said that when Deloitte accepted that the loss suffered by
      Autonomy on the hardware sales could be allocated to sales and marketing
      expenses, with the balance of the cost of the hardware being allocated to COGS,
      they did so:

                      “on the basis of the linkage analysis provided to us by Autonomy each
                      quarter, which, based on the representations Autonomy management
                      had made to us about the business strategy, appeared to supply
                      adequate support for the allocation of the loss on the hardware sales
                      to sales and marketing expenses”.


1495. I consider and find that there were two main reasons why Deloitte in fact treated
      the linkage analysis as offering more support than it was designed to show and
      on its face it did:
              (1) First, I agree with the Claimants that it is important to remember that
                  Deloitte did not receive the linkage analysis in isolation. Autonomy had
                  stressed to Deloitte that its strategy of reselling hardware at a loss was
                  in order to become “the single source supplier for all of the major banks
                  in relation to [their] data management activities” and that the net loss
                  represented “an investment in the customer relationship” which had
                  “helped enormously in the procurement of significant software sales”.
                  (emphasis added). That was Deloitte’s mindset; and, read in that light,
                  the Linkage Analysis complemented and reinforced it.

              (2) Secondly, the truth is, as it appears to me, that Mr Knights was very open
                  to persuasion: my impression is, as I have previously indicated, that by
                  now he had changed from sceptical assessor to become an active
                  participant in finding a way to justify the allocation of costs to sales and
                  marketing expenses which would satisfy the Deloitte Reviewers. I have
                  in mind particularly an email dated 18 July 2010, from Mr Knights to
                  Mr Hussain, Mr Mercer and Mr Welham (copied to Mr Chamberlain).
                  In that email, he explained that he, Mr Mercer and the Reviewers had
                  had to draw the line when Autonomy’s management had tried once more
                  to get approval for 50% to be allocated as such expenses (which he
                  described as “not something our compliance people will get comfortable
                  with…we only got comfortable with this in Q1 on immateriality
                  grounds”). Whilst that might have appeared to show (and both Mr
                  Knights and Mr Mercer have since insisted that their refusal to accept



                                               Page 482
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 484 of 900
Approved Judgment                                                                  HC-2015-001324
Mr Justice Hildyard


                      the 50% split did show) the audit function properly working, he then
                      immediately put forward what was in effect a “work-around” with the
                      same objective. Under a heading in bold type which read “But there is a
                      solution that makes sense – particularly as in the Q1 call you already
                      highlighted the $10m of hardware in inventory which you highlighted
                      was to be sold in Q2” he laid out the following plan:
                      My solution would be:
                                   • Record the hardware sales at nil gross margin for
                                      IFRS reporting
                                    •   Take the loss” as selling expense – (around $4-5m I
                                        think)
                                    •   The market already knows that you will be making Q2
                                        hardware sales as you highlighted this at Q1 and had
                                        inventory on the b/s. So any IFRS gross margin one
                                        off drop is reasonable and can be explained as part of
                                        the strategy.
                                    •   In the adjusted gross margin [original emphasis] strip
                                        back out the hardware element to a
                                         normalised” level and add an explanation –
                      By the time you wrap up the $10m hardware b/f and the $4-5m that is in
                      selling expense surely we are almost there??
                      Just to be totally clear all of us fully get the strategic element to this
                      and the opportunity to open up new markets. The evidence of follow
                      through sales is apparent.”

                  (Mr Welham’s again unchallenged evidence (which I accept) was that
                  the last sentence was a reference to the linkage analysis that had been
                  supplied to Deloitte by Autonomy management.)

1496. In summary, therefore, it was not so much the linkage analysis itself as its
      context and presentation, together with Mr Knights’ readiness to accept Mr
      Hussain’s depiction of it as in some way (unexplained) showing “strong linkage
      between the loss making hardware sales and subsequent highly profitable
      software sales” (to quote from Deloitte’s Q2 2010 Quarterly Review), which
      persuaded Deloitte to regard the linkage as sufficient for them to approve
      Autonomy’s allocation of a significant proportion of the costs of the hardware
      sales to sales and marketing. That was vital, as I have emphasised before: it was
      that which ensured that the hardware reselling did not appear to have a
      concerning adverse effect on gross margin such as would be likely to excite
      further enquiry, and thus at one and the same time both ensured full realization
      of the true purpose of the hardware reselling and so much helped to disguise and
      attenuate the likelihood of inquiry about its true extent.

Other examples showing the determination to avoid disclosure to the market




                                                Page 483
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 485 of 900
Approved Judgment                                                            HC-2015-001324
Mr Justice Hildyard


1497. Finally, in assessing the purpose of the hardware reselling strategy I turn to
      discuss three aspects of the Defendants’ conduct especially relied on by the
      Claimants as showing that both Defendants were prepared to resort to lies about
      the true extent and nature of the hardware sales in order to avoid their disclosure

         or enquiry which would result in the market becoming aware of them and their
         improper purpose, and thereby Autonomy’s dependence on hardware sales to
         maintain its image as an extraordinarily successful pure software” company.

Q&A scripts

1498. First, I address the scripts prepared by Autonomy and management in advance
      of every earnings call. These included draft “Qs and As” worked on after
      ‘brainstorming’ sessions to ‘spot’ topics of likely interest or concern to those
      attending the calls. Many of the questions ‘spotted’ were never asked, nor
      therefore were the draft answers given. Obviously, a scripted answer never in
      fact uttered and never made available cannot be the basis of any claim under
      FSMA or in misrepresentation. However, the Claimants relied on them
      nevertheless as evidence of what would have been said if the questions had been
      asked, and thus of the Defendants’ state of mind and intentions.

1499. More particularly, the Claimants relied on individual scripted answers as
      evidence of (a) a willingness on the part of both Defendants to mislead the
      market and (b) the fact that neither of the Defendants had any honest belief that
      the hardware sales were known to the market, or that their purpose was
      legitimate, or that there was any proper basis for not disclosing them fully.

1500. The Defendants contended, to the contrary, that the scripts could not safely be
      relied on as evidence of what would have been said if the questions were asked.
      According to the Defendants, the answers relied on by the Claimants in the
      scripts were drafts, which went through many iterations and which were
      prepared by a large number of people, including Autonomy’s brokers and
      investor relations. Scripted answers might or might not reflect input from the
      operational part of the company to which they related; might or might not have
      been checked by the Defendants; and might or might not be used. On this view,
      they were little more than placeholders.
1501. Dr Lynch’s elaboration of the process was as follows:

              (1) The process involved some 20 people (some junior or only “interns”)
                  “brainstorming” with a view to identifying any questions, and generated
                  a mass of them which accumulated over time, many of which might
                  remain on the script unless and until focused on at a second stage of
                  review: “some of the questions…hang around for years” and the
                  scripted misleading answer may have been a hangover from previous
                  versions of the Q&A script which had not been reviewed or had simply
                  been insufficiently checked and verified.




                                          Page 484
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 486 of 900
Approved Judgment                                                              HC-2015-001324
Mr Justice Hildyard


              (2) Some questions were “too sensitive” for the large group and so a
                  smaller group of people, who were privy to “inside information” would
                  undertake a “final phase” where the “actual” answers would be
                  developed, sometimes at a stage too late to be included in the printed
                  version so that the final answers had to be inserted in handwriting. The
                  scripted answer may in effect have been a placeholder (my word, not
                  his), which would have been amended and changed, had it been focused

                      on, and would not have been used in anything like that form if the
                      question had been asked.

              (3) Even after review of the drafts there was a further important stage:
                         “Then the last stage, which is the sensitive one, is those
                         documents are taken and then the questions are
                         amended for things that we know that the rest of the
                         group don't know that are important. And that would be
                         any inside information or anything that we think is
                         competitively very sensitive. So that will not have been
                         surfaced and taken out. The answers that will have been
                         put in in the drafts would have been ones just to move
                         on to the next question, because obviously you can't
                         highlight this to the brokers and the other people that
                         are sitting there. And then we come up with an actual
                         set of answers that we would use. And that's why the
                         answers in those documents are not the same as the
                         answers you hear when the questions are asked
                         sometimes on the call because there's actually a final
                         version that's done.”

1502. The last amendments would not be made in the printed version, but in
      manuscript. Thus, the Defendants submitted, the inclusion of a proposed
      response on a particular draft cannot be relied on as showing anyone speaking
      on the call intended to use the response in question: and, they concluded, the
      only responses that can be relied on – and the only information of any possible
      relevance to the claim before the Court – are those that were in fact given on the
      calls. Furthermore, in the case of each of the scripted answers on which the
      Claimants sought to rely, Dr Lynch’s evidence was that the statement in
      question was not in fact, and would not have been, used.

1503. The Claimants submitted that Dr Lynch’s repeated efforts to dismiss the scripts
      as containing draft answers which were later revised and which in any event
      would never have been (and in the event never were) used as an elaborate
      concoction which Dr Lynch knew to be patently untrue. They submitted further
      that Dr Lynch’s resort to lying about both the process of developing the answers
      and the use to be made of them when cross-examined not only fortified their
      main argument as to the insight shown into the mindset of both Defendants, but
      also was fundamentally revealing of Dr Lynch’s personal dishonesty and his
      propensity to lie to the court as well as the market.


                                             Page 485
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 487 of 900
Approved Judgment                                                                 HC-2015-001324
Mr Justice Hildyard




1504. This aspect thus acquired more importance in a FSMA claim than might be
      expected of representations never in fact uttered. Indeed, the Claimants spent
      considerably more time on the Q&A scripts, which were not mentioned in the
      pleadings, than on what was actually said at the Earnings Calls. They
      crossexamined Dr Lynch at length on the process by which they came to be
      finalised for use in each quarter in the Relevant Period, and on the content of
      the Q&A drafts (with particular emphasis on the scripts prepared for the Q3
      2009 Earnings Call and the Q2 2011 Earnings Call, marking the beginning and
      end of the sequence in the Relevant Period).

1505. I do not think it is necessary to go through each script quarter by quarter. Instead,
      I examine first, the dispute as to the way the scripts were produced and my
      conclusion in that context, before discussing various illustrations of the
      questions and answers instanced by the Claimants as obviously false and
      misleading from the Q&A scripts prepared for Q3 2009, for Q1 2010 and for
      Q2 2011, and Dr Lynch’s responses in respect of them. I then set out my
      conclusions as to the allegations made in respect of the Q&A scripts
      compositely.

1506. The documentary evidence seems to me to reveal that:

              (1) The final printed version of the Q&A document typically went through
                  a number of drafts: for example, that for Q3 2009 appears to have gone
                  through at least 15 drafts;

              (2) Autonomy’s Investor Relations (headed by Mr Geall, working with Mr
                  Goodman) would typically “own” the document, with suggestions and
                  amendments channelled through them;

              (3) Financial Dynamics (Autonomy’s external financial PR advisers) would
                  also be involved;

              (4) The evidence of larger meetings of 20 or so is sparse. Although in Q3
                  2009 at least one meeting seems to have taken place, where individuals
                  not in core management may have been present to throw around
                  questions and answers, there is no clear evidence of any such meetings
                  in later quarters, and it is not easy to see when they would have fitted
                  into the chronology;

              (5) Even if a group of 20 or so people did assist in “brainstorming” sessions
                  to identify possible questions and answers at the inception of the process,
                  it is plain from the little evidence that there is (confined to Q3 2009) that
                  they took place very near the beginning of the process of developing the
                  script;

              (6) The process was soon in the hands of a small group and the drafts were
                  worked up over email, as opposed to in much larger meetings;


                                             Page 486
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 488 of 900
Approved Judgment                                                                HC-2015-001324
Mr Justice Hildyard




              (7) Further, in every quarter, the Defendants seem to have been engaged in
                  the final drafts: and in Q1 2010, for example, the source of the questions
                  and draft answers highlighted by the Claimants appears to have been
                  them;

              (8) Certainly in Q1 2010, the source of the objectionable/ noxious questions
                  and answers seems to be Dr Lynch and Mr Hussain. As late as 8.03pm
                  the day before the Earnings Call, Dr Lynch was editing the document
                  containing those answers and not correcting them. It seems implausible
                  that any meeting was going to take place after that time when any
                  analysts or interns would see that document;

              (9) There are no extant copies in evidence of Q&A scripts with manuscript
                  amendments; and typically, the final printed version would have little
                  room for the insertion of manuscript additions;

              (10)       There does not appear to be any evidence that Deloitte saw the
                  scripts or the Q&A drafts (or final version) prior to the quarterly earnings
                  calls.

1507. The following scripted questions and answers prepared for the Q3 2009 earnings
      call (numbered 27, 37 and 107 in the final printed draft) are examples
      particularly relied on by the Claimants as demonstrating that the Defendants
      intended to give seriously misleading answers to key questions on hardware
      sales which had been identified as likely to be asked:


                27. How much h/w did you sell in       We do sell a bit of H/W every
                the quarter?                           quarter eg telephony cards as part of
                                                       our call centre solution

                37. You used to give licence
                                                    All we sell is IDOL so that is the
                organic growth in the past. What is organic growth number. The reason
                it and why don’t you give it now? for the old categories was when we
                                                    had legacy things like ultraseek.
                                                    That is no longer relevant.

                107. Do you include hardware           There are some instances where we
                revenues in Hosted?                    might sell an appliance solution.
                                                       But this is rare and the quantum is
                                                       low as a percentage of group
                                                       revenues.




                                            Page 487
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 489 of 900
Approved Judgment                                                              HC-2015-001324
Mr Justice Hildyard


1508. The contemporaneous documents show that both Defendants were closely
      involved in the preparation of the final script. Dr Lynch had to accept that had
      the answers scripted been given, they would have been seriously misleading.

1509. In addition to his explanation as to the process (see above) and his ultimate
      defence that the scripted answers would never have been used, Dr Lynch
      suggested that the Q&A scripts also tended to accumulate historic answers
      which were (as he described them) “hangovers” from previous quarters which
      were no longer to be used. But he had to retract the suggestion when a further
      document was put to him later in his cross-examination.

1510. In respect of the Q&As prepared for the Q1 2010 earnings call, the Claimants
      relied particularly on what they submitted were a series of misleading or
      diversionary answers to be given to hardware-related questions that had been
      picked out as likely to be asked. These included:

               (1) Q&A 15 was “How much was the hardware related sales incurred in
                   Q1?” to which the scripted answer was “[$5]m went into the solutions.”

               (2) Q&A 16 was “Hardware: Why?” to which the scripted answer was
                   “Arcpliance. Up to customers strategic eca”.200

               (3) Q&A 19 was “HW: What was it in the past?” to which the scripted
                   answer was “No idea”.

               (4) Q&A 71 was “You used to give licence organic growth in the past. What
                   is it and why don’t you give it now?”, to which the scripted response was
                   “All we sell is IDOL so that is the organic growth number.”

               (5) Q&A 85 was “Why haven’t you disclosed the hardware sales in the
                   past?”, to which the scripted response was “Not a material part,
                   normally pure software, sometime software and services or software and
                   hardware…new move to arcplaince.”

               (6) Q&A 108 was “Inventory – have you done many hardware deals in the
                   past”, to which the scripted answer was “Not usually a significant
                   amount.”

1511. Of these answers, all but (1) and (4) were exactly as drafted by Dr Lynch, except
      for the correction of typographical errors which were typical of his usually
      hurried emails. (1) and (4) also appear likely to have been largely drafted or
      suggested by him as they were inserted further to a final email on the Q&A
      script from him to Mr Hussain on the day before the Q1 2010 earnings call.

1512. Turning to the Q&A script prepared for the Q2 2011 earnings call, the Claimants
      relied particularly on the following:

200
      Early Case Assessment.


                                            Page 488
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 490 of 900
Approved Judgment                                                                HC-2015-001324
Mr Justice Hildyard




              (1) Q&A 24 was “Hardware sold in the quarter”. The proposed response
                  was as follows: “Arcpliance sales were low well under their usual range
                  of a couple of million. 1 would note that this is dissimilar of what they
                  were a year ago”.


              (2) Q&A 25 read “Do you sell hardware other than arcpliance”, to which
                  the scripted answer was: “Yes occasionally for example we sell a tiny
                  amount of memory cards for PCs that go into call centres”.

              (3) Q&A 66 posed the question “Cost of sales – how much was hardware?”,
                  to which the scripted response was “Arcpliance sales 2.5 to 3 [SH to
                  confirm]”.




1513. All of these Q&As were included in an attachment to an email from Mr Hussain
      to Dr Lynch, Mr Kanter, Mr Chamberlain and Mr Derek Brown (who was also
      in Autonomy’s Investor Relations department) dated 26 July 2011.


1514. Dr Lynch, with some surprising equivocation that it might depend on the
      context, had to accept in cross-examination that if those answers had been given,
      they would have been misleading. Plainly they would have been so: in Q2 2011,
      revenues from hardware sales amounted to about $20.8 million, compared to
      total revenues of some $256 million.

1515. Dr Lynch sought to defuse this on the same basis as before: (a) the answers had
      not been used, and so could not have been misleading; and (b) the answers did
      not show what would have been said:

                      “You’re asking me about an answer that may be generated by a 22
                      year old intern…This is a document which is produced and worked on
                      by 20 people around a table, including in some cases even interns, 22
                      year olds, people throw in the questions, we write answers. In the
                      answers we do not give inside information because it is – and it
                      includes external people to the company as well. And then this is taken
                      and the actual answers are done and the proof of that is very simple,
                      which is the answers in this document are not the ones you see when
                      questions are asked on a conference call. And that’s true for the last,
                      you know, whatever it is, 40 quarters.”


1516. The Claimants submitted that these efforts were confounded by the documents:
      far from the scripted answers having been “produced and worked on by 20
      people around a table”, they were contained in a draft which Mr Hussain


                                               Page 489
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 491 of 900
Approved Judgment                                                               HC-2015-001324
Mr Justice Hildyard


         described as “my latest” and which he sent to Dr Lynch, Mr Kanter, Mr
         Chamberlain and Mr Brown only. Furthermore, and as noted above, the fact that
         Autonomy was selling large quantities of pure hardware in order to report what
         would appear to be higher levels of software revenue was not “inside
         information”. Dr Lynch’s answer that the scripted answers were never used
         missed the point, which was that the question was never asked.

1517. When put to him that the position that was being taken in these responses was
      dishonest, Dr Lynch said as follows: “If it had been dishonest, the answer would
      have been used. The answer was never used”. But, yet again, that misses the
      point: as it transpired, the question was never asked but the existence of the
      planned answer suggests, strongly to my mind, that Dr Lynch and Mr Hussain
      were prepared dishonestly to mislead the market.


1518. Dr Lynch’s broader point that the transcripts prove that questions which were
      asked were often answered differently than appeared on the prepared script is
      less easily dismissed and in fact was not addressed by the Claimants. Dr Lynch
      did tend to depart from the script: indeed, he almost invariably did so, providing
      much more detailed answers than had been suggested. For example, questions

         in Q2 2011 about the growth of Cloud business and developments in Promote
         were dealt with by Dr Lynch in a far more detailed way than the scripted answers
         (and indeed some of the questions were left blank in the script).

1519. I have concluded and find as follows:

              (1) Even if there were meetings of 20 or so people including “interns” to
                  “spot” questions and suggest possible answers, such meetings had very
                  little influence on the shape and content of the finalised scripts, which
                  had gone through a number of drafts and reflected the input of
                  Autonomy’s Investor Relations department, Financial Dynamics and
                  ultimately, and most significantly, Mr Hussain and Dr Lynch. I cannot
                  accept that the scripted answers were the work of interns: they were the
                  work of the Defendants.

              (2) There is nothing to support Dr Lynch’s evidence that the scripts were or
                  would have been amended in manuscript. The Defendants’ revisions of
                  the relevant scripts typically continued until the eve of the earnings call
                  in question. There was no reason for such a process: and there was no
                  space provided, nor any time for such an exercise.

              (3) I do not accept either the suggestion that placeholder answers were
                  necessary to protect confidentiality or reflected the fact that those
                  compiling them had no access to confidential information. There was
                  nothing confidential in the answers; and they were in many instances
                  drafted by Dr Lynch himself.




                                            Page 490
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 492 of 900
Approved Judgment                                                              HC-2015-001324
Mr Justice Hildyard


              (4) Dr Lynch appears to have paid particular attention to the answers to be
                  given to questions ‘spotted’ relating to hardware. His contribution to the
                  Q1 2010 scripts is especially clear. The answers he scripted in this
                  context would have been misleading if given.

              (5) All that said, however, I doubt that the scripted answers show anything
                  more than that Dr Lynch did not intend to disclose the truth about the
                  hardware sales. I doubt that the answers Dr Lynch would have given
                  would have followed the script had the question(s) been asked. Even
                  where he had drafted the scripted response, I am doubtful that he would
                  have used it: that was not his habit or style. As his performance in the
                  witness box also showed, Dr Lynch is articulate and skilled at
                  presentation. I think at most the scripted answers were aide-memoires,
                  and sometimes I suspect little more than placeholders.

              (6) For example, the scripted answer to Q&A 27 in Q3 2009 was a clumsy
                  lie and Dr Lynch is not clumsy; neither would either Defendant, or any
                  of those speaking on behalf of Autonomy, have fixed on that answer as
                  likely to pass unnoticed by, or without comment from, Deloitte and Mr
                  Welham (who listened into the earnings calls). Dr Lynch may well have
                  hoped that the question would not be asked, did not want to commit to
                  any focused answer in advance, and trusted himself to equivocate or
                  distract attention if and when the question came, with the comfort of
                  knowing that the practice was not to allow more than one follow-up
                  question.

              (7) Dr Lynch had taken the advice from Deloitte, as adopted by the Audit
                  Committee, to be that “the information did not have to be disclosed” (as
                  he stated when cross-examined): he would not simply have stated what
                  the hardware sales were. Nor would Mr Hussain, who was very reluctant
                  to say anything unscripted anyway: he would have referred the question
                  to Dr Lynch, and said nothing more.

              (8) The truth is that the Defendants were prepared to mislead to keep
                  analysts and the market away from the nature and extent of the hardware
                  sales.

              (9) The Q&A scripts further undermined Dr Lynch’s reliability and
                  credibility in my eyes. They support the conclusion urged by the
                  Claimants as summarised in paragraph 1503 above.

Representations to disguise the hardware reselling strategy made in Earnings Calls

1520. That conclusion is also supported by various representations actually made by
      the Defendants in the course of Earnings Calls in the Relevant Period. The
      Claimants’ pleaded allegations in this regard related to the earnings calls for Q3
      2009, Q1 2010 and Q2 2010: they did not advance allegations in their RRAPoC
      or in their opening in respect of the other Earnings Calls in the Relevant Period.


                                            Page 491
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 493 of 900
Approved Judgment                                                                      HC-2015-001324
Mr Justice Hildyard


          Mr Rabinowitz did, however, cross-examine Dr Lynch on the other earnings
          calls in the Relevant Period in support of the general case of dishonesty against
          both Defendants.

1521. Whilst I have borne in mind the others, and have mentioned them in passing in
      the section on the chronology of Autonomy’s relationship with Dell and
      hardware reselling, it is for present purposes sufficient to focus in this context
      on Q3 2009, Q1 2010 and Q2 2010. Each one illustrates a different set of what
      the Claimants contended were misrepresentations to conceal hardware reselling
      and examples of serious dishonesty on behalf of the Defendants. I address at
      some length the Q3 2009 Earnings Call, which was principally related to the
      costs attributable to a new product of Autonomy’s called SPE. SPE was an issue
      of some importance in the Claimants’ case 201 (though it was one which the
      Defendants tended to shy away from and seek to marginalise). The Claimants
      contended that (a) it demonstrated the lengths to which the Defendants would
      go to conceal hardware reselling and costs and (b) it reveals “a willingness on
      the Defendants’ part to tell lies to Autonomy’s auditors, the market and to this
      Court.”

Q3 2009 Earnings Call

1522. In its Quarterly Report for Q3 2009, Autonomy had capitalised $11.7 million in
      R&D expenses. This figure was much higher than the R&D costs capitalised for

         the equivalent quarter the previous year which amounted to only $3 million.
         The Q3 2009 R&D figure was stated in that report to be “primarily due to the
         new IDOL SPE product reaching commercial exploitation phase.”

1523. The principal focus of the Q3 2009 Earnings Call was Dr Lynch’s
      announcement of the launch of SPE. He described SPE during the call as “a
      complex piece of technology”, a “radical technology”, which could “clip on to
      pretty much any relational database” and was “probably the second most
      important product in the Company’s history”. He knew, he said, that it was
      “geek stuff at the moment” but it was soon, he hoped in 2010, “going to open
      up markets in a very different way for us.” He talked of a “very large
      addressable market”, an “$18 billion market”.

1524. On the Q3 2009 Earnings Call, Dr Lynch told the market that the sales and
      marketing expenditure incurred in Q3 2009 in relation to SPE was “$18
      million/$20 million, with about $4 million extra on the Quick Start program”.
      In explaining the significant increase in Sales and Marketing expenses, Dr
      Lynch talked of223:

              (1) the time spent on a BETA programme model necessary for such a
                  complex piece of technology;


201
   About 100 pages were devoted to it in the Claimants’ written closing submissions. Dr Lynch dealt
with it in about 30 pages.


                                               Page 492
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 494 of 900
Approved Judgment                                                                       HC-2015-001324
Mr Justice Hildyard




              (2) the work done on “advertising in the trades” and working very closely
                  with the (computer) analysts;

              (3) the ‘Quick Start initiative’ for which he said there had been “over
                  demand”;

              (4) tax breaks negotiated by Mr Hussain which had given “a little bit of
                  leeway… to increase the Quick Start program considerably above where
                  we expected it to be”;

              (5) “flying key customers from around the world to special selective
                  seminars…small affairs…done for about 15 customers at a time….over
                  two days…and that worked very well”

1525. Mr Kanter added that the IDOL SPE launch had been “acclaimed by industry
      analysts”.

1526. Mr Hussain said in seeking to clarify (a) the reasons for the reduction in gross
      margin in the quarter to 86% compared to 92% in Q3 2009 (as stated in the Q3


223
   In summary, on the Q3 2009 earnings call, combined with the accompanying presentation, Dr Lynch
attributed the SPE marketing spend figures to five steps:

                      (1) Advertising in the trades;
                      (2) Discussions with analysts;
                      (3) A Quick Start initiative;
                      (4) A Beta programme-which was already underway and released to several hundred
                          Beta customers, and
                      (5) Specialist Seminars.
         2009 Quarterly Report), and (b) the decline in Autonomy’s operating margin in
         Q3 2009 (which fell to 34%, compared to 42% in Q3 2008 and 47% in Q2 2009),
         as follows:

              (1) “Moving on to gross margins. At 86% this quarter, we saw the effect of
                  a couple of percentage points of the over-demand on the Quick Start
                  program for the new product release”; and

              (2) “Operating margins were at 34.5%. This was affected by seasonality
                  and the additional spend on the new product release. Now excluding the
                  effects of the new product release, i.e. the additional marketing spend,
                  the lower gross margin effect of the over-demand, and adding back the
                  net effect of the capitalised R&D, then operating margins would have
                  been 43%, around that number”.

         He also clarified, in answer to an analyst’s question, that “the spend on SPE in
         Q3 was a one-off in Q3 only.”




                                                  Page 493
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 495 of 900
Approved Judgment                                                                         HC-2015-001324
Mr Justice Hildyard


1527. The Claimants’ case can simply be stated: the R&D capitalised costs of $11.7
      million did not arise in respect of the development or launch of SPE or its related
      product ‘Quick Start’202. They were a disguise to explain increases in marketing
      expenses and R&D costs, and decreases in gross margin, without any mention
      of the effect on these metrics of the rapidly developing and substantial, but
      lossmaking, programme of hardware sales instigated further to the Loudham
      Hall meeting in July 2009.

1528. According to the Claimants, who relied principally on the evidence of Dr
      Blanchflower, behind all the fanfare, SPE was not a new standalone product at
      all. It did not involve writing any new code. It was simply a relatively
      straightforward repositioning of IDOL’s existing meaning-based computing to
      structured data, and there were no additional statistical or probabilistic features
      in SPE which did not already exist in IDOL.

1529. The Claimants’ case was that the real costs of SPE’s development were small:
      Dr Blanchflower estimated them at around $50,000. Other costs might take the
      aggregate to $100,000; but no more. The Claimants’ other main witness on the
      point, Mr Lucini, accepted a slightly higher total amount for development costs:
      $70,000, rather than $50,000, based on an industry charging rate.

1530. The Claimants contended that the documentary evidence revealed no significant
      SPE sales and marketing expenses in Q3 2009 and that it is impossible for
      anything approaching $18-20m to have been spent on sales and marketing for
      the launch of SPE and that the true figure was unlikely to exceed $100,000.

1531. They submitted that, with the exception of a small sum spent on advertising,
      there was no documentary support for there having been any expenditure on any
      of the specific categories mentioned by Dr Lynch in the Q3 2009 Earnings call.



            According to the documents, and the evidence of Dr Blanchflower and Mr
            Lucini:

           (1)      The total advertising spend was $78,342 and Dr Lynch personally
                    limited such expenditure to no more than $80,000 in an email on 23
                    August 2009 to Ms Eagan.

           (2)      There were very few documented discussions with analysts. The
                    Claimants accepted that there was a video conference held with Ms Sue
                    Feldman of IDC on 14 September 2009 but submitted in their written
                    closing that there is no evidence of any payment made in respect of this
                    and that if there was it is likely to have been immaterial. The Claimants
                    accepted that briefings were held with Mr Muncaster on 15 September
                    2009: but on the documents, that appeared to be that.


202
      For accuracy: of the $11.7 million, $7.3 million was said to be referable to SPE.


                                                    Page 494
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 496 of 900
Approved Judgment                                                              HC-2015-001324
Mr Justice Hildyard


         (3)      There was no documentary evidence of any Beta program (being sample
                  software testing) in existence in relation to SPE in Q3 2009, and the
                  Claimants relied also on the evidence of Dr Blanchflower and Mr Lucini
                  that there was none. They noted further that (a) when, following the press
                  release on 16 September 2009, customers asked whether they could join
                  the Beta program, they were told with Dr Lynch’s knowledge and/or by
                  his direction that the Beta program was closed due to over demand; and
                  that Dr Lynch personally created the pretence of a Beta program when
                  none existed; and (b) Dr Lynch, by email on 23 October 2009, had
                  directed a response to be given to Mr Goodman of Fidelity who had
                  registered to download the Beta version of SPE, which was to tell him it
                  was closed due to overdemand. Lastly in relation to this point, they
                  further relied on a prepared answer in a Q&A script prepared on 20 April
                  2010 for Autonomy’s Q1 2010 earnings call stating the product had been
                  sold so Beta was not relevant, which the Claimants submitted was a way
                  of ducking the question because Dr Lynch knew the Beta program had
                  not existed.

         (4)      Contrary to what Dr Lynch told the market, and though it was stated to
                  account for some $4 million of the sales and marketing costs, there was
                  no Quick Start initiative or programme in existence. The evidence of Dr
                  Blanchflower and Mr Lucini was to the effect that they were unaware of
                  the existence of any such program in circumstances where they would
                  be reasonably expected to if such a program existed. There was no
                  documentation to substantiate systems engineers (“SEs”) coordinating
                  with customers in order to install SPE such as when to turn up, with what
                  equipment, and identifying how SPE may be useful to such a customer,
                  and a lack of witness evidence to the effect that SPE was installed at
                  customer sites in Q3 2009.

1532. Apart from a single seminar held at Cliveden House from 09 September 2009
      to 10 September 2009, there were no such selective seminars in Q3 2009 which
      involved flying key customers from around the world. There was none of the
      supporting documentation which might be expected: no guest lists, invitations,
      flight bookings, hotel bookings, schedule of events, nor any agenda for the
      seminars. The Claimants suggested that if such seminars had really occurred
      then they would have involved Mr Lucini; and he denied any involvement. Dr
      Lynch had not called a single witness who was claimed to have been a customer,
      though this had been a pleaded issue. Further, the Claimants relied on, as being
      obviously a concoction, Dr Lynch’s suggested response to an email dated 14
      September 2009 sent to Mr Hussain by an analyst called Mr Raimo Lenschow
      asking for an update on progress on the product:

                      “Premarketing well underway, ad starting to run, customer
                      seminars with them being flown in from around the world already
                      done and on going, demo appliances out, industry analyst briefed
                      etc……..sadly we missed off financial analysts as they have no
                      budget…!”



                                            Page 495
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 497 of 900
Approved Judgment                                                                      HC-2015-001324
Mr Justice Hildyard


1533. The Claimants added to this barrage asserting, in effect, that the Q3 2009
      Earnings Call had amounted to a pack of lies, that a memorandum prepared by
      Ms Gustafsson (of Autonomy’s finance department) (“the R&D Memo”), which
      had been produced to justify to Deloitte the R&D figures in the accounts, was
      based on figures which had no factual foundation and were untrue. The figures
      had been provided to Ms Gustafsson by the cabal, and in particular, Dr Menell
      and Mr Chamberlain. Ms Gustafsson made clear that she had very largely relied
      on the information that had been thus supplied to her.

1534. There were two primary elements in the calculation of R&D capitalisation in
      the R&D memo:

         (1)      $4.8 million was attributed to time spent by SEs and
         (2)      $2.5 million was attributed to time spent by the development engineers.

1535. The Claimants detailed at considerable length their reasons for dismissing the
      amount of time attributed to SEs, which involved an extended account of the
      usual work they undertook and the calculation of the monetary value to be
      attributed to their time. For present purposes, the following should suffice:

         (1)      The SEs were uncontroversially described in the R&D Memo as follows:

                         “Systems Engineers are a team of individuals traditionally
                         associated with ensuring that software supplied by Autonomy
                         meets the needs of the customers[’] existing systems …

                         Typically the work of an SE is the tailoring of Autonomy
                         software, or providing ‘proof of concept’ to customers to
                         demonstrate that the software meets their requirements”.

         (2)      The basic approach was stated in the R&D memo as follows:

                         “From discussions with Pete Menell, a list was provided
                         showing SEs who spent all of their technical time in Q3 09
                         developing SPE through trialling the software with real
                         databases. 75% of Q3 SE costs have therefore been capitalised
                         in line with the proportion measured and agreed with
                         HMRC.”203

         (3)      Dr Menell simply provided a list, later expanded by Mr Chamberlain
                  without apparent justification, of all Autonomy SEs, and the figure in the
                  R&D Memo represented 100% of all their ‘technical time’ (being 75%
                  of total time).


203
   75% was permitted by HMRC as qualifying ‘technical’ work for tax relief purposes; but as Ms
Gustafsson agreed the further implicit suggestion that 75% was an accurate estimate of the time spent
on SPE was obviously wrong. The notion that all the SEs had spent all their technical time on SPE was
absurd: it would have crippled the Autonomy group, as Mr Lucini pointed out.


                                              Page 496
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 498 of 900
Approved Judgment                                                             HC-2015-001324
Mr Justice Hildyard




1536. The Claimants submitted that it was plain and should be found that (i) none of
      the SEs in Mr Chamberlain’s list spent all of their technical time in the first three
      quarters of 2009 developing SPE by trialling the software with real customer
      databases; on the contrary, there is no evidence that any of these SEs spent any
      of their time in the first three quarters of 2009 doing that, with one minor
      exception of one SE, who spent some time assisting Mr Lucini with the
      construction of the SPE demo in Q3 2009. They submitted further that that
      conclusion was further justified by the complete absence of any of the evidence
      that might be expected if the SEs had been trialling SPE with clients, such as
      feedback and customer comments.

1537. The Claimants also submitted a shorter answer to the analysis in the R&D Memo
      based on Dr Blanchflower’s evidence to the effect that SPE did not come into
      existence until midway through Q3 2009 itself. They pointed out that it was a
      logical impossibility for the SEs, at any earlier stage during Q3 2009, let alone
      in Q1 or Q2 2009, to have been trialling with customers a product that had not
      yet come into existence.

1538. The amount ($2.5 million) allocated to development engineers (see paragraph
      1534 above) for work described in the R&D Memo as having been a “direct
      result of the new product, SPE” was calculated from spreadsheets showing the
      time spent on R&D by each of the development teams within Autonomy. Each
      development engineer’s salary as recorded for national insurance was
      extrapolated and then multiplied by the days recorded as having been spent by
      that engineer on R&D work. Ms Gustafsson told me in cross-examination that
      the attribution of $2.5 million to SPE, out of a total of $6.94 million capitalised
      for R&D work for development enquiries, was based on a “sort of qualitative
      context around the development of SPE that you can’t do in a spreadsheet.”

1539. On that somewhat opaque basis, the R&D Memo asserted, for example, that it
      was likely that “over half” of the $62,589 of R&D time incurred by the
      Cambridge team was attributable to SPE, and a round figure of $400,000 was
      taken as the value of the time spent by that team on SPE. Ms Gustafsson told
      me, when asked what was the source of the assertion of the proportion of R&D
      time spent on SPE by the Cambridge team, that she could not remember
      specifically but “I would speculate that it would have been Pete”. She
      confirmed that she had no recollection of having spoken to Dr Blanchflower,
      who was based in Cambridge and head of R&D, about how much time he and

         his team had actually spent. I accept Dr Blanchflower’s evidence and find that
         she had not done so. His evidence was that the value of time spent by the
         Cambridge team was a maximum of £24,000.

1540. The Claimants made the further point that on Dr Lynch’s own case SPE
      predominantly involved reconfiguration of IDOL. The R&D Memo asserted
      that a number of other Autonomy development teams – Discovery Mining,
      iManage and Web Content Management (“WCM”) – in total incurred $2 million


                                          Page 497
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 499 of 900
Approved Judgment                                                                HC-2015-001324
Mr Justice Hildyard


         worth of time in the development of SPE. But IDOL was the responsibility of
         the Cambridge development team led by Dr Blanchflower . His evidence was
         that other teams did not have access to the IDOL source code, which was only
         available to the Cambridge development team, and they played no part in the
         development of IDOL. Accordingly, it is inherently unlikely that they would
         have played any part in the development of SPE. When it was put to Dr
         Blanchflower that he was not in a position to know what work was being done
         by the WCM team in 2009 he answered firmly but fairly:

                      “Was I aware of everything that the WCM team were doing? No. Were
                      they working towards SPE? No. But I didn’t know all of the details of
                      what they were doing, correct.”


1541. The Defendants’ response to this barrage sought to re-address the origin,
      substance and worth of SPE:

         (1)      SPE was a real product which predated the hardware sales: it was “not
                  some kind of a blind for the hardware costs”.

         (2)      Long before the Loudham Hall meeting, Dr Lynch had stated at the
                  January 2009 earnings call that:

                             “Now onto the really interesting one. Our probabilistic
                             structured technology is new technology which we’ve been
                             working on. We think that’s going to be very powerful
                             technology and that’s going to lead to a large market. And so
                             that’s something that we will see revenue start to come in, in
                             2009.”

         (3)      Contrary to the impression given in some of his evidence at trial, Dr
                  Blanchflower had regarded this as a potentially huge new product line
                  with “the potential to open an entire new market”. That view was shared
                  within Autonomy.

1542. With particular reference to the issue of R&D capitalisation:

         (1)      Much had been made by the Claimants about the capitalisation of R&D
                  costs in respect of SPE but this was a “peripheral area of the case”, with
                  no relevance to any part of the Claimants’ loss: the Claimants’ criticism
                  of lack of evidence and witnesses to speak to the matters was misplaced.

         (2)      The Claimants’ approach to the capitalisation of SEs’ time was flawed.
                  In particular, the SEs were in many ways and over a long period
                  “contributing to the development effort” with regard to structured
                  functionality.




                                               Page 498
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 500 of 900
Approved Judgment                                                                         HC-2015-001324
Mr Justice Hildyard


         (3)      Not only Ms Gustafsson and the finance department but also Deloitte
                  were evidently satisfied as to the amount of SE time being capitalised,
                  after careful testing.

         (4)      None of the Claimants’ witnesses could speak to what the true costs
                  which should be capitalised were. Dr Blanchflower “did not have the
                  expertise to comment on which costs should or should not be
                  capitalised”. Mr Lucini could not comment on what was involved: “He
                  had a customer-facing role and was not usually involved in the
                  development of products” nor was he in any position “to accurately
                  quantify the exact time spent by SE’s in relation to SPE.” Ms Gustafsson
                  was the only person directly involved in the accounting.

1543. The Defendants204 dismissed as unsupported by the evidence and unwarranted
      the suggestion that the statements about the derivation of marketing costs in the
      Q3 2009 Earnings Call were false.

1544. Dr Lynch pointed out that Mr Welham had listened to the call; Mr Welham
      confirmed that if he had heard anything misleading on that call, he would have
      raised it with his engagement partner, and that he did not have occasion to do
      that. Dr Lynch also maintained that none of the witnesses on whom the
      Claimants had relied had been in a position to give reliable evidence on how
      much was spent on marketing costs. Dr Blanchflower was not part of the
      marketing department, and nor was Mr Lucini. Mr Lucini told Morgan Lewis
      in an interview in December 2012 that it would be difficult to quantify the
      marketing costs for SPE.205

1545. Dr Lynch sought to downplay the role of Dr Blanchflower, describing him in
      written closing submissions as merely a “titular head of research and
      development…largely involved in IDOL development” to whom “not everyone
      in R&D reported” and who himself had “very little interaction with members
      of senior management other than Dr Menell.” He “did not have the expertise to
      comment on which costs should or should not be capitalised”; he could only
      speak to work on coding and not as to work streams more generally: it was stated
      that “he did not know what the SEs were doing on structured data, or to what
      extent that could properly be included in the R&D capitalisation.” More
      generally, his evidence on this aspect of the matter should be discounted: he
      “had a propensity to make firm statements as to matters that he was not involved
      in and could not recall”.




204
    Mr Hussain’s submissions barely addressed this aspect of the matter; but I have taken him to support
and adopt Dr Lynch’s submissions.
205
    Mr Lucini was cross-examined in relation to this: he clarified that all he was seeking to say at that
interview in 2012, and certainly as he saw the position now, was that he would not have known without
finding out from Ms Harris.


                                                 Page 499
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 501 of 900
Approved Judgment                                                                       HC-2015-001324
Mr Justice Hildyard


1546. Mr Lucini, similarly, was said not to have “handle[d] the area”. In
      crossexamination he admitted being aware of a long list of people in Autonomy
      involved in marketing, with at least some working on SPE,206 but acknowledged
      that he did not know precisely what they were doing:

                 “Q. You were not in the marketing department, so you would not
                       have known in detail the breakdown of the marketing
                       expenditure?

                        A.       That is correct.
                        …
                        Q.       Or what all the people in the marketing department were
                                 doing?

                        A.       No.

                        Q. You didn't have day-to-day responsibility for managing the
                             marketing of SPE?

                        A.       I did not.”

1547. Further, Dr Lynch contended that the documents in fact showed a number of
      activities being undertaken during the launch period, including (it was said) a
      “focused” advertising and briefing campaign for analysts and journalists and
      advertisements placed in trade publications. In addition, Autonomy spent
      considerable time and money briefing trade journalists and analysts about the
      product, which was said to have generated immediate interest amongst industry
      analysts and writers. Mr Lucini explained that there were also roadshows to
      what he described as “quite a lot of people”, specifically analysts, press and
      customers.

1548. Dr Lynch had been advised there was a soft launch of the product through the
      beta programme. Despite being subjected to a lengthy cross-examination
      regarding the roll-out of this programme, Dr Lynch did not have a detailed
      understanding of its delivery, and made it clear that his understanding derived
      from documents he had seen subsequently. He told me he could only
      “speculate” about these things that went on “far below his level”.

1549. He emphasised that in any event, at the time (i.e. October 2009), he believed
      SPE to be in the beta phase, and submitted that was a reasonable belief on the
      basis of the documents. His view was that a beta programme would typically
      involve two aspects: a process of gathering up interest and testing of the product.



206
   The cross-examiner did not clarify in every instance whether the individual was working on SPE. 229
Often referred to in the documents as “CLSP” or “CL+SP”.


                                               Page 500
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 502 of 900
Approved Judgment                                                            HC-2015-001324
Mr Justice Hildyard


           Such programmes were normally run through the Customer Liaison Support
           Program,229 who were the experts in this area. He contended that the evidence
           showed this happening in the case of the SPE beta programme: participants


           registered for the beta programme via Autonomy’s website, 207 and the
           registrations were forwarded to telesales to take up with the customer.

1550. Though Dr Lynch said that this likewise was a process that took place “way
      below” his level as CEO, he told me he believed that the Quick Start programme
      was also ongoing as of October 2009 and referred to documents such as a
      request to approve the purchase of servers for the “SPE Early Starter program”
      in October 2009. He relied especially on Dr Blanchflower’s acceptance that
      VMS participated in the Quick Start programme in early 2010. With his usual
      reverence for anything “secret squirrel” Dr Lynch told me that he believed that
      some of the first customers that received SPE through the beta/Quick Start
      programmes were likely to have been intelligence customers.

1551. Dr Lynch also maintained that, contrary to the Claimants’ presentation, there
      was also expenditure on customer seminars, and customers had been flown to
      seminars, called “Customer Innovation Forums” or “CIFs”, in (so he believed)
      Cliveden, Napa Valley and Mexico. There was some documentary material, not
      mentioned by the Claimants, demonstrating both that CIFs were taking place in
      Cliveden (for UK/EU customers) and Napa Valley (for North American
      customers) in October 2009, and that Autonomy was responsible for customers’
      air fares (though as I elaborate below, nothing in the document seemed to
      suggest that they were SPE-specific).

1552. Dr Lynch’s written closing submissions also went into some detail about the
      marketing and use of SPE after its launch, instancing a number of case examples
      of it being presented (and more occasionally deployed by Autonomy in
      Interwoven products). Also instanced was an internal Autonomy email to
      (amongst others) Mr Lucini and Dr Blanchflower dated 3 February 2010
      reporting that a demonstration of SPE to a VMS representative had gone very
      well: “he was pleased with the results and sees great potential in
      SPE…[and]…took away from this both a very positive impression of SPE as
      well as a great concrete example of how it could solve problems for his own
      needs…” .

1553. However, Dr Lynch’s over-arching point was that he was not directly involved.
      He had understood that the finance department had determined properly R&D
      costs by reference to the proportion of SE and Development Engineers’ time
      costs at the rate agreed by HMRC but he was not involved in the R&D
      capitalisation, did not know any detail in relation to it, gave no instructions in
      relation to it, and was not involved in the production of the R&D Memo or
      speaking to Deloitte about it.



207
      The SPE page on Autonomy’s website included a link for registration.


                                                 Page 501
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 503 of 900
Approved Judgment                                                             HC-2015-001324
Mr Justice Hildyard


1554. Similarly, he maintained that he depended on what he was told as to marketing
      costs. He said he was not involved in the beta or Quick Start programmes: he
      had been informed of the plan for the soft launch of the product via a document
      and was entitled to rely on its accuracy. He acknowledged having approved an
      item of spend for SPE, but that was all: as CEO, he was not involved in
      approving everything spent.



1555. Likewise, he asserted that he was entitled to rely on the documents given to him
      as the basis for his statements on the Q3 2009 Earnings call, including the
      figures he gave.
Summary
1556. After this rather lengthy digression into the detailed evidential dispute about
      SPE, I turn to my assessment as to whether, as the Claimants submitted in their
      written closing, (a) both Defendants “knew that the statements in the Q3 2009
      Quarterly Report and on the Q3 2009 earnings call about Autonomy’s R&D
      capitalisation being primarily attributable to SPE were false” and (b) in the Q3
      2009 Earnings Call, knowing already from (and as set out in) the Strategic Deals
      Memorandum that Autonomy was intending to treat $19.5 million of hardware
      costs as sales and marketing expenses,

               “Dr Lynch lied about the sales and marketing and COGS expenditure on
               SPE in Q3 2009…to enable Autonomy to cover up the very substantial
               costs it had incurred in the quarter on buying pure hardware and which it
               was treating as a sales and marketing expense.”

1557. It is reasonably clear, in my view, that the R&D Memo was to a considerable
      extent a concoction. The figures given for the time cost of SEs was greatly
      exaggerated (well beyond any acceptable margin). It was based on (a) a list of
      SEs initially provided by Dr Menell but then enlarged by Mr Chamberlain who
      (I accept and find) cannot have had any sufficient reason to suppose had done
      any work on SPE; (b) treating all those on this artificially enlarged list (as I find
      it to have been) as having spent 100% of their technical time on SPE, which was
      entirely unrealistic.

1558. My impression that the amount attributed to SE time costs, which was the most
      important element of the capitalisation costs, was contrived is fortified by: (a)
      the lack of any contemporaneous documentation showing any work done by the
      SEs in relation to SPE; (b) the lack of any witness evidence from SEs (including
      none from Mr Zanchini, all of whose technical time in Q1, Q2 and Q3 2009 was
      treated as having been spent on SPE, who works for Darktrace and must have
      been amenable to a witness summons); (c) Mr Chamberlain’s response to an
      email from Deloitte sent also to Mr Hussain and dated 14 October 2009, in
      which he blamed Deloitte for not having raised the issue of timesheets for SEs
      until too late, assured them that “the 75% is not a number picked out of the air”
      (which deflected from the real issue as to what, if any, time that was properly to


                                           Page 502
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 504 of 900
Approved Judgment                                                                HC-2015-001324
Mr Justice Hildyard


         be applied to) and under the guise of dealing with the issue “in a practical and
         sensible way” studiously ignored the actual request which was for an
         opportunity “to talk to 5 systems engineers to understand their role in the
         development”.

1559. Similarly, in my view the time cost attributed in the R&D Memo to development
      engineers was simply the say-so of Dr Menell and Mr Chamberlain with no feet
      in the facts. Had there been any intention to base the figures on fact, it seems to
      me inconceivable that Dr Blanchflower would have been entirely ignored in the
      process.

1560. The attribution of a capitalised sum of $2 million to the work of other Autonomy
      development teams in the development of SPE lacked any evidential support;
      and I agree that it is inherently unlikely that any of those teams played any such
      role in the development of SPE, given that they had no access to the IDOL
      source code.

1561. My view that the R&D memo was concocted disposes also of the notion that the
      Defendants (and more especially Dr Lynch) were entitled to rely on Deloitte’s
      approval of the R&D capitalisation figures. It was Mr Welham’s unchallenged
      evidence, and it seems to me to be obvious (and I find), that Deloitte would not
      have accepted the $7.3 million capitalisation if they had known that the R&D
      memo had no real footing in fact. I accept and find also that the Audit
      Committee, who were dependent on what Deloitte reported to them, were
      thereby also misled.

1562. Focusing next on Dr Lynch’s justification of what he said at the Q3 2009
      Earnings Call about marketing costs and launch spend in the sum of “I think
      nearer $18/20 million, with about $4 million extra on the Quick Start program”:

         (1)      Dr Lynch’s suggestion, not pleaded and unstated in his witness statement
                  and skeleton argument, was that his reference needed to be read in the
                  context of what he said at the Q2 2009 earnings call and in a website
                  entry: it was, he said, a reference to Autonomy’s aggregate marketing
                  and launch spend for a couple of new products and was “more than just
                  SPE”. I do to think it is necessary for me not to say more than that (a)
                  having reviewed what he said in Q2 2009 there was nothing in it to
                  support this construction, and indeed it appeared to reinforce that he was
                  talking about SPE only; (b) the website similarly did not assist him. That
                  was further reinforced by evidence of the drafts provided by Dr Lynch
                  to direct Mr Hussain’s responses in email exchanges with an analyst at
                  Citibank called Mr Hoi Chuen Lam. In short, Dr Lynch’s suggestion of
                  some different meaning to what he said at the Q3 2009 Earnings Call in
                  this regard was a false expedient for which the only apparent explanation
                  is that he knew he had given inflated figures: and I find he did know that
                  accordingly.

         (2)      As to the five categories of SPE expenditure he referred to:


                                            Page 503
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 505 of 900
Approved Judgment                                                                 HC-2015-001324
Mr Justice Hildyard




                      i.    The Claimants always accepted that some $78,342 had been
                            spent on trade advertising.

                      ii.   There was no evidence of material expenditure in relation to
                            analysts.

                      iii. I would accept that, contrary to the Claimants’ case, there may
                           have been some events or meetings which might be said to have
                           been part of a “soft launch” but very little (if any) evidence of
                           an established beta programme.

                      iv. Similarly, there was little or no support for the suggestion that
                          material sums, let alone $4 million, were referable to the Quick
                          Start initiative with strategic customers. As the Claimants
                          observed, even Dr Lynch himself did not positively assert in his
                          witness statement that the Quick Start initiative had taken place,
                          and could not name a single site at which it was said to have
                          taken place apart from vague reference to there being one
                          “within the UK intelligence community”. None of his witnesses
                          (including Ms Pereira, who did address SPE) provided any
                          support either. No supporting evidence was provided. Dr Lynch
                          relied on assertions by his Investor Relations team and in the
                          draft “Q&A script” for which no more foundation was provided
                          either.


                      v.    The evidence that Autonomy had arranged and flown customers
                            in for trade seminars seemed to me to illustrate how little support
                            Dr Lynch had for his statements. None of it appeared to be
                            SPEspecific; the seminars were concerned with Autonomy
                            generally. It may be that SPE was to be mentioned at the seminar
                            as one of the “latest product developments”: but the only
                            material to which I was referred seemed focused principally on
                            Autonomy’s recent acquisition of Interwoven and “Autonomy’s
                            iManage brand”.

              (3) Whilst the figure of only $100,000 suggested by the Claimants as all that
                  had been demonstrated to be referable to marketing SPE may be too low,
                  I am satisfied that what Dr Lynch said at the Q3 2009 Earnings Call
                  about marketing costs and the Quick Start initiative had no foundation.

1563. The three questions which seem to me to remain are (a) what involvement Mr
      Hussain had; (b) Dr Lynch’s overarching point that he himself relied on others
      to verify what he was to say, and he believed what he said to have been true;
      and (c) subject to that, whether the falsities were deliberately aimed at disguising
      the hardware sales and costs.

1564. As to (a) above, Mr Hussain was the CFO, in charge of the finance department.
      The question of capitalisation of R&D costs was a matter within his



                                              Page 504
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 506 of 900
Approved Judgment                                                                HC-2015-001324
Mr Justice Hildyard


         responsibilities. There are clear signs that he conceived the use of R&D
         capitalisation to disguise hardware costs. I have taken the following from the
         Claimants’ analysis, which I accept and adopt:

         (1)      On 1 October 2009, Mr Hussain emailed Mr Chamberlain and Dr Menell
                  suggesting that the R&D for Q3 2009 should be $9.5 million, and
                  asserting (without any possible basis) that this was all “to do with the
                  enormous work pete and the team have been doing on the structured
                  probabilistic engine”.

         (2)      Mr Hussain was the sole recipient of Mr Chamberlain’s email of 7
                  October 2009 identifying a $2 million shortfall in R&D.

         (3)      He was copied on the email exchanges on 8 October 2009 regarding the
                  identification of SEs to include in the capitalisation, and was kept
                  informed by Mr Chamberlain of the fact that Ms Gustafsson would be
                  meeting Dr Menell to revise the R&D Memo.

         (4)      Mr Hussain was also copied on Mr Chamberlain’s exchanges with
                  Deloitte on 14 October 2009.

         (5)      In the context of justifying the R&D capitalisation, Mr Hussain also
                  provided to Mr Chamberlain, for relaying to Deloitte, a forecast of the
                  revenues that SPE was expected to bring in.

         (6)  Deloitte’s working paper dated 15 October 2009 duly recorded these
              figures as Mr Hussain’s estimate of the revenues that SPE would bring
              in.
1565. To my mind, this has all the hallmarks of the working of the cabal. There is no
      reason to suppose that Mr Chamberlain (Mr Hussain’s trusted deputy) or Dr
      Menell would have constructed a dishonest fraudulent analysis to support the
      R&D capitalisation, without Mr Hussain’s knowledge and approval. In my
      judgment, Mr Hussain knew that the R&D capitalisation was based on
      concocted figures. It seems more likely than not that he would also have known
      of the false ‘marketing cost’ figures.


1566. The Claimants speculated that this perhaps may explain why, on 18 October
      2009, shortly before the Q3 2009 earnings call, Mr Hussain wrote to Dr Lynch
      saying:


                      “I am burnt out...given my “anal” nature i am spending all my time
                      (awake and asleep) worrying about the 10 minutes on Tuesday where i
                      have to answer the analyst questions and i’m not doing anything else, i
                      need you to take the questions this time round unless they are really
                      easy, i don’t want to deal with the analysts anymore.”




                                               Page 505
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 507 of 900
Approved Judgment                                                             HC-2015-001324
Mr Justice Hildyard


1567. As to (b) in paragraph 1563 and Dr Lynch’s overarching point, far from being
      “best placed” to know as the Claimants asserted he was, Dr Lynch’s case was
      that:


         (1)      He was not involved in the R&D capitalisation, and there is no evidence
                  at all that he knew any detail of it or, as the Claimants suggested, gave
                  any instructions in relation to it.

         (2)      He was not involved in the R&D Memo and there is no suggestion he
                  spoke to Deloitte as part of the process.

         (3)      Nor was he involved in the detail of the sales and marketing work. He
                  was not involved in either of the beta or Quick Start programmes, both
                  of which went on far below his level as CEO. He was told there was to
                  be a soft launch of the SPE product in September, and that customer
                  seminars were ongoing. It was not put to him that anything in that
                  document was inaccurate, or intended to mislead; on the contrary, it
                  appeared to be accepted by the Claimants that this document accurately
                  represented Autonomy’s plan for the launch of SPE. Dr Lynch was,
                  accordingly, entitled to rely on it.

         (4)      The statements made by Dr Lynch on the Q3 2009 earnings call were
                  based on information he had been given and he had no reason to doubt
                  its veracity. As Dr Lynch explained, he was given drafts of the
                  presentations in order to prepare for the calls. The documents, which
                  show the Investor Relations team sending Dr Lynch the PowerPoint
                  presentation and Q&A, stated that the beta and Quick Start programmes
                  were underway, that the feedback had been positive, that $20m had been
                  spent on the new product launch, and that c. $3-4m had been incurred
                  due to overdemand on the Quick Start programme. This information
                  came from others in the organisation. If the information was inaccurate,
                  Dr Lynch was unaware of that.

         (5)      The Claimants did not take issue with Dr Lynch’s evidence that the
                  figures conveyed to the market had been given to him and prepared by
                  others: this was stated at §228 of his witness statement and was not
                  challenged even when repeated in cross-examination.
         (6)      In fact, very few documents involving Dr Lynch were put to him at all
                  on this area of the case. This underlined how little involvement Dr Lynch
                  had in any of the SPE development or launch process. For example, the
                  Claimants could only point to one instance of Dr Lynch approving a
                  marketing expense in relation to SPE. That email dealt only with one
                  aspect of the marketing campaign, namely advertisements in printed
                  trade magazines. The Claimants had produced no evidence that Dr
                  Lynch was personally involved in approving any other spend in relation
                  to SPE (in relation to its development or marketing).




                                            Page 506
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 508 of 900
Approved Judgment                                                               HC-2015-001324
Mr Justice Hildyard


1568. I accept that the documents do not establish his personal involvement. However,
      in my judgment, Dr Lynch would have known (and for the avoidance of doubt
      I find that he did know) that:

         (1)      There was no basis for the figures for marketing that he gave in the Q3
                  2009 Earnings call. No document has ever been identified in which
                  anyone in Autonomy’s finance department advised Dr Lynch that
                  anything approaching $18 or $20 million had been spent on sales and
                  marketing in relation to SPE in Q3 2009. Ms Gustafsson confirmed that
                  she was not involved in collating or calculating any such figures and had
                  no specific recollection that anyone else had done so either. Moreover,
                  it is wholly implausible that Dr Lynch, whose written approval had to be
                  sought for advertising spend of $144,830 (which he declined to give and
                  reduced to $80,000) would, unblinking and without detailed backing,
                  have accepted expenditure of $24 million.

         (2)      The R&D capitalisation figures had been produced by the cabal and were
                  similarly false. I cannot accept that all three would have kept from him

                  that the figures for SE and Development Engineers time costs and the
                  capitalisation amounts were a concoction. In my view, it is more than
                  likely that he was kept informed, and I find that he was so.

1569. The last issue to consider in the context of the Q3 2009 Earnings Call is whether
      the purpose of the falsehoods was indeed to disguise the hardware sales and
      costs (see (c) in paragraph 1563 above). The principal argument Dr Lynch
      advanced against this (in addition, obviously, to his case that he had no
      knowledge of any falsehood, which I have not accepted) was that “the
      Claimants’ arguments would have involved time travel” because (as briefly
      mentioned above):
                       Autonomy had announced its development work on SPE by early
                      2009, before the strategic hardware sales had even commenced. SPE
                      was plainly a real initiative, which predated the hardware sales by a
                      considerable period. Further, Autonomy did not know until after the
                      end of Q3 2009 that Deloitte would permit the allocation of any
                      hardware costs to sales & marketing; it makes no sense to imagine that
                      the development of SPE, and its launch in September 2009, was
                      conceived as a ruse to hide the fact that Autonomy s sales and
                      marketing expenses might include costs relating to hardware.”

1570. Of course, the question is not whether SPE and its development was a ruse. The
      question is whether what was said falsely about it was in order to justify the
      R&D capitalisation figures and the marketing and Quick Start costs which were
      presented.

1571. The answers provided by the Claimants, which I have done little to modify in
      my recitation of them below, seemed to me to expose the “time travel” argument
      as a bad point. The timing seems to me more to support the Claimants’ case than
      undermine it. Thus:


                                              Page 507
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 509 of 900
Approved Judgment                                                                    HC-2015-001324
Mr Justice Hildyard


                (1) In fact, the figure of $10-15 million for sales and marketing expenses
                    was announced, not in Q1 2009, but on the earnings call for Q2 2009.

                (2) That earnings call was held on 16 July 2009, not “back at the beginning
                    of 2009”.

                (3) By 16 July 2009, the meeting at Loudham Hall (on 8-10 July 2009), at
                    which Dr Lynch accepts that a programme of reselling hardware was
                    decided upon, had already taken place.

                (4) Accordingly, the suggestion that Dr Lynch announced a figure for the
                    sales and marketing expenses at a time when he could not have foreseen
                    the hardware sales is simply wrong. The hardware reselling programme
                    had already been decided upon.


                (5) It is true that Dr Lynch would not necessarily have known, as at 16 July
                    2009, precisely how much of the hardware costs would end up being
                    allocated to sales and marketing expenses. But that is a point against Dr
                    Lynch, not in his favour, because the figure of $10-15 million that Dr
                    Lynch announced on the Q2 2009 earnings call ended up being out by a
                    significant margin. As explained above, on the Q3 2009 earnings call,
                    Dr Lynch identified higher sales and marketing figures of $18-20 million
                    and an additional $4 million on the Quick Start programme.

                (6) The reason for the increase was that by the time of the Q3 2009 earnings
                    call, the actual hardware costs were now known to be $47.34 million of
                    which $28.37 million was allocated to sales and marketing.

                (7) Accordingly, the Claimants’ case does not depend on the proposition
                    that Dr Lynch had perfect foresight of the quantum of future hardware
                    costs, let alone that he had the power of time travel.

1572. I have concluded that both Defendants knew that the Q3 2009 Earnings Call so
      far as it related to SPE contained a series of falsehoods with the objective of
      concealing the hardware sales and costs.


Q1 2010 Earnings Call

1573. The Q1 2010 Earnings Call took place on 21 April 2010 during the Icelandic
      volcano eruption which spewed ash into the atmosphere and into flight paths
      and caused flights to be cancelled throughout the Northern Hemisphere. Dr
      Lynch’s evidence (which I accept) was that he participated on a mobile phone
      from California, having been unable to return to the UK. 208           23 0F




208
      The transcript of the Earnings Call refers to the poor line quality.


                                                     Page 508
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 510 of 900
Approved Judgment                                                                             HC-2015-001324
Mr Justice Hildyard


1574. As it is clear from the Q&A scripts209 prepared in advance to provide possible
      answers to questions that might be asked at the Q1 2010 Earnings Call, the
      Defendants anticipated that they would be asked about the large increase in
     Autonomy’s inventory to $10 million at the end of Q1 2010; and so it transpired.

1575. As they had planned, the Defendants answered these questions by saying that
      the inventory comprised $10 million of hardware purchased at the end of Q1
      2010 to take “advantage of discounted offers” in anticipation of an increase in
      appliance sales in Q2 2010 and beyond. Mr Hussain was careful to explain that
      the margin for such sales of Autonomy’s appliance product (Arcpliance) would
      still be “dominated by the software element”. Mr Daud Khan of JP Morgan took
      from this, reasonably in my view, that “the value of the appliance product that
      Autonomy was selling was in the software, and that there would be no particular
      impact on gross margin when the application was sold.” That extrapolation
      from what Mr Hussain said was not challenged or contradicted.

1576. The increase in Inventory and the explanation given for it generated a number
      of questions from analysts on the call:

                (1) Michael Briest at UBS asked the following:




                      “Could you talk a bit more about the Arcpliance product because clearly
                      the level of hardware purchase, and I guess maybe the level of sales
                      there, would be more than we’re used to?”

                (2) In response, Dr Lynch explained that Arcpliance was “a hardware box
                    which has all the software loaded on it” . He went on to state that the
                    “main driver for a sudden pick-up in Arcpliance purchases we think is
                    early case assessment” and continued:
                       It must be said that this is just one of the forms in which customers can
                      consume our technology. They can of course buy ECA, add software, set
                      up their own servers and put the software on it, or indeed it can be done
                      as a hosted offering as well. So really our approach is just to make the
                      technology available in whatever form that customers want. We don t
                      know whether this sudden burst of Arcpliance-type sales is a one-off
                      because of a response to things the regulator is doing at the moment or
                      whether it is part of a trend. I suspect it s probably more likely to be a
                      one-off, but we ll see how that unfolds.”




209
      I address the scripts in greater detail when considering the issue as to “guilty knowledge”.


                                                    Page 509
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 511 of 900
Approved Judgment                                                                 HC-2015-001324
Mr Justice Hildyard


              (3) Mr Briest asked a supplemental question: “Could you say what the
                  Arcpliance or appliance sales and hardware sales would have been in a
                  normal quarter? It seems a large number for Q1, going into Q2” .

              (4) In response, Dr Lynch said: “Yes. It would be a fraction of that kind of
                  number”.


1577. Dr Lynch was cross-examined especially closely on his answers. His flat and
      apparently unflustered delivery, sometimes so modulated as to become
      monotonous, could not disguise the fact that he was at a loss to explain his own
      answer. In his discomfort, he relied on external circumstances: his absence in
      California, the middle of the night, the poor line quality, his bad hearing, the
      possibility (which, as he went on, he promoted to a fact) that the transcript (one
      of two prepared each by different transcribers) was inaccurate (“all rather
      questionable”): but none was convincing, still less an answer. He was left
      asserting, without conviction, that in any event he was not sure, but he did not
      think, his statement on the call was misleading, and that in any case, “I don’t
      think the question as written makes a lot of sense to me in the context of the
      call.”

1578. The impression I formed that he was in this context left grasping at straws was
      consolidated by the further researches of the Claimants demonstrating that:

              (1) The two transcripts, one by Bloomberg, the other by Thomson Reuters,
                  were almost identical.

              (2) Dr Lynch’s suggestion that in that case both were wrong was not
                  supported by the audio version which the Claimants uploaded onto
                  Magnum (and which I have listened to at their request): the transcripts
                  seem to me accurately to record Mr Briest’s question and Dr Lynch’s
                  response.

1579. Further, although it is a subjective assessment, I do not consider that the audio
      version supports the suggestion that the line was very bad. There was some
      distortion, and some echo and hiss from time to time: but the quality was fairly
      good, and even making allowance for Dr Lynch’s hearing difficulties, I could
      not detect in the way or tone in which he responded any sign of uncertainty as
      to what the questions were. In particular, Mr Briest’s question was clear in the
      version I listened to, as was Dr Lynch’s response.

1580. Later during the call, Mr Khan asked a follow-up question to that asked by Mr
      Briest:
                      “Just a follow-up question to Michael’s question on the Arcpliance. If I
                      understand it right, the $10m that has gone into inventory, I’m just
                      wondering what the revenue would be for that amount of inventory and
                      when we are likely to see that. Are we going to see that in Q2 or is that
                      going to be spread across Q2 and Q3?”




                                               Page 510
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 512 of 900
Approved Judgment                                                                   HC-2015-001324
Mr Justice Hildyard


1581. Dr Lynch’s response (which appears in almost identical terms in the Bloomberg
      transcript which demonstrates that both the transcripts were accurately
      transcribed) was as follows:
                      “So the first question was on the Arcpliance. I’m afraid we are not going
                      to give you an exact number, because that’s rather commercially
                      sensitive. What I would say is that the software component of the revenue
                      is far higher than the hardware component. So the software is still the
                      bit that dominates in terms of the cost of an Arcpliance. It’s not the
                      hardware; it’s the software. Rather like on the Cloud side you may
                      remember it’s rather different from, for example, a normal hosting
                      situation.

                      In terms of the sale, most of that inventory has already been sold in Q2.
                      There might be a little bit that goes over the end, but at the moment it
                      looks like it may well all happen in Q2.”


1582. Dr Lynch’s answer was predicated on the fact that this hardware was to be used
      in connection with Arcpliance, in which the software element would dominate,
      and that most of the inventory had already been sold by that point in Q2 2010.
      The Claimants contended that the predicate and every part of his answer was
      false: the inventory related to pure hardware sales, the sales had occurred and
      the goods had been delivered in Q1 2010, but Autonomy had decided not to
      recognise the revenue in that quarter.

1583. Dr Lynch asserted, but provided no evidence to substantiate, his predicate that
      the inventory related to ‘Arcpliance’ or at least to a package sale of hardware
      and software from which the revenue related in substantially larger part to the
      software component. Even accepting for that purpose Dr Lynch’s evidence that
      when referring to ‘Arcpliance’, he meant any “regulatory appliance” and that
      the term “ appliance” could include not only hardware pre-packaged with
      software but also hardware supplied to be used with Autonomy/IDOL software
      to be supplied later (see his first witness statement), an analysis of the Q1 2010
      transactions which had given rise to revenue which Autonomy had deferred on
      the ground that, though shipped, delivery of the goods had not completed (as
      explained by Mr Chamberlain in an email to Mr Stephan (copied to Mr Welham
      dated 20 April 2010)) (see paragraphs 991 above) does not appear to support
      the predicate.

1584. Dr Lynch was asked by another analyst, Mr David Toms at Numis, to “just
      clarify the $10m or so of hardware revenue”. His answer, which was almost
      identically recorded in the two transcripts and for which the transcripts seemed
      to me consistent with the audio file, was as follows :
                      “David, I think you may have misunderstood what that revenue is. It’s
                      not hardware revenue. What it is is the selling of an appliance. … We
                      have very little interest in just selling hardware, and consequently the
                      revenue that that goes for is not related to the hardware cost. It’s solely
                      a component of that sale. So what we are not doing here is acting as a


                                                Page 511
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 513 of 900
Approved Judgment                                                                HC-2015-001324
Mr Justice Hildyard


                      generic company that resells hardware, like a Morse or something like
                      that. Obviously those people do that business and we have no interest in
                      it.”


1585. The Claimants rejected this answer as a lie. They submitted that Dr Lynch had
      no credible explanation when Mr Rabinowitz put to him in cross-examination
      that the hardware in question was not related to an appliance; and that acting as
      a hardware reseller was exactly what Autonomy was doing.

1586. However, although Dr Lynch may have been a little uneasy with his analogy
      with Morse, he seemed to me to be much more comfortable and consistent, and
      thus more convincing, in essentially repeating to me Autonomy’s justification
      for the hardware reselling strategy, to the effect that the programme was not an
      end in itself, or a separate business; that its purpose was to protect and promote
      Autonomy’s core software business; and that Autonomy was not acting as a
      hardware reseller because it had no interest in selling hardware except to
      promote its software business and what it did was all ancillary to that business,
      as demonstrated by the fact that it was doing so at a loss.

1587. The difficulty for Dr Lynch, as it seems to me, is not in the distinction; it is in
      the fact that it was not an explanation he uttered or even hinted at in the Q1 2010
      Earnings Call (or in any of these Earnings Calls under review). Ultimately, what
      was not said at any of the Earnings Calls was the most important point of all.

1588. Unsurprisingly, therefore, Analyst reports published following the call stated
      that Autonomy’s hardware inventory related to appliance sales. Thus, a KBC
      Peel Hunt report written by Mr Morland referred to what in truth was a
      balancing item for deferred revenue as the “$10m Arcpliance stock”.

Q2 2010 Earnings Call

1589. The Q2 2010 Earnings Call took place on 22 July 2010. The only part of the
      call which the Claimants relied on in the context of their hardware claims related

         once more to the $10 million inventory entry that had been discussed on the
         previous call.

1590. As usual, Q&A scripts had been prepared. As in the case of the Q&A scripts for
      Q1 2010 I address the content of the scripts earlier. In summary, the scripts show
      that it was anticipated that questions would focus on what was the hardware
      content in Arcpliance, and what would be the effect of sales of the Inventory on
      organic growth. Again, that was the focus of some of the questions in fact asked
      at the Earnings Call. An analyst, Mr Rajeev Bahl of Piper Jaffray, who prefaced
      his explanation saying that he “wanted to dig into the gross margin question a
      little”, asked whether this “spike in appliance sales” had affected gross margin.

1591. In answer, Dr Lynch described the impact of appliance sales on gross margin as
      an “exceptional” situation, with “the appliance model [accounting] for about
      1%”. He remained altogether silent about the hardware reselling strategy: he
      said nothing about the loss-making hardware sales or their effect on gross


                                               Page 512
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 514 of 900
Approved Judgment                                                             HC-2015-001324
Mr Justice Hildyard


         margin. Dr Lynch maintained that he was entitled to say nothing, since the
         question did not ask about hardware sales generally: it was confined to the effect
         of appliance sales.


1592. The problem with that line, in my view, is that Dr Lynch never admitted to any
      hardware sales except “appliance” and Arcpliance sales. Indeed, although he
      initially confined “appliance sales” to sales of hardware “in order for Autonomy
      software to be loaded on it”, by now Dr Lynch increasingly deployed the term
      “appliance” and Arcpliance sales to cover and disguise hardware sales. In such
      circumstances, I do not consider Dr Lynch’s response to be complete and
      truthful.


Conclusion on Hardware Sales Issue 1


1593. In my judgment, this exploration of the contemporaneous documentation plainly
      supports the Claimants’ case that, whatever its purpose at inception, the
      hardware reselling strategy soon and, increasingly, became an addictive means
      of meeting market expectations of revenue maintenance and growth. What the
      Defendants asserted to be the purpose of the programme either initially was, or
      as soon as the size of the potential revenue source was apparent became, a
      pretext to justify accounting for the hardware revenue as part of the software
      business revenues without separate identification. Neither the fact that the
      pretext appeared rational nor that Mr Sullivan and Mr Egan accepted it, alters
      that conclusion: the justifications and pretexts offered by the Defendants in their
      relentless search for revenue were invariably rational and believable but, in my
      judgment, they were pretexts nonetheless.

1594. As I mentioned earlier, although the ‘purpose’ case and the ‘disclosure’ case
      have for the purpose of analysis, been separately examined, they are inseparable.


1595. The real objection to the hardware sales was not that they were to raise revenue
      and were loss-making; it is the fashioning of the pretence, principally for the
      consumption of Deloitte and the Audit Committee, that their purpose was
      ‘marketing’ or to bring more substance to that elastic term, to promote the
      software business by deepening relationships with hardware suppliers and
      leveraging discounted hardware sales to generate more high margin software
      sales. Their true driving purpose was never, and could never be disclosed:
      because that true purpose was to generate revenue in order covertly to make
      good shortfalls in software business revenues by including hardware revenue
      without differentiation or disclosure in Autonomy’s accounts and reports as if it
      had been generated by Autonomy’s ‘pure software’ business.

1596. Purpose, pretence and non-disclosure combine and support each other to expose
      and prove the impropriety. Had the true purpose of the hardware sales been
      ‘marketing’ (as that word is above elaborated) the Defendants would have
      wished to publicise it energetically. Had the pretence not been maintained,



                                           Page 513
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 515 of 900
Approved Judgment                                                             HC-2015-001324
Mr Justice Hildyard


         Deloitte and/or the Audit Committee would not have approved the accounting
         treatment. Both concealment of the sales, and in particular their cost in
         Autonomy’s accounts and other published information, were necessary because
         revelation of Autonomy’s use of hardware sales, and the erosion of gross margin
         would have nullified their true purpose and exposed that Autonomy’s software
         business was not generating the accelerating revenue and profits which the
         market looked for and which sustained its share price.


1597. In my judgment:


              (1) The hardware reselling programme was conceived, expanded and
                  implemented in order to enable Autonomy to cover shortfalls in software
                  revenue by selling hardware and including the revenue without
                  differentiation in revenue shown in the accounts as generated by
                  Autonomy’s software business.

              (2) To succeed the hardware reselling had to be concealed from the market,
                  but sufficiently revealed to Autonomy’s auditors and audit committee to
                  secure their apparently fully informed approval of the company’s
                  accounts.

              (3) The imperative that the reselling should be concealed from the market
                  required a number/variety of accounting devices which had to be
                  presented in such a way as to secure the approval of Deloitte and the
                  Audit Committee. In particular, their approval had to be secured to treat
                  the costs of the hardware reselling programme not as COGS which
                  would have eroded gross margin and encouraged both analyst and
                  market inquiry and concern, but instead as ordinary sales and marketing
                  expenses which had no such adverse effect on key investment
                  parameters.

              (4) The means by which this difficult balancing act was achieved are set out
                  in my judgment. Suffice it to say that Deloitte and the Audit Committee
                  were persuaded to regard the purpose of all hardware sales as being to
                  generate revenue and new orders for the software business, and to
                  account for hardware costs accordingly.
              (5) The strategy also required that the contribution of hardware reselling
                  revenues to overall revenues should be disguised or concealed, and that
                  again the auditors and Audit Committee nevertheless being satisfied that
                  such disclosure as was given was sufficient. That balancing act also was
                  successfully achieved.

              (6) The true purpose of the hardware reselling strategy/programme lacked
                  any commercial justification and was dishonest. The true purpose had to
                  be camouflaged in the way it was presented to Deloitte and the Audit
                  Committee in order to obtain their approval for an accounting treatment
                  which concealed it.

              (7) The Defendants were well aware of this.


                                           Page 514
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 516 of 900
Approved Judgment                                                             HC-2015-001324
Mr Justice Hildyard


              (8) Although I presently have doubts that this justifies the quantum of loss
                  in the amount claimed in respect of it, since Autonomy was still a
                  valuable company with an “almost magical” signature product, in terms
                  of liability the Claimants’ hardware case has clearly been established.


Issue 2: Was Autonomy’s published information untrue or misleading by reason
of the hardware sales, and did the Defendants appreciate this?


1598. Notwithstanding the fact that the Claimants spent the larger (or certainly the
      longest) part of their written submissions on the ‘purpose’ case (and I have
      followed suit), the Claimants did state that irrespective of the Defendants’
      purpose in relation to the hardware reselling strategy, Autonomy’s published
      information was untrue or misleading by reason of the hardware sales and since
      the Defendants appreciated this, that was enough to establish liability, even
      though if the purpose was as alleged by the Claimants the position was a fortiori.
      Indeed, in his oral submissions and especially in reply, Mr Rabinowitz described
      this as the primary way in which the Claimants put their claim.

1599. My conclusion that the Claimants should succeed on their a fortiori case, if
      correct, renders Issue 2 superfluous. However, in case I am found to have been
      wrong, and in deference to the fact that, sometimes at least, the Claimants
      presented this as their primary case, I address the rather different foundations of
      this way of putting their case below.

1600. Before doing so, however, I should make clear that, contrary to what I took Mr
      Rabinowitz to be suggesting (especially in his Reply), I do not regard this
      alternative way of putting the Claimants’ case (whether primary or not) to offer
      a simpler solution for them. As I have sought to explain, in my view, purpose
      and intention, pretence and concealment are all ultimately inter-related. It
      seems to me unrealistic in dealing with the third (concealment), which is what,
      in effect, the Claimants argued the statements in question amounted to or
      achieved, to be indifferent as to purpose. Further, it is unclear whether, in
      assessing whether the statements in question were misleading, the exercise to
      be undertaken in the ‘primary’ case is to be so on the basis that the purpose was
      as the Defendants asserted it to be. That is bound to affect the issues of intention

         and honesty. This may all also help to explain why I have taken the ‘purpose’
         case first.

The Claimants’ alternative case

1601. There are four main strands to the Claimants’ alternative case:

              (1) whether Autonomy made statements in its published information that
                  were untrue or misleading in light of the fact of the hardware sales and,
                  if so, whether the Defendants knew those statements to be false or were
                  reckless as to whether such statements were true or misleading;


                                           Page 515
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 517 of 900
Approved Judgment                                                               HC-2015-001324
Mr Justice Hildyard




              (2) whether Autonomy’s published information omitted matters relating to
                  the hardware reselling strategy which were “required” to be stated, and,
                  if so, whether the Defendants knew the omission to be (quoting s. 90A
                  (3) of FSMA) “dishonest concealment of a material fact”.

              (3) whether the accounting treatment of the costs of the hardware reselling
                  of itself caused the accounts and Autonomy’s published information to
                  be untrue or misleading, and, if so, whether the Defendants appreciated
                  this; and

              (4) whether Autonomy was in any event required to make clear in its
                  published information what its accounting policy was with respect to
                  hardware reselling and its costs, and if so, whether the Defendants
                  appreciated this or knew the omission to be (quoting s. 90A (3) of
                  FSMA) “dishonest concealment of a material fact”.


Statements made in Autonomy’s published information

1602. The Claimants described this first strand, relating to positive statements made
      in Autonomy’s published information, as involving “the simple exercise of
      comparing what Autonomy chose to say to the market with the true facts…”. It
      did not depend on expert evidence: the experts agreed, and it might have gone
      without saying, that Autonomy was not free under any applicable accounting
      statements to make untrue or misleading statements. The arresting fact that
      provides the context for this strand of the Claimants’ case is that Autonomy’s
      published information did not, anywhere, make clear that it was selling material
      amounts of hardware otherwise than as part of a sale of Autonomy software
      (what the Claimants called “pure hardware”). Even Autonomy’s corporate
      broker (UBS) was unaware of that.

1603. The Claimants relied on the following statements by Autonomy as having been
      untrue or misleading:

              (1) The description of itself as a “pure software company”, combined with
                  references to “appliance” sales as comprising only a “small part” of
                  Autonomy’s business;
              (2) The description it chose to give in the narrative or ‘front end’ of each of
                  its Quarterly Reports from Q3 2009 onwards and in its 2010 Annual
                  Report of the categories comprising its revenue, particularly in
                  “Supplemental Metrics” purporting to give a breakdown of its total
                  reported revenues which made no mention of hardware sales and instead
                  treated them as sales of “IDOL Product”;

              (3) The description in its 2009 Annual Report in the “Revenue Recognition”
                  section within the “Significant Accounting Policies” of the nature of the
                  transactions entered into by the Autonomy group during 2009 as “the


                                            Page 516
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 518 of 900
Approved Judgment                                                                HC-2015-001324
Mr Justice Hildyard


                      same as in 2008 in all respects”, which disguised the fact that whereas
                      in 2008 Autonomy had not carried out any material pure hardware sales
                      in 2009 it sold $53.6 million of it;

              (4) Its inclusion within the metric “organic growth” (connoting, so the
                  Claimants contended, growth attributable to sales of IDOL software)
                  revenues from loss-making hardware sales, which were not sales of
                  IDOL software at all.

The relevance of what the Defendants intended the representations to mean


1604. It is important to have in mind at the outset the relevant legal tests to be applied
      in the context of determining whether (as the Claimants submitted) the positive
      statements they identified falsified Autonomy’s published information and give
      rise to liability on the part of the Defendants in respect of that published
      information under FSMA or in the tort of deceit.

1605. The Claimants pleaded and tended to present this as a matter of determining
      what the words used would have conveyed to a “reasonable reader.” Thus, for
      example, their pleading as regards the statements, said by the Claimants to have
      been false and misleading and to have misled them, was (in relevant part) as
      follows:

                      “In describing itself as a “pure software” company, Autonomy was, in
                      part, seeking to distinguish itself from companies which derived a
                      significant portion of revenue from the provision of services. However,
                      the description of Autonomy as a “pure software” company in
                      Autonomy’s published information, the express reference in that
                      published information to appliance sales, and the provision (as pleaded
                      in paragraph 61.5 below) in the published information of a breakdown
                      of revenue categories which together added up to total reported revenue
                      for the period in question and yet made no reference to hardware,
                      would, individually or cumulatively, have conveyed to the reasonable
                      reader:


                      53A.1. that Autonomy was not engaging in any (or any material) sales
                      of hardware apart from appliance sales or, at the very least, was not
                      engaging in any (or any material) pure hardware sales; and/or


                      53A.2 that any revenue from hardware sales (apart from appliance
                      sales) and/or from pure hardware sales was lower than the revenue from
                      appliance sales (which were stated to be a small part of Autonomy’s
                      business); and/or




                                               Page 517
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 519 of 900
Approved Judgment                                                               HC-2015-001324
Mr Justice Hildyard


                      53A.3 that any revenue from hardware sales (apart from appliance
                      sales) and/or from pure hardware sales was lower than the reported
                      revenue from Services.”


1606. However, though what the “reasonable reader” would have understood is a
      necessary question to be answered, the answer is not sufficient where the gist of
      the claim is an allegation of dishonesty and deceit.

1607. As the Defendants contended and, as a matter of law, ultimately the question is
      not what the objectively ascertained ‘best’ interpretation of the statements is,
      but what the Defendants understood and intended the statements in question to
      convey. As Mr Miles observed, this is not a contractual dispute in which the
      search is for the meaning most likely to accord with the intention of the parties
      as objectively derived from the words they used and the context in which they
      used them, set in the context of the factual matrix. This is a claim of dishonesty;
      and a man is not dishonest simply because he uses words which are
      misunderstood: he must be shown to have had an intention to mislead, or at the
      very least, to take advantage of a misunderstanding.

1608. I have analysed the case law as to the proper approach in the Introduction to this
      judgment at paragraph 460 et seq above. Put shortly, it seems to me to be well
      established that:


              (1) The claimant must prove what his/her own understanding of the
                  statement in question was.

              (2) Where the words used are entirely unambiguous, plainly misleading and
                  admit no other understanding of them, and the claimant’s understanding
                  accords with the only available meaning, it will be difficult, if not
                  impossible, for the defendant to show that he/she intended some other
                  meaning. The Claimants ultimately (in Mr Rabinowitz’s oral reply)
                  submitted that to be the position in this case.

              (3) Where, however, two or more interpretations are possible, the search is
                  not for the most likely objective meaning of the statement in question,
                  but for the intention behind its use.

              (4) It is then for the defendant to make clear that he/she intended the
                  statement to have some meaning other than that understood by the
                  claimant; and in practice it will be incumbent on him/her to assert clearly
                  which of two or more available meanings he/she intended, and the basis
                  of that assertion. That is a factual matter.

              (5) Theoretically, a defendant could have had in mind a meaning which the
                  court considers not to be available on the words of the statement: and
                  that could theoretically suffice. But in such a case, the difficulty of
                  demonstrating such an extravagant or unlikely meaning may be


                                             Page 518
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 520 of 900
Approved Judgment                                                                 HC-2015-001324
Mr Justice Hildyard


                      insuperable as a matter of evidence, especially given that there would
                      then be a question of whether the defendant was aware of the obvious
                      meaning, and thus reckless as to how it would be likely to be understood,
                      even if he/she did not intend that meaning.

The representation that Autonomy was a ‘pure software company’

1609. As already explained in the context of the first issue, focused on the purpose of
      the hardware reselling and its concealment, the Claimants submitted that the
      statements in Autonomy’s Annual Reports that Autonomy was a “pure software
      company”, especially when combined with references to the fact that
      “appliance” sales represented but a “small part” of Autonomy’s business, were
      untrue or misleading in view of the nature and extent of the ‘pure’ hardware
      sales actually being transacted. The Claimants’ alternative case was that even if
      the purpose of the “pure hardware” sales was as asserted by the Defendants,
      the phrase was nevertheless intentionally misleading.

1610. It may be helpful to reiterate why that was said to be so. According to the
      Claimants, the phrase would have conveyed to the reasonable reader that:

              (1) Autonomy was not engaging in any (or any material) sales of hardware
                  apart from appliance sales, or in the very least was not engaging in any
                  (or any material) pure hardware sales, and/or

              (2) any revenue from hardware sales and/or pure hardware sales (apart from
                  appliances) was lower than the revenue from appliance sales, and/or

              (3) any revenue from hardware sales (apart from appliance sales) was lower
                  than revenue from Services.

1611. The Claimants submitted that a “reasonable reader” of these statements could
      not have understood that, although Autonomy did not depend on any significant
      income from the provision of services, its business model did, by contrast,
      depend on material income from what they described as “other non-pure
      software activities”, such as conducting a significant hardware reselling
      business.

1612. In that regard, the Claimants submitted that by carefully identifying very limited
      occasions or cases when it sold appliance hardware, Autonomy further
      strengthened the impression given that those were the only exceptions to its
      “pure software model”.
1613. As to the comparison with the true facts, the Claimants contended, the total
      revenue generated by hardware sales over the Relevant Period amounted to
      approximately $200,000,000 and constituted approximately 11% of the total
      reported revenue from Q3 2009 to Q2 2011. These amounts dwarfed both
      appliance sales and the revenue from Services. Accordingly, the Claimants
      contended, each of the representations which they submitted were conveyed by
      the statement was false.


                                               Page 519
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 521 of 900
Approved Judgment                                                             HC-2015-001324
Mr Justice Hildyard




1614. Against this, however, the Defendants denied that any such representations were
      conveyed by the statements made. They submitted that the Claimants’ case is
      based not on what was actually said, but on their interpretation of the phrase’s
      broader message, which the Defendants did not accept.

1615. In any event, the Defendants objected that that was not the meaning the
      Defendants understood to be conveyed by the phrase, nor did they anticipate
      that it might be so construed.

1616. The Defendants did not accept the Claimants’ contention that the statement was
      unambiguous. Mr Miles submitted that even if the statements in question could
      be read as connoting that Autonomy made no or no substantial hardware sales,
      the words certainly did not unambiguously convey that meaning. I agree with
      Mr Miles:

              (1) In their pleading, the Claimants accepted that the description of
                  Autonomy as a “pure software company” was intended to mean “in
                  part” that it did not derive “a significant portion of revenue from the
                  provision of services”. The possibility that the phrase could have meant
                  only that appears to be countenanced even by the Claimants.

              (2) The fact that the representations could be read and understood as simply
                  distinguishing Autonomy from software companies which had a
                  substantial servicing business is plain from the fact that they appear so
                  to have been understood by Deloitte and the Audit Committee.

              (3) Similarly, it seems to me an available meaning was that Autonomy
                  carried on a one segment software business (in line with the segmental
                  analysis) and no separate or self-standing hardware business.

              (4) In other words, what the Defendants contended they meant was well
                  within the range of possible meanings to be attributed to the phrase: it
                  could mean that, or it could mean more.

1617. I also agree with Mr Miles that in such circumstances, what the Claimants had
      to prove was both they and that, contrary to their evidence, either the Defendants
      understood and intended the words to denote that Autonomy made no
      substantial hardware sales, or they were aware that the words were ambiguous
      and intentionally used the ambiguity for the purposes of deception.

1618. As to their own understanding, the Defendants maintained that what they
      thought the statement that Autonomy was a “pure software model” or a “pure
      software company” meant was that Autonomy did not have a substantial
      percentage of revenues deriving from professional services.

1619. That, Dr Lynch told me, was worth stating because it was rare amongst software
      companies at the time because generally software sellers in the enterprise sector


                                           Page 520
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 522 of 900
Approved Judgment                                                                 HC-2015-001324
Mr Justice Hildyard


         had to do a lot of customisation work on the product for every implementation.
         By contrast, he said, standard IDOL required little customisation and
         Autonomy’s business model was to contract out implementation work to be
         done by approved partners. This was an important point of difference marking
         out Autonomy’s business modelling: and there was good reason to bring it out
         in its published information.

1620. The Defendants’ case was that they thought that this was clear from the context
      in which the phrase appeared, and from the Reports in which the statements
      appeared read as a whole.

1621. Thus, the 2009 and 2010 Annual Reports stated that:

                      “Autonomy is one of the very rare examples of a pure software model.
                      Many software companies have a large percentage of revenues that
                      stems from professional services, because they have to do a lot of
                      customisation work on the product for every single implementation. In
                      contrast, Autonomy ships a standard product that requires little
                      tailoring, with the necessary implementation work carried out by
                      approved partners such as IBM Global Services, Accenture and others.”

         Read in context, they submitted that the phrase says nothing about whether
         Autonomy sold hardware, or how much it sold.

1622. The Defendants relied also on the explanation in its 2010 accounts, as follows:

                      “Many software companies have a large percentage of revenues
                      that stem from professional services, because they have to do a
                      lot of customisation work on the product for every single
                      implementation. In contrast, Autonomy ships a standard product
                      that requires little tailoring, with the necessary implementation
                      work carried out by approved partners such as IBM Global
                      Services, Accenture and others.”


1623. The point was repeated at page 18 of the document, where Autonomy set out
      the proportion of its revenues derived from services, as it had to under IAS 18:

                      “Services. Services revenues relate to third party and internal
                      implementation consultants and training. Services revenues remained
                      flat in 2010 at approximately 5% of revenues (or $10 million to $11
                      million per quarter) (2009: $9 million to $11 million per quarter).
                      Autonomy operates a rare "pure software" model under which our goal
                      is that most implementation work is carried out by approved partners.
                      This optimises Autonomy’s ability to address its horizontal technology
                      to multiple vertical markets and regions in the most efficient way.”




                                               Page 521
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 523 of 900
Approved Judgment                                                                            HC-2015-001324
Mr Justice Hildyard


1624. The Defendants added to their own insistence that the statements could not be
      taken to mean that Autonomy did not sell hardware 210 the contention that in
      point of fact that was not how the statements were understood either by
      Autonomy’s auditors, or by the Claimants’ own witnesses; nor indeed by HP
      and those acting for it, until later when the exigencies of formulating a claim
      made it expedient for them to contend otherwise.

1625. As to Deloitte, who had a detailed knowledge of the volume and nature of the
      hardware sales:

                (1) Mr Welham stated in his evidence when cross-examined in the US
                    criminal proceedings that he understood the reference to “pure software
                    model” as distinguishing Autonomy from software companies that have
                    a large percentage of revenues that stem from professional work234: and
                    that he did not understand the phrase to mean that Autonomy only sold
                    software. He expressly confirmed that evidence when cross-examined in
                    these proceedings. Further, he told me that he did not think that the
                    reference to the “pure software model” in the 2010 Annual Report, “in
                    the context it was placed in”, was in any way inconsistent with the fact
                    that Autonomy had made hardware sales of around $100 million in 2010.

                (2) Taylor Wessing made this point on behalf of Deloitte in their January 2015
                    letter to the Claimants’ Solicitors235 :

                      “Contrary to your letter of claim the hardware sales were not
                      inconsistent with Autonomy's description of itself as a 'pure
                      software' company. It is quite clear from the Business Overview
                      sections of Autonomy's financial statements on which you rely
                      that the company was not representing that it only sold software.
                      The words on which you rely appear immediately after a
                      paragraph addressing Autonomy's sales of appliances and
                      states: "Autonomy is one of the very rare examples of a pure
                      software model. Many software companies have a large
                      percentage of revenues that stems from professional services,
                      because they have to do a lot of customisation work on the
                      product for every single implementation. In contrast Autonomy
                      has a standard product that requires little tailoring ... ". It is
                      clear that Autonomy uses the term 'pure software company' to




210
   For comprehensiveness it may be noted, as Mr Holgate did note, that the Q1 2010 Annual Report
did (fleetingly) refer to hardware (at p51) in “Costs of revenues: Costs of license revenues includes the
cost of royalties due to third party licenses, costs of product media, product duplication, hardware and
manuals”. But I do not think it is realistic to read that as a disclosure of volume hardware reselling. 234
Mr Apotheker gave the examples of TIBCO and Software AG when cross-examined in these
proceedings.
235
      In reply to a pre-action letter of claim.


                                                  Page 522
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 524 of 900
Approved Judgment                                                                  HC-2015-001324
Mr Justice Hildyard




                      distinguish itself from other software companies which derive
                      significant revenues from selling services alongside software.”


              (3) Similarly, the Deloitte Defence in the FRC proceedings noted that:

                      “The words ‘pure software model’ were not inconsistent with
                      any assertion in the financial statements. The audit team
                      reasonably understood these words to draw a distinction
                      between Autonomy’s business model and those of rivals who
                      derived a substantial proportion of their revenues and profits
                      from professional services. … There is no assertion in the
                      financial statements that hardware was or was not sold and a
                      statement that Autonomy followed a “pure software model” was
                      entirely consistent with the assertions in the financial
                      statements.”


1626. In support of their submission that the Claimants and their witnesses themselves
      understood that the statements that Autonomy was a ‘pure software company’
      were simply differentiating Autonomy from the norm of a company deriving
      substantial revenue from services the Defendants contended that:

              (1) Mr Apotheker had a similar understanding of the phrase:

                      “Q. ... Go back to page 15 {K15/369/15}. It's making it quite
                             clear, isn't it, what it means by this? "Financial model":
                             "[...] very rare examples of a pure software model. Many
                             software companies have a large percentage of revenues
                             that stem from professional services [...] In contrast,
                             Autonomy ships a standard product that requires little
                             tailoring [...]"

                      A.     Yes.

                      Q.     That's the point they're making, that they're not providing lots of
                             services?

                      A.     I agree.

                      Q. That's all they mean by this phrase "pure software model"; that's
                           how you understood it?

                      A.     Yes, I understood that this company was in the business of
                             providing excellent software with as little services as
                             possible.



                                                Page 523
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 525 of 900
Approved Judgment                                                                HC-2015-001324
Mr Justice Hildyard


                      Q.     Right.

                      A.     That's how I understood it.”

              (2) Similarly, Mr Khan and Mr Gersh both understood that the phrase was
                  being used to distinguish Autonomy from a company that sells services.

              (3) When cross-examined, Mr Holgate was constrained to accept that in
                  context, the phrase was used to denote that Autonomy was not a service
                  company. He agreed also that Autonomy was saying “we’re not like
                  those other companies that sell lots of services”. However, he qualified
                  this by saying that he “would not infer from that description that they
                  sell hardware on an undisclosed basis…” though I do not think that had
                  been suggested by any party, and certainly not by the Defendants, the
                  issue raised being whether a positive statement was made that Autonomy
                  did not sell hardware.

1627. Nor, the Defendants submitted, could the Claimants get any assistance from the
      reference to appliance sales being a small part of Autonomy’s business: the
      paragraphs dealing with appliance sales in the 2009 Annual Report said nothing
      about whether Autonomy sold any non-appliance hardware, either expressly or
      by implication. Further, and contrary to the Claimants’ argument, they cannot
      somehow be combined with the reference in a different part of the Annual
      Reports to the “pure software model” to convey the impression that Autonomy
      was not engaging in sales of non-appliance hardware.

1628. The Defendants also contended that:

                      “the market could not assume, nor is there evidence suggesting it did
                      assume, that the term “pure software company” denoted that the
                      company sold no hardware, given that, even on the Claimants’ case, it
                      was public knowledge that Autonomy sold some hardware appliances.
                      Although Mr Gersh, when cross-examined, sought to depict a sale of an
                      appliance as a sale of software, and the hardware on which such
                      software was loaded, not as hardware but as “the form of the delivery
                      of the software” or a “software solution”, he eventually had to concede
                      that it nonetheless constituted in part at least, a sale of hardware.”


1629. This was not a complete and accurate presentation of Mr Gersh’s evidence, as I
      shall explain when addressing later the issue of HP’s pre-acquisition knowledge
      (see paragraphs 1799 to 1813 below). But the Defendants maintained that in any
      event, this was not the only evidence suggesting that HP itself did not really
      understand the statement (“pure software company”) to connote that Autonomy
      sold no hardware (other than limited appliance sales, using that phrase in the
      limited sense the Claimants insisted upon), and that in truth HP knew before
      the acquisition that Autonomy engaged in hardware sales, from which it is to be
      inferred that it would not have interpreted the statement to connote otherwise.



                                               Page 524
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 526 of 900
Approved Judgment                                                               HC-2015-001324
Mr Justice Hildyard




1630. Accordingly, the Defendants rejected any suggestion that the reference to
      Autonomy being a “pure software” model or company was false or misleading

         in light of the hardware reselling. That was not in fact how it was understood or
         liable to be understood, as both Deloitte and the Audit Committee must also
         have been satisfied. In any event, the Defendants said that they did not intend
         that it be taken to mean that Autonomy made no hardware sales, nor did they
         calculate that it was likely (or, at least, liable) to be taken to mean that either.

1631. In my judgment:

         (1)      As I have previously concluded, the purpose of the statement was to
                  convey a special selling point, the success and self-sufficiency of its
                  software business without the need for other revenue streams.

         (2)      That is how it was understood by the Claimants. The Defendants’
                  quotations from Mr Apotheker’s evidence were too selective. What I
                  understood him to be telling me (and I accept the truth of this evidence)
                  was that he was pleased to note that Autonomy provided very little
                  servicing because that made him “believe that Autonomy provided
                  brilliant software because it didn’t need a lot of services”, but he also
                  thought that the statement meant that Autonomy regarded itself as
                  different from other companies that produced software because, as he
                  put it, Autonomy was
                          a software company that only does software, so it makes total
                         sense that they are trying to do as little as possible services. But
                         they basically do two things in this annual report: they sell
                         software and they provide some services.”


         (3)      A determination of what the Defendants themselves intended to be
                  conveyed by the phrase is inevitably informed by my conclusion that the
                  real purpose of the hardware reselling strategy was to generate
                  recognised revenue from hardware sales but (a) account for them without
                  differentiation as if they had been generated by software sales and (b)
                  attenuate and disguise the adverse effect of almost invariable losses on
                  the hardware sales by accounting for them as sales and marketing
                  expenses.

         (4)      Having reached that conclusion, it seems to me that it would be odd to
                  conclude that nevertheless the Defendants did not mean to further the
                  concealment by the use of an ambiguous phrase.

         (5)      In other words, in light of my other conclusions, I have further concluded
                  that the phrase was intended by the Defendants to conceal hardware
                  sales.

         (6)      But that is primarily because of my conclusion that the hardware strategy
                  and its potentially adverse effect if properly accounted for, needed to be


                                            Page 525
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 527 of 900
Approved Judgment                                                                HC-2015-001324
Mr Justice Hildyard


                  concealed to succeed. The question now posed is what the position
                  would be had I concluded that the hardware reselling programme was
                  genuinely in furtherance of its software business and there were good
                  commercial reasons for not disclosing it or its effect such as to justify it
                  not being disclosed.

         (7)      It is not easy to recast my approach, but it seems to me to follow that had
                  that been my conclusion, I would also have concluded that the
                  Defendants might well honestly have intended the phrase to convey in
                  2010 as it did at the beginning of 2008 (before the hardware reselling
                  programme began) that unlike many other software companies, services
                  were not a material part of its business or revenues. There are certainly
                  examples of that being spelt out. For example, at the Q3 2010 Earnings
                  Call, Mr Kanter (speaking with and at the invitation of Dr Lynch) stated:
                          “…there’s a continuous debate on whether the Autonomy
                          business model should be pure software or whether there should
                          be a shift towards more professional services in the revenue mix.
                          To date, the model has been maintained at the pure software end
                          of the spectrum, i.e., little services revenue in the mix.”


1632. That brings the question back again to purpose, pretence and concealment. In
      my judgment, without proof of those three, the alternative way of putting the
      case might have failed.

That the disclosed revenue categories comprised all sources of Autonomy’s revenue

1633. Secondly, the Claimants contended that the revenue stated in Autonomy’s
      disclosed revenue categories in its Annual and Quarterly Reports was equal in
      aggregate amount (across the categories) to Autonomy’s total reported revenue.
      This, they contended, gave the same false impression, and would have conveyed
      to the reasonable reader, that there were no other material sources of revenue,
      and thus that there was no (or no material) revenue from hardware sales or
      indeed any other sources. In addition, the inclusion of revenues from hardware
      sales within the IDOL Product category, without any disclosure or explanation
      that this was so, also falsely inflated the revenue falling within IDOL Product.
      They submitted that all of this must have been apparent to the Defendants.

1634. The Defendants did not accept this either. They countered the Claimants’
      argument that the non-IFRS “supplemental metrics” included in Autonomy’s
      Quarterly Reports from Q3 2009 to Q2 2011, and in the 2010 Annual Report,
      which broke down Autonomy’s revenues into IDOL Product, IDOL OEM,
      Services and Deferred Revenue Release, and at a later point IDOL Cloud, were
      defined in a way that could not properly include hardware and further, left no
      headroom for hardware revenue, as follows:




                                             Page 526
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 528 of 900
Approved Judgment                                                                       HC-2015-001324
Mr Justice Hildyard


              (1) As the Quarterly Reports and 2010 Annual Report made clear, these
                  were metrics “provided for background information and may include
                  qualitative estimates.” The metrics were not precisely defined.

              (2) Deloitte scrutinised the calculation of the non-IFRS metrics each
                  quarter. They were well aware that Autonomy’s hardware sales were
                  included in the category “IDOL Product”. Each quarter, they prepared
                  a working paper, the stated aim of which was “To agree the metrics used
                  in the quarterly press release to the supporting schedules and to test the
                  validity of these schedules.” Mr Welham confirmed that, as part of the
                  audit or review process, Deloitte would have reviewed the underlying
                  contracts for at least some of the transactions included in those
                  schedules, all those that were over $1 million in value, and those that
                  were part of the sampling process. He said that Deloitte knew that
                  certain deals included within IDOL Product were hardware deals:
                  indeed, that is clear from the face of the working paper, and from
                  Deloitte’s tickmarks in their working papers.

              (3) Deloitte were aware of how IDOL Product was described and what its
                  category comprised in the Annual Reports, as demonstrated by the ticked
                  off versions, where the number is ticked next to the description in
                  question.211 They knew that some of the hardware sales did not include
                  an IDOL software component. 212 They did not consider that this
                  rendered Autonomy’s Quarterly or Annual Reports misleading, as Mr
                  Welham (unsurprisingly) confirmed under cross-examination:
                      “Q.    Then looking at what you did know, going back for
                             example to IDOL Product, you knew that as part of the
                             total amount that was being stated as IDOL Product,
                             that included the hardware deals that we've looked at?

                      A.     Yes.
                            …
                      Q. … So you knew those facts, you didn't think that the way that
                            then Autonomy presented itself to the financial markets
                            through its published information was misleading in any
                            way, did you?

                      A.     We did not, no.”

1635. The Defendants also maintained that, contrary to an important premise of the
      Claimants’ argument, the market was also aware that IDOL Product could

211
    The description is as follows: “IDOL Product is normally delivered as licensed software paid for
up-front with an ongoing support and maintenance stream. This model is becoming less significant with
the rise of cloud computing. In 2010, IDOL Product revenue totalled $251 million”; Deloitte has ticked
off the number $251 million.
212
    See e.g. Deloitte’s Report to the Audit Committee on the 2009 Audit: “These hardware sales did not
include any IDOL software component”.


                                                Page 527
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 529 of 900
Approved Judgment                                                              HC-2015-001324
Mr Justice Hildyard


         include hardware revenue. Thus, for example, they cited Mr Morland’s evidence
         in cross-examination as demonstrating this:
                      “MR SHIVJI: Mr Morland, you knew at the time at the time,
                           this is 2009 to 2011, that Autonomy included some sales
                           of hardware in its revenue figures?

                            A. Yes.




                      Q. And you must have realised that they would be included in its IDOL
                            product category?

                            A. Yes.”

1636. However, that citation of Mr Morland’s evidence, which would on its own be
      highly material, was incomplete. A little later in his cross-examination, when
      Mr Shivji came back to the point, Mr Morland clarified what he had meant:

                           “Q. But you understood that within licences there was a hardware
                           element?


                            A. An immaterial element, yes.”


1637. In any event, Dr Lynch emphasised that he had no involvement in the
      compilation of the “supplemental metrics”; and Mr Welham agreed that
      Deloitte dealt with the finance team and the Audit Committee in the course of
      the audit process and Dr Lynch really had no substantive involvement with
      Deloitte, or certainly none with him.

1638. If set in the context of the conclusions I have reached as to the true purpose and
      concealment of the hardware reselling strategy, none of the Defendants’
      arguments is attractive or indeed tenable. Set in that context, I would regard the
      “supplemental metrics” as having been intentionally calculated, as part of the
      imperative to conceal the hardware sales to present Autonomy’s business as
      comprised only of the elements identified, and as not involving any other
      material activities. I would not regard reliance on Deloitte as a viable argument
      in circumstances where Deloitte had been unaware of the true purpose of the
      strategy and its concomitant, the imperative to conceal it. And I would not
      accept that Dr Lynch was not involved in this furtherance of the strategy by
      these additional means.

1639. However, if the building bricks of purpose and its concealment are removed, the
      position is much less clear. If accepted that the hardware sales were truly driven
      by the protection and promotion of the software sales, so as in effect to be a cost


                                              Page 528
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 530 of 900
Approved Judgment                                                             HC-2015-001324
Mr Justice Hildyard


         of it (as indeed Dr Lynch sought to depict the strategy) the “supplemental
         metrics”, with the warning to which they were subject, would not appear to me
         necessarily to have been calculated to mislead. Nor would I accept subjective
         intention to mislead would have been demonstrated. I would not accept, even
         then, the defence that Dr Lynch was not involved; but that would not save the
         plea.

1640. Once again, in my judgment, without proof of purpose, pretence and
      concealment, the alternative way of putting the case might have failed.

The representation that transactions in 2009 were the same in nature as those in 2008
1641. Thirdly, the Claimants contended that the statement in the 2009 Annual Report
under “Revenue Recognition” section within “Significant Accounting Policies” that
“The nature of the transactions that the group has entered into during 2009 is the same
as in 2008 in all respects” was untrue or misleading because Autonomy had not carried
out any ‘pure hardware’ sales in 2008 and its resales of $56 million in 2009 constituted
a clear change.

1642. The Defendants dismissed this as “not a valid complaint”. They submitted:
              (1) This statement should be seen in context. It does not appear in a section
                  describing Autonomy’s business, but instead in a note dealing with
                  significant policies. The paragraph in which it appears reads as follows:

                         “The group discloses revenue within two categories,
                         namely sale of goods and rendering of services, as
                         required by IAS 18. During 2009 there has been no
                         change to the group’s revenue recognition policies in any
                         respect. The nature of the transactions that the group has
                         entered into during 2009 is the same as in 2008 in all
                         respects. To assist the reader in understanding the
                         group’s business the accounting policy set forth below
                         has been reviewed and clarified, but does not represent
                         any change in the group’s accounting policy for the
                         recognition or measurement of revenue.”


              (2) Thus, the phrase is dealing with the nature of the transactions seen from
                  the narrow perspective of revenue recognition. The reader would not
                  expect to see the types of goods sold by Autonomy enumerated in that
                  context, or any change in the types of goods identified.

              (3) The Defendants did not accept that there was any relevant change. As
                  stated previously, Autonomy had always sold some hardware.

              (4) There was no suggestion in cross-examination that Dr Lynch was aware
                  of, or responsible for, this alleged misstatement.

              (5) Nor was there any evidence that HP had noticed or placed any reliance
                  on the statement. It would be surprising if it was a point of any
                  importance at the time of the acquisition over 18 months later.


                                           Page 529
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 531 of 900
Approved Judgment                                                                HC-2015-001324
Mr Justice Hildyard


1643. I would not accept the contextual point in paragraph 1642(1) in any event; and
      in my view, there plainly was a change. The sales of hardware were of a different
      order in 2009 when compared to 2008. Nor, again, would I accept that Dr Lynch
      was not relevantly involved, though I could see an argument that he may not
      have focused on the presentation, and though that would be careless and a
      breach of duty it might not be sufficient to establish dishonesty or recklessness
      for the purposes of a FSMA claim. However, I need not finally determine the
      point: because, in my judgment, once again without proof of purpose, pretence
      and concealment, the alternative way of putting the case, would have failed.
      Deloitte and the Audit Committee were satisfied, on what they understood of

         the hardware sales and assumed to be their genuine purpose, that they were not
         material.
Falsity of inclusion of hardware sales in “Organic Growth”

1644. Fourthly, the Claimants contended that the inclusion of revenue from ‘pure’
      hardware sales within the revenue figures given for “organic IDOL growth”,
      without any note or warning, was obviously and materially false and misleading.

1645. They highlighted especially the Financial Review section in the 2009 Annual
      Report, which stated that the increase in revenues in 2009 “is a combination of
      strong organic growth and the successful integration of Interwoven” (a
      company Autonomy had acquired in early 2009) .

1646. This was, according to the Claimants, untrue or misleading, since ‘pure
      hardware’ sales were responsible for $53 million of Autonomy’s revenue
      growth in 2009. Similarly, the Financial Review section in the 2010 Annual
      Report ascribed Autonomy’s reported revenue growth between 2009 and 2010
      entirely to the deployment by customers of Autonomy software. Autonomy
      reported an increase in revenues of $130.7 million in 2010: $52 million of this
      growth (some 40%) arose from sales of ‘pure hardware’.

1647. The Claimants relied especially on the evidence of one of Dr Lynch’s own
      witnesses, Mr Shelley (Co-Head of Corporate Broking first at UBS, one of
      Autonomy’s corporate brokers, from 2004-2010, and then at Goldman Sachs,
      who joined UBS and Citi as a corporate broker for Autonomy, in around
      May/June 2011). This evidence was to the effect that he understood that
      “organic IDOL growth” was a measure of growth in Autonomy’s core software
      business. Autonomy’s 2010 Annual Report described “organic IDOL growth”
      as the “most meaningful organic performance metric for understanding the
      momentum within the business.”


1648. One of the Claimants’ witnesses, Mr Morland, concurred in that, and stated in
      his witness statement that as far as he was concerned,
                      “the key valuation metric is organic software growth because, in
                      indicating underlying, repeatable growth, it provides the best measure



                                               Page 530
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 532 of 900
Approved Judgment                                                                   HC-2015-001324
Mr Justice Hildyard


                      of how successful and competitive a software company’s products are
                      in the market(s) in which it operates.”

1649. When it was put to him in cross-examination that Autonomy did not publish any
      figures for “organic software growth”, Mr Morland explained that when
      Autonomy said “organic growth” that, to him, had the same meaning, even
      though he accepted that it included an “immaterial” hardware element.

1650. The Claimants prepared calculations by reference to figures given in
      Autonomy’s Investor Relations Bulletin (“the Bulletin”) to show that if the
      ‘pure hardware’ revenue had been excluded from “organic growth”, as they
      contended it should have been, such “growth” would have been negative:

              (1) Whereas Q4 2010 growth was stated in the Bulletin as 12%, without
                  pure hardware revenues, there would have been negative growth of 5%;

              (2) Similarly, whereas FY 2010 growth was stated in the Bulletin to be 17%,
                  without pure hardware revenues that would have reduced to 7%.

1651. Further, when cross-examined about a draft of the Q1 2011 Quarterly Report
      that Derek Brown had sent him on 20 April 2011, Mr Shelley (see paragraph
      1647 above) stated:

                      “Q.    In the last couple of lines [of {K17/356.2/2}] it says that
                             reported IDOL Product revenue was 54.4 million up from 46.5
                             million for quarter 1 2010 and that’s the 17% increase they’ve
                             reported, yes?

                      A.     Yes.

                      Q.     Now, I’d like you to assume for a moment that the 46.5% figure
                             for quarter 1 2010 included 6 million of revenues from pure
                             hardware sales, yes?

                      A.     Right.

                      Q.     So that’s 40.5 million if you take out the hardware?

                      A.     Yes.

                      Q.     And assume that the 54.4 million for quarter 1 2011 included
                             18 million of revenues from pure hardware sales, making it
                             36.4 million, yes?

                      A.     Yes.

                      Q.     And if those assumptions are right, what it would mean is that
                             instead of going up by 17%, the software part of IDOL Product
                             had actually declined by more than 10%, yes?


                                               Page 531
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 533 of 900
Approved Judgment                                                                HC-2015-001324
Mr Justice Hildyard




                      A.   Mm-hm.

                      Q.   Can we flick back to page 1, please {K17/356.2/1}. Do you see
                           at the bottom of the page there’s a section called “Chief
                           Executive’s Review”?

                      A.   Yes.

                      Q.   And this is a statement from Dr Lynch, yes?

                      A.   Yes.

                      Q.   He says at the beginning: “Q1 was a strong quarter for
                           Autonomy in which we continued to execute well with good
                           growth in revenue, profits and other key metrics.” Do you see
                           that?

                      A.   Yes.

                      Q.   In the fourth line he says: “In Q1 2011 IDOL Product, driven by
                           licence growth, increased by 17%.” Do you see that?

                      A.   Yes.
                      Q.   What he’s saying there is that IDOL Product revenues are
                           because the licence revenue was up, yes?

                      A.   Yes.

                      Q.   If what I just told you about the hardware revenues is correct,
                           then the claim that growth in reported IDOL Product revenue
                           was driven by licence growth would be completely wrong,
                           wouldn’t it?

                      A.   If what you’ve just told me is correct, then potentially, yes.”


1652. The Claimants pointed out that this apparently significant evidence was not
      addressed by the Defendants, neither of whom made any mention of Mr Shelley
      in any of their submissions.

1653. Again, the Defendants denied that Autonomy’s published information contained
      any false representation in this regard.

1654. As to the Claimants’ argument that Autonomy’s statements about “organic
      growth” and “organic IDOL growth” were misleading in light of the hardware
      sales, the Defendants submitted that:



                                             Page 532
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 534 of 900
Approved Judgment                                                              HC-2015-001324
Mr Justice Hildyard


              (1) Once it is accepted (as is common ground) that the hardware revenues
                  were correctly included in total revenues, there can be no objection to
                  the inclusion of hardware revenues in a calculation of organic growth.
                  In ordinary parlance, organic growth means growth generated
                  organically by a company rather than through acquisitions. This is how
                  Autonomy used the term: as stated in the Financial Review in the 2010
                  Annual Report, organic growth “excludes the contribution from
                  acquisitions, foreign exchange impact, services revenue (not a goal of
                  the business) and deferred revenue release (primarily maintenance
                  income).” There was no indication, or implication, that hardware
                  revenue was being excluded. As Dr Lynch put it, to exclude hardware
                  from the calculations would be to produce a different metric, “organic
                  growth ex hardware”.

              (2) Deloitte were ultimately content to approve the inclusion of hardware
                  sales within organic growth. It is true that they were initially doubtful,
                  especially about Autonomy’s inclusion of them under the heading
                  “IDOL organic growth”: the hardware sales were obviously not sales of
                  IDOL, and Deloitte wanted to understand and be persuaded why they
                  were organic.


              (3) Mr Knights expressed this concern directly in his email to Mr Hussain
                  and Mr Chamberlain dated 16 October 2009 (which Mr Hussain
                  forwarded to Dr Lynch):
                         “Can we have a detailed breakdown on how the figures are
                         compiled. My biggest concern will be that the hardware sales
                         were neither IDOL based nor organic!!”

              (4) In an email to Mr Chamberlain and Mr Knights (cc Mr Welham) two
                  days later (18 October 2009) Mr Knight of Deloitte focused on the
                  “organic growth issue” as almost the sole issue of remaining concern,
                  elaborating that:
                         “We currently still have an issue with organic growth, all we
                         have seen to date is a summary calculation which has “assumed
                         interwoven sales” and no account taken for the hardware sales.
                         The reader will probably assume this is therefore all organic
                         software growth.”

              (5) Deloitte (through Mr Knights) ultimately concluded that it was
                  appropriate to include the hardware sales on the basis that (as Mr
                  Welham accepted in his witness statement):
                         “Ultimately we agreed that growth in hardware sales was
                         organic, in that it did not derive from the acquisition by
                         Autonomy of a pre-existing business”.




                                            Page 533
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 535 of 900
Approved Judgment                                                                        HC-2015-001324
Mr Justice Hildyard


              (6) Deloitte signed off on Autonomy’s organic growth figures in the
                  nonIFRS metrics knowing that they incorporated hardware, so long as
                  the entry was captioned “organic growth” (as Deloitte themselves
                  suggested) and not as “organic IDOL growth” nor as “organic software
                  growth”.

1655. The Defendants also contended that the criticisms made by the Claimants about
      the description of growth in the 2009 and 2010 Annual Reports could not
      withstand scrutiny.

              (1) The statement in the 2009 Annual Report that the increase in revenues
                  in 2009 “is a combination of strong organic growth and the successful
                  integration of Interwoven” was, they said, correct. Although the growth
                  in hardware revenues was one component of the increase, that was
                  properly included in the organic growth figures. They submitted,
                  therefore, that the Claimants were wrong to suggest that it was
                  misleading.

              (2) This statement could be of no further assistance to the Claimants than
                  that relating to the inclusion of hardware revenue in the figures given as
                  “supplemental metrics”: once the hardware revenue was included within
                  those metrics, the difference between organic and non-organic growth
                  did come down to the difference between revenues generated by the
                  business without taking into account acquisitions and revenues
                  generated by the business taking into account acquisitions.

              (3) The Claimants’ suggestion that in the 2010 Annual Report, “the
                  Financial Review section (page 15) ascribed Autonomy’s reported
                  revenue growth between 2009 and 2010 entirely to the deployment by
                  customers of Autonomy software” is incorrect: there is no such statement
                  in the Financial Review.

              (4) Their criticism as put to Dr Lynch in cross-examination that he must
                  have spotted, and ought, in all honesty, to have corrected, an inaccurate
                  description by Mr Briest of UBS (one of Autonomy’s corporate brokers)
                  in his analyst’s note in late 2009, referring to Autonomy’s organic
                  growth as organic software growth was unfair: the statement was buried
                  towards the end of a 57-page document. Dr Lynch’s evidence was that,
                  although he had read earlier parts of the note, and corrected certain
                  aspects of the description in it of IDOL technology which Dr Lynch
                  considered Mr Briest “had got very wrong”, he would not have noticed
                  the point in a different section tucked away at the end. In any case, the
                  Defendants contended that this is miles away from being any
                  representation by Dr Lynch, or any part of Autonomy’s published
                  information that can be relied on for the purposes of the claims before
                  the Court.213



  Further, the Defendants submitted that Mr Briest’s analysis is plainly not “published information” of
213

Autonomy; and nor is it suggested that his report is a representation made by Dr Lynch.


                                                Page 534
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 536 of 900
Approved Judgment                                                                HC-2015-001324
Mr Justice Hildyard




              (5) Dr Lynch added that in any event, he was quite removed from the
                  process. Mr Miles submitted in his oral closing:
                             “He is not involved in the production of the accounts, he’s less
                             involved in the review of the accounts even than other directors
                             such as Mr Bloomer and Mr Webb, and he knows that these
                             things are being carefully considered by Deloitte, who are
                             considering them to ensure that nothing misleading is being
                             said.”

              (6) Finally on this point, the Defendants countered the Claimants’
                  contention that “if the pure hardware revenue had been excluded from
                  organic growth, as it should have been, organic ‘growth’ would have
                  been negative” [their underlining] with comparative tables of their own
                  demonstrating the reverse. According to the Defendants’ calculations
                  (which Mr Miles put to Dr Lynch in re-examination), if the hardware
                  transactions were stripped out then both for Q2 2011 and H1 2011
                  organic revenue growth would have been significantly higher (in each
                  case, compared against the equivalent period the previous year). Further,
                  again according to the Defendants’ calculations, the Core Business


                      Organic Growth Rate Calculation in Autonomy’s interim results up to
                      30 June 2011 gave growth rates of 15% (Q2 2011) and 17% (H1 2011).
                      Adjusting these figures to remove the “pure hardware” sales listed by
                      the Claimants in Schedule 1 of the RRAPoC, those figures would have
                      increased to 28% (Q2 2011) and 21% (H1 2011). The Defendants
                      submitted that these were the key periods for comparison since the key
                      comparator at the time of the Autonomy acquisition would have been
                      Q2 2011 v Q2 2010, as Mr Apotheker had confirmed when
                      crossexamined: judged at that time, growth rates as at Q4 2010 were out
                      of date, so the Claimants’ figures based on Q4 2010 results “addressed
                      the wrong period”.

1656. Once again, it would seem to me that the claim would be well founded in the
      context of my primary conclusions, as being a further manifestation of the
      disguised purpose and the imperative to conceal it. However, I must seek to
      assess the claim on the hypothesis previously explained.


1657. I have found the issue more finely balanced in relation to this representation,
      principally because Autonomy was expressly warned by Deloitte, in an email
      from Mr Knight to Mr Chamberlain dated 18 October 2009, which was plainly
      relayed to both Defendants (and which I have quoted more fully in paragraph
      1654(4) above), that “The reader will probably assume this is therefore all
      organic growth”.




                                               Page 535
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 537 of 900
Approved Judgment                                                           HC-2015-001324
Mr Justice Hildyard


1658. Although Deloitte had eventually accepted Mr Chamberlain’s counter-argument
      that all that “organic growth” connoted was that the growth was not from
      acquisitions, that does not diminish the propensity of the phrase to mislead, nor
      negate the fact that the Defendants were warned and aware of that propensity
      and its attendant risk that “organic growth” of a “pure software company”
      would be read as “organic software growth”, as indeed it was (including by
      Autonomy’s own broker, Mr Shelley, as described in paragraphs 1647 and 1651
      above). It is a short step from knowledge that a statement may be liable to
      mislead to a conclusion of recklessness or dishonest intention to mislead if it is
      used.

1659. Even so, I have concluded that, on the premise which I have taken to be
      applicable, the mindset of those concerned at Autonomy, including the
      Defendants, would have been that sales as loss leaders for the software business
      generated revenues to be treated as all part of the single software enterprise in a
      single segment entity, and the inclusion of revenue from hardware sales within
      organic growth was a corollary.

Overall conclusion on the claims in respect of statements made in the accounts

1660. There can be no real doubt, and I do not understand it to have been disputed,
      that the Defendants wished to avoid disclosure of the nature and extent of the
      hardware sales. The Claimants’ case was that it was part and parcel of the true
      objectives of the hardware reselling strategy and the imperative to conceal it.
      The Defendants rejected that but prayed in aid (in summary) commercial
      sensitivities. Although that is the backdrop, and is to be borne in mind in
      assessing intention, for the present, my focus is on what Autonomy chose to say,
      rather than on what they

      chose not to say. The question now is whether the Defendants not only sought to
      avoid disclosure, but also included in Autonomy’s published information
      statements designed, or which the Defendants knew would or might be taken, to
      signify that no material part of its business comprised the sale or reselling of
      hardware to third-party customers.

1661. For the reasons I have given in respect of each of the positive statements relied
      on by the Claimants, on the hypothesis that (contrary to my primary
      conclusions) the purpose of the hardware reselling and the reasons for not
      separately disclosing it are taken to be as the Defendants asserted they were, I
      would have not been persuaded that the Claimants had established their claims
      that the statements made were untrue or misleading and that the Defendants
      appreciated this so as to render them liable under FSMA.

1662. I confirm that I have also considered the statements in the round as well as
      individually. Although in the context of my actual conclusions, the picture is
      then darker still, on the hypothesis I have been implicitly directed to take, my
      conclusion would be no different than in relation to the representations singly. I
      have concluded that even together the statements cannot be aggregated to
      produce a false and intentionally misleading positive representation that
      Autonomy was not reselling hardware.


                                         Page 536
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 538 of 900
Approved Judgment                                                                          HC-2015-001324
Mr Justice Hildyard


1663. However, the overall presentation certainly did not disclose hardware reselling:
    and I turn to the second way in which the Claimants put their case on the
    hypothesis that the purpose of the hardware reselling was as asserted by the
    Defendants.
Did the Annual Reports/ Autonomy’s published information omit information about
hardware sales which was required to be disclosed?

1664. With the reservation that if their case on what Autonomy had positively stated
      in its published information succeeded, their case that there were also omissions
      might be unnecessary, the Claimants also contended that Autonomy’s published
      information “was defective because it did not disclose the fact, nature and
      extent of its hardware sales in its Annual Reports for 2009 and 2010.”214

1665. They submitted that:

                      “the relevant accounting standards and other rules required fair
                      disclosure and explanation of the nature and extent of Autonomy’s
                      hardware sales, including sales of pure hardware and other hardware
                      in the Annual Reports.”




1666. Their pleaded case in this regard as set out in the RRAPoC is summarised there
      as follows:

                      “In short, the absence of any disclosure in the Annual Reports…of the
                      existence or extent of hardware sales (other than the unquantified
                      reference to appliance sales being a small part of Autonomy’s
                      business) meant that the statements [identified above] were untrue
                      and/or misleading , those reports gave a misleading impression of the
                      revenue and revenue growth of Autonomy’s software business and/or
                      the Annual Reports omitted a material fact (namely that Autonomy was
                      engaged in the business of selling significant amounts of pure
                      hardware at a substantial loss) that was required to have been
                      included in Autonomy’s published information.”

1667. Leaving aside positive misstatements, only the omission of “any matter
      required to be included” can be relied on as the basis for liability under FSMA
      Schedule 10A. Further, an issuer is liable only if the PDMR (here, each



214
   Originally, the Claimants contended that Autonomy also had a duty of disclosure in its Quarterly
Reports; but in its written closing submissions it was clarified that, in light of Mr Holgate’s evidence
that “the case for disclosure of hardware sales in quarterly reports is not as strong as in interim
reports”, they were no longer pursuing that contention, although Mr Holgate’s view was that it would
have been “good practice” for Autonomy to have disclosed its hardware sales in these reports.


                                                 Page 537
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 539 of 900
Approved Judgment                                                                     HC-2015-001324
Mr Justice Hildyard


          Defendant) “knew the omission to be a dishonest concealment of a material
          fact.”

1668. Thus, to establish liability for an omission, the onus is on the Claimants to
      demonstrate on the balance of probabilities that:


              (1) Disclosure of the omitted matter was “required to be included” (that is,
                  mandated by applicable legislation or accounting standards) 215 in the
                  relevant published information;


              (2) The relevant Defendant, being a PDMR, had actual knowledge, at the
                  time of the omission of the published information in question, of (a) a
                  material fact which (b) he also knew was required (in the sense explained
                  above) to be disclosed but which instead (c) was being “concealed” (that
                  is, deliberately being left out).

1669. The issues as to the materiality of a fact which had not been disclosed and as to
      whether disclosure was “required” turn on Accounting Standards and Practice,
      on which there was detailed opposing expert evidence. The issues of what might
      be termed “guilty knowledge” and dishonest concealment are issues of fact. I
      address first the accountancy issues and thereafter the factual issues.

Did Autonomy s published information omit a material fact required to be disclosed?

1670. In arguing that such disclosure was “required” the Claimants relied in particular
      on IAS 18, §35; IAS 1 §29; and IFRS 8, §32. Alternatively, even if disclosure
      was not required under specific IFRSs, they contended that additional
      disclosures were necessary under IAS 1, §17(c) in order to achieve a fair




         presentation in the Annual Reports.216 I shall address those provisions in turn by
         reference to the expert evidence as to the application of these provisions and in
         the order that Mr Holgate dealt with them in his expert report.

1671. Before doing so, however, the confines of the issue seem to me best observed
      by recording that the following matters were and remain common ground:


              (1) As previously noted, the revenues from hardware sales were properly
                  included within the overall revenues of Autonomy in compliance with
                  IFRS;


215
   which is not the same as commercially sensible or advisable.
216
   In the RRAPoC, the Claimants also relied on various provisions of the Companies Act 2006, the
Combined Code on Corporate Governance and the Disclosure and Transparency Rules, but as
explained below, it appears that these points are no longer pursued.


                                              Page 538
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 540 of 900
Approved Judgment                                                                   HC-2015-001324
Mr Justice Hildyard


              (2) There was no requirement on Autonomy to disclose hardware revenues
                  in its quarterly or interim reports;

              (3) None of the Companies Act 2006, the Combined Code or the Disclosure
                  and Transparency Rules required disclosure;

              (4) Autonomy properly reported that it had a single operating segment for
                  the purposes of IFRS 8 and this was not gainsaid by the Claimants;

              (5) The accounts were prepared or scrutinised by the finance department
                  (made up of a number of experienced accountants), Deloitte and the
                  Audit Committee, and all three groups considered and decided on the
                  appropriate accounting treatment.
IAS 18.35

1672. Mr Holgate cited the requirement in IAS 18.35 to disclose:
                      “the amount of each significant category of revenue recognised during
                      the period, including revenue arising from: (i) the sale of goods; (ii) the
                      rendering of services …”

1673. There is no dispute between the experts that IAS 18.35 was mandatory (“An
      entity shall disclose…”). The issue is whether the requirement to disclose “each
      significant category of revenue” extends to providing a further breakdown of
      the goods sold or services rendered within those categories.

1674. Mr Holgate’s opinion, as given in his evidence, was that hardware sales (a) were
      very different in their nature and economic effect from the (disclosed) software
      sales, with radically different profit margins, so as to comprise a “category of
      revenue” and (b) the quantum of the hardware sales was such as to render them
      “significant”.


1675. When cross-examined, Mr Holgate elaborated on his view as follows:




                      “… in many circumstances which are straightforward, then this
                      disclosure requirement [in IAS 18 §35] would be met by saying sale of
                      goods X, rendering of services Y, interest separately and so on. But the
                      circumstances here, as I’ve outlined, are very unusual in terms of the
                      growth of hardware, the impact on growth percentages and the vastly
                      different gross profit percentages involved. So we’re not in a normal
                      situation, I don’t believe. So it is important to read the requirements
                      which is the amount of each significant category of revenue recognised
                      in the period and then including this and that. But, to me, the hardware
                      revenue is a significant category of revenue because, if you don’t know
                      about it as a separate component, then you are easily misled about the
                      growth, where the growth has come from, where the profitability has


                                                Page 539
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 541 of 900
Approved Judgment                                                                 HC-2015-001324
Mr Justice Hildyard


                      come from, the effect on gross margins and the overall picture of what
                      is described as a pure software company, if there’s hardware within
                      there with very different characteristics, economic characteristics from
                      the main software business. To not disclose that, I think has various
                      problems including true and fair view and fair presentation and, more
                      specifically here, it is in my view a significant category of revenue for
                      the reasons I’ve given.”

1676. However, Mr Holgate accepted that there was no definition of what counted as
      a “category”. There is nothing in the wording of the rule that requires a further
      breakdown into sub-categories. Nor was Mr Holgate able to point to any
      literature which suggested that a breakdown within the listed categories was
      required.

1677. Mr Holgate appeared at one point to argue that the interpretation of the rule
      should be conditioned by such matters as growth rates, margins, and the scale
      of the relevant sales; in other words that these things should affect the
      interpretation of the rule in some way. However, he did not explain how these
      factors could affect the interpretation of the mandatory rule.

1678. Mr Holgate also raised the spectre of an argument, echoing that of the
      Claimants, that the reference to Autonomy as a “pure software company” was
      somehow relevant to this rule. But he then accepted that, in context, that was
      used to point out the differences between Autonomy’s business and that of a
      service provider. Again, he did not offer any real explanation as to how that
      could affect the interpretation of IAS 18.35 or cause it to be read as requiring a
      further breakdown below the level of “categories” of revenue.

1679. Mr MacGregor accepted that the hardware sales were indeed “significant” and
      that they were different in nature from sales of software. However, he took a
      different view about the application of IAS 18.35, focused on the words
      “category of revenue”.

1680. Mr MacGregor’s view was that the categories of revenue described in this
      standard are general categories of sale of goods, rendering of services, royalties,
      et cetera. Mr MacGregor relied upon IAS 18.1, which sets out the scope of the
      standard and explains that it covers revenue in five categories. These are then
      replicated in IAS 18.35. He explained that the purpose of IAS 18.35 is to require
      the separate statement and disclosure of revenue in these categories, if it is
      significant. In his view, no further sub-categorisation or breakdown of the
      revenues within these categories is required.

1681. Accordingly, Mr MacGregor’s evidence supported the approach in fact taken
      by Autonomy, which was audited by Deloitte. The accounts divide the revenues
      into the categories of (i) sales of goods and (ii) rendering of services but do not
      provide a further breakdown of those categories.

1682. Furthermore, and although sometimes rather didactic in his approach, Mr
      Holgate accepted that in relation to this specific issue the view taken by Deloitte,



                                               Page 540
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 542 of 900
Approved Judgment                                                                 HC-2015-001324
Mr Justice Hildyard


         that no sub-categorisation was required by the rule, was not outside the range of
         a reasonable accountant’s views.

1683. Mr Rabinowitz pressed Mr MacGregor in cross-examination on what meaning
      he thus gave to the words “including revenue arising…” [my emphasis] which
      might appear to suggest that the list which followed was not exhaustive; but Mr
      MacGregor at least three times repeated his view that in its context the list was
      indeed intended to be exhaustive.

1684. Further, Mr MacGregor rejected Mr Holgate’s suggestion that the rule may
      depend on variable metrics of performance of the kind he ventilated. He
      depicted that approach as importing a sort of segmental analysis: and he was
      adamant that “This is not an attempt by the standard setters to come up with a
      segmental analysis”.

1685. Mr MacGregor considered that Mr Holgate’s approach would inject excessive
      uncertainty and subjectivity into what is stated as a simple and straightforward
      rule. Further, the Defendants argued that IAS 18.35 is only one of many
      applicable provisions: it is not the only means of bringing home the objective of
      IFRS. The suggestion that the Claimants’ interpretation was necessary to
      safeguard the objectives of IFRS ignored this.


1686. To test his view, I suggested to Mr MacGregor in the course of his
      crossexamination an extreme example, of a company (I gave Siemens purely as
      an illustrative example) which made and sold both (say) mobile telephones and
      fridges, products with vastly different profit margins: I asked him whether he
      would nevertheless contend that they should be lumped together in one category
      as both being sales of goods. He said he would. Mr Rabinowitz took this up with
      him as follows:
                      “Q. And just to be clear, Mr MacGregor, …you take the view that you
                        don’t have to disclose those separate categories, however different
                        they may be, however important they may be to understanding how
                        the company is working, you don’t have to disclose them separately,
                        however material they may be for the ability of the investor to
                        understand the financial position of the company; is that your view?

                      A. This is what the Standard requires...this is not the role of the
                         Standard, to sort out segmental disclosures. If in Siemens, the mobile
                         phone department is organised as a separate segment from
                         the…white goods department, and…they’re managed separately and
                         they’re reported on separately, then in the segmental information,
                         which is required under IFRS 8, if that’s the way Siemens organises
                         itself, then that information would be disclosed there.
                        On the other hand, if there was just one department dealing with all
                        electrical goods, which includes mobile telephones and fridges, it
                        wouldn’t. It comes down to the way management has organized itself,
                        certainly under IFRS 8.



                                               Page 541
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 543 of 900
Approved Judgment                                                                        HC-2015-001324
Mr Justice Hildyard


                      Q. So doesn’t that in your view, however material it would be for
                        investors to know about it, they wouldn’t have to be disclosed under
                        this Standard, the fact that the company was doing that?
                      A. This is the disclosure requirement…
                      …what was in the conceptual Standard doesn’t mean you disclose
                       whatever somebody out there might think is interesting, material or
                       significant. The disclosure requirements are set out in the IFRSs…
                      …
                      You’re trying to read into [IAS 18] something which seems to me to be
                        along the lines of, because there is information someone out there
                        might find reasonably useful, you need to disclose it. That is not the
                        requirement.”


1687. In his oral reply, Mr Rabinowitz disparaged this interpretation of “including”
      and the application of IAS 18.35 as “confused” and “plainly wrong”. In the
      Claimants’ written closing, it was submitted that the difficulty and flaw in Mr
      MacGregor’s approach was that it:


                      “produces an outcome that is entirely inconsistent with the general
                      objective of IFRS, namely to ensure a fair presentation of a company’s
                      financial position and its financial performance in a way that enables
                      readers of its financial information to make economic decisions.”

1688. The Claimants also cited in support two letters written to Autonomy by the
      Financial Reporting Review Panel (“FRRP”) on 9 September 2009 and 30
      November 2009, in the latter of which the FRRP stated:
                      “The Panel further notes that it regards the categories listed in
                      paragraph 35(b) of IAS 18 as a minimum disclosure only and would
                      generally expect more disclosure from all but companies with relatively
                      simple operations”.217



1689. As to the Defendants’ interpretation, they submitted that whether the word
      “including” before a list is intended to be exemplary or exhaustive is a matter
      of interpretation having regard to the context. Further, the Defendants
      submitted, while there is room for debate about whether there could, in
      principle, be further categories of revenue, the question here is not whether the
      hardware sales should have been disclosed as another category. The

217
   It should be noted that the FRRP’s comments were in relation to a company’s general disclosure
requirements. They were not directed at the hardware issue, which was not on their radar at the dates
of those letters.


                                                Page 542
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 544 of 900
Approved Judgment                                                                 HC-2015-001324
Mr Justice Hildyard


          Defendants’ position was that the hardware revenues represent revenues from
          the sale of goods, which is one of the express categories contained in the rule.
          The issue is whether the rule required further breakdown within that category;
          not whether there might be some other category of revenue beyond those listed.
          Hence, they submitted, the contention whether the rule is non-exhaustive is
          nothing to the point.

1690. In such circumstances, it is necessary to consider the other provisions on which
      Mr Holgate relied: for it was the Claimants’ case that it is not just IAS 18.35
      that would have compelled disclosure. The starting point is IAS 1.


IAS 1


1691. IAS 1 is a general standard about the presentation of financial statements. It is
      not concerned specifically with revenue reporting, there being (as already
      apparent) specific standards prescribed in IAS 18 (revenue) and IFRS 8
      (segmental reporting).
IAS 1.1
1692. IAS 1.1 explains that the standard prescribes the basis for presentation of general
      purpose financial statements to ensure comparability both with the entity's
      financial statements of previous periods and with the financial statements of
      other entities. It sets out overall requirements for the presentation of financial
      statements, guidelines for their structure, and minimum requirements for their
      content. For present purposes, the provisions specifically relied on (as well as
      IAS 1.1) are 1.15, 1.17, 1.29, and 1.30. Mr MacGregor also relied on IFRS 8.
IAS 1.15

1693. IAS 1.15 is concerned with the general requirement that financial statements
      “shall present fairly the financial position, financial performance and cash
      flows of an entity.” It makes clear that:
                      “Fair presentation requires the faithful representation of the effects of
                      transactions, other events and conditions in accordance with the
                      definitions and recognition criteria for assets, liabilities, income and
                      expenses set out in the Framework.”


1694. The final sentence of IAS 1.15 states that “the application of IFRSs, with
      additional disclosure when necessary, is presumed to result in financial
      statements that achieve a fair presentation.” It continues that “in virtually all
      circumstances, an entity achieves a fair presentation by compliance with
      applicable IFRSs” [my underlining] although the paragraph then states that
      there may be some circumstances where fair presentation requires further
      disclosures (see IAS 1.17(C)).



                                               Page 543
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 545 of 900
Approved Judgment                                                                   HC-2015-001324
Mr Justice Hildyard


IAS 1.17

1695. IAS 1.17 similarly states that “In virtually all circumstances, an entity achieves
      a fair presentation by compliance with applicable IFRSs”. But it too, in
      subparagraph (c) repeated that a “fair presentation” also requires an entity:
                      “to provide additional disclosures when compliance with the specific
                      requirements in IFRSs is insufficient to enable users to understand the
                      impact of particular transactions, other events and conditions on the
                      entity’s financial position and financial performance.”

1696. The real dispute between the experts was, in the end, as to when “additional
      disclosures” would become necessary, and whether they did so in the
      circumstances of the hardware sales in this case.

1697. Mr Holgate considered the “fair presentation” requirement in IAS 1 to be
      analogous to the “true and fair view” standard in the Companies Act. I would
      interpolate that this appears to me to be consistent with the approach of the FRC,
      and with the view expressed in an Opinion of Mr Martin Moore QC that the two
      are “synonymous” and “simply different articulations of the same concept.” 218

1698. In that regard, Mr MacGregor’s opinion was that where all applicable IFRSs
      have been complied with, the threshold for further disclosure is a very high one
      and further disclosure will only be required rarely.

1699. Mr Holgate accepted that the question whether further disclosure is needed
      under that rule notwithstanding compliance with the detailed specific provisions
      of IFRS is a matter of accounting judgement.


IAS 1.29
1700. Mr Holgate placed special reliance on IAS 1.29, which provides as follows:
                      “An entity shall present separately each material class of similar items.
                      An entity shall present separately items of a dissimilar nature or function
                      unless they are immaterial.”

1701. In Mr Holgate’s view, IAS 1.29 was a further standard that applied so as to
      require Autonomy separately to disclose its hardware sales because, both in
      relation to 2009 and 2010, those hardware sales were material and, further, those
      hardware sales were of a dissimilar nature to the other sales Autonomy was
      making (i.e. software sales). The test for materiality, in this context, is whether




218
   See Opinion of Martin Moore QC, ‘The True and Fair Requirement Revisited’ dated 21 April 2008
and published by the FRC on its website.


                                                Page 544
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 546 of 900
Approved Judgment                                                               HC-2015-001324
Mr Justice Hildyard


         the information could influence the economic decisions that users make on the
         basis of the financial statements.

1702. The Claimants contended that there are any number of factors that would
      highlight the dissimilar nature of hardware and software sales by Autonomy,
      including the very different profit margins that each type of sale would attract;
      software involves the sale of a licence, whereas hardware is a tangible product;
      software was created by Autonomy, but hardware was bought and resold with
      no added value. They also suggested that it is clear that Autonomy itself
      regarded selling hardware as wholly dissimilar to selling software, and indeed
      that Mr MacGregor did not in fact dispute that the products and their sale were
      dissimilar.

1703. In terms of materiality, Mr Holgate in his report developed in some detail his
      reasons for concluding that hardware sales could not be considered immaterial.
      Thus:

              (1) Mr Holgate identified, in this context, the volume of sales of hardware
                  compared with total reported sales. His Table A was put forward as
                  illustrating the fact that, for FY 2009, total hardware revenue constituted
                  7.3% of total reported revenue, and that, for FY 2010 total hardware
                  revenue constituted 12.1% of total reported revenue. Mr MacGregor did
                  not suggest that the revenue from hardware, for example in FY 2010
                  when it was over 12.1%, was immaterial in the context of the overall
                  revenue reported by Autonomy for those periods.


              (2) Mr Holgate further referred, in this context, to the effect of “pure
                  hardware sales” on Autonomy’s revenue growth from 2008 to 2009 and
                  also from 2009 to 2010. His Table B was put forward to show that, if
                  the contribution made to revenue by hardware in each of those years was
                  stripped out, so as to identify what growth there had been in Autonomy’s
                  revenue from its software sales (across the board, including hosting):

                      i.   rather than growth of 47% from 2008 to 2009, the figure would
                           be 36.5% – a reduction in growth of some 22%;

                      ii. rather than growth of 17.7% from 2009 to 2010, the figure would
                          be 11.5% – a reduction in growth of 35%.

1704. Mr Holgate was not challenged on this analysis in cross-examination. Nor was
      he challenged on his evidence that “growth in revenue is a major performance
      indicator for listed companies and one that Autonomy frequently cited” and
      that such a difference in these growth figures of software was “highly
      significant”. Mr MacGregor accepted that it was material, though he caveated
      that “It’s a smaller part than played by other parts of revenue”.

1705. Mr Holgate further set out figures intended to illustrate both the very different
      gross margins that applied to sales of hardware and sales of software and the
      extent to which the gross margin applicable to sales of hardware affected the



                                            Page 545
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 547 of 900
Approved Judgment                                                                 HC-2015-001324
Mr Justice Hildyard


         overall gross profit margin. Mr Holgate, in this context, also noted that it would
         have been important, in “seeking to interpret an overall gross profit of 79%, …
         to know that the majority of sales are at a 90% margin and that a minority of
         sales are at a gross loss”. Mr Holgate was not challenged on this in
         crossexamination.

1706. Again, Mr MacGregor did not express disagreement about this, nor did he deny
      that being able to identify what gross margin applies to what products that an
      entity is selling was information that could be important for investors. Rather,
      and as foreshadowed in paragraph 1698 above, Mr MacGregor’s position was
      that on the basis of his understanding of Autonomy’s business, IAS 1.29 (indeed
      the whole of IAS 1) could not add anything to any disclosure obligation on the
      part of Autonomy in relation to hardware.


1707. Mr MacGregor made the following principal points:

              (1) First, in his view, disclosure of revenue was expressly covered by IAS
                  18.35 and no further disclosure obligation could, or perhaps should, be
                  added by IAS 1 or IAS 1.29, which were more general in application,
                  rather than being applicable specifically to revenue. Except in very
                  unusual circumstances, compliance with the specific provision qualified
                  as compliance with the general guidance as regards the specific
                  accounting item.

              (2) Secondly, Mr Holgate appeared to assume, but did not explain the basis
                  for the assumption, that (in relation to the requirement of IAS 1.29 that
                  “An entity shall present separately items of a dissimilar nature or
                  function unless they are immaterial”) hardware sales were to be treated
                  as a separate and material “class” of “items” from software sales. The
                  Defendants added to this that Mr Holgate had accepted in
                  crossexamination that there was no definition of what is meant by
                  “similar” or “dissimilar”, nor of “nature” or “function”; nor is there
                  anything in the wording of the provision (at least nothing specific) that
                  required a breakdown of revenue into sub-categories. Further, he had
                  not suggested or provided any support in the literature for the view that
                  the rule requires a breakdown of revenues into sub-categories and (the
                  Defendants submitted) the wording of the rule does not support it.

              (3) Thirdly, and as a further matter relevant to the interpretation of IAS 1.29
                  and (the Defendants submitted) supportive of Mr MacGregor’s view,
                  IAS 1.30 appears to show that the reference to “items” in a set of
                  financial statements is a reference to a “line item”. Hence revenue for
                  sales of goods could be such a line item, revenue from services another
                  line item, etc. Similarly, costs of goods sold are a different line item from
                  administrative expenses. The rule says that each class of similar line
                  items must be presented separately. It also says that if a line item (say
                  sales and marketing expenses) is not material it need not be separately
                  disclosed. These rules say nothing about the need to present a breakdown
                  within a line item.


                                             Page 546
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 548 of 900
Approved Judgment                                                                   HC-2015-001324
Mr Justice Hildyard


              (4) Fourthly, and in any event, IAS 1, as a general presentation standard,
                  had to be read together with IFRS 8.

1708. Mr MacGregor made clear, however, at least when cross-examined, that his
      approach was informed by his understanding (on the basis of his instructions)
      that (as he put it):

                  Autonomy considered it was essentially selling one overall product, and
                 everything connected with the sale of that product was considered to be
                 [the same] revenue.”

1709. Mr MacGregor appeared to accept in cross-examination that if the sale of
      hardware had no connection with or relationship to the sale of software,
      “nothing to do with the sale of software”, then IAS 1.29 could apply and require
      disclosure:
                      “Q. So you accept that IAS 1.29 could apply? You’re just saying you
                            don’t think it does if Autonomy – if Dr Lynch’s version of the
                            facts is right and hardware was simply sold as a way of selling
                            software?


                      A. That’s correct. I mean, if the reason for selling the hardware was not
                             to sell the software but was for another reason, for example to
                             pump up revenues, then clearly that is something which is
                             material to an understanding of the business. In those
                             circumstances. But in the circumstances where it’s incidental,
                             connected with the sale of the software, then no. I appreciate
                             there is a dispute over that.


                      Q. So just to be clear, I think you’re accepting that if the primary reason
                              was actually to drive revenue rather than to drive software sales,
                              there would have had to have been disclosure, including under
                              IAS 1.29 –


                      A. That’s correct. Just to be clear, if what’s being suggested is that they
                             are implying that what was in fact the sale of IDOL was in fact
                             the sale not of that at all but it was basically being used to pump
                             up revenues, then I would agree, that is something which the
                             accounts should have disclosed. Those are the two – that seems
                             to me the boundary or the bounds of the dispute and the effect on
                             the presentation.”




                                                Page 547
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 549 of 900
Approved Judgment                                                                     HC-2015-001324
Mr Justice Hildyard


1710. That leads on to a further issue as to the application and effect of IFRS 8, and in
      particular IFRS 8.32.

IFRS 8
1711. IFRS 8 is generally concerned with segmental reporting. The standard applied
      to Autonomy for the first time in respect of the full year accounts for 2009. It
      was then a new standard, adopted as part of an attempt to converge IFRS and
      US GAAP, and (although Mr Holgate disagreed) Mr MacGregor considered
      that there were uncertainties about its application.

1712. Mr MacGregor gave as an example a debate as to the extent to which it
      replicated or overlapped with the requirements of IAS 18.35; and he also
      referred to a paper (“Post-Implementation Review of IFRS 8 Operating
      Segments” dated July 2013) which the International Accounting Standards
      Board (the “IASB”) had issued to consider and report on various uncertainties
      which had caused debate and difficulty. These difficulties and uncertainties
      included the issue as to the meaning of “similar economic characteristics” and
      when operating segments fell to be aggregated219.

1713. As explained in Dr Lynch’s closing submissions, and put broadly, whether an
      entity should be accounted for as having one or more “Operating Segments” so
      as to distinguish the performance of each depends on the way the entity is
      managed, on the information flows within the company, and on identifying the
      “chief operating decision maker”. Speaking generally, where there is more than
      one line of business, it will be expected that there is more than one operating
      segment.

1714. In the case of Autonomy, the finance department and Deloitte concluded in both
      2009 and 2010 that there was a single operating segment and (as already
      explained) that conclusion has not been questioned in these proceedings.
IFRS 8.1
1715. IFRS 8.1 identifies the “core” principle of IFRS 8 as follows:

                      “An entity shall disclose information to enable users of its financial
                      statements to evaluate the nature and financial effects of the business
                      activities in which it engages and the economic environments in which
                      it operates.”

1716. One of the curiosities of IFRS 8 is that although at first blush it might be taken
      that it applies only to determine whether an entity should adopt segmental
      accounting, and if it does, to provide for its more detailed application, it is
      common ground that at least one of its provisions can also apply to an entity
      with a single Operating Segment, such as Autonomy. The particular provision
      in issue is IFRS 8.32.



  The IASB noted that “the empirical evidence identified in the academic review shows that the
219

number of reported segments has increased and the number of single-segment entities has decreased.”


                                               Page 548
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 550 of 900
Approved Judgment                                                                 HC-2015-001324
Mr Justice Hildyard


IFRS 8.32

1717. IFRS 8.32 provides as follows:
                      “An entity shall report the revenues from external customers for each
                      product and service, or each group of similar products and services,


                      unless the necessary information is not available and the cost to develop
                      it would be excessive, in which case that fact shall be disclosed. The
                      amounts of revenues reported shall be based on the financial
                      information used to produce the entity’s financial statements.”

1718. It is not in dispute that IFRS 8.32 in effect obliges an entity to report the
      revenues for “each product or service” that it provides to customers – or each
      “group of similar products or services” – unless the information is not available
      and cannot be made available without excessive expense. It is not suggested that
      this information was not available within Autonomy.

1719. As already noted above, Mr Holgate saw no difficulty or uncertainty in the
      application of the standard in the case of Autonomy. He was of the view that the
      sale of hardware was indeed dissimilar to Autonomy’s software sales: hardware
      and software had to be regarded as different products or different groups of
      products; and that, since the volume of hardware sales was material, IFRS 8.32
      clearly obliged Autonomy to make separate disclosure of its hardware sales.

1720. Against that, and as in relation to the other potentially applicable standards, Mr
      MacGregor noted that the standard did not define “similar products”, which was
      therefore something in relation to which judgement was required. He also noted
      that materiality was, again, a matter in relation to which judgement was
      required. In each case the judgement would be fact-sensitive and nuanced. In
      his opinion, the question turned on the nature of the business being carried on
      by Autonomy; and I took Mr MacGregor to justify this approach in part by
      reference to the need to give some different content to IAS 8.32, ascribing to
      IAS 8 overall the objective of requiring proper disclosure of substantially
      separate and independently run businesses. Mr MacGregor stressed also that in
      his opinion, “judgment was (and is) the foundation when considering the
      application of IFRS 8.32”; and he emphasised that when stating his overall view
      in respect of IAS 8.32:

                      “…judgement is required when determining whether an entity’s sales of
                      products and services require separate disclosure. On the basis that
                      Autonomy’s hardware sales were incidental to the sales of the core
                      software product, I agree with the conclusions reached by Deloitte that
                      separate disclosure was not required.”


1721. Mr MacGregor told me that this was consistent with the way that other
      accountants and other companies (including those which, like Autonomy, had a
      single operating segment for the purposes of IAS 8) had looked at the matter, as


                                               Page 549
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 551 of 900
Approved Judgment                                                                        HC-2015-001324
Mr Justice Hildyard


         had Deloitte in this case after careful consideration of IAS 8.32 and review also
         by its National Accounting and Auditing Team (“NAA”).

1722. Applying that approach, and as in relation to IAS 1.29, Mr MacGregor explained
      his view that Autonomy was not required to make separate disclosure under
      IFRS 8.32 of its hardware revenues, on the basis that Autonomy undertook no
      separate or segregated business of hardware selling: the hardware sales were
      ‘incidental’ to Autonomy’s IDOL software sales.


1723. Mr MacGregor’s view was that on the basis that Autonomy had only one overall
      product (IDOL) and the sales of such product were supported by the hardware
      sales no disclosure was necessary: on that basis, Autonomy was a seller of
      software and the other sales were, like everything else the company did, made
      in order to sell IDOL. As Mr MacGregor put it in cross-examination:
                      “…there is one overall product and that product is supported by
                      essentially the hardware sales. That is the important thing. That is their
                      business model.
                      …
                      My understanding is that Autonomy isn’t interested in hardware, it
                      doesn’t consider itself to be a seller of hardware per se. What it
                      considers itself to be is a seller of certain types of software and
                      everything else it does is designed to support those sales.”220

1724. Mr MacGregor’s general position was encapsulated as follows:
                      “Q. That [i.e growth figures] is plainly information of the sort that could
                            affect the decision of users of the financial accounts, correct?

                      A. Well, it may do but if you’re not required to disclose it, then you’re
                         not required to disclose it. I mean, Autonomy could have taken the
                         view they would disclose it elsewhere but you’re not required to
                         disclose it in a set of financial statements…
                          …
                      Q. …you do not dispute, do you, Mr MacGregor, that being able to
                         identify what gross margin applied to what products an entity was
                         selling is indeed something that could influence the economic
                         decisions of users of accounts?



220
    Mr MacGregor accepted that if the hardware sales were a separate sale of a different product to the
sale of Autonomy’s core IDOL product, then they would have to be disclosed unless hardware sales could
reasonably be considered by management to be ‘incidental’ to the sales of the core product, with their
principal purpose being to ‘drive’ or ‘facilitate’ software sales. Mr MacGregor appeared to accept,
therefore, that if Dr Lynch’s case that Autonomy entered into the hardware sales to drive software sales
is not accepted, the hardware sales should have been disclosed.


                                                Page 550
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 552 of 900
Approved Judgment                                                                    HC-2015-001324
Mr Justice Hildyard


                      A. But it’s not – the breakdown of the gross margin is not something that
                          is required by accounting standards. If you’re going to do it, then
                          it’s done on a…voluntary basis.
                      Q. What’s the answer to my question? Do you accept that it is something
                         that could affect the economic decisions of users of the accounts?


                      A. It might do. It might do…it might do but there’s all sorts of things that
                          companies do that could affect the economic decisions of people out
                          there who might invest or who might not. They’re not required to
                          disclose them in the annual financial statements if it’s not required
                          by the accounting standards.
                      Q. Just in terms of whether hardware and software sales were dissimilar
                          in nature or indeed function to other items that Autonomy was
                          selling, just standing back, there’s a fairly obvious distinction
                          between the nature of hardware and the nature of software?
                      A. Yes, there is. If you step back and look at those two things, but my
                          understanding is within the context of the business that Autonomy
                          considered it was essentially selling one overall product, and that
                          everything connected with the sale of that product was considered to
                          be the sale of revenue.
                        The way I think about this when I think about one-segment companies
                        of which there are some, you’re allowed to have one-segment
                        companies, IFRS 8 allows you to do that, is this: the principal thing
                        you’re selling, the other things which are sold you wouldn’t sell but
                        for the principal thing you are selling. That is the distinction which I
                        make in terms of trying to understand why you have a one-segment
                        company.”

1725. This was consistent with the approach in Deloitte’s report in relation to IFRS
      8.32 in 2009 (which was approved and signed off by the NAA, as was their
      report in 2010) which read as follows:
                      “All of the software solutions provided by Autonomy to its clients are
                      underpinned by the single core IDOL technology. On that basis,
                      management has provided the following analysis of the revenue balance
                      for the group’s single operating segment (Note 4):

                                 (1) Sale of goods

                                 (2) Rendering of services; and

                                 (3) Interest Receivable


                      We note that sale of goods included all items of software and strategic
                      hardware sold during the year. Rendering of services is the release of


                                                Page 551
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 553 of 900
Approved Judgment                                                                 HC-2015-001324
Mr Justice Hildyard


                      the support and maintenance revenue and the provision of professional
                      services to clients.

                      As outlined above, management tracks all licence and strategic
                      hardware sales as a single body of sales, being the sale of goods. This
                      is consistent with the financial information presented to Mike Lynch
                      and it is the basis on which he makes his resource allocation decisions.
                      Likewise, the deferred revenue release and the professional services
                      rendered are also reported to Mike as a single line item.

                      On that basis, we deem that management has appropriately disclosed a
                      breakdown of revenue that is consistent with the information presented
                      to the Chief Operating Decision Maker and is that used to produce the
                      group’s financial statements.

                      It is worth noting that in their Q4 2010 press release, management did
                      provide some representative revenue figures for the following virtual
                      product categories:

                             -IDOL Product;
                             -IDOL Cloud;
                             -IDOL OEM;
                             -Deferred revenue release; and -Services.

                      We note that whilst this information was able to be produced following
                      some detailed analysis performed by management, these are not
                      amounts extracted from the financial information that underpins the
                      preparation of the financial statements. It was derived from a separate
                      analysis purely [performed] for providing some information to analysts
                      on the performance of each virtual product category. It does not
                      represent the way that revenues are analysed out on a regular basis
                      for presentation to Mike Lynch.

                      We also note that this is just one of several virtual buckets that
                      management use to badge their different product offering to analysts,
                      another being the Protect, Promote and Power families. Again, no
                      separate financial information is maintained on a regular basis to
                      evidence the results for any of those virtual brands.

                      On that basis we note that the disclosure provided by management is in
                      line with the requirements of IFRS 8.”


1726. Mr Holgate considered that IAS 8 clearly required separate disclosure of
      revenues from hardware sales (assuming the information was available and
      material). He accepted that it was a new standard at the time and there had been
      “some uncertainty as regards the disclosure of operating segments because it
      was based on a new idea of what was reported internally to the chief operating


                                               Page 552
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 554 of 900
Approved Judgment                                                                HC-2015-001324
Mr Justice Hildyard


         decision-maker” but he disagreed that IAS 8.32 was a source of difficulty, and
         described it as “quite straightforward.” He countered the suggestion put to him
         in cross-examination that the provision lacked a definition of “the idea of
         products or groups of similar products and services” by the response that “they
         just have their natural meaning”.

1727. He disagreed with Mr MacGregor’s approach (and thus also with that of Deloitte
      and the NAA), and considered it (a) to rely on a gloss which was not justified
      by the words of IAS 8.32, (b) to be extreme and implausible in treating hardware
      and software as similar products, and (c) to be a view and approach which would
      not have been taken either by him and his firm or “the vast majority of auditors
      and the ones I’ve come across and worked with”.

1728. However, Mr Holgate was nevertheless reluctant, when cross-examined directly
      whether nevertheless a range of views might encompass the decision made by
      Autonomy and Deloitte, to say that he considered it to be “completely outside
      the range of what a reasonable accountant could think.” As in the context of
      IAS 1, his response was that clearly that is not the way he would have accounted
      for hardware, and he thought that not only his own firm, but many other firms
      also, would have considered that disclosure was required; but he could not say
      that it was “outside the range of what a reasonable accountant could think.”
      That was the same answer as he had given in relation to IAS 1.
Materiality

1729. The two experts had different views as to the materiality test, which seem to me
      also to reflect their different approaches to the provisions discussed above.
      These differences can be summarised as being:

              (1) In Mr MacGregor’s view, “if you’re not required to disclose it, then
                  you’re not required to disclose it”. Materiality is only a consideration in
                  determining whether what would otherwise be a requirement of
                  disclosure is material or not sufficiently material to warrant it. To sever
                  materiality from the anchor of the specific disclosure requirements
                  would lead to what Mr MacGregor called a “free for all”: what is in fact
                  required is to comply with the standards.

              (2) In Mr Holgate’s view, this was a surprising and extreme position, which
                  could not be consistent with IAS 1, which is directed towards a fair
                  presentation of the company’s financial position, and could not be right.
                  Material information as to the company’s performance and financial
                  position should be disclosed, if not under specific IFRS provisions then
                  under IAS 1, to achieve fair presentation.

              (3) The essential question is the relationship between the general
                  requirement of IAS 1 (which expressly “sets out overall requirements
                  for the presentation of financial statements, guidelines for their structure
                  and minimum requirements for their content”) and the specific
                  provisions presumed in “virtually all circumstances” (quoting IAS
                  1.17) to implement those general requirements (albeit with the override
                  that in what Mr MacGregor called “the very, very rarest cases”


                                            Page 553
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 555 of 900
Approved Judgment                                                            HC-2015-001324
Mr Justice Hildyard


                      “additional disclosure” might remain necessary (despite the
                      presumption) to “result in financial statements that achieve a fair
                      presentation.”)

              (4) Mr Holgate considered that this is a “rarest case”. Mr MacGregor did
                  not, at least if (as he put it in cross-examination) “all the sales…are
                  being designed to do one thing which is to sell IDOL software.”
My assessment

1730. I agree that the essential dispute requires review of the relationship between the
      general requirement of IAS 1 and the specific provisions presumed in “virtually
      all circumstances” (quoting IAS 1.17) to implement those general requirements,
      and the application of the “override”.


1731. I agree with Mr MacGregor that the starting point, and in ordinary
      circumstances, also the end-point, is what is specifically mandated by the
      Accounting Standards. Full compliance, mitigated by exception for
      immateriality, should ordinarily ensure fairness. I agree also with the
      Defendants that it does not follow from the fact that something might be
      considered “reasonably useful” that it must be disclosed. There are many
      aspects of a company’s financial position and financial performance which
      some investors might wish to know about but of which disclosure is not
      mandated. The Accounting Standards are intended to determine what is to be
      disclosed and how disclosure is to be effected: and the ordinary presumption
      will be that if the information is not required to be disclosed under specific
      Standards, then even if “reasonably useful” it need not be disclosed.

1732. On the other hand, I agree that there are rare circumstances where the materiality
      of the matter in question is such that disclosure is required notwithstanding that
      there are no specific Standards unequivocally mandating it. If the Standards do
      not appear to require disclosure of a matter which, measured by its likely effect
      on their assessment of the company if readers of the published information were
      to be made aware of it, is of plain and obvious materiality, the “override” may
      apply. In my judgment, information may just as much be “required” to be
      disclosed for the purposes of s. 90A(3)(b) and (when it came into force in
      October 2010) Schedule 10A paragraph 3(1) of FSMA to give, overall, a true
      and fair view of a company’s position and performance as when specific
      accounting principles or statements of practice expressly require it.

1733. It is, in other words, ultimately a question of degree, to be answered taking into
      account (a) any judgement as to why specific requirements, which are
      themselves a useful litmus test of materiality, do not apply, (b) any reasons why
      disclosure is thought to be unnecessary or commercially unwise, and (c) whether
      having regard to (a) and (b), disclosure is nonetheless required in order to
      provide, in the round, a true and fair view.

1734. Sometimes, I would surmise often, there will be a nice balance; in those cases it
      would to my mind be surprising to conclude that nevertheless disclosure was
      “required”. I agree with the Defendants’ submission that where there is a range


                                             Page 554
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 556 of 900
Approved Judgment                                                              HC-2015-001324
Mr Justice Hildyard


         of permissible views on whether a matter is “required to be included”, an issuer
         will not be held liable for the omission of that matter: and in any event, if there
         was doubt that would be fatal to a fraud case. In my view, that is especially so
         where the Standards do not appear specifically to be applicable and the question
         of any exceptional “override” is being considered.


1735. In the limited category of cases, where the real reason for non-disclosure is a
      dishonest intention to conceal, the two limbs of this analysis come together.
      Consciousness of a high degree of materiality in combination with a conscious
      determination to conceal the relevant facts and matters from published
      information precisely because of their materiality from the point of view of the
      reader will likely result in there being (a) a “requirement” by virtue of the
      “override” and (b) dishonest concealment such as to establish liability.

1736. As to the first hurdle for the Claimants of establishing a disclosure
      “requirement” under the Standards, Mr Holgate tended initially to give the
      impression of a rather black and white approach. In the end, however,
      notwithstanding his own unequivocal views as to the correct interpretation of
      the Standards, he accepted that neither in the context of IAS 8 nor in the context
      of IAS 1 was he willing to say that the judgement made was “outside the range
      of what a reasonable accountant could think” (see paragraph 1728 above). I
      have considered whether this simply reflects polite unwillingness to express
      views entailing the conclusion that a respected firm had unanswerably been
      negligent. I have concluded that although that may have been part of it, his
      reluctance was primarily based on a realistic appreciation that the points made
      were arguable.

1737. The lesson suggested by the expert evidence is that there was a range of
      permissible views on the application of the specific provisions in the
      Accounting Standards; that would suffice for the Defendants since a statement
      is not to be regarded as false or misleading where it can be justified by reference
      to that range of views.

1738. In those circumstances, and in light of Mr Holgate’s concession that the case
      that no disclosure was required by the Standards was arguable, I agree with the
      Defendants that this is not the occasion to determine which of the competing
      views on the application of the various Standards is best as if it were a binary
      matter and then conclusive; for it must always be borne in mind that this is a
      case based on the alleged dishonesty of the Defendants. No claim is made in
      these proceedings against Deloitte, and there is no suggestion that Deloitte were
      aware of, still less colluded in, any dishonesty. In such a context, even a
      conclusion that in each case the applicable Accounting Standards were not
      properly applied, and that correctly construed the separate disclosure of
      hardware sales was mandated, would not be enough for the Claimants. They still
      have to prove that (a) the Defendants knew that disclosure of the hardware sales
      was required and (b) the non-disclosure was the dishonest concealment of a
      material fact, notwithstanding that in every case Deloitte did approve the
      accounting treatment and did not advise that disclosure was required.



                                           Page 555
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 557 of 900
Approved Judgment                                                              HC-2015-001324
Mr Justice Hildyard


1739. In other words, the ultimate question in determining whether there has been a
      failure to disclose a matter required to be disclosed by the Standards is not the
      meaning of the specific provisions but whether the Defendants knew there was
      a requirement to include the relevant fact and determined to and did conceal it.
      If they honestly believed that the views taken and judgements made in relation
      to each relevant bit of published information was one within the range of
      acceptable views, having regard to the facts as known at the time, and that
      therefore disclosure was not required, that establishes a good defence so far as
      the “requirements” of the Standards are concerned. That is so even if the
      relevant but undisclosed fact was highly material, though the greater the
      materiality, the more likely it is that its non-disclosure was deliberate. However,
      that is not the end of the matter: the question remains whether the non-disclosure
      (or the form of any disclosure made) amounts to dishonest concealment because
      the directors
      knew that disclosure (or a different form of disclosure) was required in order, in
      the round, to present a true and fair view.


Did the Defendants determine dishonestly to conceal matters they knew to be material?
1740. I turn to address the issue whether, if the Claimants were able to prove one or
      more omissions of a “matter required to be included” in the published
      information, the Defendants “knew the omission to be dishonest concealment of
      a material fact”. I do so on the premise (contrary to my finding) that the purpose
      given for the hardware reselling was as it was stated to have been by the
      Defendants. I am aware (and wary) of piling hypothesis on hypothesis.

1741. The Defendants relied in this context on Deloitte’s advice to the effect that there
      was no “requirement” mandating disclosure, so that disclosure was a
      commercial judgement for the board of Autonomy, and contended that in such
      circumstances they honestly believed that there was no relevant concealment. It
      was stressed on their behalf that:


              (1) As noted previously, only proof of actual ‘guilty’ knowledge at the time
                  of a requirement to include the relevant fact would suffice: absent actual
                  knowledge of such a requirement there can be no liability for dishonest
                  concealment.

              (2) Dishonesty is the gist of the claim against the Defendants and must be
                  proved, and although in civil proceedings the standard of proof always
                  is that of a balance of probabilities, the seriousness of the allegation
                  means that in the ordinary course, cogent evidence is required in order
                  to overcome the inherent unlikelihood of what is alleged and thus to
                  prove it. Experience shows that in the ordinary course, a benign though
                  curious explanation is often more reliable than a malign though initially
                  plausible one; and furthermore, the seriousness of the consequences of a




                                            Page 556
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 558 of 900
Approved Judgment                                                                           HC-2015-001324
Mr Justice Hildyard


                      finding of dishonesty militates against the likelihood that the person
                      implicated took the risk of it.221

               (3) It is relevant to consider the advice given to the company and its
                   directors: and where, on the basis of advice, a director is given to
                   understand that it is not requisite to disclose a particular fact in the
                   company’s published information, the omission of that fact is unlikely
                   to amount to a dishonest concealment of it, unless the giver of the advice
                   was materially misled by or to the knowledge of the recipient of it or that
                   recipient knows full well in some way that the advice is wrong.




               (4) It is clear from the language of the Schedule that a PDMR must have the
                   relevant guilty knowledge in respect of each false statement or omission
                   alleged to give rise to liability. Paragraph 3(2) states that “The issuer is
                   liable in respect of an untrue or misleading statement only if a person
                   discharging managerial responsibilities within the issuer knew the
                   statement to be untrue or misleading or was reckless as to whether it
                   was untrue or misleading.” Liability is only engaged in respect of
                   statements known to be untrue.222 If a company’s annual report contains
                   ten misstatements, each of them relied on by a person acquiring the
                   company, but it can only be shown that a PDMR knew about one of
                   those misstatements, the company will only be liable in respect of that
                   one, not the other nine.


1742. The Claimants submitted that nevertheless:

         (1)      The Defendants’ assertion of an honest belief based on Deloitte’s advice
                  as to the permissibility of not disclosing the hardware sales must also be
                  tested against the background that the Defendants were prepared to tell
                  deliberate lies to the market to ensure that the hardware sales were not
                  detected.

         (2)      In that regard, the Defendants’ Q&A scripts for the earnings calls
                  contained numerous deceptive answers to questions about Autonomy’s
                  hardware revenues, many of which Dr Lynch now accepts were
                  misleading (or were, at least, capable of being so).

         (3)      Further, what the Defendants actually said on the Q1 2010 and Q2 2010
                  earnings calls was flatly untrue: Dr Lynch’s attempt to deny, and put the
                  market off the scent of, Autonomy’s pure hardware sales sits very

221
    Against this, I have reason to recall that the Court of Appeal has stated recently that “…in commercial
cases, there will be a wide spectrum of probabilities as to the occurrence of reprehensible conduct”, and
once a propensity for dishonesty in and around the same matter has been demonstrated it is faintly absurd
to elevate the principle that it is inherently improbable that a party would do something dishonest into a
relevant benchmark for the determination of the issues”: see Bank St Petersburg PJSC & Anor v
Arkhangelsky & Anor [2020] EWCA Civ 408 at [47].
222
    The same argument applies in relation to omissions: Sch 10A §3(3).


                                                 Page 557
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 559 of 900
Approved Judgment                                                                 HC-2015-001324
Mr Justice Hildyard


                  uneasily with the contention that he genuinely believed on the basis of
                  Deloitte’s advice that it was permissible for Autonomy to remain silent
                  about its hardware sales.

         (4)      In addition, the Defendants well knew that Deloitte by no means readily
                  blessed the non-disclosure of the hardware sales, even on the false basis
                  as to the purpose of those transactions presented to Deloitte. On the
                  contrary, Deloitte repeatedly advised Autonomy to make such
                  disclosure. That advice was ignored. Gathering this together:


                      i.    On 14 October 2009, following receipt of the Strategic Deals
                            Memorandum, Mr Knights wrote to the Defendants noting that
                            there would be an issue at year-end as to whether the hardware
                            sales needed to be disclosed and that, “if disclosure did become
                            necessary and in the absence of any previous indication through
                            the year, it would be the first time that this information would be
                            made available to your investor and analyst community. This
                            might be worthy of some consideration at Q3?”


                      ii.   Deloitte’s report to the Audit Committee for Q3 2009 dated 16
                            October 2009 noted that hardware sales represented 19% of the
                            total revenues for the quarter and that the Autonomy board
                            “should consider how best to communicate this new opportunity
                            to the shareholders as these revenues are not driven from the
                            organic IDOL technology of the Group”. Deloitte added that, if
                            hardware sales in the year were significant, there might be a
                            requirement to disclose them in the year-end financial
                            statements.

                      iii. Deloitte’s report to the Audit Committee at Q2 2010 advised that
                           “Given the increasing significance of hardware sales to the
                           Group’s revenues, and the resultant impact on the gross and
                           operating margin in the quarter and half year results we would
                           expect appropriate explanation to be given in the Q2 2010 press
                           release”. None was given.

                      iv. Deloitte’s report to the Audit Committee for Q3 2010 again
                          advised that given the “increasing significance of the hardware
                          sales to the Group’s revenues, and the resultant impact on the
                          gross and operating margin in the quarter and half year results
                          we would expect appropriate explanation to be given in the Q3
                          2010 press release”. Again, none was given.

                      v.    Deloitte’s report to the Audit Committee on the 2010 audit stated
                            that “Given that Autonomy has purchased and on-sold $110
                            million of hardware during 2010, management now considers
                            that the level of sales being made is equivalent to that of a
                            hardware reseller”. Deloitte expressed the view that, “Given the


                                              Page 558
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 560 of 900
Approved Judgment                                                             HC-2015-001324
Mr Justice Hildyard


                          increasing significance of hardware sales to the Group’s
                          revenues, and the resultant impact on the gross and operating
                          margin in the quarter and full year results, we expect
                          appropriate explanation to be given in the 2010 Annual Report”.
                          None was given.

                      vi. The Claimants posed the rhetorical question: why were the
                          Defendants so concerned that the market should be kept ignorant
                          of these hardware sales, even if this meant ignoring the views of
                          their own auditors, if there was nothing to hide?

1743. For these reasons, the Claimants contended that the Court should find that the
      Defendants lacked any honest belief that it was proper for Autonomy to
      withhold disclosure of the fact, nature and extent of its hardware sales.
Conclusion

1744. My starting and ending point is a strong caveat that my assessment of these
      opposing contentions is artificial, since I am proceeding on a premise which I
      have earlier rejected, and building hypothesis on hypothesis leads to a suspect
      structure.

1745. However, on the hypothetical premises, I would not have been persuaded that
      the Defendants knew that Deloitte were wrong in their interpretation of the
      Accounting Standards and their application. The Defendants would have been
      entitled to rely on Deloitte’s interpretation of the particular provisions of those
      Standards, except in one regard: the exception in my judgment, relates to what
      I have called “the override”.

1746. As to the exception, in my view, the “override”, which reflects or echoes the
      long-established company law requirement that a company’s accounts must
      present a “true and fair view”, can be taken to be engraved on the heart of every
      company director (and especially the CEO and CFO of a public listed company).
      Though it may be informed by the views of accountants, the assessment whether
      a company’s accounts, in the round, achieve this objective is a judgment for its
      board of directors by reference to overall fairness, which cannot exclusively be
      defined or confined by statements of accounting principle, and the assessment
      of which cannot be delegated. A question as to whether disclosure should be
      made, and in what form, is a paradigm example of one which cannot exclusively
      be determined by statements of accounting principle, or by a company’s
      accountants and auditors: it is ultimately a matter for the judgment of the
      directors, acting in good faith with a view to providing the information
      necessary to provide a true and fair view of the company’s position and
      performance.


1747. In my judgment, the nature and extent of the hardware reselling strategy was
      information of sufficient materiality that its non-disclosure resulted in
      Autonomy’s published information in the round being false and misleading: and
      the Defendants knew that, and were dishonest therefore in concealing it.


                                            Page 559
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 561 of 900
Approved Judgment                                                                 HC-2015-001324
Mr Justice Hildyard




1748. The question posed by one of the Reviewers (Mr Robertson) in Q3 2009 (see
      paragraph 1361(8)(ii) above) rings in the ears:


                      “What’s the sensitivity about being more transparent on this score? If
                      it’s a strong strategic move for them, why wouldn’t they want to explain
                      this?”

1749. No satisfactory answer was ever provided. As indicated in paragraphs 878 to
      888 above, Dr Lynch’s justification for it was stated in his first witness
      statement as follows:
                      “HP complains that Autonomy should have provided further disclosure
                      about the nature and extent of its “pure hardware sales”. Autonomy was
                      under no obligation so far as I was aware at the time, to break down its
                      revenue into hardware and software, let alone into different types of
                      hardware. Given the defensive nature of the hardware strategy, we did
                      not particularly want to volunteer this information to the market. We did
                      not want competitors to know that we felt vulnerable by the move to
                      appliances or that we perceived a risk of being removed from strategic
                      supplier lists (and copy our strategy of selling increased volumes to
                      these companies). In addition, we did not want our relationships with
                      one hardware supplier to preclude us from working with another or
                      news of favourable deal terms getting out and being demanded from
                      everyone. The more details we disclosed about our hardware sales, the
                      more we exposed these commercial sensitivities.”

1750. As with most, if not all, of Dr Lynch’s explanations, this carried an initial
      semblance of reason and reliability: and no doubt non-disclosure did have the
      advantages identified, especially in Q3 2009. However:


              (1) Dr Lynch’s own evidence was that in Q3 2009, the market perceived
                  appliances to be a likely preferred means in the immediate future of
                  delivering software. That was no secret, and nor was it a secret, or
                  otherwise than obvious to anyone interested, that Autonomy had no
                  appliance offering. Why keeping quiet Autonomy’s avowed efforts to
                  develop an appliance jointly with the largest hardware suppliers in the
                  world to remedy this apparent gap in its offering in those circumstances
                  was necessary or appropriate is extremely difficult to explain.

              (2) The Defendants could never quite make up their mind whether their case
                  was that the market did know or that it did not know of the hardware
                  sales. Mr Bloomer thought it did, and said that there was no attempt to
                  keep from the market the fact that Autonomy sold hardware at a loss,
                  and he himself discussed this with an institutional investor (Hermes): in
                  which case the commercial sensitivity argument seems further eroded.




                                               Page 560
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 562 of 900
Approved Judgment                                                               HC-2015-001324
Mr Justice Hildyard


              (3) The “shift” in the rationale for the hardware reselling strategy in Q1 2010
                  or Q2 2010, away from appliances or establishing Autonomy as a
                  preferred supplier, and towards a “customer-facing” or “one-stop shop”
                  justification, left much of Dr Lynch’s justification outmoded.

              (4) Furthermore, the relevant customers were, according to the Defendants’
                  own case, existing volume customers of Autonomy in the financial field,
                  further calling into question why there should have been sensitivity in
                  revealing details lest customers use it against Autonomy. There is no
                  evidence or sign to suggest that Autonomy would not have wished to
                  offer the same terms to all valued software customers to incentivise
                  software sales.

1751. Overall, and even (a) on the premise that the purpose of the hardware sales was
      to drive software sales and (b) accepting that the Court will be very hesitant in
      second-guessing genuine business judgments made in good faith by those
      entrusted to make them, the proportion of the revenues derived from hardware
      seems to me so to have cried out for disclosure as to outweigh any contrary
      commercial sensitivity in determining the issue of disclosure. It may be
      remembered that this is broadly what Mr Ariko thought: and he was only
      deflected by the series of falsities in Dr Lynch’s response to his request for a
      review of disclosure (see paragraphs 879 to 881 and paragraphs 1395 to 1403
      above), including that the market was already aware of hardware sales from
      what they had been told on earnings calls.

1752. I have taken into account, in deciding that the decision not to disclose was not
      within the generous ambit of discretion afforded by the court in matters of
      commercial judgement, the counter-indication that neither the Audit Committee
      nor Mr Webb considered that disclosure was required either, and there is no
      suggestion of lack of impropriety on their part in this regard. I have explained
      Mr Bloomer’s outlook in paragraphs 859 to 862 above, and Mr Webb’s in
      paragraph 863 above.

1753. In my view, the Audit Committee’s curious indifference or at least passivity in
      this regard under the chairmanship of Mr Bloomer, and in particular his and
      their approach in considering the measure of materiality for these purposes to
      be in the region of 25% of total revenues, appears to me to reflect a mistaken
      approach. They treated materiality according to whether the programme was of
      such a size or nature as to upset the segmental analysis (see paragraph 1372
      above). But though related that was a different issue. In four of the ten quarters
      in the Relevant Period more than 10% of revenue comprised loss-making
      hardware sales. In Q3 2009, 22.8% of revenue was so comprised, and though
      this dropped in Q4 2009 and Q1 2010 (to 4.1% and 6.1% respectively) after the
      cessation of Autonomy’s relationship with EMC, it rose again to 14.1% in Q2
      2010, 12.7% in Q3 2010 and 12.0% in Q4 2010, before dropping back again to
      9.1% in Q1 2011 and 8.1% in Q2 2011. This was, in my judgment, clearly
      material, and whilst the Audit Committee and Mr Webb appear to have been
      disoriented by the segmental issue, there is nothing in the evidence to suggest
      that the Defendants were in the same way.



                                            Page 561
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 563 of 900
Approved Judgment                                                                   HC-2015-001324
Mr Justice Hildyard


1754. In any event, even if Mr Bloomer and his colleagues, and it also seems Mr
      Webb, considered that the hardware reselling strategy was well known to the
      market, the Defendants knew that it was not. The Defendants’ perspective was
      different.

1755. At this point the accumulation of hypotheses becomes almost impossible to
      accommodate. But on the footing that whilst I am to assume a proper purpose
      for the hardware sales, and no imperative to conceal the purpose, I am not
      required to accept the commercial reasons given by Dr Lynch, which seem to
      me to be contrived. No substantial or satisfactory answer to the pertinent
      question posed by Mr Robertson in Q3 2009 as to what could possibly be the
      sensitivity about transparency of a strong strategic move having been given, and
      in light of the Defendants’ consistent and egregious efforts to find reasons or
      Delphic language to avoid it, I would have been inclined to the conclusion that
      the Defendants simply had no good reason not to disclose. That would leave a
      judgment based on a covert and dishonest objective as the only available
      explanation.

1756. Fortunately, however, I need not and do not base my decision on that ground.
      On my actual conclusions, the ultimate relevance of the exegesis and assessment
      is in its confirmation of my judgment that the Defendants lacked any honest
      belief that it was proper for Autonomy to withhold disclosure of the fact, nature
      and extent of its hardware sales.


Issue (3): Did Autonomy’s treatment of the costs of the hardware render
Autonomy’s published information untrue or misleading and did the Defendants
appreciate this?


1757. Obviously, if the true purpose of the hardware reselling strategy was to pump
      up revenue and the purpose put forward to Deloitte of driving software sales
      was a pretext, the allocation of part of the costs or losses of the programme to
      sales and marketing expenses, rather than as COGS, was both a further
      indication and a further instance of impropriety. The experts were agreed on this
      also. But what if the purpose was as put forward by the Defendants?

1758. The Claimants contended that even then it is plain that the Defendants


                      “did not genuinely believe that it was proper to treat part of the costs of
                      the hardware that was sold as a sales and marketing expense…that
                      treatment was driven, not by any genuine attempt to apply the
                      accounting standards correctly, but by reverse-engineering to get to a
                      desired gross margin figure.”


1759. The Claimants’ expert, Mr Holgate, accepted that there was no IFRS guidance
      on what a company should include in COGS or Sales and marketing but that
      was because it was so obvious that it does not require explanation. He
      considered and opined that it was obvious that it is:


                                                Page 562
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 564 of 900
Approved Judgment                                                                    HC-2015-001324
Mr Justice Hildyard




                      “clearly contrary to IFRS and wrong in a wider sense to account for
                      part of COGS as sales and marketing expense…
                      …
                      Making sales at low margins, or even at losses, has no impact on the
                      simple principle that the costs of goods sold is shown as COGS and the
                      costs of sales and marketing activities are shown as sales and marketing
                      expenses. The effect of a reduction in sales price is exactly that: revenues
                      are reduced.”

1760. Thus, according to the Claimants, it was plain and obvious that Autonomy was
      wrongly and misleadingly treating all the revenue from ‘pure’ hardware sales as
      revenue, but less than all of the costs of the product that it sold as a cost of that
      revenue. Autonomy’s published information was untrue or misleading for the
      further reason that the allocation to sales and marketing of any part of the costs
      of the hardware reselling strategy resulted in the figures for COGS, gross profit,
      gross margin, and sales and marketing expenses in the Annual Reports and the
      Quarterly Reports from Q3 2009 to Q2 2011 all being false.

1761. The Defendants did not accept this. They contended that within the price paid
      for the hardware was an element of marketing expense; and there was nothing
      in the IFRS or otherwise to prevent that element being allocated in accordance

         with what they presented to be its true nature. Further, all of the various
         allocations of costs to sales and marketing were closely monitored by Deloitte
         (including review by the Reviewers), who signed off on them in every quarter
         in the Relevant Period as representing a reasonable allocation having regard to
         the marketing purpose.

1762. The Audit Committee likewise were content with the final figures agreed. Mr
      Bloomer explained in his witness statement:
                       My view was that it was not unreasonable for losses on hardware sales
                      to be categorised to sales and marketing when the benefit generated
                      from having incurred these losses would arrive over time through
                      further sales.”


1763. Mr MacGregor supported this line, elaborating when cross-examined that he
      could see nothing wrong with treating as a sales and marketing expense “the
      loss which has been taken because it’s an incentive to sell the overall software
      product…”

1764. Given my previous conclusions, it is sufficient to state my views on this area of
      the dispute in more summary form:

              (1) Mr Holgate’s approach tended to overlook the Defendants’ basic
                  argument that part of the amounts paid by Autonomy to the hardware



                                                Page 563
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 565 of 900
Approved Judgment                                                                 HC-2015-001324
Mr Justice Hildyard


                      supplier concerned were referable to, and properly treated as, a premium
                      to fund marketing.

              (2) To the extent that the payment of such a premium could be shown on the
                  facts, I am not persuaded (on the hypothesis that the hardware reselling
                  was for the purposes asserted by the Defendants) that it would be wrong
                  to account for it, or some part of it, as a marketing expense.

              (3) Whether that was sufficiently demonstrated by Autonomy in every or
                  any case is a question of fact.

              (4) In point of fact, I have concluded previously (see paragraphs 1335 to
                  1340 above) that the “residual method” was adopted in respect of the
                  amounts paid to EMC in Q3 2009 as an expedient proxy because EMC
                  was not prepared to acknowledge that any part of the purchase price paid
                  by Autonomy for the hardware it resold was referable to development or
                  marketing costs. This was not an appropriate basis on which to allocate
                  to Sales and marketing a sizeable proportion of the costs.

              (5) Similarly, and notwithstanding the provisions unilaterally inserted into
                  the purchase orders by Autonomy to bolster an argument that part of the
                  purchase price of hardware supplied by Dell was referable to marketing
                  or development (see paragraphs 940 to 941 above), neither Dell nor, for
                  that matter, Hitachi, ever agreed to part of the purchase price being
                  committed in that way, and there was no sufficient basis in fact for
                  allocating any substantial part of the costs to Sales and marketing.
                  Indeed, that was the decision of Deloitte, subject to a concession in
                  respect of losses (10%) and to Mr Knights’ “solution” (see paragraph
                  1495(2) above).

              (6) I accept the Claimants’ contention that the amount of costs which
                  Autonomy proposed should be allocated to Sales and marketing was
                  dictated by (a) management’s need to reduce the impact of the loss
                  making hardware reselling strategy on gross margins (and thereby, in
                  effect, manipulate the figures) and (b) what Deloitte could be persuaded
                  to accept. Internal emails demonstrated this: the examples given by the
                  Claimants being (a) an email from Mr Hussain to Mr Chamberlain dated
                  11 October 2009, asking Mr Chamberlain to “see if you can allocate
                  $4m from cogs to opex” because “need GM [i.e. gross margin] to be at
                  the minimum 86%” and (b) an email dated 18 April 2010 from Mr
                  Hussain to Dr Lynch telling him “need to relocate some costs from cogs
                  to opex”.

              (7) After Deloitte had confined the sales and marketing expenses allocation
                  to losses (and thus some 10% of costs) the amounts became relatively
                  immaterial: certainly, that was the view taken by Mr Bloomer and his
                  colleagues on the Audit Committee.


1765. With reference to (7) above, Mr Miles submitted in his oral closing submissions
      that even if in Q3 2009 the amount allocated was (a) not properly substantiated


                                               Page 564
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 566 of 900
Approved Judgment                                                              HC-2015-001324
Mr Justice Hildyard


         (b) disproportionate in any event and (c) calculated by the process of reverse
         engineering suggested by the Claimants, the Claimants did not make their
         decision by reference to Q3 2009, and by 2010 the impact on the accounts had
         been much reduced because Deloitte had insisted that only losses could be
         allocated, with the effect that 90% of the costs were allocated to COGS. The
         impact on gross margin of about 1% was immaterial. According to the
         argument, therefore, Autonomy’s accounts in 2010 and 2011 were not rendered
         materially untrue or misleading even if the losses from hardware sales were
         wrongly allocated to sales and marketing: there was no material deficiency in
         disclosure.

1766. This argument, which was not in Dr Lynch’s written closing submissions, was
      not specifically addressed by Mr Rabinowitz in his oral reply. Had it been
      decisive, I would have required additional assistance, since I have not found it
      an easy point. The difficulty, as I see it, revolves around the separate but
      associated issues of inducement and causation, and the difficulty of determining
      what the effect would have been on subsequent accounts if in the Q3 2009 and
      the 2009 Year-end accounts substantially all the costs of the hardware reselling
      strategy had been allocated to COGS as I have concluded they should have been.
      I am disposed to think that the presentation would have altered and that Mr
      Miles’ argument would not be conclusive against the Claimants’ case. That
      seems to me to be supported by the evidence of Mr Gersh in cross-examination
      to the effect that had HP appreciated prior to the acquisition that part of the costs
      of hardware or appliance sales had been allocated to sales and marketing
      expenses, it would have been in a better position to assess the volume of such
      sales. But I prefer not finally to determine the point.

1767. Lastly under this heading, and in case the matter were to become relevant in the
      future, I confirm my view that contrary to the Defendants’ case, Dr Lynch was
      involved from the outset (Q3 2009) in the issue of cost allocation.

Issue (4): Should Autonomy, at the least, have made clear in its published
information what its accounting policy was with respect to hardware costs?


1768. I can also be relatively brief in summarising my view in respect of the further
      issue about the extent to which (if any) it was necessary for Autonomy to make
      clear in its published information what its accounting policies were with respect
      to its hardware cost accounting.

1769. Mr Holgate pointed out in his first report that the only disclosure given by
      Autonomy in its 2009 and 2010 consolidated financial statements (note 2(h))
      was:
                      “sales and marketing costs comprise the costs of the sales force,
                      commissions and costs of promoting new products and entering into new
                      markets.”




                                              Page 565
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 567 of 900
Approved Judgment                                                                  HC-2015-001324
Mr Justice Hildyard




1770. He noted that this policy for sales and marketing costs did not refer to hardware
      or hardware reselling, though in 2010 (only) the policy for cost of revenue did
      refer to hardware in passing:
                      “Cost of revenues: Cost of licence revenues include the cost of royalties
                      due to third party licenses, costs of product media, product duplication,
                      hardware and manuals.”

1771. Mr Holgate suggested that this clearly gave the incorrect impression that all
      hardware costs were included in costs of revenue and none was included in sales
      and marketing expenses.

1772. He cited various IFRS requirements in relation to disclosure of accounting
      policies as follows:

              (1) IAS 1’s requirement that:
                      “An entity shall disclose in the summary of significant accounting
                      policies: (a) the measurement basis (or bases) used in preparing the
                      financial statements; and (b) the other accounting policies used that
                      are relevant to an understanding of the financial statements” [Mr
                      Holgate’s underlining]


              (2) A further requirement in IAS 1 with specific reference to judgements
                  made that:

                      “An entity shall disclose, in the summary of significant accounting
                      policies or other notes, the judgements, apart from those involving
                      estimations…that management has made in the process of applying the
                      entity’s accounting policies and that have the most significant effect on
                      the amount recognised in the financial statements.” [Again, Mr
                      Holgate’s underlining]


1773. In Mr Holgate’s opinion:
                      “These requirements clearly point to a need for Autonomy to have
                      disclosed that part of COGS (i.e. the costs of the hardware) had been
                      accounted for as sales and marketing expenses. It would have been
                      ‘relevant to an understanding of the financial statements’ for a user to
                      have known that gross profit had been increased by moving part of
                      COGS to a heading (sales and marketing expenses) that was presented
                      below gross profit. Likewise, ‘disclosure would have assisted users in
                      understanding’ the accounting treatment and the underlying business
                      undertaken and margins achieved. In addition, disclosure of the
                      accounting policy would assist users in understanding the ‘judgement’
                      that ‘management [had] made…Indeed, adding wording dealing with


                                               Page 566
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 568 of 900
Approved Judgment                                                              HC-2015-001324
Mr Justice Hildyard


                      the inclusion of part of COGS in sales and marketing expenses would
                      have been much more important than the disclosure that Autonomy
                      actually gave. This is because the sales and marketing policy wording
                      in the notes to the 2009 and 2010 annual financial statements…was
                      both compliant and reasonably obvious (and therefore arguably
                      unnecessary); whereas the inclusion of part of the hardware costs in
                      sales and marketing expenses was both non-compliant and unexpected,
                      and therefore disclosure was necessary.”

1774. Mr MacGregor did not agree with this, and explained that the requirement was
      to disclose the principal policies and that it was not necessary to present policies
      in the granular way implicit in Mr Holgate’s approach. Just as the general
      presentation of information in financial statements requires the application of
      judgement and selection, so too does the statement of relevant accounting
      policies.

1775. I would agree with Mr MacGregor’s general approach that it is not necessary to
      set out at great length every element of the revenues and costs of the company
      and its assets and liabilities that have been accounted for: some judgement is
      required. However, I would agree with Mr Holgate that in this case the
      allocation at least in 2009 was sufficiently significant in its effect that I would
      have expected it to have been explained.

1776. The question whether it was dishonest not to have done so is more difficult.
      Deloitte were content and so were the Audit Committee. That was necessary but
      not sufficient; but it seems to me that there would be real difficulty in
      establishing dishonesty if there was no improper purpose driving the decision.

Issue (5): Did Autonomy wrongly recognise revenue in Q2 2009 on a specific ($6
million) hardware transaction with Morgan Stanley?

1777. A discrete ‘hardware’ claim also advanced by the Claimants was that Autonomy
      wrongly recognised revenues of $6 million on a sale of hardware by Autonomy
      Inc to Morgan Stanley under an agreement entered into on 30 June 2009.

1778. The nub of the claim is that the hardware was recognised on the premise that it
      was sold to Morgan Stanley and dispatched by EMC in Q2 2009 whereas,
      according to the Claimants, it was in fact dispatched by Hitachi pursuant to
      Autonomy’s one-time reseller agreement with HDS entered into with
      Autonomy on 27 June 2009 with delivery not occurring until inside Q3 2009.

1779. The Claimants’ case is that this revenue was wrongly recognised in Q2 2009,
      “to the knowledge of at least Mr Hussain”, because to satisfy the requirements
      of IAS 18.14 for the recognition of revenue the hardware had to have been
      delivered by 30 June 2009 and was not, though Mr Hussain pretended to
      Deloitte that it had been, and Autonomy’s management made a like (false)
      representation in a management representation letter dated 15 July 2009 signed
      by Mr Hussain.


                                              Page 567
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 569 of 900
Approved Judgment                                                          HC-2015-001324
Mr Justice Hildyard




1780. The formula “to the knowledge of at least Mr Hussain” was an opaque way of
      saying, as was the fact, that Dr Lynch was not alleged to have played any part
      and was not cross-examined on the matter. Mr Rabinowitz expressly confirmed
      in his oral closing submissions that no claim could be made against Dr Lynch
      accordingly.

1781. The Claimants acknowledged that “this episode might be said to be a
      comparatively minor one in pure revenue terms”, but submitted that “it speaks
      volumes about the willingness of Autonomy management, and in particular Mr
      Hussain, to lie to Deloitte to achieve their ends.”

1782. They relied on the issue also in support of a contention that Mr MacGregor was
      less than objective in his support for the Defendants’ analysis, and produced an
      “exotic thesis…dependent on a number of hypothetical facts” none of which the
      Defendants even attempted to prove at trial.

1783. The Defendants sought to dismiss this claim as a ‘cul-de-sac’, on the basis that
      it is not possible to see how the revenue recognition occurring a quarter earlier
      has any bearing on HP’s acquisition of Autonomy.

1784. Further, Dr Lynch submitted (and Mr Hussain adopted this) that the recognition
      was correct on the basis that it was possible for title to pass without delivery
      under the contract for the reasons given by Mr MacGregor in his supplemental
      report.

1785. The full factual detail is complex and convoluted; but in summary, the
      underlying facts can be distilled as follows:

              (1)     On 30 June 2009 Morgan Stanley agreed that it would purchase
                      Hitachi hardware from Autonomy unless the parties agreed that
                      Autonomy could supply hardware from a different manufacturer.
              (2)     Pursuant to that agreement, Autonomy entered into a contract
                      with Hitachi for the purchase of hardware for supply to Morgan
                      Stanley.
              (3)     Autonomy did indeed acquire $6 million of hardware from
                      Hitachi which was, in fact, supplied to Morgan Stanley in or after
                      August 2009, i.e., in Q3 2009. Title to the hardware that Hitachi
                      sold to Autonomy for onward sale to Morgan Stanley did not
                      pass even to Autonomy (still less from Autonomy to Morgan
                      Stanley) any earlier than August 2009, after the end of Q2 2009.
              (4)     Autonomy management told Deloitte that once it was clear that
                      Hitachi could not deliver the hardware on or before 30 June
                      2009, Autonomy had entered into an agreement with EMC dated
                      29 June 2009 under which EMC was to provide and deliver $5
                      million worth of hardware for delivery to Morgan Stanley by 30


                                        Page 568
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 570 of 900
Approved Judgment                                                                  HC-2015-001324
Mr Justice Hildyard


                             June 2009 and Autonomy itself agreed to supply $1 million
                             worth of hardware from its own reserves of new hardware stock.
              (5)            Deloitte asked Autonomy management for evidence that the
                             EMC hardware had indeed been delivered by 30 June 2009.
              (6)            On 13 July 2009, Mr Chamberlain, copying Mr Hussain, told
                             Deloitte that Autonomy was trying to get the relevant invoices
                             from EMC, which should show the delivery date. Later, Mr
                             Hussain and Mr Chamberlain told Deloitte that EMC had been
                             unable to supply any documentation. Deloitte then agreed to rely
                             on a written representation from Autonomy management to the
                             effect that the hardware had been physically despatched by 30
                             June 2009.
              (7)            That representation was contained in a management
                             representation letter dated 15 July 2009 signed by Mr Hussain,
                             for and on behalf of Autonomy, which stated as follows:
                             “We are satisfied that the acquisition of $9.0 million of
                             hardware from EMC Corporation was an arms length
                             commercial transaction. Additionally, we confirm that the
                             despatch of hardware with a purchase price of $5.0 million was
                             made from EMC Corporation on the 30 June 2009.”

              (8)            There were EMC invoices dated 30 June 2009 for the hardware
                             that EMC had sold Autonomy. However, they were headed
                             “PROFORMA INVOICE” and stated “Invoices will be revised
                             once order is shipped”. Thus, those invoices made clear on their
                             face that the hardware had not yet been shipped as at 30 June
                             2009, the last possible day for delivery within Q2 2009.
              (9)            On 13 July 2009, Mr Hussain pointed out to Mr Chamberlain and
                             Mr Sullivan that the invoices were “clearly proforma” and asked
                             them to “work out what you need at a minimum for the auditors
                             tonight” .

              (10)           Mr Chamberlain responded the same day saying that he needed
                             an email from EMC confirming that the hardware had been
                             shipped to Autonomy on 30 June 2009. He asked whether this
                             was “something we can get”.
                      Mr Sullivan responded, “No. Give me a call now please …” . Mr Sullivan
                      explained in his testimony at Mr Hussain’s criminal trial:

                             “… the reason I said “no” is because I knew that the – or I
                             thought that the product had not shipped only because we
                             signed the product – we signed the contract on, you know, the
                             last hours of the quarter. So I don’t believe EMC would have
                             even had time to ship it.”



                                               Page 569
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 571 of 900
Approved Judgment                                                              HC-2015-001324
Mr Justice Hildyard


              (11)       On 13 July 2009, Mr Sullivan asked EMC to remove the
                         language “Invoices will be revised once order has shipped” from
                         the EMC invoices. EMC did so and, on 14 July 2009, Mr
                         Sullivan provided Mr Hussain and Mr Chamberlain with the
                         revised form of invoices. The revised invoices obscured the fact
                         that the EMC hardware was not delivered by 30 June 2009, but
                         they did not provide positive evidence that delivery had taken
                         place by that date. It is unclear whether the revised invoices were
                         provided to Deloitte. At all events, the absence of positive
                         evidence of delivery by 30 June 2009 resulted in Deloitte
                         requiring the management representation mentioned above.
              (12)       The truth is that, as Mr Hussain well knew, the EMC hardware
                         was only despatched by EMC to Autonomy in July 2009, and so
                         after the end of the quarter. The as-despatched invoices show,
                         with one minor exception (an invoice for $414,578 plus tax), this
                         to be the case. They also show that the EMC hardware was
                         delivered to Zantaz locations, not Morgan Stanley.
              (13)       The fact that the EMC hardware was to be utilised by Zantaz, not
                         Morgan Stanley, can also be seen from other contemporaneous
                         documents.
              (14)       In his evidence to the US court, Mr Sullivan confirmed that he
                         never intended the EMC hardware to be sold to Morgan Stanley
                         and nor would it have made sense to do so; nor did he ever
                         discuss with EMC the prospect of selling its hardware to Morgan
                         Stanley, which could not have been done without EMC’s
                         permission; nor had he discussed with Mr Hussain the prospect
                         of selling EMC hardware to Morgan Stanley.

              (15)        On 30 June 2009, Mr Mooney informed Dr Lynch and Mr
                  Hussain that the “final docs” had been received from EMC for signature.
                  Later that day, Dr Lynch approved the purchase order, Mr Hussain
                  having already done so. The “Purchase Order Request” recorded that it
                  related to “EMC Storage Solution order for WW Hosted Introspect &
                  Digital Safe platforms” at a cost of $9 million.

              (16)       The hardware that was actually delivered to Morgan Stanley was
                         not EMC hardware at all, but Hitachi hardware. This accorded
                         with the Morgan Stanley purchase order dated 1 July 2009 which
                         expressly specified delivery of Hitachi hardware.
              (17)       The Hitachi hardware was not delivered to Morgan Stanley until
                         August/September 2009.

              (18)       On 24 September 2009, Hitachi confirmed to Autonomy that the
                         Morgan Stanley hardware orders had been shipped and
                         delivered.




                                           Page 570
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 572 of 900
Approved Judgment                                                              HC-2015-001324
Mr Justice Hildyard


1786. Mr Welham’s unchallenged evidence was that if the hardware, which was
      Hitachi rather than EMC hardware, was despatched and delivered to Morgan
      Stanley after 30 June 2009, that is, in Q3 2009 rather than Q2 2009, then it is
      highly unlikely that Deloitte would have agreed with the recognition by
      Autonomy of $6 million of revenue in Q2 2009. He further explained that these
      facts, if discovered by Deloitte, would also have given rise to broader concerns
      regarding management’s honesty and integrity.

1787. Mr Holgate’s opinion was that, if the Hitachi hardware was despatched to
      Morgan Stanley in August/September 2009, then it is “clear” that revenue on
      the transaction should not have been recognised in Q2 2009.

1788. Mr MacGregor accepted that ordinarily the date of delivery of goods is, absent
      particular factors that point against it, a strong indication of the date on which
      revenue should be recognised. He made two caveats: (a) first, he emphasised
      that under “International GAAP it’s perfectly possible for the risks and rewards
      to pass without delivery taking place…and the key issue is whether title has
      passed”; and (b) secondly, that this was only a general rule and was subject to
      unusual complications or features, and “this did have some unusual features”.

1789. In this case, Mr MacGregor suggested, the first unusual feature was that, in his
      view, the Morgan Stanley sale may have qualified as a ‘bill and hold’ sale under
      which it is presumed that delivery is delayed at the buyer’s request but the buyer
      nevertheless accepts or takes title and accepts the billing, and risk and title
      passes even though the goods are not yet shipped. He drew attention (in his
      supplemental report) to IAS 18 Appendix, which gives various illustrative
      examples of risk and rewards of ownership passing at different times, depending
      on the circumstances; and he particularly highlighted the first example, being of

         a ‘bill and hold’ sale. IAS 18 Appendix 1E §1 notes as regards such a sale that
         revenue is to be recognised when the buyer takes title, provided:

              (1) it is probable that delivery will be made;

              (2) the item is on hand, identified and ready for delivery to the buyer at the
                  time that the sale is recognised;

              (3) the buyer specifically acknowledges the deferred delivery instructions;
                  and

              (4) the usual payment terms apply.

1790. Mr MacGregor then put forward a complex set of assumptions leading to the
      possibility that Morgan Stanley – by way of a possible ‘bill and hold’
      arrangement or something analogous – effectively took title to the hardware that
      Autonomy purchased from EMC for its (Autonomy’s) own use, even though (as
      he conceded) the EMC hardware was not physically delivered to Autonomy


                                            Page 571
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 573 of 900
Approved Judgment                                                            HC-2015-001324
Mr Justice Hildyard


         until Q3 2009 (and was never delivered to Morgan Stanley). These assumptions
         were principally that (i) notwithstanding that Morgan Stanley contracted with
         Autonomy to purchase Hitachi hardware, an agreement was reached that
         Autonomy would instead supply them with EMC hardware, and (ii) Morgan
         Stanley had agreed to take title to the EMC hardware in Q2 2009 so as to give
         rise to the ‘bill and hold’ arrangement which Mr MacGregor posited.

1791. As the Claimants pointed out, however, the Defendants did not even attempt to
      prove the factual assumptions made by Mr MacGregor; and I accept the
      Claimants’ submission that the contemporaneous documents, and Mr Sullivan’s
      testimony to the US court, did not support them.

1792. Without descending further into the convoluted detail, I accept that the
      documents show that Morgan Stanley agreed to make payment to Autonomy on
      2 July 2009 in circumstances where they had been told by Autonomy’s Cynthia
      Watkins (i) that Autonomy had “received the PO”, which was Morgan
      Stanley’s purchase order which expressly specified delivery of Hitachi hardware
      (see paragraph 1785 above), and (ii) that Morgan Stanley’s “order is assembled
      in our Pleasanton facility”. It was on these two bases that Ms Watkins said that
      “payment can be issued as we have fulfilled the order” and Morgan Stanley’s
      Kathy Macedonio confirmed that “The order has been received in so payment
      can be released”.

1793. It is thus plain that Morgan Stanley only agreed on 2 July 2009 (i.e. in Q3 2009)
      to make payment because they understood (wrongly, but through no fault of
      their own) that the hardware that they had ordered – i.e. Hitachi hardware – had

         been delivered to Autonomy’s Pleasanton facility; not because they had agreed
         to take title to the EMC hardware by way of some ‘bill and hold’ arrangement.

1794. I also accept the Claimants’ submission that IAS 18 Appendix IE §1 only relates
      to ‘bill and hold’ sales “in which delivery is delayed at the buyer’s request but
      the buyer takes title and accepts billing”. It is plain that Morgan Stanley did
      not request that delivery be delayed. Mr MacGregor seems to suggest that the
      same principles should apply “by analogy” where delivery is not delayed at the
      request of the buyer, but is instead prompted by the seller. That is not what
      happened in this case. But even were the principles in IAS 18 Appendix IE §1
      to stretch that far – and I agree with the Claimants that it is illogical to imagine
      that a seller could still recognise revenue even though it was not in a position to
      effect delivery to the buyer – it would still need to be shown that Morgan Stanley
      (a) agreed to take and (b) did take title to the EMC hardware. Again, there is no
      factual basis to support such a conclusion.

1795. In any event, and as the Claimants also emphasised, Mr MacGregor’s analysis
      is wholly removed from what Deloitte understood to be the position. It is plain
      that the view Deloitte took at the time was that, in order for revenue to be
      recognised in Q2 2009, they (Deloitte) needed to be satisfied that the hardware



                                         Page 572
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 574 of 900
Approved Judgment                                                           HC-2015-001324
Mr Justice Hildyard


         had actually been physically delivered to Morgan Stanley by 30 June 2009 – see
         (i) Mr Welham’s unchallenged evidence (see paragraph 1786 above); (ii) Mr
         Welham’s email dated 15 July 2009: “I have talked to Steve [Chamberlain] re
         the EMC delivery point”; and (iii) Deloitte’s file note: “We have also examined
         correspondence between Autonomy and Morgan Stanley over the completion of
         the order and Morgan Stanley’s acceptance and beginning of the payment
         process as evidence of delivery of the hardware (and hence that shipment from
         EMC has taken place)”. As can be seen from Mr Chamberlain’s email to
         Deloitte of 13 July 2009, Autonomy understood that Deloitte’s focus was on
         delivery: “we are trying to get invoices from EMC which should come in
         overnight. These should show delivery date”.

1796. In short: Mr MacGregor’s analysis was ingenious but unsupported by the facts,
      and inconsistent with Deloitte’s approach at the time. Regrettably it seems to
      me that his efforts went beyond what was appropriate and became in this
      context, unrealistic and partisan. I agree with the Claimants’ conclusion that the
      simpler truth is that the revenue was wrongly recognised by Autonomy in Q2
      2009.

1797. There was no dispute as to Mr Hussain’s involvement: I find that he knew that
      there was no proper basis for recognising revenue from the transaction in Q2
      2009.

1798. As to the position of Dr Lynch, having fairly recognised and accepted that the
      Claimants could not, in those circumstances, allege ‘guilty knowledge’ on his
      part, Mr Rabinowitz submitted only that the episode was a further example of
      Autonomy not being the “bright, cleaner than clean company that did
      everything by the book” that Dr Lynch had depicted. That is so.

Issue (6): Did HP know about the hardware sales pre-acquisition and continue
them after it?

1799. The Claimants’ case is that prior to the acquisition, the only hardware sales that
      HP knew about were appliance sales, and it did not know about the loss making
      “pure hardware” sales. HP’s 20 November 2012 announcement of the
      writedown stated that the hardware sales were a recent discovery, allegedly
      identified after a whistle-blower came forward after the departure of Dr Lynch.
      That was also the position adopted by Ms Lesjak in her witness statement: she
      said that it was not until after Dr Lynch had left and Mr Scott had come forward
      with his allegations that she came to learn that Autonomy had been reselling
      third party hardware at a loss.

1800. The Defendants’ case, which is of course primarily relevant to the issues of
      inducement (and, in the misrepresentation claim, reliance) and loss is that in
      truth, HP knew before the acquisition that Autonomy engaged in substantial
      hardware sales. Further, HP was certainly aware of the nature and amount of
      the hardware sales from shortly after the acquisition, but expressed no surprise,
      and did nothing about it, suggesting (according to the Defendants) that at the



                                         Page 573
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 575 of 900
Approved Judgment                                                            HC-2015-001324
Mr Justice Hildyard


         time Autonomy’s hardware sales were not a real concern for HP, contrary to the
         picture that is now being painted, and that it would have made no material
         difference to the acquisition or its terms if HP had had detailed knowledge of
         the hardware sales in advance.

1801. The Claimants rejected this. They contended that there was nothing in the
      Defendants’ assertion that HP knew about Autonomy’s hardware sales (apart
      from appliance sales) pre-acquisition, and nor did HP become aware of the sales
      prior to May 2012.

Pre-acquisition knowledge and due diligence

1802. The Defendants submitted that even before the acquisition was announced, HP
      must have known that Autonomy sold hardware; and that certainly “it knew
      enough before the acquisition to make further inquiries and chose not to”,
      suggesting lack of concern. The Defendants’ punchline, for this as for their case
      that HP were certainly aware of Autonomy’s hardware reselling after the
      acquisition (see below), was that “Nobody thought they were buying a different
      company.” The issue is of most relevance to reliance (and quantum).

1803. The Defendants supported these submissions principally on the basis of: (a)
      what they asserted was an industry understanding that most enterprise software
      companies do sell hardware ; (b) the fact that HP itself sold substantial quantities
      of hardware to Autonomy; (c) express references to “hardware sales, including
      appliances” in the course of due diligence and (d) emails sent by Mr Gersh of
      KPMG (acting for HP in the due diligence exercise) from which it was said by
      the Defendants to be clear that “he was aware that Autonomy was selling
      selfstanding hardware” and yet “KPMG never asked Autonomy how much
      hardware it was selling”.

1804. There was support for the suggestion that hardware sales by software companies
      were commonplace in the evidence of Mr Apotheker and also in the evidence
      of Mr Sullivan:

              (1) Mr Apotheker, who had long experience in the industry, appreciated that
                  hardware sales of 5 to 7% of a software company’s business “could be
                  quite normal for somebody who doesn’t do appliances.” (For one that
                  produced appliances, the figure would be higher.) Thus, he recognised
                  that software companies would usually sell some nonappliance
                  hardware, that is, in the Claimants’ terms, “pure hardware”. Moreover,
                  the implication is that for a software company which also sold
                  appliances, hardware sales would be greater than 5 to 7%. He also
                  recognised that hardware sales would often be loss making, and that this
                  was the reason why software companies sought to avoid selling ‘pure’
                  hardware:
                         “If only because, for obvious reasons, hardware, in particular
                         when you resell it, you will probably make a loss. At least you
                         won’t make a profit. Or the best situation, even if you make a
                         profit, you will significantly dilute your margins”.


                                           Page 574
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 576 of 900
Approved Judgment                                                             HC-2015-001324
Mr Justice Hildyard


              (2) Mr Sullivan gave evidence at the US trial against Mr Hussain that
                  hardware sales were common in the software industry, and that he had
                  sold hardware to customers both at Zantaz, and also at Steelpoint, the
                  software company at which he had previously worked. He also stated
                  that Autonomy had made substantial sales of hardware at a profit, to
                  Citigroup and Paribas.

1805. There was other evidence to like effect. Mr Philip Pearson (“Mr Pearson”)
      “assumed that as with any enterprise software business, [Autonomy’s] business
      included additional revenue streams which typically consisted of support,
      services and hardware” (emphasis added); and he believed that this was
      common knowledge. He explained that most enterprise software firms would
      take on some hardware, services and support work. He was not challenged on
      this evidence. Furthermore, HP sold not only to Autonomy but to a wide range
      of enterprise software companies.

1806. Obviously, I would accept that many enterprise software companies sell
      hardware; and that this would be generally expected within the limits broadly
      indicated by Mr Apotheker. But neither side explored, and certainly it was not
      clear to me, how other enterprise software companies accounted for these sales,
      nor what disclosure they made in their accounts; or whether they were single or
      multi-segmental businesses. If other hardware selling enterprise software
      companies generally accounted separately for such sales, or made disclosure of
      them, that might have rebounded on the Defendants. I do not make assumptions
      either way; but I do not extract much assistance from the point.

1807. The fact that HP sold substantial quantities of hardware to Autonomy and yet
      did not focus on it is, at first blush, surprising. But it seems to me to be more a
      forensic point than one of real substance. HP was an enormous organisation,

         which on the Defendants’ own case was very disorganised, and divided into
         ‘silos’ with very poor communication between them. It should not be assumed
         that one department had the knowledge of another, or even ready access to it. I
         agree that in an £11 billion acquisition one might have expected the deal team
         to have made enquiries; and that this is particularly so where, as here, the buyer
         and the target were operating in closely related sectors, and the buyer was
         hoping to achieve synergies from operating as a combined business. But the
         question is whether those making the decision to proceed with the acquisition
         actually knew; and there is no evidence that they did so. The Defendants’ written
         closing submissions noted that it was “unclear what checks HP actually carried
         out in its initial records of sales to Autonomy.”

1808. In my judgment, the Defendants overplayed the facts said to support the
      submission that there was discussion of Autonomy’s hardware sales in the
      course of due diligence and that the fact that neither HP nor KPMG displayed
      much interest or asked any questions in relation to them suggests that the sales
      were not of significance for HP in the deal. As to that:




                                           Page 575
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 577 of 900
Approved Judgment                                                               HC-2015-001324
Mr Justice Hildyard


              (1) Mr Sarin recalled an exchange with Mr Hussain in relation to appliance
                  sales; and the Defendants relied on the fact that he did not seek to find
                  out how large those sales were, or even to apply his mind to that
                  question: he said that he did not think about what the number for such
                  sales might be. However, that does not reflect that Mr Sarin’s evidence
                  was that what he had been told, he “would think” by Mr Hussain, was
                  that (a) “sometimes customer wanted the software on an appliance or a
                  box” and that would be shipped by Autonomy to the customer and (b)
                  although in that way “appliances were sometimes sold to customers….it
                  was a small part of their business”. Further, when asked “what level of
                  appliance sales” he thought Autonomy was making, his reply was “a
                  very small number”. He was asked to quantify that in numerical terms;
                  but reiterated that he was “comfortable that it was a very small number”
                  and that the demand was from “a small handful of customers” adding
                  when pressed again that he thought it “very minimal”. Whilst more
                  generally I formed reservations about Mr Sarin’s evidence, I found his
                  answers credible on this point.

              (2) The Defendants also placed reliance on a list of questions prepared by
                  KPMG which Mr Sarin received on 8 August 2011. The Defendants
                  submitted that the contracts referred to in the list “included contracts in
                  part for the sale of hardware, as the list of questions made clear.”
                  However, all that was included was (a) a contract for “hardware and
                  software development” (as regards which the question was how revenue
                  was recognised, whether on completion or as and when delivered); (b) a
                  contract which was stated to include “implementation of networking,
                  hardware and infrastructure procurements and deploying hardware set
                  up and configuration” (as regards which the question was how services,
                  including professional services, were recorded). In my view, only (if at
                  all) with hindsight does that appear to suggest separate sales of
                  hardware.

              (3) The Defendants suggested that Mr Gersh was very reluctant in
                  crossexamination to accept that he had been aware that Autonomy sold
                  any hardware, even in the context of appliance sales: they described as
                  “close to nit-picking” his position that appliance sales did not amount
                  to sales of hardware, but rather to sales of software, the method of
                  delivery for which was hardware. They went on to suggest that he
                  ultimately accepted that he had known that Autonomy was selling some
                  hardware, though they accepted that he continued to insist this was only
                  as a component of, or at least in conjunction with, a software sale. But
                  my understanding is that Mr Gersh was explaining that as matter of
                  accounting:

                         “…the appliance is a software sale. It’s just the appliance refers
                         to the method of delivery of the software and because it’s a sale,
                         the cost of the sale is the hardware, which we understood to be
                         in the cost of sales line.”


                                            Page 576
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 578 of 900
Approved Judgment                                                                 HC-2015-001324
Mr Justice Hildyard




              (4) His later answers, when pressed again, seem to me to show how very
                  different was KPMG’s understanding than it is now suggested by the
                  Defendants they had (and, indeed, to illustrate how effective was the
                  disguise that Autonomy devised):

                             “The client is buying...the client is buying software…because it’s
                             buying the product which Autonomy makes, which is IDOL. It’s
                             not buying – or at the time when we were doing due diligence,
                             Autonomy is presented as a software company and it sells
                             software. And so what are customers buying from Autonomy? We
                             understood they’re buying software and in this case Autonomy is
                             – in some cases it is selling its software already pre-loaded to a
                             server, which they refer to as an “appliance”.”


              (5) Mr Gersh added later that:


                             “the commentary around the appliance sales was that it was
                             insignificant and didn’t change the margin profile, which to us
                             meant that there was an immaterial amount of hardware being
                             sold as part of the appliance product. So it was more material
                             items in the revenue that we discussed at length”.


              (6) The Defendants then contended that in fact, Mr Gersh and his team must
                  have known from their review of contracts that Autonomy sold
                  hardware, and that this was not restricted to appliances as HP uses the
                  term in these proceedings. Mr Gersh confirmed that he read all of the
                  contracts in the data room. These included a contract providing that the
                  customer would be “entitled at any time during the term of this Schedule
                  to order Hardware set out in the Hardware Annex”; and another contract

                      to which was annexed a purchase order for 48 storage cells together with
                      maintenance and support. In each case, Mr Gersh claimed that he had
                      assumed these were references to “a solution involving Autonomy’s
                      product” or to an appliance. He gave the following evidence:

                             “A. I saw contracts which had -- three contracts which
                                    described hardware which we assumed were
                                    appliances.

                             Q. So you assumed that they were appliances, but they
                                   didn't say on the contracts that they were
                                   appliances? It was your assumption, correct?

                             A.     That's correct.”


                                               Page 577
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 579 of 900
Approved Judgment                                                                        HC-2015-001324
Mr Justice Hildyard




              (7) The Defendants claimed that there was no basis for such an assumption
                  in the documents, and KPMG, as a firm carrying out due diligence,
                  should not have contented itself with assumptions: its job was to probe
                  and ask questions, and to consider critically the documents it reviewed.
                  They contended further that it is likely that he did appreciate from these
                  documents that Autonomy sold some non-appliance hardware, and
                  likely also that he did not think it would be a matter that would have
                  caused concerns for HP, since if he had regarded it as an important point,
                  he would have asked further questions. However, that seems to me to
                  overlook Mr Gersh’s evidence in his witness statement (which was not
                  challenged, and which I accept) about the subject-matter and nature of
                  the (redacted) contracts which Mr Gersh saw in the Data Room:

                          “I recall that of the three redacted contracts referencing
                          hardware that we saw in the Data Room, two seemed to me to
                          meet Autonomy’s description of an appliance. The third, which
                          I surmised was a contract with UBS, contemplated a large
                          package solution223 providing software, services and hardware
                          for storage, with the core element being Autonomy software.
                          The commercial components of this contract were difficult to
                          break down. Although it appeared that hardware might be
                          delivered separately and at different times from the software,
                          we presumed it had been purchased from a hardware
                          distributor (or, less likely, a manufacturer) and “passed
                          through” to the customer as part of an overall solution being
                          provided to UBS.”



              (8) Nevertheless, the Defendants then submitted that it is clear from an
                  email sent by Mr Gersh on 8 August 2011 that he was aware that
                  Autonomy was selling self-standing hardware. Commenting on analysis
                  performed by one of his colleagues at KPMG on the contracts in the data
                  room he said the work needed to be reviewed, amongst other things
                  because “as far as I can tell they have not captured free software or
                  hardware pass-through.” As apparent from the quotation in the
                  preceding sub-paragraph, Mr Gersh told me that (on the contrary)
                  “hardware pass-through” was a reference to appliance sales. The
                  Defendants submitted that this cannot be right because of the way Mr
                  Gersh used the phrase in another context. In his witness statement, he
                  discussed the discovery in October 2011 of a $41m payable to Dell,
                  which he considered too large to relate to just appliance sales. He said

223
    These were direct sales by Autonomy to UBS (VT28 and VT34) after “dummy” VAR sales to Capax
Discovery addressed in the chapter of this judgment on the impugned VAR transactions. Looking ahead,
it will be seen that I have concluded that “VT28 and VT34 were exemplars of the pattern. The sale to the
VARs were illusory and effected no change in control or transfer of risk; no revenue should have been
recognised in respect of them.”


                                                Page 578
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 580 of 900
Approved Judgment                                                                    HC-2015-001324
Mr Justice Hildyard


                      that “I remember that what we collectively had heard from Mr.
                      Chamberlain was that the payables to Dell related to pass-through
                      hardware sales Autonomy had made and that the sales had been
                      recorded on a “gross” basis”. (They referred me also to how one of Mr
                      Gersh’s colleagues used the term “pass-through hardware”, submitting
                      that it was plainly not a reference to appliances as the Claimants have
                      used the term in these proceedings.) In my view, this exercise in
                      semantic comparison was misplaced. It is plain that the phrase was used
                      in different senses in different contexts; for example, the Claimants
                      referred to its use by Mr Briest (an analyst) in a research note dated 23
                      July 2010 in a context which plainly was intended to signify appliance
                      sales, and was understood in that sense by, for example, Mr Shelley. The
                      question is whether Mr Gersh’s evidence of what he meant by it in the
                      particular context is to be rejected: and I do not consider it should be. It
                      is entirely consistent with his explanations as described above.

1809. In summary, I have concluded, and find, that neither Mr Sarin nor Mr Gersh
      knew, or on the evidence before me, had reason to know or further enquire about
      the pure hardware sales.

1810. Dr Lynch’s evidence was that after the acquisition had been announced, but
      before it had been completed, he discussed Autonomy’s hardware sales with Mr
      Robison, and that they specifically considered together whether Autonomy
      should continue to sell Dell and EMC hardware in the run-up to the acquisition.
      Dr Lynch also said that it was that conversation that enabled him to give an
      affirmative answer when Mr Sullivan had asked him whether or not he should
      proceed with the Dell hardware sales after the acquisition. All this was,
      however, hotly disputed by the Claimants, who noted also that the alleged
      conversation went beyond Dr Lynch’s pleaded case of a discussion about “the
      synergies that might be achieved in respect of hardware”. In his witness
      statement on behalf of the Claimants, Mr Robison denied any such discussion
      about hardware and emphasised that he was “not aware of their possible
      existence until I heard that HP was making that contention in connection with
      its write-down, long after I retired from HP.” He added:

                      “Moreover, if Dr Lynch had informed me that Autonomy was reselling
                      a substantial amount of third-party hardware and reported it as
                      revenue, I absolutely would remember because that information would
                      have immediately raised serious questions about Autonomy’s reported
                      margins…”

1811. Unfortunately, Mr Robison had a medical condition resulting in it being agreed
      that he was unfit to attend for cross-examination. Dr Lynch was cross-examined
      and it was put to him that he had made up the conversation. In the course of
      that cross-examination, Dr Lynch was shown emails that suggested that Mr
      Sullivan had been given approval to continue the Dell hardware sales in August
      2011 and not in late September 2011. Dr Lynch reacted to this by suggesting
      that perhaps he had had more than one discussion with Mr Robison, including
      also one on the very day of the acquisition (18 August 2011):


                                                Page 579
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 581 of 900
Approved Judgment                                                                       HC-2015-001324
Mr Justice Hildyard


                      “I think, although I’m not sure, that actually what happened, Mr
                      Sullivan’s email 224 comes in while I’m standing next to Mr Robison.
                      That’s why I’m able to give him an answer. And then the subject of these
                      things come up on more than one occasion between that point and the
                      21st.

                      What we’re doing is, as a courtesy, every time there’s something that
                      “We need to know what will happen if the deal closes”, we’re asking
                      Shane [Robison] what he wants to do.
                      And you can see in there there’s communications and Shane sends some
                      of them on to Leo [Apotheker] as well.”

1812. The Claimants emphasised that no conversation of that kind on the day of the
      announcement had ever been suggested and it was not corroborated by the
      documents or supported by any other evidence; they dismissed this as “simply
      made up…in the witness box in the hope that he could salvage his position.”

1813. In the round, in my judgment, there is no sufficient evidence to demonstrate
      preacquisition knowledge on the part of HP of any material hardware sales
      (other than a small number of appliance sales); nor is there sufficient evidence
      that the due diligence team were put on inquiry in that regard.

Post-acquisition knowledge and discussion of hardware

1814. The Defendants contended that whatever HP had known before the acquisition,
      it is clear that HP’s accountants and management had a detailed understanding
      of Autonomy’s hardware sales from very shortly afterwards.

1815. They relied principally on HP’s reaction to what it would depict as a
      “discovery”: no complaint was made or surprise expressed, and the sales were
      permitted to continue, because, so the Defendants suggested, none of this came
      as a surprise because HP already knew.

1816. Although they became co-mingled in the Defendants’ closing submissions,
      there were two strands to the Defendants’ resulting case: the first strand related

           to the pre-acquisition period, and in summary was that the lack of surprise
           shown by persons such as Mr Sarin confirmed that the deal team was aware even
           before the deal was finalised that Autonomy was selling substantial amounts of
           hardware. That point goes to both reliance and loss. The second strand related
           to HP’s conduct in announcing in November 2012 that it had found out about
           the hardware sales only after Dr Lynch’s departure, which was false and showed
           that HP had misled the markets, casting doubt on their corporate integrity and
           confirming the trumped-up nature of all the claims.



224
      Dated 18 August 2011 asking whether he should proceed with the Dell hardware sales.


                                                 Page 580
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 582 of 900
Approved Judgment                                                             HC-2015-001324
Mr Justice Hildyard


1817. The Claimants disputed both the factual basis of this aspect of the Defence and
      its relevance. Ms Whitman stated in her witness statement that she did not know
      of any ‘pure’ hardware sales until Dr Lynch told her about them in 2012 and she
      instructed him to discontinue the practice (and was not cross-examined about
      that). Ms Lesjak and Mr David Duckworth (“Mr Duckworth”, who had the title
      of HP’s Mergers, Acquisitions, Divestitures and Outsourcing, Finance
      Integration Project Manager) all lined up to say (in effect) that the sale of
      hardware (or at least non-appliance hardware) did not become a point “in focus”
      for them until the “whistle-blower” (Mr Scott) “came forward” in May 2012.
      In any event, the Claimants added, Bidco’s cause of action was complete at the
      time of the acquisition, and “it is difficult to see what turns on when precisely
      after the acquisition HP learned of the earlier hardware sales.”

1818. Turning to the chronology, it is clear that KPMG (who were in the course of
      preparing a closing balance sheet report) discovered the volume of hardware
      sales after a question had been raised about a large amount payable to Dell, and
      that then KPMG and E&Y (who, as HP’s auditors, were reviewing the report)
      each informed HP about the hardware sales in late October or early November
      2011:


              (1) On 24 October 2011, KPMG wrote a draft report addressed to Meeta
                  Sunderwala in HP’s finance department, dealing with Autonomy’s
                  closing balance sheet. It stated that:

                         “There is approximately $41 million owed to Dell as of Close
                         ($22 million in payables and $19 million in accruals). We believe
                         these payable [sic] are related to pass-through hardware sales
                         to customers which Autonomy records on a gross basis”
                         [Emphasis supplied]

              (2) Later in the report they added that:
                         “The remaining accounts payable balance mainly relate to data
                         center server costs, or hardware Autonomy sells on a
                         passthrough basis”.

              (3) By early November 2011, E&Y had a detailed understanding of
                  Autonomy’s hardware sales. On 4 November 2011, Ms Rebecca Norris
                  of E&Y sent an email to others on the E&Y team, stating that “We have
                  finished our review of Deloitte’s workpapers for the 2010 audit of
                  Autonomy”; and the email noted that:

                         “The company had about $100 million in hardware
                         revenue. This is not mentioned in the financial statements
                         or KPMG reports. Long story short, they have VAR
                         arrangements with some of the large hardware providers
                         and th [sic] $100 million of hardware revenue is primarily
                         just pass through revenue for laptops and servers. This
                         hardware is normally sold at a loss to 4 or 5 large


                                            Page 581
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 583 of 900
Approved Judgment                                                                             HC-2015-001324
Mr Justice Hildyard


                             customers in advance of software sales. Some of these costs
                             are allocated to sales and marketing. Their software is
                             normally not on the hardware. We can further discuss
                             commercial reasons and accounting on our call.”


              (4) On 7 November 2011, Mr Kirk Parish of E&Y wrote to Rachel Scott,
                  head of HP’s revenue recognition team, stating that it:

                             “Looks like there may be as much as $100 million in hardware
                             sales on an annual basis, but it was not mentioned in the due
                             diligence report.”

              (5) On 9 November 2011, Brian Outland of E&Y raised the same point in
                  an email to Ms Betsy Branch of HP, noting that some of the hardware
                  was sold at a loss and the loss allocated to sales and marketing; and he
                  said that he was going to discuss the point with Ms Sunderwala.225

1819. It is also clear that on 11 November 2011, Mr Welham and Mr Murray of
      Deloitte discussed the hardware sales and accounting at a meeting with E&Y.
      E&Y’s note of the meeting shows that they were told the amount of the sales,
      the amount of the loss incurred, the commercial rationale and the accounting
      treatment:226

                      “Hardware sales


                      During FY1O we observed that Autonomy purchased hardware
                      from third parties (e.g. Dell) of $115m and sold this to customers
                      for $105m as part of its goal to become the end to end supplier of
                      archiving services for its customers. The associated cost of this
                      hardware was split between cost of sales ($94m) and sales &
                      marketing ($21m) which results in an 11% margin recognised on
                      the hardware sales. The recognition of a margin was considered
                      appropriate by management. However, Deloitte recorded an audit
                      adjustment in relation to this margin. In addition, we observed that
                      Autonomy concluded that it was appropriate to account for these
                      pass through sales on a gross basis. HP will be required to assess


                      the appropriate accounting and policies for hardware sales under
                      US GAAP and HP policy.”




225
    I should note that in HP’s written closing submissions it was asserted that “There is no evidence of
the EY memorandum [of a review of Deloitte’s working papers] ever having been sent to anyone at
HP”. That may be so: but the email referred to shows that the only “surprise” (hardware sales in the
amount of $100 million pa) was reported to HP.
226
    Mr Welham did not recollect the detail of the discussion, but said it is likely that he did discuss these
matters with E&Y.


                                                  Page 582
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 584 of 900
Approved Judgment                                                                      HC-2015-001324
Mr Justice Hildyard


           When shown this document in cross-examination, Mr Yelland accepted that
           E&Y were fully aware of the hardware sales being carried out by Autonomy.

1820. The first strand of the Defendants’ case was focused on the reaction of KPMG
      and Mr Gersh, and then of Mr Sarin. I consider first the reaction of KPMG.


1821. Mr Gersh and his team were (in Mr Gersh’s words in his witness statement)
      “shocked and concerned to see such large payables to a hardware
      manufacturer.” Mr Gersh added (in his witness statement):

                      “The existence of significant payables to a hardware manufacturer was
                      inconsistent with what we understood to be Autonomy’s business from
                      the information we received during pre-acquisition due diligence.
                      Margins (and profitability) on hardware sales are typically much lower
                      than margins on software sales, which could mean that HP had
                      overvalued Autonomy. Mr Boggs 227 and I immediately began asking
                      Autonomy management about Dell payables.”

1822. Mr Gersh described in some detail in his witness statement the extent and results
      of those investigations of Autonomy’s management, and in particular
      conversations and exchanges with Mr Chamberlain. It is not necessary to repeat
      this detail: the flavour of the exchanges and their result can I think be captured
      in the following examples of Mr Chamberlain’s responses:

              (1) After further enquiries over November and December had prompted no
                  response from Mr Chamberlain, and his sudden cancellation of a
                  meeting to discuss the matter, on 24 January 2012, Mr Chamberlain
                  wrote in an email in purported answer to the details requested of the
                  “Dell payable” as follows:

                             “…for certain strategic accounts we also procure hardware as
                             well as software. This will all be sourced via HP in future but the
                             process of setting up procurement via HP is painfully slow.”

              (2) In response to an email dated 6 March 2012 from Ms Sunderwala228
                  (after HP’s EFR team had, through her, been told of the continuing
                  inquiries) asking him “What percentage of [Autonomy’s] total annual
                  revenues is related to hardware revenue (this can be historical revenues
                  related to Dell purchases vs a go forward view)”, Mr Chamberlain sent
                  an email two weeks later, on 21 March 2012, informing her that this was
                  his last day at Autonomy and in relation to the hardware question:




227
    Jamie Boggs, was described by Mr Gersh as his colleague and “a director [of KPMG] who was
heavily involved in both the pre- and post-acquisition engagements for HP related to the Autonomy
acquisition”.
228
    Senior Director, Accounting Policies and M&A Reporting in HP’s EFR team.


                                               Page 583
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 585 of 900
Approved Judgment                                                                HC-2015-001324
Mr Justice Hildyard


                             “confirmed, less than 10%”
1823. KPMG referred to the hardware sales in a draft report on Autonomy’s closing
      balance sheet, dated 26 January 2012. The report stated that:

                      “The remaining accounts payable balance mainly relate to data center
                      server costs, or hardware Autonomy sells on a pass-through basis.
                      Management stated these hardware sales are recorded on a gross
                      basis.” [Emphasis supplied]

1824. Mr Gersh explained in his witness statement that by March 2012 HP’s October
      2011 financial reporting deadline that KPMG’s closing balance sheet
      engagement had been intended to support had long since passed, and EFR in
      effect took over the outstanding inquiries. He completed his witness statement
      as follows:

                      “At the time KPMG’s involvement ended, I was not aware of any
                      satisfactory explanation for the Dell payables having been provided by
                      Autonomy, and my team and I still did not understand what hardware
                      Autonomy had been selling, in what arrangements, and with what
                      associated revenue recognition.”

1825. I consider that Mr Gersh’s reaction of surprise was genuine, confirming my
      previous assessment that he had not become consciously aware of the pure
      hardware sales in the course of due diligence.

1826. Turning next to Mr Sarin:

              (1) On 15 November 2011, Ms Kathryn Harvey (“Ms Harvey”) of HP’s
                  EFR M&A Policies and Reporting team wrote to Mr Sarin about
                  Autonomy’s hardware sales:

                             “There was one other item that we just learned which I
                             wanted to ask about/bring to your attention. During
                             discussions with Autonomy folks in conjunction with our
                             valuations, we learned that they have had approx $100M/
                             year in revenue coming from the sale of Dell HW
                             products. Was just curious if you were aware of this when
                             you put the model together? It doesn’t have any impact
                             on our valuations, but it likely won’t be part of
                             Autonomy’s future revenue stream and didn’t know
                             whether it was included in their revenue
                             forecasts/targets.”


              (2) Mr Sarin responded by email on the same day as follows:

                             “The Dell-based revenue you reference is from which Autonomy
                             products? They are predominantly a software company with
                             little or no services or hardware. I am guessing they are trying


                                               Page 584
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 586 of 900
Approved Judgment                                                               HC-2015-001324
Mr Justice Hildyard


                            to grow their “appliance” business i.e. Autonomy software
                            bundled on industry-standard Dell hardware. I suspect this is
                            sell-through revenue where they are getting a margin as they sell
                            Dell appliances. Again, I am just conjecturing and don’t know
                            for sure.
                            I don’t believe Autonomy breaks out this Dell-based revenue in
                            their financials and we haven’t either…”


              (3) But after that response, Mr Sarin did nothing to discuss the matter further
                  or follow it up in any way.

1827. In cross-examination, Mr Sarin struck me as uncomfortable:

              (1) He could not explain why he had never spoken to Ms Harvey about what,
                  on the Claimants’ case that nothing was known about hardware sales
                  except for de minimis appliance sales, was a startling revelation.

              (2) He told me that he “suspected at this time or my guess at this time was
                  that what she was telling me was probably not right”, but he offered no
                  explanation why he did not seek to find out how it could have occurred
                  and correct it: he accepted that he had done nothing to follow up on the
                  matter in any way.

              (3) He resorted to suggesting that he thought it must be appliance sales: but
                  that was hardly consistent with the notion of such sales being minimal
                  in amount.

              (4) He then resorted to seeking to pass off the matter as simply an issue for
                  accounting; he told me:

                      “Again, she is just doing whatever she’s doing in the accounting
                      department. I don’t have to go and correct everybody.”


              (5) Finally, he resorted to saying that he “wasn’t tasked with that
                  assignment and…left HP a few months after this acquisition.”

1828. Mr Sarin’s evidence was unimpressively given and offered no answers. The
      question why he had responded to Ms Harvey so impassively and then done
      nothing to follow up remained unanswered. I do not accept that he thought that
      Ms Harvey was simply mistaken; nor that the explanation for $100 million was
      that the sales were appliance sales. In retrospect, his conduct looks strange: and
      I suspect his discomfort in the witness box was because he could see that.

1829. But ultimately the question is whether Mr Sarin turned a blind eye because he
      knew all along what would be revealed; or whether there is some other



                                              Page 585
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 587 of 900
Approved Judgment                                                                 HC-2015-001324
Mr Justice Hildyard


         explanation: perhaps that he was simply, by that stage unconcerned, especially
         since Ms Harvey had expressly stated that it did not impact the valuation; or
         perhaps because he put his head in the sand and hoped that something would

         turn up which did not demonstrate inadequacies in the due diligence exercise
         for which he might be blamed in circumstances where much blame was being
         thrown around. In my judgment, one of the latter two is the more likely, because
         I remain persuaded (and have so found) that he did not know of significant
         hardware sales. Furthermore, had he known, the obvious course, given he was
         told that it would not impact the valuations, was to explain it away, not leave it
         for others to answer.


1830. In my judgment, the evidence does not establish that HP knew of the substantial
      pure hardware sales prior to the acquisition: and I find that they did not.


1831. The second strand focused especially on the position of Ms Lesjak and when it
      was that she came to know of the hardware sales. I did not understand it to be
      suggested she had any such knowledge before the acquisition. It is most unlikely
      that she did: she was an opponent of the deal and it seems to me very likely that
      she would have deployed against it anything she knew about as showing there
      to be a problem.


1832. As to the investigations which revealed the sales, she repeatedly asserted in her
      oral evidence that none of these matters had been brought to her attention at the
      time. She asserted in her oral evidence that she did not know of the work being
      done “several layers down in my organization”. Further, she told me that she
      did not recall either Ms Sunderwala or Mr Murrin speaking to her about these
      matters at the time. She said she was:


                      “not informed about it until after the whistle-blower came forward,
                      except for some documents that I’m sure we’ll get to, that were presented
                      to the audit committee and me later.”


1833. The Defendants made the point that if that were right it would suggest that they
      were not considered to be important news. But they submitted that in fact, it
      appears that the hardware sales must have been drawn to Ms Lesjak’s attention
      at about that time.

1834. On 11 November 2011, Ms Lesjak had one of what she told me were her regular
      CFO update meetings with E&Y. A short slide deck was produced by E&Y as
      an agenda for the meeting (2 pages plus a cover sheet). One of the agenda points
      in relation to the Autonomy acquisition was a statement that “Revenue includes
      $115M of hardware.” The same day, Ms Lesjak approved an E&Y slide deck
      for HP’s Audit Committee meeting the following week, saying “Looks good.”


                                               Page 586
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 588 of 900
Approved Judgment                                                                HC-2015-001324
Mr Justice Hildyard


         The slide dealing with Autonomy (one of the Q4 areas of audit focus) identified
         that 11% of Autonomy’s revenue was from hardware.

1835. The Defendants submitted (and had put to Ms Lesjak) that it is highly likely the
      point was discussed with her, given that it was on the agenda, and given that
      E&Y had been flagging it in emails over the previous days sent to people in Ms
      Lesjak’s department. She said that she did not recall a discussion on the point,
      but reluctantly accepted that it was possible there was. The Defendants
      submitted that the truth was that she did not remember either way, but was trying
      to avoid accepting that she had in fact known about the hardware sales long
      before HP says, and said to the world in November 2012, it had discovered them.
      If she did not raise it with anyone else at the time, the Defendants contended
      that is because she did not think it remarkable that Autonomy had $115m of
      hardware revenues.

1836. This was obviously a point Ms Lesjak had anticipated being raised, and her
      evidence had plainly been mulled over in advance. Her position in
      crossexamination was, in summary, that she simply did not focus on what was
      set out. Unsurprisingly, since she plainly valued her reputation as a safe pair of
      hands and may well have felt she would be supposed to have dropped the ball,
      her evidence came across as rather defensive. She refused to accept that it was
      obvious that the point referencing hardware revenue would have been discussed;
      she resorted to the position that it was possible that it had been, but as she could
      not remember, she could not accept that it was probable. I accept the
      Defendants’ submission that it is more likely than not that she would have read
      and understood the reference to revenue from hardware sales: and I find that she
      did so. It is less clear whether there was any discussion of the point: her evidence
      was that she “did not recall ever seeing or focusing on or having a discussion
      about hardware.” On balance, I accept that; but the question remains why it did
      not register with her as a concern. In one of her many denials that she had
      understood the true position, and the fact that she did not react with surprise
      demonstrated that she had known about it long before then, she said this:


                      “…I don’t actually know what happened. I’ve no recollection of a
                      discussion around the hardware. In fact when, during an internal
                      investigation after the whistle-blower, they showed me the decks, I was
                      quite surprised because I did not recall ever seeing or focusing on or
                      having a discussion about hardware.”

1837. She suggested that this may have been because she would have assumed that
      any such sales were (a) properly accounted for and (b) appliances: but she
      accepted this was hypothesis, rather than recollection. However, she went on to
      make a further point to explain why the point would not have concerned her,
      which was considerably relied on by the Claimants: she and her team were only
      focusing on the accounting. As a matter of pure accounting, there was nothing
      wrong with “sell-through sales”, “as long as it was accounted for correctly and
      disclosed…” She told me in cross-examination:



                                               Page 587
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 589 of 900
Approved Judgment                                                                    HC-2015-001324
Mr Justice Hildyard


                      “…I also think what’s really important to understand is, even if I focused
                      on it, the most that I could hypothesise is that I thought it was appliance,
                      and that the deal team that put the business case together also
                      understood that there was hardware and that was captured in the
                      business case that they put together.
                      …
                      My team, from top to bottom, did not know what was in the business
                      case. So from their perspective, as long as this was accounted for
                      correctly, and ultimately disclosed appropriately and the deal team
                      knew about it and it was captured in the business case, there isn’t an
                      issue. The issue arises if the due diligence team never understood there
                      was hardware, never understood in what product category that
                      hardware is being reported and disclosed to them, and it’s in that failure
                      that the issue arises.”

1838. Mr Yelland was also aware of Autonomy’s loss-making hardware sales, long
      before the investigation preceding the write-down. On 22 March 2012, he
      received an email from Mr Ganesh Vaidyanathan, Autonomy’s Director of
      Accounting, asking him to approve a payment to Dell of $942,072.33. The email
      explained that “This is for the hardware orders that we source from them and
      sell through to our customers at a loss of approximately 10%.” Mr Yelland
      accepted that he read the email, although he had not by then taken up his post
      as CFO. Once in post, on 17 April 2012, he received and approved a similar
      request, this time for $478,734.43; again, this explained that it was “sell through
      to our customers” at a 10% loss. He said that he did not know the business
      rationale for the sales, but he raised no objection to the payment; and he accepted
      that he had access to all the financial information to tell him precisely the extent
      of the hardware sales. Indeed, he continued to approve payments to Dell as late
      as Q3 2012.

1839. Ms Harris’s evidence was also that HP had detailed knowledge of the hardware
      sales from an early stage. She explained that Mr Duckworth was already aware
      of the hardware sales when she first met him in Pleasanton (in or around
      November 2011), and that he knew the details of all the accounting codings.
      Indeed, she said that it was “entirely impossible that [HP] weren’t aware of”
      the hardware sales and hardware cost of sales given the conversations she had
      had with Mr Duckworth. It was clear from her cross-examination that she was
      outraged when she first learned, via Mr Hussain, that HP was contending that it
      was unaware of the sales until a later date. If the matter had been a shock or
      surprise to HP, queries would have been raised, but Ms Harris never received
      any information requests from HP about hardware or hardware customers.

1840. Mr Duckworth himself expressly denied in cross-examination when it was put
      to him that he was aware of Autonomy’s hardware revenues and hardware costs
      when he conducted what was referred to as “the mapping exercise”. He
      explained:




                                                Page 588
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 590 of 900
Approved Judgment                                                                 HC-2015-001324
Mr Justice Hildyard


                      “I was not. That was not my focus. There was lots of different accounts,
                      lots of different cash accounts, lots of different, you know, accounts
                      across the balance sheet. My structure – my focus area was not on the
                      type of activity that Autonomy was doing. It was just to make sure that
                      whatever they had in their general ledger had an appropriate mapping
                      to the HP account. I actually did not remember this being in the chart of
                      accounts mapping until after Lisa Harris had referenced me in the suit
                      and said that we had this conversation, I actually had to go back into
                      the chart of accounts to find on this account that there was indeed a
                      mapping exercise, because I had no recollection of this. I also searched
                      3,000 emails that I had on Autonomy, and I saw no reference to any
                      hardware revenue or hardware reference whatsoever.”


1841. Ms Harris also gave evidence that in early April 2012, Mr Yelland had asked
      her “why aren’t you selling HP hardware?”; and she also said that she believed
      that he would have known the commercial rationale for the sales. She was not
      challenged on either of these points.

1842. Lastly, the Defendants relied also on the open (that is, not in any way covert or
      disguised) continuation of Autonomy’s hardware transactions post-acquisition.
      After the acquisition, Autonomy sought hardware from HP to supply to its
      customers. In April 2012, in the wake of the supply chain problems caused by
      flooding in Thailand, Autonomy was having difficulty obtaining hard drives
      from HP, to be supplied to Citibank as part of an appliance deal (as Dr Lynch
      accepted in cross-examination). Dr Lynch raised the issue directly with Ms
      Whitman, who would have been aware then that Autonomy was selling
      hardware, but expressed no surprise. She was not cross-examined about this.
      Further, in his evidence in the US trial, Mr Sullivan stated that hardware sales
      continued post acquisition, and no one suggested hardware should be hidden.


1843. Indeed, it was only in June 2012 that a decision was taken to stop hardware
      sales. An email dated 13 June 2012 from Mr Yelland to Mr Veghte records a
      number of decisions from a call the previous day. These included various
      “Decision[s] regarding the business we do”, the first of which was as follows:
      “We are no longer reselling hardware unless an appliance or key enable [sic]
      of software sale.”


1844. The Defendants concluded on this aspect of the matter that:


                      “This history belies HP’s claim that knowledge of the full details of the
                      hardware sales would have been significant to it. It knew enough before
                      the acquisition to make further inquiries and chose not to. It knew
                      everything after the acquisition and was relaxed. Nobody thought they
                      had bought a different company. The history also shows that HP misled



                                               Page 589
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 591 of 900
Approved Judgment                                                            HC-2015-001324
Mr Justice Hildyard


                      the markets in November 2012 when it claimed that it had found out
                      about the hardware sales only after Dr Lynch’s departure.”

My assessment


1845. There is no doubt (and I find) that by November 2011, relevant persons within
      HP and its investigating accountants (E&Y and KPMG) knew that Autonomy
      had been undertaking hardware sales to the value of in excess of $100 million
      per year through the Relevant Period.


1846. However, HP was a huge company with 325,000 employees, and
      organizationally both bureaucratic and fragmented. It is important to be careful
      to distinguish between (a) what was known prior to the acquisition by the ‘deal
      team’, (b) what was known prior to the acquisition by Ms Lesjak and the finance
      department, (c) who came to know of those sales after the acquisition, and (d)
      what the reaction of each group to the information provided by E&Y and KPMG
      was and what (if anything) it reveals about their then state of knowledge or
      understanding. It is convenient to approach the matter in reverse chronological
      sequence, starting in consequence with post-acquisition knowledge.

1847. There is no doubt (and I find) that Ms Sunderwala, and thus the accounting side
      of HP’s EFR team, knew of the volume hardware sales as from late October
      2011, both from KPMG and from E&Y. So too did Ms Betsy Branch who was
      also in the EFR team. However, I do not consider that they or the tone or content
      of the investigations made by KPMG and HP’s EFR department through Ms
      Sunderwala suggest that they were already aware of the nature and extent of the
      hardware reselling strategy. On the contrary, they seem to me to suggest genuine
      surprise and concern.

1848. The position in relation to Ms Lesjak is curious. She had built her career on
      caution and carefulness, the “safe pair of hands in a crisis”. Yet her response to
      the suggestion that in a two-page briefing note and slide stack she had been told
      expressly that “Revenue includes $115 million of hardware”, now said to
      constitute serious dishonesty, is that she simply did not focus on any of it before
      approving the slide deck for submission to HP’s Audit Committee saying
      “Looks good”.

1849. The Defendants invited me to find that (a) the inference from Ms Lesjak’s
      approval of the slide deck was that she had read it, (b) she had known long
      before HP now says, and said to the world in November 2012, it had discovered
      them but (c) the reason she did not take any action upon finding out was that it
      was neither a surprise nor a concern that Autonomy had this source of revenue
      from hardware sales.

1850. In my judgment, it is more likely than not, and accordingly I find, that Ms Lesjak
      did read the slide deck and covering note, and also that she attended a discussion



                                             Page 590
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 592 of 900
Approved Judgment                                                           HC-2015-001324
Mr Justice Hildyard


         about the hardware revenue (though I accept she did not recall it). The question
         then is what conclusions should follow from that.

1851. Contrary to the Defendants contentions as summarised in paragraph 1849
      above, Mr Rabinowitz submitted (in his oral reply) that Ms Lesjak’s lack of
      focus and concern was of no material significance: the reference to hardware
      sales would only have been of concern to Ms Lesjak had she thought it was
      something missed by the ‘deal team’ in constructing and presenting “their
      business case” (for the transaction); and she did not think that. Mr Rabinowitz
      referred me to her evidence in cross-examination to the effect that it did not
      register with her as of significance until after the whistle-blower had come
      forward and detailed the nature of the hardware sales, their use and how they
      were accounted for. In other words, although she did know from then on of the
      hardware sales, she did not focus on what they might signify was not something
      she grasped properly until later.

1852. It seems to me that the point that ultimately I have to determine is whether Ms
      Lesjak’s defensiveness and/or her lack of surprise and concern, supports the
      Defendants’ case that HP was well aware all along, and certainly before the
      Acquisition went unconditional, that Autonomy was generating revenues from
      third party hardware sales. In the end, I have concluded that her discomfort was
      because, having been told of the hardware sales, she felt that it might be thought
      that she had dropped the ball in neither appreciating their significance nor
      digging deeper at the time, and not because she was dissembling in this regard.
      I had no sense from her evidence, her defensiveness or her demeanour, and I do
      not consider, that she had any appreciation then, or until the whistle-blower
      caused her to investigate further, of the true use, purpose and vice of third-party
      hardware sales to disguise and provide a stop-gap for shortfalls in software
      revenues.

Conclusion as to when HP became aware of “pure hardware sales”
1853. As the Claimants noted in identifying the issues to be determined in relation to
      their Hardware case, the Defendants raised but did not fully explain the
      relevance of post-acquisition knowledge of the hardware sales; but
      preacquisition knowledge would be relevant to the question of reliance.

1854. I have concluded that neither Mr Sarin nor Mr Gersh, nor anyone else whose
      knowledge could be imputed to HP/Bidco, knew that Autonomy was routinely
      selling material amounts of third party hardware separately from any software
      sales, still less did they know that (as I have determined) their purpose was to
      cover shortfalls in software revenues and perpetuate the appearance of meeting
      revenue forecasts, and that to that end their true nature was being concealed and
      their effect on Autonomy’s trading performance was being disguised.

THE CLAIMANTS’ ‘VAR CASE’: THE 37 IMPUGNED VAR
TRANSACTIONS




                                          Page 591
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 593 of 900
Approved Judgment                                                                       HC-2015-001324
Mr Justice Hildyard


Overview of the parties’ respective cases on Autonomy’s VAR sales
The Claimants case

1855. The Claimants’ claims in respect of Autonomy’s resort to the use of
      intermediaries known as Value Added Resellers (“VARs” or “resellers”) vied
      with their claims in relation to Autonomy’s sales of ‘pure’ hardware in the
      importance the Claimants attached to them.

1856. Although they accepted that Autonomy also entered into a large (but
      unspecified) number of unobjectionable VAR transactions in the Relevant
      Period229, the Claimants identified and impugned 37 high-value VAR licence
      sales (“the impugned VAR sales”) as being contrivances to which Autonomy
      resorted when an intended sale by Autonomy to an end-user of the same
      subjectmatter as the impugned VAR sale was unexpectedly delayed (or in some
      cases aborted), leaving a revenue shortfall. Almost all of them were with one of
      a small cohort of ‘friendly’ VARs.

1857. According to the Claimants’ case, the context of every one of the impugned
      VAR sales was Mr Hussain’s urgent need, at the end of a given quarter, to find
      revenue which could be presented as satisfying accounting rules for the
      recognition of revenue, in order to enable Autonomy to meet revenue forecasts.

1858. The purpose of every impugned VAR sale, according to the Claimants, was
      simply to establish a contract with a VAR, in place of the proposed end-user,
      from which recognised revenue in the amount of the VAR sale would appear to
      be generated even though in reality, revenue would only ever be received when
      the contemplated (but delayed) sale to the proposed end-user actually took
      place. In some instances, no sale to an end-user ever eventuated. In such cases,
      the Claimants’ case was that other contrived transactions (referred to as
      Reciprocal VAR Transactions ) were entered into in order to enable Autonomy,
      in effect, to fund the VAR to enable it to appear to discharge its obligations. In
      a smaller group of cases, the VAR’s obligations were, if no end-user sale
      eventuated, written off altogether; but that was not a solution favoured; it ran
      the risk of exposing the lack of substance in the VAR sales.

1859. This use of VAR sales took advantage of the fact that under IFRS, unlike under
      US GAAP, there is no requirement for there to be “sell-through” to an end-user
      before revenue is recognised. Under US GAAP, the use of VAR sales to
      generate recognised revenue where no end-user sale had yet been put in place
      would not have been feasible.




229
   Sales to VARs were described as “Autonomy’s primary revenue channel” in its Annual Reports for
both 2009 and 2010. It is of some note that the resellers listed in such Annual Reports were big name
companies such as Accenture, IBM Global Services, Cap Gemini, Wipro and HP. MicroLink LLC
(“MicroLink”) was mentioned in the context of its purchase by Autonomy in the first half of 2010 but
there was no other mention of any of the ‘friendly’ VARs with whom Autonomy conducted the
impugned VAR sales.


                                               Page 592
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 594 of 900
Approved Judgment                                                                HC-2015-001324
Mr Justice Hildyard


1860. Three special characteristics of software also enabled this use of VARs in such
      a way at the last moment at the end of a quarter:

              (1) Software can be delivered electronically and more or less
                  instantaneously at the last minute.

              (2) Acting as a VAR carries transactional risk in respect of its outlay; but
                  that will eventuate only if no onward sale can be arranged; and whilst
                  the commissions are generous, a VAR need carry no inventory and its
                  overheads may be relatively small.

              (3) Typically, what the VAR acquires is a licence to software: the seller
                  retains the rights, and the ability to sell the licence (an intangible asset
                  that can be infinitely and cheaply reproduced) to an infinite number of
                  other users. A producer/seller (such as Autonomy) is in a position to
                  fulfil with ease a licence sale to the end-user, notwithstanding an earlier
                  licence sale to the VAR, if that is what it chose to do.

1861. The acceleration of the recognition of revenue apparently generated by the
      impugned VAR sales (and in some cases the recognition of revenue which
      should never have been recognised at all) enabled Autonomy to cover a sudden
      or unexpected shortfall and meet quarterly and periodic revenue forecasts. The
      Claimants’ case was that the objective was thus very similar to, and could be
      deployed to complement, the objective of Autonomy’s ‘pure’ hardware sales,
      and both expedients were improper. Unlike the ‘pure’ hardware sales, however,
      the VAR sales were fully disclosed and their ostensible purpose was never in
      dispute.

1862. The Claimants contended that Autonomy’s use of VAR transactions in this way
      started in earnest in Q4 2009, immediately after what they described as the
      Defendants’ “lever of choice” in Q3 2009 and its favoured strategy of reselling
      pure hardware to plug any shortfalls in revenue came briefly unstuck in Q4
      2009, when Autonomy’s main hardware supplier, EMC, withdrew from any
      involvement in Autonomy s hardware reselling strategy.” On this analysis, the
      use of VARs was another lever or device to which Autonomy resorted, with the
      Defendants’ knowledge and authorisation,

                       to bridge the gap between [Autonomy s actual revenue for the
                      quarter] – which was invariably far short of [analysts’ and market]
                      consensus – and Autonomy s reported figure, which was generally in
                      line with or ahead of consensus.”


1863. The Claimants depicted the VARs which Autonomy engaged for its VAR sales
      as friendly ‘placeholders’ which were willing to go along with a nominal role
      accepting nominal risk which involved no real effort or exposure in return for
      commissions in the form of “Marketing Assistance Fees” or “MAFs”.

1864. The Claimants sought to demonstrate a tell-tale pattern of a VAR sale at the
      very last moment of a quarter. The VAR would nominally accept a payment


                                              Page 593
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 595 of 900
Approved Judgment                                                           HC-2015-001324
Mr Justice Hildyard


         obligation and thus risk, but would know that Autonomy would be entirely
         responsible for negotiating an end-user sale, and would never call on the VAR
         to pay the amounts due under the sale transaction out of its own resources. The
         shared understanding, of which they were in every case assured by Mr Egan,
         was that Autonomy would wait until either payment eventuated from an onward
         sale to an end-user, or the VAR could be put in funds by some ancillary
         transaction orchestrated and funded by Autonomy.

1865. The Claimants accepted that the 37 impugned VAR sales had contractual effect,
      and nominally transferred to the VAR risk and reward, and managerial control,
      of the software licence sold. However, the Claimants contended that the
      impugned VAR sales, all in amounts very considerably greater than any of
      Autonomy’s other transactions with VARs, were not in economic substance
      sales at all, but arrangements for Autonomy to recognise revenue in advance of
      the true sale to an end-user.

1866. The Claimants acknowledged that Deloitte had in every case approved the
      accounting treatment of the impugned VAR sales. Their position was that this,
      though much relied on by the Defendants, did not provide either a justification
      or a defence because Deloitte did not and could not know the full picture. In
      particular, Deloitte were invariably told, and saw in the contract, that there was
      an express prohibition against any side agreement which might undermine the
      main VAR contract; but they were never told of the shared understanding
      between the VARs and Autonomy that, one way or another, Autonomy would
      see to it that the VAR was insulated from the nominal legal risk.

1867. Normally, as indicated above that would be achieved either by Autonomy
      crediting the VAR (directly or indirectly) with the proceeds from an end-user
      sale or by Autonomy funding the VAR through a reciprocal transaction. But the
      Claimants relied also on what they presented as a ‘clean up’ operation engaged
      in by Autonomy personnel in what the Claimants referred to as the Dark Period
      . This was the period after the acquisition by HP of Autonomy but before its
      integration, and whilst Autonomy’s pre-acquisition management was still in
      control of its affairs. The Claimants alleged that during the ‘Dark Period’, past
      VAR and ‘reciprocal’ transactions which had not been paid for or completed
      were in various ways reversed or expunged. They relied on this as further
      demonstrating both the impropriety of the entire programme of impugned VAR
      sales and the knowledge and recognition of their impropriety.

Overview of the Defendants case

1868. The Defendants depicted the Claimants’ case as based on assumptions which
      presumed impropriety where none existed, and on evidence in chief which was
      not reliable, and which, after cross-examination, was revealed not to be
      supportive of the Claimants’ case.

1869. Although VAR is an acronym for “Value Added Reseller”, and the paradigm
      would be a VAR providing additional value to a software company’s products


                                         Page 594
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 596 of 900
Approved Judgment                                                           HC-2015-001324
Mr Justice Hildyard


         by providing services to the end-user, resellers commonly undertake different
         and very varied roles. The Defendants emphasised that there is nothing per se
         objectionable in the use of VARs as a channel through which software sales are

         made, sometimes simply as a ‘fulfilment partner’ with no active role: indeed, it
         is common in the software business.

1870. According to the Defendants, the Claimants had sought to portray as suggestive
      of lack of substance and impropriety features which were commonplace in the
      market, and entirely neutral”. They suggested that the impugned VAR sales
      were, except for their unusual value, not materially different from Autonomy’s
      many other sales to VARs: as being part of the ordinary course of business of a
      software seller and entirely unobjectionable.

1871. Thus, they insisted that it was not unusual or improper to use resellers (as the
      Defendants preferred to refer to VARs) merely as sales channels, or simply as
      ‘fulfilment partners’ assisting the supplier with the paperwork required to fulfil
      a sale to the end-user through the VAR sales channel; or, as in most of the VAR
      sales in this case, simply to enable the supplier to secure a sale (to the VAR)
      from which the supplier (Autonomy in this case) could book and recognise
      revenue in a targeted quarter if a contemplated sale to an end-user was delayed.

1872. Accordingly, they presented the 37 impugned VAR sales as higher value
      examples of a commonplace sales strategy involving what in Dr Lynch’s
      estimation were thousands” of other unobjectionable VAR transactions with
      hundreds of resellers” in the same period. They maintained that there was
      nothing improper, illusory or wrong about Autonomy’s VAR sales, just as there
      was nothing wrong with selling hardware to boost software sales, in effect as a
      promotional gambit.

1873. Mr Welham confirmed in cross-examination that Deloitte, for example,
      understood and accepted as unobjectionable the use of VARs simply to “de-risk”
      a delayed transaction and book revenue from it (subject to compliance with
      specified criteria in IAS 18.14 as discussed below). The Defendants submitted
      that, in the sector, it was not unusual for the reseller to act (in effect) as a
      guarantor. The effect of smoothing revenue to minimise peaks and troughs was
      not objectionable; and nor was a VAR transaction with that in mind if it satisfied
      the legal criteria of IAS 18.14.

1874. The Defendants relied especially on the detailed contracts which in each case
      established the impugned VAR transactions. The terms of these contracts were
      clear. They provided for an unconditional sale, an unqualified payment
      obligation (regardless of whether or not an end-user sale eventuated), allowed
      the VAR to determine the price of any onward sale and included in every case
      an unqualified “entire agreement” clause. The Claimants, who (the Defendants
      repeatedly emphasised) expressly disavowed any suggestion of legal sham,
      accepted that they were valid and enforceable in accordance with those terms.
      In such circumstances, the Defendants contended that there was no basis for
      characterising the substance of the transactions as anything other than in law
      what the parties had defined them to be: the substance was the contract.


                                          Page 595
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 597 of 900
Approved Judgment                                                                       HC-2015-001324
Mr Justice Hildyard


1875. Mr Egan for Autonomy and both Mr Baiocco and Mr Szukalski on behalf of
      ‘friendly’ VARs, confirmed that such a VAR sale was not unusual, and was a
      useful way of ensuring that a supplier such as Autonomy would not be
      pressurised to sell to a procrastinating or opportunistic end-user at a discounted

         price at the end of a quarter (as he also confirmed was a common end-user
         tactic). Amongst other advantages in the use of the VAR sales channel claimed
         by the Defendants were that (a) in theory at any rate, it permitted the supplier to
         reduce the costs of its sales function (as Mr Apotheker agreed in
         crossexamination) and (b) using resellers potentially gave Autonomy access to
         more customers (as Mr Egan agreed).

1876. Mr Egan also confirmed that from the VAR’s perspective, there was an incentive
      (in addition to any commission) for doing such a deal in that it would help the
      VAR’s market presence and help build its own relationship with the end-user.

1877. For the Defendants, the underlying flaw in the Claimants’ approach was that it
      lost sight of both the contract (which the Defendants suggested was also the best
      evidence of the parties’ intentions) and the point that, for the purposes of IFRS
      accounting and IAS 18.14, the VAR was the customer, and the status and
      prospects of any future deal did not impact upon recognition of revenue from
      the sale to the VAR. The Defendants suggested that the latter mistake originated
      in a different approach taken in US GAAP with which, of course, HP and its
      management were more familiar.

1878. The Defendants relied also on the fact that the VAR transactions and their salient
      features were well-known to Deloitte, who gave each of the impugned VAR
      sales a clean bill of health. Thus, for example, Mr Welham confirmed that
      Deloitte were aware that Autonomy would regularly resort to a VAR sale, so
      that it could recognise revenue from that sale, at the very last moment before
      the end of a quarter, since it might only be then that it would become clear that
      the end-user sale would be delayed. He also confirmed in cross-examination
      that it would not be unusual for the VAR to have had no contact with the end-
      user, nor any familiarity with the software to be on-sold under licence.

1879. The Defendants rejected any suggestion of improper reversals or other
      impropriety in their treatment of uncompleted VAR transactions in the Dark
      Period”. They insisted that everything that was done was typical of the usual
      reconciliation and clearing up process following an acquisition. They relied also
      on the evidence of Ms Harris in her second witness evidence in support of
      this 230.
              254F




230
   The Defendants have invited me to re-consider Ms Harris’s evidence in this regard. She described
what was done as an “exercise, pre-acquisition, of trying to work out how HP would want to deal with
provisions and bad debts under HP’s own policies” and insisted that there “was nothing improper about
any of this”. She explained also that after the acquisition she and her team “learned that HP was more
conservative than we had predicted, so we had to make more provisions.” She emphasised that a note
recording an interview she gave PwC in November 2012 (which she did not see until August/September
2019) had been “spun” and she sought to shrug off as “muddled at this point” a description in that note


                                                Page 596
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 598 of 900
Approved Judgment                                                                            HC-2015-001324
Mr Justice Hildyard




Number and value, and the two categories, of impugned VAR sales

1880. The 37 impugned VAR sales are listed and briefly described in Schedule 3 to
      the RRAPoC, which is headed Contrived VAR Transactions”. Schedule 3 is 65
      pages long and contains a brief summary of the Claimants’ allegations in respect
      of each of the 37 transactions listed.

1881. Of the 37 allegedly Contrived VAR Transactions” (which in the Claimants’
      written submissions were referred to as “the impugned VAR transactions”), 30
      were transactions in respect of which the Claimants alleged there was a side
      agreement or understanding which negated their economic substance, which
      resulted in the VARs 231 being in every case no more than a ‘placeholder’ and
                                    25F




      precluded the recognition of revenue from them.

1882. 5 of the remaining 7 transactions (VT9, VT17, VT19, VT22 and VT29) were
      Collectability VARs . In those cases, no such side agreement or understanding
      was alleged. The basis of the Claimants’ claim was the allegation that there was
      never any realistic prospect of the VAR in question actually meeting its payment
      obligation, and it was never in truth envisaged that any debt owing by the VAR
      would be called in. Although there was no side agreement asserted, both motive
      and effect were similar: to generate revenue from what was in effect a
      contrivance. I deal in more detail with the Collectability VARs in the Schedule
      of Impugned VAR Transactions that accompanies this judgment. The 2
      remaining transactions (VT5 and VT14) are dealt with on their own particular
      facts in that same Schedule.

1883. The Claimants calculated that the impugned VAR sales accounted for 88% by
      value of Autonomy’s VAR transactions above $1 million in the Relevant Period.
      As to their chronological spread, it is not disputed that:

              (1) In Q4 2009, Autonomy made seven impugned VAR transactions each in
                  excess of $1 million and which collectively accounted for $27.6 million
                  in revenue;

              (2) In Q1 2010, Autonomy made a total of five impugned VAR sales which
                  collectively accounted for $28.4 million in revenue;

              (3) After a lull in Q2 2010 when there was only one impugned VAR sale
                  accounting for revenue of nearly $2 million, occasioned (the Claimants
                  suggested) by Mr Hogenson’s enquiries, Autonomy made four


of her having said, as regards the pre- and post-acquisition write-offs, that she “would have said
something earlier if I had been allowed to talk about it or correct it, but Hussain prevented me” and that
she “eventually presented little lists of these practices to come clean”. Her evidence at trial on which the
Defendants relied was that “It was a housekeeping exercise. There was nothing to “come clean” about
and I was not prevented from discussing what we had done with HP.” I shall return to assess this evidence
later: see paragraphs [2153] et seq.
231
    All but two of the 30 were transactions with ‘friendly’ VARs. Only two (VT15 and VT26) were
with other VARs (Realise Limited and Tikit respectively).


                                                  Page 597
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 599 of 900
Approved Judgment                                                              HC-2015-001324
Mr Justice Hildyard


                      impugned VAR sales in Q3 2010 accounting for revenue of over $23
                      million (and two ‘reciprocal’ transactions yielding over $7 million);

              (4) Seven impugned VAR transactions followed in Q4 2010 accounting for
                  revenue of $25.4 million;

              (5) In Q1 2011, Autonomy made seven impugned VAR sales accounting for
                  revenue of $22.9 million; and


              (6) In Q2 2011 (the last reported quarter before HP’s acquisition of
                  Autonomy was announced in August 2011), it made a further four such
                  sales, which accounted for revenue of some $28.6 million.

1884. The amount of revenue recognised in respect of the impugned VAR sales in
      each quarter was alleged to be sufficient materially to distort Autonomy’s
      quarterly report. That was so even though what is in issue, where (as in 19 out
      of 37 cases) an end-user sale eventuated, is a timing difference, because when
      the end-user sale was completed, revenue actually was received in most cases,
      albeit some time after it had been booked.

1885. It was not suggested that the 37 impugned VAR sales were indicative or
      exemplars of some wider misuse of VAR sales by Autonomy. In other words,
      the Claimants confined their claims to the 37 impugned VAR sales, and did not
      challenge Dr Lynch’s estimation in his first witness statement that Autonomy
      entered into thousands of transactions with resellers in the Relevant Period. I
      infer that the other VAR sales which were not counted were unobjectionable.

1886. As previously indicated, the Defendants did not adduce evidence in respect of
      any such VAR sales to demonstrate similar but apparently unexceptional
      features. I did not therefore have the opportunity to assess whether the mass of
      VAR transactions which were not impugned shared features said by the
      Claimants to be objectionable in the context of the 37 impugned transactions,
      which might have confirmed the Defendants’ case that the features relied on by
      the Claimants (such as the fact that VAR sales were entered into on the eve of
      quarter-end, and that VARs were excluded from any involvement in the enduser
      negotiations, as elaborated later) were unexceptional.

Reciprocal VARs

1887. Linked with both varieties of impugned VAR transactions were certain
      transactions, referred to by the Claimants as Reciprocal VAR transactions”,
      which (somewhat confusingly) the Claimants lumped together with what the
      Claimants termed Reciprocal Transactions” (as listed in Schedule 5 to the
      RRAPoC).

1888. So-called Reciprocal VAR transactions were not really “reciprocal transactions”
      at all, since they did not involve any linked sale to and purchase from a
      counterparty. But what they were said to have in common was that they involved



                                              Page 598
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 600 of 900
Approved Judgment                                                              HC-2015-001324
Mr Justice Hildyard


         a purchase or purchases of a product (or services) which Autonomy allegedly
         did not need” and were of no discernible value”. In other words, both varieties
         were put in place because of, and achieved, the same purpose.

1889. In the case of Reciprocal VAR transactions , all of which were with ‘friendly ’
      VARs, the Claimants’ case was that the purchase from the VAR was alleged to
      have been a device to put the VAR in funds to enable it to repay what it owed
      in respect of an earlier purchase by it of a product from Autonomy under an
      impugned VAR transaction. The Claimants relied on these transactions as
      evidence that the VAR was not in reality on risk in respect of earlier sales giving
      rise to the debts, thereby showing that the earlier sales lacked substance. I deal
      with these Reciprocal VAR transactions later in this Chapter.

The Claimants legal causes of action in respect of the impugned VAR transactions

1890. The Claimants’ primary and largest claim in this context was that because they
      were wrongly treated as real sales generating revenue which could be recognised
      at the point of sale, the way the impugned VAR sales were accounted for was
      improper and resulted in a false picture in Autonomy’s accounts and published
      information (on which they maintained they had relied). This is thus in the
      nature of a claim for false accounting and untrue or misleading published
      information brought under FSMA, the relevant accounting standard said to have
      been wrongly applied being IAS 18.

1891. The Claimants also made a claim for alleged “transaction-based losses”; the
      losses consisting of fees paid to VARs in the context of the impugned VAR
      transactions and what the Claimants described as foregone receipts on improper
      transactions.” These claims for compensation for the Defendants’ breaches of
      duty seek recovery of amounts which are relatively small, with a value
      amounting to some US$8.8 million.

The two hurdles for the Claimants in their FSMA claims in respect of impugned VAR
sales

1892. To succeed in their VAR claims under FSMA, the Claimants had to demonstrate
      (in addition to reliance and loss) both (a) that the recognition of revenue from
      the impugned VAR sales lacked economic substance and/or did not satisfy the
      criteria for recognition of revenue prescribed by applicable Accounting
      Standards, and that therefore Autonomy’s published information showing it as
      recognised revenue was untrue or misleading, and (b) that the Defendants knew
      that (or were reckless in that regard).

1893. As to (a), the Claimants put their case on two complementary bases. One basis
      was that in substance the impugned VAR transactions were not sales at all, and
      thus could not give rise to recognised revenue. The second basis was that the
      impugned VAR transactions did not satisfy one or more of the criteria stipulated
      by IAS 18.14 for the recognition of revenue from a sale of goods.

1894. As the case progressed, the Claimants seemed to me increasingly to emphasise
      the first limb of their case in this regard (that the transactions were not in reality


                                          Page 599
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 601 of 900
Approved Judgment                                                                            HC-2015-001324
Mr Justice Hildyard


         transactions of sale at all, and that this was conclusive without further need to
         consider the detailed application of the specific wording or interpretation of IAS
         18.14). This had the advantage, from the Claimants’ point of view, of reorienting
         the points in issue away from any dispute as to the proper interpretation and
         application of IAS 18 and towards a fact-based assessment, and also thereby
         minimising the role of Deloitte.

1895. Although this latterly adopted approach is in some ways the more
      straightforward, it seems to me that it is important to understand the detailed
      provisions of IAS 18, both because that is the way the case was originally put,
      and because that was the apparent approach both of Autonomy and Deloitte.

1896. In any event, both ways of putting the Claimants’ case ultimately depend on a
      careful factual analysis of the actual conduct of the parties to the impugned VAR
      transactions. The Claimants maintained that this revealed a clear pattern
      consistent only with the conclusion that, though contractually enforceable, the
      VAR sales were not intended to have any real economic effect (save for the
      payment of commission to the benefit of the VAR as the price of its compliance
      in what the Claimants presented as (though not a sham in the legal sense) 232 a
      charade).

1897. In a nutshell, the Claimants’ case is that this pattern, especially when repeated
      over a series of transactions with ‘friendly’ VARs, made clear that in every case,
      the VAR was and was always intended to be both insulated from risk and
      sidelined from any participation. That, the Claimants submitted, belied any true
      sale and demonstrated the VAR’s purely nominal role.

1898. As to (b) and the second hurdle, S.90A and Sch 10A of FSMA require proof of
      what I have referred to as (see the Introduction to this judgment at paragraphs
      467 to 477) “guilty knowledge”. The Claimants thus had also to prove that the
      Defendants knew that the accounting treatment adopted by Autonomy, and
      sanctioned by Deloitte, in recognising revenue as arising from the impugned
      VAR transactions, was wrong and rendered Autonomy’s financial statements
      untrue or misleading. 233    257F




1899. That essentially depended on (i) what, if anything, the Defendants knew about
      the assurances given by Mr Egan and/or the way the VAR transactions were
      routinely acted upon, (ii) what basis the Defendants were satisfied that the
      criteria of IAS 18.14 were fulfilled in each case, and (iii) what comfort they

232
    Snook v London and West Riding Investments [1967] 2 QB 786. A ‘sham’ in a legal sense is a
contractual arrangement dressed up and misdescribed as having one legal effect and in reality having
another legal effect; as Diplock LJ (as he then was) put it at p802C-E: “…it is, I think, necessary to
consider what, if any, legal concept is involved in the use of this popular and pejorative word. I apprehend
that, if it has any meaning in law, it means acts done or documents executed by the parties to the “sham”
which are intended by them to give to third parties or to the court the appearance of creating between
the parties legal rights and obligations different from the actual legal rights and obligations (if any)
which the parties intend to create….for acts or documents to be a “sham”…all the parties thereto must
have a common intention that the acts or documents are not to create the legal rights and obligations
which they give the appearance of creating.”
233
    Or were reckless as to whether the relevant presentation was untrue or misleading.


                                                  Page 600
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 602 of 900
Approved Judgment                                                                        HC-2015-001324
Mr Justice Hildyard


          legitimately drew from the fact that Deloitte reviewed and approved the
          accounting treatment of every one of the impugned VAR transactions. The latter
          was much relied on by the Defendants, on the basis that even if Deloitte were in
          error, it is difficult to ascribe greater and guilty knowledge to the Defendants,
          unless they knew something (including their own intentions or the undisclosed
          intentions of the parties) that Deloitte did not, and/or misled Deloitte into giving
          their approval of the presentation and accounts on a factually incomplete or
          misleading basis.

Structure of more detailed analysis of the claims based on false accounting

1900. In light of the introductory preview above of a very detailed claim expounded by
       both the Claimants and the Defendants over the course of many hundreds of




         pages of submissions and many days of cross-examination of a variety of
         witnesses, I turn to address the following in more detail:

              (1) the usual provisions of the contracts relating to the impugned VAR sales;

              (2) the terms of and the proper approach to the interpretation of Accounting
                  Standards, and in particular, IAS 18 para. 14 (“IAS 18.14”), which at the
                  relevant time234 governed the recognition of revenue from sales of goods
                  (including software);

              (3) how the expert evidence as to the application of IAS 18.14 affects the
                  analysis;

              (4) how the parties to the VAR sales actually conducted themselves, and in
                  the light of that, whether in the case of the impugned VAR transactions
                  the overall relationship between the contracting parties satisfied the
                  criteria stipulated by IAS 18.14 for the recognition of revenue; and/or

              (5) whether (as the Claimants submit) those transactions were enforceable
                  but never really intended to be enforced or acted upon so as not in real
                  economic terms to be sales of goods at all;

              (6) what the Defendants knew and whether it amounted to “guilty
                  knowledge”.

(1)      Usual provisions of VAR sales contracts

1901. Taking as an example the master agreement made between Autonomy Inc and
       Capax Discovery LLC dated 30 June 2009, it was provided that:


234
   As explained below, the difficulties in its application were recognised and IAS 18.14 has since been
superseded by IFRS 15.


                                                Page 601
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 603 of 900
Approved Judgment                                                                HC-2015-001324
Mr Justice Hildyard


                a)“…Once the Autonomy products on a purchase order have been
                  shipped by Autonomy235, VAR may not cancel or amend the purchase
                  order without the prior written consent of Autonomy.”

                b)“…VAR shall not be relieved of its obligations to pay fees owed to
                  Autonomy hereunder by the non-payment of fees by an End-User.”

                c)“…VAR shall: (a) use commercially reasonable efforts to promote,
                  market and sell Autonomy Products and Services to End-Users…(b)
                  maintain a sufficient number of VAR s personnel…trained in the
                  features and functions of the current version of the Autonomy Products
                  to (i) solicit orders for the Autonomy Products from End-Users; (ii)
                  properly inform and demonstrate to End-Users the features and
                  capabilities of the Autonomy Products…”




                 d) Except as otherwise provided in this Agreement, VAR shall assume all
                  responsibility and liability to End-

                e)Users with respect to the Autonomy Products…”

                f)“…VAR is free to determine its own prices and per copy fees to
                  endUsers. Autonomy may from time to time publish suggested
                  wholesale or retail prices and per copy fees, provided, however, that
                  such prices and fees are suggestions only and VAR is and shall be free
                  to determine the actual prices and per copy fees at which the
                  Autonomy Product will be licensed to its End-Users”

                g)“ENTIRE AGREEMENT: AMENDMENT. This Agreement
                  sets forth the complete and exclusive agreement between the
                  parties with respect to its subject matter and supersedes any and
                  all other written or oral agreements previously existing between
                  the parties with respect to such subject matter. No alterations,
                  modifications or additions to this Agreement shall be valid
                  unless made in writing and signed by a Director or Officer of
                  each party. The terms of any purchase orders or the like
                  submitted by the VAR which conflict with any terms in this
                  Agreement whether or not countersigned as accepted by
                  Autonomy shall not be binding on Autonomy, regardless of
                  Autonomy s failure to object to such terms.”


1902. It is also of some interest, that in the definitions clause it was provided:


  Usually by FTP or on Autonomy’s Automater system, which was the platform through which
235

Autonomy made software available for download to customers who had licensed it.


                                            Page 602
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 604 of 900
Approved Judgment                                                                        HC-2015-001324
Mr Justice Hildyard


              a)       End-User shall mean third party entities to whom VAR provides
                Services in respect of Autonomy Products”; and

              b)       Services shall mean services provided to an End-User by which
                VAR may include demonstration, pre-sales support, installation,
                customisation, training, maintenance and support services, and other
                consulting or integration of the Autonomy Products.”

1903. I set out the terms of Autonomy’s VAR agreements with the other ‘friendly’
      VARs (especially, MicroLink, MicroTech, and DiscoverTech) 236 , when
      addressing impugned VAR transactions with each of them. The master
      agreements with MicroLink and MicroTech (each described as a Government
      reseller ) were in similar form and materially the same as the agreement with
      Capax Discovery. The individual agreements with DiscoverTech were shorter
      but in each case they contained at least (a) a provision binding the reseller
      irrevocably to the purchase upon delivery and making clear the unconditional
      nature of the payment obligation and (b) a similar entire agreement clause.


1904. Under all of Autonomy’s agreements with ‘friendly’ VARs, the reseller was also
      required to sign debtor confirmation letters in respect of the debt arising under
      the impugned deals. The debtor confirmations are identified further below by
      reference to the individual transactions. An example (which related to deals with
      Capax including Amgen) stated:

                       The items listed above were properly charged to our account
                      and were unpaid as of 30th September 2010 and there are no
                      side letters or other agreements in respect of the subject matter
                      of this request, except as noted below:

                      [Nothing was noted.]

                      We acknowledge that Autonomy Corporation plc retains no
                      continuing managerial involvement in the delivery of this
                      product or service, other than stipulated in the licence
                      agreement.”

(2) Terms and interpretation of IAS 18

1905. There is no dispute that Autonomy was subject, throughout the Relevant Period,
      to the requirements of IAS 18, and in particular IAS 18.14, and that revenue
      could not properly be recognised on sales of software (or hardware) unless its
      requirements were met. It was common ground also that if those requirements

236
   In the case of DiscoverTech, each reseller transaction was governed by an individual VAR
agreement. In the case of the other ‘friendly’ VARs there was a master agreement governing all their
respective reseller transactions.


                                                Page 603
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 605 of 900
Approved Judgment                                                                  HC-2015-001324
Mr Justice Hildyard


            were met, recognition of revenue was mandatory, not discretionary: in other
            words, if all the criteria were satisfied, the revenue not only could be, but was
            required to be, recognised.

Terms of IAS 18

1906. IAS 18 prescribed criteria intended to adumbrate the qualities of a true and
      unconditional sale of goods (including software and software licences) from
      which revenue arising must237 properly be recognised. Their application is not
      always easy, especially in the software context, where the goods are intangible
      assets that can be infinitely reproduced. It is of some note that IAS 18.14 has
      been replaced to clarify revenue recognition rules, especially for more complex
      transactions: IFRS 15 (which was first issued in April 2016) superseded it with
      effect for accounting periods beginning on or after 1 January 2018.

1907. IAS 18.14 provided as follows:

                       Revenue from the sale of goods shall be recognised when all the
                      following conditions have been satisfied:




                      (a) the entity has transferred to the buyer the significant risks and
                          rewards of ownership of the goods;

                      (b) the entity retains neither continuing managerial involvement to the
                          degree usually associated with ownership nor effective control over
                          the goods sold;

                      (c) the amount of revenue can be measured reliably;

                      (d) it is probable that the economic benefits associated with the
                          transaction will flow to the entity; and

                      (e) the costs incurred or to be incurred in respect of the transaction can
                          be measured reliably.”


1908. IAS 18.15 elaborated on the test in IAS 18.14(a) as follows:
                       The assessment of when an entity has transferred the significant risks
                      and rewards of ownership to the buyer requires an examination of the
                      circumstances of the transaction. In most cases, the transfer of the risks
                      and rewards of ownership coincides with the transfer of the legal title or

237
      If the criteria are satisfied, recognition is mandatory.


                                                      Page 604
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 606 of 900
Approved Judgment                                                                    HC-2015-001324
Mr Justice Hildyard


                      the passing of possession to the buyer. This is the case for most retail
                      sales. In other cases, the transfer of risks and rewards of ownership
                      occurs at a different time from the transfer of legal title or the passing
                      of possession. …”


1909. IAS 18.16 explained that the seller may retain a significant risk of ownership”
      in a number of ways and provides examples of various well-recognised
      situations where that may be so, as follows:

         (1)      “when the entity retains an obligation for unsatisfactory performance
                  not covered by normal warranty provisions”;

         (2)      “when the receipt of revenue is contingent on the derivation of revenue
                  by the buyer from its sale of the goods”;

         (3)      “when the goods are shipped subject to installation, and the installation
                  is a significant part of the contract which has not yet been completed by
                  the entity”;

         (4)      “when the buyer has the right to rescind the purchase for a reason
                  specified in the sales contract and the entity is uncertain about the
                  probability of return.”


1910. IAS 18.17 contained a saving provision as follows:

                       If an entity retains only an insignificant risk of ownership, the
                      transaction is a sale and revenue is recognised. For example, a seller
                      may retain the legal title to the goods solely to protect the collectability
                      of the amount due. In such a case, if the entity has transferred the
                      significant risks and rewards of ownership, the transaction is a sale and
                      the revenue is recognised. Another example of an entity retaining only
                      an insignificant risk of ownership may be a retail sale when a refund is
                      offered if the customer is not satisfied. Revenue in such cases is
                      recognised at the time of sale provided the seller can reliably estimate
                      future returns and recognises a liability for returns based on previous
                      experience and other factors.”

Dispute as to interpretation of the Accounting Standards

1911. These provisions resonate with, and indeed seem to me likely to have been
      informed by, legal tests for determining the transfer of risk, reward and
      managerial control in the ordinary context of a sale of goods. They identify legal
      characteristics of an unconditional sale. They provide examples to delineate
      when risk is assumed to pass (and when not) which appear to be borrowed from
      legal concepts and devices (such as warranties which in effect introduce
      conditionality, contingent payment provisions and terms enabling rescission
      which are usually referred to as Romalpa clauses). The way these matters are
      dealt with appears to encourage, especially in a lawyer, a legalistic approach


                                                Page 605
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 607 of 900
Approved Judgment                                                                          HC-2015-001324
Mr Justice Hildyard


          and primary focus on any contract governing the transaction in determining the
          nature and extent of the bargain. My own initial tendency to adopt such an
          approach fuelled a dispute between the parties as to the extent to which the VAR
          contracts were properly treated as determinative of the true relationship between
          the parties to them (Autonomy and the relevant VAR).

1912. Mr Miles, supported by Mr Casey, embraced and encouraged an approach
      which put the contract at the centre of the enquiry as to the substance of the
      impugned VAR sales and focused on the legal relationship between the parties
      as defined there and in any legally enforceable arrangements ancillary to it.
      Although they accepted that revenue recognition, like other accounting
      requirements, involves consideration of substance over form”, Mr Miles
      submitted that the substance of the relationship is to be found in the entirety of
      the parties obligations”. He included in this the entire commercial package of
      rights” (some of which might be collateral to the main contract) but not
      arrangements of some kind which are not of legal effect”. He submitted that the
      guidance does not involve a quest for a nebulous understanding” separate from
      the legal rights and obligations which, taken as a whole, comprise the parties
      deal”.

1913. In the present case, the Defendants submitted that where, as in every one of the
      impugned VAR transactions in this case, being contracts for the sale of goods
      and not in the nature of complicated contracts such as a finance lease, the
      contract expressly provided that the entire agreement of the parties was to be
      found within the four walls of the contract, and nowhere else, the substance of

         the transaction was to be (in most cases at least) determined from the contract
         itself.238 He submitted that:

                       in practical terms, once you ve accepted that the transactions are real
                      and not shams, then you can see what the substance is. It s the same
                      thing as their legal form”.


1914. He explained this further as follows:
                       generally speaking, commercial contracts are very good evidence
                      indeed of the intentions of the parties, indeed of the economic
                      transaction between them, and suppose that an accountant were to
                      want to understand what the transaction between two parties consists
                      of, the contract generally provides the answer.”


1915. Mr Miles submitted accordingly that the Claimants’ concession that the VAR
      agreements were in every case binding contracts carries with it an acceptance


238
   In Dr Lynch’s closings and in oral submissions this was less absolute: it was contended that the
terms of the contract are highly important in determining the substance, contrasting a simple sale of
goods contract from a lease finance where in substance the lessee owns that which is leased.


                                                 Page 606
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 608 of 900
Approved Judgment                                                                  HC-2015-001324
Mr Justice Hildyard


         that the contracts embodied the true intentions of the parties.” He elaborated on
         this in his oral submissions in closing as follows:
                       So what did those contracts do? Although there were some
                      differences, there were also common features. The contracts were
                      licences of goods for relicensing to an end-user. As I said earlier on,
                      they contain unconditional obligations to pay, stating in terms that the
                      reseller could not avoid payment by reason of a non-payment by the
                      end-user. They governed the question of when title passed. It passed on
                      delivery and that was by the software being made available
                      electronically. It wasn t necessary for the reseller actually to download
                      the goods. Title passes on it being made available.
                      The contracts also said that the contract is the whole contract that
                      supersedes all agreements with respect to it and that no changes would
                      be valid unless signed in writing. That is very strong evidence, we
                      suggest, of the substance of the transactions for accounting purposes,
                      put at its lowest.
                      Now, it is also worth noting that the Claimants accepted that nothing
                      they could rely on would have amounted to a deferment of the debt in
                      law or estoppel. They said that on day 84 at pages 136 to 137
                      [TS84/136-137]. Again, that is an important concession and not, we
                      suggest, the way that the case was pleaded. Whether it was or not does
                      not matter. It is an important point that, in law, the contract has the
                      effect that it has.”

1916. Thus, Mr Miles concluded, it follows that the VAR agreements are to be
      interpreted as both binding in accordance with their terms and demonstrative of

         the true intentions of the parties, including the intention that the obligations
         specified by their agreement should not be modified or re-characterised by
         reference to ancillary arrangements that they had agreed should not be made.
         There was a true sale established by an enforceable contract, and the VAR would
         have no defence in law to enforcement of its terms (including the payment
         obligation it contained). Even if assurances were given as to the likelihood that
         Autonomy would never look to its legal rights, and would do all that it could to
         see that the VAR was not left on the hook”, the fact remained that the VAR was
         in every case on the legal hook, and the assurances provided no defence or
         answer. They amounted to no more than warm words” intended to encourage
         the VAR to participate, but not intended to constitute any part of the substantive
         deal or (in particular) remove from the VAR the risk it had contractually
         assumed.

1917. Mr Miles also warned against the use of hindsight. He submitted that revenue
      recognition needed to be assessed at the date of the accounts, and hindsight
      should be avoided. Mr Welham accepted this when he was cross-examined as
      probably a fair statement to make”, and both experts appeared to agree that it
      was not permissible. On that basis, Mr Miles submitted that post-transaction
      events, including (for example) a decision by the end-user to deal and contract


                                               Page 607
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 609 of 900
Approved Judgment                                                           HC-2015-001324
Mr Justice Hildyard


         directly with Autonomy and Autonomy’s decision in those circumstances to
         forgive the VAR’s debt, should not affect the analysis if the VAR was on risk at
         the time of the contract between itself and Autonomy. The Defendants pointed
         out that this was indeed Deloitte’s approach.

1918. Mr Rabinowitz rejected that approach and cautioned me against what he was
      concerned might be the natural inclination of a lawyer to adopt it. His case was
      that the focus of IAS 18.14, and of the practice of accountants in applying it, is
      on the economic reality of the transaction in the round, and whether the
      arrangement is one from which the revenue intended to be recognised can
      actually be expected. The audience is not a court applying the law: it is the
      market, seeking to assess how the company is performing.

1919. The Claimants’ position was that the standard requires consideration of whether
      the factual circumstances demonstrate any different economic reality than is
      revealed by legal analysis of the contractual relationship said to constitute an
      unconditional sale. As it seems to me, the essence of their position was that it is
      the economic substance which must determine the accounting treatment:
      economic reality trumps (as it were) any legal interpretation of the effect of the
      contractual arrangements agreed by the parties. Accounting for transactions by
      reference only to legally enforceable commitments will not provide a true and
      fair view if in fact the parties’ shared intention is to ignore the contractual
      elements and proceed on the basis of a different understanding.

1920. Contrary to the Defendants’ submission, the Claimants submitted that this is not
      inconsistent with their disavowal of any plea of sham. They accepted the validity
      of the contract, and that each of the transactions was valid and had legal effect
      and could be enforced by the parties against each other in accordance with their
      terms. Their point was that the shared understanding and intention of the parties
      was that neither party would ever seek to rely on or enforce its legal rights
      against the other, and insofar as obligations such as the payment obligation had

         to be seen to be performed, such assistance as became necessary (for example,
         by providing funds via a reciprocal transaction) would be arranged.

1921. The Claimants’ position was to the effect that the VAR transaction was, in
      economic reality, a side-show: the VAR was interposed as a placeholder for the
      end-user, and the economically significant sale in every case where a sale
      resulted was the sale to the end-user. It was that transaction on which in reality
      Autonomy was focused, and which it regarded as the real sale which would
      result in actual payment and in due course receipt of revenue. The accounting
      significance and revenue recognition accorded to the VAR transaction was
      contrived and misleading accordingly.

1922. This dispute as to the interpretation of IAS 18.14 and its application to the facts
      clearly raises issues about the interplay between legal concepts and the
      Accountancy Standards, including:




                                          Page 608
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 610 of 900
Approved Judgment                                                                 HC-2015-001324
Mr Justice Hildyard


               (1) Whether the substance of a transaction is to be assessed according to its
                   legally enforceable incidents: or put another way, whether the contract
                   is definitive of the parties’ intentions and relationship; and

               (2) More particularly, whether the criteria specified by IAS 18.14, for
                   example as to the transfer of significant risk and rewards of ownership”,
                   or as to what constitutes continuing managerial involvement”, or as to
                   what is meant in IAS 18.16 by the receipt of revenue being contingent”
                   on the derivation of revenue by a reseller of revenue from an onward
                   sale, are to be answered according to the terms of the contract between
                   the parties, or are to be tested and applied according to any different
                   economic reality that the circumstances and conduct of the parties may
                   reveal.

1923. I have addressed the first of these issues in the Introduction to this judgment in
      paragraphs 592 to 606 above. As there explained, in my judgment:

         (1)      The objectives of IAS/IFRS accounting, being to achieve by adherence
                  to carefully developed accounting statements a true and fair presentation
                  and account of the substantive economic performance of the company,
                  and to inform appraisals and investment decisions likely to be made in
                  reliance on that account, require that the substance of a transaction be
                  assessed by reference to its intended economic effect. This cannot safely
                  be determined only by reference to its legal aspects. I cannot therefore
                  accept the Defendant’s argument in its purest form to the effect that a
                  contract which is accepted to be valid and enforceable in accordance with
                  its terms, and which is expressed to be the parties’ entire agreement, must
                  be treated as definitive of their intended relationship in respect of the
                  subject matter of the contract. Regard must always be had to the shared
                  intentions of the parties and, in the light of that, the real intended effect
                  of the transaction in question.
         (2)      As the Claimants contended, the attenuated or narrower form of the
                  Defendants’ argument, to the effect that in this case the contractual
                  provisions of each VAR transaction, and especially the entire agreement

                  clause, render it unlikely that the parties had any intention which differed
                  from that set out in such agreements, and the Court should be slow to
                  find that they supplemented the written document by any further
                  agreement or understanding, implicitly accepts that the totality of the
                  evidence must be considered. Even if there is a presumption that the
                  parties intended to set out their intention in the contract they signed, the
                  presumption must yield to the evidence as a whole.
         (3)      The inclusion in the contractual provisions of an entire agreement clause
                  may preclude the parties asserting any other agreement or understanding
                  in vindication of or answer to a legal claim; but it cannot negate the facts
                  or preclude enquiry as to the underlying realities in order to reach an
                  accounting treatment of the transaction which provides a true and fair
                  view of its true economic substance and effect. Indeed, the inclusion of


                                             Page 609
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 611 of 900
Approved Judgment                                                                HC-2015-001324
Mr Justice Hildyard


                  an entire agreement clause may be revealed to be simply part of an
                  intention to deflect attention from arrangements parallel to the contract
                  which changed its economic effect.

1924. As to the second issue, and with particular reference to IAS 18.14, in my
      judgment:

         (1)      The criteria for revenue recognition, though informed by legal precepts
                  derived from the law on the Sale of Goods, are to be satisfied, not only
                  in terms of the contractual effect, but also in economic reality: they
                  require that the significant risks of ownership should actually, as well as
                  nominally, be transferred, and that the seller should not in fact retain any
                  continuing involvement to a degree usually associated with ownership,
                  nor effective control of the goods sold;
         (2)      Thus, IAS 18.14 requires an assessment of the true intended effect of all
                  the arrangements and understandings between the parties to the relevant
                  VAR transaction; all the facts and circumstances which bear on that
                  assessment must be taken into account in determining the real economic
                  substance of the relevant transaction and in accounting for it so as to
                  provide a true and fair view of it.

1925. I accept that facts which emerge after the transaction are not to be taken into
      account because hindsight is not to be used. But in my judgment, the preclusion
      of the use of hindsight relates to after-discovered facts and circumstances, rather
      than to the proof of facts and circumstances already present at the time of the
      transaction. The true intentions and understandings of the parties at the time of
      the transaction are known to them at that time; and the proof of them to establish
      the real substance of the transaction by recourse to what occurs later is not
      prohibited.

(3) Expert evidence as to accountancy practice in applying IAS 18

1926. In my view, the conclusions above expressed are consistent with accountancy
      practice as expounded by both experts (Mr Holgate for the Claimants, and Mr
      MacGregor for the Defendants), despite serious differences between them on
      various aspects of accountancy practice relating to IAS 18.

1927. The experts agreed that as regards Accounting Standards in general:

         (1)      IAS/IFRS is less prescriptive than US GAAP in respect of all the matters
                  in issue;
         (2)      The application of Accounting Standards to a specific company is a
                  matter of judgement, and where the application of principles calls for
                  judgement, there may be a range of possible views that a reasonable
                  accountant may reach;
         (3)      Accounting decisions depend on the substance of the transaction and not
                  merely its form; where the parties have agreed contractual terms they are


                                             Page 610
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 612 of 900
Approved Judgment                                                                HC-2015-001324
Mr Justice Hildyard


                  highly material to, and likely to be strong evidence (or what Mr
                  MacGregor referred to as the driving force”) of, the substance of the
                  transaction, but they are not conclusive;
         (4)      Accounting judgements fall to be made on the basis of the facts and
                  circumstances as they were at the accounting date and hindsight cannot
                  legitimately be used.

1928. In the context of the impugned VAR transactions, and as indicated above, the
      experts agreed that:

         (1)      The relevant contract to examine for the purposes of revenue recognition
                  was that between Autonomy and the VAR: under both IAS and IFRS,
                  unlike under US GAAP, there is no requirement for there to be
                  sellthrough to an end-user before revenue is recognised;
         (2)      It is not permissible to assume that all VAR transactions can be treated
                  generically; the individual commercial facts relating to a given
                  transaction at the time that it was effected are highly relevant to its
                  accounting treatment;
         (3)      The revenue recognition principles in IAS 18 could be difficult to apply
                  other than in simple transactions: the notion of the transfer of risk and
                  reward was regarded as especially problematic, and IFRS 15 (which
                  superseded IAS 18.14) replaced it with the question whether it is the
                  supplier or the purchaser who in fact controls the goods or services in
                  question;
         (4)      All of the IAS 18.14 criteria need to be satisfied in order for revenue to
                  be recognised: but that once the criteria are satisfied, recognition of the
                  revenue is mandatory;
         (5)      As to the criterion in 18.14(a), as expressly stated in 18.15, in most cases
                  the transfer of risks and rewards of ownership coincides with the transfer
                  of legal title or the passing of possession to the buyer” and that will
                  generally be determined by the contractual terms;
         (6)      The criterion in 18.14(a) does not require all the risks and rewards to
                  have passed: the test is whether substantially all of them have, and IAS
                        18.16 sets out various well-recognised situations where, under the
                  contractual arrangements, the seller may retain the significant risk and
                  rewards of ownership;
         (7)      Generally (and though each situation should be considered individually),
                  the criterion in 18.14(b) (relating to the need for transfer of managerial
                  control) goes hand in hand with the risks and rewards of ownership, and
                  it would be unusual for an entity to retain managerial involvement to the
                  degree usually associated with ownership or effective control where
                  risks and rewards of ownership have passed: it is hard not to satisfy (b)
                  where (a) is satisfied;



                                             Page 611
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 613 of 900
Approved Judgment                                                                HC-2015-001324
Mr Justice Hildyard


         (8)      The third criterion (IAS 18.14(c)), which requires that the revenue can
                  be measured reliably, is a matter of fact which is usually determined by
                  the agreement, and in the case of a software sale is usually the sale price;
         (9)      The fourth criterion (IAS 18.14(d)), which is that it must be probable
                  that the economic benefit associated with the transaction will flow to the
                  entity, requires a judgement as to the probabilities of whether it is more
                  likely than not;
         (10)     The fifth criterion (IAS 18.14(e)), which is that the costs incurred or to
                  be incurred in respect of the transaction can be measured reliably, is a
                  question of fact and is not disputed in this case.

1929. Inevitably perhaps, given the difficulties inherent in the application of IAS
      18.14, especially in the context of software transactions, there were in other
      contexts fundamental differences both in the approach of the two experts and in
      their evidence as to accountancy practice.

Mr Holgates approach on VARs in his reports

1930. Mr Holgate’s views on the accountancy issues raised by the VAR claims were
      built around 13 Assumptions of fact that he was instructed to make in his report.
      These Assumptions reflected the Claimants’ pleaded case, and it is worth
      reciting them since they demonstrate both his approach and analysis and also
      what the Claimants sought to prove. As set out in Mr Holgate’s first report , they
      were as follows:

         (1)      Assumption 1: There had been no communication between Autonomy
                  and the VAR relating to a transaction involving the identified end-user
                  until immediately prior to the end of the relevant quarter;
         (2)      Assumption 2: There was no price negotiation between the VAR and
                  Autonomy;
         (3)      Assumption 3: The VAR had made no prior efforts to sell such a licence
                  to, and had no prior relationship or contact with, the identified
                  enduser;
         (4)      Assumption 4: The VAR did not undertake or propose to provide any
                  added value, or any service, to the end-user;
         (5)      Assumption 5: For VAR transactions involving the sale of a licence to
                  use Digital Safe software (and software to be used with Digital Safe),
                  the Digital Safe software could only be implemented and thereafter
                  operated by Autonomy (and not by the VAR);
         (6)      Assumption 6: The VAR did not have the means to pay the Autonomy
                  group company in the absence of an onward sale of the relevant
                  licence to the identified end-user;
         (7)      Assumption 7: For sales to Capax Discovery as VAR: Capax Discovery
                  was a newly incorporated company in March 2009 and therefore had


                                             Page 612
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 614 of 900
Approved Judgment                                                              HC-2015-001324
Mr Justice Hildyard


                  no financial history at that time. Capax Discovery wrote to Autonomy
                  in March 2009, providing financial information for Capax Global on
                  the express understanding that Capax Global is a separate and distinct
                  entity from Capax Discovery. All contractual obligations will be
                  between Capax Discovery and Autonomy only”;
         (8)      Assumption 8: The VAR did not, after the agreement between
                  Autonomy and the VAR had been entered into, make any effort to sell a
                  licence for the relevant software to the end-user. Instead, the Autonomy
                  group company continued its own efforts to achieve a sale of the
                  licence directly with the end-user (and without consultation with the
                  VAR);
         (9)      Assumption 9: The purchase orders or sales agreements for the
                  transactions between Autonomy and the VAR specified that the
                  software was for onward licensing to the particular end-user;
         (10)     Assumption 10: There was an agreement or understanding (whether or
                  not legally enforceable) between the Autonomy group company and the
                  VAR, which was not apparent on the face of the written contractual
                  documentation between the Autonomy group company and the VAR, to
                  the effect that the VAR would not be required to satisfy any liability to
                  Autonomy from its own resources;
         (11)     Assumption 11: The VAR was relieved of its ostensible liability to pay
                  the price for Autonomy software licence it had purchased by one or
                  more of the following means: (a) the purported sales agreement
                  between Autonomy and the VAR being cancelled, (b) a credit note
                  being issued to the VAR discharging its ostensible liability to pay the
                  price, or (c) the VAR s debt being written off.”
         (12)     Assumption 12: Where the Autonomy group company subsequently
                  achieved a direct sale to the end-user, the Autonomy group company
                  arranged for the end-user to pay the VAR so that the VAR could then
                  pay the relevant Autonomy group company;
         (13)
           Assumption 13: An Autonomy group company was caused to make a
           payment to the VAR to purchase rights, goods or services that the
           Autonomy group company did not need (and which had no discernible
           value to it), but which had the purpose and effect of putting the VAR in
           funds which it then used to pay for the Autonomy software licence.”
1931. Mr Holgate accepted that none of the 37 transactions featured all 13
      Assumptions. However, he considered it clear that:

         (1)      A VAR sale to which Assumptions 1 to 4 (relating to the substance of
                  the transaction) and 9 (which he described as showing that “…the sale
                  to the VAR was not the end of the story as far as Autonomy was
                  concerned; indeed it suggests that the sale to the VAR is not an important
                  part of the story at all”) were factually established to be applicable was
                  not genuine and lacked substance”;



                                            Page 613
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 615 of 900
Approved Judgment                                                              HC-2015-001324
Mr Justice Hildyard


         (2)      If Assumption 8 was shown also to apply, the VAR transaction would
                  have been demonstrated not to affect the role and responsibility of
                  Autonomy” and thus would fail to meet IAS 18 paragraphs 14(a) (risks
                  and rewards) and 14(b) (managerial control)”; he added that it would
                  also show lack of substance; and
         (3)      If a side agreement (whether legally enforceable or not) making clear
                  that in practice there would be no need for the VAR to pay Autonomy
                  from its own resources so that Assumption 10 applied, that of itself
                  would demonstrate that at best the sale was conditional, and in any event
                  that the transaction lacked substance, so as to disqualify revenue
                  recognition. He concluded that the 30 transactions that feature
                  assumption 10…lacked substance and so revenue should not have been
                  recognised in respect of them” and that such transactions would also fail
                  to satisfy each of paragraphs 14(a), (b) and (d) of IAS 18. Assumption
                  10 was thus the only one which was conclusive if it applied.

1932. In Mr Holgate’s assessment, Assumption 10 applied to all 30 of the impugned
      VAR sales where there was some form of side agreement; and in 26 out of 30
      Assumptions 1 to 4 and 8 and 9 applied also. He considered the conclusion that
      those impugned VAR sales lacked substance and failed to meet the criteria was
      further reinforced when account was taken to what happened after the ‘sale’,
      principally because:

         (1)      None proceeded to a sale by the VAR to the end-user;
         (2)      In none was the VAR required to pay from its own resources, the VAR
                  being held harmless in each in various ways;
         (3)      19 of the 30 impugned VAR sales were ultimately concluded between
                  Autonomy directly with the end-user after negotiations between them in
                  which the VAR played no part;
         (4)      11 of the 30 impugned VAR sales never proceeded to any sale to an
                  enduser, but the VAR was in these transactions also held harmless from
                  loss in a variety of ways.

1933. Furthermore, as regards Assumptions 5, 6, 7 and 11 to 13, all of which related
      directly to the revenue recognition criteria in IAS 18, Mr Holgate’s approach
      and assessment were in summary to the effect that:

         (1)      If, as he was instructed to assume by Assumption 5, Digital Safe software
                  was of no value to the end-user absent Autonomy’s implementation and
                  operational services, any VAR transaction which involved the licence
                  sale of Digital Safe software without such services failed the criteria in
                  paragraphs 14(a) and (b) of IAS 18 because Autonomy necessarily had
                  to and did retain both significant managerial involvement/control and the
                  risks and rewards of ownership. The relevant transaction also thereby
                  lacked any real substance.




                                            Page 614
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 616 of 900
Approved Judgment                                                               HC-2015-001324
Mr Justice Hildyard


         (2)      If, as he was instructed to assume by Assumption 6, the VAR did not
                  have the means to pay in the absence of an onward sale, then in a
                  situation where the VAR was not in reality ever intended or intending
                  itself to sell to an end-user, it could not be said that payment by the VAR
                  was “probable”, so that the transaction failed to meet IAS paragraph
                  18.14(d). Mr Holgate’s view was that this rendered revenue recognition
                  improper in the case of 19 of the 36 impugned VAR sales.
         (3)      Likewise, if, as he was instructed to assume by Assumption 7, Capax
                  Discovery was a newly incorporated company with no trading history,
                  Mr Holgate considered that payment could not be said to be “probable”
                  so that again, the criteria in IAS 18.14(d) was not satisfied.
         (4)      If, as he was instructed to assume by Assumption 11, the VAR was
                  relieved of any liability to pay by dint of (a) cancellation of the sale or
                  (b) the issue of a credit note or (c) the debt simply being written off in
                  each case at the instance of Autonomy, Mr Holgate considered that this
                  similarly resulted in failure to satisfy IAS 18.14(d), and also IAS
                  18.14(a). It would also reinforce the point about lack of substance.
         (5)      If, as he was instructed to assume by Assumption 12, where the
                  Autonomy group company achieved a direct sale to the end-user, it
                  would arrange for the end-user to pay the VAR so that the VAR could
                  then pay the Autonomy group company, Mr Holgate considered that the
                  VAR transaction would fail to meet the criteria in IAS 18.14(a), (b) and
                  (d) and the test of substance.
         (6)      If, as he was instructed to assume by Assumption 13, the Autonomy
                  group company was caused to make payments to the VAR to purchase
                  goods or services that the Autonomy group company did not need and
                  which had no discernible value, the payments would be in the nature of
                  disguised gifts and, taking the two transactions together the Autonomy
                  company would have made no net gain, and Mr Holgate considered that
                  the transaction failed to meet IAS 18.14 (a) and (d).
         (7)      Assumptions 11, 12 and 13 could, in Mr Holgate’s view as stated in his
                  first expert report, be regarded as different ways of putting assumption
                  10 into effect”: Mr Holgate considered that one or more of those three
                  Assumptions applied to 36 (that is, all but one) of the impugned VAR
                  sales. He accepted that all three related to events that occurred after the
                  VAR sale date but considered that it was permissible and appropriate to
                  take them into account as evidence of the understanding referred to in
                  Assumption 10. In any event, after the first few such transactions the
                  pattern would not any longer be hindsight: it would be plain to see before
                  the sale date.

1934. Mr Holgate did not come through unscathed from cross-examination. Mr
      Holgate’s evidence in cross-examination was notably more equivocal than his
      views as expressed in his first report; and it seemed to me that this was
      principally because, when cross-examined, he had to take into account nuances,
      and the actual documentation, for which the Assumptions allowed no room.


                                            Page 615
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 617 of 900
Approved Judgment                                                                               HC-2015-001324
Mr Justice Hildyard


          Indeed, he accepted that in the real world, [the auditor] would find out
          additional information, of course” and that the conclusions he had reached in
          relation to particular transactions were the product of his Assumptions:

                       If I was working with actual facts and seeking to establish what they
                      were, then I agree I would need to look at the master agreement and as
                      many other pieces of information as I could find. But if I m working with
                      assumed facts as given to me, then that s the basis on which I ve been
                      asked to provide my opinion”.

1935. Thus, when asked to consider factual variations or practical nuances not
      comprehended in the Assumptions he frequently had to resort to the explanation
      that he had simply answered on the basis of the assumptions he had been
      instructed to make, taking each to have been established. He contrasted this with
      the real world”, and accepted that in reality, the scope for (a) questioning,
      resulting in further information giving a more complete picture and revealing
      nuances not catered for in the assumptions, (b) valid commercial justification of
      which he was not aware in a field of which he had no experience 239, and (c) the  26 3F




      fairly broad margins within which a proper judgment might be made, all could
      well result in a different and perfectly proper answer.

1936. For example as regards Assumptions 1 to 9:

         (1)      Mr Holgate accepted that Assumptions 1 and 2 at most would have led
                  to further enquiry, and even together did not undermine revenue
                  recognition;
         (2)      He struggled to explain any rationale for thinking that Assumption 3
                  supported an unequivocal conclusion, and retreated into a weak and
                  unconvincing assertion of gut feeling, which seemed contrary to the “sell
                  in rather than sell through” approach of IAS 18, that:
                             “…the real customer is the end-user and not the VAR. The
                             enduser is the party who needs the goods, who wants to buy
                             them and use them…And that therefore feels like, to me, in
                             terms of substance, feels like the real transaction rather than
                             the sale to the intermediate party.”

         (3)      He sought to rely in the same context and more generally on the premise
                  that the fact that the VAR may in certain cases have had no knowledge

                  of and no relationship with the prospective end-user was a very unusual
                  situation”. But when asked on what basis of comparison he felt able to
                  say this, he had to accept that he had provided no evidence of whether



239
   Mr Holgate accepted that he did not have any prior experience in relation to the reseller industry for
information technology in the US.


                                                 Page 616
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 618 of 900
Approved Judgment                                                              HC-2015-001324
Mr Justice Hildyard


                  this was unusual by reference to Autonomy or the market but instead
                  inferred it to be unusual because:

                          if all transactions were like these impugned transactions, such
                         that Autonomy sells to the reseller but then the reseller doesn t
                         sell in any case on to the end-user, that s no business – that s
                         no foundation for a business.”

         (4)      Mr Holgate regarded Assumption 4 (that the VAR did not undertake or
                  propose to provide any added value or service to the end-user) as
                  signifying either irrational commercial behaviour” or simply a means
                  for Autonomy to buy revenue recognition at the cost of margin which
                  otherwise it could have retained for its own benefit; but he was
                  constrained to accept that taken together, Assumptions 1 to 4, if
                  established on the facts, would not have caused Deloitte’s decision to
                  approve revenue recognition to have been such that no reasonable
                  accountant could have reached it (even if he himself might not have
                  taken the same view).
         (5)      Similarly, in his first report, Mr Holgate stated that Assumption 9 (that
                  the VAR agreement specified that the software licence sold to the VAR
                  was for onward licencing only to a particular end-user), though on its
                  own not strongly indicative of a lack of substance, strengthened his
                  conclusion that he had already reached on the first four Assumptions that
                  the VAR sales lacked substance and were artificial. But under
                  crossexamination he accepted that in the real world” (which he added is
                  different from an exercise based on assumptions given to me”) this was
                  simply another factor which would prompt the auditor to ask further
                  questions, and he did not exclude the possibility that the outcome would
                  substantiate the VAR transaction.
         (6)      Mr Holgate came to accept that Assumption 5 (concerning VAR
                  transactions involving the sale of a licence to use Digital Safe software
                  for operation by Autonomy and not the VAR, as to which see further
                  below) would have no real significance for the purposes of revenue
                  recognition.
         (7)      Even in respect of Assumption 6, relating to the VAR not having the
                  means to pay in the absence of an end-user sale, Mr Holgate accepted
                  that the issue was “fact-sensitive” and that it could be quite permissible
                  to take into account the contract receivable ultimately due from the
                  enduser, though he sought to attenuate this response by suggesting
                  (rather unconvincingly, to my mind) that if the VAR had very little to
                  do with the end-user sale, the receivable might in some way
                  (unexplained) be devalued. His evidence on this was as follows:
                          Q. Would you agree that it would also, in making that
                         assessment, be permissible to take into account the likelihood
                         of the VAR deal closing with the end-user as a way of
                         generating funds to pay Autonomy? I m not saying it would



                                            Page 617
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 619 of 900
Approved Judgment                                                                  HC-2015-001324
Mr Justice Hildyard


                             necessarily be the only source but do you accept that that s
                             something that could permissibly be taken into account in
                             reaching an overall assessment?
                             A. Yes, you can take that into account. Clearly if the VAR has
                             pre-sold to the end-user, then that s very definitely helpful of
                             course because it s a contractual receivable for them. If they –
                             but if that s not the case, then the question is how certain is the
                             sale by the VAR to the end-user and that s – well you find out
                             as much as you can about that. But if, for example, Autonomy is
                             pursuing the sale and the VAR isn t, then that will count against
                             it, but if the VAR were very active in making the sale and
                             pursuing the deal, then that would count towards it. Q. So
                             again it s quite fact-sensitive, is that fair?
                             A. Yes.”
         (8)      Similarly with Assumption 7, in relation to Capax Discovery’s status as
                  a newly formed entity with no financial history and which Mr Baiocco
                  had expressly stressed was distinct and separate from Capax Global, Mr
                  Holgate accepted that the extent to which Autonomy would properly be
                  able to take comfort from the position of that company within the Capax
                  Group was a matter of fact, prompting further enquiry and then a
                  conclusion.

         (9)      As to Assumption 8, that the VAR did not, after its agreement with
                  Autonomy, make any effort to sell on to the end-user and left that to
                  Autonomy, Mr Holgate opined in his first report that it was:
                              strong evidence that [Autonomy] had not transferred to the
                             reseller the risks and rewards with respect to licences that the
                             reseller purported to purchase”
                      and also that:

                              a vendor who continued the sales effort would clearly have
                             retained managerial involvement in and control over the goods
                             in question.”

                      Under cross-examination, however, Mr Holgate had to accept that the
                      Assumption may well have introduced inadmissible hindsight and that
                      in any event, and albeit a strange thing to do”, which would raise
                      questions an accountant might wish to explore and take into account, it
                      would not necessarily prevent revenue recognition, if, for example, it
                      was explicable on the basis of Autonomy having the better relationship
                      with the end-user, and thus the far stronger prospect of sealing the deal.

         (10) Assumptions 11, 12 and 13 were similarly relied on by Mr Holgate in his
                first report as both reinforcing his conclusion as to lack of substance and
                also as demonstrating that the impugned VAR deals failed to meet




                                                Page 618
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 620 of 900
Approved Judgment                                                                    HC-2015-001324
Mr Justice Hildyard


                  IAS 18.14 (a) and (b) and probably also (c). However, under
                  crossexamination, Mr Holgate accepted that all three Assumptions 11,
                  12 and 13 concerned later events and described an outcome which could
                  not have been known to the accountants at the time and therefore could
                  not have affected the accounting judgment. He sought to rationalise
                  these as in effect supporting Assumption 10:
                              I think all of those, to my mind, are methods of dealing with or
                             implementing assumption 10, which we ve discussed, is a point
                             for the time of the transaction; 11, 12 and 13 are the playing
                             out of that subsequently…
                             …
                             …all of them, as I say, are the playing out of assumption 10
                             which was a feature at the time.”

1937. Mr Holgate seemed ultimately to consider the force of the above Assumptions
      as being in their cumulative effect, and the picture it built up, even if (as
      eventually he accepted) none individually were conclusive. Further, his
      acceptance, under cross-examination, that Assumptions 1 to 4 and 9 did not,
      even taken together, necessarily cause the decision in this case to recognise
      revenue to be outside the ambit of what may constitute a reasonable judgement
      means that their proof cannot of itself avail the Claimants, though of course all
      must be weighed together in the balance. His concessions in cross-examination
      had the like consequence as regards Assumptions 6 to 8 and 11 to 13.

1938. Even in relation to Assumption 10, which he regarded as the most important and
      the only potentially conclusive one of the 13 Assumptions (if established on the
      evidence), he was eventually driven to accept that the clash between the
      contractual stipulation against any side agreement, buttressed by the
      confirmation letters promising that there was none (neither of which, either the
      contracts or the letters, he had read at the time of his first report, which was most
      surprising), resulted in what he called an ambiguous situation” . In the course
      of his cross-examination, I asked him to clarify this for me:

                       MR JUSTICE HILDYARD: If the salesman said, I don t think you ll
                      have to pay for this if everything goes wrong but I want you to
                      understand that whatever I say can never be enforced , you would be out
                      on the whims of the law, what would the accountant, the auditor, say?

                      A. My Lord, it s a tricky one. If the salesman is saying both sides of those
                      things, I want you to understand you won t have to pay but that s not a
                      legal…’ then the understanding that the customer gets is – well, is less
                      –

                      MR JUSTICE HILDYARD: The understanding he gets is he s on a wing
                      and a prayer.




                                                Page 619
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 621 of 900
Approved Judgment                                                                   HC-2015-001324
Mr Justice Hildyard


                      A. Yes
                      MR JUSTICE HILDYARD: But the wing and the prayer will do, will it,
                      to undo the transaction?

                      A. I think in practice you would look at other transactions and see what
                      happened in the past, see how these things have turned out, that s what
                      you would do in practice. But, yes, it s an ambiguous situation…

                      MR MILES: But in those circumstances, on the scenario that the judge
                      has just posed, then although you said it s tricky, actually the truth is
                      that the revenue would be recognised, wouldn t it? A. No.

                      Q. Do you accept that there s a range of possible views on that?

                      A. I accept that an accountant dealing with this in practice would do
                      some digging to find out more surrounding facts, would look at past
                      transactions to see if there had been similar circumstances to see what
                      can be learned from that. Now, this might be a case where there is really
                      quite a borderline difficult judgement and there may be different
                      judgements reached reasonably by different accountants because I said
                      earlier that, speaking in general terms about IFRS, there s a range of
                      judgements that could be made and it s relatively narrow and not broad,
                      it s not anything goes . But what we re describing here I think is quite a
                      narrow – it s quite a fine point. You could read it either way. It s quite
                      difficult, it s somewhere in the middle. So in this case I would agree with
                      you that you could view that either way and still be…a reasonable
                      judgement.”

1939. This was obviously a significant concession, which also demonstrated a
      weakness in Mr Holgate’s approach in his reports resulting from the reliance he
      was instructed to place on summary Assumptions, and the fact that in
      consequence he had not considered the actual facts (or even, as mentioned
      previously, the contracts or Deloitte’s working papers). The Assumptions he was
      instructed to make were inevitably in synoptic form, which could not provide
      an accurate proxy for the complex and nuanced actual circumstances which both
      experts had agreed had to be considered in respect of individual transactions.
      Further problems include that such assumptions, especially when used to create
      a substitute or proxy universe, may box the expert in, or lead him or her, when
      asked to consider alternative factual hypotheses, to tend to struggle if they are
      in conflict with the assumptions given, and either retreat into them or seek to
      defend them as reasonable, which undermines their purpose. Also, for the same
      reason, or because they may also be couched in terms or even a particular
      sequence, they may encourage “confirmation bias” and tend to suggest the
      conclusions sought by the party calling the evidence, which again may
      undermine the value and reliability of the opinion given.




                                                Page 620
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 622 of 900
Approved Judgment                                                           HC-2015-001324
Mr Justice Hildyard


1940. In the end, although Mr Holgate had initially appeared to suggest that the criteria
      provided bright lines which could be applied to the Assumptions to provide a
      clear, almost scientific, judgement on whether revenue should have been
      recognised in respect of the impugned VAR sales, he accepted that he had not
      the information, and it was not really the function of an expert, to make such a
      binary assessment. Mr Holgate was led by the Assumptions into expressing
      conclusions of fact (which is not the province of an expert) by reference to
      contractual arrangements he had not studied and on information he accepted to
      be incomplete and insufficient.

1941. It took him ultimately to accept that the issue came down to a judgement call as
      to whether, applying the criteria to the actual facts but also standing back to
      consider its true intended economic effect, the transaction had any real
      substance separate from any ultimate sale to an end-user. That would depend
      principally on (a) who was the real customer” in the sense of turning the goods
      sold to use or account; (b) whether there was ever any intention for the reseller
      to negotiate and contract a sale to the end-user; (c) whether the parties truly
      intended the VAR to pay Autonomy from its own resources if no end-user deal
      eventuated, or whether instead they intended the end-user sale to be the source
      of funds to enable payment, failing which some alternative arrangement to
      remove or satisfy the VAR’s outstanding legal obligation would have to be
      made. Put shortly: was the VAR intended to be a real or a nominal purchaser?

1942. Despite the appearance of differences between them, it seemed to me that this
      chimed with Mr MacGregor’s approach, to which I now turn.

Mr MacGregor s approach on VARs in his reports
1943. Mr MacGregor (who was instructed by the First Defendant) had more practical
      experience of actual auditing (though latterly his experience was not field work
      but forensic accounting) than Mr Holgate, but his evidence had less analytical
      coherence. Especially in his answers when cross-examined, he was not always
      consistent. He often found the varying assumptions he was asked to make
      somewhat confusing, especially (as is understandable) when complex and
      cumulative, and he tended to complain in general terms or express confusion,
      rather than gather his thoughts and ask for clarification. Mr Miles interceded
      when absolutely necessary; but there were nevertheless times when it was not
      altogether clear to me what the emerging evidence was. Both in his appreciation
      of the question asked, and in his answers, Mr MacGregor tended to lack
      precision. He also occasionally appeared to lose his footing, and gave the
      impression of trying to remember what he had said in his report, rather than
      focusing on his answer to the question asked.

1944. Mr MacGregor had, however, the advantage of having read the VAR
      agreements, and Deloitte’s working papers. His approach was thus much closer
      to replicating how Deloitte did in fact approach the matter: it was closer also to
      what Mr Holgate accepted was the real world” (distinguishing that from the
      exercise he was instructed to undertake himself). He was careful to distinguish
      between, on the one hand, matters of accountancy practice and approach, and



                                         Page 621
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 623 of 900
Approved Judgment                                                                 HC-2015-001324
Mr Justice Hildyard


         on the other hand, issues of fact or legal interpretation or effect, which he left to
         the court to decide.

1945. He considered that the effect of an entire agreement clause was a matter of law,
      and that such a clause suggests that there would be no validity to any agreement
      which was not contained in the contractual documentation itself” . He appeared
      to accept that the law might altogether resolve the question, and he also
      acknowledged that in any event:

                       while it is important to consider the substance of a transaction as well
                      as its legal form, the contract terms can drive the accounting treatment
                      and should not be ignored in determining the point at which revenue
                      should be recognised and the measurement of revenue”.

1946. However, Mr MacGregor did not suggest that there was any settled approach to
      the issue as to the interplay between contract and informal assurances in
      accountancy practice; and subject to the law having preclusive and conclusive
      effect (which he left open), he appeared to consider that assurances given
      outside the contract could and should be taken into account in reaching a view
      as to the true substance of the transaction, at least as to whether there had been
      any true sale (which he regarded as the real question, the provisions of IAS
      18.14 being the means of reaching an answer), and that this was the case even
      if such assurances would be unenforceable in law.

1947. Subject to his caveat as to whether in law the entire agreement clause was
      conclusive, Mr MacGregor appeared to accept that the recognition of revenue
      from the impugned VAR transactions was improper if, notwithstanding what
      the contract appeared to provide, there was no true sale in economic terms
      because neither party intended the fundamental aspects of a true sale (payment
      of the purchase price and transfer of management and control of the goods sold)
      actually to take place. In such circumstances, assuming that the true intent was
      that Autonomy should close a direct deal with the end-user and obtain actual
      payment from the end-user only at the point of that sale, Mr MacGregor
      regarded the only true sale in economic terms as being to the end-user, and
      revenue should only be recognised on completion of the sale to the end-user.

1948. Mr MacGregor regarded the specific criteria set out in IAS 18.14 as indicia of
      an unconditional sale: a purported sale which did not satisfy those criteria could
      not be treated as a sale from which revenue could be recognised. But for him
      the specified criteria were not the only means of determining the question: if the
      economic reality was that the parties never intended the ‘sale’ to have any
      economic consequences and was simply a nominal arrangement put in place
      pending a true sale to an end-user which the parties intended to be (a) negotiated
      by the original seller (Autonomy) and (b) the true source of payment for the
      goods, there was no need to look further. This echoed Mr Holgate’s point that a
      condition of recognising revenue was that the transaction said to generate it
      should have economic substance. But Mr MacGregor’s test of substance was
      more obviously based on the intention of the parties: if the parties did not intend
      to fulfil the obligations of a real sale, no revenue recognition could be permitted.


                                               Page 622
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 624 of 900
Approved Judgment                                                                   HC-2015-001324
Mr Justice Hildyard


1949. That focus on the real intentions of the parties was, as I understood his evidence,
      Mr MacGregor’s central point. He did not regard this as conclusively determined
      by their contract, although what they had contractually agreed would be a very
      important factor in determining their overall intentions (for substantially the
      obvious reasons accepted by Mr Holgate). The following passage from Mr
      MacGregor’s cross-examination seems to me to capture his approach (and a
      flavour of the way he explained it):

                       Q. Well, let s take a situation, Mr Welham in his evidence has told my
                      Lord that even if it isn t legally enforceable, if in fact there is an oral
                      agreement which stands next to the contract, you take that into account
                      and Mr Holgate has said the same thing. You don t disagree with that,
                      do you?

              A. You would think about it and you would take it into account. Whether it
                  has ultimately any relevance to the accounting is always going to be a
                  matter – potentially a matter of judgement but potentially not a matter
                  of judgement.

              Q. You would think about it and it may well form part of the substance,
                 regardless of whether it is legally enforceable?

              A. If it s not legally enforceable, it is probably going to have – it s probably
                  going to have limited use. I mean, as far as the oral side of it is
                  concerned, I mean in the hierarchy that auditors, for example, use when
                  trying to assess evidence, it s well known: information from the parties
                  is more reliable. It s well known: information that is written rather than
                  oral is much more reliable.

              Q. If in fact there is an understanding and an agreement, it may not be
                 legally enforceable but it exists and both parties know it exists and both
                 parties intend actually to give effect to it in any event, regardless of
                 whether it s legally enforceable, you would not disregard that when you
                 re looking at the substance of the transaction?

              A. Well, I think the keyword there is intention” and if at the time a contract
                 is entered into and there is an intention to do one or more things and
                 that intention is carried out, such that it overrides the terms of the
                 agreement, then I can well see that that would be the case. In fact, I do
                 say that in my report. The intention at the time of the contract has to be
                 thought of as relevant there.

              Q. And that is so, regardless of whether that is legally binding, that is to say
                 you can come to a court and enforce that?

              A. If one has a debt that one doesn t intend to collect, doesn t intend to
                  collect, forget I m going to give somebody time to pay”, just doesn t


                                                Page 623
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 625 of 900
Approved Judgment                                                                    HC-2015-001324
Mr Justice Hildyard


              intend to collect, then that fails the definition of an asset because there
              is no future economic benefit going to come as a result of that debt. So
              that fails - that would fail at the first hurdle.”
1950. Likewise, as regards the effect of all negotiations for the end-user sale being
      undertaken by Autonomy, without any involvement on the part of the VAR nor
      any suggestion of agency, Mr MacGregor stated in an Appendix to his first
      report:

                      “…if at the time of the sale to the reseller, Autonomy intended to
                      continue to attempt to sell direct to the end-user, and if it intended to
                      cancel the sale to the reseller (or otherwise relieve the reseller of the
                      debt) on a subsequent successful direct sale (or no sale) then no revenue
                      should be recognised in the income statement until such time as, for
                      example, a sale to the end-user made probable the flow of economic
                      benefits to Autonomy.”

1951. He clarified in oral evidence that it was not sufficient for revenue recognition to
      be impermissible that ultimately Autonomy did deal and contract with the
      enduser: what did invalidate the original sale” was the intention to deal with
      the end-user, come what may…”. In a later passage in answer to a question from
      me he elaborated:

                      “…if it s the intention at the time of the sale to the VAR takes place, the
                      VAR is going to do nothing, the VAR is just going to sit there and
                      Autonomy is going to do as it was always doing and go in there, you
                      know, continue to negotiate the price and the amount of software and all
                      those sorts of things, then there s no sale. That s not a sale that Autonomy
                      would be entitled to recognise.

                      However, if it s not the intention, if it s something less than that, then
                      one would need to look at all the facts and that would be a consideration,
                      possibly a material consideration…It s clear cut to me when there is a
                      definite and clear intention; it becomes less clear when it s just an
                      understanding.”

1952. The distinction which Mr MacGregor appeared to draw between a settled intent
      never to require payment (leading to the conclusion that in substance there was
      no sale) and some understanding about deferral, falling short of a contingent
      contract, which Mr MacGregor considered to be consistent with a sale in
      substance and, therefore, to be fine” , was also clear from a later passage of his
      cross-examination when Mr Rabinowitz pressed him as follows:

                       Q. If the side agreement or understanding and intention at the time of
                      the contract, again to ensure that the VAR would not have to make a
                      payment out of its own resources, was simply that if the VAR could not
                      achieve a sale to a specified end-user, Autonomy would find and
                      facilitate a sale by the VAR to some alternative end-user enabling the
                      VAR to use the money so obtained to pay Autonomy, again you would


                                                Page 624
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 626 of 900
Approved Judgment                                                                   HC-2015-001324
Mr Justice Hildyard


                      say that transaction, when arranged or understood or agreed, simply
                      lacked economic substance, correct?
                      A. No, I don t agree with that. I don t agree with that.
                      Q. Why not? Because?
                      A. For this simple reason. If I sell something to somebody and they don
                      t currently have the means to pay but expect to have the means to pay
                      in the future, I can recognise a sale. In this case, if I sell something to
                      somebody with the intention that they sell on to the end-user and
                      thereby will have the money to pay for the purchase, then that s fine.
                      And if they fail to make that first purchase but Autonomy then
                      arranges, manages to find a further, a second end-user they can sell
                      to, I don t see what the problem is with that being a sale.
                      Q. I think you may have misunderstood the assumption. The
                      assumption is that the nature of the arrangement made is that
                      Autonomy says to the VAR, All right, here s software to sell to that
                      end-user but don t worry about it if you can t sell to that end-user, you
                      won t have to pay us until – we will find you another end-user with
                      whom there is a contract to sell, sell to that other end-user and then
                      you can use the money from that other sale to pay us for the first
                      sale”?
                      A. No, I did understand that one and I think that seems to me to be fine.
                      Q. Fine?
                      A. Yes.
                      Q. How is that not the same as a situation in which the parties have
                      effectively understood and intended that the reseller would not have to
                      satisfy any liability to Autonomy from its own resources?
                      A. Because you didn t preface that example with the side arrangement
                      that there is no intention to – on the seller to collect…”


1953. What I took from all this was that neither forbearance after the event in pressing
      for payment, nor intervention to facilitate a sale to the end-user which was not
      premeditated, would undo the substance of the sale; but intention from the
      beginning to the same effect would. As it seemed to me, on Mr MacGregor’s
      approach, two primary questions had to be raised and answered by reference to
      the detailed facts:

         (1)      which was, in reality, the transaction which at the time of the VAR ‘sale’
                  Autonomy intended should generate its actual receipt of revenue: was it
                  the VAR sale or the sale to the end-user?
         (2)      who, at the time of the VAR sale, did Autonomy intend should in fact
                  negotiate and conclude the end-user sale?
1954. If the answer to these questions was that Autonomy intended that any money it
      received would come from the end-user sale, rather than the VAR sale, and/or


                                                Page 625
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 627 of 900
Approved Judgment                                                             HC-2015-001324
Mr Justice Hildyard


         if Autonomy intended that it, rather than the VAR, would be the entity which
         would in fact negotiate and conclude the end-user sale, the conclusion would
         follow that the VAR sale lacked substance and the criteria in IAS 18.14 were

         not satisfied, so that no revenue could permissibly be recognised from the VAR
         sale.

1955. In my view, these tests are in substance the same as the tests which Mr Holgate
      considered should be adopted; and the experts, albeit in different language and
      with different emphases, and with Mr MacGregor preferring the test of intention
      to that of objective substance, reached the same conclusion that (a) there would
      be no true ‘sale’ and (b) the criteria in IAS 18.14 would not be fulfilled if those
      committing the parties to the transaction as a matter law intended at that time
      that:

         (1)      the VAR would not play any part in negotiations with the end-user;
         (2)      Autonomy was to negotiate and close a direct deal between itself and the
                  end-user with a view to the VAR transaction being dissolved if that
                  eventuated, subject to payment of a fee (a MAF) to the VAR for its
                  trouble;
         (3)      the VAR would never be required actually to make any payment to
                  Autonomy for the software ‘sold’ whatever the contract might say unless
                  and until funded by the proceeds of a sale to the end-user or credited by
                  Autonomy in the same amount, or somehow put in funds by Autonomy
                  itself.
    (4) Factual analysis

1956. As summarised earlier, the Claimants contended that the court should find that
      the arrangements between Autonomy and the VARs in all the impugned
      transactions followed a tell-tale ‘pattern’, which demonstrated the true intentions
      of the parties and the real economic substance and intended effect of the
      transactions.

1957. According to the Claimants, this ‘pattern’ involved one or more of the following
      features which (they submitted) caused the economic substance and intended
      effect of the transaction to be very different than appeared from the
      unconditional sale (and transfer to the VAR of risks, rewards and managerial
      control) legally provided for by contract:

         (1)      the VAR made no real attempt to sell the software license on to the end-
                  user, such efforts being a matter exclusively for Autonomy;

         (2)      the VAR was never required or pressed to pay for the software license
                  from the VAR’s own resources.
1958. These two matters were presented by the Claimants as complementary. As it
      was put in their written closing submissions:



                                            Page 626
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 628 of 900
Approved Judgment                                                                HC-2015-001324
Mr Justice Hildyard


                      “…if the Court finds…that it was intended at the time of the VAR
                      transaction that the VAR would do nothing, that fact is – in itself – a
                      reason to infer that the VAR was also not intended to be required to
                      pay Autonomy from its own resources.
                      The reason is simple. If the VAR was genuinely expected to pay
                      Autonomy from its own resources, the most obvious way for the VAR to
                      put itself in funds would be by working hard to secure an end-user
                      sale.
                      Contrariwise, it would be most unnatural for a VAR – which knows
                      that it is going to be compelled to make payment for a software licence
                      imminently – to do absolutely nothing to sell that software licence on
                      to the intended end-user and thereby obtain the funds with which to
                      pay Autonomy…”


1959. As to proof of the pattern and the intention of the parties thereby revealed,
      amongst the features characteristic of the impugned sales were the following:

         (1)      The sale to the VAR took place on the last day of a quarter.
         (2)      The VAR had had no previous contact with the contemplated end-user
                  nor any information or knowledge about its intentions or its financial
                  position and reliability from which it could gauge the prospect of an
                  onward sale.
         (3)      The VAR never had any contact, still less undertook any process of
                  negotiation, with the end-user.

         (4)      There was never any sale by the VAR to an end-user, and instead
         (5)      Either Autonomy eventually sold directly the same software (plus or
                  minus extensions) to the end-user, or there was no end-user sale at all;
                  and then (one way or another).
         (6)      Autonomy (whether expressly or implicitly) released the VAR from any
                  further obligation or found some way of funding it to take the VAR off
                  the legal hook.
         (7)      Although there was nothing in any of the written contracts entered into
                  between Autonomy and the VAR which conferred any entitlement or
                  expectation of a MAF (or any fee) Autonomy paid a MAF in every case
                  in which an end-user deal eventuated, illustrating again that the parties
                  paid only lip service (at most) to the provisions in the written agreement
                  prohibiting side agreements and providing that the written contract
                  should comprise the extent and entirety of their agreement.
1960. On the basis of my view of the expert evidence and the proper approach to the
      Accounting Standards, these features and the pattern they reveal, if proven and
      shown to demonstrate the true intentions of the parties to the impugned VAR
      sale in question, would disqualify from revenue recognition any impugned VAR
      sales to which they apply.


                                               Page 627
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 629 of 900
Approved Judgment                                                             HC-2015-001324
Mr Justice Hildyard


The Claimants case that in reality the VARs were never at risk and Autonomy retained
managerial control

1961. I turn then to analyse and assess, grouped by reference to particular resellers or
      VARs, in respect of each of the impugned VAR transactions, (i) the evidence of

         the persons who negotiated the impugned VAR transactions and thereafter (ii)
         how the Defendants depicted the individual transactions to Deloitte and
         thereafter to the FRRP and finally, (iii) the allegations that each of the
         Defendants had ‘guilty knowledge’ of the impropriety of recognising revenue
         from the impugned VAR transactions.

1962. Before addressing the factual evidence relied on by the Claimants in respect of
      each of the impugned 30 VAR sales (in respect of which the Claimants alleged
      there was a side agreement or understanding which negated their economic
      substance), it may assist to provide a brief overview and rough chronology of
      the arrangements concerned, the parties to them and the personalities involved.

The counterparties to the impugned VAR sales

1963. Autonomy’s principal counterparties in those impugned VAR transactions were
      as follows:

         (1)      MicroLink, which had been a reseller for Autonomy for many years prior
                  to the beginning of the “Relevant Period” in Q1 2009, and had entered
                  into many VAR transactions with Autonomy prior to 2009, none of
                  which are impugned. MicroLink had US Federal Government security
                  clearance and by December 2008 had become Autonomy’s primary
                  reseller to the US Federal Government. MicroLink was the VAR in a
                  series of reseller transactions in 2008 and 2009, of which the Claimants
                  have impugned 11, with a variety of prospective end-users, including
                  IBM-Ameriprise and the NSA (part of the US Federal Government).
                  The Claimants referred to this series of transactions together as “VT1”.
                  MicroLink was acquired by Autonomy at the end of 2009. The Claimants
                  alleged that Autonomy’s purpose in making this acquisition was to
                  enable MicroLink’s indebtedness to be reclassified as inter-company
                  debt and effectively washed away.” After that acquisition, Autonomy
                  used MicroTech, which it had also used as a VAR since 2006, in its
                  place: see paragraph 1963(3) below.
         (2)      Capax Discovery LLC, usually referred to as “Capax Discovery”, which
                  Autonomy used as a VAR for 10 of the impugned VAR sales (and also
                  another transaction said to be an improper linked or “reciprocal”
                  transaction, a category to which I return later). Capax Discovery LLC
                  was established in early 2009, as a subsidiary of Capax Global LLC
                  when Mr Stephen Williams, who had joined Capax Discovery in 2008
                  from Autonomy’s e-Discovery division, persuaded Capax Global’s
                  management to expand into e-Discovery or electronic data discovery
                  (“EDD”) business. Both companies were usually referred to simply as


                                           Page 628
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 630 of 900
Approved Judgment                                                               HC-2015-001324
Mr Justice Hildyard


                  “Capax”. Capax Discovery LLC was also party to the EDD transaction
                  which was impugned by the Claimants to which I also return later. The
                  Capax Group was, by 2009, the largest professional service provider to
                       Autonomy, and one of the largest professional service providers to
                  Microsoft. Its business had largely been built around Microsoft, but
                  Autonomy was its second largest partner. The 10 impugned VAR
                  transactions involving Capax Discovery in the Relevant Period (Q1 2009
                  to Q2 2011), each of which took place under a VAR agreement between
                  Autonomy and Capax Discovery dated 30 June 2009, were:
                      i.      VT2, in Q2 2009, in respect of which the prospective end-user
                              was a Texan electricity supplier called TXU Energy Retail
                              (“TXU”), and for which the software licence fee was $783,086
                              (plus $78,309 for one year’s support) payable in three
                              instalments. This was followed by a further transaction for a
                              fee of $61,652 plus additional fees of $6,165 for support and
                              maintenance and $395,023 for hardware.

                      ii.     VT3, in Q3 2009, in respect of which the prospective end-user
                              was Kraft (a well-known US grocery manufacturing and
                              processing conglomerate, and by then a long-standing customer
                              of Autonomy) and for which the VAR sale price was
                              $4,000,000 and a further support and maintenance fee of
                              $200,000.

                      iii.    VT4, in Q4 2009, in respect of which the prospective end-user
                              was Eli Lilly & Co (a large pharmaceutical company) and for
                              which the VAR sale price was $5,986,827 and a further
                              $299,342 support fee.

                      iv.     VT10, in Q1 2010, in respect of which the prospective end-user
                              was the UK Financial Services Authority (“the FSA”) and for
                              which the VAR sale price was $4,285,714 plus a support and
                              maintenance fee of $214,286.

                      v.      VT16, in Q3 2010, in respect of which the prospective end-user
                              was Amgen Inc (“Amgen”), a pharmaceutical company and for
                              which the VAR sale price was $9 million and a further one-year
                              support fee of $450,000.

                      vi.     VT20, in Q4 2010, in respect of which the prospective end-user
                              was Defense Knowledge Online (“DKO”) for the US
                             Department of the Army, and for which the VAR sale price was
                             $1,950,197, plus a support and maintenance fee of $292,530,
                             payable in three equal instalments (in March, June and
                             September 2011).

                      vii.    VT21, in Q4 2010, in respect of which the prospective end-user
                              was Merrill Lynch, by then a subsidiary of Bank of America
                              and for which the VAR sale price was $1,830,600, including


                                              Page 629
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 631 of 900
Approved Judgment                                                              HC-2015-001324
Mr Justice Hildyard


                            two years’ support and maintenance, payable in two equal
                            instalments of $915,300, one within 90 days and the other
                            within 180 days.

                      viii. VT27, in Q1 2011, in respect of which the prospective end-user
                            was McAfee, and for which the VAR sale price was $5,000,000
                            plus a support and maintenance fee of $250,000, payable in two
                            equal instalments (in July and September 2011).
                      ix. VT28, in Q1 2011, in respect of which the prospective end-user
                            was UBS, the well-known bank and for which the VAR sale
                            price was $8,000,000, plus an annual support and maintenance
                            fee of $400,000, payable in two equal instalments (in July and
                            end of July 2011).

                      x.    VT34, in Q2 2011 (though allegedly not signed until 1 July
                            2011, the first day of the next quarter) in respect of which the
                            prospective end-user was again UBS, and for which the VAR
                            sale price was $7,664,132, plus an annual support and
                            maintenance fee of $383,207.


              (3) MicroTech, which Autonomy used as a VAR in eight of the 30 impugned
                  VAR sales (in respect of which the Claimants’ alleged that there was a
                  side agreement or understanding) and in one further impugned VAR
                  transaction (VT5) where no side agreement or understanding is alleged,
                  was (like MicroLink) used by Autonomy long before the Relevant
                  Period. Also like MicroLink, MicroTech was a US Federal Government-
                  approved “8A” reseller. The nine impugned MicroTech VAR
                  transactions (including VT5 where no side agreement or understanding
                  is alleged), all governed by a June 2006 MicroTech Master Agreement,
                  were:

                      i.    VT5, in Q4 2009, in respect of which the end-user was
                            DiscoverTech, and for which the VAR sale price was
                            $9,523,810 plus a first-year support fee of $476,190. However,
                            it is to be noted that no side agreement or understanding was
                            asserted, and the impropriety alleged turns on what the
                            Claimants termed “its own peculiar facts” relating to (a) the
                            connection between VAR and end-user since MicroTech and
                            DiscoverTech (and MicroLink) were “Truitt-related
                            companies” and (b) a suggestion that VT5 was simply a means
                            of returning to Autonomy $10 million of the purchase price of
                            MicroLink.

                      ii.   VT6, in Q4 2009, in respect of which the prospective end-user
                            was Honeywell Aerospace (“Honeywell”) and the VAR sale
                            price was $1,800,000 plus a first-year support fee of $90,000.
                            Ultimately Honeywell did not conclude any end-user sale with
                            either MicroTech or Autonomy.



                                            Page 630
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 632 of 900
Approved Judgment                                                               HC-2015-001324
Mr Justice Hildyard


                      iii.    VT7, also in Q4 2009, in respect of which the prospective
                              enduser was Manufacturers Life Insurance company
                              (“ManuLife”) and the VAR sale price was $1,080,000 plus a
                              first-year support fee of $104,000. Autonomy issued a credit
                              note for those amounts and paid a MAF to MicroTech when,
                              shortly afterwards (in March 2010), it entered into a larger,
                              direct deal with ManuLife.


                      iv.     VT8, also in Q4 2009, in respect of which the prospective
                              enduser was Morgan Stanley and the VAR sale price was
                              $4,888,800 ($4,656,000 plus a fee of $232,200 for support and
                              maintenance). As in VT7, Autonomy issued a credit note to
                              MicroTech and paid a MAF when subsequently (in March
                              2010) it entered into a direct agreement with Morgan Stanley
                              for a higher amount.

                      v.      VT13, in Q1 2010, in respect of which the prospective end-user
                              was the Vatican Library and the (initial) VAR sale price was
                              $11,000,000 plus a fee of $550,000 for support and
                              maintenance.
                             The end-user was planning to use IDOL to digitise the Vatican
                             Library’s manuscript collection of over 80,000 manuscripts and
                             over 40 million pages of documents, and this was a very
                             prestigious and enormous project, which would (to quote Dr
                             Lynch) “certainly have been a contender for” the biggest single
                             deal ever done by Autonomy.

                      vi.     VT25, in Q4 2010, in respect of which the prospective end-user
                              was the US Department of Interior (“DoI”) and the VAR sale
                              price was $4,000,000 plus $200,000 for support and
                              maintenance. No end-user deal was ultimately achieved, nor
                              did MicroTech make any payment either.

                      vii.    VT32, in Q1 2011, in respect of which the end-user was Bank
                              of Montreal and the VAR sale price was $2,880,000 plus
                              $144,000 for annual maintenance and $50,000 for annual
                              premium support. In June 2011, Autonomy closed a direct deal
                              with Bank of Montreal for a licence fee of $2,800,000 and in
                              August 2011 it issued a credit note to MicroTech for the
                              amounts it owed under the VAR transaction.

                      viii. VT33, also in Q1 2011, in respect of which the prospective
                            enduser was Xerox, and the VAR sale price was $1,170,000
                            plus $58,500 for support and maintenance. Ultimately, on 29
                            July 2011, an Autonomy group company called Verity Inc
                            entered into a direct deal with Xerox for an amount of
                            $1,300,000 including support and maintenance and a further fee
                            of $14,175 for an additional Spanish module. The end-user



                                              Page 631
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 633 of 900
Approved Judgment                                                                       HC-2015-001324
Mr Justice Hildyard


                            direct deal with Xerox provided for payment to MicroTech as
                            Autonomy’s designated payee and MicroTech then paid on to
                            Autonomy but having deducted $85,675 as a fee.

                      ix.   VT37, in Q2 2011, in respect of which the prospective end-user
                            was HP (which hoped to provide the technology services to the
                            United States Postal Service “USPS”) and the VAR sale price
                            was $7,000,000 plus $350,000 for one year’s maintenance. In
                            the event, no end-user deal was closed. MicroTech paid the full
                            amount due under the VAR transaction in August 2011.

              (4) DiscoverTech, which Autonomy used as a VAR in eight of the impugned
                  VAR transactions, was newly formed by Mr David Truitt (Mr Steve
                  Truitt’s brother) in 2009 as a vehicle to carry on the software business
                  comprising an advanced information discovery and social networking
                  product which was spun out of MicroLink just before Autonomy
                  acquired MicroLink. (That acquisition and the prior spin-off are both
                  also matters impugned by the Claimants and dealt with elsewhere in this
                  judgment: my present focus is on DiscoverTech’s two subsequent VAR
                  transactions with Autonomy which are also impugned.) The eight
                  impugned VAR transactions between it and Autonomy were each
                  governed by an individual reseller agreement, but the agreements were
                  in materially the same terms with, in every instance, wide ‘entire
                  agreement’ clauses. The transactions were:

                      i.    VT11, in Q1 2010, in respect of which the prospective end-user
                            was Citigroup (“Citi”, which was one of Autonomy’s large,
                            long-standing clients), and the VAR sale price was $5,500,000,
                            plus a first-year support fee of $275,000. The VAR sale
                            comprised software only, DiscoverTech paid Autonomy 20%
                            (over $2,000,000) upfront. It was intended that DiscoverTech
                            should on-sell to Citi; but there were difficulties and delays in
                            getting on to Citi’s approved vendor list. Ultimately, a tri-partite
                            agreement was made, under which Autonomy was deemed to be
                            receiving payment in respect of the software from Citi as agent
                            for DiscoverTech (to which Autonomy also paid a MAF).
                            However, a further wrinkle was that the direct sale was in fact
                            of storage cells (Zantaz Digital Safe Smart Cells with uploaded
                            IDOL software) rather than software alone: I address this in
                            greater detail later.240

                      ii.   VT12, in Q1 2010, in respect of which the prospective end-user
                            was Philip Morris International (“PMI”), the tobacco company,
                            and the VAR sale price was $4,185,000, plus a first-year support
                            fee of $209,250. Initially, PMI wanted to use its partner SHI for
                            the deal and Discover Tech expected a purchase order from SHI.

240
   Mr Goodfellow’s evidence was that Autonomy delivered the storage cells directly to Citi and,
furthermore, delivered a number of them in advance of the direct agreement being signed.


                                               Page 632
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 634 of 900
Approved Judgment                                                               HC-2015-001324
Mr Justice Hildyard


                            But PMI then changed their mind; and ultimately, a direct deal
                            was made between Autonomy and PMI, following which
                            Autonomy issued a credit note to DiscoverTech and paid it a
                            MAF reflecting the margin DiscoverTech would have got had
                            the end-user signed with them.

                      iii. VT23, in Q4 2010, in respect of which the prospective end-user
                           was Bank of America (“BofA”), and for which the licence fee
                           was $3,500,000 plus a support and maintenance of $175,000.
                           The deal ran in parallel with VT24 (see paragraph 1963(4)(iv)
                           below). Both were part of a larger overall deal for end-users
                           BofA/Amgen/Merrill Lynch (the last two being BofA group
                           companies), with a total licence value of $21,330,600 which was

                            parcelled out to various resellers (MicroTech, Capax Discovery
                            and DiscoverTech) in impugned transactions VT16, 21, 23 and
                            24). Ultimately, Autonomy made a direct deal with the end-user
                            for a total licence fee of $19,500,000 in respect of all four
                            transactions, with MicroTech as designated payee, and
                            arrangements for MicroTech to account to Discover Tech and
                            Capax Discovery for their relevant parts.

                      iv.   VT24, in Q4 2010, in respect of which the prospective end-user
                            was also BofA, and for which the license fee was $7,000,000,
                            plus a support and maintenance fee of $350,000 (which was part
                            of the larger overall deals referred to at paragraph 1963(4)(iii)
                            above).

                      v.    VT30, in Q1 2011, in respect of which the prospective end-user
                            was Prisa, a Spanish and Portuguese language media group and
                            an existing Autonomy customer before the VAR transaction.
                            The VAR transaction was for a licence fee of $3,600,000 plus a
                            firstyear support fee of $200,000. Ultimately, no end-user deal
                            was concluded with Prisa, either by DiscoverTech or
                            Autonomy. The Claimants accepted that DiscoverTech satisfied
                            its obligations but allege that this was only because it was
                            enabled to do so by a purchase from DiscoverTech by
                            Autonomy of a product called DiscoverEngine. This product
                            was, amongst other things, a connector to Microsoft’s
                            SharePoint product (which is a content management system in
                            wide usage in enterprise environments) and had been developed
                            to support and enhance Autonomy’s IDOL software for IDOL
                            customers who were also SharePoint users. The Claimants
                            make no claim that the transaction was reciprocal or linked, and
                            no FSMA breach or misrepresentation is asserted, nor is it
                            suggested that the transaction resulted in losses. However, the
                            Claimants suggested that Autonomy had another similar product
                            already and that it had no use for DiscoverEngine: the
                            Defendants rejected that.


                                             Page 633
    Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 635 of 900
  Approved Judgment                                                               HC-2015-001324
  Mr Justice Hildyard


                         vi.   VT31, in Q1 2011, in respect of which the prospective end-user
                               was ThinkTech Inc. (“ThinkTech”), an associate of the
                               brokerage firm TD Ameritrade, and the VAR licence fee (for an
                               amendment to ThinkTech’s existing Digital Safe hosting
                               arrangement) was $1,800,000 plus a first-year support fee of
                               $180,000. No end-user sale eventuated, as the Claimants
                               maintained was inevitable since TD Ameritrade had even before
                               the VAR transaction indicated that it had no intention of
                               proceeding; and the way in which the VAR deal was (to quote
                               the Claimants) “unravelled” is also contentious.

                    vii. VT35, in Q2 2011, in respect of which the prospective end-user
                         was Abbott Laboratories (“Abbott”), a healthcare company, and
                         the VAR licence fee was $8,611,011.07, plus $388,988.93 in
                         respect of hosting and a first-year support and maintenance fee.
A small direct deal was concluded between Autonomy and Abbott in July 2011 for a fee
  of $600,000; but the large end-user deal never eventuated. The Claimants alleged that
 Abbott’s General Counsel had vetoed the transaction and that there was never any real
                                                              prospect of an end-user sale.

                        viii. VT36, in Q2 2011, in respect of which the prospective end-user
                               was Hyatt and the licence fee was $5,333,914 plus a first-year
                               support fee of $266,696. Under the deal, DiscoverTech was to
                               sub-licence to Dell, which in turn would sub-licence to Hyatt.
                               Again, no end-user deal was concluded; again, the Claimants
                               claimed that this was all but inevitable, since before the VAR
                               transaction Dell/Hyatt had “said no”, VT 36 was also one of the
                               deals which the Claimants claimed was “unravelled” and the
                               debt written off to protect DiscoverTech and honour the alleged
                               side agreement or understanding.

                (5) FileTek, which specialized in the archiving of structured data, was the
                    developer of the StorHouse and Trusted Edge software. It entered into a
                    single VAR transaction with Autonomy (VT18). The VAR licence fee
                    was $10,000,000, plus a first-year support fee of $500,000, and the
                    prospective end-user was the United States Department of Veterans
                    Administration Authority (“USDVA”). USDVA were a repeat customer
                    of Autonomy’s and had been working with Autonomy on an email
                    archiving system. In the event, no end-user deal was concluded with
                    USDVA by either FileTek or Autonomy. FileTek paid Autonomy in
                    tranches, including $500,000 on the same date that the VAR transaction
                    was concluded, with further payments of $1.5m in March 2011, $1m in
                    April 2011 $1.5m, in June 2011 and the remaining $6m in August 2011.
                    However, the Claimants alleged that these payments were funded out of
                    the funds paid by Autonomy to acquire StorHouse, which they further
                    alleged was a ‘reciprocal’ transaction for which Autonomy had no need,
                    as I elaborate later.




                                               Page 634
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 636 of 900
Approved Judgment                                                              HC-2015-001324
Mr Justice Hildyard


1964. The Claimants provided a useful summary of the quarterly distribution of the
      impugned VAR transactions in the “Relevant Period” (Q1 2009 to Q2 2011)
      and the licence revenue attributed to those transactions in aggregate in each
      quarter: I append that as Appendix 3.

Summary of the Claimants’ overall approach in presenting the factual evidence

1965. There were six principal elements in the Claimants presentation of the factual
      evidence:

         (1)      Witness evidence (what the Claimants called direct evidence”) on the
                  key points as to (a) the alleged understanding or intention that the VAR
                  should not be involved in any way in the end-user sale envisaged by the
                  VAR transaction and (b) the alleged understanding that the VAR should
                  not be required to pay from its own resources;
         (2)      Circumstantial evidence of a characteristic ‘pattern’ in the case of the
                  impugned VAR transactions (other than the Collectability VARs ),

                  alleged to be commercially and rationally explicable only by reference
                  to a shared understanding or intention that (a) only the seller (Autonomy)
                  and not the VAR was to be involved in any way in the end-user sale
                  envisaged by the VAR transaction and (b) the VAR should not be
                  required to pay from its own resources, and only pay if and when paid
                  by the end-user;
         (3)      Evidence as to the payment of MAFs in circumstances where (a) the
                  VAR had had no involvement in marketing and (b) the VAR agreements
                  made no contractual provision for the payment of MAFs;
         (4)      Evidence of efforts to suppress the truth as to the ‘pattern’, what the
                  VARs had been given to understand, and the basis for the payment of
                  MAFs, including alleged efforts to mislead both (a) Deloitte and (b) the
                  the FRRP/FRC;

         (5)      Alleged inconsistencies in Dr Lynch’s attempts to resist such inferences;
                  and
         (6)      Evidence of the involvement and true objectives of both Mr Hussain and
                  Dr Lynch and their guilty knowledge’.
1966. I turn to discuss in turn each of these elements, and the Defendants’ case in
      relation to them, in general terms.

Direct evidence” of the alleged side agreements or understandings
1967. As to (1) in paragraph 1965 above, the Claimants relied on “direct” or witness
      evidence in relation to the central allegation that there were consensual side
      agreements in respect of each of the impugned VAR transactions (except the
      pure collectability VARs ) which were such as to undermine the legal obligation
      to cough up” (to adopt Mr Miles’ phrase in his opening) and to reserve to


                                            Page 635
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 637 of 900
Approved Judgment                                                                HC-2015-001324
Mr Justice Hildyard


         Autonomy the exclusive role in negotiating and closing an end-user deal which
         would in fact be its real source of revenue.

Direct evidence”: the relevant witnesses
1968. The Claimants relied primarily on what they depicted in the case of each of the
      impugned VAR transactions (other than the pure Collectability VARs , (VT9,
      VT17, VT19, VT22 and VT29 where the issue is only as to the credit-worthiness
      of the VAR) as:

                       a wealth of direct evidence to the effect that, at the time the VAR
                      transaction was entered into, no-one – Autonomy included – intended
                      that the VAR should be involved in any attempt to on-sell the software
                      licence to the end-user.”


1969. The Claimants submitted that much of the witness evidence (and particularly
      that of Mr Egan and Mr Baiocco) to the effect that the VAR was often, indeed
      usually, told that it was not expected and not encouraged to participate in, or
      have anything at all to do with, Autonomy’s sales efforts was unchallenged.

1970. The Claimants sought to rely on this also, as well as direct oral evidence, to
      support what they presented as the second limb of their case, which was that it
      was orally agreed or understood, and in any event undoubtedly intended
      between Autonomy and the VAR, that Autonomy would not require the VAR
      to pay the licence fee from its own resources if no end-user deal eventuated.

1971. The order of these points is noteworthy. Both experts regarded the primary
      question in relation to revenue recognition under IAS 18.14 as being whether
      the seller (Autonomy) had transferred to the buyer (the relevant VAR) the
      significant risks and rewards of ownership of the goods” (IAS 18.14(a)). They
      regarded the further criterion in IAS 18.14(b), that the seller should have
      retained neither continuing managerial involvement to the degree usually
      associated with ownership nor effective control over the goods sold”, as being
      a subsidiary matter which was almost invariably determined by the answer to
      the first question. However, the Claimants reversed that sequence in their
      presentation of the evidence. The Claimants also submitted that a finding that it
      was never intended that the VAR, but only Autonomy, should make any attempt
      to on-sell the goods to the end-user, would by itself be sufficient to make good
      the Claimants case that no revenue should have been recognised at the point of
      sale to the VAR.”

1972. The Claimants described the further finding that they sought, that it was orally
      agreed between Autonomy and the VAR that Autonomy would not require the
      VAR to pay the licence fee from its own resources, as more controversial as
      between the parties”. But they submitted that the direct evidence was in this
      context also compelling”.

Overview of the witness evidence put forward by the Claimants



                                               Page 636
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 638 of 900
Approved Judgment                                                            HC-2015-001324
Mr Justice Hildyard


1973. The witnesses who gave oral evidence in relation to one or more of the
      impugned VAR sales were:
         (1)      As the person said to have reached on behalf of Autonomy the side
                  agreements or understandings with the VARs: Mr Egan (Autonomy),
                  who gave evidence by witness statement, on which he was
                  crossexamined by video-link;
         (2)      On behalf of various VARs: Mr Baiocco (Capax Discovery) and Mr
                  Szukalski (FileTek), both of whom were cross-examined at the hearing
                  on their respective witness statements; and
         (3)      As regards the information provided to and the understanding of
                  Deloitte: Mr Welham of Deloitte (no one else from Deloitte gave
                  evidence at this trial).

1974. In addition, the Claimants relied on:

         (1)      The evidence of Mr Loomis of FileTek in the US criminal trial,
                  introduced by the Claimants under a hearsay notice;
         (2)      The evidence of Mr Steve Truitt of MicroTech in the US criminal trial
                  and in civil proceedings brought by MicroTech against Autonomy in the

                  US (the “MicroTech litigation”) introduced by the Claimants under a
                  hearsay notice;
         (3)      The evidence of Mr Tomas Esterrich (MicroTech’s CFO) in the
                  MicroTech litigation in the US, also introduced by the Claimants by
                  hearsay notice; and
         (4)      The evidence of Mr David Truitt of DiscoverTech and MicroLink in the
                  US criminal trial, and in the MicroTech litigation, likewise introduced
                  by the Claimants by hearsay notice in the same way.

1975. Both the Claimants and the Defendants in their written closings submissions
      provided first, a general overview of the witness evidence (both oral and
      hearsay), before thereafter describing in more detail the series of impugned
      VAR transactions and the evidence of the actors in relation to them. I adopt the
      same approach below.

Overview of Mr Egan s evidence as to what he told the VARs in every impugned VAR
transaction


1976. Mr Egan was presented as the Claimants’ main witness on this aspect of their
      case and his evidence covered most of the impugned VAR transactions.

1977. I have made an assessment above (see paragraph 426(5) to 426(7) above) of Mr
      Egan’s reliability as a witness, and explained why I consider that he was in a
      difficult predicament: having entered into a Deferred Prosecution Agreement



                                           Page 637
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 639 of 900
Approved Judgment                                                               HC-2015-001324
Mr Justice Hildyard


         (“DPA”) with the US DoJ) which committed him to prescribed evidence, honed
         after numerous interviews with the US DoJ, HP’s lawyers and his own, his
         freedom depended on adherence to it; he was now being cross-examined in these
         proceedings, contrary to his expectation, but on video-link since he refused to
         attend in person; and he could not be required to attend in person, being “beyond
         the seas”. No doubt his oath weighed with him; but whilst it was at least unlikely
         that he could be subjected to proceedings here for perjury, departure from his
         script brought the real prospect of losing his freedom in the USA.

1978. In his closing argument, Mr Miles remarked of his evidence:

                      “… The impression one gets – because he was reasonably candid a
                      good deal of the time in cross examination –… is that this statement
                      has been lawyered up and put in front of him and he was prepared to
                      sign it because he was under the impression that he would not have to
                      give evidence.”

1979. I broadly agree with this assessment. Thus, for example, although Mr Egan gave
      the impression in his witness statement made in September 2018 that he could
      remember quite clearly what had happened in the reseller deals in which he was
      principally involved, a rather different picture emerged from his oral testimony
      given by video link. Under cross-examination it emerged that he could
      remember very little about the details of individual deals. Similarly, in the case
      of the MicroTech deals and the ATIC deal, it became clear that his witness
      statement was comprised of an orderly recollection of events carefully crafted
      by his lawyers which he could not in reality support from his own recollection.

1980. Further, whereas in his witness statement the impression given was of frequent
      contact both with Dr Lynch and Mr Hussain at Autonomy and Messrs Steve and
      Dave Truitt, when cross-examined he had to accept that at least as regards Dr
      Lynch and Mr Steve Truitt his contacts were minimal:

         (1)      Mr Egan specifically corroborated Mr Steve Truitt’s testimony to the
                  effect that they had had only very occasional contact. He thought that
                  one of the possible occasions was in the course of the Vatican deal, but
                  even then Mr Egan did not feel comfortable saying that absolutely”.
         (2)      He also confirmed that he mostly spoke to Mr David Truitt. However,
                  Mr David Truitt was not the decision-maker: he was passing on
                  information to Mr Steve Truitt and Mr Jimenez.
         (3)      As regards Dr Lynch, the impression he gave in his witness statement
                  was of a line of direct report, with the natural inference that he had told
                  Dr Lynch the various things that he knew; in cross examination he
                  withdrew the very serious allegations he had made against Dr Lynch in
                  that context and, for example, was unable to offer any real recollection
                  or evidence at all against him in relation to the repeated allegations of
                  “pre-textual emails”. (Mr Miles made the inevitable submission in this
                  connection that all this raised a real question mark over what on earth
                  they were doing in his witness statement in the first place. It looks, I m


                                              Page 638
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 640 of 900
Approved Judgment                                                                  HC-2015-001324
Mr Justice Hildyard


                  afraid to say this, very much like something that was inserted by
                  lawyers.”)
1981. Nevertheless, in cross-examination, and as Mr Miles acknowledged, Mr Egan
      appeared to me to do his best to tell the truth, even if warily in respect of matters
      referred to in the statement he had agreed with the DoJ on which depended his
      freedom; and his depiction of the way he conducted Autonomy’s VAR business
      in general terms struck me as reliable.

1982. In that regard, Mr Egan confirmed that he had said substantially the same thing
      to the relevant VAR in each transaction, in accordance with instructions given
      to him by Mr Hussain, whom he described as a very detail-oriented, hands-on
      manager” who often tracked deals in great detail [and]… kept in touch with
      members of the sales force, directing which deals to pursue and what prices to
      negotiate”. Thus, he repeatedly cross-referred to what he described as the
      guidance that Mr Hussain gave me as described in paragraphs 28 and 29
      above” (of his witness statement) as a shorthand for describing what he had
      said.

1983. In his witness statement, Mr Egan summarised in the following terms what he
      said Mr Hussain, as the person he identified as the architect of the impugned
      VAR transactions from whom he took his instructions (which was not
      challenged) , had told him he (Mr Egan) should tell the VARs:

                       Mr Hussain defined the parameters of the practice; I implemented it.
                      Mr Hussain ultimately determined which deals, and in what amounts,
                      would be taken to a VAR, and which VAR to approach. In view of the
                      significant financial cost of these deals (i.e. the fees paid to the VAR
                      for taking them on), no one else (apart from Dr Lynch) had the
                      authority to make that decision. Mr Hussain described the VAR deals
                      to me as acceleration deals”…

                      Mr Hussain gave me specific instructions to follow so that these deals
                      would be accepted by Autonomy s auditors (Deloitte)…

                      Mr Hussain provided guidance to me regarding what was, and was
                      not, acceptable to communicate in my conversations with VARs. He
                      laid out explicit rules about what could be offered as incentive to the
                      VARs, what was required of the VARs, and what could not be part of
                      any deal. He instructed me to tell the VAR that in order for Autonomy
                      to be able to recognise revenue, the VAR would have to sign a
                      document that stated a binding obligation to pay for the software, that
                      Autonomy would deliver the software to the VAR before the end of the
                      quarter, and that there had to be sufficient evidence that the VAR
                      could pay for the software regardless of whether a sale was made to
                      the enduser. He also emphasized that it was vital that the VAR confirm
                      to Deloitte that the VAR owed the money to Autonomy and intended to
                      pay. I was also instructed by Mr Hussain to say, and did say, to the
                      VAR orally that Autonomy would continue its efforts to sell to the
                      enduser; often that the VAR was not expected to participate in those


                                                Page 639
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 641 of 900
Approved Judgment                                                                   HC-2015-001324
Mr Justice Hildyard


                      sale efforts; and, importantly, that Autonomy would do everything in
                      its power to help ensure that the VAR would not be left holding the
                      bag”. On some occasions, Autonomy completed the sale to the end-
                      user and caused the end-user to pay the VAR, which, in turn, allowed
                      the VAR to pay Autonomy. On other occasions, if the end-user paid
                      Autonomy directly, the VAR was relieved of its payment obligation.

                      …
                      At Mr Hussain s direction, I assured the VARs that if Autonomy was
                      ultimately unable to close a deal with an end-user, there were various
                      options that Autonomy had to fix” the situation for the VAR so that it
                      would not end up having to pay for the software from its own
                      resources. Over time, this happened and Mr Hussain came up with a
                      number of different ways of handling this, including buying products
                      that Autonomy did not need from the VARs to offset losses from deals
                      that we did not manage to sell through to the end-users. Mr Hussain
                      made it clear that our assurances about the VAR not being left holding
                      the bag could not be put in writing. We realized, of course, that if we
                      left the VAR holding the bag,” we would be unable to do future
                      transactions with that VAR as it would probably ruin the
                      relationship.”


1984. However, Mr Egan gave little or no detail of any actual occasion, or exchange
      with the VARs, at which he allegedly communicated the assurances referred to
      above in accordance with Mr Hussain’s instructions. He simply asserted that
      these were the assurances always given; and in the case of each transaction, he
      referred back to the general description as his evidence of the side agreement
      relied on.

1985. As to the nature, rationale and perceived disruption of these arrangements, Mr
      Egan’s evidence in his witness statement was as follows:

                       The incentive for the VAR to take the license [sic] in order to help
                      Autonomy reach its revenue goal for the quarter was that the VAR
                      would be paid a margin” or fee on the deal, which, typically, was 10%
                      of the deal price. For its part the VAR had to sign a purchase order
                      relating to individual deals and, if asked, to confirm to Deloitte that the
                      VAR remained responsible to Autonomy to pay for the deal, and that
                      there were no side letters or other agreements in place between
                      Autonomy and the VAR. Therefore, although referred to as at risk”
                      deals (because no deal had yet been concluded with the end-user), the
                      VAR was not truly at risk of incurring any loss on the transaction given
                      our pledge that Autonomy would do everything in its power to help
                      ensure that the VAR would not be left holding the bag. I felt very
                      personally obligated to make sure that the VAR would be made whole
                      on the purchase. Any concern the VAR might have had at the outset
                      about the possibility of Autonomy reneging on its pledge would have



                                                Page 640
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 642 of 900
Approved Judgment                                                                  HC-2015-001324
Mr Justice Hildyard


                      been dispelled over time by our actual practice of never in fact
                      allowing a VAR to suffer a loss.

                      On several occasions, no sale was able to be made to the prospective
                      end-user. I believe that each time this occurred, we found a fix” for the
                      deal so that the VAR did not have to pay for the software with its own
                      funds…

                      The deals with the VARs were almost always entered into right at the
                      end of each quarter, after Mr Hussain had determined that a sale to a
                      particular end-user could not be completed in that quarter and when
                      he was able to determine the size of the gap between that quarter s
                      revenue target and the sales that had been made, or would be made to
                      non-VAR customers before the end of the quarter. In my opinion, the
                      practical effect of VAR deals of this type was to accelerate into the
                      current quarter revenue that would otherwise have been recognised in
                      a later quarter, assuming that a sale to the end-user could be made in
                      a later quarter. This helped Autonomy to meet its revenue target for
                      the current quarter. However, the problem this created for me was
                      that, in the following quarter, I had to spend time and effort attempting
                      to close the end-user transaction so that the VAR would be protected. I
                      also had to make all of the sales in the following quarter that we
                      otherwise needed in order to meet the following quarter s sales goal.
                      In concept, we were borrowing revenue from a future quarter to
                      achieve the revenue goal in the current quarter. However, in the
                      following quarter, we had to close end-user deals just to enable the
                      VAR to pay back” the debt” incurred in the prior quarter.

                      This practice started on a relatively small scale involving a small
                      number of end-user deals that were very likely to close in the near
                      future. Over time, the number and size of the deals increased, and, in
                      certain cases, the probability that the end-user deal would be
                      completed decreased. The hole in which we started each new quarter –
                      the implied obligation to find a way to complete the old end-user deals
                      (or find some other solution) – grew larger and larger. At the same
                      time, the revenue targets that had to be satisfied with new deals
                      continued to increase. The ever-increasing revenue targets, in turn,
                      created the need for yet more transactions of the type that I have just
                      described and other revenue-generating tactics that I will describe…In
                      my view, this pattern ultimately became unsustainable.”


1986. Mr Rabinowitz submitted that important parts of Mr Egan’s witness statement
      were not challenged in cross-examination. He instanced especially Mr Egan’s
      evidence that, at Mr Hussain’s direction, he often told the VAR that the VAR
      was not expected to participate in Autonomy’s sales efforts. He also referred to
      and relied on Mr Egan’s elaboration of his evidence in relation to particular VAR
      deals with favoured VARs following the prescribed ‘pattern’, including
      especially:



                                               Page 641
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 643 of 900
Approved Judgment                                                               HC-2015-001324
Mr Justice Hildyard


         (1)      Mr Egan’s reference to a series of impugned VAR transactions with
                  MicroLink which Mr Egan described as in each case being a “paper
                  transaction”, in which MicroLink was simply required to submit a
                  purchase order and only Autonomy was to be involved in pursuing and
                  closing a sale to the end-user, whom Mr Egan described as Autonomy’s
                  “true customer”;

         (2)      Mr Egan’s evidence that in a VAR deal with Capax Discovery in
                  anticipation of an end-user deal with Kraft (VT3), again all Capax
                  Discovery had to do in return for a MAF of 10% was to issue a purchase
                  order, sit back whilst Autonomy continued its efforts to close a deal with
                  Kraft, and then charge a 10% fee;

         (3)      Mr Egan’s evidence that at the end of Q4 2009 he entered into a number
                  of supposedly “at risk” deals with MicroTech (VT5, VT6, VT7 and VT8)
                  to get the revenue associated with the corresponding prospective end-
                  user deals into the fourth quarter of 2009” in which MicroTech would
                  be paid a fee for playing no active part in any negotiations with the
                  enduser;

         (4)      Mr Egan’s evidence that the like ‘pattern’ was followed in the deal on 31
                  December 2010 with DiscoverTech in respect of a proposed end-user
                  deal with BofA (VT23/24), in which again DiscoverTech was simply
                  required, for its fee, to sit back whilst Autonomy sought to close the deal
                  directly.
1987. The basis for Mr Rabinowitz’s submission that much of Mr Egan’s evidence was
      not challenged is that he was not separately cross-examined on each of these
      transactions. However, Mr Egan confirmed in cross-examination that he said
      the same kind of thing to each of the VARs with whom he negotiated deals,
      though of course there would be different amounts of money, differences in
      software and license or other user terms, and different information as to the state
      of play with the prospective end-user, according to the particular facts.

1988. I was therefore invited by Mr Miles to treat his explanation as applicable to all
      the impugned VAR deals (with appropriate variation according to the
      circumstances) and his references to specific VAR transactions as exemplars.
      On that basis, Mr Miles submitted that his cross-examination of Mr Egan was
      therefore appropriately confined to testing the assertion in respect of one
      transaction and treating that as a challenge to all other transactions where the
      same basic allegation was made that the impugned VAR transaction in question
      was (a) a paper exercise in which the VAR would (b) subscribe to an agreement
      for the sake of form but (c) take no part in the negotiation or closing of any
      enduser transaction and would (d) notionally, but not actually, take on risk. I
      accept that: Mr Egan had confirmed that he had given like assurances in every
      case, and a challenge to one was a challenge to all.

1989. The focus of that cross-examination was on whether any of the assurances, if
      given, were intended to affect the legal obligation and indebtedness of the VAR.
      As to that, as Mr Miles emphasised in his closing submissions, Mr Egan


                                            Page 642
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 644 of 900
Approved Judgment                                                                   HC-2015-001324
Mr Justice Hildyard


         considered that in every case the VAR in question was fully on risk, and nothing
         he said to individual VARs affected this. But this was addressing the legal
         position, which the Claimants did not dispute. It did not address what the parties
         intended would actually be their economic relationship, which was the focus of
         the Claimants’ case.

1990. In that context, Mr Egan’s evidence was to the effect that he did indeed give
      assurances to the VAR that Autonomy would do its best to rescue them if the
      anticipated end-user deal failed, and indicated that Autonomy would forbear
      from enforcing the payment obligation in the meantime. In making clear that
      their legal risk remained, and that there was no binding commitment on
      Autonomy’s part except as set out in the contract, the impression of the sub-text
      was unmistakeably that whilst the legal position had to be emphasised, of
      course, and lip-service must be seen to be paid, the reality was that Autonomy
      needed the deal and the VAR wanted the immediate business and the prospect
      of more. As the saying goes, ‘a nod’s as good as a wink to a blind horse’. It
      seems to me to be clear that all those concerned understood, and the VARs
      proceeded on the basis, that the economic realities would have little to do with
      the definition of their nominal legal relationship, and Autonomy would not leave
      the VAR to shoulder any uncovered liability for acting in its nominal role.

1991. Thus, when cross-examined, Mr Egan elaborated on what he meant with
      particular reference to the FileTek/USDVA transaction (VT18) in Q3 2010 , as
      follows:

                       Q. Is this the position: that you made clear to FileTek that they would
                      be on risk but that Autonomy would do what it could to make sure that
                      in the end they would get paid?
                      A. They would be fully at risk but that we would use every effort to
                      backfill that deal if for some reason that deal did not happen and not
                      leave them holding the bag effectively.
                      Q. That idea of not leaving them holding the bag, that didn t affect, as
                      you understood it from your discussion, the legal obligation on FileTek
                      to pay even if the end-user deal was not done?
                      A. No, 100% not. You know, there s more detail to that in that I would
                      let them know that they were signing up to buy this software, that they
                      were buying it non-refundably, no recourse to not pay, and Autonomy
                      was not bound to do what it would intend to do if it went poorly, but
                      that it would be our intent and that we would use every effort to
                      backfill. Nobody wants to just burn a partner and leave them in the
                      dust. The point of this was to create channels of revenue that were
                      forward-looking, that they would be incentivised and go out and sell
                      the software other times.
                      Q. And they always understood that although you were giving that
                      statement of intention, that wasn t in any way legally binding?
                      A. I made it clear that it was intent but that if, you know, Mike or
                      Sushovan decided that they didn t want to do that, they would


                                                Page 643
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 645 of 900
Approved Judgment                                                                    HC-2015-001324
Mr Justice Hildyard


                      absolutely be nothing I could do about it and I was telling them that if
                      we were acquired or if there was any other change, I describe the fact
                      that it was our intent if they think the relationship will work that way
                      then that s something that they d consider.
                      Q. The whole idea behind this was that risk had to pass in order to get
                      revenue recognition, wasn t it?
                      A. I actually didn t understand that, that that was required for revenue
                      recognition, but I understood that it was an absolute requirement of
                      Sushovan s that I impart the risk and that it be absolute.”

1992. I understood that this was intended as an exemplar and an explanation of the
      position across the impugned VAR transactions as Mr Egan perceived it: and I
      consider the challenge to the exemplar to have been a challenge to all. So I do
      not consider that the challenge failed for want of being put in respect of every
      transaction; it failed because Mr Egan’s answers made clear the formulaic nature
      of the emphasis on the legal position.

1993. Mr Miles also relied especially on two passages of evidence given in the course
      of Mr Egan’s re-examination by Mr Rabinowitz as being really crucial
      evidence”:

         (1)      The first was this:

                      Q. Mr Egan, can I ask you to explain further what you meant by
                            backfilling” and ensuring that the VAR was not left holding
                           the bag”?
                      A. When I used the term backfilling” what I was referring to was if the
                         deal that the reseller had taken at risk somehow were not to be
                         able to be closed, and Autonomy needed to make sure that the
                         reseller wasn t – not receiving any revenue and making those
                         payments to Autonomy, I was going to take other deals from
                         Autonomy s forward-looking pipeline and then give them to that
                         reseller to backfill that amount, in other words basically substitute
                         another deal for it.”


         (2)      The second was this: when asked whether Mr Egan had discussed with
                  the VAR whether, if the specified end-user dealer failed to eventuate, the
                  VAR would be expected to make payment to Autonomy during the
                  period before Autonomy had found a way to backfill the deal, Mr Egan
                  answered:

                      “Effectively, yes, they had to make their payments in line with payment
                      terms they d committed to, independent of the time it took to decide
                      whether to backfill, the time it took to partially backfill, independently”.




                                                Page 644
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 646 of 900
Approved Judgment                                                               HC-2015-001324
Mr Justice Hildyard


1994. Mr Miles relied on this evidence for two points. First, he submitted that what
      Mr Egan had said amounted simply to an assurance that he would see what
      Autonomy could do to find another end-user in the event that the first end-user
      dropped out. Secondly, and a point which Mr Miles submitted was critical, Mr
      Egan made clear that in the meantime the VAR would still be on the hook” to
      pay, or in another expression Mr Egan often used, left holding the bag” pending
      identification and substitution of a ‘backfill” deal. Mr Miles submitted that this
      evidence:

                       undermines their contention that there was any arrangement that the
                      resellers would not have to pay or would not have to pay until they
                      were paid. On the contrary, this is Egan saying that it was expressly
                      discussed that they would have to pay even while they were looking for
                      another end-user”.


1995. Mr Miles also made the more general point that although this passage referred
      to the VAR deal between Autonomy and FileTek, Mr Egan had earlier
      confirmed that both the assurances he gave and his perception of their intent and
      consequences were the same in each of the other deals also. As Mr Miles
      summarised it (after a forensic swipe that the Claimants themselves are guilty
      here of ignoring the substance”) this evidence was that:

                       what Mr Egan was emphasising to them was that the reseller was
                      indebted to Autonomy whatever happened with the end-user.”


1996. Mr Miles went on to suggest that this not merely challenged, but disposed of,
      any notion of some unilateral intention on the part of Autonomy that neither risk
      nor managerial control should effectively pass, since Mr Egan was the only
      person supposed to have generated that intention.

1997. The Claimants sought to reply to these points by presenting Mr Egan’s answers
      as simply reiterating the distinction, on which they relied, between the legal
      position (in respect of which the Claimants accept legal enforceability) and the
      practical reality, which they alleged to be what they described as his:

                       unchallenged evidence that he assured the VARs that Autonomy s
                      intention was not to leave the VAR holding the bag.”


1998. I am entirely persuaded that Mr Egan gave these assurances, and that he did so
      with the sanction, and indeed on the instructions, of Mr Hussain. I cannot accept
      Mr Miles’ submission that Mr Egan’s oral evidence critically affected his
      presentation of this in his witness statement. In my view, nothing that Mr Egan
      said in cross-examination or re-examination substantially qualified or undid the
      evidence in his witness statement that I have quoted at some length in
      paragraphs 1983 to 1985 above. Taken in the round, the gist of his oral evidence
      was to reiterate that the relationship with the VAR operated at two levels: what
      the contract provided and how the parties in fact intended to and did in fact


                                              Page 645
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 647 of 900
Approved Judgment                                                             HC-2015-001324
Mr Justice Hildyard


         conduct their relationship. For as much as Mr Egan stressed to the VAR that it
         was on the legal hook, as Mr Hussain had insisted he should, he also made clear
         that Autonomy would do everything in its power to help ensure that the VAR
         would not be left holding the bag.” Nothing that Mr Egan said contradicted the
         reality that neither party expected the VAR to have any role, or to carry any real
         risk, or to gain any reward from any resale (except a MAF which the contract
         made no provision for).

Overview of Mr David Truitt s evidence as to MicroLink s role in impugned VAR deals


1999. As explained in paragraph 1963(1) above, none of the many VAR deals between
      Autonomy and MicroLink entered into prior to the Relevant Period has been
      impugned in these proceedings. At one time (in October 2018), the Claimants
      confirmed that they were abandoning their allegation that there was a
      sideagreement in relation to the MicroLink transactions in the Relevant Period.
      That concession was then withdrawn a month later; yet Mr Welham’s witness
      statement records that he was asked to assume that in only one of the six
      MicroLink VAR deals with Autonomy in Q2 2009 was there a side-agreement;
      and of the three impugned MicroLink deals in Q3 2009, Mr Welham was again
      asked to assume a side-agreement in relation to only one of them. That is the
      basis of the Defendants’ submission that the Claimants’ case in relation to
      MicroLink has been in flux as regards the basis on which they seek to impugn
      the MicroLink VAR transactions.

2000. Mr David Truitt, a practiced prosecution witness who gave evidence at the US
      criminal trial, as well as in the MicroTech litigation, accepted in his deposition
      in the MicroTech proceedings that Autonomy’s objective in its VAR sales to
      MicroLink was to take on these end-of-quarter deals so that Autonomy could
      recognize revenue on those deals in whatever was the then current quarter, the
      quarter that was about to end.” However, he consistently made clear in both
      sets of proceedings that MicroLink acquired full ownership and full control of
      the software under the VAR transactions and was unequivocally at risk”. He

         denied that there was any side-agreement or understanding such as to undermine
         revenue recognition.

2001. Though cautioning as to his reliability, the Defendants cited the following three
      passages in support of their contention that Mr David Truitt’s evidence in earlier
      US proceedings undermined rather than supported the Claimants’ case:

         (1)      In his examination-in-chief in the US criminal proceedings, Mr David
                  Truitt confirmed that MicroLink’s relationship with Autonomy was an at
                  risk scenario” such that he wanted to make sure that the deal with the
                  end-user would close quickly:

                       Q.    What did you mean by "end-of-quarter scenarios"?




                                           Page 646
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 648 of 900
Approved Judgment                                                                HC-2015-001324
Mr Justice Hildyard


                       A.      "End of quarter" for me would mean deals that
                               Autonomy had been working on their own, that they
                               would -- they'd be similar, you know, to the one I
                               just described in the sense that they were supposed
                               to be far down the line in the sales process, and they
                               would ask whether we would be interested in issuing
                               orders for those -- for those scenarios.
                            So they would present a -- you know, a particular
                               opportunity, they would talk to us about what it was,
                               where it was in the sales cycle, and then we would
                               decide whether to issue an order or not.

                      Q. The $200,000 order that you described that started this
                            end-of-quarter scenario, why did you call the
                            customer about that?

                      A. I wanted to make sure that it was going to indeed close
                            quickly and that, you know, the agreement with
                            Autonomy on those deals was -- you know, once you
                            issue the order, it's your order. So there was, you
                            know, an at-risk scenario. So, you know, I didn t
                            know Mr. Cronin very long at that point and wanted
                            to make sure that what he was telling me was
                            correct. I didn t want to be out 200,000.”

         (2)      Mr David Truitt gave similar evidence in relation to MicroLink in the
                  US MicroTech litigation. This was marked up as hearsay by the
                  Claimants and (as the Defendants pointed out) must be taken to represent
                  their evidence:
                       Q. And were there occasions when you did not collect from the
                            customer?

                      A.       Yes.

                      Q.       Okay. What happened on those occasions?

                      A. On the occasions where the customer did not buy the
                            software, we would try to take that software and sell
                            it to another customer, and sometimes we were
                            effective at doing that. You know, we had -- we had
                            to figure out a way effectively to cover -- we would
                            call these transactions at-risk transactions, which
                            meant to us that we took them and we had to figure
                            out if it went badly, you know, what to do.”




                                             Page 647
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 649 of 900
Approved Judgment                                                                   HC-2015-001324
Mr Justice Hildyard


         (3)      In another passage from his evidence in the US criminal proceedings,
                  this time taken from his cross-examination, Mr David Truitt gave similar
                  evidence against Mr Hussain, explaining what he meant by an “at risk”
                  transaction (albeit in relation to DiscoverTech). He confirmed that
                  DiscoverTech was at risk if the end-user deal did not close.

2002. The difficulty with this evidence is that (a) according to Mr Egan, whose
      evidence on this point was not challenged, it was Autonomy, and not MicroLink,
      which in the transactions in the Relevant Period to which it was a party
      invariably and exclusively dealt with the end-user to seek to conclude the
      indicated end-user transaction; (b) no instance was provided of MicroLink
      seeking to sell on the software it had acquired under license; and (c) no evidence
      was provided of MicroLink ever suffering a loss on any of these deals: on the
      contrary, the evidence adduced showed that its indebtedness (which it had no
      substantial resources to enable it to meet) was always resolved by some form of
      transaction with Autonomy 241 , and ultimately by Autonomy acquiring
      MicroLink itself and its debts being ‘forgiven’ (with the result that MicroLink’s
      principal relevance is in the context of the Claimants’ claims in respect of the
      alleged ‘reciprocal’ VAR transactions)242.

2003. Mr David Truitt did not give evidence before me. I have only the transcripts of
      his evidence in the US in this regard. However, Mr David Truitt’s depiction of
      MicroLink being substantially at risk in respect of its legal indebtedness, and of
      taking control and active steps in respect of the licensed software it had


         acquired, does not fit with the evidence before me. He spoke of MicroLink’s risk
         and managerial control: but there is no evidence that he thought of this as
         defining the parties’ understanding of their true commercial relationship.

2004. Furthermore, Mr Matt Stephan testified at the US criminal trial that, following
      Autonomy’s acquisition of MicroLink, he was asked to look at MicroLink’s
      financial records and found that the VAR transactions between Autonomy and
      MicroLink were not recorded in MicroLink’s own books: they were “just not in
      the books at all”:



241
    The Claimants’ case being that “the only money ever paid by MicroLink in respect of the 11
[impugned VAR] transactions was money that Autonomy had channelled to MicroLink for that
purpose.” These alleged ‘reciprocal’ VAR transactions included the purchase by Autonomy of
MicroLink’s ‘Search Analysis Tool’ (“SAT”) and AIS software for the sum of $9.3 million, for which
the Claimants alleged Autonomy had no need.
242
    The Defendants have referred me to evidence that, prior to being acquired by Autonomy (on 4
January 2010), (a) MicroLink was a large reseller of Autonomy products and indeed was its “Global
Partner of the Year” in 2007; (b) MicroLink’s Q3 2009 purchase (VT1) was an addendum to an earlier
software licence agreement it had entered into with Autonomy in March 2007; and (c) MicroLink’s
extensive work with both Autonomy and Microsoft products and customers made it well placed to
develop its own software tools to enhance Microsoft’s Sharepoint customers’ use of Autonomy
products using its AIS (Autonomy Integration Suite for SharePoint) product. That seems to me,
however, to make more remarkable the fact that in the impugned VAR transactions MicroLink played a
‘placeholder’ role.


                                             Page 648
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 650 of 900
Approved Judgment                                                                  HC-2015-001324
Mr Justice Hildyard


                       Q. When you looked at the financial records at MicroLink, was there
                      anything that caused you concern?
                      A. Yeah. They did not have on their books an equal and opposite amount
                      of accounts payable due to Autonomy that Autonomy had in their books
                      as owed to them, if that makes sense.
                      Q. All right. Can you describe that for us? I mean, what were you seeing
                      and what were your concerns?
                      A. I think —— I can t recall the figures, but Autonomy was owed over
                      $10 million by MicroLink at that point and MicroLink had a much, much
                      smaller balance on their books as owing to Autonomy.
                      Q. Was that because they were listing smaller figures for the deals?
                      A. No. The deals —— the deals were just not on the books.
                      Q. So debts ——

                      A. A number of the deals — sorry. A number of the big deals that we d
                      signed in recent quarters were just not in the books at all.
                      Q. So debts to Autonomy by MicroLink were not reflected in MicroLink
                      s books?

                      A. That s correct.
                      Q. So why did this cause you concern?
                      A. It indicated to me that despite signing audit confirmation letters and
                      different things about not having any side agreements in place, it
                      suggested that from MicroLink s perspective, they were never going to
                      have to pay that money if they didn t get paid or if they didn t close the
                      deal with the end-user.”


Overview of Mr Baiocco s evidence as to Capax Discovery s role in impugned VAR
deals

2005. Mr Egan’s opposite number in the 10 impugned VAR transactions between
      Autonomy and Capax Discovery (see paragraph 1963(2) above) was Mr
      Baiocco. Mr Baiocco was managing partner of both Capax Global and Capax
      Discovery and the central figure in the impugned VAR transactions in which
      the latter was a party.

2006. I have made an assessment above (see paragraphs 426(7) and footnote 55 above)
      of Mr Baiocco’s reliability. He was another practised witness, having met with
      HP’s lawyers three or four times in 2013 and with US prosecutors six or so times
      before the Grand Jury proceedings prior to the US criminal trial. He also gave
      evidence to the Grand Jury and in the US criminal trial. He has had throughout
      the benefit of his own lawyer, paid for by HP. Parts of his evidence relating to
      the impugned VAR transactions struck me as the product of careful forensic



                                                Page 649
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 651 of 900
Approved Judgment                                                                HC-2015-001324
Mr Justice Hildyard


         lawyering: when cross-examined, some parts of his witness statement appeared
         unfamiliar to him; and his voice in cross-examination was a contrast with the
         words on the pages of his witness statement.

2007. Like Mr Egan’s evidence, the format of Mr Baiocco’s witness statement was to
      set out matters of general application and then deal more particularly with the
      various transactions individually. I address general matters at this stage.

2008. The Claimants portrayed Mr Baiocco’s evidence as being to similar effect as,
      and thus complementary to, Mr Egan’s, but looked at from the other side of the
      bargain between Autonomy and the VAR.

2009. Again, like Mr Egan, Mr Baiocco paid lip service to the legal content of the
      VAR agreements made with Autonomy on behalf of Capax Discovery, and
      accepted that the VAR agreements were legally enforceable. But he sought to
      portray the risk of actual enforcement as attenuated, if not extinguished, by
      assurances he stated he had received from Mr Egan, and the ‘pattern ’which Mr
      Baiocco expected or came to expect the transactions to follow. Mr Baiocco
      sought to capture this outlook in stating that the real risk, as he thought of it,
      was that Autonomy might not follow through on my handshake agreement with
      Mr Egan.”

2010. There was a marked contrast between the honed fluency and consistency of Mr
      Baiocco’s witness statement and the contradictory and sometimes evasive
      evidence he gave when cross-examined.

2011. The gist and (to my mind) manufactured message and contrived tone of Mr
      Baiocco’s witness statement is apparent from the following passages in it, which
      the Claimants, somewhat unrealistically, submitted were unchallenged:

                       29. In around May or June 2009, Mr Egan asked me whether Capax
                      would become a reseller for Autonomy. A value-added reseller, as that
                      term is usually used, is a company that purchases a product from a
                      manufacturer or supplier to which it adds features or services and then
                      resells the package (usually to an end-user)as an integrated or
                      completed solution. However, that was not the nature of the
                      relationship we had with Autonomy. Instead, Mr Egan told me that
                      Autonomy often faced the situation where it was very close to
                      completing a sale to an end-user, which it was not able to conclude by
                      the end of the quarter. Rather than Autonomy lowering the price to get
                      the end-user to sign a contract for quarter end, Autonomy wished
                      instead (a) to enter into an agreement with us at quarter end
                      supposedly for on sale by us of the software in question to the end-
                      user, and then (b) to continue to negotiate with the end-user and to
                      close the deal with the end-user in the following quarter. Capax
                      Discovery would receive a 10% fee.

                      30. There were a number of significant features to these transactions:




                                               Page 650
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 652 of 900
Approved Judgment                                                              HC-2015-001324
Mr Justice Hildyard


                  (a) First, I was usually approached by Autonomy (almost always Mr
                  Egan) to enter into these VAR transactions right at the end of a quarter.
                  As I understood it, Autonomy s primary objective was to close its deal
                  with the end-user before the end of the quarter, thereby avoiding the
                  10% profit commission that it would pay us if we were involved. Thus,
                  it appears that our participation was only requested where Autonomy
                  failed to conclude a deal with the end-user. As a result, we were often
                  approached by Autonomy at the very end of the quarter and the
                  paperwork had to be rushed through before quarter end. All of the
                  transactions that I describe in this statement, without exception, were
                  entered into on the very last day of a quarter. I would only agree to
                  enter into the transaction if I was assured that Autonomy was very
                  close to concluding the deal with the end-user, as reflected in my email
                  dated June 24, 2009 to Mr Sass, which made it plain that we would
                  only consider taking transactions which Autonomy was fairly
                  confident” would close.

                  (b) Second, although on paper Capax Discovery licensed the
                  software from Autonomy, we did not pay for it upfront. The agreement
                  with Mr Egan - again by way of a handshake”- was that Capax
                  Discovery would not be required to pay Autonomy until Autonomy
                  closed the deal with the end-user and the end-user (i) paid Capax
                  Discovery or (ii) Autonomy (in which case our debt under the VAR
                  agreement would be forgiven), or (iii) Autonomy had otherwise put
                  Capax Discovery in funds to make the payment. In actuality, in most
                  cases, Autonomy either caused the end-user to pay Capax Discovery
                  and we in turn then paid Autonomy, or if Autonomy failed to conclude a
                  deal with the end-user or the end-user made its payment to Autonomy
                  directly, Autonomy forgave Capax Discovery s payment obligations. As
                  with the EDD arrangement, there was always a risk that Autonomy
                  might not follow through on my handshake agreement with Mr Egan.
                  Again, our use of Capax Discovery as the vehicle for these VAR
                  transactions was designed to protect the rest of the Capax group from
                  this risk.

                  (c) Third, there was never any price negotiation between Capax
                  Discovery and Autonomy: instead, in each case, Autonomy prepared a
                  purchase order for submission by Capax Discovery in a specified
                  amount, for specific software that was, on paper, to be resold by Capax
                  Discovery to an identified end-user. We then executed the purchase
                  order as requested and returned it to Autonomy.

                  (d) Fourth, while Autonomy provided us with a key which could be
                  used to access the licensed software from an Autonomy website, as far
                  as I am aware we never actually retrieved the software because we had
                  no need for it. We never were asked to deliver the software to the end-
                  user. (e) Fifth, the end-users were presented to us by Autonomy and we
                  played no part in selecting or identifying them. The negotiation of the
                  sale to the end-user (before we submitted our purchase order and after



                                            Page 651
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 653 of 900
Approved Judgment                                                               HC-2015-001324
Mr Justice Hildyard


                  we submitted our purchase order) was handled exclusively by
                  Autonomy, without any assistance or participation by us. In fact,
                  Autonomy did not allow Capax Discovery to get involved in the
                  discussions with the enduser. When an agreement was ultimately
                  reached between Autonomy and the end-user, Capax Discovery played
                  no part in bringing it about, or in negotiating or approving its terms. In
                  most (but not all) cases, payment was made directly by the end-user to
                  Autonomy rather than to Capax Discovery. Capax Discovery did not
                  actually resell” the product to the end-user.”

2012. Like Mr Egan’s, his witness statement presented an overall picture of the VAR
      agreements to which Capax Discovery was a party as being a paper record to
      show Autonomy’s auditors “which did not reflect our actual relationship with
      Autonomy”, which was in reality defined by a “handshake” and characterised
      as a matter of substance by the “significant features” identified.

2013. It was unclear from Mr Baiocco’s witness statement how many of these
      “significant features” it was being suggested Mr Baiocco and Mr Egan had
      agreed by such a “handshake” in advance. The impression sought to be created,
      I think, was that the features identified did reflect what had been agreed between
      them; or at least, that the substance of what the parties had in mind was reflected
      in the pattern of the transactions concerned. However, the carefully assembled
      “significant features” seemed to me to be far too precisely engineered and
      detailed to be comprehended in an informal exchange; and I am in little doubt
      that they reflected lawyers’ analysis, honed over many years, after the event and
      after many interviews and two substantial trials, and not Mr Baiocco’s
      recollection of anything agreed at the time. Indeed, in cross-examination Mr
      Baiocco accepted that the scope of any handshake agreement or assurances was
      far more limited, as I elaborate later.

2014. Another carefully constructed passage in Mr Baiocco’s witness statement
      addressed the fact that Mr Baiocco signed a series of audit confirmation letters
      which (he confirmed) he knew were sent to Deloitte. Both in his witness
      statement and under cross-examination, Mr Baiocco sought to portray these, at
      least in his understanding, as simply confirming Capax Discovery s existing
      payment obligations to Autonomy.” He said that he had been told by Mr Egan
      that Capax Discovery had to sign them to let the auditors know that we owed
      them, that the bill – the receivables on there were proper” (as he elaborated
      when cross-examined). This was an obvious effort to confine the effect of the
      signed confirmation letters to an acknowledgement of legal indebtedness under
      the VAR agreements, which Mr Baiocco always accepted. However, the audit
      confirmation letters were not so confined. In addition, as previously noted, each
      such letter formally represented that there were no side letters or other
      agreements in respect of the subject matter of this request” and later versions
      included a further representation that Autonomy retains no continuing
      managerial involvement in the delivery of this product or service, other than
      stipulated in the licence agreement.” As I also elaborate later, even Mr Baiocco,




                                            Page 652
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 654 of 900
Approved Judgment                                                                  HC-2015-001324
Mr Justice Hildyard


         who was not a man to appear abashed, looked uncomfortable in resorting to
         saying that he had not spotted or understood this at the time.

2015. Mr Baiocco did not mention in his witness statement the entire agreement”
      provisions which were contained in every version of the Capax Discovery VAR
      agreements. When cross examined, he initially accepted both that such a
      provision was included in the VAR agreements and, more generally, that such
      a provision was standard in software agreements. Indeed, he was taken to Capax
      Discovery’s own standard terms in its own contracts which contained a similar
      provision, which did not surprise him. However, when later in his
      crossexamination, Mr Baiocco was asked whether he accepted that the reason
      for such terms was that there was always a risk that a salesman might try to say
      something to get a deal”, he said that he could not really answer that because
      he did not understand this language enough to speak anything to it”.

2016. His evidence under cross-examination when shown the numerous audit
      confirmation letters he had signed and pressed on their apparent inconsistency
      with the side agreements he asserted is exemplified by the following passage:

                       Q. What you were doing was confirming that these amounts were
                      due and owing, that there were no side agreements and that Autonomy
                      retains no continued managerial involvement in the delivery of the
                      product?

                      A. What I was confirming when I signed those was that I owed the
                      money, because they told me that these were about owing the money,
                      so I signed that knowing I owed the money. I never looked or saw the
                      side letter agreement and as far as the continuing managerial
                      involvement, that was not on the first couple of them, I believe that was
                      something that was added down the road. So I did not knowingly sign
                      those knowing that there was a –

                      Q.     How do you know those words were added down the road?

                      A.     Pardon?

                      Q.     How do you know those words were added down the road?

                      A.     Nine years of lawyers.

                      Q.     Right, sitting with too many lawyers?

                      A.     Yes.

                      Q.     So they pointed it out to you.

                           You were signing this, it s on the very page that you were signing
                      and it said that there were no side letters or other agreements in
                      respect of the subject matter, and that was true as you understood it,
                      wasn t it?


                                               Page 653
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 655 of 900
Approved Judgment                                                                    HC-2015-001324
Mr Justice Hildyard


                      A. It was true to me that we owed the money. I did not recognise that
                      sentence when I signed these.

                      Q.   Right. Did you think there were side letters or other agreements?

                  A.          I mean, it depends how you define side agreement”, but –

                      Q. All right, how do you – I m just asking you your understanding –

                  A.         I personally do not

                  Q.         You do not and you did not at the time?

                      A. I did not at the time but it s irrelevant because I did not see that at
                      the time.

                      Q.   Well, that s your evidence. It s on the same page, I suggest you
                      did see it, but that s what you say. A.      You don t know that.

                      Q. But I m asking you now about what you believed at the time. You
                      didn t think there were any side agreements or other agreements that
                      affected the debt, did you?

                      A. If you consider they were going to swap out the deals, a side
                      agreement, then there was a side agreement, I didn t sign that with that
                      in mind because I didn t see it.

                      Q. When you say, if you consider they were going to swap out the
                      deals, that s going back to what you said before, that Mr Egan said to
                      you, We ll do what we can to try and get you another deal”?

                  A.         Correct.

                  Q.         Nothing more than that? That s all he said?

                      A. If it fell through, we ll get another deal, yes, we ll swap out the deal,
                      correct?

                      Q.   But you never thought that what he was saying was legally
                      binding, did you? You never thought that what he was saying
                      about swapping out the deal was legally binding? A.          Correct.

                          I mean, I guess unless oral promises are legally binding. I m not a
                      lawyer.
                      Q. Well, let me ask you about that. Did you or did you not think that
                      whatever he said about swapping out the deal was legally binding?

                  A.         I can t really answer that with knowledge. I don t know if –



                                                Page 654
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 656 of 900
Approved Judgment                                                              HC-2015-001324
Mr Justice Hildyard


                  Q,      What did you believe?

                  A.      I believed probably not.”

2017. The contrast between this evidence under cross-examination and the bald
      assertion in his witness statement, crafted after nine years of lawyers”, that the
      confirmations were false” is stark. Mr Rabinowitz interceded in the course of
      cross-examination to suggest that the assertion as to the confirmations’ falsity
      related only to the part relating to management involvement in the delivery of
      the goods; but had quickly to withdraw the suggestion and accept that the
      reference was to both aspects of the confirmations provided.

2018. As to Capax Discovery’s obligation to pay, Mr Baiocco’s evidence as I
      understood him was that:

         (1)      The deals were usually made right at the end of a quarter; this was not
                  unusual in the sector but amongst its consequences was that there was
                  never any price negotiation between Capax Discovery and Autonomy:
                  the price was that which Autonomy had established for the sale to its
                  proposed end-user;

         (2)      Capax Discovery was, in terms of the law, ‘on the hook’ to make payment
                  in full; but neither party ever intended or expected payment by Capax
                  Discovery unless and until the end-user deal was closed, whereupon the
                  amounts paid would be applied in discharge of the VAR.

         (3)      If no end-user deal eventuated Autonomy would devise some way of
                  extracting Capax Discovery from the ‘hook’: at one and the same time as
                  emphasising Capax Discovery’s legal obligation, Mr Egan always
                  assured Mr Baiocco that Autonomy would do everything it could to
                  ensure that Capax Discovery was not left exposed.

         (4)      A particular way of negating this exposure was specifically discussed:
                  this was that Autonomy would do its best to swap out” any deal which
                  failed to result in an end-user transaction which would provide the funds
                  to satisfy the obligation. But Mr Baiocco’s evidence left me in no doubt
                  that the assurance was general and the intention clear.

2019. As to the other legal and economic effects of the VAR transactions as between
      Autonomy and Capax Discovery, and in particular, as to how it was intended
      the parties to the VAR sales should conduct themselves after the date of sale,
      Mr Baiocco’s evidence was:
               (1) He believed that delivery of the software licensed was always made
                   electronically on execution of the VAR sale: this was effective delivery;

               (2) However, he was never involved in that process, and (so far as he was
                   aware) no-one at Capax Discovery ever actually retrieved the software,
                   because we had no need for it. We never were asked to deliver the



                                            Page 655
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 657 of 900
Approved Judgment                                                                   HC-2015-001324
Mr Justice Hildyard


                      software to the end-user.”

              (3) Although the contract did not reserve to Autonomy any contractual right
                  to do so, in practice the parties intended that Autonomy should be in
                  actual and exclusive control of the onward sales process. The following
                  passage from Mr Baiocco’s cross-examination demonstrates this:

                              Q. Then the next point is about the identification of the endusers.
                             Now, you say that Autonomy didn t allow Capax to get involved
                             in discussions with the end-user. Who do you say said that? Mr
                             Egan? A. Yes.
                             Q. Now, can we just consider that for a minute. He didn t
                             actually say you couldn t, did he? He wasn t telling you, you
                             couldn t?
                             A. I think on occasions I asked -- because we may have had some
                             people we knew at the end-user clients, maybe not in this specific
                             area, and they were like, basically, No, stay out of it”. Q. Okay,
                             so that s Mr Egan saying that?
                             A. Yes.”
              (4) If the end-user sale proceeded, Autonomy would pay Capax Discovery
                  a 10% fee (a MAF). Mr Egan regarded this as a fee for taking on risk,
                  analogous to a guarantee fee. The letters relating to the MAFs stated that
                  the products would be sold to Capax Discovery at a 10% discount and
                  that Capax Discovery would get its ‘fee’ from the full price on onward
                  sale. But in fact Capax Discovery never did actually “resell” to the
                  enduser. Autonomy simply paid Capax Discovery the 10%. Mr Baiocco
                  was not interested in and never read the letters relating to the MAFs: he
                  was only interested in getting the fee.

              (5) Capax Discovery never had dealings with the end-user prior to the sale.
                  Part of the commercial rationale from its point of view was that it would
                  have the opportunity to offer the end-user professional services
                  thereafter: but this happened in only two sales (the TXU and FSA deals).

The Goldberg Segalla letter

2020. In addressing Mr Baiocco’s evidence, and in seeking to contradict the Claimants’
      contention that it demonstrated that in economic substance, Capax Discovery
      took on neither any real risk nor any managerial responsibility as regards the
      software it had contractually acquired, Mr Miles drew repeatedly from a letter
      dated 1st November 2013 (“the Goldberg Segalla letter”). This letter was written
      on behalf of Capax Discovery’s holding company, Capax Global LLC by its
      lawyers, Goldberg Segalla LLP to the US Department of the Air Force
      (“USDAF”).

2021. The Goldberg Segalla letter was signed by Mr Baiocco’s present lawyer, Mr
      Christopher Belter (“Mr Belter”), who was paid by HP and accompanied him at


                                                Page 656
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 658 of 900
Approved Judgment                                                             HC-2015-001324
Mr Justice Hildyard


         the hearing. The letter was stated to be in response to the show cause letter
         dated September 6, 2013 inviting Capax Global LLC ( Capax”) to respond to
         allegations concerning accounting improprieties involving Autonomy” in
         respect (in particular) of a government end-user business opportunity…brought
         to Capax in late December 2010”.

2022. The avowed purpose of the Goldberg Segalla letter was stated to be to show that
      at all relevant times Capax and its subsidiaries have been responsible
      contractors and should not be proposed for debarment from Government
      contracting.” To that end, the letter described first the nature of Capax s
      business and the relationship between it and Autonomy, including the current
      relationship with [HP]” and then set out reasons why Capax Discovery should
      be regarded as a responsible contractor with particular emphasis on its ethics,
      integrity, compliance with laws, and ability to perform adequately.”

2023. Mr Baiocco told me that he had read and approved the Goldberg Segalla letter
      at the time, and had also had an opportunity to look at the letter recently. He
      confirmed his belief that the statements made in the letter were true: he told me
      he believed it to be an honest letter”, and he acknowledged that he was well
      aware at the time that there were serious potential consequences (including
      criminal consequences) of not giving an accurate and comprehensive account in
      reply to the USDAF. Of course, it was not realistic to expect him to say or
      suggest otherwise.

2024. Dr Lynch attached very considerable importance to the Goldberg Segalla letter.
      Key points in it relied on and emphasised by the Defendants as
      contemporaneous support for its description of the nature and effect of the VAR
      sales were as follows:

         (1)      Capax Global and Capax Discovery were treated as one company
                  (“Capax”), and Capax was presented as a sizeable entity which had been
                  in operation since 1999 and as an

                          information technology company that provided technology
                         services, and solutions concerning cloud hosting, software
                         application and development, systems integration and technical
                         support.”

         (2)      The letter explained Capax Discovery’s position in the market, the
                  breadth and depth of its customer base (including 250 Fortune 500
                  companies) and its role as a professional services provider and reseller
                  for Autonomy’s products and especially its core software product, IDOL,
                  from May 2009. That presentation (which reflected the position of
                  Capax Global but not its subsidiary Capax Discovery, which was not
                  established until early 2009) went on to state (again in a passage which
                  did not apply to Capax Discovery) that:

                          A mainstay of Capax s solution offering is the deployment and
                         configuration of Enterprise Search and the incorporation of



                                           Page 657
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 659 of 900
Approved Judgment                                                              HC-2015-001324
Mr Justice Hildyard


                         Enterprise Search into a customer s applications to achieve
                         business value.”

         (3)      The letter addressed two impugned VAR sales, one (referred to in the
                  letter as The Government End-User Transaction”) in Q4 2010 (VT20)
                  for which the VAR was Capax Discovery and the end-user was Defence
                  Knowledge Online (“DKO”, part of the US military) and the other
                  (referred to in the letter as The Entity B Transaction”) in Q1 and Q2 2011
                  was a two-stage impugned VAR sale (VT28 and VT34) for which the
                  VAR was Capax Discovery and the end-user was UBS.

         (4)      The letter gave an explanation of the way the reseller and supplier
                  relationship worked in the market, explaining inter alia how reseller risk
                  included revenue loss caused by the inability to collect payables.

         (5)      The letter also explained the role of a VAR in general and Capax
                  Discovery’s specific role as a VAR for Autonomy:
                          In the computer industry, a VAR may add value to a product by
                         customizing or implementing software and/or being a guarantor.
                         As a VAR for Autonomy, Capax was a guarantor as well as a
                         provider of services and support that allowed Autonomy s
                         software to function effectively in its clients environments.”
                         [Emphasis supplied]


         (6)      It stated that Capax Discovery viewed being a reseller for Autonomy as
                  a way to potentially create direct and valuable relationships with new
                  clients in order to sell them additional products and services”.

         (7)      It emphasised that Capax Discovery took substantial risk in every
                  reseller transaction with Autonomy. It stated unequivocally that:
                          At no time did Capax ever think that it was not at substantial
                         risk. Indeed, in all VAR transactions with Autonomy, if the deal
                         with the end-user did not materialise, Capax would ultimately
                         still be responsible to Autonomy for the payment of the software
                         licences.
                         Although Autonomy would possibly assist Capax in finding a
                         new client in a joint selling arrangement or Capax would itself
                         be able to sell the licences to another client, there was no
                         guarantee that Capax would ultimately find a different end-user.
                         Ultimately, weighing the risks and reward potential, Capax
                         decided to proceed with these VAR deals. Capax had additional
                         confidence with respect to the risks involved in these deals
                         because Capax was, and remains, a major service and support
                         provider to Autonomy s clients. Over the years, Capax has
                         provided, and continues to supply, substantial and effective
                         services and/or support for over 1,000 Autonomy clients.”


                                            Page 658
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 660 of 900
Approved Judgment                                                                  HC-2015-001324
Mr Justice Hildyard




         (8)      It stated that Mr Baiocco and Capax Discovery considered that they had
                  no reason to believe that any Autonomy revenue was being improperly
                  recognised.
         (9)      It confirmed that Capax Discovery had reviewed the audit confirmation
                  letters which confirmed that Capax Discovery was on risk and that there
                  were no side-agreements and believed them to be accurate; and in
                  crossexamination, Mr Baiocco told me that when he signed the audit
                  confirmation letters he “absolutely believed what I was saying was true”.
         (10)     Capax Discovery also confirmed that it was on risk in relation to the
                  specific reseller deals addressed in the letter.

2025. The Defendants placed considerable reliance on the Goldberg Segalla letter: for
      Dr Lynch it was submitted that:

                        the Claimants case on the Capax transactions is unsustainable in the
                      light of this letter and Mr Baiocco s confirmation of its accuracy”.

2026. In essence, the Defendants’ case was that the Goldberg Segalla letter represented
      a reliable and more contemporaneous record of Capax Discovery’s role and
      acceptance of risk in the impugned VAR transactions which was consistent with
      Mr Baiocco’s statement that he never believed at the time that there was any
      side-agreement; and that the description given in the letter of the VAR
      arrangements should be preferred to the evidence in his witness statement in
      these proceedings. The letter was presented as reflecting the true relationship
      between the parties; his witness statement, and in particular his evidence about
      “side agreements”, as reflecting Mr Baiocco’s business imperative to remain on
      good terms with HP243, his many meetings with HP’s lawyers and prosecution
      lawyers in the US, and lawyers’ input: it was the result of what had been
      suggested to him repeatedly over the years.”

2027. However, the Goldberg Segalla letter must be set in context, and read with an
      appreciation of its objectives. It is true that the letter made no mention of any
      side-agreement, and focused only on legal commitments and their presented
      rationale. But the Goldberg Segalla letter was quite obviously heavily lawyered
      and carefully crafted to seek to maintain Capax Discovery’s valuable status as a
      Government Reseller, and I do not think it realistic to treat the letter as an
      authentic and complete depiction of the relationship between Capax Discovery
      and Autonomy. Indeed, the Goldberg Segalla letter has unsettling features, and
      in particular:

         (1)      The misleading elision of the two Capax Discovery companies to give
                  the impression of far greater financial solidity and a much wider


243
   By 2013 Capax Discovery was making some $15 million per year in revenue from contracts with
HP and it wanted to be (and at about that time in fact became) a preferred HP partner.


                                               Page 659
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 661 of 900
Approved Judgment                                                             HC-2015-001324
Mr Justice Hildyard




                  customer base than could be said of the VAR in each case, which was
                  Capax Discovery, not Capax Global;
         (2)      The rolled-up presentation of the usual activities or contribution of a
                  VAR in general, and “Capax Discovery’s” contribution in particular,
                  which gave an impression that “Capax Discovery” did far more to “add
                  value” than was the truth;
         (3)      The exaggeration of the risk borne by Capax Discovery, given that there
                  was no real doubt that Mr Egan had given assurances of assistance with
                  a view to doing all that was possible to ensure that Capax Discovery
                  would not be left exposed, the real issue and dispute being not whether
                  any assurances had been given, but whether they amounted to a
                  proscribed “side-agreement”;
         (4)      Clear examples of half-truths in the depiction of the nature of the risk
                  and Capax Discovery’s role in its VAR deals. The risk depicted was the
                  legal risk: but not the reality; and as to Capax Discovery’s role, the
                  suggestion, for example, that Capax Discovery viewed being a VAR as a
                  way to potentially create direct and valuable relationships with new
                  clients in order to sell them additional products and services” may not
                  have been untrue at one level: but in the context of Capax Discovery’s
                  impugned VAR transactions with Autonomy it is, at another level, either
                  inapposite or misleading, given that in none did Capax Discovery deal
                  directly with the end-user (Autonomy having itself (alone) negotiated
                  directly).
2028. In short, whilst I would accept that Mr Baiocco’s evidence was influenced by
      the input and (I suspect) insistence of HP’s lawyers and the prosecuting
      authorities that he should (as it were) label the assurances he was given as, and
      confess to, a ‘side-agreement’, that was really a matter of legal labelling: the
      Goldberg Segalla letter does not disprove or even tell against Mr Baiocco’s
      consistent and, to my mind, entirely credible position that Mr Egan gave the
      assurances that both he and Mr Egan described. The truth is that in both the
      letter and Mr Baiocco’s witness statements, his own voice is for the most part
      barely audible: his lawyers’ voice is what prevailed in both contexts and too
      often it followed what they perceived to be, or was made clear to them to be, the
      required legal line.

2029. In summary, I agree with the Claimants that the picture revealed by Mr Baiocco
      on the other side of the impugned VAR sales is in substance the same as that
      painted by Mr Egan; and (in my own words) that:

         (1)      Mr Egan emphasised to him, and Mr Baiocco understood, that Capax
                  Discovery was legally obliged to pay Autonomy in accordance with the
                  terms of the VAR sales contract. There was no doubt as to the VAR’s
                  legal indebtedness as a matter of law.




                                           Page 660
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 662 of 900
Approved Judgment                                                             HC-2015-001324
Mr Justice Hildyard


         (2)      Mr Baiocco understood the letters of confirmation simply to confirm that
                  legal indebtedness, principally for the benefit of Autonomy’s auditors.
                  He did not understand those letters to have anything to do with his
                  handshake deals with Mr Egan, which he did not understand to be legally
                  enforceable, but which he did consider to be reliable as a matter of
                  reality, both parties’ interests being aligned.

         (3)      The residual risk was that contrary to the intentions and expectations of
                  both parties, and notwithstanding the best efforts of Autonomy to hold
                  Capax Discovery harmless or release it from liability, something would
                  happen which caused Autonomy to resort to its legal right to enforce
                  payment: absent some change or control in Autonomy, or some
                  cataclysmic collapse in its fortunes of the marketability of IDOL, this
                  was most unlikely; and Mr Baiocco considered that this risk (which in
                  point of fact never eventuated) was covered by the upside to Capax
                  Discovery of enabling it to sell services to the end-user (as Mr Baiocco
                  told me in cross-examination did happen) and in payment to it of a MAF,
                  which Mr Baiocco accepted was payment for the nominal or residual risk
                  assumed (which Mr Baiocco described as acting as a ‘guarantor’).

         (4)      Neither party to the VAR transactions between Autonomy and Capax
                  Discovery ever expected Capax Discovery to play any material role in
                  negotiating the end-user sale of which the VAR sale was in
                  contemplation: Autonomy carried on such negotiations after the ‘sale’ in
                  every case as if nothing had happened: even offers of assistance
                  volunteered on the part of Capax Discovery were roundly rebuffed by
                  Autonomy.

         (5)      The much-emphasised benefit to Capax Discovery, used to justify the
                  nominal risk, of an introduction to end-users was greatly exaggerated.
                  Any contact with end-users was after the conclusion of the end-user
                  contract, and was not in consequence of any involvement in or risk taken
                  as a VAR, but in consequence of an end-user’s need for service support
                  which Autonomy usually outsourced anyway and for which Capax
                  (usually Capax Global) was a preferred provider.

Evidence in relation to FileTek s single impugned VAR transaction

2030. FileTek’s single VAR transaction with Autonomy in September 2010 (VT18,
      for end-user USDVA) was in a sense an outlier. FileTek was not in business as
      a VAR and had no real wish to be so. Its President and Chief Marketing Officer
      from 2009 to 2013, Mr Szukalski, did not wish to do the deal and was not
      involved in any direct negotiations with Mr Egan.

2031. However, he reported to Mr Loomis, FileTek’s CEO and CFO during the
      Relevant Period. Mr Loomis confirmed that he had never done a VAR deal with
      Autonomy before: it was “something new” for FileTek; it was Mr Loomis who
      directly dealt on behalf of FileTek with Mr Egan in respect of VT18, and who



                                            Page 661
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 663 of 900
Approved Judgment                                                                      HC-2015-001324
Mr Justice Hildyard


          also reported directly on the deal to FileTek’s ultimate owner (Mr Bill
          Thompson).

2032. The “direct” evidence relating to FileTek’s perception of its role comprised the
      oral testimony of Mr Szukalski (in person) and of Mr Loomis (given in the US
      criminal trial and admitted under a hearsay notice into these proceedings). Mr
      Szukalski previously worked for Verity Inc (“Verity”), another software
      company which was acquired by Autonomy in 2005. 244             268F




2033. Their evidence was also directed to two transactions with FileTek which the
      Claimants alleged were, and sought to impugn as, “reciprocal” transactions in
      Q4 2009 and again in Q1 2010 (under which Autonomy purchased StorHouse
      software from FileTek), and to a further succession of three purchases of
      StorHouse licences by Autonomy from FileTek in March, June and August
      2011. I deal with the two “reciprocals” in detail in the section of this judgment
      in which I address the Claimants’ claims relating to Reciprocals” and other
      purchases by Autonomy from its own customers. As the 2011 transactions were
      alleged to have been contrived to put FileTek in funds to pay down its debt under
      FileTek’s single VAR deal with Autonomy, I address them when dealing with
      this VAR transaction (VT18) (end-user USDVA).

2034. There was no mention in the evidence of Mr Loomis in the US criminal
      proceedings that there was any side agreement or understanding qualifying the
      terms of the VAR transaction. Indeed, as was pointed out in Dr Lynch’s written
      closing submissions, the prosecution did not suggest there was any prior
      agreement, but instead focused on an allegation that, while FileTek’s debt was
      real and substantive, the later StorHouse purchases in 2011 were made primarily
      to assist FileTek meet its obligations, rather than because Autonomy had any
      need for further StorHouse licences.

2035. I address the effect of the evidence given by Mr Szukalski and Mr Loomis in
      respect of VT18 at greater length when addressing that transaction later in this
      judgment. For present purposes a broad summary should suffice. In my view,
      the evidence of Mr Loomis and Mr Szukalski is again largely consistent with
      Mr Egan’s account to the effect (in brief summary) that the legal risk was clear,
      but FileTek, like Capax Discovery, well knew that there was no real economic
      risk of the legal obligation being enforced, since some means would be found
      by Autonomy to avoid that. However, neither Mr Loomis’ nor Mr Szukalski’s
      evidence provides any support for the suggestion made by Mr Egan that pending
      the end-user sale the VAR might be made to pay: Mr Loomis made quite clear
      that this was never on the cards, and in the event, he felt no difficulty in
      withholding any payment accordingly.


Overview of Mr Steve Truitt s evidence on the impugned MicroTech VAR transactions


  Mr Szukalski now works for Darktrace, and reports to Ms Nicole Eagan, who had previously (and
244

whilst Mr Szukalski was there) headed Autonomy’s marketing department: he started there at the end of
August or early September 2014.


                                               Page 662
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 664 of 900
Approved Judgment                                                                   HC-2015-001324
Mr Justice Hildyard




2036. MicroTech was a fast-growing, and by 2011, already substantial reseller. By
      then, it had some 350 employees, having had no more than 12 or 13 in 2006. It
      acted as a VAR for a number of large US companies. As well as being a reseller
      for Autonomy, MicroTech was a Cisco Gold Partner, an HP Elite Partner, a
                 Symantec Managed Services Partner and an Oracle Silver Partner, all

         corporations of very substantial size. Its COO was Mr Steve Truitt. Its CEO
         was a Mr Jimenez, who had decision-making power, and whose approval Mr
         Steve Truitt needed for each deal.

2037. The Claimants sought to impugn nine VAR transactions between Autonomy
      and MicroTech on the basis that in consequence of side agreements or
      understandings risk did not pass to the VAR, and nor did managerial control of
      the goods (save for VT5, which turns on its own peculiar facts). The Claimants
      submitted that the transactions were designed simply to enable Autonomy to
      recognise revenue at the point of the VAR agreement, but in substance none
      constituted any real economic sale.

2038. The relevant impugned VAR transactions with MicroTech, which took place
      between Q4 2009 and Q2 2011, are VT5 (end-user DiscoverTech), VT6
      (enduser Honeywell), VT7 (end-user ManuLife), VT8 (end-user Morgan
      Stanley), VT13 (end-user Vatican Library), VT25 (end-user US Department of
      the Interior) (“DoI”), VT32 (end-user Bank of Montreal), VT33 (end-user
      Xerox), and VT37 (end-user HP).

2039. Although Mr Steve Truitt’s evidence was that the deals with Autonomy were
      originally introduced by his brother, Mr David Truitt, and a Mr John Cronin (a
      Consultant to MicroTech, who appears to have been paid a commission by
      MicroTech for each such deal) the VAR deals with Autonomy were
      operationally controlled by Mr Steve Truitt. On the Claimants’ case, therefore,
      any discussion giving rise to a side agreement or understanding would have had
      to be between Mr Steve Truitt and Mr Egan.

2040. In respect of their claims that the nine impugned VAR transactions between
      Autonomy and MicroTech had involved no real economic sale the Claimants
      relied principally on Mr Steve Truitt’s evidence given in a deposition dated 7
      September 2018, which was made in the course of proceedings in the US
      between MicroTech and Autonomy and admitted into these proceedings under
      a hearsay notice.

2041. The Claimants placed particular reliance on the following passage:

                       Q. Did you – was it your understanding that on these deals that
                      Autonomy had the relationship with the customer and Autonomy could
                      continue the sales effort with respect to the ultimate – the true customer?
                      A. Yes.
                      Q. Okay.


                                                Page 663
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 665 of 900
Approved Judgment                                                                   HC-2015-001324
Mr Justice Hildyard


                      A. As it says here, these – these are deals that were ostensibly very close
                      to closing. It certainly wouldn t make sense to – to hand over, you know,
                      to bring in the second team offense when you re on the 5- yard line. Q.
                      Okay.

                      A. They re supposed to score the touchdown and we get the extra point.
                      Q. Okay. So – so the – and was there – withdrawn. Who – who controlled
                      the negotiation of the price with the end customer? A. I don t know.
                      Q. Not MicroTech, though?
                      A. Not MicroTech.
                      Q. Okay. Somebody at Autonomy?
                      A. Somebody at Autonomy.
                      Q. Okay. And so was the concept at the beginning that you would take
                      the deal, Autonomy would continue to sell to the end-user and – and,
                      hopefully, there would be a sale to the end-user?
                      A. Well, I would – I would say that s correct, except that at this point in
                      time, it was more than hopefully. I was – what I was looking at was the
                      – was an attempt to duplicate the experience that my brother [David
                      Truitt], who s my brother, said that he had had. Q. Okay.
                      A. So it was more than hopefully.

                      Q. Okay. And – and it s correct, is it not, that you understood that
                      Autonomy would be not only attempting to sell to the customer, but
                      negotiating the price with the customer?
                      A. Yes.”

2042. Mr Steve Truitt gave similar evidence when asked about specific purchase
      orders. For example, as regards the purchase order that MicroTech submitted in
      Q4 2009 for end-user Morgan Stanley (VT8), Mr Steve Truitt testified in the
      same deposition as follows:

                       Q. Who did you understand would be dealing with Morgan Stanley
                      about the purchase of a license to use the software identified on page 3
                      of Exhibit 37?
                      A. A salesperson who worked for Autonomy.”

2043. Another example relied on by the Claimants was the Vatican Library purchase
      order (VT13). When asked about this, Mr Steve Truitt testified in his oral
      evidence in chief in the US criminal trial (also admitted into these proceedings
      under a hearsay notice):




                                                Page 664
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 666 of 900
Approved Judgment                                                                HC-2015-001324
Mr Justice Hildyard


                      Q. In terms of the Vatican, was MicroTech making any effort to sell to
                      the Vatican? A. No.
                      Q. Who was going to sell the software to the Vatican?
                      A. Autonomy.”
2044. However, in a passage in his cross-examination in the US criminal proceedings
      marked by the Claimants as evidence on which they intended to rely, Mr Steve
      Truitt explained the rationale, from MicroTech’s perspective, for entering into
      the reseller deals, and also confirmed that he understood that MicroTech were
      fully on risk:

                      Q.     And these -- these deals you saw as a way to get the company to
                      grow; right? A. Yes.

                      Q.     Meet new customers, you've talked about?

                      A.     Right.
                      Q. And you knew that your brother had been very successful in doing
                      similar kind of work when he'd been at MicroLink? A. That's right.

                      Q.     And you wanted to try to repeat that for MicroTech?

                      A.     Yes.
                      Q. You had, as I understand it, three objectives for MicroTech being a
                           reseller. The first one was -- and the primary reason was to get
                           service business from the people that would buy the Autonomy
                           software?

                      A.     Yes. That's correct.
                      Q. And then another reason was to meet people -- meet customers and
                      grow your business, hire more technical people? A. Yes. Particularly
                      commercial customers.
                      Q. And then a third reason was to get this -- you buy the software at a
                      discount so you would get a 10 percent premium; right? A. Right.
                      Q.   But you wouldn't have done these deals just for the 10 percent
                      premium. It was these other reasons that predominated, didn't it? A.
                      Yes. Those were the reasons that mattered to me.

                      Q.     And the deals that you did, you knew that MicroTech was at risk
                             when it agreed to buy Autonomy software, didn't you?
                      A.   The first set of deals in particular as I testified earlier, yes, I
                            considered us to be at risk.
                      Q. You considered -- and I think you used the words that MicroTech
                           was on the hook for the debt?


                                               Page 665
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 667 of 900
Approved Judgment                                                                   HC-2015-001324
Mr Justice Hildyard


                      A.     Yes.”

2045. In his deposition evidence in the MicroTech US litigation, Mr Steve Truitt was
       at pains to emphasise that, contrary to what was suggested to him, he regarded
       the indebtedness to Autonomy as 100 percent real”: we owed it not just on
       paper. We owed it for real”; and that when the end-user deal did not close in a
       timely fashion” he was a hundred percent freaked out”. He added, however,
      that there came a time (which he could not specify) when he felt less concerned

                       because Autonomy was going to work with us to make arrangements
                      to pay these debts with money that we didn t have to go make elsewhere.”

2046. His evidence suggested that this was in part something which he came to
      appreciate from experience: but he also stated (in his deposition evidence in the
      MicroTech litigation) that his approach was informed by his brother Mr David
      Truitt’s earlier experience at MicroLink in 2009 (see paragraph 2041 above);
      and Mr David Truitt was clear in his own deposition evidence in those
      proceedings that it was understood that MicroTech would not pay Autonomy
      for the VAR deals unless it had first received the money from someone with
      which to make such a payment.

2047. Pulling these strands together, it seems to me that, though with perhaps a little
      more equivocation, Mr Steve Truitt’s evidence also substantially endorsed Mr
      Egan’s presentation and that in summary:

         (1)      Even if he was more concerned initially, it was not long before he well
                  understood that the legal risk would be most unlikely to eventuate, that
                  Autonomy had no intention of relying on its legal rights and on the
                  contrary, that it fully intended to ensure that MicroTech was not left “on
                  the hook”.
         (2)      He did not regard this as a side-letter or side deal at the time because, as
                  he put it, there was never a literal side letter”. But he was clear that,
                  whether or not labelled a side deal (as he said in his deposition evidence
                  he was only later persuaded by HP’s lawyers and the US prosecution
                  counsel to call it), it was made plain to him by Autonomy that they would
                  see to it that they would, if necessary, arrange to do business… separate
                  from those deals so that we could somehow get the money to pay those
                  debts off”. As to the label he was later persuaded to put on it, he said (to
                  quote again from his deposition evidence):
                             “…look, I didn t think of it this way at the time. There was
                             never a written side deal, but if you want to call that a side
                             deal, call it a side deal. I will acknowledge that this situation
                             existed.”

         (3)      At no stage was MicroTech involved in any negotiations for or the
                  closing of end-user deals; and it should be noted that the customer
                  contact which Mr Steve Truitt anticipated and placed value on was not


                                                Page 666
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 668 of 900
Approved Judgment                                                                        HC-2015-001324
Mr Justice Hildyard


                  to eventuate until after the end-user sale, for the simple reason that only
                  Autonomy would be involved in the negotiations for it; and if none
                  eventuated, that benefit would evaporate. As he explained in his direct
                  evidence in the US criminal proceedings:

                            “…the way it was going to work was that when the [end-user]
                            deal closed, we would be introduced to the key people and the
                            customer and the technical contacts, and we would then go
                            actually install and configure the software and start building
                            relationships with the customer. And as they started learning
                            what the software could and couldn t do, we would – we would
                            extend and modify and reconfigure the software, sell them
                            additional packages to complement what they already bought. I
                            mean, we would put a relationship in place.”


         (4)      He accepted that in such circumstances, Autonomy retained managerial
                  involvement. When asked directly in the MicroTech litigation whether
                  the additional sentence in the audit confirmation letters confirming on
                  behalf of MicroTech that Autonomy retained no continuing managerial
                  involvement in the delivery of this product or service, other than
                  stipulated in the license agreement” was true, he accepted that it was not
                  true. He offered only that to my discredit, I didn t even notice that
                  language…”.
         (5)      A point of detail not mentioned above remained unexplained but
                  nevertheless supportive of the point that MicroTech did not regard the
                  notional debt as an economic reality: MicroTech’s accounts did not
                  reflect its exposure to Autonomy at anything like its face amount 245 .
                  Thus:
                      i.    As at 31 December 2009, MicroTech owed more than $18
                            million to Autonomy on VAR transactions: $10 million on the
                            DiscoverTech purchase order (VT5), almost $1.9 million on the
                            Honeywell purchase order (VT6), about $1.1 million on the
                            ManuLife purchase order (VT7) and over $4.8 million on the
                            Morgan Stanley purchase order (VT8).

                      ii.   However, MicroTech’s own audited financial statements
                            showed current liabilities of only $17.2 million as at 31
                            December 2009, of which $3.5 million related to a bank line of
                            credit. Plainly, therefore, MicroTech’s accounts cannot have
                            accounted for the full amount of the $18 million debt owed to
                            Autonomy.




245
    MicroLink provided a similar, in fact more stark, example of a VAR not recording its ‘indebtedness’
in its accounts as a liability; according to evidence in the US criminal trial, its larger deals with
Autonomy were “just not in the books at all”.


                                                Page 667
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 669 of 900
Approved Judgment                                                              HC-2015-001324
Mr Justice Hildyard


                      iii. MicroTech’s 2009 financial statements also contained no
                           indication that Autonomy software was being held on its balance
                           sheet as inventory, as at 31 December 2009.




                      iv. Steve Truitt offered no explanation of these discrepancies during
                          his deposition:
                                  Q. Is it correct that you do not see either the debt owed
                                 to Autonomy or the associated asset owned by MicroTech
                                 at year end on this balance sheet?
                                 MR RINGER: Objection.
                                 THE WITNESS: I think that s a reasonable statement,
                                 looking at these numbers.
                                 BY MR FRANK: Q. Okay.

                                 A. But it doesn t mean that some – some part of it isn t
                                 here. I don t know exactly what these numbers do
                                 represent.”

         (6)      The position a year later was no different. MicroTech’s audited financial
                  statements for 2010 do not appear to show, on the balance sheet as at 31
                  December 2010, the debt of over $10.7 million which MicroTech owed
                  Autonomy at that time. Again, Steve Truitt was asked about this in his
                  deposition:
                            Q. Do you see on the balance sheet anything that you believe
                           corresponds to that more than $10 million debt?
                           MR RINGER: Objection.

                           THE WITNESS: It s difficult to say exactly what these liabilities
                           are, but there aren t enough of them to correspond to this
                           amount.
                           BY MR FRANK: Q. Okay. Do you know why that debt does not
                           appear on MicroTech s audited financial statements?
                           MR RINGER: Objection.
                           THE WITNESS: No, I don t.”


2048. It is not difficult to see why he did not wish to hazard an explanation; but it
      seems to me to be a fair inference that there was no debt recognised because in
      commercial terms it was perceived that it would unbalance the accounts: the



                                            Page 668
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 670 of 900
Approved Judgment                                                            HC-2015-001324
Mr Justice Hildyard


         debt was to be covered by the understanding with Autonomy that any debt
         would be funded by another (contrived) deal if necessary (see above).

Mr David Truitt s evidence on the impugned DiscoverTech VAR transactions


2049. As mentioned in paragraph 1963(4) above, DiscoverTech was a newly
      incorporated entity in 2009. It was formed by Mr David Truitt, who was
      DiscoverTech’s CEO from its inception, and in effect was MicroLink’s
      successor as a favoured VAR after MicroLink was acquired by Autonomy (in
      circumstances and for purposes which the Claimants also seek to impugn, as I
      explain later).

2050. Mr David Truitt, who continued as CEO of MicroLink after its acquisition by
      Autonomy, accepted in the US criminal trial that DiscoverTech’s financial
      position as a start-up was not such that it could fund VAR purchases out of its
      own resources, at least without recapitalising the company”. Even though
      theoretically it could, of course, take into account receivables from any onward
      sale to an end-user it is of some note, therefore, that DiscoverTech took on so
      many high-value VAR transactions (BofA was a big deal” as Dr Lynch put it,
      even for Autonomy), especially since it cannot have been confident of receipts
      from an end-user sale in which it was not to be involved.

2051. Mr David Truitt also confirmed in his evidence in the US criminal proceedings
      that DiscoverTech never made any effort to resell the software it had acquired
      from Autonomy under licence. Like Messrs Egan, Baiocco and Szukalski, and
      like his brother Mr Steve Truitt, he accepted that in none of the impugned VAR
      sales was the VAR involved in any way after the VAR transaction, and that in
      reality Autonomy controlled what to sell, to whom to sell and at what price.

2052. A corollary was that in none of the impugned VAR transactions to which
      DiscoverTech was a party was an end-user sale by it ever effected.
      DiscoverTech was reliant on Autonomy either procuring payment to it out of
      the proceeds of a direct deal, or cancelling the initial VAR transaction (which,
      in the same testimony, was something that he had never had to do in any
      MicroLink or other VAR deals prior to the impugned VAR deals in question).

2053. Even so, the Defendants much relied on Mr David Truitt’s evidence (in the US
      criminal trial and/or the MicroTech litigation) asserting that DiscoverTech was
      at risk” and could be stuck with it” even if the end-user deal failed to materialise
      and further asserting that DiscoverTech had control of the software and [was]
      fully the owner”. In the latter context, they also relied on his evidence in the US
      criminal trial on the issue of managerial control:

                       Q. And then some questions about -- you keep asking about control,
                      who controlled what. And your answers were, "The documents we
                      signed were the terms of the agreement. The terms are stated in the
                      agreement." Do you remember that testimony?
                  A. Yes.


                                             Page 669
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 671 of 900
Approved Judgment                                                              HC-2015-001324
Mr Justice Hildyard


                      Q. And is what you meant is that once you made the agreement, you, be
                      it DiscoverTech, MicroTech, whoever made the agreement, owned the
                      software? It was your software?
                      A. Yes.
                  Q. And was -- if it didn't close, it's still your software and you owed
                     money; right?
                  A. Yes.
                 Q. If you sold it to the end-user, the terms were already set. It was
         there in the agreement; right?             A. Correct.
                 Q. So you had control of the software, you owed the money, and you were
                     fully the owner; right?
                 A. Yes.”


2054. This evidence mirrored his evidence in respect of MicroLink VAR sales in the
      MicroTech litigation (see paragraph 2001 above). The Defendants made the
      point that such evidence had been adduced by the Claimants themselves
      (pursuant to hearsay notices). Once again, however, it seems to me that the only
      way that this evidence can be treated as consistent with his other evidence (as
      relied on by the Claimants) and with what in fact transpired is to treat it as
      reciting (somewhat ritualistically) the legal position only.

2055. Whatever the legal position, I take it and find that Mr David Truitt accepted that
      in reality, and like MicroLink before it, DiscoverTech never had the means to
      pay Autonomy out of its own resources, never did so, and never participated in
      any negotiations with end-users after the VAR sale to it: and that was entirely
      as both he and Mr Egan expected and intended.

Dispute as to the effect of any assurances given

2056. Both Defendants submitted that the oral testimony of Mr Egan and Mr Baiocco,
      and the hearsay evidence from Messrs Steve Truitt, David Truitt and Loomis in
      the US criminal trial and in the MicroTech litigation, suffered from its genesis
      in numerous meetings with the US authorities playing on the self-interest of the
      actors. They submitted that the evidence had been contaminated by the forensic
      process”, was unreliable and inconsistent, and could not provide any secure
      basis for a plea of fraud. Nevertheless, they added that, read as a whole, and
      contrary to its purpose, such evidence served on balance to support their case,
      rather than the Claimants, since it demonstrated that all the witnesses well
      understood that nothing that Mr Egan said could or would dissolve their legal
      obligations.

2057. The Defendants’ position was thus that whatever assurances were given, none
      could reasonably have been or were taken by the VAR to release, qualify or
      modify the VAR’s right to the software which (it was common ground) was in
      each case electronically transferred to the VAR when the VAR agreement


                                              Page 670
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 672 of 900
Approved Judgment                                                                 HC-2015-001324
Mr Justice Hildyard


         completed and was then available for use, nor the VAR’s obligation to pay
         within the stipulated time. The Defendants emphasised the unanimity amongst
         the witnesses that they were acting legitimately in VAR transactions, which
         were not out of the usual, that they had confirmed their belief in the accuracy of
         the audit confirmation letters when they signed them, and their understanding
         throughout that the VAR they represented remained in substance and in law
         fully at risk to pay Autonomy on demand.

2058. In his oral closing submissions, Mr Miles summarised the Defendants’ position
      as follows:

                      “Now, the next point is to turn to the witness evidence and make some
                      observations on that. There are several factual witnesses. There were
                      three live witnesses, Mr Egan, Mr Baiocco and Mr Szukalski, and then
                      the worthier hearsay statements. Now, as regards both Mr Egan and
                      Mr Baiocco, we do suggest that you have got to be quite careful about
                      the evidential status of certainly much of their witness statements. But
                      even if you do… exercise caution, as we suggest you should, what we
                      suggest the evidence as a whole shows is that, even taking the position
                      most favourable to the Claimants there s nothing in the discussions
                      that Mr Egan had with the resellers which would impact on revenue
                      recognition.
                      The evidence of Mr Egan and indeed the others was that the resellers
                      understood that they were fully on risk. When they explained in their
                      evidence that they thought they were on risk, what they meant, we
                      suggest, is that they would have to pay from their own resources.
                      If you were to think the evidence came to anything at all… It was just
                      that Mr Egan would do what he could to find another end-user or
                      possibly that he would try and do what he could to help. But the
                      evidence was that the resellers knew that any assurance or words of
                      comfort he gave them was just that, non-binding words of comfort. But
                      more than that, even if you accept their evidence, the resellers knew
                      that their relationship was governed by the contract, that they were
                      bound to pay in accordance with the contract, that if things did not go
                      right Mr Egan would try and help them out, that they also knew that
                      was just a hope and not something that was binding on Autonomy in
                      any way.”

2059. This summary correctly, in my view, identified the nub of the factual issue
      revealed by the direct evidence: whether the assurances given were “warm
      words” or “soft soap”, or whether they were intended to be and were acted on
      as the basis of the parties’ relationship.

2060. Mr Rabinowitz, rejecting the suggestion that the assurances given were simply
      “warm words” or “soft soap”, summarised the Claimants’ position in his oral
      reply as follows:




                                               Page 671
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 673 of 900
Approved Judgment                                                                       HC-2015-001324
Mr Justice Hildyard


                      “…the expression… also has pejorative connotations of the kind of
                      thing an unscrupulous salesman might say to get the deal done. But
                      here no one is suggesting that the expressions of intent communicated
                      by Mr Egan were anything other than his honest intention backed by
                      the express authority of Mr Hussain and, we say, in turn backed by Dr
                      Lynch. Mr Egan was not duping the VAR into thinking that Autonomy
                      would avoid leaving the VAR holding the bag”. That actually was the
                      intention.
                      My lord, the best evidence of that is what actually happened. Your
                      lordship will recall that I described the pattern where Autonomy never
                      did require the VAR to pay in full from its own resources, leaving aside
                      a few modest part payments. That is evidence of Autonomy s intention
                      at the outset. I would note that Mr Miles did not seek to answer my
                      patterns point.
                      … The proof of the seriousness with which the VARs treated these
                      assurances, despite their non-binding character, lies in the VAR s
                      willingness to assume the enormous risk that would arise if they
                      nevertheless ended up being held to their contractual obligations.
                      From Autonomy s point of view, as Mr Egan explained, any failure to
                      honour the assurances would have made it harder to get a VAR to take
                      on a deal in the future. For your Lordship’s note, that is what he said
                      at Egan 1, paragraph 29, last sentence {C/5/9}. From a repeat VAR s
                      point of view, the fact that the intention was always honoured would
                      have added more weight to the assurances as time went by.”


Assessment of the effect of the direct/witness evidence
2061. Supported by the details of the way each VAR sale was implemented which I
      describe in the next section, it is to my mind clear, and I find, that in every one
      of the impugned VAR sales except the five Collectability VARs and the two
      VAR transactions (VT5 and VT14) which turned on their own facts, Mr Egan
      both (a) emphasised, as he had been instructed by Mr Hussain he must
      emphasise, that legally the VAR was unconditionally obliged to pay and became
      upon delivery the owner of and responsible for the licensed software with a view
      to its resale, but at the same time also (b) assured the VAR that it would not be
      expected to be involved in negotiating and closing an end-user sale, and that if
      no end-user sale eventuated, Autonomy would not leave it on the hook” or
      require payment in the meantime, and would one way or another ensure,
      whether by backfilling” or some arrangement which realised funds sufficient to
      discharge the legal indebtedness, that it would not be left holding the bag”.

2062. I think it clear also, and I find, that even if Mr Egan did not make any formal
      representation that he was able to bind Autonomy246, he made it clear, as was

246
   There is no evidence of any express representation of authority, perhaps because such a
representation would not have fitted with the essentially non-binding nature of the assurances as a
matter of law, and his repeated emphasis that nothing he said would or could modify the contractual
terms set out in the relevant VAR agreement.


                                                Page 672
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 674 of 900
Approved Judgment                                                            HC-2015-001324
Mr Justice Hildyard


         the fact, that he was acting in conformity with the wishes and suggestions, and
         probably on the actual instructions, of Mr Hussain, both in emphasising the legal
         position and in giving the assurances as to the real intentions of Autonomy.

2063. Reading between the lines of their incantations (with varying degrees of
      insistence) about their legal exposure, the direct evidence of all the VAR
      witnesses confirmed, and I find, that but for these assurances, and the shared
      intention (on the part of Autonomy) and expectation and belief (on behalf of the
      VARs) that they would be fulfilled, none of the VARs could rationally have
      agreed to take on the role in the circumstances in which it was almost invariably
      obtained; these being that (a) the VAR deal would be put forward at the end of
      a quarter, sometimes on the very last day, (b) for completion before the end of

         the quarter, with (c) little if anything being known by the VAR of the state of
         Autonomy’s negotiations, nor of the real prospect of a deal eventuating, with the
         prospective end-user; and (d) the VAR would usually not be able to cover the
         legal obligation out of its own resources, and in any event the risk/reward
         balance being plainly and obviously commercially unacceptable.

2064. In my view, it is also clear, and I find, that in every one of these cases the VARs
      expected, and were content, that Autonomy would carry on negotiations with
      the end-user as being the best or most likely way of concluding a sale to the
      enduser, and that the VAR would play no part. Some might have expected an
      introduction to the end-user after conclusion of an end-user sale, and
      commercial advantage after that from it; but the most reliable source of reward
      would be payment to them of a MAF, of which they were assured by Mr Egan,
      although the VAR sales agreements made no legal provision in that regard.

2065. The question then is as to how IFRS accounting principles are to be applied in
      circumstances where the parties accept that the contract is binding, and provides
      (amongst other things) for their agreement to be entirely expressed within it and
      that there are no side agreements (or the like) to qualify their bargain, but their
      evidence casts an entirely different light as to their real intentions and
      expectations and the real substance of their relationship. In short, whilst it will
      depend on the circumstances it is almost invariably the case the real substance
      must prevail.

2066. Before considering the application of IFRS accounting principles and answering
      that conundrum, I turn to consider in more detail the Claimants’ case that the
      impugned VAR sales and the way they were implemented followed a “pattern”,
      which the Claimants relied on as the best proof of the parties intentions and the
      true substance of their arrangements.

(5) The alleged pattern” and the Defendants response that it reveals neutral
features”
2067. In parallel with their case based on the direct evidence of the VARs as to their
      understanding of the real substance of their engagement with Autonomy, Mr
      Rabinowitz described as striking beyond belief” the ‘pattern’ evident in every
      one of the impugned VAR sales indicating behaviour and its inconsistency with


                                          Page 673
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 675 of 900
Approved Judgment                                                              HC-2015-001324
Mr Justice Hildyard


         the ostensible contractual arrangements. He submitted that this ‘pattern could
         only be explained by reference to shared understandings between the parties as
         to the true economic substance and nature of the arrangements which were very
         different from those expressed in or apparent from their contract.

2068. In this way of putting their case, the Claimants sought to focus on what the
      parties actually did (and did not do) as the litmus test of the true economic
      substance of the transactions and the existence of the shared intentions which in
      truth explained their true nature. This was a facet or development of Mr
      Holgate’s description of economic substance as “the commercial effect in
      practice and things like that” and a common sense point of view [of] what is
      really happening in a transaction”. In their written closing, the Claimants
      described this as a further string to their bow”; but in his oral reply Mr
      Rabinowitz appeared to give primacy to this aspect of the Claimants’ case on
      VARs.

2069. As in the context of the witness evidence, the Claimants submitted that the
      conclusion should be that the impugned VAR transactions, though effective in
      law on the terms of the VAR agreements made in respect of them, did not reveal
      their true substance because they did not reflect how in fact the parties proposed
      to act. Once the way in which the parties acted was examined, it was contended
      that it was quite clear that nothing really changed after the VAR transaction:
      Autonomy continued its negotiations with the end-user, and the VAR did
      nothing to signify either a change of ownership, nor make any payment. This
      demonstrated that (a) it was Autonomy, and not the VAR, which in fact had
      ‘managerial control’ of the goods in question; and (b) the VAR had neither any
      role nor any real interest in an end-user sale, because in reality it was just a
      placeholder” and would never be required to pay since Autonomy’s true source
      of payment was always intended to be the end-user.

2070. The Claimants suggested that a further advantage of this way of putting their
      case, in addition to the fact that, although complementary to, it does not depend
      on the evidence of witnesses who may be considered self-interested or parti
      pris, is that (so they submitted) if the facts do indeed show that the parties’ actual
      intentions and conduct differed from the ostensible effect of the written sale
      contract, then neither the entire agreement clause in each of the VAR
      agreements, nor the auditor confirmation letters, could insulate the transactions
      from an accounting treatment which reflects the true facts.”

2071. The Claimants contended that the plain inference from the ‘pattern’ revealed was
      that:
         (1)      in none of the impugned VAR sales did or was the VAR ever intended
                  or even permitted to negotiate or close a direct deal with an end-user;
                  and

         (2)      in none of the impugned VAR sales was the VAR ever intended and / or
                  ever expected to pay out of its own resources.




                                           Page 674
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 676 of 900
Approved Judgment                                                           HC-2015-001324
Mr Justice Hildyard


Was there demonstrated to be a pattern showing that VARs did not, and were not
intended to, negotiate or effect an end-user sale?


2072. The circumstantial facts the Claimants relied on as establishing a ‘pattern’
      demonstrating that at the time the VAR transaction was entered into, no-one
      intended that the VAR should be involved in any attempt to on-sell the software
      licensed to the end-user, and that the true intention was that Autonomy should
      contract directly with the end-user, can be summarised as follows.

2073. First, in all of the impugned transactions it was Autonomy, rather than the VAR,
      which was negotiating with the end-user at the time of the VAR transaction; and
      it was Autonomy, and not the VAR, which had the relationship with the enduser,
      often one of long-standing and involving repeat business. The Claimants’
      submission was that it is inherently unlikely that Autonomy would have wanted

         to cede the conduct of that commercial relationship to the VAR. Further, they
         suggested that it was equally unlikely that the end-user would want to deal with
         an unknown (and in some cases, newly incorporated) VAR in those
         circumstances either. Both considerations pointed to the conclusion that the
         VAR was not expected to do anything beyond acting as a “placeholder”, the true
         arrangement both existing and prospective was between Autonomy and the
         enduser, and the VAR agreement in each case lacked any real substance as a
         sale.

2074. Secondly, and as already noted from the unchallenged witness evidence, in none
      of the impugned VAR sales was there any sign of any effort being made to give
      the VAR the introduction and information necessary to enable the VAR to
      intervene and take over the pre-existing negotiations. That again supports the
      conclusion that no such involvement was ever in reality intended of the VAR.

2075. Thirdly, there is no evidence of Autonomy ever asking the VAR why it had
      failed to make any effort to on-sell to the end-user. The Claimants suggested in
      this context that if Autonomy had really expected the VAR to attempt to sell the
      deal to the end-user, it would surely have expressed its disappointment at the
      VAR’s lack of effort and regarded the VAR as the author of its own misfortune
      in missing out on an onward sale.
2076. Fourthly, there is no evidence that in any of the impugned transactions did the
      VAR actually make any effort, after the VAR transaction, to achieve an onward
      sale of the Autonomy software license to the end-user; which once more
      supported the same conclusion that the VAR was intended to be entirely passive.
2077. Fifthly, and perhaps most strikingly, Mr Rabinowitz emphasised especially that
      in none of the impugned VAR transactions (except perhaps VT20, see footnote
      273 below) did Autonomy’s negotiations ever actually bring about a contract
      between the VAR and the end-user. The end-user contract, if one eventuated at
      all, was invariably on terms (including as to price) negotiated and determined,




                                          Page 675
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 677 of 900
Approved Judgment                                                                        HC-2015-001324
Mr Justice Hildyard


          not by the VAR, but by Autonomy, and in every case where a contract
          eventuated, Autonomy and not the VAR was the party to it.247

2078. The Claimants submitted that such direct deals shed light on the true intention
      at the date of the VAR transaction: they gave rise to the inference that the reason
      why the VAR never ended up concluding a deal with the end-user was because
      the VAR was never expected to do that, and/or that Autonomy in reality retained
      managerial control throughout, with the VAR being a purely passive
      placeholder and any purported purchase and sale to it being illusory. As Mr
      Rabinowitz put it in his oral reply:


                       we say that that pattern makes it very unrealistic to suppose that
                      Autonomy s intention was solely to negotiate a contract between the
                      VAR and the end-user. At times Autonomy tried to achieve that, but
                      always failed. At other times it did not even try. It simply negotiated a
                      direct deal between Autonomy and the end-user.”


2079. The Claimants submitted in conclusion on this aspect that this ‘pattern’
      demonstrated that Autonomy must from the outset have been intended to have,
      and did in every case in fact have, exclusive control of negotiations with the
      end-user, and that the VAR had no say or involvement in the process; and that
      this in turn demonstrated, to use the wording of IAS 18.14(b), the retention by
      Autonomy of managerial involvement to the degree usually associated with
      ownership” and effective control” in each case over the goods sold.”

2080. As to the second aspect of the ‘pattern’, which the Claimants alleged also gave
      rise to the inference that there was no true ‘sale’, was that the facts demonstrated
      that the VAR was also not intended to be required to pay Autonomy from its
      own resources if no end-user sale eventuated, and that in reality Autonomy’s
      true source of revenue was never intended to be the VAR but the end-user.
      Failing an end-user sale, Autonomy would have to take some step, whether by
      way of “round-trip”/reciprocal transaction, debt forgiveness or some other
      expedient to protect the VAR whilst preserving the fiction of revenue
      generation. The Claimants relied on the following.

2081. First, the Claimants submitted that if it is found that it was intended at the time
      of the VAR transaction that the VAR would do nothing, that fact, of itself, was

247
   The only apparent exceptions in evidence were, on analysis, not exceptions at all. There were one or
two sales to which Autonomy was not party; but that was only because Autonomy, having negotiated
the sale, directed that a VAR (but not the VAR to which it had initially sold the software) be inserted.
Thus, in VT20 Capax Discovery/DKO the direct sale was negotiated between Autonomy and DKO,
without any involvement by Capax Discovery; at the last minute, Autonomy arranged for MicroTech
(not Capax Discovery) to step in so that the agreement took the form of a sale from MicroTech (rather
than Autonomy) to DKO. VT1 may provide a similar example: RRAPoC Schedule 3 VT1 states that in
Q4 2009 MicroLink sold the software it had acquired for the intended end-user US Federal
Government to a second VAR called Computer Security Solutions. But that too seems to have followed
negotiations exclusively by Autonomy with the end-user US Federal Government and to have been at
the direction of Autonomy. I have found no other ‘exceptions’ in the evidence.


                                                Page 676
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 678 of 900
Approved Judgment                                                              HC-2015-001324
Mr Justice Hildyard


         also a reason to infer that the VAR was also not intended to be required to pay
         Autonomy from its own resources. The rationale was this: if the VAR was
         genuinely expected to pay Autonomy from its own resources, it would be vitally
         interested in the end-user sale: the most obvious way for the VAR to put itself
         in funds would be by working hard to secure an end-user sale. To step back
         altogether, and leave further negotiation and completion of the end-user sale
         entirely to the seller, would be most unnatural, to the point of being
         commercially inexplicable, if the VAR was really on the hook.

2082. Secondly, the Claimants relied on the fact that the VAR was first approached
      by Autonomy regarding a transaction involving an identified end-user at the
      very end of the quarter, and usually concluded the VAR transaction within a
      matter of hours thereafter, with no chance being given to the VAR to scope and
      assess the end-user deal. The Claimants rejected Dr Lynch’s suggestion (which
      I examine further below) that this was entirely usual, on the basis that it was
      exceptional for such deals to be struck at the very end of the quarter without the
      VAR negotiating any of its terms. Further, having had no prior contact with the
      end-user, the VAR had no insight of its own as to the prospects of an end-user
      deal being concluded, whether at all or within a reasonable time, beyond
      whatever Autonomy may have told it. The Claimants referred in this regard to
      the evidence of Mr Welham when asked about this in re-examination:

                       Q. In your experience as an auditor of software companies, would you
                      consider it usual or unusual for a VAR to be first approached about
                      doing a deal right at the end of or on the last day of the quarter?
                      A. Probably unusual.”

2083. The Claimants suggested further that if it was genuinely intended that the VAR
      would pay from its own resources, the VAR would have had, and been keen, to
      carry out elementary due diligence: it was not realistic and not to be assumed
      that astute businessmen would ever act so recklessly.

2084. Thirdly, the absence of any effort at all, given that in every case the impugned
      VAR sale was right at the end of the quarter, to even make time for price
      negotiation with Autonomy before executing the VAR transaction, made no
      commercial sense if it was intended that the VAR would have to pay Autonomy
      from its own resources; and all the more so given that the amounts involved
      would have presented an existential threat to the VAR in many instances had it
      truly been at risk.

2085. In short, the continuing responsibility of Autonomy and the abdication of
      responsibility by the VAR demonstrated that Autonomy regarded its source of
      recourse and reward as being from the end-user, and the VAR, relying on Mr
      Egan’s assurances, did not regard itself as being at substantive risk in the
      meantime.

2086. Fourthly, the Claimants maintained that in many cases the VAR did not appear
      to have the means to pay Autonomy, in the absence of payment further to an
      end-user sale. They submitted that the fact that Autonomy must have understood


                                              Page 677
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 679 of 900
Approved Judgment                                                              HC-2015-001324
Mr Justice Hildyard


         at the time of the VAR transaction that the VAR could not pay supports an
         inference that it was not intended to do so, at least unless and until the end-user
         sale had been completed.

2087. Fifthly, the Claimants relied on the fact that, leaving aside any modest deposit,
      Autonomy never did require any ‘friendly’ VAR, in any of the impugned
      transactions, to pay Autonomy out of its own resources prior to receipt of funds
      from the end-user or (in effect) from Autonomy itself in a ‘reciprocal
      transaction.’ Instead, and as I describe and discuss at greater length later,
      Autonomy either caused the end-user to pay the VAR, so that the VAR in turn
      could pay Autonomy, or Autonomy found another means to excuse the VAR,
      whether by issuing a credit note, and cancelling the VAR’s legal obligation; or
      by buying something from the VAR in order to put the VAR in funds; or by
      simply writing off the VAR’s debt.

The Defendants position as regards the alleged ‘pattern
2088. The Defendants resisted all of this, and both limbs of the Claimants’ case as to
      the VAR agreements’ lack of economic substance, primarily on the basis that
      the Claimants’ reasoning was flawed because it was based on false a priori
      assumptions. They contended that the Claimants placed undue reliance on
      features of some of the impugned transactions on the assumption that they
      revealed impropriety, whereas in reality they were entirely usual features of

         VAR transactions in the software field and were “neutral” in terms of the criteria
         for revenue recognition.

2089. In Dr Lynch’s written closing submissions, the Defendants identified and sought
      to justify as entirely “neutral” the following features of the impugned VAR
      transactions on which the Claimants had placed undue reliance:

         (1)      Deals being reached at the quarter end;

         (2)      Bringing in a reseller to enable revenue recognition in that quarter when
                  an end-user deal could not be closed at a quarter-end;

         (3)      The status or prospects of the deal between the reseller and the end-user;

         (4)      The extent of price negotiations between Autonomy and the reseller;

         (5)      No “added value” by the reseller;

         (6)      Autonomy continuing to be involved with the end-user after the VAR
                  sale;

         (7)      Sales to VARs of hosted products;

         (8)      Closing a sale directly between Autonomy and the end-user;




                                            Page 678
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 680 of 900
Approved Judgment                                                             HC-2015-001324
Mr Justice Hildyard


         (9)      Arrangements for the VAR to be paid by the end-user notwithstanding a
                  direct contract between the end-user and Autonomy (which Dr Lynch
                  referred to as “Designated payee situations”);

         (10)     Cancellations of a VAR’s obligations after a direct deal had been closed
                  between the end-user and Autonomy;

         (11)     Occasional write-offs of debts owed to Autonomy by resellers;

         (12)     Absence of any occasions on which Autonomy demanded payment from
                  the VAR and sued when none was received;

         (13)     A VAR’s unwillingness to pay; and

         (14)     The payment of MAFs notwithstanding that the VAR had added no value
                  nor taken any part in the negotiations for and conclusion of the end-user
                  sale.
2090. Put broadly, the Defendants’ case was that there is nothing unusual, let alone
      improper, in a VAR taking software on its books and committing in law to pay
      the purchase price, with a view to assisting Autonomy (for a fee and other
      commercial advantages) both (a) to recognise revenue on the immediate sale to
      the VAR and (b) to achieve a subsequent sale of that software to an end-user. In
      other words, a VAR may be, and in ordinary commercial dealings often is,
      nothing more than a guarantor (as, for example, Capax Discovery described
      itself in the Goldberg Segalla letter), or in other cases, a “fulfilment partner”;
      and a sale to a VAR for that purpose is nonetheless a sale in economic substance
      as well as law.

2091. The “neutral features” as they were identified and described in Dr Lynch’s
      written closing submissions are differently organised and differently expressed
      ways of putting the converse to the Claimants’ case that the ‘pattern’ reveals lack
      of substance and impropriety. The easiest, and for the present the most
      convenient, course is to explain how Dr Lynch elaborated his case in this regard,
      and then to assess together the two opposing perspectives in reaching my
      determination on this aspect of the case.

Quarter-end timing
2092. First, the Defendants sought to dispel the suspicion that the Claimants tried to
      create with respect to the timing of the VAR deals. They contended that,
      contrary to the Claimants’ case, quarter-end deals with VARs were and are
      common-place in the software industry. Their timing is not of itself indicative
      of impropriety; and that is so even if, as a corollary, there may well have been
      no discussions with the reseller previously, nor any time for the reseller to assess
      the prospects of an end-user deal, or the reliability of the end-user if the deal
      was done.

Recourse to a VAR simply to recognise revenue if the end-user deal was delayed




                                            Page 679
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 681 of 900
Approved Judgment                                                               HC-2015-001324
Mr Justice Hildyard


2093. Secondly, the Defendants submitted that there was nothing improper or
      indicative of impropriety in Autonomy bringing in a reseller at a quarter end
      simply because a deal with an end-user could not be closed in time to enable
      recognition of the income to be derived from a sale of that software in the
      preferred quarter. Deloitte knew that Autonomy closed deals with resellers in
      these circumstances and there was no suggestion that this affected revenue
      recognition. Dr Lynch under cross-examination described this as “de-risking”:
      Autonomy was getting the commitment to pay from the VAR, constituting a
      “bird in the hand”. As Mr Miles put it in his oral closing:

                      “it meant that Autonomy could actually get a commitment to the revenue
                      on the deal without further delay or pressure on prices.”

2094. Mr Welham confirmed in his oral evidence that Deloitte had no problem with
      Autonomy selling to a reseller for the purposes of recognising revenue. He
      accepted that the fact that Autonomy was unable to close the deal for the quarter
      might be a good reason for selling to the reseller.

No assessment of status or prospects of end-user deal by VAR
2095. Thirdly, the Defendants submitted that the Claimants’ focus on the status and
      prospects of an end-user deal was misplaced. Dr Lynch relied on the following
      passage from Taylor Wessing’s letter of January 2015 on behalf of Deloitte in
      order to rebut HP’s letter before action under the Professional Negligence
      PreAction Protocol:

                The relevant agreement for revenue recognition purposes is that
               between Autonomy and the VAR. It is not relevant for the purposes of
               revenue recognition whether the party with whom Autonomy has
               contracted is a VAR or an end-user. It is not necessary to identify an
               end-user (other than for licence control purposes.”
2096. The Defendants pointed out that Mr Welham had agreed also that it was not
      necessary for revenue recognition purposes for Autonomy even to identify the
      end-user, still less for the VAR to have considered the prospect or commercial
      terms and rationale of any onward sale by the reseller to the end-user. The
      Defendants surmised that the Claimants, in suggesting otherwise, may have
      been influenced, and indeed misled, by the more familiar (at least to them, as
      for the most part, US entities) but different, rules of US GAAP which (putting
      the point broadly) preclude revenue recognition until the end-user sale. The
      Defendants repeated once more that under IFRS accounting, the test is a “sell
      in” test: provided the IAS 18.14 criteria are met in the case of the immediate
      sale to the VAR, revenue is required to be recognised. Under US GAAP, the
      test is a “sell through” test: revenue may only be recognised once the end-user
      sale is closed. Influenced by the US approach, the Claimants tended not to
      recognise or accept the reality and the consequence of the fact that even though
      the reseller would not be expected to do anything, it was for the purposes of
      both the law and the IAS (unlike US GAAP) Autonomy’s customer.

No price negotiation for VAR sale



                                              Page 680
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 682 of 900
Approved Judgment                                                               HC-2015-001324
Mr Justice Hildyard


2097. The Defendants argued that a lack of negotiation on price between Autonomy
      and the reseller may be a neutral factor, and is so on the particular facts of this
      case.

2098. The Defendants submitted that it is clear on the evidence that, as a matter of law
      at least, all the resellers were genuinely on risk in respect of their purchases, and
      took the risk in anticipation of advantage to themselves. Autonomy was coming
      to them with a purchase opportunity which they were happy to accept on the
      terms that were offered, as Mr Baiocco made clear in his evidence.

VAR sale but no added value
2099. Dr Lynch’s fifth point was that although the appellation “Value Added
      Reseller” may encourage the contrary supposition, a VAR sale is not improper
      or lacking in substance so as not to merit recognition of its revenue just because
      the reseller was not to add value to the sale in the sense of enhancing the goods
      sold or providing services to the end-user.

2100. According to Dr Lynch a VAR transaction would nonetheless qualify as a
      proper sale even if it was not intended that the VAR should fulfil any role at all
      beyond purchasing the goods on the terms of the VAR agreement, going on risk
      for that purchase by accepting thereby the unqualified commitment to pay, and
      thereafter fulfilling the end-user's purchase order.

2101. Deloitte accepted that it would be a legitimate and normal reseller transaction if
      the only role of the VAR was to purchase from Autonomy, going on risk in the
      process and thereafter to sell to the end-user. Thus, for example, Deloitte’s
      Defence in the FRC proceedings states as follows:

                       Contrary to the impression given in the Formal Complaint, this is not
                      to say that a VAR has to perform additional services or add value” in
                      every sale insofar as that is intended to mean provide additional
                      services”; it can and often does simply re-sell software licences to
                      customers, acting as a reseller.”


2102. In his evidence under cross-examination, Mr Welham accepted that this was
      Deloitte’s actual perception at the time:

                      Q. …The VAR could simply act as a reseller, it didn t have to provide
                      any additional services? A. Yes.
                      Q. And Deloitte understood that at the time, that was part of your
                      understanding at the time of the audit?
                      A. That could happen, yes.”


2103. Thus, the Defendants submitted that although the Claimants spent some time in
      argument and cross-examination questioning what services or added value a
      VAR would be likely to bring to the relevant transaction, that was based on a


                                              Page 681
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 683 of 900
Approved Judgment                                                                  HC-2015-001324
Mr Justice Hildyard


         false premise: it is neither unusual nor improper in the business for a VAR to be
         what Mr Szukalski called a “fulfilment partner” with its role being simply to
         enter the contract for the purchase of the goods, go on risk for the purchase,
         leave Autonomy alone to negotiate with the end-user and thereafter fulfil the
         end-user’s purchase order. In effect, only the “paperwork” would go through the
         VAR.

2104. In the same context, the Defendants also relied on Mr Szukalski’s evidence that
      all this was very common practice”. However, as I elaborate later, FileTek’s
      only deal with Autonomy was not really a true VAR deal; FileTek was not really
      a VAR in any usual sense; and Mr Szukalski did not really operate in that
      business at all.

Autonomy’s involvement with the end-user after the VAR sale

2105. Dr Lynch’s sixth point was his contention that it did not undermine revenue
      recognition for Autonomy to continue to negotiate or be involved with the
      enduser after the reseller sale.

2106. Issues with regard to managerial control could potentially arise if Autonomy
      had been contractually obliged to exercise managerial duties with respect to the
      goods, since that obligation would connote that managerial responsibility and
      effective control of the goods had not been transferred under the contractual
      terms; but this was not in fact ever the case, and would have been inconsistent
      with the provisions of the contract, which made it clear the risk passed in all
      respects to the purchaser, and did not impose any relevant continuing
      obligations on Autonomy.

2107. Further, in circumstances where the VAR was simply fulfilling that role, it is
      not surprising or undermining of the VAR’s purchase that, with the VAR’s
      consent, and without obligation on the part of Autonomy, Autonomy should be
      conducting the subsequent discussions with the end-user.

2108. Dr Lynch, supported by Mr Hussain, presented this as the unobjectionable
      provision of voluntary assistance by Autonomy, with a plain and obvious and
      entirely proper commercial rationale; as he put it in his first witness statement:
                       Many of the end-users were repeat customers with whom Autonomy had
                      other business, customers often buying the same product over and over
                      again. It would make no commercial sense for Autonomy not to continue
                      discussions with the end-user. If a customer bought millions of dollars
                      worth of products from the company every year, the company would not
                      stop talking to them because a particular sale for a couple of hundred
                      thousand dollars had been made to the reseller who was going to on-sell
                      it to that customer. The reseller was on risk and owned the relevant
                      product. In order for the sale to be recognised, Autonomy was not
                      required to step out of the picture altogether. In fact, Autonomy s
                      continued involvement in the deal could increase the collectability of the
                      debt from the reseller, I understand, based on my discussions with
                      Autonomy s Finance Department, and the auditors at the time, that there



                                                Page 682
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 684 of 900
Approved Judgment                                                                HC-2015-001324
Mr Justice Hildyard


                      was no issue from an accounting perspective with Autonomy voluntarily
                      providing assistance to the reseller in closing an end-user deal, or
                      leaving the reseller to complete the sale alone. That made perfect sense
                      to me.”


2109. However, in all this the impression given by the Defendants was that the
      objective and expectation was that the ultimate sale to the end-user would still
      be expected to be made by the reseller fulfilling the purchase order from the
      end-user, and that Autonomy’s involvement was to facilitate that result. The
      Claimants’ point, to which I shall return, was that (apart from the two
      ‘exceptions’ identified and discussed above which, on analysis, were not really
      exceptions at all) in not a single case was that the result: any end-user deal which
      eventuated was not only entirely negotiated by Autonomy but also a direct deal
      with Autonomy.

Sales to VARs of hosted products

2110. Dr Lynch contended that the fact that some of the impugned VAR sales (such
      as the deal with Capax Discovery for end-user Kraft, “VT3”) involved sales of
      licences of products likely to be (and arguably only capable of being) used in
      the hosted environment, and in particular, Digital Safe, indicated no difficulty
      either: the licence remained a valuable asset and its sale was substantive and
      legitimate, so that revenue could be recognised from it accordingly whether or
      not it could be brought on site by the end-user.

2111. Further, Deloitte were aware that some of the reseller deals were of licences in
      connection with hosting arrangements and do not appear to have objected to the
      recognition of revenue in respect of them.

Transactions going direct
2112. The Defendants submitted that the Claimants had no basis for calling into
      question, or seeking to draw adverse inferences from, the recognition of revenue
      at the point of the VAR sale in certain cases where thereafter a direct deal was
      made between Autonomy and the end-user, and the revenue received on the
      enduser sale would either be remitted to the VAR or the VAR would be treated
      as released. They presented this as an occasional occurrence, and never
      Autonomy’s objective in continuing to be involved with the end-user (see
      above). According to the Defendants, only

                            very few transactions became direct deals; based on a historical
                      average of 2009/2010, fewer than one transaction per quarter”.


2113. The Defendants also made the point that the occasional replacement or reversal
      deal of that sort was not objectionable, either generally or in the view of
      Deloitte. That is illustrated by Deloitte’s approval of the introduction into certain
      VAR purchase orders in Q4 2010 of a clause expressly contemplating,
      permitting and providing for direct end-user sales.



                                               Page 683
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 685 of 900
Approved Judgment                                                                         HC-2015-001324
Mr Justice Hildyard


2114. Dr Lynch additionally drew attention to Deloitte’s own Defence document in
      the proceedings against it brought by the FRC, where as regards the new clause,
      it was stated as follows:

                       The clause therefore envisaged that on occasion Autonomy
                      might enter into a transaction with a VAR, but subsequently deal
                      directly with the end-user. In those circumstances, once
                      Autonomy had received payment from the end-user, it would pay
                      a fee to the VAR.

                      The audit team concluded that this new clause did not affect
                      revenue recognition. Upon the VAR entering into the agreement,
                      it had accepted the risks and rewards of ownership. It had
                      possession of the licence, and the ability to sell it to the end-user
                      without requiring the involvement of Autonomy. It was legally
                      required to pay Autonomy. The existence of the new clause did
                      not change the analysis in respect of IAS 18 paragraphs 14(a)
                      and (b) as the risk remained with the VAR, unless a direct deal
                      was concluded with the end-user, a risk the VAR could not
                      control.”


2115. However, the Defendants acknowledged that, by reference to two VAR deals
      with MicroTech in Q4 2009 where there was a direct sale to end-user (ManuLife
      and Morgan Stanley), Deloitte highlighted a concern about “revenue reversals”
      in its Audit Committee reports for Q1 2010 and Q2 2010. Deloitte had warned
      that significant evidence of such further revenue reversals may jeopardise
      management s ability to recognise revenue at the point of sale to the reseller”.

2116. As again I return to later, the problem for the Defendants is that the truth is that
      direct deals and revenue reversal were or became characteristics of end of
      quarter deals transacted for revenue purposes, rather than occasional unexpected
      expedients. Their contention that very few transactions became direct deals;
      based on a historical average of 2009/2010, fewer than one transaction per
      quarter” (which was based not, of course, on an analysis of impugned VAR
      transactions but on a comparison with the entire corpus of VAR deals) did not
      really address the point that 19 out of 30 of the relevant deals went direct, and
      in the rest, no end-user deal eventuated at all: see paragraph 2152 below. 248             7 2F




VARs as ‘designated payees’ in respect of direct deal between Autonomy and end-user

2117. Another post-transaction event referred to by the Claimants with suspicion, but
      which the Defendants contended was unobjectionable and certainly not such as



248
   The Defendants made the point that the impugned VAR deals were selected by the Claimants as
showing this characteristic and were not a representative sample of the universe of VAR deals entered
into by Autonomy. That is so: but that does not address the point that the selection included the large
end of quarter transactions entered into to generate revenue to make good shortfalls from other sources.


                                                 Page 684
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 686 of 900
Approved Judgment                                                                HC-2015-001324
Mr Justice Hildyard


         to upset earlier revenue recognition, is where there was a “designated payee”.
         That is to say, transactions where the end-user was either asked ad hoc for, or
         (from 2010 onwards) a contractual term in the end-user sale between it and
         Autonomy required, payment of the purchase price to the reseller as Autonomy’s
         designated payee.

2118. A variant was in the VAR transaction with DiscoverTech for end-user
      Citigroup, in the context of which the end-user wished to deal directly with
      Autonomy and Deloitte noted:

                       Autonomy resolved the issue with the VAR by entering into a tri-party
                      agreement, whereby Citigroup paid Autonomy in full and Autonomy
                      then paid the VAR their margin based in the amounts due [i]n the
                      original PO”.

2119. I have considered whether Deloitte’s approval of that sort of mechanism
      suggests acceptance by them, or apparent acceptance by them so as to falsely
      reassure the Defendants, of a more common-place practice of ‘direct deals’, so
      as to invalidate or neutralise the professed concern about direct deals which
      became an issue in 2010. I have concluded that it does not.

2120. It appears to me that Deloitte always regarded a direct deal as the exception and
      the designated payee provision as designed to cater for the exceptional case
      where notwithstanding negotiation and conclusion of an end-user deal by the
      VAR, the end-user nevertheless insisted on completing with the software
      producer/supplier (namely, Autonomy). That was never so in any of the direct
      deals following impugned VAR sales.

2121. Autonomy occasionally cancelled a reseller’s obligations by providing a credit
      note. Again this was a post-transaction event, which the Defendants maintained
      could not have affected the original recognition of revenue. In circumstances
      where the end-user had chosen to deal directly with Autonomy so that
      Autonomy received payment for the software from the end-user it was a sensible
      business decision to cancel the reseller deal. The alternative would have been


         to leave the reseller on the hook despite Autonomy having taken the customer
         opportunity. This would have been damaging to the relationship.

2122. Of course, where an end-user contracted with Autonomy, the revenue was not
      recognised twice. Revenue was not recognised again on the end-user sale:
      Deloitte understood this and was satisfied. The Defendants adopted
      substantially the same approach and argument in the limited number of cases
      where the end-user was told to make payment to the reseller to permit the
      reseller to make payment to Autonomy.

2123. Dr Lynch summarised the position as he saw it in his first witness statement:




                                               Page 685
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 687 of 900
Approved Judgment                                                                     HC-2015-001324
Mr Justice Hildyard


                       From my vantage point, Autonomy's reseller relationships
                      operated without any major difficulties. I had a general
                      understanding that, on occasion, reseller deals departed from
                      the conventional pattern of "Autonomy sells to reseller/reseller
                      sells to end-user", for example, where an end-user decided to
                      purchase from Autonomy directly. HP has cherry picked 37
                      transactions to try to identify deals of this nature. In those
                      circumstances, Autonomy had a couple of options. We could say
                      to the end-user that we would not supply them and direct them to
                      the reseller, but we would avoid doing this if it was likely to cause
                      problems in our relationship with the end-user, particularly if
                      the end-user was a repeat customer. I had a general awareness
                      that Autonomy could take the commercial decision to supply to
                      the end-user and unwind the reseller deal or designate the
                      reseller as Autonomy's payee, although I would not have been
                      the person at Autonomy to make that decision. In those
                      circumstances, Autonomy would generally pay the reseller a
                      MAF for their lost margin on the end-user deal. I now know that
                      this happened in a handful of cases, a very small percentage of
                      the overall total of sales to resellers. Autonomy could also have
                      held the reseller's feet to the fire and demanded payment from
                      the reseller, even though Autonomy had sold directly to the
                      enduser and received payment from the end-user. The
                      consequence would be that Autonomy would have double the
                      cash and double the revenue on the sale of the same software,
                      which would seem inappropriate. That rarely made commercial
                      sense. Either way, it was a commercial decision for Autonomy at
                      its discretion. Despite these complications, it was my
                      understanding, then and now, that Autonomy's products were
                      almost always sold to and used by the end-users, and that cash
                      was received against the revenue recognised (whether from the
                      reseller or the end-user).”


2124. In the Taylor Wessing/Deloitte letter of January 2015 it was stated:

                       Deloitte did in fact carefully consider and review each of the
                      situations in which a contract with a VAR was cancelled and the
                      deal was completed directly with the end-user, in order to
                      understand the reasons for the cancellation and entry into a
                      direct contract with the end-user. This included ensuring that the
                      sale had not been double counted. With the exception of the
                      Capax / Kraft transaction, which had no impact on the 2009
                      year end results, and which was the first time Deloitte had seen
                      such a cancellation, these transactions were also all raised with
                      the Audit Committee.

                      The fact that the earlier transaction with the VAR was ultimately
                      cancelled does not however change the fact that in each case it


                                                 Page 686
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 688 of 900
Approved Judgment                                                                   HC-2015-001324
Mr Justice Hildyard


                      had been appropriate to recognise revenue on the original
                      contract between Autonomy and the VAR. In each case, as at the
                      time of considering the original transaction with the VAR, there
                      was a binding and non-cancellable agreement in place between
                      Autonomy and the respective VAR, and under that contract the
                      risks and rewards had passed to the VAR.

                       It is not appropriate in such circumstances to reverse the earlier
                      recognition of revenue. The revenue was properly recognised.
                      Circumstances then changed. As Deloitte was ultimately
                      satisfied with the circumstances of the cancellation of the
                      original contract with the VAR, there was no need to consider
                      the need for Autonomy to adjust and re-issue the previous
                      quarter results.”

                      [Underlining was in the original]


2125. The Defendants also relied on Mr Welham’s confirmation in cross-examination
      that the fact that Autonomy cancelled a deal with a reseller did not impact on
      the original revenue recognition, because at the time of the reseller deal there
      was a binding and non-cancellable obligation on the reseller to pay. It is of some
      note, however, (and I shall return to this) that Mr Welham added the following
      caveat, which though a reference to it was provided in a footnote, was given less
      prominence in Dr Lynch’s closing submissions, and sought to be minimised by
      a statement which I do not accept (and see paragraph 2153 below) that in the
      event the instances of direct deals were rare”:

                      “…it is important to highlight though what we did highlight to the
                      audit committee at the time, which is that clearly if you have a
                      continuing trend of that, then you build up a bank of evidence that
                      would suggest that you wouldn t recognise revenue on the full
                      100%....”


Write-offs

2126. The Defendants eleventh example of a neutral feature” which did not call into
      question revenue recognition was what they described as the occasional need to
      write off debts owed by resellers. They ascribed this need to the occasional
      vicissitudes of business ( Bad debts arise in business”), and such an event long
      after the VAR deal in question could not sensibly affect the accounting analysis.

2127. This is another matter to which I shall have to return, not least because (a) Mr
      Welham made clear that credit notes and write offs would sound a warning note
      if they were other than occasional; (b) most of the write-offs were not
      “occasional” but done in the Dark Period”; and (c) bad debt write-offs and
      credit notes resulted in $107.9 million of sums accounted for as owed to


                                                Page 687
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 689 of 900
Approved Judgment                                                             HC-2015-001324
Mr Justice Hildyard


         Autonomy and counted as recognised revenue being removed from its balance
         sheet.

Not suing debtors

2128. The Claimants alleged that the reseller was not “pursued” for outstanding debts.
      The Defendants maintained that the documentary record in fact shows that
      resellers were chased up frequently; and that in any event, it is not commercially
      surprising if Autonomy did not race to court when there was an outstanding debt
      from its partners. Deloitte monitored debtors and recognised that resellers’
      repayments were being delayed in circumstances where the end-user deal had
      not closed, or amounts had not been received (see below).

Reseller unwillingness to pay
2129. Nor, the Defendants submitted, was there anything in the Claimants’ complaint
      that there were instances when Autonomy did not pursue the VAR for the
      outstanding debts in the meantime (and there were cases, which the Defendants
      depicted as occasional, in which it had made clear that it would not pursue the
      debt).

2130. Whereas the Claimants relied on this as referable, not to unexpected commercial
      exigencies, but to the understanding between Mr Egan and the relevant VAR
      that there was no intention or expectation of the VAR ever being required to pay
      out of its own resources, the Defendants characterised this as ordinary
      commercial positioning and behaviour, which did not signify that the VARs
      were not on risk. They also relied on the fact that Deloitte monitored debtors
      and aged debt: and did not make any objection on that score.

2131. Almost as a throw-away additional point, the Defendants suggested that in point
      of fact the documentary record show that VARS were chased up frequently”:
      but although there were a few examples showing this, chasing letters were sent
      by members of the Finance Department who were unaware of the arrangement
      in place, and who were told to desist by those in the know (and see paragraph
      2153(4) below).

MAFs

2132. I have referred above to the payment of MAFs but it is convenient to bring
      together the strands of the Claimants’ case in this regard before addressing the
      Defendants’ case that they were a yet further example of neutral features”
      distorted and incorrectly criticised by the Claimants.

2133. The Claimants’ case on the payment of MAFs was not that they were
      intrinsically abnormal or inherently objectionable, but that none of the VARs
      did anything substantial to merit their payment. The Claimants focused
      especially on the following aspects:

         (1)      The absence of any contractual provision for, and yet the expectation on
                  the part of VARs of, payment of a MAF, which the Claimants submitted


                                           Page 688
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 690 of 900
Approved Judgment                                                              HC-2015-001324
Mr Justice Hildyard


                  illustrated how such arrangements between Autonomy and its VARs
                  were established informally, outside the “four walls of the contract”, and
                  despite express contractual provisions precluding side arrangements.
                  This, they submitted, demonstrated a readiness on the part of both
                  Autonomy and the VARs to keep important parts of their agreement out
                  of the written contract. They also made the more general submission
                  that the fact that this important element of the overall arrangements was
                  not expressed in the VAR agreements demonstrated that it would be
                  wrong to assume that there is anything improbable about the notion that
                  the parties might have agreed upon important matters that were not
                  recorded in the written contract.

         (2)      Secondly, the Claimants also criticised some of the payments of MAFs
                  to resellers when in the event a direct deal was done and the VAR deal
                  was, in effect, replaced. They contended that in such circumstances, the
                  VAR had in reality done nothing to warrant reward (still less provided
                  any marketing assistance), had been released from any risk or obligation,
                  and deserved no reward. They submitted that this was a concrete
                  illustration of Autonomy…buying revenue again”.
         (3)      Thirdly, the Claimants relied on instances where (as was for example the
                  case in the Capax Discovery/Eli Lilly transaction) the VAR’s entitlement
                  to a MAF was recorded in writing in terms which (they submitted) did
                  not fairly and honestly represent the true reason for the payment, thus
                  further demonstrating Autonomy’s propensity dishonestly to
                  misrepresent the true nature of its payments and inducements. The
                  Claimants provided as an example a letter drafted by Mr Kanter in the
                  course of the Capax Discovery/Eli Lilly transaction which they
                  contended was typical and stated as follows:
                          To formalize our prior discussion, Autonomy Systems Limited (
                         Autonomy”) and Capax LLC ( Referral Partner”) agree to the
                         terms and conditions of this letter agreement ( Agreement”) as
                         follows:
                         Referral Partner will: (1) introduce Autonomy into the deals with
                         Eli Lily ( End-user”); (2) obtain quotes from Autonomy on behalf
                         of the End-user; and (3) work with the End-user to assist in
                         executing purchase orders and contracts with Autonomy.
                     Autonomy will: (1) pay Referral Partner commissions in the
                     amount of US$629,000, as a result of Referral Partner s direct
                     and proximate participation in the account; (2) deliver products
                     directly to End-user; and (3) use reasonable efforts to provide
                     mutually agreed upon sales assistance. …”
2134. The Claimants submitted that the letter was plainly designed to give the
      impression that it was formalising prior discussions as to what role the VAR
      would perform – and that, in return for the performance of that role, Autonomy
      would pay the commission; and that was so although by the date of the MAF
      letter quoted above (30 September 2010), it was perfectly clear that Capax


                                            Page 689
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 691 of 900
Approved Judgment                                                              HC-2015-001324
Mr Justice Hildyard


         Discovery had not done any of the things the letter said it had agreed to do. The
         Claimants gave another example of an email from Mr Kanter approving a MAF
         on the Capax Discovery/FSA transaction, in which Mr Kanter stated that he had
         been impressed by Capax’s contribution whilst in fact knowing there had been
         none.

2135. The latter point posed two rhetorical questions, one bearing on impropriety and
      the second bearing on the Defendants’ knowledge of it:

         (1)      First, why, if Autonomy had nothing to hide in relation to the reasons for
                  this payment, Mr Kanter chose to resort to relying on a fictitious basis
                  for the payment and the documents under which they were made. In
                  connection with the payment of MAFs the Claimants also contended that
                  the indications of what they characterised as pre-textual emails seeking
                  to describe why a MAF was being paid indicated the substantive
                  impropriety of the payment.
         (2)      Secondly, whether it is likely that they were intending to mislead Dr
                  Lynch, or whether it is more likely that there was a discussion in which
                  Dr Lynch knew and understood the real reason why the VARs were
                  being paid and that it was better dressed up.

2136. The Defendants submitted that the Claimants’ premise, and the assumptions
      they had made and required their experts to make, was that (a) any impugned
      VAR transaction was improper and thus (b) any MAF that was paid, being (on
      that assumption) a fee paid in return for some improper revenue recognition,
      was another facet or demonstration of impropriety; but there was no basis for
      these assumptions, and nor was the inference justified.

2137. The Defendants submitted that, contrary to the Claimants circular” approach,
      the starting point should be, and the evidence was, that the VAR did take on
      risk, for which it expected reward; and that in those circumstances, the payment
      of a MAF was a sensible and appropriate course where for one reason or another
      the reseller which had gone on risk could not otherwise make its margin (for
      example, where Autonomy and the reseller eventually made a direct deal, and
      the VAR lost its customer).

2138. It was not disputed that MAFs were common in the software industry, usually
      in the range of 10% to as much as 30% of the deal price and something HP itself
      employed. The Defendants reminded me especially that Deloitte were aware
      that Autonomy paid MAFs, including in situations (such as the Kraft deal
      addressed in more detail below) where the deal went direct and the reseller was
      being compensated for lost margin.

2139. Mr Welham confirmed that he did not think that the fact that fees were paid to
      VARs for their agreeing to become fully on risk for VAR deals was improper ;
      and he confirmed in his evidence that if a deal had gone direct and Autonomy
      thereafter agreed to pay the reseller a commission or payment fee
      notwithstanding that the risk they had undertaken would no longer eventuate



                                            Page 690
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 692 of 900
Approved Judgment                                                                  HC-2015-001324
Mr Justice Hildyard


         since they had been released, this was essentially a commercial decision for
         Autonomy and did not affect revenue recognition.

2140. The Defendants also drew my attention particularly to the following passage
      from the Deloitte memo on changes to Autonomy’s VAR agreements:

                       In 2009, four deals with Morgan Stanley ($4.6m), Eli Lilly for
                      ($6.1m), Kraft ($4.3m) and Manufacturers Life Insurance
                      ($1.1m) that were initially sold through VARs Microtech
                      (Morgan Stanley and MLI) and Capax (Kraft and Eli Lilly) were
                      eventually done through Autonomy, Kraft was signed with
                      Autonomy in Q4 2009 and the remainder were signed in 2010.
                      In 2010 two deals initially sold through Discover Technologies
                      (Phillip Morris International $2.9m, Citigroup $5.5m) were
                      eventually done direct with Autonomy.

                      In a normal deal, the VAR signs with Autonomy, then signs a
                      (slightly higher value) deal with the end-user, making a margin
                      on the way. However, when the end-user decides to sign direct
                      with Autonomy, then there is a contract between the VAR and
                      Autonomy, a contract between the end-user and Autonomy, but
                      no contract between the VAR and the end-user. In this situation,
                      per the explicit terms of the VAR agreement, the VAR would owe
                      Autonomy for the deal signed; without having a customer.




                      The issues were resolved in a way that ensured the VAR retained
                      the margin they would have got, had the end-user actually signed
                      with them. In the example of Citigroup, Autonomy resolved the
                      issue with the VAR by entering into a tri-party agreement,
                      whereby Citigroup paid Autonomy in full and Autonomy then
                      paid the VAR their margin based on the amounts due on the
                      original PO.


                      These events highlighted the issue of risk for the VAR s – relying
                      only on the goodwill of Autonomy towards its resellers rather
                      than formal legal recourse was deemed to be too high, and hence
                      the clause was agreed.”


2141. Mr Egan’s evidence was that MAFs were justified in either context, and that he
      saw nothing wrong with paying them. In cross-examination he said this:
              Q. Now, from time to time Autonomy paid what was called a marketing
             assistance fee to a VAR, do you remember that?
                      A. I do



                                                Page 691
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 693 of 900
Approved Judgment                                                            HC-2015-001324
Mr Justice Hildyard


                      Q. And that was a way of compensating the VAR for its agreement to
                      take on the liability to pay?
                      A. Correct.”
2142. From Mr Baiocco’s and other VARs stated perspective, there was nothing
      untoward, unusual, or still less improper, in being paid for taking on the risk
      which the VAR agreements unequivocally imposed on the VAR. Mr Baiocco
      saw it as a fee for the risk undertaken, sometimes in effect as a guarantor (as it
      was put in the Goldberg Segalla letter) (and see paragraph 2024 above). If he
      was released because a direct deal was substituted that position was historic, but
      nonetheless real; and the VAR should properly be compensated for lost margin.
      He never read or cared about the various letters that referred to MAFs.

2143. The Defendants’ answer to the second point in paragraph 2133(2) above was
      thus that the MAF was in each case in effect a fee for standing as guarantor, and
      thereby enabling Autonomy to recognise revenue at a time that was
      commercially advantageous to it; and that there was nothing wrong with that.
      But the converse of the Claimants’ argument against a MAF was circular insofar
      as it depended on establishing impropriety but likewise the Defendants’
      argument was premised on the VAR actually being at real as distinct from
      nominal risk (which, of course, the Claimants submitted was never the case).

2144. The Defendants did not substantively address the Claimants’ first point (see
      paragraph 2133(1) above) as to the absence of any contractual provision for
      payment of a MAF and what that demonstrated as to the parties’ real attitude to
      the “entire agreement” clause and the prohibition of any side agreement or
      understanding. I recognise that neither such a clause nor such a prohibition
      precludes uncovenanted payment; but the convention of payment of a MAF
      does resonate with the alleged convention that the VAR would never be called
      on to fulfil its obligations.

2145. As to the two questions raised in paragraph 2135 above, the Defendants sought
      to dismiss as an overblown forensic point” the Claimants’ criticism of the
      various ‘MAF letters’ and the suggestion that, by referring to the VAR as a
      Referral Partner” and stating that the payments were for direct and proximate
      participation in the account”, they were apt and designed to mislead. Dr Lynch
      contended that the letters were in standard form for a MAF and not bespoke;
      each contained language which was properly usable, even if not entirely suited
      to the particular case, and also contained language imposing a restriction on
      competition from the reseller, which was of value to Autonomy, supporting their
      substance.

2146. In other words, the Defendants’ answer was that there was no intent to disguise:
      the explanation (use of a standard form) was more prosaic. But that does not
      answer the email referred to in paragraph 2134 above; nor to my mind, what
     happened in various of the transactions, including the impugned VAR sale for
                                   end-user FSA. Thus:




                                             Page 692
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 694 of 900
Approved Judgment                                                             HC-2015-001324
Mr Justice Hildyard


         (1)      In his email (sent to Mr Hussain and Mr Egan, dated 6 October 2010
                  subject Capax”) Mr Kanter stated:

                          Having been impressed with Capax s contribution to the FSA
                         transaction, I am comfortable that they have earned a marketing
                         assistance fee in line with our standard terms. I have prepared
                         the attached to document properly the transaction. Please can I
                         have your views.”

                  Mr Egan responded Agreed” and Mr Hussain responded ok”.

         (2)      The impression given was of a specially produced draft recording the
                  particular transaction and of a payment in exchange for a contribution to
                  the end-user transaction with the FSA.
         (3)      Dr Lynch told me in cross-examination that although he was not
                  involved in the transaction, he did know that Capax Discovery were
                  doing a lot of the work to actually show the technology and use it for
                  FSA and that would be a very helpful contribution”. However, there is
                  no record in the evidence of Capax Discovery having done such work in
                  2010 and Dr Lynch accepted that if there was none, his assertion would
                  fall.
         (4)      The letter sent to Mr Baiocco by Mr Kanter dated 6 October 2010 which
                  was in similar terms to one sent in respect of the Eli Lilly sale (see
                  paragraph 2133(3)), described Capax Discovery as Autonomy’s
                   Referral Partner” and recorded that Capax Discovery was to introduce
                  Autonomy into deals with the FSA; obtain quotes from Autonomy on
                  behalf of the FSA and assist in executing purchase orders and contracts.
         (5)      Mr Baiocco’s evidence (which was not challenged, and which I accept)
                  was that Capax Discovery did none of these things; and I never discussed
                  any of this with Autonomy”. In further unchallenged evidence, which I
                  also accept, he stated:
                          In actual fact, we did not make any attempt to license Autonomy
                         software to the FSA or participate in setting the terms of the
                         license that I understand Autonomy sold to the FSA”.

2147. The Claimants made the further point that in opening they had especially
      signposted that they wished to cross-examine Mr Kanter about the MAF letters
      (amongst other things), and were deprived of the opportunity to do so because
      Dr Lynch then decided not to call him. They invited the inference that Mr Kanter
      was not called because (a) he could give no honest explanation of the misleading
      way in which the MAF letter agreements were drafted and (b) he would have
      implicated Dr Lynch. As to (a), I prefer to approach the matter on the simple
      basis that I have been left to determine the matter on the basis of the balance of
      probabilities without the benefit of any contrary evidence from Mr Kanter, or




                                            Page 693
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 695 of 900
Approved Judgment                                                                HC-2015-001324
Mr Justice Hildyard


         any verification of an innocent explanation. On the evidence available, and in
         all the circumstances, I consider that it is more likely than not that the letter was
         in crafted (and not template) terms, and was intentionally misleading. I return to
         (b) later.

2148. As will appear from my assessment of individual impugned VAR transactions
      later in this judgment, the FSA example was typical of the payments of MAFs
      made to “friendly” VARs, with variations as to the manner of payment
      according to whether or not any end-user eventuated. As will be seen, their
      payment was a pattern; the justification set out in the letters sent to VARs to
      document their payment was invariably included as a pretence to the reasons for
      their payment; and that pretence was kept up to both the Audit Committee and
      Deloitte.

Summary of Defendants position

2149. In the round, the Defendants sought to present a position that even if in many
      instances of impugned VAR sales Autonomy was involved in negotiations with
      the prospective end-user, Autonomy’s objective was always voluntarily to assist
      the VAR to obtain and close a contract between the VAR and that end-user; and
      that even though there were occasions on which the culmination of the
      negotiations was that the end-user preferred to contract directly with Autonomy,
      none of this revealed anything such as to indicate that for the purposes of IAS
      18.14, the risks and rewards of ownership of the goods” had not transferred to
      the VAR, nor signified that Autonomy retained managerial involvement or
      effective control over the goods sold” to the degree usually associated with
      ownership.”

2150. They ascribed the various ways in which VARs were released from liability as
      part of the ordinary course of commercial dealings necessitated by unexpected
      commercial exigencies.

2151. Dr Lynch also noted that for the vast majority of the impugned VAR
      transactions Autonomy did receive the cash. As stated in his written closing
      submissions, of the $176,400,000 of revenue which the Claimants allege in
      Schedule 3 of their Statement of Case was reported by Autonomy on those deals,
      Autonomy received approximately three-quarters in cash. The dispute, of
      course, was as to how such payments had been funded, though the Defendants
      rejected the Claimants’ allegation that in no case had the VAR provided funds
      which did not originate from some transaction with Autonomy such as a
      ‘reciprocal’ or ‘circular’ transaction.

2152. As part of this presentation, the Defendants also sought to depict the direct
      contracts between Autonomy and an end-user, and the neutral features”
      identified above, as occasional, and not part of any invariable or even standard
      ‘pattern’. The Defendants did not really offer an answer if those features
      presented in a ‘pattern’, as was the Claimants’ case that they did; and they offered
      nothing except assertion to the contrary, and reference without any evidence to



                                            Page 694
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 696 of 900
Approved Judgment                                                                    HC-2015-001324
Mr Justice Hildyard


          it being atypical of an unidentified mass of VAR transactions which were not
          impugned, to contradict the evidence which emerged that in not a single one of

         the impugned VAR sales was the VAR actively involved in negotiating with the
         end-user, and in not a single one did a contract between the VAR and the enduser
         result. In every instance, any end-user contract was between Autonomy and the
         end-user, and in 11 out of 30 no contract eventuated at all.249

2153. Thus, and as in some instances already observed in the course of examining
      what the Defendants averred to be neutral features”,

         (1)      Although the Defendants submitted that it would not prevent revenue
                  recognition if materially all the interaction post-sale was between the
                  end-user and Autonomy, they steered away from the reality that time and
                  again, Autonomy was not assisting the VAR: it was excluding the VAR,
                  and dealing exclusively with the end-user as if no VAR transaction had
                  occurred.
         (2)      Linked to that, whilst the Defendants submitted, and Mr Welham agreed,
                  that the prospect (or in the case of deals subject to the revised contract
                  wording, express contemplation) that there might be a direct deal
                  between the end-user and Autonomy did not prevent the risk being
                  transferred to the reseller at the time of the deal, and nor did the
                  occasional decision to deal directly at the insistence of the end-user,
                  Deloitte warned the Audit Committee, and the Defendants appear to
                  have appreciated, that the opposite conclusion would follow if in truth a
                  direct deal was the intention and a routine or repeated result.
         (3)      The Defendants’ assertion that the fact that in most cases a transaction
                  between Autonomy and the end-user resulted made clear their awareness
                  of the importance of the result in terms of the propriety of revenue
                  recognition: the actual position, which was that no such transaction ever
                  eventuated in the case of any impugned VAR transaction tells its own
                  story against them.
         (4)      Dr Lynch’s suggestion that in point of fact the documentary record shows
                  that VARS were chased up frequently” was obviously directed to
                  buttressing the notion that Autonomy’s behaviour did not depart from an
                  ordinary commercial norm, with Autonomy doing what might be
                  expected in the case of a reluctant payer. However, in the limited number
                  of cases in which Autonomy did chase payment, the efforts were
                  unsuccessful and not pursued; and, for example, when, in respect of the
                  Eli Lilly transaction (VT4), Mr Baiocco complained on behalf of Capax
                  Discovery that, contrary to his understanding of the basis of the VAR
                  transaction, he was being pressed for payment before receiving any




249
   Though the Defendants made the same point as I have recorded in footnote 274 to paragraph 2116
above.


                                              Page 695
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 697 of 900
Approved Judgment                                                                           HC-2015-001324
Mr Justice Hildyard


                  payment from Eli Lilly, Mr Egan interceded and the calls pursuing
                  payment were stopped.250

         (5)      Whilst the Defendants submitted that the occasional cancellation of a
                    VAR deal, and the issue of a credit-note and payment of a MAF to a


                  VAR, did not necessarily impact on the original revenue recognition,
                  Deloitte warned, and the Defendants appeared to accept, that if that
                  became the norm or routine, again the assessment could well change.
                  Their attempt to depict the issue of credit notes and very substantial
                  write-offs on the basis that bad debts arise in business” and to pass off
                  the write-off and credit notes issued in the short Dark Period” as a
                  normal housekeeping exercise”, reveals an acute consciousness of this;
                  and the like applies to the cancellations.
         (6)      With particular reference to the write-offs made and the credit notes
                  issued in the “Dark Period”, debts written off (as shown in Autonomy’s
                  main general ledger (“DDS”) (included $2.3 million owed by
                  MicroTech (VT13) and some $2 million owed by Realise (VT15) as well
                  as £1.6 million owed by Sales Consulting (VT9) and £1.8 million owed
                  by Red Ventures (VT19)) – the first two being transactions impugned by
                  reference to a side agreement, and the latter two being “Collectability
                  VARs). Ms Harris originally tried to claim that all of these debts had
                  already been fully provisioned, so that the write-offs made “no difference
                  to profit and loss, it’s just a balance sheet tidy-up exercise.” However,
                  when she was shown an analysis that made clear there had been no
                  provision for Red Ventures or MicroTech, and only a partial provision
                  for Sales Consulting, she had to accept that these were substantive
                  writeoffs, and no mere “tidy-up”.251 Other impugned VAR transactions
                  that led to write-offs in the Dark Period, as shown in the same analysis
                  included VT14 (£2.7 million net write off shown), VT17 ($1.7 million
                  net write off shown), and VT22 ($1.1 million net write off shown). The
                  list of credit notes included several credits to VARs, including Capax
                  Discovery (through its parent company Capax Global), DiscoverTech
                  and MicroTech, including (for example) $4 million in respect of
                  VT25.252



250
    See also my discussion of VT4 in the Schedule of Impugned VAR transactions attached to this
judgment.
251
    As noted by the Claimants in their written closing submissions, she fell back on saying that the
provisions in issue had been made in Q3 2011, and included in the $45.6 million of bad debt expenses
recorded for the quarter. As she admitted, where provision is made in the quarter that does result in a
charge to the P&L.
252
    The exact quantification of the amounts written off or the subject of credit notes in relation to VAR
transactions was disputed. The Claimants gave a figure of $130 million for the total amount of the
revenue “clean up” but accepted that only a proportion related to impugned VAR transactions. The
Defendants appeared to accept that write-offs relating to impugned VAR transactions exceeded $15
million, and credit notes issued in respect of VARs impugned by reference to a ‘side agreement’


                                                 Page 696
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 698 of 900
Approved Judgment                                                                         HC-2015-001324
Mr Justice Hildyard


My conclusion as to whether a pattern emerges and what is revealed

2154. The Defendants accepted that the transactions did, for the most part, consistently
      evince the features identified by the Claimants. The real dispute was whether
      those features were “neutral”.
2155. Perhaps unsurprisingly, the Defendants could point to features which were not,
      in themselves, unusual. I accept that it is not unusual or objectionable, of itself:



         (1)      For a software seller to effect a genuine sale to a VAR at the very end of
                  a quarter in order, for example, to avoid being squeezed on price by a
                  prospective end-user hopeful of exploiting (entirely legitimately)
                  quarter, half or year-end pressures on the software seller to get a better
                  deal;
         (2)      For a software seller to effect a genuine sale to a VAR after failing to
                  conclude a transaction with the end-user before the end of the relevant
                  accounting period (as the Claimants conceded in their Reply and Mr
                  Welham accepted);
         (3)      For the VAR, in the context of such a deal late in the quarter, to have no
                  time to assess the status or prospects of an end-user sale, or even the
                  identity of the end-user, otherwise;
         (4)      For there to be no negotiation on the VAR sale price where there was no
                  real issue as to the prospective onward sale price (typically because of a
                  standard price or price range for the software sold);
         (5)      For the VAR in certain instances to act merely as a fulfilment partner
                  (usually when acting, as FileTek did, as an approved intermediary for
                  end-sales to US government institutions such as USDVA) and not to add
                  any real value beyond processing the paperwork;
         (6)      For the software seller to be involved with the VAR in negotiating an
                  end-user sale (for example in the case of an established customer of the
                  software supplier);
         (7)      For there to be occasions, though they would be rare, where the end-user
                  decided it would only deal directly with the software supplier and some
                  arrangement would have to be made with the VAR to ensure that it was
                  not out of pocket and that Autonomy was not paid twice;
         (8)      For there to be occasions (again rare) where the end-user might be
                  instructed by Autonomy to pay the VAR instead of Autonomy again to
                  avoid double exposure or double recovery;



exceeded $18 million (in addition to credit notes of some $23.2 million in respect of transactions where
Autonomy had cut out the VAR, dealt directly with the end user and was compensating the VAR).


                                                Page 697
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 699 of 900
Approved Judgment                                                                      HC-2015-001324
Mr Justice Hildyard


         (9)      For the VAR to be issued a credit note for similar reasons (though again
                  this would be rare);
         (10)     For the VAR to be paid a MAF either as reward for its assistance or
                  compensation (if a deal went direct) for lost margin.


2156. However, it is unusual, and both revealing and potentially objectionable:

         (1)      For the VAR to have no expectation at any time of any involvement at
                  all in any discussions or dealings with the prospective end-user or any
                  other potential end-user;

         (2)      For the VAR in fact to be entirely passive and cede entirely to the
                  software seller all negotiations with the prospective or other end-user and
                  to take no part in them;

         (3)      For the VAR not to expect to be consulted about the terms or even told
                  of them (until after the event), or be party to any contract concluded by
                  Autonomy with an end-user, or be involved in the delivery of software
                  to such end-user;
         (4)      For the VAR routinely to agree to payment instalment dates for which it
                  routinely made no apparent provision and failed to pay in time, as if they
                  were never intended to have any actual effect253;

         (5)      For the VAR not to be pressed or even reminded by the software seller
                  about failures to pay on instalment payment dates;
         (6)      For the VAR to take on legal risk in an amount well beyond its ability as
                  a practical matter to pay on the instalment dates;
         (7)      For the VAR to be dependent on the software seller to remit to it or credit
                  it with the proceeds of the end-user sale, and, if no end-user sale
                  eventuated, simply to await some other form of rescue by Autonomy;
         (8)      For a combination of the above to be typical of its largest VAR purchases
                  from the software seller time and time again.


2157. Further, the Defendants efforts to validate the impugned transactions require
      careful scrutiny. In many instances, those submissions were premised on fact
      patterns which at first blush appeared similar to what in fact occurred but which
      were on analysis subtly but materially different. In other instances, the factual
      matters relied on by the Defendants were not established, or they were revealed
      to be either incorrect or confined to special situations.




253
   Mr Rabinowitz made the point in his reply that in only three of the 37 impugned VAR transactions
did the VAR pay the licence fee by the due date, and in each of those three cases (VT5, VT23 and
VT37) Autonomy had put the VAR in funds.


                                               Page 698
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 700 of 900
Approved Judgment                                                                         HC-2015-001324
Mr Justice Hildyard


2158. For example, it was submitted in Dr Lynch’s written closing that the Claimants
      were mistaken in repeatedly questioning what services or value a reseller was
      likely to bring to the transaction, and that “it would not matter if the reseller
      was not going to fulfil any role at all, other than purchasing the goods, going
      on risk for that purchase, and thereafter fulfilling the end-user’s purchase
      order.” They placed reliance on the FileTek ‘fulfilment only’ transaction in Q3
      2010 (VT18) as an exemplar of a standard form of VAR relationship in the
      industry. In this regard, the Defendants relied especially on Mr Szukalski’s
      evidence in cross-examination to this effect, and his assertion that an agreement
      under which the VAR was required to do nothing at all after the VAR sale to it
      except ‘fulfil’ any end-user sale negotiated and contracted for by Autonomy was
      “very common practice”. But this carried no weight: Mr Szukalski was in no
      position to make such an assertion. FileTek carried on no business as a VAR254,
      and (though he had worked for several software companies) Mr Szukalski had



         no evidenced experience of practices in reselling such as to give any credence
         to his view.

2159. Further, even in the FileTek transaction in Q3 2010 (VT18), which the
      Defendants promoted as the VAR deal which took the Claimants furthest,255
      there was no evidence that FileTek was intended to fulfil the end-user’s
      purchase order except possibly in a nominal or mechanical sense and at
      Autonomy’s direction. Mr Szukalski confirmed that FileTek’s role was simply
      “holding the paperwork for those 45 days (i.e. pending closure of the USDVA
      end-user deal) and in exchange we’d earn a certain margin on the deal…So
      that’s what we were asked to do.”

2160. Neither in the FileTek transaction nor in any other of the impugned VAR
      transactions was the VAR to play an active role or do anything on its own behalf
      at all. Even the residual task suggested of fulfilling the end-user’s purchase order
      was of no substance. If, in any instances, the VAR was left or required to ‘fulfil’
      the purchase order (presumably by making available its access code) that would
      simply be at Autonomy’s direction in fulfilment of Autonomy’s contract and
      not its own, and all that was required to ‘fulfil’ the purchase order was delivery
      of the software; and that could be, and I would assume was, achieved
      electronically on Automater.

2161. Similarly, the Defendants again sought to illustrate their case by promoting the
      FileTek transaction as showing that even in this transaction the VAR always
      undertook real risk. They conceded that email exchanges between Mr Szukalski

254
    Mr Szukalski told me in cross-examination that he had never wanted to do the deal because reselling
was not part of FileTek’s business at all, and he confirmed that FileTek had never resold Autonomy
software. He had wanted Autonomy to use another company owned by the same person as FileTek
called Centennial; but Autonomy had insisted on FileTek.
255
    Dr Lynch’s written closing submissions stated that the evidence in respect of the FileTek transaction
for end-user USDVA “of all the reseller transactions...in fact takes the Claimants’ case the furthest”.
That was a fairly transparent ‘Aunt Sally’.


                                                 Page 699
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 701 of 900
Approved Judgment                                                             HC-2015-001324
Mr Justice Hildyard


         and Mr Loomis made clear that Mr Szukalski was given to understand by Mr
         Egan that there would be no real risk for FileTek. But they sought to make a
         virtue of the concession by also contending that even in that context, Mr Egan
         had made clear that any indication of his did not bind Autonomy and that
         FileTek’s legal risk was unaffected. Further, they depicted what Mr Egan had
         said as soft-soap: all that Mr Egan had said was that (as Mr Egan put it in
         crossexamination) “If, for some reason, the [USDVA] deal was not completed,
         Autonomy would use all efforts to find another end-user for the same software
         or some other way to make sure that FileTek would get paid and could then pay
         Autonomy.” This was referred to as “backfilling” and the Defendants sought to
         present it merely as in the nature of an assurance of co-operation to substitute a
         new end-user. “Backfilling” was simply a euphemism for Autonomy trying to
         establish a direct deal with another party; the question is whether Autonomy
         would have pursued FileTek (or any other VAR in the impugned VAR
         transactions) for the purchase price it had agreed to pay, and the answer is, in
         my judgment, plainly ‘no’.

2162. What shone through the evidence, in my judgment, was that FileTek was given
      assurances which satisfied Mr Szukalski and Mr Loomis that FileTek would
      never in fact be called for the purchase price. That was, as it were, the “bottom
      line”. Mr Szukalski admitted in cross-examination that but for those assurances,


         FileTek could not have proceeded: the amount of the deal was far above its
         ability to pay, and any real risk would have posed an existential threat.

2163. Thus, in important respects the impugned VAR transactions did not satisfy even
      the Defendants’ formulation in paragraph 2155 above. On the contrary, the
      analysis that the argument necessarily occasioned demonstrated that the VARs
      did not expect to be nor were further involved with either the end-user or any
      onward sale, or indeed to do anything at all except co-operate with any
      arrangements that Autonomy might make to ensure that the VARs were not left
      “on the hook”, and receive payment of a MAF which in most cases was the only
      real reason that the VARs were prepared to accept the legal risk.

2164. In my judgment, (a) the impugned VAR transactions manifest both aspects of
      the pattern which the Claimants have alleged and (b) the pattern provides further
      confirmation that in reality (i) the VAR sale did not impose any obligation on a
      VAR of any intended economic consequence (ii) the only real sale was where
      one eventuated pursuant to Autonomy’s negotiations with an end-user, and (iii)
      the only source from which Autonomy ever expected any actual payment
      (otherwise than out of its own funds) would be an end-user sale.

Relevance of Deloitte’s approval of revenue recognition
2165. In this context, as in all others, the Defendants relied on the approval given by
      Deloitte and the Audit Committee as showing that the transactions were within



                                           Page 700
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 702 of 900
Approved Judgment                                                                  HC-2015-001324
Mr Justice Hildyard


         the margins of propriety and that, even if they were not, the Defendants were
         entitled to assume that they were.

2166. The Defendants instanced paragraphs 82 to 84 of a letter from Taylor Wessing
      LLP on behalf of Deloitte to Travers Smith LLP, written in response to a letter
      of claim setting out the basis for a claim in negligence by Autonomy (now
      controlled by HP) against Deloitte, where it was stated as follows:

                      “Deloitte did in fact carefully consider and review each of the situations
                      in which a contract with a VAR was cancelled and the deal was
                      completed directly with the end-user, in order to understand the reasons
                      for the cancellation and entry into a direct contract with the end-user.
                      This included ensuring that the sale had not been double counted. With
                      the exception of the Capax / Kraft transaction, which had no impact on
                      the 2009 year-end results, and which was the first time Deloitte had seen
                      such a cancellation, these transactions were also all raised with the
                      Audit Committee.
                      The fact that the earlier transaction with the VAR was ultimately
                      cancelled does not however change the fact that in each case it had been
                      appropriate to recognise revenue on the original contract between
                      Autonomy and the VAR.
                      In each case, as at the time of considering the original transaction with
                      the VAR, there was a binding and non-cancellable agreement in place
                      between Autonomy and the respective VAR, and under that contract the
                      risks and rewards had passed to the VAR.
                      It is not appropriate in such circumstances to reverse the earlier
                      recognition of revenue. The revenue was properly recognised.
                      Circumstances then changed. As Deloitte was ultimately satisfied with
                      the circumstances of the cancellation of the original contract with the
                      VAR, there was no need to consider the need for Autonomy to adjust and
                      re-issue the previous quarter results.”

                      [Underlining as in the original]


2167. As foreshadowed above, however, what the Defendants’ submissions did not
      grapple with was what was missing from the information available to Deloitte,
      and what they were not told, even when they raised concerns. This included,
      most importantly:

         (1)      Deloitte were never told or aware that it was never intended by either
                  Autonomy or the VAR that the VAR would have any role or say in the
                  negotiations with the end-user;
         (2)      Deloitte were never told or aware that in the negotiations between
                  Autonomy and the end-user after each impugned VAR sale Autonomy
                  was at best indifferent as to whether any sale to the end-user should be


                                                Page 701
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 703 of 900
Approved Judgment                                                              HC-2015-001324
Mr Justice Hildyard


                  by the VAR or by Autonomy. Deloitte were left with the impression that
                  ‘direct’ deals were exceptional rather than the planned norm, and were
                  unaware, since Autonomy did not mention the VAR sale and appeared
                  to be acting as principal, that the end-user would always be most likely
                  to contract (if at all) with Autonomy as the person it had always dealt
                  with and the supplier of the software;
         (3)      Thus, for example in the Kraft deal (see paragraphs 106 to 121 of the
                  Schedule of Impugned VAR Transactions), Deloitte were never told or
                  aware that the VAR had never been involved in any negotiations and a
                  direct deal had always been envisaged; on the contrary, the purchase
                  order which was the source of the information given to Deloitte stated in
                  terms that (a) the end-user and VAR were anticipating entering into a
                  license transaction with one another and that (b) any direct deal, though
                  possible, was an unlikely event”.
         (4)      Autonomy’s response to Deloitte’s expression of concern (in its Q1 and
                  Q2 2010 reports to the Audit Committee) about a possible pattern of
                  direct deals, and their warning that this might jeopardise Autonomy’s
                  ability to recognise revenue at the point of sale to the VAR, was to
                  represent in Q3 2010 (as was in Deloitte’s Q3 2010 report) that there had
                  been no further such direct deals; whereas in fact Autonomy had entered
                  into a direct deal that very quarter (Q3 2010) with the FSA (VT10) which
                  it concealed from Deloitte until much later.
         (5)      Deloitte were repeatedly misled by Autonomy as to the ability of
                  ‘friendly’ VARs to meet out of their own resources the legal obligations

                  they assumed, and they were unaware that such VARs were reliant upon
                  the assurances given by Mr Egan that Autonomy would never require
                  such payment and would engineer another means of funding the
                  obligation.
         (6)      Finally, and in summary, Deloitte were never told, and certainly were
                  not given any full or proper understanding, of the assurances given to the
                  relevant VARs by Mr Egan, nor therefore of the shared understandings
                  between the parties which rendered every impugned VAR sale artificial
                  and/or merely a device to give the appearance of a transaction which
                  would give rise to revenue whereas in reality it would never do so.
(6) The Defendants knowledge of improper accounting

2168. That brings me to the issue of the Defendants’ knowledge: in other words,
      whether the Defendants knew that the VAR transactions lacked substance, that
      the only real sale would be if and when one eventuated between Autonomy and
      an end-user, and that the recognition of revenue at the amount and time of the
      VAR sale was improper.

2169. Obviously, Mr Hussain was more directly and routinely involved than was Dr
      Lynch; and it is appropriate to deal with them each in turn.



                                            Page 702
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 704 of 900
Approved Judgment                                                                     HC-2015-001324
Mr Justice Hildyard


Mr Hussain s knowledge

2170. The Claimants summarised in six points their case that Mr Hussain was well
      aware of the true nature of the impugned VAR transactions and their improper
      accounting treatment and presentation.

2171. First, Mr Egan’s evidence was that it was Mr Hussain who was the architect and
      defined the parameters” of the practice of using VARs for at risk deals” or (as
      Mr Hussain called them) acceleration deals” to accelerate revenue
      recognition256; and it was Mr Hussain who selected which deals, and in what
      amounts would be taken to a VAR, and which VAR to approach and who
      directed Mr Egan to give the assurances to the VARs that they would not be left
      on the hook” or holding the bag”.

2172. Mr Egan added that Mr Hussain:

              (1) gave him “specific instructions to follow so that these deals would be
                  accepted by Autonomy’s auditors (Deloitte)”;



              (2) “provided guidance to [him] regarding what was, and was not,
                  acceptable to communicate in my conversations with VARs”,

              (3) “laid out explicit rules about what could be offered as incentives to the
                  VARs, what was required of the VARs, and what could not be part of any
                  deal”,

              (4) instructed him to say that it would be Autonomy which “would continue
                  its efforts to sell to the end-user” and that “the VAR was not expected to
                  participate in these sales efforts”, and

              (5) directed him to assure the VARs that, though nothing could be put in
                  writing, “if Autonomy was ultimately unable to close a deal with an
                  enduser, there were various options that Autonomy had to “fix” the
                  situation for the VAR so that it would not end up having to pay for the
                  software from its own resources”.


2173. According to Mr Egan’s evidence, Mr Hussain was thus well aware of the
      assurances given. Mr Egan accepted in cross-examination that, as far as he was


256
   “At risk deals” were (in Mr Egan’s terminology) sales to the VAR where the VAR had not yet
agreed a sale with the end-user. Mr Egan explained in his witness statement that prior to 2008/9
Autonomy had frequently sold its software through resellers, but none was an “at risk deal”:
Autonomy had always required the VAR “to first obtain a purchase commitment from its customer, the
end-user. Then, and only then, would we accept an order from the VAR for the relevant software.” The
Defendants’ case was that Mr Egan had confused the chronology and that Autonomy had routinely
undertaken “at risk deals” once it had changed from US GAAP to IFRS accounting which permitted
revenue recognition before “sell-through”.


                                              Page 703
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 705 of 900
Approved Judgment                                                                  HC-2015-001324
Mr Justice Hildyard


         aware, Mr Hussain was not involved in negotiations or discussions with VARs
         prior to any impugned VAR sales. However, when it was suggested to Mr Egan
         (by reference to one of the Capax Discovery sales) that it was “just an
         arrangement between you and Mr Baiocco and it wasn’t something that Mr
         Hussain knew about” he was very clear and adamant in his insistence that he
         knew “first-hand that Mr Hussain knew about it”. Furthermore, he told me that
         Mr Hussain:

                       had much more interaction with the VAR after a deal, particularly if a
                      deal required some form of unconventional conclusion; like if a deal
                      ultimately had to be cancelled and dealt with in a different way, in those
                      circumstances Mr Hussain was often more involved.”


2174. As indicated in the Introduction, Mr Egan’s witness statement appeared to me
      to be over-lawyered; and he was, as also noted previously (see paragraph 1977
      above), restricted in what he could say without peril, having agreed with the DoJ
      not to offer any contradictory evidence or arguments on pain of immediate
      prosecution without defence for breach. But when he gave his oral evidence
      (over a video-link, which was adequate) he struck me as substantially reliable
      in what he said about the institution and development of the at risk” VAR
      selling programme and Mr Hussain’s part in it.

2175. His cross-examination elicited answers supportive of the defence based on the
      notion that the arrangements with the VARs did not affect their legal liability to
      pay, and the transactions fell to be accounted for in accordance with their
      contractual definition. He agreed repeatedly and with enthusiasm that (a) his
      understanding was that what happened was legal because the assurances given
      to and understandings established with the VARs were not legally enforceable,
      did not in any way affect the VAR’s legal obligation to pay and thus were not,
      as he understood it, “side agreements” in a legal sense, and (b) he saw nothing

         wrong in paying the MAFs as compensation for the VAR’s agreement to take
         on the legal liability to pay. But his cross-examination did not, in my judgment,
         unsettle materially his account of the derivation, development and
         implementation of the post-2008 VAR at risk” sales strategy.

2176. Secondly, it was the unchallenged evidence of Mr Welham that Deloitte was
      never told of the existence of any side agreements. As an accountant, Mr
      Hussain well knew that information about any side agreements or
      understandings needed to be provided to Deloitte. Indeed, Mr Hussain signed
      management representation letters to Deloitte confirming the absence of any
      side agreements. Given Mr Hussain’s actual knowledge of Mr Egan’s assurances
      to the VARs, it follows that Mr Hussain deliberately misled Deloitte.

2177. Thirdly, Mr Hussain knew, from his own close involvement in the transactions,
      that Autonomy did not intend the VAR to do anything to achieve an onward sale
      or to make payment from its own resources. Mr Hussain knew that Autonomy



                                                Page 704
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 706 of 900
Approved Judgment                                                                    HC-2015-001324
Mr Justice Hildyard


          would continue to try to achieve a direct end-user deal, as though the VAR
          transaction had not happened.

2178. Fourthly, Mr Hussain was intimately involved in the steps taken to unwind the
      VAR transactions in accordance with the fundamental understanding that the
      VAR would never be left on the hook” or holding the bag”, as was his deputy,
      Mr Chamberlain.

2179. Fifthly, Mr Hussain was a qualified accountant. He can be taken to have
      understood that the effect of the oral agreements or understandings between
      Autonomy and the VARs and the parties’ intentions in respect of the same was
      that which has been explained by Mr Welham, Mr Holgate and Mr MacGregor.
      There was no evidence from Mr Hussain to suggest that he made an innocent
      mistake about this.

2180. Sixthly, Mr Hussain’s knowledge of the improper accounting for the VAR
      transactions is reinforced by his involvement in misleading Deloitte about the
      relevant facts. An example emphasised especially by the Claimants was his
      conduct after Deloitte had warned Autonomy management and the Audit
      Committee in its Audit Committee reports for Q1 2010 and Q2 2010 that a
      pattern of VAR agreements being replaced by direct sales to end-users might
      jeopardise Autonomy’s ability to recognise revenue at the point of sale to the
      VAR.257 Mr Hussain assured Deloitte, and Deloitte’s Audit Committee report
      for Q3 2010 noted that there had been no further reversals of VAR transactions
      in the form of direct deals between Autonomy and end-users, thus supporting
      Autonomy management’s policy of continuing to recognise revenue at the point
      of sale to the VAR. Yet Mr Hussain knew, but concealed from Deloitte and the


         Audit Committee, that in that very quarter (Q3 2010), another VAR transaction
         (namely VT10, Capax Discovery/FSA) had in fact been replaced by a direct
         agreement between Autonomy and the end-user. Mr Hussain plainly did this in
         order to avoid the consequences of which Deloitte had previously warned,
         namely that Autonomy’s ability to recognise revenue at the point of sale to the
         VAR would be imperiled. This same phenomenon recurred in later quarters,
         right up until Autonomy’s acquisition by HP, but Mr Hussain continued to
         conceal this from Deloitte.

2181. Further, Mr Hussain’s knowledge of the falsity of the accounting treatment can
      be inferred from the numerous other respects and occasions in which Mr
      Hussain misled Deloitte about relevant facts, including as to the rationale for



257
   Deloitte came to learn in the first half of 2010 of a small number of transactions that had been
concluded between Autonomy and three VARs, which were later replaced by a direct deal between
Autonomy and the end-users. The transactions where Deloitte knew that this had occurred were VT3
(Capax Discovery/Kraft), VT7 (MicroTech/Manulife), VT8 (MicroTech/Morgan Stanley), VT4 (Capax
Discovery/Eli Lilly) and VT12 (DiscoverTech/PMI).


                                              Page 705
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 707 of 900
Approved Judgment                                                                 HC-2015-001324
Mr Justice Hildyard


         the reciprocal purchases that were made to put the VARs in funds to pay down
         their debt to Autonomy.

2182. I accept these points, which are in my judgment, amply illustrated and supported
      by a review of the individual impugned VAR transactions to which I turn below.
      In my judgment, Mr Hussain had ‘guilty knowledge’ of the artificiality of the
      impugned VAR transactions and their improper accounting treatment and
      presentation.

Dr Lynch s knowledge

2183. Mr Egan said Dr Lynch was not involved in dealings with VARs. He told me
      that he was not suggesting that he could give evidence about what Dr Lynch
      thought or knew. There was not the transaction-specific or direct evidence
      against Dr Lynch that there was against Mr Hussain.

2184. Nevertheless, the Claimants’ case is that the body of evidence as a whole
      establishes Dr Lynch’s knowledge of the artificiality and improper accounting
      of the impugned VAR transactions.

2185. First, they submitted that it is clear on the evidence that Dr Lynch had personal
      knowledge of many of the end-user negotiations and was well aware from the
      inception that, where no end-user deal had been executed by quarter-end,
      Autonomy used a VAR to recognise the revenue instead.

2186. Thus, for example, in relation to one of the very first impugned VAR
      transactions, Capax Discovery/Kraft (VT3), Mr Hussain emailed Dr Lynch on
      25 September 2009, just before quarter-end, saying “I have an idea on kraft”.
      Dr Lynch’s omission to address this email, which was expressly pleaded, in his
      witness statement was characteristic of a notable evasiveness on all questions
      on the issue of his knowledge. His oral evidence in cross-examination was as
      follows:
                      “Q. Mr Hussain would have spoken to you to tell you what the idea was,
                      yes?
                      A. Well, there would have been some communication I assume, yes.
                      Q. That idea, I suggest, which was the second line there, that idea, his
                      idea on Kraft, was to use a value added reseller to take over the Kraft
                      deal and so enable revenue to be recognised in Q3 2009, correct?
                      A. I suspect so, yes.”


2187. He at first sought to deny any specific knowledge and asserted that he was
      generally not involved”. He then accepted that he would usually come to know,
      but that he would only find out what had happened once the dust had settled”.
      The following passage from his cross-examination captures this:

                      “Q. So you would have known, I think you’re saying, at the latest very
                      shortly after quarter end that there had been a deal with a reseller?


                                               Page 706
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 708 of 900
Approved Judgment                                                                  HC-2015-001324
Mr Justice Hildyard


                      A. Yes, I would probably have known -- again I don’t know but I would
                      probably have known shortly after quarter end. That’s the most likely.”


2188. My impression was, however, that Dr Lynch was seeking, by this formulation
      by reference to a time by which he would have known of the transactions, to
      avoid accepting that he knew of their progress well before they were executed
      as VAR sales. I note also, for example, that on occasion, such as in Q1 2010, it
      was Dr Lynch who added the VAR’s name to the revenue route-map for that
      quarter. I have concluded that Dr Lynch kept a careful eye on the transactions
      and was well aware of their progress, even if he may not always have recalled
      more than the headline amount involved. The principal factors that have led to
      my conclusion are summarised below.

2189. Email evidence confirms that Dr Lynch had a keen interest in the typically large
      VAR deals which became necessary to fill the gaps, and I do not accept that he
      only came to know of such matters after the end of the quarter. A comparison
      between revenue achieved and revenue forecasted was supplied regularly by Mr
      Hussain to Dr Lynch in schedule form; and the need for recognised revenue
      would not have been lost on him. I do not accept his evidence that the situation
      was so frantic and dynamic” that he had no time to keep track.

2190. The size of the deals, and their importance in the achievement of revenue
      forecasts, also would have been likely to capture his attention. It is highly
      unlikely that Mr Hussain would not have kept Dr Lynch carefully and
      continuously informed. In this regard:
2191. Many of the impugned VAR transactions were amongst the largest, by revenue,
      in a given quarter.

         (1)      As illustrated in the relevant slide, in each of Q4 2009, Q1 2010, Q3
                  2010, Q4 2010, Q1 2011 and Q2 2011, the disputed VAR transactions
                  accounted, in aggregate, for over $20 million of reported revenue in that
                  quarter, and they were key to Autonomy meeting its revenue and
                  earnings per share targets.

         (2)      The pattern as regards the principal ‘friendly’ VARs in the Relevant
                  Period is also striking and would surely have measured with Dr Lynch:
                         i.    Capax Discovery entered into 10 impugned VAR transactions
                               generating licence revenue of over $48 million. It did not enter
                               into any other VAR transactions with Autonomy above $1
                               million.

                         ii.   MicroTech entered into 9 impugned VAR transactions
                               generating licence revenue of over $43 million. MicroTech
                               entered into only one VAR transaction with Autonomy above $1
                               million (in an amount of $1.1 million), which is not impugned.




                                                Page 707
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 709 of 900
Approved Judgment                                                               HC-2015-001324
Mr Justice Hildyard


                      iii. DiscoverTech entered into 8 impugned VAR transactions
                           generating licence revenue of over $39.5 million. It did not enter
                           into any other VAR transactions with Autonomy above $1
                           million.

                      iv. FileTek’ s sole VAR transaction was for $10 million.

         (3)      The impugned VAR transactions accounted for 88% by value of
                  Autonomy’s VAR transactions above $1 million in the Relevant Period
                  generally.

2192. Secondly, the Claimants submitted that though he professed to be unaware of
      the detail, Dr Lynch knew that it was not intended that the VAR would
      participate in the end-user negotiations.
2193. Again, Dr Lynch’s evidence in cross-examination on this aspect struck me as
      contrived. Ultimately, he appeared to be taking a legalistic position that because
      the VAR had purchased the goods, and thereby acquired control of them,
      Autonomy could do nothing to stop it being involved in negotiations with an
      end-user for onward sale, and that it followed that anything done by Autonomy
      was at the behest of and in conjunction with the VAR and not unilateral or
      exclusive of the VAR. But all this was theory and not reality, as I think Dr Lynch
      well knew.

2194. The reality, I have concluded, is that Dr Lynch would never have expected or
      tolerated a VAR taking over control of negotiations commenced by Autonomy
      with one of Autonomy’s customers, and would have operated on the (correct)
      understanding that none of the VARs had the slightest intention or inclination
      to do so (being content to receive a large MAF for saying and doing nothing).

2195. I agree with the Claimants’ contention that it would have been quite contrary to
      Dr Lynch’s controlling nature to suppose that he expected a VAR to be involved
      in negotiations, which hitherto had been conducted by Autonomy alone and
      which in truth Autonomy expected to result in a direct deal (or no deal). That is
      supported by, for example, an internal email from Dr Lynch dated 7 August
      2010 in the context of the USDVA end-user deal, which illustrates his

         own conception of the negotiations being entirely a matter for Autonomy and of
         vital interest to it. He reminded all concerned that this was “the biggest deal in
         the quarter”, that “ALL of you own this” and the responsibility was theirs to
         bring the end-user transaction to a successful conclusion. He required to be told
         about any problem in securing an end-user deal “IN A F***ING
         MILLISECOND” . I agree with the Claimants’ point that the idea that Dr Lynch
         expected FileTek – a small company which had never previously acted as a
         VAR (whether for Autonomy software or otherwise), never spoken to the




                                            Page 708
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 710 of 900
Approved Judgment                                                                      HC-2015-001324
Mr Justice Hildyard


         USDVA before, and knew nothing about the negotiations hitherto – to take over
         or participate in those negotiations is simply not credible.258
2196. Thirdly, the Claimants submitted that once it is concluded that Mr Hussain knew
      of, and indeed authorised, the giving of assurances to the VARs by Mr Egan,
      the natural inference is that Mr Hussain shared what he knew with Dr Lynch.
      Dr Lynch did not contend that Mr Hussain concealed material facts from him. I
      agree, and the inference is further supported by a more general consideration of
      the way Autonomy was controlled and directed, as I have described in the
      introduction.

2197. In my judgment, it is likely that Dr Lynch would have worked out for himself,
      if he was not the architect of the strategy, the basis on which the VARs were
      contracting with Autonomy, taking on apparently unconditional liabilities for
      millions of dollars on or around the last day of the quarter, with no insight into
      the end-user’s requirements, and with no intention of themselves seeking any
      onward sale to the end-user. The balance of probabilities is, in any event, firmly
      in favour of Mr Hussain having told Dr Lynch of the reality that the VARs had
      proceeded only on the basis that they would never be left “holding the bag”.

2198. I consider and find that Dr Lynch was aware that it was not intended or expected
      that the VAR would ever be called upon to pay out of its own resources, and
      that instead, the understanding was that if and when no end-user sale eventuated,
      Autonomy would either arrange some form of funding or credit note, or failing
      that, simply write off the apparent debt. That is what happened: and I would
      expect Dr Lynch to have been aware of that, either as part of his general
      supervision or because it would have been reported to him by Mr Hussain or
      another in the cabal.

2199. I accept in that regard the Claimants’ submission that it is improbable (the
      Claimants said “inconceivable”) that Autonomy released its legal entitlement to
      be paid millions of dollars by the VAR without first obtaining Dr Lynch’s
      authorisation, or, at the least, being entirely confident of his approval, if not on
      a transaction-specific basis, then at least on the basis of Dr Lynch’s approval of
      a general policy. In this context, the Claimants pointed to the fact that neither of
      the individuals whom Dr Lynch supposed were involved in the decision, namely
      Mr Hussain or Mr Kanter, had been called to give evidence, and nor was Mr
     Chamberlain (who became increasingly closely involved); they invited the court


         to infer that they could not have given truthful evidence to support Dr Lynch’s
         case.




258
   It is fair to point out, as the Defendants have reminded me was the case, that as at 7 August 2010
there was no VAR yet involved in this deal: and see my discussion of VT18 in the Schedule of
Impugned VAR transactions. The point, however, is that made in the last sentence of paragraph [2195].


                                               Page 709
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 711 of 900
Approved Judgment                                                                HC-2015-001324
Mr Justice Hildyard


2200. The Claimants also submitted that Dr Lynch was personally involved in many
      of the steps taken to ensure that no VAR would be left “holding the bag”, and,
      for example, that he:

         (1)      Personally gave approval for Autonomy to make purchases from the
                  VARs in order to put them in funds to pay down their debt to Autonomy,
                  such as the purchase of the ATIC licence and the Federal Cloud Platform
                  from MicroTech, the DiscoverEngine purchases from DiscoverTech and
                  the further StorHouse purchases from FileTek; and

         (2)      Knew of and authorised the further steps taken by Mr Hussain in Q3
                  2011 to make the VARs whole prior to HP’s takeover of Autonomy by
                  means of very considerable write-offs and credit notes to forgive or set
                  off their indebtedness.


2201. I deal in more detail with Dr Lynch’s personal involvement in the impugned
      VAR and reciprocal transactions which I address in the next main section of this
      judgment.

2202. As to (2), in cross-examination, Dr Lynch sought to distance himself from these
      steps by asserting that they were a frolic on the part of Mr Joel Scott259, without
      authorisation from the UK team. He was adamant when cross-examined that he:



                      “…was not involved at all in any programme to make VARs whole, and
                                 [he] was not involved in any of the write-down or reversal
                            decisions…[and] in fact…didn’t know about them at the time.”


2203. Dr Lynch contended that Mr Scott’s contrary evidence in the US criminal
      proceedings, which was in evidence before me under a hearsay notice, should
      be given no weight. He made the point that Mr Scott had been granted immunity
      by the US authorities (for which he implied suitably supportive evidence for the
      prosecution was the price) and had not provided a witness statement or attended
      to be cross-examined in these proceedings. Further, he suggested that
      contemporaneous emails did not support Mr Scott’s position that he had been
      directed to do what he had done by Mr Hussain, directly or through Mr
      Chamberlain.

2204. I have not felt able to accept Dr Lynch’ argument. The documents make clear
      that the exercise of writing off debts was overseen from England by Mr
      Chamberlain, Mr Hussain’s deputy, and a member of the small group or cabal



259
   The “whistleblower” who had been Autonomy Inc’s Chief Operating Officer and “came forward”
in May 2012.


                                              Page 710
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 712 of 900
Approved Judgment                                                                HC-2015-001324
Mr Justice Hildyard


         of managers with and through whom Dr Lynch managed and directed the
         Autonomy group (see paragraphs 1093 to 1094 above). Ms Harris agreed that
         she would have expected Mr Chamberlain to have discussed write-offs with Mr
         Hussain. I consider it much more likely than not that Mr Hussain was involved;
         and I agree with the Claimants that Dr Lynch would have been kept informed,
         and such large write-offs probably needed his approval.

2205. Fourthly, as to Dr Lynch’s knowledge that the accounting treatment of the VAR
      transactions was incorrect and improper, the Claimants submitted that Dr Lynch
      had approved payment of MAFs on the terms of MAF letters which sought to
      justify the payments by reference to the purported performance by the VAR of
      services which Dr Lynch must have known the VAR was never intended to or
      never did provide. The Claimants cited as typical the MAF letter (dated 30
      September 2010) for the Capax Discovery/Eli Lilly transaction, which included
      the following:

                      “To formalize our prior discussion, Autonomy Systems Limited
                      (“Autonomy”) and Capax LLC (“Referral Partner”) agree to the terms
                      and conditions of this letter agreement (“Agreement”) as follows:
                      Referral Partner will: (1) introduce Autonomy into the deals with Eli
                      Lily (“End-User”); (2) obtain quotes from Autonomy on behalf of the
                      End-User; and (3) work with the End-User to assist in executing
                      purchase orders and contracts with Autonomy.
                      Autonomy will: (1) pay Referral Partner commissions in the amount of
                      US$629,000, as a result of Referral Partner’s direct and proximate
                      participation in the account; (2) deliver products directly to End-User;
                      and (3) use reasonable efforts to provide mutually agreed upon sales
                      assistance. …”


2206. The Claimants invited me to read this and other similar MAF letters as plainly
      designed to give the impression that it was formalising prior discussions as to
      what role the VAR would perform, and that, in return for the performance of
      that role, Autonomy would pay the commission. They described this as simply
      a false paper trail.

2207. Dr Lynch told me in cross-examination that he did not know whether he
      approved this letter; but to address the obvious difficulty that it was a
      characteristic of Autonomy’s true relationship with the VARs in the impugned
      VAR transactions that they certainly were not intended to and never did have
      any “direct and proximate participation in the account”, it was contended in
      his written closing that this was “standard form language and was capable of
      being used” and also that the “agreement also had forward-looking obligations
      including a restriction on competition from the reseller.” His closing
      submissions dismissed the Claimants’ point as “a forensic rather than real
      one.”




                                               Page 711
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 713 of 900
Approved Judgment                                                             HC-2015-001324
Mr Justice Hildyard


2208. The Claimants also relied on the fact that the MAF letter agreements were
      drafted and signed by Mr Kanter, a member of Dr Lynch’s inner circle. During
      the oral opening, the Claimants signaled that this would be a matter for Mr
      Kanter’s cross-examination: “We will have to ask Mr Kanter when he comes to
      give evidence on whose instructions he does this.” In the event, Mr Kanter did
      not give evidence. The Claimants were thereby deprived of the opportunity to
      cross-examine Mr Kanter. The Claimants submitted that it should be inferred
      that Mr Kanter was not called because (i) he could give no honest explanation
      for the misleading way in which the MAF agreements were drafted and (ii) he
      would have implicated Dr Lynch.

2209. Plainly it would have been interesting to hear any explanation from Mr Kanter.
      However, it seems to me likely that he would simply have reiterated Dr Lynch’s
      explanations of the MAF letters and their content. As explained in paragraph
      2147 above, I prefer to determine the issue without relying on the inferences
      contended for by the Claimants and simply on the basis of the balance of
      probabilities revealed by the evidence available to me.

2210. I consider it plain that the MAF letters did not reflect the reality: the reality was
      that the VARs were not expected to do anything, and the MAFs were the reward
      for their co-operation and assumption of a risk which, though in my view not
      intended to be enforced, was nevertheless legally enforceable.

2211. I accept and find that the MAF letters were contrived in order to give the paper
      impression, especially to Deloitte, that the payments were not for the VARs’
      cooperation in accepting legal risk and in signing confirmation letters that this
      legal risk was not subject to any side agreement, but for their contribution to the
      onward sales.

2212. The Claimants’ sixth point was in two parts: (a) that Dr Lynch worked closely
      with Mr Hussain, a qualified accountant, and must have understood from him
      that Autonomy’s accounting was wrong, which is why Dr Lynch “supported
      the steps taken by Autonomy’s management to mislead Deloitte and the Audit
      Committee about the true facts”; and (b) that Dr Lynch himself had a sufficient
      grasp of accounting and the accounting standards to know that recognising
      revenue on the impugned VAR transactions was wrong. Both parts relate to and
      invite a determination of the question whether in the case of the impugned VAR
      transactions Mr Hussain and Dr Lynch did know that, on the true facts, revenue
      recognition was improper.

2213. I address that question by reference to the individual impugned VAR
      transactions in the Schedule of Impugned VAR Transactions that accompanies
      this judgment. However, it is convenient to mention now four points advanced
      by the Claimants in support of their case as to Dr Lynch’s own understanding
      of the accounting standards which are not fact-specific and are of general
      application, and which raise an important question as to what really was Dr
      Lynch’s subjective understanding by which of course he must be judged:



                                          Page 712
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 714 of 900
Approved Judgment                                                                 HC-2015-001324
Mr Justice Hildyard


         (1)      The first is that Dr Lynch accepted in cross-examination that he knew
                  that the correct question to ask was whether Autonomy had transferred
                  to the buyer the significant risks and rewards of ownership of the goods.

         (2)      The second is that Dr Lynch accepted that, if the reseller/VAR only had
                  to pay for the product if the end-user bought the product, the transaction
                  did not qualify for revenue recognition, and that “the way [he] would
                  interpret it” the reason was that in that scenario the reseller had not taken
                  on the unconditional risk of having to pay for the goods it had bought.

         (3)      Although Dr Lynch asserted in his oral evidence that he understood that
                  any assurance had to be legally enforceable in order to affect revenue
                  recognition, that assertion should be rejected. Dr Lynch accepted that
                  Deloitte never told him that everything turned on what the written
                  contract said. Dr Lynch also accepted that he was familiar with the
                  concept of substance over form.

         (4)      Dr Lynch accepted in cross-examination that he knew that there was
                  “some sort of managerial control test to do with having control of the
                  goods” and “that the customer had to have control of the goods”.


2214. In my view, it is fair to add that in giving those answers Dr Lynch had made
      clear that he was not an expert and could only speak to his “limited
      understanding”. It is also fair to add that in his answers Dr Lynch never stated
      expressly (as the Claimants stated he had) that his understanding was that “any
      assurance had to be legally enforceable in order to affect revenue recognition”.
      It was the Claimants who (both in their questioning and in their written closing
      submissions) repeatedly added the word “legally” before the word
      “enforceable” in restating Dr Lynch’s answers. Dr Lynch in his answers seemed
      to me to shy away from expressly asserting that only legal enforceability
      sufficed. He preferred to instance examples of what would not suffice to
      constitute an impermissible side agreement or assurance. The following answer
      exemplifies how he sought to explain his approach:

               “A. …if someone gives someone general industry patter about, you know,
               “We look after our partners”, but that is not enforceable, then I don’t
               think that’s a problem.

               Q. What if it goes beyond that and it’s an assurance that that will not
               happen, in other words you will not be left –

               A. That’s my point. If it’s enforceable then I would be in agreement with
                  you, if it’s not enforceable then I’m not.”

2215. It is of fundamental importance to distinguish, as sometimes to my mind the
      Claimants failed to distinguish, between on the one hand, Dr Lynch’s own
      genuine but subjective understanding of the applicable accounting principles


                                             Page 713
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 715 of 900
Approved Judgment                                                              HC-2015-001324
Mr Justice Hildyard


         and standards and, on the other hand, an objective determination of their
         meaning (though the latter is also necessary). It is therefore necessary to
         establish what he meant on this important point.

2216. In my judgment, Dr Lynch was aware that something less than a legally
      enforceable agreement would ordinarily suffice. His point was that he thought
      that the provisions of every one of the VAR agreements expressly stating that
      no side agreement would be legally enforceable did effectively negate any
      purported side agreement or assurance. The following exchange later in his
      cross-examination, focusing on the difference between substance and form,
      seems to me to illustrate this:

              “Q. Are you familiar with the concept of substance over form?

              A. Yes.

              Q. And so if the substance of the transaction reflects the fact that there is
              an arrangement, regardless of what form is, regardless of what the legal
              term says, if the substance is there is an arrangement under which the
              VAR is not at risk, you would have known that revenue couldn't be
              recognised?
              …
             A. If obviously the whole thing was a sham, then I agree, but if it's a real
             situation, surely one has to look to the contract to see what it actually is.

              Q. I think you’re accepting you don’t just look at the contract, you look at
                  substance over form. The contract may suggest the form, but if in
                  commercial substance there is a wider arrangement, then that’s what
                  you look at, correct?

              A. Again, I feel like we – you know, I m in a room full of lawyers, you're
                 asking me what legal terms are, and then there's a roomful of
                 accountants. I agree with you that if you had a contract but the reality
                 was the whole thing was cooked up and was a complete sham, then
                 obviously. But in any practical situation, when there's a real contract
                 and it's clear, then surely that is the commercial reality.

              Q. I'm asking you for your understanding at the time?

              A. I think that’s my understanding at the time that I'm giving you.

              Q. You say if you had a contract but the reality was the whole thing was
                 cooked up and it was a complete sham. That's not what I'm suggesting.
                 I'm suggesting you had a contract and a side arrangement attached to
                 that contract which makes it clear that the VA R is not on risk, so that
                 the substance –




                                           Page 714
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 716 of 900
Approved Judgment                                                                       HC-2015-001324
Mr Justice Hildyard


              A. Yes, but then you have to look at the legal agreement and if it says that
                 whatever you're calling a side agreement is worthless and therefore
                 not enforceable, then the legal term is showing that you have a real
                 deal.”

2217. That was the nearest that Dr Lynch came to asserting that only a legally
      enforceable side agreement would alter the substance of the transaction in
      accounting terms. It is of obvious importance to the VAR case more generally
      to determine whether that was truly his understanding and belief (as is his case)
      or whether in truth he appreciated that the substance of the arrangements had to
      be viewed as a whole, had to be determined according to the real intentions and
      expectations of the parties, and that determination would, in turn, be
      determinative of its proper (and mandatory) accounting treatment. That is to my
      mind, indeed, the single most important question to be answered on this part of
      the case.

2218. It seems to me that Dr Lynch persuaded himself that the contractual wording
      gave sufficient protection for what he and Mr Hussain had decided needed to be
      done in order to preserve Autonomy’s reputation as a company which set and
      met growing revenue forecasts, but did appreciate that words on the page of a
      contract could not change reality. He knew that a transaction had to be
      accounted for on the basis of its substance rather than its form, and that
      substance had to be measured according to the true intentions and expectations
      of the parties. If, as I find, he knew that the VARs were proceeding on the basis
      that whilst the contract would be enforceable it would never in reality be
      enforced, he must have appreciated, as a highly intelligent and experienced
      CEO, that the substance of the transaction was different from its legal form.

2219. In short, in my judgment, Dr Lynch knew that the contractual wording did not
      define the contracting parties’ relationship but rather obscured the substantive
      reality that the VARs were placeholders taking on a commercially illusory legal
      liability in expectation (though there was no contractual provision for one)260 of
      a substantial fee.

2220. The seventh and last of the points relied on as establishing the fact and extent of
      Dr Lynch’s knowledge was again in two parts: (a) that Mr Hogenson had
      specifically raised concerns with Dr Lynch about Autonomy’s accounting for
      VAR transactions, which Dr Lynch had purported to have fully investigated but
      in fact had succeeded in smothering; and (b) Dr Lynch contributed to and
      approved Autonomy’s letters to the FRRP, following and prompted by the
      Hogenson episode, which were highly misleading, as he must have known.

2221. In relation to (a) in the preceding paragraph 2220 it is the Claimants’ case
      [addressed further in paragraphs 2232 to 2289 below] that rather than
      investigate dispassionately the concerns expressed by Mr Hogenson, Dr

260
   Further undermining any argument that the relationship between the contracting parties was
exclusively defined by the contract.


                                               Page 715
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 717 of 900
Approved Judgment                                                            HC-2015-001324
Mr Justice Hildyard


         Lynch’s reaction was to push them into the long grass, and then find a reason to
         eject him from the company at the earliest possible opportunity. The Claimants
         contended that

         this is not how an honest CEO would have reacted, and that his conduct betrayed
         his appreciation that Mr Hogenson’s concerns, if not smothered early, would
         reveal the truth. I address Mr Hogenson’s concerns and how they were dealt
         with in greater detail later.

2222. It is sufficient for present purposes to note that those concerns were, for the most
      part, well-founded; that the way they were dealt with was contrived to ensure
      their dismissal without proper investigation; that Dr Lynch was closely involved
      in that process; and that the “Hogenson episode” further demonstrated that the
      accounting treatment of the VAR deals might not survive scrutiny of what Mr
      Hogenson set out.

2223. Similarly, the Claimants contended that Dr Lynch approved Autonomy’s
      response (dated 3 March 2011) to the FRRP’s letter dated 2 February 2011
      seeking information about a number of the VAR transactions, particularly
      Capax Discovery/Kraft (VT3) and Capax Discovery / Eli Lilly (VT4), and that
      the response was materially misleading in a number of respects. They submitted
      that Dr Lynch can only have sought to mislead the FRRP if he appreciated that
      stating the truth would have caused them concern and/or undermined the
      presentation and accounting treatment of the transactions under review.

2224. As to (b) in paragraph 2220 above, Dr Lynch accepted in cross-examination that
      he appreciated that Autonomy’s response to the FRRP needed to be accurate
      and complete. It was apparent from Mr Kanter’s email of 2 March 2011
      attaching a draft that he had looked at Autonomy’s draft response and was
      content with it in final form, as he ultimately accepted in cross-examination. It
      is, as I find later in this judgment, equally clear that the responses given to the
      FRRP were fundamentally misleading.

2225. I address in more detail the FRRP’s requests and Autonomy’s answers at
      paragraphs 2290 to 2336 below. It is sufficient for present purposes to note that
      a central theme of Autonomy’s responses was that it was unusual (indeed
      “almost unique”) for Autonomy, having sold a licence to a VAR for ostensible
      on-sale to an end-user, to enter into a direct agreement with the end-user. As
      the Claimants contended that was highly misleading, as Dr Lynch (as well as
      Mr Hussain who was also involved) must have known.

2226. As at 3 March 2011, this had happened 13 times. Far from being “almost
      unique” it was an invariable characteristic of every one of the impugned VAR
      transactions which resulted in any end-user deal at all. Deloitte, believing there
      had been only isolated incidents, and in ignorance of the extent of the practice
      or pattern, had warned in their Q2 2010 Report to the Audit Committee that
      “significant evidence of such further revenue reversals may jeopardise
      management’s ability to recognise revenue at the point of sale to the reseller.”


                                          Page 716
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 718 of 900
Approved Judgment                                                                HC-2015-001324
Mr Justice Hildyard


         The Defendants knew full well that the practice was incompatible with revenue
         recognition.

2227. For the reasons elaborated later, I accept the Claimants’ case that if Dr Lynch
      (and indeed Mr Hussain) had honestly believed that Autonomy’s accounting
      treatment of the impugned VAR transactions was proper, they would have had

         no reason to withhold the true facts from the FRRP, let alone actively mislead
         the FRRP through false statements and implications. That the Defendants were
         prepared to draft and approve letters to the FRRP (part of the FRC, and in effect
         its Regulator) in these terms reinforces the conclusion that they appreciated that
         Autonomy’s accounting treatment of the impugned VAR transactions was
         improper.


Summary of my conclusions on the VAR case

2228. It may be helpful to summarise now the overall conclusions I have reached on
      the Claimants’ VAR case. I confirm that these conclusions, though stated now
      to assist digestion of my analysis of the individual VAR transactions that
      follows in the Schedule of Impugned VAR Transactions that accompanies this
      judgment, have been reached after my assessment of each of the 37 impugned
      VAR transactions.

2229. In summary, in my judgment:

         (1)      The impugned VAR transactions follow a pattern, of which the
                  characteristics were that (a) they were all undertaken right at the end of
                  a quarter (b) they were all directed and/or encouraged by Mr Hussain
                  with the objective of making good shortfalls (compared with quarterly
                  forecasts) on the recognised revenue from other activities; (c) their value
                  of course varied, but all were of considerable size; (d) almost all were
                  negotiated by Mr Egan; (e) in every case, an enforceable VAR sale
                  contract was made or treated as made before the end of the quarter so
                  that the revenue from it could be recognised in the accounts for that
                  quarter; (f) in every case, the reseller confirmed that there was no side
                  agreement or understanding such as to qualify their contract; and (g) in
                  every case the relevant software was delivered electronically on
                  Automater; but equally, (h) in every case and however transmitted
                  between the reseller and Mr Egan (or whoever was arranging the VAR
                  sale on behalf of Autonomy) the shared intention and expectation of the
                  contracting parties was that the contractual terms, though they had to be
                  seen to be agreed and confirmed, would not ever be enforced, so that the
                  reseller would not seek to use, or negotiate with the prospective end-user
                  to sell, the software (unless and until so directed by Autonomy) nor
                  would Autonomy require payment of outstanding payment obligations
                  until the VAR could pay either out of the proceeds of an end-user sale
                  negotiated by Autonomy or funds from a transaction arranged to
                  generate funds for the reseller to use to pay it and that instead and in the


                                             Page 717
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 719 of 900
Approved Judgment                                                                HC-2015-001324
Mr Justice Hildyard


                  meantime, (i) the VAR’s role would be to accept a nominal legal risk
                  (sometimes called “holding the papers”) but otherwise do nothing
                  further (save if and as required by Autonomy), in return for which (j) the
                  reseller would be paid a MAF, purportedly for its services as a reseller
                  but in fact as a quid pro quo for its passive role. No reseller was to be
                  left “on the hook” or “holding the bag” (as the understanding and
                  intention that all should be insulated against their legal liability was
                  variously described).

         (2)      Deloitte did not see the pattern; alternatively Deloitte preferred to accept
                  reassurances that ostensibly negated its true purpose. In any event,
                  neither the approval of Deloitte nor that of the Audit Committee was
                  fully and properly informed, and the fact of it does not avail the
                  Defendants, who knew that.


         (3)      The strategy which the pattern was designed to implement was to ensure
                  that Autonomy continued to appear to be a company which met its
                  forecasts out of the sales of IDOL and related software, and thus maintain
                  Autonomy’s market following and share price even in difficult trading
                  conditions after the financial crisis in late 2008 and early 2009. The VAR
                  strategy became of additional importance (and increased in volume) after
                  the supplier of hardware originally relied on by Autonomy, EMC drew
                  back from its association with Autonomy. VAR sales, like hardware
                  sales, were increased or decreased according to the revenue shortfall at
                  the end of each quarter. There is a correlation between the throttling
                  back of revenue from hardware sales and the acceleration of revenue
                  from VAR sales in and after Q3 2009 (and most markedly in Q4 2009
                  and Q1 2010) which speaks to the objectives of both.
         (4)      I see no reason to doubt Mr Egan’s evidence that the strategy was first
                  conceived by Mr Hussain; and it also seems clear from that evidence and
                  other documentary evidence that it was directed by Mr Hussain and
                  encouraged and presided over by Dr Lynch, both of whom knew that the
                  transactions were not being accounted for according to their true
                  substance, and both of whom knew that the recognition of revenue on
                  the sale to the VAR was improper, and that the accounts were thus false.
         (5)      Both Defendants thus had “guilty knowledge” of untrue or misleading
                  statements in Autonomy’s published information for the purpose of
                  FSMA and are liable accordingly. The Claimants’ VAR case succeeds.


2230. That conclusion, and the strategy informing and the pattern revealing the
      impropriety of the impugned VAR transactions, is supported and illustrated in
      the Schedule of Impugned VAR Transactions that accompanies this judgment
      in which I address each of the 37 impugned VAR transactions in turn. (I have
      incorporated these in a Schedule to try to make this judgment a little more
      manageable. But I should stress that the findings there should be taken to have
      the same intended status as if in the main judgment itself.)


                                             Page 718
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 720 of 900
Approved Judgment                                                               HC-2015-001324
Mr Justice Hildyard


2231. The variations illustrate the adaptability and incremental development of the
      pattern. The growing number of impugned VAR transactions which were never
      followed by any end-user sale at all, and where Autonomy had, in effect, to
      make good the money it had paid to the VAR whilst leaving the VAR with the
      benefit of the MAF, provided the most lurid illustrations of the use of the
      strategy to generate recognised revenue at very considerable ultimate cost.


The ‘Hogenson episode’
2232. I have mentioned the ‘Hogenson episode’ briefly in various places above. It
      follows incidentally from my conclusion on the VAR case and the individual
      impugned transactions (including all those which caused Mr Hogenson concern
      and prompted his inquiries) that Mr Hogenson’s questions and concerns about
      the way Autonomy accounted for VAR transactions were justified.
2233. Before addressing each of the impugned VAR transactions to illustrate further
      the pattern identified by the Claimants and which I have accepted, I turn to
      consider in more detail the ‘Hogenson episode’. Partly this is in deference to the
      detailed submissions made by the parties. Partly it is because an understanding
      of the way Mr Hogenson’s concerns were dealt with assists an understanding of
      the questions raised by the regulators after the episode. And partly it is because
      the way Dr Lynch dealt with the concerns (which, as will appear, included the
      sacking of Mr Hogenson) seems to me to fortify my conclusions on the issue of
      Dr Lynch’s knowledge.
2234. Although the Hogenson episode gave rise to no claim, it was treated by the
      Claimants as the most telling demonstration of the fundamental dishonesty of
      the Defendants and their knowing participation in the improper transactions and
      accounting which had led to the Claimants’ losses. They concluded the separate
      chapter they devoted to the episode in their written closing submissions as
      follows:
                      “The Court should find that the explanation for the Defendants’
                      conduct is that they knew that Mr Hogenson was on the scent of fraud
                      and were determined to get rid of him, come what may.”

2235. An earlier passage identifies who was involved:
                      “Dr Lynch’s reaction, in concert with Mr Hussain, Mr Kanter and Mr
                      Chamberlain, was to take all steps necessary to undermine, discredit,
                      retaliate against and ultimately eject Mr Hogenson from the company.
                      This is compelling evidence that Dr Lynch felt threatened by
                      Hogenson’s allegations, because he knew them to be well-founded.”

2236. The Claimants also and more generally relied on the spotlight shed on them by
      the Hogenson episode as having provoked Autonomy suddenly to shift away
      from VAR transactions and the impugned ‘reciprocal transactions’ and to resort
      to other different (but so the Claimants contended, equally objectionable and
      surreptitious) means of enabling it to appear to generate recognised revenue and
      cover shortfalls in actual software sales.


                                              Page 719
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 721 of 900
Approved Judgment                                                            HC-2015-001324
Mr Justice Hildyard


2237. In particular, the Claimants pointed to a sudden decline in VAR transactions
      after Mr Hogenson had raised his concerns, accompanied by a sudden increase
      in “pure hardware” sales (from $11.8 million in Q1 2010 to US $31.1 million
      in Q2 2010), together also with an acceleration of hosting revenues through the
      sale of licences (which rose to $32.5m in Q2 2010).
2238. Mr Hogenson had been well regarded in Autonomy. He had been VicePresident,
      Finance at Interwoven Inc before its acquisition by Autonomy in 2009 and had
      made rapid progress in Autonomy. Although Dr Lynch said his title of ‘CFO in
      the Americas’ was overblown and that he was really an operational manager, he
      was described by Mr Anthony Bettencourt (as he was then) (in June 2009) as
      “spot on in the details, digs into the revenue and takes this all very seriously”
      and by Mr Hussain as “Definitely worth keeping, trustworthy and revenue
      driven”.


2239. In Q2 2010, Mr Hogenson emailed Dr Lynch (dated 23 June 2010 but in fact
      sent on 22 June according to West Coast/Pacific time) stating that he had
      become concerned that Autonomy might have engaged in a number of VAR
      transactions, and at least one of what the Claimants label reciprocal transactions,
      which had been wrongly accounted for, leading to a material misstatement of
      revenue in Autonomy’s published information.


2240. The introduction to the email carefully set the context: explaining that the
      concerns it expressed followed on from a review of financial accounts and
      account reconciliations across all business units in the Americas which Mr
      Hogenson had instructed the newly consolidated Autonomy Americas finance
      team to undertake in Q2 2010.
2241. Mr Hogenson expressed these concerns as follows:


                  “During this review I became concerned that Autonomy may have
                  engaged in multiple material transactions with resellers of our
                  software where the available information suggests that we may have
                  materially misstated revenue and income within our reported financial
                  statements in 2008, 2009 and Q1 2010. The evidence that I have
                  gathered suggests that members of your senior management team and
                  other employees may have been engaging in seven and eight figure
                  transactions with resellers where 1) there was no end-user and the
                  reseller does not have the ability to make the payments under the
                  agreement; 2) there appear to be resellers with related party
                  relationships on revenue transactions; and 3) there appear to be barter
                  transactions where the economic benefit on both sides of the
                  transaction appears to be materially overstated.”

                      [Underlining, for emphasis, supplied by me]




                                              Page 720
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 722 of 900
Approved Judgment                                                         HC-2015-001324
Mr Justice Hildyard


2242. Mr Hogenson went on to say that he considered this to be “a qualifying
      disclosure made in good faith based upon the evidence currently available to
      me” (which was no doubt important to him because that categorisation of the
      disclosures insulated him under California law from adverse employment
      repercussions). He requested:
              “a meeting with the audit committee prior to the release of Autonomy’s
              Q2 2010 financial statements to review these matters and ensure that
              material misstatements, if any, are corrected prior to releasing future
              financial statements”.
2243. That initial email gave no particulars or examples: it mentioned no specific
      deals, counterparties, dates or transactions. However, Dr Lynch might be
      expected to have appreciated the seriousness of a concern about potential
      wrongdoing by senior management, especially when expressed by a senior
      employee with finance management responsibilities. It was also clear that Mr
      Hogenson wanted a meeting with the Audit Committee.
2244. Dr Lynch accepted in cross-examination that he understood that Mr Hogenson
      was expressing concern about potential wrongdoing by management and (from
      the request to meet with the Audit Committee) that Mr Hogenson wanted to
      escalate those matters above Dr Lynch’s head. He accepted also that this was
      “a very serious allegation.”
2245. Dr Lynch’s first answer to the concerns raised, however, was that, far from
      being a genuine whistleblower, raising concerns in good faith to ensure that
      Autonomy’s financial statements did not include inaccuracies capable of
      misleading the market, Mr Hogenson’s letter “out of the blue” was prompted
      by another objective: to deflect attention away from serious process problems
      with Autonomy’s payroll systems, which had resulted in a substantial fraud, in
      his own department, which he feared could put his future at Autonomy in
      jeopardy.

2246. The Defendants based this suggestion principally on the fact, revealed by email
      exchanges shortly before Mr Hogenson’s email to Dr Lynch late on 22 June
      2010, that an issue had arisen, which should have been caught during the
      reconciliation process which Mr Hogenson had directed upon becoming CFO
      in the Americas, about certain discrepancies in relation to Autonomy’s US
      payroll systems (which it was part of Mr Hogenson’s job to oversee). The
      Defendants contended that what Mr Vaidyanathan described in an email to Mr
      Hogenson and Mr Chamberlain dated 22 June 2010 as “more payroll stuff
      crawling out of the woodwork!” (which Mr Vaidyanathan reported he was going
      to investigate in detail in San Francisco the next day) was the catalyst for Mr
      Hogenson’s sudden late email to Dr Lynch.

2247. I do not accept this. By 22 June 2010, the problem was identified and needed
      review; but contrary to the Defendants’ case no serious process problem had yet
      been revealed. Furthermore, Mr Hogenson’s concerns as expressed in his 22
      June email to Dr Lynch were of longer standing, and I was not persuaded that
      they were not honestly held. I am satisfied that when he raised them with Dr
      Lynch, he did so in good faith and not for any collateral purpose. I am satisfied


                                        Page 721
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 723 of 900
Approved Judgment                                                            HC-2015-001324
Mr Justice Hildyard


         also that, whether or not there had been a payroll fraud in Mr Hogenson’s
         department (in which it was not suggested Mr Hogenson was at all involved),
         that was not a basis for not treating his concerns properly.

2248. I am satisfied, however, that Dr Lynch instead determined to do his best to push
      Mr Hogenson and his concerns into “the long grass”; and instead of seeking to
      facilitate access to Autonomy’s Audit Committee he sought to put obstacles in
      the way.
2249. A considerable amount of evidence was put forward to show a very detailed
      sequence of events, and factual intricacies on which the Claimants made
      repeated submissions that Dr Lynch was lying about the substance of the matter

         and lying about matters of fact in the process he adopted after receipt of the
         letter. There were curiosities and instances when I cannot accept Dr Lynch’s
         account.
2250. For example, Dr Lynch said that after receipt of Mr Hogenson’s initial email,
      he contacted Mr Kanter and subsequently tried to get in contact with Mr
      McMonigall, then the senior member of the Audit Committee, before finally
      having a phone call with Mr Hogenson himself. Dr Lynch said that, during this
      conversation with Mr Hogenson, “I asked him which members of management
      he was referring to and he told me Mr Hussain and Mr Egan”. He had not
      mentioned this in his witness statements and I doubt that this is accurate. In fact,
      the documentary evidence suggests that Dr Lynch consistently warned Mr
      Hogenson against identifying specific wrongdoers. It would be inconsistent with
      Dr Lynch’s own email dated 24 June 2010 to Mr John McMonigall, in which
      Dr Lynch had reported that Mr Hogenson “refuses to name” the wrongdoers. Dr
      Lynch’s subsequent suggestion, to seek to explain the email, to the effect that
      he had relayed the two names to Mr McMonigall in advance of sending this
      email, and that he had refrained from stating the names in the email itself for
      fear of leaks, was not persuasive. It might, I suppose, have been given credence
      if Mr McMonigall had confirmed it; but Mr McMonigall could not attend for
      undisclosed medical reasons; and no witness statement was provided under
      hearsay notice.
2251. However, since it is not necessary or possible to delve deeper, I shall assume
      that either there were factual details which resolved the explanation or that this
      was a failure of recollection. Even in a judgment of this length, it would be
      disproportionate to rehearse all the details of this and other instances put forward
      by the Claimants; and it is not necessary, since even on the assumption that the
      inconsistency was apparent but not real for whatever reason, the conclusion I
      have reached on the substantive issue is that the Hogenson episode as a whole
      further demonstrates that the Defendants did know that the VAR transactions
      impugned in these proceedings were concocted means of revenue acceleration.
      I can summarise the salient events and features as follows.

2252. It is apparent that Dr Lynch forwarded Mr Hogenson’s email of 22/23 June 2010
      to Mr Kanter soon after its receipt, without any explanatory message (which




                                          Page 722
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 724 of 900
Approved Judgment                                                                     HC-2015-001324
Mr Justice Hildyard


          may suggest an earlier telephonic explanation), but attaching a draft response,
          replete with spelling mistakes characteristic of Dr Lynch.

2253. It seems that Dr Lynch also tried to get hold of the senior member of the Audit
      Committee, Mr McMonigall, initially without success because Mr McMonigall
      was offshore sailing. Dr Lynch could not recall exactly when he had first
      managed to speak to Mr McMonigall; but it seems that he had done so by 24
      June 2010 (and see paragraph [2269] below). Dr Lynch’s evidence was that he
      also spoke to Mr Knights at Deloitte; and an email dated 28 June 2010 261 from
      Mr Knights to Mr Hogenson, Mr Knight and Mr Mercer, promising to respond
      to Mr Hogenson’s concerns “directly to the Audit committee…when we have
      finalized our review”, supported that.


2254. At 5pm on 23 June 2010, and after some small amendments to the draft he had
      attached in his email of that morning to Mr Kanter (presumably reflecting their
      conversations after that), Dr Lynch sent an email, with the finalised draft letter
      attached, to Mr Hogenson, copying in Mr Kanter.

2255. The letter expressed surprise about the concerns Mr Hogenson had generally
      identified, and asked that “as a first step” more information, identifying
      particular transactions of concern, should be provided. Whilst confirming that
      “it is clear that in any case you are acting in good faith and I appreciate your
      efforts” (thus affording Mr Hogenson the “whistleblower” protection under
      California law that he had wanted), Dr Lynch also raised an issue as to whether
      the concerns might be based on a misunderstanding of differences between US
      GAAP and IFRS, or partial information, stating:


                      “In order to provide an accurate statement of the questions as any part
                      of any review, it is important to quickly ascertain whether your
                      concerns have arise [sic] due to:

                      a) Misunderstanding of IFRS tests versus US GAAP tests;

                      b) The fact that (as you correctly state) you have access to only half of
                         the jigsaw puzzle and whether other pieces have already been
                         given to the auditors and Audit Committee (which, as you state,
                         you have not been a part of) and they have taken them into account
                         and already made suitable decisions;

                      c) An accounting policy weakness;

                      d) False information being provided to Autonomy or you have
                         information Autonomy does not have which changes its current
                         view; or


  (which was not referred to in any closing submissions but which was drawn to my attention by the
261

Defendants in commenting on an earlier draft of this judgment).


                                               Page 723
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 725 of 900
Approved Judgment                                                                  HC-2015-001324
Mr Justice Hildyard




                      e) The fact that matters you raise have already been identified and
                         considered as a failing by the Audit Committee and have been
                         addressed.”


2256. Dr Lynch also identified particular areas which he suggested required further
      elaboration and evidence, and in particular Mr Hogenson’s apparent concerns
      (as stated in Mr Hogenson’s initial email) about (a) there being “no evidence of
      sell-through by a reseller”; (b) the use of VARs with “an inability to pay”; (c)
      what Mr Hogenson had called “Related Party Transactions”; and (d)
      “Overstated barter deals.” Of course, on the conclusions I have reached, Dr
      Lynch knew the answers already, as did Mr Kanter and Mr Hussain.
2257. However, Dr Lynch warned against:


                      “involving Sushovan and the rest of the finance team to preserve the
                      integrity of the review. Thus please do not discuss this matter with
                      them.”

2258. He also emphasised the need for speed and invited a response by close of play,
      stating:
                      “in order to quickly get a prima facie analysis of the situation I suggest
                      we start with Q1 2010 as the large transactions in that quarter are
                      fresh in the minds of those involved. Please by return can you list the
                      deals you have concerns with along with the reasons and Andy and I
                      as a first step will investigate what information was known and
                      considered already but [sic] the auditors and share this with you”…


2259. Lastly, Dr Lynch sought to reassure Mr Hogenson that he was “maintaining an
      open mind” and that “[i]f once we have compared the missing pieces we still
      have issues we will rapidly take this to the next level”; but he also sounded a
      warning:
                       I would ask that until we have performed the next step that the
                      language you use is a little more moderate as until we confirm your
                      concerns are valid and not just an artefact of partial information I
                      would not want to inadvertently run the risk of accusing the innocent
                      as emails have been known to escape. I would suggest you use the
                      usual encryption.”

2260. It is now clear that within minutes of sending the email attaching that letter, Dr
      Lynch also telephoned Mr Hogenson from his mobile telephone. Dr Lynch had
      not mentioned the call in his witness statements, and there was no evidence of
      it in the trial bundles. When he was first cross-examined about that telephone
      call, the Claimants questioned him with evident scepticism as to whether it had
      taken place at all. However, Dr Lynch’s recollection of there being a recording



                                                Page 724
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 726 of 900
Approved Judgment                                                               HC-2015-001324
Mr Justice Hildyard


         of it in disclosure proved to be correct: a recording was found showing that the
         call had commenced at 17:06.

2261. In summary, Dr Lynch:

               (1) Reiterated the point made in his letter that the concerns might reflect a
                   misunderstanding of the important differences between US GAAP and
                   IFRS;
               (2) Warned against the danger of making an accusation of dishonesty
                   against anyone without very careful checking, especially under English
                   law, to which Mr Hogenson responded that he had worded his email very
                   carefully “not to accuse anybody, just suggest that the evidence provides
                   information around”;
               (3) Suggested that the most important thing was to “make sure that we’ve
                   understood all the things and dealt with all the possibilities”, and asked
                   Mr Hogenson to provide a few examples “to start with” and to
                   determine whether they showed any real problem;

               (4) Asked Mr Hogenson whether he was “happy with this as an approach”
                   to which Mr Hogenson replied that he thought “it’s a fair approach,
                   absolutely.”
2262. With hindsight it seems to me to be clear that in fact the approach was not
      intended to be “fair”: it was intended to promote Dr Lynch and Mr Kanter’s
      strategy of keeping control of the process and what the Audit Committee was
      told.
2263. Late in the evening on 23 June 2010, and in compliance with Dr Lynch’s rather
      peremptory request, Mr Hogenson sent a letter responding to Dr Lynch’s email
      earlier that day and giving more factual detail about, and examples to illustrate,
      his concerns in each of the areas identified by Dr Lynch. He sought to tie these
      examples in to the provisions of IAS 18.14. He also reiterated at the
      commencement of his letter his “desire to speak directly with the Audit
      Committee prior to the release of the Q2 2010 financial statements.”
2264. Mr Hogenson identified the following concerns, each of which I have found to
      be justified in this judgment:

         (1)      The Capax Discovery / Eli Lilly deal ($6.3 million), on the basis that
                  there was apparently no end-user and the reseller not having the ability
                  to make the payments under the agreement;

         (2)      The MicroLink acquisition, as being between related parties without a
                  proper valuation; and

         (3)      Purchases from FileTek, on the basis that they appeared to be barter
                  transactions where the economic benefit on both sides of the transaction
                  appeared to be materially overstated.




                                             Page 725
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 727 of 900
Approved Judgment                                                                      HC-2015-001324
Mr Justice Hildyard


2265. There followed a telephone conversation in which Dr Lynch probed for more
      details and emphasised that “sell through” (that is an end-user deal) was not
      required under IFRS accounting (unlike US GAAP with which Dr Lynch
      supposed Mr Hogenson was more familiar). Dr Lynch also promised to provide
      more detail on the FileTek fair value point. The call concluded with Dr Lynch
      saying:

                      “Alright, well look, I really appreciate the effort. I hope you've
                      found this useful. We'll send you the document now if you need any
                      more let us know. And, you know, I think once you've done the work
                      you know, I'm very happy to set up a meeting with you, for the audit
                      committee and let me know what you want to do. Obviously, if
                      you've only got one barter and one related party given that those
                      are very easy because we can look up the audit committee notes to
                      see whether the tests were done we can knock those ones out very
                      quickly. Alright, and Brent, I know this a lot of work and I really
                      appreciate the work you've put in.”262




2266. A sourer note was struck by Mr Kanter when emailing Mr Hogenson after that
      telephone call under the subject heading “Follow up” and attaching documents
      going over the matters discussed: in explaining the attachments, he added this:

                      “One thought that did occur to me. We know of a couple of rather
                      dishonest characters who are fronting hedge funds, and by coincidence
                      a couple of phrases you used were reminiscent of them. Please can I
                      ask that if you are getting outside IFRS advice please be very mindful
                      of the need for discretion and please be careful who you consult with.
                      We are happy to arrange any independent training courses you may
                      wish to take on IFRS.

                      Please note that all of this information, especially the board minute
                      and audit pack extracts, are highly confidential and must not be shown
                      to a third party without our written permission, but I hope you will find
                      them useful.

                      I look forward to speaking again soon. Please call me any time with any
                      questions…”

2267. The call was followed by a joint letter to Mr Hogenson from Dr Lynch and Mr
      Kanter, sent as an attachment to an email dated 24 June 2010, setting out again
      Autonomy’s position on VAR transactions. The letter, signed by “Mike and
      Andy”, described Mr Hogenson’s original email in its second paragraph as
      having “made some potentially serious accusations against members of the
      senior management team” and in one of its closing paragraphs as containing

262
   The transcript repeatedly includes the word “umm” in the above passage. This has been deleted in
the quotation because it hinders the plain meaning of what was said.


                                                Page 726
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 728 of 900
Approved Judgment                                                                 HC-2015-001324
Mr Justice Hildyard


           “some very strong accusations against members of the management team”. It
           gave the impression, however, that nevertheless his concerns would be dealt
           with in a measured and detailed way, with a view (it stated) to enable him to
           understand more fully matters “to which you have not been privy, regarding
           revenue recognition and audit decisions.” The basic message was that (a) it was
           understandable that Mr Hogenson might have “jumped to some of the concerns
           you have expressed” but (b) there was so far no new evidence or insight to
           undermine or change the decisions made by the auditors and the Audit
           Committee at the time. The letter added:

                      “Obviously whilst I hope you agree that these particular points,
                      although we may learn good policy lessons from them, once all
                      the information is available do not seem to fit with the original
                      accusations. I am course open to continue investigating any
                      other issues you may have as an open, ongoing process.
                      Consequently as we have now been through this exercise on Q 1
                      and you can now see the effect of the missing information I think
                      it would be fruitful for you to look at 2008. If you could please
                      classify any issues under your concern headings (bulleted
                      below), I will be happy to continue with this exercise in
                      collaboration with you.”


2268. The letter concluded stating that if Mr Hogenson should find wrongdoing by
      members of the management team this should be referred to the Audit
      Committee; but warned that “as under such circumstances it would be required
      for you to name those at fault” it would be “negligent for us to have not
      considered all the information rather than just half of it before presenting it,
      especially under UK law.” Its last paragraph plainly emphasised the real
      message which was that Mr Hogenson should assemble and share whatever
      information he had, not with the Audit Committee but with Mr Kanter:


                      “Lastly, we have contacted the senior member of the audit committee
                      who has suggested that we continue the process of merging each others
                      information to see what we find. He has asked to be keep updated on
                      progress, which will be done by Andy, as part of the standard process.”


2269. On the evening of 24 June at 8.46pm, Dr Lynch emailed Mr McMonigall with
      what he described as a “quick update on the current status”. As previously
      explained, it seems to me that Dr Lynch had already had a brief discussion with
      Mr McMonigall, having tracked him to Nice; but this was the first occasion on
      which Dr Lynch went into any detail.

2270. The Claimants emphasised various questionable features of what Dr Lynch told
      Mr McMonigall in that email263, a draft of which Dr Lynch accepted in cross


263
      Which started with a pun “hope Nice is nice”.


                                                  Page 727
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 729 of 900
Approved Judgment                                                                HC-2015-001324
Mr Justice Hildyard


         examination he had “run past” Mr Kanter (to whom the email was also copied),
         and in particular:

         (1)      The description of Mr Hogenson as “a US financial employee of
                  Interwoven…who had access to the US PO books but is lacking the other
                  rev rec information”: which undoubtedly minimised his status and
                  although not inaccurate did not reflect fairly that he was CFO of
                  Autonomy in the Americas as well as President of Interwoven, and the
                  highest ranking finance person in Autonomy based in the US
                  (Autonomy’s largest market by far);

         (2)      The assertion that Mr Hogenson was refusing to name the senior
                  members of Autonomy’s management team he thought might be
                  responsible for accounting impropriety: which was inconsistent with (a)
                  Dr Lynch’s oft-repeated assertion that Mr Hogenson had named Mr
                  Hussain and Mr Egan, (b) Dr Lynch’s recollection of having told Mr
                  McMonigall their identities also, and (c) Dr Lynch’s strict admonition to
                  Mr Hogenson not to name them formally or in writing unless and until
                  his concerns were fully researched, and furthermore, was calculated to
                  give the impression that Mr Hogenson had not the conviction to name
                  names;

         (3)      The conclusory tone and substance of the report, including the
                  dismissive and patronising conclusion “At this stage nothing seems
                  amiss and the guy is learning a lot but somewhat confused”; which may
                  have reflected Dr Lynch’s own assessment but was also calculated to



                  trivialise the issues raised and condition Mr McMonigall’s mind on his
                  first learning of the nature of the concerns.

         (4)      The final assessment that “He appears to be somewhat backing off his
                  original statement but we shall see…”: which the Defendants breezily
                  dismissed as “a fair comment in light of the conversation which Mr
                  Kanter and Dr Lynch had had earlier that day with Mr Hogenson” but
                  which was far from a complete and accurate depiction of the way the
                  matter was left with Mr Hogenson (and was certainly not borne out by
                  immediately subsequent events).

2271. On 25 June 2010 at 9.43am, Mr Hogenson responded to Dr Lynch’s and Mr
      Kanter’s letter of the previous day. The letter said that he was “confused by a
      few of your statements in the return mail” and that this was probably due to the
      fact that they were “not both accountants speaking with a history of dealing with
      phrases such as Fixed and Determinable”. The letter continued:

                      “As the CFO of Americas, with responsibility for a large portion of the
                      consolidated financial statements as Americas makes up approximately



                                               Page 728
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 730 of 900
Approved Judgment                                                                  HC-2015-001324
Mr Justice Hildyard


                      70% of total revenue, it may make sense that I have a direct conversation
                      with Richard Knights our D&T Audit Partner”


2272. Dr Lynch forwarded that letter to Mr Kanter and in the early hours they worked
      on a response, which went through at least two drafts, the first of which was
      exchanged at 01.34am on 26 June, with further exchanges of minor details early
      in the morning before 9am. Dr Lynch sent the final response to Mr Hogenson at
      08.39am on Saturday 26 June 2010, copying in Mr Kanter.

2273. The response stated that Dr Lynch had contacted the senior member of the Audit
      Committee running the process and that the mandate from him was clear:

                      “He wants you and I to work together to look at these specific
                      examples that have given you concern and add the half of the
                      information that you are missing. We then need to understand from
                      you whether (on the basis of this full information) you are still
                      concerned, and whether these concerns support your original
                      statement about certain individuals, and once we have done this to
                      then look at the overall materiality of these potential issues of concern
                      over the periods you cite. I must stress the issue at hand is to
                      investigate your original statement. I am also interested where you
                      believe you have more information than was given to the company's
                      auditors at the time of them considering these transactions”.

2274. The letter continued, “To provide the senior director the information he needs
      there are a series of actions”. Dr Lynch then set out a series of action points
      including:

              “1: Please can you send any evidence you have of information that the
              auditors should have seen during the periods covered by their past audit
              operations that they did not see, i.e. matters arising preApril 20, 2010.

              2: Please can you provide this direct language from the master IFRS
              definition that requires the examination of the end-user contract
              between the reseller and its customer.

              3: From what I understand, Interwoven, which you have managed
              the finances of for years, has always done a lot of its business
              through resellers, for example via the ishop purchasing process. In
              these cases I believe that no end-user contract is viewed or obtained
              from these resellers yet the revenue is recognised. Can you help me
              to understand why is this case a different one to the above?

              4: Please send the other examples you said you have from 2008.”




                                                Page 729
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 731 of 900
Approved Judgment                                                             HC-2015-001324
Mr Justice Hildyard


2275. The letter concluded:
              “Brent, I really appreciate your effort in this process, and although we must
              remain focused on your original assertion, as a separate process the two of
              us seem to be learning useful things that we should keep note of for future
              improvements in policy. I think it is important that whilst there may be many
              options open to the senior member of the audit committee for different
              things to do, at this stage I obviously must follow the mandate and our
              official policy for dealing with these matters. I look forward to continuing
              this discussion”.


2276. Although the letter referred to Dr Lynch having “touched base with the senior
      member of the Audit Committee”, and the request for information is couched in
      terms of being what that person has specified to be required, there is no evidence
      of any conversation between Dr Lynch and Mr McMonigall between 24 June
      and 26 June 2020. It may be that they had a conversation after Mr McMonigall’s
      receipt of Dr Lynch’s 24 June email; or it may be that the reference was simply
      to the first conversation where Mr McMonigall asked Dr Lynch to gather
      information.

2277. Either way, I consider it more likely than not that the reality of the matter was
      that Dr Lynch (with Mr Kanter) were in truth operating with little, and most
      probably no, specific directions from Mr McMonigall, and the presentation to
      Mr Hogenson of the requests for information being driven by the senior member
      of the Audit Committee was not correct. It may be that this impression might
      have been corrected if Mr McMonigall had given evidence, but he was not
      called. The Claimants invited me to infer that Mr McMonigall could not have
      given truthful evidence to support Dr Lynch; I need not go further than to note
      that the impression I formed was in the circumstances not corrected.

2278. Whether Mr Hogenson sensed any of this, or had other motivations, is a matter
      to which I return later. In any event, Mr Hogenson did not respond to Dr Lynch’s
      letter, which was the last substantive communication between them on the
      accounting issues. In the evening of 26 June 2010 (at 19.36 BST) Mr Hogenson
      sent an email to Deloitte headed “IMPORTANT AUDIT RELATED
      QUESTIONS” detailing his concerns to Deloitte and also noting that he had
      identified questions to Dr Lynch and had further conversations with him and Mr
      Kanter over the past week beginning 22 June 2010, but that despite his requests
      he had not been able to have any direct contact with the Audit Committee.

2279. Mr Hogenson’s decision to write directly to Deloitte put paid to any idea that
      he was becoming persuaded of Dr Lynch’s explanations and preparing to back
      down. Dr Lynch’s response was not satisfactory.

2280. Again, much detailed evidence was submitted by both sides which it would be
      disproportionate to recite at length. Suffice it to say, that having carefully
      considered it, I am satisfied on a balance of probabilities that the objective of
      Dr Lynch and Mr Kanter after Mr Hogenson had sent his email to Deloitte


                                           Page 730
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 732 of 900
Approved Judgment                                                                HC-2015-001324
Mr Justice Hildyard


         (which obviously brought an end to the efforts to kick his concerns into the long
         grass) became (a) to ensure that they were the persons in contact with Deloitte
         and that the Audit Committee were largely kept out of the loop; (b) to present
         to Deloitte the attitude of the Audit Committee (which had in reality not been
         involved substantively at all) as being that whilst of course an investigation
         would be needed, it should be confined to what was necessary to answer Mr
         Hogenson’s questions from an accountancy point of view, (c) to keep Deloitte
         well clear of any investigation of the other aspects of Mr Hogenson’s concerns,
         which in a nutshell were that the transactions might involve conscious
         impropriety on the part of some of those involved in the VAR sales in the USA
         (such as Mr Egan) and (d) thereby to procure that any investigation became an
         exercise for Deloitte of double-checking their previous auditing approach, and
         duly repeating it.

2281. Thus, for example, Dr Lynch continued to be the person dealing with Deloitte
      on the part of Autonomy, and continued to relay the message that the Audit
      Committee considered the issue to be a dry issue of accounting; in the evening
      of 27 June 2010, Dr Lynch wrote to Mr Knights, copying Mr Kanter and Mr
      McMonigall:


                      “I spoke to John [McMonigall] who is sailing.
                      Due to his difficulty in communication he asked me to pass the following
                      request to you. I understand when possible he will be intouch [sic]
                      directly.
                      He would like D&T to consider the questions sent by Brent and rapidly
                      revert back to him. He would only like to focus on material matters.”


2282. The Defendants were assisted in this by the fact that Mr Hogenson did not
      include in his correspondence with Deloitte the references he had initially made
      to concerns about potential wrongdoing, and he framed his email in terms of
      questions rather than concerns: his correspondence was in terms that plainly
      reflected the warnings Dr Lynch had issued. In the event, Deloitte treated the
      letter as raising issues of accountancy judgement; they did not treat it as raising
      issues of potential wrongdoing, and did not regard Mr Hogenson as a
      “whistleblower” in that sense.

2283. Deloitte’s own perception of its role and approach was summarised in the
      Deloitte Defence in the FRC proceedings (which was endorsed by Mr Welham
      in his evidence):

              “307. The audit team (reasonably) did not regard Mr Hogenson’s questions
              to be “whistleblowing” properly so-called (that is, implicitly confidential
              allegations as to management wrongdoing or fraud made by an anonymous
              whistleblower) or as raising any allegation of wrongdoing on the part of
              the audit team. On that basis Mr Hogenson’s questions did not require an
              independent corporate investigation as might be required into a fraud and


                                               Page 731
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 733 of 900
Approved Judgment                                                                          HC-2015-001324
Mr Justice Hildyard


               there was no need for ethical walls to be erected between the investigating
               team and the 2009 audit team.
              308.     It is averred that Mr Hogenson’s questions (which were addressed
              to Mr Knights and Mr Knight) could quite properly have been investigated
              by them alone as no allegation was made of wrongdoing on the part of the
              audit team.
              309.    That said, it was apparent that Mr Hogenson had raised potentially
              important questions as to, for instance, Autonomy's approach to revenue
              recognition and he had done so outside the usual internal Autonomy
              channels. Given that the audit team had accepted those judgements, there
              was an obvious benefit in involving personnel in the investigation who were
              not a party to those audit judgements. It was therefore decided in
              consultation with Deloitte's Head of Audit Risk, Simon Letts, that the
              judgements on the conclusions of the investigation would be made by senior
              members of the firm who had not been involved in the relevant audits. These
              were the new audit engagement partner, IRP and PSR director.
              310.     In consequence the Deloitte team which investigated Mr
              Hogenson's questions was different from the historical audit team. The
              historical audit team (that is, the team which conducted the 2009 year-end
              audit) comprised Mr Knights (engagement partner), Mr Henderson
              (EQAR), Mr Robertson
              (IRP) and Ms Bennett (PSR). Other team members included Mr Welham
              (Senior Manager), Ms Anderson (Manager) and Mr Murray (Assistant
              Manager).
           311.    The Deloitte team which investigated Mr Hogenson's questions
           comprised Mr Mercer (engagement partner) who led the investigation, Mr
           Brough (IRP), Mr Robertson (EQAR) and Mr Lumb (PSR director). Other
           team members who investigated or assisted included Mr Knights, Mr
           Knight (Director), Mr Welham (Senior Manager), Mr Milburn-Smith
           (Senior Manager), Ms Anderson (Manager) and Mr Murray (Assistant
           Manager).”
2284. I discuss later the Regulator’s subsequent concerns in this regard. It is clear,
      however, that Dr Lynch and Mr Kanter had succeeded to a large extent in their
      objectives.

2285. Two important disputed factual matters also deserve brief mention. Once more
      I shall not recite the factual detail of the extended dispute but I am satisfied that
      (a) as Mr Welham stated in his witness statement, Deloitte were not provided at
      the time with Mr Hogenson’s initial emails to Dr Lynch mentioning potential
      management wrongdoing and (b) nor was Mr McMonigall or the Audit
      Committee: or if they were, no one appears to have focused on them (see
      below).264

264
   It appears from an email dated 22 July 2010 from Mr Kanter to Mr Webb QC’s PA (Ms Sandra
Daley), which had not been referred to at trial but to which the Defendants referred me as part of their
comments on an earlier draft of this judgment, that what was described as the “Brent
correspondence.piz” was sent to Ms Daley at the request of Mr Webb in two “zipped files of all


                                                 Page 732
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 734 of 900
Approved Judgment                                                                        HC-2015-001324
Mr Justice Hildyard




2286. As regards the latter point, the email which Dr Lynch had earlier sent to the
      Audit Committee (cc Mr Kanter) forwarding Mr Hogenson’s email to Deloitte,
      which also was belittling of Mr Hogenson’s standing and dismissive of his
      concerns, seems to me to confirm that the Audit Committee had been told next
      to nothing and had either not been shown or had not focused on Mr Hogenson’s
      initial email:

                      “John FYI
                      There is some background on this which we can discuss when you ring.
                      The guy (US finance person from Interwoven) has played no role in the
                      audit process and is missing a lot of the information he would need to
                      understand all this. He seems to confuse USGAAP and IFRS.

                      Our current analysis: We just received this but a quick read’s
                      conclusions:
                      Sushovan has seen the questions and believes there are no issues here.
                      A few of the facts are just wrong or have perfectly good commercial
                      explanations which were considered already by the AC, his
                      understanding of IFRS differs from Deloitte’s (we believe Deloitte is
                      correct) and all of the things he asks if Deloitte (and in most cases the
                      audit committee) have considered and seen were indeed considered.
                      We do not believe there is any new information here relating to any of
                      the past auditing decisions”.

2287. I acknowledge that, subsequently, Mr McMonigall stated in an email dated 8
      July 2010 to Mr Hogenson (in fact Mr McMonigall’s first direct contact with
      him) that he had “seen all of your correspondence on this matter, going back to
      the first email to Dr Lynch, Autonomy’s CEO.” Naturally the Defendants much
      emphasised this. But Mr McMonigall was in reality detached from the process.

         The email was drafted for him by Mr Kanter and sent out without apparent
         review.

2288. The subsequent review by Deloitte, the issues arising as to its independence and
      the inquiries on the part of the FRRP/FRC that followed are separate matters
      which I need not discuss here. Apart from mentioning that the result of all this
      from the point of view of Mr Hogenson was that he was sacked, purportedly by
      reference to the payroll fraud and “other irregularities”, made a settlement to
      forestall claims against Autonomy for alleged breach of statutory whistleblower
      protections, and in exchange for $750,000 provided an affidavit calculated to
      give the impression that he had recanted and ensured that the matter could not
      be aired publicly, I need go no further.


correspondence” apparently attached to the email. The attached zipped files were not in evidence and it
is unclear what they comprised. Mr Kanter might have been able to tell me: but he declined to appear
and his witness statement was withdrawn. Mr Webb’s evidence in his witness statement was that he
“did not deal substantively with the issues raised by Mr Hogenson nor the response to these issues by
the Audit Committee and auditors.”


                                                Page 733
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 735 of 900
Approved Judgment                                                                       HC-2015-001324
Mr Justice Hildyard




2289. The point in summary is that, in my judgment, the ‘Hogenson Episode’ provides
      further support for the conclusion I have reached that both Defendants knew that
      the VAR sales were illusory and improper, and were determined to avoid
      investigation that would reveal this.

      The FSA and FRRP correspondence

2290. I have been fortified further in my conclusions by the lack of candour, and in
      some instances dishonesty, of the way the VAR sales were presented to the FSA
      and the FRRP (to which I shall refer as “the FRRP”, since only the FRRP had
      jurisdiction) in response to their letters seeking clarification of their nature and
      purpose after Mr Hogenson and others (including Mr Tejada) had raised serious
      concerns about their impropriety (and see paragraphs 2232 to 2289 above as to
      the “Hogenson episode”).

2291. I have concluded that these responses were misleading in circumstances where
      candour and truth would have exposed the impropriety of their accounting
      treatment.
2292. Although my focus in this section is intended to be on the falsity of what the
      FRRP were told, and whether the Defendants had knowledge of such falsity, it
      is necessary first to explain the genesis and content of the exchanges in question.

Mr Hogenson s concerns about Autonomy s accounting treatment of VAR sales
2293. On 26 July 2010 Mr Hogenson had emailed the FSA to alert them to various
      questions and concerns he had raised with Autonomy about certain of its VAR
      sales and, in particular, their accounting treatment and what he thought might
      be associated barter sales”. Mr Hogenson had presented his purpose as being:
                       to provide assistance in ensuring that the Autonomy financial
                      statements provided to investors are materially correct and are not
                      misleading current or potential investors.”


2294. Mr Hogenson had justified his direct approach to the FSA on the basis of the
      nature and lack of response” to his questions when raised with the Audit
     Committee and with Mr Kanter (as its COO) and the appearance to him that his
                questions were closed by Autonomy without a serious review or even
             discussion with me.”265


2295. Mr Hogenson had copied his email to Mr Robert Webb QC, who had become
      Autonomy’s (non-Executive) Chairman in mid-2009. Receipt of the email
      appears to have prompted Autonomy to reach out” to the FSA by letter dated
      30 July 2010 in the interests of open communication” (as Mr Kanter explained

  This email was the first time that Mr Hogenson had taken his concerns outside the four walls of the
265

company and its advisers.


                                               Page 734
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 736 of 900
Approved Judgment                                                                        HC-2015-001324
Mr Justice Hildyard


          it in an email to the Audit Committee 266 dated 2 August 2010) 267 . The
                                                           290F                              291F




          Claimants took a different view of its purpose: in effect (though the words are
          mine), being to spike Mr Hogenson’s guns and introduce doubt as to his
          reliability.
2296. Autonomy’s 30 July 2010 letter, which was signed by Mr Kanter on behalf of
      Autonomy (and given its nature, and the unlikelihood that Mr Kanter would
      have signed such a letter without their approval, must in my judgment be taken
      to have been approved by both Defendants) was presented as providing
      background which may assist you in the matter” and included the following
      passages:
                       In summary, Mr Hogenson raised a series of questions to
                      Autonomy's governance bodies. The questions were thoroughly
                      and independently investigated, and the matter concluded. It
                      appears to us that Mr Hogenson is not accepting the conclusions
                      on these matters, and is thus asking the same questions despite
                      the answers being independently confirmed.

                  Investigation

                      Mr Hogenson served as Autonomy's CFO of the Americas for the
                      last year or so. In late June Mr Hogenson raised unspecified
                      accounting questions. The Autonomy directors took the
                      questions raised by Mr Hogenson extremely seriously, and
                      significant time and cost was expended to reach a satisfactory
                      conclusion that the accounts are accurate. The matter was
                      passed to Autonomy's Audit Committee and independent
                      auditors for their review. In working with him via Autonomy's
                      Audit Committee, the deal issues were defined and he was
                      provided group-level information he would not have had access
                      to in a regional role. Mr Hogenson was given the opportunity to
                      deliver any additional information but declined.

                      Autonomy's independent auditors Deloitte, after an investigation of
                      the points using an independent Deloitte team, reported to the
                      Audit Committee there was no new information in Mr

                      Hogenson's queries, and there are no areas that require change
                      or would have been material in relation to prior periods.
                      Because there was no new information provided by Mr
                      Hogenson, ultimately the questions involved different levels of



266
    Then comprised of Messrs McMonigall, Perle and Ariko (of whom none was an accountant). Mr
Bloomer had not yet become its chairman.
267
    That email also explained that the FSA only regulated financial services firms and so this was a
matter outside the FSA’s jurisdiction, but that “in the interests of open communication we will
proactively work with them should this be of interest”.


                                                Page 735
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 737 of 900
Approved Judgment                                                                  HC-2015-001324
Mr Justice Hildyard


                  understanding of IFRS by Deloitte and Mr Hogenson (Mr
                  Hogenson is experienced in US GAAP, not IFRS).
                  …
                  Conclusions

                      In short, a full and proper procedure has been followed to
                      investigate Mr Hogenson's concerns, which involved an
                      independent investigation by a team separate to our normal
                      audit team at Deloitte. The investigation found no issues relating
                      to the points raised and confirmed that Mr Hogenson provided
                      Deloitte with no new information they did not already have in
                      making their original decisions. Despite the questions being
                      thoroughly independently reviewed Mr Hogenson continues to
                      seek to keep the matter alive.”

2297. The 30 July 2010 letter also contained a section entitled Other Issues”. This,
      with elaborate but contrived moderation and obvious intent, made reference to
      a payroll fraud” and other unauthorised third party payments” which
      coincidentally, at virtually the same time…began to be uncovered in Mr
      Hogenson s department.” It left hanging whether Mr Hogenson was implicated
      personally (which he was not, though a question was raised whether he should
      have spotted earlier shortcomings in controls which enabled the unauthorized
      payments to be made).268 It did not mention that Mr Hogenson had already been
      dismissed, purportedly for gross misconduct. A little later, on 2 August 2010,
      Mr Kanter sent the Audit Committee an update, asserting that an independent
      investigation had confirmed over half a million dollars of unauthorised
      payments by Mr Hogenson “and other irregularities”, as a result of which Mr
      Hogenson had been “let go”.
2298. After some equivocation, and only after being shown email exchanges
      confirming it, Dr Lynch had to accept in cross-examination that he had received
      and commented upon drafts of the 30 July 2010 letter.
2299. Although its involvement in the process of investigation of Mr Hogenson’s
      questions and concerns was an important element, Deloitte was not shown the
      letter before it was sent. According to Mr Welham, they did not see it until many
      months later.269

2300. It was the Claimants’ case that this omission was inexplicable, except on the
      basis that Mr Kanter and those who approved the letter knew that the




268
   Mr Welham’s evidence in his witness statement was The impression conveyed to us by Autonomy s
management was that Mr Hogenson had raised the accounting question in order to distract attention
from his own responsibility for the payroll fraud.”
269
   By email dated 14 February 2011, Mr Welham asked Mr Hussain, Mr Chamberlain and Mr Kanter,
“Can we see the letter from 30 July 2010”. On 16 February 2011, Mr Welham emailed Mr Kanter again
asking for “a copy of the letter sent to the FSA in July 2010”.


                                                Page 736
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 738 of 900
Approved Judgment                                                                       HC-2015-001324
Mr Justice Hildyard


         presentation of the Deloitte investigation as having been by “an independent
         Deloitte team” and that it was an “independent investigation by a team separate
         to our normal audit team at Deloitte” were deliberately misleading. The
         Claimants contended that if Deloitte had been asked to approve the letter,
         Deloitte would have pointed out that it was untrue to say that, given the central
         involvement of Mr Knights, along with Mr Knight and Mr Welham. Their
         concern in that regard and generally would have also considerably been
         increased had they seen the letter dated 24 June 2010 from Dr Lynch and Mr
         Kanter to Mr Hogenson which I have referred to above and of which, according
         to Mr Welham’s evidence neither he nor his Deloitte colleagues were aware.


2301. That is, of course, relevant to (a) the honesty of all those involved in the letter
      and (b) the integrity of the process to investigate Mr Hogenson’s concerns. In
      the present context, however, and as previously explained, my focus is on the
      specific misrepresentations made to the regulators after receipt of this letter and
      Mr Hogenson’s email with reference to the VAR sales.


2302. To revert, therefore, to the correspondence with the Regulator, the matter was
      not pursued by the FSA, given the jurisdictional issue which Mr Kanter had
      identified, but it was referred to the FRRP270.


2303. On 2 February 2011, the FRRP sent a letter (“the February 2011 FRRP letter”)
      addressed to Mr Webb, and copied to Mr Hussain, asking for a further
      explanation of the issues raised in order to help it determine whether to open a
      formal enquiry. In the February 2011 FRRP letter, the FRRP posed (amongst
      others) the following questions regarding the Capax Discovery/Kraft
      transaction:
                      “Kraft
                      9. It has been alleged to the Panel that, in the quarter ended 30
                      September 2009, Capax gave an order to Autonomy worth some $4m in
                      respect of the supply of licences to Kraft, an end-user, which was
                      recorded in the revenue of one of the company’s US subsidiaries for that
                      quarter. Subsequently, in December 2009, Kraft executed a licence
                      agreement directly with Autonomy for a similar amount. It is understood
                      that, in December 2009, the group relieved Capax of its obligations
                      under the order given to the company and itself paid Capax a fee of some
                      $400,000. The Panel would be grateful for the company’s comments on
                      the truth or otherwise of this account.
                      10. To the extent that the above sequence of events has been confirmed
                      by the company, the Panel would then be grateful for information



  The Financial Reporting Review Panel had responsibility for oversight of public and large private
270

company accounts and directors’ reports, and periodic reports by issuers of listed securities.


                                               Page 737
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 739 of 900
Approved Judgment                                                                 HC-2015-001324
Mr Justice Hildyard


                      enabling it to understand why the company appears to have contracted
                      with both Capax and Kraft for the same licences.



                      11. The Panel would also like to know when the revenues concerned
                      were recorded in the group’s consolidated accounts. If the revenues
                      were recorded in the consolidated accounts for the quarter ended 30
                      September 2009, the Panel would then like to know how the group
                      determined that it was in a position to recognise revenue relating to the
                      sale of licences to Kraft in that quarter if the agreement concerned was
                      not executed until December 2009.
                      12. Finally, the Panel would be grateful for information enabling it to
                      understand why the group paid Capax a fee in respect of these
                      transactions.”

2304. Autonomy’s response dated 3 March 2011 (“the 3 March 2011 letter”) stated the
      following:
                      “In an almost unique series of events, Kraft sought to enter into a
                      different agreement directly with Autonomy in a subsequent quarter. The
                      latter agreement provided for direct payment to Autonomy, so even
                      though the VAR was already paying Autonomy for its order the original
                      transaction was cancelled …
                      … For the original order Capax would earn a normal software resale
                      margin of approximately 30% under the terms of its VAR agreement,
                      and in fact could have blocked the cancellation of the binding original
                      order. Given Capax’s involvement in the original transaction, Capax
                      was entitled under written agreements to a Marketing Assistance Fee of
                      approximately 10%. Capax earned less from this revised arrangement
                      than the original transaction.”


2305. These statements to the FRRP in the 3 March 2011 letter were materially
      misleading in a number of respects:
         (1)      Far from being “almost unique”, by the time of this letter in March 2011,
                  the pattern of Autonomy contracting directly with the end-user was
                  wellestablished and highly recurrent. As stated in paragraph 2226 above,
                  by 3 March 2011, this had happened 13 times. 296 The falsity of the
                  representation was especially arresting given that at the time of the June
                  letter to the FRRP, Autonomy had just entered into another sizeable
                  direct deal (further to the Tikit/KPMG transaction, VT26).

         (2)      The attempt to justify the $400,000 payment on the theory that Capax
                  Discovery could have blocked a direct sale by Autonomy to Kraft was
                  false also. In fact, Capax Discovery was a complete stranger so far as




                                               Page 738
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 740 of 900
Approved Judgment                                                              HC-2015-001324
Mr Justice Hildyard


                  Kraft was concerned. It had provided no “marketing assistance,” and it
                  had no contractual or other right to block the direct sale.

296
  In Microlink/Ameriprise (VT1), Capax Discovery/TXU (VT2), Capax Discovery/Kraft (VT3),
Capax Discovery/Eli Lilly (VT4), MicroTech/ManuLife (VT7), MicroTech/Morgan Stanley (VT8),
Capax Discovery/FSA (VT10), DiscoverTech/Citi (VT11), DiscoverTech/PMI (VT12), Capax
Discovery/Amgen (VT16), Capax Discovery/Merrill Lynch (VT21), DiscoverTech /BofA (VT23) and
DiscoverTech/BofA (VT24).

         (3)      Moreover, Capax Discovery had not missed out on any “resale margin”.
                  Capax Discovery never even tried to sell anything to Kraft. Capax
                  Discovery’s VAR agreement did not provide for a “normal software
                  resale margin of approximately 30%”.

         (4)      In any event, this transaction could never have involved any actual resale
                  margin. Capax Discovery “bought” its licence for the same price that
                  Autonomy was trying to sell a licence to Kraft.

         (5)      There was no written agreement, at the time of the Capax Discovery
                  purchase order, which entitled Capax Discovery to a Marketing
                  Assistance Fee of “approximately 10%” or to any fee.

2306. The falsity of this answer was later compounded in a further letter from
      Autonomy dated 8 June 2011 to the FRRP responding to a request from the
      FRRP (in a letter dated 5 April 2011) for clarification as to what was meant by
      “an almost unique series of events” in the explanation they had been given as to
      why the Kraft transaction had culminated in a direct deal between Autonomy
      and Kraft. Autonomy gave the following explanation:


                      “This is a series of events that virtually never happens; in fact
                      management struggles to recall any prior time that this happened, but
                      hesitates out of prudence to give an absolute answer one way or the
                      other. Thus the events were described as “almost unique …”



2307. This response was even more misleading as at 8 June 2011, the Tikit/KPMG
      transaction had also been followed by a direct end-user deal (VT26). Autonomy
      had also, in the meantime, entered into three further VAR transactions (Capax
      Discovery/UBS (VT28), MicroTech/Bank of Montreal (VT32) and
      MicroTech/Xerox (VT33)) which would in due course end up being followed
      by direct deals between Autonomy and the end-user in a subsequent quarter.

2308. Dr Lynch tried to justify the statement in Autonomy’s 8 June letter by suggesting
      that the words “any prior time” in the second line of the paragraph may have
      meant “before Kraft” rather than “before the date of the letter”. As the Claimants
      observed, if that really was the basis on which Autonomy gave this answer to
      the FRRP, it was pure sophistry.


                                              Page 739
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 741 of 900
Approved Judgment                                                                HC-2015-001324
Mr Justice Hildyard


2309. Dr Lynch’s alternative explanation was an assertion that there were “10,000
      reseller deals” and the transactions at hand were “still a very rare event out of
      10,000”. No evidential support beyond this somewhat airy statement was ever
      provided. I would accept that there was a considerable number of VAR deals:
      but that must include many of trivial value. Further, Dr Lynch’s submission in
      his written closing that the Kraft situation, described as almost unique, was a
      rare one” was simply wrong: it was not the exception but the rule.
2310. In any event, I do not accept the explanation offered. It was, to my mind,
      obviously misleading to present as almost unique” a sequence of events
      characteristic of so many of the deals of the same value and type as those to
      which the request for clarification related, and which taken together made up at
      least 88% by value of all VAR transactions above $1 million entered into by
      Autonomy during the Relevant Period.
2311. Similarly, and also to my mind confirmatory of my approach, the easy and
      correct answer to another question from the FRRP about whether there were
      other contracts as at 30 December 2009 in respect of which revenue had been
      recognised on a VAR transaction, where the VAR had yet to conclude a
      transaction with an end-user, was not given. There were seven such contracts.
      But Autonomy’s response did not say this. Instead, Autonomy’s answer was an
      exercise in obfuscation and gave a false impression:
                      “All agreements between Autonomy and its resellers represent binding
                      contracts whereby the reseller’s obligation to pay Autonomy is
                      independent of whether or not the reseller gets paid by its customers.
                      Moreover the software sold to the VAR is only licensed for a named
                      enduser and thus can not be used for stock. Ultimately provided the
                      reseller is creditworthy and all other revenue recognition criteria are
                      met (e.g delivery, fixed price, etc.) then revenue is recognised upon
                      receipt of the binding contract.
                      We do not require the reseller to provide us with confirmation that they
                      have contracted with their end-users, as is normal in the software
                      industry for standard product; rather resellers are required to identify
                      the end-user for licensing purposes. It would be impractical in reality
                      for us to confirm each contract with the final end-user. Under this
                      approach Microsoft, for example, would have to visit offices to prove
                      Word was sold-through by its OEMs and resellers. As end-users require
                      ongoing support and maintenance it is not possible for a reseller to
                      supply licensed software to another party without that transaction
                      becoming known. Thus, whilst we may not have the details of when
                      arrangements are signed between a reseller and their customer, the
                      process works smoothly. This is the normal practice in the software
                      industry for standard product.”

         The implication of this response was that the VAR would attempt to contract
         with the end-user but that, for reasons of practicality, Autonomy did not seek
         confirmation of this fact. This was highly misleading: Autonomy did not intend
         that the VAR should make any attempt to contract with the end-user.


                                               Page 740
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 742 of 900
Approved Judgment                                                                  HC-2015-001324
Mr Justice Hildyard


2312. To add to this litany is Autonomy’s response to a further enquiry by the FRRP
      about the Kraft deal, the enquiry being the following:

                      “The Panel would also be grateful for confirmation or otherwise as to
                      whether the “binding original order” between Capax and Kraft referred
                      to in your letter had been signed by the two parties as at 30 September
                      2009.”

2313. It seems from this that the FRRP had assumed that Kraft had placed a binding
      order with Capax Discovery but later decided to contract directly with
      Autonomy instead. Autonomy management, including the Defendants, knew
      that this was a misapprehension and that Kraft had never placed any order, or
      had any prior dealings, with Capax Discovery.
2314. Autonomy nevertheless responded to the FRRP’s query as follows :
                      “The binding original order between Capax and Autonomy was signed
                      by both parties as at 30 September 2009. For the reasons set out above
                      we would not necessarily be aware of when Capax and Kraft signed
                      their agreement.”


2315. This failed to correct the FRRP’s misapprehension. On the contrary, it strongly
      implied that Autonomy management believed that Capax Discovery and Kraft
      had indeed “signed their agreement”, but that the date of that agreement was
      not known to Autonomy. In reality, Autonomy management knew that no such
      agreement would ever have existed.
2316. Furthermore, in its letter of 5 April 2011, the FRRP had also raised the
      following:
                      “On page 19 of the Deloitte report, the management response refers to
                      management’s consideration of the ability of Capax to stand by its
                      obligation to Autonomy, irrespective of its ability to onward sell the
                      Autonomy product supplied. The Panel would be grateful for
                      information enabling it to understand what factors the company took
                      into account in its consideration of the ability of Capax to stand by the
                      obligation concerned. The Panel would also be grateful for copies of
                      any financial information available to the company at that time
                      concerning Capax. A recent set of accounts would be particularly
                      helpful if available.”

2317. In its 8 June letter, Autonomy responded to that as follows:

                      “Autonomy started to do business with Capax in early 2009. At that time
                      we obtained financial statements from Capax (Attachment 1). These
                      financial statements showed the company at that time to be profitable
                      and able to support the payment stream required by purchase for Eli
                      Lilly, part of the company’s revenue recognition criteria.



                                                Page 741
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 743 of 900
Approved Judgment                                                                HC-2015-001324
Mr Justice Hildyard


                      Capax have had an excellent payment record since that date. As a result
                      there has not been a need to obtain more recent financial statements
                      since their history of cash collection has shown no concerns regarding
                      recoverability. These judgements were considered by our auditors at
                      that time.”

2318. The financial statements at Attachment 1 to Autonomy’s 8 June 2011 letter were
      those of Capax Global. Autonomy’s letter referred throughout to “Capax”. It
      did not explain that Capax Global was not, in fact, the relevant contracting party.
      Nor did Autonomy tell the FRRP of Mr Baiocco’s letter disclaiming Capax
      Global’s responsibility for Capax Discovery’s debts.

2319. The assertions in Autonomy’s letter about Capax’s “excellent payment record”
      were also misleading. The FRRP was not told that this payment record was the
      result of monies channelled by Autonomy to Capax Discovery for non-existent
      services.

Defendants’ knowledge but alleged reliance on Deloitte

2320. Mr Hussain signed both the 3 March 2011 letter and the 8 June 2011 letter. But
      Mr Casey said nothing at all about the FRRP letters or Autonomy’s responses
      in his written closing submissions on Mr Hussain’s behalf, nor in his oral
      submissions on Day 92 of the trial. On this issue as to the misrepresentations in
      the letters to the FRRP there was a tension or conflict between Dr Lynch and
      Mr Hussain. Mr Hussain was also of course operating within the finance
      department, which Dr Lynch portrayed as having had carriage of the
      correspondence.
2321. Dr Lynch maintained that he himself had no material involvement in the drafting
      process. According to Dr Lynch, the drafting was done by Autonomy’s finance
      department and Mr Kanter working with Deloitte. When cross-examined in
      relation to the March 2011 letter:
             Q. You were involved in the drafting of this; that's obviously what's going
                  –

             A. I wasn't involved in the drafting of it. Mr Kanter and Deloitte
                   were involved in the drafting of it and then I look at it when
                   it's finished and I say "Looks fine".”


2322. There was a similar dispute as to whether Dr Lynch approved the June 2011
      letter. He initially denied having done so, although this was not really plausible:
      there were emails from Mr Kanter sending earlier drafts and referring to
      Mike…having a look”, and on 25 May 2011, Mr Kanter had sent Dr Lynch a
      further draft and asked him to “Ring me when you have a moment”. It seemed to
      me unlikely that having engaged him in the process, and apparently awaited his
      replies on each occasion, Mr Kanter would have gone ahead without Dr Lynch’s
      approval.



                                               Page 742
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 744 of 900
Approved Judgment                                                                 HC-2015-001324
Mr Justice Hildyard


2323. Dr Lynch eventually refined his position a little, and told me in
      crossexamination that he did not know if he had seen the final version, but did
      not think he had; and if he had, he had not checked or verified it, citing pressures
      on his time, the necessity to delegate and the reasonableness of relying on the
      finance department and Deloitte:

              “…if we just come back to reality here…I m running a company, I m
              doing all the things that have to be done. This is a matter for the legal,
              accounting and Deloitte departments to deal with. If I saw the letter, I
              may well have read it, but I would certainly let them get on with
              answering it and that s what happened and legal, finance and Deloitte
              all worked together in a large amount of back and forth and came up
              with what they think is the correct answer.”
2324. Ultimately, the main plank of his defence was to the effect that Deloitte had
      done it. This was the point emphasised in the closing submissions on his behalf.
      The point was made that Deloitte had undoubtedly been closely involved and
      had had many chances to comment on the drafting and made points both on the
      structure and style as well as on points of detail.
2325. Thus, for instance, in relation to the 3 March 2011 letter, Mr Welham had
      emailed Mr Kanter on 17 February 2011, saying:
                       From talking through your draft response with our internal
                      specialist in this area, our overall thinking is that you should
                      transform the letter somewhat from its current state, to a format
                      which is much shorter and concentrates on the specific facts
                      required by the letter from the FRRP.

                      …
                      We suggest that you keep your responses concise and
                      concentrate on answering the questions asked and do not give
                      additional information or include emotive language. Where it is
                      appropriate, you should simply cross refer to the Appendix to
                      our Audit Committee report, which helpfully includes detailed
                      management responses from you, to avoid repeating information
                      included in this report. This will assist in making your response
                      to the FRRP shorter.”

2326. The letter then went through various internal reviews at Deloitte with further
      comments provided before it was finalised. Deloitte were content with the final
      version, a copy of which was sent to them. Mr Welham confirmed that Deloitte
      did not consider that there was anything misleading in the letter.
2327. A similar process appears from exchanges of drafts by email to have been
      undertaken by the relevant departments at Autonomy and by Deloitte for the
      June 2011 letter. Indeed it appears that Mr Welham referred both the FRRP’s
      letter and Autonomy’s proposed response to Ms Isobel Sharp, one of the Deloitte
      review team described by Mr Welham as our internal specialist in this area”,
      who also (according to the email from Mr Welham requesting her input) had



                                               Page 743
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 745 of 900
Approved Judgment                                                                       HC-2015-001324
Mr Justice Hildyard


         assisted on the previous response as well. 271   296F




2328. The Claimants presented a short three-part answer to this line of defence:
      Deloitte did not know about Mr Baiocco’s letter, Deloitte did not know that
      Autonomy was paying for non-existent services and Deloitte did not know that
      Capax Discovery had had no dealings with Kraft.
2329. As to the last of the three points, there was considerable dispute as to what Mr
      Welham and/or Deloitte did actually know. Dr Lynch emphasised that Deloitte
      reviewed the Kraft transaction, and were well aware of its context and that (a)
           Capax Discovery was only introduced because the end-user deal could not

         formally be completed in Q3 2009 (b) Autonomy undertook the negotiations
         with the end-user (Kraft) before and after the VAR agreement with Capax
         Discovery and (c) ultimately, Kraft (as end-user) insisted on contracting directly
         with and paying Autonomy (with Autonomy thereafter crediting Capax
         Discovery to avoid double recovery, and paying a MAF).
2330. Dr Lynch’s closing submissions also sought to draw support from a summary
      of the position in Deloitte’s Defence in the FRC proceedings, which Mr Welham
      confirmed was accurate, which read as follows:
                          “…it is admitted that Deloitte and Mr Knights were aware (a)
                          that Capax s principal role was to allow Autonomy to complete
                          a sale and for revenue to be recognised in the quarter in which
                          the Kraft deal was negotiated because it could not be formally
                          completed with Kraft in that quarter, and (b) that Autonomy were
                          negotiating directly with Kraft.”

2331. In his cross-examination of Mr Welham on this point, Mr Miles sought to elicit
      from Mr Welham confirmation that the relevant issue in determining revenue
      recognition was not whether Autonomy, having sold the software to the VAR,
      was or was not negotiating with the end-user notwithstanding the VAR sale, nor
      even whether or not the seller (here, Autonomy) was the principal or even only
      person negotiating with the end-user after the sale to the VAR; it was whether
      the seller/Autonomy was under an effective obligation (which did not have to
      be a legally enforceable obligation) to negotiate with the end-user. Only in the
      latter case (of the seller being under some form of obligation), Mr Miles
      suggested (and eventually submitted to me), did the fact of it negotiating impact
      on revenue recognition, because only then would the fact of the seller
      negotiating suggest that it/they retained control or risk in the goods. He
      submitted that the explanation accords with Deloitte’s report to the Audit
      Committee on the 2010 interim review :



271
   There were two cautionary notes in Ms Sharp’s response: (a) “not all of the Panel’s questions have
been answered” and (b) “there are a few dangerous points”; and she added “We need to close down
the enquiry now before it gets more serious”. But she was not a witness; and the parties did not make
anything of these.


                                               Page 744
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 746 of 900
Approved Judgment                                                                 HC-2015-001324
Mr Justice Hildyard


                       We note that management has responded to the concerns raised in Q1
                      2010 where for the first time we noted instances where deals had been
                      credited and re-sold directly to end-users. If Autonomy is required to
                      maintain ongoing managerial duties in respect of reseller deals or if the
                      reseller cannot demonstrate its ability to pay for goods received then it
                      would not be appropriate to recognise revenue on delivery of the
                      product.” [My emphasis, reflective of the Defendants]


2332. Mr Welham would not be drawn that far. He agreed that if there was such a
      requirement or an obligation on the seller then that would be a clear and different
      case; in other cases, where the seller as a matter of its own choice, was simply
      assisting the sales process and the close process” the decision was more
      nuanced, and would be a matter of judgement as to the extent of the assisting”.
      However, he also made clear that if what the seller did went beyond assistance,
      and its involvement was extensive” or (a fortiori) exclusive that would be
      problematic.” Indeed, my understanding of his evidence was that had Deloitte
      known that Autonomy had more than an assisting role” and been in reality the
      primary business closing the deal” it would not have approved revenue
      recognition. Another way of putting this, as it seems to me, is whether
      Autonomy had de facto control of the negotiations. In every one of the
      impugned VAR transactions, it did.
2333. Accordingly, although perhaps a little glibly stated, the third part of the
      Claimants’ rebuttal of the Defendants’ reliance on Deloitte’s approval was also,
      in my judgment, sustained. As I have already determined previously that the
      first two parts of the rebuttal were proven, in my judgment Dr Lynch’s reliance
      on Deloitte, which (apart from his plea that he was not involved, which I confirm
      I have rejected) was his only resort in seeking to neutralise the fact that
      Autonomy’s letters to the FRRP were fundamentally misleading, could not be
      sustained because Deloitte themselves had been misled.
2334. The admission in Deloitte’s Defence in the FRC proceedings, which Mr Welham
      had confirmed was accurate and on which Dr Lynch had relied, does not assist
      the Defendants either on that analysis (if ever it could have been much help
      anyway). The admission that Autonomy were negotiating directly with Kraft”
      does not touch on the point whether Capax Discovery were involved with them,
      or (put another way to reflect Mr Welham’s evidence) whether Autonomy was
      in an assisting role” or by itself and in exclusive control.

Summary in respect of the letters to the FRRP

2335. In summary, in my judgment, Autonomy’s letters to the FRRP did contain
      fundamental misrepresentations for which the Defendants were responsible.
      They are not absolved by the involvement of Deloitte, since Deloitte did not
      know the full facts and had indeed also been misled. The misrepresentations
      were intentional: they were necessary to prevent the VAR strategy being
      exposed and revenue recognition being disapproved. The position is the more
      telling in light of the fact that Deloitte, knowing only half the story, had



                                               Page 745
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 747 of 900
Approved Judgment                                                                   HC-2015-001324
Mr Justice Hildyard


         expressly warned in its Audit Committee Reports for Q1 2010 and Q2 2010 that
         (as its warning was refined in the Q2 2010 Report):
                       In Q1 2020…two deals sold to MicroTech in Q4 2009 were credited
                      and resold directly to the two end-users. In our Q1 2020 report we
                      highlighted that significant evidence of such further revenue reversals
                      may jeopardise management s ability to recognise revenue at the point
                      of sale to the reseller. Only one deal has been signed with the reseller
                      MicroTech during Q2 2010 for $270k and the overall level of software
                      deals done this quarter through resellers is significantly reduced.
                      During Q2 2010, a $6m licence deal originally with the reseller Capax
                      Global from Q4 2009 was signed directly with the end-user, Eli Lilly
                      and a Q1 2010 $4.2 million deal with Discover Technologies LLC was
                      signed directly with the end-user Philip Morris….
                      We note that management has responded to the concerns raised in Q1
                      2010 where for the first time we noted instances where deals had been
                      credited and re-sold directly to end-users. If Autonomy is required to
                      maintain ongoing managerial duties in respect of reseller deals or if the
                      reseller cannot demonstrate its ability to pay for goods received then it
                      would not be appropriate to recognise revenue on delivery of the
                      product. Management acknowledges this position and further highlights
                      that there have been no significant software sales to resellers in Q2
                      2010…”

2336. Of course, these matters do not give rise to a claim; but, with the Hogenson
      episode, they have confirmed me in my assessment of the impugned VAR
      transactions and the “guilty knowledge” of the Defendants, as summarised in
      paragraph 2229 above.
PART B
                                            PART B CONTENTS

Headings                                                                                       Paragraphs
RECIPROCAL TRANSACTIONS
      Summary of the Claimants’ claims re ‘reciprocal’ transactions                            2337-2344
      Summary of the Defendants’ case re ‘reciprocal’ transactions                             2345-2348
      Defendants’ knowledge and participation                                                  2349-2351
      The Schedule 5 and Schedule 12B transactions                                             2352-2353
      General points on accounting issues                                                      2354
      The accounting framework                                                                 2355-2363
      The parties’ approaches to the nature of the linkage required and its identification     2364-2398
      Factual evidence as to real rationale: Claimants’ case                                   2399-2408




                                               Page 746
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 748 of 900
Approved Judgment                                                                HC-2015-001324
Mr Justice Hildyard


      Factual evidence as to the real rationale: Defendants’ case                           2409-2421
      My assessment of the witness evidence on ‘reciprocals’ in general terms               2422-2428
      The Expert Evidence relating to the impugned reciprocal transactions                  2429-2443A
      RT 1: Capax Discovery/EDD (Sch 5/1 and Sch 12B)                                       2444-2458
      The first Capax Discovery/EDD sale in Q1 2009                                         2459-2467
      The Claimants’ evidence of a handshake deal and the Defendants’ criticisms of it      2468-2488
      Evidence of an agreement after the London Hotel meeting but before 31 March?          2489-2502
      Further defences if there was a pre-contract understanding                            2503-2506
      Autonomy’s purchase orders and payments to Capax Discovery Q2 2009 to Q4              2507-2514
      2009
      No documentary support for purported outsourcing of eDiscovery services               2515-2523
      Deloitte’s consideration of the first Capax Discovery/EDD sale                        2524-2530
      Conclusion on first Capax Discovery/EDD sale                                          2531
      The second Capax Discovery/EDD sale (Q4 2009)                                         2532-2544
      Deloitte’s consideration of the second Capax Discovery/EDD sale                       2545-2549
      Conclusion on second Capax Discovery/EDD sale                                         2550
      The third Capax Discovery/EDD sale (Q1 2011)                                          2551-2564
      Deloitte’s consideration of the third Capax Discovery/EDD sale                        2565-2571
      Did the Defendants have guilty knowledge of false accounting in respect of RT 1?      2572
      Mr Hussain’s knowledge                                                                2573-2574
      Dr Lynch’s knowledge                                                                  2575-2588
      RT 2: the VMS transactions                                                            2589-2594
      The first VMS transaction (Q2 2009)                                                   2595
      Background                                                                            2596-2602
      Negotiations for sale and purchase                                                    2603-2615



      VMS and Autonomy reach agreement in principle (29 June 2009)                          2616-2621
      Justification of the transactions                                                     2622-2627
      “Project Shockwave” business plan                                                     2628-2632
      The revenue recognition memorandum                                                    2633-2650
      Deloitte’s consideration of the first VMS transaction                                 2651-2661
      Autonomy’s use of the VMS data feed Q3 2009 to Q3 2010                                2662-2670




                                             Page 747
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 749 of 900
Approved Judgment                                                               HC-2015-001324
Mr Justice Hildyard


      Conclusion on first VMS transaction                                                  2671-2672
      The accounting treatment of the VMS reciprocal transactions                          2673-2674
      Defendants’ knowledge                                                                2675-2679
      The second VMS transaction - Q4 2010 (RT 2)                                          2680-2714
      Deloitte’s consideration of the second VMS transaction                               2715-2721
      Payments made in respect of the second VMS transaction and VMS’s bankruptcy          2722-2729
      Conclusions on second VMS transaction                                                2730-2731
      Knowledge of the Defendants
      Mr Hussain’s knowledge                                                               2732
      Dr Lynch’s knowledge                                                                 2733-2734
      RT 3: purchases of StorHouse from FileTek (Q4 2009/Q2 2010)                          2735-2738
      FileTek’s business                                                                   2739-2749
      Genesis of the proposal for the allegedly reciprocal transactions                    2750-2762
      Negotiation of the price to be paid for StorHouse                                    2763-2790
      Had Autonomy (coincidentally) any identified need for StorHouse?                     2791-2805
      Price Autonomy agreed to pay FileTek for purchase of StorHouse                       2806-2815
      Price FileTek agreed to pay Autonomy for Autonomy software                           2816-2819
      Autonomy’s technical analyses of StorHouse                                           2820-2825
      Execution of the two agreements                                                      2826-2829
      How the first StorHouse purchase was presented to Deloitte                           2830-2840
      Mutual payments in respect of the first FileTek transaction                          2841-2844
      Defendants’ knowledge                                                                2845
      The second of the FileTek transactions comprised in RT 3: Q1 to Q2 2010              2846-2860
      My conclusion in relation to the second set of RT 3 transactions                     2861-2862
      Deloitte’s approval was given on a false basis                                       2863-2869
      The FRRP were also misled                                                            2870-2872
      Defendants’ knowledge                                                                2873
      Mr Hussain                                                                           2874-2875
      Dr Lynch                                                                             2876
      Overall conclusion in respect of RT 3                                                2877
      RT 4: Vidient Systems Inc (Q4 2009/Q3 2010)                                          2878-2884
      The first Vidient transaction Q4 2009/Q1 2010                                        2885-2903




                                              Page 748
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 750 of 900
Approved Judgment                                                                   HC-2015-001324
Mr Justice Hildyard




      Separation of the OEM agreements by quarter                                              2904-2913
      Deloitte’s consideration of the first Vidient transaction                                2914-2920
      Conclusions on first Vidient transaction                                                 2921-2923
      The second Vidient transaction – Q3 2010/Q4 2010                                         2924-2926
      Accounting treatment of the Vidient transactions                                         2927-2928
      The Defendants’ knowledge of improper accounting of the Vidient transactions             2929-2935
      RT 5: EMC Corporation - Q3 2010                                                          2936-2939
      My assessment                                                                            2940-2944
      The Defendants’ knowledge of improper accounting of the EMC reciprocal
      transaction
      Mr Hussain’s knowledge                                                                   2945-2948
      Dr Lynch’s knowledge                                                                     2949-2952
      Purchase and sale transactions with MicroTech comprising RT 6 in Q1 2011                 2953-2966
      Defendants’ knowledge                                                                    2967
      Mr Hussain                                                                               2968-2969
      Dr Lynch                                                                                 2970-2972A
      Overall Conclusion on Reciprocal transactions                                            2972B
IDOL OEM
      Summary of the Claimants’ claims in relation to OEM                                      2973-2986
      Summary of the Defendants’ defence in relation to OEM                                    2987-3001
      The Claimants’ various causes of action in respect of OEM business
      Summary of FSMA claim in relation to statements made about the OEM business              3002-3005
      Summary of the Claimants’ misrepresentation claims in relation to OEM                    3006-3008
      Two points of clarification with respect to the ambit of the dispute in respect of       3009-3029
      OEM claim
      FSMA claim in more detail                                                                3030
      The legal ingredients of the FSMA Claim in relation to OEM                               3031
      The statements on which the Claimants claim to have been entitled to rely in this        3032-3035
      context
      Determining whether a statement is (a) untrue or misleading and (b) known to be so       3036-3051
      What was stated in Autonomy’s published information about the OEM metric?                3052-3058
      The Defendants’ response on the scope of IDOL OEM conveyed by the published              3059-3081
      information
      My assessment of what was conveyed by the published information itself                   3082-3090


                                              Page 749
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 751 of 900
Approved Judgment                                                               HC-2015-001324
Mr Justice Hildyard


      Should regard be had to evidence that various Analysts considered the market         3091-3097
      understood OEM Metric to be broad in scope?
      Analyst/other evidence and market understanding                                      3098-3100
      Mr Khan                                                                              3101-3110
      Mr Morland                                                                           3111-3114
      Mr Pearson                                                                           3115-3121
      Mr Shelley                                                                           3122-3127


      Assessment of that evidence and comparison with analysts notes relied on by the      3128-3137
      Claimants
      (e) Was the published information false and misleading?                              3138-3145
      The Defendants’ response                                                             3146-3153
      Did the Defendants know of the inclusion within the OEM metric of revenue            3154-3165
      outside what investors were likely to understand to be within its scope?
      Deloitte and OEM revenues                                                            3166
      Nature and extent of Deloitte’s involvement                                          3167-3178
      What reliance can the Defendants place on Deloitte in this context?                  3179-3188
      A further issue as to upfront prepaid licensing deals or “buy-outs”                  3189-3194
      The Lone Pine episode                                                                3195-3207
      Allegation of concealment of transactions in published information                   3208-3219
      Alleged pre-announcement concealment: Top 10 List                                    3220-3235
      The ”Joe Bloggs” correspondence and post-announcement concealment                    3235A-
                                                                                           3235C
      The issue of reasonable reliance: did Bidco acquire Autonomy in reasonable           3236-3247
      reliance on the information given about Autonomy’s OEM business in the
      published information?
      Misrepresentation Claims relating to OEM business                                    3248-3252
      Conclusion on OEM                                                                    3253
HOSTING
      General overview of the Claimants’ hosting case                                      3254-3258
      Autonomy’s hosting business and the introduction of the Hybrid Model in more         3259-3267
      detail
PART A: FSMA Claims                                                                        3268-3275
      (1) Brief description of Digital Safe                                                3276-3289
      (2) Brief description of Autonomy’s e-Discovery offering                             3290-3292
      (3) A detailed analysis of the Digital Safe claim                                    3293-3301



                                              Page 750
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 752 of 900
Approved Judgment                                                                 HC-2015-001324
Mr Justice Hildyard


      Outline of the dispute as to the purpose and effect of the restructurings              3302-3314
      Applicable accounting principles                                                       3315-3323
      The differences between the experts in their approach to applying these Standards      3324-3355
      The practicalities of (a) installation and (b) monitoring                              3356-3357
      The manner in which hybrid deals were sold                                             3358-3363
      Defendants’ reliance on Deloitte and Audit Committee                                   3364-3380
      The Defendants’ knowledge in relation to Digital Safe                                  3381-3388
      Conclusion as to accountancy treatment of hybrid hosting licence as separable          3389-3395
      IAS 18.14 (a) and (b)                                                                  3396-3399
      (4) A detailed analysis of the e-Discovery claim                                       3400-3409
      Accounting principles                                                                  3410-3422
      Did the EDD licences have or lack substance?                                           3423-3429
      My assessment and conclusion                                                           3430-3448


      (5) Defendants’ knowledge                                                              3449
      Mr Hussain’s knowledge of true purpose of the licences and accounting                  3450-3455
      impropriety
      Dr Lynch’s knowledge of Autonomy’s improper accounting                                 3456-3475
      (6) IDOL Cloud metric                                                                  3476-3481
PART B : THE SCHEDULE 12D TRANSACTIONS
      The nature of the claims and how they differ from the Schedule 6 claims                3482-3485
      Overview of the Schedule 12D transaction and claims                                    3486-3493
      Problems of standing and loss outlined                                                 3494-3499
      The Defences in outline                                                                3500-3507
      Structure of this Chapter                                                              3508-3511
      Did Dr Lynch owe any duties to ASL?                                                    3512-3526
      The extent of Dr Lynch’s duties acting as a de facto or shadow director of ASL         3527-3542
      The individual Schedule 12D Transactions
      General observations on the factual circumstances of the Schedule 12D                  3543-3547
      Transactions
      The Q4 2009 Morgan Stanley Schedule 12D transaction                                    3548-3562
      The dispute whether the inclusion of SPE was a contrivance                             3563-3577




                                              Page 751
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 753 of 900
Approved Judgment                                                                HC-2015-001324
Mr Justice Hildyard


      My assessment of the commerciality of the transaction and Deloitte’s apparent         3578-3595
      approval
      The second Morgan Stanley Schedule 12D transaction: Q1 2011
      Outline of the Claimants’ case                                                        3596-3603
      Instigation of the transaction                                                        3604-3631
      Were Deloitte misled?                                                                 3632-3634
      Conclusions                                                                           3635
      Deutsche Bank Q1 2011 re-restructuring                                                3636-3646
      The Second DB Amendment Agreement: the restructuring negotiations                     3647-3651
      Claimants’ case                                                                       3652-3659
      Defendants’ answers to Claimants’ case                                                3660-3669
      My assessment                                                                         3670-3683
      The Claimants’ allegations that Deloitte and the Audit Committee were misled          3684-3687
      Metropolitan Life                                                                     3688-3702
      Claimants’ case                                                                       3703-3715
      Relevance of Deloitte’s review and approval?                                          3716-3719
      Defendants’ knowledge of impropriety                                                  3720-3721
      Overall conclusion                                                                    3722-3723
OTHER TRANSACTIONS                                                                          3724-3739
      Tottenham Hotspur: the two sets of transactions
      First set: Q2 2010                                                                    3740-3744


      The second transaction                                                                3745-3754
      Were Deloitte misled?                                                                 3755-3758
      My assessment whether Tottenham 2010 Sale should have been accounted for as a         3759-3761
      ‘solution’
      The second Tottenham Hotspur transaction                                              3762-3762A
      Prisa (Q4 2010)                                                                       3763-3768
      Appropriate accounting treatment                                                      3769-3776
      Were Deloitte misled?                                                                 3777-3778
      My assessment whether the Prisa Sale should have been accounted for as a              3779-3785
      ‘solution’
      Amgen (Q4 2010)                                                                       3786-3794




                                           Page 752
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 754 of 900
Approved Judgment                                                                     HC-2015-001324
Mr Justice Hildyard


      How Hosting Addendum (a) was and (b) should have been accounted for on                     3795-3798
      pleaded case
      Were Deloitte misled?                                                                      3799-3802
      My assessment                                                                              3803-3805
      Iron Mountain (Q2 2011)                                                                    3806-3815
      My assessment                                                                              3816-3818
      Overall conclusion on the “Other Transactions”                                             3819-3820
DECEIT AND MISREPRESENTATION CLAIMS
      The pre-acquisition misrepresentations alleged                                             3821-3824
      Summary of the representations and the claims made in respect of them                      3825-3830
      The January and February Slides                                                            3831-3841
      Substance of representations in the January and February Slides and their alleged          3842-3845
      falsity
      Did HP rely on the January and February Slides? What effect had the Disclaimer?            3846-3851
      Summary of my assessment re the alleged falsity January and February Slides                3852-3855
      The March Slides                                                                           3856-3862
      Representations in the March Slides                                                        3863-3864
      Summary of my assessment re alleged falsity of the March Slides                            3865
      The Defendants’ involvement in and responsibility for the representations in the           3866-3867
      March Slides
      Did the Claimants rely on the March Slides?                                                3868-3872
      29 June 2011 meeting: the fourth set of alleged misrepresentations                         3873-3889
      29 July 2011 meeting and its background: the fifth set of alleged misrepresentations       3890-3920
      Alleged misrepresentations in the course of due diligence 1 August 2011 to 18
      August 2011
      Overview                                                                                   3921-3923
      1 August 2011 due diligence call: the sixth set of alleged misrepresentations              3924-3937
      2 August 2011 due diligence call                                                           3938-3955
      4 August 2011 due diligence call                                                           3956-3966
      Dr Lynch’s involvement in the due diligence process                                        3967-3978
      Whether HP relied on the Defendants’ misrepresentations                                    3979-3986
      My overall assessment of the due diligence process and its relevance                       3987-3988
      The Non-Disclosure Agreement                                                               3989-3992
      Conclusion on the claims in deceit and misrepresentation                                   3993



                                             Page 753
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 755 of 900
Approved Judgment                                                                HC-2015-001324
Mr Justice Hildyard


RELIANCE AND LOSS REVISITED
      Ambit of this Chapter                                                                 3994-3998
      Summary of Claimants’ case on reasonable reliance                                     3999-4002
      Summary of the Defendants’ contrary case                                              4003-4005
      The issues requiring analysis                                                         4006
      (1) What were the principal factors and metrics by reference to which HP/Bidco        4007
      pitched its bid price and eventually concluded the Acquisition?
      Mr Apotheker                                                                          4008-4019
      Mr Robison                                                                            4020-4021
      Mr Sarin                                                                              4022-4027
      Mr Johnson                                                                            4028-4032
      (2) The Deal Model and its bases                                                      4033-4036
      (3) How ultimately did HP’s Board make its decision?                                  4037-4043
      (4) What is the relevance of HP/Bidco’s reliance on other sources of information      4044-4048
      and advice?
      (5) Was HP/Bidco actually aware of any matters falsifying the published               4049-4050
      information?
      Conclusion on reliance (FSMA Claims)                                                  4051-4055
      Introduction to issues of quantum                                                     4056-4065
      Issues relating to the Deceit/Misrepresentation Claims                                4066-4076
DIRECT LOSSES                                                                               4077-4087
      Hardware                                                                              4088-4092
      MAF Payments to VARs                                                                  4093-4098
      Reciprocal Transactions                                                               4099-4105
COUNTERCLAIM                                                                                4106-4115
CONCLUSION                                                                                  4116-4135
POSTSCRIPT                                                                                  4136
      The position of Mr Chamberlain                                                        4137-4152
      Differences between the Summary of Conclusions and this judgment                      4153-4155




                                            Page 754
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 756 of 900
 Approved Judgment                                                               HC-2015-001324
 Mr Justice Hildyard


RECIPROCAL TRANSACTIONS

Summary of the Claimants’ claims re ‘reciprocal’ transactions

2337. The Claimants alleged that another way in which Autonomy created the
      appearance of increased revenue in its published information was through a
      number of what they labelled variously as “Reciprocals”, “barter”, “quid pro
      quo”, “round-trip” or “circular” deals.

2338. The Claimants advanced two types of challenge:
              (1) The first type of challenge concerned purchase transactions listed in
                  RRAPoC Schedule 5 (“Schedule 5 transactions”) which were said to be
                  purchases of products which (a) Autonomy allegedly did not “need”, (b)
                  were of “no discernible value”, and (c) were “linked” to sale transactions
                  in an accounting sense.
              (2) The second type of challenge concerned purchase transactions which
                  were not said to be “reciprocal” with sale transactions, but which were
                  alleged to have put VARs in funds so to enable them to repay their debts
                  on earlier sales identified at RRAPoC Schedule 3. These purchases were
                  also said to have been of products which Autonomy did not “need” and
                  which were of no value to Autonomy. The Claimants relied on these
                  types of transactions detailed in Schedule 3 of the RRAPoC as evidence
                  that the VAR was not on risk in respect of earlier sales giving rise to the
                  debts (the revenue for which sales the Claimants have stripped out for
                  the purpose of their FSMA and misrepresentation claims).
2339. I have already addressed, in the section of this judgment dealing with the
      impugned VAR transactions, purchase transactions which are said to have put
      those counterparties in funds to enable them to repay their debts under VAR
      purchase orders. I shall return later to these ‘type 2 reciprocals’. For the present,
      my focus is on the first type, the Schedule 5 transactions.

2340. The Claimants challenged the Schedule 5 transactions as typically involving:

              (1) Autonomy selling a software licence and/or hardware to the relevant
                  counterparty and, at the same time, or shortly thereafter, Autonomy
                  purchasing products or services from that counterparty the sale and the
                  purchase having been negotiated at the same time and concluded in
                  circumstances where (allegedly) the sale would not have happened,
                  either at all, or on the terms it did, but for the purchase; and then

              (2) Autonomy preparing and implementing separate contractual
                  documentation for the sale and purchase, and presenting and accounting
                  for the sale and the purchase as if they were independent, arm’s length
                  transactions;

              (3) Autonomy recognising revenue from the sale immediately, and
                  capitalising and amortising the costs of the purchase over the purported


                                             Page 755
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 757 of 900
 Approved Judgment                                                             HC-2015-001324
 Mr Justice Hildyard


                  useful life of the product or service in question, thereby deferring the
                  related costs.

2341. The Claimants further alleged that, to ensure that this accounting treatment
      passed muster with Deloitte, Autonomy devised a false commercial rationale to
      explain Autonomy’s purchase of the counterparty’s product or service. The
      Claimants alleged that, with one exception (a purchase of hardware, software and
      services (“RT 5”) from EMC Corporation (“EMC”) which was impugned only
      on the basis that the purchase was in excess of fair value), the only real purpose
      of Autonomy’s purchase from the counterparty was to incentivise the
      counterparty’s reciprocal purchase of a software licence or hardware from
      Autonomy from which Autonomy could recognise revenue and, in most cases,
      to provide the counterparty with the necessary funds for the counterparty’s
      purchase.

2342. The Claimants’ case was that this is apparent from, amongst many other things:
      (i) the absence of evidence that Autonomy’s decision to purchase the product or
      service was made on the basis of a genuine commercial rationale, as opposed to
      a desire to generate revenue from a reciprocal sale, (ii) the evidence that
      Autonomy would not have made the purchase had the counterparty not entered
      into the sale, and (iii) the evidence that the counterparty would not and, in many
      cases, could not, have purchased the software licence and/or hardware from
      Autonomy on the terms it did but for Autonomy’s purchase.

2343. The Claimants’ punchline was that in the case of Schedule 5 transactions
      Autonomy should not have recognised any revenue from its sale to the
      counterparty, and should have accounted for the sale and the purchase on a net
      basis, recording the net amount that Autonomy paid to the counterparty as an
      expense. The Claimants contended that the total adjustments required in respect
      of improper recognition of revenue from the reciprocal transactions in the
      Relevant Period total some $65.2 million. The Claimants’ main claim in respect
      of the Schedule 5 transactions is brought under FSMA and/or for
      misrepresentation to recover loss in respect of the resulting falsity of statements
      made in Autonomy’s published information.

2344. In addition, with the exception of the EMC transaction (RT 5) and the MicroTech
      transaction (“RT 6”) at Schedule 5/5 and 5/6 respectively, these transactions are
      also said to have resulted in transactional losses claimed by the relevant
      Autonomy counterparty (ASL and Zantaz) against each of Mr Hussain and Dr
      Lynch on the basis of an alleged breach of duty. The Schedule 5 transactions in
      respect of which transactional losses are claimed were set out in RRAPoC
      Schedule 12B (“Schedule 12B”). In each case, the Claimants quantified their
      loss as the excess of the total cash paid by Autonomy group companies for the
      purchase side of the transaction over the total cash received by Autonomy group
      companies from the sale side.

Summary of the Defendants’ case re ‘reciprocal’ transactions
2345. The Defendants rejected this characterisation of the Schedule 5 transactions.
      They submitted that the Claimants’ case in relation to the Schedule 5 ‘reciprocal’


                                            Page 756
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 758 of 900
 Approved Judgment                                                           HC-2015-001324
 Mr Justice Hildyard


        transactions was without any foundation: the sets of transactions identified in
        Schedule 5 were all accounted for properly, and since each transaction was
        independent, had its own commercial rationale, and was to be regarded and
        accounted for separately, it was wrong to lump it in with another or other
        transactions to conjure a ‘loss’. The Defendants preferred to refer to the
        transactions in question as “purchases from customers”.

2346. The Defendants emphasised, in particular, that in all the impugned transactions
      the “reciprocal” transactions concerned sales of dissimilar goods (which, as will
      be seen is important in the context of IAS 18.12). They submitted that the
      existence of a commercial rationale for various purchases was confirmed
      extensively by the Claimants’ own witnesses.

2347. More generally, (though the Claimants dismissed these points as “straw men”)
      the Defendants stressed that (a) there is nothing wrong with purchasing
      something from a customer, (b) there is nothing improper per se about linked
      transactions, (c) there is no requirement to show that Autonomy ‘needed’ the
      products or services, and (d) there is no basis for substituting Autonomy’s stated
      rationale for the purchases with another rationale after the event.

2348. The Defendants also noted that for many of the impugned purchase transactions,
      the Claimants did not even challenge the fair value assessment during the trial.
      In any event, fair value was assessed at the time, often with objective third party
      evidence, and Deloitte, who were well aware of the factual connections between
      the transactions, were satisfied and concluded that revenue on Autonomy’s sales
      transactions should be recognised gross.

Defendants’ knowledge and participation
2349. As to the issue of the Defendants’ knowledge of improper accounting, the
      Claimants’ case was that:
       (1) Mr Hussain’s knowledge was “beyond argument”: he was
                       “front and centre of the reciprocal transactions. He often came
                       up with the idea for the transactions and he was either directly
                       involved in their negotiation or he oversaw and directed their
                       negotiation by others within Autonomy.”

         (2) Dr Lynch was aware of each of the relevant sales by Autonomy and he
             approved most of Autonomy’s related purchases. Even where there is no
             documentary record of him approving a purchase he must, at the very least,
             have been aware of it: it is inconceivable that Mr Hussain, who knew of
             both transactions, would only have told Dr Lynch about the Autonomy sale
             and not the related multi-million-dollar Autonomy purchase.

2350. In his closing submissions, Mr Hussain attacked the evidence of Mr Egan and
      Mr Baiocco to the effect that he had planned and directed the sales and purchases
      with Capax Discovery (“RT 1”), on which the Claimants based their claims, as
      contrived, coordinated and untrue. He contended, as to both this and the other
      impugned transactions, that there was no reliable evidence suggesting that he


                                          Page 757
       Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 759 of 900
 Approved Judgment                                                                         HC-2015-001324
 Mr Justice Hildyard


         conceived the arrangements to be in any way improper. Mr Hussain otherwise
         adopted the submissions on behalf of Dr Lynch.
2351. Dr Lynch maintained that each of the impugned transactions appeared to him to
      have a commercial rationale and to be at fair value. He did not think that any of
      them was improper. His closing submissions noted that for many of the
      transactions the Claimants did not even challenge him as to his understanding at
      the time in relation to one or both of the commercial rationale and fair value
      issues.

The Schedule 5 and Schedule 12B transactions
2352. The impugned ‘reciprocals’ which were not connected with VAR transactions
      (see paragraph 2338 above) were described in Schedule 5 of the RRAPoC in
      groups referred to as “RT 1” through “RT 6”. In the Claimants’ written closing
      submissions, the groups were addressed according to the counterparty. “RT 1”
      (with Capax Discovery), “RT 3” (with FileTek), and “RT 6” (with MicroTech)
      were transactions with favoured or ‘friendly’ VARs. The others, “RT 2”, “RT 4”
      and “RT 5”, were described as “Miscellaneous Reciprocal Transactions” and
      were with various software companies: RT 2 was with VMS Inc (“VMS”), RT 4
      with Vidient Systems Inc (“Vidient”) and RT 5 with EMC. In this judgment, I
      shall revert to the sequence as set out in Schedule 5 of the RRAPoC, which is
      chronological by reference to the first transaction in the set.272

2353. In addition to their claims under FSMA and/or misrepresentation, the Claimants
      also claimed transactional losses in respect of some, but not all, of the Schedule
      5 transactions impugned as ‘reciprocal’. Those transactions in respect of which
      the Claimants made claims for transactional losses were listed in Schedule 12B
      of the RRAPoC: the transactions comprised in RT 1, RT 2, RT 3 and RT 4 were
      all also “Schedule 12B transactions” in respect of which claims for transactional
      losses were made. No claims for transactional losses were made in respect of RT
      5 and RT 6.
 General points on accounting issues
2354. The accounting question and the Claimants’ allegations must be decided in
      respect of each of the impugned transactions individually and on its own
      particular facts. However, it is convenient to consider first the overarching
      accounting questions raised by the Claimants and the accounting framework by
      reference to which they arise, and also certain points suggested in Dr Lynch’s
      written closing submissions to be of general application.
The accounting framework

 272
     It should be noted, however, that I have already dealt with transactions connected with VAR
 transactions (and which were the subject of the second type of challenge identified in paragraph 2338(2)
 above and set out in Schedule 3 of the RRAPoC) in the Schedule of Impugned VAR Transactions.
 Accordingly, I have addressed the 2011 FileTek/StorHouse transactions, which were, as Schedule 3
 transactions, examples of the second type of challenge referred to in paragraph 2338(2) above, together
 with the impugned VAR transaction to which they relate (VT18).




                                                  Page 758
       Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 760 of 900
 Approved Judgment                                                                        HC-2015-001324
 Mr Justice Hildyard


2355. Although the Claimants sometimes described the sets of transactions which they
      sought to impugn as “barter” transactions, those transactions were not suggested
      to involve an “exchange” or swap of goods such as to bring the transaction
      within IAS 18.12 273 : they were transactions for monetary consideration.
      However, the Claimants’ case was that


          they were so inextricably ‘linked’ that their only fair presentation in the accounts
          would have been to account for them together.
2356. The Claimants accepted that simultaneous transactions of sale and purchase
      between the same counterparties are common, and that usually, they are
      accounted for as separate transactions. The Claimants’ point was that in certain
      circumstances that may not reflect their true substance: although in form
      separate, their true substance may only be revealed and reflected by treating and
      accounting for them together. The Claimants contended that this was the
      position in the case of each of the sets of impugned ‘reciprocal’ transactions they
      identified in Schedule 5.
2357. Thus, the Claimants presented the principal accounting question underlying their
      case on the Schedule 5 transactions as being whether Autonomy should have
      accounted for the relevant sale and purchase impugned:
                (1) as separate transactions, in accordance with the accounting principles
                    applicable to each; or (as the Claimants submitted was correct)
                (2) on a net basis, that is, recognising any net payment by Autonomy as an
                    expense and any net receipt by Autonomy as other income.

2358. The Claimants adopted two approaches in support of their submission that (2)
      (the net basis) was the correct accounting treatment.
2359. The first, and what they presented as the simplest, approach involved a
      reiteration and application of their fundamental point in the context of the
      impugned VAR transactions, which is that transactions are to be accounted for
      in accordance with their substance and not merely their legal form. The
      Claimants’ case is that in each case the overall reciprocal arrangement lacked
      substance because it lacked any commercial rationale other than to put the
      counterparty in funds for some other purchase, or to satisfy some other
      obligation, and that it was wrong to recognise revenue from it accordingly. The
      Claimants’ first approach was not dependent on IAS 18.13, and indeed made it

 273
       IAS 18.12 provides in relevant part as follows:

 “When goods are sold or services are rendered in exchange for dissimilar goods or services, the
 exchange is regarded as a transaction which generates revenue. The revenue is measured at the fair
 value of the goods or services received, adjusted by the amount of any cash or cash equivalents
 transferred. When the fair value of the goods or services received cannot be measured reliably, the
 revenue is measured at the fair value of the goods or services given up, adjusted by the amount of any
 cash or cash equivalents transferred.”




                                                    Page 759
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 761 of 900
 Approved Judgment                                                                 HC-2015-001324
 Mr Justice Hildyard


        unnecessary to look at that rule. Furthermore, the experts were agreed with that
        approach: if the transactions lacked independent rationale and substance, that
        sufficed to disqualify revenue recognition without further regard to the more
        specific and detailed journey through IAS 18.13.
2360. The Claimants’ alternative approach was based on IAS 18.13 itself. IAS 18.13,
      which is headed ‘Identification of the transaction’, prescribes the test and
      accounting treatment of ‘linked’ transactions. In the course of his oral closing
      submissions, however, Mr Rabinowitz clarified that although the routes offered
      were different they would always lead to the same conclusion: there would never
      be a case where one route was satisfied and the other not: as he put it “you get
      to exactly the same point”.
2361. IAS 18.13 confirms that transactions are “usually” accounted for separately.
      However, and in addition to a case where transactions are by way of barter or
      exchange (for which the test and accounting treatment is prescribed in IAS
      18.12) there is a possible exception where two or more transactions, though they
      may take the form of separate agreements, they:
                  “are linked in such a way that the commercial effect cannot be
                  understood without reference to the series of transactions as a whole.”
2362. IAS 18.13 also stipulates how, in such a case, revenue recognition criteria are to
      be applied to:
                  “separately identifiable components of a single transaction in order to
                  reflect the substance of the transaction.”

2363. As the Defendants emphasised, and the Claimants accepted, the test under IAS
      18.13 is not factual linkage per se: it is not sufficient for there to be a factual
      connection, or even for there to be a situation where one transaction would not
      have occurred without the other. Mere reciprocity does not lead to net
      accounting. Moreover, and as was common ground between the accounting
      experts and the parties, the fact that transactions may be linked does not prevent
      recognition of the sale transaction at gross fair value. The joint statement of Mr
      MacGregor and Mr Holgate stated under their “Agreed view”:
                  “Even if the alleged reciprocal transactions are determined to be linked,
                  this does not necessarily preclude separate recognition of each limb of
                  any such transaction i.e. the recognition of the gross fair value of the
                  sale and purchase.”


  The parties’ approaches to the nature of the linkage required and its identification
2364. The Claimants put forward the following approach:
              (1) The initial step is to identify the transactions that might be linked in such
                  a way that their commercial effect cannot be understood without
                  reference to the series of transactions as a whole. This may be
                  established by what the Claimants described as a “prima facie linkage”.
                  The Claimants stressed that such a “prima facie linkage” would not of


                                              Page 760
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 762 of 900
 Approved Judgment                                                               HC-2015-001324
 Mr Justice Hildyard


                  itself mean that the transactions must be accounted for together, and that
                  it would only mean (as Mr Holgate explained it) that the transactions:
                         “should be considered together but that then may lead to
                         accounting for them separately or on some net basis. That’s not
                         the end of the story, in other words”.

              (2) The next step, according to the Claimants’ approach, is to consider
                  whether it is possible to understand the commercial effect of each of the
                  transactions without regard to the other. That is a fact-specific enquiry.
                  Relevant considerations would include (a) whether each transaction has
                  a genuine commercial rationale, (b) whether there is any contractual
                  interdependence between the transactions, and (c) whether the
                  transactions are at fair value.
              (3) The Claimants stressed, however, that these considerations are (i) not
                  exhaustive, and they instanced a further potentially relevant matter as
                  being whether one transaction would have happened without the other;
                  (ii) not mutually exclusive, and they instanced the payment significantly
                  in excess of fair value such as might call into question the commercial
                  rationale for the purchase; and (iii) not necessarily deserving of equal
                  weight, and they quoted Mr Holgate’s view in particular that if there is
                  a lack of commercial rationale for one part of a linked transaction
                  “you’re three-quarters of the way there.”

2365. The Defendants, on the other hand, advocated the three-stage approach in fact
      adopted by Deloitte:
              (1) First, it is necessary to examine the contracts to determine whether there
                  is a contractual linkage between the purchase and any sale transaction
                  which impacted on the revenue recognition for the sale. The Defendants
                  submitted that there was no such linkage for any of the transactions
                  which are impugned in this case.

              (2) Secondly, it is necessary to ensure that there was a commercial rationale
                  for the purchase.

              (3) Thirdly, it is necessary to determine whether the transactions were at fair
                  value.

2366. In his closing submissions on behalf of Dr Lynch, Mr Hill addressed the
      Claimants’ suggestion that it was relevant to consider whether one transaction
      would have occurred without the other. Noting that Mr Holgate had accepted in
      cross-examination that this was not conclusive, Mr Hill submitted that it was no
      more than “part of the factual picture” since it did not answer the question he
      posed as being at the heart of the matter: “…can I understand the commercial
      effect of these transactions separately?”

2367. Mr Hill suggested that, in the case of each of the Schedule 5 transactions, if there
      was a commercial rationale other than solely to generate, by means of a purchase,
      revenue for a sale, that commercial rationale provided the requisite


                                             Page 761
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 763 of 900
 Approved Judgment                                                             HC-2015-001324
 Mr Justice Hildyard


        understanding. He stressed that the Claimants’ case for impugning the
        transactions had been pleaded and argued on the basis of the sole purpose of
        Autonomy’s purchase being to incentivise and fund the counterparty to enable
        Autonomy’s sale. It would not suffice if that was only part of the purpose. In this
        connection, Dr Lynch’s written closing submissions quoted Mr Welham’s
        agreement that, having ascertained that the goods were dissimilar items, the
        essential questions were whether there was a commercial rationale, and whether
        there was fair value; and provided that was the case then revenue would be
        recognised gross:
                  “Q. … So one of the questions is whether the goods in question
                  are similar, correct? A. It is, yes.
                  Q. Once that's out of the way, then essentially the two elements are
                         commercial rationale for the deal and fair value?
                  A.     Yes.”

2368. It was common ground that in each set of Schedule 5 transactions the goods, the
      subject of Autonomy’s purchase transaction and the goods, the subject of
      Autonomy’s sale transaction were not “similar”.
2369. The principal focus of the parties’ submissions was therefore on the commercial
      rationale, and in particular, the issue as to whether what the Defendants asserted
      was the rationale for the Schedule 5 transactions was genuine, or whether it was
      a pretext to cover what the Claimants submitted was the real purpose, being to
      incentivise and fund Autonomy’s counterparty to purchase software from
      Autonomy so that Autonomy could recognise revenue on its sale transaction.
      There were a number of disputed issues in
      this connection, some of which melted away as being largely semantic or what
      the Claimants described as “strawmen”.
2370. In that context, the issues can be summarised as:
              (1) The relationship between the commercial rationale of the transactions
                  and their commercial effect;
              (2) Whether the Claimants had to demonstrate that the only rationale for the
                  transactions was for Autonomy to fund by the purchase transaction the
                  revenuegenerating sale transaction and thus in effect purchase its own
                  revenue;
              (3) The relevance of whether or not Autonomy needed and used the goods
                  it purchased;
              (4) The relevance of the pre-purchase assessment of the goods the subject
                  of Autonomy’s purchase transactions;
              (5) The relevance of Deloitte’s assessment and approval of each of the
                  transactions;
              (6) The import of the factual evidence given by those involved in the
                  transactions;


                                            Page 762
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 764 of 900
 Approved Judgment                                                            HC-2015-001324
 Mr Justice Hildyard


              (7) The import and reliability of the expert evidence.

2371. As to (1) in the preceding paragraph 2370, the Claimants sought to apply IAS
      18.13 according to whether or not one transaction in a series had any commercial
      rationale without the other(s). They contended that where one of the transactions
      in a set of two makes, on its own, no commercial sense, and has no substantial
      business rationale or commercial purpose at the time of the transaction except to
      fund the other transaction, then the one is obviously dependent on, and cannot
      sensibly be understood without regard to the other; and that in such
      circumstances both must be accounted for according to their net effect together.
      Mr Rabinowitz summarised this in his oral closing submissions as “…the
      inability to understand a commercial rationale for one without having regard to
      the other as well.”
2372. The Defendants, though they too addressed the issue of the commercial rationale
      of each transaction, pointed out, correctly, that the test prescribed by IAS 18.13
      for applying the recognition criteria for two or more transactions together is not
      expressed in terms of the “commercial rationale” of one transaction in a set of
      two (or perhaps more) transactions, but rather in terms of whether an
      understanding of the “commercial effect” of the relevant set or series of
      transactions may only be had by “reference to the series of transactions as a
      whole”.
2373. The paradigm is where the series of transactions all concern the same goods
      going round in a circle or “round-trip”. Hence the example given in IAS 18.13
      of a transaction of sale of goods on one date and a transaction for the repurchase
      of the same goods at a later date: a proper understanding of each transaction is
      only to be found by reference to their composite result, and it is right that the
      revenue recognition criteria should be applied, not to the components, but to the
      composite, as in the case of an exchange or swap of the same goods (see IAS
      18.12).
2374. Where, on the other hand, the various transactions in a sequence relate to
      dissimilar goods, and the analogy with an exchange or swap is lacking, the fact
      that the transactions are performed in a sequence does not ordinarily deprive each
      transaction of commercial

        effect: neither the sale nor the acquisition of the goods is substantially negated
        or in commercial terms reversed, and the application of the revenue recognition
        criteria to each transaction in the sequence is appropriate and indeed required.
        Perhaps another way of looking at this is that where the effect of one transaction
        is fundamentally altered by the effect of another the question is whether each can
        be understood on its own terms without reference to the other, or whether in
        reality the two (or more) can only properly and rationally be understood by
        reference to their combined effect.
2375. In each of the allegedly reciprocal transactions impugned in this case, the
      transactions related to dissimilar goods: they were not (contrary to the
      terminology sometimes deployed by the Claimants and even by Mr Holgate)
      exchange, barter or “round-trip” transactions; and where the goods the subject of



                                            Page 763
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 765 of 900
 Approved Judgment                                                               HC-2015-001324
 Mr Justice Hildyard


        each of the two transactions are dissimilar, prima facie at least each transaction
        would appear to be independent and the subject-matter of the contracts suggests
        no reason to depart from the “usual” approach of separate accounting of each.
2376. The question is whether, nevertheless, any of the transactions in an identified
      sequence was in reality simply a way of funnelling money to the counterparty to
      fund another transaction in that sequence, having no real substance or
      independent rationale at all. Mr MacGregor put the point this way in his oral
      evidence:
                  “…So to make this real, in these situations, I think the suggestion is that
                  Autonomy was buying software which it didn’t -- had no point – there
                  was no purpose in it buying it, it was done solely as a way of funnelling
                  money back to the counterparty. So it’s that leg of purchase which on its
                  own doesn’t make any sense.
                  …if the overall substance of the transaction is solely as a way of
                  Autonomy paying money to – for no other reason, paying money to a
                  counterparty so that it can buy its software, then that commercial – the
                  overall transaction has no commercial substance. And one would deal
                  with the accounting for that on a net basis, i.e. whatever the net
                  payment is…would be simply treated as an expense with no
                  recognition of revenue.”

2377. On that approach, the relevance of assessing the commercial rationale of a
      transaction in such a sequence is to determine whether that transaction has any
      independent substance, or whether it is in reality only understandable by
      reference to the commercial effect of all the transactions in that sequence. In
      particular, where a purchase transaction has no rationale except to fund a sale
      transaction, so that the purchase cannot really be understood except by having
      regard to the sale, it may well be that the two transactions need to be taken as
      one, and only any surplus of the sale proceeds over the purchase proceeds
      accounted for and recognised as revenue.
2378. This analysis seems to me to bear on a point I raised with Mr Rabinowitz in the
      course of his oral closing submissions, intended to be reflected in the question
      identified in (2) in paragraph 2370 above. This was whether it suffices to justify
      treating transactions in a sequence compositely when applying revenue
      recognition criteria that (to take the example as above of a purchase transaction
      and a sale transaction) the predominant purpose for the purchase was to fund the
      sale, and the one would not (or probably not) have taken place without the other,
      but it was not the sole purpose.

2379. Mr Rabinowitz initially submitted that “predominant reason suffices”. I do not
      accept that this is the correct approach. It would, at least potentially, require the
      court to weigh an entity’s competing proper purposes, which (outside possibly
      the context of unfair prejudice issues) is very rarely appropriate when the
      judgment has lawfully been left to that entity’s management.
2380. Similarly, a related test Mr Rabinowitz proposed, which was to ask whether the
      one would have taken place but for the other, does not seem to me to be what


                                             Page 764
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 766 of 900
 Approved Judgment                                                              HC-2015-001324
 Mr Justice Hildyard


        IAS 18.13 has in mind: thus, the rationale of a purchase by Autonomy may
        include the fact that thereby the counterparty will have funds which it intends to
        use to purchase dissimilar goods from Autonomy, and yet also have its own
        commercial rationale and substance viewed as an independent transaction so that
        its commercial effect can readily be understood.
2381. Mr Rabinowitz’s last iteration of the argument was to pose the question: “why
      was this being done?”. He elaborated this (modifying it a little to suit the
      particular context of related transactions) as follows: accepting factual linkage is
      a necessary but not a sufficient characteristic, having identified it:
                  “…you ask yourself a question: can I actually understand this,
                  properly understand the one, genuinely understand the one without
                  having regard to the other? If you can’t you have to account for them
                  together. It’s only in that way that you get a genuine commercial
                  rationale being reflected in your accounts.”

2382. Although that may seem to restate the issue, it does seem to me to point the way.
      The question in my view is whether the rationale of the one is only in reality
      supplied by the other. The answer may not depend exclusively on whether one
      or the other lacks substance: it may be apparent from other considerations that
      the real reason for one is the other. If in the case of factually linked transactions,
      one transaction appears to be so lacking in commercial rationale that it begs the
      question what the real reason can be, and the reason is apparent from the other,
      the two must be accounted for together for the purposes of applying the revenue
      recognition criteria. Here, if it is established that the one cannot realistically be
      explained except as a funding mechanism for the other, that would, in my view,
      suffice. The test also seems to me to be close to what Mr MacGregor may have
      had in mind, though that must be qualified by the gloss that the commercial
      rationale of a transaction is to be distinguished from its incidental side effects
      and from pretended objectives which at the time plainly carried no real weight
      in the decision to undertake it.
2383. The next question is how the fact or lack of any genuine commercial rationale
      for and substance of the (in this case) purchase transaction is to be determined.
      The Claimants relied especially on two tests, reflected in (3) in paragraph 2370
      above: whether Autonomy had in fact any need for the goods and whether it in
      fact made any use of the goods when purchased. In this regard, the Claimants
      had pleaded in each case that Autonomy had “no independent need” for the
      goods purchased; and they contended that this could be demonstrated by
      evidence as to the use made, or the lack of any use being made, of the goods after
      the purchase.
2384. This led to the Defendants contending that (a) a test of necessity was too strict
      and misplaced, and that any genuine commercial rationale should suffice, and
      (b) to assess the commercial rationale by reference to the subsequent use of the
      goods purchased was flawed in principle since it relied on hindsight, did not
      address the commercial rationale




                                            Page 765
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 767 of 900
 Approved Judgment                                                               HC-2015-001324
 Mr Justice Hildyard


        at the time of purchase and was a particularly unsuitable evaluative approach for
        a fast- moving company in a fast-developing sector, where technologies change
        and priorities shift with great speed and it is not unusual for products to be
        unsuccessful or to be moved aside.
2385. I agree with the Claimants that this dispute was largely semantic (a dispute about
      “need”); and indeed, the Claimants accepted in their oral closing that the test is
      “genuine commercial rationale at the time of the purchase”. A demonstrated
      lack of any real intention at the time of the purchase to use the goods purchased
      is obviously relevant. Conversely, evidence of subsequent use might be relevant
      in testing whether the rationale was genuine or (as Mr Rabinowitz put it) “one
      drummed up after the event.” I accept the Claimants’ submission that
      adventitious use after the event is unlikely to provide any commercial rationale,
      and indeed may suggest that the need for the product has been confected and the
      rationale contrived.
2386. That said, I accept the Defendants’ submission that the Claimants adopted too
      confined an approach to the assessment of commercial rationale. I agree that:
              (1) There could be a number of types of commercial rationale. Immediate
                  need is not a valid test of commercial rationale. Autonomy could have a
                  potential use for the product, or could want it in its inventory, or could
                  be accumulating useful stock (in the case of hardware servers, for
                  example).

              (2) Nor, related to that, is the subsequent use of the product purchased a
                  reliable test either; and although it may have some relevance to the
                  intention at the date of the purchase (as acknowledged above) the
                  Claimants’ approach of assessing commercial rationale according to the
                  lack of any subsequent use runs the risk of impermissible and misleading
                  hindsight. A product considered worth acquiring may be overtaken, or
                  have been proved unreliable. As head of R&D, Dr Blanchflower was
                  well placed to comment on this industry reality:
                       “Q.   It's also right, isn't it, that tech companies quite often
                              work on projects that end up not being successful, yes?

                       A.     Correct.

                       Q.    It's an industry where one hit can make up for a number of
                               misses, isn't it?

                       A.     Yes.

                       Q. And when a project starts, it can be pushed aside by something
                            more important sometimes, yes?

                       A.     Yes, yes.


                                             Page 766
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 768 of 900
 Approved Judgment                                                                HC-2015-001324
 Mr Justice Hildyard




                       Q. Or a better opportunity might come along which is more worth
                             spending the development management time?

                       A.     Yes, I agree.

                       Q.   Or perhaps sometimes a competitor's product might
                             come along which makes the project no longer so
                             viable or interesting to take forward?

                       A.     Yes, yes.

                       Q. And it's not that rare, is it, for a company to invest in a
                            project and for it then to get delayed, or sometimes
                            not even get to market?

                       A.     That happens, yes.

                       Q.   And Autonomy had projects like that just like any other tech
                              company, didn't it?

                       A. I would like to think we had a greater hit rate than most,
                             but that is still the case, yes.”

              (3) Conversely, however, I accept the Defendants’ submission that whilst
                  evidence of non-use may or may not be significant, proven actual use
                  may have what Mr Hill termed “asymmetrical significance” as a good
                  indicator of commercial rationale.

2387. As to (4) in paragraph 2370 above, the Claimants placed considerable emphasis
      on what they depicted as the lack or paucity of evidence of any proper pre-
      purchase process of assessment by Autonomy of the goods it was to purchase.
      This is obviously, in my view, potentially a relevant factor to consider in respect
      of each of the impugned reciprocal transactions in assessing whether Autonomy
      really wanted to purchase the goods, or whether its driving purpose was to get
      money into the hands of its counterparty to enable the counterparty to purchase
      Autonomy products. However, I agree with the Defendants that it is necessary
      to consider whether Autonomy’s approach was uncharacteristic compared to its
      ordinary process of decision-making, or whether the Claimants’ criticisms are in
      part a manifestation of a different and more bureaucratic management style of a
      company such as HP. It is also necessary to take into account whether
      management were already familiar with the product, such that extended
      assessment and a written record may have been considered pointless or
      unnecessary.




                                              Page 767
       Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 769 of 900
 Approved Judgment                                                                          HC-2015-001324
 Mr Justice Hildyard


2388. As will be seen when considering the various impugned reciprocal transactions
      in turn, the Defendants contended that the Claimants had taken an unrealistic
      approach to the process that one would expect to see for Autonomy to decide on
      a purchase which overlooked Autonomy’s characteristic entrepreneurial
      approach to decision-making, and that their criticisms of the written material
      justifying or recommending the purchase were exaggerated. The Defendants
      contended that members of management were well abreast of other products in
      their market and often already had prior knowledge of a product, and knew they
      were interested in buying it. It was not unusual or sinister for the written
      document to have no more than a confirmatory role.

2389. As to (5) in paragraph 2370 above, the Defendants contended that the Claimants
      had ignored or understated the role of Deloitte. The Defendants placed
      considerable reliance on Deloitte’s review and approval of each of the impugned
      reciprocal transactions, in the course of which Deloitte had full access and spoke
      to Autonomy personnel, including Dr Menell and others on the technical side
      (such as Mr Lucini). Deloitte also consulted their own technical specialist, Mr
      Johnstone, who reviewed the products.
2390. Deloitte’s approach was summarised in a summary prepared by Mr Knights, in
      which Deloitte considered the first VMS purchase and sale, having also
      discussed the matter with Mr Barden, from Deloitte’s NAA department:
                “I have talked through the “VMS” matter with Phil Barden.

 Background Summary

            •     Autonomy have sold $9m of software to 3rd party VMS
            •     VMS have separately sold to Autonomy $13m of services/license for a 3
                  year provision of their services to Autonomy
            •     We have reviewed the commercial substance of both deals
            •     We are satisfied that these are not similar items of exchange
            •     We have reviewed the contractual terms of both transactions
            •     It is clearly demonstratable that what Autonomy has bought from VMS is
                  entirely different from what it has sold to VMS.
            •     We are satisfied that there are no related party matters.

 Accounting principles

                Phil has agreed that the accounting principles are around revenue
                recognition and are directly tied into the audit judgements around:

            •     Establishment of fair value of both transactions.274


 274
    In the case of the sale transaction, there was no reason to measure the fair value as distinct from the
 sale revenue. In the case of a purchase, where the measurement is highly fact-specific, the Defendants’
 case is that the finance department and Deloitte considered the evidence of fair value of the goods
 purchased in each case and were satisfied that the amount paid was the fair value. The Claimants
 contended, however, that Deloitte were misled. The issues as to the measurement of fair value,


                                                  Page 768
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 770 of 900
 Approved Judgment                                                                        HC-2015-001324
 Mr Justice Hildyard




            •     The determination that these transactions are or are not for similar items
            •     The judgement for business rationale for these transactions - to underline
                  the separate nature of both transactions.

                On the basis that the audit team can conclude satisfactorily on these
                areas of judgement then revenue recognition and the separate
                recording of revenues and costs is appropriate.
                Revenue and costs would be recognised at fair value."


2391. Deloitte’s view that a preliminary matter to be addressed was whether the two
      transactions within the set (one for Autonomy to purchase goods and the other
      for

        Autonomy to sell goods to the same counterparty) concerned similar goods was
        explained in an email dated 6 July 2009 from Mr Barden of Deloitte’s national
        accounting and auditing team when considering the VMS deal (see below) to Mr
        Knights, Mr Knight and Mr Welham (and others in Deloitte), where he stated in
        response to an email from Mr Knights setting out his report as follows:
                   “Even in a barter transaction, revenue will be recognised at fair value
                   unless the items exchanged are ‘similar’. If we are happy that each sale
                   could have taken place without the other, and that the items exchanged
                   are not ‘similar’, then I would expect revenue to be recognised at fair
                   value.”


2392. Mr Welham agreed and explained that having ascertained that the goods were
      dissimilar items, the essential questions were whether there was a commercial
      rationale, and whether there was fair value. Provided that was the case then
      revenue would be recognised gross:
            “Q. … So one of the questions is whether the goods in question are similar,
                 correct?

             A.        It is, yes.

            Q.         Once that's out of the way, then essentially the two elements are
                       commercial rationale for the deal and fair value?

            A.         Yes.”

2393. Deloitte also reviewed and approved the assessment of fair value in the case of
      each of the impugned reciprocal transactions. Mr Welham confirmed that

 Deloitte’s assessment and the Claimants’ case that Deloitte approached the matter on the basis of a
 number of misunderstandings fed by Mr Hussain and Mr Chamberlain, are elaborated below.


                                                 Page 769
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 771 of 900
 Approved Judgment                                                             HC-2015-001324
 Mr Justice Hildyard


        Deloitte in every case scrutinised the evidence available at the time the audit
        judgement was made, which included evidence which came into existence after
        the accounts stage but before the audit judgement.
2394. The Defendants suggested that the Claimants paid hardly any attention to the
      assessments of fair value which were carried out at the time, and that the
      crossexamination of Dr Lynch was striking for the absence, in general, of any
      challenge in relation to this material and the fair value assessment that was made.
      They went on to submit that if (as they suggested the Claimants’ own witnesses
      had confirmed) Autonomy was purchasing a product that was or would be useful,
      and which was purchased at fair value, the Claimants attempts to impugn the
      transaction and the accounting cannot get off the ground.
2395. It is to be noted, however, that in the case, for example, of the Vidient transaction
      (RT4) addressed in greater detail below (see paragraphs 2878ff), where the
      purchase and sale transactions by Vidient were put into different quarters (see
      paragraphs 2904 to 2913), Mr Welham’s evidence (which is supported by the
      documentary evidence and which I accept) was that Deloitte did not become
      aware of the Vidient sale transaction until too late to consider the two together
      (and see paragraph 2914 below). Similarly in the case of the purchase and sale
      transactions with MicroTech comprising RT6 in Q1 2011, which were also put
      into different quarters, Deloitte were unaware of the second transaction when
      they reviewed the first (see paragraph 2964(1) below). Mr Welham also
      confirmed that Deloitte knew that there was factual linkage in the sense that they
      were transactions between the same parties at about the same time. The question
      is whether they could each have taken place without the other, not whether they
      would each have taken place without the other.
2396. As to (6) in paragraph 2370 above, the parties drew rather different conclusions
      from the “direct” evidence as to the rationale for Autonomy’s purchases. The
      Claimants relied especially on Mr Egan’s evidence as to the real rationale for
      some of Autonomy’s purchases in his witness statement (in paragraphs 36 to 38)
      as follows (the underlining is mine):
                  “36. …One of the ways in which Autonomy met the larger goals was to
                  do round trip transactions with customers who had a product Autonomy
                  could buy. Mr Hussain directed me to find “quid pro quo” deals – deals
                  in which Autonomy could buy goods or services from another company,
                  and in turn, that company would use the funds from the sale to purchase
                  software from Autonomy. The point of these deals was effectively to find
                  revenue for Autonomy that was easier to get than a conventional sale
                  because the buyer was getting something good for its own business in
                  return.
                  37. In the deals that I understand from the Claimants’ lawyers are
                  challenged in this case, Mr Hussain or I identified another company’s
                  product or service that Autonomy could purchase, even though
                  Autonomy otherwise had no intent or plan to purchase that product or
                  service, which was unwanted, unused or overpriced. I would then
                  approach the other company and propose what I called a “quid pro



                                            Page 770
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 772 of 900
 Approved Judgment                                                              HC-2015-001324
 Mr Justice Hildyard


                  quo” or “round trip” deal. Autonomy would offer to purchase the other
                  company’s product or service if, in return, that company would agree to
                  license identified software from Autonomy. In most cases, the money that
                  Autonomy paid to the other company to buy its product or service gave
                  the other company the funds with which to purchase the license from
                  Autonomy. An incentive for the other company was that Autonomy
                  would pay more for the other company’s product or service than the
                  other company was asked to pay Autonomy for the license to use
                  Autonomy’s software…
                  38. Mr Hussain principally set the price to be charged for the
                  Autonomy software and directed the negotiation of the spread. Again,
                  he instructed me as to how to ensure that those deals were to be
                  structured so as to be acceptable to Deloitte. To make the case that the
                  revenue from the sale element of these deals could be recognized, I wrote
                  emails explaining how Autonomy would get value from the products that
                  it purchased. But, in reality, I knew that Autonomy would not have
                  purchased the products without the related purchase by the third party.”


2397. When cross-examined Mr Egan confirmed that his evidence in these paragraphs
      should be read as relating only to the reciprocal transactions with Capax
      Discovery (RT1) and FileTek (RT3). However, the Claimants submitted that
      many of the other reciprocal transactions had strikingly similar features to the
      FileTek and Capax Discovery roundtrip deals; that this was unlikely to have been
      a coincidence, particularly in circumstances where Mr Hussain was involved in
      all of them; and that the Court should therefore infer that Mr Egan’s general
      comments in his witness statement about the rationale behind the reciprocal
      transactions apply across the board.
2398. The Claimants submitted that it is clear from Mr Egan’s evidence that:

              (1) The reciprocal transactions were conceived of by Mr Hussain or Mr
                  Egan, neither of whom had technical expertise.

              (2) The transactions were conceived of as a means of generating revenue to
                  meet market expectations.

              (3) The transactions were an expensive means of generating revenue
                  because Autonomy had to purchase a product in order to induce the
                  revenue-generating sale.

              (4) Autonomy would not have purchased the products without the related
                  purchase by the counterparty.

Factual evidence as to the real rationale: Claimants’ case

2399. The Claimants went on to submit that this evidence and the inferences they
      invited the court to make were supported by what they described as a “wealth of
      material” from which they submitted it is to be inferred that this was the real



                                             Page 771
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 773 of 900
 Approved Judgment                                                             HC-2015-001324
 Mr Justice Hildyard


        rationale for Autonomy’s purchases. They described this material in five
        headline points.
2400. First, they submitted that the purchases were difficult to square with Autonomy’s
      general approach of not purchasing third party software and using Autonomy’s
      own software or open source software where at all possible. That general
      approach was Autonomy’s publicly stated position at the time, and was
      confirmed by a number of witnesses, including Dr Blanchflower, Mr Lucini, Mr
      Humphrey, Mr Wang, Mr Kalbag, Mr Greenwood, and Dr Lynch’s witness, Mr
      Avila. Their evidence, in short, was that Autonomy did not generally purchase
      third party software. There were, of course, exceptions, but this was usually
      where the software in question was highly specialised and Autonomy had no
      equivalent offering. A review of Autonomy’s financial statements for the years
      ended 31 December 2009 and 31 December 2010 reveals that over 99% of
      Autonomy’s capitalised software purchases during those years related to
      transactions that are impugned in these proceedings, which the Claimants relied
      on as belying any suggestion by the Defendants that it was commonplace for
      Autonomy to purchase third party software.
2401. Secondly, the Claimants contended that Autonomy did not conduct the sort of
      due diligence which would be expected from a company purchasing a product
      for many millions of dollars with the genuine intention of using it in its business.
      Autonomy’s approach was more consistent with what might be expected from a
      company that did not care what it was purchasing and whether it could use what
      it purchased but was searching for something to say to justify it. Thus, the
      Claimants contended that prior to purchasing the products in question:

              (1) Autonomy did not obtain any test licence or prepare any proof of
                  concept.

              (2) Nor did Autonomy perform a detailed technical evaluation to determine:
                  (i) whether Autonomy could build an equivalent product for less, i.e. a
                  buy versus build analysis, and (ii) whether the product was capable of
                  being used alongside or integrated with Autonomy’s software.
              (3) Nor did Autonomy conduct any detailed commercial or cost benefit
                  analysis to determine the likely value of the product to Autonomy in
                  terms of future sales or saved expense.

              (4) Nor, contrary to Dr Lynch’s assertion, did Autonomy obtain alternative
                  quotes from third-party suppliers “in most cases”. Autonomy obtained
                  competing quotes in just two instances – RT2(1) and RT3(1) (the first
                  reciprocal transaction with VMS and the first reciprocal transaction with
                  FileTek, respectively) – and even then only after the purchase in
                  question had taken place, suggesting that the quotes did not, therefore,
                  form any part of Autonomy’s decision-making process, and instead,
                  were obtained in an attempt to justify to Deloitte the fair value of a
                  purchase that had already happened.




                                            Page 772
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 774 of 900
 Approved Judgment                                                              HC-2015-001324
 Mr Justice Hildyard


2402. The Claimants rejected the arguments (outlined above) deployed by the
      Defendants to the effect that Autonomy did not need to conduct any detailed
      technical analysis because it was already familiar with the product or the product
      was well known in the industry, and as an agile company in a fast-moving
      industry that made decisions quickly did not habitually produce long reports on
      why it did things. The Claimants contended that these points do not withstand
      scrutiny, because:
              (1) There was no evidence that Autonomy had any first-hand experience of
                  the relevant products prior to purchasing them. The material that
                  Autonomy did obtain was marketing information or information
                  obtained from cursory internet searches and was often obtained after
                  Autonomy had already made the decision to purchase the product.

              (2) Autonomy did produce reports, certainly for the larger purchases, but
                  these were often misleading and produced after the event, not for the
                  purpose of determining whether Autonomy should purchase the product,
                  but, rather, to generate a paper trail which Autonomy could use to justify
                  the purchase to its auditors.

2403. The Claimants submitted that the only credible explanation for Autonomy’s
      approach is not that Autonomy was acting normally; but rather that the purpose
      of Autonomy’s purchase was not to obtain the benefit of the products or services,
      but to generate a related revenue-generating sale.
2404. Thirdly, the Claimants submitted that there is clear evidence that the purchases
      were an exercise not just in generating, but in maximising, Autonomy’s revenue,
      and that this was achieved by Autonomy channelling funds to the counterparties
      under the guise of the purchases to enable them to enter into sales that would
      otherwise have been beyond their financial means. In addition to the direct
      evidence from Mr Egan in re-examination on the FileTek reciprocal transactions
      (RT3) that Mr Hussain’s objectives included making the deal as large as possible,
      the Claimants pointed to accounting evidence that Autonomy’s purchases were
      out of all proportion to the sales made by the counterparty of the same products
      in their ordinary course of business. They submitted that this strongly supports
      the inference that the purpose of Autonomy’s purchase was simply to induce the
      counterparty’s purchase at a price that would assist Autonomy in reaching its
      revenue goals and to channel the necessary funds to the counterparty. For
      example:

              (1) For RT1, the counterparty, Capax Discovery, was, in 2009, a newly-
                  formed entity with no business to speak of. Nevertheless, Autonomy
                  paid in excess of $14 million for services which Capax Discovery was
                  not even in a position to provide and never in fact provided.

              (2) For RT2, the counterparty, VMS, had total annual revenues of $50 to
                  $75 million, and yet Autonomy purchased VMS’s products for $13
                  million and $8.4 million.




                                             Page 773
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 775 of 900
 Approved Judgment                                                             HC-2015-001324
 Mr Justice Hildyard


              (3) For RT3, the price that Autonomy paid for its first purchase of FileTek’s
                  StorHouse software represented more than 20 times FileTek’s total
                  licence revenues for StorHouse in all of 2008, and more than 10 times
                  its total licence revenues for StorHouse in the first three quarters of
                  2009.

              (4) For RT4, the price that Autonomy paid for its first purchase of Vidient’s
                  ‘SmartCatch’ software represented more than 13 times Vidient’s total
                  licensing revenue from sales of SmartCatch in 2009 and was the largest
                  transaction in the company’s history.

2405. The Claimants also sought to rely on evidence from the counterparties that,
      without Autonomy’s purchase, they would not – and, in many cases, could not –
      have made their reciprocal purchase from Autonomy on the terms they did. This
      is addressed in more detail in the transaction-specific parts of this section below.
2406. Fourthly, the Claimants placed reliance on the following common features of the
      reciprocal transactions:
              (1) Autonomy paid the amounts due in respect of Autonomy’s purchase
                  before the counterparty paid the amounts due in respect of Autonomy’s
                  sale, with the exception of RT4, where the counterparty made a small
                  advance payment to Autonomy in response to concerns expressed by
                  Deloitte as to the counterparty’s financial standing, and RT5, where the
                  relevant debts were netted off against each other; and

              (2) Autonomy paid significantly more to the counterparty than the
                  counterparty paid to Autonomy, with the exception of RT6, where this
                  would have happened but, in the event, the outstanding balance was
                  cancelled after HP’s acquisition of Autonomy was announced and there
                  was no net payment.

2407. The Claimants submitted that these features are consistent with the purpose of
      Autonomy’s purchase being: (i) to incentivise the counterparty to enter into the
      reciprocal sale, which Autonomy achieved by agreeing to make a net payment to
      the counterparty, and (ii) in most cases, to fund the reciprocal sale, which
      Autonomy achieved by paying the counterparty before it was required to make
      any payments to Autonomy. The Claimants put this as high as being:
                  “not just the inexorable inference to be drawn from these common
                  features of the reciprocal transactions, it is also borne out by the
                  transaction-specific evidence of the negotiations of the reciprocal
                  transactions, many of which involved negotiation of the “spread”, i.e.
                  the net amount that Autonomy would pay to the counterparty and/or the
                  timing of Autonomy’s payments to the counterparty so that they
                  preceded any payment by the counterparty.”




                                            Page 774
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 776 of 900
 Approved Judgment                                                              HC-2015-001324
 Mr Justice Hildyard


2408. Fifth, the Claimants submitted that an examination of whether Autonomy
      actually received and used the services and products that it purchased from the
      counterparties reveals that:
              (1) For RT1 (Capax Discovery) and RT6 (MicroTech), Autonomy never
                  received any of the services it purportedly purchased for in excess of
                  $17 million and $4.5 million, respectively.

              (2) For RT2 (VMS), Autonomy made no material use or sales of the VMS
                  data feed for which it paid a total of $17 million.

              (3) For RT3 (FileTek), Autonomy did not achieve any code integration of
                  the ‘StorHouse’ software on which it spent more than $21 million, nor
                  was the software actually used by or for a single Autonomy customer.

              (4) For RT4 (Vidient), there is no evidence that Autonomy ever tried to
                  combine Vidient’s ‘SmartCatch’ with any Autonomy product or
                  otherwise used or sold the ‘SmartCatch’ software which it purchased
                  from Vidient for more than $5 million.

              (5) For RT5 (EMC), EMC did not use the software licensed to it by
                  Autonomy and Autonomy knowingly overpaid for the EMC hardware it
                  purchased.

              (6) Four of the reciprocal transactions involved multiple purchases by
                  Autonomy of rights to the same products or services from the same
                  counterparty over a period of time (RT1, RT2, RT3 and RT4). As Mr
                  Holgate put it in reexamination:

                         “Well, it would certainly, as the phrase goes, put one on enquiry
                         because if the first licence to use software hasn’t been used, then
                         why is one paying further money to acquire further rights to the
                         same thing? That doesn’t make commercial sense. So at the very
                         least one would need to find further facts and circumstances to
                         understand why such a thing had been done”.

Factual evidence as to the real rationale: Defendants’ case

2409. The Defendants rejected the Claimants’ analysis and contended that much of it
      was based on unreliable witness statements, and that the principal person on
      whom they had relied, Mr Egan, had in effect recanted when (as they postulated
      came as a surprise to him) he was cross-examined. Further, whilst in fact
      Autonomy had made every one of its purchases because of its perceived utility
      at the time, they submitted that (i) what happened after the reciprocal transactions
      is irrelevant to their accounting treatment, (ii) the “vast majority” of Autonomy’s
      purchases were used, albeit not always immediately, and (iii) Autonomy
      sometimes got it wrong or abandoned projects.
2410. The Defendants submitted that insofar as the Claimants’ witnesses had first-hand
      evidence to give in relation to the purchase transactions, when they came to be


                                            Page 775
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 777 of 900
 Approved Judgment                                                              HC-2015-001324
 Mr Justice Hildyard


        crossexamined, they generally confirmed that there was indeed a commercial
        rationale for the purchase.

2411. In their written closing submissions, the Defendants gave two examples from Mr
      Egan’s witness statement:
              (1) Mr Egan’s witness statement included the general statement that he had
                  identified products for Autonomy to purchase which were unwanted,
                  unused or overpriced. Mr Egan accepted that he only had any real
                  recollection of three deals, VMS, StorHouse and EDD, and agreed that
                  these were the only deals he was really able to give any evidence about.
                  As explained below, Mr Egan was taken to the StorHouse and VMS
                  purchases, and his evidence under crossexamination was very different
                  from his witness statement. He confirmed that, as far as he was
                  concerned, there was a good commercial rationale for each of the
                  purchases, and that though it was not his judgement, he understood them
                  to have been at fair value.

              (2) Mr Egan suggested that Dr Lynch was involved in generating pretextual
                  emails about Autonomy's purchases. Although he believed he would
                  have had a better recollection at the date that he made his witness
                  statement, he acknowledged that he retained no memory of any emails
                  from Dr Lynch that were pretextual, and he acknowledged that he had
                  not suggested any such thing in his evidence to the US Grand Jury given
                  some time before his witness statement. He could point to no evidence
                  to support the assertion as regards Dr Lynch; and in the end he accepted
                  that from his own memory he was not able to give any evidence of Dr
                  Lynch’s involvement in generating emails to create the appearance that
                  Autonomy had a genuine need for a product or service.

2412. In short, the Defendants depicted the “direct” evidence (and especially Mr
      Egan’s evidence) as undermining rather than supportive of the Claimants’ case
      when tested and then clarified in cross-examination.
2413. The Defendants contended that it was also a recurring feature of the Claimants’
      witness statements (in particular from the technical witnesses) that they included
      commentary on various purchase decisions made by Autonomy and the merits
      of those decisions. The Defendants dismissed this evidence as “not useful”:
              (1) It became clear from cross-examination that so far as the technical
                  witnesses were concerned, the witnesses in question were not involved
                  in those business decisions and did not have any evidence as to the actual
                  commercial motivation of management at the time. Moreover, those
                  witnesses were generally not involved in any of Autonomy’s decision
                  making as to whether and when to make purchases, and on what terms.
                  Nor were they involved in the sales side, in ascertaining the market
                  demand for particular products, or in considering Autonomy’s market
                  positioning, and the product portfolio that Autonomy wanted to present.
                  These all involved commercial questions which were not dealt with at
                  the time by these technical staff, and which were handled by other



                                             Page 776
       Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 778 of 900
 Approved Judgment                                                                         HC-2015-001324
 Mr Justice Hildyard


          (often more senior) people in management and/or on the commercial side.275



              (2) Even on the technical aspects, the technical witnesses were frequently
                  asked to comment in their witness statements on products that they had
                  not been involved in at the time, and on the basis of a recent review of
                  limited documentation, rather than the product itself. Unsurprisingly, it
                  emerged that the witnesses had little understanding of the product or its
                  functionalities.

              (3) Non-technical witnesses also volunteered comments on technical areas
                  which were not their expertise, and on which they would at the time have
                  deferred to Dr Menell and his technical team.276

2414. The Defendants similarly sought to undermine the other evidential material
      relied on by the Claimants.
2415. As to the first point relied on by the Claimants in support for the proposition that
      Autonomy could not have had genuine commercial reasons for the various
      impugned purchase transactions (see paragraph 2400 above), the Defendants
      noted that a number of the statements of the Claimants’ technical witnesses
      included a section regarding Autonomy’s propensity (or otherwise) to buy third
      party software, which the Defendants described as amounting to a refrain that it
      was against Autonomy’s philosophy to purchase third party software, and it did
      not do so.
2416. However, according to the Defendants, the Claimants and their witness
      statements painted an extreme picture, the true position being more nuanced;
      fully understood, it did not yield any support for the Claimants’ case: the reality
      was that while, all things being equal, Autonomy did have a philosophy of
      developing its own software and it did use and purchase third party products
      where this made business sense. Whether, in any particular situation, it was
      preferable to “buy” or to “build” was, of course, a multifaceted commercial
      decision; Autonomy did both.
2417. Despite the terms of some of the witness statements, the Defendants relied on the
      following examples from cross-examination in support of their point that this
      was broadly accepted by the Claimants’ witnesses:
             (1) Dr Blanchflower’s evidence, including the following passage:
                       “Q. And the management would need to take a number of
                            factors into account in the buy or build decision,

 275
     The Defendants instanced Mr Lucini’s comments on the StorHouse purchase. Mr Lucini was not
 involved in strategic discussions generally, and not involved in any of the strategic discussions with
 regard to Autonomy’s development in the structured market. Mr Wang agreed in cross-examination
 that essentially, the pricing decisions, commercial decision, and the ultimate decision-making was
 made by people on the commercial side, not on the technical side (as he was, and to a large extent, so
 also Mr Lucini).
 276
     The Defendants cited Mr Egan as an example.


                                                 Page 777
       Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 779 of 900
 Approved Judgment                                                                        HC-2015-001324
 Mr Justice Hildyard


                                   including the opportunity cost of devoting a number
                                   of their engineering staff, yes?

                           A.      Yes.

                          Q. As well as the time it would take, if you were building rather
                                than buying, to get the product to market, yes?

                          A.       Yes.

                         Q. And, depending on the situation, it can be better to buy a product
                               that's already been tested rather than have to go

                                through elaborate testing processes?

                          A.       There were certainly situations where that was not the case.

                         Q.        But it all depends, doesn't it?

                         A.        Yes.”

             (2) Mr Lucini gave evidence to similar effect.

             (3) Mr Martin explained in his witness statement that Autonomy did
                 purchase software from third parties. 277 He explained about the
                 documents (which showed examples of such purchases) being:
                               “consistent with my understanding of Autonomy’s philosophy of
                               wanting to develop its own products where feasible and
                               commercially reasonable, but making a business judgment to
                               purchase software where it made more sense to acquire it from
                               third parties”.
                       He was not challenged on that evidence.278

2418. The Defendants sought to rebut the Claimants’ contention that Autonomy did not
      conduct the sort of due diligence one would have expected from a company
      purchasing a product for many millions of dollars with the genuine intention of
      using it in its business (see paragraph 2401 above) on the basis that (already

 277
    A witness called by Dr Lynch.
 278
    It was put to Mr Avila in cross-examination that as a general rule or philosophy Autonomy did not
 purchase third party software. Mr Avila agreed but acknowledged that “it wasn’t entirely the case”
 and that there were several exceptions. Mr Avila’s evidence was that there were a number of reasons
 that made it not only possible but likely that Autonomy or any other software company would
 consider third party software. He also explained that he had a lot of experience with customers which
 required Autonomy in some cases to go out and explore whether “we could build them in-house or
 find the best of breed from outside of Autonomy”.


                                                  Page 778
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 780 of 900
 Approved Judgment                                                               HC-2015-001324
 Mr Justice Hildyard


        mentioned previously) having regard to its nature as a nimble and bureaucracy-
        free entrepreneurial company, speedy management decisions based on personal
        prior knowledge and experience with little written material recording an
        assessment were not egregious, and did not suggest anything sinister or any
        improper purpose.
2419. The Defendants relied also on the wide variety of commercial reasons that might
      justify a purchase, the fact that the Claimants’ technical witnesses had little or no
      first-hand involvement in the decision-making process nor any knowledge of or
      insight into the actual commercial motivation of management or of perceived
      market demand, Autonomy’s market positioning, or management’s plans for the
      development of Autonomy’s product portfolio. They sought to sweep away
      witness evidence, particularly from witnesses with technical rather than
      commercial roles purporting to address the commercial merits of a purchase, as
      just “not useful”.
2420. As to the Claimants’ contention that Autonomy in effect tried to maximise the
      size of its purchases simply as a means of funnelling more funds to its
      counterparty to enable the counterparty to make purchases well beyond its
      means, (see paragraphs 2376 and
         2404 above), the Defendants relied on the fact that in every case Deloitte had
                                                                            confirmed


        that fair value was paid, and there was nothing inherently wrong with a purchase
        from a counterparty, nor in the use by the counterparty of the proceeds to
        purchase from Autonomy. It is normal practice for software companies to buy
        and sell each other’s products: the ultimate question is whether there was a
        commercial rationale and fair value for the product on each side.
2421. As regards the Claimants’ reliance on seemingly suspicious “common features”
      of the transactions (see paragraph 2406 above) the Defendants depicted the
      Claimants’ submissions as placing excessive weight on the instances where
      Autonomy paid a customer for a purchase immediately before the customer paid
      Autonomy for the sale, and/or situations where Autonomy made prompt or early
      payment to the customer. They contended that there is no significance in this:
              (1) If Autonomy was paying its customer it was unsurprising (and good
                  business practice) that it expected its customer to meet its obligations to
                  Autonomy. It was generally in Autonomy’s interests to pay its
                  customers promptly and receive prompt payment from the customer, as
                  this would reduce Autonomy’s “days sales outstanding” (“DSO”).
                  Autonomy published its DSO figures. Thus, for example:
                       “In Q1 2011 DSOs were 102 days [...] above the top end of the
                       company's target 80-90 day range.”

              (2) As Dr Lynch explained, the lower the DSO, the better:
                         “A. They told the reader how quickly our customers
                         were paying us and it would be -- if customers were


                                             Page 779
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 781 of 900
 Approved Judgment                                                              HC-2015-001324
 Mr Justice Hildyard


                         taking a long, long time to pay, then people might
                         interpret that as meaning there was an issue with the
                         product or that the economic environment was
                         deteriorating, so it was a number that people looked at
                         to try and make inferences.”

My assessment of the witness evidence on ‘reciprocals’ in general terms
2422. I shall return to address particular aspects of this evidence in addressing each of
      the impugned reciprocal transactions specifically. However, my overall
      assessment as to whether, as the Defendants submitted, cross-examination
      exposed and undermined the Claimants’ evidence to the extent of showing the
      Claimants’ characterisation of the purchases from customers as improper
      ‘reciprocal’, ‘quid pro quo’ or ‘round-trip’ transactions to be without remaining
      foundation can be summarised as follows.
2423. The centre-piece of the Defendants’ case that the purchases were properly
      rationalised transactions for sound commercial purposes at fair value was their
      assault on Mr Egan’s evidence. It did seem to me that Mr Egan’s witness
      statement, which was shown to be narrowly focused on StorHouse and EDD,
      gave a much more comprehensive and assertive condemnation of the purchases
      (“unwanted, unused or overpriced”) than his much more understated and
      carefully confined evidence when cross-examined. This was one of the many
      contexts in which I felt that even if Mr Egan had carefully considered the
      evidence as he assured me he had, he had subscribed to lawyerly drafting that
      had more impact and assertiveness than when confronted specifically he was
      content to defend or convey.
2424. Nevertheless, whilst the message was modified, it seems to me that it was to the
      same ultimate effect summarised in (1) to (4) of paragraph 2398 above: even if
      by happenstance some use could be found for what was purchased and the price
      was not shown to be above fair value, the conception, purpose and effect of the
      three sets of purchases by Autonomy on which he could give direct evidence was
      to induce and fund a reciprocal purchase from Autonomy of a software licence
      so that Autonomy could recognise revenue from the latter.
2425. Thus, for example, after his cross-examination, from a question to Mr Egan (in
      fact by reference to the second FileTek deal) to explain further an answer he had
      given in reexamination as to the principal driver of the deals the following
      exchange developed:
                  “MR JUSTICE HILDYARD: …Another question arising out of your re-
                  examination today and this time referable to the second quid pro quo
                  deal with FileTek where Mr Rabinowitz asked you what the primary
                  driver for the deal was, was it revenue, and I think your answer was that
                  you did regard the primary driver as being revenue. Was that a matter
                  of concern to you then as to the propriety of what was being proposed?
                  A. No.
                  MR JUSTICE HILDYARD: Why not? Can you answer reasonably
                  shortly?


                                             Page 780
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 782 of 900
 Approved Judgment                                                            HC-2015-001324
 Mr Justice Hildyard


                  A. Yes, I viewed it that if Sushovan wanted to take out what was very
                     expensive revenue, then that was fine because he was going to take
                     the expense as well as the revenue.
                  MR RABINOWITZ: Can I just ask you, Mr Egan, in answering my
                  Lord’s question, you said that if Sushovan wanted to do a deal for
                  expensive revenue, then you were happy to do a deal for expensive
                  revenue. Can you just explain what you meant by “expensive revenue”?
                  A. Meaning that there was a large cost to Autonomy. Autonomy was
                       buying something else, so it was not therefore the same as if I
                       went and sold a similar software deal to a company where there
                       was no expense side of the equation.
                  MR RABINOWITZ: Thank you very much.
                  MR JUSTICE HILDYARD: Yes. Was the expense side, the fact that it
                  was expensive in financial terms to Autonomy, made up in your mind by
                  some other advantage and, if not, how could the transaction in your
                  perception then be a proper one?
             A. Value -- software revenue was always the priority and it was very highly
                 valued. It was just implicit to me that that had high value.”

2426. Perhaps inevitably, given the constraints under which he had to give his
      evidence, it was not always clear quite what the overall effect was of Mr Egan’s
      answers. The Defendants sought to take from this evidence that Mr Egan
      considered the transactions to raise no concern as to their propriety. But I took
      from it a different message that Mr Egan accepted that the real purpose of the
      purchase by Autonomy from the counterparty was to fund a purchase by the same
      counterparty from Autonomy from which Autonomy

        could recognise revenue. It was revenue which came at a cost; the outlay was
        justified only by the value to Autonomy of securing such a software sale. No
        value other than revenue recognition was suggested. That, of course, chimes with
        the Claimants’ case that the reciprocal transaction was in the nature of a ‘round-
        trip”. Further, as will be seen, any other explanation or ‘spin’ on what Mr Egan
        meant cannot stand with the contemporaneous documentation explored below.
2427. Further, and in addition to the disputed issue as to whether its purchases were
      ever really of any utility to Autonomy, which is more conveniently elaborated
      later in discussing the specific impugned transactions, the point summarised in
      paragraph 2408(6) above that four of the reciprocal transactions involved
      multiple purchases by Autonomy of rights to the same products or services from
      the same counterparty over a period of time (RT1, RT2, RT3 and RT4) was never
      satisfactorily rebutted.
2428. My last general comment relates to Mr Egan’s evidence on the issue of pre-
      textual documents. The Defendants presented this as in effect amounting to a
      retreat from the evidence he had given. I did not take that to be the effect of what
      Mr Egan was saying. I took it that Mr Egan candidly accepted that this was no


                                           Page 781
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 783 of 900
 Approved Judgment                                                              HC-2015-001324
 Mr Justice Hildyard


        longer a matter that he could remember; but he believed that at the time of his
        witness statement what he had stated was something he could recall and
        truthfully state. He rejected the suggestion put to him that he had included it
        “because that’s the evidence that HP wanted” and he had never thought he
        would be cross-examined on it. He told me that he had taken a “very careful
        approach” to his statement, had edited it significantly and “removed names very
        frequently”. As I have explained previously, I have been wary of Mr Egan’s
        evidence in his witness statement, parts of which seem to me plainly to have been
        formulated for him by US lawyers with a certain view of the facts, and which he
        reconciled himself to saying at the time. But his own evidence in cross-
        examination tended to be more reliable; and I was persuaded in this context by
        what he told me.

The Expert Evidence relating to the impugned reciprocal transactions

2429. The last of the general issues identified in paragraph 2370 above is the import
      and reliability of the expert evidence relating to the impugned reciprocal
      transactions (see paragraph 2370(7)).
2430. Ultimately, there was little substantive dispute between the experts as to the
      meaning and effect of the relevant provisions of IAS 18; and they were agreed
      that in the application of the revenue recognition criteria in particular it was
      necessary to identify clearly (a) the transaction to which the criteria were to be
      applied (be it a separate transaction or a linked one) and (b) its substance and
      commercial effect, and not merely its legal form.
2431. Both experts also agreed that a transaction having no real and understandable
      commercial effect except by reference to another linked transaction should not
      be accorded accounting recognition. That is so either because the overall
      reciprocal arrangement lacked substance or because, in terms of IAS 18.13
      and/or IAS 18.14 the revenue recognition criteria should be applied to the
      transactions so linked together and the separate purported effect of each
      individual but linked transaction should be ignored.
2432. Moreover, the experts did not differ materially on a number of matters relating
      to the otherwise contentious issue as to the degree and nature of the linkage
      required to mandate the application of revenue recognition criteria to the linked
      transactions as a whole. Thus:
              (1) Although certain parts of Mr Holgate’s evidence at first blush appeared
                  to suggest otherwise, he did not disagree with Mr MacGregor that mere
                  reciprocity does not lead to net accounting, and nor does factual linkage,
                  such as negotiation at the same time, without more.

              (2) Mr Holgate accepted that the fact that one transaction would not have
                  occurred without the other is not conclusive: it is a part of the factual
                  picture.

              (3) Mr MacGregor stressed, and Mr Holgate also accepted, that part of the
                  analysis in determining whether two or more transactions should be



                                             Page 782
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 784 of 900
 Approved Judgment                                                                HC-2015-001324
 Mr Justice Hildyard


                  accounted for separately or together under IAS 18.13 is to look at the
                  relevant contracts and see if there is any linkage provided for or implicit.

              (4) Both experts agreed that questions of commercial rationale depended
                  very much on the facts; that a company like Autonomy might have a
                  number of reasons for purchasing goods and services; that it was not the
                  accountant’s job to substitute his own views on commercial matters for
                  those of the entity; and that the accountant would discuss things with
                  management.

2433. Where the experts materially differed was in (a) the approach each took to his
      task and (b) the application of the agreed principles to the facts or assumed facts.
2434. As in his assessment of the impugned VAR transactions, Mr Holgate assessed
      the accounting treatment of the reciprocal transactions on the basis of the
      assumptions he had been instructed to adopt. Again as in the case of the
      impugned VAR transactions, he had not considered the actual facts; and since he
      had not even been provided with the relevant contracts, he had not considered
      the contractual documentation governing the legal relationship between the
      parties in the various transactions concerned.
2435. These matters were heavily criticised by the Defendants, especially since both
      experts were in agreement that (a) the analysis of transactions thought to be
      linked, their commercial rationale, and the determination of their proper
      accounting treatment depended on the particular (often nuanced) facts and (b) in
      the real world an accountant would always have regard to the terms of the
      contracts in determining whether the sets of transactions identified fell to be
      accounted for separately.
2436. Further, according to the Defendants, the assumptions Mr Holgate was given
      were truncated and extreme, lacking in nuance and presented in a vacuum, and
      couched in such a way as to suggest the answer to the ultimate question.
      Although slightly different assumptions were given for each impugned
      transaction, so that it is necessary for me to rehearse those applicable when
      discussing the particular impugned transaction, the following examples common
      across the impugned transactions were instanced by the Defendants to illustrate
      their point:
              (1) In each case, Mr Holgate was instructed to assume that the Autonomy
                  group company directly contracting “had no independent need” for the
                  goods and/or services that it purchased from the counterparty, connoting
                  (as the Claimants themselves put it) that there was no “commercial
                  rationale for buying it”.

              (2) Likewise, the assumptions described the impugned transaction as a
                  “nominal purchase”, connoting (as Mr Holgate accepted) contrivance
                  or artificiality (though any suggestion of sham was disavowed by the
                  Claimants).

2437. Mr Holgate also accepted that another potential problem in proceeding on the
      basis of assumptions was the danger that in an “assumed facts case” some


                                             Page 783
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 785 of 900
 Approved Judgment                                                              HC-2015-001324
 Mr Justice Hildyard


        assumptions could implicitly rely in whole or in part on matters not yet known
        at the date of the accounting judgement called for in “a real case”. He confirmed
        in the course of his crossexamination, albeit in the context of the accounting
        treatment of the impugned VAR transactions, that it is not legitimate to take into
        account events after the date of drawing up the accounts.
2438. I would add that my understanding of the agreed view of the expert accounting
      evidence and of IAS 8 is that information coming to light between the reporting
      date and the signing date (after audit approval and signature) cannot be taken into
      account except (and the exception is an important one) insofar as it sheds light
      on circumstances prevailing at the reporting date; and information coming to
      light in that period must be disregarded insofar as it describes or reveals
      transactions and other events that arise after the reporting date. Information that
      comes to light after the signing date can be taken into account only at the next
      reporting date.
2439. Mr Holgate protested that even if (as he did accept) the assumptions were framed
      in a way that rather determined the answer, he was “not going to be led by the
      nose so easily…”. However, the Defendants made the point that confirmation
      bias is by its nature difficult to recognise and thus avoid, and submitted that there
      were signs that Mr Holgate was (as Dr Lynch put it) “channelled” by his
      assumptions and this resulted in him (a) failing properly to consider the
      possibility of nuanced variations or qualifications and the differences introduced
      by hindsight and (b) failing to ask for obviously relevant material (most
      strikingly, the contractual documentation). I was surprised by the last point; but
      I have not been persuaded that in the end it skewed his approach.
2440. Mr MacGregor regarded his approach as being “somewhat different to Mr
      Holgate’s”. He was not asked to make assumptions, save as to the basic facts.
      He described his approach as follows:
                  “I have looked at each of the transactions and identified the accounting
                  treatment based on the available evidence including identifying
                  elements of disputed factual evidence which, if so determined (i.e. if the
                  Claimants’ allegations are confirmed) would mean the transactions did
                  not have substance.”

2441. Mr MacGregor emphasised that in his opinion:
                  “a key point in considering the alleged reciprocal transactions is that,
                  even if they are considered ‘linked’ by reference to IAS 18.3, this does
                  not necessarily invalidate the revenue recognised by Autonomy.”


2442. As to the first five of the six impugned transactions, he stated that:
                  “…in my opinion, it appears that the sales and transactions in each case
                  may have been “linked”, but not necessarily in such a way that they
                  could not be understood without reference to the series of transactions
                  as a whole. I say this because, based on the evidence I have seen, there
                  appears to be a commercial rationale for both the sales and the


                                             Page 784
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 786 of 900
 Approved Judgment                                                               HC-2015-001324
 Mr Justice Hildyard


                  purchases, and each can be understood on its own terms. It appears that
                  the linkage could have been, in substance, the exchange of dissimilar
                  goods or services that should be accounted for by reference to IAS
                  18.12, which requires that the revenue is measured at the fair value of
                  the goods or services received, adjusted by the amount of any cash or
                  cash equivalent transferred.”

2443. With the obvious but important caveat as to the need in every case for detailed
      consideration of the facts and contractual documents, I think the overall gist of
      his evidence in relation to IAS 18.13 is captured by the following exchange in
      the course of his cross-examination:
                       “Q. …If the facts are that Autonomy was purchasing something for
                       which it had no need and which had no discernible value to
                       Autonomy, and it was entering into that transaction simply as a
                       means to channel funds to the potential purchase of its own
                       software, then because the one transaction at least lacked a
                       commercial rationale, you would look at the transactions together
                       and you wouldn’t account for any revenue from that transaction,
                       correct?

                  A. The way it works is if the overall commercial – if the overall substance
                      of the transaction is solely as a way of Autonomy paying money to –
                      for no other reason, paying money to a counterparty so that it can
                      buy its software, then it has no commercial – the overall transaction
                      has no commercial substance. And one would deal with the
                      accounting for that on a net basis, i.e. whatever the net payment is,
                      in this case it’s Autonomy paying the counterparty, would be simply
                      treated as an expense with no recognition of revenue.”


2443A. I turn from these general matters to consider the impugned reciprocal
      transactions individually to assess whether the Claimants’ case that each was a
      means of Autonomy buying recognised and reportable revenue at substantial
      cost has been established and whether, as they submitted, the linked sale and
      purchase in each case lacked substance. If so, I agree that each pair of purchase
      and sale should have been accounted for on a net basis, and no revenue should
      have been recognised from the sale.
RT 1: Capax Discovery/EDD (Sch 5/1 and Sch 12B)
2444. The Claimants contended that revenue on three sales to Capax Discovery of
      Electronic Data Discovery (“EDD” or “e-Discovery”) software was recognised
      incorrectly, on the basis that the payments in respect of the sales were
      “reciprocal” with payments from Autonomy for EDD services that Autonomy
      did not need and which in any event Capax Discovery could not and did not
      provide.
2445. These three transactions were referred to compendiously as RT 1 and comprised
      individually:



                                             Page 785
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 787 of 900
 Approved Judgment                                                              HC-2015-001324
 Mr Justice Hildyard


              (1) A March 2009 sale of a licence for $7.5m and 2 years support and
                  maintenance for $750,000. This is referred to below individually as “the
                  first Capax Discovery/EDD sale”.

              (2) A December 2009 agreement licensing additional software and
                  extending the term from 5 to 6 years, for a licence fee of $4 million and
                  $200k support and maintenance. This is referred to below individually
                  as “the second Capax Discovery/EDD sale.”

              (3) A further agreement dated March 2011 providing Capax Discovery with
                  the right to install the software at its UK Data Centre, for a licence fee
                  of $1.6m and $80k support and maintenance. This is referred to below
                  individually as the “third Capax Discovery/EDD sale”.

2446. The Claimants’ pleaded case in relation to RT 1 in RRAPoC Schedule 5/1 is that
      Capax Discovery agreed to purchase the EDD licences initially on the
      understanding that the Autonomy group companies would direct EDD support
      service business to it; and that when that support business was not provided,
      Autonomy made payments to Capax Discovery and Capax Global which were
      intended to be and were, used to fund the instalment payments due under the
      EDD software licences. These payments were made ostensibly for “specialized
      EDD processing”, “additional EDD processing” and “Supplemental EAS
      support”: but in fact, Capax Discovery and Capax Global were never required
      to provide such services or support (or what was provided was of no discernible
      value to the Autonomy group).
2447. As was noted in Dr Lynch’s written closing submissions, the version of events
      pleaded in RRAPoC Schedule 5/1 refers only to a promise of future business
      rather than funding, and does not ipso facto call into question revenue
      recognition. However, the Claimants’ factual presentation went further. Mr
      Baiocco asserted in his witness statement that even before that first sale, Mr Egan
      had agreed that Autonomy would provide funds to Capax Discovery to meet its
      instalment payments and indeed make a profit. That sat uneasily with the
      pleading that initially the only promise was that Autonomy would direct lucrative
      business to Capax Discovery. However, the cross-examination focused on the
      alleged side-agreement and tested the proposition that it was made before the
      first sale; and I consider that notwithstanding the departure from the pleading I
      must resolve the factual case as presented and cross-examined, not least since
      undoubtedly the Claimants have always sought to impugn all three of the sales
      comprising RT 1, and it is important in any event to determine when (if ever)
      there was an agreement to the effect that Autonomy would funnel funds (as
      distinct from business) to Capax Discovery to enable it to make the instalment
      payments as they became due.
2448. Thus, the Claimants’ primary case is or became that the recognition of revenue
      from each of the sales comprising RT 1 was improper because the sales were
      only achieved by the preceding promise that Autonomy would somehow channel
      funds to Capax Discovery to put Capax Discovery in funds to pay the instalments
      due and to enable it also to show a profit. In that way, Autonomy funded and



                                             Page 786
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 788 of 900
 Approved Judgment                                                          HC-2015-001324
 Mr Justice Hildyard


        incentivised Capax Discovery to purchase Autonomy software so that Autonomy
        could recognise revenue from the sales.
2449. Whilst the Defendants contended that any arrangements made for Autonomy to
      purchase services were reached after the initial purchase and were not pre-
      agreed, the Claimants contended that it is clear from the evidence, and that it is
      a matter of obvious and necessary inference, that the arrangement was reached
      before the relevant licence sales were entered into, and that it is simply not
      credible for the Defendants to suggest that this was a “private arrangement”
      between Mr Baiocco and Mr Egan, not least in circumstances where Autonomy
      paid $17 million pursuant to the arrangement over a period of more than two
      years, a substantial proportion of which was approved by the Defendants. On
      that basis, the Claimants submitted, the overall arrangement with Capax
      Discovery lacked economic substance, there was no net revenue realised and no
      revenue should have been recognised on the sales.
2450. The Claimants submitted that the Defendants both knew this. They contended
      further that Deloitte were misled by the form in ignorance of the substance, and
      did not appreciate that in substance and reality, Autonomy was buying revenue
      through a reciprocal transaction of illusory substance.
2451. Further, and more generally, the Claimants submitted that the means Autonomy
      adopted of funding Capax Discovery, by the issue of a series of purchase orders
      followed by payments for e-Discovery services which Capax Discovery could
      not and did not provide and for supplemental EAS support which Capax Global
      was never required to provide, plainly demonstrate fraud.
2452. The amounts involved were considerable. The revenue recognised by Autonomy
      in the Relevant Period in respect of the three transactions comprising RT 1
      amounted to some $14,130,000. The Claimants’ case is that Autonomy should
      not have recognised any of that as revenue but should instead have recorded the
      difference between the cost of the purchases and the amounts that it invoiced in
      respect of those sales, amounting to $1,507,281, as an expense. Under Schedule
      12B of the RRAPoC, the Claimants also sought recovery of transaction losses in
      respect of RT 1 in the net amount of $3,215,000.
2453. As to the Defendants’ position, Dr Lynch himself came to have concerns about
      RT 1. At the outset of his cross-examination, Mr Rabinowitz asked Dr Lynch
      whether, having listened to the evidence given in the case for the Claimants, it
      was really his position that not a single example of wrongdoing at Autonomy
      had been shown. Dr Lynch said that this was not his position; and he identified
      the evidence of Mr Egan and Mr Baiocco in respect of the transactions
      comprising RT 1 as having convinced him that Autonomy had been paying for
      EDD services that Capax Discovery was not in a position to provide, and that Mr
      Egan knew this and yet was reporting that the services were being provided.
      Later in the course of his cross-examination, Dr Lynch confirmed his acceptance
      that:
                  “What I know of the matter is that Capax was not able to deliver the
                  services it said it was able to deliver.”



                                           Page 787
       Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 789 of 900
 Approved Judgment                                                                          HC-2015-001324
 Mr Justice Hildyard




2454. When then asked whether in such circumstances it was inappropriate for
      Autonomy to have recognised revenue from the sale of software to Capax
      Discovery, Dr Lynch was more guarded; but he did accept that revenue
      recognition would indeed have been inappropriate “if that arrangement was
      made at the time of the sale of software to Capax.”
2455. In other words, Dr Lynch distinguished between (a) the general impropriety
      inherent in paying for non-existent or fictional services (which he accepted) and
      (b) the different question whether that affected revenue recognition in respect of
      the transaction preceding the payments (which he contended depended on
      whether any arrangement for payment for such services was made before or after
      the transaction). As to the latter, the Defendants’ case was that if there was any
      agreement to pay for non-existent or fictional services, it was put in place after
      and not before the transaction, and only to make up for the failure to funnel
      business Capax Discovery’s way. That, after all, was consistent with the
      Claimants’ pleading. Thus, notwithstanding Dr Lynch’s acceptance, on the basis
      of the evidence given by Mr Egan and Mr Baiocco, of the apparent impropriety
      of the arrangements as between them, the Defendants did not accept that the
      recognition of revenue from the sale of the three licences was improper.
2456. The Claimants sought to dismiss the timing issue as a “red herring”. They
      argued that had Deloitte been told at any point that payments had been made on
      fictitious invoices and then used to pay instalments under the original sales
      transactions, Deloitte’s whole approach would have been unsettled and it would
      have revisited very sceptically indeed all related revenue recognition; and
      management’s credibility would be shot. However, it seems to me that though
      relevant to any reliance sought to be placed by the Defendants on the approval
      of Deloitte, and also of course to my overall assessment of the Defendants’
      intentions, knowledge and honest belief, for present purposes the point cannot
      be dismissed as a red herring, even if in the event sums were paid for fictional
      services. From the point of view of the accountancy rules, the relevant time for
      assessment is the date of the transaction from which revenue is said to have been
      derived. A dishonest expedient adopted afterwards as the means of funding it
      would not necessarily affect revenue recognition of a precedent transaction at the
      transaction date279. Accordingly, Dr Lynch’s caveat as to the timing of whatever
      arrangement was made must be assessed.
2457. Further, both of the Defendants maintained that they were not aware of any
      improper arrangement at the time, and were certainly not aware that there was
      anything wrong in recognising revenue from Autonomy’s EDD licence sales. Dr
      Lynch’s position was that he had very little involvement in any of the three

 279
    Mr Welham was asked whether he considered this would have affected the original revenue
 recognition. His response was a little under-stated:
 “A. I think when you use the word “fictitious” auditors’ ears start to prick up. So anything where
 we’re assuming there is something fictitious going on, I feel slightly uncomfortable to be honest. So I
 can’t comment on that because I think you’re saying if something happened to do with fictitious
 invoices after the event, would that impact revenue recognition? And I just can’t speculate at all
 because we’re in the world of fictitious invoices which as I say, would trouble me.”


                                                  Page 788
    Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 790 of 900
  Approved Judgment                                                              HC-2015-001324
  Mr Justice Hildyard


         transactions; and generally, that he was not involved in any software sales. He
         signed off some of the purchases for services, but he did so on the basis of the
         proper approvals of others, without any reason to think that the purchases were
         not genuine. For his part, in his written closing submissions, Mr Hussain
         described the attempt to implicate him in whatever arrangements that may have
         been agreed between Mr Egan and Mr Baiocco as “ex post facto reconstructions
         which bear no relation to reality”.
2458. Accordingly, and as the Claimants had themselves highlighted, the principal
      factual issues for determination in respect of RT 1 are:
               (1) Whether there was an understanding between Mr Egan and Mr Baiocco
                   and/or in the case of the March 2011 agreement between Mr Hussain
                   and Mr Baiocco prior to the sales from which revenue was recognised
                   that Autonomy would ensure that Capax Discovery would be provided
                   by Autonomy with the means


                   of paying instalments due under the sales agreement, and if so what was
                   its nature and timing?

               (2) Whether, having regard to its nature and timing, the effect of any such
                   arrangement and what was known of it rendered Autonomy’s decision
                   to recognise revenue on its software sales improper; and if so

               (3) Whether the Defendants knew that the recognition of revenue from
                   Autonomy’s sales of EDD licences was improper.

The first Capax Discovery/EDD sale in Q1 2009

2459. The software licensed to Capax Discovery by Autonomy under the first Capax
      Discovery/EDD sale (dated 31 March 2009) included Autonomy’s e-Discovery
      software, called “Introspect” and a product called Enterprise Archive Solution
      (“EAS”):

               (1) E-Discovery or EDD is, in summary, the process through which
                   electronic data is ingested and maintained, searched and analysed,
                   typically in the context of litigation or investigations. The provision of
                   e-Discovery/EDD business requires a platform of e-Discovery software
                   and appropriately trained personnel. Autonomy’s e-Discovery/EDD
                   software was called ‘Introspect’.

               (2) EAS was a digital archiving product that had been developed and sold
                   by Zantaz to a significant number of smaller customers. After Autonomy
                   acquired Zantaz in 2007, Autonomy made the decision not to continue
                   to develop EAS; but it still had to provide support services for customers
                   to whom the product had been sold. In this respect, EAS differed
                   significantly from e-Discovery/EDD, the software for which Autonomy
                   continued to develop and sell, together with related e-Discovery
                   services.



                                              Page 789
       Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 791 of 900
 Approved Judgment                                                                      HC-2015-001324
 Mr Justice Hildyard




2460. It is common ground that EDD was a lucrative line of business which Mr Baiocco
      (and, in particular, Mr Stephen Williams who had been recruited by Capax
      Global in late 2008 and who had been an Autonomy e-Discovery consultant at
      his previous employers) was particularly keen to develop. Mr Baiocco explained
      that his goal was to offer a hosted e-Discovery solution to customers: that is to
      say, that eventually Capax Discovery 280 would host the relevant e-Discovery
      software and the customer’s data in its own data centres. For that purpose, Capax
      Discovery would eventually need to acquire a data centre and the necessary
      hardware, and suitably trained personnel; but it needed also a licence to the
      relevant e-Discovery software.
2461. The license granted to Capax Discovery by Autonomy by the first Capax
      Discovery/EDD license agreement was to (a) use this software for the benefit of
      customers, either in connection with Capax Discovery’s distribution of services
      provided by Autonomy, or in connection with Capax Discovery’s own provision
      of services, and (b) install, operate and host the software, solely for the purposes
      of making the software available to customers as a Software as a Service
      (“SaaS”) subscriptionbased offering, provided such hosted offering was housed
      on, managed by, and offered through access to servers owned and/or leased and
      controlled solely by Capax

         Discovery. The agreement also granted Capax Discovery a licence to market,
         sell and distribute Autonomy’s services to customers. No source code license
         was granted.
2462. The amounts payable under the first Capax Discovery/EDD sale were to be paid
      in instalments over 2 years in accordance with the Schedule to the licence, with
      the first instalment of $500,000 falling due on 30 April 2009. There were then
      eight instalments of $968,750 which were due at three-monthly intervals
      thereafter, until 31 March 2011. Autonomy was entitled to a royalty of 20% on
      all “Net Revenues” (as defined) over a threshold of $25 million.
2463. Capax Discovery assumed unequivocal obligations to pay the fees under the
      agreement (see Article 6). At Article 13, the agreement contained an entire
      agreement clause, which Mr Egan agreed was completely standard in software
      licences at that time, and which provided, amongst other things:
                  “This Agreement together with all Order Forms, contains the
                  full and complete understanding of the parties as to the subject
                  matter hereof and may not be altered or modified, except by
                  written amendment which expressly refers to this Agreement and
                  which is executed by both Autonomy and Capax. The parties
                  expressly agree that this Agreement supersedes all prior or
                  contemporaneous proposals and all other oral or written
                  understandings, representations, conditions, and other

 280
    Capax Discovery was not incorporated until mid-March 2009, after the meeting at the London
 Hotel discussed below (see paragraph [2468(2)]). References to ‘Capax Discovery’ for the purpose of
 this section denote the Capax entity to carry on e-Discovery business.


                                                Page 790
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 792 of 900
 Approved Judgment                                                             HC-2015-001324
 Mr Justice Hildyard


                  communications between the parties relating to such subject
                  matter, as well as the terms of all contemporaneous or future
                  purchase orders. Unless the parties expressly agree otherwise in
                  writing, in the event of a conflict or ambiguity between or among
                  the provisions of this Agreement and an Order Form, the
                  following shall be the order of precedence: first this Agreement:
                  second, the Order Form. Any terms and conditions contained in
                  any purchase order or other ancillary purchase documents
                  issued by Capax and/or Customer shall be of no force or effect.”


2464. Autonomy recognised the $7,500,000 license fee as revenue in Q1 2009. The
      Claimants have stressed that the first Capax Discovery/EDD sale was important
      to Autonomy in enabling it to hit its quarterly revenue targets. On the day it was
      struck, Mr Sass sent an email to Mr Hussain and Mr Egan (among others) marked
      ‘high importance’ and announcing in capital letters: “CAPAX IS IN (SIGNED
      COPY IN HAND)”. A few hours later, Mr Hussain replied, copying Dr Lynch,
      saying “Very well done both of you – I like $7.5m deals”. There is no dispute
      that Dr Lynch was also thus aware of the sale.
2465. More contentious, however, is the detail of what was said in the lead-up to the
      agreement. The Claimants’ case was that a “handshake” agreement was made,
      and deliberately not reduced to writing, which in substance obliged Autonomy
      to provide funds to Capax Discovery in order to enable it to fund its obligations
      under the Capax Discovery/EDD agreement. The Claimants supported their case
      on the basis that Capax Discovery was newly incorporated and such funding was
      absolutely necessary: and in any event Capax Discovery was not in a position
      itself to provide EDD services until much later, and was reliant on Autonomy to
      fund it.
2466. The Defendants, on the other hand, contended that even if an arrangement was
      at some time made between Mr Egan and Mr Baiocco for Autonomy to assist
      Capax Discovery
      by paying it for services before it could actually provide them, it was after and
      not before the first Capax Discovery/EDD sale agreement. Further, if and when
      made, the agreement was informal and personal to Mr Egan and Mr Baiocco,
      and did not bind Autonomy or alter or remove the unconditional obligations
      entered into by Capax Discovery under that agreement. They dismissed the
      version of events put forward by the Claimants as not credible, nor realistically
      supported by the evidence.
2467. Dr Lynch relied in his closing submissions on four key points in addressing the
      alleged understanding between Mr Egan and Mr Baiocco. He submitted:
              (1) First, the version of events put forward by the Claimants through their
                  witness statements was manifestly incorrect.

              (2) Secondly, the timing of any arrangement (whether by handshake or
                  otherwise) was not as suggested, and post-dated the Capax
                  Discovery/EDD agreement.


                                            Page 791
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 793 of 900
 Approved Judgment                                                              HC-2015-001324
 Mr Justice Hildyard


              (3) Thirdly, the only party to any such discussions or understanding from
                  the Autonomy side was Mr Egan, and any agreement he made with Mr
                  Baiocco in defiance of standing instructions and the terms of the first
                  Capax Discovery/EDD license agreement was personal to them and not
                  binding upon Autonomy as a legal entity.

              (4) Fourthly, any understanding or arrangement reached was informal, did
                  not amount to an enforceable arrangement, did not alter the fact that
                  Capax Discovery was on risk, and did not affect revenue recognition
                  under the first Capax Discovery/EDD sale agreement.

The Claimants’ evidence of a handshake deal and the Defendants’ criticisms of it

2468. The Claimants’ evidence was directed towards establishing not only the content
      of the alleged “handshake” agreement (see paragraph 2465 above) but also its
      timing, it being crucial to their case (as it had developed) on revenue recognition
      in respect of the first Capax Discovery/EDD sale agreement that it should be
      shown to have preceded 31 March 2009. There were three strands:
              (1) The background to the alleged agreement, which the Claimants depicted
                  as demonstrating that the initiative came from Autonomy (or at least, Mr
                  Egan) which was desperate to make up a revenue shortfall, that Capax
                  Discovery (or at least, Mr Baiocco) was equivocal, and that Capax
                  Discovery’s agreement had in effect to be bought;

              (2) The events relating to the only actual meeting firmly identified as having
                  taken place in the relevant time period between Mr Egan and Mr
                  Baiocco, at a hotel in New York, on 11 March 2009;

              (3) The exchanges after that meeting, which were predominantly between
                  Mr Baiocco and Mr Sass, but which the Claimants maintained were
                  directed by Mr Egan.

2469. Each of these strands was disputed by the Defendants. They maintained that:
              (1) The initiative was welcomed by Autonomy but initially came from Mr
                  Baiocco, who had identified e-Discovery as a lucrative area and
                  incorporated Capax Discovery to pursue it, but who needed not only an
                  EDD licence but (in effect) some sort of collaboration with Autonomy
                  to build this new area of business.

              (2) At the meeting between Mr Egan and Mr Baiocco at the London Hotel
                  in New York on 11 March 2009, the discussion was general and
                  involved nothing which could have been described or thought to
                  amount to a handshake agreement.

              (3) No such agreement was reached in the period after that meeting: the
                  exchanges and finalisation of the details which culminated in the first
                  Capax Discovery/EDD sales agreement were dealt with by Mr Sass
                  without substantial involvement on the part of Mr Egan.



                                             Page 792
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 794 of 900
 Approved Judgment                                                           HC-2015-001324
 Mr Justice Hildyard


2470. As to (1) in these opposing positions, an important detail of the Claimants’
      evidence is that Mr Baiocco stated in his witness statement that in early 2009,
      after Capax Discovery had decided to explore licencing EDD from Autonomy
      with a view to then offering eDiscovery services to its own clients, Capax
      Discovery requested quotes from Autonomy, but “the amount Autonomy was
      asking for ($4 - $4.5 million) was more than we were willing to pay” and Capax
      Discovery told Autonomy that it “would not be able to proceed at a price in that
      range”. Mr Baiocco had given the same evidence when examined in chief in the
      US criminal trial. The point is important because it was deployed by the
      Claimants as part of their overall case that Mr Baiocco’s agreement to a very
      considerably higher quote a month or two later can only realistically be explained
      on the basis of Autonomy having agreed some sweetener or other.
2471. Another detail not mentioned in the witness evidence, but which is important for
      the same reason, is an email dated 13 March 2009 from an Autonomy
      salesperson called Jeff Cornelius (“Mr Cornelius”) which he sent after hearing
      that Capax Discovery had “reached out” to Autonomy, advising Mr Egan and
      Mr Sass that he had already made a proposal to licence EDD software to Capax
      Global for as little as $1.6 million. Although Mr Sass quickly replied to the
      effect that the offer was nonsense (“This is bs. Must tell you guys”) the
      discrepancy is arresting, and was cited by the Claimants in closing as reinforcing
      the Claimants’ position that later discussions:
                  “were driven by Autonomy’s desire to recognise as much revenue as
                  possible in Q1 2009, and were not constrained by the value of the
                  software or what Capax was willing to pay, because Autonomy was itself
                  going to fund the licence purchase in full.”

2472. Thus, the Claimants relied on the antecedent history as an important indication
      that Autonomy engineered the transaction to plug a gap in its software revenues,
      and then in effect talked Mr Baiocco into a larger deal than otherwise Capax
      Discovery could have reasonably been expected to undertake by the promise of
      funding.
2473. In my view, the documentary evidence points to the original enquiry having
      come from Mr Baiocco, and that it met with an enthusiastic response. That was
      my impression of the email exchanges and the oral evidence did not cause me to
      alter it. Thus:
             (1) An email from Mr TJ Lepore (an Autonomy sales person covering the
                 New York area) to Mr Robert Sass (Vice-President of US Sales) dated
                 4 March 2009 records (as an update on “new opportunities”) that
                 “Capax Global wants to build an eDiscovery practice – EDD, Review,
                 maybe ECA. John can talk to you whenever”, and Mr Sass’s reply
                 (within 10 minutes) encouraged immediate discussion, asking also “do
                 you have a feel for dollars – what do you think we can get this q?”

             (2) After Mr Lepore had spoken with Mr Baiocco that day to discuss Mr
                 Baiocco’s plans for this new venture, and what assistance Autonomy



                                           Page 793
       Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 795 of 900
 Approved Judgment                                                                         HC-2015-001324
 Mr Justice Hildyard


                     could provide, a later email from Mr Lepore to Mr Sass also dated 4
                     March 2009 recorded the fact of the discussion and the following:

                              “I did speak with John @4.30 as planned.
                             I told him…that this is in the 7-figures range, depending on
                             how much of a platform he wants to build. He didn’t flinch;
                             he’s just looking for help on the best deal possible.
                             Actually, in addition to ECA etc., they’d want to be able to
                             show up to Company X with a portable system and collect from
                             specific repositories. So they want to do the on-site
                             ingestion/collection ala EnCase.
                             With regard to timing, he has to sell it to his partners but he
                             recognises this is huge business, the direction they want to go,
                             AND he has all the idle servers released by Voxant. He wishes
                             he had a deal to tie this to, but I explained that eDiscovery
                             hosting is “here’s the data – I need it processed and ready in
                             two days” kinda thing, and if you’ve made the law firm happy
                             it’s more of an annuity than a huge up-front deal. He’s hearing
                             that from his new guy Steve Williams as well (Steve is from the
                             eDiscovery space).”


2474. In my view, the emails above attest also to the preliminary nature of the enquiry:
      it is a prospective project rather than a present proposal, and at that stage, Mr
      Baiocco had no settled or certain idea quite what he wanted in terms of software
      in order to achieve its new objective. But the impetus came from him.
2475. Turning to (2) in paragraphs 2468 and 2469 above and the dispute as to what
      transpired at the only documented meeting between Mr Egan and Mr Baiocco on
      the matter, on 6 March 2009 Mr Sass emailed Mr Baiocco, saying that Mr Egan
      and Mr Mooney were keen to put something together that worked for all parties.
      He “reiterated the fact that we can be creative to ensure flexibility” but
      emphasised that March was a key driver for Autonomy. Mr Baiocco was very
      enthusiastic about doing the e-Discovery project,281 but at this stage it was still
      up in the air, and Capax Discovery had not even sorted out what the software
      might be. Mr Sass’s email encouraged further discussion “to get more clarity on
      what is needed” and suggested a further meeting thereafter with Mr Egan who
      was in New York at the time (his email of 6 March 2009 proposed that they “see
      if we can get together when Stouffer is in town to kick around ideas.”)
2476. It is common ground that a breakfast meeting was then arranged to be held at
      The London Hotel in New York City (“the London Hotel”). This was to be
      attended inter alios by Mr Egan, Mr Sass and Mr Baiocco on 11 March 2009.
      The evidence of that




 281
       Mr Baiocco: “We really want to do this. Just need to make sure we have everything in order.”


                                                   Page 794
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 796 of 900
 Approved Judgment                                                              HC-2015-001324
 Mr Justice Hildyard


        meeting, and who in the event attended it, is disputed and equivocal and the
        Claimants’ case was modified over time. No consistent version was provided by
        the witnesses.
2477. In his evidence in the US criminal proceedings, Mr Baiocco had (in examination
      in chief) given a detailed account of proposals put forward by Mr Egan at the
      London Hotel meeting. He described this in answer to Mr Frentzen (US
      prosecuting counsel, with whom Mr Baiocco had had many previous meetings)
      as follows:
                 “Q. What did Mr Egan propose to you?

                  A. He proposed that they would give us the software and – well, give us
                     the software for a price and that then they would make sure on the
                     back end that we got taken care of to pay it until we were up and
                     running and able to do the actual work ourselves.
                  Q. So what was the price that you were – that Capax was supposed to
                  pay?
                  A. Seven and a half million plus support and maintenance.
                  Q. So it was more than the original quote?
                  A. Yes.
                  Q. All right. And so in what way was it that Mr Egan was proposing that
                  you could now do this deal for more money than you were – that you
                  had already not been able to do?
                  A. Well, he was proposing it because we weren’t going to have to write
                  a check for it. They were going to actually, you know, give us the EDD
                  sort of processing money to give us the ability to make the payments to
                  them for the software.
                  Q. So was the proposed deal that Autonomy would give you the money
                  to pay to them for the licencing of the software? A. Yes.
                  Q. What were you going to do with the software once you received it at
                  Capax?
                  A. Well, we were going to set it up and build the business that we wanted
                  to build around it.
                  Q. Was there an understanding of – or was there an agreement about it
                  if you were able to do the eDiscovery work, how that would proceed in
                  terms of the relationship between Capax and Autonomy?
                  A. Yeah. Well, once we were going to be up and running, they were going
                  to feed us overflow and then there was like a royalty on the back
                  end…after we hit a certain threshold, that they would collect X amount
                  of any eDiscovery that we would do going forward for the term of that
                  license.



                                             Page 795
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 797 of 900
 Approved Judgment                                                              HC-2015-001324
 Mr Justice Hildyard


                  Q. Was part of this discussion or did part of this discussion involve the
                  potential that Capax would actually get EDD work sent their way by
                  Autonomy? A. Yes. When we were ready.

                  Q. And that was my question. At this time in early 2009, was Capax
                  prepared to do any EDD work?
                  A. No. We couldn’t have been until we had the software. We didn’t even
                  own the software prior to that, so, no.
                  …
                  Q. What was it that gave you reassurances that you could enter into this
                  agreement even if you couldn’t make that payment schedule?
                  A. I had a handshake agreement from Stouffer that they were going to
                  make sure that we got the money to us to be able to make the payments
                  to them.
                  Q. To be clear, the money for these payments was going to come from
                  who?
                  A. From Autonomy.
                  Q. With that understanding, did you agree to this?
                  A. Yes.”


2478. This evidence was largely repeated, but with less detail, in Mr Baiocco’s witness
      statement in the present proceedings. Mr Baiocco gave an account of the
      meeting, and of a deal, which Mr Egan stipulated must be made and signed by
      the quarter end (31 March 2009), for Capax Discovery to licence an EDD
      software package from Autonomy for an initial fee of $7.5 million. The assertion
      that a specific fee was mentioned acquired some importance and was disputed.
      It became clear in evidence that a fee of $7.5 million had not in fact been
      mentioned: the most initially floated was a fee of $5 million. However, even at
      that lower level, such a fee was, according to Mr Baiocco, significantly higher
      than a fee quoted previously by Autonomy (in January or early February) of
      some $4 to 4.5 million which he had rejected; but this time, Mr Baiocco said, the
      proposal was for “a more robust EDD software package” and came with a
      collateral assurance that Autonomy would:
                  “get money to [Capax] so that we could make the licence fee payments
                  as they became due and in return Autonomy would receive the royalty
                  on EDD fees earned by Capax. In addition, Mr Egan said that Autonomy
                  would make sure that Capax would make a profit on the relationship”.


2479. In addition, Mr Baiocco stated:




                                             Page 796
       Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 798 of 900
 Approved Judgment                                                                       HC-2015-001324
 Mr Justice Hildyard


                  “…once we acquired a data center and all of the necessary hardware,
                  installed the EDD software on it, and trained the necessary EDD
                  personnel, we would provide EDD services to our own customers and
                  Autonomy would send any overflow EDD business from its customers to
                  us. We would pay a 20% royalty to Autonomy on EDD fees earned in
                  excess of $25 million.”


2480. According to Mr Baiocco, he was only willing to contemplate an even higher fee
      (of $7.5 million) and:

                  “willing to go forward with these terms because the software would
                  effectively cost Capax nothing, we would be able to build an e-Discovery
                  business, and we were promised a profit.”


2481. It was this rather detailed and specific set of arrangements that Mr Baiocco
      described as a “‘handshake’ agreement with Mr Egan on behalf of Autonomy.”
      His description of its terms varied; and Mr Baiocco accepted that his recollection
      was imperfect. However, the gist of what Mr Baiocco said Mr Egan proposed
      remained the same: Autonomy would take care of Capax Discovery, or as Mr
      Baiocco put it:
                  “the concept was clearly on the table that they [Autonomy] were going
                  to somehow give me the money to pay the thing”.


2482. Whereas, initially at least282, Mr Baiocco placed all this as having been agreed
      at the London Hotel meeting, Mr Egan’s witness statement did not expressly
      mention the London Hotel, nor did he specify when else the proposal was made.
      However, he gave a similar account in his witness statement of the proposals
      some time exchanged, emphasising the nature of the arrangements made as a
      quid pro quo. He stated their content in a conspicuously legalistic way, with a
      confessional flavour, as follows:
                  “I proposed that Capax license EDD software for a term of five years
                  for $7.5 million (plus $750,000 for two years of support and
                  maintenance). In return, and with Mr Hussain’s approval, I told Mr
                  Baiocco that Autonomy would agree to underwrite Capax’s purchase
                  by paying Capax a monthly fee that would fund its license purchase in
                  full. I told Mr Baiocco that the license to use EDD software and
                  Capax’s corresponding payment obligations would be recorded in a
                  contract that would state that Capax would be obligated to pay the full
                  amount. I described the payments from Autonomy as monthly and at
                  will, but said that it was Autonomy’s intention to pay them until the
                  license was fully underwritten or Capax was generating sufficient
                  revenue from use of the licenses to pay the license off early. This was
 282
    In cross-examination, he acknowledged that he did not in fact remember the meeting at the London
 Hotel at all though he could recall Mr Egan being there, and on the basis of an email referring to Mr
 Sass having been there, probably Mr Sass also


                                                Page 797
       Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 799 of 900
 Approved Judgment                                                                       HC-2015-001324
 Mr Justice Hildyard


               an oral side agreement. At Mr Hussain’s direction, this oral agreement
               was not to be documented. I also told Mr Baiocco that Autonomy
               would do everything in its power to help Capax ultimately earn a profit
               on the transaction. Mr Baiocco agreed to proceed on that basis.”
2483. One of the difficulties with over-lawyered evidence, as was this passage (and
      others) in Mr Egan’s witness statement, is that the impression is given of focus
      on details of legal significance and the orderly exchange of information and
      mutual promises, whereas any conversation or series of conversations
      (particularly perhaps one in the lobby area of a busy hotel apparently taken over
      at that time by a trade show 283 ) is likely to have been more amorphous,
      fragmented and (often) legally incomplete. Mr Egan’s detailed and orderly
      presentation of the alleged agreement in his witness statement did not survive
      cross-examination; and the time and place of the agreement became increasingly
      vague




         and unclear from the answers given by Mr Baiocco and Mr Egan when required
         to depart from their carefully polished scripts.
2484. Another difficulty of using witness statements as a vehicle for a statement of
      events crafted to achieve a legal result is that even if not untrue, the words placed
      in the mouth of the witness may reflect matters thought to complete the legal
      depiction of which he or she has or retains no direct knowledge. In this case, it
      seemed clear to me that neither Mr Baiocco nor Mr Egan could any longer
      accurately distinguish between what they actually could remember and what had
      become their perceived recollection, though to be fair to both, when cross-
      examined and left to their own devices, they did each do their best in that regard.
2485. Varnish stripped away by the process of cross-examination, the uncertainty even
      as to who was there revealed the frailty of the recollection of the principal
      witnesses, Mr Egan and Mr Baiocco. Mr Baiocco expressed himself “1,000%”
      confident that he had walked with Mr Lepore to the London Hotel and was
      originally insistent that Mr Lepore was at the meeting. However, this is not
      supported by the email evidence put to Mr Baiocco; Mr Lepore was not on the
      email convening the meeting and is not named as a “required attendee”. There is
      no reason to suppose that Mr Lepore is likely to have attended the meeting; and
      eventually Mr Baiocco accepted that his recollection may have been faulty284.
      Mr Egan thought Mr Lepore was there too; but by his own admission his memory
      was hazy. The unreliability of their recollection is emphasised by the fact that
      Mr Baiocco could not remember Mr Sass being there, and nor could Mr Egan;
      but the email evidence clearly suggests that he was. I accept and find that the



 283
     According to Mr Egan in his cross-examination.
 284
     Mr Baiocco suggested that Mr Lepore might not have been at the meeting, but that he had met him
 before the meeting for coffee. But in his earlier evidence, he had been unequivocal that Mr Lepore was
 at the meeting with Mr Egan. Mr Baiocco plainly had no real recollection; his evidence was entirely
 reconstructed.


                                                Page 798
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 800 of 900
 Approved Judgment                                                              HC-2015-001324
 Mr Justice Hildyard


        meeting at the London Hotel was attended by Mr Baiocco, Mr Egan and Mr Sass,
        but not Mr Lepore.
2486. Mr Baiocco accepted when cross-examined that he had no real recollection of
      the details of the discussion at the breakfast meeting in the London Hotel. Under
      crossexamination, he portrayed it instead as a discussion about “e-discovery
      software in general”, possibly with some discussion of Autonomy investing a
      little in Capax Discovery as an EDD partner, but with no specific discussion
      about “a dollar value on the deal” or any side agreement. He no longer could
      support his previous stance of the London Hotel meeting having been the
      occasion of the alleged “handshake” agreement. He could no longer remember
      “exactly when the money piece came in…” He added:
                  “I remember Stouffer talking about having 8 or $9 million of free money
                  somewhere above or below – I’m not an accountant – the line they could
                  use to invest in a partner, that’s what I remember but not specifically
                  talking about a dollar value on the deal at that meeting, I don’t recall
                  that.”


2487. Mr Egan, having first told me in the course of his cross-examination that he could
      remember a meeting with Mr Baiocco at the London Hotel at which he “started
      talking to him about his interest in buying EDD software” but little else of detail,
      and certainly no specific discussion about the “7.5 million”, then clarified that
      actually he had no recollection of discussing EDD at that meeting at all, and that
      what he had said about having had such a meeting at the London Hotel where
      they had discussed EDD was “wrong”; he added:


                  “I’ve corrected it, I do not recall that we discussed EDD.”

2488. In light of the answers given under cross-examination, I consider it clear that
      whatever discussions there were at the London Hotel on 11th March 2009 they
      were more general and informal than the impression created in the witness
      statements. However, I think it likely (and this is borne out by later
      correspondence referred to in paragraph 2492 below) that, recognising the delay
      likely before it could be ready and able to do serving work, the possibility of
      Capax Discovery licencing e-Discovery software with the assistance of funding
      from Autonomy was floated, reflecting in this context the same general pattern
      which came to be established in the impugned VAR deals.

Evidence of an agreement after the London Hotel meeting but before 31 March?

2489. Mr Baiocco’s evidence was that the meeting at the London Hotel was the only
      occasion on which he met Mr Egan prior to the deal; and though in re-
      examination Mr Egan was prompted by various emails (referred to at greater
      length in paragraph 2492 below) to state his belief that he “did have discussions
      with Mr Baiocco after the London Hotel” he had earlier stated when cross-
      examined that he had no reason to disagree with Mr Baiocco’s evidence that the
      London Hotel meeting was their only meeting.



                                            Page 799
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 801 of 900
 Approved Judgment                                                             HC-2015-001324
 Mr Justice Hildyard


2490. In this curious position, of an alleged agreement on which the representatives of
      both of those said to have been parties to it insisted but neither of whom was ever
      able to date or place, the Claimants’ case to the effect that the surrounding
      documentary and circumstantial evidence is such that it must have taken place
      ranged over a long time period and many events, as did (inevitably) the
      Defendants’ response. The Claimants’ written submissions well exceeded 100
      pages in seeking to establish the inference, and the Defendants were almost as
      detailed in their rebuttal.
2491. I propose to consider the matters and events relied on by the Claimants as
      follows:
              (1) the email exchanges immediately after the first Capax Discovery/EDD
                  sale agreement;
              (2) whether those involved were aware that Capax Discovery could not
                  itself provide EDD servicing;
              (3) other evidence of arrangements after 31 March 2009 suggesting prior
                  agreement;
              (4) any documentary evidence of arrangements thereafter made for
                  Autonomy to support Capax Discovery;
              (5) payments actually made by Autonomy to Capax Discovery under
                  purchase orders issued by Capax Discovery for EDD services.

2492. The email exchanges following the London Hotel meeting seem to me to support
      my conclusion that the discussions there were preliminary, and did not focus on
      price or any settled quid pro quo, but did float the idea of a deal for Capax
      Discovery to purchase the EDD licence with money to pay for it being provided
      by Autonomy in some form:
              (1) Mr Egan must have reported back to Mr Hussain after the breakfast
                  meeting because on 12 March 2009 (the day following) Mr Hussain
                  emailed Dr Lynch with the subject “Capex [sic] deal” and informing
                  him that Mr Egan “had a

                   bite at a $5m deal”. The day following that, in the context of updating
                   Mr Hussain on a number of prospective deals, Mr Egan confirmed to
                   Mr Hussain that “John [Baiocco] called Rob [Sass] and said he was
                   very interested in the pitch we presented at breakfast. Time to start to
                   let him know it could be possible”. Mr Hussain forwarded the email to
                   Dr Lynch and Dr Menell.
              (2) On the same day, Mr Lepore reported on a meeting with Mr Williams
                  of Capax Discovery. Capax Discovery was evidently still exploring
                  what kind of EDD project it wanted to do, and decided it would be
                  necessary to produce a demo for Mr Jerry Hawk (Mr Baiocco’s partner
                  in Capax Discovery). Mr Lepore noted excitement on the part of Capax
                  Discovery; and also that they had “ideas about also not only developing



                                             Page 800
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 802 of 900
Approved Judgment                                                                HC-2015-001324
Mr Justice Hildyard


                   eDiscovery software for those we sell to, but running it for them as well.
                   I bet Wilmer would have interest in that kind of arrangement”.
              (3) Later on 13 March 2009 Mr Sass reported to Mr Egan on a call with Mr
                  Baiocco. He wanted to move forward for a deal in Q1. He was
                  proposing a meeting in Parsippany, New Jersey on 23 March 2009, and
                  was still considering a broad range of possible deals (described as
                  “flavors on a proposal”) of $5m, $10m, or possibly a lower entry point.
              (4) On 18 March 2009, Mr Hussain sent Dr Lynch one of his many
                  spreadsheets:
                  on it was listed a $5 million deal with Capax Global, with a comment
                  by the entry “Indicated would like to do”.
              (5) No deal fee had been settled on even by 24 March 2009, as is evident
                  from the documents below.
              (6) The negotiations appear from the email evidence to have been carried
                  on between Mr Baiocco and Mr Sass, though (contrary to what the
                  Defendants suggested) with substantial background involvement on the
                  part of Mr Egan.
              (7) The parties’ revenue expectations could be seen from the spreadsheet
                  sent from Mr Sass to Mr Williams on 24 March 2009, in the revenue
                  generation models. At that stage, a straight $5m fee was being proposed
                  by Autonomy (see the “Ediscovery proposal” tab).
              (8) On 26 March 2009 Mr Sass sent a deal model with two options, one
                  being a $7.5m option and the other a $5m option. This was the first
                  evidence of a $7.5m option being suggested. There was evidence that a
                  deal at that higher amount was promoted by Mr Egan to cover a gap in
                  expected revenue for the quarter opened up by the collapse of a deal
                  with Morgan Stanley which had been expected to close in the quarter.
                  Mr Hussain’s instant reaction as recorded in an email to Mr Egan
                  responding to the news of the collapse of the Morgan Stanley deal was
                  “s**t – another piece of revenue gone. You definitely need $7.5m from
                  capax.”
              (9) The quid pro quo offered for the larger commitment of $7.5m on the
                  part of Capax Discovery was a lower rate of royalty payable to
                  Autonomy, suggesting (according to a 5-year model) a greater long-
                  term return to Capax Discovery under the $7.5m option. Mr Baiocco
                  had set his sights on revenues of the order
                  of a net $44m over 5 years, and naturally considered it an exciting
                  prospect.285 However, despite this, Mr Baiocco seems to have remained
                  cautious, and it should be remembered that this was before the first of
                  the VAR deals when the understanding that Capax Discovery would not
                  be left exposed became part of the pattern.


285
      As he confirmed in cross-examination.


                                              Page 801
       Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 803 of 900
 Approved Judgment                                                                  HC-2015-001324
 Mr Justice Hildyard


              (10) By 27 March 2009 no deal had yet been completed; and it is clear from
                   email evidence that Mr Egan remained concerned that Mr Baiocco had
                   or would develop “cold feet again”. Mr Sass confirmed by email in
                   response that:
                         “…he is looking for some sweetners [Sic]. he mentioned meeting
                         with the partners and wanting to lay it all out. essentially he sent
                         tom 286 on a mission and tom came back empty handed. He
                         sounded a bit concerned, so I want to nip asap. You may want to
                         call him or reply all to my emails and assuage concerns.”


2493. No specific occasion when the idea floated at the London Hotel meeting was
      discussed is identifiable in that chronology, and it is a fair point against the
      Claimants and the credibility of Mr Baiocco’s evidence that he never did
      pinpoint any place or time when that idea became an understanding on which he
      was prepared to rely. Mr Hussain’s closing submissions sought to quash any
      notion that “Tom’s mission” had anything to do with any handshake agreement,
      on the grounds that (a) on the Claimants’ case any agreement had already been
      made some time earlier and (b) as head of sales Mr Leonard (“Tom”) would not
      have been engaged in that sort of thing, but in “sweetners [sic]” which got the
      EDD operations up and running and securing new business. There is something
      in the latter point, reinforced by the likelihood that Mr Baiocco would have
      wanted to seek any confirmation of a handshake agreement himself, rather than
      through a messenger.
2494. Mr Baiocco’s inconsistencies, and his failure to identify when the understanding
      eventually crystallised, were understandably much relied on by the Defendants
      in support of their case that (a) no settled formulation had ever been provided of
      what the alleged understanding was, even to the point that the Claimants’ pleaded
      case varied from the case eventually put at trial; and (b) if there was any workable
      understanding reached between Mr Egan and Mr Baiocco in respect of the EDD
      transaction it was, at most, an ad hoc, reactive arrangement reached after the
      event in light of unexpected difficulties, and not such as in any event to affect
      revenue recognition at the (relevant) point of sale.
2495. As to (a) in the preceding paragraph 2494, I have had especially in mind that
      initially Mr Baiocco described the arrangement as being that Mr Egan would
      provide Capax Discovery with business that would provide it with the means to
      make its instalment payments (and see paragraphs 2446 to 2448 above).
      However, and although the Defendants dismissed Mr Baiocco’s attempt to
      explain this as “incoherent”, I consider that the explanation he gave is
      understandable. His central point was that by ‘business’ he meant and understood
      ‘provision of funds’; and I consider that the explanation probably lies in the fact
      that even at an early stage the mechanism for funds being passed



 286
    Mr Tom Leonard, who (according to Mr Hussain’s closing submissions) acted as Capax Discovery’s
 head of sales.


                                              Page 802
       Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 804 of 900
 Approved Judgment                                                                    HC-2015-001324
 Mr Justice Hildyard


         by Autonomy to Capax Discovery involved the placing of purchase orders for
         ‘business’. That is how I understood the following exchange in Mr Baiocco’s
         crossexamination, when he was asked to confirm whether his account that the
         handshake agreement was that “Autonomy would provide enough EDD business
         to Capax to cover Capax’s quarterly payments on the purchase of software…”
         was true:
                  “ Q. Is that what you told your lawyers at the time? I mean, it’s a very
                    different story from the one you’re now giving to this court.
                  A. It’s one word difference. There’s no chance they could have given me
                      business in the beginning because we weren’t set up or able to do
                      the business.287

                  Q. This is a completely different story. What this is talking about is the
                     level of business that Autonomy would provide to give you enough
                     to cover the payments plus a profit. That is a completely different
                     story from the one you’re now telling this court, isn’t it?
                  A. No, then the word “business” is wrong in there
                  Q. Well did you-
                  A. I don’t know if I said “business”
                  Q. Were you misleading the lawyers when you told them this?
                  A. No, I was not trying to mislead anybody, I was there of my own
                     volition so, no, I was not trying to mislead anybody. Ever.”


2496. In support of their alternative argument as to the timing of any understanding,
      and in addition to there being no identified time or place for when it was
      crystallised, the Defendants placed much reliance on what they depicted as a
      sudden dawning on Mr
      Baiocco that his enthusiasm had overlooked the extent of the task that confronted
      Capax Discovery in building an EDD business, followed by a rather desperate
      lunge for some support from Autonomy. This was presented as inconsistent with
      there having been, prior to then, any settled understanding. Dr Lynch highlighted
      the following in particular:
              (1) A few days after the agreement, Capax Discovery received a proposal
                  for a lucrative proposed deal with a company called Iovate Health
                  Sciences Inc (“Iovate”) for the provision of litigation search facilities in
                  pending Canadian litigation with an estimated data corpus of 2.5TB and
                  a contract price of around $400,000 to $450,000. That would have

 287
    I considered at one point that the explanation might be that at the time, Mr Baiocco was not
 distinguishing between Capax Global (which was already undertaking profitable business) and Capax
 Discovery (which was not), and that his main point that the word “business” was misplaced because
 Capax Discovery was incapable of undertaking any was an afterthought. But the fact that the
 understanding was for the provision of EDD business disposed of that to my mind.



                                               Page 803
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 805 of 900
Approved Judgment                                                              HC-2015-001324
Mr Justice Hildyard


                 covered the first instalment due under the agreement with Autonomy.
                 Preliminary assessment of the viability of the possibility of Capax
                 Discovery becoming involved, perhaps using Autonomy’s facilities,
                 revealed quite how far Capax Discovery really was from being able

                 to assist, and brought home to Mr Baiocco quite how long it would take
                 to get his new project up and running.
             (2) Dr Lynch suggested that it was this dawning which drove Mr Baiocco
                 to enlist, after the deal, Autonomy’s financial help via a rather frantic
                 email from Mr Baiocco to Mr Sass very early (03:14 hours) in the
                 morning of 6 April 2009 in the following terms:
                        “I really need to speak to you in the morning. As I said
                        from the beginning of this deal, there are things we didn't
                        know we didn't know. We rushed the process to get this
                        done for you in Q1. We are feeling the pain of all that
                        now. My understanding of the Keys to the kingdom was
                        that we would have everything we needed to do e
                        discovery etal. Steven [Williams] is saying that the
                        contract is missing key elements. Can we please talk in
                        the AM as early as possible? I pushed this thru against
                        all the partners wishes to push it into q2 so we didn't
                        make mistakes. I need help. Sorry to sound so dire,
                        however my reputation is on the line here.”

             (3) Dr Lynch pointed out that Mr Baiocco’s email of 6 April does not
                 mention or even hint at any prior agreement that Autonomy would be
                 passing money to Capax Discovery in some way. Mr Baiocco sought to
                 explain the omission on the basis that this had nothing to do with
                 financial support and that what he was pressing for was software which
                 had not been provided; but this did not carry conviction.
             (4) Furthermore, when Autonomy responded, its answer came, (by email
                 also dated 6 April 2009) not from Mr Sass (though he and Mr Sullivan
                 were copied) but from Mr Egan, and it made no mention whatever of
                 software but simply stated:
                        “Sushovan, Mike Sullivan and I identified $250k of business we
                        would like Capax to handle for us last week. That would be a
                        first job. Mike Sullivan should be in touch tomorrow.”

             (5) Also consistent with the 6 April email having been intended by Mr
                 Baiocco, and understood by Mr Egan, to be a cry for financial help rather
                 than for software or a software fix is the activity which the email
                 prompted. The focus is not on the provision of fixes for software, but on
                 what was ostensibly a “first job” which was intended in reality as the
                 promise of initial funding.




                                           Page 804
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 806 of 900
 Approved Judgment                                                              HC-2015-001324
 Mr Justice Hildyard


2497. Nevertheless, despite my scepticism and concerns about the lawyer-varnished
      witness evidence, the inconsistencies in Mr Baiocco’s evidence (exacerbated no
      doubt by the push and pull of multiple meetings with lawyers) and the Claimants’
      inability to pinpoint any particular occasion when any agreement was made, I
      am satisfied that at some point prior to the end of Q1 2009 and the signing of the
      deal, the parties became ad idem.
2498. In particular, I have concluded and find:
              (1) Mr Baiocco and Mr Egan agreed to proceed on the basis that Autonomy
                  would find a way or ways of getting money to Capax Discovery to
                  enable it to pay instalments under the licence proposed and earn a profit
                  as well and (as Mr Baiocco put it in his evidence in the US criminal
                  proceedings) “make sure on

                  the back end that we got taken care of to pay it until we were up and
                  running and able to do the work ourselves”.
              (2) That understanding crystallised at some time prior to the agreement on
                  31 March 2009. I do not accept the argument that the risk belatedly
                  dawned on Mr Baiocco. I do not accept the Defendants’ argument that
                  Mr Baiocco was simply carried away by enthusiasm, and may also have
                  underestimated the length of time required to get an EDD platform up
                  and running. Mr Baiocco was undoubtedly exuberantly entrepreneurial;
                  but in the particular context he was markedly more hesitant and
                  deliberate, and needed to carry his partners with him; and he is not a
                  fool. I reject the defence that if there was any such understanding, it
                  post-dated the first Capax Discovery/EDD sale and (as Dr Lynch’s
                  closing submissions put it) “amounted to no more than an ad hoc
                  solution with a salesman to assist Capax with its instalment payments,
                  by putting business Capax’s way, as a stop-gap, until Capax were up
                  and running.”

2499. In the end, it is a point that comes down to whether or not to believe Mr Baiocco.
      For all the doubts I had and have retained about his witness statement, his
      rejection in the course of cross-examination of the suggestion that he left it until
      after he had signed a $7.5 million deal to make arrangements to cover his
      exposure was authentic and convincing:
                  “Q. Can I suggest that if you reached any kind of arrangement with Mr
                  Egan, it was after the licence agreement and all that he was doing was
                  saying, “look, I’ll find a way of getting you the money until you get set
                  up and running”?
                  A. Let me just be clear. Are you suggesting that I signed the $7.5 million
                  deal and then made a deal to get paid on the backside of that after I
                  signed the 7.5 million, is that what you’re saying?
                  Q. Well, I’ll ask the question again. What I suggest is that, if you
                  reached any kind of arrangement with Egan, it was after the licence
                  agreement had been entered into?


                                             Page 805
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 807 of 900
 Approved Judgment                                                              HC-2015-001324
 Mr Justice Hildyard


                  A. That would be false. I knew flat out when I signed it that we were
                  going to get the money on the handshake deal.” [Emphasis intended to
                  reflect inflection in Mr Baiocco’s answers]


2500. I accept that evidence. It had the ring of truth and logic. It seems to me to be also
      consistent with the circumstantial evidence, and in particular the following:
              (1) Mr Baiocco’s consistent evidence was that there was no prospect of
                  Capax Discovery being ready to do e-Discovery business for, at the very
                  least, 6 months; and I consider it unlikely that Mr Baiocco and his
                  partners would have committed to paying instalments in June without
                  some reassurance such as is alleged. As Mr Baiocco himself put it in an
                  email dated 4 March 2010 (see paragraph 2544(6) above), without some
                  such assurance, “we were nowhere near ready to do a deal like this.”

              (2) Autonomy needed the deal; and for that it needed to provide a
                  “sweetener” and reassurance. I have been persuaded that something,
                  beyond optimism and greed, must have encouraged Mr Baiocco at this
                  early stage in the Autonomy/Capax Discovery collaboration to go, at
                  Autonomy’s request, for the considerably larger deal.
              (3) At some point in the last week of March, the decision was made and
                  implemented by Mr Baiocco and his partners to form the new LLC,
                  Capax Discovery. Whilst of course Mr Baiocco’s ultimate purpose was
                  for Capax Discovery to be the vehicle for what was a new venture
                  distinct from Capax Global’s business, he made it quite clear that it also
                  was “a way to mitigate risk. It was a way to say: if you don’t pay, then
                  we’re going to mitigate how we may have to pay if you don’t live up to
                  your bargain.” What has struck me is not so much the suggestion that
                  Capax Discovery’s formation was a means of holding Autonomy to an
                  understanding already established, but that Autonomy accepted both the
                  introduction of this new, untested vehicle with no trade or financial
                  history, and the blaring message it sent. Dr Lynch accepted that even if
                  he did not personally know, it was well known within Autonomy that
                  Capax Discovery was a new entity set up for the purpose, as
                  contemporaneous emails made clear.
2501. Autonomy’s pressing need to overcome Mr Baiocco’s hesitancy about so large
      a commitment in order to fulfil its revenue forecast for Q1 2009, and its
      acceptance of the last-minute introduction of a newly formed entity without any
      financial ability to meet its obligations under the deal, seem to me to add
      considerable support to the Claimants’ case. Mr Baiocco could not proceed
      without support; Autonomy could not achieve forecast if his reluctance was not
      overcome; Mr Egan could not legally bind Autonomy, but the agreed
      introduction of Capax Discovery meant that as a matter of fact Autonomy would
      have to abide by the understanding to preserve the credibility of the arrangement.
      These realities must have been recognised and accepted by both parties: in a
      sense, the assurances and the incentive to abide by them were inherent.



                                             Page 806
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 808 of 900
 Approved Judgment                                                             HC-2015-001324
 Mr Justice Hildyard


2502. I am also satisfied that but for these assurances, and the additional comfort
      provided that they would be honoured because Autonomy agreed to contract with
      the newly-formed Capax Discovery without right or legitimate expectation of
      recourse to Capax Global, Mr Baiocco would not have proceeded. On 31 March
      2009 (the last day of Q1 2009), Autonomy Inc entered into a licence and
      distribution agreement with the newly-formed Capax Discovery, signed by Mr
      Egan on behalf of Autonomy Inc and Mr Baiocco on behalf of Capax Discovery.


Further defences if there was a pre-contract understanding
2503. In case of such a conclusion, the Defendants contended that, even if there was a
      collateral understanding between Mr Egan and Mr Baiocco, it was personal to
      them and did not bind Autonomy or implicate the Defendants.
2504. Dr Lynch maintained that he had very little involvement in any of these
      transactions and that he certainly had no knowledge of any such understanding.
      Mr Baiocco only met Dr Lynch briefly once at a conference and did not discuss
      with him any of the transactions referred to in his witness statement. Mr Egan
      did not suggest that he had any discussions with Dr Lynch in relation to the EDD
      arrangements and he accepted in crossexamination that there was no interaction
      with Dr Lynch of which he could give evidence.
2505. He did not accept that other members of Autonomy’s management knew of it
      either:
              (1) He pointed out that neither Mr Baiocco nor Mr Egan had suggested that
                  any other Autonomy staff member was party to the relevant
                  conversations.
              (2) He contended that individuals far closer to the underlying business than
                  he was did not know; and he relied especially on the evidence of Mr
                  Sullivan, who was the Claimants’ witness, the CEO of Zantaz (which
                  was the umbrella company for e-Discovery business) and the person
                  subsequently involved in giving and requesting approval on a number
                  of purchase orders for services from Capax Discovery (which became
                  the vehicle for payments to Capax Discovery used to fund instalments,
                  as explained below) that he was not aware of it. He stressed that the
                  Claimants had expressly disavowed any allegation that Mr Sullivan was
                  implicated in any wrongdoing.
              (3) As to Mr Egan’s evidence that Mr Hussain did know and approved the
                  arrangements, Dr Lynch drew my attention to the fact that this was a
                  story told in the statement of facts attached to Mr Egan’s deferred
                  prosecution agreement with the US prosecuting authorities, and his own
                  liberty depended on sticking to that script. Dr Lynch submitted that the
                  evidence as a whole is far more consistent with Mr Hussain not being
                  aware of the arrangements.
              (4) He submitted that there was no basis for thinking that Mr Scott, Mr
                  Smolek, or Ms Watkins knew of the arrangements at the time, or that



                                            Page 807
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 809 of 900
 Approved Judgment                                                             HC-2015-001324
 Mr Justice Hildyard


                  any of them appreciated that no e-Discovery work was, or was capable
                  of being, done by Capax Discovery.
2506. This defence gives rise to a number of questions, not least how the reality that
      Capax Discovery was incapable of providing EDD servicing can possibly have
      been kept so secret for so long, from so many who were undoubtedly involved
      in the process of Autonomy placing orders for it and paying accordingly. I shall
      return to the question of the Defendants’ personal knowledge later. For the
      present I focus on three aspects of the issue as to the state of awareness within
      Autonomy of (a) the purchase orders for EDD servicing and the pattern of
      payments by Autonomy to Capax Discovery in the period Q2 2009 to Q4 2009;
      (b) the capacity of Capax Discovery to undertake EDD servicing and other work;
      and (c) the omission of Mr Kanter from Dr Lynch’s roll-call.


Autonomy’s purchase orders and payments to Capax Discovery Q2 2009 to Q4 2009
2507. In the months that followed the first Capax Discovery/EDD sale, Capax
      Discovery’s largest, perhaps exclusive, source of funds was payments made to it
      by Autonomy under purchase orders for “outsourced specialised EDD services”
      which I am satisfied and find Capax Discovery was not able to provide. The
      process was elaborated by Mr Egan as follows:
                  “Autonomy submitted a series of purchase orders to Capax Discovery
                  for EDD services to be rendered; Capax then billed, and Autonomy
                  paid, for services that were not actually performed and that, for a
                  substantial period of time, Capax Discovery was not capable of
                  performing…Mr Hussain and Dr Lynch approved these payments…
                  …
                  I generated emails that created the appearance that Capax was actually
                  providing overflow EDD services for Autonomy. In those emails I
                  referenced Autonomy’s true bandwidth constraints with respect to its
                  EDD processing and used those constraints as a stated reason for
                  paying Capax for EDD services that were not performed…I knew that
                  Mr Kanter and Mr Hussain had made similar pre-textual statements. Mr
                  Kanter confirmed: “I’m OK with the subcontracting on the EDD side as
                  we have volume issues” and Mr Hussain stated: “We have been
                  subcontracting EDD services to Capax”. In fact, the payments to Capax
                  Discovery were designed to allow Capax Discovery to pay for the
                  license that we sold to it so that Autonomy could recognise $7.5 million
                  of revenue in Q1 2009.”


2508. This needs a little unbundling. The first point to explain is my finding that Capax
      Discovery was simply unable to and never did provide the services for which it
      was paid by Autonomy pursuant to the series of purchase orders.
2509. In making that finding, I have considered Dr Lynch’s evidence, which was not
      challenged, that “Capax could have performed the service work anywhere it


                                            Page 808
       Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 810 of 900
 Approved Judgment                                                                   HC-2015-001324
 Mr Justice Hildyard


           could access Introspect software, whether at its own facilities, at the customer’s
           facility if the customer had Introspect or at Autonomy’s Boston office where
           Introspect was run.” I also note that from the time that the deal was signed Capax
           Discovery was sending employees to Autonomy’s Boston EDD centre for
           training and by July 2009 Capax Discovery was being held out in promotional
           material as providing EDD services and hosted archive services, which may have
           influenced some Autonomy personnel (see below). The Defendants also sought
           to contend, both (in the case of Mr Hussain) in the US criminal proceedings and
           in these proceedings, that although it was some time before it could establish its
           own data centre, Capax Discovery did almost immediately develop an EDD
           service capability which it did make available to Autonomy and for which it was
           properly paid.
2510. However, it is important to note the limit of Dr Lynch’s evidence on the point.
      Dr Lynch did not say that Capax Discovery actually did provide such services;
      just as it never did provide the services referred to in the promotional material.
      Nor was Mr Baiocco’s evidence challenged that Capax Discovery was unable
      itself to provide e-Discovery services to customers until 2011, and probably did
      not actually start doing so until December 2011. In particular, the evidence was,
      and I find, that Capax Discovery could not and did not provide the services
      ordered from it by Autonomy in a sequence of purchase orders over the course
      of two years which nevertheless Autonomy paid in full. The pattern which
      emerges is clear: Autonomy was repeatedly paying for non-existent services. Not
      only does that support the Claimants’ case that there was an understanding, and
      the conclusion I have reached, since it is difficult to posit such a pattern unless
      there was some such understanding288, it also invites the question how it can be
      that only Mr Egan knew about this extraordinary state of affairs, notwithstanding
      the involvement of


           a number of Autonomy personnel in the implementation and approval of the
           purchase orders.
2511. The Claimants relied on the following train of events:
                 (1) The pretence commenced, almost immediately after the first Capax
                     Discovery/EDD deal was signed, with Mr Egan’s email of 6 April 2009
                     which I have already cited in paragraph 2496(4) above, in which Mr
                     Egan, in response to a cry for help from Mr Baiocco, wrote that Mr
                     Hussain, Mr Sullivan and he had:
                               “…identified $250k of business we would like Capax to handle
                               for us last week. That would be a first job. Mike Sullivan should
                               be in touch tomorrow.”

                 (2) It is apparent from email exchanges that the request came from Mr
                     Hussain and that Mr Smolek consulted Mr Scott (COO and General
                     Counsel of Autonomy Inc) and Ms Cynthia Watkins (Autonomy’s

 288
       Its timing is a different matter, I accept.


                                                     Page 809
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 811 of 900
Approved Judgment                                                             HC-2015-001324
Mr Justice Hildyard


                 Corporate Controller) about Mr Hussain’s “request in correctly
                 quantifying the $250k PO requests service for Capax & MicroLink LLC
                 with Joel [Scott] & Cynthia [Watkins]”. Mr Smolek then reported to Mr
                 Hussain that Mr Scott had:
                        “resolved that Stouffer [Egan] would be best to establish that
                        mechanism, as he determined that it wouldn’t fall under existing
                        contract terms”.


             (3) In his response the same day (16 April), Mr Hussain expressed
                 impatience with the fact that a purchase order had not yet been given to
                 Capax Discovery, saying that he had:
                        “…no idea why this is so complex Create a PO for outsourcing
                        edd processing as we did last year. Send details of PO (gb
                        [gigabytes], price) to stouff Egan], pete [Menell], Sullivan and
                        me. We’ll approve”.


             (4) Later that day, Mr Smolek sought authorisation from Mr Hussain and
                 Dr Menell to issue a purchase order to Capax Global for “Outsourced
                 Services” described as “Specialized EDD Services” in the amount of
                 $250,000. Mr Hussain provided his approval. Dr Menell indicated that
                 Mr Sullivan should be “second approval for these”. In Mr Sullivan’s
                 witness statement he said he was “puzzled by this since I was not aware
                 that Capax was doing any EDD processing work for Autonomy”. He
                 said that he raised the matter with both Mr Hussain and Mr Kanter who
                 referred him to Mr Egan. His recollection was that Mr Egan’s
                 explanation had “a certain vagueness” but the gist was that:
                        “there was a commercial arrangement between Autonomy and
                        Capax for Capax to undertake e-Discovery projects for which it
                        would be paid by Autonomy. Mr Egan assured me that the work
                        was being performed and I should therefore sign-off on the
                        purchase order.”

             (5) Mr Sullivan then emailed simply “ok” that afternoon. Autonomy sent
                 the purchase order to Mr Baiocco the next day (17 April). Initially, the
                 purchase order was incorrectly issued to Capax Global, and it was
                 reissued by Autonomy on 22 April 2009 to Capax Discovery. The
                 following day, 23 April 2009, Capax Discovery invoiced Autonomy in
                 the amount of $250,000 for “Specialized EDD Processing”,
                 corresponding to the purchase order.
             (6) In the meantime, Mr Baiocco was pressing for more help in view of the
                 impending payment instalment date at the end of the month, when Capax
                 Discovery would owe $500,000. Mr Baiocco emailed Mr Sass on 21
                 April 2009 asking if there was “Any movement”.




                                           Page 810
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 812 of 900
Approved Judgment                                                             HC-2015-001324
Mr Justice Hildyard


             (7) When Mr Sass replied that Mr Egan was tied up in a meeting, Mr
                 Baiocco replied immediately:
                        “Im running out of time for today. I have a MS thing I need to be
                        at from 4pm on. Can you talk to him? The deal is that Autonomy
                        will stay ahead of us (champagne smacking)! We have 500k due
                        in ten days and a PO for 250k. we also talked about front loading
                        the PO’s. We have no ability to help ourselves yet. We should be
                        getting enough po [purchase order] monies to get us ahead by
                        the end of April. I am sure I didn’t misunderstand the deal?
                        Correct? Don’t mean to sound like a whiner, but I guess I am at
                        this point.
                              PLEASE
                        HELP !”
             (8) The message appears to have reached Mr Egan because, on 23 April
                 2009, Mr Sullivan emailed Mr Smolek saying that Mr Egan had “asked
                 that we issue another PO to Capax. $270k is the amount. Could you get
                 this in process?”. Together with the earlier purchase order for $250,000,
                 this would bring the total amount that Autonomy was proposing to pay
                 to Capax Discovery for nonexistent “Outsourced Specialized EDD
                 services” to $520,000.
             (9) Mr Smolek sought authorisation from Mr Hussain and Mr Sullivan to
                 issue this second purchase order on 24 April 2009, and Mr Egan asked
                 Mr Sass to let Mr Baiocco know to expect another purchase order within
                 24 hours. As before, the purchase order was for “Outsourced Services”
                 described as “Specialized EDD Processing”. Mr Sullivan and Mr
                 Hussain gave their approvals. The next day, 28 April 2009, Capax
                 Discovery invoiced Autonomy for $270,000.
             (10)       Notwithstanding that the purchase orders had been approved by
                 Mr Hussain and Mr Sullivan, by May 2009, Autonomy had not paid
                 anything to Capax Discovery. Capax Discovery had also not paid
                 Autonomy, which the Claimants suggested was consistent with the
                 arrangement that Autonomy would put Capax Discovery in funds before
                 it paid Autonomy.
             (11)        In the meantime, on 15 April 2009, and again on 11 May 2009,
                 Mr Baiocco sent Mr Egan a list of the hardware that he needed to set up
                 Capax Discovery’s e-Discovery platform. Mr Egan then forwarded the
                 list to Dr Menell and Mr Hussain, saying “This is the HW [hardware]
                 that Capax is looking at for starting their EDD processing facility. Can
                 you have someone comment on whether the specs look right?”. From Mr
                 Egan’s email, it was clear that Capax Discovery did not yet have a
                 facility for e-Discovery processing. This did not apparently prompt any
                 questions from Mr Hussain or Dr Menell as to why Autonomy had
                 issued purchase orders in purportedly outsourcing e-Discovery
                 processing services. The Claimants submitted that this is consistent with
                 Mr Egan’s evidence that Mr Hussain and Dr Menell were aware that this


                                           Page 811
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 813 of 900
Approved Judgment                                                               HC-2015-001324
Mr Justice Hildyard


                 was the case: by analogy with the Sherlock Holmes story, they were the
                 dogs that did not bark.
             (12)      The delay in receiving funds from Autonomy and assistance with
                 the hardware order led to Mr Baiocco emailing Mr Sass again for help.
                 His first email of 11 May 2009 simply said “HELP !!!!!!!”. Mr Sass
                 asked Mr Baiocco to send an email as he was travelling. In response, Mr
                 Baiocco wrote:
                        “Getting nowhere with a bunch of promises that were made. I
                        just need to have a schedule of what’s going to happen when.
                        Don’t want to come off as a complainer, but things are [not]
                        happening in the timeframes that were promised.
                        I.E
                        Champagne smacking profit (edd invoicing) FRONT LOADED
                        Hardware order (crippled without it)
                        Buyout datacenter hardware (promised EASY to do)
                        EU business
                        Please don’t share this email. I know how this might sound
                        outside of you and I, but there wasn’t a second that anyone
                        wasn’t available when they needed me to sign the deal. Now I
                        need to stalk to get the bare minimum.
                        I want this to be perfect for a million reasons, first and foremost,
                        so we can do this AGAIN when you really need it!
                        Let me know your thoughts.”

             (13) Mr Sass asked Mr Baiocco to leave it with him for 48 hours and noted
                  that Mr Egan was “getting you some stuff as I write this (meaning he is
                  paying attention)”.

             (14) At the end of May 2009, Mr Chamberlain emailed Ms Watkins,
                  copying Mr Hussain, in relation to the e-Discovery purchase orders. Mr
                  Chamberlain noted that they should have been approved by both Mr
                  Hussain and Dr Lynch given the amounts involved.

             (15) The following week, on 8 June 2009, Mr Smolek sought Dr Lynch’s
                  approval:
                        “Hi Mike,
                        Steve Chamberlain has directed that we obtain (ex post) your
                        authorization to the following four PO Requests (in addition to
                        the below listed standard authorizations previously granted per
                        Corp Policy). If similar such requests arise in the future, per
                        Steve C., we will seek to obtain your authorization within the
                        standard process framework, by obtaining an AND [sic]


                                            Page 812
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 814 of 900
Approved Judgment                                                             HC-2015-001324
Mr Justice Hildyard


                        authorization for both yourself & Sushovan at the highest listed
                        level policy prior to issuing a PO (vs. the OR currently dictated
                        per policy under which these were processed).
                        ]
                        Please at your earliest convenience - review & reply with your
                        authorization to the following below listed four purchase
                        requests.
                        All below listed individual approvals are also attached.
                        #1 [Tracking #04072009-7] PO Request
                        REQUESTOR: Stouffer Egan
                        VENDOR: Capax Discovery LLC
                        PO LINE DESCRIPTION: Outsourced Specialized EDD
                        Services [1,250 GB @ $200.00/GB] TOTAL COST:
                        $250,000.00
                        APPROVED BY: Sushovan Hussain Apr 17, 2009; Mike sullivan
                        Apr 17, 2009
                 …
                        #3   [Tracking    #04242009-1]     PO    Request
                        REQUESTOR: Stouffer Egan
                               VENDOR: Capax Discovery LLC
                        PO LINE DESCRIPTION: Outsourced Specialized EDD
                        Services [1,350 GB@ $200.00/GB]
                        TOTAL COST: $270,000.00
                        APPROVED BY: Sushovan Hussain Apr 27, 2009; Mike sullivan
                        Apr 27, 2009”

                      Dr Lynch wrote: “ok”. He did not ask any questions.

             (16)      On 8 June 2009 Ms Watkins asked Mr Sullivan (by email) to sign
                off and inform her that work had been completed on EDD invoices from
                Capax Discovery in order that Autonomy could process them. Mr
                Sullivan signed off: “Yes – work has been completed.” Again, Mr
                Sullivan’s conduct is not impugned and Mr Egan does not suggest that
                he was aware of any arrangement. Mr Sullivan must have been given
                that impression by Mr Egan, whose evidence was that he “wrote emails
                that gave the impression that work was being done”.
             (17)     On 22 June 2009, a few weeks after Dr Lynch’s approval of the
                purchase orders, Autonomy paid Capax Discovery $520,000.




                                           Page 813
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 815 of 900
 Approved Judgment                                                             HC-2015-001324
 Mr Justice Hildyard


              (18)     The following day, 23 June 2009, Capax Discovery paid
                 Autonomy $500,000 in respect of the first instalment under the first
                 Capax Discovery/EDD sale. This was almost two months after the
                 instalment had fallen due. Mr Baiocco’s unchallenged evidence was that
                 Capax Discovery had not paid earlier because it had not been given the
                 funds by Autonomy to do so.

              (19)      At around this time, Mr Egan had agreed to purchase hardware to
                 the value of approximately $800,000 for Capax Discovery to use with
                 its EDD system, half of which was sent to Dr Lynch for approval by Mr
                 Smolek in July 2009 and half of which was sent to Dr Lynch for
                 approval in October 2009. Capax Discovery had first asked for this in
                 April 2009, and repeated the request in May 2009. There was no
                 criticism by the Claimants of the hardware purchase as such; but the
                 Claimants cited an email from Mr Egan to Dr Menell and Mr Hussain
                 (dated 11 May 2009) describing the hardware order as what “Capax is
                 looking at for starting their EDD processing facility” as making clear
                 that by that time Capax Discovery did not yet have a facility of its own
                 for e-Discovery processing. The hardware request sent by Mr Smolek to
                 Dr Lynch on 8 June 2009 identified Mr Egan as the requestor and
                 confirmed Mr Sullivan and Mr Hussain as having already given their
                 approval. Mr Sullivan was first approver. Dr Lynch wrote simply,
                 “ok”.
2512. The next instalment under the first Capax Discovery/EDD sale was $968,750 and
       was due on 31 July 2009. That brought forward once more the urgent need to
       find funds to enable Capax Discovery to pay.
              (1) On 7 July 2009, when Mr Smolek contacted Mr Egan saying that he had
                  sent the hardware purchase order to Dr Menell for approval, he also
                  explained that he had spoken with Mr Baiocco, who was expecting
                  “multiple more POs to be issued in the very near term” and wanted early
                  commitments on dates/amounts so he did not need to “keep hounding
                  Autonomy to meet his expectations”. Mr Egan responded:
                         “We have a large volume of EDD processing at the moment and
                         will be sub-ing quite a bit to them. I am with Mike Sullivan and
                         Pete [Menell] this evening and we will get you details quickly”.

                  Mr Egan told me in cross-examination that this email too was pretextual,
                  and was intended to provide a record consistent with what he and Mr
                  Hussain had agreed would be the stated reason for the payments to Capax
                  Discovery. When it was put to him by Mr Miles that “this was something
                  cooked up with Mr Baiocco” Mr Egan responded that this was not so;
                  rather, he and Mr Hussain had “cooked it up” together and then
                  “proposed it to Mr Baiocco”. In light of the antecedent history
                  described above, I accept that evidence.
              (2) On 9 July 2009, Mr Sullivan asked Mr Smolek to prepare another
                  $250,000 purchase order for eDiscovery work for Mr Sullivan’s


                                            Page 814
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 816 of 900
Approved Judgment                                                             HC-2015-001324
Mr Justice Hildyard


                 approval. Mr Sullivan approved the purchase order on the same day (9
                 July 2009), following which Mr Smolek sought Mr Hussain’s approval.
                 Mr Hussain provided his “ok” the same day. Mr Hussain also approved
                 the first part of the hardware purchase he had asked Mr Egan to split in
                 two a few weeks earlier, as did Dr Menell.
             (3) Next in the approval chain was Dr Lynch. Mr Smolek emailed him on
                 10 July 2009, saying:
                        “Hi Mike,
                        Please at your earliest convenience - review & reply with your
                        authorization to the below listed two purchase requests
                        (requiring CEO authorization per Steve Chamberlain).
                        All below listed individual approvals are attached.
                        #1 [Tracking# 07092009-1] PO Req
                        REQUESTOR: Stouffer Egan
                        VENDOR: Capax Discovery LLC
                        WHAT: Outsourced Specialized EDD Services 1,250 GB@
                        $200.00/GB
                        COST: $250,000.00
                        APPROVED BY: Mike Sullivan July 9, 2009, Sushovan Hussain
                        July 10, 2009 [attached]
                        #2 [Tracking # 07092009-2] PO Req
                        REQUESTOR: Stouffer Egan
                        VENDOR: Capax Discovery LLC
                        WHAT: Reimbursement of Hardware & Software (procured
                        from vendor Dell) needed to drive partnership acceleration
                        efforts. Full Dell quote support attached approval on partial
                        listing as detailed here: SubTotal Cost Part# Description
                        $30,562.32 493005440 Software Licensing
                        $682.75 493007331 VMWare Workstation
                        $25,197.89 493024437 (VMWare Server Vl3) Latest Version
                        vSphere 4 Enterprise
                        $179,290.97 493052754 CX4 Storage
                        $75,240.77 493053552 Brocade Switches
                        $105,396.17 483285873 M1 OOOe/Biade M600 Chassis 1
                        COST: $416,370.87



                                           Page 815
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 817 of 900
Approved Judgment                                                              HC-2015-001324
Mr Justice Hildyard


                        APPROVED BY: Pete Menell & Sushovan Hussain July 9, 2009
                        [attached]”


             (4) Dr Lynch provided his usual “ok” later that day. Dr Lynch’s evidence
                 when cross examined, was that the payment was in respect of “capacity
                 which could be called on at short notice in order to deal with peak
                 processing”. Dr Lynch told me that his understanding that “that’s what
                 I thought we were buying” came from information “that would have
                 come up, presumably ultimately, from Mr Egan… since he was the
                 person that told that into the system”, but that he had not spoken
                 specifically to anyone within the management team. He added: “What
                 I didn’t know was whether it was being used or not, but I would have
                 expected the person requesting the POs to have made sure that there
                 was a reasonable level of usage.”


             (5) A few weeks later, on the morning of 31 July 2009, Mr Baiocco emailed
                 Mr Egan, noting “Today’s the 31st. can you please update me on the
                 PO’s”. That morning, Mr Baiocco also called Mr Sass. Mr Sass relayed
                 this:
                        “I received a call from John Biaocco [sic]. He indicated that he
                        is waiting for 4 po’s [purchase orders] at 250k each and asked
                        that I reach out for status as he has an invoice due. Please
                        advise”.


                 It is clear that Mr Baiocco was expecting purchase orders totalling $1
                 million from Autonomy because Capax Discovery’s second instalment
                 (in the amount of $968,750) fell due that day. Mr Sass made no attempt
                 to disguise that fact in his email. Mr Sass forwarded his email to a wider
                 group, including Mr Hussain and Mr Chamberlain, saying that he was
                 re-sending it because Mr Smolek and Mr Hussain had limited access to
                 email.
             (6) Later on 31 July 2009, Mr Egan forwarded this exchange to Mr Kanter,
                 Mr Sass and Mr Smolek, copying Mr Sullivan, saying:
                        “Andy,
                        I think we discussed in UK. Can your group pick this up? Mike
                        Sullivan can provide the what, but it needs you to then get the
                        approvals done and manage the pos out on time.”


             (7) Mr Egan and Mr Kanter appear to have had a discussion in the UK about
                 the eDiscovery purchase orders. Shortly after Mr Egan sent this email,
                 he replied to Mr Baiocco’s email earlier that day, apologising for the
                 delay and saying “Sushovan is on vacation so we’ve routed through



                                            Page 816
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 818 of 900
 Approved Judgment                                                              HC-2015-001324
 Mr Justice Hildyard


                  Andy Kanter our COO. Should be forthcoming”. Mr Kanter eventually
                  took over the purchase order process, which the Claimants relied on as
                  further undermining the suggestion that the arrangement between
                  Autonomy and Capax Discovery was a secret confined to Mr Baiocco
                  and Mr Egan.
              (8) Mr Smolek prepared a purchase order for $1,000,000 for “Outsourced
                  Specialized EDD Services”, which was approved by Mr Sullivan on 3
                  August 2009 and by Dr Lynch and Mr Hussain on 6 August 2009. Dr
                  Lynch told me that he did not feel the need to question anyone about it,
                  and did not do so, in light of the prior approval of it by numerous people
                  and the fact that it was a repeat purchase.
              (9) The Claimants noted that by this point, Dr Lynch had approved
                  payments to Capax Discovery totalling $1.77 million ($520,000 +
                  $250,000 + $1,000,000) without questioning anyone specifically about
                  the payments. They submitted that either Dr Lynch questioned the
                  outsourcing arrangement and was informed of the true position, it being
                  no part of Dr Lynch’s pleaded case that he was misled by, for example,
                  Mr Hussain and Dr Menell – who, in addition to Mr Egan, knew the true
                  position – or he did not ask any questions because he was already aware
                  of the arrangement.
              (10)       Although the purchase orders had been approved, it took
                  Autonomy until 30 September 2009 to pay Capax Discovery. During
                  this time, Capax Discovery made no payment to Autonomy, even though
                  payment was nominally due at the end of July 2009. However, Capax
                  Discovery then paid the second instalment due under the first Capax
                  Discovery/EDD sale the very same day that it received $1 million from
                  Autonomy.

2513. In my judgment, the sequence of these events, the correlation between the
      imminence of Capax Discovery’s need to meet payment obligations under the
      first Capax Discovery/EDD sale agreement with purchase orders in amounts
      sufficient to enable that, and the apparent automaticity of the approval process
      for each of the purchase orders raised, all support the case that there was some
      sort of arrangement for Autonomy to subsidise Capax Discovery irrespective of
      whether at the date of payment Capax Discovery had any capability of providing
      the services purchased, and indeed notwithstanding that it did not.
2514. In addition to the points already noted, of particular significance to my mind are:
              (1) Mr Egan’s email to Mr Baiocco dated 6 April 2009, which I have
                  concluded was pre-textual, was circulated to both Mr Sass and Mr
                  Sullivan: neither contradicted its account that it was Mr Hussain, Mr
                  Sullivan and Mr Egan who had identified “$250k of business” which
                  none of them had any grounds to suppose Capax Discovery could handle
                  as the basis for a purchase order.
              (2) It is clear that Mr Hussain was at the centre of the purchase order
                  process, and the procurement and payment for services which he had no


                                             Page 817
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 819 of 900
 Approved Judgment                                                                 HC-2015-001324
 Mr Justice Hildyard


                  reason to think could be provided so shortly after the first deal and Capax
                  Discovery’s formation. Further, Mr Hussain knew that Capax Discovery
                  was a fledgling company, that it had no business of its own and that Mr
                  Baiocco had made plain that it could not rely for help from Capax
                  Global.
              (3) The subsequent emails referred to in (2), (3) and (4) in paragraph 2511
                  above confirm that Mr Smolek, Mr Scott, and Ms Watkins were
                  involved as well as Mr Hussain.
              (4) Mr Baiocco did not confine to Mr Egan his references to the
                  arrangement between them. He was open about Capax Discovery’s
                  inability, initially at the least, to pay out of its own resources; his email
                  stating “We have no ability to help ourselves yet” and its obvious further
                  reference to a funding plus profit arrangement to get Capax Discovery
                  “ahead” by the time the first instalment became due at the end of April
                  was, it will have been seen, written to Mr Sass when Mr Egan was not
                  available; see (7) in paragraph 2511 above.
              (5) Mr Kanter was also involved from the outset: see (4) in paragraph 2511
                  above.
              (6) Mr Sullivan appears to have known at the time, or at least suspected,
                  that Capax Discovery was not yet capable of doing processing work (see
                  (4) in paragraph 2511 above).

              (7) It would have been obvious to them all that Mr Baiocco’s pressure on
                  Autonomy was tied to impending instalment dates, and payments by
                  Autonomy depended upon and correlated with payments by Capax
                  Discovery.
              (8) Autonomy’s and Capax Discovery’s need and appetite for mutual
                  assistance is apparent: for example, and as the Claimants submitted, the
                  references to Autonomy’s need to sign the deal and to doing this
                  “AGAIN when you really need it” (see (12) of paragraph 2511 above)
                  reinforce their case that the arrangement was driven by Autonomy’s
                  revenue recognition requirement, which might well recur.
              (9) Mr Kanter became central to the operation, and the fact that he took over
                  the eDiscovery purchase orders seems to me to confirm the direction of
                  the process by the core management.

              (10)      The automatic unenquiring approvals sought from and provided
                  by both Dr Lynch and Dr Menell are difficult to explain unless they too
                  were complicit.

No documentary support for purported outsourcing of eDiscovery services
2515. The Claimants’ case was that the notion that e-Discovery services were being
      provided to Autonomy by Capax Discovery was a pretence. I do not think that is
      entirely justified:



                                              Page 818
       Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 820 of 900
 Approved Judgment                                                                    HC-2015-001324
 Mr Justice Hildyard


              (1) There is evidence, for example, that by August 2009, Capax Discovery
                  employees, who had been sent to Autonomy’s Boston data centre for
                  training, were also providing ad hoc consultancy services. An email
                  from Mr Scott to Mr Smolek dated 3 August 2009 noted this and
                  recorded also that Mr Sullivan was expecting “that they would be billing
                  us for their services and wanted to be sure that we track any amounts
                  we are paying them for those services and include them in tally of
                  payments made out to Capax.” Mr Smolek’s reply stated “Yes – makes
                  sense. Accordingly, going forward I will amend PO Requests to reflect
                  tally of payments made to Capax.”
              (2) Further, by October 2009, Capax Discovery was apparently confident
                  that it had trained human resources for EDD processing. Thus, for
                  example, on 20 October 2009, Mr Cox of Capax Discovery emailed Mr
                  Loughran of Autonomy asking whether they might be deployed:
                         “Have resources on the bench for I6, [a reference to Introspect
                         EDD projects] and would very much like to get them on a I6
                         project. Do you have anything in the works that we could jump
                         on?”


2516. That said, however, there is nothing to suggest that there was any basis at all for
      the initial pre-August purchase orders. Further, there is nothing to quantify the
      work done in August and later, or the charge for it; nor is there any evidence to
      suggest that in the event any charges were included in any EDD purchase orders,
      which were invariably in round figure amounts, and certainly did not give any
      appearance of incorporating labour charges.289 There is a conspicuous lack of
      any documentation of the kind which would be expected in such a context. There
      was no statement of work, no order form, no

         procurement or ordering document, no agreement to evidence the outsourcing
         except the purchase order and nothing to record the place, time and value of the
         outsourcing said to be taking place. Dr Lynch accepted in cross-examination that
         he would have expected there to be “more paperwork than that”.
2517. This contrasted starkly with the position relating to the EAS support services that
      (it is common ground) were actually being provided by Capax Global. In that
      context, the documentary record was substantially complete, undermining also
      any suggestion of some systemic aberration or neglect.
2518. A similar contrast was provided by a comparison between the approval process
      for EAS support services properly provided by Capax Global and the EDD
      purchase orders which were simply the machinery for payments for non-existent
      services. Thus, for example, in an email dated 12 November 2009 from Mr
      Hussain to Mr Egan and Mr Smolek (copying Dr Menell and Mr Kanter) Mr
      Hussain carefully adumbrated six questions to be answered before approval of

 289
    Conceivably, such charges may have been swept up into what was described as a “catch-all”
 category described in paragraph 2541 below.


                                               Page 819
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 821 of 900
 Approved Judgment                                                              HC-2015-001324
 Mr Justice Hildyard


        “the EAS part” (including as to whether Capax Global had enough capacity to
        provide support) whereas all Mr Hussain noted in relation to the second part was:
        “Regarding the EDD – I would like Andy to approve.” In an email later in the
        same thread, Mr Crumbacher noted that he had “NO INSIGHT into the EDD.”
2519. That, and a request from Mr Scott asking for a table showing the amount of
      revenue Autonomy received from Capax (both entities) and the amount
      Autonomy paid to Capax
      Discovery in respect of the e-Discovery and EAS then prompted Mr Crumbacher
      to ask Mr Smolek for some “help with the EDD numbers…”. When Mr
      Crumbacher reported back to Mr Scott (the same day) he stated:
                  “I talked to Phil [Smolek] about the EDD subcontracting “process”.
                  Long story short, there really isn’t one. Sullivan and Stouffer approve
                  sending EDD processing work to Capax at a processing rate of
                  $200/GB. There is no statement of work, order form, contract, or other
                  ordering document or agreement to evidence the outsourcing of these
                  services, other than a PO. Further, there is no specific outsourcing
                  agreement under which we would outsource the EDD processing work
                  in this manner; the EDD License Agreement contemplates them paying
                  us for EDD processing work, not the other way around.
                  So far, we’ve paid $1,770,000 for these outsourced EDD services. An
                  additional PO is open (not finally approved/issued) for an additional
                  $250,000.00, making the grand total of our EDD processing services
                  $2,020,000.00 to date. Going forward, Andy Kanter is to be involved in
                  approving the EDD outsourcing POs…”

2520. Moreover, in his witness statement in these proceedings, Mr Sullivan (whose
      honesty was not impugned) stated that, though as CEO of Zantaz he “had
      detailed oversight of its EDD business”, he did “not believe that Autonomy
      needed standby EDD support services”. He added that he:
                  “knew of no instance of EDD work being outsourced to Capax or any
                  other third party. When capacity constraints did arise, as in the case of
                  our extremely large EDD contract with BP, Autonomy scaled up its
                  operations by adding hardware and hiring additional staff to handle the
                  extra workload.”
2521. Whilst I have harboured some reservations about this evidence (which, of course,
      could not be tested by cross examination), and its consistency with the evidence
      Mr Sullivan had given in the US criminal proceedings (which was so tested) in
      this regard its central point chimes with what Mr Crumbacher and Mr Smolek
      had observed: that there was no support beyond the purchase order and their
      approval for what by December 2009 amounted to payments by Autonomy to
      Capax Discovery of a total of $2,520,000 (all of which was used by Capax
      Discovery to pay instalments due under the first Capax Discovery/EDD
      agreement by that time totalling $2,437,500).
2522. I have concluded and find that, in addition to Mr Hussain, Dr Menell and Mr
      Kanter knew that:


                                             Page 820
       Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 822 of 900
 Approved Judgment                                                                      HC-2015-001324
 Mr Justice Hildyard


              (1) Capax Discovery had not the means to undertake substantial (if any)
                  eDiscovery processing work as envisaged by the series of purchase
                  orders.
              (2) The purchase orders had been devised principally by Mr Egan and Mr
                  Hussain, as a means of getting funds to Capax Discovery to enable it to
                  pay instalments due under the first Capax Discovery/EDD sale, as was
                  necessary to maintain the presentation of the sale to auditors and in the
                  accounts as one from which revenue should be recognised.
              (3) The way the purchase orders were (a) commandeered by Mr Hussain
                  and/or in anticipation of instalment dates under the first Capax
                  Discovery/EDD sale then (b) processed on demand for the round figure
                  required to pay such instalments without demur, further consideration
                  or request for background supporting documentation, and lastly, (c)
                  followed by invoices which were automatically approved without
                  enquiry or any actual evidence, and simply on the basis that another
                  person in the rung of approvers had given their approval,290 seems to me
                  consistent only with them being the pretence asserted by the Claimants.
                  They were in reality payment orders made out to Capax Discovery.
              (4) The various emails suggesting that Autonomy actually needed and
                  expected the work to be done by Capax Discovery because of excess
                  demand for which it required overflow capacity were contrived.
              (5) None of this could, of course, be revealed to Deloitte.

2523. I need make no finding about what Mr Sass and/or Mr Sullivan knew. I shall
      return to Dr Lynch’s involvement and knowledge in paragraphs 2575 to 2588
      below. I turn to considering the reliance placed by the Defendants on Deloitte’s
      approval of revenue recognition.
Deloitte’s consideration of the first Capax Discovery/EDD sale
2524. The Defendants placed reliance on Deloitte’s review and approval of the revenue
      recognition on the sale agreement. It seems to me to be clear that this purported
      reliance was unjustified. It is worth exploring briefly the principal reasons why
      that is so, because

         as well as showing that if they had known the true position, Deloitte would never
         have approved revenue recognition, it provides a broader insight into how
         Autonomy dealt with Deloitte to secure its revenue aims.
2525. First, Deloitte was not told about a letter from Mr Baiocco dated 31 March 2009
      stating in terms that Capax Global LLC was “a separate and distinct entity from

 290
     The exchange of emails between Mr Sullivan and Ms Watkins on 8 June and 10 June 2009
 illustrates this. Ms Watkins stated: “I spoke with Stouffer on Thursday last week in regards to the
 EDD invoices from Microlink and CAPAX and he believes that you will be able to sign off and
 confirm work has been completed in order for us to process. Please review the attached invoices and
 provided [sic] your approval and confirmation…” All Mr Sullivan was prepared to state in response
 was: “Yes – approved as I understand MRL has already approved as well.”


                                                Page 821
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 823 of 900
 Approved Judgment                                                           HC-2015-001324
 Mr Justice Hildyard


        Capax Discovery LLC. All contractual obligations will be between Capax
        Discovery LLC and Autonomy only”. Secondly, Deloitte were never informed
        that there was a “handshake” agreement between Mr Egan, acting on behalf of
        Autonomy and with Mr Hussain’s authority, and Mr Baiocco, acting on behalf
        of Capax Discovery, pursuant to which Autonomy had agreed to fund Capax
        Discovery’s payments to Autonomy by channelling funds to Capax Discovery
        for fictitious services. Both provided clear grounds for refusing revenue
        recognition.
2526. Mr Baiocco’s letter was no doubt intended to negate any expectation that Capax
      Global would stand behind its fledgling subsidiary, and drove home the point
      that a reason (the Claimants suggested the principal reason) for forming the new
      entity and making it the sole contracting party with Autonomy was to insulate
      Capax Global. As it happened it also left Autonomy in effect committed to
      funding Capax Discovery’s commitments until it developed the EDD business
      (since otherwise artificiality would be revealed anyway). Mr Sass forwarded Mr
      Baiocco’s letter to Mr Egan, Ms Watkins and Mr Crumbacher. It seems to me to
      be most unlikely that Mr Hussain was not told about it: and I infer that he was.
      Yet Deloitte were not told. At the very least the letter would have raised serious,
      probably unanswerable, questions about collectability, which I infer was the
      reason that it was not shown.
2527. As it was, Deloitte’s working papers make clear that Deloitte approved revenue
      recognition on the assumption that parent would stand behind subsidiary, and
      Capax Global had proved reliable and was financially strong. Both experts were
      agreed that if recourse was only against Capax Discovery it would not have been
      appropriate to recognise revenue; and that, as it seems to me, was the significance
      of Mr Baiocco’s letter, which plainly should have been disclosed to Deloitte.
2528. Secondly, even on the Defendants’ case that any agreement or understanding
      post-dated the first Capax Discovery/EDD deal, it was in place before Deloitte
      approved the quarterly statements. Mr Egan’s evidence was that Mr Hussain
      knew and approved of the handshake agreement and yet Mr Hussain did not
      disclose its existence to Deloitte. The Claimants invited me to find that this was
      because Mr Hussain knew that it would have precluded Autonomy from
      recognising revenue from the first Capax
    Discovery/EDD sale. Mr Welham explained in his witness statement at Welham 1
                                                                                   §120:
                  “If Autonomy had indeed agreed to make payments to Capax Discovery
                  for fictitious EDD services in order to fund the EDD licence fee
                  instalment payments due to Autonomy, I do not believe that we would
                  have concluded that the revenue on the 31 March 2009 sale could be
                  recognised. A side agreement of this kind would have been inconsistent
                  with our understanding that the risks of ownership had truly passed to
                  Capax Discovery or that economic benefits would flow to Autonomy
                  from the transaction, and would have been contrary to the audit
                  confirmation received from Capax Discovery.”




                                           Page 822
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 824 of 900
 Approved Judgment                                                           HC-2015-001324
 Mr Justice Hildyard


2529. The obvious problem with that passage of evidence is that it appears to be
      premised on Deloitte being told that the payments were for fictitious EDD
      services and does not in terms address the position if there had simply been
      (before or after the deal) a side agreement for Autonomy to fund Capax
      Discovery’s instalment obligations in whatever way was available. It should go
      without saying that an auditor would not approve revenue from a contract for
      purported services known to be a fiction. However, it seems to me that Deloitte
      could not reasonably have approved revenue recognition had they known that
      Autonomy was somehow to fund Capax Discovery’s instalment payments either,
      for the reason given by Mr Welham: it would have been inconsistent with risks
      of ownership truly passing to Capax Discovery, and the economic benefits
      associated with the transaction would have been funded by the purported
      recipient (Autonomy).
2530. In any event, it is clear that Deloitte’s approval of revenue recognition was on
      the basis of an incomplete, and in fact fundamentally erroneous, understanding.
      Had Deloitte been properly informed, revenue recognition would not have been
      approved. I infer that that was the reason why Deloitte was kept in the dark.
Conclusion on first Capax Discovery/EDD sale
2531. In short, in my judgment, the reason for the first Capax Discovery/EDD sale was
      that it was needed in order to generate recognised revenue to cover an unexpected
      shortfall; Capax Discovery had no ability to pay the first year’s instalments, and
      Autonomy agreed to fund them. Autonomy was paying for its own revenue. No
      revenue should have been recognised.
The second Capax Discovery/EDD sale (Q4 2009)
2532. By the end of 2009, and even though its advertising material in July had
      (prematurely) held out its capability of undertaking EDD business, Mr Baiocco
      was still trying to get Capax Discovery’s e-Discovery platform up and running.
2533. At the end of December 2009, Autonomy and Capax Discovery entered into the
      second Capax Discovery/EDD sale which extended the term of the first Capax
      Discovery EDD sale by one year, and also enlarged the licence to include
      additional software, including ControlPoint, additional EDD software and IDOL
      SPE.
2534. The licence fee of $4,000,000, plus an annual support fee equal to 5% of the
      licence fee, was payable in four equal instalments of $1,050,000, with the first
      instalment due on 31 March 2010, and the remaining instalments at three-month
      intervals. Autonomy recognised the $4,000,000 licence fee in full as revenue in
      Q4 2009.
2535. The evidence of both Mr Baiocco and Mr Egan was that Mr Egan had promised,
      again on a handshake basis, that the fee instalments due from Capax Discovery
      would be covered one way or another by Autonomy, as under the first Capax
      Discovery/EDD sale. That meant that, in addition to ensuring that Capax
      Discovery was able to meet its quarterly payments of $968,750 under the first
      Capax Discovery/ EDD sale, Autonomy now had to ensure that Capax Discovery



                                          Page 823
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 825 of 900
 Approved Judgment                                                          HC-2015-001324
 Mr Justice Hildyard


        was able to pay the additional quarterly payments of $1,050,000 due under the
        second Capax Discovery/EDD sale.
2536. It is plain that Mr Egan both appreciated this and understood that something more
      had to be done to help Capax Discovery. In January 2010, Mr Egan emailed Mr
      Kanter, copying Mr Hussain, saying:
                “Sushovan [Hussain] has approved Capax Jan support, can you be sure
                it has gone out? Capax has not received.
                  Also, can you update on the process of outsourcing more EDD and the
                  greater sum on support per month given higher client load than we had
                  accounted for originally? If you could raise that paperwork for
                  approvals it would be great.” [Emphasis supplied]


2537. The Claimants contended that Mr Egan’s requests in the second paragraph of his
      email were designed to implement the handshake agreement that Autonomy
      would fund the instalments due under the second Capax Discovery/EDD sale by
      increasing the monthly amounts Autonomy was paying to Capax Discovery. This
      was partly achieved by an increase of $225,000 per month in the payments to
      Capax Discovery purportedly for eDiscovery services, from $250,000 to
      $475,000. This increase was attributed to socalled “Additional EDD
      Processing”. As explained above, Capax Discovery simply was not yet in a
      position to provide such services, and the invoicing process was a fiction.
2538. However, even this substantial increase fell short of the quarterly payments that
      were due from Capax Discovery at this stage, which totalled $2,018,750
      ($968,750 + $1,050,000). As Mr Egan suggested in his email to Mr Kanter, on
      top of the increase in payments for supposed e-Discovery services, Autonomy
      was going to increase the sum paid to Capax Discovery in respect of EAS
      support, making additional monthly payments of $125,000 under the guise of
      “Supplemental EAS Support”.
2539. Although the Claimants accepted that Capax Global was providing EAS support
      to Autonomy’s customers, they did not accept that the payments in respect of
      “Supplemental EAS Support” were for any genuine services. On the contrary,
      they contended that, as reflected in Mr Egan’s email above, the “Supplemental
      EAS Support” payments were simply another means of getting funds to Capax
      Discovery to enable Capax Discovery to pay for the first and second Capax
      Discovery/EDD sales.
2540. The Defendants sought to counter this by presenting “Supplemental EAS
      Support” as part of the provision of EAS support services which was “work that
      Autonomy did not want to do and Capax was happy to do it” (as Mr Baiocco
      confirmed in crossexamination). However, this was not accurate: although the
      Defendants deployed the description “Capax”, it was not Capax Discovery which
      did EAS work: it was Capax Global.
2541. It was suggested to Mr Baiocco in cross-examination that these supplemental
      EAS payments were supposed to compensate Capax Global for professional
      services it had provided but was unable to bill for. It was put to him that


                                           Page 824
       Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 826 of 900
 Approved Judgment                                                                        HC-2015-001324
 Mr Justice Hildyard


         according to the notes of an interview he had with Morgan Lewis in February
         2013, his version of events then was that “truth be told” the description
         “Supplemental EAS Services” was used as a “catchall”, and payments made
         under or by reference to the Capax EAS agreement included an element of uplift
         to compensate Capax Global291 for “thousands of unbillable hours and write-
         offs related to the product implementation services Capax performed for
         Autonomy”. Mr Baiocco had not mentioned this in his witness statement; and in
         his


         answers in cross-examination he seemed to me to be trying to marginalise what
         he had said to Morgan Lewis, though accepting that it was “partially true”.
2542. My impression was, and I find, that what Mr Baiocco really meant by the
      category being a “catch-all” was that it was a useful and sufficiently amorphous
      description to cover payments which were not referable to any documented or
      identified service, and which could be and was used as the vehicle for the
      additional payments that became necessary to enable Capax Discovery to cover
      its increased commitments. That was both the catalyst for and the principal
      purpose of the payments made by reference to the category, as the close
      relationship between payments made in and payments made out by Capax
      Discovery illustrates. It may well be that Capax Global had a justified claim to
      be compensated for unbilled hours; but that was not the purpose of the payments.
2543. Put shortly, it seems to me clear that the increased payments to Capax Discovery
      and Capax Global, whether described as for “Additional EDD Processing” or as
      “Supplemental EAS Support”, were driven by the need to find more money for
      Capax
      Discovery in light of the increased instalment payments due under the second
      Capax Discovery/EDD sale and continuing obligations under the first Capax
      Discovery/EDD sale and were made for that reason.
2544. I have been fortified in that conclusion by the following evidential matters:
              (1) Apart from those directly involved in the Purchase Order process, no-
                  one within Autonomy appears to have had any experience of Capax
                  Discovery ever providing any services: if any question arose it was
                  invariably referred on to “Cambridge”, connoting the finance
                  department.
              (2) There was never any documentary evidence provided to support the
                  suggestion that Capax Discovery did any EDD processing or EAS work:
                  unsurprisingly, since it was incapable of doing the first, and EAS work
                  was usually done by Capax Global.
              (3) It is clear that in early 2010 Mr Kanter took over supervision and control
                  of all the purchase order process in relation to Capax and Autonomy’s
                  purported EDD and EAS activities, confirming its direction from
 291
    Although in the note “Capax” was the definition used for Capax Discovery, it is clear from the
 context that it was used to describe both Capax companies. It struck me that the unbilled hours were
 more likely to be referable to work done by employees of Capax Global than of Capax Discovery.


                                                 Page 825
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 827 of 900
Approved Judgment                                                             HC-2015-001324
Mr Justice Hildyard


                 “Cambridge” without regard to what, if anything, was happening where
                 Capax Discovery was based and operated, and without any evidence of
                 work done or required. As the Claimants submitted, Mr Hussain’s
                 decision (and his decision it was) to put Mr Kanter in charge of the e-
                 Discovery and supplemental EAS purchase orders only made sense if
                 they both knew that this was simply a financial exercise that involved
                 getting sufficient funds to Mr Baiocco.
             (4) The pattern of the issue of a purchase order by Autonomy to cover
                 instalments due from Capax Discovery is to my mind further confirmed,
                 and the correlation between payments made by Autonomy pursuant to
                 purchase orders purportedly for e-Discovery processing or
                 Supplemental EAS support is, as before, revealingly exact. Purchase
                 orders were churned out according to funding need, and enhanced
                 immediately when additional amounts became due in consequence of
                 the second Capax Discovery/EDD sale.
             (5) In this regard, the Claimants cited various spreadsheets prepared at the
                 time by Mr Baiocco which clearly show him attributing payments
                 received from Autonomy in respect of purported e-Discovery services
                 and supplemental EAS support to instalments due under the first and
                 second Capax Discovery/EDD sales, and only paying those instalments
                 once he had received sufficient funds from Autonomy to do so. Notably,
                 no deductions were made for the costs of providing the purported
                 services: for none were being provided. Any excess of the monies paid
                 to Capax Discovery over the amounts paid out represented the agreed
                 profit. Although in cross-examination Dr Lynch suggested that each
                 spreadsheet was “more like a standard balance of trade journal which
                 you see quite regularly where people keep track of the cash and the trade
                 between two parties” the spreadsheets did not allow for any of the usual
                 deductions or variations that would be expected in a record of a trading
                 relationship; and the correlation mentioned above was a clear sign also
                 of the purchase orders simply being the mechanism for payment of funds
                 as and when required for payment of instalments.
             (6) Further, after sending the first of these spreadsheets to Mr Kanter in
                 March 2010, Mr Baiocco sent Mr Kanter a follow-up email which, as
                 well as confirming Mr Kanter’s direct involvement, makes even plainer
                 that the payments manifest, not a trading relationship, but the subsidy
                 arrangements provided for in the handshake agreement:
                        “…sorry to hit you again here. Just wanted to reiterate. That we
                        were promised more than a dollar for this. We were promised a
                        profit as well. Trying not to sound ungrateful in any way, just
                        that we were nowhere near ready to do a deal like this.”


             (7) Another illustration is provided by an e-mail exchange between Mr
                 Baiocco and Mr Kanter on 6 December 2010. In the first Mr Baiocco
                 asked: “anything today?” Mr Kanter asked what the number was on


                                           Page 826
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 828 of 900
 Approved Judgment                                                             HC-2015-001324
 Mr Justice Hildyard


                  “DD1”, i.e. direct deal 1. This was a reference to the first Capax
                  Discovery/EDD sale. Mr Baiocco later responded that the number was
                  “750 k for dd1 in turn. I pay 968,500 asap for oct 31 due that will get
                  me thru dec for heat”. Mr Kanter must have been aware of the
                  arrangement with Capax Discovery. Even Dr Lynch accepted that Mr
                  Baiocco was saying that he needed another $750,000 from Autonomy in
                  order to pay the instalment under the first Capax Discovery/EDD sale
                  which had fallen due on 31 October 2010. (Dr Lynch subsequently
                  approved this payment without making any enquiry; and see paragraph
                  2578 below in my discussion of the Defendants’ knowledge).


Deloitte’s consideration of the second Capax Discovery/EDD sale

2545. Deloitte’s working paper setting out its consideration of the second Capax
      Discovery/EDD sale included the following:
                  “…The Capax Discovery arm of the group specialises in eDiscovery
                  solutions for businesses and in order to do that they need the
                  Autonomy software listed above…
                  …given the success Capax has had with its previous Autonomy
                  purchases, we conclude that there is clear commercial rationale for this
                  purchase...
                  In considering the ability of Capax Discovery LLC to meet their
                  contractual commitments to Autonomy, we have reviewed their
                  payments made in Q4 2009 and their overall payment history…
                  Given that Capax are up to date with their significant payment
                  obligations (i.e. more than $1.0m paid in each of the last two quarters)
                  and given the information obtained with regards to their status with
                  Microsoft, we conclude that this deal is recoverable…”

2546. As is apparent from this working paper, and from Mr Welham’s unchallenged
      evidence, Deloitte was not aware that the only reason Capax Discovery was up
      to date with its payment obligations under the first Capax Discovery/EDD sale
      was because, pursuant to the handshake agreement, Autonomy had funnelled
      money to Capax Discovery for non-existent e-Discovery services. Mr Welham’s
      evidence was that, if Deloitte had known that Autonomy needed to put Capax
      Discovery in funds to pay for the Autonomy e-Discovery software by making
      payments for services that Autonomy knew to be fictitious, Deloitte would not
      have regarded Capax Discovery’s payment history as supporting the recognition
      of revenue on this or other Capax Discovery deals, which was not challenged
      and is obvious if its premise is correct. There can, therefore, be no dispute that
      the information which was withheld from Deloitte was highly relevant to
      Deloitte’s conclusion on revenue recognition.
2547. Equally obvious and a fortiori would be the position if Deloitte had also been
      aware that what lay behind Mr Baiocco’s call for and expectation of help, and
      Autonomy’s urgent reaction to assist, was the same understanding as had


                                            Page 827
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 829 of 900
 Approved Judgment                                                             HC-2015-001324
 Mr Justice Hildyard


        underpinned the first transaction (and indeed all of the impugned transactions
        with Capax). As before, Mr Egan’s evidence was that Mr Hussain knew and
        approved of the understanding and the expectation which was its corollary. As
        before, Mr Hussain did not disclose its existence to Deloitte because he knew
        that it would have precluded Autonomy from recognising revenue from the
        second Capax Discovery/EDD sale.
2548. Deloitte was not aware either that Capax Discovery had in fact had no success
      with its previous Autonomy purchases, i.e. with the software licensed pursuant
      to the first Capax Discovery/EDD sale, because (as explained above) Capax
      Discovery was not even in a position to provide e-Discovery services to
      customers by 31 December 2009.
2549. I find that Deloitte were misled; their approval cannot avail the Defendants, and
      the Defendants’ purported reliance on it tends further to endorse the dishonest
      nature of their (the Defendants’) approach and of the transactions concerned.

Conclusion on second Capax Discovery/EDD sale

2550. For similar reasons as in the case of the first Capax Discovery/EDD sale I have
      concluded that no revenue should have been recognised from the second Capax
      Discovery/EDD sale.

The third Capax Discovery/EDD sale (Q1 2011)
2551. By the end of March 2011, Capax Discovery was ready and looking to undertake
      eDiscovery processing work in the UK. To that end, it had rented premises in
      London and set up a data centre at a considerable cost. The team at Capax
      Discovery was working closely with individuals from Autonomy, including Mr
      Lucini and Dr Menell, to ensure that everything was in place to provide actual
      services, and, in particular, a prospective part in providing services in the context
      of BP Deepwater Horizon oil-spill litigation then at the disclosure stage.
2552. As part of the process, and also to discuss with Autonomy a structured service
      contract which a Capax Discovery-related entity called Autonomix had won
      from the US government and in which it hoped to enlist Autonomy, Capax
      Discovery’s Mr Baiocco, Mr Steve Williams and a Mr Allen Gurney, travelled
      to the UK for a meeting in Cambridge, which in the event was followed by two
      short meetings between Mr Baiocco and Mr Hussain.
2553. The Claimants presented the meetings between Mr Baiocco and Mr Hussain (the
      first occasions on which they had met in person) as curious affairs, at which:
              (1) First, Mr Hussain seemed principally concerned initially to try to
                  persuade Mr Baiocco to take in another VAR deal which he explained
                  Mr Egan had forgotten to mention, and of which Mr Baiocco had been
                  given no notice at all. That was odd in itself; but more remarkable still
                  was that according to Mr Baiocco’s evidence, Mr Hussain wanted the
                  new VAR deal booked as a Q1 2011 deal, even though by this point it
                  was late in the first week of Q2 2011.



                                            Page 828
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 830 of 900
Approved Judgment                                                              HC-2015-001324
Mr Justice Hildyard


             (2) When Mr Baiocco declined, not (it appears) so much because of the
                 backdating proposed, but because he had just entered into a VAR
                 transaction for end-user UBS and did not want so soon to take another
                 one, Mr Hussain almost immediately followed this up by telling Mr
                 Baiocco that Capax Discovery’s existing licence did not enable use in
                 Europe and that in order to provide eDiscovery services from its London
                 data centre it would have to extend its licence for a fee.
             (3) There was a dispute as to whether this came as a surprise to Mr Baiocco,
                 as he had claimed in his witness statement. There was contrary evidence
                 relied on by the Defendants that the possibility of this had earlier been
                 raised internally within Capax Discovery by Mr Williams. Even so, the
                 impression I got from Mr Baiocco was that he was taken aback: both
                 because Autonomy itself had not previously raised it despite exchanges
                 of emails as to the setting up of and prospective work for the London
                 office, and because of the apparent correlation between his refusal of the
                 VAR deal and what was effectively a demand for a further licence fee.
                 The correlation is added colour by the fact that the VAR deal and the fee
                 sought by Autonomy were almost the same: $1.6 million, payable in two
                 equal instalments on 30 May and 29 June 2011.
             (4) According to Mr Baiocco, who had made clear in emails that he had
                 over-spent on the London office to prepare for licensing work he had
                 understood to be imminent, the feeling of being, in effect, confronted
                 with little option was compounded by the fact that within hours after his
                 first meeting with Mr Hussain at which this had been mentioned, and
                 before any further discussion of the terms, he was sent documentation
                 for a licence extension. This was already complete with the relevant
                 terms of licence extension, first in draft and then almost immediately
                 after that, in execution form with the date entered in as 31 March 2011
                 (nearly a week earlier than the draft, echoing the VAR proposal which
                 Mr Hussain had initially proposed).
             (5) At the second meeting (on 7 April 2011) between Mr Hussain and Mr
                 Baiocco there was discussion about the Autonomix proposal, and a very
                 short exchange, so short as barely to amount to a discussion, also about
                 the licence extension (what became the third Capax Discovery/EDD
                 sale). There was no substantial dispute about the words comprising the
                 exchange; but much debate as to its true content and significance. Mr
                 Baiocco’s evidence was that he asked Mr Hussain “straight up, ‘We’re
                 good on this no matter what?’ and he [Mr Hussain] said ‘Yes’”. Mr
                 Baiocco read a lot into this, however; in cross-examination he said that
                 this was:
                        “the gist of it. I don’t know if there were more words but the
                        answer was I needed assurance that, if I was buying this, even if
                        --- we were assuming we were going to get the BP data which
                        would make anything else moot, but if for some reason they
                        didn’t give us the BP data that I wasn’t going to be left holding
                        the bag for $1.6 million”.



                                            Page 829
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 831 of 900
 Approved Judgment                                                           HC-2015-001324
 Mr Justice Hildyard


2554. Mr Baiocco accepted in cross-examination that he had never discussed the so-
      called “handshake arrangement” with Mr Hussain ever before. Mr Hussain’s
      closing submissions described the idea that this exchange of some five words in
      about two seconds amounted to a confirmation of a supposed handshake deal
      made years before as “unreal”. Viewed in a vacuum that is plainly right. But the
      discussion did not stand alone. In particular:
              (1) Mr Baiocco set the short exchange in the context of “all the payments
                  that came my way over the course of time leading up to that” and his
                  “assumption that [Mr Hussain] was fully aware of the handshake deal
                  at that point”.
              (2) Before the meeting Mr Baiocco had repeatedly sought assurances from
                  Mr Lucini that substantial work would be provided by Autonomy to
                  Capax Discovery, and emphasised that Mr Baiocco had scaled up in
                  London on that basis. Mr Lucini had been variable in his responses and
                  it was natural for Mr Baiocco to seek reassurance. He supposed that Mr
                  Hussain would be aware of that.
              (3) Both Mr Baiocco and Mr Hussain must also have known full well that
                  the licence extension was backdated. That did not benefit Mr Baiocco
                  but it did benefit Autonomy, which on the basis of the false date
                  recognised revenue from the sale in Q1 2011. That backdating was not
                  explained or denied. In complicity there was mutual need and
                  understanding.
2555. I have reached the conclusion that, notwithstanding how short and apparently
      perfunctory the exchange, each man knew what the other was meant to
      understand. I accept and find that Mr Hussain was well aware of and had
      approved the previous agreements with Mr Egan. The exchanges signified that
      nothing would change: the same understandings as before remained in place. If
      for some reason Autonomy did not give Capax Discovery the BP Deepwater
      Horizon work, then it would be provided with funds in another way and “no
      matter what” it would not be left “holding the bag”.
2556. That this is what was intended by the two of them is reinforced by subsequent
      events. When Autonomy did not pass on to Capax Discovery any of the
      processing work related to the BP Deepwater Horizon case and instead up-scaled
      its own operations by adding hardware and hiring additional staff, Capax
      Discovery was not left holding the bag. Autonomy subsequently made additional
      payments, purportedly for EDD processing services which Mr Baiocco said in
      his witness statement Capax Discovery “did not actually provide” but which
      enabled Capax Discovery to discharge its indebtedness under the third Capax
      Discovery/EDD sale, as well as the payments previously promised in respect of
      the two earlier EDD agreements.
2557. Reflecting the previous arrangements:
              (1) Mr Baiocco’s main point of contact continued to be Mr Kanter, whom
                  he continued to email regarding payment of the purchase orders.




                                           Page 830
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 832 of 900
Approved Judgment                                                                   HC-2015-001324
Mr Justice Hildyard


             (2) Towards the middle of June 2011, Mr Kanter suggested that he, Mr
                 Baiocco and Mr Hussain should speak, and he proposed a call on 14
                 June 2011. Ahead of the call the following day, Mr Baiocco replied to
                 Mr Kanter, “Hey, if you get me the July 475k for edd today, I will pay
                 off the entire 968,750 today as well, I already wired half to Helen Ku.
                 That way we have that off the table for tomorrow?”.
             (3) Mr Kanter could not have understood anything other than that Mr
                 Baiocco intended to use the payment of $475,000, purportedly in respect
                 of e-Discovery services, to pay the final part of the instalment due under
                 the first Capax Discovery/EDD sale.
             (4) By the end of June 2011, Capax Discovery – entirely with money
                 provided to it by Autonomy – had paid Autonomy the instalments under
                 the first and second Capax Discovery/EDD sales. All that remained were
                 the instalments due under the third Capax Discovery/EDD sale.
                 Although these had fallen due in May and June 2011, respectively, they
                 remained unpaid when HP’s bid for Autonomy was announced on 18
                 August 2011 because Capax Discovery had not yet been put in funds by
                 Autonomy.
             (5) On 20 September 2011, Mr Richard Eads emailed Mr Chamberlain with
                 the subject “Capax”, noting that there had been a “Tremendous amount
                 of clean up recently. We have 2 invoices remaining as shown below.
                 These appear to be for internal Capax systems since no end-user is
                 specified…I’m going to start calling on these unless instructed
                 otherwise”. Mr Eads must have been instructed otherwise, because the
                 two invoices for the instalments due under the third Capax
                 Discovery/EDD sale were not paid until more than two months later, in
                 December 2011.
             (6) The last purchase order in respect of supplemental EAS support was
                 issued on 13 September 2011, and the last e-Discovery purchase order
                 was issued on 3
                 October 2011, the day that HP’s acquisition of Autonomy completed.
                 Since Mr Hussain was the person who discussed the third Capax
                 Discovery/EDD sale with Mr Baiocco, the funds required to pay the
                 instalments under this deal could not plausibly have made their way to
                 Capax Discovery unless, as Mr Baiocco said, Mr Hussain was aware of
                 the handshake agreement and agreed that a similar arrangement would
                 apply to the third Capax Discovery/EDD sale – as in fact it did. 292


292
   The table in RRAPoC Schedule 5, Transaction 1 showed: (i) the payments by Autonomy group
companies to Capax Discovery and Capax Global which the Claimants contend were made in respect
of non-existent eDiscovery services and supplemental EAS support in the period June 2009 to
December 2011, and (ii) the payments received by Autonomy Inc from Capax Discovery in the same
period, which the Claimants contend were made using the payments in sub-paragraph (i). To support
this further, the Claimants compared the table in RRAPoC Schedule 5, Transaction 1 with the last
known version of Mr Baiocco’s Capax Aging Report. As shown in Annex B of the Claimants’ Closing
Submissions, the payments and receipts in the RRAPoC table tallied with Mr Baiocco’s Capax Aging
Report, save in the minor respects outlined in Annex B.


                                             Page 831
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 833 of 900
 Approved Judgment                                                               HC-2015-001324
 Mr Justice Hildyard


2558. Mr Baiocco’s evidence was that these payments were made using funds Capax
      Discovery received from Autonomy in respect of eDiscovery and/or
      supplemental EAS support services that Capax Discovery never actually
      provided. His position was that Capax Discovery was simply unable to do the
      work for which purchase orders were drawn and honoured. This is inconsistent
      with its promotional material asserting the contrary, which he first explained at
      the US trial on the brusque basis that this material “wasn’t true”, “selling ahead
      of capability, so – we do it all the time”, but softened by elaborating to say, in
      answer to a question from his cross-examiner querying whether he did routinely
      tell people that they had capability that they did not have:
                  “No. But it takes sometimes six months to a year to close a deal like that,
                  so we felt like we were close enough that we could advertise and get a
                  deal, and we always have the back up of Autonomy doing the work for
                  us if we weren't ready.”

2559. Mr Baiocco’s evidence was supported by Mr Sullivan, whose evidence in his
      witness statement was that he “knew of no instance of EDD work being
      outsourced to Capax or any other party” and that he did not believe that
      Autonomy needed standby EDD support services, explaining that “when
      capacity constraints did arise, as in the case of our extremely large EDD
      contract with BP, Autonomy scaled up its operations by adding hardware and
      hiring additional staff to handle the extra workload.”
2560. Mr Sullivan sought to explain the fact that he had approved a sequence of
      purchase orders without demur, and in at least one he not only approved but
      certified that “Yes – work has been completed” on the basis that though he had
      been “puzzled” initially (in April 2009), he had thereafter relied on Mr Egan’s
      assurance and the apparent assent of Mr Hussain and Dr Lynch that the work
      was being performed.
2561. I have mentioned previously my wariness of relying on witness statements
      clearly honed by US lawyers, and though Mr Baiocco and Mr Sullivan both also
      testified in the US proceedings and relevant parts of the transcript were in the
      evidence in these proceedings, of course Dr Lynch had no opportunity to cross-
      examine them (nor, of course, did I have any opportunity to see that done).
2562. Dr Lynch, who (the Claimants did not dispute) had no involvement in any of the
      above discussions or events, and who denied any knowledge of them (see further
      below), did not accept either Mr Baiocco’s or Mr Sullivan’s evidence as above
      summarised. By this time, he suggested, Capax Discovery was on any view
      performing EDD work for Autonomy. They had personnel who had been trained
      for eDiscovery work and were operating in Boston on Autonomy's platform: and
      those staff could also have performed
EDD services at the customer centre, or on Capax Discovery’s platform to the extent it

        was up and running. As he had stated in his witness statement, his understanding
        was that Capax Discovery could perform the work wherever it could access
        Introspect software, whether at its own facilities, at the customer's facility, or at
        Autonomy's Boston office.


                                             Page 832
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 834 of 900
 Approved Judgment                                                             HC-2015-001324
 Mr Justice Hildyard


2563. This is one of many contexts in which it would have been helpful to hear from
      Mr Sullivan; and for that matter to have more reason to have confidence in the
      witness statements as evidence. However, there was no evidence either that
      Capax Discovery was in fact called on to provide or in fact providing any EDD
      outsourced services of any materiality, nor that Autonomy ever in fact had need
      of them. Furthermore, the circumstantial evidence is against Dr Lynch’s efforts
      to sanitise this transaction. Its timing (in response to Mr Baiocco’s need for help);
      its genesis; its amount; its backdating demonstrating clearly that revenue
      recognition was the imperative that drove it; and the simple fact that the amounts
      remitted by Autonomy were needed and (albeit after some unusual delay) used
      to pay Autonomy: all support generally the evidence given that Capax Discovery
      had no capacity and that the invoices from Autonomy were fictitious: and that is
      my finding.
2564. Dr Lynch repeated his case that this was not how it appeared at the time. Sitting
      in the UK and busy as a CEO with his many and various functions, and with
      evidence by this time of Capax Discovery’s EDD capabilities, he had no reason
      to suppose that Capax Discovery was not doing anything for the payments it
      received. For reasons given later in discussing the issue of knowledge, I cannot
      accept this.

Deloitte’s consideration of the third Capax Discovery/EDD sale

2565. When Deloitte reviewed the third Capax Discovery/EDD sale, it did so as part
      of its Q1 2011 review, given that it had been backdated to 31 March 2011. The
      rationale for the deal was explained to Deloitte by Mr Chamberlain as allowing
      Capax Discovery’s UK data centre to connect to the software licensed under the
      previous sales. Deloitte concluded that “it represents additional rights to Capex
      [sic] and therefore can be recognised as revenue”.
2566. As before, Deloitte was unaware that Autonomy was channelling funds to Capax
      Discovery under the guise of purchase orders for e-Discovery processing and
      supplemental EAS support which Capax Discovery was not providing.
2567. Although Dr Lynch suggested that Deloitte was “sampling the payments, they
      were able to look at them, nothing was hidden from them”, it is clear that Deloitte
      was in the dark about the scale and nature of the payments being made in respect
      of e-Discovery processing. Mr Murray of Deloitte emailed Mr Welham on 18
      April 2011 with the subject “Capax – payments going back to them for services
      performed”, saying:
                  “Pete is still waiting on information about the level of Capax
                  purchases during Q1 2011, but I note that in our post Q-end
                  unrecorded liabilities work we have picked up on $1.5 million of
                  invoices alone paid to Capax.


                  Going to be too late to comment on in the audit committee but we
                  should consider putting further ‘context’ around the relationship with
                  this reseller for Q2. Might not look so rosy if revenue from Capax to
                  date is (for example) $50 million, cash received is $30 million, balance


                                            Page 833
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 835 of 900
 Approved Judgment                                                          HC-2015-001324
 Mr Justice Hildyard


                  outstanding is $20 million, services purchased from Capax by
                  Autonomy are $60 million...”


2568. Mr Welham initially put the amounts paid to Capax Discovery down to Capax
      Discovery doing “all of the legacy eas [Enterprise Archive Solution]
      maintenance”. He suggested that Deloitte should find out what the figure was
      for the previous year, noting that he would expect it to fall given EAS was no
      longer a product being sold by Autonomy. But, as Mr Murray pointed out in his
      response, “The one invoice details I have seen to date is for EDD processing –
      that doesn’t sound like maintenance – sounds more like data analysis/input type
      services”.
2569. This was less than a year after Mr Hogenson and Mr Tejeda had raised concerns
      about the payments to Capax Discovery in respect of e-Discovery processing and
      supplemental EAS support. Had Deloitte conducted a full investigation into these
      payments at the time of the Hogenson episode, or otherwise been informed of
      them on a regular basis, as Dr Lynch wrongly suggested was the case, this is not
      the sort of exchange one would expect to see between Mr Murray and Mr
      Welham. The exchange makes plain that Deloitte had little idea of the scale of
      these payments or what these payments were supposedly for. Still less did
      Deloitte appreciate that no e-Discovery processing had actually been outsourced
      to or performed by Capax Discovery or that Capax Discovery was just using the
      funds it received from Autonomy to pay the instalments under the first, second
      and third Capax Discovery/EDD sales in a circular flow of funds, and keeping
      the excess as profit. Dr Lynch accepted that these were matters Deloitte would
      have needed to know about in order to assess whether it was appropriate to
      recognise revenue on the three Capax Discovery sales. Deloitte was not aware
      of them.
2570. Deloitte was similarly unaware that the third Capax Discovery/EDD sale had
      been backdated. Mr Welham’s unchallenged evidence was that, had Deloitte
      known of the backdating, it would not have approved recognition of the revenue
      in Q1 2011 and, had it known of the arrangement between Capax Discovery and
      Autonomy, it would not have approved of any revenue recognition.
2571. Again, given Mr Hussain’s involvement in the third Capax Discovery/EDD sale,
      and his awareness of the true nature of the arrangement with Capax Discovery,
      the withholding of this highly relevant information from Deloitte cannot have
      happened without his knowledge.
Did the Defendants have guilty knowledge of false accounting in respect of RT 1?
2572. Dr Lynch accepted in his oral evidence that if the nature of the arrangements in
      relation to the first, second and third Capax Discovery/EDD sales was as the
      Claimants contended, and Autonomy was in effect channelling money to Capax
      Discovery for fictitious services, then “absolutely” it would have been improper
      for Autonomy to recognise revenue on the sales. As the Claimants put it, the
      position is a fortiori as regards Mr Hussain’s knowledge and position. That
      leaves as the only question whether the Defendants were aware of the fictitious
      nature of the arrangement.


                                           Page 834
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 836 of 900
 Approved Judgment                                                             HC-2015-001324
 Mr Justice Hildyard


Mr Hussain’s knowledge
2573. I have already made and reconfirm my central finding that Mr Hussain was well
      aware of and approved the assurances and intentions which underpinned all
      Capax Discovery’s

        VAR and reciprocal dealings with Autonomy. I have found more particularly
        that Mr Hussain understood what Mr Baiocco was signalling in the short
        exchange at their second meeting discussed above, and conveyed the
        confirmatory signal that the same arrangements would continue as before.
2574. I find that Mr Hussain also knew that (a) Capax Discovery did not have any
      capability to undertake e-Discovery processing until 2011 and (b) payments
      made by Autonomy for EDD services and supplemental EAS support were
      fictitious.
  Dr Lynch’s knowledge

2575. As I have noted to the same effect previously, Dr Lynch was not the sort of
      person, and Autonomy was not the sort of company, where the CFO acted
      autonomously. Mr Hussain reported to Dr Lynch routinely and regularly, and
      there would have been no question, and there was as far as I am aware no
      example, of Mr Hussain acting otherwise than in implementation of a course
      discussed with, and ultimately determined by, Dr Lynch. In idiomatic language,
      Dr Lynch was a control freak, and he regarded Autonomy very much as both his
      creation and his creature.
2576. I have already concluded that Mr Hussain was well aware of, and had indeed
      fashioned, the use of purchase orders for services which he knew that Capax
      Discovery would not and could not yet provide as a covert means of funding
      Capax Discovery to enable it to pay instalments under the first Capax
      Discovery/EDD sale in accordance with an arrangement with Mr Baiocco of
      which he was also well aware. It would have been entirely out of character, and
      contrary to Dr Lynch’s expectations of those he regarded as serving him, for Mr
      Hussain to have kept this from Dr Lynch. That is particularly so given that this
      was a new venture with a new company. Furthermore, there is no dispute that
      the recognition of the revenue concerned had become a focus of both Mr Hussain
      and Dr Lynch as Q1 2009 drew to a close.
2577. At the operational level, it is clear that:
              (1) An email dated 12 March 2009 from Mr Hussain to Dr Lynch and
                  headed “capex deal” [sic] evidenced that Mr Hussain told him of Capax
                  Discovery’s possible interest in what was then a $5 million deal the day
                  after the London Hotel meeting, albeit in brief terms (“Stouff’s had a
                  bite at a $5m deal”).
              (2) Also, (and illustrating how Mr Hussain kept Dr Lynch in almost constant
                  touch) Mr Hussain forwarded to Dr Lynch an email from Mr Egan dated
                  13 March 2009 noting (amongst other deals) that “John called Rob and
                  said he was very interested in the pitch we presented at breakfast. Time
                  to let him know it could be possible” (see paragraph 2492(1) above).


                                            Page 835
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 837 of 900
 Approved Judgment                                                              HC-2015-001324
 Mr Justice Hildyard


              (3) Five days later, on 18 March 2009, Mr Hussain emailed Dr Lynch, Dr
                  Menell and Mr Kanter identifying “capexglobal” as one of the “Big
                  deals” prospective but outstanding.
              (4) The fact of this prospective deal was listed in the very regular update
                  spreadsheets schedules provided by Mr Hussain to Dr Lynch in this as
                  in every quarter.
              (5) Dr Lynch knew about the formation of Capax Discovery and its
                  introduction as a counterparty. There is no documentary record that he
                  was shown Mr Baiocco’s letters stressing that it was “brand new” and
                  separate legally and contractually from Capax Global; but I think it more
                  likely than not that Mr Hussain would have told him.
              (6) On the last day of the quarter, Mr Hussain emailed Mr Sass and Mr
                  Egan, copying Dr Lynch and Dr Menell, noting from their earlier email
                  to him that (as summarised in the subject line) “capax is in (signed copy
                  in hand)” and to send congratulations: “Very well done to the both of
                  you – I like $7.5m deals!”
              (7) Thereafter, Dr Lynch was asked to and did approve a first purchase order
                  of $250,000 for “outsourced specialised ED services” which on 8 June
                  2009 Dr Lynch approved unquestioningly “ok”. This was the pattern of
                  future purchase orders likewise.
2578. In the round, it seems clear that Dr Lynch knew of the first transaction in broad
      terms, knew its value and knew that it had become a vital constituent element of
      Mr Hussain’s plans for the quarter in terms of revenue recognition. I have
      explained that I think it likely that Mr Hussain discussed and agreed with him
      the use of the purchase order mechanism I have described to fund the fledgling
      Capax Discovery in accordance with the understandings that had enabled Mr
      Baiocco to commit it to the transaction. That knowledge informed his
      understanding of the second and third transactions also.
2579. In the end, Dr Lynch relied on the vital gap in his knowledge as having been that
      he did not appreciate, and had no reason to suppose, that Autonomy was paying
      something for nothing. There were three strings to his argument:
              (1) First, “Since Mr Hussain was not aware of anything improper, there is
                  no basis for suggesting that Dr Lynch would be”. Dr Lynch maintained
                  the position that Mr Hussain had never suggested to him, and (contrary
                  to Mr Egan’s evidence) he did not think Mr Hussain or Dr Menell knew
                  at that time, that in fact no services were being or could be provided. Dr
                  Lynch added to this that he was in a more distant position than was Mr
                  Sullivan, who as CEO of Zantaz was in a position to know; and he was
                  entitled to and did rely on the fact that Mr Sullivan had given his
                  approval.
              (2) Secondly, Dr Lynch appeared to suggest that his own understanding,
                  even at that time, was that (a) though it had not yet got facilities or
                  requisite hardware to do its own processing, Capax Discovery had the



                                             Page 836
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 838 of 900
 Approved Judgment                                                             HC-2015-001324
 Mr Justice Hildyard


                  services of Mr Williams and what he described as “experienced EDD
                  people” well able to assist using someone like Autonomy’s own
                  systems, and it was doing e-Discovery work at Autonomy’s premises,
                  and (b) any payments presumably related to this work.
              (3) Third, his understanding at the time, according to his first witness
                  statement, was that what Autonomy was paying did not depend upon the
                  actual provision of services, but on the guarantee of their availability.
                  He explained this in his first witness statement as “akin to an insurance
                  policy” to ensure availability of overflow services to meet exceptional
                  demand, and elaborated on this as follows:
                         “Whilst I was not involved in the specific case with Capax, the
                         general rationale behind partnering with an EDD service
                         provider…was that [it] would be able to provide back-up
                         services, that could be used when Autonomy alone was unable
                         to meet customers’ EDD needs.
                         Essentially, Autonomy purchased overflow capacity from Capax
                         on a monthly basis, akin to an insurance policy.
                         …
                         If I had known at the time that an EDD provider did not
                         perform any overflow work in a particular month, I still would
                         have been happy paying the provider for EDD overflow
                         capacity because the nature of an insurance policy is that you
                         are not going to call upon it every month…
                         …
                         My understanding was that [Capax] was capable of processing
                         that content and was on standby to do so…”


2580. This three-string defence was repeated by him in respect not only of this, but also
      the second and third Capax Discovery/EDD sales addressed below.
2581. As to the first string, and as will already be apparent, I do not accept the lynchpin
      of Dr Lynch’s argument that Mr Hussain did not know that no services were
      being or could be provided. I have held that Mr Hussain not only knew but had
      orchestrated a chorus of pretextual emails to give colour to the pretence (see
      above). Mr Kanter also was well aware, and his positioning to be in charge of
      the purchase order process is significant: an insider in the core management team
      needed to be in charge, even if this was not ordinarily part of his role. Of course,
      Mr Kanter might have persuaded me otherwise had he given live evidence: but
      he did not. It seems to me very unlikely that either of them would have kept this
      from Dr Lynch. Dr Lynch’s retort that they did so because they knew they had
      no alternative but to keep quiet since he would have sacked them is circular.
2582. In relation to the second string, as I have indicated in paragraph 2515 above,
      there is some evidence that in the later part of 2009, Capax Discovery was
      building the expertise and employee base to offer EDD service capability. Dr


                                            Page 837
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 839 of 900
 Approved Judgment                                                               HC-2015-001324
 Mr Justice Hildyard


        Lynch was quick to seize on this in cross-examination as giving some substance
        to his alleged belief that work was being done by Capax Discovery under the
        various purchase orders. For example, when it was put to him that “it would have
        been obvious to anyone within the company that Capax was not actually
        providing Autonomy with these services”, Dr Lynch enveloped his responses
        with a recourse to what had become a stock reference to “Capax staff working
        on EDD”, telling me that:
                  “…there’s a big complication in all this, which is there are significant
                  numbers of Capax staff working on EDD on projects for Autonomy, but
                  they’re doing it on Autonomy’s own system, not on the Capax system,
                  and although it’s very difficult to unpick the jigsaw puzzle at this stage,
                  the question is how were those people paid for?”

2583. I do not accept that this was any part of Dr Lynch’s thinking at the time. This
      struck me as an opportunistic recourse to matters that, as I read his evidence, he
      did not suggest he was aware of, and which for reasons I have previously
      explained are unlikely to have been the basis of the purchase orders in any event.

2584. What really stands out is the lack of any supporting evidence such as Dr Lynch
      himself accepted he would have expected (see paragraph 2516 above) but which
      he never called for. What also stands out is that in his witness statement, he was
      quite clear what he considered the purchase orders to relate to, and it does not
      suggest that any part of the justification was occasional services by Capax
      Discovery employees training at Autonomy’s Boston data-centre:
                  “The process of purchasing EDD overflow capacity was handled
                  primarily by Mr Egan and Mr Scott in Autonomy’s US subsidiary. They
                  would request a purchase order for a certain amount of data overflow
                  capacity, priced by volume on a monthly basis, and would seek approval
                  before issuing the purchase order. The payments to Capax for the EDD
                  overflow capacity were approved at times by Messrs Sullivan, Kanter,
                  Hussain and others. I also approved some of these payments. I did so on
                  the basis that the US management team considered that the overflow
                  capacity was a necessary insurance policy. I was also informed that
                  Capax were performing the work. It did not seem unreasonable at the
                  time.” [My underlining for emphasis]


2585. That brings me to the third part of Dr Lynch’s argument – that even if no actual
      work could be demonstrated, the purchase orders were akin to payments for
      insurance cover. I have reached the conclusion that Dr Lynch was simply casting
      about for some justification to cover the reality that he knew that no EDD
      processing work was being done. In my judgment, he knew also that Capax
      Discovery was a new company, new into the field, which (to quote Dr Lynch
      himself) “wanted to break into the EDD business”; he knew it was lacking
      infrastructure, and that it was experiencing software problems and further delays;
      he knew the product and the business and he knew accordingly that it was
      entirely unrealistic to suppose that Capax Discovery was immediately ready to


                                             Page 838
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 840 of 900
 Approved Judgment                                                            HC-2015-001324
 Mr Justice Hildyard


        provide the cover he suggested was needed. He cannot really have believed that
        Capax Discovery was in a position to provide, still less had actually provided, e-
        Discovery services with an invoiced value of $520,000 by June 2009 when he
        approved the purchase orders in June 2009.
2586. In my judgment, none of these lines of defence is persuasive. I have concluded
      that the most likely rational explanation is that Dr Lynch and his core
      management knew that the purchase orders and following invoices were indeed
      a funding mechanism, in accordance with the need to enable Capax Discovery to
      pay the instalments in accordance with the handshake agreement and to maintain
      the appearance of a real sale.
2587. In short: even if he was not involved in and did not know the details of individual
      transactions, I consider it more likely than not, and I also find, that Dr Lynch was
      aware from Mr Hussain and Mr Kanter and Mr Egan of (a) the handshake
      agreement and (b) the purchase order scheme.
2588. In my judgment, Dr Lynch, like Mr Hussain, had “guilty knowledge” of the false
      accounting of each of the transactions comprised in RT 1.
RT 2: the VMS transactions

2589. I next address two sets of transactions between Autonomy and Video Monitoring
      Services of America, Inc (“VMS”) in Q2 2009 and Q4 2010. VMS provided a
      data service, together with analytics of the data. The data included television,
      radio and podcast content, internet content for the top 200 print publications and
      video commercials. VMS was a longstanding Autonomy customer and used
      Autonomy software extensively in their products. Its CIO, Mr Gerry Louw, had
      built a close working relationship with Mr Egan.
2590. The transactions comprised (a) the purchase by Autonomy of rights (under
      licence) to use and display VMS’s data feed and (b) the sale by Autonomy of
      software licences and hardware to VMS.
2591. It is the Claimants’ case that there was no genuine commercial rationale for either
      of Autonomy’s purchases of the VMS data feed, that neither was an independent
      arm’s length transaction and that both were linked to, and in truth the reason for
      them was to incentivise and fund, the sales by Autonomy to VMS of Autonomy
      software on terms VMS would not otherwise have agreed so that Autonomy
      could recognise additional revenue in Q2 2009 and Q4 2010. Mr Egan negotiated
      both the sale and the purchase elements of both transactions.
2592. The Claimants contended, with the support of expert evidence from Mr Holgate,
      that Autonomy’s purchases, and the linked sales to VMS, therefore lacked
      economic substance and further, that IAS 18.14(d) was not satisfied because in
      substance no economic benefits flowed to Autonomy.
2593. Accordingly, the Claimants submitted that Autonomy should not have recorded
      revenue on the sales to VMS. Autonomy should instead have: (i) recorded the
      net cost in relation to the first VMS sale and purchase, totalling $4,000,000, as
      an expense in Q2 2009, and (ii) recorded the net cost in relation to the second


                                           Page 839
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 841 of 900
 Approved Judgment                                                             HC-2015-001324
 Mr Justice Hildyard


        VMS purchase and the VMS hardware and software sale, totalling $261,633, as
        an expense in Q4 2010.

2594. The Defendants rejected these allegations as having no merit. In Mr Hussain’s
      closing submissions, they were described as “utterly misconceived”. The
      Defendants contended that:
              (1) The purchases were for fair value, and the Claimants had not challenged
                  the fair value assessment during this trial. The purchases involved
                  valuable data rights which could be, and were, compared to offerings of
                  other third party providers at the time.

              (2) There was a commercial rationale for the purchase. VMS provided data
                  that Autonomy could and did offer to its customers and embed in its
                  products.

              (3) Mr Egan considered that both the sale and purchase transactions were
                  wellrationalised, sensible, logical and proper transactions, with a good
                  commercial rationale.

              (4) Dr Lynch approved the purchases but had limited involvement in them:
                  so far as he was aware, they had an acceptable commercial rationale,
                  were at fair value, and had been or would be scrutinized by Deloitte.

              (5) The accounting of the purchase transactions and the sales to VMS was
                  handled by the finance department, was scrutinised by Deloitte and was
                  correct. Such factual “linkage” as there was did not undermine the
                  revenue recognition for the sales.

              (6) Dr Lynch was not involved at all in the accounting, he was entitled to
                  rely on the finance team and Deloitte, and there was no basis on which
                  he should have concluded that the accounting was incorrect, let alone
                  fraudulent.
The first VMS transaction (Q2 2009)

2595. In deciding between these two opposing positions it is convenient to address the
      following issues:
              (1) The background to the transactions and the genesis of the sale by
                  Autonomy to
                  VMS;

              (2) The genesis and suggested commercial purpose of Autonomy’s
                  purchase by Autonomy of the VMS data feed licence;

              (3) Whether there was any analysis of the utility to Autonomy of the VMS
                  data feed;

              (4) The terms of (a) the purchase by Autonomy and (b) the sale by
                  Autonomy;

              (5) What use was made by Autonomy of the VMS data feed;


                                            Page 840
       Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 842 of 900
 Approved Judgment                                                                        HC-2015-001324
 Mr Justice Hildyard


              (6) Whether the price paid by VMS for Autonomy software was fair;

              (7) On what basis Deloitte and the Audit Committee considered the sales
                  and purchases.
       Background

2596. The first mention of any deal with VMS in Q2 2009 was in Mr Hussain’s email
      to Mr Egan on 10 June 2009, in which Mr Hussain asked “how about VMS for
      extra revenue? They are private.” Mr Hussain’s email did not suggest that there
      was any reason for approaching VMS, apart from generating extra revenue. The
      email did not identify what Autonomy was looking to sell to VMS; it simply
      identified VMS as a potential source of additional revenue. Nor is it clear what
      the relevance of VMS being private was, though the Claimants surmised that it
      would likely be subject to less scrutiny than a public company. Dr Lynch
      accepted that the idea of a sale came from Mr Hussain, not Mr Egan.
2597. Mr Hussain emailed Mr Egan again on 15 June 2009, saying “call to vms for a
      deal?”. Again, there was no mention of any particular reason for approaching
      VMS.
2598. A few days later, on 19 June 2009, Mr Hussain emailed Dr Lynch, telling him
      that “US commercial call was poor…I believe we need emc and vms…”. This
      suggests that Dr Lynch was already aware of a potential deal with VMS. Dr
      Lynch accepted that Mr Hussain might have mentioned it to him before this
      email. He was, however, reluctant to accept that Mr Hussain was saying that
      Autonomy needed revenue from EMC and VMS to make up for the poor
      commercial deals in the US, suggesting that “there was always stuff on the left
      and right” and that deals “come and go within a quarter”. But this was, in Dr
      Lynch’s words, “very late in the quarter”, and Mr Hussain was not sending Dr
      Lynch a spreadsheet with deals on the left and deals on the right; he was sending
      him an email specifically about needing deals with VMS and EMC, for no
      apparent reason other than because the “US commercial call was poor”. The
      Claimants suggested that Dr Lynch could not have been in any doubt that
      Autonomy needed extra revenue from deals with VMS and EMC in order to hit
      Autonomy’s Q2 2009 revenue target.
2599. That was also the message Mr Hussain was communicating to Mr Egan. On 22
      June 2009, he told Mr Egan “we need big VMS – more commercial just
      disappeared”. So urgent did Mr Hussain apparently regard the possible deal that
      he even offered to fly to New York to meet VMS’s CEO, Mr Peter Wengryn, in
      order to close out a deal that was “favourable to both parties”.
2600. At around the same time, also on 22 June 2009, an unconnected event
      occurred 293 . Up until then, a company called Moreover Technologies, Inc
      (“Moreover”), a news and social media aggregator, had supplied Autonomy a

 293
    By this point, Mr Hussain had already emailed Dr Lynch and Mr Egan about a deal with VMS and
 offered to fly to New York to close out a deal that was favourable to both parties. Dr Lynch accepted
 that none of Mr Hussain’s emails had anything to do with the Moreover data feed being switched off.



                                                 Page 841
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 843 of 900
 Approved Judgment                                                             HC-2015-001324
 Mr Justice Hildyard


        data feed of news articles, free of charge. Out of the blue, Mr Ian Black,
        Autonomy’s Head of Global Operations, informed Dr Lynch, Mr Hussain, Mr
        Kanter and Dr Menell by email that he had just learned that Moreover had
        switched off the data feed. Apparently, its new owners had decided to use a rival
        provider’s software, rather than Autonomy’s. This was the first time that anyone
        at Autonomy, including Dr Lynch, learned that the feed had been switched off.
        Mr Black informed the recipients of his email that he had persuaded Moreover
        to switch the feed on pending discussions after the end of Q2 2009, and that he
        would seek a replacement in the event he was unable to keep the feed free of
        charge.
2601. Dr Lynch’s witness statement sought to present the approach to and purchase of
      a data feed from VMS as prompted and made necessary by the requirement for
      Autonomy to replace Moreover’s services. Although Autonomy sought in the
      meantime to “workaround” the resulting loss of data feed by “spidering” a small
      selection of news sites to continue demonstrating Autonomy’s software to
      customers, Dr Lynch said this was a necessarily temporary, inadequate and
      expensive expedient.
2602. The Claimants, however, insisted that the rationale and impetus for the deal with
      VMS cannot, have been the temporary cessation of the Moreover data feed. Nor
      can it have been the fact that Moreover subsequently indicated that it wanted to
      charge Autonomy £50,000 per annum to continue using the data feed in its
      demonstrations, because this offer was not made until after Autonomy had
      entered into the deal with VMS. They submitted that Dr Lynch’s witness
      statement was misleading in suggesting that either of these factors formed part
      of the background to the VMS deal, and that it is clear from the terms and the
      timing of Mr Hussain’s emails that the rationale for the deal with VMS on
      Autonomy’s side was the need to generate extra revenue in Q2 2009.
Negotiations for sale and purchase

2603. In late June 2009, Autonomy entered into negotiations with VMS to buy their
      data feed, in parallel with the negotiations for the sale to VMS of Autonomy
      software. These continued in tandem between 23 June 2009 (when Mr Egan sent
      VMS a draft set of terms for both sale and purchase) and 29 June 2009, when Mr
      Egan forwarded the terms to Mr Hussain and Mr Chamberlain on 25 June 2009,
      asking them how they wanted to structure the deals. Mr Chamberlain’s response
      noted:



                  “The tricky bit on this from a rev rec perspective will be demonstrating
                  fair value.

                  e.g. this is currently priced as us paying them $9m and them paying us
                  $7m for the licence – i.e. net flow $2m. We need to prove that this is
                  fair value and that the net $2m is not appropriate at $3m to licence to
                  them and $1m to us. All the support we can get on that will be
                  helpful.”


                                            Page 842
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 844 of 900
 Approved Judgment                                                                HC-2015-001324
 Mr Justice Hildyard




2604. Mr Chamberlain’s focus on revenue recognition is notable. His further
      commentary also implicitly recognised the importance to Autonomy of the
      headline figures, as distinct from the net position. Autonomy needed the headline
      sale price to be high to maximise recognised revenue, even though of course that
      would entail greater outlay.
2605. The Claimants also called my attention to the timing of the email setting out
      proposed terms, which was just hours after Autonomy found out about the
      Moreover data feed having been switched off, suggesting that the proposal to
      purchase VMS data feed was independent, and not prompted by the position with
      Moreover. The Defendants, on the other hand, tended to depict the need for
      replacement as the catalyst. I return to this later.
2606. However, it is apparent from the draft terms, and from Mr Chamberlain’s
      response, that both sides of the round-trip arrangement were already in play by
      this point: a $9 million purchase by Autonomy and a $7 million purchase by
      VMS. Mr Egan sent these proposed terms to VMS on the morning of 23 June
      2009, a matter of hours after Autonomy first found out that the Moreover data
      feed had been switched off. That suggests that what appeared then to be the
      temporary interruption to the Moreover data feed formed no part of Autonomy’s
      decision to purchase the VMS data feed.
2607. In the meantime, the need for the VMS transaction to make up a revenue shortfall
      became even more definite and so did the quantum of the amount needed for that
      purpose. The day after Mr Egan sent the draft terms to VMS for the sale and
      purchase transactions, Mr Hussain informed Dr Lynch that VMS was “in process
      at between 79m”. Later that day, Mr Hussain told Mr Egan “Hitachi – unlikely
      and JPMC $1m lower so I am $2m short – therefore need VMS at $8m or $9m”.
2608. This suggests that Mr Hussain was dictating the size of Autonomy’s sale to VMS
      by reference to Autonomy’s revenue needs for the quarter. Dr Lynch initially
      resisted this suggestion, referring to a “whole series of variables: what can be
      offered, what discounts can be offered, how much you throw in for a particular
      amount”, but none of those considerations was even hinted at in Mr Hussain’s
      email. Dr Lynch was willing to accept, however, that Mr Hussain “would
      certainly like to have a VMS deal of 8-9 million, so I guess what he’s telling Mr
      Egan is to try and aim for that, whatever package is put together”.308 He also
      had to accept that he may well have been aware that Autonomy was planning to
      purchase something from VMS for $9 million.
2609. This is most likely to have been the case. He would not have been able to provide
      any meaningful input or make any informed decision if he only knew of the
      proposed sale to VMS. Furthermore, that sum made this a large deal: around 10%
      of VMS’s entire projected revenues for 2007. Yet there was no evidence of
      VMS’s ability to afford such

308
   At that amount, the size of the purchase contemplated by Mr Hussain was around 10% of VMS’s
entire projected revenues for 2007, as shown in an Information Memorandum which Autonomy had
received when Dr Lynch was considering acquiring VMS in that year.


                                             Page 843
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 845 of 900
 Approved Judgment                                                             HC-2015-001324
 Mr Justice Hildyard


        a commitment, which in itself seems to me to suggest that Autonomy never
        intended that the purchase price of what VMS was to get from Autonomy would
        be self-funded.
2610. Mr Egan emailed Dr Lynch and Mr Hussain on 25 June 2009 with updates on a
      number of deals, asking for “a decision/input from you first thing in my AM
      (6AM-ish)”. The last deal in Mr Egan’s email was VMS, in relation to which he
      said:
                  “We [Autonomy and VMS] meet at 9.30 am to go over products etc.
                  Then I meet
                  Peter [Wengryn] on Friday at 11:00 AM to finalize numbers. He has
                  cancelled 2 of 3 customer meetings on Friday to do this with me. He also
                  confirmed that he can do the deal if it is a good one for VMS without
                  additional board input.”

2611. According to Dr Lynch, whether it was a good deal for VMS depended on what
      VMS was getting from Autonomy and what it was having to give to Autonomy.
      Mr Hussain was involved in deciding this too. When Mr Egan sent him a copy
      of the draft agreement licensing certain Autonomy software to VMS on 28 June
      2009, he suggested reducing the software licenced to Autonomy, Virage and
      Softsound and to “give future pricing for the rest”.
2612. The same day, Mr Hussain emailed Dr Lynch, copying Mr Egan, Dr Menell and
      Mr Kanter, with the subject “VMS sale”, saying:
                   “Mike
                  As you know VMS have bought IDOL multiple times and are an excellent
                  reference for us. Gerry Louwe and Pete Wengryn of VMS have often
                  expressed a desire to extend the relationship and we have come close in
                  the past in selling more software to them.
                  We have been in discussions to extend the relationship and it appears
                  there is significant interest in our rich media software and the
                  Interwoven products. Stouffer has the detail but it looks like we could
                  have a large sale of $5m to $9m based on the amount of software they
                  want to buy. I have talked to Pete Wengryn over the weekend and he is
                  v interested in buying this quarter.
                  Following the Iwov acquisition we also been considering integrating the
                  VMS services (news and ads) as part of our wcm [web content
                  management] offering. I believe this could be a significant advantage in
                  future sales. We will draft up a business plan for the wcm offering
                  featuring vms for your approval.”

2613. As the Claimants noted, Mr Hussain’s email read as though it was the first
      contact he had made with Dr Lynch about a potential deal with VMS in Q2 2009
      even though, by this point, Mr Hussain had already informed Dr Lynch of a
      potential deal with VMS on two separate occasions (explaining that it was “in
      process at between 7-9m” ), and Mr Egan had asked for Dr Lynch and Mr


                                            Page 844
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 846 of 900
 Approved Judgment                                                           HC-2015-001324
 Mr Justice Hildyard


        Hussain’s decision/input on a number of deals, including VMS. Dr Lynch
        suggested that the email was laying out “the fact that we’re going to be doing a
        purchase, which I may or may not have heard of before this point”. But I agree
        with the Claimants that it is improbable that Dr Lynch had been told that
        Autonomy was attempting to make a large sale to VMS but not that Autonomy
        was also proposing to make a $9 million purchase from VMS.

2614. That said, the focus of Mr Hussain’s email was on Autonomy’s sale to VMS. Mr
      Hussain said “it looks like we could have a large sale of $5m to $9m based on
      the amount of software to buy…Pete Wengryn…is v interested in buying this
      quarter”. This, the Claimants suggested, was a considerable understatement of
      the size of the deal, and an odd turn of phrase for Mr Hussain to use in
      circumstances where, four days earlier, he had told Dr Lynch that a deal was in
      process between $7 and $9 million, and where he had seen Mr Egan tell Dr Lynch
      that Mr Wengryn was willing to do the deal that quarter if it was a good one for
      VMS.
2615. The Claimants submitted that Mr Hussain’s email only makes sense as a pre-
      textual document setting out the party line on the VMS deal to Autonomy’s
      senior management. Likewise, Dr Lynch’s response that this made “sense
      especially given the moreover issues” depicted the purchase side (Autonomy’s
      purchase of data feed) as a response to the Moreover issue, which the Claimants
      submitted was likewise pre-textual. That is of course a serious allegation.
      However, given the clear evidence that Mr Hussain had been keeping Dr Lynch
      informed of the intention to use revenue from the VMS deal to cover shortfalls
      (see above), my assessment that it is likely that Dr Lynch knew of the direct link
      between the purchase and sale transactions, and the likelihood (as I find it to be)
      that Dr Lynch was well aware of the two transactions and their inter-dependence
      I have concluded that it is more likely than not that both emails were indeed pre-
      textual.

VMS and Autonomy reach agreement in principle (29 June 2009)

2616. Over the next few days, Mr Hussain and Mr Egan finalised the terms of the sale
      to VMS. On 29 June 2009, Mr Hussain told Mr Egan to take out certain software
      (Introspect EDD, ECA and Digital Safe) from the proposed list of software to be
      licensed to VMS “since these are hosted and would be subject to a hosting fee”.
      The same day, Mr Egan instructed the Autonomy lawyer who had put the
      agreement together to make the changes Mr Hussain had directed and to increase
      the licence fee from $7 million to $9 million. Mr Hussain was also copied to this
      email.
2617. Thus, Mr Hussain was instructing software to be removed from the draft
      agreement and yet the price was going up from $7 million to $9 million, the
      range that Mr Hussain had previously given to Dr Lynch on 24 June 2009. It is
      hard to see why Mr Hussain had told Dr Lynch the day before that Autonomy’s
      sale to VMS would be between $5 and $9 million depending on the amount of
      software VMS bought when that was clearly not the case.




                                          Page 845
       Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 847 of 900
 Approved Judgment                                                              HC-2015-001324
 Mr Justice Hildyard


2618. Meanwhile, Mr Scott and Mr Crumbacher were tasked with reviewing
      Autonomy’s proposed purchase of VMS’s data feed. Mr Crumbacher asked Mr
      Scott on 29 June 2009: “What do we intend to do with this data? Not being
      flippant…more for ensuring scope of license”. Mr Scott responded: “Push it
      through our software to show end-users how the software works and/or to make
      available as a value added service. Need to confirm though as have not been
      given any detail”.
2619. By the end of the day on 29 June 2009, Autonomy and VMS had reached
      agreement on the terms of the deal. Mr Hussain emailed Mr Egan and Mr
      Wengryn, copying Mr Scott, saying:294



                         “Stouffer and peter
                         My understanding of where we have ended up:

                         -   $9m software purchase

                         -   $0 maintenance in year 1

                         -   5% maintenance in year 2 onwards
                         -   Existing maintenance (assumed at around $400k but tbc)
                             superceded [sic] by the new deal

                         -   $13m valuation on the VMS services – 3 year term
                         I’ll leave it to you to finalise the documentation.”


2620. Both agreements were executed on 30 June 2009, the last day of Q2 2009:
               (1) Autonomy’s purchase took the form of a data licensing agreement,
                   pursuant to which VMS granted Autonomy Inc a licence to use and
                   display the licensed data and agreed to provide Autonomy with access
                   to the data so that its endusers could access and view the data in
                   connection with their use of Autonomy’s software products (the “first
                   VMS purchase”). Autonomy was not entitled to sell or transfer the
                   licensed data in any manner to any other party. The term of the licence
                   was three years commencing on 30 June 2009, to renew automatically
                   unless terminated by either party. The licensed data included broadcast
                   content, i.e. television, radio and podcast content, internet content of
                   approximately 30,000 websites, web print content and advertising
                   content, i.e. all the video commercials and associated metadata captured
                   by VMS. The fee for the provision of the licensed data during the term
                   of the agreement was $4,333,333.33 per year, payable in one lump sum
                   of $13 million within 30 days of the effective date of the agreement.


 294
       Emphasis added.


                                                 Page 846
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 848 of 900
 Approved Judgment                                                             HC-2015-001324
 Mr Justice Hildyard


           (2) VMS’s purchase from Autonomy took the form of a fifth product
               schedule to a software licence agreement that Autonomy and VMS had
               entered into in December 2002 (the “first VMS sale”). Subject to the
               terms and conditions of that prior agreement, Autonomy Inc granted
               VMS a licence to use an extensive suite of Autonomy software for the
               purpose of indexing audio and video content from various news feeds
               and other audio/video sources. The licence fee of $9 million, which
               included a support and maintenance fee of $428,571 for the first year,
               was to be invoiced immediately and was payable within 30 days from
               the date of invoice.
2621. Mr Egan emailed Mr Hussain and Dr Lynch at the close of Q2 2009, telling them
      that the “Big ones are done”, including VMS. Autonomy recognised $8,571,429
      as revenue in Q2 2009 and recognised the support and maintenance fee of
      $428,571 as revenue over the following year.
Justification of the transactions

2622. Autonomy had not conducted any technical analysis of VMS’s data feed before
      agreeing to purchase rights to it for $13 million. When cross-examined about
      this, Dr Lynch said

        that he did not see why there was any need for a technical analysis of a data feed,
        and did not know “quite what that would be for a data feed”.
2623. Similarly, it was suggested to Mr Lucini that he would not have expected
      Autonomy to carry out a technical analysis because Autonomy was purchasing
      information rather than technology. Mr Lucini explained that he would have
      expected a different type of analysis in those circumstances, aimed at whether
      the content of the information met the requisite specification: “…what is this
      data? Is it what we want it to be or is it purported to be --- so there would be
      some checking”.

2624. The lack of any effort, before spending $13 million on a data feed, to assess its
      suitability, quality and content, and overall utility in terms of whether it could be
      integrated or used with Autonomy’s products, is certainly noteworthy. So is the
      lack of any sign that any consideration was given to whether Autonomy could
      produce its own data feed for itself, particularly in light of Autonomy’s general
      philosophy not to license third party products.
2625. No assessment of the commercial utility of the licence to Autonomy had been
      undertaken either. In his contrived email dated 28 June 2009 (already very late
      in the day) Mr Hussain had told Dr Lynch that a business plan setting out the
      rationale for purchasing the VMS data feed would be drafted for his approval;
      but none had been prior to the purchase.
2626. Dr Lynch sought in cross-examination to wave this away, telling me (I felt
      somewhat glibly) that the commercial analysis “would be down to, after
      everyone else has approved it, whether it makes sense to me and it did”, and
      adding simply that he was “very happy with the commercial terms because of
      what we were getting for that money”. When pressed whether any comparative
      evaluation had been undertaken to see what other suppliers could provide in


                                            Page 847
       Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 849 of 900
 Approved Judgment                                                                       HC-2015-001324
 Mr Justice Hildyard


         terms of a data feed and on what price, he told me that “…we did have good
         knowledge of that and…then we got competitive quotes from multiple players
         that all came in at the same level”; but these were obtained after the event and
         cannot have formed part of the decision-making process.
2627. It was only on 1 July 2009, after the transaction had been agreed, that a business
      plan and other supporting documentation, including a revenue recognition
      memorandum, was hastily commissioned by Mr Hussain. The Claimants
      characterised this suite of documents as a paper trail contrived to give the false
      impression of careful assessment of the VMS transaction after a survey of
      alternative solutions prior to the VMS transaction.
“Project Shockwave” business plan

2628. The business plan which emerged, which was produced initially by Mr Egan and
      Dr Menell, but then substantially amended by Mr Hussain, was entitled “Project
      Shockwave: Autonomy Integration of VMS Data Q1 – Q2 2009”. It was plainly
      intended to present this as a proposal which had been under consideration for
      some time and for which a business case appeared clear; and in its final form as
      handed to Deloitte the document was drafted as if the VMS transaction were a
      prospective opportunity, rather than already executed. In its conclusion it stated
      “We are asking for approval to engage in negotiations with VMS to buy a 3 year
      exclusive unlimited access to its data set for a price of up to $13m….”

2629. The Claimants pointed out, however, that the document (which was passed on to
      Deloitte), though clearly dated 21 March 2009 on its front page is shown by its
      metadata to have been created on 3 July 2009. I was told that the earliest version
      which the Claimants’ researches unearthed was created on 30 June 2009.295 By
      the time the document was first circulated by Mr Hussain, Autonomy had already
      entered into the first VMS purchase transaction with VMS. Dr Lynch suggested
      that there “may have been an earlier version” but accepted that “…if you’re
      telling me that this is edited in July, then no, this is after the purchase was done”.
2630. I accept the Claimants’ case that the business plan was misleading in other ways
      too:
              (1) It stated that Autonomy had approached both VMS and another
                  company in the same business called Newsedge (renamed Acquire
                  Media) for quotes and described the differences (including that the
                  Newsedge proposal though cheaper was for news and text only). It
                  referred in addition to other indications of interest (including from a
                  company called PRN Newswire). It stated that it had “considered all
                  indications of interest and…decide to recommend VMS…”. But
                  Autonomy had not obtained quotes from other potential suppliers; it had

 295
    The Defendants contended, however, that the dating of the document was automated, and “was
 clearly a hangover of some kind resulting from the inclusion of material from various sources in the
 document. The content of the document referred clearly to the cancellation of the feed in June…It was
 obvious to the reader that the document post-dated the cancellation of the Moreover feed and was not
 a March 2009 document”. I should record that the Claimants, having previously pleaded the document
 was backdated, then deleted that allegation, and I have proceeded on the basis that the document was
 wrongly dated, but not intentionally back-dated.


                                                Page 848
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 850 of 900
 Approved Judgment                                                             HC-2015-001324
 Mr Justice Hildyard


                  entered into the VMS transaction at Mr Hussain’s direction without any
                  such process and it was only on 3 July 2009 that the first approaches
                  were made by Mr Hussain and Mr Black. Any competitive quotes were
                  elicited only after the transaction had been agreed, and Mr Hussain was
                  still somewhat haphazardly updating the draft with indications of
                  interest later received on 3 July 2009.

              (2) The document represented that compared to continuing use of the
                  Moreover data feed, a cost saving of approximately $1 million over three
                  years could be expected if the VMS data feed were used instead. But
                  Moreover had previously provided the data feed for free; and they had
                  not yet had any discussions with Moreover about whether that would
                  continue and, if not, what charge it would make. As noted previously, in
                  his evidence Dr Lynch had suggested a likely cost of about £50,000 pa
                  and told me that this was his expectation because “a news feed costs that
                  sort of money”.

              (3) Dr Lynch had no explanation for the suggestion (in the business plan)
                  that Moreover would charge in the region of $300,000 pa saying only in
                  crossexamination that he assumed that Mr Black had given the estimate
                  and that there were “many emails that you’re not showing us around this
                  whole process.” None was identified in re-examination or at all.

2631. The version of the business plan that was sent to Deloitte was materially identical
      to the version sent by Mr Hussain to Dr Lynch on 3 July 2009 and contained all
      these misleading passages.
2632. However, as elaborated later, Deloitte was aware that one of the competitive
      quotes referred to (that from Newsedge) post-dated the transaction, but in its own
      memorandum accepted it anyway as “still persuasive evidence that the purchase
      price from VMS of

        $13 million is not unreasonable”. Further, the Defendants contended, the
        description of the transactions as prospective had not misled Deloitte: it was
        obvious to Deloitte that the transactions had already been entered into when the
        document was provided to them.
The revenue recognition memorandum

2633. As well as the business plan, Autonomy’s finance department also produced a
      revenue recognition memorandum dealing with various accounting issues,
      including collectability and fair value in relation to the purchase by Autonomy.
      Mr Chamberlain had noted in his notebook that the $9 million VMS sale by
      Autonomy was one of the key revenue items for Q2 2009 and a memo was
      needed “to support fair value” for the transactions. The same notes stressed the
      importance of a number of other considerations, including the need to show that
      (though he described them as “swap transactions” in his notes and as “circular”
      in discussions with Dr Lynch) there was (a) “clear water between the
      two…payment of $13 m & timing” and (b) “evidence of negotiation - $13m”.



                                            Page 849
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 851 of 900
 Approved Judgment                                                              HC-2015-001324
 Mr Justice Hildyard


2634. Mr Chamberlain prepared and sent to Mr Hussain what he described as a “very
      draft…skeleton for me to work with tomorrow” of the revenue recognition
      memorandum on 29 June 2009.
2635. On 3 July 2009, Mr Hussain sent a substantially revised draft of the
      memorandum to Mr Chamberlain and Dr Lynch. Dr Lynch understood that this
      document was going to be provided to Deloitte, and he accepted that it is likely
      that he read it.
2636. The Claimants’ criticism that the revenue recognition memo, like the ‘Project
      Shockwave’ business plan, was written as if the VMS transactions were in
      contemplation rather than already entered into seemed to me, of itself,
      overblown: but the Claimants’ more substantial point, which I accept, was that
      the impression that was conveyed was that Autonomy had satisfied itself as to
      ‘fair value’ and had proceeded with a purchase from VMS only after having (a)
      considered and obtained quotes from other news aggregators and (b) conducted
      “detailed market research”, neither of which was true. There had been no
      detailed market research, and Mr Hussain and Mr Black had sought quotes from
      a handful of other news aggregators after Autonomy entered into the first VMS
      purchase.
2637. In relation to the first VMS purchase, Mr Hussain’s amended revenue
      recognition memo carefully portrayed the acquisition of the data feed by
      Autonomy as complementary to the purchase of Interwoven in March 2009. This
      was on the basis that since Interwoven products “manage the data repositories
      for publishing to websites and allow companies to automatically tune their
      marketing campaigns” the addition of the data feed would give a further
      competitive advantage.
2638. The purchase price payable by Autonomy of $13 million was said to be justified
      not only by “detailed market research”, but also by reference to an offer which
      (Mr Hussain’s memo recorded) VMS had received from a company called
      Neilson in 2006, for the purchase of lesser rights for $7.5 million for three years,
      with an option to extend for three further years for $12 million. The memo stated
      also that:
                  “Value in use calculations based on a combination of the revenue
                  opportunities and the costs savings that will result from the acquisition
                  of the licence show a value of $23m. This represents a margin of 43%
                  which is consistent with the margins within the Autonomy business.”



2639. The memo did not bring out the exceptionality of the sale from VMS’s point of
      view. A schedule of VMS representative sales prepared by VMS’s CFO, Ms
      Sayad, showed that VMS had not entered into any sales in excess of $1 million.
2640. As regards the first VMS sale the memo acknowledged that HP had acquired
      from Autonomy a similar internal use licence in 2006 for the considerably
      smaller sum of $3.7 million, but stated that the VMS licence “includes much
      more technology due to the inclusion of the Interwoven product suite.” Further,



                                             Page 850
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 852 of 900
 Approved Judgment                                                              HC-2015-001324
 Mr Justice Hildyard


        it was said that VMS anticipated it would save some $2.7 million annually by
        substituting the technology in place of manual functions, and at the same time
        get better and more accurate content “as well as getting new customers attracted
        to the superior offering.” The memo acknowledged also that VMS’s “Annual
        capex spend in 2006 was some $4.5m so this purchase is higher than normal but
        represents a significant business opportunity for VMS…”. Like the sale side, the
        deal was exceptional from VMS’s point of view.
2641. As to affordability and collectability, it was stated in the memo that collectability
      was not an issue:
                  “Collectabilitv
                  We need to consider the collectability of the $9m licence fee due to
                  Autonomy independently of the purchase of Autonomy software.
                  Autonomy considered acquiring VMS in early 2007. The information
                  gathered at that time showed that VMS was generating revenues of
                  $75m and producing EBITDA margins of 20% and above. Whilst we
                  have not been able to obtain more recent information from management
                  they have confirmed that the company has shown over 5% growth per
                  annum since then.
                  The company has annual revenues in excess of $75m and over 900
                  employees. Annual capex spend in 2006 was some $4.5m so this
                  purchase of $9.0m is higher than normal but represents a significant
                  business opportunity for VMS and they have represented that they could
                  finance this transaction without the need for external finance even if
                  Autonomy paid nil for the VMS licence.”
                  [My emphasis]

2642. However, the actual hard detail about VMS’s financial position was sparse. VMS
      was a private company and produced only short-form accounts, and its CFO, Ms
      Sayad, explained in an email of 2 July 2009 that:
                  “VMS is a private company therefore we do not disclose any such
                  information. I can share with you that our revenue falls within the $50M
                  to $75M range.”

2643. The Claimants submitted that having regard to the available financial
      information:
                  “it is hard to see how VMS could have purchased Autonomy software
                  for $9 million, still less why it would have wanted to do so. Taking the
                  figures at their highest, a transaction of this size was more than 10% of
                  VMS’s entire annual revenues and it was not something that VMS could
                  finance from its available cash reserves. The only explanation for why
                  VMS was able and willing to pay $9 million was because Autonomy had
                  agreed to pay more for the VMS data feed.”




                                             Page 851
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 853 of 900
 Approved Judgment                                                          HC-2015-001324
 Mr Justice Hildyard


2644. Albeit some time later, VMS’s CEO Mr Wengryn later acknowledged (in an
      article in the Wall Street Journal in 2012) that VMS could not have contemplated
      a purchase of that magnitude but for the sale.
2645. Further, this was clear at the time to all concerned at Autonomy. In an email
      exchange on 6 July 2009 between Mr Hussain, Dr Lynch, Dr Menell and Mr
      Scott it was decided (at Mr Hussain’s suggestion, but with the immediate
      approval of Dr Lynch) to pay VMS’s sales invoice early “to ensure their
      goodwill”.
2646. It is difficult to see how goodwill would have been ensured from payment a day
      early, as in effect was proposed. Autonomy already had the right to use the VMS
      data feed; and, as Dr Lynch accepted, if the transactions between VMS and
      Autonomy were looked at together Autonomy was making a net payment of a
      ‘delta’ of some $4 million. As Dr Lynch also accepted, VMS had already had
      quite a lot of “goodwill”. Dr Lynch eventually said he did not know what Mr
      Hussain had meant.
2647. It was suggested, however, that it would have been obvious to him what the
      reason for the rush to early payment was: it was to assist VMS by providing the
      funds it needed to meet the first instalment (which was due imminently) of the
      purchase price for the software licence it had purchased from Autonomy.
2648. Dr Lynch resisted this suggestion when put to him in cross-examination on the
      basis that Mr Hussain could simply have netted the debts and paid the difference.
      But it is of some note that this was not the approach that Autonomy took. As Dr
      Lynch himself explained, “for cash transparency reasons to make our
      accounting more straightforward”, Autonomy preferred not to net the payments.
      To avoid doing so in this case, Autonomy needed to put VMS in funds, which is
      what it did. Autonomy paid VMS $13 million on 29 July 2009, a day before the
      payment was due. The next day, VMS paid the $9 million due to Autonomy
      under the first VMS sale.
2649. That Dr Lynch was well aware of the nature of the transaction, seems to me to
      be supported by the fact that he asked for no details; and I infer that is because
      he already knew of the transactions. I agree with the Claimants that that is the
      most obvious explanation for why Dr Lynch would approve making an early
      payment on the basis of an email that he professed not to understand.
2650. Dr Lynch contented himself with:
                  “ok and lets put moreover on the to be destroyed list”

Deloitte’s consideration of the first VMS transaction

2651. Autonomy provided Deloitte with the business plan and the revenue recognition
      memorandum as part of its review of the first VMS sale and purchase at the
      beginning of July 2009.
2652. Additionally:




                                            Page 852
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 854 of 900
 Approved Judgment                                                              HC-2015-001324
 Mr Justice Hildyard


              (a)      Ms Sayad of VMS signed an auditor debtor confirmation letter
                       confirming that the first VMS sale was a “separate transaction
                       completed on an armslength basis”; and
              (b)      Mr Hussain and Mr Egan spoke with Deloitte about “the
                       commercials”.


2653. On 6 July 2009, Mr Hussain briefed Mr Egan in advance of a planned evening
      call with Mr Knights (of Deloitte) as follows:
                    “Last piece of the jigsaw, they want to talk what were the commercials

                    YOU Should only talk about the sale of autonomy software as I ran the
                    purchase side

                    VMS have sent us a written confrmation about the independence of the
                    2 transactions so that’s fine”.


2654. Dr Lynch disagreed when it was put to him that the reason why Mr Hussain was
      telling Mr Egan only to talk about the sale is because he wanted it to appear to
      Deloitte that the sale and purchase were negotiated separately. He suggested that
      the reason was that Mr Hussain “would understand the strategic rationale for
      the purchase. Mr Egan is just a sales guy.”
2655. However, the Claimants submitted that Mr Hussain plainly ran both the sale and
      the purchase. They put to Dr Lynch that Mr Hussain had told Mr Egan to reach
      out to VMS for a deal to generate extra revenue which he needed for the purpose
      of achieving forecast; he had told Mr Egan what size the sale needed to be to
      satisfy Autonomy’s revenue targets; he had told Mr Egan how to structure the
      deal; and he had told Mr Egan what software to sell to VMS. Dr Lynch sought
      to deny each element, and queried what each proposition put meant; but beyond
      repeating his point that Mr Egan would have little knowledge of the purchase
      side and was simply involved in sales, and emphasising that “if you were trying
      to create a distance, you wouldn’t be putting a document to them that mentions
      that we’ve done both together at the same time”, he eventually resorted to saying
      that he “wasn’t involved in this deal, so I don’t know the ins and outs of who did
      what, when and detail”.
2656. The working paper that Mr Welham produced, dated 6 July 2009, provides an
      indication of what Deloitte had been given to understand about these transactions
      by Autonomy. I accept the Claimants’ submission that the paper reveals a
      number of misunderstandings on Deloitte’s part:
              (1) Deloitte’s understanding was that the purchase by Autonomy was
                  prompted in March 2009 as part of Autonomy management’s




                                              Page 853
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 855 of 900
 Approved Judgment                                                                       HC-2015-001324
 Mr Justice Hildyard


                    programme of developing the Interwoven content management products
                    following its acquisition of Interwoven.296 The paper recorded that:

                          “it became clear that the revised IWOV web content management
                          products could be used to provide other services to the customer
                          through the use of software supplied by VMS, who have been a
                          customer of Autonomy since 2002.”

                     In fact, though Deloitte were unaware of this, the first mention of any
                     deal with VMS in Q2 2009 was Mr Hussain’s email to Mr Egan on 10
                     June 2009 (see also paragraph 2596 above) in which Mr Hussain
                     asked “how about VMS for extra revenue? They are private”.


               (2) Secondly, and relatedly, Deloitte understood from Mr Hussain that there
                   “has been ongoing negotiations since the development of the Project
                   Shockwave plan in March 2009”. This was untrue for reasons set out
                   above. It was suggested to Mr Welham in cross-examination that the
                   date was an obvious error and that Mr Welham understood that at the
                   time. But it is clear from Mr Welham’s working paper that this was not
                   the case. Further, Mr Welham confirmed in reexamination that, per this
                   document, his understanding was that the Project Shockwave plan had
                   been developed in March 2009.

               (3) Thirdly, and again relatedly, Deloitte was led to believe from
                   discussions with Mr Egan that the negotiations on the price of the first
                   VMS sale had been ongoing for “several months”. Dr Lynch tried to
                   defend this statement in crossexamination by vague references to
                   Autonomy having had dealings with VMS since 2002 and there being
                   ongoing interactions between the parties. That is not what the working
                   paper recorded Mr Egan as having told Deloitte. Dr Lynch was
                   eventually forced to accept that “the deal only became a firm option in
                   June”.

               (4) Deloitte were not aware that (a) Moreover was prepared to continue its
                   data feed for a relatively modest annual fee (£50,000 per annum) nor
                   that (b) Autonomy’s Dr Blanchflower had started work on
                   improvements to its own data feed immediately after the interruption to
                   the Moreover feed in June 2009 and was expecting to ‘go live’ by the
                   end of July 2009 (see paragraph 2665(6) below); so that (c) Autonomy’s
                   need for the VMS data feed was very uncertain.




296
      Dr Lynch told me the same when he was cross-examined:“The reason that it was investing in this
           way was that it had just spent three-quarters of a billion dollars on Interwoven which is a
           company where half of its business is aimed at marketers and what it wanted to do was give
           them products that would be able to combine the power of real time news analysis.”


                                                  Page 854
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 856 of 900
 Approved Judgment                                                               HC-2015-001324
 Mr Justice Hildyard


              (5) Deloitte were not aware either that Autonomy had not conducted any
                  technical analysis or assessment of VMS’s data feed before agreeing to
                  purchase rights to it.


2657. Autonomy provided Deloitte with further documentation intended to support its
      accounting treatment of the transactions with VMS, including: (i) a management
      representation letter, dated 15 July 2009 and signed by Mr Hussain, stating that
      the first VMS purchase was an arm’s length commercial transaction and that the
      cost should be amortised over the useful economic life of the data feed, which
      was estimated to be three years, and (ii) the financial information on VMS that
      Mr Chamberlain had collated. Mr Hussain instructed Mr Chamberlain to send
      this financial information to Deloitte together with some further points Mr
      Hussain had drafted in an attempt to support recoverability of revenue from
      VMS. Mr Chamberlain did so, emailing Mr Murray of Deloitte on 7 July 2009
      as follows:
                  “Tom – this is the latest financial information I have and was generated
                  when we were looking at acquiring VMS.
                  Couple of additional points:
                  -    Old company, been around for 25 years, run like a partnership with
                       cash taken out by the shareholders. They run a revolver with the
                       bank which we assume they will use. They are a conservatively run
                       company who have always paid us on time - $1m licence plus $250k
                       maintenance
                  -    $85m retained earnings so a good strong company, but like a
                       partnership like deloitte they take money out of the business and run
                       an overdraft. They also have an $11m revolver. So I am comfortable
                       that for such a strategic deal as the purchase of Autn software they
                       will use the revolver to allocate the cash.”


2658. The Claimants dismissed the suggestion that VMS was going to use more than
      80% of its revolver to pay for the Autonomy software as just a ruse to satisfy
      Deloitte that collectability was probable. In particular, they provided evidence
      that Mr Hussain had already suggested paying VMS the $13 million in respect
      of the first VMS purchase before it was contractually due. The funds to pay for
      the Autonomy software were therefore going to come from Autonomy, and not
      from any revolver.
2659. As it was, and despite the fact that as Mr Murray of Deloitte noted in an email to
      Mr Welham the “financial info for the year ended March 2007 is mildly useful
      but nowhere near enough to support our audit work…”, Deloitte ultimately
      appears to have received sufficient comfort on collectability to concur with
      Autonomy’s accounting treatment.
2660. Deloitte’s Q2 2009 Report to the Audit Committee simply stated that:



                                              Page 855
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 857 of 900
 Approved Judgment                                                             HC-2015-001324
 Mr Justice Hildyard


                  “This is a $9 million deal to supply VMS with a perpetual licence for a
                  suite of Autonomy software products including TeamSite, LiveSite,
                  Qfiniti and IDOL. Also in the quarter, Autonomy has separately
                  purchased $13 million of software and associated services from VMS.
                  Given that there is clear commercial rationale for the separate
                  transactions, separate contractual arrangements and evidence that both
                  transactions have been made at fair value, management has confirmed
                  and concluded that there are no links between the contracts that would
                  impact the accounting. Licence revenue of $8.5 million has been
                  recognised with $0.5 million being deferred as fair value on support and
                  maintenance. The cost of the software purchased by Autonomy has been
                  capitalised on the balance sheet as an intangible asset and is to be
                  amortised to the income statement over its useful economic life of 3
                  years.”

2661. What Deloitte did not know, and what the Audit Committee were thus not told,
      was that the transactions had been conceived by Mr Hussain as a means of
      generating extra revenue in Q2 2009, had been negotiated together, and would
      not have happened independently of the other.
Autonomy’s use of the VMS data feed Q3 2009 to Q3 2010
2662. The Claimants relied finally in this context on evidence that (a) Autonomy did
      not use the VMS data feed for some 8 months after its acquisition and (b)
      Autonomy developed its own enhanced data feed which left little room for or
      appetite to adopt the VMS version. The Claimants prayed this in aid first, on the
      ground that lack of subsequent use was relevant in assessing what was the real
      rationale in purchasing the product in the first place, and secondly, in assessing
      the substance of a subsequent purchase by Autonomy of further rights in respect
      of the VMS data feed. (I elaborate on the second of these points in the context of
      the second VMS transaction, see paragraphs 2680 to 2714 below).
2663. The Defendants responded to this that (i) contrary to the Claimants’ case,
      Autonomy did use the VMS feed for demonstration purposes and furthermore
      (ii) in any event, the Claimants had misunderstood and overlooked Autonomy’s
      use and sale of the VMS feed as an integrated element in its product portfolio
      (and especially Autonomy’s “Explore” offering) which they submitted was the
      central purpose for which it was purchased. The Defendants also submitted that
      the crucial question which the line of argument tended to obscure was not
      whether the data feed was in fact used but was whether there was a commercial
      rationale at the time of the sale.
2664. The dispute engendered a detailed exegesis in the parties’ respective written
      closing submissions. I consider that the most salient points can be summarised
      under three headings as follows:
              (a) Autonomy’s immediate response to the cessation of the Moreover feed;

              (b) Autonomy’s efforts to find a use for the VMS data feed after it was
                  provided with sample data from it 6 months later;


                                            Page 856
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 858 of 900
 Approved Judgment                                                             HC-2015-001324
 Mr Justice Hildyard




              (c) Autonomy’s attempt to integrate the VMS data feed and sell it as part of
                  Autonomy’s software product.



2665. As to (a) in the preceding paragraph:
              (1) In the Business Plan produced by Mr Hussain it was stated that as
                  Moreover had cancelled its feed and restored it only temporarily, “a
                  replacement news feed is required urgently”.

              (2) Nevertheless, although the Defendants sought to present the purchase of
                  the VMS feed as the solution adopted in light of this urgent need,
                  contemporaneous documents make clear, and it did not seem to be
                  disputed, that after the purchase of the relevant rights to that feed its
                  evaluation was not a priority for Autonomy, and still less was its
                  deployment. The contemporaneous documentation barely referred to it,
                  the focus being almost exclusively on assisting VMS in relation to its
                  purchase and adoption of Autonomy software.

              (3) Instead, when on 20 July 2009 Mr Hussain asked Dr Menell “what to
                  do” when Mr Black advised that Moreover would be switching off its
                  feed on 31 July 2009 Dr Menell suggested that Autonomy should create
                  its own feed:

                         “Moreover is a good clean and reliable feed. However, like the
                         rest of the world (remember Bloomberg) technology wise its
                         built on our stuff and other simple 3rd party bit and pieces that
                         we have our own and frankly superior version off…So renewing
                         Moreover would be something we would do if a) we were lazy
                         and have been lazy and b) we ever listened to humans calling
                         themselves “product managers”. Thus time to bite that bullet
                         and package our own that given our technology will utterly
                         obliterate the likes of Moreover…”

              (4) Then, on 20 July 2009, Dr Menell instructed Dr Blanchflower, Mr
                  Goodfellow and Mr Lucini to create an alternative news feed by 31 July
                  2009, when the Moreover feed was due to be switched off:

                         “You know what to do – it is time to eat our own dog food. We
                         have until 31st and I want something we can use AND sell to our
                         customer as a clean pre classified plug and play tagged feed
                         package. Fern [Lucini] lead the charge.”

              (5) There was no mention in any of these emails of the VMS data feed that
                  Autonomy had licensed a few weeks earlier for $13 million.

              (6) As it happened, Dr Blanchflower had been working on an alternative
                  feed since the interruption to the Moreover feed in June 2009. Dr



                                            Page 857
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 859 of 900
Approved Judgment                                                              HC-2015-001324
Mr Justice Hildyard


                 Blanchflower told Dr Menell, Mr Lucini and Mr Goodfellow that there
                 was an “rss fetch on 200 news sites” and that it would be ready to go live
                 before 31 July 2009. Dr Blanchflower’s unchallenged evidence was that
                 it was a relatively straightforward task: it took him a morning to find as
                 many news sites as possible, an afternoon to connect them using a rich
                 site summary (RSS) connector, and a further two weeks for the feed to
                 fill up with news items. Similarly unchallenged was Dr Blanchflower’s
                 evidence that the news feed was able to pick up breaking news stories
                 quickly and effectively, and worked well in Autonomy’s demonstration
                 environment.

             (7) The only challenge to Dr Blanchflower’s evidence on this issue was the
                 suggestion that he could not have gone out and replicated the content of
                 the VMS data feed, at least not without negotiating and paying for rights
                 to access and sublicense content. As Dr Blanchflower explained, he had,
                 to some extent, replicated the VMS data feed, because “we had a
                 demonstration on the sales environment and products that we shipped
                 to customers that were able to obtain the transcriptions of broadcast
                 news feed and social media posts and obviously web content as well”.
                 To the extent that further rights were required, he considered that they
                 could be obtained without great expense, either by the customer or by
                 Autonomy.

             (8) Dr Lynch sought to discredit the data feed that Dr Blanchflower created
                 on two fronts: technical and legal.

                      (a)   Dr Lynch suggested that the feed was a “temporary
                            workaround”, which was expensive, slow, required a large
                            amount of bandwidth and was often blocked by websites. But
                            the Autonomy news feed used a RSS connector to extract
                            news from as many websites as possible. RSS is a format
                            specifically used for delivering regularly changing web
                            content, such as news headlines. The RSS connector only
                            extracted the text from news articles, which required very
                            little bandwidth, and it did so quickly and inexpensively. Dr
                            Blanchflower, who created the news feed, did not recall any
                            issue with the speed at which it operated. Nor, since RSS is
                            how news sites expect their

                            articles to be consumed, did he recall any websites blocking
                            Autonomy’s news feed. This evidence was not challenged.

                      (b)   Dr Lynch also suggested at various points in his oral evidence
                            that Autonomy would not be able to create its own data feed
                            without infringing copyright. However he accepted that
                            though a “grey area” this should not affect use for
                            demonstration.

             (9) The news feed that Dr Blanchflower created is still used to this day by
                 MicroFocus in the same form as it was in 2009, which appears be


                                            Page 858
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 860 of 900
 Approved Judgment                                                              HC-2015-001324
 Mr Justice Hildyard


                  contrary to any suggestion that it contravened copyright laws or had any
                  deficiencies of note.

              The ‘Blanchflower’ data feed must also have been used within Autonomy
              because, as explained below, Autonomy was not even using the VMS data
              feed some six months after purchasing it.

2666. As to (b) in paragraph 2664 above:
              (1) It seems clear, though Dr Lynch did not accept this, that it was not until
                  the beginning of December 2009, some 6 months after the first VMS
                  purchase, that VMS provided Autonomy with some sample data from
                  the VMS data feed. Mr Avila had no knowledge of any sample data
                  having been provided prior to this point. There is no other evidence of
                  VMS delivering the data feed to Autonomy, save to enable VMS to
                  recognise revenue from the first VMS purchase.

              (2) Perhaps both because it had not been scoped before purchase, nor its
                  details and sample data provided until so long after it, Autonomy still
                  seems to have been unclear what use they could make of the data feed.
                  On 3 December 2009, Mr Avila sent a link to the sample of the VMS
                  data to Mr Lucini, Mr Gallagher and Dr Blanchflower, noting that
                  Autonomy needed to “provide some specification/requirements
                  document for the data feed. Beyond putting this into our demos, if we
                  intend to pair it with our WCM [Web Content Management]/Optimost
                  stack we need some doc that outlines what we want”.

              (3) That “doc that outlines what we want” was necessary in order to provide
                  VMS with some information to enable it to determine what application
                  programming interfaces (“APIs”) Autonomy needed to enable the VMS
                  data feed to communicate and interact with Autonomy’s software, as Mr
                  Avila accepted.

              (4) VMS had been asking for this specification since July 2009, but, as at
                  December 2009, none had been provided by Autonomy’s technical team.
                  Mr Avila could not remember when work on the technical specification
                  had started, nor even whether it had done so prior to his email of 3
                  December 2009. There is no evidence, and it is not likely in those
                  circumstances, that any use could have been made of the data feed in the
                  meantime. This is difficult to reconcile with the claims made in the
                  Project Shockwave business plan.

              (5) When the sample of data was provided, Mr Avila asked his colleagues
                  to look at it or let him know who to work with. The email exchanges that
                  ensued show that there was still no clear idea as to whether and, if so,
                  how, the VMS data feed was going to be used by Autonomy. The email
                  exchanges suggested also that some of the content was unsuitable for use
                  in Autonomy’s demonstration environment, and that there was a
                  considerable degree of overlap between the VMS data feed and the



                                             Page 859
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 861 of 900
Approved Judgment                                                                 HC-2015-001324
Mr Justice Hildyard


                 Moreover data feed that Autonomy could have licensed for
                 demonstration purposes for £50,000 per annum.

             (6) The response of Mr Gallagher, Head of Development at Autonomy,
                 appears to confirm that the provision of the data sample was Autonomy’s
                 first practical engagement with the application of the VMS feed. In an
                 email dated 7 December 2009 he asked: “What is this feed? What sort of
                 content does it contain? Why did we licence it?”. As far as Mr Avila was
                 aware, and as is plain from the terms of Mr Gallagher’s email, Mr
                 Gallagher was not familiar with the VMS data feed before Mr Avila’s
                 email. In response:

                      (a) Mr Avila replied with a summary of the VMS data feed and
                          explained that “It was part of the last deal we did with them as far
                          as I know, we can integrate this “feed” within our demos or
                          products and upsell customers into full VMS features…”.

                      (b) Mr Gallagher appears to have reviewed the data feed and then
                          asked Mr Avila: “Have you looked at the demo data?...From what
                          I’ve seen the quality and content is pretty poor…not at all sure
                          how it could be used in our demo network”. Mr Gallagher copied
                          and pasted an example from the data feed in his email to Mr Avila.

                      (c) Mr Avila responded that he had “not looked at it closely” but “for
                          most of them the quality seemed ok”.

                      (d) But, for Dr Blanchflower at least,

                            “the “okay” was never what we were aiming for. The demo
                           system was our showcase and designed to be as high quality as
                           we could obtain. If there was anything that wasn’t okay, we
                           would remove it and try to do better. This was to replace our
                           own iteration of the Moreover feed and unless it was tangibly
                           better, there would be no reason to”.

             (7) In further exchanges, Mr Avila went on to say: “We don’t have to use
                 all of it, or any of it. If we do want to use it somehow we need to give
                 them a spec [specification] of what we want though”. Mr Avila
                 confirmed in his oral evidence that (a) if a specification was to be
                 provided he needed someone to work with him to determine how to filter
                 the data, which he accepted Autonomy needed to produce and provide
                 to VMS if it wanted to use the data; but (b) he could not remember what
                 he knew about it at the time, but he accepted that Autonomy probably
                 did not need the data feed, because the data feed Dr Blanchflower had
                 devised was satisfactory.

             (8) Sometime later, Mr Lucini participated in the discussion, expressing
                 uncertainty as to whether Autonomy got much value from “a raw feed
                 of unprocessed info”. Mr Lucini thought “it would be funny if we end up
                 getting moreover again but coming from vms! but this is a numbers


                                              Page 860
       Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 862 of 900
 Approved Judgment                                                                       HC-2015-001324
 Mr Justice Hildyard


                    game. Eloy, how much data do they process? How much would come
                    our way? If it’s meaningful we can put it through maindemo beta [sic]
                    and see if it plays well…”. Mr Lucini was essentially saying that, if
                    Autonomy took the print and internet content, then it would be getting
                    the Moreover data feed, but via VMS.297 His suggestion that the VMS
                    data feed be run in the main demo environment to see how it played out,
                    indicates that the feed had not been tested in this environment, still less
                    used. Mr Avila told Mr Lucini that he would get the numbers. Noting
                    that Autonomy had “seemingly paid for this”, he expressed hope that
                    Autonomy could “use it somehow, even if just moreover”. But $13
                    million was a lot to pay to continue to receive Moreover’s data feed via
                    VMS and other unprocessed, low quality news feeds that Autonomy did
                    not want to use for its product demonstrations.

              (9) Mr Gallagher’s further investigations were not positive. As regards the
                  only additional content that VMS offered over and above Moreover,
                  namely, the broadcast content, Mr Gallagher advised Mr Avila that he
                  should “take a look”, because Mr Gallagher’s random sampling of the
                  files that VMS had transferred showed them “all to be crappy local news
                  broadcasts…we don’t want these in the demo”. The Defendants took
                  issue with this, on the basis that Mr Lucini, for one, appeared to consider
                  the local data feeds “a good thing”. Mr Avila considered that “for most
                  of them the quality seemed ok” and thought that Mr Gallagher, in
                  comparing the feed to Moreover and viewing it solely in terms of its use
                  in demonstrations had rather missed the point that the use of the VMS
                  feed was not so confined. Indeed, the Defendants pointed out that Mr
                  Avila had stressed that the ability to use VMS data for demonstrations
                  was simply an ancillary benefit; its main purpose was to permit
                  Autonomy to embed the feed into its WCM (Web Content Management)
                  product line and Mr Avila had asked for thoughts about use in any other
                  products also.

              (10)       That point had its dangers for the Defendants: Mr Avila’s requests
                  in finding and defining for VMS a use specification other than
                  demonstration strengthened the impression that some use had had to be
                  identified because none had been the reason for the purchase. As the
                  Claimants noted, had the reason for the purchase been to integrate with
                  Autonomy’s product sets (as Autonomy represented to Deloitte in the
                  Project Shockwave business plan) that exercise would have been
                  unnecessary: Autonomy’s engineers would have been told to start work
                  on integrating it.

2667. As to (c) in paragraph 2664 above:
              (1)      Even by January 2010, Autonomy had still not provided VMS with
                       the specification for the data feed without which VMS could not

 297
    This was also the view of Mr Andrew Joiner, CEO of Autonomy eTalk, who told his colleagues in
 May 2010: “VMS doesn’t care about the feed. It’s basically forked to us without being cleansed. They
 get it through a subscription to Moreover etc. What they want is for us to sell their data”.


                                                Page 861
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 863 of 900
Approved Judgment                                                               HC-2015-001324
Mr Justice Hildyard


                      tailor it to Autonomy’s requirements. It was not provided until 11
                      February 2010.

             (2)Towards the end of March 2010, some nine months after Autonomy
                had acquired the VMS data feed, Autonomy incorporated it into its
                media aggregation service (“MAS”) which in turn fed into a product
                known as Autonomy Explore. As Dr Blanchflower explained, and
                Mr Avila agreed,
         Autonomy Explore was an interface that formed part of Autonomy’s Promote


                   business unit, which included the Web Content Management suite of
                   products. At a high level, Autonomy Explore indexed documents of use
                   to people interested in media and marketing and performed analytics on
                   that data.

             (3)      On 23 March 2010, Mr Joiner notified Dr Lynch and Dr Menell of
                      the integration, saying:

                           “Good news is that we are receiving and ingesting the daily
                          feeds from VMS into explore.

                           Eloy [Avila] and Nathan [Anderson] have spearheaded the
                          effort and produced a sizing. The issue is that we fill up the
                          current demo idol server in a few days

                           Would you be okay with adding a few servers per their
                          recommendation? It is key element of deals and demos.”

             (4)      Dr Lynch recalled seeing this integration at the time, and
                      acknowledged that it took place nine months after the first VMS
                      purchase. Attempts were made during the cross-examination of the
                      Claimants’ witnesses to establish that the VMS data feed was
                      incorporated into Autonomy Explore and sold to customers. Mr
                      Goodfellow was unable to comment on whether Autonomy Explore
                      incorporating VMS was sold to customers. Mr Lucini recalled that
                      Autonomy tried to use the VMS data feed in Autonomy Explore, but
                      that it did not work and was stopped. He also recalled a number of
                      proofs of concept and demonstrations, but he did not recall any sales.
                      Nor was he taken to any signed sales contracts in his cross-
                      examination.

             (5)      Mr Avila referred in his witness statement to a number of documents
                      shown to him by Dr Lynch’s legal team and suggested that the VMS
                      feed was “incorporated into many of our Promote products, such as
                      Optimost and Autonomy Explore, and sold to various key
                      customers”. Mr Avila amended this paragraph before giving
                      evidence so that it read “VMS’s feed was incorporated into and made
                      compatible with many of our Promote products, such as Optimost
                      and Autonomy Explore, which were sold or proposed to various key


                                             Page 862
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 864 of 900
Approved Judgment                                                                       HC-2015-001324
Mr Justice Hildyard


                      customers” (emphasis added). The examples given were explored in
                      detail in crossexamination. It emerged that Mr Avila had no personal
                      involvement in four of the five examples he referred to in his witness
                      statement. None of the documents he referred to were a signed sales
                      contract showing the sale of the VMS data feed to a customer. Nor
                      did any of the documents involve a sale or a proposed sale of
                      Optimost incorporating the VMS feed. The most that Mr Avila was
                      able to point to was an email chain relating to a customer called
                      Herbalife, which started with Mr Anderson noting that Autonomy
                      had sold a media aggregation service to Herbalife which it had not
                      yet built. Mr Avila was not taken to any others in re-examination,
                      nor was Dr Lynch.298


             (6)      In November 2010, Mr Avila asked Mr Joiner: “how we are
                      packaging the VMS data feed into Explore nowadays and if we are
                      selling it?”. Mr Avila also asked whether it would make sense for
                      VMS to host the data and provide access to Autonomy. Mr Joiner
                      responded that this was not really practical and that:

                          “…For a variety of reasons, it doesn’t make much sense for
                         VMS to host the data. Firstly, we have already paid for the data
                         and we are better with IDOL. Secondly, they don’t add much
                         value. They aren’t collecting data themselves just forwarding the
                         feeds. If they were to index the data, they don’t have an
                         automated way to extract and export data like we do with
                         Automation Server. I could go on and on obviously (we would be
                         totally dependent on them for support, they would know our
                         customers etc etc). Happy to discuss further.”

             (7)      Mr Avila confirmed in cross-examination that this reflected his
                      understanding at the time and explained that he handed over
                      evolution of the data specification to Mr Anderson, who worked
                      closely with Mr Andrew Joiner and Mr David Joiner, heads of the
                      business unit for Autonomy Explore and Optimost.

             (8)      Mr Avila then asked Mr Joiner, who was involved with the VMS
                      data feed and its potential use within Autonomy’s Explore and
                      Optimost products, about the possibility of upselling or reselling the
                      VMS data feed, suggesting that part of a new offering to VMS “may
                      be a more collaborative reseller agreement of their feed/service”.
                      Mr Joiner’s response was again negative, ending:



298
   After the close of evidence, the Defendants uploaded a number of additional documents to the trial
bundle on this issue. Many of the documents post-date the second VMS reciprocal transaction and most
of them are to the same effect as the documents exhibited to Mr Avila’s witness statement, i.e. proofs
of concept, statements of work, draft agreements, emails and the like, as opposed to evidence of
material sales of Autonomy Explore / MAS incorporating the VMS data feed.


                                               Page 863
       Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 865 of 900
 Approved Judgment                                                                     HC-2015-001324
 Mr Justice Hildyard


                          “…there just isn’t a ton of value in their feed, especially if there
                         are royalties. It’s a commodity market — though putting it into
                         IDOL isn’t…”.

2668. As at Q4 2010, therefore, Autonomy had not done what it represented to Deloitte
      it would do with the feed in its Project Shockwave business plan. There is no
      evidence that the feed had been integrated with Autonomy’s Interwoven or
      Optimost product sets, still less sold to customers as part of these products.299 As
      elaborated in the context of the second VMS transaction, it appears that
      Autonomy had not even acquired the rights to use the VMS data feed as part of
      its Optimost products, despite representing to Deloitte that this was part of the
      rationale for acquiring the data feed in Q2 2009.
2669. Mr Hill sought in his oral closing to maintain the line that the VMS data feed
      “was used and was used for the purposes for which it was bought.” He submitted
      that it was successfully incorporated into the ‘Explore’ product, which was part
      of the WCM product line, which in turn was part of the ‘Promote’ part of
      Autonomy’s business. He added that even if this was not the Optimost product
      mentioned in the Project Shockwave Business plan, it was another Interwoven
      product and thus “very much in line with the commercial rationale that was
      explained to Deloitte” so that “the product was used and was used for the
      purpose for which it was bought”.


2670. However, Mr Rabinowitz countered in his oral reply that this overlooked how
      long it had taken even for Autonomy to start work on the specification for the
      data feed, having as a matter of some urgency paid $13 million for it; it
      overlooked the fact that what Deloitte had been told to justify the purchase was
      that it would be integrated for demonstration use immediately, and into
      TeamSite, LiveSite and Optimost in Q3 2009, none of which was done; and that
      even overlooking the fact that it was the Optimost product, and not the Explore
      product, which Autonomy had identified, there was (as stated above) no evidence
      of actual integration with Interwoven or Optimost products, and the evidence of
      any sales was “very thin indeed”. There were in evidence no signed sales
      documents nor any documents of the kind that would be expected if there had
      been material sales. Mr Rabinowitz also reminded me that attempts were made
      during the cross-examination of the Claimants’ witnesses to establish that the
      VMS data feed was both incorporated and sold to customers: but all these
      attempts failed. I accept the Claimants’ case and find that any sales were
      negligible. Conclusions on the first VMS transaction

2671. In summary, in my judgment:



 299
    After the close of evidence, the Defendants uploaded two documents on this issue. These do not
 advance their case. The first in time shows that the Managing Director of Optimost, Mark Wachen,
 asked in August 2009 whether the terms of the first VMS purchase entitled Autonomy to use the data
 feed in new Optimost products. As will be seen, it did not. The second in time shows that, by Q1
 2011, there had not been any VMS-Optimost integration.


                                               Page 864
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 866 of 900
Approved Judgment                                                                 HC-2015-001324
Mr Justice Hildyard


             (1)      Mr Hussain proposed a sale of software by Autonomy to VMS as
                      the means of generating extra revenue in a quarter when the “US
                      commercial call was poor” and Autonomy needed some $9 million
                      in extra revenue in order to hit Autonomy’s Q2 2009 revenue target.
                      It was Autonomy which approached VMS and prompted and
                      promoted the sale.

             (2)      VMS was undoubtedly interested and became keen to purchase
                      software which it considered offered it a potential for positive
                      change: but a purchase of that magnitude was disproportionately
                      large having regard to its available resources and was not one it could
                      have contemplated but for Autonomy’s offer to purchase from it a
                      licence to its data feed.

             (3)      Autonomy’s purchase of a licence to VMS’s data feed was thus the
                      means of enabling VMS to effect its proposed large ($9 million)
                      purchase of Autonomy software.

             (4)      Mr Hussain was in direct control of both Autonomy’s sale and its
                      purchase. He dictated the price and the amount of software sold, as
                      well as the price to be paid by Autonomy to VMS for the data feed
                      licence. The presentation of the transactions to Deloitte and the
                      Audit Committee as separate was false.

             (5)      Autonomy did not conduct any technical analysis of VMS’s data
                      feed before agreeing to purchase rights to it for $13 million. The
                      commercial assessment presented to Deloitte was prepared after the
                      deal had been agreed and did not in reality guide or indicate the
                      reasons for the decision either to sell or to purchase.

             (6)      The further memorandum on revenue recognition prepared to
                      persuade Deloitte of the desired revenue recognition was also
                      contrived and misleading.

             (7)      Autonomy did not need the data feed licence it acquired and did not
                      seek to assess, still less deploy, it for many months after its purchase
                      of it on the last day of Q2 2009. Instead, Autonomy pursued two
                      alternative options of either

                   (a) striking a deal for its previous data feed provider, Moreover, to
                   continue providing such a data feed at a cost negotiated at £50,000 per
                   year or (b) developing its own data feed.

             (8)      Given its past disappointment with Moreover, the fact that its data
                      feed was limited to demonstration and did not permit sale, and
                      Autonomy’s corporate preference to develop its own software,
                      Autonomy favoured and adopted the course of developing its own
                      data feed.



                                              Page 865
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 867 of 900
 Approved Judgment                                                              HC-2015-001324
 Mr Justice Hildyard




              (9)      Although there were or might have been copyright problems for
                       Autonomy in developing its own data feed for sale, those problems
                       did not, or were not thought to, affect the development and
                       deployment of its own data feed for demonstration purposes. Dr
                       Blanchflower, Mr Lucini and their teams quickly developed such a
                       data feed which is still in use by MicroFocus in substantially the
                       same form as it was in 2009.

2672. I have concluded in these circumstances that the reason for Autonomy’s purchase
      of the VMS feed was to fund a purchase from it by VMS in order to generate
      recognised revenue in order to seek to cover a shortfall on quarterly revenue
      targets; and that, since that was the reason for both transactions, they should have
      been accounted for together, and no revenue should have been recognised in
      respect of the sale to VMS.

The accounting treatment of the VMS reciprocal transactions

2673. It is convenient to set out the accounting consequences in respect of both the first
      and the second VMS transactions. There is no real dispute as to the application
      of the accounting principles on the basis of my conclusions that in each set of
      transactions the reason for the purchases by Autonomy was to fund the purchases
      from it in order for Autonomy to generate recognised revenue and in each set the
      purchase by Autonomy and the purchase by VMS from Autonomy must be taken
      together:

              (1)      There is no dispute that Autonomy’s purchases of the VMS data feed
                       were linked to Autonomy’s software and hardware sales to VMS.
                       The linked sale and purchase transactions ought, therefore, to have
                       been considered together in order to determine their substance and
                       appropriate accounting treatment.

              (2)      From the matters set out above, it is clear that, in each case, the
                       linked sale and purchase were not independent, arm’s length
                       transactions, and it was not possible to understand the substance and
                       commercial effect of one agreement without regard to the other. That
                       is because there was no genuine commercial rationale for either of
                       Autonomy’s purchases of the VMS data feed. Rather, the real
                       purpose of Autonomy’s purchases was to incentivise VMS and to
                       fund VMS to purchase Autonomy software on terms VMS would
                       not otherwise have agreed so that Autonomy could recognise
                       additional revenue in Q2 2009 and Q4 2010. Autonomy’s purchases,
                       and the linked sales to VMS, therefore lacked economic substance.

              (3)      Further, IAS 18 §14(d) was not satisfied because no economic
                       benefits flowed to Autonomy.

2674. It follows that Autonomy should not have recorded revenue on the sales to VMS.
      Autonomy should instead have: (i) recorded the net cost in relation to the first


                                              Page 866
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 868 of 900
 Approved Judgment                                                              HC-2015-001324
 Mr Justice Hildyard


        VMS sale and purchase, totalling $4,000,000, as an expense in Q2 2009, and (ii)
        recorded the net cost in relation to the second VMS purchase and the VMS
        hardware and software sale, totalling $261,633, as an expense in Q4 2010.


Defendants’ knowledge

2675. There is no doubt about Mr Hussain’s involvement and knowledge. I accept the
      Claimants’ submissions that:
              (1)      Mr Hussain conceived of the first VMS reciprocal transaction as a
                       means of generating extra revenue in Q4 2009 and he dictated the
                       size of the deal to Mr Egan by reference to Autonomy’s revenue
                       needs.

              (2)      Based on the financial information he had relating to VMS and the
                       size of VMS’s business, he must have appreciated that VMS would
                       not have entered into the first VMS sale on the terms it did unless
                       Autonomy had incentivised it and funded it to do so through the first
                       VMS purchase.

              (3)      He contributed to the misleading Project Shockwave business plan
                       and was content for the equally misleading revenue recognition
                       memorandum to be provided to Deloitte. He can only have
                       understood that it was necessary to mislead Deloitte because there
                       was no genuine commercial rationale for the first VMS purchase and
                       that Deloitte would not have concurred with Autonomy’s accounting
                       treatment of the first VMS sale had it known that was the case.

2676. As ever, the position against Dr Lynch is less clear. His general position, as he
      asserted in his witness statement, and resorted to in cross-examination
      occasionally (see above) was that he had little involvement in the VMS
      reciprocal transactions.
2677. However:

              (1)      Dr Lynch was aware (as he had been informed by Mr Hussain by
                       email of 19 June 2009) that the context in which Mr Hussain was
                       pursuing a deal with VMS was that the “US commercial call was
                       poor” and he needed extra revenue (naming VMS in that regard):
                       see paragraph 2598 above. The inference from the way the email was
                       drafted was that Dr Lynch was already aware of the proposed deal
                       by then.

              (2)      Dr Lynch was kept updated of the progress of the transaction,
                       including the proposed sale price “at between 7-9m” (see paragraphs
                       2607 and 2615 above), and accepted that he may well have been
                       aware of the proposal for Autonomy to purchase something from
                       VMS for a like price. He was also party to what I have determined
                       were pre-textual exchanges setting out the line to be adopted on the
                       purchase side.


                                              Page 867
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 869 of 900
 Approved Judgment                                                               HC-2015-001324
 Mr Justice Hildyard


              (3)      He was provided with a copy of the Project Shockwave Business
                       Plan and the Revenue Recognition memo. He suggested that he
                       might not have read the Business Plan: but I would doubt that. I think
                       it more likely than not that he would have read it, even if only
                       rapidly.

              (4)      He discussed the twin transactions with Mr Chamberlain, including
                       a discussion about the first VMS reciprocal transaction being one of
                       a number of “circular transactions”.

              (5)      He eventually had to accept in cross-examination that the proposed
                       deal only became a firm option in June 2009, and I infer that he was
                       aware accordingly that the statements made to Deloitte that the
                       purchase proposals had been commenced in March 2009 were false.

              (6)      He was kept informed of Mr Chamberlain’s concerns about
                       persuading Deloitte about the values paid.

              (7)      He was aware at the time that the purchase by VMS and the sale by
                       VMS were being discussed at the same time.

              (8)      Mr Hussain sought his approval to pay VMS early. Dr Lynch asked
                       no questions and I infer he knew, as did Mr Hussain, that this was
                       needed to enable VMS to fund the instalment for its own purchase
                       the next day.

              (9)      Dr Lynch was aware of the efforts to find some use for the VMS
                       feed, and of the work being done to create Autonomy’s own data
                       feed. He was aware that the VMS data feed was not incorporated
                       with any Autonomy product until the end of Q1 2010, almost a year
                       after Autonomy had bought it for $13 million.

              (10)     Over the course of his cross-examination, I formed the impression
                       that Dr Lynch did know that the pressing and preponderant reason
                       for the purchase by Autonomy from VMS was to fund a
                       corresponding purchase by VMS of software. I agree with the
                       Claimants, and find that Dr Lynch cannot have believed that it was
                       appropriate to recognise revenue from the sale to VMS in those
                       circumstances.

2678. That is consistent with my overall view that Mr Hussain always kept Dr Lynch
      informed of the purpose and progress of the various transactions to bolster
      revenue to reach target.
2679. In my judgment, in all the circumstances, Mr Hussain plainly had ‘guilty
      knowledge’ of the improper recognition of revenue from the sale side. I have
      concluded on a balance of probabilities that so also did Dr Lynch.


The second VMS transaction - Q4 2010 (RT 2)




                                              Page 868
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 870 of 900
 Approved Judgment                                                           HC-2015-001324
 Mr Justice Hildyard


2680. As in Q2 2009, in Q4 2010 Mr Hussain was looking for ways to generate revenue
      to achieve revenue targets. As was his habit for every quarter, Mr Hussain had
      prepared a revenue forecast spreadsheet divided into closed deals, large deals and
      “deals on the right”. In Dr Lynch’s words, there was a sort of route map, with
      “his deals on the left, and then as things come out of the left, you put things in
      from the right”. In other words, the deals on the right were brought in to cover
      any revenue shortfall in the event that any of the deals on the left fell away.
2681. At the beginning of November 2010, Mr Hussain circulated to Mr Egan, Ms
      Eagan and Dr Lynch, among others a table setting out the status of various large
      deals. The table included a $5 million deal with VMS ‘on the right’. Mr Hussain,
      who had by then taken

        up Mr Egan’s suggestion of the possibility of striking new arrangements with
        VMS through its new CEO (Mr David Stephens), told Ms Eagan in his covering
        email that the VMS ideas needed to be put into a proposal as soon as possible.
2682. A few days later, on 14 November 2010, Mr Hussain updated Dr Lynch on
      various deals that quarter and told him to “Add VMS at say $5m – Nicole running,
      meeting wed”. Each of Mr Hussain’s updates to Dr Lynch over the following
      week identified VMS as key to the quarter. Over the course of the next few
      weeks, Mr Hussain, Ms Eagan and Mr Egan’s focus was on what Autonomy
      could buy from VMS and sell to it, and how Autonomy could maximise revenue
      from the deal.
2683. It is clear that Dr Lynch was aware of a possible deal with VMS and that Mr
      Hussain was counting on it in his revenue forecasts. Dr Lynch was also kept
      informed of the progress of the discussions with VMS. Mr Hussain forwarded
      him Ms Eagan’s summary of a meeting with VMS, in which Ms Eagan said that
      it was “looking very good but still not sure on the new CEO’s spend level. Beth
      Ladd has lunch with Gerry [Louw] today and I’ll ask her to try to get a feel for
      how large we can go”. Obviously, and as Dr Lynch accepted, the larger the deal,
      the more revenue for Autonomy.
2684. As is also clear from Ms Eagan’s email, this was not a case of Autonomy having
      identified further rights from VMS that it needed or wanted and then entering
      into negotiations with VMS to acquire those further rights, as one would expect
      to see if there was a genuine commercial rationale for the purchase.
2685. Mr Hussain’s primary concern, unsurprisingly, was how much revenue
      Autonomy could generate from a deal with VMS.
2686. At the beginning of December 2010, Mr Hussain told Dr Lynch that VMS needed
      some connectors and that a deal could be done, but probably for no more than $1
      million. Mr Hussain suggested to Dr Lynch that a meeting needed to take place
      with the CEO of VMS, Mr Stephens. Mr Hussain later offered to Ms Eagan to
      meet with Mr Stephens when he was in New York.
2687. The first exercise was conducted primarily by Ms Eagan, not by reference to any
      apparent need or want on the part of Autonomy for further rights to VMS’s




                                          Page 869
  Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 871 of 900
Approved Judgment                                                            HC-2015-001324
Mr Justice Hildyard


       products, but simply by reference to what was outside the scope of the first VMS
       reciprocal transaction:
             (a) Ms Eagan asked Mr Scott and Mr Egan on 15 November 2010 for the
                 terms of the first VMS reciprocal transaction, that is, what Autonomy
                 licensed to VMS and what VMS licensed from Autonomy, saying that
                 she needed them “in order to think through the new deals structure”.
                 Having considered the agreements, she then emailed Mr Scott and Mr
                 Egan with some queries.

             (b) On 19 November 2010, Mr Scott set out his answers underneath Ms
                 Eagan’s queries (his answers being identified in bold):
                         “Products such as Explore, Social Media Governance,
                        Concept Stream (a new News Monitoring function) as well as
                        the Twitter hash tag analysis we are just developing now did
                        not exist. I assume these would therefore not be covered under
                        the agreement as they did not exist at the time of the
                        agreement. Is that correct?
                       Anything new that was not in existence at the time would not
                        be covered.
                       What were the limitations on our license of VMS data?
                       Apparently, Andrew Joiner said we are using the feeds but not
                       the other information. We need Gerry@ VMS to wrap it in a
                       web API. I’m trying to find out more about that aspect but may
                       need to know if that would be covered under the agreement.
                       VMS new CEO would also like us to display the VMS brand in
                       our demonstration with VMS data. Was that contemplated in
                       the original agreement?
                       We are authorized to use and display the Data to End-Users by
                       embedding an API designed to access the Data into Autonomy
                       software. We have no right to sell or distribute the Data, itself,
                       in any manner or via any method to end-users. Autonomy is
                       restricted from providing functionality to the End-User to
                       download or reproduce Data for its own use, for sale or
                       distribution. I did not see anything that authorizes, requires or
                       prohibits us from displaying their logo in our demos.
                       Were there any resell/upsell terms? For example, does our
                       salesforce have the right to resell or upsell VMS services to our
                       clients? If so, what are the terms? Or are we to refer clients to
                       VMS sales organization?
                       I don’t see a right to sell/upsell VMS products (presumable the
                       data in question) to customers. In fact, the contract states “All
                       sales of Data or media to Autonomy End-Users, whether in
                       tape, DVD, or other digital format, shall be made by VMS at
                       prices to be established by VMS. VMS shall bill each End-
                       User directly for such sales. VMS shall pay Autonomy a


                                          Page 870
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 872 of 900
 Approved Judgment                                                              HC-2015-001324
 Mr Justice Hildyard


                         commission of 10% of all such sales exclusive of taxes,
                         shipping, and handling charges, and/or royalty charges, if
                         any.” Commissions are paid quarterly in arrears.”


2688. Dr Lynch asserted that Ms Eagan’s email was the “sales part of an interaction
      with VMS, not the purchase part”, and that Ms Eagan was trying to find out what
      VMS already owned so that she could “work out what she can go and pitch to
      sell them”. The Claimants contended, and I accept, that that was not the case.
      Only the first paragraph of Ms Eagan’s email related to the software that
      Autonomy had already licensed to VMS and what further software Autonomy
      might be able to pitch. The remainder of Ms Eagan’s email related to the scope
      of the first VMS purchase.
2689. On 19 November 2010, Ms Eagan sent Mr Hussain a proposal, which envisaged
      VMS licensing Autonomy software outside the scope of the first VMS sale and
      Autonomy reselling / upselling the VMS data feed.
2690. Initially, it seemed unlikely that a deal in excess of about $1 million was realistic.
      By 7 December 2010, Mr Stephens had had several meetings with Ms Eagan. He
      summarised the outcome of those meetings in an email to Ms Eagan and Mr
      Egan, noting that:
                “VMS is not yet fully utilizing the software it already has under license
                – I guess like Autonomy is not yet fully utilizing the content it has
                licensed from VMS”


2691. The following week, Ms Eagan met with Mr Hussain to discuss the deal
      structure. The goal, by this point, was “$2m revenue VMS pays Autonomy”. Mr
      Hussain told Mr Egan, Ms Eagan, Dr Menell and Mr Scott on 14 December 2010
      that he had spoken with Dr Lynch and “he was fine”. Mr Hussain summarised
      the deal structure as follows:
                  “We sell $2m of software (connectors that Pete [Menell] has to deliver
                  please)
                  We buy: $0.5m services provided, $0.5m for the VMS service plus for
                  non cash (but valuable to VMS) – we put their logo on our AVRO
                  product and also we give them PR via our PR of the product”


2692. Dr Lynch accepted in cross-examination that it was obvious the two deals with
      Autonomy buying and selling software were being discussed at the same time,
      and that he had had a discussion with Mr Hussain about the proposed deal
      reflecting the terms of Mr Hussain’s email.
2693. The next day, 15 December 2010, Mr Hussain told Dr Lynch and Dr Menell that
      the CEO of VMS wanted to do a deal, that the terms were yet to be agreed and
      that he and Mr Egan would negotiate the deal. Mr Hussain later told Dr Lynch
      that the VMS deal was “a replacement for kpmg”, another potential Q4 2010


                                            Page 871
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 873 of 900
 Approved Judgment                                                             HC-2015-001324
 Mr Justice Hildyard


        deal, which Mr Hussain had flagged earlier as being at risk. Dr Lynch accepted
        in cross-examination that Mr Hussain meant a replacement from a revenue point
        of view; in other words, the revenue from the VMS deal was going to replace the
        revenue that Autonomy was looking to earn from a deal with KPMG.
2694. Mr Hussain then attempted to identify ways of increasing the size of the deal and
      hence the revenue that Autonomy could recognise. The same day, he emailed Mr
      Egan and Ms Eagan with the subject “about buying vms”, saying:
                  “Thought I’d throw that in to make it bigger
                  We could take shares as part consideration to help them
                  The problem is of course time but at these levels we could do it without
                  much dd.”


2695. Dr Lynch acknowledged that Mr Hussain was trying to make the deal bigger in
      order to increase the revenue Autonomy could recognise, and that he was
      suggesting Autonomy consider taking shares in VMS as payment to facilitate
      that.
2696. Mr Hussain sent Mr Egan and Ms Eagan further ideas for increasing the size of
      the deal later that day:
                  “Ideas: We sell hardware for $5m. We provide financing – say 1 year to
                  pay. This has value
                  We sell the connectors, extensions etc for $5m inc 5% maintenance
                  We prebuy their servies [sic] at list etc for $4m
                  There has to be a strong branding of vms and cross selling
                  opportunities”.


2697. [Paragraph intentionally left blank]

2698. Dr Lynch suggested that Mr Hussain was simply trying to sell more to VMS, and
      that there was nothing wrong with that; but Mr Hussain was plainly aware that
      VMS was not in a position to finance a larger deal from its own resources and
      was trying to find ways of overcoming this by providing financing or accepting
      alternative consideration so as to increase the revenue that Autonomy could look
      to recognise.

2699. Mr Hussain’s idea of adding a sale of hardware enabled a considerable increase
      in the size of the proposed transaction. After negotiations between Mr Egan and
      Ms Eagan with VMS on 16 December 2010 Mr Egan reported that “There is a
      $10M deal here”, assuming that Autonomy could supply “approx. $5 to $6M in
      HW through bonded warehouse” and software to a value of between $2m to
      $4m, and would purchase from VMS “enhanced and increased rights for current
      period” and also an extension of aggregate rights for a term of 5 years, which


                                             Page 872
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 874 of 900
 Approved Judgment                                                                        HC-2015-001324
 Mr Justice Hildyard


        Mr Egan wrote in his email reporting on the meeting was “vital for Nicole
        [Eagan]” Mr Egan noted further that VMS “also requested longer than 2 year
        payment on the HW”.

2700. The following day, 17 December 2010, Mr Hussain updated Dr Lynch and Dr
      Menell on Autonomy’s progress towards its revenue targets, saying “Currently
      tracking between 250 and 258 depending on kpmg”. That figure included “Vms
      agreed at 9.5m”.

2701. By 22 December 2010, the discussions between VMS and Autonomy had come
      down to the delta, that is, the net cash VMS was going to receive from the deal.
      The Claimants contended that this reflected the reality that the deal for
      Autonomy was about how much it had to pay to VMS to secure the revenue it
      needed for the quarter.

2702. This reality, and the fact that all concerned in Autonomy understood that the sale
      values for which Autonomy would seek to achieve would depend on revenue
      needs, was further emphasised in the email exchanges in evidence. Thus on 22
      December 2010, Mr Egan received an email from Mr Stephens with the subject
      “best effort”, which Mr Egan forwarded to Mr Hussain.300 Rather than having
      protracted negotiations, Mr Stephens indicated he wanted to “cut to the chase
      and put a deal on the table that works for all”.

2703. Mr Stephens summarised the deal as follows:

                       “…Please see attached. It achieves

                          -    A $13m sale for AU in 2010

                          -    The net payment is in the range you discussed

                          -    VMS gets the HW and SW it needs



                          -    AU has access to data to help build your business

                          -    I believe I can get our shareholders to agree in time
                          -    Most importantly it builds an even stronger relationship
                               between our 2 companies
                          -    We have discussions underway for further relationship
                               enhancement in 2011”


2704. A spreadsheet which (though at one time this was queried) appears to have been
      attached to Mr Stephen’s email set out in tabular form a series of linked

300
   The suggestion was made that Mr Stephens’ email might not be the email referred to, but it is clear
that the attachments to the email were sent to Mr Hussain by Mr Egan.


                                                 Page 873
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 875 of 900
 Approved Judgment                                                             HC-2015-001324
 Mr Justice Hildyard


        transactions between Autonomy and VMS, comprising a sale by VMS of further
        rights to the VMS data feed for $8.1 million, and sales by Autonomy of (a)
        hardware (acquired by Autonomy from a third party supplier) for $8 million and
        (b) further Autonomy software for $5 million.

2705. On 23 December 2010, Mr Egan sought Mr Hussain’s advice on how to proceed,
      suggesting that they “counter slightly more softly at like 3.25 delta or at least put
      language in that opens the door for David to be in touch with you today to
      discuss/make a case etc.”. Mr Egan summarised the position for Mr Hussain in
      more detail later that day in response to an earlier email from Mr Hussain:
                        “Not sure when you are getting out of your meeting. I’m not
                       sure I follow this. Our offer to them was:
                       They buy approx 8-10M in HW, amount doesn’t matter really as
                       it nets out of analysis. (however, it does actually matter a bit as
                       I’m sure we will source it for at least 10% less than we sell it
                       for.)
                       They pay $5M for the SW
                       We buy $7.5 M in VMS Information Services
                       That would leave a real delta of $2.5M. One way to think about
                       it is that $1M of that is against the AU staffing services
                       obligation both past and future. The remaining 1.5 is either: a
                       pure delta or recovered in HW sourcing prowess.
                       With that said. They countered moving that $2.5 to $4.6. and
                       penciling 8M in HW so it would be 13M in rev to AU.
                       A few thoughts:

                       -   I think we can counter again
                       -   I don’t think they have the ability to do too much better than
                           that. (they aren’t actually going to buy the HW in the absence
                           of help like this , they just have to go on and run their
                           business and hope they can self fund those aspirations over
                           4 years. So it’s not like we are relieving them of planned
                           expense.
                       -   What we do next depends heavily on what you need. It would
                           be best to know more on BofA.
                       -   We could just work to optimize and keep the option to do this
                           deal. If we break out of the range of economics they can even
                           consider we will not be able to reconvene them if we regret
                           it upon collapse of other stuff.

                       -   Thoughts???”




                                           Page 874
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 876 of 900
 Approved Judgment                                                             HC-2015-001324
 Mr Justice Hildyard


2706. The Claimants highlighted a number of points of note in Mr Egan’s email:

              (1) The hardware purchase netted out of the calculation of the delta because,
                  as Dr Lynch put it, it was a zero-margin transaction. The relevant delta
                  was therefore between the proposed sale by Autonomy of software and
                  the proposed purchase by Autonomy of further rights to the VMS data
                  feed. In other words, the delta was the cost to Autonomy of selling its
                  software.

              (2) Autonomy’s response to the terms proposed by Mr Stephens expressly
                  depended on what Mr Hussain said he “needed”; and given the
                  subsequent reference to the status of the proposed deal with BofA, that
                  can only have meant what Mr Hussain needed from a revenue
                  perspective.

              (3) Mr Egan regarded the deal as otherwise optional: he appeared to think
                  that in reality, Autonomy only needed to make the purchase to generate
                  the sale.

2707. In the result, the parties compromised on what Mr Stephens described as “the
      $3.3m net cash payment”. Only after that was attention turned to ironing out
      exactly what would be the software rights to be sold by Autonomy to VMS and
      the data feed licence rights it was to purchase from VMS, as well as to providing
      a recorded justification for Autonomy’s purchase of such rights for $8.4 million.

2708. In the latter context, no effort was made by either Mr Hussain or Dr Lynch, both
      of whom ultimately approved the transactions, to establish whether the first VMS
      purchase had been a success, financially or otherwise, before investing further
      substantial sums (including a very handsome ‘delta’) in another VMS data feed
      licence. Mr Crumbacher simply prepared a table setting out the main features of
      Autonomy’s further purchase from VMS and asked Ms Eagan and Mr Egan to
      add the reasoning behind the purchase and the amount allocated to each
      component of it. Mr Hussain put in an additional request that Ms Eagan and Mr
      Egan “add colour” and Mr Chamberlain “work on valuations”. Mr Hussain
      indicated that he was “ok” with the purchase “given the commercial success of
      the previous acquisition of data”, any such success being negligible, if
      measurable at all.

2709. The three components of the second VMS reciprocal transaction were executed
      on 31 December 2010:

              (1) Autonomy’s purchase from VMS took the form of an amendment to the
                  first VMS purchase (the “second VMS purchase”). The second VMS
                  purchase extended the term of the first VMS purchase from three years
                  to five years and expanded the scope of the data licensed under the first
                  VMS purchase so as to include social media content and vertical market
                  content. The agreement also licensed additional rights to Autonomy,
                  including: (i) the right to sublicense and distribute the licensed VMS
                  data to Autonomy customers, end-users, prospects, resellers and


                                            Page 875
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 877 of 900
 Approved Judgment                                                               HC-2015-001324
 Mr Justice Hildyard


                  partners, and (ii) the right to use, manipulate, access, review, compile
                  and automatically act on the VMS data solely through operation of and
                  in conjunction with Autonomy’s hosted, web-based, online marketing
                  optimisation and analytics product currently marketed under the
                  trademark “Optimost” for itself and for the benefit of customers and
                  users of the Optimost service. The fee payable by Autonomy under the
                  second VMS purchase was $8.4 million, which was due in five
                  (unequal) instalments. The first three instalments were for $2 million
                  each and were due in February, April and July 2011.

              (2) Autonomy’s sale of further software licences to VMS took the form of
                  a further product schedule to the existing software licence agreement
                  (the “VMS software sale”). Under the VMS software sale, Autonomy
                  licensed certain software to VMS for the uses authorised therein. The
                  agreement provided for a licence fee of $5 million, which included a fee
                  in respect of the first year of support services in the amount of $250,000.
                  The licence fee and the support fee were payable in three instalments.
                  The first two instalments were for $1,500,000 and were due within 90
                  and 120 days of invoice, respectively.

              (3) Autonomy also sold hardware and other equipment to VMS pursuant to
                  a second amendment to an earlier software licence agreement between
                  the parties (the “VMS hardware sale”). Under the VMS hardware sale,
                  VMS agreed to purchase from Autonomy the hardware and equipment
                  specified in the schedule to the agreement for a purchase price of
                  $6,004,066.90. This amount was payable in four instalments of
                  $1,501,016 or thereabouts. The first instalment was not payable for
                  almost an entire year, and the final instalment was not due until almost
                  two years after the effective date of the agreement. Dr Lynch
                  acknowledged that these were unusually generous payment terms.

2710. Autonomy recognised the licence fee from the VMS software sale and the
      amount payable under the VMS hardware sale, totalling $10,754,067, in Q4
      2010, and the support fee as revenue over the following year.

2711. Three further points were stressed by the Claimants:

              (1) First, much was made by the Defendants in the cross-examination of the
                  Claimants’ witnesses and in Mr Avila’s witness statement of the second
                  VMS purchase giving Autonomy the right to resell the VMS data feed;
                  indeed, Mr Avila’s witness statement rehearsed that Dr Lynch’s legal
                  team had told him that this right was a “fundamental factor” in
                  Autonomy entering into that agreement. The basis for those instructions
                  is entirely unclear. As noted above, when Mr Avila asked Mr Andrew
                  Joiner in November 2010 about the possibility of reselling or upselling
                  the VMS data feed, Mr Joiner was less than enthused and said that there
                  “isn’t a ton of value” in the feed.




                                             Page 876
       Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 878 of 900
 Approved Judgment                                                                        HC-2015-001324
 Mr Justice Hildyard


              (2) Secondly, as outlined above, the second VMS purchase granted
                  Autonomy the right to use the VMS data feed in Autonomy’s Optimost
                  product set. Yet Autonomy had represented in the Project Shockwave
                  business plan that part of the reason for the first VMS purchase was to
                  incorporate the VMS data feed with its Optimost suite of products. The
                  fact that Autonomy had to license additional rights in order to be able to
                  use the VMS data feed in this way indicates that: (i) this cannot have
                  been part of the rationale for the first VMS purchase, contrary to what
                  was stated in the Project Shockwave business plan, and (ii) Autonomy
                  cannot, at least lawfully, have incorporated the VMS data into its
                  Optimost product set by Q4 2010. This would explain why there is no
                  evidence of Autonomy having done so prior to the second VMS
                  purchase.301

              (3) Thirdly, the payment terms were structured so that: (i) VMS did not have
                  to pay anything in respect of the hardware for almost a year after the
                  sale, an unusually long period of time, and (ii) with one exception which,
                  as will be seen, VMS regarded as an oversight, VMS did not have to pay
                  anything to Autonomy under the VMS software sale until Autonomy
                  had provided VMS with the funds by making payments under the second
                  VMS purchase. These payment terms reinforce the suggestion that the
                  second VMS purchase was simply a means of channelling funds to
                  VMS.

2712. As in the case of the first VMS purchase, the Claimants’ case is that the purpose
      of the second VMS purchase was to incentivise and fund VMS to make a
      reciprocal purchase from Autonomy from which Autonomy could recognise
      revenue in Q4 2010, not because Autonomy had any genuine need or want for
      further rights to the VMS data feed.
2713. Dr Lynch’s written closing submissions complained that much of the material
      put to him was comprised of documents to which he was not a party. It was noted,
      however, that none suggested that the purchase from Autonomy was not going
      to be at fair value or that it would not involve purchasing rights that Autonomy
      genuinely wanted.
2714. However, the VMS data feed was no more useful than it had been previously;
      and the reason for the linked transactions was, as before, revenue recognition
      with the transactions fixed at a price to ensure the achievement of the revenue
      required by Mr Hussain to meet the quarterly target.
Deloitte’s consideration of the second VMS transaction

2715. On 18 January 2011, a few weeks after Autonomy entered into the second VMS
      reciprocal transaction, Mr Chamberlain asked Ms Eagan to “pull together a
      memo that shows what we have purchased and why. This memo should give some

 301
    As noted above (footnote 314), from a document uploaded to the trial bundle by the Defendants
 after the close of evidence, it is clear that there had not been any VMS-Optimost integration by Q1
 2011.


                                                 Page 877
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 879 of 900
 Approved Judgment                                                            HC-2015-001324
 Mr Justice Hildyard


        consideration to why we have paid $8.4m for it. May be linked to price lists,
        quotes etc or may be cheaper than costs for us to replicate etc etc”. No such
        consideration had taken place within Autonomy prior to it entering into the
        second VMS purchase, as one would expect if the purchase had a genuine
        commercial rationale.

2716. Mr Chamberlain repeated his request the following day, saying he was “going to
      need something over the next few days on this to provide to the auditors”. He
      said that the summary Ms Eagan had produced a few days earlier was very useful
      and “should be repeated in the paper with a little bit more meat on the bones
      highlighting why we would pay $8.4m for this i.e. some evidence of possible
      future sales/markets that this will help us get into”. Ms Eagan responded, noting
      that she was “not at all involved with pricing”.

        As set out above, that is because the pricing was negotiated by Mr Egan and Mr
         Hussain by reference to the delta between the second VMS purchase and the
                                       VMS software sale.

2717. No paper appears to have been produced because, the same day, 19 January 2011,
      Mr Chamberlain forwarded an inconclusive earlier summary by Ms Eagan of the
      second VMS purchase to Mr Welham. Mr Chamberlain subsequently emailed
      Mr Welham on 25 January 2011 asking what he needed, saying that he had
      “provided the commercial rationale from Nicole” and that the pricing was
      “consistent with the previous deal we did with them at which time we obtained
      many third party quotes etc.”. Subject to the next paragraph, these emails appear
      to have been the only documented rationale put forward to Deloitte to justify the
      second VMS purchase.

2718. From Deloitte’s working paper, it appears that Deloitte was given to understand
      that the second VMS purchase provided Autonomy with access to VMS’s main
      data feed and permitted Autonomy to include the VMS analysis tools in its own
      products. Deloitte also appears to have spoken with Dr Menell about the
      supposed rationale for the deal, and been provided with a short demonstration to
      prove that “the VMS feed [Autonomy] claimed [it] had was real”. Presumably
      because the information was insufficient, Deloitte had to consult its own in house
      IT specialist. Deloitte’s working paper records that:

                  “Per our conversation with…our in house IT specialist, the value
                  gained from this purchase is considerable and has a defined market
                  opportunity. As a result, the amount to be paid of approximately $8.4
                  million is deemed to be reasonable and at fair value for the purposes
                  of our assessment of the two transactions made with VMS during the
                  quarter.”

2719. As regards the VMS software and hardware sales, Deloitte was provided with:
      (i) an auditor debtor confirmation letter signed by the CFO of VMS confirming
      that the instalments under the VMS software and hardware sales were proper and
      unpaid as of 31 December 2010, (ii) confirmation that the hardware supposedly
      being supplied from


                                            Page 878
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 880 of 900
 Approved Judgment                                                             HC-2015-001324
 Mr Justice Hildyard


        Autonomy’s existing stock was bonded, and (iii) documents indicating that the
        hardware Autonomy purchased from the hardware reseller, Insight, had been
        approved by Dr Lynch and was bonded and ready for shipment.

2720. None of the material provided to Deloitte by Autonomy disclosed that:

              (1) Moreover had offered to continue to provide its data feed to Autonomy
                  for use in its demonstration environment for £50,000 per annum in mid-
                  July 2009;

              (2) Autonomy had created its own data feed, which it started to build in June
                  2009, and which it used for demonstration purposes in place of
                  Moreover;

              (3) Autonomy had not achieved any real commercial success from the VMS
                  data feed it purchased for $13 million under the first VMS purchase and
                  did not have any real reason for purchasing additional data streams and
                  rights in Q4 2010;

              (4) The second VMS purchase and the VMS software sale were linked and
                  their negotiation was conducted by reference to the ‘delta’ payable to
                  VMS; and

              (5) Contrary to what Deloitte were told, Autonomy had to buy in hardware
                  for resale and did not deliver $4 million of hardware from its own stock
                  under the VMS hardware sale.

2721. Mr Welham’s unchallenged evidence was that, had Deloitte been aware of these
      matters, this would have prevented revenue recognition in respect of the sum
      relating to the hardware supposed to be supplied from Autonomy stock, and
      would have caused Deloitte to give further consideration to whether it was
      appropriate to recognise any revenue from the VMS software sale.

Payments made in respect of the second VMS transaction and VMS’s bankruptcy

2722. The payments made in respect of the second VMS transaction were as follows:

              (1) Autonomy paid VMS $2 million on 17 February 2011 for the first
                  instalment under the second VMS purchase.

              (2) A few weeks later, on 31 March 2011, VMS paid Autonomy the first
                  instalment of $1.5 million under the VMS software sale.

              (3) The next day, 1 April 2011, Autonomy paid VMS a further $2 million
                  under the second VMS purchase.

              (4) On 29 April 2011, Autonomy received $1.5 million from VMS in
                  respect of the VMS software sale.




                                            Page 879
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 881 of 900
 Approved Judgment                                                        HC-2015-001324
 Mr Justice Hildyard


2723. At the beginning of June 2011, Mr Stephens asked Mr Egan for help regarding
      the next payments. As Mr Stephens explained, “we have $2m to go in either
      direction 2 days apart. Our intent in the December deal was to have dates that
      were exactly synchronous. In the rush to get revisions done the gap arose. We
      want & need to avoid sending you $2m to only get it back 2 days later…Unless
      I hear otherwise I will assume you are ok for the amounts to net out on 6/30”.
      Mr Chamberlain raised Mr Stephens’ request with Mr Hussain. Although Mr
      Hussain asked Mr Chamberlain to try to get the cash in, in the event, Autonomy
      agreed to net off the final instalment payable by VMS under the VMS software
      sale against the $2 million instalment payable by Autonomy under the second
      VMS purchase, leaving Autonomy owing $2.4 million in respect of the second
      VMS purchase.

2724. At around this time, June 2011, Mr Louw of VMS contacted Mr Goodfellow to
      see if Autonomy would consider buying back some of the hardware that VMS
      had purchased under the VMS hardware sale. Mr Louw told Mr Goodfellow that
      VMS had a “very nice overhang of servers that I need to get rid of quickly to
      fund another immediate opportunity here at VMS. We are estimating that we can
      reduce the HP DL360 count by 40, and the HP ML150 count by 600. The above
      has not been shipped yet / received yet, so guaranteed brand new and in box”.
      Mr Louw offered to sell this hardware to Autonomy or one of its clients at a
      lower price than VMS had paid for it.

2725. This proposal appears to have been discussed within Autonomy. Before
      Autonomy had made a decision, VMS filed for bankruptcy at the end of August
      2011. The imminence of VMS’s bankruptcy must have been apparent to Mr
      Hussain because an instruction was given in mid-August 2011, two weeks before
      VMS filed for bankruptcy, to put a payment hold on so that no payments were
      made to VMS without Mr Hussain’s approval.

2726. Autonomy did not pay the final instalments under the second VMS purchase,
      which were not due until October 2011 and July 2012.

2727. Nor did Autonomy receive any cash in respect of the VMS hardware sale. The
      full amount was ultimately written off in September 2012. Mr Goodfellow’s
      unchallenged evidence was that no repurposed Autonomy hardware was ever
      delivered to VMS. It is unclear if Autonomy ever sought to recover the HP
      hardware that had been supplied to VMS for which it was never paid.

2728. As a result of VMS’s bankruptcy, Autonomy had to find another source for
      ingesting social media content into its media aggregation service.

2729. The reactions within Autonomy varied from suggesting that Autonomy should
      consider acquiring the material assets of VMS to suggesting that VMS’s
      bankruptcy was not a surprise and that Autonomy had better alternatives. Dr
      Lynch seemed to think that the reference to Autonomy acquiring VMS’s assets
      showed that the VMS data feed was valuable to Autonomy, in fact, it showed the
      opposite. Had the data feed been as significant as the Defendants had sought to
      make it out to be, one would have expected Autonomy to have explored that
      option. But it did not do so. That supports the inference that it did not do so


                                        Page 880
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 882 of 900
 Approved Judgment                                                             HC-2015-001324
 Mr Justice Hildyard


        because Autonomy purchased the data feed not for its intrinsic value to
        Autonomy but to fund reciprocal purchases by VMS of Autonomy software,
        from which Autonomy could recognise revenue.

Conclusions on second VMS transaction

2730. In summary, I have concluded in respect of the second VMS transaction, as in
      the case of the first VMS transaction, that:

              (1) Mr Hussain proposed a further sale of software by Autonomy to VMS
                  because he needed additional recognised revenue to make up for deals
                  “on the left” which had not materialised (and in particular a proposed
                  deal with KPMG).

              (2) His need was such that a sale of software alone was insufficient. A sale
                  of hardware was added to bring up the total apparent recognised
                  revenue.

              (3) VMS wanted both the software and the hardware (though later it offered
                  some of the latter for sale back to Autonomy because its financial
                  position became so weak). But to fund its purchases it needed Autonomy
                  to make further purchases to cover the outlay.

              (4) Mr Hussain was in direct control of both Autonomy’s sale and its
                  purchase. He dictated the price and the amount of software sold, as well
                  as the price to be paid by Autonomy to VMS for the data feed licence.
                  The presentation of the transactions to Deloitte and the Audit Committee
                  as separate was false.

              (5) Autonomy did not conduct any technical analysis of the commercial and
                  more general success of the VMS data feed which it had purchased in
                  the first VMS transaction before committing to purchase extended rights
                  for $8.4 million.


              (6) No memorandum to explain the justification for the further purchase was
                  ever drafted: one could not even be put together. The information
                  provided to Deloitte and reflected in their working paper was
                  misleading. The commercial assessment presented to Deloitte was
                  prepared after the deal had been agreed and did not in reality guide or
                  indicate the reasons for the decision either to sell or to purchase.

              (7) Autonomy purchased the data feed not for its intrinsic value to
                  Autonomy but to fund reciprocal purchases by VMS of Autonomy
                  software, from which Autonomy could recognise revenue.

              (8) Even so, Autonomy had to pay a considerable ‘delta’ to VMS for its
                  participation.



                                            Page 881
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 883 of 900
 Approved Judgment                                                             HC-2015-001324
 Mr Justice Hildyard


              (9) When VMS went into liquidation, as the final demonstration of its
                  financial precariousness, Autonomy made no effort to acquire any
                  further rights. They were not of any real utility or commercial value to
                  it.

2731. As in the first VMS transaction, it follows that Autonomy should not have
      recorded revenue on the sales to VMS. Autonomy should instead have: (i)
      recorded the net cost in relation to the first VMS sale and purchase, totalling
      $4,000,000, as an expense in Q2 2009, and (ii) recorded the net cost in relation
      to the second VMS purchase and the VMS hardware and software sale, totalling
      $261,633, as an expense in Q4 2010.


Knowledge of the Defendants

Mr Hussain’s knowledge

2732. Mr Hussain orchestrated both sides of the second VMS transaction. His
      knowledge is clear. I accept the Claimants’ submission that as an experienced
      CFO it is more likely than not that he did not honestly believe that the
      requirements for revenue recognition were satisfied.

Dr Lynch’s knowledge

2733. I accept the Claimants’ contentions and find that:

              (1) It is more likely than not that Dr Lynch was aware that the VMS data
                  feed was not incorporated into any Autonomy product until the end of
                  Q1 2010, almost a year after Autonomy had bought a licence to it in the
                  first VMS transaction for $13 million.

              (2) He cannot genuinely have believed that Autonomy had made sufficient
                  commercial use of the data feed to warrant spending another $8.4
                  million on it in Q4 2010 without any further assessment.

              (3) The most likely explanation why he proceeded without any assessment
                  was that he appreciated that the real rationale for the second VMS
                  purchase was to fund another purchase by VMS of Autonomy software
                  and in addition hardware from which Autonomy could, at a price,
                  recognise revenue. It is of note, and confirmatory of this explanation,
                  that when subsequently he was told that VMS looked at the deal as a
                  financial transaction, only he expressed no surprise.

2734. For similar reasons as in the context of the first VMS transaction, I have
      concluded that Dr Lynch, like Mr Hussain, had ‘guilty knowledge’.

RT 3: purchases of StorHouse from FileTek (Q4 2009/Q2 2010)

2735. Two further sets of transactions between Autonomy and FileTek were alleged by
      the Claimants to be (in each case) a means of enabling Autonomy to obtain


                                            Page 882
       Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 884 of 900
 Approved Judgment                                                                      HC-2015-001324
 Mr Justice Hildyard


         recognisable revenue from FileTek by making purchases from FileTek to put it
         in funds to purchase Autonomy software. The allegedly reciprocal transactions
         occurred in Q4 2009 and again in Q1 2010/Q2 2010.302 The Claimants’ case is
         that no revenue should have been recognised on Autonomy’s sales of IDOL
         licences to FileTek, since these transactions lacked any genuine commercial
         rationale and thus lacked economic substance, and that the Defendants knew this.

2736. The Claimants contended that the central facts in relation to the FileTek
      reciprocal and VAR transactions were largely established by the unchallenged
      evidence of Mr Egan and concessions made in cross-examination by Mr
      Szukalski.

2737. The Defendants, on the other hand, maintained that the purchases by Autonomy
      in each case had a commercial rationale, on the basis that the ‘StorHouse’
      software acquired offered valuable functionality of utility to Autonomy and its
      customers and was at fair value.

2738. I address first the principal dispute, which was as to whether the commercial
      rationale for the ‘StorHouse’ purchases which was asserted at the time, and
      presented to Deloitte and the Audit Committee, was genuine (as asserted by the
      Defendants) or contrived (as alleged by the Claimants). This requires an
      assessment of:

              (a) FileTek’s business in broad overview;

              (b) the genesis of the first pair of transactions, and in particular how the
                  decision to buy the StorHouse product came to be made;

              (c) the extent of the technical analysis conducted by Autonomy prior to the
                  purchase;



              (d) the coincidence in timing between each of the StorHouse purchases and
                  FileTek’s need for funds;

              (e) FileTek’s own internal accounting analysis regarding the true value of
                  the software being bought and sold.


 302
    See also footnote 286 above as to the reciprocal VAR transaction with FileTek: FileTek was used by
 Autonomy as a VAR for a large ($10.5 million) one-off transaction in respect of the end-user US
 Department of Veterans Affairs (“USDVA”) (VT18). Subsequently, in March, June and August 2011,
 Autonomy entered into a succession of further purchases of StorHouse licences from FileTek. The
 Claimants’ case is that these were intended to, and did, put FileTek in funds to pay down its debt on
 the USDVA VAR transaction. The last and by far the largest of the purchases took place the day
 before the announcement of HP’s acquisition of Autonomy and was alleged to be part of an attempt by
 Autonomy management to clean up the books before the new owners took over. The Claimants’ case is
 that no revenue should have been recognised on the VAR transaction and that the Defendants knew
 this.


                                                Page 883
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 885 of 900
 Approved Judgment                                                             HC-2015-001324
 Mr Justice Hildyard


FileTek’s business


2739. FileTek had two main products:

             (1) Trusted Edge was a classification and e-Discovery tool that dealt with
                 unstructured data and was aimed at the e-Discovery market. Mr
                 Szukalski described it in cross-examination as a product that:
                        “was able to classify and index content that was at the edge, the
                        trusted edge, of companies’ networks, so it would go on to
                        laptops and desktops and see what was on those desktops and
                        laptops, to be able to index them, categorise them, classify those
                        so that if there was a legal hold or anything, the company would
                        be sure that they got all the materials in terms of being able to
                        identify those materials underneath.”

             (2) StorHouse was, as Mr Szukalski accepted, a different product altogether.
                 It was not at all directed at the e-Discovery market. Rather, it was
                 directed at the IT industry and at data storage vendors. At its simplest,
                 StorHouse was a database archiving product that allowed customers to
                 archive databases and conduct searches across them. It had two main
                 components: (i) StorHouse Relational File System (“RFS”), which was
                 essentially a file system that was hosted in the cloud; and (ii) StorHouse
                 Relational Manager (“RM”), which was a means by which a customer
                 could offload its database to the cloud and conduct searches across the
                 database.
2740. Filetek’s CEO and CFO during the Relevant Period was Mr William (“Bill”)
      Loomis. He testified at Mr Hussain’s criminal trial that, in 2008, FileTek had
      revenues of about $15 million. This is reflected in FileTek’s profit and loss
      statement for 2008. Mr Loomis further testified that part of the company was
      then spun out, as a result of which revenues fell to between $7 to 8 million per
      annum. FileTek’s profit and loss account for 2008 attributes about $6.6 million
      of revenue to a segment of the business known as Healthcare Information
      Systems. Mr Szukalski confirmed that he believed that this was the segment of
      the business that had been spun out before he re-joined FileTek in January 2009.

2741. As at the end of 2008, FileTek’s sales were not flourishing. FileTek made licence
      sales of StorHouse of only $331,000 in 2008. Mr Szukalski agreed that, at the
      time he rejoined FileTek “there was very little sales going on”. Instead of making
      new sales of StorHouse licences, FileTek was “living off the maintenance
      revenues” of sales of StorHouse that had been made in the mid-to-late-1990s.

2742. Similarly, as regards Trusted Edge, FileTek made licence sales of only $81,000
      in 2008. Mr Szukalski explained that Trusted Edge was “the start-up component
      of FileTek” and was “just pretty much being launched as a new product” at the
      time he re-joined FileTek




                                            Page 884
       Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 886 of 900
 Approved Judgment                                                             HC-2015-001324
 Mr Justice Hildyard


          (on 1 January 2009). Mr Szukalski readily agreed that sales of Trusted Edge were
          “low” and that Trusted Edge was a “small player in the e-discovery market at
          best”.

2743. Overall, therefore, FileTek was incurring a loss on its operations.

2744. As at the end of 2008, FileTek had cash and cash equivalents of just under $5
      million. There was no significant improvement in FileTek’s business during the
      first half of 2009. On the contrary, sales of StorHouse declined year-on-year from
      $283,000 in the first six months of 2008 to $162,000 in the first six months of
      2009. As regards Trusted Edge, during the same six month period there was a
      slight increase in licence sales from $27,000 to $93,000. But Mr Szukalski
      accepted that Trusted Edge remained a “very small” player nonetheless. FileTek
      incurred a loss on its operations of slightly over $1 million in the first half of
      2009.

2745. Realistically, therefore, Mr Szukalski accepted that FileTek was very much a
      business in need of a turn-around. Although Mr Szukalski pointed to the
      company’s history in the late 1990s and early 2000s as a basis for thinking that
      the company’s turn-around could succeed, he accepted that the technology
      industry was one where things could change very quickly.

2746. FileTek had an OEM agreement with Autonomy in respect of its Trusted Edge
      product. By an agreement dated 21 February 2008, FileTek had taken a licence
      of certain “Development Software” and “Run-Time Software” from Autonomy in
      relation to FileTek’s Trusted Edge product (defined as the “Application”). This
      had not proved a success either: as at the third quarter of 2009, it appears that
      FileTek had yet to incorporate IDOL Server into Trusted Edge so as to make use
      of the Run-Time licence.

2747. Mr Szukalski’s evidence was that there had been no sales of Trusted Edge that
      incorporated the IDOL Server software as at 30 October 2009. In an email dated
      17 November 2009, Mr Loomis estimated that FileTek was likely to make only
      15 sales of Trusted Edge, incorporating IDOL Server, between then and 30 June
      2010. Mr Szukalski accepted that this was Mr Loomis’ best estimate of the likely
      sales.

2748. Under its OEM arrangements with Autonomy, FileTek had negotiated that most
      of its payments should be as commission on sales. But it also was required to
      make a prepayment of $150,000. Not long before the disputed transactions,
      FileTek had determined that it would have to write down the value of FileTek’s
      $150,000 prepayment. Mr Loomis had calculated that the value to FileTek of its
      prepayment was only $37,500303, resulting in an impairment of $112,500. This
      amount was written down in FileTek’s accounts.

2749. In short, by the third quarter of 2009, FileTek was in some considerable financial
      difficulty.


 303
       $2,500 multiplied by 15.


                                            Page 885
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 887 of 900
 Approved Judgment                                                              HC-2015-001324
 Mr Justice Hildyard


Genesis of the proposal for the allegedly reciprocal transactions

2750. Mr Egan’s evidence was that it was he who conceived of what the Claimants
      presented as a round trip transaction: the purchase by Autonomy of StorHouse
      software in order



        to fund the purchase by FileTek of Autonomy software. This was not challenged
        in cross-examination.

2751. Mr Egan’s evidence, which was in effect what the Claimants principally relied
      on, was as follows in respect of the first FileTek reciprocal transaction:

                  “In late December 2009, I conceived of, and Mr. Hussain approved, a
                  round trip deal that would generate immediate and substantial ($8
                  million) recognizable revenue. The entire transaction was arranged
                  over the course of two or three days. FileTek’s Chief Operating Officer
                  was Gary Szukalski, a former Autonomy employee. I knew from prior
                  conversations with Mr. Szukalski that FileTek was interested in
                  licensing IDOL but did not have the means to pay for a substantial
                  license. My idea was that, in return for FileTek agreeing to pay a large
                  sum to license IDOL, Autonomy would agree to license FileTek’s
                  StorHouse software for integration with Autonomy’s Digital Safe
                  software.
                  Digital Safe software is primarily used to store and manage
                  unstructured data -- for example, emails. My idea was that it might be
                  possible for StorHouse to be used with Digital Safe to enhance
                  Autonomy’s structured data capabilities.
                  85. Autonomy’s technical staff had not, to my knowledge, previously
                  evaluated FileTek’s StorHouse software or determined whether it was
                  practical to combine it with our existing Digital Safe software. However,
                  I now had a reason for a purchase from FileTek that would give FileTek
                  both the money to purchase a license from Autonomy and, as I explain
                  below, the incentive to license software from Autonomy. I presented my
                  idea to Mr. Hussain. He approved it, but he made it clear that, if the
                  deal were made, the documentation for each deal had to be entirely
                  independent of each other.”


2752. Mr Egan’s evidence regarding Mr Hussain’s approval was not challenged. Dr
      Lynch confirmed in cross-examination that he had no basis for disputing the fact
      of Mr Hussain’s approval. When Counsel for Mr Hussain cross-examined Mr
      Egan, he invited
      Mr Egan to agree with the narrow point that Mr Hussain “did not meet anyone
      from FileTek” but did not challenge Mr Egan’s evidence about Mr Hussain’s
      approval of the transaction.




                                             Page 886
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 888 of 900
 Approved Judgment                                                            HC-2015-001324
 Mr Justice Hildyard


2753. On Monday, 28 December 2009, Mr Egan emailed Mr Szukalski, subject “Hello
      and idea”, asking Mr Szukalski to ring because “I have an idea I want to run by
      you”. When Mr Szukalski received the email, he did not know what Mr Egan
      wanted to speak about, as he confirmed in cross-examination and as also appears
      from his message in an email under which, on the same day, he forwarded the
      email to Mr Mark Seamans, FileTek’s CTO, asking “Hmmm … what do you think
      this is all about?”. Mr Seamans speculated that Mr Egan might seek to “pitch
      you on an extension”, that is, an extension to FileTek’s existing OEM agreement
      which was due to expire on 30 June 2010.

2754. It is now common ground that the telephone call took place at 10.30am on the
      morning of Tuesday, 29 December 2009. Mr Egan’s evidence about the
      telephone call in his witness statement, which Mr Szukalski considered to be
      accurate, was:

                  “I proposed a deal to FileTek. I said that Autonomy had money in its
                  budget to make a purchase from FileTek and suggested that Autonomy
                  would buy a license to use FileTek’s StorHouse software if FileTek were
                  willing to buy a license to use Autonomy’s IDOL software. I told Mr.
                  Szukalski that my proposal would do two things for FileTek: it would
                  give FileTek the money it needed to license IDOL and the deal would be
                  profitable for FileTek because Autonomy would pay FileTek more than
                  FileTek would have to pay Autonomy. FileTek would keep the difference.
                  Mr Szukalski expressed interest and agreed to talk to his colleagues at
                  FileTek. I told him that any deal had to be completed in the next two
                  days, i.e. by December 31.”

2755. In cross-examination, Mr Szukalski volunteered that Mr Egan asked “more
      questions about what StorHouse was and what it did and could it benefit
      Autonomy in some way”. This reinforced the conclusion that, when Mr Egan
      spoke to Mr Szukalski, Mr Egan was unaware of any technical analysis within
      Autonomy as to how StorHouse might be said to benefit Autonomy.

2756. Mr Szukalski also explained that, during his initial call with Mr Egan, Mr
      Szukalski had questions for Mr Egan about Autonomy’s storage requirements
      for StorHouse, such as “how many clients, how many instances, what the storage
      requirement was”. Mr Egan did not have answers to what Autonomy actually
      needed, but Mr Szukalski thought he recalled that Mr Egan had said that he
      would go and speak to the technical people at Autonomy, find out what those
      requirements were, and revert to Mr Szukalski.

2757. Mr Egan did revert to Mr Szukalski by email later that day, setting out what
      Autonomy’s “needs would look like”. The email asked also whether that was
      enough to enable Mr Szukalski to “get…going on a price and fair value
      support?” signifying (as Mr Szukalski confirmed) that there had been some prior
      discussion about price:




                                            Page 887
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 889 of 900
 Approved Judgment                                                             HC-2015-001324
 Mr Justice Hildyard


                  “Q. Now, so far as the price is concerned, that had already been
                        discussed on the call that you had had with him in the morning,
                        hadn’t it?

                  A. He had discussed a range, that is correct. Without knowing any
                     details he had discussed a range. So I was kind of reverse
                     engineering, if you will, leveraging our existing price book, how to
                     get to those numbers that he was suggesting.

                  Q. So he'd given you the range for the price, both for the Autonomy sale
                  and the FileTek purchase? A. In ranges, yes.

                  Q.     And he’d indicated the range of the delta between those two?

                  A.     That is correct.

                  Q.     And now he was giving you the technical information so that you
                         could reverse engineer justifying a price for StorHouse within
                         that range?

                  A.     Yes, correct.”
2758. Quite what Mr Szukalski meant by “kind of reverse engineering” was much
      disputed. I elaborate on that later. But to return to the sequence of events, Mr
      Egan’s proposal was “exciting” for Mr Szukalski and his colleagues. Mr
      Szukalski described it as a “no brainer”. Mr Egan’s witness statement continued:

                  “Mr. Szukalski responded promptly. He said that FileTek was prepared
                  to discuss my proposal further. We talked numbers. After some back and
                  forth, I proposed that Autonomy would license StorHouse software and
                  support for $10,367,280 and that FileTek would license IDOL for
                  $8,480,000 (of which $480,000 was for one year of support and
                  maintenance). The difference, $1,887,280, would be FileTek’s profit on
                  the deal. I told Mr. Szukalski that the documentation of the two deals
                  would have to be separate. I said that the documentation would say that
                  each company was to pay for its licence 30 days after signing, but that
                  Autonomy would pay a few days early.”


2759. Again, Mr Szukalski in cross-examination endorsed this account, subject to two
      qualifications. First, he said that the discussion concerned a spread of around $2
      million, Mr Szukalski having initially proposed a spread of $2.5 million, which
      eventually came down to $1.89 million “which again we were very happy with”.
      Secondly, he did not “necessarily recall” Mr Egan saying that the
      documentation for the two deals would have to be separate.

2760. Mr Szukalski was reluctant to accept that the two transactions – the sale to
      FileTek and the purchase from FileTek – were linked. He presented the main
      driver as “the ticking time bomb of renegotiating the Trusted Edge
      KeyView/IDOL software that we had to renegotiate”. He told me in cross-


                                            Page 888
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 890 of 900
 Approved Judgment                                                              HC-2015-001324
 Mr Justice Hildyard


        examination that the proposed transaction, and the delta it offered, was “the one
        way we could figure it out pretty quickly”. However, he accepted that the
        numbers agreed for the two transactions were linked, because the price for one
        was dictated by the spread over the price for the other.

2761. The timing indicated by Mr Egan meant that there were only two calendar days
      for the deal to be done. Mr Szukalski, a former Autonomy employee, assumed
      (and thought it obvious) that the urgency and the year-end deadline imposed by
      Mr Egan meant that it was driven by Autonomy’s need to recognise revenue
      within the quarter, though he also stated that “Most software companies are
      always looking for opportunities to find new transactions if they can at the last
      end of the quarter…”.

2762. As regards the final sentence of the passage from Mr Egan’s evidence quoted in
      paragraph 2758 above, (that Autonomy would pay early), Mr Szukalski said that
      Mr Egan’s offer was a “great offer because part of the negotiation was they paid
      us early, we had the cash to pay them on time”. Mr Szukalski agreed that the
      written contracts would not say anything about Mr Egan’s agreement to pay
      early, and said that to that extent FileTek was taking a risk. However, Mr
      Szukalski went on to say:

                  “Q. But when Mr Egan told you that Autonomy would pay early, you
                  relied on what he said as being true?
                  A. Yes, absolutely we did. We said we’ll trust you on that for sure.
                  Q. So although it wasn’t going to be put down in writing, you proceeded
                  on the basis that Mr Egan would be as good as his word?
                  A. Trust, yes.
                  Q. And that Autonomy would perform in accordance with what he had
                  said? A. That is correct.”


Negotiation of the price to be paid for StorHouse


2763. Mr Egan’s evidence was that he and Mr Szukalski reached agreement in principle
      on either Tuesday 29 December 2009 or Wednesday 30 December 2009. Mr
      Szukalski accepted this in cross-examination.

2764. Also on 29 December 2009 (and thus on the same day as the initial call between
      Mr Egan and Mr Szukalski) Mr Egan informed Mr Szukalski that “Steve
      Chamberlain our comptroller will call Bill [Loomis] shortly”.

2765. Mr Chamberlain’s subsequent email identified two things he needed for revenue
      recognition purposes:

             (1) On pricing of the StorHouse software to be purchased by Autonomy
                 from FileTek, Mr Chamberlain needed “a copy of your price list


                                               Page 889
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 891 of 900
 Approved Judgment                                                            HC-2015-001324
 Mr Justice Hildyard


                  together with confirmation that discounting on this deal is consistent
                  with your other discount levels for your larger transactions”. Mr
                  Szukalski understood that this was relevant to justifying the price
                  Autonomy paid FileTek as being at fair value.
             (2) On the price to be paid by FileTek for its purchase of software from
                 Autonomy, Mr Chamberlain’s immediate concern was collectability: Mr
                 Chamberlain needed to “demonstrate that FileTek have the ability to
                 pay Autonomy in the absence of the cash receipt from Autonomy from
                 the sale of your software.” Mr Szukalski understood that Autonomy’s
                 auditors would need to see evidence that FileTek could pay Autonomy
                 even if FileTek was not paid by Autonomy.

2766. Thus, although (on the Claimants’ case) Autonomy’s objective was to maximise
      recognised revenue and to that end, extract as high a price as possible for the
      purchase by FileTek of Autonomy software without exceeding ‘fair value’, the
      purchase price of the Autonomy software to be purchased by FileTek could not
      exceed what could be presented, even then at a ‘stretch’, as being collectable
      from FileTek. Equally, what Autonomy could pay for StorHouse to provide the
      actual cash for FileTek’s purchase had not to exceed what could be presented as
      the fair value of the StorHouse software.

2767. On the afternoon of 29 December 2009, Mr Chamberlain wrote to Mr Hussain,
      copying Mr Egan, saying that he (Mr Chamberlain) had spoken to Mr Loomis.
      Mr Loomis told Mr Chamberlain that FileTek was waiting on information from
      Mr Egan to be able to price and show how this was consistent with FileTek’s
      pricing. Mr Chamberlain noted that “Current models are based on volumes for
      licence and our volumes and multiple customers should enable us to construct
      an argument”.

2768. On collectability, Mr Chamberlain referred to FileTek as having $5.3 million of
      cash and a $1.1 million net receivable loan which could be converted. He
      suggested that “$6.5m is ok, $8m is a stretch”.

2769. Dr Lynch initially told me in cross-examination that he did not think that he knew
      at this time about Mr Chamberlain’s view that $8 million was a stretch in relation
      to collectability. However, having been shown an email which Mr Hussain had
      sent to him, subject “End of day”, which stated, “FileTek – collectability will be
      issue for $8m but getting more info”, he had to accept that the collectability issue
      in relation to FileTek plainly was brought to his attention.

2770. The same day (29 December 2009) Mr Egan sent an email, to Mr Szukalski and
      Mr Loomis, in which Mr Egan said, “Our needs would look like the following”
      and set out the technical parameters for StorHouse that had been given by Dr
      Menell. Mr Egan asked Mr Szukalski, “Gary can that get you going on a price
      and fair value support?”

2771. Dr Lynch accepted that Mr Egan’s list of the technical parameters would
      “ultimately” have come from Dr Menell or someone in Autonomy’s technical
      department. There were, however, no documents or other evidence to suggest


                                           Page 890
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 892 of 900
 Approved Judgment                                                              HC-2015-001324
 Mr Justice Hildyard


        that Autonomy’s technical department had given a moment’s thought to the
        technical parameters for a StorHouse licence prior to the evening of 29 December
        2009.

2772. Although Mr Egan’s email requested that FileTek provide a price based on the
      technical requirements that had been provided, Mr Szukalski candidly accepted
      in crossexamination that a price range had already been discussed on the initial
      Szukalski/Egan call that morning, without knowing any of the technical details.
      Mr Szukalski confirmed in cross-examination that he understood that Autonomy
      wanted him to demonstrate that the price Autonomy was paying for StorHouse
      was consistent with FileTek’s general pricing.

2773. On Wednesday 30 December 2009, Mr Crumbacher sent FileTek draft
      documentation for the transaction. In an internal FileTek email later that day, Mr
      Loomis set out a number of comments on the draft documentation, including the
      following:

                  “1. Deal is for $8.8M (vs. $8M). As I understand the initial conversation
                  Gary had with Stouffer, the spread was to be $2M. Therefore, the STHS
                  [StorHouse] deal s/b [should be] $10.8m?
                 2. Payment terms are 50% net 30 + 50% net 90. We’ll need their cash to
                  pay any portion, and I understand that our payment terms for the STHS
                                                 s/w is net
                  30. … Perhaps it should be net 20? Also, an item for the final exec call.”


2774. The Claimants made the following points in this context:
             (1) As regards item 1, they submitted that Mr Loomis’ comment meant that,
                 in order to derive the price that Autonomy would pay FileTek for a
                 StorHouse licence, it was necessary to add the spread of $2 million to
                 the licence fee that FileTek would pay Autonomy. They submitted that
                 this demonstrated that the purchase price was reverse engineered, as Mr
                 Szukalski had acknowledged. Dr Lynch, though emphasising his
                 position that he had not seen this at the time, attempted to sever the
                 apparent link and suggested that it was “the other way round” and that
                 the purchase price had already been fixed and all this signified was that
                 “Stouffer is trying to drum up an 8.8 million sale”. I do not accept Dr
                 Lynch’s suggested gloss; in any event, Mr Szukalski (the recipient of the
                 email) agreed that the Claimants had correctly identified what Mr
                 Loomis had meant.
             (2) As regards item 2, Mr Szukalski confirmed that his understanding was
                 that FileTek needed Autonomy’s payment for the StorHouse licence, in
                 order for FileTek to pay any portion of the price on FileTek’s licence of
                 IDOL Server. That was the reality, as further demonstrated when, later
                 that day, Mr Loomis sent Mr Chamberlain FileTek’s financial
                 statements as at Q3 2009. Licence sales of StorHouse for the first three
                 quarters of 2009 were $546,000 and of Trusted Edge were $105,000. Mr


                                             Page 891
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 893 of 900
 Approved Judgment                                                           HC-2015-001324
 Mr Justice Hildyard


                  Szukalski accepted that FileTek was still “burning cash” and making an
                  operating loss.
             (3) As regards Mr Loomis’ suggestion that the payment terms for the
                 StorHouse licence should be “net 20”, Mr Szukalski confirmed that Mr
                 Loomis was suggesting that the written contract should reflect what Mr
                 Egan had already said Autonomy would do, namely pay FileTek before
                 FileTek had to pay Autonomy.

2775. Further, as at the end of Q3 2009, FileTek had yet to make any sales of Trusted
      Edge that incorporated within it the IDOL Server software. Accordingly, the low
      sales of Trusted Edge did not, at that stage, have anything to do with the
      Sublicense Fee payable under FileTek’s 2008 OEM agreement with Autonomy,
      as Mr Szukalski rightly accepted.
2776. In the early hours of 30 December 2009, Mr Szukalski sent Messrs Egan and
      Scott a proposed price for StorHouse. The proposed licence fee of $7,405,200
      and maintenance fee of $2,962,080 came to a total payment in the first year of
      $10,367,280. Mr Szukalski confirmed in cross-examination that, in arriving at
      this figure, he made sure that it achieved the agreed spread of about $2 million
      over the price that FileTek was to pay Autonomy for the IDOL Server licence.
2777. As already noted, the scale of the price to be paid by Autonomy for StorHouse
      is striking. It represented more than 20 times the total licence revenues for
      StorHouse in the whole of 2008. It also represented more than 10 times the total
      licence revenues for StorHouse in the first three quarters of 2009. Mr Szukalski
      accepted both these points. He claimed that he and Mr Loomis had not felt
      “uncomfortable with this dollar figure because we had…done transactions of
      this size previously…in the late 1990s…” This was not persuasive: whatever may
      have been the position in the 1990s, the disproportionality of the transaction
      relative to FileTek’s sales in 2009 was obvious. The explanation lay in the
      assurances given and the prospect of the delta offered.
2778. The price that Autonomy was willing to pay for StorHouse is all the more
      remarkable given Mr Szukalski’s evidence that, having regard to the flagging
      nature of FileTek’s business at the time he re-joined FileTek, “it was all about
      just find customers, transact, kind of turn the crank back up by not giving
      software away by any stretch of the imagination, but being a little more, you
      know, conducive to the needs of the budgets of the customers that we’re selling
      to”. As Mr Szukalski acknowledged in crossexamination, there was therefore the
      potential for deep discounts to be offered against the list price, all the more so
      for a very large transaction.
2779. On the morning of 31 December 2009, Mr Howard Patrick, FileTek’s General
      Counsel, wrote to Mr Szukalski, stating, “You were going to forward revised
      pricing to Autonomy

       and copy me?”. Mr Patrick then wrote to all recipients stating, “I have just been
       told by Gary, that there are to be no changes to FileTek’s pricing”.




                                           Page 892
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 894 of 900
 Approved Judgment                                                           HC-2015-001324
 Mr Justice Hildyard


2780. Mr Szukalski did not have a good recollection of these exchanges; but he
      accepted the possibility that Autonomy simply did not want FileTek to offer a
      lower price. If FileTek offered a lower price, the price to be paid by FileTek for
      the IDOL licence would also need to come down, if the agreed spread was to be
      maintained; Autonomy did not, however, want the price for the IDOL licence to
      come down, because that would reduce the revenue that Autonomy would
      recognise in Q4 2009.
2781. Still on 31 December 2009, Mr Szukalski emailed Mr Egan FileTek’s proposal.
      Although the proposal was dated 29 December 2009, Mr Szukalski explained
      that he produced it on 31 December 2009, having had to type it at the reception
      for his fatherin-law’s funeral. Mr Szukalski accepted that it was a “rushed” piece
      of work and that some of it would have come from boilerplate marketing
      materials. The reason why it had to be rushed was because to satisfy Autonomy’s
      objectives, it needed to be provided to, and accepted by, Autonomy by the end
      of the day, being the last day of the quarter.
2782. That afternoon a call took place between Mr Egan, Mr Loomis and Mr Szukalski.
      In advance of the call, Mr Loomis circulated internally within FileTek a checklist
      of points to cover on the call, including:
                  “2. Timing of payments
                  3. Confirm that there’s no way of being burned. No contemplated change
                  in control or management prior to transfer of money.”


2783. Mr Szukalski confirmed in cross-examination that item 2 was a reference to the
      fact that FileTek was going to get paid by Autonomy, before FileTek had to pay
      Autonomy. He agreed that this was a point that was important to FileTek. It was
      important because FileTek would not have bought IDOL at the price that it did,
      but for the fact that Autonomy was going to buy StorHouse and thereby channel
      funds to FileTek to pay for IDOL.
2784. Mr Szukalski explained that item 3 was a reference to a concern that, were there
      to be a change of management or an acquisition of Autonomy, after the execution
      of the deal but prior to the transfer of money from Autonomy to FileTek, any
      new management of Autonomy might fail to honour the assurances that Mr Egan
      had given. Mr Loomis was going to seek confirmation that there was no way of
      FileTek being burned in that way and thus, as Mr Szukalski put it, “establish
      trust”.
2785. Mr Loomis’ testimony in the US criminal proceedings was to similar effect:
                  “Q. Are you familiar with this email, Mr. Loomis? Do you remember
                  it? A. Yes, generally.
                  Q. Okay. Point No. 3 here says, “Confirm there’s no way of being
                  burned.” Do you see that? A. Yes.
                  Q. What did you mean by that?



                                           Page 893
       Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 895 of 900
 Approved Judgment                                                               HC-2015-001324
 Mr Justice Hildyard


                     A. Well, my concern, given this was a barter transaction, I was viewing
                     it as a barter transaction, that we would not have a situation where we
                     were obligated to pay 8 or $9 million and all of a sudden there was a
                     cancellation of the StorHouse side of the barter transaction.
                     Q. Okay. How dependent were you on the StorHouse side of the
                     transaction to go forward with the purchase of the Autonomy software?
                     A. We were dependent on it.”


2786. Following the call, Mr Loomis sent an email to himself and Mr Szukalski entitled
      “Autonomy Memo to File” summarising the key outcomes from the call. Mr
      Szukalski confirmed that he regarded the email as an accurate record of the
      discussion. It included the following items:
                    “1. We should be paid 4-5 days before net 30 due date.
                     2. …
                     3. No change in control or change in leadership is contemplated prior
                        to exchange of money.
                     4. No one to be burned on this deal.”

2787. I accept that these points were a reflection of the assurance that had been
      provided, and which was the basis of the deal, that (a) Autonomy would pay
      FileTek 4-5 days before the date when Autonomy was contractually required to
      pay (namely 30 days after invoice) (item 1); (b) that FileTek was not going to be
      left having to pay for the IDOL licence without getting paid by Autonomy for
      the StorHouse licence (Item 4); and (c) that no change of control of Autonomy
      was in the offing which might result in new management not observing these
      extra-contractual assurances (item 3).
2788. Also on 31 December 2009, Mr Loomis wrote to FileTek’s Chairman, Bill
      Thompson, regarding “a year end transaction”. Mr Loomis said (item 1), that
      “Driven by Autonomy’s need to make certain numbers … 304 they approached
      Gary”. Mr Loomis went on to summarise the key terms of the transaction,
      including the net profit to FileTek of around $1.88 million (item 4). Mr Szukalski
      confirmed in cross-examination that this figure reflected the spread that he had
      agreed with Mr Egan. Mr Loomis also noted (item 5), “Must be signed today”.
2789. That assessment – that the deal was driven by Autonomy’s “need to make up the
      numbers” seems to me to have been correct. The conclusion is further supported
      by the fact that although it was put to Mr Egan that Dr Menell or other members
      of Autonomy’s technical team may have known about the technical properties of
      StorHouse, Mr Egan was not challenged on his evidence that he himself was
      unaware of any such evaluation.



 304
       Points of ellipsis appear in the original.


                                                    Page 894
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 896 of 900
 Approved Judgment                                                              HC-2015-001324
 Mr Justice Hildyard


2790. The Claimants submitted, and I accept and find, that it follows that (i) the idea
      of selling an IDOL licence to FileTek originated with Mr Egan, (ii) so too did
      the idea of purchasing StorHouse, (iii) Mr Egan’s reason for suggesting a
      purchase of StorHouse was to bring about the sale of the IDOL licence by
      providing FileTek with the

        wherewithal, (iv) Mr Hussain knew and approved of this proposal, and (v) Mr
        Egan conceived of this idea in circumstances where he did not know of any
        technical evaluation by Autonomy of StorHouse or the practicality of combining
        it with Digital Safe, and as a means of generating recognisable revenue from the
        sale of Autonomy software to FileTek. Mr Hussain knew that.
Had Autonomy (coincidentally) any identified need for StorHouse?
2791. There were two strands to the Defendants’ argument that even if revenue
      generation was a desirable product of the purchase by FileTek of Autonomy
      software, and even if that purchase was facilitated by Autonomy’s purchase of
      StorHouse from FileTek, the primary purpose of Autonomy’s purchase was that
      it considered StorHouse to be (a) a useful adjunct for incorporation into its
      (Autonomy’s) product offering and (b) part of what Dr Lynch stated in his
      witness statement to be a “strategy to move aggressively into the structured data
      market…”. The Defendants also contended that both the purchase from FileTek
      of StorHouse and the purchase by FileTek of Autonomy software were at fair
      value.
2792. The Claimants accepted that Mr Egan did not have the final say on whether
      Autonomy should buy StorHouse; approvals from his superiors, including Dr
      Lynch, would be needed. But they submitted that it would be a remarkable
      coincidence if, Mr Egan having come up with the idea of the purchase for one
      reason (a reason known to Mr Hussain), others within Autonomy’s senior
      management nevertheless ended up approving the purchase for an entirely
      different reason.
2793. Dr Lynch, in his witness statement, presented the decision to make “an
      investment in StorHouse, in the tens of millions of dollars range” as part of a
      “strategy to move aggressively into the structured data market …”. He claimed
      that Autonomy “had familiarity with the product by virtue of our experience in
      the market, File Tek’s OEM and our negotiations with Informatica.” He
      maintained that:
                  “Autonomy decided to buy StorHouse rather than try to develop the
                  software itself to save time, money and engineering resources. The
                  software needed to be tested with live customer databases, which was a
                  tedious and very time intensive process that had a tendency to irritate
                  the customers whose databases were being used. Autonomy had
                  prospects lined up that needed the software and had been asked to
                  provide a solution for a highly classified intelligence application, which
                  involved handling structured data. For these reasons, it was necessary
                  to acquire the software reasonably quickly. Purchasing StorHouse had
                  the added advantage of signalling to Informatica that Autonomy was not


                                             Page 895
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 897 of 900
 Approved Judgment                                                           HC-2015-001324
 Mr Justice Hildyard


                  desperate to acquire their company and had other options, which might
                  encourage Informatica to accept Autonomy’s prior offer. For Autonomy,
                  buying StorHouse was the equivalent of parking a tank on Informatica's
                  lawn.”

2794. In cross-examination, Dr Lynch also stated that, in the context of the potential
      acquisition of Informatica, Dr Menell had compared Informatica’s technology to
      thirdparty offerings on the market, including FileTek’s, and so Autonomy was
      familiar with the StorHouse product and had assessed its technology.

2795. However, when pressed to identify any documentation to support his depiction
      of the strategy, and the assessment of StorHouse which he claimed in cross-
      examination had been undertaken by Dr Menell (which was not mentioned in his
      witness statement), Dr

        Lynch initially told me that he did not know whether there was documentation
        or not, but revised this later to justify its apparent absence on the basis that
        Autonomy was “a very different company to a Hewlett-Packard. We move very
        fast. We understand our products, we understand the market and we make
        decisions and we don't spend a lot of time producing long reports.” He thought
        there might have been a short 5 or 6 page document recording “basic technical
        checks” but qualified that by saying that “to be blunt, the decision had been
        made before that document was done usually.” He could offer no explanation
        why the strategy alleged had not been explained to Deloitte: he said he did not
        deal with Deloitte and did not know what they had been told.

2796. Dr Lynch also suggested in cross-examination that Mr Egan was aware, when
      approaching Mr Szukalski, of the Informatica strategy. This had not been put to
      Mr Egan, whose evidence was not consistent with the suggestion. But, more
      importantly, the suggestion was also inconsistent with Dr Lynch’s own earlier
      evidence in his second witness statement that “Mr Egan was wholly unaware”
      of the potential Informatica transaction.

2797. In the circumstances, I cannot accept Dr Lynch’s depiction of the genesis and
      rationale of the purchase of StorHouse from FileTek as being part of some overall
      strategy for Autonomy’s entry into the structured data market and persuading
      Informatica to accept its overtures. Dr Menell did not give evidence; there was
      no documentary support for Dr Lynch’s presentation; and the suggestion that Mr
      Egan was aware of such a strategy seemed to me implausible and contradicted
      by Dr Lynch’s own evidence, as well as Mr Egan’s unchallenged evidence to the
      contrary.

2798. Nor can I accept the second strand of the Defendants’ response, to the effect that
      Autonomy had undertaken a technical analysis of StorHouse prior to late
      December 2009 which had prompted its interest. It seems to me clear from the
      pattern of events described above, and from the unchallenged evidence of both
      Mr Egan and Mr Szukalski in that regard, that when Mr Egan approached Mr
      Szukalski, he had next to no knowledge of StorHouse as a product. I am satisfied



                                           Page 896
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 898 of 900
 Approved Judgment                                                              HC-2015-001324
 Mr Justice Hildyard


        and hold that identified need for the product did not prompt Mr Egan’s approach
        or inform the negotiations which followed.

2799. I am fortified in that conclusion by the efforts subsequently made, including by
      Mr Egan, to develop a technical justification for the acquisition after the event.

2800. On 29 December 2009, and after his initial call with Mr Szukalski, Mr Egan
      wrote to Dr Menell as follows:

                  “Pete,
                  In response to all your investigations into tech to support the right way
                  to deliver on the Kraft style RDBS archiving demand a company called
                  Filetek has come forward with a pitch about their Storhouse product as
                  well as a module called “Relational Manager”.
                  It sounds like they may have a very good solution to the things you have
                  been looking at build/buy on.
                  I may recall that you had already shortlisted them but their president
                  called me
                  this AM to pitch as they are quite keen and he knows Autonomy …”


2801. Mr Egan’s email was a contrivance:

             (1) There is no evidence that, as at 29 December 2009, Dr Menell had been
                 conducting the “investigations” mentioned in Mr Egan’s email.
                 Certainly, as already noted, Mr Szukalski’s evidence was that neither Dr
                 Menell nor anyone else in Autonomy’s technical department had
                 previously contacted him about the potential use of StorHouse by
                 Autonomy.
             (2) Mr Egan’s own evidence in cross-examination was that his email was
                 pretextual and misleading because it did not accurately express the fact
                 “that this was my idea to pitch this quid pro quo relationship” and he
                 (Mr Egan) was not aware of Dr Menell looking to “build/buy” as stated
                 in the email.
             (3) It was not true that FileTek had “come forward with a pitch” or that Mr
                 Szukalski “called me this AM to pitch”. As the documents make clear,
                 and Mr Szukalski and Mr Egan readily confirmed in cross-examination,
                 it was the other way round: Mr Egan had contacted Mr Szukalski.

2802. Dr Lynch had to accept in cross-examination that it did appear that Mr Egan’s
      email was pretextual in giving the impression that FileTek had come forward
      with a pitch.
2803. Mr Egan was asked whether he was “trying to mislead Dr Menell” by this email,
      to which he answered “No”. But that was because Dr Menell already knew that
      the email was pretextual.


                                             Page 897
   Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 899 of 900
 Approved Judgment                                                              HC-2015-001324
 Mr Justice Hildyard


2804. Dr Menell responded to Mr Egan 30 minutes later stating, “Come across this lot
      before. Very strong on lifecycle and trans[p]arent back off to teirsh [sic] storage.
      Will have sean et al pull more of the White papers to validate the assumptions”.
      As the Claimants noted, this email exchange is hardly indicative of Dr Menell
      having come up with the decision to invest tens of millions of dollars into
      StorHouse.

2805. On 30 December 2009, Mr Chamberlain asked Mr Egan and Dr Menell, in an
      email copied to Mr Hussain, for a “technical paper explaining why both bits of
      technology are needed”:

                        “1) why does Autonomy need the Filetek solution and what
                        benefits will that bring. Need to try and justify the $10m cost and
                        show that benefits of at least that amount will be generated. E.g
                        cost savings of $2m per annum for 7 years discounted to give a
                        NPV of greater than $10m
                        2) why does FileTek need Autonomy and how will the technology
                        be used?”

Price Autonomy agreed to pay FileTek for purchase of StorHouse


2806. As to 1) in the preceding paragraph and the purchase by Autonomy of “the
      Filetek solution” (StorHouse), the Defendants sought to counter the notion that
      the price was “reverse-engineered” according to the price that Autonomy was
      wishing to achieve from

        its sale to FileTek of software on the basis that in fact the price was “fair value”
        and in fact represented a 45% discount on FileTek’s list price. They relied also
        on (a) Mr Szukalski’s assertion in his witness statement that “The contract
        pricing was not inflated; it was set at a level that FileTek considered to be
        appropriate” and (b) Mr Egan’s somewhat reluctant evidence in cross-
        examination, after stating that he “didn’t care too much about that” that “it was
        at fair value effectively”.

2807. The issue relating to the quantum of the purchase price which Autonomy agreed
      to pay FileTek was much disputed and the evidence in respect of it was
      confusing. In particular, the evidence given in the US criminal proceedings by
      Mr Loomis of the way FileTek internally analysed and accounted for the value
      of the software it sold contradicted its depiction as representing a fair price, and,
      in accounting terms, “fair value”.

2808. Mr Loomis’ accounting memorandum, which addressed the question whether it
      was proper for FileTek to recognise revenue in respect of its receipt is a telling
      document. Amongst its observations in explaining the conclusions that under US




                                            Page 898
      Case 1:21-cv-11059-GHW Document 150-14 Filed 06/28/23 Page 900 of 900
 Approved Judgment                                                                         HC-2015-001324
 Mr Justice Hildyard


          GAAP, and in particular, its requirement for VSOE 305 , immediate revenue
          recognition of the sales revenue from the purchase of FileTek software to
          Autonomy would not be proper were the following:

                (1) “This transaction was completely unique to [sic: for] FileTek and was
                    an outlier transaction for our normal business strategy and projections
                    and there were no very similar transactions that would provide a good
                    faith comparison for the pricing and fair values.”

                (2) “This was our first customer who had plans to use our software in a
                    hosted environment with large hosted customers, so it doesn't fit into our
                    Reseller model or the End-User model for pricing.”

                (3) “The 5-year term for the StorHouse maintenance with prepaid
                    maintenance collected is also highly unusual for our customer base and
                    therefore assigning appropriate fair value to maintenance for a 5-year
                    duration would be very subjective.”

                (4) “without any similar transactions in past (nor any expected in near
                    future) there is no context in which to determine the VSOE of Fair value
                    of the maintenance contract.”

                (5) “Due to the unusual nature of the two contracts being executed at close
                    duration and the fact that FileTek might not have entered into the
                    contract to purchase the Autonomy licences without the StorHouse
                    licence being executed, the contract prices are clearly not fair value and
                    therefore, accounting treatment “a”… without any fair value
                    adjustments would be inconsistent with GAAP.”

2809. Mr Szukalski, when cross-examined, was not asked to comment on the GAAP
      accounting issues but he was invited to and did confirm that:



                (1) It is unlikely that FileTek would have contracted to purchase Autonomy
                    software “at that price point” without the StorHouse sale contract.

                (2) The StorHouse contract was highly unusual, as in particular was its
                    provision for pre-payment of 5-years maintenance.

                (3) If the StorHouse sale contract had been self-standing (that is, but for the
                    contract for FileTek’s purchase of Autonomy software at the same time)
                    the price that Mr Szukalski and Mr Loomis would have expected to get
                    in an arm’s length transaction for the sale of the StorHouse software was
                    much closer to $2 million than $10 million. A figure of $2 million for a
                    transaction of this size, had it been the only thing under negotiation, and

305
      Vendor-Specific Objective Evidence is required under US GAAP: this requires evidence of the fair
          value of a contract’s components if any part of the value of and revenue from individual items
          is to be recognized before the last element in the contract is delivered


                                                   Page 899
